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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC, 1
                                                                  (Jointly Administered)
                              Debtors.


    THIRD MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF REORGANIZATION
                  (WITH TECHNICAL MODIFICATIONS) FOR
             BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

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Attorneys for the Debtors and Debtors in Possession

Dated: September 6, 2022
       Wilmington, Delaware



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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
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                                       INTRODUCTION

        Boy Scouts of America and Delaware BSA, LLC, the non-profit corporations that are
debtors and debtors in possession in the above-captioned chapter 11 cases, hereby propose this
plan of reorganization pursuant to section 1121(a) of the Bankruptcy Code. Capitalized terms used
herein shall have the meanings ascribed to such terms in Article I.A. The Plan provides for the
global resolution of Abuse Claims against the Debtors, Related Non -Debtor Entities, Local
Councils, Contributing Chartered Organizations, Settling Insurance Companies, and their
respective Representatives. The Debtors are the proponents of the Plan within the meaning of
section 1129 of the Bankruptcy Code. The Plan is also proposed in accordance with the JPM /
Creditors’ Committee Term Sheet, pursuant to which the Debtors, the Creditors’ Committee and
JPM have agreed to take certain actions to support the prosecution and consummation of the Plan.
The Coalition, the Tort Claimants’ Committee, and the Future Claimants’ Representative also
support the Plan. Reference is made to the Disclosure Statement for a discussion of the Debtors’
history, charitable mission, operations, projections for those operations, risk factors, and certain
related matters. The Disclosure Statement also provides a summary and analysis of the Plan. YOU
ARE URGED TO READ THE DISCLOSURE STATEMENT AND THE PLAN WITH CARE
IN EVALUATING HOW THE PLAN WILL AFFECT YOUR CLAIM(S) BEFORE VOTING
TO ACCEPT OR REJECT THE PLAN.

                                          ARTICLE I.

                   DEFINITIONS AND RULES OF INTERPRETATION

      A.      Definitions. The capitalized terms used in the Plan shall have the respective
meanings set forth below.

              1.     “2010 Bond” means The County Commission of Fayette County (West
       Virginia) Commercial Development Revenue Bond (Arrow WV Project) Series 2010B in
       an aggregate principal amount of $50,000,000, issued by the Bond Issuer pursuant to the
       2010 Bond Agreement, the proceeds of which were loaned to the BSA pursuant to the 2010
       Note.

              2.     “2010 Bond Agreement” means that certain Bond Purchase and Loan
       Agreement dated as of November 5, 2010, by and among the Bond Issuer, JPM, the BSA
       and Arrow, as amended, restated, supplemented or otherwise modified from time to time.

               3.     “2010 Bond Claim” means any Claim against the Debtors arising under,
       derived from, or based upon the 2010 Bond Documents, including any Claim for
       obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2010
       Bond Documents, whether now existing or hereafter arising, whether direct, indirect,
       related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
       several, including the obligation of the BSA to repay the 2010 Note, interest on the 2010
       Note, and all fees, costs, expenses and obligations of any kind or character due or
       recoverable from the Debtors under the 2010 Bond Documents.
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       4.      “2010 Bond Documents” means collectively, the 2010 Bond, the 2010 Bond
Agreement, the 2010 Note, the Prepetition Security Documents (2019), the Prepetition
Security Agreement (2020) (in the case of the Prepetition Security Documents (2019) and
the Prepetition Security Agreement (2020), solely as such documents and agreements
pertain to obligations under the other 2010 Bond Documents), and all documentation
executed and delivered in connection therewith, as amended, resta ted, supplemented or
otherwise modified from time to time.

        5.      “2010 Credit Agreement” means that certain Credit Agreement dated as of
August 11, 2010, by and between the BSA, as borrower, and JPM, as lender, as amended
by that certain First Amendment to Credit Agreement dated as of November 5, 2010, that
certain Second Amendment to Credit Agreement dated as of November 11, 2011, that
certain Third Amendment to Credit Agreement dated as of March 9, 2012, that certain
Fourth Amendment to Credit Agreement dated as of April 25, 2016, that certain Fifth
Amendment to Credit Agreement dated as of March 2, 2017, that certain Sixth Amendment
to Credit Agreement dated as of February 15, 2018, and that certain Seventh Amendment
to Credit Agreement, dated as of March 21, 2019, pursuant to which JPM agreed to make
term loans to the BSA in an aggregate amount of $25,000,000 and agreed to make
revolving loans to the BSA and issue letters of credit on behalf of the BSA in an aggregate
amount not to exceed $75,000,000.

         6.      “2010 Credit Facility Claim” means any Claim against the Debtors arising
under, derived from, or based upon the 2010 Credit Facility Documents, including any
Claim for obligations, indebtedness, and liabilities of the BSA arising pursuant to any of
the 2010 Credit Facility Documents, whether now existing or hereafter arising, whether
direct, indirect, related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several,
or joint and several, including the obligation of the BSA to pay principal and interest, and
all fees, costs, expenses and other obligations of any kind or character due or recoverable
under the 2010 Credit Facility Documents.

        7.     “2010 Credit Facility Documents” means, collectively, the 2010 Credit
Agreement, the Prepetition Security Documents (2019), the Prepetition Security
Agreement (2020) (in the case of the Prepetition Security Documents (2019) and the
Prepetition Security Agreement (2020), solely as such documents and agreements pertain
to obligations under the other 2010 Credit Facility Documents), and all documentation
executed and delivered in connection therewith, as amended, restated, supplemented or
otherwise modified from time to time.

       8.     “2010 Note” means that certain Promissory Note – 2010B executed by the
BSA, as borrower, and payable to the order of the Bond Issuer in the original principal
amount of $50,000,000, which note was pledged by the Bond Issuer to JPM pursuant to
the 2010 Bond Agreement to secure the repayment of the 2010 Bond, as amended, restated,
supplemented or otherwise modified from time to time.

       9.     “2012 Bond” means The County Commission of Fayette County (West
Virginia) Commercial Development Revenue Bond (Arrow WV Project), Series 2012, in
an aggregate principal amount of $175,000,000, issued by the Bond Issuer pursua nt to the


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2012 Bond Agreement, the proceeds of which were loaned to the BSA pursuant to the 2012
Note.

      10.     “2012 Bond Agreement” means that certain Bond Purchase and Loan
Agreement dated as of March 9, 2012, between the Bond Issuer, JPM, the BSA and Arrow,
as amended, restated, supplemented or otherwise modified from time to time.

        11.    “2012 Bond Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2012 Bond Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2012
Bond Documents, whether now existing or hereafter arising, whether direct, indirect,
related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
several, including the obligation of the BSA to repay the 2012 Note, interest on the 2012
Note, and all fees, costs, expenses and obligations of any kind or character due or
recoverable from the Debtors under the 2012 Bond Documents.

       12.     “2012 Bond Documents” means collectively, the 2012 Bond, the 2012 Bond
Agreement, the 2012 Note, the Prepetition Security Documents (2019), the Prepetition
Security Agreement (2020) (in the case of the Prepetition Security Documents (2019) and
the Prepetition Security Agreement (2020), solely as such documents and agreements
pertain to obligations under the other 2012 Bond Documents), and all documentation
executed and delivered in connection therewith, as amended, restated, supplemented or
otherwise modified from time to time.

       13.    “2012 Note” means that certain Promissory Note – 2012, executed by the
BSA, as borrower, and payable to the order of the Bond Issuer in the original principal
amount of $175,000,000, which note was pledged by the Bond Issuer to JPM pursuant to
the 2012 Bond Agreement to secure the repayment of the 2012 Bond, as amended, restated,
supplemented or otherwise modified from time to time.

        14.   “2019 RCF Agreement” means that certain Credit Agreement, dated as of
March 21, 2019, by and between the BSA, as borrower, and JPM, as lend er, pursuant to
which JPM agreed to make revolving loans to the BSA and issue letters of credit on behalf
of the BSA in an aggregate amount not to exceed $71,500,000, the maturity date of which
was extended pursuant to that certain Consent to Extension of Maturity Date dated as of
January 16, 2020.

        15.    “2019 RCF Claim” means any Claim against the Debtors arising under,
derived from, or based upon the 2019 RCF Documents, including any Claim for
obligations, indebtedness, and liabilities of the BSA arising pursuant to any of the 2019
RCF Documents, whether now existing or hereafter arising, whether direct, indirect,
related, unrelated, fixed, contingent, liquidated, unliquidated, joint, several, or joint and
several, including the obligation of the BSA to pay principal and interest, and all fees, costs,
expenses and other obligations of any kind or character due or recoverable under the 2019
RCF Documents.




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        16.    “2019 RCF Documents” means, collectively, the 2019 RCF Agreement, the
Prepetition Security Documents (2019), the Prepetition Security Agreement (2020) (in the
case of the Prepetition Security Documents (2019) and the Prepetition Security Agreement
(2020), solely as such documents and agreements pertain to obligations under the other
2019 RCF Documents), and all documentation executed and delivered in connection
therewith, as amended, restated, supplemented or otherwise modified from time to time.

        17.     “Abuse” means sexual conduct or misconduct, sexual abuse or molestation,
sexual exploitation, indecent assault or battery, rape, pedophilia, ephebophilia, sexually
related psychological or emotional harm, humiliation, anguish, shock, sickness, disease,
disability, dysfunction, or intimidation, any other sexual misconduct or injury, contacts or
interactions of a sexual nature, including the use of photography, video, or digital media,
or other physical abuse or bullying or harassment without regard to whether such physical
abuse or bullying is of a sexual nature, between a child and an adult, between a child and
another child, or between a non-consenting adult and another adult, in each instance
without regard to whether such activity involved explicit force, whether such activity
involved genital or other physical contact, and whether there is or was any associated
physical, psychological, or emotional harm to the child or non-consenting adult.

         18.    “Abuse Claim” means a liquidated or unliquidated Claim against a
Protected Party (including the Settling Insurance Companies), a Limited Protected Party,
or an Opt-Out Chartered Organization or any of their respective Representatives (in their
capacities as such) that is attributable to, arises from, is based upon, relates to, or results
from, directly, indirectly, or derivatively, alleged Scouting-related Abuse that occurred
prior to the Petition Date, including any such Claim that seeks monetary damages or other
relief, under any theory of law or equity whatsoever, including vicarious liability, alter ego,
respondeat superior, conspiracy, fraud, including fraud in the inducement, any negligence-
based or employment-based theory, including negligent hiring, selection, supervision,
retention or misrepresentation, any other theory based upon, or directly or indirectly related
to any insurance relationship, the provision of insurance or the provision of insurance
services to or by any Protected Parties, or misrepresentation, concealment, or unfair
practice, breach of fiduciary duty, public or private nuisance, gross negligence, willful
misconduct, or any other theory, including any theory based on or related to public policy
or any act or failure to act, or failure to warn by a Protected Party, a Limited Protected
Party, an Opt-Out Chartered Organization, any of their respective Representatives (in their
capacities as such) or any other Person for whom any Protected Party, Limited Protected
Party, or Opt-Out Chartered Organization is alleged to be responsible (including any such
Claim that has been asserted or may be amended to assert in a proof of claim alleging
Abuse, whether or not timely f iled, in the Chapter 11 Cases, or any such Claim that has
been asserted against the Settlement Trust), including any proportionate or allocable share
of liability based thereon. Abuse Claims include any Future Abuse Claims, any Indirect
Abuse Claims, any Opt-Out Chartered Organization Abuse Claim, any Post-1975
Chartered Organization Abuse Claim and Pre-1976 Chartered Organization Abuse Claim
and any other Claim that is attributable to, arises from, is based upon, relates to, or results
from, alleged Scouting-related Abuse regardless of whether, as of the Petition Date, such
Claim was barred by any applicable statute of limitations. For the avoidance of doubt, (i)
a Claim alleging Abuse shall not be an “Abuse Claim” against a Protected Party, Limited


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Protected Party, or Opt-Out Chartered Organization or any of their respective
Representatives if such Claim is unrelated to Scouting (except as provided in (iii) below,
including the portion of any Mixed Claim that is unrelated to Scouting); (ii) a Claim
alleging Abuse shall be an “Abuse Claim” against a Protected Party, Limited Protected
Party, or Opt-Out Chartered Organization or any of their respective Representatives (in
their capacity as such) if such Claim is related to Scouting (including the portion of any
Mixed Claim that is related to Scouting); (iii) any portion of a Mixed Claim alleging Abuse
involving the Debtors, Reorganized BSA, Related Non-Debtor Entities, Local Councils, or
their respective Representatives (in their capacities as such) is necessarily Scouting-related
and shall be considered an Abuse Claim; and (iv) any Claim against the Debtors,
Reorganized BSA, Related Non-Debtor Entities, Local Councils, or their respective
Representatives (in their capacities as such) alleging Abuse is necessarily Scouting-related
and shall be considered an Abuse Claim.

       19.     “Abuse Claims Settlement” has the meaning ascribed to such term in Article
V.S.

        20.    “Abuse Insurance Policies” means, collectively, the BSA Insurance
Policies, and the Local Council Insurance Policies. Abuse Insurance Policies do not
include Non-Abuse Insurance Policies or Postpetition Insurance Policies.

       21.     “Accrued Professional Fees” means, as of any date, and regardless of
whether such amounts are billed or unbilled, all of a Professional’s or Coalition
Professional’s accrued fees and reimbursable expenses for services rendered in the Chapter
11 Cases up to and including such date, whether or not such Professional or Coalition
Professional has then filed an application for the Allowance and payment of such fees and
expenses: (a) to the extent that any such fees and expenses have not been previously paid
by the Debtors; and (b) after each Professional has applied to such accrued fees and
expenses the balance of any retainer that has been provided by the Debtors to such
Professional, if applicable. No amount of a Professional’s or Coalition Professional’s fees
or expenses denied by a Final Order of the Bankruptcy Court shall constitute Accrued
Professional Fees.

       22.    “Ad Hoc Committee” means the Ad Hoc Committee of Local Councils of
the Boy Scouts of America.

        23.    “Administrative Expense Claim” means any right to payment from the
Debtors that constitutes a cost or expense of administration incurred during the Chapter 11
Cases of the kind specified under 503(b) of the Bankruptcy Code and entitled to priority
under sections 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the
actual and necessary costs and expenses of preserving the Estates or continuing the
operations of the Debtors incurred during the period from the Petition Date to the Effective
Date; (b) the Hartford Administrative Expense Claim and, if applicable in accordance with
the Hartford Insurance Settlement Agreement, the Hartford Additional Administrative
Expense Claim; (c) Professional Fee Claims; and (d) Quarterly Fees.




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        24.    “Affiliate” has the meaning ascribed to such term in section 101(2) of the
Bankruptcy Code. With respect to any Person that is not a Debtor in the Chapter 11 Cases,
the term “Affiliate” shall apply to such Person as if the Person were a Debtor.

        25.     “Affirmation Order” means an order of the District Court determining any
request for affirmation of any findings of fact and conclusions of law of the Bankruptcy
Court with respect to all provisions for which the Bankruptcy Court may not have authority
to enter a final order, which shall be in form and substance acceptable to (a) the Debtors,
the Ad Hoc Committee, the Coalition, the Tort Claimants’ Committee, the Future
Claimants’ Representative, the Settling Insurance Companies, and (b) the Creditors’
Committee and JPM in accordance with their respective consent rights under the JPM /
Creditors’ Committee Term Sheet.

       26.     “Allowed” has the following meanings for Non-Abuse Claims:

                a.     with respect to any Claim that is asserted to constitute an
       Administrative Expense Claim: (i) a Claim that represents an actual and necessary
       cost or expense of preserving the Estates or continuing the operations of the Debtors
       incurred during the period from the Petition Date to the Effective Date for which a
       request for payment is filed, (A) to the extent such Claim is determined by the
       Debtors to constitute an Administrative Expense Claim or allowed by a Final Order
       of the Bankruptcy Court or (B) as to which no objection to allowance has been
       interposed and not withdrawn within the applicable period fixed by the Plan or
       applicable law; (ii) other than with respect to a Professional Fee Claim, a Claim
       that arises during the period from the Petition Date to the Effective Date for which
       a request for payment is filed that is Disputed by the Debtors, which Claim is
       allowed in whole or in part by a Final Order of the Bankruptcy Court to the extent
       that such allowed portion is determined by a Final Order to constitute a cost or
       expense of administration under sections 503(b) and 507(a)(1) of the Bankruptcy
       Code; (iii) a Claim that arises during the period from the Petition Date to the
       Effective Date in the ordinary course of the Debtors’ non-profit operations that is
       determined by the Debtors to constitute an Administrative Expense Claim; (iv) a
       Professional Fee Claim, to the extent allowed by a Final Order of the Bankruptcy
       Court; or (v) any Claim that is expressly allowed as provided in Article II.A.1;

              b.     with respect to any 2010 Credit Facility Claim, 2019 RCF Claim,
       2010 Bond Claim, or 2012 Bond Claim, any such Claim that is expressly allowed
       as provided under Article III; and

               c.     with respect to any Priority Tax Claim, Other Priority Claim, Other
       Secured Claim, Convenience Claim, General Unsecured Claim, Non -Abuse
       Litigation Claim, or any portion of any of the foregoing, a Claim that is: (i) listed
       in the Schedules as not being disputed, contingent or unliquidated and with respect
       to which no contrary or superseding Proof of Claim has been filed, and that has not
       been paid pursuant to an order of this Court prior to the Effective Date; (ii)
       evidenced by a Proof of Claim filed on or before the applicable Bar Date, not listed
       in the Schedules as disputed, contingent or unliquidated, and as to which no


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       objection has been filed on or before the Claims Objection Deadline; (iii) not the
       subject of an objection to Allowance, which Claim (A) was filed on or before the
       Claims Objection Deadline and (B) has not been settled, waived, withdrawn or
       Disallowed pursuant to a Final Order; or (iv) expressly Allowed (x) pursuant to a
       Final Order, (y) pursuant to an agreement between the holder of such Claim and
       the Debtors or Reorganized BSA, as applicable, or (z) pursuant to the terms of the
       Plan. For the avoidance of doubt, the holder of a Claim evidenced by a Proof of
       Claim filed after the applicable Bar Date shall not be treated as a creditor with
       respect to such Claim for the purposes of voting and distribution.

       “Allowance” and “Allowing” have correlative meanings.

      27.     “Amended BSA Bylaws” means the amended and restated bylaws of the
BSA, substantially in the form contained in the Plan Supplement.

       28.     “Arrow” means Arrow WV, Inc., a West Virginia non-profit corporation.

       29.    “Arrow Collateral Assignment” means that certain Collateral Assignment
of Promissory Note and Credit Line Deed of Trust, dated as of March 21, 2019, by and
between the BSA, as assignor, and JPM, as lender, pursuant to which BSA assigned the
Arrow Intercompany Note and Arrow Deed of Trust to JPM to secure the obligations under
the 2010 Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents,
and the 2012 Bond Documents.

        30.     “Arrow Deed of Trust” means that certain Credit Line Deed of Trust, dated
as of June 30, 2010, made and executed by Arrow, as grantor, to Leslie Miller-Stover, as
trustee, for the benefit of the BSA, as amended by that certain First Amendment to Credit
Line Deed of Trust, dated as of March 21, 2019.

       31.    “Arrow Intercompany Note” means that certain Amended and Restated
Promissory Note dated as of March 21, 2019, issued by Arrow to the BSA in an original
principal amount of $350,000,000.

       32.     “Artwork” means the artwork listed on Schedule 1.

       33.    “Assumed Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts or Unexpired Leases to be assumed by the BSA under the Plan and
the Cure Amount for each such Executory Contract or Unexpired Lease, as set forth in the
Plan Supplement, as may be amended, modified, or supplemented from time to time in
accordance with the terms hereof.

        34.   “Avoidance Actions” means any and all actual or potential avoidance,
recovery, subordination or other Claims, causes of action or remedies that may be brought
by or on behalf of the Debtors or their Estates or other authorized parties in interest under
the Bankruptcy Code or applicable non-bankruptcy law, including Claims, Causes of
Action or remedies under sections 502, 510, 542, 544, 545, 547 through 553, and 724(a)
of the Bankruptcy Code, or under similar or related local, state, federal, or foreign statutes
or common law, including preference and fraudulent transfer and conveyance laws, in each


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case whether or not litigation to prosecute such Claim(s), Cause(s) of Action or remedy(ies)
were commenced prior to the Effective Date.

      35.    “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C.
§§ 101–1532, as in effect on the Petition Date.

        36.    “Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware or such other court having jurisdiction over the Chapter 11 Cases.

       37.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as
promulgated by the United States Supreme Court under 28 U.S.C. § 2075, as applicable to
the Chapter 11 Cases, and the general, local, and chambers rules of the Bankruptcy Court,
each as amended from time to time.

       38.    “Bar Date” means (a) November 16, 2020 for any Claim (other than an
Administrative Expense Claim or a Claim of a Governmental Unit), or (b) August 17, 2020
for any Claim of a Governmental Unit, in each case as established by the Bar Date Order.

        39.    “Bar Date Order” means the Order, Pursuant to 11 U.S.C. §§ 502(b)(9),
Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and 3003-1,
(I) Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and
Manner of Notice Thereof, (III) Approving Procedures for Providing Notice of Bar Date
and Other Important Information to Abuse Survivors, and (IV) Approving Confidentiality
Procedures for Abuse Survivors, entered by the Bankruptcy Court on May 26, 2020 at
Docket No. 695, as amended, modified or supplemented by order of the Bankruptcy Court
from time to time.

       40.      “Bond Issuer” means The County Commission of Fayette County (West
Virginia) in its capacity as the issuer under the 2010 Bond Agreement and the 2012 Bond
Agreement.

        41.    “BSA” means Boy Scouts of America, a congressionally chartered non-
profit corporation under title 36 of the United States Code.

       42.    “BSA Cash Sharing Amount” means (a) if the Warehouse and Distribution
Center has been sold prior to the Effective Date and (b) if the amount of Unrestricted Cash
and investments to be retained by Reorganized BSA after the calculation of Net
Unrestricted Cash and Investments is greater than $39,000,000 if the Effective Date occurs
before May 1, 2022 or $28,000,000 if the Effective Date occurs before June 1, 2022 or
$19,000,000 if the Effective Date occurs after June 1, 2022, an amount equal to 50% of the
difference between the amount of Unrestricted Cash and Investments to be retained by
Reorganized BSA and the foregoing thresholds, capped at $7,000,000.

       43.    “BSA Charter” means the congressional charter of the BSA, enacted on
June 15, 1916, as amended.

       44.      “BSA Insurance Policies” means any and all known and unknown contracts,
binders, certificates or Insurance Policies currently or previously in effect at any time on


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or before the Petition Date naming the Debtors, or either of them, or any predecessor,
subsidiary, or past or present Affiliate of the Debtors, as an insured (whether as the primary
or an additional insured), or otherwise alleged to afford the Debtors insurance coverage,
upon which any claim could have been, has been, or may be made with respect to any
Abuse Claim, including the policies listed on Schedule 2. Notwithstanding the foregoing,
BSA Insurance Policies shall not include: (a) any policy providing reinsurance to any
Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any Local Council
Insurance Policy; or (d) any Postpetition Insurance Policy.

       45.     “BSA Settlement Trust Contribution” means:

               a.      all of the Net Unrestricted Cash and Investments;

             b.      the BSA Settlement Trust Note, in the principal amount of
       $80,000,000, subject to the terms of Article V.S.3;

               c.    the BSA’s right, title and interest in and to the Artwork, which are
       deemed to be valued at approximately $59,000,000, and the rights to any insurance
       or the proceeds thereof with respect to missing, damaged, or destroyed Artwork, if
       any;

              d.       (i) if the Warehouse and Distribution Center is not sold prior to the
       Effective Date, all of the BSA’s right, title and interest in and to the Warehouse and
       Distribution Center, subject to the Leaseback Requirement, or the proceeds of a
       third-party sale-leaseback of the Warehouse and Distribution Center for fair market
       value, which is valued at approximately $11,600,000 or (ii) if the Warehouse and
       Distribution Center is sold prior to the Effective Date, the BSA Cash Sharing
       Amount, if any;

              e.     the BSA’s right, title and interest in and to the Oil and Gas Interests,
       which are valued at approximately $7,600,000;

               f.      the Insurance Assignment;

               g.      the Debtors’ Settlement Trust Causes of Action; and

              h.     the assignment of any and all Perpetrator Indemnification Claims
       held by the BSA.

For the avoidance of doubt, the BSA Settlement Trust Contribution shall not include: (i) the
proceeds of the Foundation Loan Facility; or (ii) any Causes of Action against Released
Parties or holders of General Unsecured Claims, Non-Abuse Litigation Claims, or
Convenience Claims released by the Debtors and their Estates under Article X.J.

        46.    “BSA Settlement Trust Note” means the secured, interest-bearing
promissory note in the principal amount of $80,000,000, substantially in the form contained
in the Plan Supplement, to be issued to the Settlement Trust by Reorganized BSA on the
Effective Date in accordance with Article V.S.3 and Article V.X.


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       47.    “Business Day” means any day, other than a Saturday, Sunday or “legal
holiday” as such term is defined in Bankruptcy Rule 9006(a).

       48.     “Cash” means legal tender of the United States of America.

         49.    “Cash Collateral Order” means the Final Order (I) Authorizing the Debtors
to Utilize Cash Collateral Pursuant to 11 U.S.C. § 363; (II) Granting Adequate Protection
to the Prepetition Secured Party Pursuant to 11 U.S.C. §§ 105(a), 361, 362, 363, 503, and
507; and (III) Granting Related Relief, entered by the Bankruptcy Court on April 15, 2020
at Docket No. 433.

         50.    “Causes of Action” means any claims, interests, damages, remedies, causes
of action, demands, rights, actions (including Avoidance Actions), suits, obligations,
liabilities, accounts, defenses, offsets, powers, privileges, licenses, liens , indemnities,
guaranties, and franchises of any kind or character whatsoever, whether known or
unknown, foreseen or unforeseen, existing or hereinafter arising, contingent or non-
contingent, liquidated or unliquidated, choate or inchoate, secured or unsec ured, capable
of being asserted, directly or derivatively, matured or unmatured, suspected or unsuspected,
in contract, tort, law, equity, or otherwise, whether arising before, on, or after the Petition
Date. Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment
and claims under contracts or for breaches of duties imposed by law or in equity; (b) the
right to object to or otherwise contest Claims or Interests; (c) such claims and defenses as
fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the
Bankruptcy Code; and (d) any claim under any local, state, federal or foreign law, including
any fraudulent transfer or similar claim.

         51.    “Century” means (a) Century Indemnity Company, as successor to CCI
Insurance Company, as successor to Insurance Company of North America and Indemnity
Insurance Company of North America; (b) Century Indemnity Company as successor to
CIGNA Specialty Insurance Company f/k/a California Union Insurance Company; (c)
Insurance Company of North America; and (d) and each of their past, present and future
direct or indirect parents, subsidiaries, affiliates and controlled entities, and each of their
respective officers, directors, stockholders, members, partners, managers, employees,
attorneys, agents, experts, consultants, predecessors, successors and assigns, each in their
capacity as such; provided that the term “Century” shall not include the foregoing persons
and entities in their capacities as contractual obligors under: (i) Non-Abuse Insurance
Policies (including but not limited to D&O Liability Insurance Policies) except to the
extent of a request for coverage and/or any Claims or Causes of Action related to, arising
from or in connection with Abuse Claims, any actions, settlements entered into, omissions
or positions taken in connection with the Debtors’ Chapter 11 Cases and related
proceedings and any extra-contractual claims related to, arising from or connected with
actions or omissions occurring prior to the Effective Date, including the Settling Insurers’
(as defined in the Century and Chubb Companies Settlement Agreement) performance of
their obligations under such policies whether for defense, settlement of claims or o therwise
and (ii) Postpetition Insurance Policies, except for any Claims or Causes of Action related
to, arising from or in connection with any actions, settlements entered into, omissions or
positions taken in connection with the Debtors’ Chapter 11 Cases and related proceedings


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and any extra-contractual claims related to, arising from or connected with actions or
omissions occurring prior to the Effective Date, including the Settling Insurers’
performance of their obligations under such policies whether f or defense, settlement of
claims or otherwise.

       52.     “Century and Chubb Companies Insurance Settlement” has the meaning
ascribed to such term in Exhibit I.

        53.      “Century and Chubb Companies Insurance Settlement Agreement” means
that certain settlement agreement by and between the Century and Chubb Companies, the
Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’ Representative, and
certain state court counsel to holders of Direct Abuse Claims, as such agreement is
described in the term sheet appended to the Seventh Mediator’s Report [D.I. 7745] filed on
December 14, 2021, and as such agreement may be subsequently set forth in and
superseded by a definitive written settlement agreement that is consistent with such term
sheet and executed by all of the parties thereto (and any additional parties that execute a
joinder thereto). The executed Century and Chubb Companies Insurance Settlement
Agreement was filed on the docket of the Chapter 11 Cases and attached hereto as Exhibit
I-2. Pending such execution, the term sheet shall serve as the description of the applicable
agreement.

        54.     “Century and Chubb Companies Policies” shall have the meaning set forth
for “Settling Insurers’ Policies” in the Century and Chubb Companies Insurance Settlement
Agreement; provided, however, that such policies shall not include (a) Non-Abuse
Insurance Policies, except to the extent of a request for coverage and/or any Claims or
Causes of Action related to, arising from or in connection with Abuse Claims, any actions,
omissions or positions taken in connection with the Chapter 11 Cases and related
proceedings and any extra-contractual claims related to, arising from or connected with
actions or omissions occurring prior to the Effective Date, including the Settling Insurers’
performance of their obligations under such policies whether for defense, settlement of
claims or otherwise or (b) Postpetition Insurance Policies, except for any Claims or Causes
of Action related to, arising from or in connection with any actions, omissions or positions
taken in connection with the Debtors’ Chapter 11 Cases and related proceedings and any
extra-contractual claims related to, arising from or connected with actions or omissions
occurring prior to the Effective Date, including the Settling Insurers’ performance of their
obligations under such policies whether for defense, settlement of claims or otherwise.

       55.    “Century and Chubb Companies Settlement Contribution” shall mean the
“Settlement Amount” as defined in the Century and Chubb Companies Insurance
Settlement Agreement, which is equal to Eight Hundred Million Dollars ($800,000,000).

        56.    “Channeling Injunction” means the permanent injunction provided for in
Article X.F with respect to (a) Abuse Claims against the Protected Parties, (b) Post-1975
Chartered Organization Abuse Claims against the Limited Protected Parties, (c) Abuse
Claims against the Limited Protected Parties that are covered under any insurance policy
issued by the Settling Insurance Companies (as determined pursuant to Section X.F.3), and



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        (d) Opt-Out Chartered Organization Abuse Claims against the Opt-Out Chartered
        Organizations, to be issued pursuant to the Confirmation Order.2

                57.   “Chapter 11 Cases” means the cases filed by the Debtors under chapter 11
        of the Bankruptcy Code, which are jointly administered under Case No. 20-10343 (LSS).

               58.     “Chartered Organizations” means each and every civic, faith-based,
        educational or business organization, governmental entity or organization, other entity or
        organization, or group of individual citizens, in each case presently or formerly authorized
        by the BSA to operate, sponsor or otherwise support one or more Scouting units.

               59.    “Chartered Organization Contribution” shall mean the Supplemental LC
        Contribution and the Settlement Growth Payment contributed by the Local Councils and
        the Reorganized BSA as consideration to facilitate the protections to certain Chartered
        Organizations, including with respect to the Post-Confirmation Interim Injunction.

                60.    “Chubb Companies” means (a) Westchester Fire Insurance Company;
        (b) Westchester Surplus Lines Insurance Company; (c) Industrial Insurance Company of
        Hawaii; (d) Chubb Custom Insurance Company; (e) Federal Insurance Company;
        (f) Pacific Indemnity Company; (g) Texas Pacific Indemnity Company; (h) U.S. Fire
        Insurance Company, to the extent policies were assumed by or novated to Westchester Fire
        Insurance Company; (i) International Insurance Company to the extent policies were
        assumed by or novated to Westchester Fire Insurance Company; (j) Industrial Indemnity
        Company; (k) Pacific Employers Insurance Company; (l) The North River Insurance
        Company, but only to the extent policies were assumed by or novated to Westchester Fire
        Insurance Company prior to the Effective Date; (m) Aetna Insurance Company; (n)
        American Foreign Insurance Association; (o) Chubb Atlantic Indemnity Ltd.; (p) INA
        Insurance Company of Illinois; and (q) each of their past, present and future direct or
        indirect parents, subsidiaries, affiliates and controlled entities, and each of their respective
        officers, directors, stockholders, members, partners, managers, employees, attorneys,
        agents, experts, consultants, predecessors, successors and assigns, each in their capacity as
        such provided that the term “Chubb” shall not include the foregoing persons and entities
        in their capacities as contractual obligors under: (i) Non-Abuse Insurance Policies
        (including but not limited to D&O Liability Insurance Policies) except to the extent of a
        request for coverage and/or any Claims or Causes of Action related to, arising from or in
        connection with Abuse Claims, any actions, settlements entered into, omissions or
        positions taken in connection with the Debtors’ Chapter 11 Cases and related proceedings
        and any extra-contractual claims related to, arising from or connected with actions or
        omissions occurring prior to the Effective Date, including the Settling Insurers’


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    For the avoidance of doubt, in the case of insureds and co-insureds that are Opt-Out Chartered Organizations, the
    terms “covered’ or “coverage” as used in the Channeling Injunctions and releases herein shall be subject to the
    maximum dollar limits included in the applicable policies issued by the Settling Insurance Companies. With
    respect to any other insured or co-insured under a policy issued by the Settling Insurance Companies (including
    Protected Parties and Limited Protected Parties), the terms “covered” or “coverage” shall be without reference to
    the dollar limits of such policies and the entirety of the Abuse Claims against such insured and co-insured shall
    be channeled and released subject to Article IV.C.1 hereof.


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performance of their obligations under such policies whether for defense, settlement of
claims or otherwise and (ii) Postpetition Insurance Policies, except for any Claims or
Causes of Action related to, arising from or in connection with any actions, settlements
entered into, omissions or positions taken in connection with the Debtors’ Chapter 11 Cases
and related proceedings and any extra-contractual claims related to, arising from or
connected with actions or omissions occurring prior to the Effective Date, including the
Settling Insurers’ performance of their obligations under such policies whether for defense,
settlement of claims or otherwise.

      61.     “Claim” means any “claim,” as defined in section 101(5) of the Bankruptcy
Code, which, for the avoidance of doubt, shall include any Abuse Claim.

        62.     “Claimant Representatives” means the Tort Claimants’ Committee, the
Coalition, the Future Claimants’ Representative, and Pfau/Zalkin.

       63.    “Claims Administrators” mean the two claims administrators appointed to
oversee the administration of claims in accordance with the Settlement Trust Agreement.

        64.    “Claims Objection Deadline” means the deadline for filing an objection to
any Administrative Expense Claim (other than a Professional Fee Claim), Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, which deadline shall be: (a) 180 days
after the Effective Date with respect to all such Claims and Interests other than
Convenience Claims, General Unsecured Claims, and Non-Abuse Claims, subject to any
extensions approved by an order of the Bankruptcy Court; and (b) sixty (60) days after the
Effective Date with respect to Convenience Claims, General Unsecured Claims, and Non-
Abuse Litigation Claims, subject to any extensions approved by an order of the Bankruptcy
Court with the consent of the Creditor Representative (such consent not to be unreasonably
withheld); provided, however, that the Debtors shall not be bound by the Claims Objection
Deadline with respect to any Claim filed after the Bar Date; provided further, however, that
the Claims Objection Deadline shall not apply to Abuse Claims, which shall be
administered exclusively in accordance with the Settlement Trust Documents.

        65.    “Claims Record Date” means the Voting Deadline, which is the date on
which the transfer register for each Class of Non-Abuse Claims against or Interests in the
Debtors, as such register is maintained by the Debtors or their agents, shall be deemed
closed.

       66.    “Claims Register” means the official register of Claims maintained by the
Notice and Claims Agent in the Chapter 11 Cases.

        67.     “Clarendon” means Clarendon National Insurance Company (as successor
in interest by merger to Clarendon America Insurance Company), River Thames Insurance
Company Limited (as successor in interest to UnionAmerica Insurance Company Limited),
and Zurich American Insurance Company (as successor in interest to Maryland Casualty
Company, Zurich Insurance Company and American General Fire & Casualty Company);
provided that the term “Clarendon” shall not include the foregoing persons and entities in


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their capacities as contractual obligors under: (i) Non-Abuse Insurance Policies (including
but not limited to D&O Liability Insurance Policies) except to the extent of a request for
coverage and/or any Claims or Causes of Action related to, arising from or in connection
with Abuse Claims, any actions, omissions or positions taken in connection with the
Debtors’ Chapter 11 Cases and related proceedings and any extra -contractual claims
related to, arising from or connected with actions or omissions occurring prior to the
Effective Date, including Clarendon’s performance of its obligations under such policies
whether for defense, settlement of claims or otherwise and (ii) Postpetition Insurance
Policies, except for any Claims or Causes of Action related to, arising from or in connection
with any actions, omissions or positions taken in connection with the Debtors’ Chapter 11
Cases and related proceedings and any extra-contractual claims related to, arising from or
connected with actions or omissions occurring prior to the Effective Date, including
Clarendon’s performance of its obligations under such policies whether for defense,
settlement of claims or otherwise.

       68.     “Clarendon Insurance Settlement” has the meaning ascribed to such term in
Exhibit I.

        69.    “Clarendon Insurance Settlement Agreement” means that certain settlement
agreement by and between Clarendon, the Debtors, the Ad Hoc Committee, the Coalition,
the Future Claimants’ Representative, as joined by certain state court counsel to holders of
Direct Abuse Claims, as such agreement was described in the term sheet appended to the
Tenth Mediators’ Report [D.I. 8095] filed on January 3, 2022, and as such agreement has
been subsequently set forth in and superseded by a definitive written settlement agreement
that is consistent with such term sheet and executed by all of the parties thereto as of
February 14, 2022 (and any additional parties that execute a joinder thereto). The executed
Clarendon Insurance Settlement Agreement was filed on the docket of the Chapter 11
Cases [D.I. 8907-3] and attached hereto as Exhibit I-4.

        70.    “Clarendon Policies” shall have the meaning set forth for such capitalized
term in the Clarendon Insurance Settlement Agreement.

       71.      “Clarendon Settlement Contribution” shall mean the “Settlement Amount”
as defined in the Clarendon Insurance Settlement Agreement, which is equal to Sixteen
Million Five Hundred Thousand Dollars ($16,500,000).

        72.     “Class” means each category of holders of Claims or Interests as set forth
in Article III pursuant to sections 1122 and 1123(a)(1) of the Bankruptcy Code.

      73.      “Coalition” means the Coalition of Abused Scouts for Justice, an ad hoc
committee composed of thousands of holders of Direct Abuse Claims that filed a notice of
appearance in the Chapter 11 Cases on July 24, 2020 at Docket No. 1040.

       74.     “Coalition Professionals” means (a) Brown Rudnick LLP, (b) Robbins,
Russell, Englert, Orseck & Untereiner LLP, (c) Monzack, Mersky and Browder, P.A.,
(d) Province, LLC, and (e) Parsons, Farnell & Grein, LLP.




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        75.     “Coalition Restructuring Expenses” has the meaning ascribed to such term
in Article V.T.

        76.     “Common-Interest Communications with Insurers” means documents,
information, or communications that are subject to the attorney-client privilege, attorney-
work product doctrine, or other privilege or protection from disclosure, and are shared
between or among (a) the Debtors and/or any Protected Party or Limited Protected Party,
on the one hand, and (b) any Insurance Company or its Representatives, on the other hand,
including documents that reflect defense strategy, case evaluations, discussions of
settlements or resolutions, and communications regarding underlying litigation. Common-
Interest Communications with Insurers do not include any communications between or
among the Debtors and any Insurance Company relating to matters on which an Insurance
Company has denied coverage.

        77.    “Compensation and Benefits Programs” means all employment agreements
and policies, and all employment, compensation, and benefit plans, policies, savings plans,
retirement plans (including the Pension Plan), deferred compensation plan s, supplemental
executive retirement plans, healthcare plans, disability plans, severance benefit
agreements, plans or policies, incentive plans, life and accidental death and
dismemberment insurance plans, and programs of the Debtors, and all amendments and
modifications thereto, applicable to the Debtors’ employees, former employees, retirees,
and non-employee directors, and the employees, retirees and non-employee directors of the
Local Councils and the Related Non-Debtor Entities. Notwithstanding the f oregoing, the
Compensation and Benefits Programs shall not include the Deferred Compensation Plan
or the Restoration Plan.

       78.     “Compensation Procedures Order” means the Order (I) Approving
Procedures for (A) Interim Compensation and Reimbursement of Expenses o f Retained
Professionals and (B) Expense Reimbursement for Official Committee Members and (II)
Granting Related Relief entered by the Bankruptcy Court on April 6, 2020 at Docket No.
341, as amended by the Order Amending the Order (I) Approving Procedures for (A)
Interim Compensation and Reimbursement of Expenses of Retained Professionals and (B)
Expense Reimbursement for Official Committee Members and (II) Granting Related Relief
entered by the Bankruptcy Court on August 6, 2021 at Docket No. 5899.

      79.     “Confirmation” means the entry of the Confirmation Order by the
Bankruptcy Court on the docket of the Chapter 11 Cases. “Confirm,” “Confirmed” and
“Confirmability” shall have correlative meanings.

      80.     “Confirmation Date” means the date on which the Bankruptcy Court enters
the Confirmation Order on the docket of the Chapter 11 Cases within the meaning of
Bankruptcy Rules 5003 and 9021.

       81.    “Confirmation Hearing” means the hearing(s) held by the Bankruptcy Court
under section 1128 of the Bankruptcy Code at which the Debtors seek entry of the
Confirmation Order.



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       82.    “Confirmation Order” means the order of the Bankruptcy Court confirming
the Plan pursuant to section 1129 of the Bankruptcy Code, which shall be in form and
substance acceptable to (a) the Debtors, the Ad Hoc Committee, the Coalition, the Future
Claimants’ Representative, the Tort Claimants’ Committee, the Settling Insurance
Companies (in accordance with their respective Insurance Settlement Agreements), and the
Contributing Chartered Organizations, and (b) the Creditors’ Committee and JPM in
accordance with their respective consent rights under the JPM / Creditors’ Committee
Term Sheet, as incorporated by reference in Article I.D.

        83.    “Contributing Chartered Organization Insurance Action” means any Cause
of Action of the Contributing Chartered Organizations, or any of them, under the laws of
any jurisdiction, against any Non-Settling Insurance Company, arising from or related to
an Abuse Insurance Policy, including: (a) any such Non -Settling Insurance Company’s
failure to provide coverage or otherwise pay under an Abuse Insurance Policy; (b) the
refusal of any Non-Settling Insurance Company to compromise and settle any Abuse Claim
under or pursuant to any Abuse Insurance Policy; (c) the interpretation or enforcement of
the terms of any Abuse Insurance Policy with respect to any Abuse Claim; (d) any conduct
by any Non-Settling Insurance Company that could give rise to extra-contractual damages,
or other wrongful conduct under applicable law; or (e) any right to receive proceeds held
by such Contributing Chartered Organization with respect to an Abuse Insurance Policy.
For the avoidance of doubt, no Cause of Action of the Contributing Chartered
Organizations, or any of them, against any Settling Insurance Company shall be deemed
an Insurance Action, except for any Cause of Action arising from or related to an Insurance
Settlement Agreement.

       84.     “Contributing Chartered Organization Insurance Rights” has the meaning
ascribed to such term in Article V.S.1.b.

       85.     “Contributing Chartered Organization Settlement Contribution” means the
following:

              a.     the contributions to the Settlement Trust by the Contributing
       Chartered Organizations, as set forth on Exhibit C, and contributions made after the
       Effective Date in accordance with Article IV.J;

               b.       to the maximum extent permitted by applicable law, any and all of
       the Contributing Chartered Organizations’ rights, titles, privileges, interests,
       claims, demands or entitlements, as of the Effective Date, to any proceeds,
       payments, benefits, Causes of Action, choses in action, defense, or indemnity, now
       existing or hereafter arising, accrued or unaccrued, liquidated or unliquidated,
       matured or unmatured, disputed or undisputed, fixed or contingent, arising under
       or attributable to: (i) the Abuse Insurance Policies, the Settling Insurer Policy
       Rights, the Insurance Settlement Agreements, and claims thereunder and proceeds
       thereof; (ii) the Insurance Actions; and (iii) the Insurance Action Recoveries;

               c.     the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter


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       11 Cases by or on behalf of any Contributing Chartered Organization, including
       any Indirect Abuse Claims, without any further notice to or action, order, or
       approval of the Bankruptcy Court, and the agreement of each Contributing
       Chartered Organization not to (i) file or assert any Claim or Claims against the
       Settlement Trust, the Debtors, or Reorganized BSA arising from any act or
       omission of the Debtors on or prior to the Confirmation Date or (ii) file or assert
       any rights or interests in any property transferred to the Settlement Trust under the
       Plan;

              d.      the Contributing Chartered Organizations’ Settlement Trust Causes
       of Action; and

              e.     the assignment of any and all Perpetrator Indemnification Claims
       held by the Contributing Chartered Organizations.

       86.     “Contributing Chartered Organizations” means the current or former
Chartered Organizations listed on Exhibit D hereto and any Chartered Organization made
a Protected Party under a Post-Effective Date Chartered Organization Settlement approved
by the Bankruptcy Court in accordance with Article IV.J. No Participating Chartered
Organization shall be considered a Contributing Chartered Organization based solely on
the Participating Chartered Organization Insurance Assignment. Without limiting the
foregoing, subject to Confirmation of the Plan and approval of the United Methodist
Settlement Agreement by an order of the Bankruptcy Court (including in the Confirmation
Order), the United Methodist Entities are Contributing Chartered Organizations and shall
be designated as such in the Confirmation Order and the Affirmation Order. No Chartered
Organization shall be a Contributing Chartered Organization unless it agrees to provide the
assignments and releases as set forth in Sections 9 and 10 of the Century and Chubb
Companies Insurance Settlement Agreement.

        87.      “Convenience Claim” means any Claim that would otherwise be a General
Unsecured Claim that is Allowed in an amount of $50,000 or less; provided that a holder
of a General Unsecured Claim that is Allowed in an amount greater than $50,000 may
irrevocably elect, as evidenced on the Ballot (as defined in the Voting Procedures) timely
and validly submitted by such holder (or other writing acceptable to the Debtors), to have
such Claim irrevocably reduced to $50,000 and treated as a Convenience Claim (upon
Allowance) for purposes of the Plan, in full and final satisfaction of such Claim; provided
further that a General Unsecured Claim may not be subdivided into multiple Convenience
Claims. The holder of an Allowed Non-Abuse Litigation Claim may elect to have such
Allowed Claim treated as a Convenience Claim solely in accordance with the terms of
Article III.B.9. For the avoidance of doubt, the holder of an Abuse Claim (includ ing Direct
Abuse Claims and Indirect Abuse Claims) may not elect to have such Claim treated as a
Convenience Claim.

      88.    “Core Value Cash Pool” means Cash in the aggregate amount of
$25,000,000 for purposes of making Distributions to holders of Allowed General
Unsecured Claims and, subject to the terms of Article III.B.9, holders of Allowed Non-



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Abuse Litigation Claims. Reorganized BSA shall fund the Core Va lue Cash Pool in
accordance with Article V.P.

        89.     “Creditor Representative” means the creditor representative to be appointed
as of the Effective Date in accordance with Article V.Q. The Creditor Representative will
be identified in the Plan Supplement.

       90.     “Creditor Representative Fee Cap” the maximum amount of reasonable
compensation and reimbursement of expenses that shall payable by Reorganized BSA to
the Creditor Representative on account of its services, which shall be equal to $100,000.

       91.     “Creditors’ Committee” means the official committee of unsecured
creditors appointed by the United States Trustee in the Chapter 11 Cases under section
1102(a) of the Bankruptcy Code.

        92.   “Cure Amount” means, with respect to any Executory Contract or
Unexpired Lease sought to be assumed or assumed and assigned by the Debtors, the
monetary amount, if any, required to cure the Debtors’ defaults under any such Executory
Contract or Unexpired Lease (or such lesser amount as may be agreed upon by the non-
Debtor party to an Executory Contract or Unexpired Lease) at the time such Executory
Contract or Unexpired Lease is assumed by the Debtors pursuant to sections 365 or 1123
of the Bankruptcy Code.

       93.    “Cure and Assumption Notice” means the notice of proposed assumption
of, and proposed Cure Amount payable in connection with, an Executory Contract or
Unexpired Lease (and, to the extent the Debtors seek to assume and assign any such
Executory Contract or Unexpired Lease pursuant to the Plan, adequate assurance of future
performance within the meaning of section 365 of the Bankruptcy Code), to be served in
accordance with Article VI.C.

       94.      “D&O Liability Insurance Policies” means all Insurance Policies issued at
any time to any of the Debtors and the Local Councils, for directors’, managers’, and
officers’ liability (including any “tail policy” or run-off coverage) and all agreements,
documents, or instruments relating thereto.

       95.     “De Minimis Asset” means any miscellaneous asset that is valued by the
Debtors at $10,000 or less and that is located at the premises subject to any Unexpired
Leases rejected by the Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code,
including furniture and equipment.

        96.    “Debtors” means the BSA and Delaware BSA, the non-profit corporations
that are debtors and debtors in possession in the Chapter 11 Cases.

        97.     “Deferred Compensation Plan” means the Boy Scouts of America 457(b)
Plan, a non-qualified deferred compensation plan under section 457(b) of the Internal
Revenue Code, which allows eligible BSA and Local Council employees to make elections
to defer the payment of a certain amount or percentage of their regular base salary or bonus
for future payment.


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     98.        “Delaware BSA” means Delaware BSA, LLC, a Delaware limited liability
company.

         99.    “Direct Abuse Claim” means an Abuse Claim that is not an Indirect Abuse
Claim.

        100. “Disallowed” means, as to any Administrative Expense Claim, Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, any such Claim or portion thereof that:
(a) has been disallowed, denied, dismissed, expunged, or overruled pursuant to the terms
of the Plan or a Final Order of the Bankruptcy Court or any other court of competent
jurisdiction or by a settlement; (b) has been listed on the Schedules at an amount of $0.00
or as contingent, disputed, or unliquidated and as to which a Bar Date has been established
but no Proof of Claim has been timely filed or deemed timely filed with the Bankruptcy
Court pursuant to either the Bankruptcy Code or any Final Order of the Bankruptcy Court,
including the Bar Date Order, or otherwise deemed timely filed under applicable law; or
(c) has not been scheduled and as to which a Bar Date has been established but no Proof
of Claim has been timely filed, such that the creditor holding such Claim shall not be treated
as a creditor with respect to such claim for the purposes of voting and distribution.
“Disallowance” and “Disallowing” have correlative meanings. With respect to any 2010
Credit Facility Claim, 2019 RCF Claim, 2010 Bond Claim, 2012 Bond Claim, Direct
Abuse Claim, Indirect Abuse Claim, or Interest, the term “Disallowed” shall not apply.

       101. “Disbursing Agent” means, with respect to all Claims other than Abuse
Claims, Reorganized BSA or a Person or Persons selected by the Debtors or Reorganized
BSA to make or facilitate Distributions contemplated under the Plan.

       102. “Discharge Injunction” means the injunction issued in accordance with
sections 524 and 1141 of the Bankruptcy Code and contained in Article X.E.2 of the Plan.

         103.   “Discharges” means the discharges set forth in Article X.E.

        104. “Disclosure Statement” means the disclosure statement for the Plan,
including all exhibits and schedules thereto, as the same may be amended, supplemented
or otherwise modified from time to time, as approved by the Bankruptcy Court pursuant to
section 1125 of the Bankruptcy Code, which is in form and substance acceptable to (a) the
Debtors, the Ad Hoc Committee, the Coalition and the Future Claimants’ Representative
and (b) the Creditors’ Committee and JPM in accordance with their respective consent
rights under the JPM / Creditors’ Committee Term Sheet.

       105. “Disclosure Statement Order” means one or more orders entered by the
Bankruptcy Court, in form and substance reasonably acceptable to (a) the Debtors, the Ad
Hoc Committee, the Coalition and the Future Claimants’ Representative and (b) the
Creditors’ Committee and JPM in accordance with their respective consent rights under
the JPM / Creditors’ Committee Term Sheet: (i) finding that the Disclosure Statement
(including any amendment, supplement, or modification thereto) contains adequate
information pursuant to section 1125 of the Bankruptcy Code; (ii) fixing the amounts of


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Claims solely for voting purposes and not for purposes of distributions; (iii) approving the
Voting Procedures; and (iv) authorizing solicitation of the Plan.

        106. “Disputed” means, as to any Administrative Expense Claim, Priority Tax
Claim, Other Priority Claim, Other Secured Claim, Convenience Claim, General
Unsecured Claim, or Non-Abuse Litigation Claim, any such Claim (or portion thereof) (a)
that is neither Allowed nor Disallowed, (b) that is listed on the Schedules as “disputed,”
“contingent,” or “unliquidated” or (c) for which a Proof of Claim has been filed or a written
request for payment has been made to the extent that any party in interest has interposed a
timely objection to such Claim, which objection has not been withdrawn or adjudicated
pursuant to a Final Order. The term “Disputed” does not apply to Abuse Claims.

       107. “Disputed Claims Reserve” means the reserve of Cash within the Core
Value Cash Pool to be Distributed to holders of Disputed General Unsecured Claims, if
and when such Disputed Claims become Allowed, which shall be funded with amounts
and on terms acceptable to the Creditor Representative.

       108. “Distribution” means the payment or delivery of Cash, property, or interests
in property, as applicable, to holders of Allowed Non-Abuse Claims under the terms of the
Plan. “Distributed” and “Distribution” have correlative meanings.

        109. “Distribution Date” means the dates on which the Disbursing Agent makes
a Distribution, or causes a Distribution to be made, from the Core Value Cash Pool to
holders of Allowed General Unsecured Claims and, subject to the terms of Article III.B.9,
holders of Allowed Non-Abuse Litigation Claims. Each Distribution Date shall occur as
soon as practicable after Reorganized BSA makes each semi-annual installment payment
of the Core Value Cash Pool in accordance with Article V.P.

      110.     “District Court” means the United States District Court for the District of
Delaware.

       111. “Document Appendix” means the document, substantially in the form
contained in the Plan Supplement, by and among Reorganized BSA, the Related Non -
Debtor Entities, the Local Councils, the Contributing Chartered Organizations, and the
Settlement Trust, in form and substance acceptable to the Debtors, the Ad Hoc Committee,
the Coalition, the Future Claimants’ Representative, and the Tort Claimants’ Committee.

       112. “DST” means the Delaware statutory trust established under Article V.Y
and the DST Agreement for the purposes set forth therein; provided, that the DST may be
any other type of Entity, provided such Entity is not affiliated with Reorganized BSA or
the Local Councils under principles of accounting.

       113. “DST Agreement” means the agreement governing the DST, dated as of the
Effective Date, the form of which shall be included in the Plan Supplement.

       114. “DST Note” means the non-recourse interest-bearing promissory note in the
principal amount of $125,000,000 (as limited by the DST Note Increase ), substantially in



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the form contained in the Plan Supplement, to be issued to the Settlement Trust by the DST
on the Effective Date in accordance with Article V.Y and the DST Note Mechanics.

       115. “DST Note Increase” means the increase of the DST Note from $100
million to an amount sufficient to ensure that the aggregate amount of the Supplemental
LC Contribution is achieved. In no circumstance will the DST Note Increase be more than
$25 million (for an aggregate amount of $125 million) and, to the extent that the LC
Overage is more than $15 million, the DST Note increase may be less than $25 million
(though not less than $21 million).

     116. “DST Note Mechanics” means the terms of Exhibit F as they relate to the
payments that will be made by the DST following the Effective Date.

        117. “Effective Date” means the first Business Day on which all of the conditions
precedent to the occurrence of the Effective Date set forth in Article IX.B shall have been
satisfied or waived pursuant to Article IX.C.

        118. “Encumbrance” means, with respect to any property (whether real or
personal, tangible or intangible), any mortgage, Lien, pledge, charge, security interest,
assignment, or encumbrance of any kind or nature in respect of such property, including
any conditional sale or other title retention agreement, any security agreement, and the
filing of, or agreement to give, any financing statement under the Uniform Comm ercial
Code or comparable law of any jurisdiction, to secure payment of a debt or performance of
an obligation.

        119.    “Entity” means an entity as defined in section 101(15) of the Bankruptcy
Code.

      120. “Estate” means, as to each Debtor, the estate created for such Debtor in its
Chapter 11 Case under sections 301 and 541 of the Bankruptcy Code upon the
commencement of the applicable Debtor’s Chapter 11 Case.

        121. “Estate Causes of Action” means any and all Causes of Action owned, held,
or capable of being asserted by or on behalf of either Debtor or its Estate, whether known
or unknown, in law, at equity or otherwise, whenever and wherever arising under the laws
of any jurisdiction, including actions that: (a) arise out of or are based on breach of contract,
fraudulent conveyances and transfers, breach of fiduciary duty, breach of duty of loyalty
or obedience, legal malpractice, recovery of attorneys’ fees, turnover of property and
avoidance or recovery actions of the Debtors or their respective Estates, including actions
that constitute property of the Estate under section 541 of the Bankruptcy Code that are or
may be pursued by a representative of the Estates, including pursuant to section 323 of the
Bankruptcy Code, and actions, including Avoidance Actions, that may be commenced by
a representative of the Estates under section 362 or chapter 5 of the Bankruptcy Code,
seeking relief in the form of damages (actual and punitive), imposition of a constructive
trust, turnover of property, restitution, and declaratory relief with respect thereto or
otherwise; or (b) seek to impose any liability upon, or injunctive relief on, any Protected
Party or to satisfy, in whole or in part, any Abuse Claim.


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        122. “Excess Cash and Investments” means, as of any date on or after the
Effective Date, the unrestricted Cash and balance sheet investments owned by Reorganized
BSA that are not subject to legally enforceable restrictions on the use or disposition of such
assets for a particular purpose.

       123.    “Excess Cash Sweep” has the meaning ascribed to such term in Article V.V.

         124. “Exculpated Parties” means, collectively, the following Persons: (a) the
Debtors; (b) the Creditors’ Committee; (c) the members of the Creditors’ Committee in
their capacities as such; (d) the Tort Claimants’ Committee; (e) the members of the Tort
Claimants’ Committee in their capacities as such; (f) the Future Claimants’ Representative;
(g) all of the Debtors’ current officers and directors, and former officers and directors who
served in such capacity during any portion of the Chapter 11 Cases; and (h) each of the
Debtors’, Creditors’ Committee’s, Tort Claimants’ Committee’s or Future Claimants’
Representative’s employees, volunteers, agents, attorneys, financial advisors, accountants,
investment bankers, consultants, representatives, and other professionals (each in their
capacity as such); provided, however, that no such Person described in the foregoing clause
(j) shall be an Exculpated Party unless such Person was employed or engaged in such
capacity on or after the Petition Date or, in the case of any professional, was retained in
these Chapter 11 Cases by order of the Bankruptcy Court.

        125. “Executory Contract” means any executory contract to which BSA is a party
that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy
Code.

        126. “Expedited Distribution” means a one-time Cash payment from the
Settlement Trust in the amount of $3,500.00, conditioned upon satisfaction of the criteria
set forth in the Trust Distribution Procedures.

       127. “Fee Examiner” means Justin H. Rucki of Rucki Fee Review, LLC, in his
capacity as the fee examiner appointed pursuant to the Order Appointing Fee Examiner
and Establishing Related Procedures for the Review of Applications of Retained
Professionals, entered by the Bankruptcy Court on September 18, 2020 at Docket No.
1342, or any successor appointed by the Bankruptcy Court.

         128. “Final Order” means an order or judgment of the Bankruptcy Court (or other
court of competent jurisdiction) that has not been reversed, vacated, stayed, modified or
amended, and as to which (a) the time to appeal, petition for certiorari or move for a new
trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari
or other proceedings for a new trial, reargument or rehearing shall then be pending, or (b) if
an appeal, writ of certiorari, new trial, reargument or rehearing thereof has been sought,
such order or judgment of the Bankruptcy Court (or other court of competent jurisdiction)
shall have been affirmed by the highest court to which such order was appealed, or
certiorari shall have been denied or a new trial, reargument or rehearing shall have been
denied with prejudice or resulted in no modification of such order, and the time to take any
further appeal, petition for certiorari or move for a new trial, reargument or rehearing shall
have expired; provided, however, that the possibility that a motion pursuant to section


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502(j) or 1144 of the Bankruptcy Code or under Rule 59 or Rule 60 of the Federal Rules
of Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with
respect to such order shall not cause such order to not be a Final Order.

       129. “Florida Sea Base Assignment” means the Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010 Credit
Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019 RCF
Agreement.

       130. “Florida Sea Base Mortgage” means the Mortgage, Security Agreement,
Assignment of Rents and Leases and Fixture Filing, dated as of March 21, 2019, by and
from the BSA, as mortgagor, and JPM, as mortgagee, which secures the BSA’s obligations
under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement,
and the 2019 RCF Agreement.

        131. “Foundation” means the National Boy Scouts of America Foundation, a
District of Columbia nonprofit corporation.

        132. “Foundation Loan” means the new second-lien term loan lending facility
pursuant to which the Foundation, as lender, shall make a term loan to Reorganized BSA,
as borrower, in the principal amount of $42,800,000, which is equal to the appraised value
of the Summit Bechtel Reserve. The material terms of the Foundation Loan are set forth
on the term sheet attached hereto as Exhibit E, which is qualified in its entirety by reference
to the Foundation Loan Agreement.

       133. “Foundation Loan Agreement” means the credit agreement governing the
Foundation Loan, dated as of the Effective Date, the form of which shall be included in the
Plan Supplement.

         134. “Future Abuse Claim” means any Direct Abuse Claim against any Protected
Party, Limited Protected Party, or an Opt-Out Chartered Organization that is attributable
to, arises from, is based upon, relates to, or results from, in whole or in part, directly,
indirectly, or derivatively, alleged Abuse that occurred prior to the Petition Da te but which,
as of the date immediately preceding the Petition Date, was held by a Person who, as of
such date, (a) had not attained eighteen (18) years of age, or (b) was not aware of such
Direct Abuse Claim as a result of “repressed memory,” to the exte nt the concept of
repressed memory is recognized by the highest appellate court of the state or territory where
the claim arose; provided further, however, that with respect to any Participating Chartered
Organization, the term “Future Abuse Claim” shall be limited to Post-1975 Chartered
Organization Abuse Claims and Pre-1976 Chartered Organization Abuse Claims that
satisfy either (a) or (b), and with respect to any Opt-Out Chartered Organization, the term
“Future Abuse Claim” shall be limited to Opt-Out Chartered Organization Abuse Claims
that satisfy either (a) or (b). For the avoidance of doubt, no Claim alleging Abuse shall be
a “Future Abuse Claim” against a Contributing Chartered Organization, a Participating
Chartered Organization, or an Opt-Out Chartered Organization if such Claim is wholly
unrelated to Scouting.


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       135. “Future Claimants’ Representative” means James L. Patton, Jr., the legal
representative appointed by the Bankruptcy Court for holders of Future Abuse Claims, or
any successor legal representative appointed by the Bankruptcy Court.

       136. “General Unsecured Claim” means any Claim against the Debtors that is
not an Administrative Expense Claim, a Priority Tax Claim, an Other Priority Claim, an
Other Secured Claim, a 2010 Credit Facility Claim, a 2019 RCF Claim, a 2010 Bond
Claim, a 2012 Bond Claim, a Convenience Claim, a Non-Abuse Litigation Claim, a Direct
Abuse Claim, or an Indirect Abuse Claim. Claims arising under the Deferred
Compensation Plan or the Restoration Plan shall be deemed to be General Unsecured
Claims.

       137. “Gift Annuity Agreements” mean the charitable gift annuity agreements
described in the Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and Donor
Programs and Practices and (B) Pay and Honor Related Prepetition Obligations, and (II)
Granting Related Relief, filed by the Debtors on the Petition Date at Docket No. 8.

      138. “Governmental Unit” means a governmental unit as defined in section
101(27) of the Bankruptcy Code.

         139. “Hartford” means Hartford Accident and Indemnity Company, First State
Insurance Company, Twin City Fire Insurance Company and Navigators Specialty
Insurance Company; provided that the term “Hartford” shall not include the foregoing
persons and Entities in their capacities as contractual obligors under: (i) the Hartford Non-
Abuse Insurance Policies (as defined in the Hartford Insurance Settlement Agreement)
except to the extent of a request for coverage and/or any Claims or Causes of Action related
to, arising from or in connection with Abuse Claims, any actions, omissions or positions
taken in connection with the Debtors’ Chapter 11 Cases and related proceedings and any
Extra-Contractual Claims (as defined in the Hartford Insurance Settlement Agreement)
related to, arising from or connected with actions or omissions occurring prior to the
Effective Date, including Hartford’s performance of its obligation s under such policies
whether for defense, settlement of claims or otherwise and (ii) Postpetition Insurance
Policies, except for any Claims or Causes of Action related to, arising from or in connection
with any actions, omissions or positions taken in connection with the Debtors’ Chapter 11
Cases and related proceedings and any Extra-Contractual Claims related to, arising from
or connected with actions or omissions occurring prior to the Effective Date, including the
Hartford’s performance of its obligations under such policies whether for defense,
settlement of claims or otherwise.

        140. “Hartford Additional Administrative Expense Claim” means Hartford’s
administrative expense claim, in addition to the Hartford Administrative Expense Claim,
of $23.61 million that Hartford may assert in accordance with the terms and conditions of
the Hartford Insurance Settlement Agreement in the event that BSA exercises a Fiduciary
Out or takes another Specified Action (as such capitalized terms are defined in the Hartford
Insurance Settlement Agreement), which administrative expense claim shall be reserved
for prior to distributions to unsecured creditors and to which the Debtors, the Ad Hoc


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Committee, the Future Claimants’ Representative, the Coalition, the Joining State Court
Counsel (as defined in the Hartford Insurance Settlement Agreement) and the Joining Local
Councils (as defined in the Hartford Insurance Settlement Agreement) shall not object or
argue that the claim should be allowed in an amount less than $23.61 million (except as
permitted under the Hartford Insurance Settlement Agreement).

         141. “Hartford Administrative Expense Claim” means Hartford’s administrative
expense claim for the Debtors’ alleged breach of the Settlement Agreement and Release
between Hartford and the Debtors, dated as of April 15, 2021, in the amount of $2,000,000,
which shall be paid in full in Cash to Hartford on, or as soon as reasonably practicable
after, the Effective Date in accordance with the Hartford Insurance Settlement Agreement.

       142.     “Hartford Insurance Settlement” has the meaning ascribed to such term in
Exhibit I.

        143. “Hartford Insurance Settlement Agreement” means that certain settlement
agreement by and between Hartford, the Debtors, the Ad Hoc Committee, the Coalition,
the Future Claimants’ Representative, as joined by certain state court counsel to holders of
Direct Abuse Claims and Local Councils that have executed or agree to execute a joinder,
as such agreement was described (as a settlement in principle) in the term sheet appended
to the Sixth Mediators’ Report [D.I. 6210] filed on September 14, 2021, and as such
agreement has been subsequently set forth in a definitive written settlement agreement that
is consistent with such term sheet and was executed by all of the parties thereto as of
February 14, 2022 (and any additional parties that execute a joinder thereto). The executed
Hartford Insurance Settlement Agreement was filed on the docket of the Chapter 11 Cases
[D.I. 8816-1] and attached hereto as Exhibit I-1, as corrected pursuant to the Notice of
Errata filed on April 21, 2022 [D.I. 9694].

        144. “Hartford Policies” shall have the meaning set forth for such capitalized
term in the Hartford Insurance Settlement Agreement.

        145. “Hartford Protected Parties” means (a) Hartford Accident and Indemnity
Company, First State Insurance Company, Twin City Fire Insurance Company, and
Navigators Specialty Insurance Company; (b) each of their past, present and future direct
or indirect parents, subsidiaries, affiliated Entities, controlled Entities, officers, directors,
stockholders, members, partners, managers, employees, attorneys, agents, experts,
consultants, predecessors, successors and assigns (each in their capacities as such); and (c)
all Representatives of each person or Entity identified in clauses (a) and (b) (each in their
capacities as such); provided that the term “Hartford Protected Parties” shall not include
the foregoing persons and Entities in their capacities as contractual obligors under: (i) the
Hartford Non-Abuse Insurance Policies as defined in the Hartford Insurance Settlement
Agreement) except to the extent of a request for coverage and/or any Claims or Causes of
Action related to, arising from or in connection with Abuse Claims, any actions, omissions
or positions taken in connection with the Debtors’ Chapter 11 Cases and related
proceedings and any Extra-Contractual Claims (as defined in the Hartford Insurance
Settlement Agreement) related to, arising from or connected with actions or omissions
occurring prior to the Effective Date, including the Hartford Protected Parties’ performance


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of their obligations under such policies, whether for defense, settlement of claims or
otherwise and (ii) Postpetition Insurance Policies, except for any Claims or Causes of
Action related to, arising from or in connection with any actions, omissions or positions
taken in connection with the Debtors’ Chapter 11 Cases and related proceedings and any
Extra-Contractual Claims (as defined in the Hartford Insurance Settlement Agreement)
related to, arising from or connected with actions or omissions occurring prior to the
Effective Date, including the Hartford Protected Parties’ performance of their obligations
under such policies, whether for defense, settlement of claims or otherwise.

       146. “Hartford Settlement Contribution” shall mean the “Settlement Amount” as
defined in the Hartford Insurance Settlement Agreement, which is equal to Seven Hundred
Eighty-Seven Million Dollars ($787,000,000).

       147. “Headquarters” means that certain parcel of real property owned by the
BSA located at 1325 West Walnut Hill Lane, Irving, Texas 75038, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon.

       148. “Headquarters Assignment” means that certain Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations unde r the 2010 Credit
Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019 RCF
Agreement.

       149. “Headquarters Deed of Trust” means that certain Deed of Trust, Security
Agreement, Assignment of Rents and Leases and Fixture Filing, dated as of March 21,
2019, by and between the BSA and JPM.

       150. “High Adventure Base Participant” means a registered Youth Member who
has paid the participation fee (which has not been refunded in whole or in part) for attending
a BSA program at one of the four high adventure bases (Florida Sea Base, Northern Tier,
Philmont or Summit Bechtel Reserve). High Adventure Base Participants do not include
Youth Members attending a Jamboree, an Order of the Arrow program, or an event
sponsored by the World Organization of the Scouting Movement (WOSM) or a member
of WOSM other than the BSA.

      151. “Impaired” means “impaired” within the meaning of section 1124 of the
Bankruptcy Code.

        152. “Indemnification Obligations” means each of the Debtors’ indemnification
obligations in place as of the Effective Date, whether in the bylaws, limited liability
company agreements, or other organizational or formation documents, board resolutions,
management or indemnification agreements, employment or other contracts, or otherwise,
for the past and present directors, officers, employees, attorneys, accountants, investment
bankers, and other professionals and agents who provided services to the Debtors before,
on, or after the Petition Date.




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        153. “Indirect Abuse Claim” means a liquidated or unliquidated Abuse Claim for
contribution, indemnity, reimbursement, or subrogation, whether contractual or implied by
law (as those terms are defined by the applicable non -bankruptcy law of the relevant
jurisdiction), and any other derivative Abuse Claim of any kind whatsoever, whether in the
nature of or sounding in contract, tort, warranty or any other theory of law or equity
whatsoever, including any indemnification, reimbursement, hold -harmless or other
payment obligation provided for under any prepetition settlement, insurance policy,
program agreement or contract; provided, however, that any retrospective premiums and
self-insured retentions arising out of any Abuse Claims under the Abuse Insurance Policies
shall not constitute an Indirect Abuse Claim and shall be treated in accordance with Article
IV.D.1.

       154. “Injunctions” means the Discharge Injunction, the Channeling Injunction,
the Insurance Entity Injunction, the Post-Confirmation Interim Injunction, the Release
Injunctions, and any other injunctions entered by the Bankruptcy Court or the District
Court in connection with Confirmation of the Plan.

        155. “Insurance Action” means any claim, Cause of Action, or right of the
Debtors, Related Non-Debtor Entities, Local Councils, or any of them, under the laws of
any jurisdiction, against any Non-Settling Insurance Company, arising from or related to
an Abuse Insurance Policy, including: (a) any such Non -Settling Insurance Company’s
failure to provide coverage or otherwise pay under an Abuse Insurance Policy; (b) the
refusal of any Non-Settling Insurance Company to compromise and settle any Abuse Claim
under or pursuant to any Abuse Insurance Policy; (c) the interpretation or enforcement of
the terms of any Abuse Insurance Policy with respect to any Abuse Claim; (d) any conduct
by any Non-Settling Insurance Company constituting “bad faith” conduct or that could
otherwise give rise to extra-contractual damages, or other wrongful conduct under
applicable law; (e) Participating Chartered Organization Insurance Action, (f) Contributing
Chartered Organization Insurance Action; or (g) any right to receive proceeds held by such
Person with respect to an Abuse Insurance Policy or an Insurance Coverage Action. For
the avoidance of doubt, no claim, Cause of Action, or right of the Debtors, Related Non -
Debtor Entities, Local Councils, Participating Chartered Organizations or Contributing
Chartered Organizations, or any of them, against any Settling Insurance Company shall be
deemed an Insurance Action, except for any Cause of Action arising from or related to an
Insurance Settlement Agreement.

       156. “Insurance Action Recoveries” means (a) Cash or other proceeds derived
from and paid by an Insurance Company pursuant to an Insurance Settlement Agreement
and (b) the right to receive the proceeds or benefits of any Insurance Action.

        157. “Insurance Assignment” means (x) the assignment and transfer to the
Settlement Trust of (a) the Insurance Actions, (b) the Insurance Action Recoveries, (c) the
Insurance Settlement Agreements, and (d) all other rights, claims, benefits, or Causes of
Action of the Debtors, Related Non-Debtor Entities, Local Councils, or Contributing
Chartered Organizations under or with respect to the Abuse Insurance Policies (but not the
policies themselves), and (y) the Participating Chartered Organization Insurance
Assignment. The Insurance Assignment does not include (i) any rights, claims, benefits,


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or Causes of Action under or with respect to any Non-Abuse Insurance Policies, including
D&O Liability Insurance Policies or (ii) any Local Council Reserved Rights.

         158. “Insurance Company” means any insurance company, insurance syndicate,
coverholder, insurance broker or syndicate insurance broker, guaranty association, or any
other Entity that has issued, or that has any actual, potential, demonstrated, or alleged
liabilities, duties, or obligations under or with respect to, any Insurance Policy or Local
Council Insurance Policy.

         159. “Insurance Coverage Actions” means any and all pending coverage
litigation between the BSA and any Insurance Company as of the Effective Date, including:
(a) Boy Scouts of America, et al. v. Insurance Company of North America et al., Case No.
DC-18-11896, pending in the 192nd Judicial District Court of Dallas County, Texas; (b)
Boy Scouts of America, et al. v. Hartford Accident and Indemnity Co., et al., Case No. DC-
18-07313, pending in the District Court of Dallas County, 95th Judic ial District; (c)
National Surety Corp. v. Boy Scouts of America, et al., Case No. 2017-CH-14975, pending
in the Circuit Court of Cook County, Illinois, Chancery Division; and (d) Hartford Accident
and Indemnity Co. and First State Ins. Co. v. Boy Scouts of America, et al., Adv. Pro. No.
20-50601 (LSS), pending before the Bankruptcy Court.

        160. “Insurance Coverage Defense” means, subject to Article X.M, all rights and
defenses that any Insurance Company may have under any Insurance Policy and applicable
law with respect to a claim seeking insurance coverage or to an Insurance Action, but
Insurance Coverage Defenses do not include any defense that the Plan or any of the other
Plan Documents do not comply with the Bankruptcy Code. Upon entry of the Confirmation
Order in the Chapter 11 Cases determining that the Insurance Assignment is authorized to
the extent provided in Article IX.A.3.j, an Insurance Coverage Defense shall not include
any defense that the Insurance Assignment is prohibited by the Abuse Insurance Policies
or applicable non-bankruptcy law except to the extent provided for in Article IX.A.3.j.

       161.    “Insurance Entity Injunction” means the injunction described in Article
X.H.

        162. “Insurance Policies” means any and all known and unknown contracts,
binders, certificates or insurance policies currently or previously in effect at any time on or
before the Petition Date naming the Debtors, the Local Councils, the Chartered
Organizations, or any of them, or any predecessor, subsidiary, or past or present Affiliate
of the Debtors, as an insured (whether as the primary or an additional insured), or otherwise
alleged to afford the Debtors, the Local Councils, or the Chartered Organizations insurance
coverage. Insurance Policies include Abuse Insurance Policies, BSA Insurance Policies,
Local Council Insurance Policies, and Non-Abuse Insurance Policies.

       163. “Insurance Settlements” mean the settlement agreements with Settling
Insurance Companies, as attached hereto as Exhibit I.

       164. “Insurance Settlement Agreement” means (a) any settlement agreement
entered into after the Petition Date and before the Effective Date by and among (i) any


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Insurance Company, on the one hand, and (ii) one or more of the Debtors and/or any other
Protected Party or Limited Protected Party, on the other hand, under which an Insurance
Policy and/or the Debtors and/or other Protected Parties’ or Limited Protected Parties’
rights thereunder with respect to Abuse Claims or Non-Abuse Litigation Claims are,
subject to Confirmation of the Plan and the entry of a Final Order approving such
settlement agreement (which order may be the Confirmation Order), released; and (b) any
Post-Effective Date Insurance Settlement entered into during the Insurance Settlement
Period by and between (i) any Insurance Company, on the one hand, and (ii) the Settlement
Trustee (or the Settlement Trustee and any other Protected Party), on the other hand, under
which an Insurance Policy that is subject to the Insurance Assignment and/or the Settlement
Trustee’s and/or Protected Parties’ or Limited Protected Parties’ righ ts thereunder with
respect to Abuse Claims or Non-Abuse Litigation Claims are released. All Insurance
Settlement Agreements entered into before the Effective Date related to Specified Primary
Insurance Policies that release the applicable Insurance Compan y from liability arising
from Non-Abuse Litigation Claims must be acceptable to the Creditors’ Committee in
accordance with the terms of the JPM / Creditors’ Committee Term Sheet; provided,
however, that with respect to proposed settlements of any Specified Excess Insurance
Policy entered into before the Effective Date, the Creditors’ Committee shall have
consultation rights.

        165. “Insurance Settlement Period” has the meaning ascribed to such term in
Article IV.K.

      166. “Interest” means any “equity security” as defined in section 101(16) of the
Bankruptcy Code.

        167. “Internal Revenue Code” means title 26 of the United States Code, 26
U.S.C. §§ 1 et seq., as in effect on the Petition Date, together with all amendments,
modifications, and replacements of the foregoing as the same may exist on any relevant
date to the extent applicable to the Chapter 11 Cases.

       168. “JPM” means JPMorgan Chase Bank, National Association and any
successors and assigns.

        169. “JPM / Creditors’ Committee Settlement” has the meaning ascribed to such
term in Article V..S.

       170. “JPM / Creditors’ Committee Term Sheet” means that certain settlement
term sheet appended as Exhibit A to the First Mediators’ Report filed on March 1, 2021 at
Docket No. 2292.

        171. “JPM Exit Fee” means an exit fee to be paid by Reorganized BSA on the
Effective Date, in an amount equal to the aggregate principal amount due and owing as of
the Effective Date, plus the undrawn amount of any letters of credit then outstanding, under
the Restated 2010 Bond Documents, the Restated 2012 Bond Documents and the Restated
Credit Facility Documents, multiplied by 0.50%.




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        172. “LC Overage” means the total aggregate amount of the Cash Contribution
and the Property Contribution, each as defined in Exhibit F appended hereto, that exceeds
$500 million. Notwithstanding anything to the contrary in this paragraph, the LC Overage
shall not be less than $15 million.

        173. “Leaseback Requirement” means the requirement that Reorganized BSA be
entitled to lease the Warehouse and Distribution Center from the Settlement Trust for fair
market value so long as the Settlement Trust holds title to such premises and that any sale
or other transfer of the Warehouse and Distribution Center by the Settlement Trust be
subject to Reorganized BSA’s right to lease such premises from any Person that acquires
the Warehouse and Distribution Center from the Settlement Trust (or any subsequent
acquirer) for fair market value for a term of not less than two years with four two -year
options to renew at the option of Reorganized BSA. If as of the filing of the Plan
Supplement the Bankruptcy Court has not approved a sale of the Warehouse and
Distribution Center or if no motion to approve such sale is then pending before the
Bankruptcy Court, then an agreement reflecting the terms of the Leaseback Requirement
shall be filed with the Plan Supplement.

        174.   “Lien” means any “lien” as defined in section 101(37) of the Bankruptcy
Code.

       175. “Life-Income Agreement” means the agreements described in the
Supplement to Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing
Debtors to (A) Maintain and Administer Prepetition Customer, Scout, and Donor
Programs and Practices and (B) Pay and Honor Related Prepetition Obligations, and (II)
Granting Related Relief, filed by the Debtors on March 3, 2020 at Docket No. 134.

       176. “Limited Protected Parties” means the Participating Chartered
Organizations and all of such Persons’ Representatives when acting in such representative
capacity; provided, however, that no Perpetrator is or shall be a Limited Protected Party.

       177. “Limited Protected Party Injunction Date” means the twelve (12) month
period following the Effective Date, as may be extended pursuant to the Settlement Trust
Agreement, to afford Participating Chartered Organizations an opportunity to negotiate an
appropriate settlement with the Settlement Trust and become a Contributing Chartered
Organization.

        178. “Local Council Insurance Policies” means any and all known and unknown
contracts, binders, certificates or insurance policies currently or previously in effect at any
time on or before the Petition Date naming the Local Councils, or any of them, or any
predecessor, subsidiary, or past or present Affiliate of any Local Council, as an insured
(whether as the primary or an additional insured), or otherwise alleged to afford any Local
Council insurance coverage, upon which any claim could have been, has been or may be
made with respect to any Abuse Claim, including the policies identified on Schedule 3.
Notwithstanding the foregoing, Local Council Insurance Policies shall not include: (a) any
policy providing reinsurance to any Insurance Company; (b) any Non-Abuse Insurance
Policy; (c) any BSA Insurance Policy; or (d) any Postpetition Insurance Policy.


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        179. “Local Council Insurance Rights” has the meaning ascribed to such term in
Article V.S.1.a.

        180. “Local Council Reserved Rights” (a) any right of a Local Council under any
Specified Insurance Policy with respect to any Non-Abuse Litigation Claim and (b) any
right of a Local Council or Related Non-Debtor Entity under any Specified Insurance
Policy with respect to any Cause of Action against such Local Council or Related Non -
Debtor Entity that does not relate to Abuse and remains unresolved as of the Effective
Date; provided, that such Local Council, Related Non-Debtor Entity, or applicable
claimant provides notice of such claim or Cause of Action to the Debtors, the Coalition,
the Tort Claimants’ Committee, and the Future Claimants’ Representative prior to the
Effective Date.

       181.   “Local Council Settlement Contribution” means:

               a.      the contributions to the Settlement Trust by the Local Councils, as
       set forth on Exhibit F and as updated in the Plan Supplement;

               b.      to the maximum extent permitted under applicable law, any and all
       of the Local Councils’ rights, titles, privileges, interests, claims, demands or
       entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes
       of Action, choses in action, defense, or indemnity, now existin g or hereafter arising,
       accrued or unaccrued, liquidated or unliquidated, matured or unmatured, disputed
       or undisputed, fixed or contingent, arising under or attributable to : (i) the BSA
       Insurance Policies, the Insurance Settlement Agreements, and claims thereunder
       and proceeds thereof (but not the policies themselves, except as otherwise required
       under the Insurance Settlement Agreements); (ii) the Insurance Actions; and (iii)
       the Insurance Action Recoveries; provided, however, that the transfer set forth
       herein will not include the Local Council Reserved Rights;

               c.     to the maximum extent permitted under applicable law, any and all
       of the Local Councils’ rights, titles, privileges, interests, claims, demands or
       entitlements, as of the Effective Date, to any proceeds, payments, benefits, Causes
       of Action, choses in action, defense, or indemnity, now existing or hereafter arising,
       accrued or unaccrued, liquidated or unliquidated, matured or unmatured, disputed
       or undisputed, fixed or contingent, arising under or attributable to: (i) the Local
       Council Insurance Policies, the Insurance Settlement Agreements, and claims
       thereunder and proceeds thereof; (ii) the Insurance Actions; and (iii) the Insurance
       Action Recoveries; provided, however, that the transfer set forth herein will not
       include the Local Council Reserved Rights;

               d.     the waiver, release, and expungement from the Claims Register, as
       of the Effective Date, of any and all Claims that have been asserted in the Chapter
       11 Cases by or on behalf of any Local Council, including any Indirect Abuse
       Claims, without any further notice to or action, order, or approval of the Bankruptcy
       Court, and the agreement of each Local Council not to (i) file or assert any Claim
       or Claims against the Settlement Trust, the Debtors, or Reorganized BSA arising


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       from any act or omission of the Debtors on or prior to the Confirmation Date or (ii)
       file or assert any rights or interests in any property transferred to the Settlement
       Trust under the Plan.

               e.      the Local Councils’ Settlement Trust Causes of Action; and

              f.     the assignment of any and all Perpetrator Indemnification Claims
       held by the Local Councils.

        182. “Local Councils” means, collectively, each and every current or former
local council of the BSA, including each and every current local council of the BSA as
listed on Exhibit G hereto, “supporting organizations” within the meaning of 26 U.S.C.
§ 509 with respect to any Local Council, Scouting units (including “troops,” “dens,”
“packs,” “posts,” “clubs,” “crews,” “ships,” “tribes,” “labs,” “lodge s,” “councils,”
“districts,” “areas,” “regions,” and “territories”) associated with any Local Council, and all
Entities that hold, own, or operate any camp or other property that is operated in the name
of or for the benefit of any of the foregoing.

       183. “Mediators” means the Honorable Kevin J. Carey (Ret.), Paul A. Finn, and
Timothy V.P. Gallagher, who were appointed by the Bankruptcy Court as mediators in the
Chapter 11 Cases under the Order (I) Appointing Mediators, (II) Referring Certain Matters
to Mediation, and (III) Granting Related Relief entered on June 9, 2020 at Docket No. 812,
as modified and limited to the time periods set forth in the supplemental order entered on
November 17, 2021 at Docket No. 7283 and the second supplemental order entered on
December 7, 2021 at Docket No. 7589.

        184. “Mixed Claim” means a claim that makes allegations of Abuse related to or
arising from Scouting as well as Abuse that occurred prior to the Petition Date unrelated to
or not arising from Scouting. A claim shall not be treated as a Mixed Claim unless and
until Scouting-related Abuse allegations have been asserted through a Proof of Claim, the
complaint, sworn discovery or testimony (including by affidavit).

        185. “Net Unrestricted Cash and Investments” means all of the Unrestricted Cash
and Investments as of the Effective Date, which shall include the net proceeds of the sale
of Scouting University, which equal approximately $1,902,000, and the net proceeds of the
sale of the Warehouse and Distribution Center if it is sold prior to the Effective Date, after
Reorganized BSA has received the proceeds of the Foundation Loan, less (a) $25,000,000
(subject to variance as set forth in Article V.M), which shall be funded first from the
proceeds of the Foundation Loan, (b) an amount of Cash equal to the JPM Exit Fee, (c) an
amount of Cash sufficient to fund all unpaid Allowed Administrative Expense Claims, (d)
without duplication, an amount of Cash sufficient to fund the Professional Fee Reserve, (e)
an amount of Cash equal to the Creditor Representative Fee Cap, (f) the amount of Cash
estimated to be required to satisfy Allowed Priority Tax Claims, Allowed Other Priority
Claims, Allowed Secured Claims, and Allowed Convenience Claims, and (g) an amount
of Cash sufficient to fund all accrued but unpaid interest and reasonable fees and expenses
of JPM as of the Effective Date to the extent not paid pursuant to the Cash Collateral Order.



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      186. “Non-Abuse Claim” means any Claim against the Debtors that is not an
Abuse Claim.

        187. “Non-Abuse Insurance Policy” means any and all known and unknown
contracts, binders, certificates or Insurance Policies currently or previously in effect at any
time on or before the Petition Date naming the Debtors, the Local Councils, the Chartered
Organizations, or any of them, or any predecessor, subsidiary, or past or present Affiliate
of the Debtors, as an insured (whether as the primary or an additional insured), or otherwise
alleged to afford the Debtors, the Local Councils, or the Chartered Organizations insurance
coverage, upon which any claim could have been, has been, or may be made with respect
to any Non-Abuse Claim and which does not include coverage for Abuse Claims; provided,
however, Non-Abuse Insurance Policies, including the D&O Liability Insurance Policies,
do not include Abuse Insurance Policies (which Abuse Insurance Policies, for the
avoidance of doubt, include the Specified Insurance Policies).

         188. “Non-Abuse Litigation Claim” means any Claim that is a prepetition
unsecured non-priority Claim against the Debtors relating to pending or threatened
litigation against one or both of the Debtors that does not relate to Abuse. For the avoidance
of doubt, Non-Abuse Litigation Claims include (a) all personal injury or wrongful death
Claims against the Debtors that do not relate to Abuse and (b) all Claims against the
Debtors asserted by the Girl Scouts of the United States of America. Non-Abuse Litigation
Claims do not include any Administrative Expense Claims that may be asserted by holders
of Non-Abuse Litigation Claims.

        189. “Non-Settling Insurance Company” means any Insurance Company that is
not a Settling Insurance Company.

       190. “Northern Tier Assignment” means that certain Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010 Credit
Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019 RCF
Agreement.

       191. “Northern Tier Mortgage” means that certain Mortgage, Security
Agreement, Assignment of Rents and Leases and Fixture Filing, dated as of March 21,
2019, by and from the BSA, as mortgagor, and JPM, as mortgagee, which secures the
BSA’s obligations under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012
Bond Agreement, and the 2019 RCF Agreement.

       192. “Notice and Claims Agent” means Omni Agent Solutions, in its capacity as
“claims and noticing agent” for the Debtors, and any successor thereto.

       193. “Official Committees” means the Tort Claimants’ Committee and the
Creditors’ Committee.

      194. “Oil and Gas Interests” means those certain mineral or royalty interests
owned by the BSA, consisting of approximately 1,027 properties located in Alabama,
Arkansas, California, Florida, Georgia, Illinois, Louisiana, Michigan, Mississippi,

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Nebraska, New Mexico, North Dakota, Oklahoma, Oregon, Texas, South Dakota and
Wyoming. The Oil and Gas Interests include those listed on Schedule 4.

        195. “Opt-Out Chartered Organization Abuse Claims” means any Abuse Claim
against an Opt-Out Chartered Organization that is alleged to have occurred prior to the
Petition Date (including prior to January 1, 1976) and to the extent that is covered under
an insurance policy issued by a Settling Insurance Company.

        196. “Opt-Out Chartered Organization” means a Chartered Organization that is
not a Contributing Chartered Organization or a Participating Chartered Organization
because such Chartered Organization has (a) objected to confirmation of the Plan or
(b) informed Debtors’ counsel in writing on or before the confirmation objection deadline
that it does not wish to make the Participating Chartered Organization Insurance
Assignment. For the avoidance of doubt, (i) Opt-Out Chartered Organizations shall receive
the benefit of the Channeling Injunction applicable to Abuse Claims covered under any
insurance policy issued by the Settling Insurance Companies and (ii) Opt–Out Chartered
Organizations shall not be required to provide assignments and releases with respect to
insurance policies issued directly to an Opt-Out Chartered Organization. Notwithstanding
the foregoing, with respect to any Chartered Organization that is a debtor in bankruptcy as
of the Confirmation Date, such Chartered Organization shall be treated as an Opt-Out
Chartered Organization and will only be treated as a Participating Chartered Organization
if it advises the Debtors’ counsel in writing that it wishes to make the Participating
Chartered Organization Insurance Assignment, and, for the avoidance of doubt, absent
such written advisement, none of such Chartered Organization’s rights to or under the
Abuse Insurance Policies shall be subject to the Participating Chartered Organization
Insurance Assignment, provided, however, that Abuse Claims against such Chartered
Organizations shall be subject to the injunction and release applicable to Opt-Out Chartered
Organization Abuse Claims. A list of Chartered Organizations that are debtors in
bankruptcy as of the Confirmation Date is attached hereto as Exhibit K. For the avoidance
of doubt, Opt-Out Chartered Organizations, by definition, are not Participating Chartered
Organizations, Limited Protected Parties, or Contributing Chartered Organizations. The
term “Opt-Out Chartered Organization,” on the one hand, and the terms “Participating
Chartered Organizations,” “Limited Protected Parties,” and “Contributing Chartered
Organizations,” on the other than, are mutually exclusive.

        197. “Other Priority Claim” means any Claim against the Debtors that is entitled
to priority in right of payment under section 507(a) of the Bankruptcy Code, other than an
Administrative Expense Claim or a Priority Tax Claim.

       198. “Other Secured Claim” means any Secured Claim against the Debtors other
than any 2010 Credit Facility Claim, 2019 RCF Claim, 2010 Bond Claim, or 2012 Bond
Claim.

        199. “Participating Chartered Organization” means a Chartered Organization
(other than a Contributing Chartered Organization, including the United Methodist
Entities) that does not (a) object to confirmation of the Plan or (b) inform Debtors’ counsel
in writing on or before the confirmation objection deadline that it does not wish to make


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        the Participating Chartered Organization Insurance Assignment. 3 Notwithstanding the
        foregoing, with respect to any Chartered Organization that is a debtor in bankruptcy as of
        the Confirmation Date, such Chartered Organization shall be a Participating Chartered
        Organization only if it advises Debtors’ counsel in writing that it wishes to make the
        Participating Chartered Organization Insurance Assignment, and, for the avoidance of
        doubt, absent such written advisement, none of such Chartered Organization’s rights to or
        under the Abuse Insurance Policies shall be subject to the Participating Chartered
        Organization Insurance Assignment. A list of Chartered Organizations that are debtors in
        bankruptcy and whether they have advised the Debtors’ counsel that they wish to make the
        Participating Chartered Organization Insurance Assignment, subject to approval in their
        bankruptcy cases is attached hereto as Exhibit K.

                200. “Participating Chartered Organization Insurance Action” means any Cause
        of Action of the Participating Chartered Organizations, or any of them, under the laws of
        any jurisdiction, against any Non-Settling Insurance Company, arising from or related to
        an Abuse Insurance Policy related to Abuse Claims that first occurred on or after January
        1, 1976, including: (a) any such Non-Settling Insurance Company’s failure to provide
        coverage or otherwise pay under an Abuse Insurance Policy; (b) the refusal of any Non -
        Settling Insurance Company to compromise and settle any Abuse Claim under or pursuant
        to any Abuse Insurance Policy; (c) the interpretation or enforcement of the terms of any
        Abuse Insurance Policy with respect to any Abuse Claim; (d) any conduct by any Non -
        Settling Insurance Company that could give rise to extra-contractual damages, or other
        wrongful conduct under applicable law; or (e) any right to receive proceeds held by such
        Participating Chartered Organization with respect to an Abuse Insurance Policy. For the
        avoidance of doubt, no Cause of Action of the Participating Chartered Organizations, or
        any of them, against any Settling Insurance Company shall be deemed an Insurance Action,
        except for any Cause of Action arising from or related to an Insurance Settlement
        Agreement.

                201. “Participating Chartered Organization Insurance Assignment” means,
        subject to Article IX.A.3.j, any and all of the Participating Chartered Organizations’ rights
        in and to (a) the Participating Chartered Organization Insurance Actions, (b) the Insurance
        Action Recoveries, (c) the Insurance Settlement Agreements and claims thereunder and
        proceeds thereof, (d) the Abuse Insurance Policies (but not the policies themselves) issued
        by Settling Insurance Companies, and (e) Settling Insurer Policy Rights.

               202. “Participating Chartered Organization Insurance Rights” has the meaning
        ascribed to such term in Article V.S.1.c.

                203.    “Participating Chartered Organization Settlement Contribution” means:

                        a.     to the maximum extent permitted by applicable law, the
                Participating Chartered Organization Insurance Assignment;


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    See Article V.S.8 herein with respect to inclusion of Roman Catholic Entities as Participating Chartered
    Organizations.


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               b.      to the extent of any rights, claims or interests not assigned to the
       Settlement Trust pursuant to the Participating Chartered Organization Insurance
       Assignment, the waiver and complete release of (i) each of the Participating
       Chartered Organization’s rights, titles, privileges, interests, claims, demands or
       entitlements under the Settling Insurance Companies’ Abuse Insurance Policies and
       any Settling Insurer Policy Rights; (ii) any Claim held by the Participating
       Chartered Organization that is attributable to, arises from, is based upon, relates to,
       or results from, in whole or part, directly, indirectly, or derivatively (including
       through any insurance policy issued by the Settling Insurance Companies), alleged
       Abuse Claims that occurred prior to the Petition Date against the Settlement Trust,
       the Debtors, Reorganized BSA, the Local Councils, any Contributing Chartered
       Organization or Settling Insurance Companies; and (iii) any and all Claims that
       have been asserted in the Chapter 11 Cases by or on behalf of any Pa rticipating
       Chartered Organization, including any Indirect Abuse Claims, without any further
       notice to or action, order, or approval of the Bankruptcy Court, which Claims shall
       be expunged from the Claims Register, and the agreement of each Participating
       Chartered Organization not to (a) file or assert any Claim or Claims against the
       Settlement Trust, the Debtors, or Reorganized BSA arising from any act or
       omission of the Debtors, the Local Councils, any Contributing Chartered
       Organization, or any Participating Chartered Organization on or prior to the
       Confirmation Date, (b) object to the Document Appendix and obligations
       thereunder, or (c) file or assert any rights or interests in any property transferred to
       the Settlement Trust under the Plan, including the proceeds of any settlements paid
       by a Settling Insurance Company; and

             c.      the assignment to the Settlement Trust of any and all Perpetrator
       Indemnification Claims held by the Participating Chartered Organizations.

       204. “Pension Plan” means the Boy Scouts of America Retirement Plan for
Employees, a single-employer, qualified, defined benefit pension plan that is subject to the
Employee Retirement Income Security Act of 1974, as amended, and the Internal Revenue
Code, of which BSA is the sponsor.

        205. “Perpetrator” means any individual who personally committed or is alleged
to have personally committed an act of Abuse that forms the basis for an Abuse Claim.
The term “Perpetrator” does not include any individual who did not personally commit or
is not alleged to have personally committed an act of Abuse that forms the basis for an
Abuse Claim, against whom an Abuse Claim is nevertheless asserted or may be asserted,
including by virtue of such individual’s position or service as an employee or volunteer of
the Debtors or as a Scout participant, or by virtue of such individual’s position or service
as an employee or volunteer of a Local Council or a Chartered Organization or as a Scout
participant.

       206. “Perpetrator Indemnification Claim” means a Claim against a Perpetrator
for indemnification or contribution arising from or relating to an Abuse Claim.




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         207.   “Person” has the meaning set forth in section 101(41) of the Bankruptcy
Code.”

         208.   “Petition Date” means February 18, 2020.

       209. “Pfau/Zalkin” means the law firms of Pfau Cochran Verteris Amala PLLC
and the Zalkin Law Firm, P.C.

       210. “Philmont Assignment” means that certain Assignment of Agreements,
Licenses, Permits and Contracts, dated as of March 21, 2019, by and from the BSA, as
assignor, and JPM, as assignee, which secures the BSA’s obligations under the 2010 Credit
Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement, and the 2019 RCF
Agreement.

       211. “Philmont Mortgage” means that certain Mortgage, Security Agreement,
Assignment of Rents and Leases and Fixture Filing, dated as of March 21, 2019, by and
from the BSA, as mortgagor, and JPM, as mortgagee, which secures the BSA’s obligations
under the 2010 Credit Agreement, the 2010 Bond Agreement, the 2012 Bond Agreement,
and the 2019 RCF Agreement.

       212. “Plan” means this Third Modified Fifth Amended Plan of Reorganization
(With Technical Modifications) for Boy Scouts of America and Delaware BSA, LLC filed
by the Debtors, as the same may be amended or modified from time to time pursuant to
section 1127 of the Bankruptcy Code.

        213. “Plan Documents” means, collectively, the Plan, the Disclosure Statement,
the Disclosure Statement Order, each of the documents that comprises the Plan
Supplement, and all of the exhibits and schedules attached to any of the foregoing. The
Plan Documents shall be in form and substance acceptable to (a) the Debtors, the Ad Hoc
Committee, the Coalition, the Tort Claimants’ Committee, the Future Claimants’
Representative, Hartford, the Century and Chubb Companies, Zurich Insurers and Zurich
Affiliated Insurers, Clarendon, and any other Settling Insurance Companies all in
accordance with their consent rights, and (b) the Creditors’ Committee and JPM in
accordance with their consent rights under the JPM / Creditors’ Committee Term Sheet.

        214. “Plan Supplement” means the compilation of documents and forms of
documents, agreements, schedules, exhibits, and annexes to the Plan, which the Debtors
shall file no later than fourteen (14) days before the Voting Deadline, unless otherwise
ordered by the Bankruptcy Court, and additional documents filed with the Bankruptcy
Court before the Effective Date as amendments, modifications or supplements to the Plan
Supplement. The Plan Supplement will include the following: (a) the Amended BSA
Bylaws; (b) the Assumed Contracts and Unexpired Leases Schedule; (c) the form of the
BSA Settlement Trust Note; (d) the form of the Document Appendix; (e) the form of the
DST Agreement; (f) the form of the DST Note; (g) the name of the Creditor Representative;
(h) changes, if any, to Reorganized BSA’s directors and officers; (i) the form of the
Foundation Loan Agreement; (j) the form of agreement reflecting the terms of the
Leaseback Requirement; (k) the Rejected Contracts and Unexpired Leases Schedule; (l)


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the forms of the Restated 2010 Bond Documents; (m) the forms of the Restated 2012 Bond
Documents; (n) the forms of the Restated Credit Facility Documents; (o) the form of the
Restated Security Agreement; (p) the names of the initial members of the Settlement Trust
Advisory Committee; (q) the form of releases to be executed by a holder of an Abuse Claim
with respect to such Abuse Claim as a condition precedent to receiving any proceeds from
the Settlement Trust as set forth in the Trust Distribution Procedures; and (r) actual or
anticipated changes in Local Council Settlement Contributions; provided that the Plan
Documents listed in clauses (b) and (k) of the foregoing sentence will be revised, in the
Debtors’ discretion, subject to Article VI, to account for any additional Executory
Contracts or Unexpired Leases to be assumed or rejected in advance of the Confirmation
Hearing. The Plan Supplement shall be served only on those parties that have requested
notice in the Chapter 11 Cases pursuant to Bankruptcy Rule 2002 and any party in interest
who requests in writing a copy from counsel to the Debtors. Once the Plan Supplement is
filed, a copy will also be available for review on the Notice and Claims Agent’s website
free of charge at https://omniagentsolutions.com/BSA. The Plan Supplement shall be in
form and substance reasonably acceptable to the Creditors’ Committee, JPM, the Settling
Insurance Companies, and the Contributing Chartered Organizations, as applicable.

       215. “Post-1975 Chartered Organization Abuse Claims” means any Abuse Claim
against a Participating Chartered Organization that relates to Abuse alleged to have first
occurred on or after January 1, 1976.

       216. “Post-Confirmation Interim Injunction” shall have the meaning ascribed to
such term in Article X.D.

      217. “Post-Effective Date Chartered Organization Settlement” shall have the
meaning ascribed to such term in Article IV.J.

       218. “Post-Effective Date Insurance Settlement” shall have the meaning ascribed
to such term in Article IV.K.

        219. “Postpetition Insurance Policies” means insurance policies issued by the
Settling Insurance Companies to the Debtors or the Local Councils and effective on or after
the Petition Date, but only to the extent of coverage for Claims and Causes of Action arising
from acts or events that first took place after the Petition Date. For the avoidance of doubt,
Postpetition Insurance Policies expressly exclude the right to seek coverage for Abuse
Claims, including any settlements incorporated into the Plan or settlements entered into by
the Settlement Trust.

         220. “Pre-1976 Chartered Organization Abuse Claims” means any Abuse Claim
that is alleged to have occurred prior to January 1, 1976 that is covered under an insurance
policy issued by a Settling Insurance Company.

       221. “Prepetition Century and Chubb Companies Claims” means all Claims and
Causes of Action of the Debtors against certain of the Century and Chubb Companies
including for payment of defense, indemnity costs, and any other potential damages
allegedly owed as of the Petition Date.


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        222. “Prepetition Debt and Security Documents” means, collectively, the 2010
Credit Facility Documents, the 2019 RCF Documents, the 2010 Bond Documents, the 2012
Bond Documents, the Prepetition Security Documents (2019), and the Prepetition Security
Agreement (2020).

        223. “Prepetition Hartford Claims” means all Claims and Causes of Action,
known or unknown, that have been or could be asserted by the Debtors or either of them
against any Hartford Protected Party for payment of defense and indemnity costs allegedly
owed as of the Petition Date.

        224. “Prepetition Security Agreement (2019)” means that certain Third
Amended and Restated Security Agreement, dated as of March 21, 2019, by and among
the BSA and Arrow, as debtors, JPM, in its capacity as collateral agent, JPM, in its capacity
as the lender under each of the 2010 Credit Agreement and the 2019 RCF Agreement, and
as holder under each of the 2010 Bond Agreement and the 2012 Bond Agreement.

       225. “Prepetition Security Agreement (2020)” means that certain Consent and
Security Agreement dated as of February 3, 2020, by and among Delaware BSA, the BSA,
JPM, as collateral agent, and JPM, in its capacity as the lender under the 2010 Credit
Agreement and the 2019 RCF Agreement, and as holder under the 2010 Bond Agreement
and the 2012 Bond Agreement.

        226. “Prepetition Security Documents (2019)” means, collectively, the
Prepetition Security Agreement (2019), the Florida Sea Base Mortgage, the Florida Sea
Base Assignment, the Headquarters Deed of Trust, the Headquarters Assignment, the
Northern Tier Mortgage, the Northern Tier Assignment, the Philmont Mortgage, the
Philmont Assignment, and the Arrow Collateral Assignment.

      227. “Priority Tax Claim” means any Claim of a Governmental Unit against the
Debtors that is entitled to priority in payment under section 507(a)(8) of the Bankruptcy
Code.

        228. “Privileged Information” means any privileged information that relates, in
whole or in part, to any Abuse Claim, including: (a) the Debtors’ books and records
transferred to the Settlement Trust in accordance with the Document Appendix; (b) any
privileged information containing a factual or legal analysis or review of any Abuse Claim;
(c) any privileged information evaluating the reasonableness, effectiveness, or
Confirmability of the Plan or any other chapter 11 plan filed or that could be filed in the
Chapter 11 Cases; (d) any privileged information exchanged by the Debtors or their
professionals, on the one hand, and any of the Related Non -Debtor Entities, Local
Councils, the Ad Hoc Committee, either Official Committee, the Future Claimants’
Representative, or their respective Representatives, on the other hand, related to the Plan,
the Plan Documents, or the Abuse Claims; and (e) information shared pursuant to that
certain Joint Defense, Common Interest, and Confidentiality Agreement among the BSA,
the Ad Hoc Committee, and each Local Council that executed a joinder to said agreement
that was acknowledged in writing by the BSA and the Ad Hoc Committee; (f) any
privileged information containing a factual or legal analysis of the Debtors’ potential


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exposure in connection with any Abuse Claim or any litigation related thereto; and (g) any
Common-Interest Communications with Insurers.

        229. “Pro Rata” means, at any time, with respect to any Claim, the proportion
that the amount of such Claim in a particular Class or group of Classes bears to the
aggregate amount of all Claims (including Disputed Claims) in such Class or group of
Classes, unless in each case the Plan provides otherwise.

        230. “Pro Rata Share” means the proportion that an Allowed Claim in a
particular Class bears to the aggregate amount of all Allowed Claims in that Class.

      231. “Professional” means any Person retained by the Debtors, the Tort
Claimants’ Committee, the Creditors’ Committee, or the Future Claimants’ Representative
pursuant to a Final Order of the Bankruptcy Court entered under sections 327, 328, 363, or
1103 of the Bankruptcy Code.

        232. “Professional Fee Claim” means any Claim of a Professional or other
Person for Allowance by the Bankruptcy Court and payment by the Debtors of
compensation for services rendered and/or reimbursement of costs or expenses incurred in
the Chapter 11 Cases for the period from the Petition Date to and including the Effective
Date under sections 328, 330, 331, or 503(b) of the Bankruptcy Code, including a Claim
for reimbursement and/or payment of Coalition Restructuring Expenses under Article V.T.

       233. “Professional Fee Reserve” means a segregated account funded from
Unrestricted Cash and Investments on hand of the Debtors as of the Effective Date in an
amount equal to the Professional Fee Reserve Amount as of such date, solely for the
purpose of paying all Allowed Professional Fee Claims.

       234. “Professional Fee Reserve Amount” means the aggregate Accrued
Professional Fees as of the Effective Date, as estimated by the Professionals in accordance
with Article II.A.2.

       235. “Proof of Claim” means any proof of claim filed with the Bankruptcy Court
or the Notice and Claims Agent pursuant to section 501 of the Bankruptcy Code and
Bankruptcy Rules 3001 or 3002 that asserts a Claim against either of the Debtors.

        236. “Protected Parties” means the following Persons: (a) the Debtors;
(b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Local Councils; (e) the
Contributing Chartered Organizations; (f) the Settling Insurance Companies; and (g) all of
such Persons’ Representatives; provided, however, that no Perpetrator is or shall be a
Protected Party. Notwithstanding the foregoing, a Contributing Chartered Organization
shall be a Protected Party with respect to Abuse Claims only as set forth in the definition
of “Abuse Claim.”

      237. “Quarterly Fees” means all fees due and payable pursuant to section
1930(a)(6) of title 28 of the United States Code.




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         238. “Reinstatement” means (a) leaving unaltered the legal, equitable and
contractual rights to which a Claim entitles the holder of such Claim or (b) notwithstanding
any contractual provision or applicable law that entitles the holder of such Claim to demand
or receive accelerated payment of such Claim after the occurrence of a default, (i) curing
any such default that occurred before or after the Petition Date, other than a default of a
kind specified in section 365(b)(2) of the Bankruptcy Code; (ii) reinstating the maturity of
such Claim as such maturity existed before such default; (iii) compensating the holder of
such Claim for any damages incurred as a result of any reasonable reliance by such holder
on such contractual provision or such applicable law; (iv) if such Claim arises from any
failure to perform a nonmonetary obligation, compensating the holder of such Claim (other
than the Debtors or an “insider” of the Debtors within the meaning of section 101(31) of
the Bankruptcy Code) for any actual pecuniary loss incurred by such holder as the result
of such failure; and (v) not otherwise altering the legal, equitable or contractual rights to
which such Claim entitles the holder thereof. “Reinstated” has a correlative meaning.

        239. “Rejected Contracts and Unexpired Leases Schedule” means the schedule
of Executory Contracts or Unexpired Leases to be rejected by the BSA under the Plan, as
set forth in the Plan Supplement, as may be amended, modified, or supplemented from time
to time.

       240. “Rejection Damages Claim” means a Claim for damages alleged to arise
from the rejection of an Executory Contract or Unexpired Lease pursuant to section 365 or
1123 of the Bankruptcy Code.

        241. “Related Non-Debtor Entities” means the Entities listed on Exhibit H,
including non-debtor Affiliates of the Debtors that are directly or indirectly wholly owned
by, or subject to the control of, the BSA. For the avoidance of doubt, Related Non-Debtor
Entities do not include Local Councils or Chartered Organizations.

       242.    “Release Injunctions” means the injunctions described in Article X.L.

        243. “Rejection Damages Bar Date” has the meaning ascribed to such term in
Article VI.B.

       244. “Release Date” means the date on which the Confirmation Order becomes
a Final Order or, when such term is used with respect to any Insurance Settlement
Agreement with a Settling Insurance Company, the term “Release Date” shall have the
meaning ascribed to such term in the applicable Insurance Settlement Agreement.

         245. “Released Parties” means, collectively, the following Persons, in each case
in its or their respective capacities as such: (a) the Debtors; (b) Reorganized BSA; (c) the
Related Non-Debtor Entities; (d) the Creditors’ Committee; (e) the members of the
Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g) the
members of the Tort Claimants’ Committee in their capacities as such; (h) the Future
Claimants’ Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance
Companies; (l) the Contributing Chartered Organizations, including the United Methodist
Entities; (m) the Foundation, in its capacity as lender under the Foundation Loan


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Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
capacities as such; (p) the Mediators; and (q) all of such Persons’ Representatives;
provided, however, that no Perpetrator is or shall be a Released Party; provided further,
that the definition of “Released Parties” shall in all instances be subject to Article X.J.

       246.    “Releases” means the releases set forth in Article X.J.

         247. “Releasing Claim Holder” means, collectively, (a) all holders of Claims that
vote to accept the Plan and do not opt out of the releases set forth in Article X.J.4; (b) all
holders of Claims that are presumed to accept the Plan, except for holders of such Claims
that file a timely objection to the releases set forth in Article X.J.4; and (c) all holders of
Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of the
releases set forth in Article X.J.4. No holder of a Claim in a Class that is Impaired under
the Plan will be deemed a “Releasing Claim Holder” to the extent such holder abstained
from voting.

       248. “Reorganized BSA” means the BSA and, as applicable, Delaware BSA, as
reorganized pursuant to and under the Plan on or after the Effective Date.

        249. “Representatives” means, with respect to any Person, such Person’s
(a) predecessors, successors, assigns, subsidiaries, and Affiliates, (b) current and former
officers, directors, principals, equity holders, trustees, members, partners, managers,
officials, board members, advisory board members, employees, agents, volunteers,
attorneys, financial advisors, accountants, investment bankers, consultants,
representatives, and other prof essionals, and (c) respective heirs, executors, estates, and
nominees, in each case solely in its capacity as such.

         250. “Restated 2010 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory note,
security agreement, and all documentation executed and delivered in connection therewith,
in each case containing substantially the same terms as the 2010 Bond Documents except
that: (a) the amortization schedule attached to the 2010 Bond shall be amended and restated
such that (i) interest is payable in monthly installments (at the same rates in the 2010 Bond
Documents) beginning on the date that is one month after the Effective Date (as to be
specified in the Restated 2010 Bond Documents) and ending on the Restated Maturity
Date, and (ii) principal is payable in monthly installments (in the same monthly amounts
as the periodic amortization amounts in the 2010 Bond Documents) beginning on the date
that is two years after the Effective Date (as to be specified in the Restated 2010 Bond
Documents) and ending on the Restated Maturity Date; and (b) the Restated 2010 Bond
Documents shall be guaranteed by Arrow. The covenants in the Restated 2010 Bond
Documents shall be in form and substance acceptable to JPM and the BSA. The obligations
under the Restated 2010 Bond Documents shall be secured by the Restated Security
Agreement. The then-current forms of the Restated 2010 Bond Documents shall be filed
with the Plan Supplement.

     251. “Restated 2012 Bond Documents” means those certain restated bond
documents, including a restated revenue bond, bond purchase agreement, promissory note,


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security agreement, and all documentation executed and delivered in connection therewith,
in each case containing substantially the same terms as the 2012 Bond Documents except
that: (a) the amortization schedule attached to the 2012 Bond shall be amended and restated
such that (i) interest is payable in monthly installments (at the same rates in the 2012 Bond
Documents) beginning on the date that is one month after the Effective Date (as to be
specified in the Restated 2012 Bond Documents) and ending on the Restated Maturity
Date, and (ii) principal is payable in monthly installments (in the same monthly amounts
as the periodic amortization amounts in the 2012 Bond Documents) beginning on the date
that is two years after the Effective Date (as to be specified in the Restated 2012 Bond
Documents) and ending on the Restated Maturity Date; and (b) the Restated 2012 Bond
Documents shall be guaranteed by Arrow. The covenants in the Restated 2012 Bond
Documents shall be in form and substance acceptable to JPM and the BSA. The obligations
under the Restated 2012 Bond Documents shall be secured by the Restated Security
Agreement. The then-current forms of the Restated 2012 Bond Documents shall be filed
with the Plan Supplement.

        252. “Restated Credit Facility Documents” means those certain restated credit
facility documents, which shall contain substantially the same terms as the 2010 Credit
Facility Documents and the 2019 RCF Documents, as applicable to the 2010 Credit Facility
Claims and the 2019 RCF Claims, except that: (a) the revolving credit facilities provided
under the 2010 Credit Facility Documents and the 2019 RCF Documents shall be f rozen
and converted to term loans; (b) the Revolving Maturity Date and the Term Loan Maturity
Date (each as defined in the 2010 Credit Facility Documents) and the Maturity Date (as
defined in the 2019 RCF Documents) shall be extended to the Restated Maturity Date; (c)
interest is payable in quarterly installments (at the same rates in the applicable Prepetition
Debt and Security Documents) beginning on the date that is three months after the Effective
Date (as to be specified in the Restated Credit Facility Documents) and ending on the
Restated Maturity Date; (d) principal is payable in quarterly installments (at 1/40th of the
outstanding balance on the Effective Date) beginning on the date that is two years after the
Effective Date (as to be specified in the Restated Credit Facility Documents) and ending
on the Restated Maturity Date; and (e) the Restated Credit Facility Documents shall be
guaranteed by Arrow. The covenants in the Restated Credit Facility Documents shall be
in form and substance acceptable to JPM and the BSA. The obligations under the Restated
Credit Facility Documents shall be secured by the Restated Security Agreement. The then-
current forms of the Restated Credit Facility Documents shall be filed with the Plan
Supplement.

        253. “Restated Debt and Security Documents” means, collectively, the Restated
2010 Bond Documents, the Restated 2012 Bond Documents, the Restated Credit Facility
Documents, and the Restated Security Agreement. The Restated Debt and Security
Documents shall be on terms acceptable to JPM and the BSA, and reasonably acceptable
to the Creditors’ Committee.

       254. “Restated Maturity Date” means the maturity date applicable to each of the
Restated Debt and Security Documents in accordance with the terms thereof, which shall
in each case be the date that is ten (10) years after the Effective Date.



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                255. “Restated Security Agreement” means that certain restated security
        agreement, pursuant to which Reorganized BSA and Arrow shall grant blanket first-
        priority liens on and security interests in all of Reorganized BSA’s and Arrow’s assets,
        including all collateral secured by the Prepetition Security Documents (2019), to JPM to
        secure Reorganized BSA’s and Arrow’s obligations under the Restated 2010 Bond
        Documents, the Restated 2012 Bond Documents and the Restated Credit Facility
        Documents. The then-current form of the Restated Security Agreement shall be filed with
        the Plan Supplement.

                256. “Restoration Plan” means the Boy Scouts of America Retirement Benefit
        Restoration Plan, a non-qualified defined benefit retirement plan under section 457(f) of
        the Internal Revenue Code, which provides supplemental retirement benefits to certain
        current and former employees of the Debtors or Local Councils.

                 257. “Roman Catholic Entities” means each and every (i) Roman Catholic
        parish, school, diocese, archdiocese, association of religious or lay Persons in the United
        States or its territories that sponsored, promoted, hosted, was involved with, or provided
        any support in connection with Scouting activities in any way, including as a social service
        organization, ministry, camping ministry, or by the use of a camp facility, camp, retreat, or
        other facilities in connection with Scouting activities, regardless of whether any of the
        foregoing entities is or was a Chartered Organization at any time or whether such facilities
        were owned or leased by any of such entities or a third party; (ii) all entities listed or eligible
        to be listed in the Official Catholic Directory since January 1910, (iii) all Representatives
        of the foregoing, including their attorneys, any affiliates and the RCAHC. However, no
        Perpetrator is or shall be a Roman Catholic Entity. 4

               258.        “Roman Catholic Settlement” has the meaning ascribed to such term in
        Exhibit J.

              259. “Roman Catholic Settlement Agreement” means that certain settlement
        agreement by and between the Roman Catholic ad hoc committee, the Debtors, Century
        Indemnity Company, Westchester Fire Insurance Company & Federal Insurance
        Company, the Ad Hoc Committee, the Coalition, and the Future Claimants’ Representative
        appended to the Twelfth Mediator’s Report [D.I. 9387] filed on March 17, 2022.

                 260. “Schedules” means, with respect to each Debtor, the schedules of assets and
        liabilities and the statement of financial affairs filed by such Debtor with the Bankruptcy
        Court pursuant to sections 521 and 1106(a)(2) of the Bankruptcy Code and Bankruptcy
        Rule 1007, as such schedules and statements may be amended or supplemented from time
        to time prior to the Effective Date.

               261. “Scouting” means any and all programs, activities and services of any kind
        in any way, directly or indirectly, associated with, arising from or related to the BSA or the


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    The channeling injunction and releases provided to the Chartered Organizations not affiliated with the Roman
    Catholic Church (including other faith-based institutions) and their related entities shall be consistent with the
    foregoing scope.


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BSA’s, any Local Council’s, any Related Non-Debtor Entity’s, or any Chartered
Organization’s (including their personnel and their affiliates’) participation in, involvement
in, or sponsorship of, any units or programs offered or previously offered pursuant to the
charter of the BSA, including activities such as formal or informal scout meetings, troop
activities, jamborees, or interactions of any kind between scouts and other scouts or scout
leaders in their capacities as such.

        262. “Scouting-related” means anything that is attributable to, arises from, is
based upon, results from, or relates to, in whole or in part, directly, indirec tly, or
derivatively, Scouting.

        263.    “Scouting Released Claims” has the meaning ascribed to such term in
Article X.J.

       264. “Scouting University” means that certain parcel of real property owned by
the BSA located at 1301 Solana Boulevard, Westlake, Texas 76262, together with the
buildings, structures, fixtures, additions, enlargements, extensions, modifications, repairs,
replacements and other improvements now or hereafter located thereon, the sale of which
was approved pursuant to the Order, Pursuant to Section 363 of the Bankruptcy Code,
Authorizing the Sale of Certain Real Property Located in Westlake Texas, entered by the
Bankruptcy Court on June 14, 2021 at Docket No. 5326.

         265. “Secured” means, with respect to any Claim, the extent to which the Claim
is: (a) secured by a Lien on property of a Debtor’s Estate (i) as set forth in the Plan, (ii) as
agreed to by the holder of such Claim and the Debtors, or (iii) as determined by a Final
Order in accordance with section 506(a) of the Bankruptcy Code; or (b) subject to any
setoff right of the holder of such Claim under section 553 of the Bankruptcy Code, but,
with respect to both of the foregoing clauses (a) and (b), only to the extent of the value of
the interest of such holder in the Estate’s interest in the property securing such Claim or
the amount subject to setoff, as applicable.

       266. “Settlement of Restricted and Core Asset Disputes” has the meaning
ascribed to such term in Article V.S.3.

        267. “Settlement Growth Payment” means an annual variable payment by
Reorganized BSA, commencing the year after the BSA Settlement Trust Note is paid in
full and Reorganized BSA’s total outstanding debt under the 2010 Bond Documents, 2010
Credit Facility Documents, 2012 Bond Documents, and 2019 RCF Documents or their
replacement and the Foundation Loan is less than $225 million in aggregate, based on
growth in membership up to the Settlement Growth Payment Cap. Reorganized BSA’s
obligation to fund the Settlement Growth Payment shall cease upon the earlier of (a)
January 1, 2036 or (b) the cumulative payment in Cash in an amount equal to the Settlement
Growth Payment Cap. The Local Councils will reimburse Reorganized BSA for 25% of
the amount paid to the Settlement Trust pursuant to the Settlement Growth Payment, with
the amount to be assessed by Reorganized BSA to the Local Councils based on their share
of membership growth. The Settlement Growth Payment will be calculated as (a) 50% of
$72 per paid youth member in Scouts BSA or Cubs Scouts at each year-end in excess of


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1,500,000 members and (b) 50% of $45 per paid adult volunteer in Scouts BSA or Cubs
Scouts at each year-end in excess of 500,000 volunteers. Calculation of the Settlement
Growth Payment will be performed based on year-end membership numbers with a report
on the calculations provided by the BSA to the Settlement Trust within 60 days of year-
end and payment made within 90 days of year-end. Based on a 5.5% annual growth rate
of BSA youth members and adult volunteers, the above Settlement Growth Payment will
result in an additional $100 million being contributed to the Settlement Trust by the end of
2036.

        268. “Settlement Growth Payment Cap” shall mean the cap of $100 million for
the Settlement Growth Payment.

        269. “Settlement Trust” means the trust organized under the laws of the state of
Delaware and established under Article IV and the Settlement Trust Agreement for the
purposes set forth therein, including assuming liability for all Abuse Claims, holding,
preserving, maximizing, and administering the Settlement Trust Assets, and directing the
processing, liquidation and payment of all compensable Abuse Claims in accordance with
the Settlement Trust Documents.

        270. “Settlement Trust Advisory Committee” or “STAC” means the committee
serving in accordance with Article IV and the Settlement Trust Agreement, which shall
have the powers, duties and obligations set forth in the applicable Settlement Trust
Agreement. The initial members of the Settlement Trust Advisory Committee shall be
identified in the Plan Supplement.

        271. “Settlement Trust Agreement” means the Settlement Trust Agreement dated
as of the Effective Date, substantially in the form attached hereto as Exhibit B, as the same
may be amended or modified from time to time in accordance with the terms thereof, which
shall be in form and substance acceptable to (a) the Debtors, the Ad Hoc Committee, the
Coalition, the Future Claimants’ Representative, and the Tort Claimants’ Committee and
(b) the Creditors’ Committee with respect to the treatment of Non-Abuse Litigation Claims.

        272. “Settlement Trust Assets” means the following assets and any income,
profits and proceeds realized, received or derived from such assets subsequent to the
transfer of such assets to the Settlement Trust:

               a.      the BSA Settlement Trust Contribution;

               b.      the Local Council Settlement Contribution;

             c.     the Chartered Organization Contribution, including                   the
       Supplemental LC Contribution, and the Settlement Growth Payment;

              d.      the Contributing Chartered Organization Settlement Contribution,
       including the United Methodist Settlement Contribution;

               e.      the Participating Chartered Organization Settlement Contribution;
       and


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              f.     any and all funds, proceeds or other consideration contributed to the
       Settlement Trust under the terms of any Insurance Settlement Agreement; and

               g.      any rights, claims, or assets of a holder of a Direct Abuse Claim that
       is assigned to the Settlement Trust pursuant to the terms of the Trust Distributions
       Procedures and Settlement Trust Agreement.

         273. “Settlement Trust Causes of Action” means any Estate Cause of Action and
any Cause of Action held by any Local Council or other Person that is or becomes a
Protected Party or a Limited Protected Party, which Estate Cause of Action or other such
Cause of Action, as applicable, is not otherwise expressly released under the Plan or the
Plan Documents, in each case solely attributable to: (a) all defenses to any Abuse Claim,
including all defenses under section 502 of the Bankruptcy Code; (b) with respect to Abuse
Claims, all rights of setoff, recoupment, contribution, reimbursement, subrogation or
indemnity (as those terms are defined by the non-bankruptcy law of any relevant
jurisdiction) and any other indirect claim of any kind whatsoever, whenever and wherever
arising or asserted; (c) any other Causes of Action with respect to Abuse Claims that either
Debtor, any Related Non-Debtor Entity, any Local Council or any other Protected Party or
Limited Protected Party would have had under applicable law if the Chapter 11 Cases had
not occurred and the holder of such Abuse Claim had asserted such Cause of Action by
initiating civil litigation against either Debtor, any Related Non-Debtor Entity, any Local
Council or any other Protected Party or Limited Protected Party (including any Causes of
Action against co-defendants); and (d) any Cause of Action of either Debtor, any Related
Non-Debtor Entity, any Local Council or any other Protected Party or Limited Protected
Party, under the laws of any jurisdiction, for reimbursement, indemnity, contribution,
breach of contract, or otherwise arising from or relating to any payments made by either
Debtor, any Related Non-Debtor Entity, any Local Council or any other Protected Party or
Limited Protected Party on account of Abuse Claims on or before the Effective Date. For
the avoidance of doubt, Settlement Trust Causes of Action shall not include any claim or
Cause of Action by any Settling Insurance Company against its reinsurers or
retrocessionaires, in their capacities as such.

        274. “Settlement Trust Documents” means, collectively, (a) the Settlement Trust
Agreement, (b) the Trust Distribution Procedures, (c) the Document Appendix, (d) the
Confirmation Order, and (e) any other agreements, instruments and documents governing
the establishment, administration and operation of the Settlement Trust, which shall be
substantially in the forms set forth as exhibits hereto or in the Plan Supplement, as the same
may be amended or modified from time to time in accordance with the terms thereof.

       275. “Settlement Trust Expenses” means any liabilities, costs, or expenses of, or
imposed upon, or in respect of, the Settlement Trust once established (except for payments
to holders of Abuse Claims on account of such Claims). Settlement Trust Expenses shall
also expressly include: (a) any and all liabilities, costs, and expenses incurred subsequent
to the Effective Date in connection with the Settlement Trust Assets (including the
prosecution of any Settlement Trust Causes of Action and Insurance Actions), in each case
whether or not any such action results in a recovery for the Settlement Trust; (b) the
reasonable documented costs and expenses incurred by Reorganized BSA, the Related


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Non-Debtor Entities, the Local Councils, the Ad Hoc Committee, or the Contributing
Chartered Organizations in taking any action on behalf of or at the direction of the
Settlement Trust, if any, following such Entities’ transfer to the Settlement Trust of copies
of all records and documents in their possession, custody or control pertaining to Abuse
Claims in accordance with the Document Appendix; and (c) reasonable, documented and
contractual professional or advisory fees incurred by the Coalition for up to thirty (30) days
after the Effective Date in connection with the initial effectuation of the Plan and the
Settlement Trust.

       276. “Settlement Trustee” means the initial trustee disclosed in a notice filed on
the docket of these Chapter 11 Cases by February 18, 2022, or any successor trustee who
may subsequently be appointed pursuant to the terms of the Settlement Trust Agreement.

       277. “Settling Insurance Company” means any Insurance Company that
contributes funds, proceeds or other consideration to or for the benefit of the Settlement
Trust pursuant to an Insurance Settlement Agreement that is approved by (a) an order of
the Bankruptcy Court (including the Confirmation Order) and is designated as a Settling
Insurance Company in the Confirmation Order or the Affirmation Order or (b) the
Settlement Trust. Without limiting the foregoing, subject to Confirmation of the Plan and
approval of the applicable Insurance Settlement Agreement by an order or orders of the
Bankruptcy Court (including in the Confirmation Order), Century, the Chubb Companies,
Clarendon, the Hartford Protected Parties, the Zurich Affiliated Insure rs and the Zurich
Insurers are each Settling Insurance Companies and shall be designated as such in the
Confirmation Order and the Affirmation Order.

        278. “Settling Insurer Policy Rights” means any and all of the Participating
Chartered Organizations’ and Contributing Chartered Organizations’ rights, titles,
privileges, interests, claims, demands or entitlements, as of the Effective Date, to any
proceeds, payments, benefits, Causes of Action, choses in action, defense, or indemnity,
now existing or hereafter arising, accrued or unaccrued, liquidated or unliquidated, matured
or unmatured, disputed or undisputed, fixed or contingent, arising under or attributable to
any insurance policies issued by a Settling Insurance Company that cover Abuse Claims
with respect to such coverage for Abuse Claims, including the types of claims listed in the
definition of Insurance Actions.

        279. “Specified Insurance Policy” means any BSA Insurance Policy with an
inception date of March 1, 2013 to the present, except for (a) the excess liability policy
issued to the BSA by Navigators Specialty Insurance Company for the period from March
1, 2013 to February 28, 2014, and (b) the excess liability insurance policy issued to the
BSA by Westchester Fire Insurance Company and Westchester Surplus Lines for the
period from March 1, 2013 to February 28, 2019.

        280. “Specified Primary Insurance Policy” means any Specified Insurance
Policy that is a primary Abuse Insurance Policy. Specified Primary Insurance Policies
include primary Abuse Insurance Policies issued by Old Republic Insurance Company for
the periods of coverage between March 1, 2013 and February 28, 2019, and by Evanston



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Insurance Company for the period of coverage between March 1, 2019 and February 29,
2020, subject to the definition of Postpetition Insurance Policies.

         281. “Specified Excess Insurance Policy” means any Specified Insurance Policy
that is an umbrella or excess Abuse Insurance Policy.

        282. “Summit Bechtel Reserve” means the parcels of real property that comprise
the Summit Bechtel Family National Scout Reserve, together with the buildings, structures,
fixtures, additions, enlargements, extensions, modifications, repairs, replacements and
other improvements now or hereafter located thereon.

       283.    “Supplemental LC Contribution” means the LC Overage and DST Note
Increase.

       284. “TCJC” means The Church of Jesus Christ of Latter-day Saints, a Utah
corporation sole, including any affiliates or personnel.

       285.    [Reserved]

       286.    [Reserved]

       287.    [Reserved]

        288. “Tort Claimants’ Committee” means the official committee of tort
claimants, consisting of survivors of childhood sexual abuse, appointed by the United
States Trustee in the Chapter 11 Cases under section 1102(a) of the Bankruptcy Code.

        289. “Trust Distribution Procedures” means the Boy Scouts of America Trust
Distribution Procedures for Abuse Claims, substantially in the form attached hereto as
Exhibit A, as the same may be amended or modified from time to time in accordance with
the terms thereof, which shall be acceptable to (a) the Debtors, the Ad Hoc Committee,
the Coalition, the Tort Claimants’ Committee, and the Future Claimants’ Representative
and (b) the Creditors’ Committee with respect to the treatment of Non-Abuse Litigation
Claims.

        290. “Unexpired Lease” means a lease to which BSA is a party, including any
and all pre- and post-petition amendments thereto, that is subject to assumption or rejection
under section 365 of the Bankruptcy Code.

         291. “Unimpaired” means any Claim that is not Impaired, including any Claim
that is Reinstated.

        292. “United Methodist Entities” means each and every (i) United Methodist
local church, federated, or union church, including any Federated Church or Union Church
that includes a historically United Methodist Church congregation, that sponsored,
promoted, hosted, or provided any support in connection with Scouting activities,
regardless of whether such local, union, or federated church is or was a Chartered
Organization at any time; (ii) church currently federated or yoked, and which current


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federated or yoked church includes a current or former United Methodist Church
congregation that sponsored, promoted, hosted or provided any support in connection with
Scouting activities; (iii) other United Methodist related or affiliated organizations that
sponsored, promoted, hosted, or provided any support in connection with Scouting
activities, including any social service organization, ministry, camping ministry, camp
facility, camp, retreat, or other facilities in the nature of a camp or retreat; (iv) any camp,
retreat, or other facility in the nature of a camp or retreat that is not United Methodist
related or affiliated, but otherwise promoted, hosted, or provided any support in connection
with Scouting Activities for an entity described in (i), (ii) or (iii); (v) all organizations
affiliated or related to (i) (ii), (iii) or (iv) including, but not limited to, the United Methodist
ad hoc committee, each district, annual conference, and jurisdictional conference of The
United Methodist Church, the general, annual conference, district, local church agencies
of The United Methodist Church, the Council of Bishops of The United Methodist Church,
and the non-jural bodies commonly referred to as “The United Methodist Church,” the
“Judicial Council of The United Methodist Church,” and the “General Conference of The
United Methodist Church”; and (vi) all Representatives of the foregoing. However, no
Perpetrator is or shall be a United Methodist Entity.

       293. “United Methodist Settlement Contribution” shall mean the “United
Methodist Settlement Amount” as defined in the United Methodist Settlement Agreement,
which is equal to Thirty Million Dollars ($30,000,000).

       294.     “United Methodist Settlement” has the meaning ascribed to such term in
Exhibit J.

        295. “United Methodist Settlement Agreement” means that certain term sheet by
and between the United Methodist ad hoc committee, the Debtors, the Ad Hoc Committee,
the Coalition, the Future Claimants’ Representative, and certain state court counsel to
holders of Direct Abuse Claims, appended to the Eighth Mediators’ Report [D.I. 7884]
filed on December 21, 2021 and the Addendum to United Methodist Term Sheet, filed on
February 18, 2022 [D.I. 8907-4]. The United Methodist Settlement Agreement has been
filed on the docket of the Chapter 11 Cases [D.I. 8907-4] and attached hereto as Exhibit J-
2.

        296. “United States Trustee” means the Office of the United States Trustee for
the District of Delaware.

        297. “Unrestricted Cash and Investments” means all Cash and balance sheet
investments owned by the Debtors as of the date that is immediately prio r to the Effective
Date, inclusive of the proceeds of the sale of Scouting University and the Warehouse and
Distribution Center, if the sale of the Warehouse and Distribution Center is closed prior to
the Effective Date, that are not subject to legally enforceable restrictions requiring the use
or disposition of such assets for a particular purpose.

       298. “Volunteer Screening Database” is the database established and maintained
by the BSA to, among other things, track and remove from Scouting volunteer leaders



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suspected of having acted in an inappropriate sexual manner with youth participants in
Scouting.

        299. “Voting Deadline” means the date by which all Persons entitled to vote on
the Plan must vote to accept or reject the Plan.

        300. “Voting Procedures” means those certain procedures and supplemental
procedures approved by the Bankruptcy Court for soliciting and tabulating the votes to
accept or reject the Plan cast by holders of Claims against the Debtors entitled to vote on
the Plan. The Voting Procedures shall be in form and substance reasonably acceptable to
the Creditors’ Committee as they pertain to Convenience Claims, General Unsecured
Claims and Non-Abuse Litigation Claims.

       301. “Warehouse and Distribution Center” means that certain parcel of real
property owned by the BSA located at 2109 Westinghouse Boulevard, Charlotte, North
Carolina 28269, together with the buildings, structures, fixtures, additions, enlargements,
extensions, modifications, repairs, replacements and other improvements now or hereafter
located thereon.

       302. “Workers’ Compensation Program” means the Debtors’ (a) written
contracts, agreements, agreements of indemnity, in each case relating to workers’
compensation, (b) self-insured workers’ compensation bonds, policies, programs, and
plans for workers’ compensation and (c) workers’ compensation insurance issued to or
entered into at any time by any of the Debtors.

        303. “Youth Member” means a youth member of the BSA registered as of
December 31 of any applicable year in a core program (Cub Scouts, Scouts BSA (in each
case under age 18), Sea Scouts, Venturing, or Exploring (in each case under age 21)),
whose registration is current as of such date and who has paid the individual annual
registration fee (which fee has not been refunded in whole or in part).

         304. “Zurich Affiliated Insurers” means all Zurich North America-affiliated
underwriting companies and includes, without limitation, Zurich Insurers and Maryland
Casualty Company, American General Fire & Casualty Company, and Zurich American
Insurance Company, but only with respect to policies issued on or after January 1, 1987. A
list of Zurich North America-affiliated underwriting companies is attached to the Zurich
Insurance Settlement Agreement. Zurich Insurers, Zurich Affiliated Insurers, and their
Representatives and Released Parties (as defined herein) shall not include such Persons
and Entities in their capacities as contractual obligors under: (i) Non -Abuse Insurance
Policies (including but not limited to D&O Liability Insurance Policies) except to the extent
of a request for coverage and/or any Claims or Causes of Action related to, arising from,
or in connection with Abuse Claims, any actions, settlements entered into, omissions, or
positions taken in connection with the Debtors’ Chapter 11 Cases and related proceedings,
and any extra-contractual claims related to, arising from, or connected with actions or
omissions occurring prior to the Effective Date, including the Zurich Insurers’ and Zurich
Affiliated Insurers' performance of their obligations under su ch policies whether for
defense, settlement of claims, or otherwise, and (ii) Postpetition Insurance Policies, except


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for any Claims or Causes of Action related to, arising from, or in connection with any
actions, settlements entered into, omissions, or positions taken in connection with the
Debtors’ Chapter 11 Cases and related proceedings, and any extra -contractual claims
related to, arising from, or connected with actions or omissions occurring prior to the
Effective Date, including the Zurich Insurers’ and Zurich Affiliated Insurers’ performance
of their obligations under such policies whether for defense, settlement of claims, or
otherwise.

        305. “Zurich Insurers” means American Zurich Insurance Company, American
Guarantee & Liability Insurance Company, and Steadfast Insurance Company; provided
that the term “Zurich Insurers” shall not include such Persons and Entities in their
capacities as contractual obligors under: (i) Non-Abuse Insurance Policies (including but
not limited to D&O Liability Insurance Policies) except to the extent of a request for
coverage and/or any Claims or Causes of Action related to, arising from, or in connection
with Abuse Claims, any actions, settlements entered into, omissions, or positions taken in
connection with the Debtors’ Chapter 11 Cases and related proceedings, and any extra-
contractual claims related to, arising from, or connected with actions or omissions
occurring prior to the Effective Date, including the Zurich Insurers’ performance of their
obligations under such policies whether for defense, settlement of claims, or otherwise, and
(ii) Postpetition Insurance Policies, except for any Claims or Causes of Action related to,
arising from, or in connection with any actions, settlements entered into, omissions, or
positions taken in connection with the Debtors’ Chapter 11 Cases and related proceedings,
and any extra-contractual claims related to, arising from, or connected with actions or
omissions occurring prior to the Effective Date, including the Zurich Insurers’ performance
of their obligations under such policies whether for defense, settlement of claims, or
otherwise.

       306.    “Zurich Insurance Settlement” has the meaning ascribed to such term in
Exhibit I.

        307. “Zurich Insurance Settlement Agreement” means that certain settlement
agreement by and between the Zurich Insurers, the Debtors, the Ad Hoc Committee, the
Coalition, and the Future Claimants’ Representative, as joined by certain state court
counsel to holders of Direct Abuse Claims and Local Councils that have executed or agree
to execute a joinder, as such agreement was described (as a settlement in principle) in the
term sheet appended to the Ninth Mediator’s Report [D.I. 7928] filed on December 22,
2021, and as such agreement has been subsequently set forth in and superseded by a
definitive written settlement agreement that is consistent with such term sheet and was
executed by all of the parties thereto as of February 14, 2022 (and any additional parties
that execute a joinder thereto). The executed Zurich Insurance Settlement Agreement was
filed on the docket of the Chapter 11 Cases [D.I. 8817-2] and attached hereto as Exhibit I-
3.

        308. “Zurich Insurer Policies” shall have the meaning set forth for such
capitalized term in the Zurich Insurance Settlement Agreement.




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            309. “Zurich Insurers Settlement Contribution” shall mean the “Settlement
       Amount” as defined in the Zurich Insurance Settlement Agreement, which is equal to Fifty-
       Two Million Five Hundred Thousand U.S. Dollars ($52,500,000).

         B.     Interpretation; Application of Definitions and Rules of Construction. For purposes
of the Plan, unless otherwise provided herein: (1) whenever from the context it is appropriate,
each term, whether stated in the singular or the plural, will include both the singular and the plural,
and pronouns stated in the masculine, feminine, or neuter gender shall include the masculine,
feminine, and the neuter gender; (2) unless otherwise provided in the Plan, any reference in the
Plan to a contract, instrument, release, or other agreement or document being in a particular form
or on particular terms and conditions means that such document will be substantially in such form
or substantially on such terms and conditions; provided, however, that the rule of interpretation set
forth in clause (2) shall not be imputed to any contract, lease, instrument, release, or other
agreement as to which JPM or the Creditors’ Committee have consent rights pursuant to the JPM
/ Creditors’ Committee Term Sheet, and such consent rights shall be as set forth in the JPM /
Creditors’ Committee Term Sheet and incorporated herein pursuant to Article I.D; (3) any
reference in the Plan to an existing document, schedule or exhibit filed or to be filed means such
document, schedule or exhibit, as it may have been or may be amended, modified, or supplemented
pursuant to the Plan; (4) any reference to a Person as a holder of a Claim or Interest includes that
Person’s successors and assigns; (5) unless otherwise stated, all references in the Plan to Articles
are references to Articles of the Plan, as the same may be amended or modified from time to time
in accordance with the terms hereof; (6) the words “herein,” “hereof,” “hereto,” “hereunder” and
other words of similar import refer to the Plan as a whole and not to any particular Article or clause
contained in the Plan; (7) subject to the provisions of any contract, certificate of incorporation, by-
law, instrument, release, or other agreement or document entered into in connection with the Plan,
the rights and obligations arising pursuant to the Plan shall be governed by, and construed and
enforced in accordance with the applicable federal law, including the Bankruptcy Code and
Bankruptcy Rules; (8) any term used in capitalized form herein that is not otherwise defined but
that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned to
that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (9) any immaterial
effectuating provisions may be interpreted by Reorganized BSA in such a manner that is consistent
with the overall purpose and intent of the Plan all without further notice to or action, order, or
approval of the Bankruptcy Court or any other Person; (10) captions and headings to Articles are
inserted for convenience of reference only and are not intended to be a part of or to affect the
interpretation of the Plan; (11) the rules of construction set forth in section 102 of the Bankruptcy
Code shall apply; (12) any reference to a Person’s “subsidiaries” means its direct and indirect
subsidiaries; and (13) in computing any period of time prescribed or allowed by the Plan, unless
otherwise expressly provided herein, the provisions of Bankruptcy Rule 9006(a) shall apply.

        C.      Reference to Monetary Figures. All references in the Plan to monetary figures shall
refer to the legal tender of the United States of America unless otherwise expressly provided.

        D.    Consent Rights. Notwithstanding anything herein to the contrary, the consent
rights of JPM and the Creditors’ Committee, respectively, as set forth in the JPM / Creditors’
Committee Term Sheet, with respect to the form and substance of the Plan, all exhibits and
schedules to the Plan, the Plan Supplement, and the other Plan Documents, including any
amendments, restatements, supplements, or other modifications to such documents, and any


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consents, waivers, or other deviations under or from any such documents, to the extent they pertain
to the treatment of the 2010 Credit Facility Claims, the 2019 RCF Claims, the 2010 Bond Claims,
or the 2012 Bond Claims (in the case of JPM) or Convenience Claims, General Unsecured Claims,
or Non-Abuse Litigation Claims (in the case of the Creditors’ Committee), shall be incorporated
herein by this reference (including to the applicable definitions in Article I.A) and fully enforceable
as if stated in full herein. The United Methodist ad hoc committee will have consent rights with
respect to any modifications to the Plan, the Settlement Trust Documents, the Confirmation Order
relating to the Channeling Injunction, releases by holders of Abuse Claims, and re lated definitional
terms including, for the avoidance of doubt, “Abuse,” “Abuse Claim,” “Mixed Claim,” “Abuse
Insurance Policy,” “Chartered Organization,” “Contributing Chartered Organizations,” “Non-
Abuse Insurance Policy,” and “Protected Parties,” but only to the extent that such modifications
would affect the United Methodist Entities. Hartford, the Century and Chubb Companies, the
Zurich Insurers and Zurich Affiliated Insurers, Clarendon, and any other Settling Insurance
Companies will have consent rights with respect to any modifications to the Plan, the Settlement
Trust Documents, the Confirmation Order, and the Affirmation Order, including those relating to
the Channeling Injunction, releases by holders of Abuse Claims, insurance, their respective
Insurance Settlement Agreements, and related definitional terms, including, for the avoidance of
doubt, “Abuse,” “Abuse Claim,” “Mixed Claim,” “Protected Parties,” and “Settling Insurance
Company,” but only to the extent that such modifications would affect the Hartford Protected
Parties, the Century and Chubb Companies, the Zurich Insurers and Zurich Affiliated Insurers,
Clarendon, or other Settling Insurance Companies, as applicable. The Coalition, the Future
Claimants’ Representative, and the Tort Claimants’ Committee will have consent rights with
respect to any modifications to the Plan, the Settlement Trust Documents, the Confirmation Order,
and the Affirmation Order relating to Abuse Claims.

       E.      Controlling Document. In the event of any conflict between the terms and
provisions in the Plan (without reference to the Plan Supplement), on the one hand, and the terms
and provisions in the Disclosure Statement, the Plan Supplement, any other instrument or
document created or executed pursuant to the Plan, or any order (other than the Confirmation
Order) referenced in the Plan (or any exhibits, schedules, appendices, supplements, or amendments
to any of the foregoing), on the other hand, the Plan (without reference to the Plan Supplement)
shall govern and control; provided, however, that (1) in the event of a conflict between
Confirmation Order, on the one hand, and any of the other Plan Documents, on the other hand, the
Confirmation Order shall govern and control in all respects, and (2) in the event of a conflict
between the terms and provisions of the Plan, the Disclosure Statement, the Plan Supplement, or
any other Plan Document, on the one hand, and the terms and provisions of any Insurance
Settlement Agreement, on the other hand, the terms and provisions of the applicable Insurance
Settlement Agreement shall control.

                                           ARTICLE II.

                 ADMINISTRATIVE EXPENSE AND PRIORITY CLAIMS

       A.      Administrative Expense Claims.

              1.     Administrative Expense Claims Generally. Except to the extent that a
       holder of an Allowed Administrative Expense Claim agrees to less favorable treatment


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with respect to such Allowed Administrative Expense Claim, each holder of an Allowed
Administrative Expense Claim (other than Professional Fee Claims, which are governed
by Article II.A.2) shall receive, on account of and in full and complete settlement, release
and discharge of, and in exchange for, such Claim, payment of Cash in an amount equal to
the unpaid portion of such Allowed Administrative Expense Claim, or such amounts and
on other such terms as may be agreed to by the holders of such Claims, on or as soon as
reasonably practicable after the later of: (a) the Effective Date; (b) the first Business Day
after the date that is thirty (30) calendar days after the date such Administrative Expense
Claim becomes an Allowed Administrative Expense Claim; (c) such other date(s) as such
holder and the Debtors or Reorganized BSA shall have agreed; or (d) such other date
ordered by the Bankruptcy Court; provided, however, that Allowed Administrative
Expense Claims that arise in the ordinary course of the Debtors’ non -profit operations
during the Chapter 11 Cases may be paid by the Debtors or Reorganized BSA in the
ordinary course of operations and in accordance with the terms and conditions of the
particular agreements governing such obligations, course of dealing, course of operations,
or customary practice. Notwithstanding anything to the contrary herein or in the Cash
Collateral Order, no Claim on account of any diminution in the value of the Prepetition
Secured Parties’ interests in the Prepetition Collateral (including Cash Collateral) (as each
such capitalized term is defined in the Cash Collateral Order) from and after the Petition
Date shall be Allowed unless such Claim is Allowed by a Final Order of the Bankruptcy
Court. Notwithstanding anything to the contrary herein, the Hartford Admin istrative
Expense Claim shall be an Allowed Administrative Expense Claim and shall be paid in full
in cash to Hartford on, or as soon as reasonably practicable after, the Effective Date.

       2.      Professional Fee Claims.

               a.      Final Fee Applications. All Professionals or other Persons
       requesting the final Allowance and payment of compensation and/or
       reimbursement of expenses pursuant to sections 328, 330, 331 and/or 503(b) or
       under Article V.T as described therein, for services rendered during the period from
       the Petition Date to and including the Effective Date shall file and serve final
       applications for Allowance and payment of Professional Fee Claims on counsel to
       the Debtors and the United States Trustee no later than the first Business Day that
       is forty-five (45) days after the Effective Date. Objections to any Professional Fee
       Claim must be filed and served on Reorganized BSA and the applicable
       Professional within twenty-one (21) calendar days after the filing of the final fee
       application that relates to the Professional Fee Claim (unless otherwise agreed by
       the Debtors or Reorganized BSA, as applicable, and the Professional requesting
       Allowance and payment of a Professional Fee Claim). The Fee Examiner shall
       continue to act in its appointed capacity unless and until all Professional Fee Claims
       have been approved by order of the Bankruptcy Court, and Reorganized BSA shall
       be responsible to pay the fees and expenses incurred by the Fee Examiner in
       rendering services after the Effective Date.

               b.     Professional Fee Reserve. On the Effective Date, the Debtors shall
       establish and fund the Professional Fee Reserve with Cash in an amount equal to
       the Professional Fee Reserve Amount plus a reasonable cushion amount determined


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   by the Debtors. Funds held in the Professional Fee Reserve shall not be considered
   property of the Debtors’ Estates, Reorganized BSA, the Settlement Trust, or the
   Core Value Cash Pool. Professional Fees owing on account of Allowed
   Professional Fee Claims shall be paid in Cash from funds held in the Professional
   Fee Reserve as soon as reasonably practicable after such Professional Fee Claims
   are Allowed by a Final Order of the Bankruptcy Court or authoriz ed to be paid
   under the Compensation Procedures Order; provided, however, that Reorganized
   BSA’s obligations with respect to Allowed Professional Fee Claims shall not be
   limited by or deemed limited to the balance of funds held in the Professional Fee
   Reserve. To the extent the funds held in the Professional Fee Reserve are
   insufficient to satisfy the Allowed Professional Fee Claims in full, each holder of
   an Allowed Professional Fee Claim shall have an Allowed Administrative Expense
   Claim for any deficiency, which shall be satisfied in accordance with Article II.A.1.
   No Liens, Claims, interests, charges, or other Encumbrances or liabilities of any
   kind shall encumber the Professional Fee Reserve in any way. When all Allowed
   Professional Fee Claims have been paid in full, amounts remaining in the
   Professional Fee Reserve, if any, shall be transferred (i) to Reorganized BSA to the
   extent the minimum Unrestricted Cash and Investment levels are lower than
   indicated in Article V.M, and (ii) thereafter, to the Settlement Trust.

           c.      Professional Fee Reserve Amount. To be eligible for payment for
   Accrued Professional Fees incurred up to and including the Effective Date,
   Professionals shall estimate their Accrued Professional Fees as of the Effective
   Date and deliver such estimate to the Debtors at least five (5) Business Days prior
   to the anticipated Effective Date, Coalition Professionals shall provide the Debtors
   a reasonable estimate of total Coalition Restructuring Expenses in accordance with
   Article V.T. If a Professional or Coalition Professional does not provide such
   estimate, the Debtors may estimate the unbilled fees and expenses of such
   Professional or Coalition Professional . The total amount so estimated will
   constitute the Professional Fee Reserve Amount, provided that such estimate will
   not be considered an admission or limitation with respect to the fees and expenses
   of such Professional or Coalition Professional.

           d.      Post-Effective Date Fees and Expenses. From and after the
   Effective Date, any requirement that Professionals comply with sections 327
   through 331 or 1103 of the Bankruptcy Code in seeking retention or compensation
   for services rendered after such date shall terminate, and Professionals may be
   employed and paid in the ordinary course of operations without any further notice
   to or action, order, or approval of the Bankruptcy Court. For the avoidance of
   doubt, this includes the fees and expenses of the Tort Claimants’ Committee and
   Future Claimants’ Representative arising from an appeal of the Plan after the
   Effective Date, which fees may only be asserted against the Settlement Trust. The
   reasonable and documented fees and expenses incurred by the Professionals to the
   Creditors’ Committee after the Effective Date until the complete dissolution of the
   Creditors’ Committee for all purposes in accordance with Article X.R will be paid
   by Reorganized BSA in the ordinary course of business (and not later than thirty
   (30) days after submission of invoices).


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         B.     Priority Tax Claims. Except to the extent that a holder of an Allowed Priority Tax
Claim agrees to less favorable treatment, each holder of an Allowed Prio rity Tax Claim shall
receive on account of and in full and complete settlement, release and discharge of, and in
exchange for, such Allowed Priority Tax Claim, at the sole option of the Debtors or Reorganized
BSA, as applicable: (1) Cash in an amount equal to such Allowed Priority Tax Claim on or as soon
as reasonably practicable after the later of (a) the Effective Date, to the extent such Claim is an
Allowed Priority Tax Claim on the Effective Date; (b) the first Business Day after the date that is
thirty (30) calendar days after the date such Priority Tax Claim becomes an Allowed Priority Tax
Claim; and (c) the date such Allowed Priority Tax Claim is due and payable in the ordinary course
as such obligation becomes due; provided, however, that the Debtors reserve the right to prepay
all or a portion of any such amounts at any time under this option without penalty or premium; or
(2) regular installment payments in Cash of a total value, as of the Effective Date of the Plan, equal
to the Allowed amount of such Claim over a period ending not later than five years after the
Petition Date.

                                          ARTICLE III.

         CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

       A.      Classification of Claims and Interests.

               1.      Grouping of Debtors for Convenience. The Plan is being proposed as a joint
       plan of reorganization of the Debtors for administrative purposes only and constitutes a
       separate chapter 11 plan of reorganization for each Debtor. The Plan is not premised upon
       the substantive consolidation of the Debtors with respect to the Classes of Claims or
       Interests set forth in the Plan.

              2.       Classification in General. For purposes of organization, voting, and all
       matters related to Confirmation, and except as otherwise provided herein, all Claims (other
       than Administrative Expense Claims and Priority Tax Claims) against and Interests in the
       Debtors are classified as set forth in this Article III. In accordance with section 1123(a)(1)
       of the Bankruptcy Code, Administrative Expense Claims and Priority Tax Claims
       described in Article II have not been classified and are excluded from the following
       Classes. A Claim or Interest is classified in a particular Class only to the extent that the
       Claim or Interest falls within the description of such Class, and is classified in another
       Class or Classes to the extent that any remainder of the Claim o r Interest falls within the
       description of such other Class or Classes. Notwithstanding anything to the contrary
       contained in the Plan, no distribution shall be made on account of any Claim that is not
       Allowed for distribution purposes (if applicable) or any Claim that has been satisfied,
       released, or otherwise settled prior to the Effective Date.

              3.      Summary of Classification. The following table designates the Classes of
       Claims against and Interests in the Debtors and specifies which of those Classes are
       (a) Impaired or Unimpaired by the Plan; (b) entitled to vote to accept or reject the Plan in
       accordance with section 1126 of the Bankruptcy Code; or (c) presumed to accept or
       deemed to reject the Plan.



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Class                Claim                Status                        Voting Rights
  1     Other Priority Claims           Unimpaired     Presumed to Accept; Not Entitled to Vote
  2     Other Secured Claims            Unimpaired     Presumed to Accept; Not Entitled to Vote
 3A     2010 Credit Facility Claims     Impaired       Entitled to Vote
 3B     2019 RCF Claims                 Impaired       Entitled to Vote
 4A     2010 Bond Claims                Impaired       Entitled to Vote
 4B     2012 Bond Claims                Impaired       Entitled to Vote
  5     Convenience Claims              Impaired       Entitled to Vote
  6     General Unsecured Claims        Impaired       Entitled to Vote
  7     Non-Abuse Litigation Claims     Impaired       Entitled to Vote
  8     Direct Abuse Claims             Impaired       Entitled to Vote
  9     Indirect Abuse Claims           Impaired       Entitled to Vote
 10     Interests in Delaware BSA       Unimpaired     Presumed to Accept; Not Entitled to Vote

        B.      Treatment of Claims and Interests.

                1.     Class 1 – Other Priority Claims.

                       a.      Classification: Class 1 consists of all Other Priority Claims.

                         b.     Treatment: Except to the extent that a holder of an Allowed Other
                Priority Claim agrees to less favorable treatment of such Claim, in full and final
                satisfaction of such Allowed Other Priority Claim, at the sole option of Reorganized
                BSA: (i) each such holder shall receive payment in Cash in an amount equal to such
                Allowed Other Priority Claim, payable on or as soon as reasonably practicable after
                the last to occur of (x) the Effective Date, (y) the date on which such Other Priority
                Claim becomes an Allowed Other Priority Claim, and (z) the date on which the
                holder of such Allowed Other Priority Claim and the Debtors or Reorganized BSA,
                as applicable, shall otherwise agree in writing; or (ii) satisfaction of such Allowed
                Other Priority Claim in any other manner that renders the Allowed Other Priority
                Claim Unimpaired, including Reinstatement.

                       c.      Voting: Class 1 is Unimpaired, and each holder of an Other Priority
                Claim is conclusively presumed to have accepted the Plan pursuant to
                section 1126(f) of the Bankruptcy Code. Therefore, holders of Other Priority
                Claims are not entitled to vote to accept or reject the Plan, and the votes of such
                holders will not be solicited with respect to Other Priority Claims.

                2.     Class 2 – Other Secured Claims.

                        a.      Classification: Class 2 consists of all Other Secured Claims. To the
                extent that Other Secured Claims are Secured by different collateral or different
                interests in the same collateral, such Claims shall be treated as separate subclasses
                of Class 2 for purposes of voting to accept or reject the Plan and receiving
                Distributions under the Plan.

                      b.     Treatment: Except to the extent that a holder of an Allowed Other
                Secured Claim agrees to less favorable treatment of such Claim, in full and final


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   satisfaction of such Allowed Other Secured Claim, each holder of an Allowed Other
   Secured Claim will receive, at the sole option of Reorganized BSA: (i) Cash in an
   amount equal to the Allowed amount of such Claim, including the payment of any
   interest required to be paid under section 506(b) of the Bankruptcy Code, payable
   on or as soon as reasonably practicable after the last to occur of (x) the Effective
   Date, (y) the date on which such Other Secured Claim becomes an Allowed Other
   Secured Claim, and (z) the date on which the holder of such Allowed Other Secured
   Claim and the Debtors or Reorganized BSA, as applicable, shall otherwise agree in
   writing; (ii) satisfaction of such Other Secured Claim in any other manner that
   renders the Allowed Other Secured Claim Unimpaired, including Reinstatement;
   or (iii) return of the applicable collateral on the Effective Date or as soon as
   reasonably practicable thereafter in satisfaction of the Allowed amoun t of such
   Other Secured Claim.

          c.      Voting: Class 2 is Unimpaired, and each holder of an Other Secured
   Claim is conclusively presumed to have accepted the Plan pursuant to
   section 1126(f) of the Bankruptcy Code. Therefore, holders of Other Secured
   Claims are not entitled to vote to accept or reject the Plan, and the votes of such
   holders will not be solicited with respect to Other Secured Claims.

   3.     Class 3A – 2010 Credit Facility Claims.

          a.      Classification: Class 3A consists of all 2010 Credit Facility Claims.

           b.     Allowance: On the Effective Date, all 2010 Credit Facility Claims
   shall be deemed fully Secured and Allowed pursuant to section 506(a) of the
   Bankruptcy Code, and not subject to any counterclaim, defense, offset, or reduction
   of any kind, in an aggregate amount not less than $80,762,060 (including
   $44,299,743 of undrawn amounts under letters of credit issued under the 2010
   Credit Facility Documents, provided such letters of credit are not drawn on or
   before the Effective Date), plus any accrued but unpaid interest and reasonable fees
   and expenses as of the Effective Date to the extent not paid pursuant to the Cash
   Collateral Order. Because all 2010 Credit Facility Claims are deemed fully
   Secured, there are no unsecured 2010 Credit Facility Claims, and the ho lders of
   such Claims do not have or hold any Class 6 Claims against the Debtors on account
   of any 2010 Credit Facility Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2010
   Credit Facility Claim agrees to less favorable treatment of such Claim, in full and
   final satisfaction, settlement, release, and discharge of, and in exchange for an
   Allowed 2010 Credit Facility Claim, each holder of an Allowed 2010 Credit
   Facility Claim shall receive a Claim under the Restated Credit Facility Documents
   in an amount equal to the amount of such holder’s Allowed 2010 Credit Facility
   Claim.

           d.      Voting: Class 3A is Impaired, and each holder of an Allowed 2010
   Credit Facility Claim is entitled to vote to accept or reject the Plan.


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   4.     Class 3B – 2019 RCF Claims.

          a.      Classification: Class 3B consists of all 2019 RCF Claims.

          b.      Allowance: On the Effective Date, all 2019 RCF Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any kind,
   in an aggregate amount not less than $61,542,720 (including $41,542,720 of
   undrawn amounts under letters of credit issued under the 2019 RCF Documents,
   provided such letters of credit are not drawn on or before the Effective Date), plus
   any accrued but unpaid interest and reasonable fees and expenses as of the Effective
   Date to the extent not paid pursuant to the Cash Collateral Order. Because all 2019
   RCF Claims are deemed fully Secured, there are no unsecured 2019 RCF Claims,
   and the holders of such Claims do not have or hold any Class 6 Claims against the
   Debtors on account of any 2019 RCF Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2019
   RCF Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2019 RCF Claim, each holder of an Allowed 2019 RCF Claim shall receive a Claim
   under the Restated Credit Facility Documents in an amount equal to the amount of
   such holder’s Allowed 2019 RCF Claim.

         d.      Voting: Class 3B is Impaired, and each holder of an Allowed 2019
   RCF Claim is entitled to vote to accept or reject the Plan.

   5.     Class 4A – 2010 Bond Claims.

          a.      Classification: Class 4A consists of all 2010 Bond Claims.

           b.      Allowance: On the Effective Date, all 2010 Bond Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any kind,
   in an aggregate amount of not less than $40,137,274, plus any accrued but unpaid
   interest and reasonable fees and expenses as of the Effective Date to the extent not
   paid pursuant to the Cash Collateral Order. Because all 2010 Bond Claims are
   deemed fully Secured, there are no unsecured 2010 Bond Claims, and the holders
   of such Claims do not have or hold any Class 6 Claims against the Debtors on
   account of any 2010 Bond Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2010
   Bond Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2010 Bond Claim, each holder of an Allowed 2010 Bond Claim shall receive a
   Claim under the Restated 2010 Bond Documents in an amount equal to the amount
   of such holder’s Allowed 2010 Bond Claim.




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         d.      Voting: Class 4A is Impaired, and each holder of an Allowed 2010
   Bond Claim is entitled to vote to accept or reject the Plan.

   6.     Class 4B – 2012 Bond Claims.

          a.      Classification: Class 4B consists of all 2012 Bond Claims.

           b.      Allowance: On the Effective Date, all 2012 Bond Claims shall be
   deemed fully Secured and Allowed pursuant to section 506(a) of the Bankruptcy
   Code, and not subject to any counterclaim, defense, offset, or reduction of any kind,
   in an aggregate amount of not less than $145,662,101, plus any accrued but unpaid
   interest and reasonable fees and expenses as of the Effective Date to the extent not
   paid pursuant to the Cash Collateral Order. Because all 2012 Bond Claims are
   deemed fully Secured, there are no unsecured 2012 Bond Claims, and the holders
   of such Claims do not have or hold any Class 6 Claims against the Debtors on
   account of any 2012 Bond Claims.

           c.      Treatment: Except to the extent that a holder of an Allowed 2012
   Bond Claim agrees to less favorable treatment of such Claim, in full and final
   satisfaction, settlement, release, and discharge of, and in exchange for an Allowed
   2012 Bond Claim, each holder of an Allowed 2012 Bond Claim shall receive a
   Claim under the Restated 2012 Bond Documents in an amount equal to the amount
   of such holder’s Allowed 2012 Bond Claim.

         d.      Voting: Class 4B is Impaired, and each holder of an Allowed 2012
   Bond Claim is entitled to vote to accept or reject the Plan.

   7.     Class 5 – Convenience Claims.

          a.      Classification: Class 5 consists of all Convenience Claims.

          b.      Treatment: In full and final satisfaction, settlement, release, and
   discharge of, and in exchange for, an Allowed Convenience Claim, each holder of
   an Allowed Convenience Claim shall receive, on the Effective Date or within thirty
   (30) days following the date that such Convenience Claim becomes Allowed (if
   such Claim becomes Allowed after the Effective Date), Cash in an amount equal to
   100% of such holder’s Allowed Convenience Claim.

          c.       Voting: Class 5 is Impaired, and each holder of a Convenience
   Claim is entitled to vote to accept or reject the Plan.

   8.     Class 6 – General Unsecured Claims.

          a.      Classification: Class 6 consists of all General Unsecured Claims.

           b.      Treatment: Except to the extent that a holder of an Allowed General
   Unsecured Claim agrees to less favorable treatment of such Claim, in exchange for
   full and final satisfaction, settlement, release, and discharge of, and in exchange


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   for, such Allowed General Unsecured Claim, each holder of an Allowed General
   Unsecured Claim shall receive, subject to the holder’s ability to elect Convenience
   Claim treatment on account of the Allowed General Unsecured Claim, its Pro Rata
   Share of the Core Value Cash Pool up to the full amount of such Allowed General
   Unsecured Claim in the manner described in Article VII.

         c.     Voting: Class 6 is Impaired, and each holder of a General
   Unsecured Claim is entitled to vote to accept or reject the Plan.

   9.     Class 7 – Non-Abuse Litigation Claims.

          a.      Classification: Class 7 consists of all Non-Abuse Litigation Claims.

           b.      Treatment: Except to the extent that a holder of an Allowed Non-
   Abuse Litigation Claim agrees to less favorable treatment of such Claim, in full and
   final satisfaction, settlement, release, and discharge of, and in exchange for, each
   Allowed Non-Abuse Litigation Claim, each holder thereof shall, subject to (i) the
   holder’s ability to elect Convenience Claim treatment as provided in the following
   sentence and (ii) the terms and conditions of Article IV.D.3 (as applicable), retain
   the right to recover up to the amount of such holder’s Allowed Non -Abuse
   Litigation Claim from (x) available insurance coverage or the proceeds of any
   Insurance Policy, including any Abuse Insurance Policy or Non-Abuse Insurance
   Policy, (y) applicable proceeds of any Insurance Settlement Agreements, and
   (z) co-liable non-debtors (if any) or their insurance coverage. Solely to the extent
   that the holder of an Allowed Non-Abuse Litigation Claim fails to recover in full
   from the foregoing sources on account of such Allowed Claim after exhausting its
   remedies in respect thereof, such holder may elect to have the unsatisfied portion
   of its Allowed Claim treated as an Allowed Convenience Claim and receive cash
   in an amount equal to the lesser of (a) the amount of the unsatisfied portion of the
   Allowed Non-Abuse Litigation Claim and (b) $50,000.

           c.     Voting: Class 7 is Impaired, and each holder of a Non-Abuse
   Litigation Claim is entitled to vote to accept or reject the Plan.

   10.    Class 8 – Direct Abuse Claims.

          a.      Classification: Class 8 consists of all Direct Abuse Claims.

          b.      Treatment:

                 (i)     The Settlement Trust shall receive, for the benefit of holders
          of Abuse Claims, the BSA Settlement Trust Contribution, the Local Council
          Settlement Contribution, the Contributing Chartered Organization
          Settlement Contribution, the Participating Chartered Organization
          Settlement Contribution, the Hartford Settlement Contribution (subject to
          the terms and conditions set forth in the Hartford Insurance Settlement
          Agreement), the Century and Chubb Companies Insurance Settlement
          Contribution (subject to the terms and conditions set forth in the Century


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        and Chubb Companies Insurance Settlement Agreement), the Zurich
        Insurers Settlement Contribution (subject to the terms and conditions set
        forth in the Zurich Insurance Settlements Agreement), and the Clarendon
        Settlement Contribution (subject to the terms and conditions set forth in the
        Clarendon Insurance Settlement Agreement), and the proceeds of any other
        applicable Insurance Settlement Agreements. In addition, each holder of a
        properly completed non-duplicative proof of claim asserting a Direct Abuse
        Claim who filed such Claim by the Bar Date or was permitted by a Final
        Order of the Bankruptcy Court to file a late claim may elect on his or her
        Ballot to receive an Expedited Distribution, subject to criteria set forth in
        the Trust Distribution Procedures, in exchange for providing a full and final
        release in favor of the Settlement Trust, the Protected Parties and the
        Chartered Organizations. The Settlement Trust shall make the Expedited
        Distributions on one or more dates occurring on or as soon as reasonably
        practicable after the latest to occur of (a) the Effective Date, (b) the date the
        applicable holders of Direct Abuse Claims who have elected to receive an
        Expedited Distribution have satisfied the criteria set forth in the Trust
        Distribution Procedures, and (c) the date upon which the Settlement Trust
        has sufficient Cash to fund the full amount of the Expedited Distributions
        while retaining sufficient Cash reserves to fund applicable Settlement Trust
        Expenses, as determined by the Settlement Trustee.

                (ii)    As of the Effective Date, the Protected Parties’ liability for
        all Direct Abuse Claims shall be assumed in full by the Settlement Trust
        without further act, deed, or court order and shall be satisfied solely from
        the Settlement Trust as set forth in the Settlement Trust
        Documents. Pursuant to the Channeling Injunction set forth in Article X.F,
        each holder of a Direct Abuse Claim shall have such holder’s Direct Abuse
        Claim against the Protected Parties (and each of them) permanently
        channeled to the Settlement Trust, and such Direct Abuse Claim shall
        thereafter be asserted exclusively against the Settlement Trust and
        processed, liquidated, and paid in accordance with the terms, provisions,
        and procedures of the Settlement Trust Documents. Holders of Direct
        Abuse Claims shall be enjoined from prosecuting any outstanding, or filing
        any future, litigation, Claims, or Causes of Action arising out of or related
        to such Direct Abuse Claims against any of the Protected Parties and may
        not proceed in any manner against any of the Protected Parties in any forum
        whatsoever, including any state, federal, or non-U.S. court or any
        administrative or arbitral forum, and are required to pursue such Direct
        Abuse Claims solely against the Settlement Trust as provided in the
        Settlement Trust Documents.

                 (iii)   As of the Effective Date, the Limited Protected Parties’
        liability for all Post-1975 Chartered Organization Abuse Claims and the
        Limited Protected Parties’ liability for all Pre-1976 Chartered Organization
        Abuse Claims shall be assumed in full by the Settlement Trust without
        further act, deed, or court order and shall be satisfied solely from the


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          Settlement Trust as set forth in the Settlement Trust Documents. Pursuant
          to the Channeling Injunction set forth in Article X.F, each holder of a Post-
          1975 Chartered Organization Abuse Claim shall have such holder’s Post-
          1975 Chartered Organization Abuse Claim against the Limited Protected
          Parties (and each of them) and each holder of a Pre-1976 Chartered
          Organization Abuse Claim shall have such holder’s Pre-1976 Chartered
          Organization Abuse Claim against the Limited Protected Parties
          permanently channeled to the Settlement Trust, and such Post-1975
          Chartered Organization Abuse Claim and Pre-1976 Chartered Organization
          Abuse Claim shall thereafter be asserted exclusively against the Settlement
          Trust and processed, liquidated, and paid in accordance with the terms,
          provisions, and procedures of the Settlement Trust Documents. Holders of
          Post-1975 Chartered Organization Abuse Claims and Pre-1976 Chartered
          Organization Abuse Claims shall be enjoined from prosecuting any
          outstanding, or filing any future, litigation, Claims, or Causes of Action
          arising out of or related to such Post-1975 Chartered Organization Abuse
          Claim and Pre-1976 Chartered Organization Abuse Claim against any of
          the Limited Protected Parties and may not proceed in any manner against
          any of the Limited Protected Parties in any forum whatsoever, including
          any state, federal, or non-U.S. court or any administrative or arbitral forum,
          and are required to pursue such Post-1975 Chartered Organization Abuse
          Claims and Pre-1976 Chartered Organization Abuse Claims solely against
          the Settlement Trust as provided in the Settlement Trust Documents.

                   (iv)     As of the Effective Date, the Opt-Out Chartered
          Organizations’ liability for all Opt-Out Chartered Organization Abuse
          Claims shall be assumed in full by the Settlement Trust without further act,
          deed, or court order and shall be satisfied solely from the Settlement Trust
          as set forth in the Settlement Trust Documents and subject to the Channeling
          Injunction set forth in Article X.F herein.

                  (v)     For the avoidance of doubt, the Protected Parties shall
          include: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor
          Entities; (d) the Local Councils; (e) the Contributing Chartered
          Organizations, including the United Methodist Entities; (f) the Settling
          Insurance Companies; and (g) all of such Persons’ Representatives. The
          Limited Protected Parties shall include the Participating Chartered
          Organizations.

          c.       Voting: Class 8 is Impaired, and each holder of a Direct Abuse
   Claim is entitled to vote to accept or reject the Plan.

   11.    Class 9 – Indirect Abuse Claims.

          a.     Classification: Class 9 consists of all Indirect Abuse Claims.

          b.     Treatment:


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                (i)     As of the Effective Date, the Protected Parties’ liability for
        all Indirect Abuse Claims shall be assumed in full by the Settlement Trust
        without further act, deed, or court order and shall be satisfied solely from
        the Settlement Trust as set forth in the Settlement Trust Documents and
        solely to the extent that an Indirect Abuse Claim has not been deemed
        withdrawn with prejudice, irrevocably waived, released and expunged in
        connection with the Local Council Settlement Contribution, the
        Contributing Chartered Organization Trust Contribution, the Participating
        Chartered Organization Trust Contribution, or the Insurance Settlement
        Agreements. Pursuant to the Channeling Injunction set forth in Article X.F,
        each holder of an Indirect Abuse Claim shall have such holder’s Indirect
        Abuse Claim against the Protected Parties (and each of them) permanently
        channeled to the Settlement Trust, and such Indirect Abuse Claim shall
        thereafter be asserted exclusively against the Settlement Trust and
        processed, liquidated, and paid in accordance with the terms, provisions,
        and procedures of the Settlement Trust Documents. Holders of Indirect
        Abuse Claims shall be enjoined from prosecuting any outstanding, or filing
        any future, litigation, Claims, or Causes of Action arising out of or related
        to such Abuse Claims against any of the Protected Parties and may not
        proceed in any manner against any the Protected Parties in any f orum
        whatsoever, including any state, federal, or non-U.S. court or any
        administrative or arbitral forum, and are required to pursue such Indirect
        Abuse Claims solely against the Settlement Trust as provided in the
        Settlement Trust Documents.

                 (ii)    As of the Effective Date, the Limited Protected Parties’
        liability for all Post-1975 Chartered Organization Abuse Claims and the
        Limited Protected Parties’ liability for all Pre-1976 Chartered Organization
        Abuse Claims shall be assumed in full by the Settlement Trust without
        further act, deed, or court order and shall be satisfied solely from the
        Settlement Trust as set forth in the Settlement Trust Documents. Pursuant
        to the Channeling Injunction set forth in Article X.F, each holder of a Post-
        1975 Chartered Organization Abuse Claim shall have such holder’s Post-
        1975 Chartered Organization Abuse Claim against the Limited Protected
        Parties (and each of them) and each holder of a Pre-1976 Chartered
        Organization Abuse Claim shall have such holder’s Pre-1976 Chartered
        Organization Abuse Claim against the Limited Protected Parties (and each
        of them) permanently channeled to the Settlement Trust, and such Post-
        1975 Chartered Organization Abuse Claim and Pre-1976 Chartered
        Organization Abuse Claim shall thereafter be asserted exclusively against
        the Settlement Trust and processed, liquidated, and paid in accordance with
        the terms, provisions, and procedures of the Settlement Trust Documents.
        Holders of Post-1975 Chartered Organization Abuse Claims and Pre-1976
        Chartered Organization Abuse Claims shall be enjoined from prosecuting
        any outstanding, or filing any future, litigation, Claims, or Causes of Action
        arising out of or related to such Post-1975 Chartered Organization Abuse
        Claim and Pre-1976 Chartered Organization Abuse Claim against any of


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                      the Limited Protected Parties and may not proceed in any manner against
                      any the Limited Protected Parties in any forum whatsoever, including any
                      state, federal, or non-U.S. court or any administrative or arbitral forum, and
                      are required to pursue such Post-1975 Chartered Organization Abuse
                      Claims and Pre-1976 Chartered Organization Abuse Claims solely against
                      the Settlement Trust as provided in the Settlement Trust Documents.

                               (iii)    As of the Effective Date, the Opt-Out Chartered
                      Organizations’ liability for all Opt-Out Chartered Organization Abuse
                      Claims shall be assumed in full by the Settlement Trust without further act,
                      deed, or court order and shall be satisfied solely from the Settlement Trust
                      as set forth in the Settlement Trust Documents and subject to the Channeling
                      Injunction set forth in Article X.F herein.

                              (iv)    For the avoidance of doubt, the Protected Parties shall
                      include: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor
                      Entities; (d) the Local Councils; (e) the Contributing Chartered
                      Organizations, including the United Methodist Entities; (f) the Settling
                      Insurance Companies; and (g) all of such Persons’ Representatives. The
                      Limited Protected Parties shall include the Participating Chartered
                      Organizations.

                      c.       Voting: Class 9 is Impaired, and each holder of an Indirect Abuse
               Claim is entitled to vote to accept or reject the Plan.

               12.    Class 10 – Interests in Delaware BSA.

                      a.      Classification: Class 10 consists of all Interests in Delaware BSA.

                       b.      Treatment: On the Effective Date, Interests in Delaware BSA shall
               be Reinstated so as to maintain the organizational structure of the Debtors as such
               structure exists on the Effective Date unless implementation of the restructuring
               requires otherwise.

                       c.      Voting: Class 10 is Unimpaired. Therefore, holders of Interests in
               Delaware BSA are conclusively presumed to have accepted the Plan pursuant to
               section 1126(f) of the Bankruptcy Code. Therefore, Holders of Intercompany
               Interests are not entitled to vote to accept or reject the Plan.

        C.     Elimination of Vacant Classes. Any Class of Claims against or Interests in the
Debtors that, as of the commencement of the Confirmation Hearing, does not have at least one
holder of a Claim or Interest that is Allowed in an amount greater than zero for voting purposes
shall be considered vacant, deemed eliminated from the Plan for purposes of voting to accept or
reject the Plan, and disregarded for purposes of determining whether the Plan satisfies section
1129(a)(8) of the Bankruptcy Code with respect to that Class.

       D.      Cramdown. If any Class is deemed to reject the Plan or is entitled to vote on the
Plan and does not vote to accept the Plan, the Debtors may (1) seek Confirmation of the Plan under


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section 1129(b) of the Bankruptcy Code or (2) amend or modify the Plan in accordance with the
terms hereof and the Bankruptcy Code. If a controversy arises as to whether any Claims are, or
any class of Claims is, impaired, the Bankruptcy Court shall, after notice and a hearing, determine
such controversy on or before the Confirmation Date.

                                          ARTICLE IV.

                                    SETTLEMENT TRUST

        A.      Establishment of the Settlement Trust. The Settlement Trust shall be established
on the Effective Date in accordance with the Plan Documents. The Settlement Trust shall be a
“qualified settlement fund” within the meaning of the Treasury Regulations issued under Section
468B of the Internal Revenue Code, with respect to which Reorganized BSA shall timely make an
election to treat the Settlement Trust as a “grantor trust” for U.S. federal income tax purposes and,
to the extent permitted under applicable law, for state and local income tax purposes.

       B.      Purposes of the Settlement Trust.

               1.      The purposes of the Settlement Trust shall be to assume liability for all
       Abuse Claims, to hold, preserve, maximize and administer the Settlement Trust Assets,
       and to direct the processing, liquidation and payment of all compensable Abuse Claims in
       accordance with the Settlement Trust Documents. The Settlement Trust shall resolve
       Abuse Claims in accordance with the Settlement Trust Documents in a fair, consistent,
       equitable manner, and on a pro rata basis, in compliance with the terms of the Settlement
       Trust Documents and to the extent of available Settlement Trust Assets.

               2.     In the event of any ambiguity or conflict between the terms of the Settlement
       Trust Agreement or any related document required or provided for under the Settlement
       Trust Documents (other than the Confirmation Order), on the one hand, and the terms of
       the Plan and the Confirmation Order, on the other hand, the terms of the Plan and the
       Confirmation Order shall control, notwithstanding that the Settlement Trust Agreement
       and related documents required or provided for under the Settlement Trust Documents may
       be incorporated in or annexed to the Plan or the Confirmation Order.

       C.      Transfer of Claims to the Settlement Trust.

               1.       On the Effective Date or as otherwise provided herein, and without further
       action of any Person, the Settlement Trust shall assume the liabilities, obligations, and
       responsibilities, financial or otherwise, of (a) the Protected Parties for all Abuse Claims,
       (b) the Limited Protected Parties for all Post-1975 Chartered Organization Abuse Claims
       and all other Abuse Claims covered under insurance policies issued by the Settling
       Insurance Companies, (c) the Limited Protected Parties for all Pre-1976 Chartered
       Organization Abuse Claims, and (d) the Opt-Out Chartered Organizations for the Opt-Out
       Chartered Organization Abuse Claims. These assumptions by the Settlement Trust shall
       not affect (i) the application of the Discharge Injunction or the Channeling Injunction or
       (ii) any Non-Settling Insurance Company’s obligation under any Abuse Insurance Policy
       or applicable law.


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        2.      Except as otherwise expressly provided in the Plan, the Settlement Trust
Agreement, or the Trust Distribution Procedures, the Settlement Trust shall have control
over the Settlement Trust Causes of Action and the Insurance Actions, and the Settlement
Trust shall thereby become the estate representative pursuant to section 1123(b)(3)(B) of
the Bankruptcy Code with the exclusive right (except as otherwise provided in Article
IV.D.4) to enforce each of the Settlement Trust Causes of Action and the Insurance
Actions, and the proceeds of the recoveries on any of the Settlement Trust Causes of Action
or the Insurance Actions shall be deposited in and become the property of the Settlement
Trust, and the Settlement Trust shall have the right to enforce the Plan and any of the other
Plan Documents (including the Document Appendix) according to their respective terms,
including the right to receive the Settlement Trust Assets as provided in the Plan; provided,
however, that (a) the Settlement Trust shall have no other rights against the Protected
Parties except to enforce the Plan and any of the other Plan Documents; (b) the Settlement
Trust shall have no other rights against the Limited Protected Parties with respect to Post-
1975 Chartered Organization Abuse Claims and all other Abuse Claims covered under
insurance policies issued by the Settling Insurance Companies except to enforce the Plan
and any of the other Plan Documents; (c) the Settlement Trust shall have no other rights
against the Opt-Out Chartered Organizations with respect to Opt-Out Chartered
Organization Abuse Claims except to enforce the Plan and any of the other Plan
Documents; (d) the Settlement Trust Causes of Action and the Insurance Actions shall not
include any Claims or Interests fully and finally released, compromised, or settled pursuant
to the Plan or any Plan Documents, or any Claims against Settling Insurance Companies
released, compromised and settled under the Insurance Settlement Agreements; and (e) for
the avoidance of doubt, the Settlement Trust Causes of Action and the Insurance Actions,
do not include any rights of the Protected Parties or the Limited Protected Parties, or Opt-
Out Chartered Organizations arising under the Channeling Injunction or any of the
Injunctions, Releases, or Discharges granted under the Plan and the Confirmation Order.

D.      Transfer of Settlement Trust Assets to the Settlement Trust.

        1.       Transfers on the Effective Date. On the Effective Date, subject to Article
IV.D.2, all right, title, and interest in and to the Settlement Trust Assets and any proceeds
thereof shall be automatically, and without further act or deed, transferred to, vested in,
and assumed by the Settlement Trust free and clear of all Encumbrances or Claims or other
interests of any Person, subject to the Channeling Injunction and other provisions of the
Plan. Notwithstanding the foregoing, the Settlement Trust shall satisfy, to the extent
required under the relevant policies and applicable law, and in accordance with the Trust
Distribution Procedures, any retrospective premiums and self -insured retentions arising out
of any Abuse Claims under the Abuse Insurance Policies. The Debtors and the Local
Councils shall establish an appropriate escrow mechanism to ensure that the Cash to be
paid to the Settlement Trust by Local Councils on the Effective Date can be paid in a timely
manner.

       2.       Transfers after the Effective Date. To the extent any of the Settlement Trust
Assets are not transferred to the Settlement Trust by operation of law on the Effective Date
pursuant to the Plan, then when such assets accrue or become transferable subsequent to
the Effective Date, they shall automatically and immediately transfer to the Settlement


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Trust free and clear of all Encumbrances and Claims or other interests of an y Person,
subject to the Channeling Injunction and other provisions of the Plan. To the extent any
Artwork is not physically transferred to the Settlement Trust on the Effective Date, the
Debtors or Reorganized BSA and the Settlement Trust shall mutually agree on the terms
of the storage and subsequent physical transfer thereof. For the avoidance of doubt, title
to the Artwork (and the risk of loss thereof) will transfer to the Settlement Trust on the
Effective Date. To the extent that any action of a Protected Party or Limited Protected
Party is required to effectuate such transfer, such Protected Party or Limited Protected
Party shall promptly transfer, assign, and contribute, such remaining Settlement Trust
Assets to the Settlement Trust. In the event a Protected Party or a Limited Protected Party
breaches any obligation contained in this section, the Settlement Trust will have no
adequate remedy at law and shall be entitled to preliminary and permanent declaratory and
injunctive relief. This Article IV.D.2 applies, without limitation, to (a) that portion of the
Local Council Settlement Contribution required to be contributed to the Settlement Tru st
after the Effective Date and (b) the transfer to the Settlement Trust of the Warehouse and
Distribution Center, subject to the Leaseback Requirement.

       3.      Specified Insurance Policies and Non-Abuse Litigation Claims.

               a.       For the avoidance of doubt, no consent of the Settlement Trust shall
       be required (i) for a court of competent jurisdiction to award a non -consent
       judgment that is not a default judgment in the underlying lawsuit on a Non -Abuse
       Litigation Claim, (ii) to trigger the obligation of the Settlement Trust to pay a
       judgment on a Non-Abuse Litigation Claim to the extent provided in subparagraph
       (b) below (provided that notice of any such judgment obtained shall be provided
       as set forth in the first sentence of subparagraph (c) below of this section), or (iii)
       for Entities other than the Settlement Trust to enter into any post-Effective Date
       settlement of a Non-Abuse Litigation Claim unless any portion of the recovery
       under such settlement is contended or sought to be payable from the proceeds of
       any settled Specified Insurance Policy(ies); provided, however, that a condition of
       (i) the payment of any judgment by the Settlement Trust as to a Non -Abuse
       Litigation Claim or (ii) the payment of any settlement of a Non-Abuse Litigation
       Claim, shall be a release by the holder of such Non-Abuse Litigation Claim of the
       Debtors, the Local Councils, and any other insureds under applicable Specified
       Insurance Policies.

              b.      Before the Settlement Trust settles any Specified Insurance
       Policy(ies) under which the holder of a Non-Abuse Litigation Claim is seeking to
       recover, the holder of a Non-Abuse Litigation Claim may recover up to the full
       amount of such Claim in the first instance from any such unsettled Specified
       Primary Insurance Policy(ies) or unsettled Specified Excess Insurance Policy(ies).
       If and when the Settlement Trust settles one or more Specified Insurance Policies
       under which the holder of a Non-Abuse Litigation Claim is seeking to recover: (a)
       the holder of such Non-Abuse Litigation Claim shall remain entitled to recover up
       to $1,000,000 of such Claim under and payable from (i) any unsettled Specified
       Primary Insurance Policy(ies) or (ii) from the Settlement Trust in the event that the
       Settlement Trust has settled the Specified Primary Insurance Policy(ies), subject to


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   the Settlement Trustee’s consent as to any settlement as set forth in this section;
   and (b) any amounts exceeding the remaining limits of liability of the applicable
   Specified Primary Insurance Policy shall be recoverable from (i) any unsettled
   Specified Excess Insurance Policy(ies) or (ii) from the Settlement Trust in the event
   that the Settlement Trust has settled the Specified Excess Insurance Policy(ies) that
   would otherwise be liable, subject to the Settlement Trustee’s consent as to any
   settlement as set forth in this section; provided, however, that the Settlement Trust
   shall pay amounts referenced in (a)(ii) or (b)(ii) immediately above only to the
   extent that a settlement or judgment entitles the holder of the Non-Abuse Litigation
   Claim to recover from the proceeds of any Specified Insurance Policies up to
   applicable policy limits and shall have consent rights over any settlement
   referenced in (a)(ii) or (b)(ii) immediately above (such consent not to be
   unreasonably withheld). For the avoidance of doubt, to the extent that the
   Settlement Trust settles a Specified Insurance Policy that was defending against a
   Non-Abuse Litigation Claim, the Settlement Trust has the right to assume the
   defense of such Non-Abuse Litigation Claim.

           c.      Any holder of a Non-Abuse Litigation Claim who has obtained a
   judgment implicating a settled Specified Insurance Policy shall serve the Settlement
   Trust’s counsel with a copy of the judgment. Only with respect to a proposed
   settlement where the Settlement Trust has consent pursuant to paragraph b
   immediately above of such Non-Abuse Litigation Claim, the Settlement Trust shall
   have 30 days following receipt of the proposed settlement to object to the proposed
   settlement. If the Settlement Trust does not object to the proposed settlement within
   30 days following such receipt, the Settlement Trust will be deemed to have
   consented to the settlement. If the Settlement Trust does not consent to any
   settlement of a Non-Abuse Litigation Claim as to which its consent may not be
   unreasonably withheld, the holder of the Non-Abuse Litigation Claim may file a
   motion with the Bankruptcy Court seeking a determination regarding whether the
   Settlement Trust unreasonably withheld its consent to the proposed settlement. To
   the extent that the Bankruptcy Court determines that consent was not unreasonably
   withheld by the Settlement Trust, then the Non-Abuse Litigation Claim may
   recommence in the tort system.

           d.      The Settlement Trustee shall have a duty to treat Direct Abuse
   Claims and Non-Abuse Litigation Claims that implicate the Specified Insurance
   Policies fairly and equally. In negotiating any settlements involving Specified
   Insurance Policies, the Settlement Trustee shall bear in mind the interests of both
   Direct Abuse Claims and Non-Abuse Litigation Claims in structuring any
   settlement and use best efforts to maximize recoveries for both constituencies.

           e.     Notwithstanding anything to the contrary in the Plan, with respect
   to any Non-Abuse Litigation Claim that has been asserted or could be asserted
   against any Local Council, notice of which is provided to the Debtors, the Coalition,
   the Tort Claimants’ Committee, and the Future Claimants’ Representative prior to
   the Effective Date, the rights of the Local Council to recover from the applicable
   insurer for such Non-Abuse Litigation Claim under the Specified Insurance Policies


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               up to the applicable coverage limits shall be preserved; provided, however, that if
               the holder of a Non-Abuse Litigation Claim provides a full and complete written
               release of any claims that such holder of a Non-Abuse Litigation Claim may have
               against the Local Council related to the Non-Abuse Litigation Claim, then the Local
               Council will be deemed to have waived any rights it may have against the Specified
               Insurance Policy with respect to such Non-Abuse Litigation Claim.

                4.      Settlement Trust Causes of Action. The transfer of the Settlement Trust
       Causes of Action to the Settlement Trust, insofar as they relate to the ability to defend
       against or reduce the amount of Abuse Claims, shall be considered the transfer of a non-
       exclusive right enabling the Settlement Trust to defend itself against asserted Abuse
       Claims, which transfer shall not impair, affect, alter, or modify the right of any Person,
       including the Protected Parties, the Limited Protected Parties, an insurer or alleged insurer,
       or co-obligor or alleged co-obligor, sued on account of an Abuse Claim or on account of
       any asserted right relating to any Abuse Insurance Policy, to assert each and every defense
       or basis for claim reduction such Person could have asserted had the Settlement Trust
       Causes of Action not been assigned to the Settlement Trust (including any defense or basis
       for claim reduction that any Insurance Company or other insurer or alleged insurer could
       have asserted under section 502 of the Bankruptcy Code, applicable non -bankruptcy law,
       or any Abuse Insurance Policy or other agreement with respect to (a) any alleged liability
       of the BSA or any Local Council, Contributing Chartered Organization, Participating
       Chartered Organization or any other insured Person for any Abuse Claim or (b) any alleged
       liability of any Insurance Company or other insurer or alleged insurer to provide indemnity
       or defense relating to any Abuse Claim or any alleged extracontractual liability of any
       Insurance Company or other insurer or alleged insurer relating to any Abuse Claim).

        E.     Settlement Trustee. There shall be one Settlement Trustee, who shall be appointed
by the Bankruptcy Court in the Confirmation Order. The initial Settlement Trustee shall be
disclosed in a notice filed on the docket of these Chapter 11 Cases by February 18, 2022. Any
successor Settlement Trustee shall be appointed in accordance with the terms of the Settlement
Trust Agreement. For purposes performing his or her duties and fulfilling his or her obligations
under the Settlement Trust and the Plan, the Settlement Trustee shall be deemed to be, and the
Confirmation Order shall provide that he or she is, a “party in interest” within the meaning of
section 1109(b) of the Bankruptcy Code. The Settlement Trustee shall be the “administrator” of
the Settlement Trust as such term is used in Treas. Reg. Section 1.468B-2(k)(3).

        F.      Claims Administrators. There shall be two Claims Administrators, who shall be
appointed by the Bankruptcy Court in the Confirmation Order. The initial Claim Administrators
shall be disclosed in a notice filed on the docket of these Chapter 11 Cases by February 18, 2022.
Any successor Claims Administrator shall be appointed in accordance with the terms of the
Settlement Trust Agreement. For purposes performing his or her duties and fulfilling his or her
obligations under the Settlement Trust and the Plan, the Claims Administrators shall be deemed to
be, and the Confirmation Order shall provide that he or she is, a “party in interest” within the
meaning of section 1109(b) of the Bankruptcy Code.

       G.      Settlement Trust Advisory Committee.



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              1.       The Settlement Trust Advisory Committee (the “STAC”) shall be
       composed of seven (7) individuals identified below, three (3) of whom shall be selected by
       the Coalition, three (3) of whom shall be selected by the Tort Claimants’ Committee, and
       one (1) who shall be selected by Pfau/Zalkin.The STAC members shall be reasonably
       acceptable to the Debtors and shall have the functions, duties, and rights provided in the
       Settlement Trust Agreement. Each STAC member shall serve in accordance with the terms
       and conditions of the Settlement Trust Agreement.

               2.     The commencement or continuation of a STAC Tort Election Claim (as
       defined in Article XII.B of the Trust Distribution Procedures) and the approval of any
       global settlement after the Effective Date that causes an Insurance Company or a Chartered
       Organization to become a Protected Party must be approved in accordance with the
       Settlement Trust Agreement.

         H.     Future Claimants’ Representative. The Settlement Trust Agreement shall provide
for the continuation of the Future Claimants’ Representative to represent the interests of holders
of Future Abuse Claims. The initial Future Claimants’ Representative shall be James L. Patton,
Jr. so long as he is the Future Claimants’ Representative in the Chapter 11 Cases as of the Effective
Date.

       I.      Trust Distribution Procedures. On the Effective Date, the Settlement Trust shall
implement the Trust Distribution Procedures in accordance with the terms of the Settlement Trust
Agreement. From and after the Effective Date, the Settlement Trustee shall have the authority to
administer, amend, supplement, or modify the Trust Distribution Procedures solely in accordance
with the terms thereof and the Settlement Trust Agreement.

       J.      Post-Effective Date Contributing Chartered Organizations.

               1.     Notwithstanding any present exclusionary language in the Plan, after the
       Effective Date, any Opt-Out Chartered Organization or Participating Chartered
       Organization as of the Effective Date may become a Protected Party if (a) a financial
       contribution is made by or on behalf of such Opt-Out Chartered Organization or
       Participating Chartered Organization, (b) such Opt-Out Chartered Organization or
       Participating Chartered Organization agrees to provide the assignments and releases
       applicable to Contributing Chartered Organizations, set forth in the definition of
       Contributing Chartered Organization Settlement Contribution, and (c) if and to the extent
       required by BSA, it agrees to cooperate with youth protection, and (d) the Bankruptcy
       Court, after notice and an opportunity for parties in interest to be heard, approves a
       settlement agreement between such Chartered Organization and the Settlement Trustee (a
       “Post-Effective Date Chartered Organization Settlement”). After the Effective Date, the
       Settlement Trustee and the Future Claimants’ Representative shall have the authority to
       seek approval of a Post-Effective Date Chartered Organization Settlement in accordance
       with the Settlement Trust Agreement. Upon the Bankruptcy Court’s entry of a Final Order
       approving a Post-Effective Date Chartered Organization Settlement, Exhibit C shall be
       amended by the Settlement Trustee to include such Chartered Organization, and such
       Chartered Organization (and any related Persons or Representatives, as applicable) shall
       be deemed to be a Contributing Chartered Organization and a Protected Party for all


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       purposes hereunder. A list of Chartered Organizations that may potentially become
       Contributing      Chartered      Organization     may       be    accessed      at
       https://omniagentsolutions.com/bsa-SAballots.

               2.      Any Chartered Organization that becomes a Protected Party in accordance
       with this Article IV.J shall have all of the rights, remedies and obligations of a Protected
       Party under the Plan, including under the Channeling Injunction, notwithstanding that such
       Chartered Organization was not a Protected Party under the Plan as of the Effective Date.

       K.      Post-Effective Date Settling Insurance Companies.

               1.     Notwithstanding any present exclusionary language in the Plan, after the
       Effective Date, any Insurance Company that is a Non-Settling Insurance Company may,
       within twelve (12) months of the Effective Date (the “Insurance Settlement Period”), and
       such Insurance Settlement Period may be extended by the Settlement Trustee with the
       consent of a majority of the STAC and the Future Claimants’ Representative, enter into an
       Insurance Settlement Agreement with the Settlement Trustee (a “Post-Effective Date
       Insurance Settlement”); provided, however, that the Settlement Trustee shall file a notice
       with the Bankruptcy Court within thirty (30) days of entering into any such Post-Effective
       Date Insurance Settlement, together with an amendment to Exhibit I including such Post-
       Effective Date Insurance Settlement, and such Insurance Company (and any related
       Persons or Representatives, as applicable) shall be deemed to be a Settling Insurance
       Company and a Protected Party for all purposes hereunder and the Settlement Trustee and
       the Future Claimants’ Representative shall have the authority to seek approval of a Post-
       Effective Date Insurance Settlement in accordance with the Settlement Trust Agreement.
       The Post-Effective Date Insurance Settlement and amendment shall be deemed binding
       and effective absent objection by any Person within fifteen (15) calendar days. The
       Settlement Trustee shall have the sole discretion, upon order of the Bankruptcy Court, to
       extend the Insurance Settlement Period.

               2.      Any Insurance Company that becomes a Protected Party in accordance with
       this Article IV.K shall have all of the rights, remedies and obligations of a Protected Party
       under the Plan, including under the Channeling Injunction, notwithstanding that such
       Insurance Company was not a Protected Party under the Plan as of the Effective Date.

         L.      Settlement Trust Expenses. The Settlement Trust shall pay all Settlement Trust
Expenses from the Settlement Trust Assets. The Settlement Trust shall bear sole responsibility
with respect to the payment of the Settlement Trust Expenses. Additionally, the Settlem ent Trust
shall promptly pay all reasonable and documented Settlement Trust Expenses incurred by any
Protected Party for any and all liabilities, costs or expenses as a result of taking action on behalf
of or at the direction of the Settlement Trust following the transfer to the Settlement Trust of copies
of all records and documents in such Persons’ possession, custody or control pertaining to Abuse
Claims in accordance with the Document Appendix. To the maximum extent permitted by
applicable law, the Settlement Trustee shall not have or incur any liability for actions taken or
omitted in his or her capacity as Settlement Trustee, or on behalf of the Settlement Trust, except
those acts found by Final Order to be arising out of his or her willful misconduct, bad faith, gross
negligence or fraud, and shall be entitled to indemnification and reimbursement for reasonable fees


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and expenses in defending any and all of his or her actions or omissions in his or her capacity as
Settlement Trustee, or on behalf of the Settlement Trust, except for any actions or omissions found
by Final Order to be arising out of his or her willful misconduct, bad faith, gross negligence or
fraud. Any valid indemnification claim of the Settlement Trustee shall be satisfied only from the
Settlement Trust Assets.

         M.      Reimbursement by Settlement Trust. From and after the Effective Date, the
Settlement Trust shall reimburse, to the fullest extent permitted by applicable law, Reorganized
BSA and each of the Local Councils for any documented out-of-pocket, losses, costs, and expenses
(including judgments, attorneys’ fees, and expenses) incurred by Reorganized BSA or any Local
Council after the Effective Date attributable to the defense of a Direct Abuse Claim that is
channeled to the Settlement Trust if the holder of such Direct Abuse Claim seeks to hold
Reorganized BSA or such Local Council liable for such Direct Abuse Claim in violation of the
terms of the Plan or the Confirmation Order; provided that the Settlement Trust’s reimbursement
obligations to Reorganized BSA and any Local Council for any Direct Abuse Claim shall be
capped at and shall not exceed the amount actually payable by the Settlement Trust to the holder
of such Direct Abuse Claim under the Trust Distribution Procedures (i.e., the amount paid based
on the Settlement Trust payment percentage); provided, further, that any amounts (1) incurred by
the Settlement Trust as set forth herein, (2) incurred by the Settlement Trust to enforce the
Channeling Injunction against a holder of a Direct Abuse Claim, or (3) that reduce Settlement
Trust Assets as a result of the enforcement of the Channeling Injunction shall be deducted on a
dollar-for-dollar basis against such holder’s distribution from the Settlement Trust on account of
such Direct Abuse Claim. Reorganized BSA and any Local Council shall provide notice to the
Settlement Trust within ten (10) business days of the service of any claim or lawsuit filed by a
holder of an Abuse Claim that could result in any reimbursement obligations by the Settlement
Trust under this provision. In the event that any litigation asserting an Abuse Claim is filed naming
Reorganized BSA or any Local Council as a defendant in violation of the terms of the Plan or the
Confirmation Order, the Settlement Trust shall, at the request of Reorganized BSA or such Local
Council, promptly appear (1) before the Bankruptcy Court to obtain entry of an order enforcing
the Channeling Injunction and (2) in such litigation and seek the dismissal of the case. Other than
this limited reimbursement obligation, the Settlement Trust shall not be required to reimburse or
indemnify any Protected Parties or Limited Protected Parties for any claims, liabilities, losses,
actions, suits, proceedings, third-party subpoenas, damages, costs and expenses, including any
liabilities related to, arising out of, or in connection with any Abuse Claim, except as provided in
Article VIII.B of the Hartford Settlement Agreement, Section 20 of the Century Settlement
Agreement, Section 17 of the Zurich Settlement Agreement, Section 17 of the Clarendon
Agreement, and any comparable provision of another Insurance Settlement Agreement. Except
for the right to seek reimbursement or indemnity set forth in this Article IV.M and except as
provided in Article VIII.B of the Hartford Settlement Agreement, Section 20 of the Century
Settlement Agreement, Section 17 of the Zurich Settlement Agreement, Section 17 of the
Clarendon Agreement, and any comparable provision of another Insurance Settlement Agreement,
the Debtors, the Local Councils, the Contributing Chartered Organizations, the Participating
Chartered Organizations and any other Person that is or becomes a Protected Party shall be forever
barred from seeking compensation from the Settlement Trust for or on account of any Claims
arising prior to the Petition Date.

       N.      [Reserved].


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        O.      Assignment of Claims and Defenses. Notwithstanding anything herein to the
contrary, but subject to the Insurance Settlement Agreements, on the Effective Date, the Debtors,
the Local Councils and any other party that is or becomes a Protected Party or a Limited Protected
Party shall be deemed to assign any and all Claims and defenses to the Settlement Trust that arise
from or relate to Abuse Claims, including any Claims and defenses against co -defendants;
provided, however, that with respect to Limited Protected Parties, the foregoing assignment shall
be limited to Claims and defenses that arise from or relate to Post-1975 Chartered Organization
Abuse Claims and Pre-1976 Chartered Organization Abuse Claims. Notwithstanding the
foregoing, nothing within the Plan or Confirmation Order shall be deemed to provide an
assignment of any Claims or defenses to the Settlement Trust with respect to any Claims that have
not been assumed by the Settlement Trust and subject to the Channeling Injunction of Article X.F
herein; and provided further, that the Settling Insurance Companies shall not assign or be deemed
to assign to the Settlement Trust any claim, Cause of Action, or right of recovery against their
reinsurers or retrocessionaires, in their capacities as such.

       P.     Investment Guidelines. All monies held in the Settlement Trust shall be invested,
subject to the investment limitations and provisions enumerated in the Settlement Trust
Agreement.

       Q.    Excess Settlement Trust Assets. To the extent any Settlement Trust Assets remain
at such time as the Settlement Trust is dissolved under the terms of the Settlement Trust
Documents, any remaining Settlement Trust Assets shall be distributed to Reorganized BSA.

        R.     Document Appendix. Reorganized BSA, the Local Councils, and the Settlement
Trust shall enter into the Document Appendix on the Effective Date, substantially in the form
contained in the Plan Supplement. The parties to the Document Appendix shall be bound by the
terms thereof.

        S.     Privileged Information. The transfer or assignment of any Privileged Information
to the Settlement Trustee shall be subject to the terms of the Document Appendix.

        T.      No Liability. The Protected Parties and the Limited Protected Parties shall neither
have nor incur any liability to, or be subject to any right of action by, any Person for any act,
omission, transaction, event, or other circumstance in connection with or related to the Settlement
Trust, the Settlement Trustee, or the Settlement Trust Documents, including the administration of
Abuse Claims and the distribution of Settlement Trust Assets by the Settlement Trust, or any
related agreement.

        U.     U.S. Federal Income Tax Treatment of the Settlement Trust. The Settlement Trust
shall be a “qualified settlement fund” within the meaning of the Treasury Regulations issued under
Section 468B of the Internal Revenue Code. Reorganized BSA shall make a “grantor trust”
election under Treasury Regulation section 1.468B-1(k) with respect to the Settlement Trust for
U.S. federal income tax purposes and, to the extent permitted under applicable law, for state and
local income tax purposes. All parties shall report consistently with such grantor trust election.
The Settlement Trust shall file (or cause to be filed) statements, returns, o r disclosures relating to
the Settlement Trust that are required by any Governmental Unit. The Settlement Trustee shall be
responsible for the payment of any taxes imposed on the Settlement Trust or the Settlement Trust


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Assets, including estimated and annual U.S. federal income taxes in accordance with the terms of
the Settlement Trust Agreement.

         V.      Institution and Maintenance of Legal and Other Proceedings. As of the Effective
Date, the Settlement Trust shall be empowered to initiate, prosecute, defend, settle, maintain,
administer, preserve, pursue, and resolve all legal actions and other proceedings related to any
asset, liability, or responsibility of the Settlement Trust, including the Insurance Actions, Abuse
Claims, and the Settlement Trust Causes of Action. Without limiting the foregoing, on and after
the Effective Date, the Settlement Trust shall be empowered to initiate, prosecute, defend, settle,
maintain, administer, preserve, pursue, and resolve all such actions, in the name of the Debtors or
Reorganized BSA, if deemed necessary or appropriate by the Settlement Trust. The Settlement
Trust shall be responsible for the payment of all damages, awards, judgments, settlements,
expenses, costs, fees, and other charges incurred on or after the Effective Date arising from,
relating to, or associated with any legal action or other proceeding which is the subject of this
Article IV.V and shall pay Indirect Abuse Claims, in accordance with the Trust Distribution
Procedures, that may arise from deductibles or other charges. Furthermore, without limiting the
foregoing, the Settlement Trust shall be empowered to maintain, administer, preserve, or pursue
the Insurance Actions and the Insurance Action Recoveries.

        W.     Settlement Trust Discovery. The Settlement Trust and holders of Direct Abuse
Claims are authorized pursuant to Bankruptcy Rule 2004 and/or other applicable discovery rules
to obtain information as set forth in the Document Appendix . For the avoidance of doubt, the
authorization of any discovery request pursuant to this provision shall not be construed to deprive
the recipient of such discovery request of any applicable privilege or immunity from discovery.
The Settlement Trust and holders of Direct Abuse Claims shall be able to take whatever steps are
necessary to enforce such discovery obligations of Chartered Organizations pursuant to
Bankruptcy Rule 2004, Civil Rule 45, other court resolution processes, and under bankruptcy law
and applicable non-bankruptcy law.

       X.      Notation on Claims Register Regarding Abuse Claims. On the Effective Date, all
Abuse Claims filed against the Debtors in the Chapter 11 Cases shall be marked on the Claims
Register as “Channeled to the Settlement Trust” and resolved exclusively in accordance with the
Trust Distribution Procedures.

                                           ARTICLE V.

                     MEANS FOR IMPLEMENTATION OF THE PLAN

       A.      General. On and after the Confirmation Date, the Debtors shall be empowered and
authorized to take or cause to be taken, prior to the Effective Date, all actions consistent with the
Plan as may be necessary or appropriate to enable them to implement the provisions of the Plan
before, on, or after the Effective Date, including the creation of the Settlement Trust and the
preparations for the transfer of the Settlement Trust Assets to the Settlement Trust.

      B.       Operations of the Debtors between Confirmation and the Effective Date . The
Debtors shall continue to operate as debtors and debtors in possession du ring the period from the
Confirmation Date to the Effective Date.


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        C.     BSA Governance Documents. From and after the Effective Date, Reorganized
BSA shall be governed pursuant to the BSA Charter and the Amended BSA Bylaws. The
Amended BSA Bylaws shall contain such provisions as are necessary to satisfy the provisions of
the Plan, subject to further amendment thereof after the Effective Date as permitted by applicable
law. Under the BSA Charter, the BSA has no power to issue certificates of stock, its o bject and
purpose being solely of a charitable character and not for pecuniary profit; accordingly, the
requirement of section 1123(a)(6) does not apply to the BSA.

        D.    Continued Legal Existence of BSA and Delaware BSA. The BSA shall continue
to exist on and after the Effective Date, with all of the powers it is entitled to exercise under
applicable law and pursuant to the BSA Charter and the Amended BSA Bylaws, subject to further
amendment of the Amended BSA Bylaws after the Effective Date, as permitted by applicable law.
On and after the Effective Date, the Delaware BSA shall be dissolved at the discretion of the
Reorganized BSA under any applicable state or federal law.

       E.      Reorganized BSA’s Directors and Senior Management. Pursuant to section
1129(a)(5) of the Bankruptcy Code, to the extent that there are anticipated changes in Reorganized
BSA’s directors and officers, the Debtors will identify any such changes in the Plan
Supplement. On and after the Effective Date, the Amended BSA Bylaws, as such may be amended
thereafter from time to time, shall govern the designation and election of directors of Reorganized
BSA.

       F.      [Reserved]

        G.      Due Authorization. As of the Effective Date, all actions contemplated by the Plan
that require corporate action of the Debtors, or either of them, including actions requiring a vote
of the National Executive Board or the National Executive Committee of the BSA or the sole
member of Delaware BSA, and execution of all documentation incident to th e Plan, shall be
deemed to have been authorized, approved, and, to the extent taken prior to the Effective Date,
ratified in all respects without any requirement of further action by the Bankruptcy Court,
members, officers, or directors of the Debtors, Reorganized Debtors, or any other Person.

        H.      Reinstatement of Interests. As of the Effective Date, in accordance with Article
III.B.12, Interests in Delaware BSA shall be Reinstated without further action by or order of the
Bankruptcy Court, so as to maintain the organizational structure of the Debtors as such structure
exists on the Effective Date unless implementation of the restructuring requires otherwise.

       I.      Restatement of Indebtedness.

               1.     Except as otherwise provided in the Plan, or in any contract, instrument,
       release or other agreement or document entered into or delivered in connection with the
       Plan, and subject to the treatment afforded to holders of Allowed Claims in Class 3A, 3B,
       4A, or 4B under Article III, on the Effective Date, all Prepetition Debt and Security
       Documents, including all agreements, instruments, and other documents evidencing or
       issued pursuant to the 2010 Credit Facility Documents, the 2019 RCF Documents, the 2010
       Bond Documents, the 2012 Bond Documents, or any indebtedness or other obligations
       thereunder, and any rights of any holder in respect thereof, shall be deemed amended and


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       restated in the form of the Restated Debt and Security Documents on the terms set forth
       herein.

               2.     Any provision in any document, instrument, lease, or other agreement that
       causes or effectuates, or purports to cause or effectuate, a default, termination, waiver, or
       other forfeiture of, or by, the Debtors as a result of the satisfactions, Injunctions, Releases,
       Discharges and other transactions provided for in the Plan shall be deemed null and void
       and shall be of no force or effect. Nothing contained herein shall be deemed to cancel,
       terminate, release, or discharge the obligation of the Debtors or any of their counterparties
       under any Executory Contract or Unexpired Lease to the extent such Executory Contract
       or Unexpired Lease has been assumed by the Debtors pursuant to a Final Order of the
       Bankruptcy Court, including the Confirmation Order.

        J.     Cancellation of Liens. Except as otherwise provided in the Plan, on the Effective
Date, any Lien securing any Allowed Secured Claim (other than a Lien securing any Allowed
Secured Claim that is Reinstated pursuant to the Plan, including, for avoidance of doubt, the liens
securing the Restated Debt and Security Documents) shall be deemed released and the holder of
such Allowed Secured Claim shall be authorized and directed to release any collateral or other
property of any Debtor (including any cash collateral) held by such holder and to take such actions
as may be requested by the Debtors (or Reorganized Debtors, as the case may be) to evidence the
release of such Lien, including the execution, delivery, and filing or recording of such releases as
may be requested by the Debtors (or Reorganized BSA, as the case may be).

       K.      Effectuating Documents and Further Transactions. The Chief Executive Officer
and President, the Chief Financial Officer, and the General Counsel of the BSA are authorized to
execute, deliver, file or record such contracts, instruments, releases, indentures, and other
agreements or documents and take or direct such actions as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of the Plan in the name of and on behalf
of Reorganized Debtors, without the need for any approvals, authorizations, actions, or consents
except for those expressly required pursuant to the Plan.

      L.      Sources of Consideration for Distributions. Distributions under the Plan shall be
funded from the following sources:

             1.     the Debtors shall fund Distributions on account of and satisfy Allowed
       General Unsecured Claims exclusively from the Core Value Cash Pool;

              2.     the Settlement Trust shall fund distributions on account of and satisfy
       compensable Abuse Claims in accordance with the Trust Distribution Procedures from the
       Settlement Trust Assets;

               3.    the Debtors shall satisfy 2010 Credit Facility Claims, 2019 RCF Claims,
       2010 Bond Claims, and 2012 Bond Claims in accordance with the terms of the Restated
       2010 Bond Documents, the Restated 2012 Bond Documents and the Restated Credit
       Facility Documents, as applicable; and




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              4.     the Debtors shall fund Distributions on account of and satisfy all other
       Allowed Claims with Unrestricted Cash and Investments on hand on or after the Effective
       Date in accordance with the terms of the Plan and the Confirmation Order.

       M.      Calculation of Minimum Unrestricted Cash and Investments. The minimum
amount of Unrestricted Cash and Investments to be retained by Reorganized BSA on the Effective
Date shall be:

               1.     $25,000,000 if the Effective Date occurs on or before September 30, 2021;

              2.   $37,000,000 if the Effective Date occurs on or after October 1, 2021 but
       before November 1, 2021;

              3.   $36,000,000 if the Effective Date occurs on or after November 1, 2021 but
       before December 1, 2021;

              4.     $40,000,000 if the Effective Date occurs on or after December 1, 2021 but
       before January 1, 2022;

              5.     $57,000,000 if the Effective Date occurs on or after January 1, 2022 but
       before February 1, 2022;

              6.    $41,000,000 if the Effective Date occurs on or after February 1, 2022 but
       before March 1, 2022;

              7.     $55,000,000 if the if the Effective Date occurs on or after March 1, 2022
       but before April 1, 2022; and

              8.     $54,000,000 if the Effective Date occurs on or after April 1, 2022 but before
       May 1, 2022; and

              9.     $43,000,000 if the Effective Date occurs on or after May 1, 2022, but before
       June 1, 2022 and

               10.    $34,000,000 if the Effective Date occurs on or after June 1, 2022.

Without limiting the foregoing, in accordance with the Hartford Insurance Settlement Agreement
and the Allowance of the Hartford Administrative Expense Claim under the Plan, the Net
Unrestricted Cash and Investments shall be reduced on a dollar-for-dollar basis equal to fifty
percent (50%) of the Allowed Hartford Administrative Expense Claim, or $1,000,000.

        N.       Resolution of Abuse Claims. All Abuse Claims shall be channeled to and resolved
by the Settlement Trust in accordance with the Trust Distribution Procedures; provided, that any
Non-Settling Insurance Company may, subject to Article X.M, raise any valid Insurance Coverage
Defense in response to a demand by the Settlement Trust, including any right of such Non-Settling
Insurance Company to assert any defense that could, but for the Settlement Trust’s assumption of
the liabilities, obligations, and responsibilities of the Protected Parties for Abuse Claims, have
been raised by the Debtors or other applicable Protected Party with respect to such Claim.


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       O.      Funding by the Settlement Trust. The Settlement Trust shall have no obligation to
fund costs or expenses other than those set forth in the Plan or the Settlement Trust Documents, as
applicable.

        P.      Core Value Cash Pool. Reorganized BSA shall deposit Cash into the Core Value
Cash Pool by making four semi-annual installment payments equal to $6,250,000. Reorganized
BSA shall make the first deposit six (6) months after the Effective Date; the second installment on
the first anniversary after the Effective Date; the third installment eighteen (18) months after the
Effective Date; and the fourth installment on the second anniversary of the Effective Date.

       Q.      Creditor Representative; Disbursing Agent. The Creditor Representative shall be
appointed as of the Effective Date. The Creditor Representative shall be responsible for assisting
Reorganized BSA and its professionals in their efforts to efficiently reconcile Convenience Claims,
General Unsecured Claims, and Non-Abuse Litigation Claims. The identity of the Creditor
Representative shall be determined by the Creditors’ Committee, with the consent of the Debtors
(such consent not to be unreasonably withheld). The Debtors or Reorganized BSA, as applicable,
will use commercially reasonable efforts to assist the Creditor Representative in reconciling
Convenience Claims, General Unsecured Claims, and Non-Abuse Litigation Claims on or before
the applicable Claims Objection Deadline. The reasonable fees and actual and necessary costs and
expenses of the Creditor Representative shall be paid by Reorganized BSA up to the Creditor
Representative Fee Cap, and Reorganized BSA shall have no obligation to compensate or
reimburse the costs or expenses of the Creditor Representative beyond the amount of the Creditor
Representative Fee Cap. The Disbursing Agent shall have the rights, powers and responsibilities
provided in Article VII. The reasonable fees and actual and necessary costs and expenses of the
Disbursing Agent, if any, shall be paid by Reorganized BSA.

        R.     Residual Cash in Core Value Cash Pool. To the extent any Cash remains in the
Core Value Cash Pool after all Allowed General Unsecured Claims have been satisfied in full,
such remaining Cash shall: (1) first, on account of any Allowed Non-Abuse Litigation Claims that
shall not have elected to be treated as an Allowed Convenience Claim under Article III.B.9 to
satisfy any deficiency in payments of such Allowed Claims (a) from available insurance coverage,
including Abuse Insurance Policies and Non-Abuse Insurance Policies, (b) from applicable
proceeds of any Insurance Settlement Agreements, and (c) from co-liable non-debtors (if any) or
their insurance coverage; (2) second, to pay interest to holders of Allowed General Unsecured
Claims in accordance with Article VII.L; and (3) third irrevocably re-vest in Reorganized BSA.

        S.      Compromise and Settlement of Claims, Interests and Controversies. Pursuant to
section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for
the distributions and other benefits provided under the Plan and the Plan Documents, as of the
Effective Date, the provisions of the Plan, including the Abuse Claims Settlement, the Insurance
Settlement Agreements, the JPM / Creditors’ Committee Settlement, the United Methodist
Settlement, the Settlement of Restricted and Core Asset Disputes, and the PSZJ Settlement, set
forth in this Article V.S, shall constitute good-faith compromises and settlements of Claims,
Interests, and controversies among the parties thereto relating to the contractual, legal, equitable
and subordination rights that holders of Claims or Interests may have with respect to any Claim or
Interest under the Plan or any Distribution to be made on account of an Allowed Claim. The Plan
shall be deemed a motion, proposed by the Debtors and joined by the parties to the Abuse Claims


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Settlement, the Insurance Settlement Agreements, the JPM / Creditors’ Committee Settlement, the
United Methodist Settlement, the Settlement of Restricted and Core Asset Disputes, and the PSZJ
Settlement, respectively, and the entry of the Confirmation Order shall constitute the Bankruptcy
Court’s approval of the compromise and settlement of all such Claims, Interests, and controversies
among the parties thereto, as well as a finding by the Bankruptcy Cou rt that such compromise or
settlement is in the best interests of the Debtors, their Estates, and holders of such Claims and
Interests, and is fair, equitable and reasonable.

               1.      Abuse Claims Settlement. The treatment provided for Abuse Claims,
       including Post-1975 Chartered Organization Abuse Claims, Pre-1976 Chartered
       Organization Abuse Claims against the Limited Protected Parties, and Opt-Out Chartered
       Organization Abuse Claims, under the Plan incorporates and reflects a proposed
       compromise and settlement of all Scouting Released Claims, including all Abuse Claims
       against the Protected Parties, all Pre-1976 Chartered Organization Abuse Claims against
       the Limited Protected Parties, all Post-1975 Chartered Organization Abuse Claims against
       the Limited Protected Parties and Opt-Out Chartered Organization Abuse Claims against
       Opt-Out Chartered Organizations (the “Abuse Claims Settlement”), and the Plan
       constitutes a request for the Bankruptcy Court to authorize and approve the Abuse Claims
       Settlement. The following constitute the provisions and conditions of the Abuse Claims
       Settlement:

                        a.      Local Council Settlement Contribution. The Local Councils shall
               make, cause to be made, or be deemed to have made, as applicable, the Local
               Council Settlement Contribution. If a Local Council is unable to transfer its rights,
               titles, privileges, interests, claims, demands or entitlements, as of the Effective
               Date, to any proceeds, payments, benefits, Causes of Action, choses in action,
               defense, or indemnity, now existing or hereafter arising, accrued or unaccrued,
               liquidated or unliquidated, matured or unmatured, disputed or undisputed, fixed or
               contingent, arising under or attributable to (i) the Abuse Insurance Policies, the
               Insurance Settlement Agreements, and claims thereunder and proceeds thereof; (ii)
               Insurance Actions, and (iii) the Insurance Action Recoveries (the “Local Council
               Insurance Rights”), then the Local Council shall, at the sole cost and expense of the
               Settlement Trust: (a) take such actions reasonably requested by the Settlement
               Trustee to pursue any of the Local Council Insurance Rights for the benefit of the
               Settlement Trust; and (b) promptly transfer to the Settlement Trust any amounts
               recovered under or on account of any of the Local Council Insurance Rights;
               provided, however, that while any such amounts are held by or under the control of
               any Local Council, such amounts shall be held for the benefit of the Settlement
               Trust.

                      b.     Contributing Chartered Organization Settlement Contribution. The
               Contributing Chartered Organizations, including the United Methodist Entities,
               shall make, cause to be made, or be deemed to have made, as applicable, the
               Contributing Chartered Organization Settlement Contribution, including the United
               Methodist Settlement Contribution, as applicable. If a Contributing Chartered
               Organization is unable to transfer its rights, titles, privileges, interests, claims,
               demands or entitlements, if any, as of the Effective Date, to any proceeds,


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   payments, benefits, Causes of Action, choses in action, defense, or indemnity, now
   existing or hereafter arising, accrued or unaccrued, liquidated or unliquidated,
   matured or unmatured, disputed or undisputed, fixed or contingent, arising under
   or attributable to (i) the Abuse Insurance Policies, the Settlin g Insurer Policy
   Rights, the Insurance Settlement Agreements, and claims thereunder and proceeds
   thereof, (ii) the Insurance Actions, and (iii) the Insurance Action Recoveries (the
   “Contributing Chartered Organization Insurance Rights”), then the Contributing
   Chartered Organization shall, at the sole cost and expense of the Settlement Trust:
   (a) take such actions reasonably requested by the Settlement Trustee to pursue any
   of the Contributing Chartered Organization Insurance Rights for the benefit of the
   Settlement Trust; and (b) promptly transfer to the Settlement Trust any amounts
   recovered under or on account of any of the Contributing Chartered Organization
   Insurance Rights; provided, however, that while any such amounts are held by or
   under the control of any Contributing Chartered Organization, such amounts shall
   be held for the benefit of the Settlement Trust.

            c.       Participating Chartered Organization Settlement Contribution. The
   Participating Chartered Organizations shall make, cause to be made, or be deemed
   to have made, as applicable, the Participating Chartered Organization Settlement
   Contribution. If a Participating Chartered Organization is unable to transfer its
   rights, titles, privileges, interests, claims, demands or entitlements, if any, as of the
   Effective Date, to any proceeds, payments, benefits, Causes of Action, choses in
   action, defense, or indemnity, now existing or hereafter arising, accrued or
   unaccrued, liquidated or unliquidated, matured or unmatured, disputed or
   undisputed, fixed or contingent, arising under or attributable to (i) the Abuse
   Insurance Policies, the Settling Insurer Policy Rights, the Insurance Settlement
   Agreements, and claims thereunder and proceeds thereof, (ii) the Insurance
   Actions, and (iii) the Insurance Action Recoveries (the “Participating Chartered
   Organization Insurance Rights”), then the Participating Chartered Organization
   shall, at the sole cost and expense of the Settlement Trust: (a) take such actions
   reasonably requested by the Settlement Trustee to pursue any of the Participating
   Chartered Organization Insurance Rights for the benefit of the Settlement Trust;
   and (b) promptly transfer to the Settlement Trust any amounts recovered under or
   on account of any of the Participating Chartered Organization Insurance Rights;
   provided, however, that while any such amounts are held by or under the control of
   any Participating Chartered Organization, such amounts shall be held for the benefit
   of the Settlement Trust.

           d.      Claims Deemed Withdrawn with Prejudice. On the Effective Date,
   any and all Claims that have been asserted in the Chapter 11 Cases by or on behalf
   of any Local Council, Participating Chartered Organization, Contributing
   Chartered Organization, or Settling Insurance Company shall be deemed
   withdrawn with prejudice and irrevocably waived, released and expunged from the
   Claims Register without any further notice to or action, order, or approval of the
   Bankruptcy Court, except that any withdrawal, waiver, release or expungement of
   any Claims asserted by Settling Insurance Companies, and the United Methodist
   Entities shall be governed by the terms and conditions of the applicable Insurance


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   Settlement Agreements, or the United Methodist Settlement Agreement,
   respectively. Further, no Local Council, Participating Chartered Organization,
   Contributing Chartered Organization, or Settling Insurance Company shall file or
   assert any Claim or Claims against the Debtors or Reorganized BSA arising from
   any act or omission of the Debtors prior to the Confirmation Date, except as
   provided otherwise in the Hartford Insurance Settlement Agreement (including
   with respect to the Hartford Additional Administrative Expense Claim, if
   applicable).

           e.      Entitlement to Become a Protected Party. Notwithstanding anything
   to the contrary set forth in the Plan or any other document filed with the Bankruptcy
   Court: (i) no Local Council shall be treated as a Protected Party under the Plan if
   any part of the Cash or Property Contribution (as defined on Exhibit F) components
   of the Local Council Settlement Contribution is not contributed to the Settlement
   Trust on the Effective Date as described on Exhibit F, it being understood that the
   Property contribution shall be deemed to have been contributed on the Effective
   Date for Purposes of this provision when all individual Local Councils that are to
   make a Property Contribution have provided a notice of intent to contribute
   property to the Settlement Trust in accordance with the terms of the Property
   Contribution set forth on Exhibit F; (ii) no Contributing Chartered Organization
   shall be treated as a Protected Party under the Plan until its Contributing Chartered
   Organization Settlement Contribution shall have been made; (iii) no Settling
   Insurance Company shall be treated as a Protected Party under the Plan until such
   Settling Insurance Company shall have made its contribution to the Settlement
   Trust pursuant to, and as set forth in, an Insurance Settlement Agreement, except
   that Hartford Protected Parties, the Century and Chubb Companies, the Zurich
   Insurers and Zurich Affiliated Insurers, and Clarendon shall each be treated as a
   Settling Insurance Company and Protected Party as set forth in their respective
   Insurance Settlement Agreements; and (iv) no Participating Chartered Organization
   shall be treated as a Protected Party solely based on the Participating Chartered
   Organization Insurance Assignment. Notwithstanding the foregoing, no Chartered
   Organization that is a debtor in bankruptcy as of the Confirmation Date (including
   the Archbishop of Agaña, a Corporation Sole) shall be treated as a Participating
   Chartered Organization unless it advises Debtors’ counsel in writing that it wishes
   to make the Participating Chartered Organization Insurance Assignment, provided,
   however, that such Chartered Organizations shall be otherwise deemed an Opt-Out
   Chartered Organization and Opt-Out Chartered Organization Abuse Claims against
   such Chartered Organizations shall be Channeled to the Settlement Trust.

          f.       Entitlement to Become a Limited Protected Party. Notwithstanding
   anything to the contrary set forth in the Plan or any other document filed with the
   Bankruptcy Court, no Chartered Organization shall be treated as a Limited
   Protected Party under the Plan if it objects to Confirmation of the Plan or informs
   Debtors’ counsel in writing on or before the deadline to object to Confirmation of
   the Plan that it does not wish to make the Participating Chartered Organization
   Insurance Assignment. Notwithstanding the foregoing, no Chartered Organization
   that is a debtor in bankruptcy as of the Confirmation Date (including the


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   Archbishop of Agaña, a Corporation Sole) shall be treated as a Participating
   Chartered Organization unless it advises Debtors’ counsel in writing that it wishes
   to make the Participating Chartered Organization Insurance Assignment, provided,
   however, that such Chartered Organizations shall be otherwise deemed an Opt-Out
   Chartered Organization and Opt-Out Chartered Organization Abuse Claims against
   such Chartered Organizations shall be Channeled to the Settlement Trust.

          g.      Opt-Out Chartered Organizations.

                  (i)   Opt-Out Chartered Organizations by definition are not
          Participating Chartered Organizations, Limited Protected Parties, or
          Contributing Chartered Organizations. The term “Opt-Out Chartered
          Organization,” on the one hand, and the terms Participating Chartered
          Organizations, Limited Protected Parties and Contributing Chartered
          Organizations, on the other hand, are mutually exclusive.

                  (ii)    As a condition to the Effective Date (waiver of which shall
          require the prior written consent of, among others, the Settling Insurance
          Companies), on the Release Date (as such term is defined in each Insurance
          Settlement Agreement), any Opt-Out Chartered Organization shall receive
          the benefit of the Channeling Injunction and the release of all Abuse Claims
          that are covered under insurance policies issued by the Settling Insurance
          Companies.

                 (iii)   The Opt-Out Chartered Organizations are barred from
          asserting rights, claims, liens and interests under and against the Abuse
          Insurance Policies that were issued by a Settling Insurance Company;,
          nothing herein, including, without limitation, the Channeling
          Injunction in Article X.F, shall require an Opt-Out Chartered
          Organization to provide an assignment or release with respect to its
          rights under insurance policies issued directly to such organization,
          including those set forth in Sections 9 and 10 of the Century and Chubb
          Companies Insurance Settlement Agreement. The rights of the Opt-
          Out Chartered Organizations provided under insurance policies issued
          directly to such organization are preserved, provided, that the Settling
          Insurance Companies and the Opt-Out Chartered Organizations may
          enforce and rely upon the channeling and release of Abuse Claims
          against an Opt-Out Chartered Organization as set forth herein,
          including as set forth in Articles X.F.1 and X.F.3, for all purposes. All
          rights and defenses of the Settling Insurance Companies under
          insurance policies issued directly to an Opt-Out Chartered
          Organization are preserved.

                 (iv)    If, however, a Chartered Organization that is an Opt-Out
          Chartered Organization wants to become a Contributing Chartered
          Organization, (i) a financial contribution must be made by or on behalf of
          such Opt-Out Chartered Organization, (ii) such Chartered Organization


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                          must agree to provide the assignments and releases set forth in Sections 9
                          and 10 in the Century and Chubb Companies Insurance Settlement
                          Agreement, and (iii) if and to the extent required by the BSA, such
                          Chartered Organization must agree to cooperate with the Child Protection
                          Committee.

                                 (v)    For the avoidance of doubt, and by definition, the applicable
                          Abuse Insurance Policies identified in each of the Insurance Settlement
                          Agreements were issued directly to the BSA and the Local Councils and
                          were not issued directly to the Chartered Organizations.

                2.     JPM / Creditors’ Committee Settlement. The treatment provided for under
        the Plan for Allowed 2010 Credit Facility Claims, Allowed 2019 RCF Claims, Allowed
        2010 Bond Claims, Allowed 2012 Bond Claims, Allowed Convenience Claims, Allowed
        General Unsecured Claims, and Allowed Non-Abuse Litigation Claims, together with the
        terms and conditions of the JPM / Creditors’ Committee Term Sheet, reflects a proposed
        compromise and settlement by and among the Debtors, the Creditors’ Committee and JPM
        (the “JPM / Creditors’ Committee Settlement”).5 The following constitutes the provisions
        and conditions of the JPM / Creditors’ Committee Settlement:

                         a.     Allowance and Treatment of 2010 Credit Facility Claims, 2019 RCF
                 Claims, 2010 Bond Claims and 2012 Bond Claims. The 2010 Credit Facility
                 Claims, the 2019 RCF Claims, the 2010 Bond Claims and the 2012 Bond Claims
                 shall be Allowed in the amounts set forth in Article III.B and receive the treatment
                 afforded to such Claims thereunder. The Debtors acknowledge and agree that the
                 Claims held by JPM (the 2010 Credit Facility Claims, the 2019 RCF Claims, the
                 2010 Bond Claims and the 2012 Bond Claims), are core to the Debtors’ charitable
                 mission and were incurred in furtherance of the Debtors’ charitable mission.

                        b.      Treatment of Convenience Claims, General Unsecured Claims, and
                 Non-Abuse Litigation Claims. Convenience Claims, General Unsecured Claims,
                 and Non-Abuse Litigation Claims shall receive the treatment afforded to such
                 Claims under Article III.B. The Debtors acknowledge and agree that General
                 Unsecured Claims, Convenience Claims, and Non-Abuse Litigation Claims are
                 held by creditors who are core to the Debtors’ charitable mission or creditors whose
                 Claims in such Classes, if Allowed, were incurred in furtherance of the Debtors’
                 charitable mission; accordingly, payments by Reorganized BSA under the Plan on
                 account of such Allowed Claims, if applicable, will be made from Cash relating to
                 Reorganized BSA’s core assets.

                        c.      Challenge Period. As of the Effective Date, (i) the Challenge Period
                 (as defined in the Cash Collateral Order) shall be deemed to have expired with
                 respect to the Creditors’ Committee; (ii) the Stipulations (as defined in the Cash


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    In the event of a conflict between the terms and conditions of the Plan, on the one hand, and the terms and
    conditions of the JPM / Creditors’ Committee Term Sheet, on the other hand, the terms of the Pla n shall control.



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       Collateral Order) and other admissions, agreements and releases set forth in the
       Cash Collateral Order shall be final and binding on the Creditors’ Committee. The
       ability of any other party to bring a Challenge Proceeding (as defined in the Cash
       Collateral Order) shall be governed by the terms and conditions of the Cash
       Collateral Order.

        3.       Settlement of Restricted and Core Asset Disputes. As a proposed
compromise and settlement of any and all disputes concerning the Debtors’ restricted
and/or core assets, including the claims asserted in the complaint filed by the Tort
Claimants’ Committee in the adversary proceeding entitled Official Tort Claimants’
Committee of Boy Scouts of America and Delaware BSA, LLC v. Boy Scouts of America
and Delaware BSA, LLC, Adv. Pro. No. 21-50032 (LSS) (the “Settlement of Restricted
and Core Asset Disputes”), the Debtors shall: (a) reduce the minimum amount of
Unrestricted Cash and Investments to be retained by Reorganized BSA on the Effective
Date from $75,000,000 to $25,000,000 (subject to potential variance as set forth in Article
V.M); and (b) issue the BSA Settlement Trust Note to the Settlement Trust as of the
Effective Date in accordance with Article V.X. As further consideration in connection
with the Settlement of Restricted and Core Asset Disputes, the Debtors have agreed under
the Plan to: (i) fund the Core Value Cash Pool, in the amount of $25,000,000; and (ii) make
the BSA Settlement Trust Contribution, including all of the Net Unrestricted Cash and
Investments. The proceeds of the Foundation Loan, in the amount of $42,800,000 (which
Reorganized BSA will use exclusively for working capital and general corporate purposes),
will permit the Debtors to contribute to the Settlement Trust a substantial amount of core
value consideration in Cash on the Effective Date.

        4.      Insurance Settlement Agreements. The Plan incorporates the Insurance
Settlement Agreements, which are attached hereto under Exhibit I, and the Plan shall
constitute a motion by the Debtors for the Bankruptcy Court to approve the proposed
compromises and settlements and assignment and/or sale of the applicable Insurance
Policies as set forth in each such Insurance Settlement Agreement, pursuant to sections
363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code, as applicable, and
Bankruptcy Rule 9019, including approval of (i) the Insurance Settlement Agreements, (ii)
the assignment of the Local Council Insurance Policies issued by Settling Insurance
Companies to the Debtors and the Estates, as applicable, (iii) the Participating Chartered
Organization Insurance Assignment, (iv) the sale by the Debtors and the Estates, and the
purchase by the Settling Insurance Companies of the applicable Insurance Policies, free
and clear of all liens, claims, encumbrances, interests and rights of any nature, whether at
law or in equity, of any Person or Entity as set forth in the Insurance Settlement
Agreements, except solely with respect to the interests, if any, of the Archbishop of Agaña,
(v) the Allowance of the Hartford Administrative Expense Claim, and (vi) certain other
settlements, compromises and releases as set forth in the Insurance Settlement Agreements.
The Confirmation Order shall constitute the Bankruptcy Court’s approval of such motion
pursuant to sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Ban kruptcy Code, as
applicable, and Bankruptcy Rule 9019 and Allowance of the Hartford Administrative
Expense Claim and shall include findings of fact and conclusions of law pertaining to such
approval, in form and substance acceptable to the Settling Insuran ce Companies, as
applicable, including findings and conclusions designating the Settling Insurance


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       Companies as good-faith purchasers of the applicable Insurance Policies. Pursuant to the
       Century and Chubb Companies Insurance Settlement Agreement, upon th e release of the
       Initial Payment (as defined in the Century and Chubb Companies Insurance Settlement
       Agreement), the Debtors or Reorganized BSA, as applicable, and the Debtors’ Estates shall
       irrevocably release the Prepetition Century and Chubb Companies Claims, even in the case
       the Confirmation Order is reversed or vacated on appeal following the Effective Date.
       Pursuant to and subject to the terms of the Hartford Insurance Settlement Agreement, upon
       Hartford’s payment of the Initial Payment (as defined in the Hartford Insurance Settlement
       Agreement) to the Settlement Trust, the Debtors or Reorganized BSA, as applicable, and
       the Debtors’ Estates shall irrevocably release the Prepetition Hartford Claims, even if the
       Confirmation Order is reversed or vacated on appeal following the Effective Date.

               5.     TCJC. TCJC is not a Contributing Chartered Organization and shall be a
Participating Chartered Organization and shall have all of the rights and obligations associated
therewith.

                6.      United Methodist Settlement. The Plan incorporates the United Methodist
Settlement Agreement, filed on the docket of the Chapter 11 Cases and attached hereto as Exhibit
J-2, and the Plan shall constitute a motion by the Debtors for the Bankruptcy Court to approve all
the proposed compromises and settlements set forth in the United Methodist Settlement Agreement
other than Section 2(h) therein (the “United Methodist Settlement”) pursuant to section 1123 of
the Bankruptcy Code and Bankruptcy Rule 9019, including, as provided in the United Methodist
Settlement Agreement, payment of the United Methodist Settlement Contribution to the Settlement
Trust as a compromise and settlement of all Abuse Claims against United Methodist Entities and
certain Claims by United Methodist Entities against the Debtors, Local Councils, and other parties
in interest and disputes relating to the Plan. The Confirmation Order shall constitute the
Bankruptcy Court’s approval of such motion pursuant to section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019 and shall include findings of fact and conclusions of law pertaining to such
approval, in form and substance acceptable to the United Methodist ad hoc committee.

               7.      PSZJ Settlement. The Plan incorporates the compromise and settlement of
all claims and disputes the Debtors have, or may have, against the Tort Claimants’ Committee and
its Representatives, including Pachulski Stang Ziehl & Jones LLP (“PSZJ”), regarding the alleged
improper transmittal of communications from Timothy Kosnoff Esq. by PSZJ to th ousands of
survivors from the official Tort Claimants’ Committee’s email address, many of whom were not
clients of Mr. Kosnoff, and related actions (the “PSZJ Actions”). As part of this compromise and
settlement and only upon the Effective Date, (a) the Tort Claimants’ Committee and its
professionals shall be Exculpated Parties herein and (b) PSZJ shall (i) make a cash contribution of
$1,250,000 to the Reorganized BSA to be reserved for the Youth Protection Program and (ii) write -
off $750,000 of PSZJ’s fees; provided, however, if the Effective Date does not occur, the Debtors
and PSZJ reserve all rights and defenses with respect to the PSZJ Actions. The Plan shall constitute
a motion by the Debtors for the Bankruptcy Court to approve the proposed PSZJ Settlement
pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019. The proposed PSZJ
Settlement, with its significant and important $1,250,000 contribution earmarked for the Youth
Protection Program, is fair, reasonable and in all parties’ best interests.




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               8.     Roman Catholic Settlement. The Plan incorporates the Roman Catholic
Settlement Agreement, attached hereto as Exhibit J-3. Pursuant to the Roman Catholic Settlement,
all Roman Catholic Entities, other than those that have specifically opted out of such treatment
(and do not withdraw such opt-out) and other than those that are debtors in bankruptcy as of the
Confirmation Date that have not advised Debtors’ counsel in writing that they wish to make the
Participating Chartered Organization Insurance Assignment, shall be treated as Participating
Chartered Organizations.

       T.      Payment of Coalition and Pfau/Zalkin Restructuring Expenses.

                1.     On or as soon as reasonably practicable after the Effective Date, and subject
       to the Bankruptcy Court granting a motion filed pursuant to sections 363(b), 1129(a)(4)
       and 503(b) of the Bankruptcy Code, Bankruptcy Rule 9019, or otherwise applicable
       bankruptcy and non-bankruptcy law, Reorganized BSA shall reimburse state court counsel
       for amounts they have paid to the Coalition Professionals for, and/or pay the Coalition
       Professionals for amounts payable by state court counsel but not yet paid to Coalition
       Professionals for, reasonable, documented, and contractual professional advisory fees and
       expenses incurred by the Coalition Professionals (the “Coalition Restructuring Expenses”)
       from the Coalition’s inception up to and including the Effective Date, up to a maximum
       amount equal to the lesser of (x) (a) $950,000 per month for the period from August 16,
       2021 up to and including the Effective Date (pro-rated for any partial month), plus (b)
       $10,500,000 and (y) $21,000,000; provided, however, that, without limiting the foregoing,
       under no circumstance shall the Debtors or Reorganized BSA have any obligation to (i) pay
       or reimburse the Coalition, any of its members, or any Persons affiliated with the Coalition
       for any costs, fees or expenses other than the Coalition Restructuring Expenses or (ii) pay
       or reimburse any Coalition Restructuring Expenses that constitute transaction, success or
       similar contingent fees. The Coalition shall provide the Debtors a reasonable estimate of
       the total Coalition Restructuring Expenses as of the Effective Date no later than the date
       that is five (5) Business Days before the anticipated Effective Date. Notwithstanding
       anything to the contrary in the Plan, the Coalition Restructuring Expenses shall be subject
       to the terms of Article II.A.2, with the following modifications: (x) Coalition Professionals
       shall comply with the procedures and processes set forth in Article II.A.2 by filing final
       fee application(s), which, for attorneys or law firms who are Coalition Professionals, shall
       include time entry detail, which may be redacted for privilege; and (y) payment or
       reimbursement of Coalition Restructuring Expenses shall be subject to the review and
       procedure of the Fee Examiner. For the avoidance of doubt, the Coalition Professionals
       shall not be considered retained professionals of the Debtors, the Creditors’ Committee,
       the Tort Claimants’ Committee, or the Future Claimants’ Representative, and the retention
       of the Coalition Professionals shall not have been required to satisfy the standards for
       retention set forth in sections 327, 328 or 1103 of the Bankruptcy Code. The requirement
       that a separate motion be filed with the Bankruptcy Court shall not in any way prejudice
       or limit the payment of the Coalition Restructuring Expenses under the Plan and/or
       pursuant to sections 363(b), 1129(a)(4) and 503(b) of the Bankruptcy Code, Ba nkruptcy
       Rule 9019, or otherwise applicable bankruptcy and non-bankruptcy law or determine what
       standard should be applied to determine approval of the Coalition Restructuring Expenses;
       provided, however, that nothing in the Confirmation Order shall make any findings of facts



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       or conclusions of law regarding whether the Coalition Restructuring Expenses should be
       approved.

               2.      On or as soon as reasonably practicable after the Effective Date, and subject
       to the Bankruptcy Court granting a motion filed pursuant to sections 363(b), 1129(a)(4)
       and 503(b) of the Bankruptcy Code, Bankruptcy Rule 9019, or otherwise applicable
       bankruptcy and non-bankruptcy law, the Settlement Trust shall reimburse state court
       counsel for amounts they have paid to KTBS Law and Michel Horto n (the “Pfau/Zalkin
       Professionals”) for, and/or pay the Pfau/Zalkin Professionals for amounts payable by state
       court counsel but not yet paid to Pfau/Zalkin Professionals for, reasonable, documented,
       and contractual professional advisory fees and expenses incurred by the Pfau/Zalkin
       Professionals (the “Pfau/Zalkin Restructuring Expenses”); provided, however, that,
       without limiting the foregoing, (i) the the Pfau/Zalkin Restructuring Expenses shall be paid
       from the Settlement Trust Assets and (ii) the Pfau/Zalkin Restructuring Expenses shall be
       in an aggregate amount not to exceed $3,500,000. Under no circumstance shall the Debtors
       or Reorganized BSA have any obligation to pay or reimburse, from the Settlement Trust
       Assets, the Pfau/Zalkin Professionals, any of its members, or any Persons affiliated with
       the Pfau/Zalkin Professionals or any Pfau/Zalkin Restructuring Expenses that constitute
       transaction, success or similar contingent fees. The Pfau/Zalkin Professionals shall provide
       the Settlement Trust a reasonable estimate of the total Pfau/Zalkin Restructuring Expenses
       as of the Effective Date no later than the date that is five (5) Business Days before the
       anticipated Effective Date. Notwithstanding anything to the contrary in the Plan, the
       Pfau/Zalkin Restructuring Expenses shall be subject to the terms of Article II.A.2, with the
       following modifications: (x) Pfau/Zalkin Professionals shall comply with the procedures
       and processes set forth in Article II.A.2 by filing final fee application(s), which, for
       attorneys or law firms who are Pfau/Zalkin Professionals, shall include time entry detail,
       which may be redacted for privilege; and (y) payment or reimbursement of Pfau/Zalkin
       Restructuring Expenses shall be subject to the review and procedure of the Fee Examiner.
       For the avoidance of doubt, the Pfau/Zalkin Professionals shall not be considered retained
       professionals of the Debtors, the Creditors’ Committee, the Tort Claimants’ Committee,
       the Coalition, or the Future Claimants’ Representative, and the retention of the Pfau/Zalkin
       Professionals shall not have been required to satisfy the standards for retention set forth in
       sections 327, 328 or 1103 of the Bankruptcy Code. The requirement that a separate motion
       be filed with the Bankruptcy Court shall not in any way prejudice or limit the payment of
       the Pfau/Zalkin Restructuring Expenses under the Plan and/or pursuant to sections 363(b),
       1129(a)(4) and 503(b) of the Bankruptcy Code, Bankruptcy Rule 9019, or oth erwise
       applicable bankruptcy and non-bankruptcy law or determine what standard should be
       applied to determine approval of the Pfau/Zalkin Restructuring Expenses; provided,
       however, that nothing in the Confirmation Order shall make any findings of facts or
       conclusions of law regarding whether the Pfau/Zalkin Restructuring Expenses should be
       approved.

       U.      Good-Faith Compromise and Settlement. The Plan (including its incorporation of
the Abuse Claims Settlement, the Insurance Settlements, the JPM / Creditors’ Co mmittee
Settlement, the United Methodist Settlement, the Settlement of Restricted and Core Asset
Disputes, and the PSZJ Settlement), the Plan Documents, and the Confirmation Order constitute a
good-faith compromise and settlement of Claims, Interests and controversies based upon the


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unique circumstances of these Chapter 11 Cases. The Plan, the Abuse Claims Settlement, the
Insurance Settlements, the JPM / Creditors’ Committee Settlement, the United Methodist
Settlement, the Settlement of Restricted and Core Asset Disputes, the PSZJ Settlement, the Plan
Documents, and the Confirmation Order will be binding as to the matters and issues described
therein, but will not be binding with respect to similar matters or issues that might arise in any
other litigation or proceeding in which none of the Debtors, Reorganized BSA, the Protected
Parties, or the Settlement Trust is a party.

       V.      Restated Debt and Security Documents.

               1.       On the Effective Date, the Prepetition Debt and Security Documents shall
       be amended and restated in the form of the Restated Debt and Security Documents, and
       Reorganized BSA, JPM and Arrow shall, and shall be authorized, to execute, deliver and
       enter into the Restated Debt and Security Documents as of such date, in principal amounts
       equal to the Allowed amounts set forth in Article III.B.3, Article III.B.4, Article III.B.5,
       and Article III.B.6 without the need for any further corporate action or any further notice
       to or order of the Bankruptcy Court. The Debtors or Reorganized BSA, as applicable, JPM,
       and Arrow shall take all actions necessary to continue the Debtors’ obligations under the
       Prepetition Debt and Security Documents, as amended and restated by the Restated Debt
       and Security Documents and to give effect to the Restated Debt and Security Documents,
       including surrendering any debt instruments or securities that are no longer applicable
       under the Restated Debt and Security Documents to the Debtors o r Reorganized BSA.
       Entry of the Confirmation Order shall be deemed approval of the JPM Exit Fee, and
       Reorganized BSA is authorized and directed to pay the JPM Exit Fee to JPM on the
       Effective Date.

               2.     Except as otherwise modified by the Restated Debt and Sec urity
       Documents, all Liens, mortgages and security interests securing the obligations arising
       under the Restated Debt and Security Documents that were collateral securing the Debtors’
       obligations under the Prepetition Debt and Security Documents as of the Petition Date are
       unaltered by the Plan, and all such Liens, mortgages and security interests are reaffirmed
       and perfected with respect to the Restated Debt and Security Documents to the same extent,
       in the same manner and on the same terms and priorities as they were under the Prepetition
       Debt and Security Documents, except as the foregoing may be modified pursuant to the
       Restated Debt and Security Documents. All Liens and security interests granted and
       continuing pursuant to the Restated Debt and Security Documents shall be (a) valid,
       binding, perfected, and enforceable Liens and security interests in the personal and real
       property described in and subject to such documents, with the priorities established in
       respect thereof under applicable non-bankruptcy law; (b) granted in good faith and deemed
       not to constitute a fraudulent conveyance or fraudulent transfer; and (c) not otherwise
       subject to avoidance, recharacterization, or subordination (whether equitable, contractual
       or otherwise) under any applicable law. The Debtors, Reorganized BSA, Arrow, and JPM
       are authorized to make, and to the extent required by the Restated Debt and Security
       Documents, the Debtors, Reorganized BSA, Arrow will make, all filings and recordings,
       and obtain all governmental approvals and consents necessary (but otherwise consistent
       with the consents and approvals obtained in connection with the Prepetition Debt and
       Security Documents) to establish, attach and perfect such Liens and security interests under


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any applicable law (it being understood that perfection shall occur automatically by virtue
of the entry of the Confirmation Order and any such filings, recordings, approvals, and
consents shall not be required), and will thereafter cooperate to make all other filings and
recordings that otherwise would be necessary under applicable law to give notice of such
Liens and security interests to third parties. For purposes of all mortgages and deposit
account control agreements that secured the obligations arising under the Prepetition Debt
and Security Documents, the Restated Debt and Security Documents are deemed an
amendment and restatement of the Prepetition Debt and Security Documents, and such
mortgages and control agreements shall survive the Effective Date, shall not be cancelled,
and shall continue to secure Reorganized BSA’s obligations under the Restated Debt and
Security Documents, except as expressly set forth therein.

        3.      The definitive terms of the Restated Debt and Security Documents shall be
(x) acceptable to JPM and the BSA, (y) reasonably acceptable to the Creditors’ Committee,
and (z) substantially the same as the Prepetition Debt and Security Documents, except that,
as to be specified in the Restated Debt and Security Documents:

               a.     the maturity dates under the Restated 2010 Bond Documents, the
       Restated 2012 Bond Documents, and the Restated Credit Facility Documents will
       be the Restated Maturity Date;

               b.     principal under the Restated 2010 Bond Documents and the
       Restated 2012 Bond Documents shall be payable in monthly installments, in the
       same monthly amounts as the prepetition periodic amortization amounts, beginning
       on the date that is two (2) years after the Effective Date and ending on the Restated
       Maturity Date; provided, that the scheduled principal amounts payable under the
       Restated 2010 Bond Documents and the Restated 2012 Bond Documents shall be
       reduced, on a pro rata basis, by an amount equal to the Excess Cash and
       Investments, if any, that are remitted to JPM under the Excess Cash Sweep;

              c.     interest under the Restated 2010 Bond Documents and the Restated
       2012 Bond Documents shall be payable in monthly installments, at the currently
       applicable existing rates in the 2010 Bond Documents and the 2012 Bond
       Documents, beginning on the date that is one month after the Effective Date and
       ending on the Restated Maturity Date;

               d.      principal under the Restated Credit Facility Documents shall be
       payable in quarterly installments, set at 1/40th of the outstanding balance on the
       Effective Date, beginning on the date that is two (2) years after the Effective Date
       and ending on the Restated Maturity Date; provided, that the principal amounts
       payable under the Restated Credit Facility Documents shall be reduced, on a pro
       rata basis, by an amount equal to the Excess Cash and Investments, if any, th at are
       remitted to JPM under the Excess Cash Sweep;

             e.      interest under the Restated Credit Facility Documents shall be
       payable in quarterly installments at the applicable existing rates in the Prepetition



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        Debt and Security Documents, beginning on the date that is three (3) months after
        the Effective Date and ending on the Restated Maturity Date;

                f.       all of the obligations of Reorganized BSA under the Restated Debt
        and Security Documents shall be secured by first-priority liens on and security
        interests in all of the assets of Reorganized BSA;

               g.     all of the obligations of Reorganized BSA under the Restated Debt
        and Security Documents shall be guaranteed by Arrow; and

                h.      beginning on December 31 of the calendar year that is two (2) years
        after the Effective Date and continuing on December 31 of each successive calendar
        year until December 31 of the calendar year that is immediately prior to the calendar
        year of the Restated Maturity Date, Reorganized BSA shall remit to JPM, as soon
        as reasonably practicable but in no case later than thirty (30) days of such date,
        twenty-five percent (25%) of the Excess Cash and Investments in excess of
        $75,000,000, if any, as of such date, measured on a pro forma basis after having
        given effect to the principal payment, if any, due on February 15 of the following
        year under the BSA Settlement Trust Note, if applicable (the “Excess Cash
        Sweep”), and JPM shall apply any such amounts on a pro rata basis to the unpaid
        principal balances under the Restated Debt and Security Documents. For the
        avoidance of doubt, no payments shall be made on account of the Excess Cash
        Sweep until the last Distribution is made on account of Allowed General Unsecured
        Claims.

        4.     Except as provided for in an Insurance Settlement Agreement, neither any
provision of the Plan nor the occurrence of the Effective Date shall alter, amend, or
otherwise impair the rights and obligations of the Debtors, Reorganized BSA, JPM, or any
applicable Insurance Company holding one or more letters of credit issued by JPM to
secure obligations arising under one or more BSA Insurance Policies. Without limiting the
foregoing, nothing in the Plan or the Confirmation Order shall preclude any such Insurance
Company from exercising any applicable rights on any such letter of credit issued, or other
security provided, for the benefit of the Insurance Company in accordance with the terms
and conditions of the documents governing such letter of credit or other security, or
applying amounts therefrom to any Claim secured by such letter of credit or oth er security,
and the Debtors, Reorganized BSA, and JPM reserve any and all rights with respect to such
Insurance Company’s exercise of any applicable rights.

W.      Foundation Loan.

        1.      On the Effective Date, the Foundation Loan Agreement and any applicable
collateral and other loan documents governing the Foundation Loan shall be executed and
delivered, and Reorganized BSA shall be authorized to execute, deliver and enter into, the
Foundation Loan Agreement and related documentation governing the Foundation Loan
without the need for any further corporate action or any further notice to or order of the
Bankruptcy Court.



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                2.      As of the Effective Date, upon the granting of Liens in accordance with the
       Foundation Loan Agreement and any applicable collateral and other loan documents
       governing the Foundation Loan, all of the Liens and security interests granted thereunder
       (a) shall be deemed to have been granted, (b) shall be legal, binding, automatically
       perfected, non-avoidable, and enforceable Liens on, and security interests in, the applicable
       collateral as of the Effective Date in accordance with the respective terms of the Foundation
       Loan Agreement and related documentation, subject to the Liens and security interests set
       forth in the Restated Debt and Security Documents, as permitted under the Foundation
       Loan Agreement and related documentation. All Liens and security interests granted
       pursuant to the Foundation Loan Agreement and related documentation shall be (i) valid,
       binding, perfected, and enforceable Liens and security interests in the personal and
       property described in and subject to such documents, with the priorities established in
       respect thereof under applicable non-bankruptcy law; (ii) granted in good faith and deemed
       not to constitute a fraudulent conveyance or fraudulent transfer; and (c) not otherwise
       subject to avoidance, recharacterization, or subordination (whether equitable, contractual
       or otherwise) under any applicable law. The Debtors, Reorganized BSA, Arrow, and the
       Foundation are authorized to make, and to the extent contemplated by the Foundation Loan
       Agreement and related documentation, the Debtors, Reorganized BSA, Arrow will make,
       all filings and recordings, and obtain all governmental approvals and consents necessary to
       establish, attach and perfect such Liens and security interests under any applicable law (it
       being understood that perfection shall occur automatically by virtue of the entry of the
       Confirmation Order and any such filings, recordings, approvals, and co nsents shall not be
       required), and will thereafter cooperate to make all other filings and recordings that
       otherwise would be necessary under applicable law to give notice of such Liens and
       security interest to third parties.

        X.      BSA Settlement Trust Note. On the Effective Date, Reorganized BSA shall
execute, issue and deliver the BSA Settlement Trust Note to the Settlement Trust and execute and
deliver any related documentation governing the BSA Settlement Trust Note, including any related
security agreement, without the need for any further corporate action or any further notice to or
order of the Bankruptcy Court. The BSA Settlement Trust Note will commence on the Effective
Date and will be due ninety-one (91) days after the date that is ten (10) years after the Effective
Date and shall bear interest at a rate of 5.5% per annum, payable semi-annually, subject to a
payment-in-kind election for the eighteen (18) months immediately following the Effective Date.
The obligations of Reorganized BSA under the BSA Settlement Trust Note shall be secured by
second-priority liens on and security interests in inventory, accounts receivable (except the Arrow
Intercompany Note), Cash and the Headquarters. Principal under the BSA Settlement Trust Note
shall be payable in annual installments due on February 15 of each year during the term of the
BSA Settlement Trust Note, commencing on February 15 of the second year following the
Effective Date. Such annual principal payments shall be equal to the sum of the following
calculation: (a) $4,500,000; plus (b) $3.50 multiplied by the aggregate number of Youth Members
as of December 31 of the preceding year up to the forecasted number of Youth Members for such
year as set forth in the Debtors’ five-year business plan; plus (c) $50 multiplied by the aggregate
number of High Adventure Base Participants during the preceding calendar year; plus (d) $50
multiplied by the aggregate number of Youth Members in excess of the forecasted number of
Youth Members for such year, excluding the portion of the excess that is comprised of members
under the ScoutReach program, as set forth in the Debtors’ five-year business plan; plus (e) $150


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multiplied by the aggregate number of High Adventure Base Participants, excluding those
attending events with a registration fee of less than $300 (e.g., for non-typical High Adventure
Base activities), in excess of the forecasted number of High Adventure Base Participants for such
year as set forth in the Debtors’ five-year business plan. The forecasted numbers of Youth
Members and High Adventure Base Participants referenced in clauses (b), (d) and (e) of the
foregoing sentence are included in the Financial Projections attached to the Disclosure Statement.
The forecast for years after 2025 shall be deemed to be the forecast for calendar year 2025. The
BSA Settlement Trust Note may be prepaid at any time without penalty.

        Y.      DST. The DST shall be established on the Effective Date in accordance with the
DST Agreement. The purposes of the DST shall be to: (1) issue the DST Note to the Settlement
Trust as of the Effective Date; (2) collect, manage and invest Cash contributed by Local Councils
on a monthly basis to an account (and any replacement thereof) owned by the DST in accordance
with the DST Note Mechanics; and (3) make annual payments (a) to the Pension Plan or (b) toward
principal and interest on the DST Note, as determined in accordance with the DST Note Mechanics
and the DST Agreement. In the event of a conflict between the terms or provisions of the Plan
and the DST Agreement, the terms of the Plan shall control.

        Z.      Pension Plan. No provision contained in the Plan, Confirmation Order, the
Bankruptcy Code (including section 1141 of the Bankruptcy Code), or any other document filed
or order entered in the Chapter 11 Cases shall be construed to exculpate, discharge, release or
relieve the Debtors, the Local Councils, or any other party, in any capacity, from any liability or
responsibility to any Person with respect to the Pension Plan under any law, governmental policy,
or regulatory provision. The Pension Plan shall not be enjoined or precluded from enforcing any
such liability or responsibility as a result of any of the provisions of the Plan (including those
provisions providing for exculpation, satisfaction, release and discharge of Claims against the
Debtors), the Confirmation Order, the Bankruptcy Code (including section 1141 of the Bankruptcy
Code), or any other document filed or order entered in the Chapter 11 Cases. The Settlement Trust
shall not have any liability to any Person on account of the Pension Plan, including liability as a
member of a “Controlled Group” as defined in 29 U.S.C. § 1301(a)(14)(A) or on any other basis
whatsoever.

As of the Effective Date, Reorganized BSA shall assume and continue the Pension Plan to the
extent of its obligations under the Pension Plan and applicable law, including, as applicable,
(1) satisfaction of the minimum funding requirements under 26 U.S.C. §§ 412 and 430 and 29
U.S.C. §§ 1082 and 1083, (2) payment of all required Pension Benefit Guaranty Corporation
premiums in accordance with 29 U.S.C. §§ 1306 and 1307, and (3) administration of the Pension
Plan in all material respects in accordance with the applicable provisions of the Employee
Retirement Income Security Act of 1974, as amended, 29 U.S.C. §§ 1301 et seq., and the Internal
Revenue Code. Notwithstanding the foregoing, Reorganized BSA reserves all of its rights under
the Pension Plan. All Proofs of Claim filed by the Pension Benefit Guaranty Corporation with
respect to the Pension Plan shall be deemed withdrawn on the Effective Date.

        AA. Single Satisfaction of Allowed General Unsecured Claims. In no event shall any
holder of an Allowed General Unsecured Claim recover more than the full amount of its Allowed
General Unsecured Claim from the Core Value Cash Pool (plus interest from the Core Value Cash
Pool at the federal judgment rate to the extent applicable under the terms hereof), and to the extent


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that the holder of an Allowed General Unsecured Claim has received, or in the future receives,
payment on account of such Allowed General Unsecured Claim from a party that is not a Debtor
or Reorganized BSA, such holder shall repay, return, or deliver to the Core Value Cash Pool any
Distribution held by or transferred to such holder to the extent the holder’s total recovery on
account of its Allowed General Unsecured Claim from the third party and f rom the Core Value
Cash Pool exceeds the amount of such holder’s Allowed General Unsecured Claim (plus interest
from the Core Value Cash Pool at the federal judgment rate to the extent applicable under the terms
hereof).

       BB. Exemption from Certain Transfer Taxes and Recording Fees. To the maximum
extent permitted pursuant to section 1146(a) of the Bankruptcy Code and applicable law, any
transfers of property pursuant to the Plan, including any transfers to the Settlement Trust by the
Debtors, the Local Councils, the Contributing Chartered Organizations, and the Settling Insurance
Companies, and payments by Reorganized BSA to or from the Core Value Cash Pool, shall not be
taxed under any law imposing a stamp tax or similar tax.

        CC. Non-Monetary Commitments. The Debtors will not compromise the safety of the
youth, volunteers, and employees. The Debtors are dedicated to becoming the Gold Standard in
abuse prevention. Because of this commitment, the Debtors are and will always seek to bolster
their abuse prevention efforts. In furtherance of these efforts, the Reorganized BSA shall take the
actions set forth in Exhibit L hereto to promote healing and reconciliation and to continue the
ongoing efforts to prevent abuse from occurring in Scouting in the future.

                                         ARTICLE VI.

                EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption and Rejection of Executory Contracts and Unexpired Leases.

               1.      On the Effective Date, except as otherwise provided herein, all Executory
       Contracts and Unexpired Leases shall be deemed assumed by Reorganized BSA without
       the need for any further notice to or action, order, or approval of the Bankruptcy Court
       under sections 365 or 1123 of the Bankruptcy Code, except for Executory Contracts or
       Unexpired Leases: (a) that are identified on the Rejected Contracts and Un expired Leases
       Schedule; (b) that previously expired or terminated pursuant to their terms; (c) that the
       Debtors have previously assumed or rejected pursuant to a Final Order of the Bankruptcy
       Court; (d) that are the subject of a motion to reject that remains pending as of the Effective
       Date; (e) as to which the effective date of rejection will occur (or is requested by the
       Debtors to occur) after the Effective Date; or (f) as to which the Debtors or Reorganized
       BSA, as applicable, determine, in the exercise of their reasonable business judgment, that
       the Cure Amount, as determined by a Final Order or as otherwise finally resolved, would
       render assumption of such Executory Contract or Unexpired Lease unfavorable to Debtors
       or Reorganized BSA; provided that the Debtors reserve the right to seek enforcement of an
       assumed or assumed and assigned Executory Contract or Unexpired Lease following the
       Confirmation Date, including seeking an order of the Bankruptcy Court rejecting such
       Executory Contract or Unexpired Lease for cause.



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                2.      Entry of the Confirmation Order shall constitute an order of the Bankruptcy
        Court approving the assumption or rejection, as applicable, of Executory Contracts or
        Unexpired Leases pursuant to the Plan, pursuant to sections 365 and 1123 of the
        Bankruptcy Code. Except as otherwise set forth herein, the assumption or rejection of an
        Executory Contract or Unexpired Lease pursuant to the Plan shall be effective as of the
        Effective Date; provided that the rejection of an Unexpired Lease shall be effective as of
        the later of: (a) the Effective Date; and (b) the date on which the leased premises are
        unconditionally surrendered to the non-Debtor counterparty to the rejected Unexpired
        Lease. Reorganized BSA is authorized to abandon any De Minimis Assets at or on the
        premises subject to an Unexpired Lease that is rejected pursuant to the Plan, and the non-
        Debtor counterparty to such Unexpired Lease may dispose of any such De Minimis Assets
        remaining at or on the leased premises on the applicable lease rejection date.

               3.      Each Executory Contract or Unexpired Lease assumed pursuant to the Plan
        or a Final Order of the Bankruptcy Court shall re-vest in and be fully enforceable by
        Reorganized BSA in accordance with its terms, except as such terms may have been
        modified by the provisions of the Plan, the Confirmation Order, or any Final Order of the
        Bankruptcy Court authorizing and providing for its assumption. Any motions to assume
        Executory Contracts or Unexpired Leases pending on the Effective Date shall be s ubject
        to approval by a Final Order on or after the Effective Date but may be withdrawn, settled,
        or otherwise prosecuted by Reorganized BSA.

         B.     Rejection Damages Claims. Unless otherwise provided by a Final Order of the
Bankruptcy Court, all Proofs of Claim for Rejection Damages Claims, if any, shall be filed within
thirty (30) days after the latest to occur of: (1) the date of entry of an order of the Bankruptcy Court
(including the Confirmation Order) approving such rejection; (2) the effective date of the rejection
of such Executory Contract or Unexpired Lease; or (3) the Effective Date (as applicable, the
“Rejection Damages Bar Date”). Claims arising from the rejection of an Executory Contract or
an Unexpired Lease shall be classified as General Unsecured Claims and subject to the provisions
of Article VII and the applicable provisions of the Bankruptcy Code and the Bankruptcy Rules.

        C.      Cure of Defaults under Executory Contracts and Unexpired Leases.

                 1.     Any monetary defaults under each Executory Contract and Unexpired
        Lease to be assumed pursuant to the Plan shall be satisfied, pursuant to section 365(b)(1)
        of the Bankruptcy Code, by payment of the Cure Amount in Cash on the Effective Date or
        in the ordinary course of the Debtors’ or Reorganized BSA’s non-profit operations, subject
        to the limitation described below.

                2.      Except as otherwise provided in the Plan, the Debtors shall, on or before the
        date of filing of the Plan Supplement, cause the Cure and Assumption Notices to be served
        on counterparties to Executory Contracts and Unexpired Leases to be assumed pursuant to
        the Plan. Any objection by a non-Debtor counterparty to an Executory Contract or
        Unexpired Lease to the assumption, assumption and assignment, the related Cure Amount,
        or adequate assurance, must be filed, served, and actually received by the Debtors on or
        prior to the deadline for filing objections to the Plan (or such later date as may be provided
        in the applicable Cure and Assumption Notice); provided that each counterparty to an


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       Executory Contract or Unexpired Lease (a) that the Debtors later determine to assume or
       (b) as to which the Debtors modify the applicable Cure Amount, must object to the
       assumption or Cure Amount, as applicable, by the earlier of: (i) fourteen (14) days after
       the Debtors serve such counterparty with a corresponding Cure and Assumption Notice;
       and (ii) the Confirmation Hearing. Any counterparty to an Executory Contract or
       Unexpired Lease that fails to timely object to the proposed assumption of any
       Executory Contract or Unexpired Lease shall be forever barred, estopped, and
       enjoined from contesting the Debtors’ assumption of the applicable Executory
       Contract or Unexpired Lease and from requesting payment of a Cure Amount that
       differs from the amounts paid or proposed to be paid by the Debtors or Reorganized
       BSA, in each case without the need for any objection by the Debtors or Reorganized
       BSA or any further notice to or action, order, or approval of the Bankruptcy Court.
       Reorganized BSA may settle any dispute regarding a Cure Amount without any
       further notice to or action, order, or approval of the Bankruptcy Court.

              3.       To the maximum extent permitted by law, to the extent any provision in any
       Executory Contract or Unexpired Lease assumed, or assumed and assigned, pursuant to the
       Plan restricts or prevents, or purports to restrict or prevent, or is breached or would be
       deemed breached by, the assumption or assumption and assignment of such Executory
       Contract or Unexpired Lease (including any change of control or similar provision), then
       such provision shall be deemed preempted and modified such that neither the Debtors’
       assumption or assumption and assignment of the Executory Contract or Unexpired Lease
       nor any of the transactions contemplated by the Plan shall entitle the non-debtor
       counterparty to terminate or modify such Executory Contract or Unexpired Lease or to
       exercise any other purported default-related rights thereunder.

               4.      The Debtors’ assumption or assumption and assignment of any
       Executory Contract or Unexpired Lease pursuant to the Plan or otherwise, and
       payment of any applicable Cure Amount in accordance with the procedures set forth
       in this Article VI.C, shall result in the full release and satisfaction of any Claims or
       defaults, whether monetary or nonmonetary, including defaults of provisions
       restricting the change in control or ownership interest composition or other
       bankruptcy-related defaults, arising under any assumed, or assumed and assigned,
       Executory Contract or Unexpired Lease at any time prior to the effective date of
       assumption. Any and all Proofs of Claim based upon Executory Contracts or
       Unexpired Leases that have been assumed in the Chapter 11 Cases, including
       pursuant to the Confirmation Order, shall be deemed Disallowed and expunged as of
       the later of: (a) the date of entry of an order of the Bankruptcy Court (including the
       Confirmation Order) approving such assumption; (b) the effective date of such
       assumption; or (c) the Effective Date, in each case without the need for any objection
       by the Debtors or Reorganized BSA or any further notice to or action, order, or
       approval of the Bankruptcy Court.

        D.    Dispute Resolution. In the event of a timely filed objection regarding: (1) a Cure
Amount; (2) the ability of Reorganized BSA or any assignee to provide adequate assurance of
future performance within the meaning of section 365 of the Bankruptcy Code under the Executory
Contract or Unexpired Lease to be assumed; or (3) any other matter pertaining to assumption or


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the requirements of section 365(b)(1) of the Bankruptcy Code, such dispute shall be resolved by a
Final Order of the Bankruptcy Court (which may be the Confirmation Order) or as may be agreed
upon by the Debtors or Reorganized BSA, as applicable, and the counterparty to the Executory
Contract or Unexpired Lease. The Debtors or Reorganized BSA, applicable, shall pay the
applicable Cure Amount as soon as reasonably practicable after entry of a Final Order resolving
such dispute and approving such assumption, or as may otherwise be agreed upon by the Debtors
or Reorganized BSA, as applicable, and the counterparty to the Executory Contract or Unexpired
Lease. To the extent that a dispute regarding the applicable Cure Amount is resolved or determined
unfavorably to the Debtors, the Debtors may, in their discretion, reject the applicable Executory
Contract or Unexpired Lease after such determination, which rejection shall supersede, nullify,
and render of no force or effect any earlier assumption or assumption and assignment. Under no
circumstances shall the status of payment of a Cure Amount required by section 365(b)(1) of the
Bankruptcy Code following the entry of a Final Order resolving the dispute and approving the
assumption prevent or delay implementation of the Plan or the occurrence of the Effective Date.

       E.       Contracts and Leases Entered into After the Petition Date. Contracts and leases
entered into after the Petition Date by the BSA, including any Executory Contracts and Unexpired
Leases assumed by BSA, will be performed by the BSA or Reorganized BSA in the or dinary
course of its charitable non-profit operations. Accordingly, such contracts and leases (including
any assumed Executory Contract and Unexpired Leases) shall survive and remain unaffected by
entry of the Confirmation Order.

       F.      Insurance Policies.

               1.       Notwithstanding anything to the contrary herein, all Insurance Policies
       issued to or entered into by the Debtors prior to the Petition Date shall not be considered
       Executory Contracts and shall neither be assumed nor rejected by the Debtors; provided,
       however, that to the extent any Insurance Policy is determined to be an Executory Contract,
       then, subject to Article IV.V, and notwithstanding anything contained in the Plan to the
       contrary, the Plan will constitute a motion to assume such Insurance Policy and pay all
       future obligations, if any, in respect thereof and, subject to the occurrence of the Effective
       Date, the entry of the Confirmation Order will constitute approval of such assumption
       pursuant to section 365(a) of the Bankruptcy Code and a finding by the Bankruptcy Court
       that each such assumption is in the best interests of the Debtors, their respective Estates
       and all parties in interest. Unless otherwise determined by the Bankruptcy Court pursuant
       to a Final Order or agreed by the parties thereto prior to the Effective Date, no payments
       are required to cure any defaults of any Debtor existing as of the Confirmation Date with
       respect to any Insurance Policy; and prior payments for premiums or other charges made
       prior to the Petition Date under or with respect to any Insurance Policy shall be
       indefeasible. Moreover, as of the Effective Date, all payments of premiums or other
       charges made by the Debtors on or after the Petition Date under or with respect to any
       Insurance Policy shall be deemed to have been authorized, approved, and ratified in all
       respects without any requirement of further action by the Bankruptcy Court.
       Notwithstanding anything to the contrary contained herein, Confirmation shall not
       discharge, impair or otherwise modify any obligations assumed by the foregoing
       assumption, and each such obligation shall be deemed and treated as an Executory Contract



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       that has been assumed by the Debtors under the Plan as to which no Proof of Claim need
       be filed.

               2.     Notwithstanding anything to the contrary contained in the Plan, entry of the
       Confirmation Order shall not discharge, impair, or otherwise modify any indemnity
       obligations assumed as a result of the foregoing assumption of the Insurance Policies that
       are D&O Liability Insurance Policies (and related documents) issued to the Debtors, and
       each such indemnity obligations will be deemed and treated as an Executory Contract that
       has been assumed by the Reorganized BSA under the Plan as to which no Proof of Claim
       need be filed.

               3.     Other than the permissibility of the Insurance Assignment as provided for
       in Section IX.A.3.j, or as otherwise provided in the Bankruptcy Code, applicable law, the
       findings made by the Bankruptcy Court in the Confirmation Order or the findings made by
       the District Court in the Affirmation Order, the rights and obligations of the parties under
       the Insurance Policies, including the question of whether any breach has occurred, shall be
       determined under applicable law.

        G.       Compensation and Benefits Programs. Other than those Compensation and
Benefits Programs assumed by the Debtors prior to entry of the Confirmation Order, if any, all of
the Compensation and Benefits Programs entered into before the Petition Date and not since
terminated shall be deemed to be, and shall be treated as though they are, Executory Contracts
under the Plan. Entry of the Confirmation Order will constitute the Bankruptcy Court’s approval
of Reorganized BSA’s assumption and continued maintenance and sponsorship of each of such
Compensation and Benefits Plan under sections 365 and 1123 of the Bankruptcy Code, and the
Debtors’ and Reorganized BSA’s obligations under the Compensation and Benefits Programs shall
survive and remain unaffected by entry of the Confirmation Order and be fulfilled in the ordinary
course of the Debtors’ and Reorganized BSA’s non-profit operations. Compensation and Benefits
Programs assumed by the Debtors prior to entry of the Confirmation Order shall continue to be
fulfilled in the ordinary course of the Debtors’ non-profit operations from and after the date of any
order of the Bankruptcy Court authorizing the assumption of such Compensation and Benefits
Program. All Claims filed on account of an amounts asserted to be owed under Compensation and
Benefits Programs shall be deemed satisfied and expunged from the Claims Register as of the
Effective Date without any further notice to or action, order, or approval of the Bankruptcy Court.

       H.     Restoration Plan and Deferred Compensation Plan. On the Effective Date the
Restoration Plan and the Deferred Compensation Plan shall be terminated and, to the extent
applicable, shall be deemed rejected by Reorganized BSA pursuant to section 365 of the
Bankruptcy Code and this Article VI. Claims arising from the Debtors’ rejection of the Restoration
Plan and the Deferred Compensation Plan shall be treated as General Unsecured Claims hereunder.
Holders of Allowed Claims arising from such rejection shall be entitled to a recovery from the
Core Value Cash Pool in accordance with the applicable terms of the Plan.

       I.     Workers’ Compensation Program. As of the Effective Date, the Debtors and
Reorganized BSA shall continue to honor their obligations under: (a) all applicable workers’
compensation laws in all applicable states; and (b) the Workers’ Compensation Program. All
Proofs of Claims on account of workers’ compensation, including the Workers’ Compensation


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Program, shall be deemed withdrawn automatically and without any further notice to or action,
order, or approval of the Bankruptcy Court; provided, however, that nothing in the Plan shall limit,
diminish, or otherwise alter the Debtors’ or Reorganized BSA’s defenses, Causes of Action, or
other rights under applicable non-bankruptcy law with respect to the Workers’ Compensation
Programs; provided further, however, that nothing herein shall be deemed to impose any
obligations on the Debtors or their insurers in addition to what is provided for under the terms of
the Workers’ Compensation Programs and applicable state law.

       J.      Indemnification Obligations.

               1.     Notwithstanding anything in the Plan to the contrary, each Indemnification
       Obligation shall be assumed by Reorganized BSA effective as of the Effective Date,
       pursuant to sections 365 and 1123 of the Bankruptcy Code or otherwise, except for any
       Indemnification Obligation that is or is asserted to be owed to or for the benefit of any
       Perpetrator. Subject to the foregoing sentence, each Indemnification Obligation shall
       remain in full force and effect, shall not be modified, reduced, discharged, impaired, or
       otherwise affected in any way, and shall survive Unimpaired and unaffected, irrespective
       of when such obligation arose. For the avoidance of doubt, this Article VI.J affects only
       the obligations of the Debtors and Reorganized BSA with respect to any Indemnification
       Obligations owed to or for the benefit of past and present directors, officers, employees,
       attorneys, accountants, investment bankers, and other professionals and agents of the
       Debtors, and shall have no effect on nor in any way discharge or reduce, in whole or in
       part, any obligation of any other Person owed to or for the benefit of such directors,
       officers, employees, attorneys, accountants, investment bankers, and other professionals
       and agents of the Debtors.

              2.      All Proofs of Claim filed on account of an Indemnification Obligation to a
       current or former director, officer, or employee shall be deemed satisfied and expunged
       from the Claims Register as of the Effective Date to the extent such Indemnification
       Obligation is assumed (or honored or reaffirmed, as the case may be) pursuant to the Plan,
       without any further notice to or action, order, or approval of the Bankruptcy Court.

       K.     Gift Annuity Agreements and Life-Income Agreements. The Gift Annuity
Agreements and Life-Income Agreements shall be deemed to be, and shall be treated as though
they are, Executory Contracts under the Plan, and entry of the Confirmation Order will constitute
the Bankruptcy Court’s approval of the Debtors’ assumption of each of such Executory Contract.

        L.      Modifications, Amendments, Supplements, Restatements, or Other Agreements.
Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is
assumed shall include all modifications, amendments, supplements, restatements, or other
agreements that in any manner affect such Executory Contract or Unexpired Lease, and Executory
Contracts and Unexpired Leases related thereto, if any, including easements, licenses, permits,
rights, privileges, immunities, options, rights of first refusal, and any other interests, unless the
Debtors reject or repudiate any of the foregoing agreements. Modifications, amendments, and
supplements to, or restatements of, prepetition Executory Contracts and Unexpired Leases that
have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter the



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prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or
amount of any Claims that may arise in connection therewith.

        M.     Reservation of Rights. Neither the inclusion of any Executory Contract or
Unexpired Lease on the Schedules, a Cure and Assumption Notice, or the Rejected Executory
contracts and Unexpired Leases Schedule, nor anything contained in any Plan Document, shall
constitute an admission by the Debtors that a contract or lease is in fact an Executory Contract or
Unexpired Lease or that Reorganized BSA has any liability thereunder. If there is a dispute as of
the Confirmation Date regarding whether a contract or lease is or was executory or unexpired at
the time of assumption, the Debtors, or, after the Effective Date, Reorganized BSA, shall have
thirty (30) days following entry of a Final Order resolving such dispu te to alter their treatment of
such contract or lease, including by rejecting such contract or lease nunc pro tunc to the
Confirmation Date.

       N.      Nonoccurrence of Effective Date; Bankruptcy Code Section 365(d)(4). If the
Effective Date fails to occur, the Bankruptcy Court shall retain jurisdiction with respect to any
request to further extend the deadline for assuming or rejecting Unexpired Leases under section
365(d)(4) of the Bankruptcy Code.

                                         ARTICLE VII.

                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.     Applicability. None of the terms or provision of this Article VII shall apply to
Abuse Claims, which shall be exclusively processed, liquidated and paid by the Settlement Trust
in accordance with the Settlement Trust Documents.

      B.      Distributions Generally. The Disbursing Agent shall make all Distributions to
appropriate holders of Allowed Claims in accordance with the terms of the Plan.

       C.     Distributions on Account of Certain Claims Allowed as of the Effective Date.
Except as otherwise provided in the Plan, on or as soon as practicable after the Effective Date, the
Disbursing Agent shall make Distributions in Cash in amounts equal to all Allowed Administrative
Expense Claims, Allowed Priority Tax Claims, Allowed Other Priority Claims, Allowed Other
Secured Claims, and Allowed Convenience Claims.

       D.     Distributions on Account of Allowed General Unsecured Claims. On each
Distribution Date, the Disbursing Agent shall Distribute to each holder of an Allowed General
Unsecured Claim an amount equal to such holder’s Pro Rata Share of (1) the total balance of the
Core Value Cash Pool as of such date, less (2) the balance of the Disputed Claims Reserve.

       E.      Distributions on Account of Disputed Claims Allowed After the Effective Date.
Distributions on account of any Disputed Claim shall be made to the extent such Claim is Allowed
in accordance with the provisions of Article VIII. Except as otherwise provided in the Plan, the
Confirmation Order, another order of the Bankruptcy Court, or as agreed to by the relevant parties,
Distributions under the Plan on account of Disputed Claims that become Allowed after the
Effective Date shall be made as soon as practicable after the Disputed Claim becomes an Allowed
Claim.

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F.      Rights and Powers of Disbursing Agent.

       1.      The Disbursing Agent shall make all Distributions to the appropriate
holders of Allowed Claims in accordance with the terms of the Plan, including this Article
VII. Except as otherwise ordered by the Bankruptcy Court, the Disbursing Agent shall not
be required to give any bond or surety or other security for the performance of its duties.

        2.       The Disbursing Agent shall be empowered to: (a) effect all actions and
execute all agreements, instruments, and other documents necessary to perform its duties
under the Plan; (b) make all Distributions contemplated hereby; (c) employ professionals
to represent it with respect to its responsibilities; and (d) exercise such other powers as may
be vested in the Disbursing Agent by order of the Bankruptcy Court, pursuant to the Plan,
or as deemed by the Disbursing Agent to be necessary and proper to implement the
provisions hereof. The Disbursing Agent may request an expedited determination of taxes
under section 505(b) of the Bankruptcy Code for all returns for all taxable periods through
the date on which final Distributions are made.

G.      Delivery of Distributions and Undeliverable or Unclaimed Distributions.

        1.      Claims Record Date. As of the close of business on the Claims Record
Date, the various transfer registers for each of the Classes of Claims as maintained by the
Debtors or their agents shall be deemed closed for purposes of determining whether a
holder of such a Claim is a record holder entitled to a Distribution under the Plan, and there
shall be no further changes in the record holders or the permitted designees with respect to
such Claims. The Debtors or Reorganized BSA, as applicable, shall have no obligation to
recognize any transfer or designation of such Claims occurring after the close of business
on the Claims Record Date. With respect to payment of any Cure Amounts or assumption
disputes, neither the Debtors nor Reorganized BSA shall have any obligation to recognize
or deal with any party other than the non-Debtor party to the applicable Executory Contract
or Unexpired Lease as of the close of business on the Claims Record Date, even if such
non-Debtor party has sold, assigned, or otherwise transferred its Claim for a Cure Amount.

       2.      Delivery of Distributions. If a Person holds more than one Claim in any
one Class, in the Disbursing Agent’s sole discretion, all such Claims will be aggregated
into one Claim and one Distribution will be made with respect to the aggregated Claim.

       3.      Special Rules for Distributions to Holders of Disputed Claims. Except as
otherwise provided in the Plan or agreed to by the relevant parties: (a) no partial payments
and no partial Distributions shall be made with respect to a Disputed Claim until all such
disputes in connection with such Disputed Claim have been resolved by settlement or Final
Order; and (b) any Person that holds both an Allowed Claim and a Disputed Claim shall
not receive any Distribution on account of the Allowed Claim unless and until all
objections to the Disputed Claim have been resolved by settlement or Final Order or the
Disputed Claims have been Allowed or expunged. Any Distributions arising from property
Distributed to holders of Allowed Claims in a Class and paid to such holders under the
Plan shall also be paid, in the applicable amounts, to any holder of a Disputed Claim in



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       such Class that becomes an Allowed Claim after the date or dates that such Distributions
       were earlier paid to holders of Allowed Claims in such Class.

       H.      Undeliverable and Non-Negotiated Distributions.

               1.       Undeliverable Distributions. If any Distribution to a holder of an Allowed
Claim is returned to Reorganized BSA as undeliverable, no further Distributions shall be made to
such holder unless and until Reorganized BSA is notified in writing of such holder’s then -current
address or other necessary information for delivery, at which time such previously undeliverable
Distribution shall be made to such holder within ninety (90) days of receipt o f such holder’s then-
current address or other necessary information; provided, however, that any such undeliverable
Distribution shall be deemed unclaimed property under section 347(b) of the Bankruptcy Code at
the expiration of 180 days after the date of the initial attempted Distribution. After such date, all
unclaimed property or interests in property shall revert to Reorganized BSA automatically and
without the need for any notice to or further order of the Bankruptcy Court (notwithstanding any
applicable non-bankruptcy escheatment, abandoned, or unclaimed property laws to the contrary),
and the right, title, and interest of any holder to such property or interest in property shall be
discharged and forever barred; provided that Distributions made from the Core Value Cash Pool
and returned as undeliverable shall revert to the Core Value Cash Pool.

               2.     Non-Negotiated Distributions. If any Distribution to a holder of an Allowed
Claim is not negotiated for a period of 180 days after the Distribution, then such Distribution shall
be deemed unclaimed property under section 347(b) of the Bankruptcy Code and re-vest in
Reorganized BSA or re-vest in the Core Value Cash Pool if such Distribution was made from the
Core Value Cash Pool. After such date, all non-negotiated property or interests in property shall
revert to Reorganized BSA automatically and without the need for any notice to or further order
of the Bankruptcy Court (notwithstanding any applicable non -bankruptcy escheatment,
abandoned, or unclaimed property laws to the contrary), and the right, title, and interest of any
holder to such property or interest in property shall be discharged and forever barred.

        I.       Manner of Payment under the Plan. Except as otherwise specifically provided in
the Plan, at the option of Reorganized BSA, any Cash payment to be made hereunder may be made
by a check or wire transfer or as otherwise required or provided in applicable agreements or
customary practices of Reorganized BSA.

        J.      Satisfaction of Claims. Except as otherwise specifically provided in the Plan, any
Distributions to be made on account of Allowed Claims under the Plan shall be in complete and
final satisfaction, settlement, and discharge of and exchange for such Allowed Claims.

       K.      Minimum Cash Distributions. Reorganized BSA shall not be required to make any
Distribution of Cash less than twenty dollars ($20) to any holder of an Allowed Claim; provided,
however, that if any Distribution is not made pursuant to this Article VII.K, such Distribution shall
be added to any subsequent Distribution to be made on behalf of the holder’s Allowed Claim.

        L.      Postpetition Interest. Except as provided in the Cash Collateral Order or in the
following sentence, interest shall not accrue on Impaired Claims; no holder of an Impaired Claim
shall be entitled to interest accruing on or after the Petition Date on any such Impaired Claim, and


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interest shall not accrue or be paid on any Disputed Claim in respect of the period from the Petition
Date to the date a Distribution is made thereon if and after such Disputed Claim becomes an
Allowed Claim. Notwithstanding the foregoing, each holder of an Allowed General Unsecured
Claim shall accrue interest on the Allowed amount of such Claim at the federal judgment rate
applicable on the Effective Date; provided, that such interest shall be payable to each such holder
only from the Core Value Cash Pool and only to the extent that the Core Value Cash Pool shall
have been sufficient: (1) first, to satisfy the full amount of all Allowed General Unsecured Claims;
and (2) second, on account of any Allowed Non-Abuse Litigation Claims that shall not have
elected to be treated as an Allowed Convenience Claim under Article III.B.9, to satisfy any
deficiency in payments of such Allowed Claims (a) from available insurance coverage, including
Abuse Insurance Policies and Non-Abuse Insurance Policies, (b) from applicable proceeds of any
Insurance Settlement Agreements, and (c) from co-liable non-debtors (if any) or their insurance
coverage. Neither the Debtors nor Reorganized BSA shall have any independent obligation to pay
interest for or on account of any Allowed General Unsecured Claims oth er than from the Core
Value Cash Pool in accordance with the terms of this Article VII.L.

        M.      Setoffs. The Debtors and Reorganized BSA may, pursuant to the applicable
provisions of the Bankruptcy Code, or applicable non -bankruptcy law, set off against any
applicable Allowed Claim (before any Distribution is made on account of such Claim) any and all
claims, rights, Causes of Action, debts or liabilities of any nature that the Debtors or Reorganized
BSA may hold against the holder of such Allowed Claim; provided, however, that the failure to
effect such a setoff shall not constitute a waiver or release of any such claims, rights, Causes of
Action, debts or liabilities.

       N.      Claims Paid or Payable by Third Parties.

                1.      Claims Paid by Third Parties. A Claim shall be reduced in full, and such
Claim shall be Disallowed without an objection to such Claim having to be filed and without any
further notice to or action, order, or approval of the Bankruptcy Court, to the extent that the holder
of such Claim receives payment in full on account of such Claim from a party that is not a Debtor
or Reorganized BSA. To the extent a holder of a Claim receives a Distribution on account of such
Claim and receives payment from a party that is not a Debtor or Reorgan ized BSA on account of
such Claim, such holder shall repay, return, or deliver any Distribution held by or transferred to
such holder to Reorganized BSA to the extent the holder’s total recovery on account of such Claim
from the third party and under the Plan exceeds the amount of such Claim as of the date of any
such Distribution under the Plan.

               2.      Non-Abuse Litigation Claims Payable from Insurance. Subject to Article
IV.D.3, no Distributions under the Plan shall be made on account of any Allowed Non -Abuse
Litigation Claim that is payable pursuant to an Insurance Policy until the holder of such Allowed
Non-Abuse Litigation Claim has exhausted all remedies with respect to such insurance policy,
including pursuing such insurance through litigation and obtaining entry of a final, non -appealable
order. To the extent that one or more of the Insurance Companies satisfies in full or in part an
Allowed Non-Abuse Litigation Claim, then immediately upon such satisfaction, the portion of the
Claim so satisfied may be expunged from the Claims Register by the Notice and Claims Agent
without an objection to such Claim having to be filed and without any further notice to or action,
order, or approval of the Bankruptcy Court.


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       O.      Compliance with Tax Requirements and Allocations.

                1.       In connection with the Plan and all Distributions hereunder, the Disbursing
Agent shall comply with all tax withholding and reporting requirements imposed on them by any
federal, state or local taxing authority, and all Distributions pursuant to the Plan shall be subject to
such withholding and reporting requirements. Notwithstanding any provision in the Plan to the
contrary, the Disbursing Agent shall be authorized to take all actions necessary or appropriate to
comply with such withholding and reporting requirements, including liquidating a portion of the
Distribution to be made under the Plan to generate sufficient funds to pay applicable withholding
taxes, withholding Distributions pending receipt of information necessary to facilitate such
Distributions including tax certification forms, or establishing any other mechanisms it believes
are reasonable and appropriate.

               2.      For tax purposes, Distributions in full or partial satisfaction of Allowed
Claims shall be allocated first to the principal amount of Allowed Claims, with any excess
allocated to unpaid interest that accrued on such Claim.

                                          ARTICLE VIII.

          PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED,
                         AND DISPUTED CLAIMS

        A.     Applicability. All Disputed Claims against the Debtors, other than Administrative
Expense Claims, shall be subject to the provisions of this Article VIII. All Administrative Expense
Claims shall be determined and, if Allowed, paid in accordance with Article II. None of the terms
or provision of this Article VIII shall apply to Abuse Claims, which shall be exclusively processed,
liquidated and paid by the Settlement Trust in accordance with the Settlement Trust Documents.

        B.     Allowance of Claims. After the Effective Date, Reorganized BSA shall have and
retain any and all rights and defenses that the Debtors, or either of them, had with respect to any
Claim immediately before the Effective Date. Except as expressly provided in the Plan or in any
order entered in the Chapter 11 Cases before the Effective Date (including the Confirmation
Order), no Claim shall become an Allowed Claim unless and until such Claim becomes Allowed
by Final Order of the Bankruptcy Court or by agreement between the Debtors or Reorganized
BSA, on the one hand, and the holder of such Claim, on the other.

       C.      Claims Administration Responsibilities.

              1.     Except as otherwise expressly provided in the Plan, from and after the
       Effective Date, Reorganized BSA shall have the authority (a) to file, withdraw, or litigate
       to judgment objections to Claims; (b) to settle or compromise any Disputed Claim without
       any further notice to or action, order, or approval by the Bankruptcy Court; and (c) to
       administer and adjust the Claims Register to reflect any such settlements or compromises
       without any further notice to or action, order, or approval by the Bankruptcy Court.

             2.      Reorganized BSA shall consult with the Creditor Representative in
       connection with the reconciliation, settlement and administration of Convenience Claims,



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       General Unsecured Claims and Non-Abuse Litigation Claims and shall use commercially
       reasonable efforts to resolve such Claims before the applicable Claims Objection Deadline.

         D.     Estimation of Claims. The Debtors (before the Effective Date) or Reorganized
BSA (on and after the Effective Date) may at any time request that the Bankruptcy Court estimate
any Disputed Claim pursuant to section 502(c) of the Bankruptcy Code regardless of whether an
objection was previously filed with the Bankruptcy Court with respect to such Claim or whether
the Bankruptcy Court has ruled on any such objection, and the Bankruptcy Court shall retain
jurisdiction to estimate any Claim at any time during litigation concerning any objection to such
Claim, including during the pendency of any appeal relating to any such objection. In the event
that the Bankruptcy Court estimates any Disputed Claim, that estimated amount will constitute
either the Allowed amount of such Claim or a maximum limitation on such Claim against any
Person. If the estimated amount of a Claim constitutes a maximum limitation on such Claim, the
Debtors (before the Effective Date) or Reorganized BSA (on and after the Effective Date) may
elect to pursue any supplemental proceedings to object to any ultimate Distribution on such Claim.
All of the objection, estimation, settlement, and resolution procedures set forth in the Plan are
cumulative and not necessarily exclusive of one another. Claims may be estimated and
subsequently compromised, objected to, settled, withdrawn, or resolved by any mechanism
approved by the Bankruptcy Court.

        E.     No Distributions Pending Allowance. No Distributions or other consideration shall
be paid with respect to any Claim that is a Disputed Claim unless and until all objections to such
Disputed Claim are resolved and such Disputed Claim becomes an Allowed Claim by Final Order
of the Bankruptcy Court or agreement between the Debtors or Reorganized BSA, on the one hand,
and the holder of such Claim, on the other.

       F.     Distributions after Allowance. To the extent that a Disputed Claim (or a portion
thereof) becomes an Allowed Claim, Distributions (if any) shall be made to the holde r of such
Allowed Claim in accordance with the provisions of the Plan.

        G.     Disputed Claims Reserve. The provisions of this Article VIII.G apply only to the
extent that any General Unsecured Claims remain Disputed as of any Distribution Date.

               1.      If any General Unsecured Claims remain Disputed as of any Distribution
       Date, the undistributed portion of the Core Value Cash Pool shall be held in a segregated
       account. Subject to definitive guidance from the IRS or a court of competent jurisdiction
       to the contrary, or the receipt of a determination from the IRS, the Disbursing Agent shall
       treat the Disputed Claims Reserve as a “disputed ownership fund” governed by Treasury
       Regulation section 1.468B-9 and, to the extent permitted by applicable law, report
       consistently with the foregoing for state and local income tax purposes. All parties
       (including the Debtors, Reorganized BSA, the Disbursing Agent, and holders of General
       Unsecured Claims) shall be required to report for tax purposes in a manner consistent with
       the foregoing. The Disputed Claims Reserve shall be responsible for payment, ou t of the
       assets of the Disputed Claims Reserve, of any taxes imposed on the Disputed Claims
       Reserve or its assets.




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               2.     The Debtors or Reorganized BSA, as applicable, with the consent of the
       Creditor Representative, shall determine the amount of the Disputed Claims Reserve, if
       applicable, as of the initial Distribution Date, based on the least of: (a) the asserted amount
       of the Disputed General Unsecured Claims in the applicable Proofs of Claim; (b) the
       amount, if any, estimated by the Bankruptcy Court pursuant to (i) section 502(c) of the
       Bankruptcy Code or (ii) Article VIII.D if, after the Effective Date, a motion is filed by
       Reorganized BSA to estimate such Claim; (c) the amount otherwise agreed to by the
       Debtors (or Reorganized BSA, if after the Effective Date) and the holders of such Disputed
       General Unsecured Claims; or (d) any amount otherwise approved by the Bankruptcy
       Court. Upon each Distribution Date, Reorganized BSA shall deposit into the Disputed
       Claims Reserve an amount of Cash equal to the amount sufficient to make the Distributions
       to which holders of Disputed General Unsecured Claims would be entitled under the Plan
       as of the applicable Distribution Date if the Disputed General Unsecured Claims were
       Allowed Claims as of such date.

                3.      If a Disputed General Unsecured Claim becomes an Allowed Claim after
       the first Distribution Date, the Disbursing Agent shall, on the next Distribution Date after
       the Disputed General Unsecured Claim becomes an Allowed Claim (or, if the Disputed
       General Unsecured Claim becomes an Allowed Claim after the final Distribution Date, as
       soon as practicable after Allowance), Distribute to the holder of such Claim, exclusively
       from the Disputed Claims Reserve, the amount of Cash that such holder would have
       received in that Distribution and all prior Distributions (if any) if such holder’s General
       Unsecured Claim had been Allowed as of the Effective Date, net of any allocable tax es
       imposed thereon or otherwise payable by the Disputed Claims Reserve.

              4.     If a Disputed Claim is Disallowed, in whole or in part, then on the
       Distribution Date next following the date of Disallowance, Cash shall be released from the
       Disputed Claims Reserve and placed in the Core Value Cash Pool, which Cash shall then
       be unreserved and unrestricted, and which shall be available for Distribution to holders of
       Allowed General Unsecured Claims.

              5.       If any assets remain in the Disputed Claims Reserve after all Disputed
       General Unsecured Claims have been resolved, such assets shall be placed in the Core
       Value Cash Pool and distributed Pro Rata to all holders of Allowed General Unsecured
       Claims on the next Distribution Date (or, if all Disputed General Unsecured Claims a re
       resolved after the final Distribution Date, as soon as practicable thereafter).

        H.     Adjustment to Claims Register without Objection. Any duplicate Proof of Claim
that has been paid or satisfied, or any Proof of Claim that is clearly marked as amended or
superseded by a subsequently filed Proof of Claim that remains on the Claims Register, may be
adjusted or expunged on the Claims Register by the Notice and Claims Agent at the direction of
Reorganized BSA upon stipulation between the parties in interest without an objection having to
be filed and without any further notice to or action, order, or approval of the Bankruptcy Court.

       I.     Time to File Objections to Claims. Any objections to Claims must be filed on or
before the applicable Claims Objection Deadline, as such deadline may be extended from time to
time. The expiration of the Claims Objection Deadline shall not limit or affect the Debtors’ or


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Reorganized BSA’s rights to dispute Claims asserted in the ordinary course of the Debtors or
Reorganized BSA’s non-profit operations other than through a Proof of Claim.

        J.     Treatment of Untimely Claims. Except as provided herein or otherwise agreed, any
and all creditors that have filed Proofs of Claim after the applicable Bar Date shall not be treated
as a creditor with respect to such Claim for the purposes of voting and distribution.

                                                  ARTICLE IX.

      CONDITIONS PRECEDENT TO CONFIRMATION AND EFFECTIVE DATE

         A.       Conditions Precedent to Confirmation of the Plan.

       Confirmation of the Plan shall not occur unless each of the following conditions precedent
has been satisfied or waived in accordance with Article IX.C.

                 1.     The Bankruptcy Court shall have entered the Disclosure Statement Order,
         in form and substance reasonably acceptable to the Debtors, the Ad Hoc Committee, the
         Coalition, the Future Claimants’ Representative, Hartford, the Creditors’ Committee and
         JPM.

                2.     The Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’
         Representative, the Tort Claimants’ Committee and the Settling Insurance Companies shall
         have approved of or accepted the Confirmation Order, and the Creditors’ Committee, JPM,
         and the United Methodist ad hoc committee shall have approved of or accepted the
         Confirmation Order in accordance with their respective consent rights under the JPM /
         Creditors’ Committee Term Sheet or the United Methodist Settlement Agreement
         incorporated by reference in Article I.D;

                3.      The Bankruptcy Court shall have made such findings and determinations
         regarding the Plan as shall enable the entry of the Confirmation Order and any other order
         in conjunction therewith, in form and substance acceptable to the Debtors, in accordance
         with the requirements of the JPM / Creditors’ Committee Term Sheet. 6 These findings and


6
  The findings and determinations set forth in Article IX.A.3.y shall not be binding on the Settling Insurance
Companies. Subject to the preceding sentence of this footnote 6, the findings and determinations set forth in Article
IX.A.3.l shall be binding on the Settling Insurance Companies. The Settling Insurance Companies’ agreement in the
Insurance Settlement Agreements not to object to entry of such findings and determinations in the Confirmation Order
does not indicate the Settling Insurance Companies’ support for such findings and determinations, and no party shall
argue that the Settling Insurance Companies agreed to or acquiesced in such findings and determinations in any
proceeding. Rather, the Settling Insurance Companies are designated as Protected Parties under the Plan, and as a
result, the Settling Insurance Companies take no position on such findings and determinations or on the Trust
Distribution Procedures. The findings and determinations set forth in Article IX.A.3.y shall not be binding on the
United Methodist Entities. The agreement in the United Methodist Settlement Agreement not to object to entry of
such findings and determinations in the Confirmation Order does not indicate the United Methodist Entities’ support
for such findings and determinations, and no party shall argue that the United Methodist Entities agreed to or
acquiesced in such findings and determinations in any proceeding. Rather, the United Methodist Entities are
designated as Protected Parties under the Plan, and as a result, the United Methodist Entities take no position on such
findings and determinations or on the Trust Distribution Procedures.


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determinations are designed, among other things, to ensure that the Injunctions, Releases
and Discharges set forth in Article X shall be effective, binding and enforceable, subject to
footnote 6 herein, and shall, among other things, provide that:

              a.     the Plan complies with all applicable provisions of the Bankruptcy
       Code, including that the Plan be proposed in good faith and that the Confirmation
       Order not be procured by fraud;

              b.      the Channeling Injunction and the Insurance Entity Injunction are to
       be implemented in connection with the Settlement Trust and shall be in full force
       and effect on the Effective Date;

                c.       upon the Effective Date, the Settlement Trust shall assume the
       liabilities of (i) the Protected Parties with respect to Abuse Claims, (ii) the Limited
       Protected Parties with respect to Post-1975 Chartered Organization Abuse Claims
       and Pre-1976 Chartered Organization Abuse Claims, and (iii) the Opt-Out
       Chartered Organizations with respect to Opt-Out Chartered Organization Abuse
       Claims and have exclusive authority as of the Effective Date to satisfy or defend
       such Abuse Claims;

                 d.    the Settlement Trust will be funded with the Settlement Trust
       Assets;

             e.      the Settlement Trust will use the Settlement Trust Assets to resolve
       Abuse Claims;

               f.     the terms of the Discharge Injunction, the Channeling Injunction,
       the Release Injunctions, and the Insurance Entity Injunction, including any
       provisions barring actions against third parties, are set out in conspicuous language
       in the Plan and in the Disclosure Statement;

              g.     the Future Claimants’ Representative was appointed by the
       Bankruptcy Court as part of the proceedings leading to the issuance of the
       Channeling Injunction and the Insurance Entity Injunction for the purpose of,
       among other things, protecting the rights of persons who might subsequently assert
       Abuse Claims of the kind that are addressed in the Channeling Injunction and the
       Insurance Entity Injunction, which will be transferred to and assumed by the
       Settlement Trust;

               h.     the Plan complies with section 105(a) of the Bankruptcy Code to the
       extent applicable;

              i.     the Injunctions are essential to the Plan and the Debtors’
       reorganization efforts;

              j.     (1) the Plan’s transfer of rights under BSA Insurance Policies (the
       “Debtor Policy Assignment”) is authorized and permissible notwithstanding any
       terms of any policies or provisions of applicable law that are argued to prohibit the


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   assignment or transfer of such rights; (2) the Plan’s transfer of rights under Local
   Council Insurance Policies issued by the Settling Insurance Companies (the
   “Consensual Policy Assignment”) is authorized and permissible; (3) the Plan’s
   transfer of rights under any insurance policies, other than BSA Insurance Policies,
   issued by Non-Settling Insurance Companies (the “Non-Debtor Policy
   Assignment”), subject to the savings clause set forth in Article V.S.1, is authorized
   to the extent permitted under state law, and the enforceability of such transfer of
   rights shall be determined under the state law applicable to each such policy; (4)
   with respect to any rights transferred to the Settlement Trust pursuant to (a), (b) or
   (c) above (collectively, the “Assigned Rights”), the Settlement Trust (1) is a proper
   defendant for Abuse Claims to assert the liability of the Protected Parties, and (2) is
   a proper defendant for Post-1975 Chartered Organization Abuse Claims to assert
   the liability of the Limited Protected Parties; (5) the Settlement Trust’s rights under
   any insurance policies issued by Non-Settling Insurance Companies, including the
   effect of any failure to satisfy conditions precedent or obligations under such
   policies (other than, in the case of the BSA Insurance Policies, the terms of any
   policies or provisions of applicable law that are argued to prohibit the assignment
   or transfer of such rights), shall be determined under the law applicable to each
   such policy in subsequent litigation;

           k.        the Insurance Settlement Agreements are approved and the Abuse
   Insurance Policies shall be sold to the respective Settling Insurance Companies free
   and clear of all liens, claims, encumbrances, interests and rights of any nature,
   whether at law or in equity, of any Person or Entity, except solely with respect to
   the interests, if any, of the Archbishop of Agaña, and each of the Hartford Protected
   Parties, the Century and Chubb Companies, the Zurich Insurers and Zurich
   Affiliated Insurers, Clarendon, and any other Insurance Company that has
   contributed funds, proceeds or other consideration to or for the benefit of the
   Settlement Trust pursuant to an Insurance Settlement Agreement is designated as a
   Settling Insurance Company, and such Insurance Settlement Agreements represent
   a sound exercise of the Debtors’ business judgment, are in the best interest of the
   Debtors’ Estates, comply with section 1123 of the Bankruptcy Code, and are
   approved pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule
   9019;

          l.      [Reserved];

           m.     the JPM / Creditors’ Committee Settlement represents a sound
   exercise of the Debtors’ business judgment, is in the best interest of the Debtors’
   Estates, complies with section 1123 of the Bankruptcy Code, and is approved
   pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019;

         n.      the Settlement of Restricted and Core Asset Disputes represents a
   sound exercise of the Debtors’ business judgment, is in the best interest of the
   Debtors’ estates, complies with section 1123 of the Bankruptcy Code, and is
   approved pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule
   9019;


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          o.     the PSZJ Settlement represents a sound exercise of the Debtors’
   business judgment, is in the best interest of the Debtors’ estates, complies with
   section 1123 of the Bankruptcy Code, and is approved pursuant to section 1123 of
   the Bankruptcy Code and Bankruptcy Rule 9019;

           p.       the Hartford Insurance Settlement, including the sale of the Hartford
   Policies, as set forth in the Hartford Insurance Settlement Agreement, free and clear
   of all Interests of any person or entity (as such terms are defined in the Hartford
   Insurance Settlement Agreement), except solely with respect to the interests, if any,
   of the Archbishop of Agaña, and the Allowance of the Hartford Administrative
   Expense Claim is approved in accordance with sections 363, 503(b), 507(a)(2),
   1123 and 1141 of the Bankruptcy Code, Bankruptcy Rule 9019, and the findings of
   fact and conclusions of law made by the Bankruptcy Court pursuant to Article
   V.S.4;

           q.      the Century and Chubb Companies Insurance Settlement, including
   the sale of the Century and Chubb Companies Policies, as set forth in the Century
   and Chubb Companies Insurance Settlement Agreement, free and clear of all liens,
   claims, encumbrances, interests and rights of any nature, whether at law or in
   equity, of any person or entity (as such terms are defined in the Century and Chubb
   Companies Insurance Settlement Agreement), except solely with respect to the
   interests, if any, of the Archbishop of Agaña, is approved in accordance with
   sections 363, 1123 and 1141 of the Bankruptcy Code, Bankruptcy Rule 9019, and
   the findings of fact and conclusions of law made by the Bankruptcy Court pursuant
   to Article V.S.4;

           r.      the Zurich Insurance Settlement, including the sale of the Zurich
   Insurer Policies, as set forth in the Zurich Insurance Settlement Agreement, free
   and clear of all interests of any Person or Entity (as such terms are defined in the
   Zurich Insurance Settlement Agreement), except solely with respect to the interests,
   if any, of the Archbishop of Agaña, is approved in accordance with sections 363,
   1123 and 1141 of the Bankruptcy Code, Bankruptcy Rule 9019, and the findings of
   fact and conclusions of law made by the Bankruptcy Court pursuant to Article
   V.S.4;

           s.      the Clarendon Insurance Settlement, including the sale of the
   Clarendon Policies, as set forth in the Clarendon Insurance Settlement Agreement,
   free and clear of all interests of any Person or Entity (as such terms are defined in
   the Clarendon Insurance Settlement Agreement), except solely with respect to the
   interests, if any, of the Archbishop of Agaña, is approved in accordance with
   sections 363, 1123 and 1141 of the Bankruptcy Code, Bankruptcy Rule 9019, and
   the findings of fact and conclusions of law made by the Bankruptcy Court pursuant
   to Article V.S.4;

          t.      [Reserved]




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                       u.     the United Methodist Settlement is approved in accordance with the
               findings of fact and conclusions of law made by the Bankruptcy Court pursuant to
               Article V.S.6;

                      v.     the PSZJ Settlement is approved in accordance with the findings of
               fact and conclusions of law made by the Bankruptcy Court pursuant to Article
               V.S.7;

                      w.      [Reserved]

                      x.      [Reserved]

                       y.     The allowed amount of any Direct Abuse Claim shall be the amount
               therefor as determined under the Trust Distribution Procedures. Such allowed
               amount shall be legally enforceable against the Settlement Trust. For the avoidance
               of doubt, the amount of any installment payments, initial payments, or payments
               based on payment percentages established under the Trust Distribution Procedures
               or the Settlement Trust Agreement, as determined or as actually paid by the
               Settlement Trust, are not the equivalent of any Abuse Claimant’s allowed amount
               of its channeled Direct Abuse Claim. For the further avoidance of doubt, nothing
               herein determines whether or not any insurer is obligated to pay the amount
               determined under the Trust Distribution Procedures for an allowed Direct Abuse
               Claim.

               4.     The proceeds of any sale of any Abuse Insurance Policies, including the full
       settlement amount, shall be contributed to the Settlement Trust “free and clear” of all liens,
       claims, encumbrances, any other rights of any nature, whether at law or in equity, and other
       “interest,” under sections 363 and 1141 of the Bankruptcy Code, of any additional insured
       or any other person or Entity in such Abuse Insurance Policies. Notwithstanding anything
       to the contrary and for the avoidance of doubt, the Abuse Insurance Policies shall be sold
       by the Debtors to the applicable Settling Insurance Companies free and clear of all liens,
       claims, encumbrances, interests or other rights on the Effective Date on the terms and as
       provided in the applicable Insurance Settlement Agreement.

       B.      Conditions Precedent to the Effective Date.

        Notwithstanding any other provision of the Plan or the Confirmation Order, the Effective
Date shall occur on the first Business Day after entry of the Confirmation Order on which each of
the following conditions precedent has been satisfied or waived pursu ant to Article IX.C:

               1.     (a) the District Court shall have entered the Affirmation Order in form and
       substance acceptable to (i) the Debtors, the Ad Hoc Committee, the Coalition, the Tort
       Claimants’ Committee, the Future Claimants’ Representative, and the Settling Insurance
       Companies, and (ii) the Creditors’ Committee and JPM, consistent with the JPM /
       Creditors’ Committee Term Sheet; (b) no court shall have entered an order staying the
       occurrence of the Effective Date pending an appeal of the Confirmation Order or the
       Affirmation Order; and (c) no request for a stay of the occurrence of the Effective Date
       shall be pending;

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               2.    the Settlement Trust Assets shall, simultaneously with the occurrence of the
       Effective Date or as otherwise provided herein, be transferred to, vested in, and assumed
       by the Settlement Trust in accordance with Article IV and Article V;

               3.      the Settlement Trust Documents and other applicable Plan Documents
       necessary or appropriate to implement the Plan shall have been executed, delivered and, if
       applicable, filed with the appropriate governmental authorities in compliance with the JPM
       / Creditors’ Committee Term Sheet;

               4.     the Restated Debt and Security Documents shall have been duly executed
       and delivered by all of the Entities that are parties thereto and all conditions precedent
       (other than any conditions related to the occurrence of the Effective Date) to the
       effectiveness thereof shall have been satisfied or duly waived in writing in accordance with
       the terms of the Restated Debt and Security Documents, the closing shall have occurred
       thereunder, and Reorganized BSA shall have paid the JPM Exit Fee to JPM;

              5.      the Foundation Loan Agreement and any applicable collateral and other
       loan documents governing the Foundation Loan shall have been duly executed and
       delivered by all of the Entities that are parties thereto and all conditions precedent (other
       than any conditions related to the occurrence of the Effectiv e Date) to the effectiveness
       thereof shall have been satisfied or duly waived in writing in accordance with the terms of
       the Foundation Loan Agreement and related documentation, and the closing shall have
       occurred thereunder;

              6.      the Debtors shall have adequately funded the Professional Fee Reserve so
       as to permit the Debtors to make Distributions on account of Allowed Professional Fee
       Claims in accordance with Article II;

              7.      the Debtors shall have obtained all authorizations, consents, certifications,
       approvals, rulings, opinions or other documents that are necessary to implement and
       effectuate the Plan;

              8.     all payments required to be made pursuant to the terms o f the Cash
       Collateral Order shall have been paid;

              9.      all actions, documents, and agreements necessary to implement and
       effectuate the Plan shall have been effected or executed;

              10.     the transactions to be implemented on the Effective Date shall be materially
       consistent with the Plan Documents and the JPM / Creditors’ Committee Term Sheet; and

               11.    the Debtors shall have filed a notice of occurrence of the Effective Date.

        C.      Waiver of Conditions Precedent. To the fullest extent permitted by law, each of
the conditions precedent in this Article IX may be waived or modified, in whole or in part, in the
sole discretion of the Debtors; provided, however, that (1) the Creditors’ Committee’s consent (not
to be unreasonably withheld) is required to the extent any such waiver or modification by the
Debtors impacts the treatment of General Unsecured Claims, Non -Abuse Litigation Claims, or


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Convenience Claims; (2) the conditions precedent set forth in Article IX.B.4 and Article IX.B.8
may be waived or modified by the Debtors only with the prior written consent of JPM; (3) the
conditions precedent set forth in Article IX.A.2, Article IX.A.3.p and Article IX.B.1 may be
waived or modified by the Debtors only with the prior written consent of Hartford, the Coalition,
the Tort Claimants’ Committee, and the Future Claimants’ Representative; (4) the conditions
precedent set forth in Article IX.A.2, Article IX.A.3.q and Article IX.B.1 may be waived or
modified by the Debtors only with the prior written consent of the Century and Chubb Companies,
the Coalition, the Tort Claimants’ Committee, and the Future Claimants’ Representative; (5) the
condition precedent set forth in Article IX.A.2, Article IX.A.3.r and Article IX.B.1 may be waived
or modified by the Debtors only with the prior written consent of the Zurich Insurers and Zurich
Affiliated Insurers, the Coalition, the Tort Claimants’ Committee, and the Future Claimants’
Representative; (6) the condition precedent set forth in Article IX.A.2, Article IX.A.3.s and Article
IX.B.1 may be waived or modified by the Debtors only with the prior written consent of Clarendon,
the Coalition, the Tort Claimants’ Committee, and the Future Claimants’ Representative; (7) the
condition precedent set forth in Article IX.A.3.u may be waived or modified by the Debtors only
with the prior written consent of United Methodist ad hoc committee, the Coalition, the Tort
Claimants’ Committee, and the Future Claimants’ Representative; (8) for Article IX.A.3.j, Article
IX.A.3.k, Article IX.A.3.l, Article IX.A.3.y, and any waiver or modification that impacts the
treatment of Abuse Claims or Settlement Trust Assets, the prior written consent of the Coalition,
the Tort Claimants’ Committee, Pfau/Zalkin, and the Future Claimants’ Representative shall be
required as a condition to waiver or modification by the Debtors; (9) the conditions precedent in
Article IX.B.1 and Article IX.B.6 may be waived or modified by the Debtors only with the prior
written consent of the Ad Hoc Committee, the Coalition, the Tort Claimants’ Committee, and the
Future Claimants’ Representative. Any waiver or modification of a condition precedent under this
Article IX may be effectuated at any time, without notice, without leave or order of th e Bankruptcy
Court or the District Court, and without any other formal action other than proceedings to Confirm
or consummate the Plan; (10) the condition precedent set forth in Article IX.A.4 may be waived
or modified by the Debtors only with the prior written consent of the Tort Claimants’ Committee,
Pfau/Zalkin, the Coalition, and the Future Claimants’ Representative. The failure to satisfy or
waive any condition precedent to the Effective Date may be asserted by the Ad Hoc Committee,
the Coalition, the Tort Claimants’ Committee, Pfau/Zalkin, the Future Claimants’ Representative,
the Settling Insurance Companies, the Creditors’ Committee or JPM regardless of the
circumstances giving rise to the failure of such condition to be satisfied or waived.

       D.      [Reserved].

        E.      Vacatur of Confirmation Order; Non-Occurrence of Effective Date. If the
Confirmation Order is vacated or the Effective Date does not occur within 180 days after entry of
the Confirmation Order (subject to extension by the Debtors in their sole discretion), the Plan shall
be null and void in all respects, and nothing contained in the Plan or the Disclosure Statement shall
(1) constitute a waiver or release of any Causes of Action by or Claims against or Interests in the
Debtors or any Person; (2) prejudice in any manner the rights of the Debtors, any holders of a
Claim or Interest or any other Person; (3) constitute an admission, acknowledgment, offer, or
undertaking by the Debtors, any holders of a Claim or Interest, or any other Person in any respect;
or (4) be used by the Debtors or any other Person as evidence (or in any other way) in any litigation,
including with respect to the strengths and weaknesses of positions, arguments or claims of any of
the parties to such litigation.


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                                           ARTICLE X.

                            EFFECT OF PLAN CONFIRMATION

        A.     Vesting of Assets in Reorganized BSA. Except as otherwise expressly provided in
the Plan (including with respect to the Core Value Cash Pool and the Restated Debt and Security
Documents), on the Effective Date, pursuant to sections 1141(b) and 1141(c) of the Bankruptcy
Code, all property comprising the Estates shall vest in Reorganized BSA free and clear of all Liens,
Claims, interests, charges, other Encumbrances and liabilities of any kind. On and after the
Effective Date, Reorganized BSA may continue its operations and may use, acquire, or dispose of
property, and compromise or settle any Claims, Interests, or Causes of Action without supervision
or approval of the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or the
Bankruptcy Rules.

        B.       Retention of Certain Causes of Action. In accordance with section 1123(b)(3) of
the Bankruptcy Code, subject to the transfer of the Debtors’ Settlement Trust Causes of Action to
the Settlement Trust under Article IV.D and the Debtors’ and their Estates’ release of certain Estate
Causes of Action under Article X.J, and except as otherwise provided in the Plan or in any
Insurance Settlement Agreements, all Causes of Action that a Debtor may hold against any Person
shall vest in Reorganized BSA on the Eff ective Date. Thereafter, subject to Article IV.D and
Article X.J, Reorganized BSA shall have the exclusive right, authority, and discretion to determine
and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate
to judgment any such Causes of Action, whether arising before or after the Petition Date, and to
decline to do any of the foregoing without the consent or approval of any third party or further
notice to or action, order, or approval of the Bankruptcy Court. No Person may rely on the absence
of a specific reference in the Plan or the Disclosure Statement to any specific Cause of Action as
any indication that the Debtors or Reorganized BSA, as applicable, will not pursue any and all
available Causes of Action. The Debtors or Reorganized BSA, as applicable, expressly reserve all
rights to prosecute any and all Causes of Action against any Person, except as otherwise expressly
provided in the Plan, and, therefore, no preclusion doctrine, including the doctrines of res judicata,
collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise)
or laches, shall apply to any Cause of Action upon, after, or as a consequence of Confirmation or
the occurrence of the Effective Date.

        C.      Binding Effect. As of the Effective Date, except as expressly set forth herein, all
provisions of the Plan, including all agreements, instruments and other documents entered into in
connection with the Plan by the Debtors or Reorganized BSA, the Settlement Trust, or the
Protected Parties, shall be binding upon the Debtors, the Estates, Reorganized BSA, all holders of
Claims against and Interests in the Debtors, each such holder’s respective successors and assigns,
and all other Persons that are affected in any manner by the Plan, regardless of whether the Claim
or Interest of such holder is Impaired under the Plan or whether such holder has accepted the Plan.
Except as otherwise expressly provided in the Plan, all agreements, instruments and other
documents filed in connection with the Plan shall be given full force and effect and shall bind all
Persons referred to therein on and after the Effective Date, whether or not such agreements are
actually issued, delivered or recorded on or after the Effective Date and whether o r not such
Persons have actually executed such agreement.



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        D.       Post-Confirmation Interim Injunction and Stays. All injunctions and stays arising
under or entered during the Chapter 11 Cases, whether under sections 105 or 362 of the Bankruptcy
Code or otherwise, and in existence on the Confirmation Date shall remain in full force and effect
until the latest to occur of, as applicable: the Effective Date, the Release Date (as defined in the
applicable Insurance Settlement Agreement or other settlement agreeme nt), and the Limited
Protected Party Injunction Date (which Limited Protected Party Injunction Date shall be no later
than one (1) year following the Effective Date except as provided in the Settlement Trust
Agreement). To the extent not otherwise in place, pending the occurrence of the Release Date (as
defined in the applicable Insurance Settlement Agreement), the United Methodist Release
Effective Date (as defined in the United Methodist Settlement Agreement), or other release date
set forth in any other settlement agreement, any Claim that would be released or subject to the
Channeling Injunction upon the occurrence of conditions set forth herein and in any applicable
settlement agreement (including the occurrence of the Release Date or similar defined term (as
defined in the applicable settlement agreement) shall be stayed and enjoined pending satisfaction
of such conditions (the “Post-Confirmation Interim Injunction”). To the extent not otherwise in
place, until the occurrence of the Limited Protected Party Injunction Date, any Claim against a
Participating Chartered Organization shall be stayed and enjoined pending satisfaction of such
conditions. The Post-Confirmation Interim Injunction shall permit the filing, but not the
prosecution, of the Abuse Claims. The injunctions and stays referenced in this Article X.D include
the preliminary injunction imposed by the Consent Order Pursuant to 11 U.S.C. §§ 105(a) and
362 Granting the BSA’s Motion for a Preliminary Injunction entered by the Bankruptcy Court on
March 30, 2020 (Adv. Pro. No. 20-50527, Docket No. 54). Solely with respect to the United
Methodist Entities, the Post-Confirmation Interim Injunction shall remain in full force and effect
until the earliest to occur of the United Methodist Release Effective Date or the United Methodist
Release Termination Date (as those terms are defined in the United Methodist Settlement
Agreement).

       E.      Discharge.

                1.      Discharge of the Debtors. Except as expressly provided in the Plan or the
       Confirmation Order, the treatment of Claims under the Plan shall be in exchange for, and
       in complete satisfaction, settlement, discharge, termination and release of, all Claims and
       Interests of any nature whatsoever against or in the Debtors or any of their assets or
       properties based upon any act, omission, transaction, occurrence, or other activity of any
       nature that occurred prior to the Effective Date, and, as of the Effective Date, each of the
       Debtors shall be deemed discharged and released, and each holder of a Claim or Interest
       and any successor, assign, and affiliate of such holder shall be deemed to have forever
       waived, discharged and released each of the Debtors, to the fullest extent permitted by
       section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests, rights and
       liabilities, and all debts of the kind specified in section 502 of the Bankruptcy Code, based
       upon any act, omission, transaction, occurrence, or other activity of any nature that
       occurred prior to the Effective Date, in each case whether or not (a) a Proof of Claim based
       upon such debt is filed or deemed filed under section 501 of the Bankruptcy Code, (b) a
       Claim based upon such debt is Allowed under section 502 of the Bankruptcy Code, (c) a
       Claim based upon such debt is or has been Disallowed by order of the Bankruptcy Court,
       or (d) the holder of a Claim based upon such debt is deemed to have accepted the Plan.
       Notwithstanding the foregoing, nothing in this Article X.E shall be construed to modify,


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reduce, impair or otherwise affect the ability of any holder of an Allowed Non -Abuse
Litigation Claim to recover on account of such Allowed Claim in accordance with Article
III.B.9 and Article IV.D.3.

        2.      Discharge Injunction. From and after the Effective Date, except as
expressly provided in the Plan or the Confirmation Order, all holders of Claims or Interests
of any nature whatsoever against or in the Debtors or any of their assets or properties based
upon any act, omission, transaction, occurrence, or other activity of any nature that
occurred prior to the Effective Date that are discharged pursuant to the terms of the Plan
shall be precluded and permanently enjoined from taking any of the following actions on
account of, or on the basis of , such discharged Claims and Interests: (a) commencing or
continuing any action or other proceeding of any kind against the Debtors, Reorganized
BSA, the Settlement Trust, or its or their respective property; (b) enforcing, attaching,
collecting, or recovering by any manner or means of judgment, award, decree or other
against the Debtors, Reorganized BSA, the Settlement Trust, or its or their respective
property; (c) creating, perfecting or enforcing any Lien or Encumbrance of any kind against
the Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property; or
(d) commencing or continuing any judicial or administrative proceeding, in any forum and
in any place in the world, that does not comply with or is inconsistent with the provisions
of the Plan or the Confirmation Order. The foregoing injunction shall extend to the
successors and assigns of the Debtors (including Reorganized BSA) and its and their
respective properties and interests in property. In accordance with the foregoing, except
as expressly provided in the Plan or the Confirmation Order, the Confirmation Order shall
be a judicial determination of discharge or termination of all Claims, Interests and other
debts and liabilities against or in the Debtors pursuant to sections 105, 524 and 1141 of the
Bankruptcy Code, and such discharge shall void any judgment obtained against the Debtors
at any time to the extent such judgment relates to a discharged Claim or Interest.

F.      Channeling Injunction.

        1.      Terms. Notwithstanding anything to the contrary herein, to preserve
and promote the settlements contemplated by and provided for in the Plan, including
the Abuse Claims Settlement, the Insurance Settlements, and the United Methodist
Settlement, and to supplement, where necessary, the injunctive effect of the Discharge
as provided in sections 1141 and 524 of the Bankruptcy Code and as described in this
Article X, pursuant to the exercise of the equitable jurisdiction and power of the
Bankruptcy Court and the District Court under section 105(a) of the Bankruptcy
Code, (a) the sole recourse of any holder of an Abuse Claim against a Protected Party
on account of such Abuse Claim shall be to and against the Settlement Trust pursuant
to the Settlement Trust Documents, and such holder shall have no right whatsoever
at any time to assert such Abuse Claim against any Protected Party or any property
or interest in property of any Protected Party, (b) the sole recourse of any holder of a
Post-1975 Chartered Organization Abuse Claim against a Limited Protected Party
on account of such Post-1975 Chartered Organization Abuse Claim shall be to and
against the Settlement Trust pursuant to the Settlement Trust Documents, and such
holder shall have no right whatsoever at any time to assert such Post-1975 Chartered
Organization Abuse Claim against any Limited Protected Party or any property or


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interest in property of any Limited Protected Party, (c) the sole recourse of any holder
of an Abuse Claim against a Limited Protected Party if such Abuse Claim is covered
under any insurance policy issued by any Settling Insurance Company, shall be to
and against the Settlement Trust pursuant to the Settlement Trust Documents, and
such holder shall have no right whatsoever at any time to assert such Abuse Claim
against any Limited Protected Party or any property or interest in property of any
Limited Protected Party, (d) the sole recourse of any holder of an Opt-Out Chartered
Organization Abuse Claim against an Opt-Out Chartered Organization on account
of such Opt-Out Chartered Organization Abuse Claim shall be to and against the
Settlement Trust pursuant to the Settlement Trust Documents, and such holder shall
have no right whatsoever at any time to assert such Opt-Out Chartered Organization
Abuse Claim against any Opt-Out Chartered Organization or any property or
interest in property of any Opt-Out Chartered Organization. For the avoidance of
doubt, the sole recourse for any holder of an Abuse Claim covered by any insurance
policy issued by a Settling Insurance Company shall be to and against the Settlement
Trust pursuant to the Settlement Trust Documents. Accordingly, on and after the
Effective Date, all Persons that have held or asserted, currently hold or assert, or that
may in the future hold or assert, any Abuse Claim against the Protected Parties, or
any of them, or any Post-1975 Chartered Organization Abuse Claim against the
Limited Protected Parties, or any of them, or any Abuse Claim against the Limited
Protected Parties (or any of them) if such Abuse Claim is covered under any
insurance policy issued by any Settling Insurance Company, or any Opt-Out
Chartered Organization Abuse Claim against the Opt-Out Chartered Organizations,
or any of them, shall be permanently and forever stayed, restrained and enjoined
from taking any action for the purpose of directly, indirectly, or derivatively
collecting, recovering, or receiving payment, satisfaction, or recovery fro m any
Protected Party with respect to any such Abuse Claim, or from any Limited Protected
Party with respect to any such Abuse Claim if such Abuse Claim is covered under
any insurance policy issued by any Settling Insurance Company, or from any Limited
Protected Party with respect to any such Post-1975 Chartered Organization Abuse
Claim, or from any Opt-Out Chartered Organization with respect to any Opt-Out
Chartered Organization Abuse Claim, other than from the Settlement Trust
pursuant to the Settlement Trust Documents, including:

              a.    commencing, conducting, or continuing, in any manner,
       whether directly, indirectly, or derivatively, any suit, action, or other
       proceeding of any kind (including a judicial, arbitration, administrative, or
       other proceeding) in any forum in any jurisdiction around the world against
       or affecting any Protected Party, Limited Protected Party, or Opt-Out
       Chartered Organization, or any property or interest in property of any
       Protected Party, Limited Protected Party, or Opt-Out Chartered
       Organization;

               b.     enforcing, levying, attaching (including any prejudgment
       attachment), collecting or otherwise recovering, by any manner or means,
       either directly or indirectly, any judgment, award, decree, or order against or
       affecting any Protected Party, Limited Protected Party, or Opt-Out Chartered


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       Organization or any property or interest in property of any Protected Party,
       Limited Protected Party, or Opt-Out Chartered Organization;

             c.     creating, perfecting, or otherwise enforcing in any manner,
       whether directly or indirectly, any Encumbrance of any kind against any
       Protected Party, Limited Protected Party, or Opt-Out Chartered
       Organization, or any property or interest in property of any Protected Party,
       Limited Protected Party, or Opt-Out Chartered Organization;

              d.     asserting, implementing or effectuating any setoff, right of
       reimbursement, subrogation, indemnity, contribution, reimbursement, or
       recoupment of any kind, in any manner, directly or indirectly, against any
       obligation due to any Protected Party, Limited Protected Party, or Opt-Out
       Chartered Organization, or any property or interest in property of any
       Protected Party, Limited Protected Party, or Opt-Out Chartered
       Organization; or

              e.      taking any act in any manner, and in any place whatsoever, that
       does not conform to, or comply with, the provisions of the Plan Documents or
       the Settlement Trust Documents or with regard to any matter that is within
       the scope of the matters designated by the Plan to be subject to resolution by
       the Settlement Trust, except in conformity and compliance with the Settlement
       Trust Documents with respect to any such Abuse Claim, Post-1975 Chartered
       Organization Abuse Claim, Pre-1976 Chartered Organization Abuse Claim,
       or Opt-Out Chartered Organization Abuse Claim.

        2.      Limited Protected Party Injunction. The Limited Protected Party
Injunction shall stay the prosecution of any Abuse Claim that was commenced prior
to or after the Effective Date against a Chartered Organization through the later of
(a) forty-five (45) days after the resolution of the Abuse Claim that is subject to the
Independent Review under the Trust Distributions Procedures or (b) the Limited
Protected Party Injunction Date.

        3.     Protections for Insureds and Co-Insureds of Settling Insurance
Companies. All Abuse Claims against insureds and co-insureds covered under any
insurance policies issued by the Settling Insurance Companies shall be channeled under
Article X.F.1 and released under Article X.J.6 as provided in the Insurance Settlement
Agreements. Solely for purposes of administering the Channeling Injunctions and releases
in this Plan and in the Confirmation Order and not for any other purpose, any liability
insurance policy (other than an automobile policy or director’s and officer’s policy) that
was issued by the Settling Insurance Companies shall be automatically deemed to “cover”
or provide “coverage” for an Abuse Claim against a Chartered Organization if (i) such
policy includes the Chartered Organization, by name or by referring to Chartered
Organizations categorically as chartered organizations, charters, sponsoring organizations,
or sponsors, as insureds or additional insureds, (ii) such policy was in effect when the
alleged Abuse underlying such Abuse Claim allegedly took place; and (iii) such policy
does not specifically exclude all abuse or molestation, regardless of state of mind; provided,


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however, that nothing in the qualifications for coverage specified in subsections (i), (ii), or
(iii) of Article X.F.3 of this Plan shall be offered or interpreted as an admission by the
Settling Insurance Companies of any fact or issue for any purpose in any other proceeding
or litigation or dispute, and shall not be cited as a basis to impose liability on, or increase
the liability of, any Settling Insurance Company under any circumstance or any insurance
policy. For the avoidance of doubt, nothing herein prevents a Settling Insurance Company
or its insureds from seeking to establish that other insurance policies cover Abuse Claims
for purposes of applying the Channeling Injunction and Releases. The protections provided
under this Article X.F.3 shall apply to all insureds and co-insureds covered under insurance
policies that are sold back to the Settling Insurance Companies pursuant to the terms hereof
or an Insurance Settlement Agreement.

       4.    Reservations. Notwithstanding anything to the contrary in this Article
X.F, the Channeling Injunction shall not enjoin:

             a.      the rights of holders of Abuse Claims to assert such Abuse
       Claims against the Settlement Trust in accordance with the Trust Distribution
       Procedures, including the ability to pursue the Settlement Trust in the tort
       system as described in Article XII of the Trust Distribution Procedures;

               b.     the rights of holders of Abuse Claims to assert such an Abuse
       Claim against (i) a Limited Protected Party for Abuse Claims that arose prior
       to January 1, 1976, and are not covered by any insurance policy issued by a
       Settling Insurance Company and (ii) an Opt-Out Chartered Organization to
       the extent such Abuse Claim is not covered by any insurance policy issued by
       a Settling Insurance Company;

             c.     the rights of holders of Abuse Claims that are not Opt-Out
       Chartered Organization Abuse Claims to assert such Abuse Claims against
       any Opt-Out Chartered Organization (unless such Opt-Out Chartered
       Organization becomes a Protected Party under Article IV.J);

               d.     the rights of holders of Abuse Claims to assert such Abuse
       Claims against the Settlement Trust (as to any Abuse Claim) or against the
       United Methodist Entities (as to any Abuse Claim other than Pre-1976
       Chartered Organization Abuse Claim and Post-1975 Chartered Organization
       Abuse Claims) prior to the United Methodist Release Effective Date (as that
       term is defined in the United Methodist Settlement Agreement), in each case
       for the sole purpose of preserving the statute of limitations. For the avoidance
       of doubt, such actions shall be limited to the commencement of an action
       against, and serving, as applicable, the Settlement Trust, to which such Claims
       have been channeled, or the United Methodist Entities;

                e.   the rights of any Person to assert any Claim, debt, obligation or
       liability for payment of Settlement Trust Expenses solely against the
       Settlement Trust in accordance with the Settlement Trust Documents;



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                         f.     the Settlement Trust from enforcing its rights under the Plan
                  and the Settlement Trust Documents; or

                        g.     the rights of the Settlement Trust to prosecute any action against
                  any Non-Settling Insurance Company based on or arising from Abuse
                  Insurance Policies that are not the subject of an Insurance Settlement
                  Agreement, subject to any Insurance Coverage Defenses;

                         h.     the rights of the United Methodist Entities against the
                  Settlement Trust to enforce the terms of the Channeling Injunction as forth in
                  the applicable settlement agreements; or

                        i.     the rights of the Settling Insurance Companies to enforce the
                  terms of the Channeling Injunction as otherwise set forth herein and in the
                  Insurance Settlement Agreements.

         G.       Provisions Relating to Channeling Injunction.

                 1.      Abuse Claims Under Policies Issued to Chartered Organizations. The
         release by the Participating Chartered Organizations and Contributing Chartered
         Organizations of the Settling Insurance Companies from all the Claims and Causes of
         Action as set forth in each of the Insurance Settlement Agreements (and corresponding
         rights of the Settling Insurance Companies) are subject to the following: 7

                          a.     Such Chartered Organizations are not barred from seeking defense
                  and indemnification for claims that are not Abuse Claims under insurance policies
                  issued by the Settling Insurance Companies directly to such Chartered
                  Organizations, with all parties reserving their rights as to whether such insurance
                  policies apply and to what extent.

                          b.     Such Chartered Organizations are not barred f rom seeking defense
                  and indemnification for that portion of Mixed Claims unrelated to Scouting under
                  insurance policies issued by the Settling Insurance Companies directly to such
                  Chartered Organizations, with all parties reserving their rights as to wheth er such
                  insurance policies apply and to what extent. All supporting parties to the Plan, as
                  applicable, agree to cooperate to enforce the Post-Confirmation Interim Injunction
                  and the Channeling Injunction to eliminate all or a portion of the Mixed Claims
                  against the applicable Chartered Organizations.

                         c.    Such Chartered Organizations are not barred from seeking defense
                  and indemnification under insurance policies issued by the Settling Insurance
                  Companies directly to such Chartered Organizations, pending determination by a
                  court of competent jurisdiction as to whether a Claim is a channeled Abuse Claim,


7
 As set forth in Article IV.S.1.g(v) above, the insurance policies issued directly to the BSA and the Local Councils
were, by definition, not issued to the Chartered Organizations and are not subject to this Article X.G.1.



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       with all parties reserving their rights as to whether such insurance policies apply
       and to what extent.

               d.     To the extent a court determines that a claim against such Chartered
       Organizations is not an Abuse Claim or is not subject to the Post-Confirmation
       Interim Injunction or the Channeling Injunction in the Plan, such Chartered
       Organizations may seek defense and indemnification of that claim under insurance
       policies issued by the Settling Insurance Companies directly to such Chartered
       Organizations, with all parties reserving their rights as to whether such insurance
       policies apply and to what extent.

               e.     To the extent a court determines that a claim against such Chartered
       Organizations is subject to the Post-Confirmation Interim Injunction or the
       Channeling Injunction in the Plan, the Settling Insurance Companies shall have no
       further obligations with respect to such claim. For the avoidance of doubt,
       Participating Chartered Organizations and Contributing Chartered Organizations
       retain the right to seek coverage from the Settling Insurance Companies under
       policies issued directly to such Chartered Organizations for defense costs incurred
       in connection with the enforcement of the injunction with respect to an Abuse
       Claim until the time the Abuse Claim is determined to be an Abuse Claim by a
       court.

               f.     The Settlement Trust shall cooperate with any ongoing efforts by
       such Chartered Organizations and/or the Settling Insurance Companies to establish
       that the Post-Confirmation Interim Injunction, the Insurance Entity Injunction, and
       the Channeling Injunction apply.

               g.     The Settling Insurance Companies reserve all rights under their
       policies with respect to any Claim that is not an Abuse Claim (including the non-
       Scouting component of any Mixed Claim), none of which rights are waived or
       released hereunder.

       2.      Modifications. Subject to post-Effective Date settlements between the
Settlement Trustee and Chartered Organizations or Insurance Companies under the
applicable provisions of Article IV, there can be no modification, dissolution, or
termination of the Channeling Injunction, which shall be a permanent injunction.

        3.      Non-Limitation. Nothing in the Plan or the Settlement Trust Documents
shall or shall be construed in any way to limit the scope, enforceability, or effectiveness of
the Channeling Injunction or the Settlement Trust’s assumption of all liability with respect
to Abuse Claims.

       4.     Bankruptcy Rule 3016 Compliance. The Debtors’ compliance with the
requirements of Bankruptcy Rule 3016 shall not constitute or be deemed to constitute an
admission that the Plan provides for an injunction against conduct not otherwise enjoined
under the Bankruptcy Code.




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        5.      Enforcement. Any Protected Party, Limited Protected Party, or Opt-Out
Chartered Organization may enforce the Channeling Injunction as a defense to any Claim
(in whole or in part) brought against such Protected Party, Limited Protected Party, or Opt-
Out Chartered Organization that is enjoined under the Plan as to such Protected Party,
Limited Protected Party, or Opt-Out Chartered Organization and may seek to enforce such
injunction in a court of competent jurisdiction.

        6.      Contribution Claims. If a Non-Settling Insurance Company asserts that it
has rights, whether legal, equitable, contractual, or otherwise, of contribution, indemnity,
reimbursement, subrogation or other similar claims directly or indirectly arising out of or
in any way relating to such Non-Settling Insurance Company’s payment of loss on behalf
of one or more of the Debtors in connection with any Abuse Claim against a Settling
Insurance Company (collectively, “Contribution Claims”), (a) such Contribution Claims
may be asserted as a defense or counterclaim against the Settlement Trust in any Insurance
Action involving such Non-Settling Insurance Company, and the Settlement Trust may
assert the legal or equitable rights (if any) of the Settling Insurance Company, and (b) to
the extent such Contribution Claims are determined to be valid, the liability (if any) of such
Non-Settling Insurance Company to the Settlement Trust shall be reduced by the amount
of such Contribution Claims.

        7.      No Duplicative Recovery. In no event shall any holder of an Abuse Claim
be entitled to receive any duplicative payment, reimbursement, or restitution from any
Protected Party, Limited Protected Party or Opt-Out Chartered Organization under any
theory of liability for the same loss, damage, or other Claim that is reimbursed by the
Settlement Trust or is otherwise based on the same events, facts, matters, or circumstances
that gave rise to the applicable Abuse Claim.

       8.      District Court Approval. To the extent necessary, the Debtors shall seek
entry of the Affirmation Order, which affirms (a) the Channeling Injunction and the
Settlement Trust’s assumption of all liability with respect to Abuse Claims and (b) the
releases by holders of Abuse Claims for the benefit of the Protected Parties and the Limited
Protected Parties, each as set forth in this Article X.

H.      Insurance Entity Injunction.

        1.     Purpose.      To facilitate the Insurance Assignment, protect the
Settlement Trust, and preserve the Settlement Trust Assets, pursuant to the equitable
jurisdiction and power of the Bankruptcy Court and the District Court under section
105(a) of the Bankruptcy Code, the Bankruptcy Court shall issue the injunction set
forth in this Article X.H (the “Insurance Entity Injunction”); provided, however, that
the Insurance Entity Injunction is not issued for the benefit of any Non-Settling
Insurance Company, and no Non-Settling Insurance Company is a third-party
beneficiary of the Insurance Entity Injunction, except as otherwise specifically
provided in any Insurance Settlement Agreement.

      2.      Terms Regarding Claims against Insurance Companies. Subject to the
terms of Article X.E and Article X.F, except for Opt-Out Chartered Organizations


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       with respect to Non-Settling Insurance Companies and Participating Chartered
       Organizations with respect to Non-Settling Insurance Companies coverage for Abuse
       Claims that arose prior to January 1, 1976, all Persons that have held or asserted,
       that hold or assert, or that may in the future hold or assert any claim or cause of
       action (including any Abuse Claim or any claim for or respecting any Settlement
       Trust Expense) against any Insurance Company based upon, attributable to, arising
       out of, or in any way connected with any Abuse Insurance Policy or other insurance
       policy issued by a Settling Insurance Company covering Abuse Claims, whenever and
       wherever arising or asserted, whether in the United States of America or anywhere
       else in the world, whether sounding in tort, contract, warranty, or any other theory
       of law, equity, or admiralty, shall be stayed, restrained, and enjoined from taking any
       action for the purpose of directly or indirectly collecting, recovering, or receiving
       payments, satisfaction, or recovery with respect to any such claim or cause of action,
       including:

                     a.      commencing, conducting, or continuing, in any manner, directly
              or indirectly, any suit, action, or other proceeding of any kind (including a
              judicial, arbitration, administrative, or other proceeding) in any forum with
              respect to any such claim, demand, or cause of action against any Insurance
              Company, or against the property of any Insurance Company, with respect to
              any such claim, demand, or cause of action (including, for the avoidance of
              doubt, directly pursuing any suit, action or other proceeding with respect to
              any such claim, demand, or cause of action against any Insurance Company);

                     b.     enforcing, levying, attaching, collecting, or otherwise
              recovering, by any means or in any manner, whether directly or indirectly,
              any judgment, award, decree, or other order against any Insurance Company,
              or against the property of any Insurance Company, with respect to any such
              claim or cause of action;

                      c.     creating, perfecting, or enforcing in any manner, directly or
              indirectly, any Lien or Encumbrance against any Insurance Company, or the
              property of any Insurance Company, with respect to any such claim or cause
              of action; and

                     d.     except as otherwise specifically provided in the Plan, asserting
              or accomplishing any setoff, right of subrogation, indemnity, contribution, or
              recoupment of any kind, directly or indirectly, against any obligation of any
              Insurance Company, or against the property of any Insurance Company, with
              respect to any such claim or cause of action;

provided, however, that: (i) the injunction set forth in this Article X.H shall not impair in
any way any (a) actions brought by the Settlement Trust against any Non-Settling Insurance
Company, (b) actions brought by Local Councils in connection with any Local Council
Reserved Rights, (c) any actions brought by any Chartered Organization relating to an
Abuse Claim against a Non-Settling Insurance Company that is not channeled to the
Settlement Trust; (d) actions brought by holders of Non-Abuse Litigation Claims consistent


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with Article IV.D.3, (e) the rights, if any, of any Opt-Out Chartered Organization under any
Abuse Insurance Policy that was issued by a Non-Settling Insurance Company, or (f) except
as provided in any applicable Insurance Settlement Agreement, the rights of any co-insured
of the Debtors (x) under any Non-Abuse Insurance Policy and (y) as specified under any
Final Order of the Bankruptcy Court approving an Insurance Settlement Agreement; and
(ii) the Settlement Trust shall have the sole and exclusive authority at any time to terminate,
or reduce or limit the scope of, the injunction set forth in this Article X.H with respect to any
Non-Settling Insurance Company, in accordance with the Settlement Trust Documents, upon
express written notice to such Non-Settling Insurance Company, except that the Settlement
Trust shall not have any authority to terminate, reduce or limit the scope of the injunction
herein with respect to any Settling Insurance Company.

              3.     Reservations. Notwithstanding anything to the contrary in this Article
       X.H, the Insurance Entity Injunction shall not enjoin:

                      a.    the rights of any Person to the treatment accorded them under
              the Plan, as applicable, including the rights of holders of Abuse Claims to
              assert such Claims, as applicable, in accordance with the Trust Distribution
              Procedures, and the rights of holders of Non-Abuse Litigation Claims to assert
              such Claims, as applicable in accordance with Article IV.D.3;

                     b.     the rights of any Person to assert any claim, debt, obligation,
              cause of action or liability for payment of Settlement Trust Expenses against
              the Settlement Trust;

                     c.     the rights of the Settlement Trust to prosecute any action based
              on or arising from Abuse Insurance Policies, except to the extent otherwise
              released;

                     d.     the rights of any Person to assert or prosecute (i) an Abuse
              Claim against an Opt-Out Chartered Organization to the extent that such
              Claim is not covered under an insurance policy issued by a Settling Insurance
              Company, or (ii) an Abuse Claim against a Limited Protected Party for Abuse
              Claims that arose prior to January 1, 1976, and is not covered under an
              insurance policy issued by a Settling Insurance Company;

                     e.     the rights of the Settlement Trust to assert any claim, debt,
              obligation, cause of action or liability for payment against a Non-Settling
              Insurance Company based on or arising from the Abuse Insurance Policies;

                     f.     the rights of any Insurance Company to assert any claim, debt,
              obligation, cause of action or liability for payment against any Non-Settling
              Insurance Company;

                    g.    the claims for reinsurance under reinsurance contracts or
              claims under retrocessional contracts among the Settling Insurance
              Companies and other insurance companies; or



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                     h.     the rights of any Insurance Company to assert any claims for
              contribution, subrogation, indemnification or other similar Cause of Action
              against the Settlement Trust for the Settling Insurance Companies’ alleged
              share or equitable share, or to enforce subrogation rights, if any, of the defense
              and/or indemnity obligation for any Abuse Claim, or for any Cause of Action
              released in any Insurance Settlements.

       I.      Injunction against Interference with Plan. Upon entry of the Confirmation
Order, all holders of Claims and Interests shall be precluded and enjoined from taking any
actions to interfere with the implementation and consummation of the Plan.

      J.      Releases.

              1.     Releases by the Debtors and the Estates.

                     a.      Releases by the Debtors and the Estates of the Released Parties.
              As of the Effective Date, except for the rights that remain in effect from and
              after the Effective Date to enforce the Plan and the Confirmation Order,
              pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
              consideration, the adequacy of which is hereby confirmed, including the
              actions of the Released Parties to facilitate and implement the reorganization
              of the Debtors and the settlements embodied in the Plan, including the Abuse
              Claims Settlement, the JPM / Creditors’ Committee Settlement, the Insurance
              Settlements, and the United Methodist Settlement as an integral component of
              the Plan, the Debtors, Reorganized BSA, and the Estates shall, and shall be
              deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
              and forever release and discharge each and all of the Released Parties of and
              from any and all Estate Causes of Action that do not constitute Settlement
              Trust Causes of Action, any and all other Claims, Interests, obligations, rights,
              demands, suits, judgments, damages, debts, remedies, losses and liabilities of
              any nature whatsoever (including any derivative claims or Causes of Action
              asserted or that may be asserted on behalf of the Debtors, Reorganized BSA,
              or the Estates), whether liquidated or unliquidated, fixed or contingent,
              matured or unmatured, known or unknown, foreseen or unforeseen, in law,
              equity, contract, tort or otherwise, based on or relating to, or in any manner
              arising from, in whole or in part, any act, omission, transaction, event, or other
              circumstance taking place or existing on or before the Effective Date
              (including before the Petition Date) in connection with or related to the
              Debtors, the Estates, their respective assets and properties, the Chapter 11
              Cases, the subject matter of, or the transactions or events giving rise to, any
              Claim or Interest that is treated by the Plan, the business or contractual
              arrangements between one or both of the Debtors and any Released Party, the
              restructuring of any Claim or Interest that is treated by the Plan before or
              during the Chapter 11 Cases, any of the Plan Documents, the JPM / Creditors’
              Committee Settlement, the Insurance Settlements, the United Methodist
              Settlement, or any related agreements, instruments, and other documents
              created or entered into before or during the Chapter 11 Cases or the


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       negotiation, formulation, preparation or implementation thereof, the pursuit
       of Confirmation, the administration and implementation of the Plan, the
       solicitation of votes with respect to the Plan, the Distribution of property under
       the Plan, or any other act or omission, transaction, agreement, event, or other
       occurrence taking place on or before the Effective Date related or relating to
       the foregoing. Notwithstanding anything to the contrary in the foregoing, the
       releases set forth in this Article X.J.1 shall not, and shall not be construed to:
       (a) release any Released Party from Causes of Action arising out of, or related
       to, any act or omission of such Released Party that is a criminal act or that
       constitutes fraud, gross negligence or willful misconduct; or(b) release any
       post-Effective Date obligations of any Person under the Plan Documents or
       any document, instrument, or agreement executed to implement the Plan.

               b.     Releases by the Debtors and the Estates of Certain Avoidance
       Actions. As of the Effective Date, for good and valuable consideration, the
       adequacy of which is hereby confirmed, including the actions of Creditors’
       Committee and its members in their respective capacities as such in facilitating
       and implementing the reorganization of the Debtors, as an integral component
       of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and shall be
       deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
       and forever release and discharge each and all holders of General Unsecured
       Claims, Non-Abuse Litigation Claims, and Convenience Claims of and from
       any and all Avoidance Actions.

        2.     Releases by the Debtors and the Estates of the Local Councils, the
Contributing Chartered Organizations, the Participating Chartered Organizations,
the Opt-Out Chartered Organizations and the Settling Insurance Companies. In
furtherance of the Abuse Claims Settlement, on the Effective Date, for good and
valuable consideration, the adequacy of which is hereby confirmed, the Debtors, on
their own behalf and as representatives of their respective Estates, and Reorganized
BSA, are deemed to irrevocably and unconditionally, fully, finally, and forever waive,
release, acquit, and discharge each and all of the Local Councils, the Contributing
Chartered Organizations, the Participating Chartered Organizations, the Opt-Out
Chartered Organizations, and the Settling Insurance Companies of and from any and
all claims, causes of action, suits, costs, debts, liabilities, obligations, dues, sums of
money, accounts, reckonings, bonds, bills, covenants, contracts, controversies,
agreements, promises, damages, judgments, executions and demands whatsoever, of
whatever kind or nature (including those arising under the Bankruptcy Code),
whether known or unknown, suspected or unsuspected, in law or in equity, which the
Debtors, their Estates, or Reorganized BSA have, had, may have, or may claim to
have: (a) against any of the Local Councils and Contributing Chartered
Organizations with respect to any Abuse Claims, (b) against any of the Participating
Chartered Organizations with respect to any Post-1975 Chartered Organization
Abuse Claims, (c) against any of the Participating Chartered Organizations with
respect to any Pre-1976 Chartered Organization Abuse Claims, (d) against any of the
Opt-Out Chartered Organizations with respect to any Opt-Out Chartered
Organization Abuse Claims, and (e) against any Settling Insurance Company with


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respect to any coverage for Abuse Claims and all other claims and causes of action
specified in the applicable Insurance Settlement Agreements (collectively, the
“Scouting Released Claims”). For the avoidance of doubt, the rights of Settling
Insurance Companies that are assigned to the Settlement Trust are not released.
Notwithstanding anything to the contrary in the foregoing, the releases set forth in
this Article X.J.2 shall not, and shall not be construed to release any post-Effective
Date obligations of any Person under the Plan Documents or any document,
instrument, or agreement executed to implement the Plan. For the avoidance of
doubt, in the event of any conflict or inconsistency between this Article X.J.2 and the
preceding Article X.J.1, this Article X.J.2 shall control.

        3.     Releases by Holders of Abuse Claims. As of the Effective Date, except
for the rights that remain in effect from and after the Effective Date to enforce the
Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy
Code, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the actions of the Protected Parties and the Limited Protected
Parties to facilitate and implement the reorganization of the Debtors, including the
settlements embodied in the Plan, including the Abuse Claims Settlement, as an
integral component of the Plan, and except as otherwise expressly provided in the
Plan or the Confirmation Order, to the maximum extent permitted under applicable
law, as such law may be extended subsequent to the Effective Date, all holders of
Abuse Claims shall, and shall be deemed to, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever discharge and release: (a) each and all of
the Protected Parties and their respective property and successors and assigns of and
from all Abuse Claims and any and all Claims and Causes of Action whatsoever,
whether known or unknown, asserted or unasserted, derivative or direct, foreseen or
unforeseen, in law, equity, or otherwise, whether for tort, fraud, contract, veil
piercing or alter-ego theories of liability, successor liability, contribution,
indemnification, joint liability, or otherwise, arising from or related in any way to
such Abuse Claims; (b) each and all of the Limited Protected Parties and their
respective property and successors and assigns of and from all Post-1975 Chartered
Organization Abuse Claims and any and all Claims and Causes of Action whatsoever,
whether known or unknown, asserted or unasserted, derivative or direct, foreseen or
unforeseen, in law, equity, or otherwise, whether for tort, fraud, contract, veil
piercing or alter-ego theories of liability, successor liability, contribution,
indemnification, joint liability, or otherwise, arising from or related in any way to
such Post-1975 Chartered Organization Abuse Claims; (c) each of the Participating
Chartered Organizations with respect to any Pre-1976 Chartered Organization
Abuse Claims and their respective property and successors and assigns of and from
all Pre-1976 Chartered Organization Abuse Claims and any and all Claims and
Causes of Action whatsoever, whether known or unknown, asserted or unasserted,
derivative or direct, foreseen or unforeseen, in law, equity, or otherwise, whether for
tort, fraud, contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in
any way to such Pre-1976 Chartered Organization Abuse Claims; and (d) each and
all of the Opt-Out Chartered Organizations and their respective property and
successors and assigns of and from all Opt-Out Chartered Organization Abuse


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Claims and any and all Claims and Causes of Action whatsoever, whether known or
unknown, asserted or unasserted, derivative or direct, foreseen or unforeseen, in law,
equity, or otherwise, whether for tort, fraud, contract, veil piercing or alter -ego
theories of liability, successor liability, contribution, indemnification, joint liability,
or otherwise, arising from or related in any way to such Opt-Out Chartered
Organization Abuse Claims; provided, however, that the releases set forth in this
Article X.J.3 shall not, and shall not be construed to: (i) release any post-Effective
Date obligations of any Person under the Plan Documents or any document,
instrument, or agreement executed to implement the Plan; or (ii) modify, reduce,
impair or otherwise affect the ability of any holder of an Abuse Claim to recover on
account of such Claim in accordance with Article III.B.10 or Article III.B.11, as
applicable. For the avoidance of doubt, holders of Abuse Claims covered by any
insurance policy issued by a Settling Insurance Company shall, and shall be deemed
to, release and discharge the Settling Insurance Companies for such Claims. The
releases in Article X.J.4 shall not, and shall not be deemed to, limit the releases in
Article X.J.3.

        4.     Releases by Holders of Claims. As of the Effective Date, except for the
rights that remain in effect from and after the Effective Date to enforce the Plan and
the Confirmation Order, for good and valuable consideration, the adequacy of which
is hereby confirmed, including the actions of the Released Parties to facilitate and
implement the reorganization of the Debtors and the settlements embodied in the
Plan, including the JPM / Creditors’ Committee Settlement, the Insurance
Settlements, and the United Methodist Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation
Order, to the maximum extent permitted under applicable law, as such law may be
extended subsequent to the Effective Date, all Releasing Claim Holders shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
and forever release and discharge each and all of the Released Parties of and from
any and all Claims, Interests, obligations, rights, demands, suits, judgments, damages,
debts, remedies, losses and liabilities of any nature whatsoever (including any
derivative claims or Causes of Action asserted or that may be asserted on behalf of
the Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transac tion, event,
or other circumstance taking place or existing on or before the Effective Date
(including before the Petition Date) in connection with or related to the Debtors, the
Estates, their respective assets and properties, the Chapter 11 Cases, the subject
matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated by the Plan, the business or contractual arrangements between one or both of
the Debtors and any Released Party, the restructuring of any Claim or Interest that
is treated by the Plan before or during the Chapter 11 Cases, any of the Plan
Documents, the JPM / Creditors’ Committee Settlement, the Insurance Settlements,
the United Methodist Settlement, or any related agreements, instruments, and other
documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of


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Confirmation, the administration and implementation of the Plan, the solicitation of
votes with respect to the Plan, the Distribution of property under the Plan, or any
other act or omission, transaction, agreement, event, or other occurrence taking place
on or before the Effective Date related or relating to the foregoing; provided,
however, that the releases set forth in this Article X.J.4 shall not, and shall not be
construed to: (a) release any Released Party from Causes of Action arising out of, or
related to, any act or omission of such Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-
Effective Date obligations of any Person under the Plan Documents or any document,
instrument, or agreement executed to implement the Plan; or (c) modify, reduce,
impair or otherwise affect the ability of any holder of an Allowed Non-Abuse
Litigation Claim to recover on account of such Allowed Claim in accordance with
Article III.B.9. Notwithstanding the foregoing or anything to the contrary herein, (i)
with respect to holders of Allowed General Unsecured Claims or Allowed Non-Abuse
Litigation Claims, nothing in the Plan or the release set forth in Article X.J.4 shall, or
shall be construed to, release any such claims or Causes of Action against any Local
Council, Chartered Organization, or Insurance Company (subject to Article IV.D.3)
and (ii) nothing in the Plan or the release set forth in Article X.J.4 shall, or shall be
construed to, release any claims or Causes of Action asserted by Century and Chubb
Companies against Sidley Austin LLP (“Sidley”) related to Sidley’s representation of
the Debtors and/or Century and Chubb Companies.

       5.    Releases     Among      Contributing     Chartered Organizations        and
Settlement Parties.

               a.      In furtherance of the Abuse Claims Settlement, as of the date
       that the Confirmation Order and Affirmation Order become Final Orders,
       except for the rights that remain in effect from and after the Effective Date to
       enforce the Plan, the Confirmation Order, and the terms of the United
       Methodist Settlement Agreement, for good and valuable consideration, the
       adequacy of which is hereby confirmed, each of the Contributing Chartered
       Organizations, including the United Methodist Entities, shall, and shall be
       deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably,
       and forever release and discharge the Debtors, Reorganized BSA, the Related
       Non-Debtor Entities, the Local Councils, the other Protected Parties, the
       Limited Protected Parties, the Settling Insurance Companies, the Future
       Claimants’ Representative, the Coalition, the Tort Claimants’ Committee, the
       Settlement Trust, and each of its and their respective Representatives
       (collectively, the “Settlement Parties”), of and from any and all Claims,
       Interests, obligations, rights, demands, suits, judgments, damages, debts,
       remedies, losses and liabilities of any nature whatsoever (including any
       derivative claims or Causes of Action asserted or that may be asserted on
       behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated
       or unliquidated, fixed or contingent, matured or unmatured, known or
       unknown, foreseen or unforeseen, in law, equity, contract, tort or otherwise,
       based on or relating to, or in any manner arising from, in whole or in part, any
       act, omission, transaction, event, or other circumstance taking place or


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       existing on or before the date that the Confirmation Order and Affirmation
       Order become Final Orders (including before the Petition Date) in connection
       with or related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or
       (iv) any Claims relating to the Debtors or the Related Non-Debtor Entities that
       were or could have been asserted by the Contributing Chartered
       Organizations against the Settlement Parties or any of them.

              b.      In furtherance of the Abuse Claims Settlement, as of the date
       that the Confirmation Order and Affirmation Order become Final Orders,
       except for the rights that remain in effect from and after the Effective Date to
       enforce the Plan, the Confirmation Order, and the terms of the United
       Methodist Settlement Agreement, for good and valuable consideration, the
       adequacy of which is hereby confirmed, each of the Settlement Parties shall,
       and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
       irrevocably, and forever release and discharge each of the Contributing
       Chartered Organizations, including the United Methodist Entities, of and
       from any and all Claims, Interests, obligations, rights, demands, suits,
       judgments, damages, debts, remedies, losses and liabilities of any nature
       whatsoever, whether liquidated or unliquidated, fixed or contingent, matured
       or unmatured, known or unknown, foreseen or unforeseen, in law, equity,
       contract, tort or otherwise, based on or relating to, or in any manner arising
       from, in whole or in part, any act, omission, transaction, event, or other
       circumstance taking place or existing on or before the date that the
       Confirmation Order and Affirmation Order become Final Orders (including
       before the Petition Date) in connection with or related to (i) Abuse Claims, (ii)
       the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims relating to the Debtors
       or the Related Non-Debtor Entities that were or could have been asserted by
       the Settlement Parties against the Contributing Chartered Organizations or
       any of them.

       6.      Releases Relating to Settling Insurance Companies. Notwithstanding
anything to the contrary, the releases of Settling Insurance Companies and certain
other parties, and the releases by Settling Insurance Companies, each as set forth in
the Insurance Settlement Agreements, are incorporated by reference as if fully set
forth herein, and control and supplement any release otherwise contained herein.
Nothing herein shall reduce the scope of any such releases as set forth in the Insurance
Settlement Agreements. In addition, nothing in this Plan will release claims under
reinsurance contracts or retrocessional contracts between or among the Settling
Insurance Companies and other insurance companies.

       7.      [Reserved].

       8.      Releases Relating to the United Methodist Entities. The releases to the
United Methodist Entities, and the releases by the United Methodist Entities, each as
set forth in the United Methodist Settlement Agreement, are incorporated by
reference as if fully set forth herein and shall not be interpreted as limiting any
release, injunction, or similar benefit to the United Methodist Entities set forth herein.


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         K.     Exculpation. From and after the Effective Date, none of the Exculpated
Parties shall have or incur any liability to, or be subject to any right of action by, any Person
for any act, omission, transaction, event, or other circumstance o ccurring on or after the
Petition Date up to and including the Effective Date in connection with, relating to or arising
out of the Chapter 11 Cases, the negotiation of the Plan Documents, the JPM / Creditors’
Committee Settlement, the Insurance Settlements, the United Methodist Settlement
Agreement, the Releases and Injunctions, the pursuit of Confirmation of the Plan, the
administration, consummation and implementation of the Plan or the property to be
Distributed under the Plan, or the management or operation of the Debtors (except for any
liability that results primarily from such Exculpated Party’s gross negligence, bad faith or
willful misconduct). In all respects, each and all such Exculpated Parties shall be entitled to
rely upon the advice of counsel with respect to their duties and responsibilities under, or in
connection with, the matters referenced in the preceding sentence. Notwithstanding the
foregoing or any provision of the Plan to the contrary, Sidley shall not be an Exculpated
Party with respect to any claims by Century and the Chubb Companies against Sidley
related to Sidley’s representation of the Debtors and/or Century and the Chubb Companies.

       L.      Injunctions Related to Releases and Exculpation.

               1.     Injunction Related to Releases. As of the Effective Date, all holders of
       Claims that are the subject of Article X.J are, and shall be, expressly, conclusively,
       absolutely, unconditionally, irrevocably, and forever stayed, restrained, prohibited,
       barred and enjoined from taking any of the following actions against any Released
       Party or its property or successors or assigns on account of or based on the subject
       matter of such Claims, whether directly or indirectly, derivatively or otherwise:
       (a) commencing, conducting or continuing in any manner, directly or indirectly, any
       suit, action or other proceeding (including any judicial, arbitral, administrative or
       other proceeding) in any forum; (b) enforcing, attaching (including any prejudgment
       attachment), collecting, or in any way seeking to recover any judgment, award,
       decree, or other order; (c) creating, perfecting or in any way enforcing in any matter,
       directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
       reimbursement or contributions from, or subrogation against, or otherwise recouping
       in any manner, directly or indirectly, any amount against any liability or obligation
       that is discharged under Article X.E or released under Article X.J; provided,
       however, that the injunctions set forth in this Article X.L.1 shall not, and shall not be
       construed to, enjoin any holder of a Claim that is only the subject of Article X.J.4
       (and no other release set forth in Article X.J including Articles X.J.6 and X.J.7 from
       taking any action arising out of, or related to, any act or omission of a Released Party
       that is a criminal act or that constitutes fraud, gross negligence or willful misconduct.

              2.      Injunction Related to Exculpation. As of the Effective Date, all holders
       of Claims that are the subject of Article X.K are, and shall be, expressly, conclusively,
       absolutely, unconditionally, irrevocably, and forever stayed, restrained, prohibited,
       barred and enjoined from taking any of the following actions against any Exculpated
       Party on account of or based on the subject matter of such Claims, whether directly
       or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing in
       any manner, directly or indirectly, any suit, action or other proceeding (including any


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judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing,
attaching (including any prejudgment attachment), collecting, or in any way seeking
to recover any judgment, award, decree, or other order; and/or (c) creating,
perfecting or in any way enforcing in any matter, directly or indirectly, any Lien or
Encumbrance; provided, however, that the injunctions set forth in this Article X.L.2
shall not, and shall not be construed to, enjoin any Person that is the subject of Article
X.K from taking any action arising out of, or related to, any act or omission of a
Exculpated Party that is a criminal act or that constitutes fraud, gross negligence or
willful misconduct. Notwithstanding anything set forth in this paragraph, any set off
right with respect to an assumed Executory Contract or Unexpired Lease shall be
governed by applicable law, including the terms of such assumed Executory Contract
or Unexpired Lease.

M.      Insurance Provisions.

        1.     Except for the Debtor Policy Assignment (and subject to Article IX.A.3.j.5
herein), or as otherwise provided in the Bankruptcy Code, applicable law, the findings
made by the Bankruptcy Court in the Confirmation Order, or the findings made by the
District Court in the Affirmation Order, nothing in the Plan shall modify, a mend, or
supplement, or be interpreted as modifying, amending, or supplementing, the terms of any
Insurance Policy issued by a Non-Settling Insurance Company or rights or obligations
under such Insurance Policy to the extent such rights and obligations are otherwise
available under applicable law, and the rights and obligations, if any, of any Non-Settling
Insurance Company relating to or arising out of the Plan Documents, including the Plan,
the Confirmation Order, and the Affirmation Order, or any provision thereof, shall be
determined pursuant to the terms and provisions of the Insurance Policies and applicable
law.

        2.     No provision of the Plan, other than those provisions contained in the
applicable Injunctions contained in Article X of the Plan, shall be interpreted to affect or
limit the protections afforded to any Settling Insurance Company by the Channeling
Injunction and the Insurance Entity Injunction.

        3.     Nothing in this Article X.M is intended or shall be construed to preclude
otherwise applicable principles of res judicata or collateral estoppel from being applied
against any Person.

N.      Judgment Reduction.

        1.      Without limiting the Discharges, Releases and Injunctions set forth above,
if any Person, including a holder of an Abuse Claim (“Plaintiff”), asserts a Cause of Action
against any other Person arising from or relating to Abuse that is the subject of a Proof of
Claim filed against the Debtors in the Chapter 11 Cases, regardless of whether such Cause
of Action may be asserted pursuant to the Bankruptcy Code or is in the nature of or
sounding in contract, tort, warranty or any other theory of law or equity whatsoever (each
such Cause of Action, an “Abuse Cause of Action”), and such Abuse Cause of Action
results in a determination by the court or tribunal hearing the Abuse Cause of Action


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       (including by a jury empaneled by such court or tribunal) that any Person who is not a
       Protected Party or a Limited Protected Party (each, a “Specified Person”) is liable in
       damages to Plaintiff, then, prior to final entry of any judgment, order or arbitration award
       (“Judgment”) in such Abuse Cause of Action, Plaintiff shall provide notice and a copy of
       the Confirmation Order to the Trial Court. Such court or tribunal shall determine whether
       the Abuse Cause of Action gives rise to any Cause of Action on which any Protected Party
       or Limited Protected Party would have been liable to Plaintiff in the absence of the Plan
       and Confirmation Order. The court or tribunal shall reduce any Judgment against a
       Specified Person by an amount equal to the “Judgment Reduction Amount,” which shall
       equal the greatest amount such Specified Person would be entitled, under applicable non-
       bankruptcy law, to set off or credit against the Judgment if such Protected Party or Limited
       Protected Party were not entitled to the benefits of the Discharges, Releases, or Injunctions
       set forth herein. For the avoidance of doubt, a Limited Protected Party may be a Specified
       Person entitled to the judgment reduction provided for in this Article X.N with respect to
       an Abuse Cause of Action arising from or relating to Abuse that is not the subject of a Post-
       1975 Chartered Organization Abuse Claim.

               2.     Nothing herein shall prejudice or operate to preclude the right of any
       Specified Person to (a) provide notice of the Confirmation Order to any court or tribunal
       hearing an Abuse Cause of Action, (b) raise any issues, claims or defenses regarding the
       Judgment Reduction Amount, including the contractual liability and/or relative or
       comparative fault of any Person, including any Protected Party or Limited Protected Party,
       in any court or tribunal hearing any Abuse Cause of Action in accordance with applicable
       law or procedure, or (c) take discovery of Protected Parties or Limited Protected Parties in
       accordance with applicable law or procedure; provided, however, that nothing herein shall
       in any way modify or affect the Discharges, Releases or Injunctions. For the avoidance of
       doubt, nothing herein shall (i) be deemed to entitle a Plaintiff to more than a single
       satisfaction with respect to any Abuse Cause of Action or (ii) prejudice or operate to
       preclude the rights of any Specified Person to assert any claims or causes of action that
       have not been discharged, released, or enjoined under the Plan or Confirmation Order.

               3.     Each Plaintiff is hereby enjoined and restrained from seeking relief or
       collecting judgments against any Specified Person in a manner that fails to conform to the
       terms of this Article X.N.

              4.      If any Plaintiff enters into a settlement with any Person with respect to one
       or more causes of action based upon, arising from, or related to an Abuse Cause of Action,
       then such Plaintiff shall cause to be included, and in all events, the settlement shall be
       deemed to include, a dismissal, release and waiver of any Abuse Cause of Action with
       respect to such settlement.

        O.     Reservation of Rights. Notwithstanding any other provision of the Plan to the
contrary, no provision of this Article X shall be deemed or construed to satisfy, discharge, release
or enjoin claims by the Settlement Trust, Reorganized BSA, or any other Person, as the case may
be, against (1) the Settlement Trust for payment of Abuse Claims in accordance with the Trust
Distribution Procedures, (2) the Settlement Trust for the payment of Settlement Trust Expenses,
or (3) any Insurance Company that has not performed under an Insurance Policy (to the extent


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such Insurance Policy is not the subject of an Insurance Settlement Agree ment) or an Insurance
Settlement Agreement.

       P.      Disallowed Claims. On and after the Effective Date, the Debtors and Reorganized
BSA shall be fully and finally discharged of any and all liability or obligation on any and all
Disallowed Claims, and any order Disallowing a Claim that is not a Final Order as of the Effective
Date solely because of a Person’s right to move for reconsideration of such order pursuant to
section 502 of the Bankruptcy Code or Bankruptcy Rule 3008 shall nevertheless become and be
deemed to be a Final Order on the Effective Date.

         Q.      No Successor Liability. Except as otherwise expressly provided in the Plan,
Reorganized BSA does not, pursuant to the Plan or otherwise, assume, agree to perform, pay or
indemnify any Person, or otherwise have any responsibility for any liabilities or obligations of the
Debtors relating to or arising out of the operations of or assets of the Debtors, whether arising prior
to, on or after the Effective Date. Neither the Debtors, Reorganized BSA, nor the Settlem ent Trust
is, or shall be deemed to be, a successor to any of the Debtors by reason of any theory of law or
equity (except as otherwise provided in Article IV.C), and none shall have any successor or
transferee liability of any kind or character; provided, however, that Reorganized BSA and the
Settlement Trust shall assume and remain liable for their respective obligations specified in the
Plan and the Confirmation Order.

       R.      Indemnities.

               1.      Prepetition Indemnification and Reimbursement Obligations.               The
       respective obligations of the Debtors to indemnify and reimburse Persons who are or were
       directors, officers or employees of the Debtors on the Petition Date or at any time thereafter
       up to and including the Effective Date, against and for any obligations pursuant to the
       bylaws, applicable state or non-bankruptcy law, or specific agreement or any combination
       of the foregoing, shall, except with respect to any Perpetrator: (a) survive Confirmation of
       the Plan and remain unaffected thereby; (b) be assumed by Reorganized BSA as of the
       Effective Date; and (c) not be discharged under section 1141 of the Bankruptcy Code,
       irrespective of whether indemnification or reimbursement is owed in connection with any
       event occurring before, on or after the Petition Date. In furtherance of, and to implement
       the foregoing, as of the Effective Date, Reorganized BSA shall obtain and maintain in full
       force insurance for the benefit of each and all of the above-indemnified directors, officers
       and employees, at levels no less favorable than those existing as of the date of entry of the
       Confirmation Order, and for a period of no less than three (3) years following the Effective
       Date.

               2.      Plan Indemnity. In addition to the matters set forth above and not by way
       of limitation thereof, Reorganized BSA shall indemnify and hold harmless all Persons who
       are or were officers or directors of the Debtors on the Petition Date or at any time thereafter
       up to and including the Effective Date on account of and with respect to any claim, cause
       of action, liability, judgment, settlement, cost or expense (including attorneys’ fees) on
       account of claims or Causes of Action threatened or asserted by any third party against
       such officers or directors that seek contribution, indemnity, equitable indemnity, or any



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       similar claim, based upon or as the result of the assertion of primary claims against such
       third party by any representative of the Debtors’ Estates.

               3.      Limitation on Indemnification. Notwithstanding anything to the contrary
       set forth in the Plan or elsewhere, neither the Debtors, Reorganized BSA, the Local
       Councils, nor the Contributing Chartered Organizations, as applicable, shall be obligated
       to indemnify or hold harmless any Person for any claim, cause of action, liability,
       judgment, settlement, cost or expense that results primarily from (i) such Person’s bad
       faith, gross negligence or willful misconduct or (ii) an Abuse Claim.

        S.     The Official Committees and the Future Claimants’ Representative. Except as
otherwise described in the Settlement Trust Documents with respect to the Future Claimants’
Representative, the Official Committees and the Future Claimants’ Representative shall continue
in existence until the Effective Date, and after the Eff ective Date for the limited purposes of
prosecuting requests for payment of Professional Fee Claims for services rendered and
reimbursement of expenses incurred prior to the Effective Date. The Debtors shall pay the
reasonable fees and actual and necessary expenses incurred by the Official Committees and the
Future Claimants’ Representative up to the Effective Date, and after the Effective Date solely for
the purposes set forth in the preceding sentence, in accordance with the Compensation Procedures
Order, the Fee Examiner Order, and the terms of the Plan, including Article II. As of the Effective
Date, subject to continuation of the Official Committees for the limited purposes described above
as to Professional Fee Claims and unless extended by order (which may be sought by motion), the
members of the Official Committees shall be released and discharged from all further authority,
duties, responsibilities, liabilities, and obligations involving the Chapter 11 Cases and the Official
Committees shall be dissolved. Neither the Debtors nor Reorganized BSA have any obligation to
pay fees or expenses of any Professional retained by the Official Committees o r the Future
Claimants’ Representative that are earned or incurred before the Effective Date to the extent such
fees or expenses (or any portion thereof) qualify as Settlement Trust Expenses, in which case such
fees and expenses (or the applicable portion thereof) shall be paid by the Settlement Trust in
accordance with the Settlement Trust Documents.

                                          ARTICLE XI.

                               RETENTION OF JURISDICTION

        A.      Jurisdiction. Until the Chapter 11 Cases are closed, the Bankruptcy Court shall
retain the fullest and most extensive jurisdiction that is permissible, including the jurisdiction
necessary to ensure that the purposes and intent of the Plan are carried out. Except as otherwise
provided in the Plan or the Settlement Trust Agreement, the Bankruptcy Court shall retain
jurisdiction to hear and determine all Claims against and Interests in the Debtors, and to adjudicate
and enforce the Insurance Actions, the Settlement Trust Causes of Action, and all other Causes of
Action which may exist on behalf of the Debtors. Nothing contained here in shall prevent
Reorganized BSA or the Settlement Trust, as applicable, from taking such action as may be
necessary in the enforcement of any Estate Cause of Action, Insurance Action, Settlement Trust
Cause of Action, or other Cause of Action which the Debtors have or may have and which may
not have been enforced or prosecuted by the Debtors, which actions or other Causes of Action
shall survive Confirmation of the Plan and shall not be affected thereby except as specifically


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provided herein. Nothing contained herein concerning the retention of jurisdiction by the
Bankruptcy Court shall be deemed to be a finding or conclusion that (1) the Bankruptcy Court in
fact has jurisdiction with respect to any Insurance Action, (2) any such jurisdiction is exclusive
with respect to any Insurance Action, or (3) abstention or dismissal of any Insurance Action
pending in the Bankruptcy Court or the District Court as an adversary proceeding is or is not
advisable or warranted, so that another court can hear and determine such Insurance Action(s).
Any court other than the Bankruptcy Court that has jurisdiction over an Insurance Action shall
have the right to exercise such jurisdiction.

        B.      General Retention. Following Confirmation of the Plan, the administration of the
Chapter 11 Cases will continue until the Chapter 11 Cases are closed by a Final Order of the
Bankruptcy Court. The Bankruptcy Court shall also retain jurisdiction for the purpose of
classification of any Claims and the re-examination of Claims which have been Allowed for
purposes of voting, and the determination of such objections as may be filed with the Bankruptcy
Court with respect to any Claims. The failure by the Debtors or Reorganized BSA to object to, or
examine, any Claim for the purposes of voting, shall not be deemed a waiver of the rights of the
Debtors, Reorganized BSA, or the Settlement Trust, as the case may be, to object to or reexamine
such Claim in whole or part.

        C.     Specific Purposes. In addition to the foregoing, the Bankruptcy Court shall retain
jurisdiction over all matters arising out of, or relating to, the Chapter 11 Cases and the Plan,
including jurisdiction to:

             1.     modify the Plan after Confirmation pursuant to the provisions of the
Bankruptcy Code and the Bankruptcy Rules;
              2.      correct any defect, cure any omission, reconcile any inconsistency or make
any other necessary changes or modifications in or to the Plan, the Trust Documents or the
Confirmation Order as may be necessary to carry out the purposes and intent of the Plan, including
the adjustment of the date(s) of performance in the Plan in the event the Effective Date does not
occur as provided herein so that the intended effect of the Plan may be substantially realized
thereby;
               3.      assure performance by the Settlement Trust and the Disbursing Agent of
their respective obligations to make distributions under the Plan;
             4.      enforce and interpret the terms and conditions of the Plan, the Plan
Documents, the Settlement Trust Documents, the DST Agreement, and any Insurance Settlement
Agreements;
                5.        enter such orders or judgments, including injunctions (a) as are necessary
to enforce the title, rights and powers of Reorganized BSA and the Settlement Trust, (b) to execute,
implement, or consummate the provisions of the Plan, the Confirmation Order, and a ll contracts,
instruments, releases and other agreements or documents created in connection with the Plan or
the Confirmation Order, and (c) as are necessary to enable holders of Claims to pursue their rights
against any Person that may be liable therefor pursuant to applicable law or otherwise;
                6.      hear and determine any and all motions, adversary proceedings, contested
or litigated matters, and any other matters and grant or deny any applications involving the Debtors


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that may be pending on the Effective Date (which jurisdiction shall be non-exclusive as to any
such non-core matters);
               7.      hear and determine any motions or contested matters involving taxes, tax
refunds, tax attributes, tax benefits and similar or related matters, including contested matters
arising on account of transactions contemplated by the Plan, or relating to the period of
administration of the Chapter 11 Cases;
            8.      hear and determine all applications for compensation of Professionals and
reimbursement of expenses under sections 328, 330, 331, or 503(b) of the Bankruptcy Code;
               9.     hear and determine any Causes of Action arising during the period from the
Petition Date to the Effective Date, or in any way related to the Plan or the transactions
contemplated hereby, against the Debtors, Reorganized BSA, the Settlement Trust, the DST, and
their respective Representatives;
                10.  hear and determine any and all motions for the rejection, assumption or
assignment of Executory Contracts or Unexpired Leases and the Allowance of any Claims
resulting therefrom;
              11.    hear and determine such other matters and for such other purposes as may
be provided in the Confirmation Order;
              12.     hear and determine the Allowance and/or Disallowance of any Claims,
including Administrative Expense Claims, against or Interests in the Debtors or the ir Estates,
including any objections to any such Claims or Interests, and the compromise and settlement of
any Claim, including Administrative Expense Claims, against or Interest in the Debtors or their
Estates;
              13.     hear and resolve disputes concerning any reserves under the Plan or the
administration thereof;
               14.     hear and determine all questions and disputes regarding title to the assets of
the Debtors, their Estates or the Settlement Trust;
               15.     enter and implement such orders as are necessary or appropriate if the
Confirmation Order is for any reason or in any respect modified, stayed, reversed, revoked or
vacated, or if distributions pursuant to the Plan or under the Settlement Trust Documents are
enjoined or stayed;
             16.    hear and determine all questions and disputes regarding, and to enforce, the
Abuse Claims Settlement;
                 17.     hear and determine any Insurance Action, any Settlement Trust Cause of
Action and any similar claims, Causes of Action; provided, that (i) this Court’s jurisdiction over
any such Insurance Action, Settlement Trust Cause of Action, or similar claims, Causes of Action
shall be solely to the extent such actions involve bankruptcy issues or issues that are directly related
to or arise out of the Plan Documents or Confirmation Order, (ii) such retention of jurisdiction
shall not constitute a waiver of any rights of a Non-Settling Insurance Company to seek to remove
or withdraw the reference of any Insurance Action filed after the Effective Date; and (iii) any


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matter involving a Settling Insurance Company shall be governed by the applicable Insurance
Settlement Agreement;
             18.    hear and determine any other matters related hereto, including the
implementation and enforcement of all orders entered by the Bankruptcy Court in the Chapter 11
Cases;
                19.    resolve any disputes concerning whether a Person had sufficient notice of
the Chapter 11 Cases, the Disclosure Statement, any solicitation conducted in connection with the
Chapter 11 Cases, the Bar Date established in the Chapter 11 Cases, or any deadline for responding
or objecting to a Cure Amount, in each case, for the purpose of determining whether a Claim or
Interest is discharged hereunder or for any other purpose;
              20.      enter in aid of implementation of the Plan such orders as are necessary,
including the implementation and enforcement of the Injunctions, Releases, and Discharges
described herein, including the Channeling Injunction;
               21.     hear a petition for relief by a Specified Person or any other party in interest
in the event that a court or tribunal hearing an Abuse Cause of Action fails to apply the judgment
reduction provisions of Article X.N;
              22.   approve any Post-Effective Date Chartered Organization Settlement and
determine the adequacy of notice of a motion by the Settlement Trustee to approve such a
settlement;
               23.    approve any extension of the Insurance Settlement Period, approve any
Post-Effective Date Insurance Settlement and determine the adequacy of notice of a Post-Effective
Date Insurance Settlement provided by the Settlement Trustee;
               24.    hear and determine any questions and disputes pertaining to, and to enforce,
the Abuse Claims Settlement, including the Local Council Settlement Contribution, the
Contributing Chartered Organization Settlement Contribution, including the United Methodist
Settlement Contribution, the Participating Chartered Organization Settlement Contribution, the
Hartford Settlement Contribution, the Century and Chubb Companies Settlement Con tribution, the
Zurich Insurers Settlement Contribution, and the Clarendon Settlement Contribution;
              25.     hear and determine any questions and disputes pertaining to, and to enforce,
the JPM / Creditors’ Committee Settlement;
               26.   hear and determine any questions and disputes pertaining to, and to enforce,
the Insurance Settlement Agreements;
               27.     [Reserved]
              28.    hear and determine any questions and disputes pertaining to, and to enforce,
the United Methodist Settlement;
               29.   hear and determine any questions and disputes pertaining to, and to enforce,
the PSZJ Settlement;




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             30.   hear and determine all questions and disputes regarding matters pertaining
to the DST Agreement;
                31.     hear and determine all questions and disputes regarding matters pertaining
to discovery rights of the Settlement Trust and the related agreements that include, but not limited
to, the Plan, the Plan Documents, Settlement Trust Agreement, Trust Distribution Procedures, and
Document Appendix;
               32.     enter a Final Order or decree concluding or closing the Chapter 11 Cases;
and
                33.     to enter and implement such orders as may be necessary or appropriate if
any aspect of the Plan, the Settlement Trust, or the Confirmation Order is, for any reason or in any
respect, determined by a court to be inconsistent with, to violate, or insufficien t to satisfy any of
the terms, conditions, or other duties associated with any Abuse Insurance Policies; provided,
however, that (a) such orders shall not impair the Insurance Coverage Defenses or the rights,
claims, or defenses, if any, of any Insurance Company that are set forth or provided for in the Plan,
the Plan Documents, the Confirmation Order, or any other Final Orders entered in the Debtors’
Chapter 11 Cases, (b) this provision does not, in and of itself, grant this Court jurisdiction to hear
and decide disputes arising out of or relating to the Abuse Insurance Policies, and (c) all interested
parties, including any Insurance Company, reserve the right to oppose or object to any such motion
or order seeking such relief.
        As of the Effective Date, notwithstanding anything in this Article XI to the contrary, the
Restated Debt and Security Documents and any documents related thereto shall be governed by
the jurisdictional provisions thereof and the Bankruptcy Court shall not retain jurisdiction with
respect thereto.
        D.     Courts of Competent Jurisdiction. To the extent that the Bankruptcy Court is not
permitted under applicable law to preside over any of the foregoing matters, the reference to the
“Bankruptcy Court” in this Article XI shall be deemed to be replaced by the “District Court.” If
the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
without jurisdiction over any matter arising out of the Plan, such abstention, refusal, or failure of
jurisdiction shall have no effect upon and shall not control, prohibit, or limit the exercise of
jurisdiction by any other court having competent jurisdiction with respect to such matter.

                                          ARTICLE XII.

                               MISCELLANEOUS PROVISIONS

      A.      Closing of Chapter 11 Cases. After each Chapter 11 Case has been fully
administered, Reorganized BSA shall file with the Bankruptcy Court all documents required by
Bankruptcy Rule 3022 and any applicable order of the Bankruptcy Court to close such Chapter 11
Case.

       B.      Amendment or Modification of the Plan.

             1.     Plan Modifications. Subject to the terms of the JPM / Creditors’ Committee
       Term Sheet and the Insurance Settlement Agreements, the Debtors reserve the right, in


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       accordance with the Bankruptcy Code and the Bankruptcy Rules, to amend or mo dify the
       Plan prior to the entry of the Confirmation Order, including amendments or modifications
       to satisfy section 1129(b) of the Bankruptcy Code, and after entry of the Confirmation
       Order, the Debtors may, upon order of the Bankruptcy Court, amend, modify or supplement
       the Plan in the manner provided for by section 1127 of the Bankruptcy Code or as otherwise
       permitted by law, in each case without additional disclosure pursuant to section 1125 of
       the Bankruptcy Code unless section 1127 of the Bankruptcy Code requires additional
       disclosure. In addition, after the Confirmation Date, so long as such action does not
       materially and adversely affect the treatment of holders of Allowed Claims pursuant to the
       Plan, the Debtors may remedy any defect or omission or reconcile any inconsistencies in
       the Plan or the Confirmation Order with respect to such matters as may be necessary to
       carry out the purposes or effects of the Plan, and any holder of a Claim that has accepted
       the Plan shall be deemed to have accepted the Plan as amended, modified, or supplemented.
       All amendments to the Plan (a) must be reasonably acceptable to JPM and the Creditors’
       Committee to the extent they pertain to the treatment of the 2010 Credit Facility Claims,
       the 2019 RCF Claims, the 2010 Bond Claims, or the 2012 Bond Claims (in the case of
       JPM) or Convenience Claims, General Unsecured Claims, or Non-Abuse Litigation Claims
       (in the case of the Creditors’ Committee), (b) shall not be inconsistent with the terms of
       the Insurance Settlement Agreements, and (c) shall not be inconsistent with the terms of
       the United Methodist Settlement Agreement. The designation of Chartered Organizations
       as Contributing Chartered Organizations or Participating Chartered Organizations and the
       designation of Non-Settling Insurance Companies as Settling Insurance Companies after
       the Effective Date in accordance with Article IV.J or Article IV.K shall not be a
       modification or amendment to the Plan and instead is an act that may be done to effectuate
       the terms of the Plan.

              2.      Other Amendments. Before the Effective Date, the Debtors may make
       appropriate technical adjustments and modifications to the Plan and the documents
       contained in the Plan Supplement without further order or approval of the Bankruptcy
       Court.

        C.      Revocation or Withdrawal of Plan. The Debtors reserve the right to revoke or
withdraw the Plan prior to the Effective Date. If the Plan has been revoked or withdrawn prior to
the Effective Date, or if Confirmation of the Plan or the occurrence of the Effective Date does not
occur, then: (1) the Plan shall be null and void in all respects; (2) any settlement or compromise
embodied in the Plan (including the fixing or limiting to an amount any Claim or Interest or Class
of Claims or Interests), assumption of executory contracts or unexpired leases affected by the Plan,
and any document or agreement executed pursuant to the Plan, including the Settlement Trust
Documents, shall be deemed null and void (except that the Insurance Settlement Agreements shall
remain in full force and effect to the extent provided in such agreements in accordance with their
terms); and (3) nothing contained in the Plan shall (i) constitute a waiver or release of any Claim
against, or any Interest in, the Debtors or any other Person; (ii) prejudice in any manner the rights
of the Debtors or any other Person; or (iii) constitute an admission of any sort by the Debtors or
any other Person.

      D.      Request for Expedited Determination of Taxes. The Debtors and Reorganized
BSA, as applicable, shall have the right to request an expedited determination under section 505(b)


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of the Bankruptcy Code with respect to tax returns filed, or to be filed, for any and all taxable
periods ending after the Petition Date to and including the Effective Date.

        E.      Non-Severability of Plan Provisions. If, before the entry of the Confirmation Order,
any term or provision of the Plan is held by the Bankruptcy Court to be invalid, void, or
unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have the power to alter
and interpret such term or provision to make it valid or enforceable to the maximum extent
practicable, consistent with the original purpose of the term or provision held to be invalid, void,
or unenforceable, and such term or provision shall then be applicable as altered or interpr eted.
Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
provisions of the Plan will remain in full force and effect and will in no way be affected, impaired
or invalidated by such holding, alteration, or interpretation, except as provided in the Insurance
Settlement Agreements with respect to the Settling Insurance Companies, as applicable. The
Confirmation Order shall constitute a judicial determination and shall provide that each term and
provision of the Plan, as it may have been altered or interpreted in accordance with the foregoing,
is (1) valid and enforceable pursuant to its terms, (2) integral to the Plan and may not be deleted
or modified without the consent of the Debtors or Reorganized BSA (as the c ase may be), and
(3) nonseverable and mutually dependent.

       F.     Notices. All notices, requests, and demands to or upon the Debtors or Reorganized
BSA to be effective shall be in writing (including by email transmission) and, unless otherwise
expressly provided herein, shall be deemed to have been duly given or made when actually
delivered, addressed as follows:

                       Boy Scouts of America
                       1325 W. Walnut Hill Lane
                       Irving, Texas 75015
                       Attn: Joseph Zirkman, General Counsel
                       Email: Joseph.Zirkman@scouting.org

                       with copies to:

                       White & Case LLP
                       1221 Avenue of the Americas
                       New York, New York 10020
                       Attn: Jessica C. Lauria
                       Email: jessica.lauria@whitecase.com

                       – and –




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                      White & Case LLP
                      111 South Wacker Drive, Suite 5100
                      Chicago, Illinois 60606
                      Attn: Michael C. Andolina
                            Matthew E. Linder
                      Email: mandolina@whitecase.com
                             mlinder@whitecase.com

                      – and –

                      Morris, Nichols, Arsht & Tunnell LLP
                      1201 North Market Street, 16th Floor
                      P.O. Box 1347
                      Wilmington, Delaware 19899-1347
                      Attn: Derek C. Abbott
                      Email: dabbott@morrisnichols.com

         G.    Notices to Other Persons. After the occurrence of the Effective Date, Reorganized
BSA has authority to send a notice to any Person providing that to continue to receive documents
pursuant to Bankruptcy Rule 2002, such Person must file a renewed request to receive documents
pursuant to Bankruptcy Rule 2002; provided, however, that the U.S. Trustee need not file such a
renewed request and shall continue to receive documents without any further action being
necessary. After the occurrence of the Effective Date, Reorganized BSA is authorized to limit the
list of Persons receiving documents pursuant to Bankruptcy Rule 2002 to the U.S. Trustee and
those Persons that have filed such renewed requests:

        H.     Governing Law. Except to the extent that the Bankruptcy Code or other federal
law is applicable, or to the extent an exhibit hereto or a schedule in the Plan Supplement or any
other Plan Document provides otherwise, the rights, duties, and obligations arising under the Plan
shall be governed by, and construed and enforced in accordance with, the laws of the State of
Delaware, without giving effect to the principles of conflict of laws thereof; provided, however,
that governance matters relating to Reorganized BSA shall be governed by the laws of the District
of Columbia.

       I.      [Reserved].

        J.     Timing of Distributions or Actions. In the event that any payment, Distribution,
act or deadline under the Plan is required to be made or performed or occurs on a day that is not a
Business Day, then such payment, Distribution, act or deadline shall be deemed to occur on the
next succeeding Business Day, but if so made, performed or completed by such next succeeding
Business Day, shall be deemed to have been completed or to have occurred as of the required date.

        K.      Deemed Acts. Whenever an act or event is expressed under the Plan to have been
deemed done or to have occurred, it shall be deemed to have been done or to have occurred by
virtue of the Plan or the Confirmation Order without any further act by any Perso n.




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        L.     Entire Agreement. The Plan Documents set forth the entire agreement and
undertakings relating to the subject matter thereof and supersede all prior discussions, negotiations,
understandings and documents. No Person shall be bound by any terms, conditions, definitions,
warranties, understandings, or representations with respect to the subject matter hereof, other than
as expressly provided for in the Plan or the other Plan Documents or as may hereafter be agreed
to by the affected parties in writing.

         M.     Plan Supplement. Any and all exhibits, lists, or schedules referred to herein but not
filed with the Plan shall be contained in the Plan Supplement to be filed with the Clerk of the
Bankruptcy Court prior to the Confirmation Hearing on the Plan, and such Plan Supplement is
incorporated into and is part of the Plan as if set forth in full herein. The Plan Supplement will be
available for inspection in the office of the Clerk of the Bankruptcy Court during normal court
hours, at       the    website maintained by the                   Notice and Claims Agent
(https://cases.omniagentsolutions.com/BSA), and at the Bankruptcy Court’s website
(ecf.deb.uscourts.gov).

       N.      Withholding of Taxes. The Disbursing Agent, the Settlement Trust or any other
applicable withholding agent, as applicable, shall withhold from any assets or property distributed
under the Plan any assets or property which must be withheld for foreign, federal, state and local
taxes payable with respect thereto or payable by the Person entitled to such assets to the extent
required by applicable law.

        O.     Payment of Quarterly Fees. All Quarterly Fees due and payable prior to the
Effective Date shall be paid on or before the Effective Date. The Reorganized BSA shall pay all
such fees that arise after the Effective Date, but before the closing of the Chapter 11 Cases, and
shall comply with all applicable statutory reporting requirements.

        P.      Effective Date Actions Simultaneous. Unless the Plan or the Confirmation Order
provides otherwise, actions required to be taken on the Effective Date shall take place and be
deemed to have occurred simultaneously, and no such action shall be deemed to have occurred
prior to the taking of any other such action.

        Q.     Consent to Jurisdiction. Upon default under the Plan, Reorganized BSA, the
Settlement Trust, the Settlement Trustee, the Official Committees, the Future Claimants’
Representative, and the Protected Parties, or any successor thereto, respectively, consent to the
jurisdiction of the Bankruptcy Court, and agree that it shall be the preferred forum for all
proceedings relating to any such default.




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Dated: September 6, 2022           Boy Scouts of America
                                   Delaware BSA, LLC

                                   Roger C. Mosby
                                   Roger C. Mosby
                                   Chief Executive Officer and President
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                        EXHIBIT A

           TRUST DISTRIBUTION PROCEDURES
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                                 BOY SCOUTS OF AMERICA

             TRUST DISTRIBUTION PROCEDURES FOR ABUSE CLAIMS

                                    ARTICLE I
                         PURPOSE AND GENERAL GUIDELINES

         A.      Purpose. The purpose of the Settlement Trust is to, among other things, assume
liability for all Abuse Claims, to hold, preserve, maximize and administer the Settlement Trust
Assets, and to employ procedures to allow valid Abuse Claims as further set forth herein in
accordance with section 502 of the Bankruptcy Code and/or applicable law (each, an “ Allowed
Abuse Claim”), determine an allowed liability amount for each Allowed Abuse Claim (the
“Allowed Claim Amount”), determine payment methodology and direct payment of all Allowed
Abuse Claims, and obtain insurance coverage for the Allowed Claim Amount of such Allowed
Abuse Claims that are Insured Abuse Claims (as defined below). These Trust Distribution
Procedures (the “TDP”) are adopted pursuant to the Settlement Trust Agreement by the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). These TDP
are intended to provide substantially similar treatment for Allowed Abuse Claims, including Future
Abuse Claims. These TDP, inclusive of the various options and elections set forth herein,
including the Expedited Distribution Election, the Tort System Alternative and the Independent
Review Option, provide the means for resolving all Abuse Claims for which the Protected Parties
have or are alleged to have legal responsibility as provided in and required by the Plan, the
Confirmation Order, and the Settlement Trust Agreement. The Settlement Trustee shall implement
and administer these TDP in consultation with the Claims Administrators, Future Claimants’
Representative, and Trust Professionals with the goals of securing the just, speedy, and cost -
efficient determination of every Abuse Claim, providing substantially similar treatment to holders
of similar, legally valid and supported Allowed Abuse Claims in accordance with the procedures
set forth herein, and obtaining and maximizing the benefits of the Settlement Trust Assets.

       B.      General Principles. To achieve maximum fairness and efficiency, and recoveries
for holders of Allowed Abuse Claims, these TDP are founded on the following principles:

               1.      objective Claim eligibility criteria;

               2.      clear and reliable proof requirements;

               3.      administrative transparency;

               4.      a rigorous review and evidentiary process that requires the Settlement
                       Trustee to determine Allowed Claim Amounts in accordance with
                       applicable law;

               5.      prevention and detection of any fraud; and

               6.      independence of the Settlement Trust and Settlement Trustee.

       C.      Payment of Allowed Abuse Claims and Insurance Recoveries. Pursuant to the
terms of the Plan, the Settlement Trust has assumed the Debtors’ legal liability for, and obligation


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to pay, Allowed Abuse Claims. The Settlement Trust Assets, including the proceeds of the
assigned insurance rights, shall be used to fund distributions to Abuse Claimants under these TDP.
The amounts that Abuse Claimants will ultimately be paid on account of their Allowed Abuse
Claims will depend on, among other things, the Settlement Trust’s ability to liquidate and recover
the proceeds of the assigned insurance rights and other causes of action. The amount of any
installment payments, initial payments, or payment percentages established under these TDP or
the Settlement Trust Agreement are not the equivalent of (i) any Abuse Claimant’s Allowed Claim
Amount or (ii) the right to payment that the holder of an Allowed Abuse Claim has against the
Debtors and/or Protected Parties, as assumed by the Settlement Trust.

       D.     Sole and Exclusive Method. These TDP and any procedures designated in these
TDP, including the Individual Review Option, shall be the sole and exclusive methods by which
an Abuse Claimant may seek allowance and distribution on an Abuse Claim that is subject to the
Channeling Injunction with respect to the Protected Parties.

        E.     Interpretation. The terms of the Plan and Confirmation Order shall prevail if there
is any discrepancy between the terms of the Plan or Confirmation Order and the terms of these
TDP.

        F.       Confidentiality. All submissions to the Settlement Trust by an Abuse Claimant
shall be treated as confidential and shall be protected by all applicable state and federal privileges,
including those directly applicable to settlement discussions. The Settlement Trust will preserve
the confidentiality of such submissions, and shall disclose the contents thereof only to such persons
as authorized by the Abuse Claimant, or in response to a valid subpoena of such materials issued
by the Bankruptcy Court, a Delaware state court, the United States District Court for the District
of Delaware or any other court of competent jurisdiction. Notwithstanding anything in the
foregoing to the contrary, the Settlement Trust may disclose information, documents, or other
materials (i) reasonably necessary in the Settlement Trust’s judgment to preserve, obtain, litigate,
resolve, or settle insurance coverage, or to comply with an applicable obligation under an Insurance
Policy, indemnity, or settlement agreement, or to pursue any other claims transferred or assigned
to the Settlement Trust by the holder of the Abuse Claim or operation of the Plan and (ii) subject
to the consent of a Direct Abuse Claimant or with redactions or other mechanism to preserve the
confidentiality of a Direct Abuse Claimant, where the submission contains non-privileged
information that is relevant to the Allowed Amount of another Direct Abuse Claimant’s Claim.
Nothing in these TDP shall be construed to authorize the Settlement Trustee to waive privilege or
disseminate documents or other information to any Abuse Claimants or their respective counsel,
except as provided for in the Document Appendix.

                                   ARTICLE II
                    DEFINITIONS AND RULES OF INTERPRETATION

        A.      Incorporation of Plan Definitions. Capitalized terms used but not defined in these
TDP have the meanings ascribed to them in the Plan or the Settlement Trust Agreement and such
definitions are incorporated in these TDP by reference. To the extent that a term is defined in these
TDP and the Plan and/or the Settlement Trust Agreement, the definition contained in these TDP
controls.



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B.       Definitions. The following terms have the respective meanings set forth below:

        1.      “Abuse Claim” shall have the meaning ascribed to it in the Plan, which
definition includes Direct Abuse Claims, Indirect Abuse Claims, and Future Abuse Claims.

       2.     “Abuse Claimants” shall mean the holder of a Direct Abuse Claim, an
Indirect Abuse Claim, or a Future Abuse Claim.

        3.     “Base Matrix Value” shall mean the base case value for each tier of Abuse
Type (labeled as such in the Claims Matrix and more specifically defined and described in
Article VIII.C) to be used to value Abuse Claims and that may be identified in connection
with the description of the Scaling Factors in Article VIII.C.

        4.     “Claims Matrix” shall mean (as specifically defined and described in
Article VIII.B) a table scheduling the six tiers of Abuse Types, and identifying the Base
Matrix Value, and Maximum Matrix Value for each tier.

       5.     “CPI-U” shall mean the Consumer Price Index For All Urban Consumers:
All Items Less Food & Energy, published by the United States Department of Labor,
Bureau of Labor Statistics.

      6.     “Direct Abuse Claimant” or “Survivor” shall mean the holder of a Direct
Abuse Claim or a Future Abuse Claim.

         7.     “Indirect Abuse Claimant” shall mean the holder of an Indirect Abuse
Claim.

       8.      “Exigent Health Claim” shall mean a Direct Abuse Claim for which the
Direct Abuse Claimant has provided a declaration under penalty of perjury from a
physician who has examined the Direct Abuse Claimant within one hundred and twenty
(120) days of the declaration in which the physician states that there is substantial medical
doubt that the Direct Abuse Claimant will survive beyond six (6) months from the date of
the declaration.

        9.      “FIFO” shall mean “first-in-first-out” and refers to the impartial basis for
establishing a sequence pursuant to which Abuse Claims shall be determined and paid by
the Settlement Trust.

       10.    “FIFO Processing Queue” shall mean the FIFO line-up on which the
Settlement Trust reviews Trust Claims Submissions.

        11.    “Maximum Matrix Value” shall mean the value for each tier of Abuse
Type (labeled as such in the Claims Matrix and more specifically defined and described in
Article VIII.B) that represents the maximum Allowed Claim Amount achievable through
the matrix calculation for an Allowed Abuse Claim assigned to a given tier after application
of the Scaling Factors described in Article VIII.C.

         12.    “Mixed Claim” shall have the meaning ascribed to it in the Plan.


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              13.     “Non-BSA Sourced Assets” shall mean Settlement Trust Assets that
       represent assets received as a result of or in connection with a global settlement between
       the Debtors or the Settlement Trust, on the one hand, and a Chartered Organization that is
       or becomes a Protected Party, on the other hand. For the avoidance of doubt, Non -BSA
       Sourced Assets shall not include any assets received from the Debtors, the Local Councils,
       or any Settling Insurance Companies.

               14.      “Scaling Factors” shall mean (as specifically defined and described in
       Article VIII.C) the factors identified to consider with respect to each Abuse Claim and to
       apply to the Base Matrix Value for the applicable tier of Abuse Type for such Abuse Claim
       to arrive at its Proposed Allowed Claim Amount.

        C.      Interpretation; Application of Definitions and Rules of Construction. For
purposes of these TDP, unless otherwise provided herein: (1) whenever from the context it is
appropriate, each term, whether stated in the singular or the plural, will include both the singular
and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall include the
masculine, feminine, and the neuter gender; (2) any reference to a person as a holder of a Claim
includes that person’s successors and assigns; (3) the words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to these TDP as a whole and not to any
particular article, section, subsection, or clause; (4) the words “include” and “including,” and
variations thereof, shall not be deemed to be terms of limitation and shall be deemed to be followed
by the words “without limitation;” (5) any effectuating provisions of these TDP may be reasonably
interpreted by the Settlement Trustee in such a manner that is consistent with the overall purpose
and intent of these TDP without further notice to or action, order, or approval of the Bankruptcy
Court; (6) the headings in these TDP are for convenience of reference only and shall not limit or
otherwise affect the provisions hereof; (7) in computing any period of time prescribed or allowed
by these TDP, unless otherwise expressly provided herein, the provisions of Bankruptcy Rule
9006(a) shall apply; (8) “or” is not exclusive; and (9) all provisions requiring the consent of a
person shall be deemed to mean that such consent shall not be unreasonably withheld.

                                        ARTICLE III
                                   TDP ADMINISTRATION

        A.     Administration. Pursuant to the Plan and the Settlement Trust Agreement, the
Settlement Trust and these TDP shall be administered by the Settlement Trustee in consultation
with the STAC, which represents the interests of holders of present Abuse Claims in the
administration of the Settlement Trust, and the Future Claimants’ Representative, who represents
the interests of holders of Future Abuse Claims. The Claims Administrators shall assist the
Settlement Trustee in the resolution of Abuse Claims in accordance with these TDP and provide
information necessary for the Settlement Trustee to implement these TDP.

        B.     Powers and Obligations. The powers and obligations of the Settlement Trustee,
the STAC, the Future Claimants’ Representative, and the Claims Administrators are set forth in
the Settlement Trust Agreement. The STAC and the Future Claimants’ Representative shall have
no authority or ability to modify, reject, or influence any claim allowance or Allowed Claim
Amount determination under these TDP.



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        C.     Consent Procedures. The Settlement Trustee shall obtain the consent of the STAC
and the Future Claimants’ Representative on any amendments to these TDP pursuant to
Article XIV.B below, and on such matters as are otherwise required below and in Article 1.6 of
the Settlement Trust Agreement. Such consent shall not be unreasonably withheld.

                                      ARTICLE IV
                                 CLAIMANT ELIGIBILITY

       A.     Direct Abuse Claims. To be eligible to potentially receive compensation from the
Settlement Trust on account of a Direct Abuse Claim, a Direct Abuse Claimant, other than holders
of Future Abuse Claims must:

               (1)    have a Direct Abuse Claim;

               (2)    have timely submitted an Abuse Claim Proof of Claim or Trust Claim
                      Submission to the Settlement Trust as provided below; and

               (3)    submit supporting documentation and evidence to the Settlement Trust as
                      provided below.

       Direct Abuse Claims can only be timely submitted as follows:

        (i)    a Direct Abuse Claim for which a Proof of Claim was filed in the Chapter 11 Cases
before the Bar Date or if determined timely by the Bankruptcy Court (each a “Chapter 11 POC”)
shall, without any further action by the Abuse Claimant, be deemed a timely submitted Abuse
Proof of Claim to the Settlement Trust;

        (ii)   a Direct Abuse Claim alleging abuse against a Local Council (a) for which, as of
the time the Claim is submitted to the Settlement Trust in accordance with the Settlement Trustee’s
designated procedures, a pending state court action had been timely filed under state law naming
the Local Council as a defendant or (b) which is submitted to the Settlement Trust at a time when
the Claim would be timely under applicable state law if a state court action were filed against the
Local Council on the date on which the Direct Abuse Claim is submitted to the Settlement Trust,
shall be deemed a timely submitted Abuse Proof of Claim to the Settlement Trust; or

        (iii)   a Direct Abuse Claim alleging abuse against any Protected Party other than a Local
Council (a) for which, as of the time the Claim is submitted to the Settlement Trust in accordance
with the Settlement Trustee’s designated procedures, a pending state court action had been timely
filed under state law naming the Protected Party as a defendant or (b) which is submitted to the
Settlement Trust at a time when the Claim and would be (x) timely under applicable state law if a
state court action were filed against the Protected Party on the date on which the Direct Abuse
Claim is submitted to the Settlement Trust and (y) meets any applicable deadline that may be set
by the Bankruptcy Court in connection with such Protected Party becoming a Protected Party in
accordance with the Plan and Confirmation Order, shall be deemed a timely submitted Abuse Proof
of Claim to the Settlement Trust.

      Any Direct Abuse Claim that is not timely submitted based on the foregoing shall be
deemed untimely and Disallowed.

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       B.     Indirect Abuse Claims.1 To be eligible to receive compensation from the
Settlement Trust, an Indirect Abuse Claimant:

                (1)     must have an Indirect Abuse Claim that satisfies the requirements of the Bar
                        Date Order (to the extent applicable);

                (2)     must have an Indirect Abuse Claim that is not subject to (a) disallowance
                        under section 502 of the Bankruptcy Code, including subsection (e) thereof,
                        (subject to the right of the holder of the Indirect Abuse Claim to seek
                        reconsideration by the Settlement Trustee under section 502(j) of the
                        Bankruptcy Code), or is not otherwise legally invalid, or (b) subordination
                        under sections 509(c) or 510 of the Bankruptcy Code, or otherwise under
                        applicable law; and

                (3)     must establish to the satisfaction of the Settlement Trustee or, to the extent
                        applicable, by a final determination in an Insurance Action that:

                        (a)     such Indirect Abuse Claimant has paid in full all or the Claim
                                holder’s total share of the liability and/obligation of the Settlement
                                Trust to a Direct Abuse Claimant to whom the Settlement Trust
                                would otherwise have had a liability or obligation under these TDP
                                (as to which the holder of the Allowed Indirect Abuse Claim seeks
                                payment);

                        (b)     the Indirect Abuse Claimant has forever and fully released the
                                Settlement Trust and the Protected Parties from all liability for or
                                related to the subject Direct Abuse Claim (other than the Indirect
                                Abuse Claimant’s assertion of its Indirect Abuse Claim); and

                        (c)     the Indirect Abuse Claim is not otherwise subject to a valid defense,
                                including, without limitation, that such Indirect Abuse Claim is
                                barred by a statute of limitations or repose or by other applicable
                                law.

In no event shall any Indirect Abuse Claimant have any rights against the Settlement Trust superior
to the rights that the Direct Abuse Claimant to whose claim the Indirect Abuse Claim relates,

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    Indirect Abuse Claims may include claims for the payment of defense costs, deductibles or
    indemnification obligations; provided that the Plan’s Discharge Injunction, Channeling Injunction,
    Insurance Entity Injunction and Plan Documents shall not be deemed to preclude a Non-Settling
    Insurance Company from exercising its rights of setoff and recoupment (to the extent setoff and
    recoupment are permitted under applicable law) against the Settlement Trust as to any deductible
    obligation on account of an Abuse Claim that has been or could have been asserted against any
    Protected Party but for the Discharge Injunction, Channeling Injunction or the Insurance Entity
    Injunction; provided that, the Settlement Trust and Protected Parties reserve all rights to dispute the
    ability for a Non-Settling Insurance Company to exercise such rights pursuant to the applicable
    Insurance Policy, related deductible agreement, the Plan Documents as amended by this section, and
    any applicable law.


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would have against the Settlement Trust, including any rights with respect to timing, amount,
percentage, priority, or manner of payment. No Indirect Abuse Claim may be liquidated and paid
in an amount that exceeds what the Indirect Abuse Claimant has paid to the related Direct Abuse
Claimant or to the Settlement Trust in respect of such claim for which the Settlement Trust would
have liability, and in no event shall any Indirect Abuse Claim exceed the Allowed Claim Amount
of the related Direct Abuse Claim, provided that an Indirect Abuse Claimant may assert against
the Settlement Trust an Indirect Abuse Claim for the recovery of defense costs solely to the extent
permitted under applicable law.

        C.     Future Abuse Claims. To be eligible to potentially receive compensation from
the Settlement Trust on account of a Future Abuse Claim, a Future Abuse Claimant must:

               (1)    have a Direct Abuse Claim that arises from Abuse that occurred prior to the
                      Petition Date;

               (2)    as of the date immediately preceding the Petition Date, had not attained
                      eighteen (18) years of age or was not aware of such Direct Abuse Claim as
                      a result of “repressed memory,” to the extent the concept of repressed
                      memory is recognized by the highest appellate court of the state or territory
                      where the claim arose;

               (3)    submit the Future Abuse Claim to the Settlement Trust in accordance with
                      these TDP, (i) at a time when the Claim would be timely under applicable
                      state law if a state court action were filed on the date on which the Future
                      Abuse Claim is submitted to the Settlement Trust, or (ii), if the Future Abuse
                      Claim is not timely under (i) above, it will be eliminated or decreased in
                      accordance with Article VIII.E(iii) below; and

               (4)    have not filed a Chapter 11 POC.

Future Abuse Claims that meet the foregoing eligibility criteria shall be treated as Direct Abuse
Claims hereunder.

                                     ARTICLE V
                             GENERAL TRUST PROCEDURES

       A.      Document Appendix. As more fully described in the Document Appendix, the
Settlement Trustee may require other parties to the Document Appendix and third parties to
provide the Settlement Trust with documents, witnesses, or other information as provided therein
(the “Document Obligations”).

       B.       Document Access. The Settlement Trust shall afford access for Direct Abuse
Claimants to relevant, otherwise discoverable non-privileged information and documents obtained
by the Settlement Trust pursuant to the Document Appendix to facilitate their submissions with
respect to their Direct Abuse Claims. Such access shall include IV files (the Volunteer Screening
Database), Troop Rosters, and non-privileged information and documents provided to the
Settlement Trust by Direct Abuse Claimants that are not confidential and are relevant to the
Allowed Amount of other Direct Abuse Claimants’ Claims. A court of competent jurisdiction

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shall be able to determine whether allegedly privileged documents should be required to be
produced by the Settlement Trust. The Settlement Trust also may perform any and all obligations
necessary to recover assigned proceeds under the assigned insurance rights in connection with the
administration of these TDP.

        C.      Assignment of Insurance Rights. The Bankruptcy Court has authorized the
Insurance Assignment pursuant to the Plan and the Confirmation Order, and the Settlement Trust
has received the assignment and transfer of the Insurance Actions, the Insurance Action
Recoveries, the Insurance Settlement Agreements (if applicable), the Insurance Coverage, and all
other rights or obligations under or with respect to the Insurance Policies (but not the policies
themselves) in accordance with the Bankruptcy Code. Nothing in these TDP shall modify, amend,
or supplement, or be interpreted as modifying, amending, or supplementing, the terms of any
Insurance Policy or rights and obligations under any Insurance Policy assigned to the Settlement
Trust to the extent such rights and obligations are otherwise available under applicable law and
subject to the Plan and Confirmation Order. The rights and obligations, if any, of any Non-Settling
Insurance Company relating to these TDP, or any provision hereof, shall be determined pursuant
to the terms and provisions of the Insurance Policies and applicable law. Notwithstanding the
foregoing, the Settlement Trust, rather than any Protected Party, shall satisfy, to the extent required
under the relevant policies and applicable law, any retrospective premiums, deductibles, and self-
insured retentions arising out of any Abuse Claims under the Abuse Insurance Policies. In the
event that a Non-Settling Insurance Company pays such self -insured retention and is entitled to
reimbursement from the Settlement Trust under applicable law, such Non -Settling Insurance
Company shall receive that reimbursement in the form of a set-off against any claim for coverage
by the Settlement Trust against that Non-Settling Insurance Company with respect to the relevant
Abuse Claim. Nothing herein shall obligate any Non-Settling Insurance Company to advance any
deductible or self-insured retention, unless otherwise required by applicable law.

        D.    Deceased Abuse Survivor. The Settlement Trustee shall consider, and if an
Allowed Claim Amount is determined, pay under these TDP, the claim of a deceased Direct Abuse
Claimant without regard to the Direct Abuse Claimant’s death, except that the Settlement Trustee
may require evidence that the person submitting the claim on behalf of the decedent is authorized
to do so.

        E.     Statute of Limitations or Repose. The statute of limitations, statute of repose,
and the choice of law determination applicable to an Abuse Claim against the Settlement Trust
shall be determined by reference to the jurisdiction where such Abuse Claim was pending on the
Petition Date (so long as the Protected Party was subject to personal jurisdiction in that location),
or where such Abuse Claim could have been timely and properly filed as asserted by the Abuse
Claimant under applicable law.

                                      ARTICLE VI
                                EXPEDITED DISTRIBUTIONS

         A.    Minimum Payment Criteria. A Direct Abuse Claimant who meets the following
criteria may elect to resolve his or her Direct Abuse Claim for an expedited distribution of $3,500
(the “Expedited Distribution”): (i) the Direct Abuse Claimant elects to resolve his or her Direct
Abuse Claim for the Expedited Distribution in accordance with the Plan and Confirmation Order


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(the “Expedited Distribution Election”); (ii) in connection with the Expedited Distribution
Election, the Direct Abuse Claimant has timely submitted to the Settlement Trust a prope rly and
substantially completed, non-duplicative Chapter 11 POC or Future Abuse Claim; and (iii) the
Direct Abuse Claimant (or an executor) has personally signed his or her Proof of Claim or Future
Abuse Claim attesting to the truth of its contents under penalty of perjury, or supplements his or
her Abuse Claim Proof of Claim to so provide such verification. Direct Abuse Claimants that
make the Expedited Distribution Election will not have to submit any additional information to the
Settlement Trust to receive payment of the Expedited Distribution from the Settlement Trust.

        B.      Process and Payment of Expedited Distributions. Direct Abuse Claimants who
have properly made the Expedited Distribution Election and who met the criteria set forth in
Article VI.A(ii) and (iii) above, shall be entitled to receive their Expedited Payment upon
executing an appropriate release, which shall include a release of the Settlement Trust, the
Protected Parties, and all Chartered Organizations. The form of release agreement th at a Direct
Abuse Claimant who makes the Expedited Distribution Election must execute is attached as
Exhibit A. A Direct Abuse Claimant who does not make the Expedited Distribution Election and
a Future Abuse Claimant who does not elect to receive the Expedited Distribution in accordance
with the deadlines and procedures established by the Settlement Trust may not later elect to receive
the Expedited Distribution. A Direct Abuse Claimant who makes the Expedited Distribution
Election (or Future Abuse Claimant who elects to receive the Expedited Distribution) shall have
no other remedies with respect to any Direct Abuse Claim he or she has against the Settlement
Trust, Protected Parties, Chartered Organizations, or any Non-Settling Insurance Company. Direct
Abuse Claimants that make the Expedited Distribution Election (or Future Abuse Claimant who
elects to receive the Expedited Distribution) will not be eligible to receive any further distribution
on account of their Direct Abuse Claim pursuant to these TDP. The Settlement Trustee shall not
seek reimbursement for any Expedited Distribution from any Non -Settling Insurance Company.
An Abuse Claim resolved via Expedited Distribution shall not be considered an Insured Abuse
Claim (as defined below).

                                      ARTICLE VII
                              CLAIMS ALLOWANCE PROCESS

        A.      Trust Claim Submissions. Each Abuse Claimant that does not make the
Expedited Distribution Election may instead elect (1) to pursue recovery from the Settlement Trust
pursuant to these TDP must submit his or her Abuse Claim for allowance and potential valuation
and determination of insurance status by the Settlement Trustee pursuant to the requirements set
forth herein (each, a “Trust Claim Submission”) or (2) to pursue the Independent Review Option,
as set forth therein. In order to properly make a Trust Claim Submission, each submitting Abuse
Claimant must (i) complete under oath a questionnaire to be developed by the Settlement Trustee
and such signature and oath must be of the Abuse Claimant individually (or of an executor); (ii)
produce all records and documents in his or her possession, custody or control related to the Abuse
Claim, including all documents pertaining to all settlements, awards, or contributions already
received or that are expected to be received from a Protected Party or other sources; and (iii)
execute an agreement to be provided or made available by the Settlement Trust with the
questionnaire (1) to produce any further records and documents in his or her possession, custody
or control related to the Abuse Claim reasonably requested by the Settlement Trustee, (2) consent
to and agree to cooperate in any examinations requested by the Settlement Trustee (including by

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healthcare professionals selected by the Settlement Trustee) (a “Trustee Interview”); and (3)
consent to and agree to cooperate in a written and/or oral examination under oath if requested to
do so by the Settlement Trustee. The questionnaire shall be approved by the STAC and the Future
Claims Representative but, at a minimum, will require Direct Abuse Claimants to confirm his/her
name, date of birth, home address, dates of abuse, frequency of abuse, and level of abuse. The
date on which an Abuse Claimant submits (i), (ii) and (iii) above to the Settlement Trust shall be
the “Trust Claim Submission Date”. No recovery will be provided to an Abuse Claimant that
does not timely submit a questionnaire. The Abuse Claimant’s breach or failure to comply with
the terms of his or her agreement made in connection with his or her Trust Claim Submission shall
be grounds for disallowance or significant reduction of his or her Abuse Claim. To complete the
evaluation of each Abuse Claim submitted through a Trust Claim Submission (each a “Submitted
Abuse Claim”), the Settlement Trustee also may, but is not required to, obtain additional evidence
from the Abuse Claimant or from other parties pursuant to the Document Obligations and shall
consider supplemental information timely provided by the Abuse Claimant, including information
obtained pursuant to the Document Obligations. Non-material changes to the claims questionnaire
may be made by the Settlement Trustee without the consent of the STAC and the Future Claimants’
Representative.

        B.     Claims Evaluation. The Settlement Trustee shall evaluate each Trust Claim
Submission individually and will follow the uniform procedures and guidelines set forth below to
determine, based on the evidence obtained by the Settlement Trust, whether or not a Submitted
Abuse Claim should be allowed. After a review of the d ocumentation provided by the Abuse
Claimant in his or her Proof of Claim, Trust Claim Submission, materials received pursuant to the
Document Obligations, and any follow-up materials or examinations (including, without
limitation, any Settlement Trustee Interview), the Settlement Trustee will either find the Abuse
Claim to be legally valid and an Allowed Abuse Claim, or legally invalid and a Disallowed Claim.

       C.     Settlement Trustee Review Procedures. The Settlement Trustee must evaluate
each Submitted Abuse Claim, including the underlying Proof of Claim, the Trust Claim
Submission and/or the Settlement Trustee Interview or any other follow-up, and documents
obtained through the Document Obligations, and determine whether such Claim is a legally valid
Allowed Abuse Claim, based on the following criteria:

               1.     Initial Evaluation Criteria. The Settlement Trustee shall perform an
                      initial evaluation (the “Initial Evaluation”) of a Submitted Abuse Claim to
                      determine whether:

                      (a)     the Abuse Claimant’s Proof of Claim or Trust Claim Submission is
                              substantially and substantively completed and signed under penalty
                              of perjury;

                      (b)     the Direct Abuse Claim was timely submitted to the Settlement
                              Trust under Article IV.A; and

                      (c)     the Submitted Abuse Claim had not previously been resolved by
                              litigation and/or settlement involving all Protected Parties.



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         If any of these criteria are not met after such notice and opportunity as the
         Settlement Trustee deems appropriate to permit any defects in the
         Submitted Abuse Claim to be corrected, then the Submitted Abuse Claim
         shall be a Disallowed Claim.

   2.    General Criteria for Evaluating Submitted Abuse Claims. To the extent
         a Submitted Abuse Claim is not disallowed based on the Initial Evaluation,
         then the Settlement Trustee will evaluate the following factors to determine
         if the evidence related to the Submitted Abuse Claim is credible and
         demonstrates, by a preponderance of the evidence, that the Submitted Abuse
         Claim is entitled to a recovery and should be allowed (the “General
         Criteria”):

         (a)    Alleged Abuse. The Abuse Claimant has identified alleged acts of
                Abuse that he or she suffered;

         (b)    Alleged Abuser Identification. The Abuse Claimant has either
                (i) identified an alleged abuser (e.g., by the full name or last name)
                or (ii) provided specific information (e.g., a physical description of
                an alleged abuser combined with the name or location of the Abuse
                Claimant’s troop) about the alleged abuser such that the Settlement
                Trustee can make a reasonable determination that the alleged abuser
                was an employee, agent or volunteer of a Protected Party, the alleged
                abuser was a registered Scout, or the alleged abuser participated in
                Scouting or a Scouting activity and the Abuse was directly related
                to Scouting activities;

         (c)    Connection to Scouting. The Abuse Claimant has provided
                information showing (or the Settlement Trustee otherwise
                determines) (i) that the Abuse Claimant was abused during a
                Scouting activity or that the Abuse resulted from involvement in
                Scouting activities, and(ii) that a Protected Party may be negligent
                or may otherwise bear legal responsibility.

         (d)    Date and Age. The Abuse Claimant has either: (i) identified the
                date of the alleged abuse and/or his or her age at the time of the
                alleged Abuse, or (ii) provided additional facts (e.g., the
                approximate date and/or age at the time of alleged Abuse coupled
                with the names of additional scouts or leaders in the troop) sufficient
                for the Settlement Trustee to determine the date of the alleged Abuse
                and age of the Abuse Claimant at the time of such alleged Abuse;
                and

         (e)    Location of Abuse. The Abuse Claimant has identified the venue or
                location of the alleged Abuse.




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               3.     Submitted Abuse Claims That Satisfy the General Criteria. To the
                      extent that a Submitted Abuse Claim meets the evidentiary standard set
                      forth in the General Criteria and the Settlement Trustee has verified such
                      information and determined that no materials submitted or information
                      received in connection with the Submitted Abuse Claim are decep tive or
                      fraudulent, the Submitted Abuse Claim will be, and will be deemed to be,
                      an Allowed Abuse Claim.

               4.     Submitted Abuse Claims That Do Not Satisfy the General Criteria. If
                      the Settlement Trustee determines that any Submitted Abuse Claim
                      materials provided by an Abuse Claimant include fraudulent and/or
                      deceptive information, the Submitted Abuse Claim will be, and will be
                      deemed to be, a Disallowed Claim. To the extent that a Submitted Abuse
                      Claim – after an opportunity for the Abuse Claimant to discover information
                      from the Settlement Trust as provided in these TDP – does not meet the
                      evidentiary standard set forth in the General Criteria, the Settlement Trustee
                      can disallow such Claim, or request further information from the Abuse
                      Claimant in question necessary to satisfy the General Criteria requirements.
                      If the Settlement Trustee finds that any of the factors set forth in
                      Article VII.C.2(a)-(c) with respect to any Submitted Abuse Claim are not
                      satisfied, the Claim will be per se disallowed and will be, and will be
                      deemed to be, a Disallowed Claim.

        D.      Disallowed Claims. If the Settlement Trustee finds that a Submitted Abuse Claim
is a Disallowed Claim, the Settlement Trustee shall provide written notice of its determination to
the relevant Abuse Claimant (a “Disallowed Claim Notice”). If the Settlement Trustee finds that
a Submitted Abuse Claim is a Disallowed Claim, the Settlement Trustee will not perform the
Allowed Abuse Claim valuation analysis described below in Article VIII. Abuse Claimants shall
have the ability to seek reconsideration of the Settlement Trustee’s determination set forth in the
Disallowed Claim Notice as described in Article VII.G below.

       E.      Allowed Abuse Claims. If the Settlement Trustee finds that a Submitted Abuse
Claim is an Allowed Abuse Claim, the Settlement Trustee shall utilize the procedures described
below in Article VIII to determine the proposed Claims Matrix tier and Scaling Factors for such
Abuse Claim (the “Proposed Allowed Claim Amount”), and provide written notice of allowance
and the Proposed Allowed Claim Amount to the Abuse Claimant (an “Allowed Claim Notice”
and together with the Disallowed Claim Notice, a “Claim Notice”) as set forth in Article VII.F
below.

         F.    Claims Determination. If the Abuse Claimant accepts the Proposed Allowed
Claim Amount in the Allowed Claim Notice or the reconsideration process set forth below in
Article VII.G has been exhausted (and no further action has been taken by the Abuse Claimant in
the tort system pursuant to Article XII below), the Proposed Allowed Claim Amount shall become
the Allowed Claim Amount for such Claim (a “Final Determination”), and the holder of such
Allowed Abuse Claim shall receive payment in accordance with Article IX, subject to the Abuse
Claimant executing the form of release set forth in Article IX.D, and subject to any further
adjustment if the Direct Abuse Claimant exercises the Independent Review Option.


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        G.      Reconsideration of Settlement Trustee’s Determination. An Abuse Claimant
may make a request for reconsideration of (i) the disallowance of his or her Submitted Abuse
Claim, or (ii) the Proposed Allowed Claim Amount (a “Reconsideration Request”) within thirty
(30) days of receiving a Disallowed Claim Notice or an Allowed Claim Notice
(the “Reconsideration Deadline”). Any Abuse Claimant who fails to submit a Reconsideration
Request to the Settlement Trust by the Reconsideration Deadline shall be deemed to accept the
disallowance of the Abuse Claim or the Proposed Allowed Claim Amount. Each Reconsidera tion
Request must be accompanied by payment of $1,000 as an administrative fee for reconsideration.
The Settlement Trustee shall have the authority to waive the administrative fee in appropriate
cases, based on the circumstances of the Abuse Claimant. The Abuse Claimant may submit further
evidence in support of the Submitted Abuse Claim with the Reconsideration Request. The
Settlement Trustee will have sole discretion whether to grant the Reconsideration Request. The
decision to grant the Reconsideration Request does not guarantee that the Settlement Trustee will
reach a different result after reconsideration.

        If the Reconsideration Request is denied, the administrative fee will not be returned, and
the Settlement Trustee will notify the Abuse Claimant within thirty (30) days of receiving the
request that it will not reconsider the Abuse Claimant’s Submitted Abuse Claim. The Abuse
Claimant shall retain the ability to pursue the Settlement Trust in the tort system as described in
Article XII below.

        If the Reconsideration Request is granted, the Settlement Trustee will provide the Abuse
Claimant written notice within thirty (30) days of receiving the Reconsideration Request that it is
reconsidering the Abuse Claimant’s Submitted Abuse Claim. The Settlement Trustee will then
reconsider the Submitted Abuse Claim—including all new information provided by the Abuse
Claimant in the Reconsideration Request and any additional Settlement Trustee Interview—and
will have the discretion to maintain the prior determination or find that the Submitted Abuse Claim
in question is an Allowed Abuse Claim or should receive a new Proposed Allowed Claim Amount.

         If the Settlement Trustee determines upon reconsideration that a Submitted Abuse Claim
is an Allowed Abuse Claim and/or should receive a new Proposed Allowed Claim Amount, the
Settlement Trustee will deliver an Allowed Claim Notice and return the administrative fee to the
relevant Abuse Claimant. If the Settlement Trustee determines upon reconsideration that the
totality of the evidence submitted by the Abuse Claimant does not support changing the earlier
finding that the Submitted Abuse Claim is a Disallowed Claim, or that the Claim in question is not
deserving of a new Proposed Allowed Claim Amount, the Settlement Trustee’s earlier allowance
determination and/or Proposed Allowed Claim Amount shall stand and the Settlement Trustee will
provide a Claim Notice to the Abuse Claimant of either result within ninety (90) days of the
Settlement Trust having sent notice that it was reconsidering the Abuse Claimant’s Submitted
Abuse Claim. Thereafter, the Abuse Claimant shall retain the ability to pursue the Settlement
Trust in the tort system as described below in Article XII.

       H.      Claim Determination Deferral. For a period of up to twelve (12) months from
the Effective Date, and by an election exercised at the time of the Trust Claim Submission, Direct
Abuse Claimants whose Direct Abuse Claims may be substantially reduced by the Scaling Factor
described below in Article VIII.E.(iii) (statute of limitations defense) may elect to defer the
determination of their Proposed Allowed Claim Amounts to see if statute of limitations revival


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legislation occurs, provided, however, that this claim determination deferral window shall close
for all Direct Abuse Claims twelve (12) months from the Effective Date at which time such
Submitted Abuse Claims shall be determined based on then applicable Scaling Factors.

        I.      Prevention and Detection of Fraud. The Settlement Trustee shall propose
procedures to identify fraudulent claims, taking into account factors the Settlement Trustee deems
appropriate (and which may include a cost/benefit analysis) to the Bankruptcy Court for approval.
The Settlement Trustee shall work with the Claims Administrators to institute auditing and other
procedures to detect and prevent the allowance of Abuse Claims based on fraudulent Trust Claim
Submissions. Among other things, such procedures will permit the Settlement Trustee or Claims
Administrators to conduct random audits to verify supporting documentation submitted in
randomly selected Trust Claim Submissions, as well as targeted audits of individual Trust Claim
Submissions or groups of Trust Claim Submissions, any of which may include Settlement Trustee
Interviews. Trust Claim Submissions must be signed under the pains and penalties of perjury and
to the extent of applicable law, the submission of a fraudulent Trust Claim Submission may violate
the criminal laws of the United States, including the criminal provisions applicable to Bankruptcy
Crimes, 18 U.S.C. § 152, and may subject those responsible to criminal prosecution in the Federal
Courts.

                                  ARTICLE VIII
                       CLAIMS MATRIX AND SCALING FACTORS


Claims Matrix and Scaling Factors. These TDP establish certain criteria for unliquidated claims
seeking compensation from the Settlement Trust, a claims matrix below (the “Claims Matrix”)
that schedules six types of Abuse (the “Abuse Types”) and designates for each Abuse Type a Base
Matrix Value, and Maximum Matrix Value, and certain scaling factors (the “Scaling Factors”)
identified below to apply to the Base Matrix Values to determine the liquidated values for certain
unliquidated Abuse Claims. The Abuse Types, Scaling Factors, Base Matrix Values, and
Maximum Matrix Values that are set forth in the Claims Matrix have all been selected and derived
with the intention of achieving a fair and reasonable Abuse Claim valuation range in light of the
best available information, considering the settlement, verdict and/or jud gments that Abuse
Claimants would receive in the tort system against the Protected Parties absent the bankruptcy.
The Settlement Trustee shall utilize the Claims Matrix and Scaling Factors as the basis to determine
a Proposed Allowed Claim Amount for each Allowed Abuse Claim that does not receive an
Expedited Distribution or become a STAC Tort Election Claim. The Proposed Allowed Claim
Amount agreed to by the Direct Abuse Claimant as the Allowed Claim Amount for an Allowed
Abuse Claim shall be deemed to be the Protected Parties’ liability for such Direct Abuse Claim
(i.e., the claimant’s right to payment for his or her Direct Abuse Claim), irrespective of how much
the holder of such Abuse Claim actually receives from the Settlement Trust pursuant to the
payment provisions set forth in Article IX. In no circumstance shall the amount of a Protected
Party’s legal obligation to pay any Direct Abuse Claim be determined to be any payment
percentages hereunder or under the Settlement Trust Agreement (rather than the liquidated value
of such Direct Abuse Claim as determined under the TDP).

       A.      Claims Matrix. The Claims Matrix establishes six tiers of Abuse Types, and
provides the range of potential Allowed Claim Amounts assignable to an Allowed Abuse Claim

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in each tier. The first two columns of the Claims Matrix delineate the six possible tiers to which
an Allowed Abuse Claim can be assigned based on the nature of the abuse. The Base Matrix value
column for each tier represents the default Allowed Claim Amount for an Allowed Abuse Claim
assigned to a given tier prior to application of the Scaling Factors described in Article VIII.D (the
“Base Matrix Value”). The maximum Claims Matrix value column for each tier represents the
maximum Allowed Claim Amount for an Allowed Abuse Claim assigned to a given tier after
Claims Matrix review and application of the Scaling Factors described in Article VIII.C (the
“Maximum Matrix Value”). The ultimate distribution(s) to the holder of an Allowed Abuse
Claim that has received a Final Determination may vary upward (in the case of a larger-than-
expected Settlement Trust corpus) or downward (in the case of a smaller-than-expected Settlement
Trust corpus) from the holder’s Allowed Claim Amount based on the payment percenta ges
determined by the Settlement Trustee. If an Allowed Abuse Claim would fall into more than one
tier, it will be placed in the highest applicable tier. An Abuse Claimant cannot have multiple
Allowed Abuse Claims assigned to different tiers. Commencing on the second anniversary of the
Effective Date, the Settlement Trust shall adjust the valuation amounts for yearly inflation based
on the CPI-U. The CPI-U adjustment may not exceed 3% annually, and the first adjustment shall
not be cumulative.

 Tier      Type of Abuse                                       Base         Maximum        Matrix
                                                               Matrix       Value
                                                               Value
 1         Anal or Vaginal Penetration by Adult                $600,000     $2,700,000
           Perpetrator—includes anal or vaginal sexual
           intercourse, anal or vaginal digital penetration,
           or anal or vaginal penetration with a foreign,
           inanimate object.
 2         Oral Contact by Adult Perpetrator—includes          $450,000     $2,025,000
           oral sexual intercourse, which means contact
           between the mouth and penis, the mouth and
           anus, or the mouth and vulva or vagina.
           Anal or Vaginal Penetration by a Youth
           Perpetrator—includes anal or vaginal sexual
           intercourse, anal or vaginal digital penetration,
           or anal or vaginal penetration with a foreign,
           inanimate object.
 3         Masturbation by Adult Perpetrator—includes $300,000              $1,350,000
           touching of the male or female genitals that
           involves masturbation of the abuser or claimant.
           Oral Contact by a Youth Perpetrator—includes
           oral sexual intercourse, which means contact
           between the mouth and penis, the mouth and
           anus, or the mouth and vulva or vagina.



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 4           Masturbation by Youth Perpetrator—includes $150,000              $675,000
             touching of the male or female genitals that
             involves masturbation of the abuser or claimant.
             Touching of the Sexual or Other Intimate Parts
             (unclothed) by Adult Perpetrator.
 5           Touching of the Sexual or Other Intimate Parts      $75,000      $337,500
             (unclothed) by a Youth Perpetrator.
             Touching of the Sexual or Other Intimate Parts
             (clothed), regardless of who is touching whom
             and not including masturbation.
             Exploitation for child pornography.
 6           Sexual Abuse-No Touching.                           $3,500       $8,500
             Adult Abuse Claims.


        B.     Scaling Factors. After the Settlement Trustee has assigned an Allowed Abuse
Claim to one of the six tiers in the Claims Matrix, the Settlement Trustee will utilize the Scaling
Factors described below to determine the Proposed Allowed Claim Amount for each Allowed
Abuse Claim. Each Allowed Abuse Claim will be evaluated for each factor by the Settlement
Trustee through his or her review of the evidence obtained through the relevant Proof of Claim,
Trust Claim Submission and any related or follow-up materials, interviews or examinations, as
well as materials obtained by the Settlement Trust or the Direct Abuse Claimant through the
Document Obligations. These scaling factors can increase or decrease the Proposed Allowed
Claim Amount for an Allowed Abuse Claim depending on the severity of the facts underlying the
Claim. By default, the value of each scaling factor is one (1), meaning that in the absence of the
application of the scaling factor, the Base Matrix Value assigned to a Claim is not affected by that
factor. In contrast, if the Settlement Trustee determines that a particular scaling factor as applied
to a given Allowed Abuse Claim is 1.5, the Proposed Allowed Claim Amount for the Allowed
Abuse Claim will be increased by 50%, the result of multiplying the Base Matrix Value of the
Allowed Abuse Claim by 1.5. The combined effect of all scaling factors is determined by
multiplying the scaling factors together then multiplying the result by the Base Matrix Value of
the Allowed Abuse Claim. See Article VIII.F for illustrative example.

       C.      Aggravating Scaling Factors. The Settlement Trustee may assign upward Scaling
Factors to each Allowed Abuse Claim based on the following categories:

       (i)       Nature of Abuse and Circumstances. To account for particularly severe Abuse
                 or aggravating circumstances, the Settlement Trustee may assign an upward
                 Scaling Factor of up to 1.5 to each Allowed Abuse Claim. The hypothetical base
                 case scenario for this scaling factor would involve a single incident of Abuse with
                 a single perpetrator with such perpetrator having accessed the victim as an
                 employee or volunteer within BSA-sponsored scouting. The hypothetical base case
                 is incorporated into the Base Matrix Value in the Claims Matrix’ tiers and would


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        not receive an increase on account of this factor. By way of example, aggravating
        factors that can give rise to a higher scaling factor include the following factors:

        a.     Extended duration and/or frequency of the Abuse;

        b.     Exploitation of the Abuse Claimant for child pornography;

        c.     Coercion or threat or use of force or violence, stalking; and

        d.     Multiple perpetrators involved in sexual misconduct.

(ii)    Abuser Profile. To account for the alleged abuser’s profile, the Settlement Trustee
        may assign an upward Scaling Factor of up to 2.0 to an Allowed Abuse Claim. This
        factor is to be evaluated relative to a hypothetical base case scenario involving a
        perpetrator as to whom there is no other known allegations of Abuse. The
        hypothetical base case is incorporated into the Base Matrix Value in the Claims
        Matrix’ tiers and would not receive an increase on account of this factor. An
        upward Scaling Factor may be applied for this category as follows (the Settlement
        Trustee may only apply the scaling factor of the single highest applicable category
        listed below):

        a.     1.25 if the abuser was accused by at least one (1) other alleged victim of
               Abuse;

        b.     1.5 if the abuser was accused by five (5) or more other alleged victims of
               Abuse;

        c.     2.0 if the abuser was accused by ten (10) or more other alleged victims of
               Abuse; and

        d.     1.25 to 2.0 if there is evidence that the Protected Party knew or should have
               known (i) the abuser had previously committed or may commit Abuse and
               failed to take reasonable steps to protect the survivor from that danger, or
               (ii) of the prior Abuse or the foreseeability of the risk of Abuse and failed
               to take reasonable steps to protect the survivor from that danger.

(iii)   Impact of the Abuse. To account for the impact of the alleged Abuse on the Abuse
        Claimant’s mental health, physical health, inter-personal relationships, vocational
        capacity or success, academic capacity or success, and whether the alleged Abuse
        at issue resulted in legal difficulties for the Abuse Claimant, the Settlement Trustee
        may assign an upward Scaling Factor of up to 1.5. This factor is to be evaluated
        relative to a hypothetical base case scenario of a victim of Abuse who suffered the
        typical level of Abuse-related distress within the tier to which the Allowed Abuse
        Claim was assigned. The hypothetical base case is incorporated into the Base
        Matrix Values in the Claims Matrix’ tiers and would not receive an increase on
        account of this factor. The Settlement Trustee will consider, along with any and all
        other relevant factors, whether the Abuse at issue manifested or otherwise led the
        Abuse Claimant to experience or engage in behaviors resulting from:

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               a.      Mental Health Issues: This includes anxiety, depression, post-traumatic
                       stress disorder, substance abuse, addiction, embarrassment, fear,
                       flashbacks, nightmares, sleep issues, sleep disturbances, exaggerated startle
                       response, boundary issues, self -destructive behaviors, guilt, grief,
                       homophobia, hostility, humiliation, anger, isolation, hollowness, regret,
                       shame, isolation, sexual addiction, sexual problems, sexual identity
                       confusion, low self-esteem or self-image, bitterness, suicidal ideation,
                       suicide attempts, and hospitalization or receipt of treatment for any of the
                       foregoing.

               b.      Physical Health Issues: This includes physical manifestations of emotional
                       distress, gastrointestinal issues, headaches, high blood pressure, physical
                       manifestations of anxiety, erectile dysfunction, heart palpitations, sexually-
                       transmitted diseases, physical damage caused by acts of Abuse,
                       reproductive damage, self-cutting, other self-injurious behavior, and
                       hospitalization or receipt of treatment for any of the foregoing.

               c.      Interpersonal Relationships: This includes problems with authority figures,
                       hypervigilance, sexual problems, marital difficulties, problems with
                       intimacy, lack of trust, isolation, betrayal, impaired relations, secrecy, social
                       discreditation and isolation, damage to family relationships, and fear of
                       children or parenting.

               d.      Vocational Capacity: This includes under- and un-employment, difficulty
                       with authority figures, difficulty changing and maintaining employment,
                       feelings of unworthiness, or guilt related to financial success.

               e.      Academic Capacity: This includes school behavior problems.

               f.      Legal Difficulties: This includes criminal difficulties, bankruptcy, and
                       fraud.

         D.      Mitigating Scaling Factors. The Settlement Trustee may assign a mitigating
Scaling Factor in the range of 0 to 1.0 except as specifically provided below to each Allowed
Abuse Claim to eliminate or decrease the Proposed Allowed Claim Amount for such Claim. Each
mitigating factor is to be evaluated relative to a hypothetical base case scenario of a timely asserted
Abuse Claim with supporting evidence that demonstrates, by a preponderance of the evidence,
Abuse by a perpetrator that accessed the victim as an employee, agent or volunteer of a Protected
Party, as a registered Scout or as a participant in Scouting within BSA-sponsored Scouting. If
statute of limitations revival legislation occurs in a particular jurisdiction, the Settlement Trustee
may modify the applicable Scaling Factor (as described below) relevant thereto on a go -forward
basis and determine Proposed Allowed Claim Amounts for Abuse Claims in such jurisdiction
thereafter based on such modified Scaling Factor. Included in the hypothetical base case scenario
is that the applicable period under a statute of limitations or repose for timely asserting such Abuse
Claim against any potentially responsible party will not have passed. The hypothetical base case
is incorporated into the Base Matrix Values in the Claims Matrix tiers and would not receive a
decrease on account of these factors. Such factors may include the following:


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(i)      Absence of Protected Party Relationship or Presence of a Responsible Party
         that Is Not a Protected Party.

         a.    Familial Relationship. A Protected Party’s responsibility for a perpetrator
               may be factually or legally attenuated or mitigated where the perpetrator
               also had a familial relationship with the Abuse Claimant. Familial Abuse—
               even if the perpetrator was an employee, agent or volunteer of a Protected
               Party, and the Abuse occurred in connection with BSA-related Scouting—
               should result in a significant reduction of the Proposed Allowed Claim
               Amount.

         b.    Other Non-Scouting Relationship. A Protected Party’s responsibility for a
               perpetrator may be factually or legally attenuated or mitigated where the
               perpetrator also maintained a non-familial relationship with the Abuse
               Claimant through a separate affiliation, such as a school, or a religious
               organization, even if the perpetrator was an employee, agent or volunteer of
               a Protected Party, or the Abuse occurred in settings where a Protected Party
               did not have the ability or responsibility to exercise control. Factors to
               consider include how close the relationship was between the perpetrator and
               the victim outside of their Scouting-related relationship, whether Abuse
               occurred and the extent of such Abuse outside of their Scouting relationship,
               and applicable law related to apportionment of liability. In such event, the
               Settlement Trustee shall determine and apply a mitigating Scaling Factor
               that accounts for such other relationship and the related Abuse. By way of
               example, if the Settlement Trustee determines after evaluation of an
               Allowed Abuse Claim and application of all of the other Scaling Factors
               that the perpetrator, who was an employee, agent or volunteer of a Protected
               Party for BSA-related Scouting, also was the primary teacher (at a non-
               Protected Party entity or institution) of the Abuse Claimant outside of BSA-
               related Scouting, and if numerous incidents of Abuse occurred outside of
               Scouting before one incident of BSA-related Scouting Abuse occurred, the
               Settlement Trustee shall apply a mitigating Scaling Factor as a material
               reduction of the Proposed Allowed Claim Amount.

         c.    Other Responsible Non-Protected Party. The Abuse Claimant may have a
               cause of action under applicable law for a portion of his or her Direct Abuse
               Claim against a responsible entity, such as a Chartered Organization, that is
               not a Protected Party. By way of example, if the Settlement Trustee
               determines after evaluation of a Submitted Abuse Claim that (i) a Chartered
               Organization that is not a Protected Party is responsible under applicable
               law for a portion of the liability and (ii) a Protected Party(ies) are not also
               liable for the same portion of the liability) (taking into account the relevant
               jurisdiction’s prevailing law on apportionment of damages), the Settlement
               Trustee shall apply a final Scaling Factor to account for such non-Protected
               Party’s portion of the liability.




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       (ii)    Other Settlements, Awards, Contributions, or Limitations. The Settlement
               Trustee may consider any further limitations on the Abuse Claimant’s recovery in
               the tort system. The Settlement Trustee also should consider the amo unts of any
               settlements or awards already received by the Abuse Claimant from other, non-
               Protected Party sources as well as agreed and reasonably likely to be received
               contributions from other, non-Protected Party sources that are related to the Abuse.
               By way of example, the Settlement Trustee should assign an appropriate Scaling
               Factor to Allowed Abuse Claims capped by charitable immunity under the laws of
               the jurisdiction where the Abuse occurred. Notwithstanding the foregoing, where
               an Abuse Claimant has obtained a recovery based on the independent liability of a
               third party for separate instances of Abuse that occurred without connection to
               Scouting activities, or on the Non-Scouting portion of a Mixed Claim, no mitigating
               factor or reduction in value will be applied based on that recovery.

       (iii)   Statute of Limitations or Repose. If the evidence provided by the Abuse Claimant
               or otherwise obtained by the Settlement Trustee results in the Settlement Trustee
               concluding that the subject Direct Abuse Claim could be dismissed or denied in the
               tort system as to all Protected Parties against whom the Direct Abuse Claim was
               timely submitted (as set forth in Articles IV.A) due to the passage of a statute of
               limitations or a statute of repose, the Settlement Trustee shall apply an appropriate
               Scaling Factor based on the ranges set forth in Schedule 1 hereof and giving due
               consideration to any changes in the applicable law; provided, however, the
               Settlement Trustee will weigh the strength of any relevant evidence submitted by
               the Abuse Claimant to determine whether the statute of limitations could be tolled
               or deemed timely under applicable law, and may apply a higher Scaling Factor if
               such evidence demonstrates to the Settlement Trustee that tolling or a finding of
               timeliness would be appropriate under applicable state law.

       (iv)    Absence of a Putative Defendant. If the Direct Abuse Claim could be diminished
               because such claim was not timely submitted against BSA or another Protected
               Party (as set forth in Articles IV.A) (a “Missing Party”), such that in a suit in the
               tort system, such Direct Abuse Claim would be burdened by an “empty chair”
               defense due to the absence of a Missing Party(ies), the Settlement Trustee shall
               apply a mitigating Scaling Factor to account for a Missing Party’s absence. By way
               of example, where a timely submitted Direct Abuse Claim was not timely submitted
               against BSA (i.e., the Abuse Claimant failed to timely file a Chapter 11 POC) but
               was only timely submitted against the Local Council and/or another Protected Party
               (as set forth in Articles IV.A(ii) and (iii)), such absence of the BSA due to BSA’s
               discharge would be the basis for such a substantial reduction. Any Direct Abuse
               Claim that is reduced due to the absence of the BSA under this mitigating Scaling
               Factor shall only be payable, as reduced, from Settlement Trust Assets contributed
               by the applicable Local Council or Chartered Organization, pro rata with all other
               Direct Abuse entitled to share in the Settlement Trust Assets contributed by such
               Local Council or Chartered Organization.

      E.     Allowed Abuse Claim Calculus. After the Settlement Trustee assigns an Allowed
Abuse Claim to a Claims Matrix tier and determines the appropriate Scaling Factors that apply to

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the Claim, the Proposed Allowed Claim Amount for the Allowed Abuse Claim is the product of
the Base Matrix Value of the Claim and the Scaling Factors applied to the Claim. In no event can
an Allowed Abuse Claim’s Proposed Allowed Claim Amount (or Allowed Claim Amount) exceed
the Maximum Matrix Value for the Claim’s assigned Claims Matrix tier. By way of example, if
an Allowed Abuse Claim is determined by the Settlement Trustee to be a tier 1 claim (Base Matrix
Value of $600,000) with a Scaling Factor of 1.5 for the nature and circumstances of the abuse, and
a mitigating Scaling Factor of 0.75, and no other Scaling Factors, the Proposed Allowed Claim
Amount for the Allowed Abuse Claim would be $675,000, calculated as $600,000 x 1.5 x 0.75 =
$675,000. As a further example, if, in addition to the above Scaling Factors, the same Allowed
Abuse Claim had an additional aggravating Scaling Factor of 2.0 on account of the abuser’s p rofile,
the Proposed Allowed Claim Amount for the Allowed Abuse Claim would be $1,350,000
(calculated as $600,000 x 1.5 x .75 x 2.0).

          F.     Optional Chartered Organization Release. To have the opportunity to
exclusively share in any settlement proceeds received from a Chartered Organization that becomes
a Protected Party as provided below in Article IX.F, a Direct Abuse Claimant must execute either
(i) the conditional release of the Chartered Organization(s) against whom the Abuse Claimant has
an Abuse Claim, that will become effective as to that Abuse Claimant if the Chartered
Organization(s) against whom the Abuse Claimant conditionally released becomes a Protected
Party(ies), in the form attached as Exhibit B (the “Settling Chartered Organizations Release”),
or (ii) the non-conditional release of all Chartered Organizations in the form attached as Exhibit C
(the “Voluntary Chartered Organization Release”).

                              ARTICLE IX
         PAYMENT OF FINAL DETERMINATION ALLOWED ABUSE CLAIM

        A.     Payment Upon Final Determination. Only after the Settlement Trustee has
established an Initial Payment Percentage in accordance with Section 4.1 of the Settlement Trust
Agreement, then once there is a Final Determination of an Abuse Claim pursuant to Article VII.F,
the Claimant will receive a payment of such Final Determination based on the Payment Percentage
then in effect as described in Article IX.B and IX.C (unless such Claimant has exercised the
Independent Review Option, in which case payment will be withheld until that determination is
complete). For the purpose of payment by the Settlement Trust, a Final Judicial Determination (as
defined in Article XII.H hereof) shall constitute a Final Determination.

        B.     Initial Payment Percentage. After the Claimant accepts the Proposed Allowed
Claim Amount and there is a Final Determination of the Abuse Claim, the Settlement Trust shall
pay an initial distribution (“Initial Distribution”) based on the Initial Payment Percentage
established by the Settlement Trustee in accordance with the Settlement Trust Agreement.

        C.      Supplemental Payment Percentage. When the Settlement Trustee determines
that the then-current estimates of the Settlement Trust’s assets and its liabilities, as well as then -
estimated value of then-pending Abuse Claims (including estimated Future Abuse Claims),
warrant additional distributions on account of the Final Determinations, the Settlement Trustee
shall set a Supplemental Payment Percentage in accordance with the Settlement Trust Agreement.
Such Supplemental Payment Percentages shall be applied to all Final Determinations that became
final prior to the establishment of such Supplemental Payment Percentage. Claimants whose


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Abuse Claim becomes a Final Determination after a Supplemental Payment Percentage is set shall
receive an Initial Distribution equal to the then existing payment percentage. For the avoidance of
doubt, the Allowed Claim Amount of each Allowed Abuse Claim after Final Determination shall
be deemed to be the Protected Parties’ liability for such Allowed Abuse Claim irrespective of how
much the holder of such Abuse Claim actually receives from the Settlement Trust pursuant to the
payment provisions set forth in this Article IX. For example if the Allowed Claim Amount for an
Allowed Abuse Claim that has received a Final Determination is $1,350,000, even if the Settlement
Trust distributes less than $1,350,000 to the Abuse Claimant on account of such Allowed Abuse
Claim based on application of the Initial Payment Percentage and any Subsequent Pa yment
Percentage(s), the Allowed Claim Amount for the Abuse Claim is still $1,350,000.

        D.      Release. In order for an Allowed Abuse Claim to receive a Final Determination
and for the relevant Abuse Claimant to receive any payment from the Settlement Trust, the Abuse
Claimant must submit, as a precondition to receiving any payment from the Settlement Trust, an
executed release in the form attached hereto. The form of release agreement that a Direct Abuse
Claimant who makes the Expedited Distribution Election must execute is attached as Exhibit A
hereto. The form of the Settling Chartered Organization Release applicable to an Abuse Claimant
who has elected to provide a conditional release to certain Chartered Organizations shall be
substantially in the form of Exhibit B hereto. The form of the Voluntary Chartered Organization
Release applicable to an Abuse Claimant who has selected a Final Determination based on the
Proposed Allowed Claim Amount shall be substantially in the form of Exhibit C hereto. The form
of the release applicable to an Abuse Claimant who has selected a Final Determination based on
the Proposed Allowed Claim Amount but who does not elect to execute the Voluntary Chartered
Organization Release shall be substantially in the form of Exhibit D hereto.

         E.     FIFO Claims Process Queuing and Exigent Health Claims. The Settlement
Trust shall review all Trust Claim Submissions for processing purposes on a FIFO basis as set
forth below, except as otherwise provided herein with respect to Expedited Distributions, Exigent
Health Claims, or Submitted Abuse Claims electing to defer determination of their Allowed Claim
Amounts for up to twelve (12) months from the Effective Date pursuant to Article VII.H above.
An Abuse Claimant’s position in the FIFO Processing Queue shall be determined as of the Abuse
Claimant’s Trust Claim Submission Date. If any Trust Claim Submissions are filed on the same
date, an Abuse Claimant’s position in the applicable FIFO Processing Queue vis-à-vis such other
same-day claims shall be determined by the claimant’s date of birth, with older Abuse Claimants
given priority over younger Abuse Claimants. An Abuse Claimant that seeks recovery on account
of an Exigent Health Claim based on an Allowed Claim Amount determined through the matrix
shall be moved in front of the FIFO Processing Queue no matter what the order of processing
otherwise would have been under these TDP. Following receipt of a Final Determination on
account of an Exigent Health Claim, the holder of an Exigent Health Claim shall receive an Initial
Distribution from the Settlement Trust (subject to the payment percentages then in effect), within
thirty (30) days of executing the release as set forth in Article IX.D above.

       F.      Source Affected Weighting.

              1.     Notwithstanding the Initial Payment Percentage and the Supplemental
Payment Percentages applied hereunder, Non-BSA Sourced Assets shall be allocated (after
deducting an estimated pro rata share of Settlement Trust expenses and direct expenses related to


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the collection of such Non-BSA Sourced Assets) all or in part (the “Source Allocated Portion”)
only among the holders of Allowed Abuse Claims that (1) could have been satisfied from the
source of such Non-BSA Assets absent the Plan’s Discharge and Channeling Injunction and (2)
are held by Direct Abuse Claimants that execute a conditional release, the form of which is
attached as Exhibit B, releasing all claims against all Chartered Organizations if the Settlement
Trust enters into a global settlement making such Chartered Organization a Protected Party. The
Settlement Trustee shall establish separate payment percentages (each, a “Source Allocated
Payment Percentage”) in accordance with the Settlement Trust Agreement to effectuate the
distribution of the Source Allocated Portions of any Non-BSA Sourced Assets.

                2.     Solely for purposes of allocating Non-BSA Sourced Assets, if a Direct
Abuse Claimant exercises the Independent Review Option, then the claim amount for such
Claimant for purposes of allocating the Source Allocated Portion of the United Methodist
Settlement shall be based on the lesser of (i) the Allowed Claim Amount determined through the
matrix calculation for the applicable tier and after application of the Scaling Factors under Article
VIII or (ii) the amount of the Accepted Settlement Recommendation (the “UMS ASR Source
Allocated Portion Claim”). For all other Direct Abuse Claims with Allowed Abuse Claims
against the United Methodist Entities, the claim amount for such Claimant for purposes of
allocating the Source Allocated Portion of the United Methodist Settlement shall be based on the
amount of Final Determination.

               3.     Solely for purposes of allocating Non-BSA Sourced Assets, if an Accepted
Settlement Recommendation (as defined in Article XIII.A) results in a Direct Abuse Claimant
having an Excess Award Share claim under Article XIII.E that identifies a Chartered Organization
(or an affiliate that becomes a Protected Party by virtue of such settlement, together an
“Applicable Chartered Organization”, but in any case excluding the United Methodists Entities)
that provides Non-BSA Sourced Funds, the portion of such Claim to be satisfied from the Source
Allocated Portion funded by such settlement shall be based on the lesser of (i) $2,700,000 or (ii)
the amount of the Accepted Settlement Recommendation (the “ASR Source Allocated Portion
Claim”). For all other Direct Abuse Claims with Allowed Abuse Claims against the Applicable
Chartered Organization, the claim amount for such Claimant for purposes of allocating the Source
Allocated Portion shall be based on the amount of Final Determination.

                4.      Once the Settlement Trust has paid in full all (i) Final Determination
Allowed Abuse Claim Amounts of Direct Abuse Claimants with a claim against the Applicable
Chartered Organization, and (ii) ASR Source Allocated Portion Claims, and UMS ASR Source
Allocated Portion Claims, as applicable, then the remainder, if any, of the Source Allocated Portion
shall be used to pay Excess Award Shares that identify the Applicable Chartered Organization
until all such Accepted Settlement Recommendations are paid in full. If there is a remainder of a
Source Allocated Portion after payment of the foregoing amounts, then that remainder shall be
distributed to all holders of Allowed Abuse Claims pursuant to the applicable payment percentage.
Amounts received by Direct Abuse Claimants on account of the and UMS ASR Source Allocated
Portion Claims or the ASR Source Allocated Portion Claims, as applicable, shall not reduce the
Excess Award Share; provided, however, that in no event shall a Direct Abuse Claimant receive
greater than payment in full of the Excess Award Share.



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                                  ARTICLE X
                         RIGHTS OF SETTLEMENT TRUST
                  AGAINST NON-SETTLING INSURANCE COMPANIES

        Pursuant to the Plan, the Settlement Trust has taken an assignment of BSA’s and any other
Protected Party’s (to the extent provided for in the Plan) rights and obligations under the Insurance
Policies. For any Abuse Claim that the Settlement Trustee determines is an Allowed Abuse Claim
pursuant to Article VII above, the Settlement Trustee will determine, based on the relevant Trust
Claim Submission and any other information submitted in connection with that submission and in
the materials obtained through the Document Obligations, whether any Non-Settling Insurance
Company issued coverage that is available to respond to such Claim (an “ Insured Abuse Claim”).
The Settlement Trustee may determine that multiple Non-Settling Insurance Companies have
responsibility for an Insured Abuse Claim. The Settlement Trustee shall seek reimbursement for
each Insured Abuse Claim that is an Insured Abuse Claim, including the Proposed Allowed Claim
Amount, from the applicable Non-Settling Insurance Company(ies) pursuant to the Insurance
Policies and applicable law. The Settlement Trustee shall have the ability to exercise all of the
rights and interests in the Insurance Policies assigned to the Settlement Trust as set forth in the
Plan, including the right to resolve any disputes with a Non-Settling Insurance Company regarding
their obligation to pay some or all of an Insured Abuse Claim, and any all rights with respect to a
Responsible Insurer in connection with the Independent Review Option, and to enter into
agreements with any Non-Settling Insurance Company to become a Settling Insurance Company,
subject to the terms and limitations set forth in the Trust Agreement and Article XIII herein . The
Settlement Trustee will exercise those rights consistent with their duty to preserve and maximize
the assets of the Settlement Trust. The Settlement Trustee will have the ability to request further
information from Abuse Claimants in connection with seeking reimbursement for Insured Abuse
Claims.

                                        ARTICLE XI
                                  INDIRECT ABUSE CLAIMS

       A.      Indirect Abuse Claims. To be eligible to receive compensation from the
Settlement Trust, the holder of an Indirect Abuse Claim must satisfy Article IV.B hereof. Indirect
Abuse Claims that become Allowed Indirect Abuse Claims shall receive distributions in
accordance with Article IX hereof and shall be subject to the same liquidation and payment
procedures as the Settlement Trust would have afforded the holders of the underlying valid Direct
Abuse Claims pursuant to Articles VIII and IX hereof.

       B.       Offset. The liquidated value of any Indirect Abuse Claim paid by the Settlement
Trust shall be treated as an offset to or reduction of the full liquidated value of any related Direct
Abuse Claim that might be subsequently asserted against the Settlement Trust as being against any
Protected Party(ies) whose liability was paid by the Indirect Abuse Claimant.

       C.      Court Review. Within thirty (30) days after an Indirect Abuse Claimant receives
written notice from the Settlement Trust of the proposed allowed amount of its Indirect Abuse
Claim or denial thereof (the “Judicial Review Election Deadline”), an Indirect Abuse Claimant
may notify the Settlement Trust of its intention to seek a de novo review of the Trustee’s
determination of its Indirect Abuse Claim in accordance with this TDP (including Article IV.B


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hereof) by a court of competent jurisdiction (a “Judicial Review Election”). Such notification
shall be made by submitting a written notice to the Settlement Trustee (a “Judicial Review
Election Notice”) by the Judicial Review Election Deadline. Unless the Settlement Trustee agrees
to extend the Judicial Review Election Deadline, an Indirect Abuse Claimant who fails to so submit
a Judicial Review Election Notice by the Judicial Review Election Deadline shall be deemed to
accept the disallowance of its Indirect Abuse Claim or the Proposed Allowed Claim Amount (as
applicable) and shall have no right to seek any further review of its Indirect Abuse Claim. An
Indirect Abuse Claimant that makes a Judicial Review Election may not seek costs or expenses
against the Settlement Trust in any judicial proceeding commenced on account of its Judicial
Review Election and the Settlement Trust may not seek costs or expenses against the Indirect
Abuse Claimant. In no event shall the submission and/or filing of a Judicial Review Election
Notice entitle the holder of an Indirect Abuse Claim to request or receive treatment different than
the treatment provided for under this TDP (including Article IV.B hereof). The de novo review
provided for herein shall be to determine the allowed amount of the Indirect Abuse Claim under
and in accordance with this TDP. All defenses (including, with respect to the Settlement Trust, all
defenses that could have been asserted by the Debtors or Protected Parties, except as otherwise
provided in the Plan) shall be available to both sides (which may include any Non -Settling
Insurance Company) at any judicial proceeding commenced on account of the Indirect Abuse
Claimant’s Judicial Review Election. Upon entry of final non-appealable order of a court
competent jurisdiction fixing the allowed amount of the Indirect Abuse Claim, if any, such Indirect
Abuse Claim shall be deemed an “Allowed Indirect Abuse Claim” and paid in accordance with
Article IX hereof.

                                      ARTICLE XII
                               TORT SYSTEM ALTERNATIVE

        A.      Remedies after Disallowance or Exhaustion of Claims Allowance Procedures.
Within thirty (30) days after a Direct Abuse Claimant receives an Allowed Claim Notice or Claim
Notice on its Proof of Claim following a Reconsideration Request in accordance with Article VII.G
(the “Tort Election Deadline”), an Abuse Claimant may notify the Settlement Trust of its
intention to seek a de novo determination of its Abuse Claim by a court of competent jurisdiction
(a “TDP Tort Election Claim”), subject to the limitations set forth in this Article XII. Such
notification shall be made by submitting a written notice to the Settlement Trustee (a “ Judicial
Election Notice”) by the Tort Election Deadline. Unless the Settlement Trustee agrees to extend
the Tort Election Deadline, Claimants who fail to so submit and/or file a Judicial Election Notice
by the Tort Election Deadline shall be deemed to accept the disallowance of their Abuse Claims
or the Proposed Abuse Claim Amounts (as applicable) and shall have no right to seek any further
review of their Abuse Claims. An Abuse Claimant that asserts a TDP Tort Election Claim may
not seek costs or expenses against the Settlement Trust in the lawsuit filed and the Settlement Trust
may not seek costs or expenses against the Abuse Claimant. Any recoveries for a TDP Tort
Election Claim from outside the Settlement Trust in respect of a Protected Party’s liability are
payable to the Settlement Trust and the Abuse Claimant shall be paid in accordance with Articles
XII.G and IX hereof.

        B.     Supporting Evidence for TDP Tort Election Claims. TDP Tort Election Claims
in the federal courts shall be governed by the rights and obligations imposed upon parties to a
contested matter under the Federal Rules of Bankruptcy Procedure, provided, however, that an

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Abuse Claimant that prosecutes in any court a TDP Tort Election Claim after seeking
reconsideration from the Settlement Trust shall not have the right to introduce into evidence to the
applicable court any information or documents that (i) were requested by the Settlement Trustee
and (ii) were in the possession, custody or control of the Abuse Claimant at the time of a request
by the Settlement Trust, but which the Abuse Claimant failed to or refused to provide to the
Settlement Trust in connection with the claims evaluation process in these TDP. The Abuse
Claimant’s responses to requests by the Settlement Trustee for documents or information shall be
subject to Rule 37 of the Federal Rules of Civil Procedure, as applicable under the Federal Rules
of Bankruptcy Procedure, and/or any comparable State Rule of Civil Procedure. An Abuse
Claimant shall not have the right to disclose any Proposed Abuse Claim Amount received from
the Settlement Trust to any court in connection with a Tort Election Claim. Subject to the terms
of any protective order entered by a court, the Settlement Trustee shall be permitted to introduce
as evidence before a court all information and documents submitted to the Settlement Trust under
these TDP, and the Abuse Claimant may introduce any and all information and documents that he
or she submitted to the Settlement Trust under these TDP.

        C.     Authorization of Settlement Trustee and Settlement Trust Advisory
Committee. The Settlement Trustee may authorize the commencement or continuation of a
lawsuit by a Direct Abuse Claimant in any court of competent jurisdiction against the Settlement
Trust to obtain the Allowed Claim Amount of a Direct Abuse Claim (a “STAC Tort Election
Claim” and together with a TDP Tort Election Claim, “Tort Election Claims”). STAC Tort
Election Claims shall not be required to exhaust any remedies under these TDP before
commencing or continuing such lawsuit. No Abuse Claimant may pursue a STAC Tort Election
Claim without the prior written approval of the Settlement Trustee in accordance with the
Settlement Trust Agreement. Fifty percent (50%) (or less if determined by the Settlement Trustee)
of any amounts paid with respect to a judgment for, or a settlement of, a STAC Tort Election Claim
by a Non-Settling Insurance Company, as to a policy as to which a Protected Party has assigned
relevant insurance rights to the Settlement Trust, shall be paid over to the Settlement Trust.

        D.     Tender to Non-Settling Insurance Company. If an Abuse Claimant is authorized
to file suit against the Settlement Trust as provided in Article XII.A and XII.C herein, the
Settlement Trustee shall determine, based on the Trust Claim Submission and any other
information obtained in connection with that submission and materials received in connection with
the Document Obligations, whether any Non-Settling Insurance Company issued coverage that is
available to respond to the lawsuit (an “Insured Lawsuit”). The Settlement Trustee may
determine that there are multiple Non-Settling Insurance Companies that have responsibility to
defend an Insured Lawsuit. The Settlement Trustee shall provide notice, and if applicable, seek
defense, of any Insured Lawsuit to each Non-Settling Insurance Company from whom the
Settlement Trustee determines insurance coverage may be available in accordance with the terms
of each applicable Insurance Policy.

       E.      Parties to Lawsuit. Any lawsuit commenced under Article XII of these TDP must
be filed by the Abuse Claimant in his or her own right and name and not as a member or
representative of a class, and no such lawsuit may be consolidated with any other lawsuit. The
Abuse Claimant may assert its Abuse Claim against the Settlement Trust as if the Abuse Claimant
were asserting such claim against either the Debtors or another Protected Party and the discharge
and injunctions in the Plan had not been issued. The Abuse Claimant may name any person or

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entity that is not a Protected Party, including Non-Settling Insurance Companies to the extent
permitted by applicable law. Abuse Claimants may pursue in any manner or take any action
otherwise permitted by law against persons or entities that are not Protected Parties so long as they
are not an additional insured or an Insurance Company as to an Insurance Policy issues to the BSA.

        F.    Defenses. All defenses (including, with respect to the Settlement Trust, all defenses
that could have been asserted by the Debtors or Protected Parties, except as otherwise provided in
the Plan) shall be available to both sides (which may include any Non -Settling Insurance
Company) at trial.

        G.      Settlement Trust Liability for Tort Election Claims. An Abuse Claimant who
pursues a Tort Election Claim shall have an Allowed Claim Amount equal to zero if the litigation
is dismissed or claim denied. If the matter is litigated, the Allowed Claim Amount shall be equal
to the settlement or final judgment amount obtained in the tort system less any paym ents actually
received and retained by the Abuse Claimant, provided that, exclusive of amounts payable
pursuant to Article XII.C (in the event such amounts exceed the Maximum Matrix Value in the
applicable tier set forth in the Claims Matrix), any amount of such Allowed Claim Amount for a
Tort Election Claim in excess of the Maximum Matrix Value in the applicable tier set forth in the
Claims Matrix shall be subordinate and junior in right for distribution from the Settlement Trust
to the prior payment by the Settlement Trust in full of all Abuse Claims that are Allowed Abuse
Claims as liquidated under these TDP (excluding this Article XII). By way of example, presume
(1) there is an Abuse Claimant asserting tier one abuse that achieves a $5 million verdict for his or
her STAC Tort Election Claim against the Settlement Trust, and (2) a Non -Settling Insurance
Company pays $750,000 in coverage under a policy providing primary coverage, $375,000 of
which is paid directly to the Abuse Claimant and $375,000 of which is paid over to the Settlement
Trust pursuant to Article XII.C. Although the unpaid amount of such Allowed Abuse Claim would
be $4,625,000, the maximum total payment that the Abuse Claimant can recover from the
Settlement Trust (before the non-subordinated portion of all other Abuse Claims that are Allowed
Abuse Claims are paid in full) is $2,700,000 (the Maximum Matrix Value in tier one), or an
additional $2,325,000, paid pursuant to the terms of Article IX hereof. For the avoidance of doubt,
the limit on the Settlement Trust liability under this Article XII.G shall not apply or inure to the
benefit of any Non-Settling Insurance Company, and the Settlement Trust shall be able to obtain
coverage, subject to Article X hereof, for the full Allowed Claim Amount obtained by the Abuse
Claimant through a Tort Election Claim.

        H.      Settlement or Final Judgment. If the Settlement Trust reaches a global settlement
making a Protected Party of a Non-Settling Insurance Company or other person or entity involved
in a Tort Election Claim or obtains a final judgment in a suit against such person or entity
terminating liability for such person or entity to the Abuse Claimant, the Abuse Claimant shall be
entitled to proceed with the Tort Election Claim for any reason (e.g., if there are persons or entities
that are not Protected Parties to collect from). Alternatively, the Abuse Claimant can elect to
terminate the Tort Election Claim without prejudice and have its Abuse Claim determined through
these TDP (i.e., as if no STAC Tort Election Claim had been made), in which event the Abuse
Claimant may submit relevant evidence from the Tort Election Claim that the Settlement Trustee
shall take into account in evaluating the Abuse Claim under these TDP. Such Abuse Claimant
may be provided other alternatives by the Settlement Trust if it had been pursuing a STAC Tort
Election Claim.

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        I.       Payment of Judgments by the Settlement Trust. Subject to Article XII.G hereof,
if and when an Abuse Claimant obtains a final judgment or settlement against the Settlement Trust
in the tort system (a “Final Judicial Determination”), such judgment or settlement amount shall
be treated for purposes of distribution under these TDP as the Abuse Claimant’s Final
Determination, and such Allowed Claim Amount shall also constitute the applicable Protected
Parties’ liability for such Abuse Claim. Within thirty (30) days of executing the release as set forth
in Article IX.D above, the Abuse Claimant shall receive an Initial Distribution from the Settlement
Trust (assuming an Initial Payment Percentage has been established by the Settlement Trust at that
time). Thereafter, the Abuse Claimant shall receive any subsequent distributions based on any
applicable Payment Percentage as determined by the Settlement Trust.

        J.     Litigation Results and Other Abuse Claims. To the extent that a Final Judicial
Determination of an Abuse Claim or changes in applicable law implicate the appropriateness of
the Scaling Factors or General Criteria, the Settlement Trustee, subject to the terms of these TDP
and the Settlement Trust Agreement and the approval of the Bankruptcy Court or District Court,
after appropriate notice and opportunity to object, may appropriately modify the Scaling Factors
or General Criteria on a go-forward basis for use in evaluation of Future Abuse Claims and other
Abuse Claims as to which no Allowed Claim Amount Final Determination had previously been
made.

        K.       Tolling of Limitations Period. The running of the relevant statute of limitation
shall be tolled as to each Abuse Claimant’s Abuse Claim from the earliest of (A) as to a Protected
Party, the actual filing of the claim against the Protected Party, whether in the tort system or by
submission of the claim to the Protected Party pursuant to an administrative settlement agreement;
or (B) as to the Debtor, the Petition Date or prior to the Petition Date by an agreement or otherwise.

                                     ARTICLE XIII
                              INDEPENDENT REVIEW OPTION

        A.      Direct Abuse Claimant’s Independent Review Option. Direct Abuse Claimants
shall have the opportunity for a Direct Abuse Claimant to have an independent, neutral third party
(selected from a panel of retired judges with tort experience maintained by the Settlement Trust)
(a “Neutral”) make a settlement recommendation (the “Settlement Recommendation”) to the
Settlement Trustee seeking to replicate to the extent possible the amount a reasonable jury might
award for the Direct Abuse Claim, taking into account the relative shares of fault that may be
attributed to any parties potentially responsible for the Direct Abuse Claim under applicable law
and applying the same standard of proof that would apply under applicable law (the “Independent
Review Option”). The Settlement Recommendation determined by the Neutral, if accepted by
the Settlement Trustee (an “Accepted Settlement Recommendation”), shall be the allowed
amount of the Direct Abuse Claim in accordance with the Plan against (i) the Debtors, (ii) other
Protected Parties, and (iii) Chartered Organizations. The Direct Abuse Claimant must assign its
Direct Abuse Claim against any Chartered Organization and all other rights and claims arising out
of its Direct Abuse Claim to the Settlement Trust as a condition to receiving the Accepted
Settlement Recommendation, and the Settlement Trust shall have the right and power to assert
and/or resolve any such claims assigned to it consistent with the Plan . If the Settlement Trustee
declines to follow the Neutral’s recommendation as to the Allowed Claim Amount for an
Independent Review Claim (a “Recommendation Rejection”), within forty-five (45) days after


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the holder being served notice of the Recommendation Rejection, the holder of such Direct Abuse
Claim may commence a lawsuit in any court of competent jurisdiction against the Settlement Trust
to obtain the Allowed Claim Amount of the Direct Abuse Claim. Such Direct Abuse Claimant
shall have an Allowed Claim Amount equal to zero if the litigation is dismissed or claim denied.
If the matter is litigated, the Allowed Claim Amount shall be equal to the settlement or final
judgment amount obtained in the tort system less any payments actually received and retained by
the Direct Abuse Claimant. Notwithstanding the foregoing, any amount of an Accepted Settlement
Recommendation or Allowed Claim Amount for an Abuse Claim that pro ceeds under this
Independent Review Option in excess of a multiple of five (5) times the Maximum Matrix Value
in the applicable tier set forth in the Claims Matrix shall be subordinate and junior in right for
distribution from the Settlement Trust to the prior payment by the Settlement Trust in full of all
Direct Abuse Claims that are Allowed Abuse Claims as liquidated under the TDP (excluding
Claims liquidated under this provision or under Article XII (regarding Tort Election Claims).

        B.      Time to Select Independent Review Option. Direct Abuse Claimants, other than
Future Abuse Claimants, shall initially have until six (6) months after the Effective Date, to elect
to participate in the Independent Review Option. In addition, in order to participate in the
Independent Review Option, the Direct Abuse Claimant must complete and submit the Trust Claim
Submission by six (6) months after the Effective Date to enable the Settlement Trust to establish
reserves. If a Direct Abuse Claimant pursues a non-channeled Chartered Organization and the
Settlement Trust settles with the Chartered Organization in question such that claims against it
become channeled (a) the Settlement Trust shall provide notice of such settlement to a ny Direct
Abuse Claimants that are pursuing any non-channeled Chartered Organizations and (b) such Direct
Abuse Claimants shall have thirty (30) days from notice of the effectiveness of the Settlement
Trust’s settlement to select the Independent Review Option at that time.

       C.      Excess Award Fund. The Settlement Trust shall maintain a fund for the sole
purpose of funding the portion of Accepted Settlement Recommendations that are in excess of $1
million (the “Excess Award Fund”). The Excess Award Fund shall be funded with certain
proceeds from the Trust’s collection of insurance policy proceeds from non-settling insurers as set
forth below.2

        D.       Accepted Settlement Recommendation of Less Than $1 Million. If the Neutral
makes an Accepted Settlement Recommendation of $0 due to the statute of limitations or a finding
of no liability, the Direct Abuse Claimant shall receive nothing from the Trust and shall remain
barred from proceeding against any Protected Party on account of their claim. The Accepted
Settlement Recommendation shall supersede the determination of the amount of the claim under
the TDP, whether higher or lower, subject to limitations set forth in Article XIII.E below. If the
Neutral makes an Accepted Settlement Recommendation of $1 million or less but greater than
zero, then the Settlement Recommendation shall be paid by the Settlement Trust in accordance
with Article IX, including any applicable payment percentage, and the Direct Abuse Claimant shall
receive nothing from the Excess Award Fund.

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    The sources of recovery for the fund or Direct Abuse Claimants are (i) the Debtors’ or Local Counsels’ non-settled
      shared insurance policies excess of the primary layer of coverage, and (ii) in the absence of a global settlement
      making a Chartered Organization a Protected Party, certain Chartered Organizations’ separate non-settled
      insurance rights, collectively referred as Responsible Insurers, as defined below.


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        E.      Accepted Settlement Recommendation of $1 Million or More. If the Neutral
makes an Accepted Settlement Recommendation of $1 million or more, then the Direct Abuse
Claimant shall receive (i) an allowed claim against the Settlement Trust equal to $1 million
(the “Trust Share”), to be paid pursuant to Article IX and subject to any applicable payment
percentage from Settlement Trust Assets other than the Excess Award Fund (the “General
Trust”), and (ii) an allowed claim against the Settlement Trust equal to the amount of the
Settlement Recommendation in excess of the Trust Share (the “Excess Award Share”) which
shall be paid solely and exclusively from the Excess Award Fund as set forth below.

        F.     Costs Paid By Direct Abuse Claimants. The costs associated with the
independent review shall be paid by the Direct Abuse Claimant and not the Settlement Trust,
including the cost of any deposition and mental health exam and the valuation by the Neutral.
Such obligation shall be offset by the administrative fee paid by the Direct Abuse Claimant.
Recovery of such costs may be sought from any insurer subjec t to the applicable terms and
conditions of any insurer’s policy, to the extent such costs constitute reasonable and necessary
costs payable under an applicable non-settled insurance policy, and the Settlement Trust may
reimburse the Direct Abuse Claimant for such costs to the extent that the non-settled insurance
policy reimburses the Settlement Trust. Any recoveries by the Settlement Trust on account of its
own costs will be distributed to Direct Abuse Claimants as set forth below. If the cost to the
Settlement Trustee of processing the Independent Review Option is less than the administrative
fees charged, the Settlement Trustee shall reimburse the unused balance to the Direct Abuse
Claimant.

       G.     Requirements for Obtaining a Settlement Recommendation. To obtain a
Settlement Recommendation, each Direct Abuse Claimant who proceeds through the Independent
Review shall provide the following:

       (i)      Sexual Abuse Survivor Proof of Claim signed and dated by the Direct Abuse
                Claimant, with completion of all applicable fields, including the substantive
                narrative of the Abuse and damages (to be completed at the time of submission to
                the Neutral or after the completion of discovery);

       (ii)     Payment to the Settlement Trust of an administrative fee in the amount of $10,000
                at the time of the election for Independent Review Option and a further additional
                administrative fee in the amount of $10,000 immediately prior to the Neutral’s
                review. The Settlement Trustee shall have the authority to waive administrative
                fees in appropriate cases, based on the circumstances of the Direct Abuse Claimant.
                To the extent a Direct Abuse Claimant is dissatisfied with the Settlement Trustee’s
                decision on waiver of fees, such decision will be reviewable by the Bankruptcy
                Court. Any Direct Abuse Claimant that elects not to proceed with the Neutral’s
                review after the opportunity to pursue discovery shall not be required to pay the
                second $10,000 and shall not be precluded from pursuing their claim under the TDP
                (as if no election to pursue an Independent Review Option had been made);

       (iii)    Confirmation that the Direct Abuse Claimant was in a Scouting unit or attended a
                Scouting related event where the Abuse occurred by:


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                      a)      Direct Abuse Claimant’s name on a roster;

                      b)      evidence that the Direct Abuse Claimant was in a Scouting unit or
                              attended a Scouting-related event where the Abuse occurred (a non-
                              exclusive list of ways of satisfying the showing are: a photograph, a
                              membership card, or document that reflects the Direct Abuse
                              Claimant’s rank in a Scouting unit); or

                      c)      a sworn statement by a third-party witness (who will agree to a
                              deposition by the Neutral, if requested) that the Direct Abuse
                              Claimant was in a Scouting unit or attended a Scouting-related event
                              where the Abuse occurred.

       (iv)    Direct Abuse Claimant must provide evidence that the perpetrator was in a Scouting
               unit, worked or volunteered with a Scouting unit, worked or volunteered with a
               Local Council, Chartered Organization or the BSA, or worked or volunteered at a
               Scouting-related event where the Abuse occurred (a non-exclusive list of ways of
               satisfying the showing are: the perpetrator’s name being on a Scouting roster, a
               photograph of the perpetrator, or a sworn statement by a third party witness who
               will agree to a deposition if requested by the Neutral);

       (v)     Direct Abuse Claimants must provide evidence that the claim is timely under the
               applicable statute of limitations, including satisfying any recognized exception to
               the relevant statute of limitation under the applicable state law;

       (vi)    Direct Abuse Claimant provides evidence that one or more of the BSA, Local
               Council or Chartered Organization was negligent or is otherwise liable on account
               of a Direct Abuse Claim, and evidence regarding the Direct Abuse Claimant’s
               damages (such as medical and counseling records and/or a sworn statement from a
               family member, significant other, or relative who, in each case, will agree to a
               deposition by the Neutral) or benchmark judgments or settlements relevant to the
               damages claimed. Damages must be supported by an expert report (the cost of
               which shall be paid by the Direct Abuse Claimant); and

       (vii)   Direct Abuse Claimant shall be subject to up to a single sworn six-hour interview,
               mental health examination or supplemental signed and dated interrogatory
               responses at the discretion of the Neutral or upon the reasonable request of a
               Responsible Insurer.

       I.     Discovery. The Direct Abuse Claimant shall be entitled to discovery f rom the
Settlement Trust (as successor to the BSA and Local Councils) and from third parties in accordance
with the Document Appendix.

       J.     Other Defenses. In making her determination, the Neutral will consider and apply
any defense that would otherwise be available in the tort system.

       K.      Insurer Participation.


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                (i)    The Settlement Trust will provide prompt notice to any potentially
                responsible non-settling insurer(s) (“Responsible Insurers”) of any claim for which
                the Direct Abuse Claimant has elected the Independent Review Option.

                (ii)    Any Responsible Insurer shall be given a reasonable opportunity to
                participate in the Independent Review. Any Responsible Insurer who chooses to
                participate may review and comment on the Neutral’s evaluation, including
                attending any interview or deposition. Any Responsible Insurer may raise and
                present any potentially applicable defenses to the Abuse Claim to the Neutral, at
                their own expense. Such defenses must be considered and evaluated, as reasonably
                appropriate, by the Neutral.

                (iii)  Upon the Settlement Trustee’s receipt of the Settlement Recommendation
                from the Neutral, the Settlement Trustee shall provide notice and seek consent from
                any applicable Responsible Insurer.

                (iv)    If the Settlement Trustee determines that the Settlement Recommendation
                is reasonable and the Responsible Insurer refuses to pay all or a portion of the
                Accepted Settlement Recommendation for which it is responsible, then the
                Settlement Trustee may exercise any and all rights available to it under applicable
                law, and the Settlement Trustee expressly reserves any and all rights against the
                Responsible Insurer, including but not limited to agreeing to the Settlement
                Recommendation and pursuing the Responsible Insurer for any available remedy
                including, but not limited to breach of contract and bad-faith.

                (v)  The Settlement Trust shall have the right to pursue the Accepted Settlement
                Recommendation through any appropriate legal mechanisms.

         L.     Collection of the Independent Award. The Trust (as assignee) shall be free to
collect on the basis of the Accepted Settlement Recommendation, and associated costs of the
Independent Review Option, from any Responsible Insurer that refuses to pay all or a portion of
the Accepted Settlement Recommendation for which it is responsible in such a manner as it sees
fit, including by seeking coverage for one or more Accepted Settlement Recommendations on a
consolidated basis and to enter into comprehensive settlements with any Responsible Insurer. To
the extent allowed under applicable state law, the BSA and Local Councils shall reasonably
cooperate with the Settlement Trustee in the foregoing (it being understood that the foregoing
cooperation shall not require the expenditure of funds), including consenting to entry of a non-
recourse judgment limited solely to the recovery of insurance proceeds from any Responsible
Insurer to the extent doing so would not violate the terms of the applicable policy or applicable
law. In addition, the Settlement Trustee may seek the cooperation of the applicable Chartered
Organization. Funds collected from the Responsible Insurer shall be allocated to the survivor and
the Excess Award Fund as follows:

       (i)      Collections Applicable to Identified Excess Award Shares:

                  (1) Amounts awarded that are applicable to the expenses incurred by Direct
                      Abuse Claimants in pursuing the Independent Review Option, or that are


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                          awarded for any bad faith claim will be allocated 100% to the Direct Abuse
                          Claimant.

                      (2) Amounts awarded from any policy of a Responsible Insurer that does not
                          have applicable aggregate limits will be allocated 100% to the Direct Abuse
                          Claimant.

                      (3) Amounts collected in satisfaction of the Accepted Settlement
                          Recommendation from any policy that has applicable aggregate limits shall
                          be awarded 80% to the Direct Abuse Claimant, with the balance contributed
                          to the General Trust until the Direct Abuse Claimant has collected 80% of
                          the Excess Award Share. Thereafter policy proceeds shall be divided 70%
                          to the Direct Abuse Claimant and 30% to the General Trust until the Direct
                          Abuse Claimant has received the full amount of the Excess Award Share.

       (ii)     Settlement with Potentially Responsible Insurers that Fully Release a Policy
                or Policies:

                (a)       80% of the proceeds derived from a comprehensive settlement with a
                          Responsible Insurer shall be contributed to the Excess Award Fund and
                          20% of the proceeds derived from a comprehensive settlement with an
                          Responsible Insurer shall be General Trust funds available to pay all Direct
                          Abuse Claimants; provided that once all holders of Excess Award Shares
                          (other than holders of Late Claims (as defined below)) have received (or
                          been reserved for an amount equal to) 80% on account of their Excess
                          Award Shares, 70% shall be contributed to the Excess Award Fund and 30%
                          shall be General Trust funds available to pay all Direct Abuse Claimants.

                For the avoidance of doubt, collections from separate insurance of a Chartered
                Organization received as part of a comprehensive Chartered Organization
                settlement shall go to the General Trust, for distribution to Direct Abuse Claimants
                with Direct Abuse Claims pursuant to Article IX.F.

        M.    Payment of Excess Independent Awards. The Excess Award Fund shall be used
to pay the Excess Award Shares. The Excess Award Fund will be allocated and paid on account
of such Excess Award Shares subject to a payment percentage calculated specifically for the
Excess Award Fund. Once the Excess Award Shares are paid in full, the remaining funds in the
Excess Award Fund shall become General Trust funds available to pay all Allowed Direct Abuse
Claims.

       N.       Administrative Guidelines.

       (i)      Direct Abuse Claimants (other than holders of Future Abuse Claims and except as
                provided immediately below) will have until January 1, 2023, to pay the initial
                administrative fee and elect to submit their claim for the Independent Review
                Option.



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(ii)    After January 1, 2023, a Direct Abuse Claimant (other than a Future Abuse
        Claimant) may still elect the Independent Review Option (other than with respect
        to a Direct Abuse Claimant that was pursuing a Chartered Organization with respect
        to a Direct Abuse Claim that was not subject to the Channeling Injunction) but shall
        only be entitled to recover (a) against a Responsible Insurer to the same degree as
        the Direct Abuse Claimants that filed claims prior to January 1, 2023, (b) from any
        Excess Award Fund reserved from any settled insurance applicable to their Direct
        Abuse Claims, or (c) share in a pro rata basis to the same degree as any Direct
        Abuse Claim submitted prior to January 1, 2023 in any recovery from an insurer
        that is not settled at the time a determination is made by the Neutral on the Direct
        Abuse Claim. The Settlement Trustee shall establish a reserve in the Excess Award
        Fund for Future Abuse Claims that may elect the Independent Review Option and
        for possible Claims against the Settlement Trust that may arise as a result of a
        Claimant being enjoined from continuing to seek recovery from a Chartered
        Organization with respect to a Claim that was not subject to the Channeling
        Injunction as a result of a comprehensive settlement between the Settlement Trust
        and the Chartered Organization. Other than reserving for and paying Future Abuse
        Claims and Direct Abuse Claims that become subject to the Channeling Injunction
        as a result of a comprehensive settlement between the Settlement Trust and a
        Chartered Organization on the basis described above, the Settlement Trust will have
        no duty to reserve or make distributions to any Direct Abuse Claimants who file
        claims after January 1, 2023 (“Late Claims”) except that should the Late Claim be
        timely pursuant to Section IV.A.ii or iii and exercise the Independent Review
        Option, the Excess Award Share attributable to such Late Claim may share on a pro
        rata basis to the same degree as any Direct Abuse Claim submitted prior to January
        1, 2023 in any recovery from an insurer that is not settled at the time a Settlement
        Recommendation is made by the Neutral on the Late Claim. The last date to file a
        Late Claim for the Independent Review Option shall be January 1, 2026.

(iii)   If a Neutral’s Settlement Recommendation determines that a Chartered
        Organization not protected by the Channeling Injunction is responsible for all or a
        portion of liability for a Direct Abuse Claim assigned to the Settlement Trust, at the
        request of the claimant, the Settlement Trustee may in its discretion, assign back to
        the claimant all rights to pursue the Chartered Organization and its insurers for the
        allocated portion of liability established through the Independent Review Option.
        The Direct Abuse Claimant in his discretion may then bring an action in any Court
        of competent jurisdiction against the Chartered Organization and its insurers to
        recover the allocated portion of liability and any additional damages, including
        punitive damages against the Chartered Organization and extracontractual damages
        against the affected insurers that may be assessed by the Court. Any recovery by
        way of judgment or settlement will be first applied to reimburse the Direct Abuse
        Claimant for his fees and expenses in prosecuting the Direct Abuse Claims and the
        remainder will be allocated in accordance with the Independent Review Option,
        provided that any punitive or extra-contractual damages shall be awarded solely to
        the Direct Abuse Claimant.



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                                      ARTICLE XIV
                               MISCELLANEOUS PROVISIONS

        A.     Non-Binding Effect of Settlement Trust and/or Litigation Outcome.
Notwithstanding any other provision of these TDP, the outcome of litigation against the Debtors
by the holder of an Indirect Abuse Claim shall not be used in, be admissible as evidence in, binding
in or have any other preclusive effect in connection with the Settlement Trust’s resolution or
valuation of an Indirect Abuse Claim.

        B.      Amendments. Except as otherwise provided herein, the Settlement Trustee may
not amend, modify, delete, or add to any provisions of these TDP without the written consent of
the STAC and the Future Claimants’ Representative, as provided in the Settlement Trust
Agreement, including amendments to modify the system for Tort Election Claims. Nothing herein
is intended to preclude the STAC and/or the Future Claimants’ Representative from proposing to
the Settlement Trustee, in writing, amendments to these TDP. Notwithstanding the foregoing,
absent Bankruptcy Court or District Court approval after appropriate notice and opportunity to
object, neither the Settlement Trustee nor the STAC or Future Claimants’ Representative may
amend these TDP in a material manner, including (i) to provide for materially different treatment
for Abuse Claims, (ii) to materially change the system for Tort Election Claimants, (iii) to add an
opportunity to make an Expedited Distribution Election for a claim represented by a Chapter 11
POC after the Voting Deadline, (iv) to materially alter the Independent Review Option, or (v) in a
manner that is otherwise inconsistent with the Confirmation Order or Plan. Notwithstanding the
foregoing, neither the Settlement Trustee nor the STAC or the Future Claimants’ Representative
may amend any of the forms of release set forth in Article IX.D without the consent of Reorganized
BSA, or remove the requirement of a release in connection with an Expedited Distribution.

        C.     Severability. Should any provision contained in these TDP be determined to be
unenforceable, such determination shall in no way limit or affect the enforceability and ope rative
effect of any and all other provisions of these TDP.

         D.      Offsets. The Settlement Trust shall have the right to offset or reduce the Allowed
Claim Amount of any Allowed Abuse Claim, without duplication as to the mitigating factors
(e.g., as to other responsible parties) on a dollar for dollar basis based on any amounts paid, agreed,
or reasonably likely to be paid to the holder of such Claim on account of such Claim as against a
Protected Party (or that reduces the liability thereof under applicable law) from any source other
than the Settlement Trust.

        E.     Governing Law. These TDP shall be interpreted in accordance with the laws of
the State of Delaware. Notwithstanding the foregoing, the evaluation of Abuse Claims under these
TDP and the law governing litigation in the tort system shall be the law of the jurisdiction in which
the Abuse Claimant files the lawsuit as described in Article XII or the jurisdiction where such
Abuse Claim could have been filed under applicable law.




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                                     Schedule 1

Mitigating Scaling Factor Ranges for Statutes of Limitation or Repose by State

                                      Legend
                             Tier                Scaling Factor
                            Open                      1.0
                            Gray 1                  .50-.70
                            Gray 2                  .30-.45
                            Gray 3                  .10-.25
                            Closed                  .01-.10


                            State                    Tier
                 Alabama                            Closed
                 Kansas                             Closed
                 Oklahoma                           Closed
                 Puerto Rico                        Closed
                 South Dakota                       Closed
                 Utah                               Closed
                 Wyoming                            Closed
                 ZZ / Federal                       Closed
                 Connecticut                        Gray 1
                 DC                                 Gray 1
                 Delaware                           Gray 1
                 Georgia                            Gray 1
                 Illinois                           Gray 1
                 Massachusetts                      Gray 1
                 New Mexico                         Gray 1
                 Oregon                             Gray 1
                 Washington                         Gray 1
                 Iowa                               Gray 2
                 Minnesota                          Gray 2
                 New Hampshire                      Gray 2
                 North Dakota                       Gray 2
                 Ohio                               Gray 2
                 Pennsylvania                       Gray 2



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           South Carolina                      Gray 2
           Tennessee                           Gray 2
           West Virginia                       Gray 2
           Alaska                              Gray 3
           Florida                             Gray 3
           Idaho                               Gray 3
           Indiana                             Gray 3
           Kentucky                            Gray 3
           Maryland                            Gray 3
           Michigan                            Gray 3
           Mississippi                         Gray 3
           Missouri                            Gray 3
           Nebraska                            Gray 3
           Nevada                              Gray 3
           Rhode Island                        Gray 3
           Texas                               Gray 3
           Virgin Islands                      Gray 3
           Virginia                            Gray 3
           Wisconsin                           Gray 3
           Arizona                              Open
           Arkansas                             Open
           California                           Open
           Colorado                             Open
           Guam                                 Open
           Hawaii                               Open
           Louisiana                            Open
           Maine                                Open
           Montana                              Open
           New Jersey                           Open
           New York                             Open
           North Carolina                       Open
           Vermont                              Open




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                                            EXHIBIT A

                                  EXPEDITED DISTRIBUTION

                 CLAIMANT RELEASE AND INDEMNIFICATION
               IN CONNECTION WITH EXPEDITED DISTRIBUTION
            FROM THE BOY SCOUTS OF AMERICA SETTLEMENT TRUST

To receive payment of an Expedited Award (as defined below) from the Boy Scouts Settlement
Hcfde $eYV nTrusto%& R_ V]ZXZS]V 8]RZ^R_e ^fde ViVTfeV R_U dfS^Ze e` eYV HcfdeVV $Rd UVWZ_VU
SV]`h% eYZd FV]VRdV R_U >_UV^_ZWZTReZ`_ $eYV nReleaseo%( HYZd FV]VRdV ^fde SV dZX_VU Sj eYV
8]RZ^R_e `c eYV 8]RZ^R_epd AVXR] FVacVdV_eReZgV $as defined below). A signature by an attorney
W`c eYV 8]RZ^R_e `c Sj R_ Ree`c_Vj W`c eYV 8]RZ^R_epd AVXR] FVacVdV_eReZgV Zd _`e dfWWZTZV_e(

>W j`f _VVU RddZdeR_TV& a]VRdV T`_eRTe eYV 8]RZ^d 6U^Z_ZdecRe`c Sj V^RZ] Re OwP `c Sj aY`_V e`]]-
WcVV Re OwP( M`f ^Rj also visit the BSA Abuse Survivor Website for additional information.

                                           DEFINITIONS

HYV UVWZ_ZeZ`_d dVe W`ceY RS`gV W`c eYV eVc^d nTrusto R_U nReleaseo RcV daVTZWZTR]]j Z_T`ca`cReVU
herein by reference as if fully set forth in this section.

All capitalized terms not otherwise defined herein shall have the same meaning ascribed to them
in the Chapter 11 Plan (as defined below).

nAbuseo ^VR_d sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation,
indecent assault or battery, rape, pedophilia, ephebophilia, sexually related psychological or
emotional harm, humiliation, anguish, shock, sickness, disease, disability, dysfunction, or
intimidation, any other sexual misconduct or injury, contacts or interactions of a sexual nature,
including the use of photography, video, or digital media, or other physical abuse or bullying or
harassment without regard to whether such physical abuse or bullying is of a sexual nature,
between a child and an adult, between a child and another child, or between a non-consenting adult
and another adult, in each instance without regard to whether such activity involved explicit force,
whether such activity involved genital or other physical contact, and whether there is or was any
associated physical, psychological, or emotional harm to the child or non-consenting adult.

nAbuse Claimo means a liquidated or unliquidated Claim against a Protected Party (including the
Settling Insurance Companies), a Limited Protected Party, or an Opt-Out Chartered Organization
or any of their respective Representatives (in their capacities as such) that is attributable to, arises
from, is based upon, relates to, or results from, directly, indirectly, or derivatively, alleged
Scouting-related Abuse that occurred prior to the Petition Date, including any such Claim that
seeks monetary damages or other relief, under any theory of law or equity whatsoever, including
vicarious liability, alter ego, respondeat superior, conspiracy, fraud, including fraud in the
inducement, any negligence-based or employment-based theory, including negligent hiring,
selection, supervision, retention or misrepresentation, any other theory based upon, or directly or
indirectly related to any insurance relationship, the provision of insurance or the provision of
insurance services to or by any Protected Parties, or misrepresentation, concealment, or unfair
practice, breach of fiduciary duty, public or private nuisance, gross negligence, willful misconduct,
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or any other theory, including any theory based on or related to public policy or any act or failure
to act, or failure to warn by a Protected Party, a Limited Protected Party, an Opt-Out Chartered
Organization, any of their respective Representatives (in their capacities as such) or any other
Person for whom any Protected Party, Limited Protected Party, or Opt-Out Chartered Organization
is alleged to be responsible (including any such Claim that has been asserted or may be amended
to assert in a proof of claim alleging Abuse, whether or not timely filed, in the Chapter 11 Cases,
or any such Claim that has been asserted against the Settlement Trust), including any proportionate
or allocable share of liability based thereon. Abuse Claims include any Future Abuse Claims, any
Indirect Abuse Claims, any Opt-Out Chartered Organization Abuse Claim and any other Claim
that is attributable to, arises from, is based upon, relates to, or results from, alleged Scouting-
related Abuse regardless of whether, as of the Petition Date, such Claim was barred by any
applicable statute of limitations. For the avoidance of doubt, (i) a Claim alleging Abuse shall not
SV R_ n6SfdV 8]RZ^o RXRZ_de R Ec`eVTeVU ERcej& AZ^ZeVU Ec`eVTeVU ERcej& `c Dae-Out Chartered
Organization or any of their respective Representatives if such Claim is unrelated to Scouting
(except as provided in (iii) below, including the portion of any Mixed Claim that is unrelated to
GT`feZ_X%5 $ZZ% R 8]RZ^ R]]VXZ_X 6SfdV dYR]] SV R_ n6SfdV 8]RZ^o RXRZ_de R Ec`eVTeVU ERcej&
Limited Protected Party, or Opt-Out Chartered Organization or any of their respective
Representatives (in their capacity as such) if such Claim is related to Scouting (including the
portion of any Mixed Claim that is related to Scouting); (iii) any portion of a Mixed Claim alleging
Abuse involving the Debtors, Reorganized BSA, Non-Debtor Entities, Local Councils, or their
respective Representatives (in their capacities as such) is necessarily Scouting-related and shall be
considered an Abuse Claim; and (iv) any Claim against the Debtors, Reorganized BSA, Non-
Debtor Entities, Local Councils, or their respective Representatives (in their capacities as such)
alleging Abuse is necessarily Scouting-related and shall be considered an Abuse Claim.

nAbuse Insurance Policieso means, collectively, the BSA Insurance Policies and the Local
Council Insurance Policies. Abuse Insurance Policies do not include Non-Abuse Insurance
Policies or Postpetition Insurance Policies.

nBankruptcy Courto ^VR_d eYV I_ZeVU GeReVd 7R_\cfaeTj 8`fce W`c eYV 9ZdecZTe `W 9V]RhRcV&
having subject matter jurisdiction over the Chapter 11 Cases and, to the extent of any reference
withdrawal made under section 157(d) of title 28 of the United States Code, the District Court.

nBSA Insurance Policieso means any and all known and unknown contracts, binders, certificates
or Insurance Policies currently or previously in effect at any time on or before the Petition Date
naming the Debtors, or either of them, or any predecessor, subsidiary, or past or present Affiliate
of the Debtors, as an insured (whether as the primary or an additional insured), or otherwise alleged
to afford the Debtors insurance coverage, upon which any claim could have been, has been, or may
be made with respect to any Abuse Claim, including the policies listed on Schedule 2 to the Chapter
11 Plan. Notwithstanding the foregoing, BSA Insurance Policies shall not include: (a) any policy
providing reinsurance to any Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any
Local Council Insurance Policy; or (d) any Postpetition Insurance Policy.

nChanneling Injunctiono means the permanent injunction provided for in Article X.F of the
Chapter 11 Plan with respect to (a) Abuse Claims against the Protected Parties, (b) Post-1975
Chartered Organization Abuse Claims against the Limited Protected Parties, (c) Abuse Claims
against the Limited Protected Parties that are covered under any insurance policy issued by the

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Settling Insurance Companies (as determined pursuant to Section X.F.3 of the Chapter 11 Plan),
and (d) Opt-Out Chartered Organization Abuse Claims against the Opt-Out Chartered
Organizations, to be issued pursuant to the Confirmation Order.

nChapter 11 Caseso ^VR_d eYV [`Z_e]j RU^Z_ZdeVcVU TRdVd f_UVc TYRaeVc ++ `W eYV 7R_\cfaeTj
Code commenced by the Debtors on the Petition Date in the Bankruptcy Court and currently styled
In re Boy Scouts of America and Delaware BSA, LLC, Bankruptcy Case No. 20-10343 (LSS)
(Jointly Administered).

nChapter 11 Plano `c nPlano ^VR_d eYV Third Modified Fifth Amended Chapter 11 Plan of
Reorganization (With Technical Modifications) for Boy Scouts of America and Delaware BSA,
LLC, filed in the Chapter 11 Cases (as the same may be amended or modified), and confirmed by
the Bankruptcy Court.

 nChartered Organizationso ^VR_d VRTY R_U VgVcj TZgZT, faith-based, educational or business
organization, governmental entity or organization, other entity or organization, or group of
individual citizens, in each case presently or formerly authorized by the BSA to operate, sponsor
or otherwise support one or more Scouting units.

nClaimanto ^VR_d eYV Y`]UVc `W R_ Abuse Claim who (i) elected to resolve his or her Abuse Claim
for the Expedited Distribution in accordance with the Chapter 11 Plan and Confirmation Order,
(ii) timely submitted to the Trust a properly and substantially completed, non-duplicative proof of
claim or Future Abuse Claim, and (iii) personally signed his or her proof of claim or Future Abuse
Claim attesting to the truth of its contents under penalty of perjury, or supplemented his or her
proof of claim to so provide such verification.

nConfirmation Ordero ^VR_d eYV `cUVc `W eYV 7R_\cfaeTj 8`fce T`_WZc^Z_X eYV E]R_ afcdfR_e e`
section 1129 of the Bankruptcy Code, which shall be in form and substance acceptable to (a) the
Debtors, the Ad Hoc Committee, the Coalition, H`ce 8]RZ^R_edp 8`^^ZeeVV& the Future ClRZ^R_edp
Representative, the Settling Insurance Companies (in accordance with their respective Insurance
Settlement Agreement), and the Contributing Chartered Organizations, R_U $S% eYV 8cVUZe`cdp
Committee and JPM in accordance with their respective conse_e cZXYed f_UVc eYV ?EB ) 8cVUZe`cdp
Committee Term Sheet, as incorporated by reference in Article I.D of the Chapter 11 Plan.

nContributing Chartered Organizationso means the current or former Chartered Organizations
listed on Exhibit D to the Plan and any Chartered Organization made a Protected Party under a
Post-Effective Date Chartered Organization Settlement approved by the Bankruptcy Court in
accordance with Article IV.I in the Plan. No Participating Chartered Organization shall be
considered a Contributing Chartered Organization based solely on the Participating Chartered
Organization Insurance Assignment. Without limiting the foregoing, subject to Confirmation of
the Plan and approval of the United Methodist Settlement Agreement by an order of the
Bankruptcy Court (including in the Confirmation Order), the United Methodist Entities are
Contributing Chartered Organizations and shall be designated as such in the Confirmation Order
and the Affirmation Order. No Chartered Organization shall be a Contributing Chartered
Organization unless it agrees to provide the assignments and releases as set forth in Sections 9 and
10 of the Century and Chubb Companies Insurance Settlement Agreement.


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 nDebtorso ^VR_d Boy Scouts of America and Delaware BSA, LLC, the debtors and debtors-in-
possession in the Chapter 11 Cases.

nDirect Abuse Claimo ^VR_d R_ 6SfdV 8]RZ^ eYRe Zd _`e an Indirect Abuse Claimmi.e., is not a
liquidated or unliquidated Abuse Claim for contribution, indemnity, reimbursement, or
subrogation, whether contractual or implied by law (as those terms are defined by the applicable
non-bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind
whatsoever, whether in the nature of or sounding in contract, tort, warranty or any other theory of
law or equity whatsoever, including any indemnification, reimbursement, hold-harmless or other
payment obligation provided for under any prepetition settlement, insurance policy, program
agreement or contract; provided, however, that any retrospective premiums and self-insured
retentions arising out of any Abuse Claims under the Abuse Insurance Policies shall not constitute
an Indirect Abuse Claim.

nDistrict Courto ^VR_d eYV I_ZeVU GeReVd 9ZdecZTe 8`fce W`c eYV 9ZdecZTe `W 9V]RhRcV& YRgZ_X
jurisdiction in the Chapter 11 Cases.

nExpedited Awardo ^VR_d eYV T`^aV_dReZ`_ R 8]RZ^R_e cVTVZgVd `_ SVYR]W `W eYV 8]RZ^R_epd
Abuse Claim as a result of the election to receive the Expedited Distribution in accordance with
the Plan and Confirmation Order.

nInsurance Settlement Agreemento means (a) any settlement agreement entered into after the
Petition Date and before the Effective Date by and among (i) any Insurance Company, on the one
hand, and (ii) one or more of the Debtors and/or any other Protected Party or Limited Protected
Party, on the other hand, under which an Insurance Policy and/or the Debtorsp and/or other
ProeVTeVU ERceZVdp `c AZ^ZeVU Ec`eVTeVU ERceZVdp cZXYed eYVcVf_UVc hZeY cVdaVTe e` 6SfdV 8]RZ^d `c
Non-Abuse Litigation Claims are, subject to Confirmation of the Plan and the entry of a Final
Order approving such settlement agreement (which order may be the Confirmation Order),
released; and (b) any Post-Effective Date Insurance Settlement entered into during the Insurance
Settlement Period by and between (i) any Insurance Company, on the one hand, and (ii) the
Settlement Trustee (or the Settlement Trustee and any other Protected Party), on the other hand,
under which an Insurance Policy that is subject to the Insurance Assignment and/or the Settlement
HcfdeVVpd R_U)`c Ec`eVTeVU ERceZVdp `c AZ^ZeVU Ec`eVTeVU ERceZVdp cZXYed eYVcVf_UVc hZeY cVdaVTe e`
Abuse Claims or Non-Abuse Litigation Claims are released. All Insurance Settlement Agreements
entered into before the Effective Date related to Specified Primary Insurance Policies that release
the applicable Insurance Company from liability arising from Non-Abuse Litigation Claims must
SV RTTVaeRS]V e` eYV 8cVUZe`cdp 8`^^ZeeVV Z_ RTT`cUR_TV hZeY eYV eVc^d `W eYV ?EB ) 8cVUZe`cdp
Committee Term Sheet; provided, however, that with respect to proposed settlements of any
Specified Excess Insurance Policy entered into SVW`cV eYV :WWVTeZgV 9ReV& eYV 8cVUZe`cdp
Committee shall have consultation rights.

nLegal Representativeo ^VR_d R aVcd`_R] cVacVdV_eReZgV& XfRcUZR_& T`_dVcgRe`c& aRcV_e $`_ SVYR]W
of a minor), executor of an estate or a similar representative who has been appointed by a court or
has other legal authorization to file a proof of claim and/or an Abuse Claim and execute this
Release on behalf of the Claimant.



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“Limited Protected Parties” means the Participating Chartered Organizations and all of such
EVcd`_dp FVacVdV_eReZgVd hYV_ RTeZ_X Z_ dfTY cVacVdV_eReZgV TRaRTZej5 ac`gZUVU& Y`hVgVc& eYRe _`
Perpetrator is or shall be a Limited Protected Party.

“Local Councils” means, collectively, each and every current or former local council of the BSA,
including each and every current local council of the BSA as listed on Exhibit G to the Plan,
ndfaa`ceZ_X `cXR_ZkReZ`_do hZeYZ_ eYV ^VR_Z_X `W ,0 I(G(8( l /*3 hZeY cVdaVTe e` R_j A`TR]
Council, ScoutZ_X f_Zed $Z_T]fUZ_X nec``ad&o nUV_d&o naRT\d&o na`ded&o nT]fSd&o nTcVhd&o ndYZad&o
necZSVd&o n]RSd&o n]`UXVd&o nT`f_TZ]d&o nUZdecZTed&o nRcVRd&o ncVXZ`_d&o R_U neVccZe`cZVdo% Rdd`TZReVU
with any Local Council, and all Entities that hold, own, or operate any camp or other property that
is operated in the name of or for the benefit of any of the foregoing.

nLocal Council Insurance Policieso means any and all known and unknown contracts, binders,
certificates or insurance policies currently or previously in effect at any time on or before the
Petition Date naming the Local Councils, or any of them, or any predecessor, subsidiary, or past
or present Affiliate of any Local Council, as an insured (whether as the primary or an additional
insured), or otherwise alleged to afford any Local Council insurance coverage, upon which any
claim could have been, has been or may be made with respect to any Abuse Claim, including the
policies identified on Schedule 3 to the Chapter 11 Plan. Notwithstanding the foregoing, Local
Council Insurance Policies shall not include: (a) any policy providing reinsurance to any Settling
Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any BSA Insurance Policy; or (d)
any Postpetition Insurance Policy.

nMixed Claimo means a claim that makes allegations of Abuse related to or arising from Scouting
as well as Abuse that occurred prior to the Petition Date unrelated to or not arising from Scouting.
A claim shall not be treated as a Mixed Claim unless and until Scouting-related Abuse allegations
have been asserted through a Proof of Claim, the complaint, sworn discovery or testimony
(including by affidavit).

“Participating Chartered Organization” means a Chartered Organization (other than a
Contributing Chartered Organization, including the United Methodist Entities) that does not (a)
`S[VTe e` T`_WZc^ReZ`_ `W eYV E]R_ `c $S% Z_W`c^ 9VSe`cdp T`f_dV] Z_ hcZeZ_X `_ `c SVW`cV eYV
confirmation objection deadline that it does not wish to make the Participating Chartered
Organization Insurance Assignment. Notwithstanding the foregoing, with respect to any Chartered
Organization that is a debtor in bankruptcy as of the Confirmation Date, such Chartered
Organization shall be a Participating Chartered Organization only if it advises Debtordp T`f_dV] Z_
writing that it wishes to make the Participating Chartered Organization Insurance Assignment,
and, for the avoidance of doubt, absent such written advisement, none of such Chartered
DcXR_ZkReZ`_pd cZXYed e` `c f_UVc eYV 6SfdV >_dfcR_TV E`]ZTZes shall be subject to the Participating
Chartered Organization Insurance Assignment. A list of Chartered Organizations that are debtors
in bankruptcy and may not be Participating Chartered Organizations is attached as Exhibit K to
the Plan. For the avoidance of doubt, any Chartered Organization that is a member of an ad hoc
group or committee that objects to the confirmation of the Plan shall not be a Participating
Chartered Organization.

nPerpetratoro ^VR_d any individual who personally committed or is alleged to have personally
committed an act of Abuse that forms the basis for an Abuse Claim; provided for the avoidance of

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U`fSe eYRe eYV eVc^ nEVcaVecRe`co dYR]] `_]j Z_T]fUV _RefcR] persons and not The Church of Jesus
Christ of Latter-day Saints, a Utah corporation sole. The eVc^ nEVcaVecRe`co U`Vd _`e Z_T]fUV R_j
individual who did not personally commit or is not alleged to have personally committed an act of
Abuse that forms the basis for an Abuse Claim, against whom an Abuse Claim is nevertheless
asserted or may be asserteU& Z_T]fUZ_X Sj gZcefV `W dfTY Z_UZgZUfR]pd a`dZeZ`_ `c dVcgZTV Rd R_
V^a]`jVV `c g`]f_eVVc `W eYV 9VSe`cd `c Rd R GT`fe aRceZTZaR_e& `c Sj gZcefV `W dfTY Z_UZgZUfR]pd
position or service as an employee or volunteer of a Local Council or a Chartered Organization or
as a Scout participant.

nProtected Partieso means the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
Related Non-Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered
Organizations; (f) the Settling Insurance C`^aR_ZVd5 R_U $X% R]] `W dfTY EVcd`_dp FVacVdV_eReZgVd5
provided, however, that no Perpetrator is or shall be a Protected Party. Notwithstanding the
foregoing, a Contributing Chartered Organization shall be a Protected Party with respect to Abuse
Claims o_]j Rd dVe W`ceY Z_ eYV UVWZ_ZeZ`_ `W n6SfdV 8]RZ^(o

nReleased Partieso means the Trust, the Trustee, the STAC, the Claims Administrator, the
Protected Parties, the Chartered Organizations, including all Chartered Organizations that are not
Protected Parties or Limited Protected Parties, and each of their respective predecessors,
successors, assigns, assignors, representatives, members, officers, employees, agents, consultants,
lawyers, advisors, professionals, trustees, insurers, beneficiaries, administrators, and any natural,
legal, or juridical person or entity acting on behalf of or having liability in respect of the Trust, the
Trustee, the STAC, the Claims Administrator, the Protected Parties, or the Chartered
Organizations.

nScouting-relatedo ^VR_d R_jeYZ_X eYRe Zd ReecZbutable to, arises from, is based upon, results
from, or relates to, in whole or in part, directly, indirectly, or derivatively, Scouting.

nSettling Insurance Companyo means any Insurance Company that contributes funds, proceeds
or other consideration to or for the benefit of the Settlement Trust pursuant to an Insurance
Settlement Agreement that is approved by (a) an order of the Bankruptcy Court (including the
Confirmation Order) and is designated as a Settling Insurance Company in the Confirmation Order
or the Affirmation Order or (b) the Settlement Trust. Without limiting the foregoing, subject to
Confirmation of the Plan and approval of the applicable Insurance Settlement Agreement by an
order or orders of the Bankruptcy Court (including in the Confirmation Order), Century, the Chubb
Companies, Clarendon, the Hartford Protected Parties, the Zurich Affiliated Insurers and the
Zurich Insurers are each Settling Insurance Companies and shall be designated as such in the
Confirmation Order and the Affirmation Order.

nSTACo ^VR_d eYV GVee]V^V_e Hcfde 6UgZd`cj 8`^^ZeeVV Raa`Z_eVU e` `gVcdVV eYV Hcfde Z_
accordance with the Chapter 11 Plan and the Trust Agreement.

 nTDPo ^VR_d eYV 7`j GT`fed `W 6^VcZTR Hcfde 9ZdecZSfeZ`_ Ec`TVUfcVd W`c 6SfdV 8]RZ^d&
substantially in the form attached as Exhibit A to the Chapter 11 Plan and filed in the Chapter 11
Cases on August ___, 2022, as may be amended and supplemented thereafter from time to time.



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 nTrust Agreemento ^VR_d eYV Settlement Trust Agreement dated as of the Effective Date,
substantially in the form attached to the Chapter 11 Plan as Exhibit B, as the same may be amended
or modified from time to time in accordance with the terms thereof.

nTrusteeo ^VR_d OwP `c R_j `eYVc aVcd`_ Raa`Z_eVU e` dVcgV Rd ecfdeVV f_UVc R_U Z_ RTT`cUR_TV
with the Trust Agreement.

                             RELEASE AND INDEMNIFICATION
       A.         In consideration of the benefit of an Expedited Award from the Trust, and without
limiting any of the Releases or Injunctions in the Plan, which remain in full force and effect in
favor of the Protected Parties, the Limited Protected Parties, and Opt-Out Chartered Organizations
(as set forth in the Plan), I, on my own behalf and on behalf of my respective predecessors,
successors, assigns, assignors, representatives, attorneys, agents, trustees, insurers, heirs, next of
kin, estates, beneficiaries, executors, administrators, and any natural, legal, or juridical person or
entity to the extent he, she, or it is entitled to assert any claim on my behalf, including, but not
]Z^ZeVU e`& R AVXR] FVacVdV_eReZgV& $YVcVRWeVc nIo& nmyo `c nmeo%& U` YVcVSj g`]f_eRcZ]j,
intentionally, knowingly, absolutely, unconditionally, irrevocably, and fully waive, release, remit,
acquit, forever discharge, and covenant not to knowingly sue or continue prosecution against the
Released Parties, or any of them, from and with respect to any and all claims, including, but not
limited to, all claims as defined in section 101(5) of the Bankruptcy Code, charges, complaints,
demands, obligations, causes of action, losses, expenses, suits, awards, promises, agreements,
rights to payment, right to any equitable remedy, rights of any contribution, indemnification,
reimbursement, subrogation or similar rights, demands, debts, liabilities, express or implied
contracts, obligations of payment or performances, rights of offset or recoupment, costs, expenses,
Ree`c_Vjdp R_U `eYVc ac`WVddZ`_R] WVVd Rnd expenses, compensation or other relief, and liabilities of
any nature whatsoever whether present or future, known or unknown, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, absolute or contingent, direct or derivative
and whether based on contract, tort, statutory, or any other legal or equitable theory of recovery
$T`]]VTeZgV]j& nReleased Claimso% RcZdZ_X Wc`^& cV]ReZ_X e`& cVdf]eZ_X Wc`^ `c Z_ R_j hRj T`__VTeVU
to, in whole or in part, my Abuse Claim (solely to the extent asserted against any of the Protected
Parties and the Chartered Organizations) R_U eYV UZdTYRcXV `W eYV FV]VRdVU ERceZVdp Ufeies and
responsibilities under the Trust Agreement, including any agreement, document, instrument or
certification contemplated by the Trust Agreement, the TDP, the Chapter 11 Plan, the formulation,
preparation, negotiation, execution or consummation of the Trust Agreement, the TDP and the
Chapter 11 Plan, and any and all other orders of the District Court or Bankruptcy Court relating to
the Released Parties and/or their duties and responsibilities, from the beginning of time through
the execution date of this Release. I covenant and agree that I will honor the release as set forth in
the preceding sentence and, further, that I will not (i) knowingly institute or continue prosecution
of a lawsuit or other action against any Released Party based upon, arising out of, or relating to
any Released Claims released hereby, (ii) knowingly participate, assist, or cooperate in any such
action, or (iii) knowingly encourage, assist and/or solicit any third party to institute any such action.

     B.         Without limiting the foregoing, and notwithstanding anything to the contrary in this
Release, the release set forth herein shall not apply in favor of the Trust as to my right to payment
of my Award due from the Trust.


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      C.        Without limiting the foregoing, and notwithstanding anything to the contrary in this
Release, in consideration of the benefit of the contribution made by each Settling Insurance
Company to the Trust pursuant to an Insurance Settlement Agreement and the payment by the
Trust to me of the Expedited Award, I do hereby voluntarily, intentionally, knowingly, absolutely,
unconditionally, irrevocably, and fully waive, release, remit, acquit, forever discharge, and
covenant not to knowingly sue or continue prosecution against (i) each Settling Insurance
Company and (ii) any insured, co-insured or other third party (including any Local Council, any
other Protected Party, any Limited Protected Party, and any other Chartered Organization) under
any Abuse Insurance Policy issued by any Settling Insurance Company or any other insurance
policy issued by any Settling Insurance Company, including a policy issued to a Chartered
Organization $R_j dfTY eYZcU aRcej& R_ nInsured Party Releaseeo%& in the case of (i) or (ii) from
and with respect to any Abuse Claim.

      D.       I, as assignor, hereby transfer and assign to the Trust, as assignee, any rights,
claims, benefits, or Causes of Action arising out of or related to my Abuse Claim that are not
released herein, (i) and that are against Non-Settling Insurance Companies or (ii) to the extent my
Abuse Claim is resolved pursuant to the Independent Review Option under the TDP.

       E.        I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction, and the Confirmation Order, the Debtors have been fully and completely discharged
and released, including their respective property and successors and assigns, from any and all
liability arising from or related to my Abuse Claim, which liability shall be assumed by the Trust
pursuant to the Plan.

      F.       I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction, and the Confirmation Order, the sole recourse of any holder of an Abuse Claim against
a Protected Party (or any holder of a Post-1975 Chartered Organization Abuse Claim or Pre-1976
Chartered Organization Abuse Claim against a Limited Protected Party, or any holder of an Opt-
Out Chartered Organization Abuse Claim against an Opt-Out Chartered Organization) on account
of such Abuse Claim (or Post-1975 Chartered Organization Abuse Claim, Pre-1976 Chartered
Organization Abuse Claim, or Opt-Out Chartered Organization Abuse Claim) on account of such
Abuse Claim (or Post-1975 Chartered Organization Abuse Claim, Pre-1976 Chartered
Organization Abuse Claim, or Opt-Out Chartered Organization Abuse Claim) shall be to and
against the Trust and such holder shall have no right whatsoever at any time to assert such Abuse
Claim against any Protected Party or any property or interest in property of any Protected Party
(or to assert any Post-1975 Chartered Organization Abuse Claim or Pre-1976 Chartered
Organization Abuse Claim against a Limited Protected Party or any property or interest in property
of any Limited Protected Party, or to assert any Opt-Out Chartered Organization Abuse Claim
against an Opt-Out Chartered Organization or any property or interest in property of any Opt-Out
Chartered Organization).

      G.       I hereby acknowledge that, pursuant to this Release, I am voluntarily providing a
release to all Insured Party Releasees and Chartered Organizations, including all Chartered
Organizations that are not Protected Parties or Limited Protected Parties, and I shall have no
remedies with respect to my Abuse Claim against any Insured Party Releasees and Chartered

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Organizations, including those that are not Protected Parties and Limited Protected Parties. This
Release does not release claims that have been assigned to the Trust and I acknowledge I will have
no personal rights in such assigned claims.

      H.        In further consideration of the benefit of an Expedited Award, I shall indemnify
and forever hold harmless, and pay all final judgments, damages, costs, expenses, fines, penalties,
Z_eVcVde& ^f]eZa]ZVcd& `c ]ZRSZ]ZeZVd Z_ hYRed`VgVc _RefcV& Z_T]fUZ_X T`ded `W UVWV_dV R_U Ree`c_Vjdp
fees of, the Trust, the Trustee, the STAC, and the Claims Administrator arising from my failure to
comply with the terms of this Release.

      I. I acknowledge that the Trust is not providing any tax advice with respect to the receipt of
the Expedited Award or any component thereof, and I understand and agree that I shall be solely
responsible for compliance with all tax laws with respect to the Expedited Award, to the extent
applicable.

Claimant or Legal Representative Printed Name:


Claimant or Legal Representative Signature:


Date:




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                                             EXHIBIT B

            CONDITIONAL RELEASE OF CHARTERED ORGANIZATIONS

     CLAIMANT RELEASE AND INDEMNIFICATION IN CONNECTION WITH
  DISTRIBUTION FROM THE BOY SCOUTS OF AMERICA SETTLEMENT TRUST

To receive payment of an Award (as defined below) from the Boy Scouts Settlement Trust
(the nTrusto% and have the opportunity to share in any settlement proceeds received from a
Chartered Organization (as defined below) that is or becomes a Protected Party (as defined below),
an eligible Claimant must execute and submit to the Trustee (as defined below) this Release and
>_UV^_ZWZTReZ`_ $eYV nReleaseo%( HYZd FV]VRdV ^fde SV dZX_VU Sj eYV 8]RZ^R_e `c eYV 8]RZ^R_epd
Legal Representative (as defined below). A signature by an attorney for the Claimant or by an
Ree`c_Vj W`c eYV 8]RZ^R_epd AVXR] FVacVdV_eReZgV is not sufficient.

If you need assistance, please contact the Claims Administrators Sj V^RZ] Re OwP `c Sj aY`_V e`]]-
WcVV Re OwP( M`f ^Rj R]d` gZdZe eYV 7G6 Abuse Survivor Website for additional information.

                                           DEFINITIONS

The definitions set forth above foc eYV eVc^d nTrusto R_U nReleaseo RcV daVTZWZTR]]j Z_T`ca`cReVU
herein by reference as if fully set forth in this section.

All capitalized terms not otherwise defined herein shall have the same meaning ascribed to them
in the Chapter 11 Plan (as defined below).

nAbuseo ^VR_d sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation,
indecent assault or battery, rape, pedophilia, ephebophilia, sexually related psychological or
emotional harm, humiliation, anguish, shock, sickness, disease, disability, dysfunction, or
intimidation, any other sexual misconduct or injury, contacts or interactions of a sexual nature,
including the use of photography, video, or digital media, or other physical abuse or bullying or
harassment without regard to whether such physical abuse or bullying is of a sexual nature,
between a child and an adult, between a child and another child, or between a non-consenting adult
and another adult, in each instance without regard to whether such activity involved explicit force,
whether such activity involved genital or other physical contact, and whether there is or was any
associated physical, psychological, or emotional harm to the child or non-consenting adult.

nAbuse Claimo means a liquidated or unliquidated Claim against a Protected Party (including the
Settling Insurance Companies), a Limited Protected Party, or an Opt-Out Chartered Organization
or any of their respective Representatives (in their capacities as such) that is attributable to, arises
from, is based upon, relates to, or results from, directly, indirectly, or derivatively, alleged
Scouting-related Abuse that occurred prior to the Petition Date, including any such Claim that
seeks monetary damages or other relief, under any theory of law or equity whatsoever, including
vicarious liability, alter ego, respondeat superior, conspiracy, fraud, including fraud in the
inducement, any negligence-based or employment-based theory, including negligent hiring,
selection, supervision, retention or misrepresentation, any other theory based upon, or directly or
indirectly related to any insurance relationship, the provision of insurance or the provision of
insurance services to or by any Protected Parties, or misrepresentation, concealment, or unfair
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practice, breach of fiduciary duty, public or private nuisance, gross negligence, willful misconduct,
or any other theory, including any theory based on or related to public policy or any act or failure
to act, or failure to warn by a Protected Party, a Limited Protected Party, an Opt-Out Chartered
Organization, any of their respective Representatives (in their capacities as such) or any other
Person for whom any Protected Party, Limited Protected Party, or Opt-Out Chartered Organization
is alleged to be responsible (including any such Claim that has been asserted or may be amended
to assert in a proof of claim alleging Abuse, whether or not timely filed, in the Chapter 11 Cases,
or any such Claim that has been asserted against the Settlement Trust), including any proportionate
or allocable share of liability based thereon. Abuse Claims include any Future Abuse Claims, any
Indirect Abuse Claims, any Opt-Out Chartered Organization Abuse Claim and any other Claim
that is attributable to, arises from, is based upon, relates to, or results from, alleged Scouting-
related Abuse regardless of whether, as of the Petition Date, such Claim was barred by any
applicable statute of limitations. For the avoidance of doubt, (i) a Claim alleging Abuse shall not
SV R_ n6SfdV 8]RZ^o RXRZ_de R Ec`eVTeVU ERcej& AZ^ZeVU Ec`eVTeVU ERcej& `c Dae-Out Chartered
Organization or any of their respective Representatives if such Claim is unrelated to Scouting
(except as provided in (iii) below, including the portion of any Mixed Claim that is unrelated to
GT`feZ_X%5 $ZZ% R 8]RZ^ R]]VXZ_X 6SfdV dYR]] SV R_ n6SfdV 8]RZ^o RXRZ_de R Ec`eVTeVU ERcej&
Limited Protected Party, or Opt-Out Chartered Organization or any of their respective
Representatives (in their capacity as such) if such Claim is related to Scouting (including the
portion of any Mixed Claim that is related to Scouting); (iii) any portion of a Mixed Claim alleging
Abuse involving the Debtors, Reorganized BSA, Non-Debtor Entities, Local Councils, or their
respective Representatives (in their capacities as such) is necessarily Scouting-related and shall be
considered an Abuse Claim; and (iv) any Claim against the Debtors, Reorganized BSA, Non-
Debtor Entities, Local Councils, or their respective Representatives (in their capacities as such)
alleging Abuse is necessarily Scouting-related and shall be considered an Abuse Claim.

nAbuse Insurance Policieso means, collectively, the BSA Insurance Policies and the Local
Council Insurance Policies. Abuse Insurance Policies do not include Non-Abuse Insurance
Policies or Postpetition Insurance Policies.

nAwardo ^VR_d eYV T`^aV_dReZ`_ R 8]RZ^R_e cVTVZgVd `_ SVYR]W `W eYV 8]RZ^R_epd 6SfdV 8]RZ^(

nBankruptcy Courto ^VR_d eYV I_ZeVU GeReVd 7R_\cfaeTj 8`fce W`c eYV 9ZdecZTe `W 9V]RhRcV&
having subject matter jurisdiction over the Chapter 11 Cases and, to the extent of any reference
withdrawal made under section 157(d) of title 28 of the United States Code, the District Court.

nBSA Insurance Policieso means any and all known and unknown contracts, binders, certificates
or Insurance Policies currently or previously in effect at any time on or before the Petition Date
naming the Debtors, or either of them, or any predecessor, subsidiary, or past or present Affiliate
of the Debtors, as an insured (whether as the primary or an additional insured), or otherwise alleged
to afford the Debtors insurance coverage, upon which any claim could have been, has been, or may
be made with respect to any Abuse Claim, including the policies listed on Schedule 2 to the Chapter
11 Plan. Notwithstanding the foregoing, BSA Insurance Policies shall not include: (a) any policy
providing reinsurance to any Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any
Local Council Insurance Policy; or (d) any Postpetition Insurance Policy.



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nChanneling Injunctiono means the permanent injunction provided for in Article X.F of the Plan
with respect to (a) Abuse Claims against the Protected Parties, (b) Post-1975 Chartered
Organization Abuse Claims against the Limited Protected Parties, (c) Abuse Claims against the
Limited Protected Parties that are covered under any insurance policy issued by the Settling
Insurance Companies (as determined pursuant to Section X.F.3 of the Plan), and (d) Opt-Out
Chartered Organization Abuse Claims against the Opt-Out Chartered Organizations, to be issued
pursuant to the Confirmation Order.

nChapter 11 Caseso ^VR_d eYV [`Z_e]j RU^Z_ZdeVcVU TRdVd f_UVc TYRaeVc ++ `W eYV 7R_\cfaeTj
Code commenced by the Debtors on the Petition Date in the Bankruptcy Court and currently styled
In re Boy Scouts of America and Delaware BSA, LLC, Bankruptcy Case No. 20-10343 (LSS)
(Jointly Administered).

nChapter 11 Plano `c nPlano ^VR_d eYV Third Modified Fifth Amended Chapter 11 Plan of
Reorganization (With Technical Modifications) for Boy Scouts of America and Delaware BSA,
LLC, filed in the Chapter 11 Cases (as the same may be amended or modified), and confirmed by
the Bankruptcy Court.

 nChartered Organizationso ^VR_d VRTY R_U VgVcj TZgZT, faith-based, educational or business
organization, governmental entity or organization, other entity or organization, or group of
individual citizens, in each case presently or formerly authorized by the BSA to operate, sponsor
or otherwise support one or more Scouting units.

nClaimanto ^VR_d eYV Y`]UVc `W R Abuse Claim who (i) timely submitted an Abuse Claim Proof
of Claim or Trust Claim Submission to the Settlement Trust, (ii) has had his or her Abuse Claim
channeled to the Trust for evaluation, resolution, and payment pursuant to the Plan and the
Channeling Injunction, and (iii) is signing and executing this Release (or on whose behalf this
Release is being signed and executed by a Legal Representative).

nConfirmation Ordero ^VR_d eYV `cUVc `W eYV 7R_\cfaeTj 8`fce T`_WZc^Z_X eYV E]R_ afcdfR_e e`
section 1129 of the Bankruptcy Code, which shall be in form and substance acceptable to (a) the
Debtors, the Ad Hoc Committee, the Coalition, H`ce 8]RZ^R_edp 8`^^ZeeVV& eYV ;fefcV 8]RZ^R_edp
Representative, the Settling Insurance Companies (in accordance with their respective Insurance
Settlement Agreement), and the Contributing Chartered Organizations, R_U $S% eYV 8cVUZe`cdp
8`^^ZeeVV R_U ?EB Z_ RTT`cUR_TV hZeY eYVZc cVdaVTeZgV T`_dV_e cZXYed f_UVc eYV ?EB ) 8cVUZe`cdp
Committee Term Sheet, as incorporated by reference in Article I.D of the Chapter 11 Plan.

nContributing Chartered Organizationso means the current or former Chartered Organizations
listed on Exhibit D to the Plan and any Chartered Organization made a Protected Party under a
Post-Effective Date Chartered Organization Settlement approved by the Bankruptcy Court in
accordance with Article IV.I of the Plan. No Participating Chartered Organization shall be
considered a Contributing Chartered Organization based solely on the Participating Chartered
Organization Insurance Assignment. Without limiting the foregoing, subject to Confirmation of
the Plan and approval of the United Methodist Settlement Agreement by an order of the
Bankruptcy Court (including in the Confirmation Order), the United Methodist Entities are
Contributing Chartered Organizations and shall be designated as such in the Confirmation Order
and the Affirmation Order. No Chartered Organization shall be a Contributing Chartered

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Organization unless it agrees to provide the assignments and releases as set forth in Sections 9 and
10 of the Century and Chubb Companies Insurance Settlement Agreement .

 nDebtorso ^VR_d Boy Scouts of America and Delaware BSA, LLC, the debtors and debtors-in-
possession in the Chapter 11 Cases.

nDirect Abuse Claimo ^VR_d R_ 6SfdV 8]RZm that is not an Indirect Abuse Claimmi.e., is not a
liquidated or unliquidated Abuse Claim for contribution, indemnity, reimbursement, or
subrogation, whether contractual or implied by law (as those terms are defined by the applicable
non-bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind
whatsoever, whether in the nature of or sounding in contract, tort, warranty or any other theory of
law or equity whatsoever, including any indemnification, reimbursement, hold-harmless or other
payment obligation provided for under any prepetition settlement, insurance policy, program
agreement or contract; provided, however, that any retrospective premiums and self-insured
retentions arising out of any Abuse Claims under the Abuse Insurance Policies shall not constitute
an Indirect Abuse Claim.

nDistrict Courto ^VR_d eYV I_ZeVU GeReVd 9ZdecZTe 8`fce W`c eYV 9ZdecZTe `W 9V]RhRcV& YRgZ_X
jurisdiction in the Chapter 11 Cases.

nInsurance Settlement Agreemento means (a) any settlement agreement entered into after the
Petition Date and before the Effective Date by and among (i) any Insurance Company, on the one
hand, and (ii) one or more of the Debtorsp and/or any other Protected Party or Limited Protected
Party, on the other hand, under which an Insurance Policy and/or the Debtors and/or other
Ec`eVTeVU ERceZVdp `c AZ^ZeVU Ec`eVTeVU ERceZVdp cZXYed eYVcVf_UVc hZeY cVdaVTe e` 6SfdV 8]RZ^d `c
Non-Abuse Litigation Claims are, subject to Confirmation of the Plan and the entry of a Final
Order approving such settlement agreement (which order may be the Confirmation Order),
released; and (b) any Post-Effective Date Insurance Settlement entered into during the Insurance
Settlement Period by and between (i) any Insurance Company, on the one hand, and (ii) the
Settlement Trustee (or the Settlement Trustee and any other Protected Party), on the other hand,
under which an Insurance Policy that is subject to the Insurance Assignment and/or the Settlement
HcfdeVVpd R_U)`c Ec`eVTeVU ERceZVdp `c AZ^ZeVU Ec`eVTeVU ERceZVdp cZXYed eYVcVf_UVc hZeY cVdaVTe e`
Abuse Claims or Non-Abuse Litigation Claims are released. All Insurance Settlement Agreements
entered into before the Effective Date related to Specified Primary Insurance Policies that release
the applicable Insurance Company from liability arising from Non-Abuse Litigation Claims must
SV RTTVaeRS]V e` eYV 8cVUZe`cdp 8`^^ZeeVV Z_ RTT`cUR_TV hZeY eYV eVc^d `W eYV ?EB ) 8cVUZe`cdp
Committee Term Sheet; provided, however, that with respect to proposed settlements of any
GaVTZWZVU :iTVdd >_dfcR_TV E`]ZTj V_eVcVU Z_e` SVW`cV eYV :WWVTeZgV 9ReV& eYV 8cVUZe`cdp
Committee shall have consultation rights.

nLegal Representativeo ^VR_d R aVcd`_R] cVacVdV_eReZgV& XfRcUZR_& T`_dVcgRe`c& aRcV_e $`_ SVYR]W
of a minor), executor of an estate or a similar representative who has been appointed by a court or
has other legal authorization to file a proof of claim and/or an Abuse Claim and execute this
Release on behalf of the Claimant.




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“Limited Protected Parties” means the Participating Chartered Organizations and all of such
EVcd`_dp FVacVdV_eReZgVd hYV_ RTeZ_X Z_ dfTY cVacVdV_eReZgV TRaRTZej5 ac`gZUVU& Y`hVgVc& eYRe _`
Perpetrator is or shall be a Limited Protected Party.

“Local Councils” means, collectively, each and every current or former local council of the BSA,
including each and every current local council of the BSA as listed on Exhibit G to the Plan,
ndfaa`ceZ_X `cXR_ZkReZ`_do hZeYZ_ eYV ^VR_Z_X `W ,0 I(G(8( l /*3 hZeY cVdaVTe e` R_j A`TR]
Counci]& GT`feZ_X f_Zed $Z_T]fUZ_X nec``ad&o nUV_d&o naRT\d&o na`ded&o nT]fSd&o nTcVhd&o ndYZad&o
necZSVd&o n]RSd&o n]`UXVd&o nT`f_TZ]d&o nUZdecZTed&o nRcVRd&o ncVXZ`_d&o R_U neVccZe`cZVdo% Rdd`TZReVU
with any Local Council, and all Entities that hold, own, or operate any camp or other property that
is operated in the name of or for the benefit of any of the foregoing.

nLocal Council Insurance Policieso means any and all known and unknown contracts, binders,
certificates or insurance policies currently or previously in effect at any time on or before the
Petition Date naming the Local Councils, or any of them, or any predecessor, subsidiary, or past
or present Affiliate of any Local Council, as an insured (whether as the primary or an additional
insured), or otherwise alleged to afford any Local Council insurance coverage, upon which any
claim could have been, has been or may be made with respect to any Abuse Claim, including the
policies identified on Schedule 3 to the Chapter 11 Plan. Notwithstanding the foregoing, Local
Council Insurance Policies shall not include: (a) any policy providing reinsurance to any Settling
Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any BSA Insurance Policy; or
(d) any Postpetition Insurance Policy.

nMixed Claimo means a claim that makes allegations of Abuse related to or arising from Scouting
as well as Abuse that occurred prior to the Petition Date unrelated to or not arising from Scouting.
A claim shall not be treated as a Mixed Claim unless and until Scouting-related Abuse allegations
have been asserted through a Proof of Claim, the complaint, sworn discovery or testimony
(including by affidavit).

nNon-BSA Sourced Assetso dYR]] ^VR_ GVee]V^V_e Hcfde 6ddVed eYRe cVacVdV_e RddVed cVTVZgVU Rd
a result of or in connection with a global settlement between the Debtors or the Trust, on the one
hand, and a Chartered Organization that is or becomes a Protected Party, on the other hand, and
the proceeds of such assets. For the avoidance of doubt, Non-BSA Sourced Assets shall not
include any assets received from the Debtors, the Local Councils, or any Settling Insurance
Company.

nParticipating Chartered Organizationo means a Chartered Organization (other than a
Contributing Chartered Organization, including the United Methodist Entities) that does not (a)
`S[VTe e` T`_WZc^ReZ`_ `W eYV E]R_ `c $S% Z_W`c^ 9VSe`cdp T`f_dV] Z_ hcZeZ_X `_ `c SVW`cV eYV
confirmation objection deadline that it does not wish to make the Participating Chartered
Organization Insurance Assignment. Notwithstanding the foregoing, with respect to any Chartered
Organization that is a debtor in bankruptcy as of the Confirmation Date, such Chartered
DcXR_ZkReZ`_ dYR]] SV R ERceZTZaReZ_X 8YRceVcVU DcXR_ZkReZ`_ `_]j ZW Ze RUgZdVd 9VSe`cdp T`f_dV] Z_
writing that it wishes to make the Participating Chartered Organization Insurance Assignment,
and, for the avoidance of doubt, absent such written advisement, none of such Chartered
DcXR_ZkReZ`_pd cZXYed e` `c f_UVc eYV 6SfdV >_dfcR_TV E`]ZTZVd dYR]] SV dfS[VTe e` the Participating
Chartered Organization Insurance Assignment. A list of Chartered Organizations that are debtors

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in bankruptcy and may not be Participating Chartered Organizations is attached as Exhibit K to
the Plan. For the avoidance of doubt, any Chartered Organization that is a member of an ad hoc
group or committee that objects to the confirmation of the Plan shall not be a Participating
Chartered Organization.

 nPerpetratoro ^VR_d any individual who personally committed or is alleged to have personally
committed an act of Abuse that forms the basis for an Abuse Claim; provided for the avoidance of
U`fSe eYRe eYV eVc^ nEVcaVecRe`co dYR]] `_]j Z_T]fUV _RefcR] aVcd`_d R_U _`e HYV 8YfcTY `W ?Vdfd
Christ of Latter-day Saints, a Utah corporation sole( HYV eVc^ nEVcaVecRe`co U`Vd _`e Z_T]fUV R_j
individual who did not personally commit or is not alleged to have personally committed an act of
Abuse that forms the basis for an Abuse Claim, against whom an Abuse Claim is nevertheless
asserted or may be RddVceVU& Z_T]fUZ_X Sj gZcefV `W dfTY Z_UZgZUfR]pd a`dZeZ`_ `c dVcgZTV Rd R_
V^a]`jVV `c g`]f_eVVc `W eYV 9VSe`cd `c Rd R GT`fe aRceZTZaR_e& `c Sj gZcefV `W dfTY Z_UZgZUfR]pd
position or service as an employee or volunteer of a Local Council or a Chartered Organization or
as a Scout participant.

nProtected Partieso means the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
Related Non-Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered
Organizations; (f) the Settling InsucR_TV 8`^aR_ZVd5 R_U $X% R]] `W dfTY EVcd`_dp FVacVdV_eReZgVd5
provided, however, that no Perpetrator is or shall be a Protected Party. Notwithstanding the
foregoing, a Contributing Chartered Organization shall be a Protected Party with respect to Abuse
C]RZ^d `_]j Rd dVe W`ceY Z_ eYV UVWZ_ZeZ`_ `W n6SfdV 8]RZ^(o

“Release Date” ^VR_d eYV ]ReVc `W $+% eYV UReV `W ViVTfeZ`_ YVcV`W `c $,% eYV UReV `W $Z% R n;Z_R]
9VeVc^Z_ReZ`_o `W ^j 6SfdV 8]RZ^ f_UVc eYV H9E `c $ZZ% eYV WZiZ_X `W eYV ]ZRSZ]Zej R^`f_e W`c ^j
Abuse Claim under the TDP, provided, however, the Release Date as to Contributing Chartered
Organizations and their related Released Parties shall be the later of the date of execution or the
date they become a Contributing Chartered Organization.

nReleased Partieso means the Trust, the Trustee, the STAC, the Claims Administrators, the
Protected Parties, the Contributing Chartered Organizations (including any Chartered
Organization that becomes a Contributing Chartered Organization as of such date after the
execution of this Release), Participating Chartered Organizations with respect to Post-1975
Chartered Organization Claims and Abuse Claims covered under insurance policies issued by
Settling Insurance Companies, Opt-Out Chartered Organizations with respect to Abuse Claims
covered under insurance policies issued by Settling Insurance Companies, and each of their
respective predecessors, successors, assigns, assignors, representatives, members, officers,
employees, agents, consultants, lawyers, advisors, professionals, trustees, insurers, beneficiaries,
administrators, and any natural, legal, or juridical person or entity acting on behalf of or having
liability in respect of the Trust, the Trustee, the STAC, the Claims Administrators, the Protected
Parties, or the Contributing Chartered Organizations.

nScouting-relatedo means anything that is attributable to, arises from, is based upon, results
from, or relates to, in whole or in part, directly, indirectly, or derivatively, Scouting.

nSettling Insurance Companyo means any Insurance Company that contributes funds, proceeds
or other consideration to or for the benefit of the Settlement Trust pursuant to an Insurance

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Settlement Agreement that is approved by (a) an order of the Bankruptcy Court (including the
Confirmation Order) and is designated as a Settling Insurance Company in the Confirmation Order
or the Affirmation Order or (b) the Settlement Trust. Without limiting the foregoing, subject to
Confirmation of the Plan and approval of the applicable Insurance Settlement Agreement by an
order or orders of the Bankruptcy Court (including in the Confirmation Order), Century, the Chubb
Companies, Clarendon, the Hartford Protected Parties, the Zurich Affiliated Insurers and the
Zurich Insurers are each Settling Insurance Companies and shall be designated as such in the
Confirmation Order and the Affirmation Order.

nSTACo ^VR_d eYV GVee]V^V_e Hcfde 6UgZd`cj 8`^^ZeeVV Raa`Z_eVU e` `gVcdVV eYV Hcfde Z_
accordance with the Chapter 11 Plan and the Trust Agreement.

nTDPo ^VR_d eYV 7`j GT`fed `W 6^VcZTR Hcfde Distribution Procedures for Abuse Claims,
substantially in the form attached as Exhibit A to the Chapter 11 Plan and filed in the Chapter 11
Cases on August ___, 2022, as may be amended and supplemented thereafter from time to time.

 nTrust Agreemento ^VR_s the Settlement Trust Agreement dated as of the Effective Date,
substantially in the form attached to the Chapter 11 Plan as Exhibit B, as the same may be amended
or modified from time to time in accordance with the terms thereof.

nTrusteeo ^VR_d OwP `c Rny other person appointed to serve as trustee under and in accordance
with the Trust Agreement.

                            RELEASE AND INDEMNIFICATION
       A.        In consideration of the benefit of an Award from the Trust, and without limiting
any of the Releases or Injunctions in the Plan, which remain in full force and effect in favor of the
Protected Parties, the Limited Protected Parties, and Opt-Out Chartered Organizations (as set forth
in the Plan), I, on my own behalf and on behalf of my respective predecessors, successors, assigns,
assignors, representatives, attorneys, agents, trustees, insurers, heirs, next of kin, estates,
beneficiaries, executors, administrators, and any natural, legal, or juridical person or entity to the
extent he, she, or it is entitled to assert any claim on my behalf, including, but not limited to, a
AVXR] FVacVdV_eReZgV& $YVcVRWeVc nIo& nmyo `c nmeo%& U` YVcVSj as of the Release Date voluntarily,
intentionally, knowingly, absolutely, unconditionally, irrevocably, and fully waive, release, remit,
acquit, forever discharge, and covenant not to knowingly sue or continue prosecution against the
Released Parties, or any of them, from and with respect to any and all claims, including, but not
limited to, all claims as defined in section 101(5) of the Bankruptcy Code, charges, complaints,
demands, obligations, causes of action, losses, expenses, suits, awards, promises, agreements,
rights to payment, right to any equitable remedy, rights of any contribution, indemnification,
reimbursement, subrogation or similar rights, demands, debts, liabilities, express or implied
contracts, obligations of payment or performances, rights of offset or recoupment, costs, expenses,
Ree`c_Vjdp R_U `eYVc ac`WVddZ`_R] WVVd R_U ViaV_dVd& T`^aV_dReZ`_ `c other relief, and liabilities of
any nature whatsoever whether present or future, known or unknown, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, absolute or contingent, direct or derivative
and whether based on contract, tort, statutory, or any other legal or equitable theory of recovery
$T`]]VTeZgV]j& nReleased Claimso% RcZdZ_X Wc`^& cV]ReZ_X e`& cVdf]eZ_X Wc`^ `c Z_ R_j hRj T`__VTeVU
to, in whole or in part, my Abuse Claim (solely to the extent asserted against any of the Protected

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Parties or any Chartered Organizations that become a Protected Party after the execution of this
Release) R_U eYV UZdTYRcXV `W eYV FV]VRdVU ERceZVdp UfeZVd R_U cVda`_dZSZ]ZeZVd f_UVc eYV Hcfde
Agreement, including any agreement, document, instrument or certification contemplated by the
Trust Agreement, the TDP, the Chapter 11 Plan, the formulation, preparation, negotiation,
execution or consummation of the Trust Agreement, the TDP and the Chapter 11 Plan, and any
and all other orders of the District Court or Bankruptcy Court relating to the Released Parties
and/or their duties and responsibilities, from the beginning of time through the execution date of
this Release. I covenant and agree that I will honor the release as set forth in the preceding sentence
and, further, that I will not (i) knowingly institute or continue prosecution of a lawsuit or other
action against any Released Party based upon, arising out of, or relating to any Released Claims
released hereby, (ii) knowingly participate, assist, or cooperate in any such action, or
(iii) knowingly encourage, assist and/or solicit any third party to institute any such action.

      B.       Without limiting the foregoing, and notwithstanding anything to the contrary in this
Release, the release set forth herein shall not apply in favor of the Trust as to my right to full
payment of my allowed Direct Abuse Claim, provided means for such payment by the Trust are
available under the Plan and the Trust Distribution Procedures.

      C.        Without limiting the foregoing, and notwithstanding anything to the contrary in this
Release, in consideration of the benefit of the contribution made by each Settling Insurance
Company to the Trust pursuant to an Insurance Settlement Agreement and the payment by the
Trust to me of the Award, I do hereby as of the Release Date voluntarily, intentionally, knowingly,
absolutely, unconditionally, irrevocably, and fully waive, release, remit, acquit, forever discharge,
and covenant not to knowingly sue or continue prosecution against (i) each Settling Insurance
Company and (ii) any insured, co-insured or other third party (including any Local Council, any
other Protected Party, any Limited Protected Party, and any other Chartered Organization) under
any Abuse Insurance Policy issued by any Settling Insurance Company or any other insurance
policy issued by any Settling Insurance Company, including a policy issued to a Chartered
DcXR_ZkReZ`_ $R_j dfTY eYZcU aRcej& R_ nInsured Party Releaseeo%& in the case of (i) or (ii) from
and with respect to any Abuse Claim.

      D.       I, as assignor, hereby transfer and assign to the Trust, as assignee, any rights,
claims, benefits, or Causes of Action arising out of or related to my Abuse Claim that are not
released herein, (i) and that are against Non-Settling Insurance Companies or (ii) to the extent my
Abuse Claim is resolved pursuant to the Independent Review Option under the TDP.

       E.        I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction, and the Confirmation Order, the Debtors have been fully and completely discharged
and released, including their respective property and successors and assigns, from any and all
liability arising from or related to my Abuse Claim, which liability shall be assumed by the Trust
pursuant to the Plan.

      F.        I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction, and Confirmation Order, the sole recourse of any holder of an Abuse Claim against a
Protected Party on account of such Abuse Claim shall be to and against the Trust and such holder
shall have no right whatsoever at any time to assert such Abuse Claim against any Protected Party
or any property or interest in property of any Protected Party.

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      G.        I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction, and the Confirmation Order, the sole recourse of (i) any holder of a Post-1975
Chartered Organization Abuse Claim or pre-1976 Chartered Organization Abuse Claim against a
Limited Protected Party on account of such Post-1975 Chartered Organization Abuse Claim or
pre-1976 Chartered Organization Abuse Claim shall be to and against the Trust and such holder
shall have no right whatsoever at any time to assert such Post-1975 Chartered Organization Abuse
Claim or pre-1976 Chartered Organization Abuse Claim against any Limited Protected Party or
any property or interest in property of any Limited Protected Party, and (ii) any holder of an Opt-
Out Chartered Organization Abuse Claim against an Opt-Out Chartered Organization on account
of such Opt-Out Chartered Organization Abuse Claim shall be to and against the Trust and such
holder shall have no right whatsoever at any time to assert such Opt-Out Chartered Organization
Abuse Claim against any Opt-Out Chartered Organization or any property or interest in property
of any Opt-Out Chartered Organization.

      H.        I hereby acknowledge that, pursuant to this Release, I am voluntarily providing a
release as of the Release Date to any Chartered Organization that is currently a Protected Party or
becomes a Protected Party after the execution of this Release (or that is an Insured Party Releasee
as provided in paragraph C above) and that this Release will not become effective against any
Chartered Organization that is not a Contributing Chartered Organization (or Insured Party
Releasee) as of the Release Date unless and until such Chartered Organization becomes a Protected
Party.

      I. I hereby acknowledge that by executing this Release, I will have the opportunity to share
in any settlement proceeds received from a Chartered Organization that is or becomes a Protected
Party, provided, however, that under the Trust Distribution Procedures, Non-BSA Sourced Assets
(which include proceeds received from Chartered Organizations) shall be allocated (after
deducting an estimated pro rata share of Trust expenses and direct expenses related to the
collection of such Non-BSA Sourced Assets) all or in part only among the holders of Allowed
Abuse Claims that (1) could have been satisfied from the source of such Non-BSA Sourced Assets
RSdV_e eYV E]R_pd UZdTYRcXV R_U 8YR__V]Z_X >_[f_TeZ`_ R_U $,% RcV YV]U Sj 8]RZ^R_ed eYRe ViVTfeV
this or a similar Release. This Release does not release claims that have been assigned to the Trust
and I acknowledge I will have no personal rights in such assigned claims.

       J.       In further consideration of the benefit of an Award, as of the Release Date, I shall
indemnify and forever hold harmless, and pay all final judgments, damages, costs, expenses, fines,
penalties, interest, multipliers, or liabilities in whatsoever nature, including costs of defense and
Ree`c_Vjdp WVVd `W& eYV Hcfde& eYV HcfdeVV& eYV GH68& R_U eYV 8]RZ^d 6U^Z_ZdecRe`cs arising from
my failure to comply with the terms of this Release.

       K.       I acknowledge that the Trust is not providing any tax advice with respect to the
receipt of the Award or any component thereof, and I understand and agree that I shall be solely
responsible for compliance with all tax laws with respect to the Award, to the extent applicable.




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Claimant or Legal Representative Printed Name:


Claimant or Legal Representative Signature:


Date:




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                                            EXHIBIT C

         NON-CONDITIONAL RELEASE OF CHARTERED ORGANIZATIONS

     CLAIMANT RELEASE AND INDEMNIFICATION IN CONNECTION WITH
  DISTRIBUTION FROM THE BOY SCOUTS OF AMERICA SETTLEMENT TRUST

To receive payment of an Award (as defined below) from the Boy Scouts Settlement Trust
(the nTrusto% and have the opportunity to share in any settlement proceeds received from a
Chartered Organization (as defined below) that is or becomes a Protected Party (as defined below),
an eligible Claimant must execute and submit to the Trustee (as defined below) this Release and
>_UV^_ZWZTReZ`_ $eYV nReleaseo%( HYZd FV]VRdV ^fde SV dZX_VU Sj eYV 8]RZ^R_e `c eYV 8]RZ^R_epd
Legal Representative (as defined below). A signature by an attorney for the Claimant or by an
Ree`c_Vj W`c eYV 8]RZ^R_epd AVXR] FVacVdV_eReZgV is not sufficient.

If you need assistance, please contact the Claims Administrators Sj V^RZ] Re OwP `c Sj aY`_V e`]]-
WcVV Re OwP( M`f ^Rj R]d` gZdZe eYV 7G6 Abuse Survivor Website for additional information.

                                           DEFINITIONS

The definitions set forth above foc eYV eVc^d nTrusto R_U nReleaseo RcV daVTZWZTR]]j Z_T`ca`cReVU
herein by reference as if fully set forth in this section.

All capitalized terms not otherwise defined herein shall have the same meaning ascribed to them
in the Chapter 11 Plan (as defined below).

nAbuseo means sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation,
indecent assault or battery, rape, pedophilia, ephebophilia, sexually related psychological or
emotional harm, humiliation, anguish, shock, sickness, disease, disability, dysfunction, or
intimidation, any other sexual misconduct or injury, contacts or interactions of a sexual nature,
including the use of photography, video, or digital media, or other physical abuse or bullying or
harassment without regard to whether such physical abuse or bullying is of a sexual nature,
between a child and an adult, between a child and another child, or between a non-consenting adult
and another adult, in each instance without regard to whether such activity involved explicit force,
whether such activity involved genital or other physical contact, and whether there is or was any
associated physical, psychological, or emotional harm to the child or non-consenting adult.

nAbuse Claimo means a liquidated or unliquidated Claim against a Protected Party (including the
Settling Insurance Companies), a Limited Protected Party, or an Opt-Out Chartered Organization
or any of their respective Representatives (in their capacities as such) that is attributable to, arises
from, is based upon, relates to, or results from, directly, indirectly, or derivatively, alleged
Scouting-related Abuse that occurred prior to the Petition Date, including any such Claim that
seeks monetary damages or other relief, under any theory of law or equity whatsoever, including
vicarious liability, alter ego, respondeat superior, conspiracy, fraud, including fraud in the
inducement, any negligence-based or employment-based theory, including negligent hiring,
selection, supervision, retention or misrepresentation, any other theory based upon, or directly or
indirectly related to any insurance relationship, the provision of insurance or the provision of
insurance services to or by any Protected Parties, or misrepresentation, concealment, or unfair
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practice, breach of fiduciary duty, public or private nuisance, gross negligence, willful misconduct,
or any other theory, including any theory based on or related to public policy or any act or failure
to act, or failure to warn by a Protected Party, a Limited Protected Party, an Opt-Out Chartered
Organization, any of their respective Representatives (in their capacities as such) or any other
Person for whom any Protected Party, Limited Protected Party, or Opt-Out Chartered Organization
is alleged to be responsible (including any such Claim that has been asserted or may be amended
to assert in a proof of claim alleging Abuse, whether or not timely filed, in the Chapter 11 Cases,
or any such Claim that has been asserted against the Settlement Trust), including any proportionate
or allocable share of liability based thereon. Abuse Claims include any Future Abuse Claims, any
Indirect Abuse Claims, any Opt-Out Chartered Organization Abuse Claim and any other Claim
that is attributable to, arises from, is based upon, relates to, or results from, alleged Scouting-
related Abuse regardless of whether, as of the Petition Date, such Claim was barred by any
applicable statute of limitations. For the avoidance of doubt, (i) a Claim alleging Abuse shall not
SV R_ n6SfdV 8]RZ^o RXRZ_de R Ec`eVTeVU ERcej& AZ^ZeVU Ec`eVTeVU ERcej& `c Dae-Out Chartered
Organization or any of their respective Representatives if such Claim is unrelated to Scouting
(except as provided in (iii) below, including the portion of any Mixed Claim that is unrelated to
GT`feZ_X%5 $ZZ% R 8]RZ^ R]]VXZ_X 6SfdV dYR]] SV R_ n6SfdV 8]RZ^o RXRZ_de R Ec`eVTeVU ERcej&
Limited Protected Party, or Opt-Out Chartered Organization or any of their respective
Representatives (in their capacity as such) if such Claim is related to Scouting (including the
portion of any Mixed Claim that is related to Scouting); (iii) any portion of a Mixed Claim alleging
Abuse involving the Debtors, Reorganized BSA, Non-Debtor Entities, Local Councils, or their
respective Representatives (in their capacities as such) is necessarily Scouting-related and shall be
considered an Abuse Claim; and (iv) any Claim against the Debtors, Reorganized BSA, Non-
Debtor Entities, Local Councils, or their respective Representatives (in their capacities as such)
alleging Abuse is necessarily Scouting-related and shall be considered an Abuse Claim.

nAbuse Insurance Policieso ^VR_d& T`]]VTeZgV]j& eYV 7G6 Insurance Policies and the Local
Council Insurance Policies. Abuse Insurance Policies do not include Non-Abuse Insurance
Policies or Postpetition Insurance Policies.

nAwardo ^VR_d eYV T`^aV_dReZ`_ R 8]RZ^R_e cVTVZgVd `_ SVYR]W `W eYV 8]RZ^R_epd Abuse Claim.

nBankruptcy Courto ^VR_d eYV I_ZeVU GeReVd 7R_\cfaeTj 8`fce W`c eYV 9ZdecZTe `W 9V]RhRcV&
having subject matter jurisdiction over the Chapter 11 Cases and, to the extent of any reference
withdrawal made under section 157(d) of title 28 of the United States Code, the District Court.

nBSA Insurance Policieso means any and all known and unknown contracts, binders, certificates
or Insurance Policies currently or previously in effect at any time on or before the Petition Date
naming the Debtors, or either of them, or any predecessor, subsidiary, or past or present Affiliate
of the Debtors, as an insured (whether as the primary or an additional insured), or otherwise alleged
to afford the Debtors insurance coverage, upon which any claim could have been, has been, or may
be made with respect to any Abuse Claim, including the policies listed on Schedule 2 to the Chapter
11 Plan. Notwithstanding the foregoing, BSA Insurance Policies shall not include: (a) any policy
providing reinsurance to any Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any
Local Council Insurance Policy; or (d) any Postpetition Insurance Policy.



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nChanneling Injunctiono means the permanent injunction provided for in Article X.F of the
Chapter 11 Plan with respect to (a) Abuse Claims against the Protected Parties, (b) Post-1975
Chartered Organization Abuse Claims against the Limited Protected Parties, (c) Abuse Claims
against the Limited Protected Parties that are covered under any insurance policy issued by the
Settling Insurance Companies (as determined pursuant to Section X.F.3 of the Chapter 11 Plan),
and (d) Opt-Out Chartered Organization Abuse Claims against the Opt-Out Chartered
Organizations, to be issued pursuant to the Confirmation Order.

nChapter 11 Caseso ^VR_d eYV [`Z_e]j RU^Z_ZdeVcVU TRdVd f_UVc TYRaeVc ++ `W eYV 7R_\cfaeTj
Code commenced by the Debtors on the Petition Date in the Bankruptcy Court and currently styled
In re Boy Scouts of America and Delaware BSA, LLC, Bankruptcy Case No. 20-10343 (LSS)
(Jointly Administered).

nChapter 11 Plano `c nPlano ^VR_d eYV Third Modified Fifth Amended Chapter 11 Plan of
Reorganization (With Technical Modifications) for Boy Scouts of America and Delaware BSA,
LLC, filed in the Chapter 11 Cases (as the same may be amended or modified), and confirmed by
the Bankruptcy Court.

 nChartered Organizationso ^VR_d VRTY R_U VgVcj TZgZT, faith-based, educational or business
organization, governmental entity or organization, other entity or organization, or group of
individual citizens, in each case presently or formerly authorized by the BSA to operate, sponsor
or otherwise support one or more Scouting units.

nClaimanto ^VR_d eYV Y`]UVc `W Rn Abuse Claim who (i) timely submitted an Abuse Claim Proof
of Claim or Trust Claim Submission to the Settlement Trust, (ii) has had his or her Abuse Claim
channeled to the Trust for evaluation, resolution, and payment pursuant to the Plan and the
Channeling Injunction, and (iii) is signing and executing this Release (or on whose behalf this
Release is being signed and executed by a Legal Representative).

nConfirmation Ordero ^VR_d eYV `cUVc `W eYV 7R_\cfaeTj 8`fce T`_WZc^Z_X eYV E]R_ afcdfR_e e`
section 1129 of the Bankruptcy Code, which shall be in form and substance acceptable to (a) the
Debtors, the Ad Hoc Committee, the Coalition, H`ce 8]RZ^R_edp 8`^^ZeeVV& eYV ;fefcV 8]RZ^R_edp
Representative, the Settling Insurance Companies (in accordance with their respective Insurance
Settlement Agreement), and the Contributing Chartered Organizations, R_U $S% eYV 8cVUZe`cdp
8`^^ZeeVV R_U ?EB Z_ RTT`cUR_TV hZeY eYVZc cVdaVTeZgV T`_dV_e cZXYed f_UVc eYV ?EB ) 8cVUZe`cdp
Committee Term Sheet, as incorporated by reference in Article I.D of the Chapter 11 Plan.

nContributing Chartered Organizationso means the current or former Chartered Organizations
listed on Exhibit D to the Plan and any Chartered Organization made a Protected Party under a
Post-Effective Date Chartered Organization Settlement approved by the Bankruptcy Court in
accordance with Article IV.I in the Plan. No Participating Chartered Organization shall be
considered a Contributing Chartered Organization based solely on the Participating Chartered
Organization Insurance Assignment. Without limiting the foregoing, subject to Confirmation of
the Plan and approval of the United Methodist Settlement Agreement by an order of the
Bankruptcy Court (including in the Confirmation Order), the United Methodist Entities are
Contributing Chartered Organizations and shall be designated as such in the Confirmation Order
and the Affirmation Order. No Chartered Organization shall be a Contributing Chartered

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Organization unless it agrees to provide the assignments and releases as set forth in Sections 9 and
10 of the Century and Chubb Companies Insurance Settlement Agreement.

 nDebtorso ^VR_d Boy Scouts of America and Delaware BSA, LLC, the debtors and debtors-in-
possession in the Chapter 11 Cases.

nDirect Abuse Claimo ^VR_d R_ 6SfdV 8]RZ^ eYRe Zd _`e an Indirect Abuse Claimmi.e., is not a
liquidated or unliquidated Abuse Claim for contribution, indemnity, reimbursement, or
subrogation, whether contractual or implied by law (as those terms are defined by the applicable
non-bankruptcy law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind
whatsoever, whether in the nature of or sounding in contract, tort, warranty or any other theory of
law or equity whatsoever, including any indemnification, reimbursement, hold-harmless or other
payment obligation provided for under any prepetition settlement, insurance policy, program
agreement or contract; provided, however, that any retrospective premiums and self-insured
retentions arising out of any Abuse Claims under the Abuse Insurance Policies shall not constitute
an Indirect Abuse Claim.

nDistrict Courto ^VR_d eYV I_ZeVU GeReVd 9ZdecZTe 8`fce W`c eYV 9ZdecZTe `W 9V]RhRcV& YRgZ_X
jurisdiction in the Chapter 11 Cases.

nInsurance Settlement Agreemento means (a) any settlement agreement entered into after the
Petition Date and before the Effective Date by and among (i) any Insurance Company, on the one
hand, and (ii) one or more of the Debtors and/or any other Protected Party or Limited Protected
Party, on the other hand, under which an Insurance Policy and/or the Debtorsp and/or other
Ec`eVTeVU ERceZVdp `c AZ^ZeVU Ec`eVTeVU ERceZVdp cZXYed eYVcVf_UVc hZeY cVdaVTe e` 6SfdV 8]RZ^d `c
Non-Abuse Litigation Claims are, subject to Confirmation of the Plan and the entry of a Final
Order approving such settlement agreement (which order may be the Confirmation Order),
released; and (b) any Post-Effective Date Insurance Settlement entered into during the Insurance
Settlement Period by and between (i) any Insurance Company, on the one hand, and (ii) the
Settlement Trustee (or the Settlement Trustee and any other Protected Party), on the other hand,
under which an Insurance Policy that is subject to the Insurance Assignment and/or the Settlement
HcfdeVVpd R_U)`c Ec`eVTeVU ERceZVdp `c AZ^ZeVU Ec`eVTeVU ERceZVdp cZXYed eYVcVf_UVc hZeY cVdaVTe e`
Abuse Claims or Non-Abuse Litigation Claims are released. All Insurance Settlement Agreements
entered into before the Effective Date related to Specified Primary Insurance Policies that release
the applicable Insurance Company from liability arising from Non-Abuse Litigation Claims must
SV RTTVaeRS]V e` eYV 8cVUZe`cdp 8`^^ZeeVV Z_ RTT`cUR_TV hZeY eYV eVc^d `W eYV ?EB ) 8cVUZe`cdp
Committee Term Sheet; provided, however, that with respect to proposed settlements of any
GaVTZWZVU :iTVdd >_dfcR_TV E`]ZTj V_eVcVU Z_e` SVW`cV eYV :WWVTeZgV 9ReV& eYV 8cVUZe`cdp
Committee shall have consultation rights.

 nLegal Representativeo ^VR_d R aVcd`_R] cVacVdV_eReZgV& XfRcUZR_& T`_dVcgRe`c& aRcV_e $`_
behalf of a minor), executor of an estate or a similar representative who has been appointed by a
court or has other legal authorization to file a proof of claim and/or an Abuse Claim and execute
this Release on behalf of the Claimant.




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“Limited Protected Parties” means the Participating Chartered Organizations and all of such
EVcd`_dp FVacVdV_eReZgVd hYV_ RTeZ_X Z_ dfTY cVacVdV_eReZgV TRaRTZej5 ac`gZUVU& Y`hVgVc& eYRe _`
Perpetrator is or shall be a Limited Protected Party.

“Local Councils” means, collectively, each and every current or former local council of the BSA,
including each and every current local council of the BSA as listed on Exhibit G to the Plan,
ndfaa`ceZ_X `cXR_ZkReZ`_do hZeYZ_ eYV ^VR_Z_X `W ,0 I(G(8( l /*3 hZeY cVdaVTe e` R_j A`TR]
Council, Scouting unitd $Z_T]fUZ_X nec``ad&o nUV_d&o naRT\d&o na`ded&o nT]fSd&o nTcVhd&o ndYZad&o
necZSVd&o n]RSd&o n]`UXVd&o nT`f_TZ]d&o nUZdecZTed&o nRcVRd&o ncVXZ`_d&o R_U neVccZe`cZVdo% Rdd`TZReVU
with any Local Council, and all Entities that hold, own, or operate any camp or other property that
is operated in the name of or for the benefit of any of the foregoing.

nLocal Council Insurance Policieso means any and all known and unknown contracts, binders,
certificates or insurance policies currently or previously in effect at any time on or before the
Petition Date naming the Local Councils, or any of them, or any predecessor, subsidiary, or past
or present Affiliate of any Local Council, as an insured (whether as the primary or an additional
insured), or otherwise alleged to afford any Local Council insurance coverage, upon which any
claim could have been, has been or may be made with respect to any Abuse Claim, including the
policies identified on Schedule 3 to the Chapter 11 Plan. Notwithstanding the foregoing, Local
Council Insurance Policies shall not include: (a) any policy providing reinsurance to any Settling
Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any BSA Insurance Policy; or (d)
any Postpetition Insurance Policy.

nMixed Claimo means a claim that makes allegations of Abuse related to or arising from Scouting
as well as Abuse that occurred prior to the Petition Date unrelated to or not arising from Scouting.
A claim shall not be treated as a Mixed Claim unless and until Scouting-related Abuse allegations
have been asserted through a Proof of Claim, the complaint, sworn discovery or testimony
(including by affidavit).

 nNon-BSA Sourced Assetso dYR]] ^VR_ GVee]V^V_e Hcfde 6ddVed that represent assets received as
a result of or in connection with a global settlement between the Debtors or the Trust, on the one
hand, and a Chartered Organization that is or becomes a Protected Party, on the other hand, and
the proceeds of such assets. For the avoidance of doubt, Non-BSA Sourced Assets shall not
include any assets received from the Debtors, the Local Councils, or any Settling Insurance
Company.

“Participating Chartered Organization” means a Chartered Organization (other than a
Contributing Chartered Organization, including the United Methodist Entities) that does not (a)
`S[VTe e` T`_WZc^ReZ`_ `W eYV E]R_ `c $S% Z_W`c^ 9VSe`cdp T`f_dV] Z_ hcZeZ_X `_ `c SVW`cV eYV
confirmation objection deadline that it does not wish to make the Participating Chartered
Organization Insurance Assignment. Notwithstanding the foregoing, with respect to any Chartered
Organization that is a debtor in bankruptcy as of the Confirmation Date, such Chartered
DcXR_ZkReZ`_ dYR]] SV R ERceZTZaReZ_X 8YRceVcVU DcXR_ZkReZ`_ `_]j ZW Ze RUgZdVd 9VSe`cdp T`f_dV] in
writing that it wishes to make the Participating Chartered Organization Insurance Assignment,
and, for the avoidance of doubt, absent such written advisement, none of such Chartered
DcXR_ZkReZ`_pd cZXYed e` `c f_UVc eYV 6SfdV >_dfcR_TV E`]ZTZVd dYR]] Se subject to the Participating
Chartered Organization Insurance Assignment. A list of Chartered Organizations that are debtors

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in bankruptcy and may not be Participating Chartered Organizations is attached as Exhibit K to
the Plan. For the avoidance of doubt, any Chartered Organization that is a member of an ad hoc
group or committee that objects to the confirmation of the Plan shall not be a Participating
Chartered Organization.

nPerpetratoro ^VR_d any individual who personally committed or is alleged to have personally
committed an act of Abuse that forms the basis for an Abuse Claim; provided for the avoidance of
U`fSe eYRe eYV eVc^ nEVcaVecRe`co dYR]] `_]j Z_T]fUV _RefcR] aVcd`_d R_U _`e HYV 8YfcTY `W ?Vdfd
Christ of Latter-day Saints, a Utah corporation sole( HYV eVc^ nEVcaVecRe`co U`Vd _`e Z_T]fUV R_j
individual who did not personally commit or is not alleged to have personally committed an act of
Abuse that forms the basis for an Abuse Claim, against whom an Abuse Claim is nevertheless
asserted or ^Rj SV RddVceVU& Z_T]fUZ_X Sj gZcefV `W dfTY Z_UZgZUfR]pd a`dZeZ`_ `c dVcgZTV Rd R_
V^a]`jVV `c g`]f_eVVc `W eYV 9VSe`cd `c Rd R GT`fe aRceZTZaR_e& `c Sj gZcefV `W dfTY Z_UZgZUfR]pd
position or service as an employee or volunteer of a Local Council or a Chartered Organization or
as a Scout participant.

nProtected Partieso means the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
Related Non-Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered
Organizations; (f) the GVee]Z_X >_dfcR_TV 8`^aR_ZVd5 R_U $X% R]] `W dfTY EVcd`_dp FVacVdV_eReZgVd5
provided, however, that no Perpetrator is or shall be a Protected Party. Notwithstanding the
foregoing, a Contributing Chartered Organization shall be a Protected Party with respect to Abuse
8]RZ^d `_]j Rd dVe W`ceY Z_ eYV UVWZ_ZeZ`_ `W n6SfdV 8]RZ^(o

nRelease Dateo ^VR_d eYV ]ReVc `W $+% eYV UReV `W ViVTfeZ`_ YVcV`W `c $,% eYV UReV `W $Z% R n;Z_R]
9VeVc^Z_ReZ`_o `W ^j 6SfdV 8]RZ^ f_UVc eYV H9E `c $ZZ% eYV WZiZ_X `W eYV ]ZRSZ]Zej amount for my
Abuse Claim under the TDP, provided, however, the Release Date as to Contributing Chartered
Organizations and their related Released Parties shall be the later of the date of execution or the
date they become a Contributing Chartered Organization.

nReleased Partieso means the Trust, the Trustee, the STAC, the Claims Administrators, the
Protected Parties, the Chartered Organizations, including all Chartered Organizations that are not
Protected Parties or Limited Protected Parties, and each of their respective predecessors,
successors, assigns, assignors, representatives, members, officers, employees, agents, consultants,
lawyers, advisors, professionals, trustees, insurers, beneficiaries, administrators, and any natural,
legal, or juridical person or entity acting on behalf of or having liability in respect of the Trust, the
Trustee, the STAC, the Claims Administrators, the Protected Parties, or the Contributing Chartered
Organizations.

nScouting-relatedo ^VR_d R_jeYZ_X eYRe Zd ReecZbutable to, arises from, is based upon, results
from, or relates to, in whole or in part, directly, indirectly, or derivatively, Scouting.

nSettling Insurance Companyo means any Insurance Company that contributes funds, proceeds
or other consideration to or for the benefit of the Settlement Trust pursuant to an Insurance
Settlement Agreement that is approved by (a) an order of the Bankruptcy Court (including the
Confirmation Order) and is designated as a Settling Insurance Company in the Confirmation Order
or the Affirmation Order or (b) the Settlement Trust. Without limiting the foregoing, subject to
Confirmation of the Plan and approval of the applicable Insurance Settlement Agreement by an

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order or orders of the Bankruptcy Court (including in the Confirmation Order), Century, the Chubb
Companies, Clarendon, the Hartford Protected Parties, the Zurich Affiliated Insurers and the
Zurich Insurers are each Settling Insurance Companies and shall be designated as such in the
Confirmation Order and the Affirmation Order.

nSTACo ^VR_d eYV GVee]V^V_e Hcfde 6UgZd`cj 8`^^ZeeVV Raa`Z_eVU e` `gVcdVV eYV Trust in
accordance with the Chapter 11 Plan and the Trust Agreement.

nTDPo ^VR_d eYV 7`j GT`fed `W 6^VcZTR Hcfde 9ZdecZSfeZ`_ Ec`TVUfcVd W`c 6SfdV 8]RZ^d&
substantially in the form attached as Exhibit A to the Chapter 11 Plan and filed in the Chapter 11
Cases on August ___, 2022, as may be amended and supplemented thereafter from time to time.

 nTrust Agreemento ^VR_d eYV Settlement Trust Agreement dated as of the Effective Date,
substantially in the form attached to the Chapter 11 Plan as Exhibit B, as the same may be amended
or modified from time to time in accordance with the terms thereof.

nTrusteeo ^VR_d OwP `c R_j `eYVc aVcd`_ Raa`Z_eVU e` dVcgV Rd ecfdeVV f_UVc R_U Z_ RTT`cUR_TV
with the Trust Agreement.

                            RELEASE AND INDEMNIFICATION
       A.        In consideration of the benefit of an Award from the Trust, and without limiting
any of the Releases or Injunctions in the Plan, which remain in full force and effect in favor of the
Protected Parties, the Limited Protected Parties, and Opt-Out Chartered Organizations (as set forth
in the Plan), I, on my own behalf and on behalf of my respective predecessors, successors, assigns,
assignors, representatives, attorneys, agents, trustees, insurers, heirs, next of kin, estates,
beneficiaries, executors, administrators, and any natural, legal, or juridical person or entity to the
extent he, she, or it is entitled to assert any claim on my behalf, including, but not limited to, a
AVXR] FVacVdV_eReZgV& $YVcVRWeVc nIo& nmyo `c nmeo%& U` YVcVSy as of the Release Date voluntarily,
intentionally, knowingly, absolutely, unconditionally, irrevocably, and fully waive, release, remit,
acquit, forever discharge, and covenant not to knowingly sue or continue prosecution against the
Released Parties, or any of them, from and with respect to any and all claims, including, but not
limited to, all claims as defined in section 101(5) of the Bankruptcy Code, charges, complaints,
demands, obligations, causes of action, losses, expenses, suits, awards, promises, agreements,
rights to payment, right to any equitable remedy, rights of any contribution, indemnification,
reimbursement, subrogation or similar rights, demands, debts, liabilities, express or implied
contracts, obligations of payment or performances, rights of offset or recoupment, costs, expenses,
Ree`c_Vjdp R_U `eYVc ac`WVddZ`_R] WVVd R_U ViaV_dVd& T`^aV_dReZ`_ `c `eYVc cV]ZVW& R_U ]ZRSZ]ZeZVd `W
any nature whatsoever whether present or future, known or unknown, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, absolute or contingent, direct or derivative
and whether based on contract, tort, statutory, or any other legal or equitable theory of recovery
$T`]]VTeZgV]j& nReleased Claimso% RcZdZ_X Wc`^& cV]ReZ_X e`, resulting from or in any way connected
to, in whole or in part, my Abuse Claim (solely to the extent asserted against any of the Protected
Parties or any Chartered Organizations) R_U eYV UZdTYRcXV `W eYV FV]VRdVU ERceZVdp UfeZVd R_U
responsibilities under the Trust Agreement, including any agreement, document, instrument or
certification contemplated by the Trust Agreement, the TDP, the Chapter 11 Plan, the formulation,
preparation, negotiation, execution or consummation of the Trust Agreement, the TDP and the

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Chapter 11 Plan, and any and all other orders of the District Court or Bankruptcy Court relating to
the Released Parties and/or their duties and responsibilities, from the beginning of time through
the execution date of this Release. I covenant and agree that I will honor the release as set forth in
the preceding sentence and, further, that I will not knowingly (i) institute or continue prosecution
of a lawsuit or other action against any Released Party based upon, arising out of, or relating to
any Released Claims released hereby, (ii) knowingly participate, assist, or cooperate in any such
action, or (iii) knowingly encourage, assist and/or solicit any third party to institute any such action.

      B.       Without limiting the foregoing, and notwithstanding anything to the contrary in this
Release, the release set forth herein shall not apply in favor of the Trust as to my right to full
payment of my allowed Direct Abuse Claim, provided means for such payment by the Trust are
available under the Plan and the Trust Distribution Procedures.

      C.        Without limiting the foregoing, and notwithstanding anything to the contrary in this
Release, in consideration of the benefit of the contribution made by each Settling Insurance
Company to the Trust pursuant to an Insurance Settlement Agreement and the payment by the
Trust to me of the Award, I do hereby as of the Release Date voluntarily, intentionally, knowingly,
absolutely, unconditionally, irrevocably, and fully waive, release, remit, acquit, forever discharge,
and covenant not to knowingly sue or continue prosecution against (i) each Settling Insurance
Company and (ii) any insured, co-insured or other third party (including any Local Council, any
other Protected Party, any Limited Protected Party, and any other Chartered Organization) under
any Abuse Insurance Policy issued by any Settling Insurance Company or any other insurance
policy issued by any Settling Insurance Company, including a policy issued to a Chartered
DcXR_ZkReZ`_ $R_j dfTY eYZcU aRcej& R_ nInsured Party Releaseeo%& in the case of (i) or (ii) from
and with respect to any Abuse Claim.

      D.       I, as assignor, hereby transfer and assign to the Trust, as assignee, any rights,
claims, benefits, or Causes of Action arising out of or related to my Abuse Claim that are not
released herein, (i) and that are against Non-Settling Insurance Companies or (ii) to the extent my
Abuse Claim is resolved pursuant to the Independent Review Option under the TDP.

       E.        I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction, and the Confirmation Order, the Debtors have been fully and completely discharged
and released, including their respective property and successors and assigns, from any and all
liability arising from or related to my Abuse Claim, which liability shall be assumed by the Trust
pursuant to the Plan.

      F.       I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction, and the Confirmation Order, the sole recourse of any holder of an Abuse Claim against
a Protected Party (or any holder of a Post-1975 Chartered Organization Abuse Claim or Pre-1976
Chartered Organization Abuse Claim against a Limited Protected Party, or any holder of an Opt-
Out Chartered Organization Abuse Claim against an Opt-Out Chartered Organization) on account
of such Abuse Claim (or Post-1975 Chartered Organization Abuse Claim, Pre-1976 Chartered
Organization Abuse Claim, or Opt-Out Chartered Organization Abuse Claim) shall be to and
against the Trust and such holder shall have no right whatsoever at any time to assert such Abuse
Claim against any Protected Party or any property or interest in property of any Protected Party
(or to assert any Post-1975 Chartered Organization Abuse Claim or Pre-1976 Chartered

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Organization Abuse Claim against a Limited Protected Party or any property or interest in property
of any Limited Protected Party, or to assert any Opt-Out Chartered Organization Abuse Claim
against an Opt-Out Chartered Organization or any property or interest in property of any Opt-Out
Chartered Organization).

      G.       I hereby acknowledge that, pursuant to this Release, I am voluntarily providing a
release as of the Release Date to all Insured Party Releasees and Chartered Organizations,
including all Chartered Organizations that are not Protected Parties or Limited Protected Parties,
and as of the Release Date I shall have no remedies with respect to my Abuse Claim against any
Insured Party Releasees or Chartered Organizations, including those that are not Protected Parties
and Limited Protected Parties. This Release does not release claims that have been assigned to the
Trust and I acknowledge I will have no personal rights in such assigned claims.

      H.        I hereby acknowledge that by executing this Release, I will have the opportunity to
share in any settlement proceeds received from a Chartered Organization that is or becomes a
Protected Party (and to any Chartered Organization that is an Insured Party Releasee), provided,
however, that under the Trust Distribution Procedures Non-BSA Sourced Assets (which include
proceeds received from Chartered Organizations) shall be allocated (after deducting an estimated
pro rata share of Trust expenses and direct expenses related to the collection of such Non-BSA
Sourced Assets) all or in part only among the holders of Allowed Abuse Claims that (1) could
have been satisfied from the source of such Non-7G6 G`fcTVU 6ddVed RSdV_e eYV E]R_pd UZdTYRcXV
and Channeling Injunction and (2) execute this or a similar Release. For the avoidance of doubt,
nothing in this Release shall limit or impair my rights to share in any settlement proceeds received
by the Trust from a Chartered Organization.

      I. In further consideration of the benefit of an Award, as of the Release Date, I shall indemnify
and forever hold harmless, and pay all final judgments, damages, costs, expenses, fines, penalties,
Z_eVcVde& ^f]eZa]ZVcd& `c ]ZRSZ]ZeZVd Z_ hYRed`VgVc _RefcV& Z_T]fUZ_X T`ded `W UVWV_dV R_U Ree`c_Vjdp
fees of, the Trust, the Trustee, the STAC, and the Claims Administrators arising from my failure
to comply with the terms of this Release.

       J.       I acknowledge that the Trust is not providing any tax advice with respect to the
receipt of the Award or any component thereof, and I understand and agree that I shall be solely
responsible for compliance with all tax laws with respect to the Award, to the extent applicable.

Claimant or Legal Representative Printed Name:


Claimant or Legal Representative Signature:


Date:




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                                            EXHIBIT D

                                   FINAL DETERMINATION

     CLAIMANT RELEASE AND INDEMNIFICATION IN CONNECTION WITH
  DISTRIBUTION FROM THE BOY SCOUTS OF AMERICA SETTLEMENT TRUST

To receive payment of an Award (as defined below) from the Boy Scouts Settlement Trust
(the mTrustn%, an eligible Claimant must execute and submit to the Trustee (as defined below) this
FV]VRdV R_U >_UV^_ZWZTReZ`_ $eYV mReleasen%( HYZd FV]VRdV ^fde SV dZX_VU Sj eYV 8]RZ^R_e `c eYV
8]RZ^R_eod AVXR] FVacVdV_eReZgV $as defined below). A signature by an attorney for the Claimant
`c Sj R_ Ree`c_Vj W`c eYV 8]RZ^R_eod AVXR] FVacVdV_eReZgV Zd _`e dfWWZTZV_e(

If you need assistance, please contact the Claims Administrators Sj V^RZ] Re OvP `c Sj aY`_V e`]]-
WcVV Re OvP( M`f ^Rj R]d` gZdZe eYV 7GA Abuse Survivor Website for additional information.

                                           DEFINITIONS

HYV UVWZ_ZeZ`_d dVe W`ceY RS`gV W`c eYV eVc^d mTrustn R_U mReleasen RcV daVTZWZTR]]j Z_T`ca`cReVU
herein by reference as if fully set forth in this section.

All capitalized terms not otherwise defined herein shall have the same meaning ascribed to them
in the Chapter 11 Plan (as defined below).

mAbusen means sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation,
indecent assault or battery, rape, pedophilia, ephebophilia, sexually related psychological or
emotional harm, humiliation, anguish, shock, sickness, disease, disability, dysfunction, or
intimidation, any other sexual misconduct or injury, contacts or interactions of a sexual nature,
including the use of photography, video, or digital media, or other physical abuse or bullying or
harassment without regard to whether such physical abuse or bullying is of a sexual nature,
between a child and an adult, between a child and another child, or between a non-consenting adult
and another adult, in each instance without regard to whether such activity involved explicit force,
whether such activity involved genital or other physical contact, and whether there is or was any
associated physical, psychological, or emotional harm to the child or non-consenting adult.

mAbuse Claimn means a liquidated or unliquidated Claim against a Protected Party (including the
Settling Insurance Companies), a Limited Protected Party, or an Opt-Out Chartered Organization
or any of their respective Representatives (in their capacities as such) that is attributable to, arises
from, is based upon, relates to, or results from, directly, indirectly, or derivatively, alleged
Scouting-related Abuse that occurred prior to the Petition Date, including any such Claim that
seeks monetary damages or other relief, under any theory of law or equity whatsoever, including
vicarious liability, alter ego, respondeat superior, conspiracy, fraud, including fraud in the
inducement, any negligence-based or employment-based theory, including negligent hiring,
selection, supervision, retention or misrepresentation, any other theory based upon, or directly or
indirectly related to any insurance relationship, the provision of insurance or the provision of
insurance services to or by any Protected Parties, or misrepresentation, concealment, or unfair
practice, breach of fiduciary duty, public or private nuisance, gross negligence, willful misconduct,
or any other theory, including any theory based on or related to public policy or any act or failure
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to act, or failure to warn by a Protected Party, a Limited Protected Party, an Opt-Out Chartered
Organization, any of their respective Representatives (in their capacities as such) or any other
Person for whom any Protected Party, Limited Protected Party, or Opt-Out Chartered Organization
is alleged to be responsible (including any such Claim that has been asserted or may be amended
to assert in a proof of claim alleging Abuse, whether or not timely filed, in the Chapter 11 Cases,
or any such Claim that has been asserted against the Settlement Trust), including any proportionate
or allocable share of liability based thereon. Abuse Claims include any Future Abuse Claims, any
Indirect Abuse Claims, any Opt-Out Chartered Organization Abuse Claim and any other Claim
that is attributable to, arises from, is based upon, relates to, or results from, alleged Scouting-
related Abuse regardless of whether, as of the Petition Date, such Claim was barred by any
applicable statute of limitations. For the avoidance of doubt, (i) a Claim alleging Abuse shall not
SV R_ m6SfdV 8]RZ^n RXRZ_de R Ec`eVTeVU ERcej& AZ^ZeVU Ec`eVTeVU ERcej& `c Dae-Out Chartered
Organization or any of their respective Representatives if such Claim is unrelated to Scouting
(except as provided in (iii) below, including the portion of any Mixed Claim that is unrelated to
GT`feZ_X%5 $ZZ% R 8]RZ^ R]]VXZ_X 6SfdV dYR]] SV R_ m6SfdV 8]RZ^n RXRZ_de R Ec`eVTeVU ERcej&
Limited Protected Party, or Opt-Out Chartered Organization or any of their respective
Representatives (in their capacity as such) if such Claim is related to Scouting (including the
portion of any Mixed Claim that is related to Scouting); (iii) any portion of a Mixed Claim alleging
Abuse involving the Debtors, Reorganized BSA, Non-Debtor Entities, Local Councils, or their
respective Representatives (in their capacities as such) is necessarily Scouting-related and shall be
considered an Abuse Claim; and (iv) any Claim against the Debtors, Reorganized BSA, Non-
Debtor Entities, Local Councils, or their respective Representatives (in their capacities as such)
alleging Abuse is necessarily Scouting-related and shall be considered an Abuse Claim.

mAbuse Insurance Policiesn means, collectively, the BSA Insurance Policies, and the Local
Council Insurance Policies. Abuse Insurance Policies do not include Non-Abuse Insurance
Policies or Postpetition Insurance Policies.

mAwardn ^VR_d eYV T`^aV_dReZ`_ R 8]RZ^R_e cVTVZgVd `_ SVYR]W `W eYV 8]RZ^R_eod 6SfdV 8]RZ^(

mBankruptcy Courtn ^VR_d eYV I_ZeVU GeReVd 7R_\cfaeTj 8`fce W`c eYV 9ZdecZTe `W 9V]RhRcV&
having subject matter jurisdiction over the Chapter 11 Cases and, to the extent of any reference
withdrawal made under section 157(d) of title 28 of the United States Code, the District Court.

mBSA Insurance Policiesn means any and all known and unknown contracts, binders, certificates
or Insurance Policies currently or previously in effect at any time on or before the Petition Date
naming the Debtors, or either of them, or any predecessor, subsidiary, or past or present Affiliate
of the Debtors, as an insured (whether as the primary or an additional insured), or otherwise alleged
to afford the Debtors insurance coverage, upon which any claim could have been, has been, or may
be made with respect to any Abuse Claim, including the policies listed on Schedule 2 to the Chapter
11 Plan. Notwithstanding the foregoing, BSA Insurance Policies shall not include: (a) any policy
providing reinsurance to any Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any
Local Council Insurance Policy; or (d) any Postpetition Insurance Policy.

mChanneling Injunctionn means the permanent injunction provided for in Article X.F of the
Chapter 11 Plan with respect to (a) Abuse Claims against the Protected Parties, (b) Post-1975
Chartered Organization Abuse Claims against the Limited Protected Parties, (c) Abuse Claims

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against the Limited Protected Parties that are covered under any insurance policy issued by the
Settling Insurance Companies (as determined pursuant to Section X.F.3 of the Chapter 11 Plan),
and (d) Opt-Out Chartered Organization Abuse Claims against the Opt-Out Chartered
Organizations, to be issued pursuant to the Confirmation Order.

mChapter 11 Casesn ^VR_d eYV [`Z_e]j RU^Z_ZdeVcVU TRdVd f_UVc TYRaeVc ++ `W eYV 7R_\cfaeTj
Code commenced by the Debtors on the Petition Date in the Bankruptcy Court and currently styled
In re Boy Scouts of America and Delaware BSA, LLC, Bankruptcy Case No. 20-10343 (LSS)
(Jointly Administered).

mChapter 11 Plann `c mPlann means the Third Modified Fifth Amended Chapter 11 Plan of
Reorganization (With Technical Modifications) for Boy Scouts of America and Delaware BSA,
LLC, filed in the Chapter 11 Cases (as the same may be amended or modified), and confirmed by
the Bankruptcy Court.

mChartered Organizationsn ^VR_d VRTY R_U VgVcj TZgZT, faith-based, educational or business
organization, governmental entity or organization, other entity or organization, or group of
individual citizens, in each case presently or formerly authorized by the BSA to operate, sponsor
or otherwise support one or more Scouting units.

mClaimantn ^VR_d eYV Y`]UVc `W Rn Abuse Claim who (i) has satisfied the eligibility criteria section
forth in Articles IV and XIII of the Trust Distribution Procedures, (ii) has had his or her Abuse
Claim channeled to the Trust for evaluation, resolution, and payment pursuant to the Plan and the
Channeling Injunction, and (iii) is signing and executing this Release (or on whose behalf this
Release is being signed and executed by a Legal Representative).

mConfirmation Ordern ^VR_d the order of the Bankruptcy Court confirming the Plan pursuant to
section 1129 of the Bankruptcy Code, which shall be in form and substance acceptable to (a) the
Debtors, the Ad Hoc Committee, the Coalition, H`ce 8]RZ^R_edo 8`^^ZeeVV& eYV ;fefcV 8]RZ^R_edo
Representative, the Settling Insurance Companies (in accordance with their respective Insurance
Settlement Agreement), and the Contributing Chartered Organizations, R_U $S% eYV 8cVUZe`cdo
8`^^ZeeVV R_U ?EB Z_ RTT`cUR_TV hZeY eYVZc cVdaVTeZgV T`_dV_e cZXYed f_UVc eYV ?EB ) 8cVUZe`cdo
Committee Term Sheet, as incorporated by reference in Article I.D of the Plan.

mContributing Chartered Organizationsn means the current or former Chartered Organizations
listed on Exhibit D to the Plan and any Chartered Organization made a Protected Party under a
Post-Effective Date Chartered Organization Settlement approved by the Bankruptcy Court in
accordance with Article IV.I in the Plan. No Participating Chartered Organization shall be
considered a Contributing Chartered Organization based solely on the Participating Chartered
Organization Insurance Assignment. Without limiting the foregoing, subject to Confirmation of
the Plan and approval of the United Methodist Settlement Agreement by an order of the
Bankruptcy Court (including in the Confirmation Order), the United Methodist Entities are
Contributing Chartered Organizations and shall be designated as such in the Confirmation Order
and the Affirmation Order. No Chartered Organization shall be a Contributing Chartered
Organization unless it agrees to provide the assignments and releases as set forth in Sections 9 and
10 of the Century and Chubb Companies Insurance Settlement Agreement.


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 mDebtorsn ^VR_d Boy Scouts of America and Delaware BSA, LLC, the debtors and debtors-in-
possession in the Chapter 11 Cases.

mDistrict Courtn ^VR_d eYV I_ZeVU GeReVd 9ZdecZTe 8`fce W`c eYV 9ZdecZTe `W 9V]RhRcV& YRgZ_X
jurisdiction in the Chapter 11 Cases.

mInsurance Settlement Agreementn means (a) any settlement agreement entered into after the
Petition Date and before the Effective Date by and among (i) any Insurance Company, on the one
hand, and (ii) one or more of the Debtors and/or any other Protected Party or Limited Protected
Party, on the other hand, under which an Insurance Policy and/or the Debtors and/or other
Ec`eVTeVU ERceZVdo `c AZ^ZeVU Ec`eVTeVU ERceZVdo cZXYed eYVcVf_UVc hZeY cVdaVTe e` 6SfdV 8]RZ^d `c
Non-Abuse Litigation Claims are, subject to Confirmation of the Plan and the entry of a Final
Order approving such settlement agreement (which order may be the Confirmation Order),
released; and (b) any Post-Effective Date Insurance Settlement entered into during the Insurance
Settlement Period by and between (i) any Insurance Company, on the one hand, and (ii) the
Settlement Trustee (or the Settlement Trustee and any other Protected Party), on the other hand,
under which an Insurance Policy that is subject to the Insurance Assignment and/or the Settlement
HcfdeVVod R_U)`c Ec`eVTeVU ERceZVdo `c AZ^ZeVU Ec`eVTeVU ERceZVdo cZXYed eYVcVf_UVc hZeY cVdaVTe e`
Abuse Claims or Non-Abuse Litigation Claims are released. All Insurance Settlement Agreements
entered into before the Effective Date related to Specified Primary Insurance Policies that release
the applicable Insurance Company from liability arising from Non-Abuse Litigation Claims must
SV RTTVaeRS]V e` eYV 8cVUZe`cdo 8`^^ZeeVV Z_ RTT`cUR_TV hZeY eYV eVc^d `W eYV ?EB ) 8cVUZe`cdo
Committee Term Sheet; provided, however, that with respect to proposed settlements of any
GaVTZWZVU :iTVdd >_dfcR_TV E`]ZTj V_eVcVU Z_e` SVW`cV eYV :WWVTeZgV 9ReV& eYV 8cVUZe`cdo
Committee shall have consultation rights.

mLegal Representativen ^VR_d R aVcd`_R] representative, guardian, conservator, parent (on behalf
of a minor), executor of an estate or a similar representative who has been appointed by a court or
has other legal authorization to file a proof of claim and/or an Abuse Claim and execute this
Release on behalf of the Claimant.

“Limited Protected Parties” means the Participating Chartered Organizations and all of such
EVcd`_do FVacVdV_eReZgVd hYV_ RTeZ_X Z_ dfTY cVacVdV_eReZgV TRaRTZej5 ac`gZUVU& Y`hVgVc& eYRe _`
Perpetrator is or shall be a Limited Protected Party.

“Local Councils” means, collectively, each and every current or former local council of the BSA,
including each and every current local council of the BSA as listed on Exhibit G to the Plan,
mdfaa`ceZ_X `cXR_ZkReZ`_dn hZeYZ_ eYV ^VR_Z_X `f 26 U.S.C. § 509 with respect to any Local
8`f_TZ]& GT`feZ_X f_Zed $Z_T]fUZ_X mec``ad&n mUV_d&n maRT\d&n ma`ded&n mT]fSd&n mTcVhd&n mdYZad&n
mecZSVd&n m]RSd&n m]`UXVd&n mT`f_TZ]d&n mUZdecZTed&n mRcVRd&n mcVXZ`_d&n R_U meVccZe`cZVdn% Rdd`TZReVU
with any Local Council, and all Entities that hold, own, or operate any camp or other property that
is operated in the name of or for the benefit of any of the foregoing.

mLocal Council Insurance Policiesn means any and all known and unknown contracts, binders,
certificates or insurance policies currently or previously in effect at any time on or before the
Petition Date naming the Local Councils, or any of them, or any predecessor, subsidiary, or past
or present Affiliate of any Local Council, as an insured (whether as the primary or an additional

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insured), or otherwise alleged to afford any Local Council insurance coverage, upon which any
claim could have been, has been or may be made with respect to any Abuse Claim, including the
policies identified on Schedule 3 to the Chapter 11 Plan. Notwithstanding the foregoing, Local
Council Insurance Policies shall not include: (a) any policy providing reinsurance to any Settling
Insurance Company; (b) any Non-Abuse Insurance Policy; (c) any BSA Insurance Policy; or
(d) any Postpetition Insurance Policy.

mMixed Claimn means a claim that makes allegations of Abuse related to or arising from Scouting
as well as Abuse that occurred prior to the Petition Date unrelated to or not arising from Scouting.
A claim shall not be treated as a Mixed Claim unless and until Scouting-related Abuse allegations
have been asserted through a Proof of Claim, the complaint, sworn discovery or testimony
(including by affidavit).

 mNon-BSA Sourced Assetsn dYR]] ^VR_ Settlement Trust Assets that represent assets received as
a result of or in connection with a global settlement between the Debtors or the Trust, on the one
hand, and a Chartered Organization that is or becomes a Protected Party, on the other hand, and
the proceeds of such assets. For the avoidance of doubt, Non-BSA Sourced Assets shall not
include any assets received from the Debtors, the Local Councils, or any Settling Insurance
Company.

mParticipating Chartered Organizationn means a Chartered Organization (other than a
Contributing Chartered Organization, including the United Methodist Entities) that does not (a)
`S[VTe e` T`_WZc^ReZ`_ `W eYV E]R_ `c $S% Z_W`c^ 9VSe`cdo T`f_dV] Z_ hcZeZ_X `_ `c SVW`cV eYV
confirmation objection deadline that it does not wish to make the Participating Chartered
Organization Insurance Assignment. Notwithstanding the foregoing, with respect to any Chartered
Organization that is a debtor in bankruptcy as of the Confirmation Date, such Chartered
Organization shall bV R ERceZTZaReZ_X 8YRceVcVU DcXR_ZkReZ`_ `_]j ZW Ze RUgZdVd 9VSe`cdo T`f_dV] Z_
writing that it wishes to make the Participating Chartered Organization Insurance Assignment,
and, for the avoidance of doubt, absent such written advisement, none of such Chartered
DcXR_ZkReZ`_od cZXYed e` `c f_UVc eYV 6SfdV >_dfcR_TV E`]ZTZVd dYR]] SV dfS[VTe e` eYV ERceZTZaReZ_X
Chartered Organization Insurance Assignment. A list of Chartered Organizations that are debtors
in bankruptcy and may not be Participating Chartered Organizations is attached as Exhibit K to
the Plan. For the avoidance of doubt, any Chartered Organization that is a member of an ad hoc
group or committee that objects to the confirmation of the Plan shall not be a Participating
Chartered Organization.

mPerpetratorn means any individual who personally committed or is alleged to have personally
T`^^ZeeVU R_ RTe `W 6SfdV eYRe W`c^d eYV SRdZd W`c R_ 6SfdV 8]RZ^( HYV eVc^ mEVcaVecRe`cn U`Vd
not include any individual who did not personally commit or is not alleged to have personally
committed an act of Abuse that forms the basis for an Abuse Claim, against whom an Abuse Claim
Zd _VgVceYV]Vdd RddVceVU `c ^Rj SV RddVceVU& Z_T]fUZ_X Sj gZcefV `W dfTY Z_UZgZUfR]od a`dZeZ`_ `c
service as an employee or volunteer of the Debtors or as a Scout participant, or by virtue of such
Z_UZgZUfR]od a`dZeZ`_ `c dVcgZTV Rd R_ V^a]`jVV `c g`]f_eVVc `W R A`TR] 8`f_TZ] `c R 8YRceVcVU
Organization or as a Scout participant.

mProtected Partiesn means the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
Related Non-Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered

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Organizations; (f) eYV GVee]Z_X >_dfcR_TV 8`^aR_ZVd5 R_U $X% R]] `W dfTY EVcd`_do FVacVdV_eReZgVd5
provided, however, that no Perpetrator is or shall be a Protected Party. Notwithstanding the
foregoing, a Contributing Chartered Organization shall be a Protected Party with respect to Abuse
8]RZ^d `_]j Rd dVe W`ceY Z_ eYV UVWZ_ZeZ`_ `W m6SfdV 8]RZ^(n

“Release Date” means the later of (1) eYV UReV `W ViVTfeZ`_ YVcV`W `c $,% eYV UReV `W $Z% R m;Z_R]
9VeVc^Z_ReZ`_n `W ^j 6SfdV 8]RZ^ f_UVc eYV H9E `c $ZZ% eYV WZiZ_X `W eYV ]ZRSZ]Zej R^`f_e W`c ^j
Abuse Claim under the TDP, provided, however, the Release Date as to Contributing Chartered
Organizations and their related Released Parties shall be the later of the date of execution or the
date they become a Contributing Chartered Organization.

mReleased Partiesn means the Trust, the Trustee, the STAC, the Claims Administrators, the
Protected Parties, the Contributing Chartered Organizations (including any Chartered
Organization that becomes a Contributing Chartered Organization as of such date after the
execution of this Release), Participating Chartered Organizations with respect to Post-1975
Chartered Organization Claims and Abuse Claims covered under insurance policies issued by
Settling Insurance Companies, Opt-Out Chartered Organizations with respect to Abuse Claims
covered under insurance policies issued by Settling Insurance Companies, and each of their
respective predecessors, successors, assigns, assignors, representatives, members, officers,
employees, agents, consultants, lawyers, advisors, professionals, trustees, insurers, beneficiaries,
administrators, and any natural, legal, or juridical person or entity acting on behalf of or having
liability in respect of the Trust, the Trustee, the STAC, the Claims Administrators, the Protected
Parties, or the Contributing Chartered Organizations.

mScouting-relatedn ^VR_d R_jeYing that is attributable to, arises from, is based upon, results
from, or relates to, in whole or in part, directly, indirectly, or derivatively, Scouting.

mSettling Insurance Companyn means any Insurance Company that contributes funds, proceeds
or other consideration to or for the benefit of the Settlement Trust pursuant to an Insurance
Settlement Agreement that is approved by (a) an order of the Bankruptcy Court (including the
Confirmation Order) and is designated as a Settling Insurance Company in the Confirmation Order
or the Affirmation Order or (b) the Settlement Trust. Without limiting the foregoing, subject to
Confirmation of the Plan and approval of the applicable Insurance Settlement Agreement by an
order or orders of the Bankruptcy Court (including in the Confirmation Order), Century, the Chubb
Companies, Clarendon, the Hartford Protected Parties, the Zurich Affiliated Insurers and the
Zurich Insurers are each Settling Insurance Companies and shall be designated as such in the
Confirmation Order and the Affirmation Order.

mSTACn ^VR_d eYV GVee]V^V_e Hcfde 6UgZd`cj 8`^^ZeeVV Raa`Z_eVU e` `gVcdVV eYV Hcfde Z_
accordance with the Chapter 11 Plan and the Trust Agreement.

 mTDPn ^VR_d eYV 7`j GT`fed `W 6^VcZTR Hcfde 9ZdecZSfeZ`_ Ec`TVUfcVd W`c 6SfdV 8]RZ^d&
substantially in the form attached as Exhibit A to the Chapter 11 Plan and filed in the Chapter 11
Cases on August ___, 2022, as may be amended and supplemented thereafter from time to time.




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mTrust Agreementn ^VR_d eYV Settlement Trust Agreement dated as of the Effective Date,
substantially in the form attached to the Chapter 11 Plan as Exhibit B, as the same may be amended
or modified from time to time in accordance with the terms thereof.

mTrusteen ^VR_d OvP or any other person appointed to serve as trustee under and in accordance
with the Trust Agreement.

                             RELEASE AND INDEMNIFICATION
       A.        In consideration of the benefit of an Award from the Trust, and without limiting
any of the Releases or Injunctions in the Plan, which remain in full force and effect in favor of the
Protected Parties, the Limited Protected Parties, and Opt-Out Chartered Organizations (as set forth
in the Plan), I, on my own behalf and on behalf of my respective predecessors, successors, assigns,
assignors, representatives, attorneys, agents, trustees, insurers, heirs, next of kin, estates,
beneficiaries, executors, administrators, and any natural, legal, or juridical person or entity to the
extent he, she, or it is entitled to assert any claim on my behalf, including, but not limited to, a
AVXR] FVacVdV_eReZgV& $YVcVRWeVc mIn& mmyn `c mmen%& U` YVcVSj as of the Release Date voluntarily,
intentionally, knowingly, absolutely, unconditionally, irrevocably, and fully waive, release, remit,
acquit, forever discharge, and covenant not to knowingly sue or continue prosecution against the
Released Parties, or any of them, from and with respect to any and all claims, including, but not
limited to, all claims as defined in section 101(5) of the Bankruptcy Code, charges, complaints,
demands, obligations, causes of action, losses, expenses, suits, awards, promises, agreements,
rights to payment, right to any equitable remedy, rights of any contribution, indemnification,
reimbursement, subrogation or similar rights, demands, debts, liabilities, express or implied
contracts, obligations of payment or performances, rights of offset or recoupment, costs, expenses,
Ree`c_Vjdo R_U `eYVc ac`WVddZ`_R] WVVd R_U ViaV_dVd& T`^aV_dReZ`_ `c `eYVc cV]ZVW& R_U ]ZRSZ]ZeZVd `W
any nature whatsoever whether present or future, known or unknown, matured or unmatured,
suspected or unsuspected, liquidated or unliquidated, absolute or contingent, direct or derivative
and whether based on contract, tort, statutory, or any other legal or equitable theory of recovery
$T`]]VTeZgV]j& mReleased Claimsn% RcZdZ_X Wc`^& cV]ReZ_X e`& cVdf]eZ_X Wc`^ `c Z_ R_j hRj connected
to, in whole or in part, my Abuse Claim (solely to the extent asserted against any of the Protected
Parties) R_U eYV UZdTYRcXV `W eYV FV]VRdVU ERceZVdo UfeZVd R_U cVda`_dZSZ]ZeZVd f_UVc eYV Hcfde
Agreement, including any agreement, document, instrument or certification contemplated by the
Trust Agreement, the TDP, the Chapter 11 Plan, the formulation, preparation, negotiation,
execution or consummation of the Trust Agreement, the TDP and the Chapter 11 Plan, and any
and all other orders of the District Court or Bankruptcy Court relating to the Released Parties
and/or their duties and responsibilities, from the beginning of time through the execution date of
this Release. I covenant and agree that I will honor the release as set forth in the preceding sentence
and, further, that I will not knowingly (i) institute or continue prosecution of a lawsuit or other
action against any Released Party based upon, arising out of, or relating to any Released Claims
released hereby, (ii) knowingly participate, assist, or cooperate in any such action, or
(iii) knowingly encourage, assist and/or solicit any third party to institute any such action.

      B.       Without limiting the foregoing, and notwithstanding anything to the contrary in this
Release, the release set forth herein shall not apply in favor of the Trust as to my right to full
payment of my allowed Direct Abuse Claim, provided means for such payment by the Trust are
available under the Plan and the Trust Distribution Procedures.

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      C.        Without limiting the foregoing, and notwithstanding anything to the contrary in this
Release, in consideration of the benefit of the contribution made by each Settling Insurance
Company to the Trust pursuant to an Insurance Settlement Agreement and the payment by the
Trust to me of the Award, I do hereby as of the Release Date voluntarily, intentionally, knowingly,
absolutely, unconditionally, irrevocably, and fully waive, release, remit, acquit, forever discharge,
and covenant not to knowingly sue or continue prosecution against (i) each Settling Insurance
Company and (ii) any insured, co-insured or other third party (including any Local Council, any
other Protected Party, any Limited Protected Party, and any other Chartered Organization) under
any Abuse Insurance Policy issued by any Settling Insurance Company or any other insurance
policy issued by any Settling Insurance Company, including a policy issued to a Chartered
DcXR_ZkReZ`_ $R_j dfTY eYZcU aRcej& R_ mInsured Party Releaseen%& in the case of (i) or (ii) from
and with respect to any Abuse Claim.

      D.       I, as assignor, hereby transfer and assign to the Trust, as assignee, any rights,
claims, benefits, or Causes of Action arising out of or related to my Abuse Claim that are not
released herein, (i) and that are against Non-Settling Insurance Companies or (ii) to the extent my
Abuse Claim is resolved pursuant to the Independent Review Option under the TDP.

       E.        I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction and the Confirmation Order, the Debtors have been fully and completely discharged
and released, including their respective property and successors and assigns, from any and all
liability arising from or related to my Abuse Claim, which liability shall be assumed by the Trust
pursuant to the Plan.

      F.        I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction and the Confirmation Order, the sole recourse of any holder of an Abuse Claim against
a Protected Party on account of such Abuse Claim shall be to and against the Trust and such holder
shall have no right whatsoever at any time to assert such Abuse Claim against any Protected Party
or any property or interest in property of any Protected Party.

      G.       I hereby acknowledge that, pursuant to the Chapter 11 Plan, the Channeling
Injunction and the Confirmation Order, the sole recourse of any (i) holder of a Post-1975 Chartered
Organization Abuse Claim or Pre-1976 Chartered Organization Abuse Claim against a Limited
Protected Party on account of such Post-1975 Chartered Organization Abuse Claim or Pre-1976
Chartered Organization Abuse Claim shall be to and against the Trust and such holder shall have
no right whatsoever at any time to assert such Post-1975 Chartered Organization Abuse Claim or
Pre-1976 Chartered Organization Abuse Claim against any Limited Protected Party or any
property or interest in property of any Limited Protected Party, and (ii) holder of an Opt-Out
Chartered Organization Abuse Claim against an Opt-Out Chartered Organization on account of
such Opt-Out Chartered Organization Abuse Claim shall be to and against the Trust and such
holder shall have no right whatsoever at any time to assert such Opt-Out Chartered Organization
Abuse Claim against any Opt-Out Chartered Organization or any property or interest in property
of any Opt-Out Chartered Organization.

     H.         In further consideration of the benefit of an Award, as of the Release Date, I shall
indemnify and forever hold harmless, and pay all final judgments, damages, costs, expenses, fines,
penalties, interest, multipliers, or liabilities in whatsoever nature, including costs of defense and

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Ree`c_Vjdo WVVd `W& eYV Trust, the Trustee, the STAC, and the Claims Administrators arising from
my failure to comply with the terms of this Release.

      I. I acknowledge that the Trust is not providing any tax advice with respect to the receipt of
the Award or any component thereof, and I understand and agree that I shall be solely responsible
for compliance with all tax laws with respect to the Award, to the extent applicable.

Claimant or Legal Representative Printed Name:


Claimant or Legal Representative Signature:


Date:




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                        EXHIBIT B

            SETTLEMENT TRUST AGREEMENT
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              BSA SETTLEMENT TRUST AGREEMENT


                        DATED AS OF [●], 2022


PURSUANT TO THE THIRD MODIFIED FIFTH AMENDED CHAPTER 11 PLAN

   OF REORGANIZATION (WITH TECHNICAL MODIFICATIONS) FOR

        BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC
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                               BSA SETTLEMENT TRUST AGREEMENT

       This BSA Settlement Trust Agreement (this “Trust Agreement”), dated as of [●], 2022,
and effective as of the Effective Date, is entered in accordance with the Third Modified Fifth
Amended Chapter 11 Plan of Reorganization (With Technical Modifications) for Boy Scouts of
America and Delaware BSA, LLC, dated as of [●], 2022 (as it may be amended, modified, or
                              1
supplemented, the “Plan”), by Boy Scouts of America (the “Settlor,” the “BSA” or, after the
Effective Date (as defined in the Plan) “Reorganized BSA”); the Future Claimants’
Representative for the Trust identified in Section 7.1 hereof (together with any successor serving
in such capacity, the “FCR”); Honorable Barbara J. Houser (Ret.) or Barbara J. Houser LLC (as
applicable), as trustee (together with any successor serving in such capacity, the “Trustee”); [●]
as the Delaware Trustee (together with any successor serving in such capacity, the “ Delaware
Trustee”); and the members of the Settlement Trust Advisory Committee who are the individuals
further identified on the signature pages here (together with any successors serving in such
capacity, the “STAC”).

                                                       RECITALS


       (A)    The BSA and its affiliate, Delaware BSA, LLC (together, the “Debtors”) have, or
contemporaneously with the execution of this Trust Agreement will have, reorganized under the
provisions of chapter 11 of the Bankruptcy Code in a case filed in the Bankruptcy Court,
administered and known as In re Boy Scouts of America and Delaware BSA, LLC, Case No. 20-
10343 (Bankr. D. Del. 2020) (LSS) (collectively, the “Chapter 11 Cases”).

       (B)     BSA is executing this Trust Agreement in its capacity as Settlor to implement the
Plan and to create the BSA Settlement Trust (the “Trust”) for the benefit of the holders of Class 8
Direct Abuse Claims and Class 9 Indirect Abuse Claims (together, the “Abuse Claims”).

       (C)     The Confirmation Order has been entered by the Bankruptcy Court and is in full
force and effect.

       (D)     The Plan and Confirmation Order provide, among other things, for the creation of
the Trust to satisfy all Abuse Claims in accordance with this Trust Agreement, the Plan and the
Confirmation Order.

       (E)   The Bankruptcy Court held in the Confirmation Order that all the prerequisites for
the Channeling Injunction have been satisfied, and such Channeling Injunction is fully effective
and enforceable as provided in the Plan and Confirmation Order with respect to the channeled
Abuse Claims, as provided therein (the “Channeled Claims”).



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    All capitalized terms used but not otherwise defined herein shall have their respective meanings as set forth in the Plan or in
    the Confirmation Order, as applicable, or, if not defined therein, as set forth in the TDP ( as defined in Section 1.2 below).
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        (F)      The Plan and Confirmation Order provide that, on the Effective Date and
continuing thereafter until fully funded by the Debtors in accordance with the Plan, the Aggregate
Settlement Consideration (as defined in Section 1.3), as described in Exhibit 1 shall be transferred
to and vested in the Trust free and clear of all liens, encumbrances, charges, claims, interests or
other liabilities of any kind of the Debtors or their affiliates, any creditor or any other entity, other
than as provided in the Channeling Injunction with respect to the Channeled Claims and as
provided in Section 1.3.

        NOW, THEREFORE, it is hereby agreed as follows:

                                        ARTICLE 1.
                                    AGREEMENT OF TRUST

Section 1.1    Creation and Name.BSA as Settlor hereby creates a trust known as the “BSA
Settlement Trust” which is the Trust provided for and referred to in the Plan. The Trustee may
transact the business and affairs of the Trust in the name of the BSA Settlement Trust Fund and
references herein to the Trust shall include the Trustee acting on behalf of the Trust. It is the
intention of the parties hereto that the Trust created hereby constitutes a statutory trust under
Chapter 38 of title 12 of the Delaware Code, 12 Del. C. §§ 3801 et seq. (the “Act”) and that the
Confirmation Order, the Plan and this Trust Agreement, including the Exhibits hereto (the
Confirmation Order, the Plan and this Trust Agreement, including all Exhibits hereto, which
includes the TDP as defined in Section 1.2 below, collectively, the “Trust Documents”),
constitute the governing instruments of the Trust. The Trustee and the Delaware Trustee are
hereby authorized and directed to execute and file a Certificate of Trust with the Delaware
Secretary of State in the form attached hereto as Exhibit 2.

Section 1.2    Purposes.The purposes of the Trust are to (i) assume all liability for the Channeled
Claims, (ii) administer the Channeled Claims and (iii) make distributions to holders of
compensable Abuse Claims, in each case in accordance with the Trust Distributions Procedures
for Abuse Claims attached hereto as Exhibit 3 (the “TDP”). In connection therewith, the Trust
shall hold, manage, protect and monetize the Trust Assets (as defined in Section 1.3 below) in
accordance with the terms of the Trust Documents for the benefit of the Beneficiaries (as defined
in Section 1.6(a) below). For the avoidance of doubt, all Abuse Claims asserted against the Debtors
in the Chapter 11 Cases shall be resolved exclusively in accordance with the TDP.

Section 1.3     Transfer of Assets.Pursuant to the Plan, on the Effective Date, the Trust will receive
and hold all right, title and interest in and to the consideration described in Article IV.D of the Plan
and set forth on Exhibit 1 hereto (the “Aggregate Settlement Consideration” and together with
any income or gain earned thereon and proceeds derived therefrom, collectively, the “ Trust
Assets”). The Aggregate Settlement Consideration shall be transferred to the Trust free and clear
of any liens, encumbrances, charges, claims, interests or other liabilities of any kind of the Debtors
or their affiliates, any creditor or any other person or entity, other than as provided in the
Channeling Injunction with respect to Channeled Claims, and except that the Pfau/Zalkin
Restructuring Expenses shall be or shall have been paid from the Trust Assets to the extent
authorized under Article V.T of the Plan. The Debtors or Reorganized BSA shall execute and




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deliver such documents to the Trust as the Trustee reasonably requests to transfer and assign any
assets comprising all or a portion of the Aggregate Settlement Consideration to the Trust.

Section 1.4     Acceptance of Assets.In furtherance of the purposes of the Trust, the Trustee, on
behalf of the Trust, hereby expressly accepts the transfer to the Trust of the Aggregate Settlement
Consideration, subject to the terms of the Trust Documents. The Trust shall succeed to all of the
Debtors’ respective right, title, and interest, including all legal privileges, in the Aggregate
Settlement Consideration and neither the Debtors nor any other person or entity transferring such
Aggregate Settlement Consideration will have any further equitable or legal interest in, or with
respect to, the Trust Assets, including the Aggregate Settlement Consideration, or the Trust.

               (b)   Except as otherwise provided in the Plan, Confirmation Order or Trust
Documents, the Trust shall have all defenses, cross-claims, offsets, and recoupments, as well as
rights of indemnification, contribution, subrogation, and similar rights, regarding Channeled
Claims that the Debtors or the Reorganized BSA have or would have had under applicable law.

              (c)     No provision herein or in the TDP shall be construed or implemented in a
manner that would cause the Trust to fail to qualify as a “qualified settlement fund” under the QSF
Regulations (as defined in Section 8.4(a) below).

              (d)      Nothing in this Trust Agreement shall be construed in any way to limit the
scope, enforceability, or effectiveness of the Channeling Injunction or other terms of the Plan or
Confirmation Order.

               (e)     In this Trust Agreement and the TDP, the words “must,” “will,” and “shall”
are intended to have the same mandatory force and effect, while the word “may” is intended to be
permissive rather than mandatory.

Section 1.5    Receipt of Proceeds.

       The proceeds of any recoveries from any litigation or claims of the Trust (including the
Actions) will be deposited in the Trust’s accounts and become the property of the Trust.

Section 1.6    Beneficiaries.

               (a)   The beneficial owners (within the meaning of the Act) of the Trust shall be
the holders of Abuse Claims (the “Beneficiaries”).

            (b)      The Beneficiaries shall be subject to the terms of this Trust Agreement and
Trust Documents, including without limitation, the TDP.




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Section 1.7    Jurisdiction.The Bankruptcy Court shall have continuing jurisdiction with respect
to the Trust; provided however, the courts of the State of Delaware, including any federal court
located therein, shall also have jurisdiction over the Trust.

Section 1.8    Privileged and Confidential Information.

        The transfer or assignment of any Privileged Information to the Trustee pursuant to the
Document Agreement (as defined in the Plan) shall not result in the destruction or waiver of any
applicable privileges pertaining thereto. Further, with respect to any such privileges: (a) they are
transferred to or contributed for the purpose of enabling the Trustee to perform his or her duties to
administer the Trust; (b) they are vested solely in the Trustee and not in the Trust, the STAC, the
FCR, the SASAC (as defined in Section 2.8(a) below), or any other person, committee or
subcomponent of the Trust, or any other person (including counsel and other professionals) who
has been engaged by, represents, or has represented any holder of an Abuse Claim; and (c) the
Trustee shall keep, handle and maintain such Privileged Information in accordance with the terms
of the Document Agreement. Notwithstanding the foregoing, nothing shall preclude the Trustee
from providing Privileged Information to any Insurance Company as necessary to preserve, secure,
or obtain the benefit of any rights under any Insurance Policy.

Section 1.9    Relation-back election.

        Pursuant to the Document Agreement, if applicable, the Trustee and the Debtor shall fully
cooperate in filing a relation-back election under Treasury Regulation Section 1.468B-1(j)(2), to
treat the Trust as coming into existence as a settlement f und as of the earliest possible date.

Section 1.10 Employer identification number.

     Upon establishment of the Trust, the Trustee shall apply for an employer identification
number for the Trust in accordance with Treasury Regulation Section 1.468B-2(k)(4).

Section 1.11 Relationship to Plan.

        The principal purpose of this Trust Agreement is to aid in the implementation of the Plan
and the Confirmation Order and therefore, this Trust Agreement incorporates the provisions of the
Plan and the Confirmation Order (which may amend or supplement the Plan). To the extent that
there is conflict between the provisions of this Trust Agreement, the TDP, the provisions of the
Plan or the Confirmation Order, each document shall have controlling effect in the following order:
(1) the Confirmation Order; (2) the Plan; (3) this Trust Agreement; and (4) the TDP.

                                    ARTICLE 2.
                         POWERS AND TRUST ADMINISTRATION

Section 2.1    Powers.

               (a)     The Trustee is empowered to take all actions, including such actions as may
be consistent with those expressly set forth above, as the Trustee deems necess ary to reasonably
ensure that the Trust is treated as a “qualified settlement fund” under Section 468B of the Tax
Code and the regulations promulgated pursuant thereto. Further, the Trustee may, unilaterally and


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without court order, amend, either in whole or in part, any administrative provision of this Trust
Agreement which causes unanticipated tax consequences or liabilities inconsistent with the
foregoing.

                 (b)    The Trustee is and shall act as the fiduciary to the Trust in accordance with
the provisions of this Trust Agreement. The Trustee shall administer the Trust, the Trust Assets,
and any other amounts to be received under the terms of the Trust Documents in accordance with
the purposes set forth in Section 1.2 above and in the manner prescribed by the Trust Documents.
Subject to the limitations set forth in the Trust Documents, the Trustee shall have the power to take
any and all actions that in the judgment of the Trustee are necessary or advisable to fulfill the
purposes of the Trust, including, without limitation, each power expressly granted in this Section
2.1, any power reasonably incidental thereto and any trust power now or hereafter permitted under
the laws of the State of Delaware. Nothing in the Trust Documents or any related document shall
require the Trustee to take any action if the Trustee reasonably believes that such action is contrary
to law. In addition to all powers enumerated in the Trust Documents, including, but not limited to,
the Trustee’s powers and authority in respect of the interpretation, application of definitions and
rules of construction set forth in Article I of the Plan to the fullest extent set forth therein, from
and after the Effective Date, the Trust shall succeed to all of the rights and standing of the Debtors
with respect to the Aggregate Settlement Consideration in its capacity as a trust administering
assets for the benefit of the Beneficiaries.

              (c)    Except as required by applicable law or the Trust Documents, the Trustee
need not obtain the order or approval of any court in the exercise of any power or discretion
conferred hereunder.

                (d)     Without limiting the generality of Sections 2.1(a) and (b) above, and except
as limited in the Trust Documents and by applicable law, the Trustee shall have the power to:

                    (i)    supervise and administer the Trust in accordance with the Trust
Documents, including the TDP;

                    (ii)   adopt procedures to allow valid Abuse Claims (“Allowed Abuse
Claims”), and determine an allowed liability amount for each Allowed Abuse Claim (the
“Allowed Claim Amount”) in accordance with the TDP (including adopting procedures to
implement the Independent Review Process under the TDP);

                     (iii)   establish an initial payment percentage (the “Initial Payment
Percentage”) with respect to Allowed Abuse Claims and adjust the Initial Paymen t Percentage
and any subsequent Payment Percentage as set forth in Section 4.2 below;

                      (iv)    establish and adjust payment percentages for Excess Award Shares
from with respect to the Excess Award Fund and for Allowed Abuse Claims entitled to share in
particular PP Settlements on a priority basis consistent with the Trust Documents;

                       (v)      receive and hold the Trust Assets, and exercise all rights with respect
thereto including the right to vote and sell any securities that are included in such funds;




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                       (vi)    invest the monies held from time to time by the Trust in accordance
with Section 3.2;

                     (vii) sell, transfer or exchange any or all of the Trust Assets at such prices
and upon such terms as the Trustee may determine proper and consistent with the other terms of
the Trust Documents;

                      (viii) enter into leasing, financing or other agreements with third parties,
as determined by the Trustee, in his or her discretion, to be useful in carrying out the purposes of
the Trust;

                       (ix)   determine and pay liabilities and pay all fees and expenses incurred
in administering the Trust, managing the Trust Assets and making distributions in accordance with
the Trust Documents (the “Trust Operating Expenses”);

                      (x)  establish accounts and reasonable reserves within the Trust,
including the Excess Award Fund in accordance with the Independent Review Process, as
determined by the Trustee, in his or her discretion, to be necessary, prudent or useful in
administering the Trust;

                       (xi)    sue, be sued and participate, as a party or otherwise, in any judicial,
administrative, arbitrative or other proceeding;

                        (xii) appoint such officers and retain such employees, consultants,
advisors, independent contractors, experts and agents and engage in such legal, financial,
administrative, accounting, investment, auditing and alternative dispute resolution services and
activities as the Trust requires, and delegate to such persons such powers and authorities as this
Trust Agreement provides or the fiduciary duties of the Trustee permits and as the Trustee, in his
or her discretion, deems advisable or necessary in order to carry out the terms of this Trust
Agreement;

                       (xiii) pay reasonable compensation and reimbursement of expenses to any
of the Trust’s employees, consultants, advisors, independent contractors, experts and agents for
legal, financial, administrative, accounting, investment, auditing and alternative dispute resolution
services and activities as the Trust requires;

                     (xiv) compensate the Trustee, Delaware Trustee, the FCR and their
employees, consultants, advisors, independent contractors, experts and agents, and reimburse the
Trustee, the Delaware Trustee, the STAC members, and the FCR for all reasonable out-of-pocket
costs and expenses incurred by such persons in connection with the performance of their duties
hereunder;

                       (xv) compensate professionals for services, costs and expenses incurred
prior to the Effective Date in accordance with the terms of the Plan and Confirmation Order;

                      (xvi) execute and deliver such instruments as the Trustee considers
advisable or necessary in administering the Trust;



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                       (xvii) timely file such income tax and other tax returns and statements
required to be filed and timely pay all taxes, if any, required to be paid from the Trust Assets and
comply with all applicable tax reporting and withholding obligations;

                      (xviii) require, in respect of any distribution of Trust Assets, the timely
receipt of properly executed documentation (including, without limitation, IRS Form W-9) as the
Trustee determines in his or her discretion necessary or appropriate to comply with applicable tax
laws;

                       (xix)   resolve all applicable lien resolution matters;

                       (xx) register as a responsible reporting entity (“RRE”) and timely submit
all reports under the reporting provisions of section 111 of the Medicare, Medicaid, and SCHIP
Extension Act of 2007 (Pub. L. 110-173) (“MMSEA”) as required under Section 4.6 below;

                     (xxi) determine the form(s) of release required to be executed by a
Beneficiary in connection with a distribution on account of an Abuse Claim in accordance with
the TDP;

                       (xxii) enter into such other arrangements with third parties as are deemed
by the Trustee to be useful in carrying out the purposes of the Trust, provided such arrangements
do not conflict with any other provision of the Trust Documents;

                      (xxiii) in accordance with Section 5.9 below, defend, indemnify, and hold
harmless (and purchase insurance indemnifying) the Trust Indemnified Parties (as defined in
Section 5.7(a) below) solely from the Trust Assets and to the fullest extent permitted by law;

                       (xxiv) delegate any or all of the authority herein conferred with respect to
the investment of all or any portion of the Trust Assets to any one or more reputable investment
advisors or investment managers without liability for any action taken or omission made because
of any such delegation;

                       (xxv) delegate any or all of the authority conferred with respect to the
protection, preservation, and monetization of the non-cash Trust Assets;

                      (xxvi) initiate, prosecute, defend, settle, maintain, administer, preserve,
pursue, and resolve, pursuant to section 1123(b)(3)(B) of the Bankruptcy Code, all legal actions
and other proceedings related to any asset, liability, or responsibility of the Trust, including the
Actions (as defined in the Plan);

                        (xxvii) enter into structured settlements and other similar arrangements with
any Beneficiary (including a minor or other person in need of sp ecial consideration) upon such
terms as the Trustee and such Beneficiary (or such Beneficiary’s counsel or other authorized
person) agree, in all cases in accordance with the TDP, including the Independent Review Process;

                      (xxviii)contract for the establishment and continuing maintenance of a
website (the “Trust Website”) to aid in communicating information to the Beneficiaries and their
counsel or other authorized persons;


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                       (xxix) take any and all actions appropriate or necessary in order to carry
out the terms of the Trust Documents;

                       (xxx) except as otherwise expressly provided in the Trust Documents,
exercise any other powers now or hereafter conferred upon or permitted to be exercised by a trustee
under the laws of the State of Delaware; and

                       (xxxi) at the Trustee’s sole discretion, retain one or more consultants in
order to assist the Trustee and the Claims Administrators in evaluating and determining whether
one or more Abuse Claims may be fraudulent.

               (e)    The Trustee shall have the power to (i) authorize the commencement or
continuation of a lawsuit by a Direct Abuse Claimants against the Trust to obtain the Allowed
Claim Amount of a Direct Abuse Claim in accordance with the provisions of Article XII.B of the
TDP (a “STAC Tort Election Claim”), and (ii) enter into any settlement that causes an Insurance
Company to become a Settling Insurance Company or a Chartered Organization to become a
Contributing Chartered Organization (and thereby a Protected Party) (a “ PP Settlement”),
provided however, the powers set forth in this Section 2.1(e) shall in each case be subject to the
provisions of the Trust Documents including Sections 5.13, 5.14 and 5.15(a) below.

                (f)    The Trustee shall take all actions necessary or advisable for the enforcement
of the non-monetary commitments of Reorganized BSA with respect to Child Protection as set
forth in the Plan and Confirmation Order.

               (g)     The Trustee shall consult with the STAC and the FCR on the matters set
forth in Section 5.13 below. The Trustee shall obtain the consent of the STAC and the FCR prior
to taking action with respect to the matters as set forth in the Trust Documents including Section
5.14 below, as and to the extent set forth therein.

Section 2.2    Limitations on the Trustee, STAC and FCR.

       (a)    Notwithstanding anything in the Trust Documents to the contrary, the Trustee shall
not do or undertake any of the following:

               (i)     guaranty any debt;

               (ii)    make or enter into any loan of Trust Assets;

               (iii)  make any transfer or distribution of Trust Assets other than those authorized
               by the Trust Documents;

               (iv)   engage in any trade or business with respect to the Trust Assets or proceeds
               therefrom, provided, however, that the Trustee shall (i) hold, manage, protect and
               monetize the Trust Assets which shall not be deemed to constitu te a trade or
               business;

               (v)    engage in any investment of the Trust Assets, other than as explicitly
               authorized by this Trust Agreement; and


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               (vi)   engage in any activities inconsistent with the treatment of the Trust as a
               “qualified settlement fund” within the meaning of Treasury Regulations issued
               under Section 468B of the Tax Code.

       (b)     Excess Insurance Settlements.

                       (1)    As to insurance policies that provide coverage after the primary
insurance limit has been exhausted or used up or that extend the limit of insurance coverage of the
primary policy or the underlying liability policy (“Excess Insurance”), settlements that would
make the insurance carrier a Protected Party as to such policy(ies) (“ Excess Insurance
Settlements”) will not be entered into by the Trust until after the initial deadline for filing
Independent Review Claims under the TDP. Exceptions to this include: (A) Excess Insurance
Settlements involving insurance with aggregate limits where the settlement is for 90% or more of
the remaining aggregate limits; and/or (B) an Excess Insurance Settlement that is proposed by the
Trustee and approved by at least five (5) members of the STAC and the FCR so long as the Trustee
supports the settlement and determines that the proposed settlement is in the b est interests of the
Trust and that one or more of the separately identified Specified Circumstances are present. In
such circumstance, the Trustee may effectuate the proposed Excess Insurance Settlement without
Bankruptcy Court approval. Notwithstanding the foregoing, if a STAC member dissents from
approval of the proposed Excess Insurance Settlement and wants the Trustee to seek Bankruptcy
Court approval of the proposed settlement, such settlement shall be conditioned on the Bankruptcy
Court finding that the proposed settlement is in the best interest of the Trust and that the Trustee
has reasonably determined that one or more of the Specified Circumstances exist.

                      (2)     In assessing Excess Insurance Settlements, the Trustee and STAC
will consider principally the interests of Beneficiaries who hold Abuse Claims (whether such
Abuse Claims are determined through the Independent Review Process or through Claims Matrix
and Scaling Factors under the TDP) that enhance the collection of Excess Insurance.

                      (3)     Excess Insurance Settlements must be supported by an independent
expert opinion that the settlement value is fair in light of the expected liabilities against the
insurance, unless de minimis. The Trust shall recover the cost of such expert opinion from the first
dollars paid on account of such settlement. The expert must take into account the opinions of the
holders of Independent Review Claims whose claims are covered by the insurer at issue.

                        (4)    Unless the Excess Insurance settlement is for an aggregate limit
excess policy settled at or above 90% of the available aggregate limit, the Trustee and STAC shall
consider the opinions of Direct Abuse Claimants that hold Independent Review Claims covered
by the insurer at issue; and

               (c) Chartered Organization Settlements.

       No Chartered Organization may become a Contributing Chartered Organization under a
PP Settlement: (1) absent a separate contribution to the Trust in an amount that the Trustee finds
acceptable after taking into account the value of the claims against the Chartered Organization and
the Chartered Organization’s ability to pay (from assets and separate insurance), (2) if the PP
Settlement is made on behalf of more than one Chartered Organization (or its affiliated entities)


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and the funds are not coming directly from a Chartered Organization (or its affiliated entities) or
an insurance company directly insuring the Chartered Organization (or its affiliated entities),
unless the terms of the PP Settlement afford all holders of Direct Abuse Claims that had maintained
lawsuits that were permitted by the Channeling Injunction against any of such Chartered
Organizations (or its or their affiliated entities) prior to the proposed PP Settlement an opportunity
to opt out and maintain their lawsuits, and (3) absent approvals by the STAC and/or FCR and/or
Bankruptcy Court as required by the Trust Documents.

Section 2.3   General Administration.The Trustee shall act in accordance with the Trust
Documents. The Trustee shall establish the location of the principal office of the Trust and may
change the location of the principal office or establish other offices at other locations in his or her
discretion.

Section 2.4     Accounting.The fiscal year of the Trust shall begin on January 1 and shall end on
December 31 of each calendar year. The Trustee shall maintain the books and records relating to
the Trust Assets and income and the payment of Trust Operating Expenses and other liabilities of
the Trust. The detail of these books and records and the duration of time during which the Trustee
shall keep such books and records shall be such as to allow the Trustee to make a full and accurate
accounting of all Trust Assets, as well as to comply with applicable provisions of law and standard
accounting practices necessary or appropriate to produce an annual report containing special-
purpose financial statements of the Trust, including, without limitation, the assets and liabilities of
the Trust as of the end of such fiscal year and the additions, deductions and cash flows for such
fiscal year (the “Annual Report”); provided however, that the Trustee shall maintain such books
and records until the wind-up of the Trust’s affairs and satisfaction of all of Trust liabilities.

Section 2.5    Financial Reporting.

                (a)     The Trustee shall engage a firm of independent certified public accountants
(the “Independent Auditors”) selected by the Trustee, to audit the Annual Report. Within one
hundred twenty (120) days following the end of each calendar year, the Trustee shall file with the
Bankruptcy Court the Annual Report audited by the Independent Auditors and accompanied by an
opinion of such firm as to the fairness in all material respects of the special-purpose financial
statements. The Trustee shall publish a copy of such Annual Report on the Trust Website when
such report is filed with the Bankruptcy Court.

                (b)   All materials filed with the Bankruptcy Court pursuant to this Section 2.5
need not be served on any parties in the Chapter 11 Cases but shall be available for inspection by
the public in accordance with procedures established by the Bankruptcy Court.

Section 2.6     Claims Reporting.Within one hundred twenty (120) days following the end of each
calendar year, the Trustee shall cause to be prepared and filed with the Bankruptcy Court an annual
report containing a summary regarding the number and type of Abuse Claims disposed of during
the period covered by the financial statements (the “Annual Claims Report”). The Trustee shall




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post a copy of the Annual Claims Report on the Trust Website when such report is filed with the
Bankruptcy Court.

               (b)     Within forty-five (45) days following the end of each calendar quarter, the
Trustee shall cause to be prepared a quarterly claims report containing a summary regarding the
number and type of Abuse Claims disposed of during the quarte r (the “Quarterly Claims
Report”). The financial information set forth in the Quarterly Claims Report shall be unaudited.
The Trustee shall post a copy of the Quarterly Claims Report on the Trust Website; the Quarterly
Claims Report need not be filed with the Bankruptcy Court.

Section 2.7       Names and addresses.

        The Trustee shall keep a register (the “Register”) in which the Trustee shall at all times
maintain the names and addresses of the Beneficiaries and the awards made to the Beneficiaries
pursuant to the Trust Documents. The Trustee may rely upon this Register for the purposes of
delivering distributions or notices. In preparing and maintaining this Register, the Trustee may
rely on the name and address of each Abuse Claim holder as set forth in a proof of claim filed by
such holder, or proper notice of a name or address change, which has been delivered by such
Beneficiary to the Trustee. The Trustee may deliver distributions and notices to counsel for any
Beneficiary identified in such Beneficiary’s proof of claim or proper notice of a name or address
change.

Section 2.8       Sexual Abuse Survivors Advisory Committee.

                (a)     There shall be a Sexual Abuse Survivors Advisory Committee which shall
consist of six (6) individual abuse survivors (such individuals, together with their succes sors, the
“SASAC”).2

               (b)     The SASAC may attend and participate in such meetings as shall be called
by the Trustee and/or the STAC (“SASAC Meetings”) from time to time as determined by the
Trustee and/or STAC respectively in their discretion, and the Trustee an d STAC shall provide
periodic reporting to the SASAC. There shall be not less than one (1) SASAC Meetings in each
calendar year. The Trustee and/or the STAC shall propose, and be available, to consult with the
SASAC at least quarterly, and shall use their reasonable best efforts to keep the SASAC advised
of any material matters of the Trust, as determined by the Trustee and/or STAC in their reasonable
judgment.

               (c)    The SASAC may have reasonable access to the Trust’s consultants and
other advisors retained by the Trust and its staff (if any), which access may be made available as
determined by the Trustee.

              (d)   The members of the SASAC shall not be entitled to compensation for their
services; the members of the SASAC shall be reimbursed promptly for all reasonable and
documented out-of-pocket costs and expenses incurred in connection with their attendance at all

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    The initial members of the SASAC shall consist of three (3) individuals selected by the Coalition, subject to the reasonable
    consent of the TCC, and three (3) individuals selected by the TCC, subject to the reasonable consent of the Coalition .



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SASAC Meetings set forth in Section 2.8(b). The Trust shall include a description of the amounts
paid under this Section 2.8 in the Annual Report to be posted on the Trust’s Website.

Section 2.9    Transfers of the Trust Corpus.

        To the fullest extent permitted by law, neither the principal nor income of the Trust, in
whole or part, shall be subject to any legal or equitable claims of creditors of any Beneficiary or
others, nor to legal process, nor be voluntarily or involuntarily transferred, assigned, anticipated,
pledged or otherwise alienated or encumbered except as may be ordered by the Bankruptcy Court
or other competent court of jurisdiction.

                                        ARTICLE 3.
                             ACCOUNTS, INVESTMENTS, EXPENSES

Section 3.1    Accounts.

                (a)    The Trustee shall maintain one or more accounts (“Trust Accounts”) on
behalf of the Trust with one or more financial depository institutions (each a “ Financial
Institution”). Candidates for the positions of Financial Institution shall fully disclose to the
Trustee any interest in or relationship with Reorganized BSA or their affiliated persons or others.
Any such interest or relationship shall not be an automatic disqualification for the position, but the
Trustee shall take any such interest or relationship into account in selecting a Financial Institution.

                (b)     The Trustee may replace any retained Financial Institution with a successor
Financial Institution at any time, and such successor shall be subject to the considerations set forth
in Section 3.1(a).

               (c)      The Trustee may maintain a segregated account to hold any assets thereof
for the benefit of the holders of Future Abuse Claims (the “Future Abuse Claims Reserve”) to
the extent required to implement the TDP. Trust Operating Expenses directly allocable to the
administration of Future Abuse Claims and the Future Abuse Claims Reserve shall be charged
against any Future Abuse Claims Reserve, as reasonably determined by the Trustee.

                       (i)      [Reserved for the administration of the Future Abuse Claims
Reserve, if any.]

                (d)     The Trustee may maintain segregated accounts to hold any assets received
as a result of or in connection with a PP Settlement between the Debtors or the Trust, on the one
hand, and a Chartered Organization that is or becomes a Protected Party, on the other hand (the
“Chartered Organization Abuse Claims Reserve”) to the extent required to implement the TDP.
The Trust shall hold the assets thereof for the benefit of holders of Allowed Abuse Claims that (i)
could have been satisfied from that source absent the Plan’s Discharge and Channeling Injunction
and (ii) are held by Direct Abuse Claimants that execute a conditional release releasing all claims
against all Chartered Organizations pursuant to the terms of the TDP (“Chartered Organization
Abuse Claims”). Trust Operating Expenses directly allocable to the administration of Chartered
Organization Abuse Claims and the Chartered Organization Abuse Claims Reserve shall be
charged against the Chartered Organization Abuse Claims Reserve, as reasonably determined by
the Trustee.


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                   (i)         [Reserved for the administration of the Chartered Organization
Abuse Claims Reserve.]

                (e)     The Trustee may maintain segregated accounts to hold any assets received
as a result of or in connection with any settlement for the benefit of the holders of Excess Award
Shares including maintaining the Excess Award Fund as and to the extent required to implement
the TDP in connection with the Independent Review Process. Expenses directly allocable to the
administration of the Excess Award Fund shall be charged against the Excess Award Fund, as
reasonably determined by the Trustee.

               (f)     The Trustee may, from time to time, create such accounts and reasonable
reserves within the Trust Accounts as authorized in this Section 3.1 and as he or she may deem
necessary, prudent or useful in order to provide for distributions to the Beneficiaries and the
payment of Trust Operating Expenses and may, with respect to any such account or reserve, restrict
the use of money therein for a specified purpose (the “Trust Subaccounts”). Any such Trust
Subaccounts established by the Trustee shall be held as Trust Assets and are not intended to be
subject to separate entity tax treatment as a “disputed claims reserve” or a “disputed ownership
fund” within the meaning of the Internal Revenue Code (“IRC”) or Treasury Regulations.

Section 3.2    Investment Guidelines.

               (a)    The Trustee may invest the Trust Assets in accordance with the Investment
Guidelines, attached hereto as Exhibit 4 (the “Investment Guidelines”).

               (b)     Pursuant to the Plan, the Trust shall hold certain non-liquid assets. The
Trustee shall own, protect, oversee, insure and monetize such non-liquid assets in accordance with
the Trust Documents. This Section 3.2(b) is intended to modify the application to the Trust of the
“prudent person” rule, “prudent investor” rule and any other rule of law that would require the
Trustee to diversify the Trust Assets.

               (c)    Cash proceeds received by the Trust in connection with its monetization of
the non-liquid Trust Assets shall be invested in accordance with the Investment Guidelines until
needed for the purposes of the Trust as set forth in Section 1.2 above.

Section 3.3    Payment of Trust Operating Expenses.All Trust Operating Expenses shall be
payable out of the Trust Assets. None of the Trustee, Delaware Trustee, the STAC, the FCR, the
Beneficiaries nor any of their officers, agents, advisors, professionals or employees shall be
personally liable for the payment of any Trust Operating Expense or any other liability of the Trust.

                                  ARTICLE 4.
                   CLAIMS ADMINISTRATION AND DISTRIBUTIONS

Section 4.1     Claims Administration and Distributions.The Trust shall fairly and reasonably
compensate Allowed Abuse Claims and shall pay up to the full value of such claims, solely in
accordance with the Trust Documents, including the TDP (and, for the avoidance of doubt,
including without limitation the provisions of Article XI, Article XII.C. and G, and Article XIII of
the TDP). The TDP shall be subject to amendment or modification only to the extent expressly
set forth in the TDP. There shall be two (2) Claims Administrators to oversee the administration


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of claims. The initial Claims Administrators shall be (1) Honorable Michael Reagan (Ret.)
principally to serve in the role of Claims Administrator for the Independent Review Pro cess and
(2) Honorable Diane Welsh (Ret.) principally to serve in the role of Claims Administrator for the
Abuse Claims otherwise administered under the TDP. Successor Claim Administrators will be
selected only if approved by at least five (5) members of the STAC and with the reasonable consent
of the FCR.

                (b)     The Trustee shall employ individuals to serve as the Neutrals in the
Independent Review Process under the TDP, giving due weight in the selection process to prior
service as a retired judge with tort experience.

               (c)    Among the Trust Assets are funds contributed from Pachulski Stang Ziehl
& Jones LLP (the “PSZJ Contribution”). The Trustee shall have discretion to use such part of
the PSZJ Contribution as the Trustee may determine to distribute to holders of Abuse Claims in
recognition of their positive contributions made prior to, during or after the Chapter 11 Cases
benefiting survivors of childhood sexual abuse and preventing abuse.

Section 4.2    Applicability and Review of Payment Percentage.

                 (a)    Because there is uncertainty in the prediction of both the total amount of the
Trust’s liabilities and the amount of the Trust Assets, no guarantee can be made as to the total
payment the Trust will be able to pay for any Allowed Abuse Claim. The Trustee shall determine
from time to time the percentage of value that holders of present and future Abuse Claims are
likely to receive from the Trust Assets available for distribution on account of compensable Abuse
Claims. As soon as practicable after the Effective Date, the Trustee shall establish an Initial
Payment Percentage.

                (b)     The Initial Payment Percentage shall apply to all Allowed Abuse Claims to
be paid by the Trust until the Trustee, with the consent of the STAC and the FCR, determines that
the Initial Payment Percentage should be changed to assure that the Trust shall be in a financial
position to pay present and future holders of similar Allowed Abuse Claims in substantially the
same manner (the Initial Payment Percentage, as it may be changed from time to time pursuant to
this Section 4.2, the “Payment Percentage”).

                (c)    No less frequently than once every twelve (12) months, commencing on the
first month end (or such other period as is practicable for computational purposes) following the
first anniversary of the Effective Date, the Trustee shall compare the Abuse Claims distribution
forecasts for the Trust on which the then-existing Payment Percentage was based with the actual
Abuse Claims filings and distributions of the Trust to date. If the results of the comparison suggest
the potential for shortfalls in Trust Assets for continued Abuse Claims distributions at the then
applicable Payment Percentage, the Trustee shall undertake a reconsideration of the Payment
Percentage. The Trustee may reconsider the Payment Percentage at shorter intervals if the Trustee
deems such reconsideration is appropriate or if requested to do so by the STAC or the FCR. The
provisions of this Section 4.2(c) may be modified by the Trustee with the consent of the STAC
and the FCR.




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               (d)     The Trustee shall base the determination of any Payment Percentage on
current estimates of the number, types, and values of present and future Abuse Claims, the current
Trust Assets, all anticipated Trust Operating Expenses, and any other material matters that are
reasonably likely to affect the sufficiency of Trust Assets available to pay the present and future
holders of Abuse Claims.

               (e)    The Trustee shall base the determination of any payment percentage for the
Excess Award Fund on current estimates of the number, types, and values of present and future
Excess Award Shares, the current amount of the Excess Award Fund and any other material
matters that are reasonably likely to affect the sufficiency of Trust Assets available to pay the
present and future holders of Excess Award Shares.

               (f)     The Trustee shall base the determination of any payment percentage for any
segregated fund resulting from the contributions of or on behalf of a Contributing Chartered
Organization on current estimates of the number, types, and values of present and future Abuse
Claims entitled to share in that fund under the Trust Documents and any other material matters
that are reasonably likely to affect the sufficiency of Trust Assets available to pay the present and
future holders of those Abuse Claims.

Section 4.3    Supplemental Payments.

               (a)    If the Trustee, with the consent of the STAC and the FCR, increases the
Payment Percentage, the Trust shall make supplemental payments to all Beneficiaries who
previously liquidated their Abuse Claims and received payments based on a lower Payment
Percentage (with adjustments, if any, as set forth in the TDP). The amount of any such
supplemental payment to a Beneficiary shall be the liquidated value of the Abuse Claim in question
times the applicable newly adjusted Payment Percentage, less all amounts previously paid by the
Trust to the Beneficiary (with adjustments, if any, as set forth in the TDP) with respect to the
Abuse Claim.

                (b)   The Trustee’s obligation to make a supplemental payment to a Beneficiary
shall be suspended in the event the payment in question would be less than $250 after application
of the Payment Percentage at that time. The amount of a suspended payment to the holder of any
Abuse Claim shall be added to the amount of any prior supplemental payment(s) that was/were
also suspended because it/they collectively would have been less than $250, and the Trustee’s
obligation shall resume to pay any such aggregate supplemental payments due the Beneficiary at
such time that the cumulative aggregate amount exceeds $250.

              (c)    Notwithstanding anything herein or in the TDP, the Trustee reserves all
powers expressly granted to him or her by the Plan and the Confirmation Order with respect to the
administration of Abuse Claims.




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Section 4.4    Manner of Payment.Distributions from the Trust to the Beneficiaries may be made
by the Trustee on behalf of the Trust or by a disbursing agent retained by the Trust to make
distributions on behalf of the Trust.

Section 4.5    Delivery of Distributions.

                 (a)   Distributions shall be payable to the Beneficiary (or to counsel for the
Beneficiary) on the date approved for distribution by the Trustee (the “ Distribution Date”) in
accordance with the terms of the Trust Documents, including the TDP. With respect to each
compensable Abuse Claim approved for payment, distributions shall be made only after the
Trustee has determined that all obligations of the Trust with respect to each such Abuse Claim
have been satisfied. In the event that any distribution to a Beneficiary is returned as undeliverable,
no further distribution to such Beneficiary shall be made unless and until the Trustee has been
notified of the then current address of such Beneficiary, at which time such distribution shall be
made to such Beneficiary without interest; provided however, that all distributions shall be deemed
unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six (6)
months from the applicable Distribution Date. After such date, (i) all unclaimed property or
interests in property shall revert to the Trust (notwithstanding any applicable federal or state
escheat, abandoned or unclaimed property laws to the contrary), (ii) the Abuse Claim of such
Beneficiary shall be released, settled, compromised and forever barred as against the Trust, and
(iii) all unclaimed property interests shall be distributed to other Beneficiaries in accordance with
the Trust Documents, as if the Abuse Claim of such Beneficiary had been disallowed as of the date
the undeliverable distribution was first made. The Trustee shall take reasonable efforts to obtain
a current address for any Beneficiary with respect to which any distribution is returned as
undeliverable.

                (b)     In the event the Trust holds cash after paying all Trust Operating Expenses
and making all distributions contemplated under the Trust Documents, such remaining cash shall
be distributed to a national recognized charitable organization of the Trustee’s choice to the extent
economically feasible, which charitable organization shall be independent of the Trustee, the
STAC and the FCR and, to the extent possible, shall have a charitable purpose consistent with the
protection of children from sexual abuse or its ramifications. No Trust Asset or any unclaimed
property shall escheat to any federal, state, or local government or any oth er entity.

                (c)    Notwithstanding any provision in the Trust Documents to the contrary, no
payment shall be made to any Beneficiary on account of any Abuse Claim if the Trustee determines
that the costs of making such distribution is greater than the amount of the distribution to be made.

Section 4.6    Medicare Reimbursement and Reporting Obligations.

               (a)    The Trust shall register as a Registered Reporting Entity (“RRE”) under the
reporting provisions of section 111 of the Medicare, Medicaid, and SCHIP Extension Act of 2007
(“MMSEA”).

              (b)     The Trust shall, at its sole expense, timely submit all reports that are
required under MMSEA on account of any claims settled, resolved, paid, or otherwise liquidated
by the Trust or with respect to contributions to the Trust. The Trust, in its capacity as an RRE,


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shall follow all applicable guidance published by the Centers for Medicare & Medicaid Services
of the United States Department of Health and Human Services and/or any other agency or
successor entity charged with responsibility for monitoring, assessing, or receiving reports made
under MMSEA (collectively, “CMS”) to determine whether or not, and, if so, how, to report to
CMS pursuant to MMSEA.

                (c)     Before making distributions to Beneficiaries (or Beneficiaries’ counsel), in
respect of any Abuse Claim, the Trustee shall obtain a certification that said Beneficiary (or such
Beneficiary’s authorized representative) has provided or will provide for the payment and/or
resolution of any obligations owing or potentially owing u nder 42 U.S.C. § 1395y(b), or any
related rules, regulations, or guidance, in connection with, or relating to, such Abuse Claim.

                                       ARTICLE 5.
                              TRUSTEE; DELAWARE TRUSTEE

Section 5.1     Number of Trustees.In addition to the Delaware Trustee appointed pursuant to
Section 5.11 hereof, there shall be one (1) Trustee. The initial Trustee shall be Honorable Barbara
J. Houser (Ret.) or Barbara J. Houser LLC (as applicable). For the avoidance of doubt, there shall
be at least one (1) Trustee serving at all times (in addition to the Delaware Trustee).

Section 5.2    Term of Service, Successor Trustee.

                (a)     The Trustee shall serve from the Effective Date until the earliest of (i) his
or her death, (ii) his or her resignation pursuant to Section 5.2(b) below, (iii) his or her removal
pursuant to Section 5.2(c) below, and (iv) the termination of the Trust pursuant to Section 8.2
below.

               (b)     The Trustee may resign at any time upon written notice to the STAC and
FCR with such notice filed with the Bankruptcy Court. Such notice shall specify a date when such
resignation shall take effect, which shall not be less than ninety (90) days after the date such notice
is given, where practicable.

               (c)     The Trustee may be removed by consent of (i) at least two/thirds (2/3)
majority of the STAC and (ii) the FCR, in the event that the Trustee becomes unable to discharge
his or her duties hereunder due to accident, physical deterioration, mental incompetence or for
other good cause, provided the Trustee has received reasonable notice and an opportunity to be
heard. Other good cause shall mean fraud, self-dealing, intentional misrepresentation, willful
misconduct, indictment for or conviction of a felony in each case whether or not connected to the
Trust, any substantial failure to comply with the administration of the Trust or a consistent p attern
of neglect and failure to perform or participate in performing the duties of the Trustee hereunder.
For the avoidance of doubt, any removal of the Trustee pursuant to this Section 5.2(c) shall require
the approval of the Bankruptcy Court and shall take effect at such time as the Bankruptcy Court
shall determine.

Section 5.3    Appointment of Successor Trustee.

                (a)  In the event of any vacancy in the office of the Trustee, including the death,
resignation or removal of any successor Trustee, such vacancy shall be filled by the STAC and the


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FCR as set forth herein. The STAC will nominate an individual to serve as successor Trustee. If
the majority of the STAC then in office and the FCR agree upon a successor Trustee, then, subject
to the approval of the Bankruptcy Court, such individual shall become the Trustee. In the event
that a majority of the STAC and the FCR cannot agree on a successor Trustee, the matter will be
resolved pursuant to Section 8.16 below.

                (b)    Immediately upon the appointment of any successor Trustee pursuant to
Section 5.3(a) above, all rights, titles, duties, powers and authority of the predecessor Trustee
hereunder shall be vested in and undertaken by the successor Trustee without any further act. No
successor Trustee shall be liable personally for any act or omission of his or her predecessor
Trustee. No predecessor Trustee shall be liable personally for any act or omission of his or her
successor Trustee. No successor Trustee shall have any duty to investigate the acts or omissions
of his or her predecessor Trustee.

                (c)     Each successor Trustee shall serve until the earliest of (i) his or her death,
(ii) his or her resignation pursuant to Section 5.2(b) above, (iii) his or her removal pursuant to
Section 5.2(c) above, and (iv) the termination of the Trust pursuant to Section 8.2 below.

Section 5.4    Trustee Meetings.

               (a)    Regular Meeting. The Trustee shall hold regular meetings with the STAC
and the FCR not less than quarterly, which may be held at such times and at such places as may
be determined from time to time by the Trustee. For the avoidance of doubt, the Delaware Trustee
shall not be required or permitted to attend any meetings of the Trustee contemplated by this
Section 5.4.

                 (b)    Special Meetings. Special meetings of the Trustee with the STAC, the
SASAC and/or the FCR, either jointly or separately, may be called by the Trustee by giving written
notice to the STAC, the SASAC and/or the FCR not less than one (1) business day prior to the date
of the meeting. Any such notice shall include the time, place and purpose of the meeting, given
by overnight courier, personal delivery, facsimile, electronic mail or other similar means of
communication. Notice shall be addressed or delivered to the address as shown upon the records
of the Trust or as may have been given to the Trustee for purposes of notice. Notice by overnight
courier shall be deemed to have been given one (1) business day after the time that written notice
is provided to such overnight courier. Any other written notice shall be deemed to have been given
at the time it is personally delivered to the recipient or actually transmitted by the person giving
the notice by electronic means to the recipient.

                (c)    Participation in Meetings by Telephone Conference. The Trustee may
convene, and persons may participate in, a meeting by conference telephone or similar
communications equipment (which shall include virtual meetings via video conferencing
software), as long as all persons participating in such meeting can hear one another. Participation
in a meeting pursuant to this Section 5.4(c) shall constitute presence in person at such meeting.

               (d)     Waiver of Notice. Notice of a meeting need not be given to any person who
signs a waiver of notice, whether before or after the meeting. All such waivers shall be filed with
the Trust records or made a part of the minutes of the meeting. Attendance at a meeting shall


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constitute a waiver of notice of such meeting. Neither the business to be transacted at, nor the
purpose of, any Trustee meeting need be specified in any waiver of notice.

                (e)     Adjournment. A meeting may be adjourned by the Trustee to another time
and place.

Section 5.5     Compensation and Expenses of Trustee.The Trustee shall receive compensation
from the Trust for his or her services as Trustee. The initial amount of the Trustee’s compensation
shall be [●] and shall be adjusted annually thereafter as reasonably determined by the majority of
the STAC and FCR. The Trust shall also, upon receipt of appropriate documentatio n, reimburse
all reasonable out-of-pocket costs and expenses incurred by the Trustee in the course of carrying
out his or her duties as Trustee in accordance with reasonable policies and procedures as may be
adopted from time to time, including in connection with attending meetings of the Trustee. The
amounts paid to the Trustee for compensation and expenses shall be disclosed in the Annual
Report.

Section 5.6     Trustee’s Independence.

                (a)    The Trustee shall not, during his or her service, hold a financial interest in,
act as attorney or agent for or serve as any other professional for Reorganized BSA, their affiliated
persons, or any Non-Settling Insurer. No Trustee shall act as an attorney for, or otherwise
represent, any Person who holds a claim in the Chapter 11 Cases. For the avoidance of doubt, this
provision shall not apply to the Delaware Trustee.

               (b)    The Trustee, and the Delaware Trustee, shall be indemnified by the Trust in
acting upon any resolution, certificate, statement, instrument, opinion, report, notice, request,
consent, order or other paper or document believed by them to be genuine and to have been signed
or presented by the proper party or parties.

                (c)      Persons dealing with the Trust, the Trustee, and the Delaware Trustee with
respect to the affairs of the Trust, shall have recourse only to the Trust Assets to satisfy any liability
incurred by the Trust, the Trustee or the Delaware Trustee to such Person in carrying out the terms
of this Trust Agreement, and neither the Trustee, the Delaware Trustee, the Beneficiaries, nor any
of their professionals, advisors, officers, agents, consultants or lawyers shall have any personal
obligation to satisfy any such liability.

Section 5.7     Standard of Care; Exculpation.

              (a)     As used herein, the term “Trust Indemnified Party” shall mean the
Trustee, the Delaware Trustee, the Claims Administrators, the members of the STAC, the FCR,
the SASAC and each of their respective members, officers, employees, agents, consultants,
lawyers, advisors or professionals (collectively, the “Trust Indemnified Parties”).

              (b)     No Trust Indemnified Party shall be liable to the Trust, any other Trust
Indemnified Party, any Beneficiary or any other Person for any damages arising out of the creation,
operation, administration, enforcement or termination of the Trust, except in the case of such Trust
Indemnified Party’s willful misconduct, bad faith, or fraud as finally judicially determined by a
court of competent jurisdiction. To the fullest extent permitted by applicable law, the Trust


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Indemnified Parties shall have no liability for any action in performance of their duties under this
Trust Agreement taken in good faith with or without the advice of counsel, accountants, appraisers
and other professionals retained by the Trust Indemnified Parties. None of the provisions of this
Trust Agreement shall require the Trust Indemnified Parties to expend or risk their own funds or
otherwise incur personal financial liability in the performance of any of their duties hereunder or
in the exercise of any of their respective rights and powers. Any Trust Indemnified Party may rely,
without inquiry, upon writings delivered to it under any of the Trust Documents, which the Trust
Indemnified Party reasonably believes to be genuine and to have been given by a proper person.
Notwithstanding the foregoing, nothing in this Section 5.7 shall relieve the Trust Indemnified
Parties from any liability for any actions or omissions arising out of the willful misconduct, bad
faith, or fraud as finally judicially determined by a court of competent jurisdictio n; provided that
in no event will any such person be liable for punitive, exemplary, consequential or special
damages under any circumstances. Any action taken or omitted by the Trust Indemnified Parties
with the approval of the Bankruptcy Court, or any other court of competent jurisdiction, will
conclusively be deemed not to constitute willful misconduct, bad faith, or fraud.

                (c)    The Trust Indemnified Parties shall not be subject to any personal liability
whatsoever, whether in tort, contract or otherwise, to any Person in connection with the affairs of
the Trust or for any liabilities or obligations of the Trust except for those acts that are finally
judicially determined by a court of competent jurisdiction to have arisen out of their own willful
misconduct, bad faith, or fraud, and all Persons claiming against the Trust Indemnified Parties, or
otherwise asserting claims of any nature in connection with affairs of the Trust, shall look solely
to the Trust Assets for satisfaction of any such claims.

                  (d)    To the extent that, at law or in equity, the Trust Indemnified Parties have
duties (including fiduciary duties) or liability related thereto, to the Trust or the Beneficiaries, it is
hereby understood and agreed by the parties hereto and the Beneficiaries that such d uties and
liabilities are eliminated to the fullest extent permitted by applicable law, [including Section 3806
of the Act,] and replaced by the duties and liabilities expressly set forth in this Trust Agreement
with respect to the Trust Indemnified Parties, provided however, that the duties of care and loyalty
are not eliminated but are limited and subject to the terms of this Trust Agreement, including but
not limited to this Section 5.7 and its subparts.

                (e)    The Trust Indemnified Parties shall be indemnified to the fullest extent
permitted by law by the Trust against all liabilities arising out of the creation, operation,
administration, enforcement or termination of the Trust, including actions taken or omitted in
fulfillment of their duties with respect to the Trust, except for those acts that are finally judicially
determined by a court of competent jurisdiction to have arisen out of their own willful misconduct,
bad faith, or fraud.

               (f)    The Trust will maintain appropriate insurance coverage for the protection
of the Trust Indemnified Parties, as determined by the Trustee in his or her discretion.




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Section 5.8     Protective Provisions.

                 (a)     Every provision of this Trust Agreement relating to the conduct or affecting
the liability of or affording protection to Trust Indemnified Parties shall be subject to the provisions
of this Section 5.8.

               (b)     In the event the Trustee retains counsel (including at the expense of the
Trust), the Trustee shall be afforded the benefit of the attorney-client privilege with respect to all
communications with such counsel, and in no event shall the Trustee be deemed to have waived
any right or privilege including, without limitation, the attorney -client privilege even if the
communications with counsel had the effect of guiding the Trustee in the performance of duties
hereunder. A successor to any Trustee shall succeed to and hold the same respective rights and
benefits of the predecessor for purposes of privilege, including the attorney -client privilege. No
Beneficiary or other party may raise any exception to the attorney-client privilege discussed herein
as any such exceptions are hereby waived by all parties.

                (c)     To the extent that, at law or in equity, the Trustee has duties (including
fiduciary duties) and liabilities relating hereto, to the Trust or to the Be neficiaries, it is hereby
understood and agreed by the Parties and the Beneficiaries that such duties and liabilities are
eliminated to the fullest extent permitted by applicable law, including Section 3806 of the Act, and
replaced by the duties and liabilities expressly set forth in this Trust Agreement with respect to the
Trustee, provided however, that the duties of care and loyalty are not eliminated but are limited
and subject to the terms of this Trust Agreement, including but not limited to Section 5.7 herein.

              (d)    No Trust Indemnified Party shall be personally liable under any
circumstances, except for their own willful misconduct, bad faith, or fraud as finally judicially
determined by a court of competent jurisdiction.

              (e)     No provision of this Trust Agreement shall require the Trust Indemnified
Parties to expend or risk their own personal funds or otherwise incur financial liability in the
performance of their rights, duties, and powers hereunder.

                (f)    In the exercise or administration of the Trust hereunder, the Trust
Indemnified Parties (i) may act directly or through their respective agents or attorneys pursuant to
agreements entered into with any of them, and the Trust Indemnified Parties shall not b e liable for
the default or misconduct of such agents or attorneys if such agents or attorneys have been selected
by the Trust Indemnified Parties in good faith and with due care, and (ii) may consult with counsel,
accountants and other professionals to be selected by them in good faith and with due care and
employed by them, and shall not be liable for anything done, suffered or omitted in good faith by
them in accordance with the advice or opinion of any such counsel, accountants or other
professionals.

Section 5.9     Indemnification.

               (a)     Without the need for further court approval, the Trust hereby indemnifies,
holds harmless, and defends the Trust Indemnified Parties in the performance of their duties
hereunder to the fullest extent that a trust, including a statutory trust organized under the laws of
the State of Delaware, is entitled to indemnify, hold harmless and defend such persons against any

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and all liabilities, expenses, claims, damages or losses (including attorneys’ fees and costs)
incurred by them in the performance of their duties hereunder or in connection with activities
undertaken by them prior to or after the Effective Date in connection with the formation,
establishment, funding or operations of the Trust except for those acts that are finally judicially
determined by a court of competent jurisdiction to have arisen out of their own willful misconduct,
bad faith, or fraud.

               (b)    Reasonable expenses, costs and fees (including attorneys’ fees and costs)
incurred by or on behalf of the Trust Indemnified Parties in con nection with any action, suit or
proceeding, whether civil, administrative or arbitrative, from which they are indemnified by the
Trust shall be paid by the Trust in advance of the final disposition thereof upon receipt of an
undertaking, by or on behalf of the Trust Indemnified Parties, to repay such amount in the event
that it shall be determined ultimately by final order of the Bankruptcy Court that the Trust
Indemnified Parties or any other potential indemnitee are not entitled to be indemnified by the
Trust.

                (c)     The Trustee shall purchase and maintain appropriate amounts and types of
insurance on behalf of the Trust Indemnified Parties, as determined by the Trustee, which may
include liability asserted against or incurred by such individual in that capacity or arising from his
or her status as a Trust Indemnified Party, and/or as an employee, agent, lawyer, advisor or
consultant of any such person.

               (d)    The indemnification provisions of this Trust Agreement with respect to any
Trust Indemnified Party shall survive the termination of such Trust Indemnified Party from the
capacity for which such Trust Indemnified Party is indemnified. Termination or modification of
this Trust Agreement shall not affect any indemnification rights or obligations in existence a t such
time. In making a determination with respect to entitlement to indemnification of any Trust
Indemnified Party hereunder, the person, persons or entity making such determination shall
presume that such Trust Indemnified Party is entitled to indemnification under this Trust
Agreement, and any person seeking to overcome such presumption shall have the burden of proof
to overcome the presumption.

               (e)     The rights to indemnification hereunder are not exclusive of other rights
which any Trust Indemnified Party may otherwise have at law or in equity, including common law
rights to indemnification or contribution.

Section 5.10 Bond.The Trustee and the Delaware Trustee shall not be required to post any bond
or other form of surety or security unless otherwise ordered by the Ban kruptcy Court.

Section 5.11 Delaware Trustee.

                 (a)     There shall at all times be a Delaware Trustee. The Delaware Trustee shall
either be (i) a natural person who is at least twenty-one (21) years of age and a resident of the State
of Delaware, or (ii) a legal entity that has its principal place of business in the State of Delaware,
otherwise meets the requirements of applicable Delaware law to be eligible to serve as the
Delaware Trustee and shall act through one or more persons authorized to bind such entity. If at
any time the Delaware Trustee shall cease to be eligible in accordance with the provisions of this


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Section 5.11, it shall resign immediately in the manner and with the effect hereinafter specified in
Section 5.11(c) below. For the avoidance of doubt, the Delaware Trustee will only have such
rights, duties and obligations as expressly provided by reference to the Delaware Trustee
hereunder. The Trustee shall have no liability for the acts or omissions of any Delaware Trustee.

                 (b)    The Delaware Trustee shall not be entitled to exercise any powers, nor shall
the Delaware Trustee have any of the duties and responsibilities of the Trustee set forth herein.
The Delaware Trustee shall be a trustee of the Trust for the sole and limited purpose of fulfilling
the requirements of Section 3807(a) of the Act and for taking such actions as are required to be
taken by a Delaware Trustee under the Act. The duties (including fiduciary duties), liabilities and
obligations of the Delaware Trustee shall be limited to accepting legal process served on the Trust
in the State of Delaware and the execution of any certificates required to be filed with the Secretary
of State of the State of Delaware that the Delaware Trustee is required to execute under Section
3811 of the Act. There shall be no other duties (including fiduciary duties) or obligations, express
or implied, at law or in equity, of the Delaware Trustee. To the extent that, at law or in equity, the
Delaware Trustee has duties (including fiduciary duties) and liabilities relating to the Trust or the
Beneficiaries, such duties and liabilities are replaced by the duties and liabilities of the Delaware
Trustee expressly set forth in this Trust Agreement. The Delaware Trustee shall have no liability
for the acts or omissions of the Trustee. Any permissive rights of the Delaware Trustee to do things
enumerated in this Trust Agreement shall not be construed as a duty and, with respect to any such
permissive rights, the Delaware Trustee shall not be answerable for other than its willful
misconduct, bad faith or fraud. The Delaware Trustee shall be under no obligation to exercise any
of the rights or powers vested in it by this Trust Agreement at the request or direction of the Trustee
or any other person pursuant to the provisions of this Trust Agreement unless the Trustee or such
other person shall have offered to the Delaware Trustee security or indemnity (satisfactory to the
Delaware Trustee in its discretion) against the costs, expenses and liabilities that may be incurred
by it in compliance with such request or direction. The Delaware Trustee shall be entitled to
request and receive written instructions from the Trustee and shall have no responsibility or
liability for any losses or damages of any nature that may arise from any action taken or not taken
by the Delaware Trustee in accordance with the written direction of the Trustee. The Delaware
Trustee may, at the expense of the Trust, request, rely on and act in accordance with officer’s
certificates and/or opinions of counsel, and shall incur no liability and shall be fully protected in
acting or refraining from acting in accordance with such officer’s certificates and opinions of
counsel.

                (c)    The Delaware Trustee shall serve until such time as the Trustee removes the
Delaware Trustee or the Delaware Trustee resigns and a successor Delaware Trustee is appointed
by the Trustee in accordance with the terms of Section 5.11(d) below. The Delaware Trustee may
resign at any time upon the giving of at least sixty (60) days’ advance written notic e to the Trustee,
provided that such resignation shall not become effective unless and until a successor Delaware
Trustee shall have been appointed by the Trustee in accordance with Section 5.11(d) below,
provided further, that if any amounts due and owing to the Delaware Trustee hereunder remain
unpaid for more than ninety (90) days, the Delaware Trustee shall be entitled to resign immediately
by giving written notice to the Trustee. If the Trustee does not act within such sixty (60) day period,
the Delaware Trustee, at the expense of the Trust, may apply to the Court of Chancery of the State
of Delaware or any other court of competent jurisdiction for the appointment of a successor
Delaware Trustee.


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                (d)     Upon the resignation or removal of the Delaware Trustee, the Trustee shall
appoint a successor Delaware Trustee by delivering a written instrument to the outgoing Delaware
Trustee. Any successor Delaware Trustee must satisfy the requirements of Section 3807 of the
Act. Any resignation or removal of the Delaware Trustee and appointment of a successor Delaware
Trustee shall not become effective until a written acceptance of appointment is delivered by the
successor Delaware Trustee to the outgoing Delaware Trustee and the Trustee, and any fees and
expenses due to the outgoing Delaware Trustee are paid. Following compliance with the preceding
sentence, the successor Delaware Trustee shall become fully vested with all of the rights, powers,
duties and obligations of the outgoing Delaware Trustee under this Trust Agree ment, with like
effect as if originally named as Delaware Trustee, and the outgoing Delaware Trustee shall be
discharged of his or her duties and obligations under this Trust Agreement. The successor
Delaware Trustee shall make any related filings required under the Act, including filing a
Certificate of Amendment to the Certificate of Trust in accordance with Section 3810 of the Act.

                (e)     Notwithstanding anything herein to the contrary, any business entity into
which the Delaware Trustee may be merged or converted or with which it may be consolidated or
any entity resulting from any merger, conversion or consolidation to which the Delaware Trustee
shall be a party, or any entity succeeding to all or substantially all of the corporate trust business
of the Delaware Trustee, shall be the successor of the Delaware Trustee hereunder, without the
execution or filing of any paper or any further act on the part of any of the parties hereto.

              (f)     The Delaware Trustee shall be entitled to compensation for its services as
agreed pursuant to a separate fee agreement between the Trust and the Delaware Trustee, which
compensation shall be paid by the Trust. Such compensation is intended for the Delaware Trustee’s
services as contemplated by this Trust Agreement. The terms of this p aragraph shall survive
termination of this Trust Agreement and/or the earlier resignation or removal of the Delaware
Trustee.

                (g)     The Delaware Trustee shall neither be responsible for, nor chargeable with,
knowledge of the terms and conditions of any other agreement, instrument or document, other than
this Trust Agreement, whether or not, an original or a copy of such agreement has been provided
to the Delaware Trustee. The Delaware Trustee shall have no duty to know or inquire as to the
performance or nonperformance of any provision of any other agreement, instrument or document,
other than this Trust Agreement. Neither the Delaware Trustee nor any of its directors, officers,
employees, agents or affiliates shall be responsible for nor have any duty to monitor the
performance or any action of the Trust, the Trustee or any other person, or any of their directors,
members, officers, agents, affiliates or employee, nor shall it have any liability in connection with
the malfeasance or nonfeasance by such party. The Delaware Trustee may assume performance by
all such persons of their respective obligations. The Delaware Trustee shall have no enforcement
or notification obligations relating to breaches of representations or warranties of any other person.
The Delaware Trustee shall have no responsibilities (except as expressly set forth herein) as to the
validity, sufficiency, value, genuineness, ownership or transferability of any Trust Asset, written
instructions, or any other documents in connection therewith, and will not, be regarded as making
nor be required to make, any representations thereto.

               (h)   The Delaware Trustee shall not be responsible or liable for any failure or
delay in the performance of its obligations under this Trust Agreement arising out of, or caused,


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directly or indirectly, by circumstances beyond its control, including without limitation, any act or
provision of any present or future law or regulation or governmental authority; acts of God;
earthquakes; fires; floods; wars; terrorism; civil or military disturbances; sabotage; epidemics;
riots; interruptions, loss or malfunctions of utilities, computer (hardware or software) or
communications service; accidents; labor disputes; acts of civil or military authority or
governmental actions; or the unavailability of the Federal Reserve Bank wire or telex or other wire
or communication facility.

Section 5.12 Meeting Minutes.

        The minutes of proceedings of the Trustee shall be kept in written form (which may be
electronic) at such place or places designated by the Trustee, or, in the absence of such designation,
at the principal office of the Trust.

Section 5.13 Matters Requiring Consultation with STAC and FCR.

       The Trustee shall consult with the STAC and the FCR on each of the following:

               (a)     The form(s) of release to be executed by a Beneficiary;

               (b)     An annual estimate of the budget for the Trust Operating Expenses; and

               (c)    The administration, investment of assets of, and expenses to be charged
against the Future Abuse Claims Reserve, if any;

Section 5.14 Matters Requiring Consent of STAC and FCR.

       The Trustee shall obtain the consent of the STAC and the FCR, or, otherwise, Bankruptcy
Court approval in the event of a dispute in accordance with Section 8.16 hereof, for the items listed
below:

               (a)   The determination of the Initial Payment Percentage and any subsequent
adjustment to the Payment Percentage;

               (b)     Any proposed modification to the indemnification provisions of the Trust
Agreement;

              (c)    Any proposed sale, transfer or exchange of Trust Assets (other than an
insurance buy-back) above $5,000,000 (any proposed sale of Trust Assets below such amount shall
not require STAC and FCR consent);

               (d)    Any proposed material modifications to the Trust Agreement and/or the
TDP, if and as required by the consent provisions set forth therein;

               (e)     Any proposed increase or decrease in the size of the Future Abuse Claims
Reserve, if any;




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               (f)     The commencement or continuation of a lawsuit by Direct Abuse Claimants
against the Trust pursuant to a STAC Tort Election Claim, as set forth in Article XII.C of th e TDP;
and

               (g)    The form and substance of the questionnaire required in connection with a
Trust Claim Submission under the TDP (which is to be executed under oath by the Abuse Claimant
individually (or an executor)).

Section 5.15 Matters Requiring Special Approval: PP Settlements, Limited Protected Party
Injunction Date Extensions and Certain Employment Matters.

               (a)     PP Settlements.

               In addition to limitations otherwise set forth in the Trust Documents including
Section 2.2 above, any PP Settlement with a Chartered Organization or Insurance Company must
be in an amount acceptable to the Trustee and either (1) obtain the approval of at least four (4)
STAC members and the reasonable consent of the FCR or (2) Bankruptcy Court approval. If
Bankruptcy Court approval is sought, the Trustee must provide notice to the affected parties and
approval of the PP Settlement shall be reviewed by the Bankruptcy Court under the Bankruptcy
Rule 9019 standard and must be found to be in the best interest of the beneficiaries of the Trust.
The members of the STAC may hire counsel at the expense of the Trust to oppose any such PP
Settlement before the Bankruptcy Court. Regardless of whether Bankruptcy Court approval is
sought, the Trustee must provide notice of any PP Settlements to the affected parties (including
holders of Direct Abuse Claims and Indirect Abuse Claims, as applicable).

               (b)     Limited Protected Party Injunction Date Extensions.

                     (i)    Extensions of the Limited Protected Party Injunction Date for the
Post-Confirmation Interim Injunction may be granted by the Trust as follows:

                               (A)    First Extension: A six (6) month extension of the Plan’s
initial Limited Protected Party Injunction Date may be afforded with the approval of a majority of
the STAC and the consent of the FCR to any Chartered Organization that is a Limited Protected
Party, and for which the Trustee articulates good cause for believing that the Trust might settle
with such Chartered Organization on a global basis (the “First Extension”), provided that
unanimous approval of the STAC and FCR are required to afford the First Extension to any
Chartered Organizations that individually, or in combination with other Chartered Organizations
with which they are organizationally affiliated, are named in fewer than 25 Proofs of Claim filed
by Direct Abuse Claimants;

                            (B)     Second Extension: A subsequent six (6) month extension of
the First Extension may be afforded with unanimous approval of the STAC and FCR to any
Chartered Organization for which an extension was granted as described in Section 5 .15(b)(i)(A)
above with which the Trustee is negotiating to finalize settlement (the “Second Extension”); and

                           (C)    Further Extension: An extension beyond the Second
Extension may be afforded with unanimous approval of the STAC and FCR and approval of the



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Bankruptcy Court to any Chartered Organization for which an extension was granted as described
in Section 5.15(b)(i)(B) above.

                       (ii)      Within thirty (30) days after the expiration of the initial Limited
Protected Party Injunction Date and each extension thereof in Sec tion 5.15(b)(i)(A)-(C), the
Trustee shall publish a list of the Chartered Organizations that are subject to the Post-Confirmation
Interim Injunction.

               (c)     Certain Employment Matters:

               The Trustee must obtain approval of at least five (5) members of the STAC and the
reasonable consent of the FCR for employment of a successor Claims Administrator pursuant to
Section 4.1(a) or employment of legal counsel to the Trust. Alternatively, if such support is not
provided within five (5) business days following no tice to the STAC, the Trustee may seek
Bankruptcy Court approval of such employment without regard to the provisions of Section 8.16.
In the event the Trustee requires counsel to present such matters to the Bankruptcy Court, or
otherwise requires personal counsel, the Trustee may engage counsel for such purpose without
STAC consent or Bankruptcy Court approval.

               (d) Reorganized BSA Meetings with the Trustee:

              Reorganized BSA shall meet with the Trustee at such reasonable times and at such
reasonable places as may be determined by the Trustee.



Section 5.16 Trustee’s and STAC’s Employment of Professionals.

               (a)     The Trustee may, but is not required to, retain and/or consult accountants,
appraisers, auditors, forecasters, experts, financial and investment advisors and such other parties
deemed appropriate by the Trustee to assist in matters for the Trust within the Trustee’s purview
(the “Trustee Professionals”). The Trustee shall consult with the STAC and the FCR regarding
the retention of the Trustee Professionals, provided, however, that no approval from the STAC or
the FCR is required for the retention of Trustee Professionals. For the avoidance of doubt, Trustee
Professionals does not include legal counsel whose employment is governed by Section 5.15(c)
above.

               (b)     The STAC may, but is not required to, retain and/or consult, legal counsel
and such other parties deemed appropriate by the STAC to assist in matters within the STAC’s
purview (the “STAC Professionals”), provided however that (i) the selection of such
professional(s) shall be approved by at least five (5) members of the STAC, and (ii) selection of
STAC Professionals under this Section 5.16(b) is separate from and has no effect on the retention
of counsel by members of the STAC under Section 5.15(a) to oppose a PP Settlement. If a majority
of the STAC vote to hire counsel and cannot obtain the requisite supermajority approval following
five (5) business days’ notice to all STAC members, they may seek authorization from the
Bankruptcy Court to approve such engagement.




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                                  ARTICLE 6.
                     SETTLEMENT TRUST ADVISORY COMMITTEE

Section 6.1    Members; Action by Members.The STAC shall be composed of seven (7) members
appointed to represent the interests of holders of current Abuse Claims. Three (3) members of the
STAC have been appointed by the Coalition of Abused Scouts for Justice (the “Coalition” and
such individuals, the “Coalition Appointees”), three (3) members of the STAC have been
appointed by the Official Committee of Tort Claimants (the “TCC” and such individuals, the
“Committee Appointees”), and one (1) member of the STAC has been appointed by Pfau,
Cochran, Vertetis Amala PLLC and The Zalkin Law Firm, P.C. (hereinafter, with their successors,
“Pfau/Zalkin,” and such individual, the “Pfau/Zalkin Appointee”). Additional alternates may
be designated prior to the commencement of the Confirmation Hearing on the Plan, if proposed by
the TCC, Coalition and Pfau/Zalkin, and publicly identified thereby or thereat and may be
designated after the Effective Date by, as applicable, the Committee Appo intees, Coalition
Appointees or Pfau/Zalkin Appointees subject to the same consent rights applicable to the
appointment of successor STAC members in Section 6.6 hereof.

       The initial STAC members shall consist of the following (a) Coalition Appointees: (1)
Adam Slater; (2) Sean Higgins; (3) Kenneth M. Rothweiler; (b) Committee Appointees: (1) Jordan
Merson; (2) Paul Mones; (3) Christopher Hurley; and (c) the Pfau/Zalkin Appointee: (1) Irwin
Zalkin. The alternate STAC members are: (1) Deborah Levy (Coalition); (2) Peter Janci
(Committee); and (3) Michael Pfau (Pfau/Zalkin).

       Except as otherwise set forth in the Trust Documents, the STAC shall act by majority vote
of STAC members then serving, provided however, the STAC may continue to act in th e event of
one or more vacancies on the STAC, in which case majority vote of the STAC members then
serving shall be required for action by the STAC.

Section 6.2       Duties.The members of the STAC (and their designees) shall serve in a fiduciary
capacity representing current holders of Abuse Claims. The STAC shall not have any fiduciary
duties or responsibilities to any party other than holders of current Abuse Claims. Except for the
duties and obligations expressed in this Trust Agreement and the TDP, there shall be no ot her
duties (including fiduciary duties) or obligations, express or implied, at law or in equity, of the
STAC. To the extent that, at law or in equity, the STAC has duties (including fiduciary duties) and
liabilities relating thereto to the Trust, the other parties hereto, or any Beneficiary, such duties and
liabilities are replaced by the duties and liabilities of the STAC expressly set forth in this Trust
Agreement and the TDP. The applicable designated alternate STAC member for another STAC
member may vote and act in that STAC member’s stead when that STAC member is unavailable.

Section 6.3     STAC Information Rights.

        The STAC shall have reasonable access to the Trust’s consultants and other advisors
retained by the Trust and its staff (if any), and information available to the Trustee, which access
shall be made available as determined by the Trustee in his or her discretion.




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Section 6.4    [Reserved.]

Section 6.5    Term of Office.

                 (a)     Each member of the STAC shall serve until the earliest of (i) his or her
death, (ii) his or her resignation pursuant to Section 6.5(b) below, (iii) his or her removal pursuant
to Section 6.5(c) below, and (iv) the termination of the Trust pursuant to Section 8.2 below.

               (b)     A member of the STAC may resign at any time by written notice to the other
members of the STAC and the Trustee. Such notice shall specify a date when such resignation
shall take effect, which shall not be less than thirty (30) days after the date such notice is given,
where practicable.

                 (c)    A member of the STAC may be removed in the event that he or she becomes
unable to discharge his or her duties hereunder due to accident, physical deterioration, mental
incompetence, or for other good cause, provided the member of the STAC has received reasonable
notice and an opportunity to be heard. Other good cause shall mean fraud, self-dealing, intentional
misrepresentation, willful misconduct, indictment for or conviction of a felony in each case
whether or not connected to the Trust or a consistent pattern of neglect and failure to perform or
to participate in performing the duties of such member hereunder, such as repeated non-attendance
at scheduled meetings. Such removal shall require the majority vote of the other members of the
STAC and such removal shall take effect only upon the approval of the Bankruptcy Court.

Section 6.6    Appointment of Successor.

                 (a)     In the event of a STAC member vacancy, (i) if the vacancy has occurred
with respect to a Coalition Member, the remaining Coalition Members shall nominate a successor
STAC Member, (ii) if the vacancy has occurred with respect to a Co mmittee Member, the
remaining Committee Members shall nominate a successor STAC Member, (iii) if the vacancy has
occurred with respect to a Pfau/Zalkin Member, Pfau/Zalkin shall nominate a successor STAC
Member. Successor STAC members appointed by the Coalition Members shall be subject to the
consent of at least fifty percent (50%) of the Committee Members and the Pfau/Zalkin Member,
successor STAC Members appointed by the Committee Members shall be subject to the consent
of at least fifty percent (50%) of the Coalition Members and Pfau/Zalkin Member, and a successor
STAC member appointed by Pfau/Zalkin shall be subject to the consent of at least fifty percent
(50%) of the Coalition and Committee Members; provided, however, that if such consent is
withheld, the Member(s) seeking to appoint a successor STAC Member may seek a ruling from
the Bankruptcy Court that the consent was unreasonably withheld and that the successor STAC
Member may be appointed; and provided, further, that if an alternate is nominated to be a successor
STAC Member, all necessary consents shall be deemed to have been granted.

                (b)     Each successor member of the STAC shall serve until the earliest of (i) his
or her death, (ii) his or her resignation pursuant to Section 6.5(b) above, (iii) his or her removal
pursuant to Section 6.5(c) above, and (iv) the termination of the Trust pursuant to Section 8.2
below.

              (c)     No successor STAC member shall be liable personally for any act or
omission of his or her predecessor STAC member. No successor STAC member shall have any

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duty to investigate the acts or omissions of his or her predecessor STAC memb er. No STAC
member shall be required to post any bond or other form of surety or security unless otherwise
ordered by the Bankruptcy Court.

Section 6.7     Compensation and Expenses of the STAC.The members of the STAC (or their
designees, as applicable) shall not be entitled to compensation for their services but shall be
reimbursed promptly for all reasonable and documented ordinary and customary out-of-pocket
costs and expenses incurred in connection with the performance of their duties hereunder, subject
to the limitation of Section 8.16 below. The Trust shall include a description of the amounts paid
under this Section 6.7 in the Annual Report to be posted on the Trust’s Website.

Section 6.8    Procedures for Consultation with and Obtaining the Consent of the STAC.

               (a)     Consultation Process.

                        (i)    In the event the Trustee is required to consult with the STAC
pursuant to Section 5.13 above, the Trustee shall provide the STAC with written advance notice
of the matter under consideration, to the extent practicable, and with all relevant information and
documents concerning the matter as is reasonably practicable under the circumstances. The
Trustee shall also provide the STAC with such reasonable access to the consultants and other
advisors retained by the Trust and its staff (if any) as the STAC may reasonably request during the
time that the Trustee is considering such matter, and shall also provide the STAC the opportunity,
at reasonable times and for reasonable periods of time, to discuss and comment on such matter
with the Trustee, to the extent practicable.

                        (ii)   In determining when to take definitive action on any matter subject
to the consultation procedures set forth in this Section 6.8(a), the Trustee shall take into
consideration the time required for the STAC to meet and consult as to such matter. In any event,
the Trustee shall not take definitive action on any such matter until at least five (5) business days
after providing the STAC with the initial written notice that such matter is under consideration by
the Trustee, unless such time period is waived in writing by the STAC or at a meeting where the
STAC and Trustee are present, or the Trustee determines in his reasonable discretion that definitive
action is required earlier.

               (b)     Consent Process.

                        (i)     In the event the Trustee is required to obtain the consent of the
STAC pursuant to the Trust Documents, the Trustee shall provide the STAC with a written notice
stating that its consent is being sought, describing in detail the nature and scope of the action the
Trustee proposes to take, and explaining in detail the reasons why the Trustee desires to take such
action. The Trustee shall provide the STAC as much relevant additional information concerning
the proposed action as is requested by the STAC and as is reasonably practicable under the
circumstances. The Trustee shall also provide the STAC with such reasonable access to the Trust
consultants and other advisors retained by the Trust and its staff (if any) as the STAC may
reasonably request during the time that the Trustee is considering such action, and shall also
provide the STAC the opportunity, at reasonable times and for reasonable periods of time, to
discuss and comment on such action with the Trustee.


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                       (ii)    For matters not requiring supermajority consent of the STAC and
subject to the provisions of Section 5.14 above:

                               (A)    The STAC must consider in good faith and in a timely
fashion any request for its consent by the Trustee, and must in any event advise the Trustee, in
writing, of its consent or its objection to the proposed action within five (5) business days of
receiving the original request for consent from the Trustee, unless the Trustee extends the time for
such response. The STAC may not withhold its consent unreasonably. If the STAC decides to
withhold its consent, it must explain in detail its objections to the proposed action. If the STAC
does not advise the Trustee, in writing, of its consent or its objections to the action within five (5)
business days of receiving notice regarding such request (or within such additional time as may be
granted by the Trustee in his or her discretion), the STAC’s consent to the proposed actions shall
be deemed to have been affirmatively granted.

                             (B)    If, after following the procedures specified in this Section
6.8(b), the STAC continues to object to the proposed action and to withhold its consent to the
proposed action, the Trustee and the STAC shall resolve their dispute pursuant to Section 8.16
below, provided however in that event the STAC shall have the burden of proof to show the
validity of the STAC’s objection.

                                            ARTICLE 7.
                                             THE FCR

Section 7.1     Duties.There shall be one FCR for the Trust. The initial FCR is James L. Patton,
Jr. so long as he is the FCR in the Chapter 11 Cases as of the Effective Date. The FCR shall serve
in a fiduciary capacity on behalf of the holders of Future Abuse Claims, representing the interests
of holders of Future Abuse Claims against the Debtors for the purpose of protecting the rights of
such persons. The FCR shall not have any fiduciary duties or responsibilities to any party other
than the holders of Future Abuse Claims. Except for the duties and obligations expressed in the
Trust Documents, there shall be no other duties (including fiduciary duties) or obligations, express
or implied, at law or in equity, of the FCR. To the extent that, at law or in equity, the FCR has
duties (including fiduciary duties) and liabilities relating thereto to the Trust, the other parties
hereto, or to any Beneficiary, such duties and liabilities are replaced by the duties and liabilities of
the FCR expressly set forth in the Trust Documents.

Section 7.2     FCR Information Rights.

       The FCR shall have reasonable access to the Trust’s consultants and other advisors retained
by the Trust and its staff (if any), and information available to the Trustee, which access shall be
made available as determined by the Trustee.

Section 7.3     Term of Office.

              (a)      The FCR shall serve until the earliest of (i) his or her death, (ii) his or her
resignation pursuant to Section 7.3(b) below, (iii) his or her removal pursuant to Section 7.3(c)
below, and (iv) the termination of the Trust pursuant to Section 8.2 below.




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               (b)     The FCR may resign at any time by written notice to the Trustee. Such
notice shall specify a date when such resignation shall take effect, which shall not be less than
ninety (90) days after the date such notice is given, where practicable.

                (c)    At the request of the Trustee, the FCR may be removed by the Bankruptcy
Court in the event he or she becomes unable to discharge his or her duties hereunder due to
accident, physical deterioration, mental incompetence, or for other good cause, provided the FCR
has received notice and an opportunity to be heard. Other good cause shall mean fraud, self -
dealing, intentional misrepresentation, willful misconduct, indictment for or conviction of a felony
in each case whether or not connected to the Trust or a consistent pattern of neglect and failure to
perform or to participate in performing the duties hereunder, such as a pattern of repeated non-
attendance at scheduled meetings.

Section 7.4      Appointment of Successor.In the event of the death, resignation or removal of James
L. Patton, Jr. as the initial FCR, such vacancy shall immediately be filled by a successor to be
appointed pursuant to the terms and conditions of this agreement, who shall thereafter serve as
FCR pursuant to the terms of the Trust Documents. In the event of the death, resignation, or
removal of any successor FCR, such vacancy shall be filled with an individual nominated by the
Trustee, with the consent of the STAC. In the event the STAC does not consent to the individual
nominated by the Trustee, then the successor FCR shall be appointed by the Bankruptcy Court.
Immediately upon any successor FCR filing a vacancy as provided in this Section 7.4, all rights,
titles, duties, powers and authority of the predecessor FCR hereunder sh all be vested in and
undertaken by the successor FCR without any further act. No successor FCR shall be liable
personally for any act or omission of any predecessor FCR. No predecessor FCR shall be liable
personally for any act or omission of any successor FCR. No FCR shall be required to post any
bond or other form of surety of security unless otherwise ordered by the Bankruptcy Court.

Section 7.5    FCR’s Employment of Professionals.The FCR may, but is not required to, retain
and/or consult legal counsel and such other parties deemed by the FCR to be qualified as experts
on matters submitted to the FCR (the “FCR Professionals”), provided however that no FCR
Professionals may be retained to act on behalf of any individual holder of an Abuse Claim.

              (b)    The fees and expenses of the FCR Professionals shall be paid from any
Future Abuse Reserve Fund, or the Trust if there is no Future Abuse Reserve Fund established and
maintained, and a description of the amounts paid under this Section 7.5 (in the aggregate with the
amounts paid under Section 7.6 below) shall be described in the Annual Report to be posted on
the Trust Website.

Section 7.6    Compensation and Expenses of the FCR.

                 (a)     The FCR shall receive compensation from any Future Abuse Reserve Fund,
or the Trust if there is no Future Abuse Reserve Fund established and maintained, in the form of
payment at the FCR’s normal hourly rate, as such rate may be adjusted by the FCR from time to
time, for services performed, subject to the approval of the Trustee. The Trust will promptly
reimburse the FCR for all reasonable and documented out-of-pocket costs and expenses incurred
by the FCR in connection with the performance of his or her duties hereunder.



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               (b)    The compensation, out-of-pocket costs and expenses of the FCR shall be
paid from any Future Abuse Reserve Fund, or the Trust if no Future Abuse Reserve Fund is
established and maintained, and a description of the amounts paid under this Section 7.6 (in the
aggregate with the amounts paid under Section 7.5 above) shall be described in the Annual Report
to be posted on the Trust Website.

Section 7.7    Procedures for Consultation with and Obtaining the Consent of the FCR.

               (a)     Consultation Process.

                       (i)     In the event the Trustee is required to consult with the FCR pursuant
to Section 5.13 above, the Trustee shall provide the FCR with written advance notice of the matter
under consideration, and with all relevant information and documents concerning the matter as is
reasonably practicable under the circumstances, to the extent practicable. The Trustee shall also
provide the FCR with such reasonable access to the Trust’s consultants and other advisors retained
by the Trust and its staff (if any) as the FCR may reasonably request during the time that the
Trustee is considering such matter, and shall also provide the FCR the opportunity, at reasonable
times and for reasonable periods of time, to discuss and comment on such matter with the Trustee,
to the extent practicable.

                       (ii)    In determining when to take definitive action on any matter subject
to the consultation process set forth in this Section 7.7(a), the Trustee shall take into consideration
the time required for the FCR, if he or she so wishes, to engage and consult with his or her own
independent advisors as to such matter. In any event, the Trustee shall not take definitive action
on any such matter until at least five (5) business days after providing the FCR with the initial
written notice that such matter is under consideration by the Trustee, unless such period is waived
in writing by the FCR or at a meeting where the FCR and Trustee are present or the Trustee
determines in his reasonable discretion that definitive action is required earlier.

               (b)     Consent Process.

                        (i)    In the event the Trustee is required to obtain the consent of the FCR
pursuant to the Trust Documents, the Trustee shall provide the FCR with a written notice stating
that his or her consent is being sought, describing in detail the nature and scope of the action the
Trustee proposes to take, and explaining in detail the reasons why the Trustee desires to take such
action, to the extent practicable. The Trustee shall provide the FCR as much relevant additional
information concerning the proposed action as is requested by the FCR and as is reasonably
practicable under the circumstances. The Trustee shall also provide the FCR with such reasonable
access to the Trust’s consultants and other advisors retained by the Trust and its staff (if any) as
the FCR may reasonably request during the time that the Trustee is considering such action, and
shall also provide the FCR the opportunity, at reasonable times and for reasonable periods of time,
to discuss and comment on such action with the Trustee, to the extent practicable.

                        (ii)   The FCR must consider in good faith and in a timely fashion any
request for his or her consent by the Trustee, and must in any event advise the Trustee, in writing,
of his or her consent or objection to the proposed action within five (5) business days of receiving
the original request for consent from the Trustee, unless the Trustee extends the time for such


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response. The FCR may not withhold his or her consent unreasonably. If the FCR decides to
withhold consent, he or she must explain in detail his or her objections to the proposed action. If
the FCR does not advise the Trustee, in writing, of his or her consent or objection to the proposed
action within five (5) business days of receiving the notice from the Trustee regarding such request
(or within such additional time as may be granted by the Trustee in his or her discretion), the FCR’s
consent shall be deemed to have been affirmatively granted.

                      (iii)  If, after following, the procedures specified in this Section 7.7(b),
the FCR continues to object to the proposed action and to withhold his or her consent to the
proposed action, the Trustee and/or the FCR shall resolve their dispute pursuant to Section 8.16
below, provided however in that event the FCR shall have the burden of proof to show the validity
of the FCR’s objection.

                                       ARTICLE 8.
                                   GENERAL PROVISIONS

Section 8.1    Irrevocability.To the fullest extent permitted by applicable law, the Trust is
irrevocable. The Settlor shall not (i) retain any ownership or residual interest whatsoever with
respect to any Trust Assets, including, but not limited to, the funds transferred to fund the Trust,
and (ii) have any rights or role with respect to the management or operation of the Trust, or the
Trustee’s administration of the Trust.

Section 8.2    Term; Termination.

                (a)     The term for which the Trust is to exist shall commence on the date of the
filing of the Certificate of Trust and shall terminate pursuant to the following provisions.

               (b)    The Trust shall automatically dissolve as soon as practicable but no later
than ninety (90) days after the date on which the Bankruptcy Court approves the dissolution of the
Trust because (i) all reasonably expected assets have been collected by the Trust, (ii) all
distributions have been made to the extent set forth in the TDP, (iii) necessary arrangements and
reserves have been made to discharge all anticipated remaining Trust obligations and Trust
Operating Expenses in a manner consistent with the Trust Documents, and (iv) a final accounting
has been filed and approved by the Bankruptcy Court (the “Dissolution Date”).

               (c)     Following the dissolution and distribution of the Trust Assets, the Trust
shall terminate, and the Trustee and the Delaware Trustee (acting solely at the written direction of
the Trustee) shall execute and cause a Certificate of Cancellation of the Certificate of Trust to be
filed in accordance with the Act. Notwithstanding anything to the contrary contained in this Trust
Agreement, the existence of the Trust as a separate legal entity shall continue until the filing of
such Certificate of Cancellation.

               (d)     After termination of the Trust and solely for the purpose of liquidating and
winding up its affairs, the Trustee shall continue to act as Trustee until its duties hereunder have
been fully performed. The Trustee shall retain the books, records, documents and files that shall
have been delivered to or created by the Trustee until distribution of all the Trust Assets. For
purposes of this provision, Trust Assets will be deemed distributed when the total amount
remaining in the Trust is less than $50,000 and no further actions are pending or have yet to be

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brought. At the Trustee’s discretion, all of such books, records, documents and files may be
destroyed at any time following the later of: (i) the first anniversary of the final distribution of the
Trust Assets, and (ii) the date until which the Trustee is required by applicable la w to retain such
books, records, documents and files; provided however, that, notwithstanding the foregoing, the
Trustee shall not destroy or discard any books, records, documents or files relating to the Trust
without giving Reorganized BSA the opportunity to take control of such books, records,
documents and/or files.

               (e)     Upon termination of the Trust and accomplishment of all activities
described in this agreement, the Trustee and its professionals shall be discharged and exculpated
from liability (except for acts or omissions resulting from the recklessness, gross negligence,
willful misconduct, knowing and material violation of law or fraud of the Trustee or his agents or
representatives). The Trustee may, at the expense of the Trust, seek an Order of the Bankruptcy
Court confirming the discharges, exculpations and exoneration referenced in the preceding
sentence.

Section 8.3       Outgoing Trustee Obligations.

         In the event of the resignation or removal of the Trustee, the resigning or removed Trustee
shall:

               (a)     execute and deliver by the effective date of resignation or removal such
documents, instruments, records and other writings as may be reasonably requested by the
successor Trustee to effect such resignation or removal and the conveyance of the Trust Assets
then held by the resigning or removed Trustee to the successor Trustee;

               (b)     deliver to the successor Trustee all documents, instruments, records and
other writings relating to the Trust Assets as may be in the possession or under the control of the
resigning or removed Trustee;

             (c)     otherwise assist and cooperate in effecting the assumption of the resigning
or removed Trustee’s obligations and functions by the successor Trustee; and

               (d)     irrevocably appoint the successor Trustee (and any interim trustee) as its
attorney-in-fact and agent with full power of substitution for it and its name, place and stead to do
any and all acts that such resigning or removed Trustee is obligated to perform under this Trust
Agreement. Such appointment shall not be affected by the subsequent disability or incompetence
of the Trustee making such appointment. The Bankruptcy Court also may enter such orders as are
necessary to effect the termination of the appointment of the Trustee and the appointment of the
successor Trustee.

Section 8.4       Taxes.3

              (a)     The Trust is intended to qualify as a “qualified settlement fund” within the
meaning of Section 1.468B-1 et seq. of the Treasury Regulations promulgated under Section 468B

3
    Note: The matters in this section 8.4 are to be discussed.



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of the IRC, as amended (the “QSF Regulations”), Reorganized BSA shall timely make an election
to treat the Trust as a “grantor trust” for U.S. federal income tax purposes and, to the extent
permitted under applicable law, for state and local income tax purposes.

               (b)     The Trustee shall be the “administrator” of the Trust within the meaning of
Section 1.468B-2(k)(3) of the Treasury Regulations and, in such capacity, such administrator shall
(i) prepare and timely file, or cause to be prepared and timely filed, such income tax and other tax
returns and statements required to be filed and shall timely pay all taxes required to be paid by the
Trust, if any, out of the Trust Assets, which assets may be sold by the Trustee to the extent
necessary to satisfy tax liabilities of the Trust, (ii) comply with all applicable tax reporting and
withholding obligations, (iii) satisfy all requirements necessary to qualify and maintain
qualification of Trust as a qualified settlement fund and a grantor trust, within the meaning of the
QSF Regulations, and (iv) take no action that could cause the Trust to fail to qu alify as a qualified
settlement fund and a grantor trust within the meaning of the QSF Regulations.

                (c)    As soon as reasonably practicable after the Effective Date, but in no event
later than one hundred twenty (120) days thereafter, the Trust shall make a go od faith valuation of
the Aggregate Settlement Consideration and such valuation shall be used consistently by all parties
for all U.S. federal income tax purposes. In connection with the preparation of the valuation
contemplated hereby, the Trust shall be entitled to retain such professionals and advisors as the
Trustee shall determine to be appropriate or necessary, and the Trustee shall take such other actions
in connection therewith as he or she determines to be appropriate or necessary.

                 (d)    The Trustee may withhold and pay to the appropriate tax authority all
amounts required to be withheld pursuant to the IRC or any provision of any foreign, state or local
tax law with respect to any payment or distribution. All such amounts withheld and paid to the
appropriate tax authority (or placed in escrow pending resolution of the need to withhold) shall be
treated as amounts distributed or paid for all purposes of this Trust Agreement. The Trustee shall
be authorized to collect such tax information (including tax identification numbers) as in his or her
sole discretion is deemed necessary to effectuate the Plan, the Confirmation Order and this Trust
Agreement. In order to receive distributions, all Beneficiaries shall be required to provide tax
information to the Trustee to the extent the Trustee deems appropriate in the manner and in
accordance with the procedures from time to time established by the Trustee for these purposes.
The Trustee may refuse to make a payment or distribution unless or until such informatio n is
delivered; provided however, that, upon the delivery of such information, the Trustee shall make
such delayed payment or distribution, without interest. Notwithstanding the foregoing, if a person
fails to furnish any tax information reasonably requested by the Trustee before the date that is three
hundred sixty-five (365) calendar days after the request is made, the amount of such distribution
shall irrevocably revert to the Trust. In no event shall any escheat to any federal, state or local
government or any other entity.

                 (e)    The Trust agrees to indemnify, defend and hold Reorganized BSA and its
affiliates harmless on an after-tax basis from and against all taxes, losses, claims and expenses
incurred by Reorganized BSA or its affiliates or any Taxes for which Reorganized BSA or its
affiliates are otherwise liable, in each case resulting solely from, arising out of, or incurred with
respect to, any claims that may be asserted by any party based on, attributable to, or resulting from
the election to treat the Trust as a “grantor trust” within the meaning of the QSF Regulations


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pursuant to Section 8.4(a), provided, however, the Trust shall be entitled to participate with Trust
Professionals reasonably acceptable to Reorganized BSA in the protest, objection, de fense or
similar process involving any inquiry, discovery, request for information, audit, examination, suit
or other proceeding which could result in liability to the Trust under this Section 8.4(e).

Section 8.5    Modification.

                (a)    Material modifications to this Trust Agreement, including Exhibits hereto,
may be made only with the consent of the Trustee, the majority of the STAC, and the FCR (which
consent in each case shall not be unreasonably withheld, conditioned or delayed) and subject to
the approval of the Bankruptcy Court; provided however, that the Trustee may amend this Trust
Agreement from time to time without the consent, approval or other authorization of, but with
notice to, the Bankruptcy Court, to make minor corrective or clarifying amendments necessary to
enable the Trustee to effectuate the provisions of this Trust Agreement, provided such minor
corrective or clarifying amendments shall not take effect until ten (10) days after notice to the
Bankruptcy Court. Except as permitted pursuant to the preceding sentence, the Trustee shall not
modify this Trust Agreement in any manner that is inconsistent with the Plan or the Confirmation
Order without the approval of the Bankruptcy Court. The Trustee shall file notice of any
modification of this Trust Agreement with the Bankruptcy Court and post such notice on the Trust
Website.

               (b)   Notwithstanding subsection (a) of this Section 8.5, no material
modifications may be made to Section 2.2(b), Section 5.15, Section 6.6, and this Section 8.5(b) of
this Trust Agreement without the consent of the Trustee, the unanimous consent of the STAC, the
consent of the FCR and subject to the approval of the Bankruptcy Court.

               (c)    Notwithstanding anything set forth in this Trust Agreement to the contrary,
none of this Trust Agreement, nor any document related thereto shall be modified or amended in
any way that could jeopardize or impair (i) the applicability of section 105 of the Bankruptcy Code
to the Plan and the Confirmation Order, (ii) the efficacy or enforceability of the Channeling
Injunction or any other injunction or release issued or granted in connection with the Plan and
Confirmation Order, (iii) the Trust’s qualified settlement fund status and grantor trust status under
the QSF Regulations, or (iv) the rights, duties, liabilities and obligations of the Delaware Trustee
without the written consent of the Delaware Trustee.

Section 8.6   Communications.The Trustee shall establish and maintain the Trust Website and
post on the Trust Website the information required by this Trust Agreement, and such oth er
information as the Trustee determines.

Section 8.7    Severability.If any provision of this Trust Agreement or application thereof to any
person or circumstance shall be finally determined by a court of competent jurisdiction to be
invalid or unenforceable to any extent, the remainder of this Trust Agreement, or the application
of such provisions to persons or circumstances other than those as to which it is held invalid or




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unenforceable, shall not be affected thereby, and such provision of this Trust Agreement shall be
valid and enforced to the fullest extent permitted by law.

Section 8.8     Notices. Any notices or other communications required or permitted hereunder to
the following parties shall be in writing and delivered at the addresses designated below, or sent
by email or facsimile pursuant to the instructions listed below, or mailed by overnight courier,
addressed as follows, or to such other address or addresses as may hereafter be furnished in writing
to each of the other parties listed below in compliance with the terms hereof.

       To the Trustee:

       with a copy (which shall not constitute notice) to:



       To the Delaware Trustee:

       with a copy (which shall not constitute notice) to:



       To the FCR:

       with a copy (which shall not constitute notice) to:



       To the STAC:

       with a copy (which shall not constitute notice) to:



       To Reorganized BSA:

       with a copy (which shall not constitute notice) to:

       All such notices and communications, if mailed, shall be effective when physically
delivered at the designated addresses, or if electronically transmitted, shall be effective upon
transmission.

Section 8.9    Successors and Assigns.The provisions of this Trust Agreement shall be binding
upon and inure to the benefit of the Trust, the Trustee, the STAC, the FCR, the Delaware Trustee
and their respective successors and assigns, except that none of such persons may assign or
otherwise transfer any of its, or their, rights or obligations under this Trust Agreement except, in




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the case of the Trust and the Trustee, as contemplated by Section 2.1 and Section 5.2 above, and
in the case of the Delaware Trustee, as contemplated by Section 5.11 above.

Section 8.10 Limitation on Transferability; Beneficiaries’ Interests.The Beneficiaries’ interests
in the Trust shall not (a) be assigned, conveyed, hypothecated, pledged or otherwise transferred,
voluntarily or involuntarily, directly or indirectly and any purported assignment, conveyance,
pledge or transfer shall be null and void ab initio; (b) be evidenced by a certificate or other
instrument; (c) possess any voting rights; (d) give rise to any right or rights to participate in the
management or administration of the Trust or the Trust Assets; (e) entitle the holders thereof to
seek the removal or replacement of any Trustee, whether by petition to the Bankruptcy Court or
any other court or otherwise; (f) entitle the holders thereof to receive any interest on distributions;
and (g) give rise to any rights to seek a partition or division of the Trust Assets. In accordance with
the Act, the Beneficiaries shall have no interest of any kind in any of the Trust Assets; rather, the
Beneficiaries shall have an undivided beneficial interest only in cash assets of but only to the extent
such cash assets are declared by the Trustee to be distributable as distributions in accordance with
the Trust Documents. For the avoidance of doubt, the Beneficiaries shall have only such rights as
expressly set forth in the Trust Documents.

Section 8.11 Exemption from Registration.

        The Parties hereto intend that the rights of the Beneficiaries arising under this Trust
Agreement shall not be “securities” under applicable laws, but none of the Parties hereto represent
or warrant that such rights shall not be securities or shall be entitled to exemption f rom registration
under applicable securities laws. If it should be determined that any such interests constitute
“securities,” the Parties hereto intend that the exemption provisions of section 1145 of the
Bankruptcy Code will be satisfied and the offer and sale under the Plan of the beneficial interests
in the Trust will be exempt from registration under the Securities Act, all rules and regulations
promulgated thereunder, and all applicable state and local securities laws and regulations.

Section 8.12 Entire Agreement; No Waiver.

       The entire agreement of the parties relating to the subject matter of this Trust Agreement
is contained herein and in the documents referred to herein, and this Trust Agreement and such
documents supersede any prior oral or written agreements concerning the subject matter hereof.
No failure to exercise or delay in exercising any right, power or privilege hereunder shall operate
as a waiver thereof, nor shall any single or partial exercise of any right, power or privilege
hereunder preclude any further exercise thereof or of any other right, power or privilege. The rights
and remedies herein provided are cumulative and are not exclusive of rights under law or in equity.

Section 8.13 Headings. The headings used in this Trust Agreement are inserted for convenience
only and do not constitute a portion of this Trust Agreement, nor in any manner affect the
construction of the provisions of this Trust Agreement.

Section 8.14 Governing Law.

        This Trust Agreement shall be governed by, and construed in accordance with, the laws of
the State of Delaware, without regard to the conflicts of law provisions thereof which would
purport to apply the law of any other jurisdiction. For the avoidance of d oubt, none of the following

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provisions of Delaware law shall apply to the extent inconsistent with the terms of the Trust
Documents: (a) the filing with any court or governmental body or agency of trustee accounts or
schedules of trustee fees and charges, (b) affirmative requirements to post bonds for trustees,
officers, agents or employees of a trust, (c) the necessity for obtaining court or other governmental
approval concerning the acquisition, holding or disposition of property, (d) fees or other sums
payable to trustees, officers, agents or employees of a trust, (e) the allocation of receipts and
expenditures to income or principal, (f) restrictions or limitations on the permissible nature,
amount or concentration of trust investments or requirements relating to the titling, storage or other
manner of holding of trust assets, (g) the existence of rights or interests (beneficial or otherwise)
in trust assets, (h) the ability of beneficial owners or other persons to terminate or dissolve a trust,
and (i) the establishment of fiduciary or other standards or responsibilities or limitations on the
acts or powers of trustees or beneficial owners that are inconsistent with the limitations on liability
or authorities and powers of the Trustee, the Delaware Trustee, the STAC, or the FCR set forth or
referenced in this Trust Agreement. 12 Del. C. § 3540 shall not apply to the Trust.

Section 8.15 Settlor’s Representative.

        Pursuant to the Document Agreement (as defined in the Plan), Reorganized BSA is hereby
irrevocably designated as the “Settlor’s Representative” and is hereby authorized to take any
action consistent with Reorganized BSA’s obligations under the Document Agreement that is
reasonably requested of the Settlor by the Trustee. Pursuant to the Document Agreement, the
Settlor’s Representative shall cooperate with the Trustee and the Trust’s officers, employees and
professionals in connection with the Trust’s administration of the Aggregate Settlement
Consideration, including, but not limited to, providing the Trustee or his or her officers, employees
and professionals, upon written request (including e-mail), reasonable access to information
related to the Aggregate Settlement Consideration, including, without limitation, delivery of
documents in the possession of, or witnesses under the control of, Reorganized BSA [and others]
to the extent that the Trustee could obtain the same by subpoena, notice of deposition or other
permissible discovery request, without the need for a formal discovery request.

Section 8.16 Dispute Resolution.

               (a)     Except as provided in Sections 2.2(b) (Excess Insurance Settlements),
5.15(a) (PP Settlements), 5.15(b) (Limited Protected Party Injunction Date Extension), 5.15(c)
(Certain Employment Matters) and Section 5.2(c) (Removal of Trustee for Cause), the dispute
resolution procedures of this Section 8.16 shall be the exclusive mechanism to resolve any dispute
between or among the parties hereto, and the Beneficiaries hereof, arising under or with respect to
this Trust Agreement. For the avoidance of doubt, this section does not apply to disputes arising
under Section 5.15(a) and (b) as the approval process for PP Settlements and Limited Protected
Party Injunction Date Extensions set forth in those sections is the exclusive method for obtaining
approval of a PP Settlement or a Limited Protected Party Injunction Date Extension.

                 (b)    Informal Dispute Resolution. Any dispute under this Trust Agreement
shall first be the subject of informal negotiations. The dispute shall be considered to have arisen
when a disputing party sends to the counterparty or counterparties a written notice of dispute
(“Notice of Dispute”). Such Notice of Dispute shall state clearly the matter in dispute. The period
of informal negotiations shall not exceed fifteen (15) days from the date the Notice o f Dispute is


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received by the counterparty or counterparties, unless that period is modified by written agreement
of the disputing party and counterparty or counterparties. If the disputing party and the
counterparty or counterparties cannot resolve the dispute by informal negotiations, then the
disputing party may invoke the formal dispute resolution procedures as set forth below.

              (c)   Formal Dispute Resolution. If the Trustee, FCR and STAC consent, a
dispute hereunder may be resolved by alternative dispute resolution.

                (d)     Judicial Review. The disputing party may seek judicial review of the
dispute by filing with the Bankruptcy Court (or, if the Bankruptcy Court shall not have jurisdiction
over any dispute, such court as has jurisdiction under Section 1.7 above) and serving on the
counterparty or counterparties and the Trustee, a motion requesting judicial resolution of the
dispute. The motion must be filed within seven (7) days of receipt of the last counterparty’s
Statement of Position pursuant to the preceding subparagraph. The motion shall contain a written
statement of the disputing party’s position on the matter in dispute, including any supporting
factual data, analysis, opinion, documentation and legal authorities, and shall set forth the relief
requested and any schedule within which the dispute must be resolved for orderly administration
of the Trust. Each counterparty shall respond to the motion within the time period allowed by the
rules the court, and the disputing party may file a reply memorandum, to the extent permitted by
the rules of the court. In the case of any dispute pursuant to this Section 8.16(d), if the dispute
arose pursuant to the consent provision set forth in Section 4.1(b), 4.7, 5.14, 5.15(c) or 5.16, the
Court shall initially determine, by a preponderance of the evidence, whether the party or parties
who withheld consent were reasonable in such action. If the Court so determines, then the Court
will determine whether the requested action is in the best interests of the Trust and its Be neficiaries.

               (e)      Notwithstanding anything to the contrary in section 8.16(a), the Trust shall
bear the reasonable costs and expenses of the STAC and the FCR in connection with any dispute
that arises under this Trust Agreement.

Section 8.17 Independent Legal and Tax Counsel.

        All parties to this Trust Agreement have been represented by counsel and advisors of their
own selection in this matter. Consequently, the parties agree that the language in all parts of this
Trust Agreement shall in all cases be construed as a whole according to its fair meaning and shall
not be construed either strictly for or against any party. It is specifically acknowledged and
understood that this Trust Agreement has not been submitted to, nor reviewed or approved by, the
IRS or the taxing authorities of any state or territory of the United States of America.

Section 8.18 Waiver of Jury Trial.

        Each party hereto and each Beneficiary hereof hereby irrevocably waives, to the fullest
extent permitted by applicable law, any and all right to a trial by jury in any legal proceeding
arising out of or relating to this Trust Agreement.

Section 8.19 Effectiveness.

         This Trust Agreement shall not become effective until it has been executed and delivered
by all the parties hereto.


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Section 8.20 Counterpart Signatures.

        This Trust Agreement may be executed in any number of counterparts, each of which shall
constitute an original, but such counterparts shall together constitute but one and the same
instrument. A signed copy of this Trust Agreement or any amendment hereto delivered by
facsimile, email or other means of Electronic Transmission, shall be treated in all manner and
respects as an original agreement or instrument and shall be considered to have the same binding
legal effect as if it were the original signed version thereof delivered in person.

                             [SIGNATURE PAGES TO FOLLOW]




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        IN WITNESS WHEREOF, the parties have executed this Trust Agreement as of the
date first set forth above to be effective as of the Effective Date.

                                                                           [SETTLOR]


                                                                           [TRUSTEE]


                                                               [DELAWARE TRUSTEE]


                                                                    [STAC MEMBERS]


                                                                                [FCR]




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                    EXHIBIT 1
       AGGREGATE SETTLEMENT CONSIDERATION
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                          EXHIBIT 2
                    CERTIFICATE OF TRUST
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                      EXHIBIT 3
  TRUST DISTRIBUTION PROCEDURES FOR ABUSE CLAIMS
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                      EXHIBIT 4
                INVESTMENT GUIDELINES
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                        EXHIBIT C

       CONTRIBUTING CHARTERED ORGANIZATION
             SETTLEMENT CONTRIBUTION
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The Contributing Chartered Organization Settlement Contribution is comprised of the following
monetary contributions, which shall be contributed to the Settlement Trust on the terms set forth
in the applicable settlement agreements attached to the Plan as Exhibit J, as applicable.


 United Methodist Entities                        $30,000,000
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                        EXHIBIT D

      CONTRIBUTING CHARTERED ORGANIZATIONS
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1.   United Methodist Entities
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                        EXHIBIT E

             FOUNDATION LOAN TERM SHEET
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             National Boy Scouts of America Foundation Loan to Boy Scouts of America
                                Summary of Terms and Conditions

Lender                   National Boy Scouts of America Foundation (the “Lender”)

Borrower                 Boy Scouts of America (the “Borrower”)

Guarantor                Arrow WV, Inc. (the “Guarantor”)

Facility                 $42.8 million term loan (the “Loan”), which shall be borrowed in a single
                         draw on the effective date of the Plan (the “Effective Date”).
                         As used herein, the “Plan” means the Chapter 11 Plan of Reorganization for
                         Boy Scouts of America and Delaware BSA, LLC [Dkt. No. 20], as may be
                         amended on terms acceptable to Lender.

Term                     10 years commencing on the Effective Date.

Interest Rate &          6.5%, subject to default interest of 2.0% on overdue amounts.
Interest Payments
                         Interest shall be payable on a quarterly basis, with the first payment due at
                         the end of the first fiscal quarter ended after the Effective Date. All
                         outstanding interest shall be due and payable at maturity of the Loan.

Principal Payments       Principal payments shall be based on 10% per annum amortization. Such
                         payments shall be made in equal quarterly installments for the duration of the
                         Loan with the first payment due at the end of the first fiscal quarter ended
                         after the Effective Date. All outstanding principal shall be due and payable
                         at maturity of the Loan.

Prepayments              Voluntary prepayments permitted without penalty.

Security                 Second lien pledge of the Arrow Intercompany Note and proceeds received
                         in respect thereof.
                         As used herein, the “Arrow Intercompany Note” means that certain
                         Amended and Restated Promissory Note dated as of March 21, 2019 in the
                         original principal amount of $350,000,000, executed by the Guarantor and
                         payable to the Borrower.

Use of Proceeds          To fund working capital and general corporate purposes of the Borrower;
                         provided that, for the avoidance of doubt, proceeds of the Loan shall not be
                         used for Unauthorized Purposes.
                         As used herein, “Unauthorized Purposes” includes, without limitation,
                         payments to any creditors’ trust pursuant to the terms of the confirmed Plan,
                         any direct or indirect payments to tort claimants, and any payments or
                         transactions that would be considered “self-dealing” under the Internal
                         Revenue Code or could otherwise give rise to excise tax.

Representations and      Usual and customary for loans of this type.
Warranties
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Affirmative and        Usual and customary for loans of this type, including, without limitation,
Negative Covenants     (a) prohibitions on actions that could be construed as self-dealing, and
                       (b) extension of the maturity of the Arrow Intercompany Note from March
                       31, 2029 to a date that is later than the maturity date of the Loan.

Financial Covenants    Usual and customary for loans of this type with customary cushions.

Reporting              Usual and customary for loans of this type.
Requirements

Events of Default      Usual and customary for loans of this type, including cross-acceleration
                       solely to the JPMorgan Bank, N.A. credit facilities in existence on the
                       Effective Date that are senior by way of contract to the Loan, as such credit
                       facilities may be amended from time to time.

Remedies               Usual and customary for loans of this type.

Assignment             The Borrower cannot assign the Loan without the consent of the Lender.
                       The Lender can assign the Loan at any time with the Borrower’s consent,
                       provided that if the Borrower is in payment or bankruptcy default under the
                       Loan, then the Lender can assign the Loan without the consent of the
                       Borrower.

Conditions Precedent   Usual and customary for loans of this type, including, without limitation:
to the Loan
                       (a) the execution and delivery of loan documentation reasonably satisfactory
                       to the Borrower and the Lender and consistent with this Summary of Terms
                       and Conditions, containing conditions to borrowing, repayment terms,
                       representations, warranties, covenants, and events of default usual and
                       customary for this type of loan;
                       (b) the execution and delivery of an intercreditor and subordination
                       agreement reasonably satisfactory to the Lender, between the Borrower, the
                       Lender, and JPMorgan Chase Bank, N.A.;
                       (c) JPMorgan Chase Bank, N.A. shall have consented to the Borrower’s
                       pledge to Lender of a second lien security interest in the Arrow Intercompany
                       Note and proceeds received in respect thereof;
                       (d) the satisfactory completion of the Lender’s reasonable due diligence and
                       the obtaining of any approvals or consents deemed necessary or appropriate
                       upon the advice of counsel to the Lender;
                       (e) entry of a confirmation order on terms reasonably acceptable to the
                       Lender; and
                       (f) the effectiveness of the Plan containing terms acceptable to the Borrower
                       and the Lender.



Expenses and           Usual and customary for loans of this type, including, without limitation,
Indemnification        indemnification by the Borrower of the Lender of any losses suffered by the



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                      Lender in the event that it is ultimately determined that the Borrower used the
                      loan proceeds for Unauthorized Purposes.

Governing Law         Texas.

Release               The release by the Borrower of the Lender with respect to any and all claims,
                      and inclusion of the Lender within all Plan releases, including as a “Released
                      Party” and “Protected Party” under the Plan.

Payment of Fees and   The Borrower will pay the fees and expenses, including reasonable attorneys’
Expenses              fees, of the Lender associated with the preparation, execution, administration,
                      and enforcement of the Loan and any subsequent amendment or waiver with
                      respect thereto. The Lender shall not be required to file an application for
                      payment of fees and expenses with the bankruptcy court.




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                                                    EXHIBIT F

                       LOCAL COUNCIL SETTLEMENT CONTRIBUTION

I.     Local Council Settlement Contribution – General

In addition to the other components of the Local Council Settlement Contribution specified in the
Plan,1 the Local Councils shall contribute the following to the Settlement Trust on the Effective
Date:

         (1)      at least $300 million of Cash to be paid on the Effective Date (the “Cash
                  Contribution”);

         (2)      Unrestricted properties2 with a combined Appraised Value (as defined below) of
                  $200 million (the “Property Contribution”), which shall be reduced on a dollar-for-
                  dollar basis by any Cash Contribution in excess of $300 million, provided that the
                  methodology and procedures related to property selection and acceptance are
                  provided for below; and

         (3)      the DST Note, in the principal amount of $125 million,3 issued by the DST on or
                  as soon as practicable after the Effective Date.4 The principal terms of the DST
                  Note are set forth in the DST Note Mechanics described below.

A listing of each Local Council’s total expected contribution is included in the Disclosure
Statement, including a specific break-down between the (i) Cash Contribution and (ii) Property
Contribution. Any actual or anticipated changes in contributions for any Local Council will be set
forth in the Plan Supplement; provided, however, that the Debtors shall file a notice on the
Effective Date reflecting the final amount of each Local Council’s cash contribution and property
contribution. Notwithstanding any change in the Cash Contribution or Property Contribution for
any Local Council, the aggregate amount of the Cash Contribution and the Property Contribution
shall not be less than $515 million in any circumstance (and the Cash Contribution shall not be
less than $300 million in any circumstance).




1
     All terms that are capitalized but not otherwise defined on this Exhibit F have the meanings ascribed to such terms
     in the Plan.
2
     “Unrestricted” properties are defined as those properties not included in the BSA-defined Restriction Tiers 1 – 2
     (Tier 1: Property limited to Boy Scout use only – any conveyance causes reversion or transfer of property to 3rd
     party. Tier 2: Property limited to Boy Scout use only – no reversionary clause).
3
     Up to $25 million of the DST Note is being contributed by the Local Councils as part of the Contributing
     Chartered Organization Settlement Contribution.
4
     The DST may be any other type of entity that ensures the DST Note is balance-sheet neutral as to the BSA and
     Local Councils, as determined by the BSA in consultation with the Ad Hoc Committee, and, in such event, each
     reference in the Plan, including this Exhibit F, to DST shall be deemed a reference to the actual entity that issues
     the DST Note.
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II.     Property Contribution

The Property Contribution shall be structured as follows: The relevant Local Council shall agree
to (a) retain title to the property (and pay insurance, property taxes, other associated ownership
costs and any yet unremoved debt, all on a current basis), subject to, at the election, cost, and
expense of the Settlement Trust, a mortgage in favor of the Settlement Trust, (b) post (and keep
continuously posted unless otherwise agreed by the Settlement Trust) the property for sale within
thirty days following the Effective Date with a qualified real estate broker that will use standard
and customary marketing practices, (c) present any written sale offer to the Settlement Trust for
approval, (d) present to the Settlement Trust for its review and approval all final proposed terms
of any sale and purchase offers (including price, timing and other terms) (“Proposed Final Terms”);
provided that if any Proposed Final Terms would impose additional costs on the Local Council
and the Settlement Trust accepts such Proposed Final Terms, at the Local Council’s option any
such additional costs shall be deducted from the proceeds or paid by the Settlement Trust, and not
by the Local Council,5 (e) remit the proceeds of the sale to the Settlement Trust at closing net of
posting/listing/marketing fees, escrow fees, sales commissions, and other typical costs of sale.6
The Settlement Trust may review the marketing and sales efforts undertaken by the Local Council
and request that the Local Council make changes to such marketing and sales efforts as are
appropriate and lawful; provided that any costs associated with such changes will be paid, at the
option of the Local Council, by the Settlement Trust or out of the proceeds of any sale. If the
Settlement Trust is unsatisfied with the sales and marketing effort, the Settlement Trust shall have
the right to require the Local Council to promptly transfer the property to the Settlement Trust by
quitclaim deed. If there is a shortfall or surplus of net proceeds as compared to Appraised Value,
the Settlement Trust shall bear the risk of the shortfall and keep the surplus. If the property is not
sold on or before the third anniversary of the Effective Date, the Local Council and the Settlement
Trust each shall have the right to require the prompt transfer of the property to the Settlement Trust
by quitclaim deed. If the Local Council receives a cash offer for the property the value of which
is at least equal to its Appraised Value, the Settlement Trust shall accept the offer if no superior
offer is made within thirty days (or, if a lesser time is specified in an offer received, then such
lesser time) or accept a quitclaim deed for the property.

The “Appraised Value” shall be determined as follows:

           (A)     In the case of the contribution of an entire Camp, Service Center, Scout Shop or
                   other property that does not have a restriction in Restriction Tiers 3-57 (“Lower Tier
                   Restriction”), as reasonably determined by the Debtors’ property review counsel


5
      By way of non-exclusive example, if the Proposed Final Terms requires the Local Council to retrofit a water
      system and the Settlement Trust accepts the Proposed Final Terms, the costs of the retrofit will, at the Local
      Council’s option be paid (or reimbursed) out of the sale proceeds or paid by the Settlement Trust.
6
      For the avoidance of doubt, the proceeds of the sale shall be first applied to any debt or liens remaining on the
      property, which debt shall have already been reflected in the Appraised Value of the property as described below.
7
      A Tier 3-5 Restriction shall mean any of the following: (1) Tier 3: property limited to Boy Scout or similar use
      or recreational area; (2) Tier 4: Property subject to conservation easement or other grantor or donor restrictions
      on development; (3) Tier 5: Property subject to leases to 3rd party (e.g., office space, cell tower, oil and gas),
      zoning restrictions, easements or other similar encumbrances.



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              and specified on Exhibit 2 to Exhibit B to the Disclosure Statement, which
              summarizes the restricted appraisal reports or broker opinions of value conducted
              by JLL Valuation & Advisory Services, LLC (“JLL”), CBRE, Inc. (“CBRE”) or
              Keen-Summit Capital Partners LLC in connection the BSA’s chapter 11 case prior
              to June 10, 2021 (the “Specified Appraisals”): (1) the appraised amount set forth in
              any such Specified Appraisal (using the average of high and low values of such
              Specified Appraisal, if applicable) or (2) if the applicable Local Council elects a
              Qualified On-Site Appraisal, the amount established by the average of (1) and the
              appraised amount in such Qualified On-Site Appraisal (using, for the Qualified On-
              Site Appraisal, the average of high and low values, if applicable);

       (B)    In the case of the contribution of an entire Camp, Service Center, Scout Shop or
              other property that has a Lower Tier Restriction: (a) the appraised amount set forth
              in a Specified Appraisal if such Specified Appraisal accounts for such Lower Tier
              Restriction or (b) if the Specified Appraisal does not account for such Lower Tier
              Restriction, the amount established by a Qualified On-Site Appraisal (using the
              average of high and low values, if applicable) of the property taking into account
              the Lower Tier Restriction.

       (C)    In the case of a contribution of only a portion of a particular Camp, Service Center,
              Scout Shop or other property to the Settlement Trust, whether or not subject to a
              Lower Tier Restriction, the amount established by a Qualified On-Site Appraisal
              (using the average of high and low values, if applicable) of the specific parcel and
              acreage proposed to be contributed, taking into account any Lower Tier Restriction;

              provided, that, in the case of (A), (B), or (C) the Appraised Value shall be net of
              any debt encumbering the property and that no new debts shall be placed on any
              property subject to the Property Contribution except any mortgages in favor of the
              Settlement Trust.

              The applicable Local Councils and the BSA shall engage in reasonable good faith
              efforts to ensure all properties subject to the Property Contribution accurately
              reflect all restrictions that are known to (or should be reasonably known to) exist in
              any appraisal that is used to determine a property’s Appraised Value.

              In the event a restriction that was not considered by any appraisal used to determine
              Appraised Value is subsequently determined to exist, such appraisal shall not be
              eligible to determine Appraised Value, and, to the extent necessary, within a
              reasonable period of time, new appraisals shall be conducted and/or the relevant
              Local Council shall contribute additional unrestricted properties or cash to the
              Settlement Trust to the extent necessary to ensure the total Appraised Value of all
              property or properties contributed by such Local Council is equal to or exceeds the
              Appraised Value of property that such Local Council had originally agreed to
              contribute.

A “Qualified On-Site Appraisal” shall mean an appraisal conducted by a licensed real property
appraiser from the geographic region where the property is located and conducted in compliance


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 with the Uniform Standards of Professional Appraisal Practice; provided that the Claimant
 Representatives (or, if the appraisal is commenced after the Effective Date, the Settlement Trust)
 shall have five (5) business days to object to any licensed real property appraiser selected by the
 Local Council if such appraiser is either affiliated with the Local Council or is not qualified to
 conduct such an appraisal by the applicable licensing authority in the geographic region where the
 property is located. The costs associated with any Qualified On-Site Appraisals will be borne by
 the Local Council. If the applicable Local Council has not commissioned a Qualified On-Site
 Appraisal as of the date that the Plan is filed, it will do so as soon as possible.

III.   DST Note Mechanics

 On the Effective Date, at the request of the Ad Hoc Committee, solely to facilitate payments from
 the LC Reserve Account, the DST shall be established, and the DST shall issue the DST Note in
 favor of the Settlement Trust in the principal amount of $125 million. Local Councils shall make
 monthly contributions into an account (and any replacement thereof) owned by the DST (the “LC
 Reserve Account”) in an amount equal to the Required Percentage of the Local Councils’
 respective payrolls. Until the DST Note is extinguished, the LC Reserve Account shall be used
 only to fund contributions to the Pension Plan in accordance with the next sentence and, to the
 extent of any excess, to pay any Payment Amounts due under the DST Note. If at any time
 (including the end of any Plan Year) (a) the present value of the accumulated benefits for the
 Pension Plan, as determined in accordance with the requirements set forth in the definition of
 “Excess Balance” below for the most recently ended Plan Year, exceeds (b) the market value of
 the assets of the Pension Plan (clause (a) minus clause (b) being the “Shortfall Amount”), funds in
 the LC Reserve Account will be deposited into the Pension Plan up to the lesser of the Local
 Councils’ collective pro rata share of the Shortfall Amount or the balance in the LC Reserve
 Account.

 The DST Note shall be: (i) interest bearing at a rate of 1.5% per annum and without recourse except
 as to the LC Reserve Account; (ii) secured by a lien on the LC Reserve Account; (iii) payable on
 each Payment Date in an amount equal to the applicable Payment Amount; and (iv) prepayable in
 whole or in part at any time without premium or penalty. The unpaid balance of the DST Note (if
 any) remaining on the Payment Date that is the fifteenth anniversary of the First Payment Date
 (the “DST Note Maturity Date”) shall be automatically extinguished and shall be considered
 forgiven and satisfied after giving effect to any required payment on such date. Other than the lien
 on the LC Reserve Account, the Settlement Trust shall have no other recourse for payment under
 the DST Note.

 “Cushion Amount” means: (i) from the Effective Date until the first June 1 that is at least one year
 after the Effective Date (the “First Cushion Date”), $134.86 million; (ii) from the day following
 the First Cushion Date until June 1 of the following year (the “Second Cushion Date”), $124.86
 million; (iii) from the day following the Second Cushion Date until June 1 of the following year
 (the “Third Cushion Date”), $114.86 million; (iv) from the day following the Third Cushion Date
 until June 1 of the following year (the “Fourth Cushion Date”), $104.86 million; and (v) from the
 day following the Fourth Cushion Date until June 1 of the following year (the “Fifth Cushion
 Date”), $100 million; and (vi) from the day following the Fifth Cushion Date to and including the
 DST Note Maturity Date, $100 million.



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“Excess Balance” means the amount in excess of the applicable Cushion Amount, if any, by which
(a) the sum of (i) the market value of the assets of the Pension Plan as set forth in the actuarial
report for the Pension Plan for the most recently ended Plan Year plus (ii) the balance of the LC
Reserve Account as of the month-end preceding the applicable Payment Date exceeds (b) the
present value of the accumulated benefits for the Pension Plan as set forth in the actuarial report
for the Pension Plan for the most recently ended Plan Year calculated using a 6.5% annual interest
rate, net of expenses, so long as the Pension Plan continues to be a Cooperative and Small
Employer Charity (CSEC) plan. The actuarial report shall be prepared in accordance with actuarial
standards, past practice, and applicable law.

The Debtors have conducted a current experience study by the Pension Plan actuary with respect
to the demographic assumptions for the Pension Plan (e.g., rates of retirement, termination, spousal
age difference, commencement age and forms of payment) (the “2021 Experience Study”). After
implementing changes based on the 2021 Experience Study, demographic assumption changes,
with the exception of annual updates to mortality improvement projection scales, will not be made
without a subsequent experience study, and economic assumption changes will not be made
without an asset liability management study. Reorganized BSA will not commission any such
studies until five (5) years after the Effective Date of the Amended Plan unless there are material
changes to Internal Revenue Code § 433 (governing CSEC plans). In the event of such a material
change, Reorganized BSA shall commission any such studies only if it reasonably believes, in
consultation with the Pension Plan actuary, that such study is required. During the term of the
DST Note, on an annual basis, Reorganized BSA will provide advance notice to the Settlement
Trustee of any proposed material changes that the Pension Plan actuary intends to make to its
actuarial assumptions and methodologies that increase the present value of accumulated benefits
under the Pension Plan by more than 1.0%. Reorganized BSA will confer in good faith with the
Settlement Trustee regarding any such proposed changes. In addition, if the Pension Plan is
amended in any regard which increases the present value of benefits under the Pension Plan, such
amendments will be disregarded in the calculation of the present value of accumulated benefits for
the purposes of the DST Note.

“Payment Amount” means an amount, if any, on each Payment Date, payable solely from the LC
Reserve Account, equal to the least of: (x) the Excess Balance on such Payment Date, (y) the
remainder of the balance of $100 million accumulated at 1.5% annual interest, as amortized by
any amounts previously paid; and (z) the amount in the LC Reserve Account.

“Payment Date” means, unless the DST Note is prepaid in full, May 31 of each year starting on
the first May 31 after the Effective Date (or starting on the first business day that is at least thirty
(30) days after the Effective Date if the Effective Date occurs between May 1 and May 31) (the
“First Payment Date”) until the fifteenth anniversary of the First Payment Date.

“Plan Year” means the period from February 1 to and including January 31 of the following year.

“Required Percentage” means an amount equal to 12% of a Local Council’s payroll, less any
pension plan related expenses which are estimated to be approximately 0.50% of such payroll, less
the Local Council employer contribution match for employee contributions to the section 403(b)
defined contribution benefit plan, which percentage will not exceed 4.5% of participating
employee payroll until at least $50 million of the DST Note principal has been paid, at which point


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the employer contribution match percentage will not exceed 6% until the DST Note has been paid
in full (principal and interest).




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                        EXHIBIT G

                     LOCAL COUNCILS
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Abraham Lincoln                           Choctaw Area
Alabama-Florida                           Cimarron
Alamo Area                                Circle Ten
Allegheny Highlands                       Coastal Carolina
Aloha                                     Coastal Georgia
Andrew Jackson                            Colonial Virginia
Anthony Wayne Area                        Columbia-Montour
Arbuckle Area                             Connecticut Rivers
Atlanta Area                              Connecticut Yankee
Baden-Powell                              Conquistador
Baltimore Area                            Cornhusker
Bay Area                                  Coronado Area
Bay-Lakes                                 Cradle of Liberty
Black Hills Area                          Crater Lake
Black Swamp Area                          Crossroads of America
Black Warrior                             Crossroads of the West
Blackhawk Area                            Dan Beard
Blue Grass                                Daniel Boone
Blue Mountain                             Daniel Webster
Blue Ridge                                De Soto Area
Blue Ridge Mountains                      Del-Mar-Va
Buckeye                                   Denver Area
Buckskin                                  East Carolina
Bucktail                                  East Texas Area
Buffalo Trace                             Erie Shores
Buffalo Trail                             Evangeline Area
Caddo Area                                Far East
Calcasieu Area                            Five Rivers
California Inland Empire                  Flint River
Cape Cod and Islands                      French Creek
Cape Fear                                 Gamehaven
Capitol Area                              Garden State
Cascade Pacific                           Gateway Area
Catalina                                  Georgia-Carolina
Central Florida                           Glacier's Edge
Central Georgia                           Golden Empire
Central Minnesota                         Golden Gate Area
Central North Carolina                    Golden Spread
Chattahoochee                             Grand Canyon
Cherokee Area (469)                       Grand Columbia
Cherokee Area (556)                       Grand Teton
Chester County                            Great Alaska
Chickasaw                                 Great Rivers
Chief Cornplanter                         Great Salt Lake
Chief Seattle                             Great Smoky Mountain
Chippewa Valley                           Great Southwest
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Great Trail                                   Mayflower
Greater Alabama                               Mecklenburg County
Greater Hudson Valley                         Miami Valley
Greater Los Angeles Area                      Michigan Crossroads
Greater New York                              Mid-America
Greater Niagara Frontier                      Middle Tennessee
Greater St. Louis Area                        Mid-Iowa
Greater Tampa Bay Area                        Midnight Sun
Greater Wyoming                               Minsi Trails
Greater Yosemite                              Mississippi Valley
Green Mountain                                Mobile Area
Greenwich                                     Monmouth
Gulf Coast                                    Montana
Gulf Stream                                   Moraine Trails
Hawk Mountain                                 Mount Baker
Hawkeye Area                                  Mount Diablo Silverado
Heart of America                              Mountain West
Heart of New England                          Mountaineer Area
Heart of Virginia                             Muskingum Valley
Hoosier Trails                                Narragansett
Housatonic                                    National Capital Area
Illowa                                        Nevada Area
Indian Nations                                New Birth of Freedom
Indian Waters                                 North Florida
Inland Northwest                              Northeast Georgia
Iroquois Trail                                Northeast Illinois
Istrouma Area                                 Northeast Iowa
Jayhawk Area                                  Northeastern Pennsylvania
Jersey Shore                                  Northern Lights
Juniata Valley                                Northern New Jersey
Katahdin Area                                 Northern Star
Lake Erie                                     Northwest Georgia
Las Vegas Area                                Northwest Texas
LaSalle                                       Norwela
Last Frontier                                 Occoneechee
Laurel Highlands                              Ohio River Valley
Leatherstocking                               Old Hickory
Lincoln Heritage                              Old North State
Long Beach Area                               Orange County
Longhorn                                      Oregon Trail
Longhouse                                     Ore-Ida
Longs Peak                                    Overland Trails
Los Padres                                    Ozark Trails
Louisiana Purchase                            Pacific Harbors
Marin                                         Pacific Skyline
Mason-Dixon                                   Palmetto



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Pathway to Adventure                            South Plains
Patriots’ Path                                  South Texas
Pee Dee Area                                    Southeast Louisiana
Pennsylvania Dutch                              Southern Sierra
Piedmont                                        Southwest Florida
Piedmont                                        Spirit of Adventure
Pikes Peak                                      Suffolk County
Pine Burr Area                                  Susquehanna
Pine Tree                                       Suwannee River Area
Pony Express                                    Tecumseh
Potawatomi Area                                 Texas Southwest
Prairielands                                    Texas Trails
Puerto Rico                                     Theodore Roosevelt
Pushmataha Area                                 Three Fires
Quapaw Area                                     Three Harbors
Quivira                                         Three Rivers
Rainbow                                         Tidewater
Redwood Empire                                  Transatlantic
Rio Grande                                      Trapper Trails
Rip Van Winkle                                  Tukabatchee Area
Rocky Mountain                                  Tuscarora
Sagamore                                        Twin Rivers
Sam Houston Area                                Twin Valley
Samoset                                         Ventura County
San Diego-Imperial                              Verdugo Hills
San Francisco Bay Area                          Virginia Headwaters
Santa Fe Trail                                  Voyageurs Area
Seneca Waterways                                W.D. Boyce
Sequoia                                         Washington Crossing
Sequoyah                                        West Tennessee Area
Shenandoah Area                                 Westark Area
Silicon Valley Monterey Bay                     Western Los Angeles County
Simon Kenton                                    Western Massachusetts
Sioux                                           Westmoreland-Fayette
Snake River                                     Winnebago
South Florida                                   Yocona Area
South Georgia                                   Yucca




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                        EXHIBIT H

             RELATED NON-DEBTOR ENTITIES
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Arrow WV, Inc.
Atikaki Youth Ventures Inc.
Atikokan Youth Ventures Inc.
BSA Asset Management, LLC
BSA Commingled Endowment Fund, LP
BSA Endowment Master Trust
Learning for Life
National Boy Scouts of America Foundation
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                         EXHIBIT I

                INSURANCE SETTLEMENTS
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Hartford Insurance Settlement. The Plan incorporates the Hartford Insurance Settlement
Agreement, which was filed on the docket of the Chapter 11 Cases at D.I. 8816-1 and is attached
hereto as Exhibit I-1, and the Plan shall constitute a motion by the Debtors for the Bankruptcy
Court to approve the proposed compromises and settlements and sale of the Hartford Policies set
forth in the Hartford Insurance Settlement Agreement (the “Hartford Insurance Settlement”),
pursuant to sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code and
Bankruptcy Rule 9019, including approval of (i) the Hartford Insurance Settlement Agreement,
(ii) the assignment of the Local Council Policies issued by Hartford to the Debtors and the Estates,
as applicable, (iii) the Participating Chartered Organization Insurance Assignment, (iv) the sale by
the Debtors and the Estates, and the purchase by Hartford, of the Hartford Policies, free and clear
of all Interests of any Person or Entity (as such terms are defined in the Hartford Insurance
Settlement Agreement; for the avoidance of doubt, the term “interests” as used in Article V.S.4 of
the Plan and this description shall have the meaning given to the term “Interests” in the Hartford
Insurance Settlement Agreement, rather than as such term is defined in Article I of the Plan), except
solely with respect to the interests, if any, of the Archbishop of Agaña, (v) the settlement,
compromise and release of the Hartford Released Claims (as defined in the Hartford Insurance
Settlement Agreement) as provided in the Hartford Insurance Settlement Agreement, (vi) the
Allowance of the Hartford Administrative Expense Claim, and (vii) certain other settlements,
compromises, and releases as set forth in the Hartford Insurance Settlement Agreement. The
Confirmation Order shall constitute the Bankruptcy Court’s approval of such motion pursuant to
sections 363, 503(b), 507(a)(2), 1123 and 1141 of the Bankruptcy Code and Bankruptcy Rule 9019
and Allowance of the Hartford Administrative Expense Claim and shall include findings of fact
and conclusions of law pertaining to such approval, in form and substance acceptable to Hartford,
including findings and conclusions designating Hartford as a good-faith purchaser of the Hartford
Policies.

Century and Chubb Companies Insurance Settlement. The Plan incorporates the Century and
Chubb Companies Insurance Settlement Agreement, which was filed on the docket of the Chapter
11 Cases at D.I. 8907-1 and is attached hereto as Exhibit I-2, and the Plan shall constitute a motion
by the Debtors for the Bankruptcy Court to approve the proposed compromises and settlements
and sale of the Century and Chubb Companies Policies set forth in the Century and Chubb
Companies Insurance Settlement Agreement (the “Century and Chubb Companies Insurance
Settlement”), pursuant to sections 363, 1123 and 1141 of the Bankruptcy Code and Bankruptcy
Rule 9019, including approval of (i) the Century and Chubb Companies Insurance Settlement
Agreement, (ii) the assignment of the Local Council Policies issued by the Century and Chubb
Companies to the Debtors and the Estates, as applicable, (iii) the Participating Chartered
Organization Insurance Assignment, (iv) the sale by the Debtors and the Estates, and the purchase
by the Century and Chubb Companies, of the Century and Chubb Companies Policies, free and
clear of all liens, claims, encumbrances, interests and rights of any nature, whether at law or in
equity, of any Person or Entity (as such terms are defined in the Century and Chubb Companies
Insurance Settlement Agreement), except solely with respect to the interests, if any, of the
Archbishop of Agaña, and (v) certain other settlements, compromises, and releases as set forth in
the Century and Chubb Companies Insurance Settlement Agreement. The Confirmation Order
shall constitute the Bankruptcy Court’s approval of such motion pursuant to sections 363, 1123
and 1141 of the Bankruptcy Code and Bankruptcy Rule 9019 and shall include findings of fact
and conclusions of law pertaining to such approval, in form and substance acceptable to the
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Century and Chubb Companies, including findings and conclusions designating the Century and
Chubb Companies as a good-faith purchaser of the Century and Chubb Companies Policies.

Zurich Insurance Settlement. The Plan incorporates the Zurich Insurance Settlement
Agreement, which was filed on the docket of the Chapter 11 Cases at D.I. 8817-2 and is attached
hereto as Exhibit I-3, and the Plan shall constitute a motion by the Debtors for the Bankruptcy
Court to approve the proposed compromises and settlements and sale of the Zurich Insurer Policies
set forth in the Zurich Insurance Settlement Agreement (the “Zurich Insurance Settlement”),
pursuant to sections 363, 1123 and 1141 of the Bankruptcy Code and Bankruptcy Rule 9019,
including approval of (i) the Zurich Insurance Settlement Agreement, (ii) the Participating
Chartered Organization Insurance Assignment, (iii) the sale by the Debtors and the Estates, and
the purchase by the Zurich Insurers, of the Zurich Insurer Policies, free and clear of all Interests of
any Person or Entity (as such terms are defined in the Zurich Insurance Settlement Agreement; for
the avoidance of doubt, the term “interests” as used in Article V.S.4 of the Plan and this description
shall have the meaning given to the term “Interests” in the Zurich Insurance Settlement Agreement,
rather than as such term is defined in Article I of the Plan), except solely with respect to the
interests, if any, of the Archbishop of Agaña, and (iv) certain other settlements, compromises, and
releases as set forth in the Zurich Insurance Settlement Agreement. The Confirmation Order shall
constitute the Bankruptcy Court’s approval of such motion pursuant to sections 363, 1123 and
1141 of the Bankruptcy Code and Bankruptcy Rule 9019 and shall include findings of fact and
conclusions of law pertaining to such approval, in form and substance acceptable to the Zurich
Insurers, including findings and conclusions designating the Zurich Insurers as good-faith
purchasers of the Zurich Insurer Policies.

Clarendon Insurance Settlement. The Plan incorporates the Clarendon Insurance Settlement
Agreement, which was filed on the docket of the Chapter 11 Cases at D.I. 8907-3 and is attached
hereto as Exhibit I-4, and the Plan shall constitute a motion by the Debtors for the Bankruptcy
Court to approve the proposed compromises and settlements and sale of the Clarendon Policies set
forth in the Clarendon Insurance Settlement Agreement (the “Clarendon Insurance Settlement”),
pursuant to sections 363, 1123 and 1141 of the Bankruptcy Code and Bankruptcy Rule 9019,
including approval of (i) the Clarendon Insurance Settlement Agreement, (ii) the assignment of
the Clarendon Local Council Policies issued by Clarendon to the Debtors and the Estates, as
applicable, (iii) the Participating Chartered Organization Insurance Assignment, (iv) the sale by
the Debtors and the Estates, and the purchase by Clarendon, of the Clarendon Policies, free and
clear of all Interests of any Person or Entity (as such terms are defined in the Clarendon Insurance
Settlement Agreement; for the avoidance of doubt, the term “interests” as used in Article V.S.4 of
the Plan and this description shall have the meaning given to the term “Interests” in the Clarendon
Insurance Settlement Agreement, rather than as such term is defined in Article I of the Plan), except
solely with respect to the interests, if any, of the Archbishop of Agaña, and (v) certain other
settlements, compromises, and releases as set forth in the Clarendon Insurance Settlement
Agreement. The Confirmation Order shall constitute the Bankruptcy Court’s approval of such
motion pursuant to sections 363, 1123 and 1141 of the Bankruptcy Code and Bankruptcy Rule
9019 and shall include findings of fact and conclusions of law pertaining to such approval, in form
and substance acceptable to Clarendon, including findings and conclusions designating Clarendon
as a good-faith purchaser of the Clarendon Policies.
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                          EXHIBIT I-1

    HARTFORD INSURANCE SETTLEMENT AGREEMENT

          (as filed on the docket of the Chapter 11 Cases)
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                               EXHIBIT I-2

CENTURY AND CHUBB COMPANIES INSURANCE SETTLEMENT AGREEMENT

               (as filed on the docket of the Chapter 11 Cases)
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                          EXHIBIT I-3

      ZURICH INSURANCE SETTLEMENT AGREEMENT

          (as filed on the docket of the Chapter 11 Cases)
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                          EXHIBIT I-4

    CLARENDON INSURANCE SETTLEMENT AGREEMENT

          (as filed on the docket of the Chapter 11 Cases)
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                                           EXHIBIT J

                     CHARTERED ORGANIZATION SETTLEMENTS


United Methodist Settlement. The Plan incorporates the United Methodist Settlement
Agreement, which was filed on the docket of the Chapter 11 Cases and attached hereto as Exhibit
J-2, and the Plan shall constitute a motion by the Debtors for the Bankruptcy Court to approve the
proposed compromises and settlements set forth in the United Methodist Settlement Agreement
(the “United Methodist Settlement”) pursuant to section 1123 of the Bankruptcy Code and
Bankruptcy Rule 9019, including, as provided in the United Methodist Settlement Agreement,
payment of the United Methodist Settlement Contribution to the Settlement Trust as a compromise
and settlement of all Abuse Claims against United Methodist Entities and certain Claims by United
Methodist Entities against the Debtors, Local Councils, and other parties in interest, and disputes
relating to the Plan. The Confirmation Order shall constitute the Bankruptcy Court’s approval of
such motion pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and shall
include findings of fact and conclusions of law pertaining to such approval, in form and substance
acceptable to the United Methodist ad hoc committee.

Roman Catholic Settlement. The Plan incorporates the Roman Catholic Settlement Agreement,
which was filed on the docket of the Chapter 11 Cases on March 17, 2022, and attached hereto as
Exhibit J-3. Pursuant to the Roman Catholic Settlement, all Roman Catholic Entities, other than
those that have specifically opted out of such treatment (and do not withdraw such opt-out) and
other than those that are debtors in bankruptcy as of the Confirmation Date that have not advised
Debtors’ counsel in writing that they wish to make the Participating Chartered Organization
Insurance Assignment, shall be treated as Participating Chartered Organizations.
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                        EXHIBIT J-1

                        [RESERVED]
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                         EXHIBIT J-2

      UNITED METHODIST SETTLEMENT AGREEMENT
          (as filed on the docket of the Chapter 11 Cases)
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                          EXHIBIT J-3

       ROMAN CATHOLIC SETTLEMENT AGREEMENT

          (as filed on the docket of the Chapter 11 Cases)
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                           EXHIBIT K

CHARTERED ORGANIZATIONS THAT ARE DEBTORS IN BANKRUPTCY

                      (SUBJECT TO CHANGE)
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 THE FOLLOWING IS A LIST OF CHARTERED ORGANIZATIONS THAT THE BSA
 IS AWARE ARE CURRENTLY DEBTORS IN BANKRUPTCY. IF THE BSA
 BECOMES AWARE OF ADDITIONAL CHARTERED ORGANIZATIONS IN
 BANKRUPTCY, IT WILL PROMPTLY REVISE THIS EXHIBIT.

*     Indicates any Chartered Organization listed below that has advised the Debtors’ counsel in
      writing that it wishes to be treated as a Participating or Contributing Chartered Organization,
      as applicable.

1.    Archbishop of Agaña, a Corporation Sole, Chapter 11 Debtor in Possession, District Court
      of Guam, Territory of Guam, Bankruptcy Division, Case 19-00010.

2.    The Diocese of Buffalo,* New York, Chapter 11 Debtor in Possession, United States
      Bankruptcy Court for the Western District of New York, Case No. 20-10322.

3.    The Diocese of Camden,* New Jersey, Chapter 11 Debtor in Possession, United States
      Bankruptcy Court for the District of New Jersey, Case No. 20-21257.

4.    The Diocese of Rochester,* New York, Chapter 11 Debtor in Possession, United States
      Bankruptcy Court for the Western District of New York, Case No. 19-20905.

5.    The Roman Catholic Diocese of Syracuse,* New York, Chapter 11 Debtor in Possession,
      United States Bankruptcy Court for the Northern District of New York, Case No. 20-30663.

6.    The Roman Catholic Diocese of Rockville Centre,* New York, Chapter 11 Debtor in
      Possession, United States Bankruptcy Court for the Southern District of New York, Case No.
      20-12345.

7.    Roman Catholic Church of the Archdiocese of Santa Fe,* Chapter 11 Debtor in Possession,
      United States Bankruptcy Court for the District of New Mexico, Case No. 18-13027.

8.    The Norwich Roman Catholic Diocesan Corporation,* Chapter 11 Debtor in Possession,
      United States Bankruptcy Court for the District of Connecticut, Case No. 21-20687.

9.    All Saints Episcopal Church,* Chapter 11 Debtor in Possession, United States Bankruptcy
      Court for the Northern District of Texas, Case No. 21-42461.

10.   The Roman Catholic Church of the Archdiocese of New Orleans,* Chapter 11 Debtor in
      Possession, United States Bankruptcy Court for the Eastern District of Louisiana, Case No.
      20-10846.
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                         EXHIBIT L

                    YOUTH PROTECTION
                        PROGRAM
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Non-Monetary Commitments. The BSA will not compromise the safety of our youth, volunteers,
and employees. We are all responsible and must hold each other accountable to provide a safe
environment for all participants. Safety is a value that must be taught and reinforced at every
opportunity and nothing is more important than protecting our Scouts from abuse. BSA is
dedicated to becoming the Gold Standard in abuse prevention. Because of this commitment, we
are and will always seek to bolster our abuse prevention efforts. In furtherance of these efforts,
the BSA shall take the following actions to promote healing and reconciliation and to continue the
BSA’s efforts to prevent abuse from occurring in Scouting in the future:

1) Hire a Youth Protection Executive (“YPE”): No later than six months from the Effective Date,
   retain a youth protection executive with extensive expertise in the prevention, recognition, and
   response to abuse within institutions, whose responsibilities shall include all aspects of youth
   protection, including:1

    a) Youth protection policies and training.
    b) Monitoring compliance with training requirements.
    c) Implementing and monitoring the youth protection champions in Local Councils, as part
       of an overall effort to adopt best practices and drive standardization of youth protection
       measures among Local Councils and Chartered Organizations.
    d) Advocating for continued, embedded youth protection culture in the BSA, among adults
       and Scouts.
2) On or as soon as practicable following the Effective Date, form a Youth Protection Committee
   (“YPC”): The BSA shall form a committee including members from the BSA, Local Councils,
   Chartered Organizations, and nominees of the Tort Claimants’ Committee, and nominees of
   the Survivors Working Group. Assuming there are a sufficient numbers willing to serve on the
   YPC, members nominated by the Tort Claimants’ Committee and the Survivors Working
   Group shall be in equal numbers, respectively, and shall, in combination, be at least half the
   total membership of the YPC. The YPE will present to the YPC no less than twice per year.
    a) The BSA will present to the YPC on the BSA’s current Youth Protection Program (the
       “Youth Protection Program”), including regarding the implementation of the actions set
       forth below, as soon as practical, but no later than six months from the Effective Date.
    b) The BSA will report annually to the YPC on changes to BSA’s Youth Protection Program,
       compliance in the field, and trends of abuse identified and addressed during the perio d
       between meetings. This report shall also be shared with the Organization (defined below)
       and each Local Council’s Executive Commitee.
    c) To the extent reasonably practicable, it is intended that the YPC be involved in all aspects
       of youth protection at the BSA, through discussion, consultation and review with the YPE.


1
    In advance of the hiring, the BSA intends to establish an ad hoc selection committee, which shall include at least one survivor
    nominated by the SWG and at least one survivor nominated by the TCC. The BSA further intends that the YPE will report to
    the Chief Scout Executive or Assistant Chief Scout Executive.
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3) Update Existing Policies:
    a) Update Scouting’s Barriers to Abuse: All adults staying overnight in connection with a
       Scouting activity must be registered as a leader or adult program participant. 2
    b) Update criminal background checks on all registered leaders every two years. All camp
       staff at long-term overnight camps and day camps will be registered as camp staff so as to
       receive a criminal background and VSD check annually. Camp staff will also be required
       to attend BSA’s Understanding and Preventing Youth on Youth Abuse Training during
       staff training and before they work with youth members at camp.
    c) Update policies and procedures related to, and provide additional guidance on,
       inappropriate physical and verbal interactions, gift-giving and the supervision of bathroom
       and shower areas.
    d) Consolidate all aspects of the BSA’s youth protection materials into a “Youth Protection
       Manual” and “Adult Leadership Manual” or similar structure to put requirements and
       resources in a centralized location. These materials should be consolidated and updated
       within 12 months of the Effective Date, in coordination with the YPE and the YPC.
    e) Update the BSA website main menu to specifically highlight BSA’s abuse prevention
       requirements, policies for conduct with youth, trainings and reporting procedures.
4) Review and Enhance Training Materials:
    a) Perform a comprehensive review of Youth Protection training to ensure the training is
       clinically evidence- and research-based and reflective of survivor- informed experiences,
       including but not limited to:
         i) Grooming techniques and case examples that demonstrate the need for early detection
            and reporting of suspected predatory behavior.
         ii) Use of more scenario-based training to help engage the learner and apply the
             information to “real life” scenarios, including the use of “safety moments” for youth
             members and adult leaders and parents based upon actual incidents.

         iii) Updated content on youth-to-youth abuse prevention, including how to identify and
              interrupt inappropriate behaviors that can lead to abuse.

         iv) The evaluation will be performed by the YPE in consultation with an independent
             organization (the “Organization”) with experience in evidence-based empirica l
             research on the prevention of childhood abuse and neglect, including sexual abuse of

2
    Cub Scout Programs (Overnight): Cub Scout parents or legal guardians taking part in an overnight program with their own
    child are not required to register as leaders but must review the BSA’s Barriers to Abuse with a unit leader before the activity.
    Cub Scout youth can only attend with and must be supervised by their own parent or legal guardian at all times, or a registered
    adult member of the BSA who is attending with their child. A registered leader must be present at any time the parent or legal
    guardian is with other youth members other than their own. Cub Scout camping is limited to a Local Council’s designated
    locations with appropriate facilities and Barriers to Abuse materials will be prominently posted at all locations for such
    programs.




                                                                 2
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             children. The YPC will have the opportunity to interview entities and reasonable
             consent rights in the BSA’s selection of the Organization.3

        v) The materials shall be evaluated and updated by the YPE, in consultation with the
           Organization or a successor organization, every two years.

    b) Create and implement an annual refresher youth protection course for all leaders and
       parents who accompany Scouts on Scouting activities. The refresher will include but shall
       not be limited to reinforcing core content and BSA polices, including Scouting’s Barriers
       to Abuse requirements, reporting and responding to policy violations and reports of abuse.
       In addition, the refresher will include advanced information based on recent incident trends
       and technological advances implicating youth protection issues, including changes in the
       last year.

5) Conduct Additional Policy Review and Evaluation:

    a) The BSA will further work with the Organization to evaluate key issues, including but not
       limited to:

        i) How the BSA’s Youth Protection requirements are implemented at the local level.

        ii) Key roles in the organization that need advanced youth protection training.

        iii) Strategies to ensure there are no gaps between member registration dates and training
             expiration dates.

        iv) The extent to which monitoring and supervision practices are understood,
            implemented, and enforced in Scouting programs, including in various Scouts
            programs (including camps and High Adventure Base programs).

        v) Potential risks unique to specific Scouting programs, including programs where youth
           assume leadership and/or employment positions.

        vi) Additional guidelines for overnight activities, including tenting and lodging and cabin
            accommodations.

        vii) Potential risks relating to female Scouts.

        viii)     Attitudes and behavior towards diverse Scouts and cultures.




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    The YPE shall solicit RFPs to serve as the Organization, which shall include qualified entities recommended by the YPC’s
    members. The BSA has retained Praesidium, which has performed work to date regarding the BSA’s Youth Protection
    Program. The BSA has stated that it will recommend that the YPE inrerview Praesidium to serve as the Organization. The
    TCC and Survivors Working Group have no objection to the YPE interviewing Praesidium to serve as the Organization.


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       ix) How Local Councils and Chartered Organizations can provide a trauma-info rmed
           response to individuals who come forward to report abuse and identify necessary
           resources for this function.

       x) Potential additional camp-specific risks and policies and procedures.

   b) The evaluation will be provided to the YPE and YPC on the specific issues above, as well
      as its assessment of the current Youth Protection Program. Specific recommendations for
      additional reasonable improvements to the Youth Protection Program will be considered
      and implemented by the BSA.

   c) Changes to the Youth Protection Program will be reflected on the BSA’s website and
      training will be reasonably adjusted to reflect changes.

   d) The items recommended and adopted, as well as the items recommended and rejected or
      modified by the BSA, will be reported to the Organization, the YPC, and each Local
      Council’s Executive Committee, along with the reasoning behind any rejected or modified
      recommendations.

6) Further Focus on Youth Protection as Part of Scouting Programming:

   a) The BSA will work with subject-matter experts to continue to review, develop and
      implement youth protection training to help Scouts learn to recognize abuse, react to
      protect themselves, and tell a trusted adult. This will be embedded and required at every
      rank in each program of Scouting. Materials will include meeting plans and resources for
      youth, parents, and leaders. These rank advancement requirements will be age-appropriate
      and may include opportunities for Scouts to learn about subjects such as smart choices
      online (cyber bullying/grooming); being an upstander not a bystander; grooming
      techniques and sexual abuse; safe touch and unsafe touch; sexual peer pressure; sexual
      abuse in the family; bullying and hazing; and other expert-informed subjects.

   b) The BSA will designate one month per year to emphasize the importance of youth
      protection and preventing child sexual abuse throughout Scouting programs. This annual
      campaign will be dedicated to raising awareness and preventing child abuse within
      Scouting and throughout society. This focused campaign will be implemented at the unit,
      council, and national level.

7) Enhance Incident Reporting:

   a) The BSA, together with the YPE, shall provide confidential quarterly summary reports to
      the NEC, Audit and Risk Management Committee, and YPC (including the Organizatio n),
      on all child sexual abuse incidents that result in a youth or adult offender being placed on
      the Volunteer Screening Database.

   b) Incidents that result in a youth or adult offender being placed on the Volunteer Screening
      Database for child sexual abuse must be reported to the affected Troop’s parents,


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         volunteers associated with the affected Troop, and the affected Charter Organization. 4 The
         Local Council will provide notification to its Executive Committee. Notification will also
         be provided to the the YPE, YPC, and the Organization as part of the summary reports
         required by 7(a).

8) Enhance Auditing Requirements: Local Councils will be required to submit evidence of
   compliance with youth protection and membership standard guidelines, including training,
   incident review and reporting. The evidence will be provided to the YPE, the Organizat io n,
   and the YPC. The YPE shall work with the Organization to assess this compliance, and shall
   provide the YPC with its and the Organizations conclusions in that regard.

9) Form Unit Leader Working Groups: In connection with the YPC, Local Councils, and
   Chartered Organizations establish unit leaders’ working groups to regularly identify, discuss
   and develop additional ways to protect youth in Scouting, which could include, for example:
    a) Improving the implementation of Scouting’s Barriers to Abuse to help prevent incidents in
       the areas with higher risk potential.
    b) Appropriate supervision during nighttime or sleep hours, bathroom and shower facilities.
    c) Observed inappropriate youth behavior.
    d) How to continuously reinforce youth safety to parents, youth and leaders.
    e) Standardization of best practices across Local Councils and Chartered Organizations.
10) Expand Survivor Representation:
    a) As required by the BSA by-laws, an otherwise qualified survivor of abuse in Scouting shall
       be nominated to serve and shall be placed on the National Executive Board of the BSA.
       (The criteria for selecting this Board member will be the same as the criteria for the other
       Board members.)
    b) The BSA and AHCLC will recommend that each Local Council agree to nominate and
       place an otherwise qualified survivor of abuse in Scouting on their local council board at
       all times. (The criteria for selecting these Board members will be the same as the criteria
       for the other board members.)
    c) It is the intention of the BSA and the AHCLC that the presence of Survivors on such boards
       is emblematic of a sincere effort to listen to survivors’ voices. In addition, the BSA and
       Local Councils will explore with the YPC additional measures to expand survivor
       representation, including recruiting survivors to the BSA and Local Council boards.

11) Promote Survivor Recognition and Remembrance:
    a) In consultation with the YPC, design and install a place of remembrance for all child sexual
       abuse survivors at a prominent location at each of the BSA’s High Adventure Bases, which
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    To protect survivors and encourage reporting, such reports will provide notification that a youth protection violation and
    removal occurred, but will not describe the specific incident. To the extent possible, such notification will occur prior to any
    parent meeting.


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       will serve as a nationally recognized statement of BSA’s commitment to recognize the
       abuses of the past and to prevent abuse in the future. The BSA shall encourage Local
       Councils to consider similar opportunities.
   b) Create a Survivor-Focused Path to Eagle Scout, where pursuit of Eagle requirements was
      not continued because of Abuse-related reasons. Input from the YPC will be solicited.
   c) Survivor Scouter Pin: In consultation with the YPC, create a recognition, e.g. the “Phoenix”
      award, to honor survivors that despite the pain and suffering they endured as a youth, were
      able to break through the despair and provide value and honor to themselves and their
      community.
12) Support a Youth Protection Seminar: The BSA, under the leadership of the YPE, will
    coordinate with Local Councils and Chartered Organizations to plan a Youth Protection
    Seminar for Scout Executives, volunteer leaders and other key constituents, to foster sharing
    of best practices and information regarding youth protection trends.
13) Volunteer Screening Database
   a) The BSA will work with the YPC to assess how the names of adult perpetrators of child
      sexual abuse in Scouting and other information can be made public or used in connection
      with a database accessible to other youth serving organizations. Specifically, the BSA
      agrees to work with the YPC on a protocol that makes confirmed past child abusers in
      Scouting, and future confirmed child abusers in Scouting, publicly known.
   b) The protocol will take into account factors including: (i) the desire to make public adult
      perpetrators of child sexual abuse in Scouting; (ii) adequate protections for survivor
      identities; (iii) consideration regarding the protection of third parties, including survivor
      family members and volunteers; (iv) a notification process regarding any publicat io n;
      (v) issues related to privacy and liability related to publication; and (vi) the potential
      appointment or retention of an appropriate neutral party to supervise the evaluation and
      review of the VSD.
   c) The BSA will take a leadership role and re-engage with other YSOs and agencies includ ing
      but not limited to the National Center for Missing and Exploited Children to explore the
      feasibility of and advocate for a shared national database of adults who have been excluded
      from working with youths for youth protection related offenses.

   d) The Trust Agreement shall be modified to provide the Settlement Trustee with the authority
      to request an order of the Bankruptcy Court relating to the publication of materials included
      in the VSD, no earlier than one year after the Effective Date. The Plan shall be amended to
      specifically provide that the Bankruptcy Court retain jurisdiction to adjudicate such
      request. All parties in interest, including the Reorganized Debtors, shall have the right to
      object to and contest any request made by the Settlement Trustee.

14) Prospective Reporting:
   a) The BSA is committed to working with the YPC to discuss and improve transparency and
      accountability with respect to any future instances of sexual abuse, including the


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        dissemination of information relating to abuse statistics, consistent with practices of other
        youth-serving organizations, and what information may be appropriately made available
        on the BSA’s website.
    b) The BSA also agrees to work with the YPC on a protocol to ensure that at the request of a
       Scout parent or legal guardian, summary information regarding youth or adult offenders
       being placed on the Volunteer Screening Database for child sexual abuse for a specific
       Troop or unit is provided. The BSA agrees to finalize this protocol no later than 6 months
       following the Effective Date.
15) Youth Protection Leadership
    a) The BSA will continue to engage with youth protection experts to monitor best practices
       utilized by youth serving organizations, and will work with the YPC to continue to explore
       partnership opportunities, including with academic institutions and other youth protection
       organizations, to collaborate and share data, including consideration of factor-based
       analysis and other methodologies to prevent abuse. 5
    b) The BSA will work with the YPC to take a leadership role in youth protection, including:
        i) Supporting federal legislation for certified volunteer programs, unsuitable leader
           reporting and a database for youth serving organizations or those added into database.
        ii) Holding a meeting, at least once every two years, with recognized sexual abuse experts
            and other similarly situated organizations to discuss best practices and innovations in
            youth protection.




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    The BSA and YPC shall consider the best way to utilize the redacted Proofs of Claim filed in the BSA chapter 11 cases, as
    well as information from the VSD.


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    ;01   E1I4+?1'16&/#!1                     (&!11(!11(&,'1);<1         &1/1     0112111       G+?%4=1+&1-%-1
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    ;1   E1I4+?1'1(#-@?#1                      (&!11(!11(&,'1);<1         &1/1     0112111       G+?%4=1+&1-%-1
                                                            ;.1
    ;1   E1I4+?1'1B&/1                         (&!11(!11(&,'1);<1         &1/1     0112111       G+?%4=1+&1-%-1
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    ;1   E1I4+?1'1+!%#1                        (&!11(!11(&,'1);<1         &1/1     0112111       G+?%4=1+&1-%-1
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    01   111!"#$#%1                       &#%'(1)&()1&%#'*##'1+,1 %1$1        /)101)1 123#1%1424#'1
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    01   1115#6#'#%1                       &#%'(1)&()1&%#'*##'1+,1 %1$1        /)101)1 123#1%1424#'1
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    01   11173'8(1                        &#%'(1)&()1&%#'*##'1+,1 %1$1        /)101)1 123#1%1424#'1
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    01   1117'9'3(1                     &#%'(1)&()1&%#'*##'1+,1 %1$1        /)101)1 123#1%1424#'1
                                                              -.1
    0:1   3#6#*#%1                              &#%'(1)&()1&%#'*##'1+,1 %1$1        0)101:)1 !;1%12%621
                                                              -.1
    01   $6#%'#1                                &#%'(1)&()1&%#'*##'1+,1 %1$1        0)101:)1 !;1%12%621
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    0:1   <3%%1&'2;1=#*1                  &#'"#'1=1+>%#*4'2'(.1         %1$1   1?)1011 123#12%$14#%;1%1
                                                                                                            ?)1             424#'1
    0@1   A''2181B2$#%,A9#;;1                 &C'$1D("#'E1+>%#*4'2'(.1        %1$1   0)101@)1 !;1%12%621
    0::1   721=F#%G#12#1                     &*#'1&;;1+>%#*4'2'(.1           %1$1   0)101:)1 123#1%1424#'12%$1
                                                                                                                              ;;2E#1
    0-1   B(11                                &92'$1>32%$;#'1>3'(1+:-@,1/.1 @1    )1010)1 !;1%12%621
    0@1   A''2181D'%1>;2441                 <1%3%(1H;;1+>%#*4'2'(.1 %1$1        0@)101@0)1 !;1%1*2%#1
    0/1   12%1I2E;#J1A;2%#J12%$11            <2*#1B%E32*1+>%#*4'2'(.1         %1$1   @01?)101@1 !;1%1'#;%#$12%621
                                                                                                            ?0)1
    0@1   )>**%1A88%)K1)78#$1A88%)L12%$1    <2*#1>2'#'1B#2'$1+:@-,1@.1 01         1@?0)101/1?)1 N%M12%$192#';'1%1
                    )53%#'1M;#)1                                                                                       424#'1*%#$11
                                                                                                                              2'$"2'$1
    001   )&$%1B2(1O#**%E)L1)P#;$1=#)L1       <2*#1>2'#'1B#2'$1+:@-,1@.1     01     )101)1 N%M12%$192#';'1%1
                    )5#$1B2M#$1=#)L12%$1)D'39#1                                                                         424#'1*%#$11
                    Q;#)1                                                                                                    2'$"2'$1
    0/1   )%83)L1)>2;1B2 )L1R#;;91A#'3)L1   <2*#1>2'#'1B#2'$1+:@-,1@.1     01     1?)1011-?:)1 N%M12%$192#';'1%1
                    2%$1)*2;;1=%#$1B;2M1B2 )1                                                                            424#'1*%#$11
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    01   *#'2%14#$1>3*#'21                 <2*#1>2'#'1B#2'$1+:@-,1@.1     01     )101)1         N%M12%$192#';'1%1
                                                                                                                              424#'1*%#$11
                                                                                                                              2'$"2'$1
    0@1   '2;2%1O%E1P31                       <2*#1>2'#'1B#2'$1+:@-,1@.1     01     1@?0)1011@?0)1 N%M12%$192#';'1%1
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    1   1!"1#$%&&1                    '(!&1)%!%1!%"1*+,-.1/,01     /1      /11+21311121 4515"16!%7%151
                                                                                                                              88!%1(75!"11
                                                                                                                              %"$%"1
    01   7!9:&;1                                '(!&1)%!%1!%"1*+,-.1/,01     /1      101+2131-21 4515"16!%7%151
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    1   7;!"1)9:&;1                         '(!&1)%!%1!%"1*+,-.1/,01     /1      2131-1,121 4515"16!%7%151
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    -1   ):9%5:1<%!=1>;!&1# !"1$=1?:!%1 '(!&1)%!%1!%"1*+,-.1/,01    /1      1,1+213101 4515"16!%7%151
                    >;!&1                                                                                 121             88!%1(75!"11
                                                                                                                              %"$%"1
    +1   )5":51@=531                            '(!&1)%!%1!%"1*+,-.1/,01    /1      +1121311,121 4515"16!%7%151
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    /1   )((51A8;:5&1                         '(!&1)%!%1!%"1*+,-.1/,01     /1      11213101 4515"16!%7%151
                                                                                                            01+21             88!%1(75!"11
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    ,1   )5B1C5!1                             '(!&1)%!%1!%"1*+,-.1/,01     /1      ,112131+1 4515"16!%7%151
                                                                                                            121             88!%1(75!"11
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    ,1   A!D:1:&;1                              '(!&1)%!%1!%"1*+,-.1/,01     /1      /1121311,1+21 4515"16!%7%151
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    ,,1   E:5!1E!1                              '(!&1)%!%1!%"1*+,-.1/,01     /1      01-1+21311-1+21 4515"16!%7%151
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    ,1   %:"1>"1F1                         '(!&1)%!%1!%"1*+,-.1/,01     /1      /11+213121 4515"16!%7%151
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    01   1!1                         "#$1%&1!'1()*1+,1    +1      +1-).1/11-).1 01211'13&4451411
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    0)1   819:51                         "#$1%&1!'1()*1+,1    +1      +1-.1/11-.1 01211'13&4451411
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    0+1   ;1!1'1                         "#$1%&1!'1()*1+,1    +1      .1/101-.1 01211'13&4451411
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                                                                                                                      '74'1
    01   "5#61<1=45$1                      "#$1%&1!'1()*1+,1    +1      )1-.1/1.1 01211'13&4451411
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    01   >44111'1=5 $1                     "#$1%&1!'1()*1+,1    +1      01-).1/1)1-.1 01211'13&4451411
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    01   =1&1                            "#$1%&1!'1()*1+,1    +1      .1/1)1-).1 01211'13&4451411
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                                                                                                                      '74'1
    01   =1471?$1                        "#$1%&1!'1()*1+,1    +1      .1/1).1 01211'13&4451411
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                                                                                                                      '74'1
    0@1   A42&146?$1                      "#$1%&1!'1()*1+,1    +1      0.1/1.1         01211'13&4451411
                                                                                                                      661#451&'1&41
                                                                                                                      '74'1
    001   B774119$1                       "#$1%&1!'1()*1+,1    +1      1-).1/1@1 01211'13&4451411
                                                                                                    -.1             661#451&'1&41
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    0)1   96'1=4128$1                      "#$1%&1!'1()*1+,1    +1      1-).1/1+1-).1 01211'13&4451411
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    0+1   9:51                             "#$1%&1!'1()*1+,1    +1      1-.1/1@1 01211'13&4451411
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    0@1   9&C$191>41$1                 "#$1%&1!'1()*1+,1    +1      +1-.1/11-).1 01211'13&4451411
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    1     1!!"1                            #$!%1&$!1'!$(1)*+0,1-+.1    -1      *1/0111*1/*01 2341$3(15$!6"7131
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    +1     :$831                                  #$!%1&$!1'!$(1)*+0,1-+.1    -1      1/0111-1/01 2341$3(15$!6"7131
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                                                                                                                                8$8!173!(11
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    01     :;!18$3>%;1?$64!!"1                    #$!%1&$!1'!$(1)*+0,1-+.1    -1      01111/01 2341$3(15$!6"7131
                                                                                                                                8$8!173!(11
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    1     :518>3!(1>64"!9$641                  #$!%1&$!1'!$(1)*+0,1-+.1    -1      +1/01111/01 2341$3(15$!6"7131
                                                                                                                                8$8!173!(11
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    1     B3>631C;$"!%1                          #$!%1&$!1'!$(1)*+0,1-+.1    -1      1/01111 2341$3(15$!6"7131
                                                                                                              /01             8$8!173!(11
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    01     C(6;7641                               #$!%1&$!1'!$(1)*+0,1-+.1    -1      *1/*011101 2341$3(15$!6"7131
                                                                                                                                8$8!173!(11
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    *1     D$3>!"1&$!1'!$(1                     #$!%1E!31'!$(1)*,1*-+.1     ***1      0111-1+/*01 F>"1319$(1
    1     $7($1GH!3>3=1%1&H!1              #$!%1I!5>64>1)'31-0.1          -1      +1/01111 2341$3(15$!6"7131
                                                                                                              /01             9$(1
    +-1/1   $3$1&"$7%1$3(1671                   #$1J$36!1)&3!8$.1           31(1     +1/01111 K7$6;!1318$8!1
    --*1                                                                                                 /01
    L3!1             671&%%>3=,#$9!!1                 #!MM1!="!1                        01      11                11
    L3!1             67>3=N%1:>97!11I$51G3M6!!31   #!MM1!="!1                        *1      11                11
    0*1     B3>"!(1671                          #!MM1!="!1)&3!8$.1         31(1     +0111*01 F>"1316$3H$%1
    1     ?7%$3=%1                                #;31K7%31)I$1?;!.1'="71     -1      1+/0111+0111 &$%193O!17">8"!1
                                                               )*0,1-.1                                  01              %67"87!15>;1=!!3,
                                                                                                                                95318$>3$1
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                                                                                                            958
    1        111!1"1               #$1!%1&'(1                    ))1       11               11
    *+,,)+-.)*,.1   /&0(11213'42!5/61"2$1*1!251   #(0$18$2'(!'135219,0:.;1   ,<,01       .+/1?1*:1,@./1   A'11%(1
                    %'17(!18%21                       ,<=,>1
    *+,,)+-.)*,B1   !251%'17(!18%2@1!(1        #(0$18$2'(!'135219,0:.;1   ,<,,1       B+1,@./1?1*,1    A'11%(1
                    ''1                                ,<=,>1                                             ,@./1
    C1           ,++!$1D'%2(25111!$1A22111!$1    #(0$18(!2'1                        *+,*1       11               11
                    D221
    *++B),,,1       72!2'!1118$017$''0(1               #(0$18(!2'1                        ,<:,1       11               A'11E('!1

    1        /,++!$1D'%2(25111&21!'/1 #(0$18(!2'1                            *++:1       B*/1?1*-/1 A'118%(1
    1        ,++!$1D'%2(251111!(1       #(0$18(!2'1                          *+,*1       11                A'118%(1
    1        <+!$1D'%2(25111F5(13'11          #(0$18(!2'1                          *++,1       11                A'118%(1
    1        D1!1'(1G%2!H1!51               #(0$18(!2'1                          ))1       11                11
    1        G'172!2(1                       #(0$18(!2'1                          *++*1       B+/1?1*./1 A'118%(1
    1        !'1I2J(1                         #(0$18(!2'1                          *++:1       B*/1?1*-/1 A'118%(1
    1        !'1!(18EE '!51A2'K!(1 #(0$18(!2'1                           *++<1       B*/1?1*=/1 A'118%(1
    1        !'1!$2$1!$1L2(1               #(0$18(!2'1                          ,<:01       11                A'118%(1
    1        !E(!211!H1(!51              #(0$18(!2'1                          ))1       11                7'110021
    1        !$H1/M1G'$/1                      #(0$18(!2'1                          ))1       11                (!$1
    C1           &!21!!H1#2)1                      #(0$18(!2'1                          *+,*1       11                11
    1        L2111!$1N!21                   #(0$18(!2'1                          *++01       B*/1?1*=/1 A'118%(1
    *+,,)+-.)+001   /72021M1O11P1M 2/121/<@,,/1 #(0$18(!2'198!E0225>1           *++*1       .+/1?1B,/1 '11%(1
    *+,,)+-.),,01   ,++!$1D'%2(251!1!1!'1 #(0$18(!2'198!E0225>1               *++<1       11                A'118%(1
    *+,,)+-.)+--1   ,<:-1I418%21                    #(0$18(!2'198!E0225>1           ,<:=1       *:1,@*/1?1B0/1 '11421
    *+,,)+-.)+0*1   D1P1M 21                            #(0$18(!2'198!E0225>1           ,<<*1       .+/1?1B*/1 '11%(1
    *+,,)+-.),,+1   D1P1M 2H1(!51                      #(0$18(!2'198!E0225>1           )1)1      ,+/1?10/1         0'110021
    *+,,)+-.)+<*1   D1!1'(1G%2!11                    #(0$18(!2'198!E0225>1           )1,<<.1   *+/1?1,-/1 '11421
    *+,,)+-.),,-1   D1&'2H1(!51                         #(0$18(!2'198!E0225>1           )1)1      ,+1,@./1?1:1B@./1 0'110021
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                                                                                                        958
    1   1 !"1                              #"$%1&"''(1)& *+$',-1       0.1       /011101         (21*13'*4'"1
    1   1 !"51"!6,1                       #"$%1&"''(1)& *+$',-1       *161      01701111701 $*3(21*1$'$1
    01   8!(26(*91'1:(51"!6,1                   #"$%1&"''(1)& *+$',-1       0.1       011101 $*3(21*1$'$1
    ./1   &%''31& !*"1                         #"$%1&"''(1)& *+$',-1       001       /0111/01         (21*13'*4'"1
    01   &%'2"1;1<++"51(9%164*!18'"11 #"$%1&"''(1)& *+$',-1        3'10001   /0111/01         (21*13'*4'"1
    0/1   & +1=*51#(*1>"1                          #"$%1&"''(1)& *+$',-1       *161      0111001 '3,2(31*13'*4'"1
    01   &!?1<3!1@%1**(4"',10&!?1<3!1 #"$%1&"''(1)& *+$',-1            1       /011101         (21*13'*4'"1
                    @%1**(4"',01101A(**01
    .01   B'+"183+1'1C'2(,1(*1D*!(*91 #"$%1&"''(1)& *+$',-1            /1       /011101         (21*13'*4'"1
    1   B!,11E 61'*61& !*,51"!6,1            #"$%1&"''(1)& *+$',-1       *161      /1701111 $*3(21*1$'$1
                                                                                                             701
    @1   F'921& !11 *1                       #"$%1&"''(1)& *+$',-1       *161      /0111/01         (21*13'*4'"1
    1   F'921& !11 *51"!6,1                #"$%1&"''(1)& *+$',-1       *161      /011101 $*3(21*1$'$1
    .1   F'921<4(31GH31                     #"$%1&"''(1)& *+$',-1       0.1       /.0111001         (21*13'*4'"1
    1   :'+(2,1&'+$(*91                           #"$%1&"''(1)& *+$',-1       0.1       /170111@01 (21*13'*4'"1
    .1   :2(6'1<'18'"1                          #"$%1&"''(1)& *+$',-1       001       0111/01         (21*13'*4'"1
    @1   :2(6'1<'18'"51"!6,1                   #"$%1&"''(1)& *+$',-1       *161      0111@1701 $*3(21*1$'$1
    @1   E(11'1;((+1                        #"$%1&"''(1)& *+$',-1       0.1       1701111 (21*13'*4'"1
                                                                                                             701
    1   (9%1D("(*1                             #"$%1&"''(1)& *+$',-1       01       1@70111.1 (21*13'*4'"1
                                                                                                             @701
    @1   IJ"1'18 ,J"1;(1                        #"$%1&"''(1)& *+$',-1       0.@1       /011101         (21*13'*4'"1
    .1   K'(*'21#'+?1:11G1(2251D(9(*('1 #"$%1&"''(1)& *+$',-1       1       /011101         (21*13'*4'"1
    /1   K'(*'21<3!(*91L!"!+1:!*6"1 #"$%1&"''(1)& *+$',-1                 /1       /@@0111@01 =(21*1&'*4'"1
                                                                                                             M(%1+'9(*1
    1   =(3('21&'2251"!6,1                        #"$%1&"''(1)& *+$',-1    *161      170111.1701 $*3(21*1$'$1
    .1   =!11%1G'"1I*1%1:!!1)G'""1(1=*N-1 #"$%1&"''(1)& *+$',-1    001       /011101         (21*13'*4'"1
    1   G'""1I1=*11                                 #"$%1&"''(1)& *+$',-1    *161      /0111.01         (21*13'*4'"1
    0.1   G'(113%1L!*"*51#1                   #"$%1&"''(1)& *+$',-1    *161      0111/1701 (21*13'*4'"1
    0@1   G'(118*11; 411                      #"$%1&"''(1)& *+$',-1    *161      /0111/01         (21*13'*4'"1
    001   G'(11&%'2"1L1G(911                 #"$%1&"''(1)& *+$',-1    *161      /0111/01         (21*13'*4'"1
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                                                                                                          69
    100112   222!"#$2%2&'()*22      +$,-"2%$2.%/,#-*02          /212   232422132       52/2'/)$2
    100112   2261712+855/299922       +$,-"2%$2.%/,#-*02          /212   232422132       52/2'/)$2
    10010112   22:),*2;2',22           +$,-"2%$2.%/,#-*02          /212   203242<32       52/2'/)$2
    10010122   22+2;2!22                +$,-"2%$2.%/,#-*02          /212   232422132       52/2'/)$2
    10010102   22+,,2=2>'52           +$,-"2%$2.%/,#-*02          /212   232422132       52/2'/)$2
    1001012   22>?,2@2>,/,A,22         +$,-"2%$2.%/,#-*02          /212   132422122BC32   52/2'/)$2
    10011D2   22E/12F2&' //,552       +$,-"2%$2.%/,#-*02          /212   132422132       52/2'/)$2
    10011C12   E'8/G22552E,$/$2               +$,-"2%$2.%/,#-*02          012    13242232       52/2'/)$2
    100100D2   E'8/G2H2(552E,$/$I2$81*2        +$,-"2%$2.%/,#-*02          /212   0<22B32420<32   -,/'52/2--,2
    10011C<2   E'8/G2J58,$2                        +$,-"2%$2.%/,#-*02          02    23242C32       52/2'/)$2
    10010022   E'8#$,I2$81*2                     +$,-"2%$2.%/,#-*02          /212   0220B3242012    -,/'52/2--,2
                                                                                                             0B32
    100101C2   E'8$2(,2'I2$81*2            +$,-"2%$2.%/,#-*02          /212   02324220B32    -,/'52/2--,2
    1001002   E'8$2:A/GI2$81*2                   +$,-"2%$2.%/,#-*02          /212   03242032       -,/'52/2--,2
    10011D2   E-2;),$2K/2                        +$,-"2%$2.%/,#-*02          0C<2    2324232       52/2'/)$2
    10011D2   !",2F,72E-2                         +$,-"2%$2.%/,#-*02          0D2    223242<32       52/2'/)$2
    100112   !",2K1,52                             +$,-"2%$2.%/,#-*02          0D2    32420C32       52/2'/)$2
    10011D02   !",252;,1,2                      +$,-"2%$2.%/,#-*02          0C02    3242032       52/2'/)$2
    100112   !",2>,8//2                            +$,-"2%$2.%/,#-*02          0D2    2324232       52/2'/)$2
    10011D2   !",2E'8#$,2                        +$,-"2%$2.%/,#-*02          0C2    3242232       52/2'/)$2
    10011D22   !",2E,/G"22E'8/G2!"8G"2       +$,-"2%$2.%/,#-*02          0C22    21324232       52/2'/)$2
                    J58/,,$2K>2!"/A2L8I2E'82
                    J58/,,$2
    1001122   !"#$2+2@$/I2+2                  +$,-"2%$2.%/,#-*02          0<2    C324232 52/2'/)$2
    10011C2   M?/2N12!8/2                        +$,-"2%$2.%/,#-*02          0D2    213242<32 52/2'/)$2
    10011D2   J58,$2!"2;$22;,#,2            +$,-"2%$2.%/,#-*02          0C2    23242C32 52/2'/)$2
    10011DD2   @/,2%#-/G2E',/,2                   +$,-"2%$2.%/,#-*02          0CD2    132422132 52/2'/)$2
    10011DC2   L82%/2292                           +$,-"2%$2.%/,#-*02          0CC2    21324232 52/2'/)$2
    100120D2   :--*21"2="1*2=E(2                +$,-"2%$2.%/,#-*02($2   1112    22                K52/2%/)$2
    100120C2   !",2E8##22E8##2=,'",52>,$,),2   +$,-"2%$2.%/,#-*02($2   1022    22                K52/2%/)$2
    F/,2           ;),2E'8/GO$2(1),/8,$2             +$"2:8/2                              /12    22                22
    100112   =7/2/12=G,572%5,/12             P,,5*2.%/,#-*02                   0D12    2232420032 K52/2?12
    10012012   &/22&/2                             ;22@,/2.=/20102                0<2    0120B3242C2DBC32 9/A2/2--,2
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    0001     11!"#1$%1                  !&'1()#1*+)%,)&'-1           %1.1   /1011/1 $21)%1,&#)%1
    001001     3)'14)51&25%61                    !&7%4182951*0:;<10:-1       %1.1   010=/101011 $21)%15%#4.1
                                                                                                        0=/1          4&%"&#1
    0>1         !&.'1714&?1                      !'%.4@A1B+1                  %.1    11             $215.'1
    0001     C)&1)?1D)61E1(#1          !5)#1*+)%,)&'-1                %1.1   /1010:10=/1 $21)%19)&.1
    00>1     F&,1!5,@%1G&%.1B)%#)%1         F&)%1H1B)%#)%1*0:<10:-1     %1.1   110=/1010:1 C&#21)%1&1
                                                                                                        0=/1
    001     4)5%61%118)2.1                 F&&1B&%1&1*+)%,)&'-1      %1.1   :/1010:/1 >11)%#1)%11
                                                                                                                       &%2#1
    0011     4)5%61%118)2.1                 F&&1B&%1&1*+)%,)&'-1      %1.1   :/1010:/1 >11)%#1)%11
                                                                                                                       &%2#1
    0001     4)5%61%118)2.1                 F&&1B&%1&1*+)%,)&'-1      %1.1   :/1010:/1 >11)%#1)%11
                                                                                                                       &%2#1
    001     &21)1I&621                       F&&1B&%1&1*+)%,)&'-1      %1.1   11=/1010:1 11)%#1)%11
                                                                                                        1=/1          &%2#1
    0001     C)&1)?1I291(7221%1&14)51   F&%1F)4@?).1*+)%,)&'-1       0:>1    /1010/1 $21)%14&%"&#1
                      J%?),1
    0011=1   I&621%1(261=1/1I&62/1        F&'%&.1G41*3)%10:-1          0:1    0/101/1 $21)%14&%"&#1
    0:::>1
    J%@%)7%1          C)&1)?13&.%<C)7221              F4K&%1                             0:;1    11             11
    000:1     ()1L1C1E221                      F2)%1L51+&%.??1*13)%10:;-1   0:01    0/101010=/1 M%@1&%.1%421)%1&1
                                                                                                                       &%.14)22&61
    J%@%)7%1          0:1:18)2.N#1(&1                   F)%1+7#1                         %.1    11             $21)%1+&%"&#1
    001:1     $%7&.()1D).1&%.1F'1+)5%'1      C&521G,,'1*+)%,)&'-1          %1.1   010=/1011;/1 $21)%14&%"&#1
    001     C)&1)?1H1L51454@1          C&521924)4@1*0:<10:0-1       %1.1   /1011/1 $21)%14&%"&#1
    0011     L,4&N#13)')7A1C)O41$LG1     C&521)1*+)%,)&'-1            0:;01    :/101;10=/1 M%@1)%1&1
    0001     /&21)1F&%))./1                   C1F1(2251*+)%,)&'-1     0:1    /161      +&#19)%P1#45251
                                                                                                                       719)7%1&%&1
    00011     F&Q51?)1/&21)1F&%))./1        C1F1(2251*+)%,)&'-1     0::01    010=/17)51 +&#19)%P1#45251
                                                                                                        9&#1          719)7%1&%&1
    00;:1     4)5%61(&,2'1                      G1@,1*+)%,)&'-1G1K,1   %1.1   0/101010=/1 $21)%19)&.1
                                                           )1G1@,1
    J%@%)7%1          +P%#R13L1                     G,%6)%145'21*0<10:>>-1     0:>1    1/101010=/1 $21)%1+&%"&#1
                                                                      001
                                                                       1                                                                          1
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                                                                                                            69
    10012     22!""#"$2%"2&"'(2()2         !)*#"$"2+,-)(2.0//020122    "2'2     2031425211203142 &"62"27%7)(2
    10012     &"'#%"2%"'28(%9#2                         !)*#"$"2+,-)(2.0//020122    0112      04252:42 ;#-2"2%"9%2
    1001<232   &"'#%"2#"2%")2.(#7,+22                !)*#"$"2+,-)(2.0//020122    01112      14252004=214252 ;#-2"2%"9%2
    01//2                                                                                                   ::4=2%"'214252
                                                                                                                0042
    100112     2#$"2>72                             !)*#"$"2+,-)(2.0//020122    "2'2     0:20314252012 &"62"27%7)(2
                                                                                                                3/42
    10012     2?#+2@#"-%(2                      !)*#"$"2+,-)(2.0//020122    "2'2     20314252203142 &"62"27%7)(2
    100102     2?#+2A%#9)2B*)(#%"2                !)*#"$"2+,-)(2.0//020122    "2'2     <23/4252<23/42 &"62"27%7)(2
    100112     2%"'2&*7(%"2C-#'%,2               !)*#"$"2+,-)(2.0//020122    "2'2     120342521<42 &"62%"'2-()'27)"#-2
                                                                                                                                  "27%7)(2
    1001:2     2B("'2%2%*7D#()2                   !)*#"$"2+,-)(2.0//020122    "2'2     /20314252<2:342 &"62"27%7)(2
    10012     2%2E(?%,226,2F%(-2@#-'#"$2   !)*#"$"2+,-)(2.0//020122    "2'2     /2:34252/203142 &"62"27%7)(2
    10012     2@#-'#"$2%2G$2(()2            !)*#"$"2+,-)(2.0//020122    "2'2     <2:34252203142 &"62"27%7)(2
    10012     26#"$2%2%*72                     !)*#"$"2+,-)(2.0//020122    "2'2     2<3/42522<3/42 &"62"27%7)(2
    1001<2     2C#6#"$2A)%(28)*2F-)2              !)*#"$"2+,-)(2.0//020122    "2'2     14252<203142 &"62"27%7)(2
    100102     2#"2H#")(2%*72.;")2D2)"2#"2+)2   !)*#"$"2+,-)(2.0//020122    "2'2     :042521<42 +%(%-2"27%7)(2
                       )(#)22
    100112     2#"2H#")(2%*72.;")2D2)"2#"2+)2   !)*#"$"2+,-)(2.0//020122    "2'2     :42521203142 +%(%-2"27%7)(2
                       )(#)22
    1001:2     2#"2H#")(2%*72.;")2D2)"2#"2+)2   !)*#"$"2+,-)(2.0//020122    "2'2     :142521<42 +%(%-2"27%7)(2
                       )(#)22
    10012     2#"2H#")(2%*72.;")2D2)"2#"2+)2   !)*#"$"2+,-)(2.0//020122    "2'2     :042521<42 +%(%-2"27%7)(2
                       )(#)22
    10012     2#"2H#")(2%*72.;")2D2)"2#"2+)2   !)*#"$"2+,-)(2.0//020122    "2'2     :42521<42 +%(%-2"27%7)(2
                       )(#)22
    1001/2     2#"2H#")(2%*72.;")2D2)"2#"2+)2   !)*#"$"2+,-)(2.0//020122    "2'2     1<203142521<42 +%(%-2"27%7)(2
                       )(#)22
    100112     2#"2H#")(2%*72.;")2D2)"2#"2+)2   !)*#"$"2+,-)(2.0//020122    "2'2     1/203142521<42 +%(%-2"27%7)(2
                       )(#)22
    10012     2#"2H#")(2%*72.;")2D2)"2#"2+)2   !)*#"$"2+,-)(2.0//020122    "2'2     11203142521<42 +%(%-2"27%7)(2
                       )(#)22
    10012     2"2%2C#6)2                           !)*#"$"2+,-)(2.0//020122    "2'2     04252042 &"62"27%7)(2
    1001<2     2"2C#6)2A)%(2)%+()2                !)*#"$"2+,-)(2.0//020122    "2'2     <2:34252<42 &"62"27%7)(2
                                                                             012
                                                                              2                                                                          2
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                                                                                                               69
    2              222!2"#$%&2 '()*2!+#(%20,,-.20/00&2            1212    22                3#224$5$2
    6700178-168,2         2'(*29#*2$2:%$#2              '()*2!+#(%20,,-.20/00&2       12212   6620;6<2=20/2 4!$%$#22>$>(%2
                                                                                                                  0;-<2
    6700178-168/2         2(*2>24$)>2?($%2$2$(2 '()*2!+#(%20,,-.20/00&2             12212   8<2=282@;,<2 A22>$>(%2
    6700178-16@72         2*22B%2C2$2:((>((2        '()*2!+#(%20,,-.20/00&2       12212   ,<2=2,<2          A22>$>(%2
    6700178-16@02         2))*2$22D5*2                  '()*2!+#(%20,,-.20/00&2       12212   @20;6<2=2@20;6<2 A22>$>(%2
    6700178-16@62         2E$!*2>2$24$)>2                '()*2!+#(%20,,-.20/00&2       12212   /21;,<2=2,20;-<2 A22>$>(%2
    6700178-16@12         2E(#)*2$2?(2F()"(%2            '()*2!+#(%20,,-.20/00&2       12212   /20;6<2=2@<2 A22>$>(%2
    6700178-16-,2         *22D%((22$2?$5(29)(%$2 '()*2!+#(%20,,-.20/00&2        12212   @21;-<2=2@21;-<2 A22>$>(%2
    6700178-16@-2         :!(2(224#$2'(G%()(2            '()*2!+#(%20,,-.20/00&2       12212   0020;6<2=2820;,<2 A22>$>(%2
    6700178-16@02         :!(2:(2(%C2'(G%()(2              '()*2!+#(%20,,-.20/00&2       12212   0020;-<2=2820;,<2 A22>$>(%2
    6700178-16@82         :>>+2                                    '()*2!+#(%20,,-.20/00&2       12212   06<2=20020;,<2 A22H(22%%(*#$%2
                                                                                                                                    >$>(%2
    6700178-16@@2         :22$2I("%*2*2I2        '()*2!+#(%20,,-.20/00&2       12212   00<2=20-<2 A22>$>(%2
    6700178-167@2         I%%$2C2J$#(2B12K!2K!L&2 '"(%2<M"<2N5$24()>%$%+&2    0/882    6-<2=267<2 3#22$5$2
    6700178-167,2         I%%$2C2K12B12N((2+222C%)2 '"(%2<M"<2N5$24()>%$%+&2   0/882    1-<2=26/20;6<2 9%+#22%$!2(2
    6700178-167/2         I%%$2C2K(>!2912M%O2K%12        '"(%2<M"<2N5$24()>%$%+&2   0/8@2    17<2=26-<2 3#22$5$2
    6700178-16072         I%%$2C2$2+2M$2(.I(##2            '"(%2<M"<2N5$24()>%$%+&2   0/8@2    6-<2=267<2 3#22$5$2
    6700178-160/2         :!(2M+22                           '"(%2:$2FN(P(20,8@.20/1,&2      0/1@2    @1<2!*!2          4$2"%P(2#>%(2
                                                                                                                                    !2"%2>$$2
    0//6178717702.177-2   <B%2($<2>%C#2                  '(##O2?%)$20,/-.0/@,&2         0/@82    0120;6<2=2012 !*%$>!2
                                                                                                                  0;-<2
    6700178-17702         92D$#+2J22:%2                        '(##O2?%)$20,/-.0/@,&2         0/0,2    171602=266160<2 3#22$5$2
    6700178-17182         92J22*29##235(%2!(2E%#22           '(##O2?%)$20,/-.0/@,&2         0/802    6/<2=260<2 3#22%(#(22$5$2
    6700178-17702         92J22:%2                             '(##O2?%)$20,/-.0/@,&2         0/6-2    1610602=2         3#22%(#(22$5$2
                                                                                                                  6@1060<2
    6700178-171,2         92J%($2F)(2                          '(##O2?%)$20,/-.0/@,&2         0/812    -120;-<2=2102=2 3#22$5$2
                                                                                                                  0;-<2
    6700178-170@2         92J2*2Q$22                            '(##O2?%)$20,/-.0/@,&2         0/--2    1,2=26/1060<2 3#22$5$2
    6700178-17012         9222B%(2#+2                       '(##O2?%)$20,/-.0/@,&2         0/-02    112=266<2         3#22%(#(22$5$2
    6700178-17782         9222+$#2                         '(##O2?%)$20,/-.0/@,&2         0/172    --2=21-<2         3#22%(#(22$5$2
    6700178-176-2         9222'(5(%(2                      '(##O2?%)$20,/-.0/@,&2         0/062    6,2=266<2         3#22$5$2
    6700178-17082         9##2:*(!(%2                            '(##O2?%)$20,/-.0/@,&2         0/-02    172=26-<2         3#22$5$2
                                                                              012
                                                                               2                                                                             2
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                                                                                                  69
    001002   2 !"#2$%2&%%%'2          (%)'!!*2+%,2-0./100/1.22    0/32    31242562        7!2%,2!,"2,8#2
    001152   9#2:,;%'2<,#2'=>2       (%)'!!*2+%,2-0./100/1.22    0//2    31624262       7!2%,2,8#2
                    %?;%'2
    00112   ?%,"2=>2@#!2                     (%)'!!*2+%,2-0./100/1.22    0/12    /20A16242162   7!2%,2,8#2
    001/2   %?2,"2B%<#*2+'2C;;#2             (%)'!!*2+%,2-0./100/1.22    0/52    120A1624252    7!2%,2,8#2
                                                                                                    0A162
    001302   %?2D%=2E),<2                      (%)'!!*2+%,2-0./100/1.22    0/512    3520A16242062   7!2%,2,8#2
    001502   %?2D%=#2C!"<,<2=>2%?9#2F$2   (%)'!!*2+%,2-0./100/1.22    20/.2 036242062       %!2%,2,8#2
    00152   %?;%'*2:,;%'2                   (%)'!!*2+%,2-0./100/1.22    0/12    16242162       >%!2%,2;;2
    00112   )=>%<>2$%2G"%2              (%)'!!*2+%,2-0./100/1.22    0/52    32420.62        7!2%,2,8#2
    001352   H,9=2I=2                           (%)'!!*2+%,2-0./100/1.22    0/12    3/6242/62       7!2%,2,8#2
    001512   H,9=2I=2                           (%)'!!*2+%,2-0./100/1.22    0/2    320A62420.2    %!%2!=>%<;>2
                                                                                                    3A162'=>2
                                                                                                    <,#2
    00112   H?27,2                             (%)'!!*2+%,2-0./100/1.22    0/32 152423020A62       7!2%,2!,"2,8#2
    001132   H%2,"2J=2K=2                      (%)'!!*2+%,2-0./100/1.22    0/.2 3120A16242302       7!2%,2,8#2
                                                                                                    0A162
    00132   @827,'"2                          (%)'!!*2+%,2-0./100/1.22    0/5.2 316242/20A.62      7!2%,2!,"2,8#2
    00102   G%'"22                      (%)'!!*2+%,2-0./100/1.22    0/1/2 1524230562     7!2%,2,8#2
    0010/2   G,"2,2+"2                       (%)'!!*2+%,2-0./100/1.22    0/112 3.2420/0562       7!2%,2,8#2
    00112   G%2H%,%"2=%2&,L!=?2           (%)'!!*2+%,2-0./100/1.22    0/102 20A624202       7!2%,2,8#2
                                                                                                    0A162
    0013/2   J%'=>2%$22F"2                   (%)'!!*2+%,2-0./100/1.22    0/12 320A1624232       7!2%,2!,"2,8#2
                                                                                                    0A162
    00112   E<>2"8,=2=2C>!%,=2            (%)'!!*2+%,2-0./100/1.22    0/552 520A9242112       7!2%,2!,"2,8#2
                                                                                                    0A162
    001332   E%%,<2                           (%)'!!*2+%,2-0./100/1.22    0/5/2 1162423362          7!2%,2!,"2,8#2
    001052   K2I!!2B%2:?2#=2                    (%)'!!*2+%,2-0./100/1.22    0/132 3/242.62           7!2%,2,8#2
    001112   K8,<2G#=2                         (%)'!!*2+%,2-0./100/1.22    0//2 6242062          7!2%,2#%,=2
    0010.2   :,2%$2&%%%'2                      (%)'!!*2+%,2-0./100/1.22    0/12 31242/62           7!2%,2,8#2
    001.2   :<>=?2C%"2                          (%)'!!*2+%,2-0./100/1.22    0/52 320A16242562      7!2%,2,8#2
    00132   7,2:?2E%,%2                          (%)'!!*2+%,2-0./100/1.22    0/502 12423162           7!2%,2,8#2
    001.2   7,2=%2I#>,<=%,2                     (%)'!!*2+%,2-0./100/1.22    20/332 305242        7!2%,2!,"2,8#2
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    002   2!2                           "#$%&''(2)#* +2,0-./0.0-12    0.-2    01222         '2#+2$+562
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    0032   7#++!2829 :2                      "#$%&''(2)#* +2,0-./0.0-12    0.2 3020;4222-2        '2#+2'+<2$+562
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    002   "<2=#662> +2+282> %+!2,?2@##<2   "#$%&''(2)#* +2,0-./0.0-12    0.02 322242           '2#+2$+562
                    A$#12,?2A$#262B+<12
    0002   A$#+!262+!2                    "#$%&''(2)#* +2,0-./0.0-12    0.2 20;-4222042      '2#+2$+562
    0032   A$#+!2> %62"'2>+22#C2D#:62    "#$%&''(2)#* +2,0-./0.0-12    0.02 301222           '2#+2$+562
                    ,A#*2E :2F862> :2A52?+2?*:12                                                 0142
    0002   A$#62#C2> +:2F'62                  "#$%&''(2)#* +2,0-./0.0-12    0.32 1222-142       '2#+2'+<2$+562
    002   A!82F'%62C#*282A$#* 62     "#$%&''(2)#* +2,0-./0.0-12    0.32 301222           '2#+2'+<2$+562
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    0..3.02   A<:2C#24F82A$#* 642           "#$%&''(2)#* +2,0-./0.0-12    0.12 020;4222042      '2#+2G#6H#<2&82
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    0012   A<:2C#2@+<* I62"$G2             "#$%&''(2)#* +2,0-./0.0-12    +2<2   004222.20;2     #'2#+2GG2
    00-2   A<:2C#2AG2#C2?*$2            "#$%&''(2)#* +2,0-./0.0-12    $20.-2 004222020;-42   G+$'2#+2GG2
    0012   A<:2C#2F82AG2#C20.02          "#$%&''(2)#* +2,0-./0.0-12    0.02 04222020;42      #'2#+2GG2
    00.2   A<:2C#29 68+!#+2#2J++#+'2   "#$%&''(2)#* +2,0-./0.0-12    $20.332 034222042       #'2#+2GG2
                    A$#+!2
    00132   A<:2C#292F8+%2F8(2IK#<2        "#$%&''(2)#* +2,0-./0.0-12    0.02 020;4222.42        #'2#+2$+562*#+<2
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    00112   A<:2C#29G#+62C#2KH:2          "#$%&''(2)#* +2,0-./0.0-12    +2<2     004222-42      #'2#+2GG2
    002   F82?<5+2F'2                    "#$%&''(2)#* +2,0-./0.0-12    0.12      32220142 '2#+2$+562
    00.2   F82= *GC2A#:2                    "#$%&''(2)#* +2,0-./0.0-12    0.32      301222      '2#+2$+562
                                                                                                       0142
    0012   F82"!829 :2                         "#$%&''(2)#* +2,0-./0.0-12    0.132      3222342      '2#+2$+562
    0002   F82A$#+!2F'2                     "#$%&''(2)#* +2,0-./0.0-12    0.302      22242      '2#+2'+<2$+562
    002   F82A$#* 62                       "#$%&''(2)#* +2,0-./0.0-12    0.12      12342        '2#+2$+562
    00302   F#2BG2>:6'C278:6$'':2A#+!2       "#$%&''(2)#* +2,0-./0.0-12    0.2      3120;4222.2 '2#+2'+<2$+562
                                                                                                       0;42
    0032   F#*##&I62K<2                      "#$%&''(2)#* +2,0-./0.0-12    0.102      4222320;-42 '2#+2'+<2$+562
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    001222     C:6:*&2D%$,2:24?*:2ED:=2&2F6%8:2 '9:2G68$2-H$:,>$%%=12            2&2     <203425242     G8:*2$2>>%2
                      @6&428%682
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                      @6&428%682                                                                                  0342
    001212     C:6:*&2D%$,2:24?*:2ED:=2&2F6%8:2 '9:2G68$2-H$:,>$%%=12            2&2     .20342522042     G8:*2$2>>%2
                      @6&428%682
    00122     C:6:*&2D%$,2:24?*:2ED:=2&2F6%8:2 '9:2G68$2-H$:,>$%%=12            2&2     <2034252242     G8:*2$2>>%2
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    00122     C:6:*&2D%$,2:24?*:2ED:=2&2F6%8:2 '9:2G68$2-H$:,>$%%=12            2&2     203425202      G8:*2$2>>%2
                      @6&428%682                                                                                  0342
    00122     C:6:*&2D%$,2:24?*:2ED:=2&2F6%8:2 '9:2G68$2-H$:,>$%%=12            2&2     0/20342522      G8:*2$2>>%2
                      @6&428%682                                                                                  0342
    C$)2          E($9:82                                     E2A$8$2                            &2      22                 H$*$%2G(6*2$2G>%2
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    001.<232   %6*2:$2LI*2                             &2E9,,%82-H$:,>$%%=12            0/<82     4252<42         22
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    001/02     M$=2E($9:82$D2@,%6(2'I6$2F672          %6($,62-H$:,>$%%=12                0/2      01425242         !6*2$2(782
    001/2     M$=2E($9:82$D2@,%6(2'I6$2F$9%2 %6($,62-H$:,>$%%=12                         0/2      01425242         !6*2$2(782
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    001.2     M$=2E($9:82$D2@,%6(2'I6$2!2           %6($,62-H$:,>$%%=12                0/2      42520142         !6*2$2(782
    001/22     M$=2E($9:82$D2@,%6(2'I6$2E72 %6($,62-H$:,>$%%=12                        0/2      42520142         !6*2$2(782
    001/2     M$=2E($9:82$D2@,%6(2'I6$2E652           %6($,62-H$:,>$%%=12                0/2      42520142         !6*2$2(782
    001/12     M$=2E($9:82$D2@,%6(2'I6$22           %6($,62-H$:,>$%%=12                0/2      01425242         !6*2$2(782
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    0012     >#(!)&2683(:$2                        %(&&(7268#3"827(#32+001,201-2 )2.2   /10212/02      =(&2!)2):$2
    ?)@)!A)2          B!8#8(#2!52C!8#(7823(552              %(&$!)2                            ).2    22              =(&2!)2D):$2
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3/46.N..50674089:;0<                                GEGFD              CICICGJ CICICGJGL C?EEE?EEEMEE L CE?EEE?EEEMEE LCE?EEE?EEEMEE        -0               -                B
50674089:;0<-4.>@:4/8                           XA9CFCJD          CICICGJG CICICGEL    FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE             -0               -                B
@.09671.<0PN74.<9:;0<                            ECX-EDKY9@      CICICGJG CICICGEL F?FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE              -0               -                B
3/46.N..50674089:;0<                                GJKCK              CICICGJG CICICGEL CE?FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE             -0               -                B
50674089:;0<-4.>@:4/8                           WRJEKDF        CICICGE CICICGCL           Q L      FEE?EEEMEE L FEE?EEEMEE              -0               -                B
@11/0Z50674089:;0<                                    2SAFGGHDK          CICICGE CICICGCL    FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE             -0               -                B
@.09671.<0PN74.<9:;0<                            ECX-DHY9@      CICICGE CICICGCL F?FEE?EEEMEE L CE?EEE?EEEMEE LCE?EEE?EEEMEE        -0               -                B
50674089:;0<-4.>@:4/8                           5NRCHFH             CICICGC CICICGL           Q L      FEE?EEEMEE L FEE?EEEMEE              -0               -                B
[406/.9671.<9:;0<                                     2SAGKDEJK           CICICGC CICICGL    FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                -                B
3/46.N..50674089:;0<                                GHCFF              CICICGC CICICGHL F?FEE?EEEMEE L D?CFE?EEEMEE L J?KFE?EEEMEE L D?CFE?EEEMEE                 -                B
R0P0S4T.                                                GHCFF@             CICICGC CICICGHL F?FEE?EEEMEE L H?FEE?EEEMEE L J?KFE?EEEMEE L H?FEE?EEEMEE                 -                B
3/46.N..50674089:;0<                                GHCFJ              CICICGC CICICGHL CH?CFE?EEEMEE L F?FEE?EEEMEE L G?EEE?EEEMEE L F?FEE?EEEMEE                -                B
R0P0S4T.                                                GHCFJ@             CICICGC CICICGHL CH?CFE?EEEMEE L H?FEE?EEEMEE L G?EEE?EEEMEE L H?FEE?EEEMEE                -                B
50674089:;0<-4.>@:4/8                           5NRCHKD             CICICG CICICGHL           Q L      FEE?EEEMEE L FEE?EEEMEE              -0               -                B
[V/09/.<3/450674089:;0<                             [X2CEEHF          CICICG CICICGHL    FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                -                B
50674089:;0<-4.>@:4/8                           X9CDDGKC        CCICJICG CICICGDL F?FEE?EEEMEE L F?EEE?EEEMEE LF?EEE?EEEMEE L F?EEE?EEEMEE         -                B
50674089:;0<-4.>@:4/8                           5NRWEHDFJ\C   CICICGH CICICGDL           Q L      FEE?EEEMEE L FEE?EEEMEE L ?EEE?EEEMEE                 -                B
50674089:;0<-4.>@:4/8                           X9CDDGKF           CICICGH CICICGDL    FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                -                B
50674089:;0<-4.>@:4/8                           X9CDDGKK          CICICGH CICICGDL F?FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                 -                B
-./01N74.<94;4./0                                  XRXQCDDHEG       CICICGH CICICGDL CE?FEE?EEEMEE L CF?EEE?EEEMEE LCF?EEE?EEEMEE L CF?EEE?EEEMEE         -                B
S/66/0-./0150674089:;0<                           S-EJGKG         CICICGD CICICGFL    FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                -                B
50674089:;0<-4.>@:4/8                           X9CDFHKF          CICICGD CICICGFL F?FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                 -                B
-./01N74.<94;4./0                                  XRXCDDHG          CICICGD CICICGFL CE?FEE?EEEMEE L CF?EEE?EEEMEE LCF?EEE?EEEMEE L CF?EEE?EEEMEE         -                B
50674089:;0<-4.>@:4/8                           X9CDFHKK          CICICGD CICICGFL F?FEE?EEEMEE L F?EEE?EEEMEE LF?EEE?EEEMEE L F?EEE?EEEMEE         -                B
50674089:;0<-4.>@:4/8                           5NRWEGHCJ CIHCICGD HICICGKL           Q L      FEE?EEEMEE L FEE?EEEMEE L D?EEE?EEEMEE                 -                B
S/66/0-./0150674089:;0<                           S-EDFJHE           CICICGF CICICGKL    FEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE                -                B
R0P:4T50674089:;0<                                   3BDEECHK           CICICGF HICICGKL C?FEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE                 -                B
917:=/9671.<9:;0<                                    ]^XGCJKDGG       CICICGF HICICGKL H?FEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                 -                B
50674089:;0<-4.>@:4/8                           X9CDDH          CICICGF HICICGKL ?FEE?EEEMEE L CE?EEE?EEEMEE LCE?EEE?EEEMEE L CE?EEE?EEEMEE          -                B
O/>10P650674089:;0<                                  N]FCH            CICICGF CICICGKL C?FEE?EEEMEE L CE?EEE?EEEMEE LCE?EEE?EEEMEE L CE?EEE?EEEMEE      20T0V0             NB
3P4150674089:;0<                                    _K`JGQHQHJ     CICICGF HICICGKL ?FEE?EEEMEE L J?EEE?EEEMEE L?EEE?EEEMEE L J?EEE?EEEMEE           -                B
50.40./0150674089:;0<                              FEDFEC          CICICGF HICICGKL ?FEE?EEEMEE L F?EEE?EEEMEE L?EEE?EEEMEE L F?EEE?EEEMEE           -                B
]<150P:0/.<9:;0<                                      B^CEHCK           CICICGF HICICGKL ?FEE?EEEMEE L CE?EEE?EEEMEE L?EEE?EEEMEE L CE?EEE?EEEMEE         -                B
50674089:;0<-4.>@:4/8                           5NWWaGHCDGQJ     CICICGK HICICGKL    FEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE             -0               -                B
O/>10P650674089:;0<                                  N]FCDGJ            CICICGK HICICGKL C?FEE?EEEMEE L F?EEE?EEEMEE LCE?EEE?EEEMEE L F?EEE?EEEMEE           -                B
20T0V0                                                      20T0V0             CICICGK HICICGKL C?FEE?EEEMEE L F?EEE?EEEMEE LCE?EEE?EEEMEE L F?EEE?EEEMEE        20T0V0             NB
50674089:;0<-4.>@:4/8                           5NRWEGHCD\G     HICICGK HICICGJL           Q L C?EEE?EEEMEE L C?EEE?EEEMEE               [A^D               -                B
50674089:;0<-4.>@:4/8                           5NRWEGHCD\G     HICICGK HICICGJL C?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE                 -                B
2MNM3/450674089:;0<                                  FHDFDDEJ        HICICGK HICICGJL ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE                 -                B
2./8S7.71506M9:;0<                                    CEJ               HICICGK HICICGJL D?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE                 b                B
-./0120/03/450674089:;0</..6=74>?@      GKEJFE             HICICGK HICICGJL F?EEE?EEEMEE L K?EEE?EEEMEE L K?EEE?EEEMEE L K?EEE?EEEMEE                 b                B
8//8B:;1<46506M9:;0<                               X99EECCFD          DICICGK HICICGJL CC?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE                -                B
O4=450674089:;0<                                     O5CHJH          FIEICGK HICICGJL CH?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE                b                B
N.M71N74;176R/0650674089:;0<                     R9aFFCJHC       FIICGK HICICGJL CF?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE                -                B
9>7==976.:50674089:;0<                               JGHC\EE\E          KIHICGK HICICGJL CJ?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE                b                B
-./0120/03/450674089:;0</..6=74>?@      GKECK             KIHICGK HICICGJL C?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE                b                B
50674089:;0<-4.>@:4/8                           5NRWEGGJGFJ     HICICGJ HICICGL           Q L C?EEE?EEEMEE L C?EEE?EEEMEE               [A^D               -                B
50674089:;0<-4.>@:4/8                           5NWWaCKFHKQC   HICICGJ HICICGL C?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE L C?EEE?EEEMEE                 -                B
2MNM3/450674089:;0<                                  FEKFEKEC        HICICGJ HICICGL ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE L ?EEE?EEEMEE                 -                B
N.M71N74;176R/0650674089:;0<                     R9aFFCFD        HICICGJ HICICGL D?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                 b                B
-./0120/03/450674089:;0</..6=74>?@      GKEC             HICICGJ HICICGL G?EEE?EEEMEE L CE?EEE?EEEMEE LCE?EEE?EEEMEE L CE?EEE?EEEMEE          b                B
Rc/0.050674089:;0<                                  FFGJKE             HICICGJ HICICGL CG?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE L F?EEE?EEEMEE                b                B




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                                                          Case 20-10343-LSS                   Doc 10296 Filed 09/06/22
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                                   98883                           3783    198393 !5"393 29# 53 53 $ 7885 3%3                %983%3       2&&8&93%3 1'7932763!'7653   !("5 3)!*1!+,3
-./01.2345.67189:41;2                           <3=>?=@AB=B        C@C@DE C@C@DF GHIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ                L                M
-./01.2345.67189:41;2                           NO?=>@=@AEH@=J        C@C@D C@C@DDJF           = F @IJJJIJJJKJJ F @IJJJIJJJKJJ               PQOH               7                M
-./01.2345.67189:41;2                           3:?>@@B@AH=B        C@C@D C@C@DDF @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ                 7                M
RKSKT;1-./01.2345.6                                  B@=GJJ=BG=A          C@C@D C@C@DDF GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ                 7                M
S8K0US015U0/V;./-./01.2345.6                     V3?BB@DJJA           C@C@D C@C@DDF HIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                 L                M
U.8-./K345.6                                          7W@GBH             C@C@D C@C@DDF DIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ          L                M
VX;.8.-./01.2345.6                                  BBA=A@H               C@C@D C@C@DDF @DIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ         L                M
-./01.2345.67189:41;2                           <3>@=@B@AB=E         C@C@D C@C@DDF GDIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                L                M
T;1/8S88-./01.2345.6                                MRJJADG@              C@C@D C@C@DDF HIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ             7.               L                M
TY1U-./01.2345.6                                    ZD[EDJE=A@E         C@C@D C@C@DDF DIJJJIJJJKJJ F @GIJJJIJJJKJJ F@GIJJJIJJJKJJ F @GIJJJIJJJKJJ      R.\.].             SM
-./01.2345.67189:41;2                           3:?>@@B@AH=B        C@C@DD C@C@DDJF @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ                 7                M
RKSKT;1-./01.2345.6                                  B@=GJ@=AJG=E          C@C@DD C@C@DDJF GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ                 7                M
78;.UR.;.T;1-./01.2345.6;88/^019I:      DAJ=EB=DB              C@C@DD C@C@DDJF HIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                 7                M
S8K0US015U0/V;./-./01.2345.6                     V3?BB@DBHE             C@C@DD C@C@DDJF DIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                 7                M
_6U-.Y4.;86345.6                                      _N:JJJHJD              C@C@DD C@C@DDJF @HIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                7                M
VX;.8.-./01.2345.6                                  BBA=EBA               C@C@DD C@C@DDJF @DIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ         7                M
:41;2.`01;29-./01.2345.6                            3M?AE@EJ=JJ         C@C@DD C@C@DDJF GDIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                7                M
U.8-./K345.6                                          7R:@HDH@D@JJ          C@C@DD C@C@DDJF HIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                7                M
TY1U-./01.2345.6                                    ZDJ[EDJEA@E         C@C@DD C@C@DDJF DIJJJIJJJKJJ F @GIJJJIJJJKJJ F@GIJJJIJJJKJJ F @GIJJJIJJJKJJ         7                M
-./01.2345.67189:41;2                           NO?=>@=JEBHJD=H        C@C@DDJ C@C@DD@F           = F @IJJJIJJJKJJ F @IJJJIJJJKJJ               PQOH               7                M
-./01.2345.67189:41;2                           3:?>@JEBH@J=J        C@C@DDJ C@C@DD@F @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ                 7                M
-.81.8;.U-./01.2345.6                              B@=GJGD@G=G           C@C@DDJ C@C@DD@F GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ                 7                M
>.1US81-.Y4.;86345.6                               7M<JAJA              C@C@DDJ C@C@DD@F HIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                 7                M
-.Y0/81;U-./01.2345.6N];;                       aMD@JE@            C@C@DDJ C@C@DD@F DIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                 7                M
_6U-.Y4.;86345.6                                      _N:HJJ@AG@             C@C@DDJ C@C@DD@F @HIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                7                M
VX;.8.-./01.2345.6                                  BBA=DBGE               C@C@DDJ C@C@DD@F @DIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ         7                M
-./01.2345.689S88../6Ub.;ZP9[         HGDJ=G@B              C@C@DDJ C@C@DD@F GDIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                7                M
U.8-./K345.6                                          7R:@HDH@D@J@          C@C@DDJ C@C@DD@F HIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ F BIJJJIJJJKJJ                7                M
TY1U-./01.2345.6                                    ZD@[EDJEA@E         C@C@DDJ C@C@DD@F DIJJJIJJJKJJ F @GIJJJIJJJKJJ F@GIJJJIJJJKJJ F @GIJJJIJJJKJJ         7                M
7;1T;1-./01.2345.6                               M_<=JJJE         @JC@DC@DDJ C@C@DD@F B@IJJJIJJJKJJ F GBIJJJIJJJKJJ FGBIJJJIJJJKJJ F GBIJJJIJJJKJJ          7                M
TY1U-./01.2345.6                                    ZD@[EDGD=BG=H      @JC@DC@DDJ C@C@DD@F EAIJJJIJJJKJJ F @JIJJJIJJJKJJ FGBIJJJIJJJKJJ F @JIJJJIJJJKJJ          7                M
>0U-./01.2345.6                                       >TM=BAGG@       @JC@DC@DDJ C@C@DD@F EAIJJJIJJJKJJ F @BIJJJIJJJKJJ FGBIJJJIJJJKJJ F @BIJJJIJJJKJJ          7                M
78;.US018631518;.                                  <<c=G@@GH       @JC@DC@DDJ C@C@DD@F EAIJJJIJJJKJJ F @BIJJJIJJJKJJ FGBIJJJIJJJKJJ F @BIJJJIJJJKJJ          7                M
-./01.2345.67189:41;2                           NO?>@JEBHHE=@      C@C@DD@ C@C@DDGF           = F @IJJJIJJJKJJ F @IJJJIJJJKJJ               PQOH               7                M
-./01.2345.67189:41;2                           3:?>@JEBHH=        C@C@DD@ C@C@DDGF @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ                 7                M
-.81.8;.U-./01.2345.6                              B@=GJH@G=@           C@C@DD@ C@C@DDGF GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ                 7                M
-.Y0/81;U-.Y4.;86                                         aMD@JDB              C@C@DD@ C@C@DDGF HIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ          7                M
VX;.8.-./01.2345.6                                  ABHJB                C@C@DD@ C@C@DDGF @HIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ         7                M
7;1T;1-./01.2345.6                               N<RJJ@JHJ             C@C@DD@ C@C@DDGF GHIJJJIJJJKJJ F GBIJJJIJJJKJJ FGBIJJJIJJJKJJ F GBIJJJIJJJKJJ         7                M
U.8-./K345.6                                          7R:@HDH@D@JG          C@C@DD@ C@C@DDGF HDIJJJIJJJKJJ F @GIJJJIJJJKJJ F@GIJJJIJJJKJJ F @GIJJJIJJJKJJ         7                M
TY1U-./01.2345.6                                    ZDG[EDJEA@E        C@C@DD@ C@C@DDGF A@IJJJIJJJKJJ F GBIJJJIJJJKJJ FGBIJJJIJJJKJJ F GBIJJJIJJJKJJ         7                M
>0U-./01.2345.6                                       >TMBAGDA          C@C@DD@ C@C@DDGF AIJJJIJJJKJJ F @BIJJJIJJJKJJ F@BIJJJIJJJKJJ F @BIJJJIJJJKJJ         7                M
78;.US018631518;.                                  <<c=G@EJG          C@C@DD@ C@C@DDGF AIJJJIJJJKJJ F @BIJJJIJJJKJJ F@BIJJJIJJJKJJ F @BIJJJIJJJKJJ         7                M
-./01.2345.67189:41;2                           NO?>@BHDABH=:        C@C@DDG C@C@DDF           = F @IJJJIJJJKJJ F @IJJJIJJJKJJ               PQOH               7                M
-./01.2345.67189:41;2                           3:?=>@=BHDABB=@        C@C@DDG C@C@DDF @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ                 7                M
-.81.8;.U-./01.2345.6                              B@=GJBJ@=E           C@C@DDG C@C@DDF GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ                 7                M
>.1US81-.Y4.;86345.6                               -<>=JE@             C@C@DDG C@C@DDF HIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ          7                M
VX;.8.-./01.2345.6                                  ABHAB                C@C@DDG C@C@DDF @HIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ         7                M
7;1T;1-./01.2345.6                               N<R=JJ@GJD             C@C@DDG C@C@DDF GHIJJJIJJJKJJ F GBIJJJIJJJKJJ FGBIJJJIJJJKJJ F GBIJJJIJJJKJJ         7                M
3U;1.;R.;.-./01.2345.6                           `3<JGJJGB           C@C@DDG C@C@DDF HDIJJJIJJJKJJ F @GIJJJIJJJKJJ F@GIJJJIJJJKJJ F @GIJJJIJJJKJJ         7                M
TY1U-./01.2345.6                                    ZD[EDJE=A=@E        C@C@DDG C@C@DDF A@IJJJIJJJKJJ F GBIJJJIJJJKJJ FGBIJJJIJJJKJJ F GBIJJJIJJJKJJ         7                M
>0U-./01.2345.6                                       >TM=BHBJJGA            C@C@DDG C@C@DDF AIJJJIJJJKJJ F @BIJJJIJJJKJJ F@BIJJJIJJJKJJ F @BIJJJIJJJKJJ         7                M
78;.US018631518;.                                  <<c=G@EBJ@          C@C@DDG C@C@DDF AIJJJIJJJKJJ F @BIJJJIJJJKJJ F@BIJJJIJJJKJJ F @BIJJJIJJJKJJ         7                M
-./01.2345.67189:41;2                           NO?>@BHDEGE=J        C@C@DD C@C@DDHF           = F @IJJJIJJJKJJ F @IJJJIJJJKJJ               PQOH               7                M
-./01.2345.67189:41;2                           3:?=>@=BHDEEJ@         C@C@DD C@C@DDHF @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ F @IJJJIJJJKJJ                 7                M
S8K0US015U0/V;./-./01.2345.6                     V3?BBG@@E            C@C@DD C@C@DDHF GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ F GIJJJIJJJKJJ                 7                M
>.1US81-.Y4.;86345.6                               -<>=JE@:            C@C@DD C@C@DDHF HIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ          7                M
VX;.8.-./01.2345.6                                  AA=E@JH               C@C@DD C@C@DDHF @HIJJJIJJJKJJ F @JIJJJIJJJKJJ F@JIJJJIJJJKJJ F @JIJJJIJJJKJJ         7                M
7;1T;1-./01.2345.6                               N<RJJ@GAG             C@C@DD C@C@DDHF GHIJJJIJJJKJJ F GBIJJJIJJJKJJ FGBIJJJIJJJKJJ F GBIJJJIJJJKJJ         7                M
:1;20U801U-./01.2345.6                               M<3=EDH=EH=@H=JJ       C@C@DD C@C@DDHF HDIJJJIJJJKJJ F @GIJJJIJJJKJJ F@GIJJJIJJJKJJ F @GIJJJIJJJKJJ         7                M
TY1U-./01.2345.6                                    ZDH[EDJE=A=@E        C@C@DD C@C@DDHF A@IJJJIJJJKJJ F GBIJJJIJJJKJJ FGBIJJJIJJJKJJ F GBIJJJIJJJKJJ         7                M
78;.US018631518;.                                  <<c=JJJ=@HAG=AHB@      C@C@DD C@C@DDHF AIJJJIJJJKJJ F @BIJJJIJJJKJJ F@BIJJJIJJJKJJ F @BIJJJIJJJKJJ         7                M



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-./01.2345.67189:41;2                           <=>?@ABCDBEA     FG@G@BB FG@G@BBAH            E H @IJJJIJJJKJJ H @IJJJIJJJKJJ               LM=               7                N
-./01.2345.67189:41;2                           3:>?@ABCCJE@     FG@G@BB FG@G@BBAH @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ                  7                N
O8K0PO015P0/Q;./-./01.2345.6                     Q3>AAR@D        FG@G@BB FG@G@BBDH RIJJJIJJJKJJ H RIJJJIJJJKJJ H RIJJJIJJJKJJ H RIJJJIJJJKJJ                  7                N
?.1PO81-.S4.;86345.6                               -T?EFJC@FM         FG@G@BB FG@G@BBAH IJJJIJJJKJJ H @AIJJJIJJJKJJ H@AIJJJIJJJKJJ H @AIJJJIJJJKJJ           7                N
O8K0PO015P0/Q;./-./01.2345.6                     Q3>AAR@DA        FG@G@BB FG@G@BBAH @BIJJJIJJJKJJ H AIJJJIJJJKJJ H AIJJJIJJJKJJ H AIJJJIJJJKJJ                 7                N
7;1U;1-./01.2345.6                               <TVJJ@F@B          FG@G@BB FG@G@BBAH RIJJJIJJJKJJ H RAIJJJIJJJKJJ HRAIJJJIJJJKJJ H RAIJJJIJJJKJJ          7                N
:1;20P801P-./01.2345.6                               NT3ECDFDFF         FG@G@BB FG@G@BBAH BIJJJIJJJKJJ H @RIJJJIJJJKJJ H@RIJJJIJJJKJJ H @RIJJJIJJJKJJ          7                N
LW/2;;2-.S4.;86345.6                              XBAYCBJCEDE@C     FG@G@BB FG@G@BBAH D@IJJJIJJJKJJ H RAIJJJIJJJKJJ HRAIJJJIJJJKJJ H RAIJJJIJJJKJJ          7                N
78;.PO018631518;.                                  TTZJJJDADAJDJA      FG@G@BB FG@G@BBAH DIJJJIJJJKJJ H @AIJJJIJJJKJJ H@AIJJJIJJJKJJ H @AIJJJIJJJKJJ          7                N
-.S4.;86-./01.2345.67189:41;2                 <=>?@AB@F FG@G@BBA FG@G@BBDH              E H @IJJJIJJJKJJ H @IJJJIJJJKJJ               LM=               7                N
-.S4.;86-./01.2345.67189:41;2                 3:>?@AB@D     FG@G@BBA FG@G@BBDH @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ                  7                N
?.1PO81-.S4.;86345.6                               -T?EFJC@F3         FG@G@BBA FG@G@BBDH IJJJIJJJKJJ H @AIJJJIJJJKJJ H@AIJJJIJJJKJJ H @AIJJJIJJJKJJ           7                N
O8K0PO015P0/Q;./-./01.2345.6                     Q3>AARFJA        FG@G@BBA FG@G@BBDH @BIJJJIJJJKJJ H AIJJJIJJJKJJ H AIJJJIJJJKJJ H AIJJJIJJJKJJ                 7                N
7;1U;1-./01.2345.6                               <TVJJ@FDF          FG@G@BBA FG@G@BBDH RIJJJIJJJKJJ H RAIJJJIJJJKJJ HRAIJJJIJJJKJJ H RAIJJJIJJJKJJ          7                N
:1;20P801P-./01.2345.6                               NT3CEFBEFREJJ    FG@G@BBA FG@G@BBDH BIJJJIJJJKJJ H @RIJJJIJJJKJJ H@RIJJJIJJJKJJ H @RIJJJIJJJKJJ          7                N
LW/2;;2-.S4.;86345.6                              XBDYCBJCEDE@C     FG@G@BBA FG@G@BBDH D@IJJJIJJJKJJ H RAIJJJIJJJKJJ HRAIJJJIJJJKJJ H RAIJJJIJJJKJJ          7                N
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Q;[186\080P-./01.2345.6                             LM@E@B@EJBCA@E@RD FG@G@BBD FG@G@BBCH             E H @IJJJIJJJKJJ H @IJJJIJJJKJJ               LM=               7                N
Q;[186\080P-./01.2345.6                             L<@E@B@EJBCA@E@@D FG@G@BBD FG@G@BBCH @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ                   7                N
O8K0PO015P0/Q;./-./01.2345.6                     Q3JAAR@D        FG@G@BBD FG@G@BBCH RIJJJIJJJKJJ H RIJJJIJJJKJJ H RIJJJIJJJKJJ H RIJJJIJJJKJJ                  7                N
:41;2.]01;29-./01.2345.6                            :V>EFDACRCJEJJ      FG@G@BBD FG@G@BBCH IJJJIJJJKJJ H @JIJJJIJJJKJJ H@AIJJJIJJJKJJ H @JIJJJIJJJKJJ           7                N
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O8K0PO015P0/Q;./-./01.2345.6                     Q3JAAR@C        FG@G@BBD FG@G@BBCH @BIJJJIJJJKJJ H AIJJJIJJJKJJ H AIJJJIJJJKJJ H AIJJJIJJJKJJ                 7                N
3.8;..8P-./01.2345.6                                @ACFF@CB           FG@G@BBD FG@G@BBCH RIJJJIJJJKJJ H RAIJJJIJJJKJJ HRAIJJJIJJJKJJ H RAIJJJIJJJKJJ          7                N
:1;20P801P-./01.2345.6                               NT3ECEJBDB        FG@G@BBD FG@G@BBCH BIJJJIJJJKJJ H @RIJJJIJJJKJJ H@RIJJJIJJJKJJ H @RIJJJIJJJKJJ          7                N
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LW/2;;2-.S4.;86345.6                              XBCYCBJCEDE@C3:O FG@G@BBD FG@G@BBCH D@IJJJIJJJKJJ H RAIJJJIJJJKJJ HRAIJJJIJJJKJJ H RAIJJJIJJJKJJ          7                N
78;.PO018631518;.                                  TTZEJJJEBAA@EDCF FG@G@BBD FG@G@BBCH DIJJJIJJJKJJ H @AIJJJIJJJKJJ H@AIJJJIJJJKJJ H @AIJJJIJJJKJJ            7                N
:41;2.NW2//-./01.2://2;8;.                        <^JJJ@JAJBD         FG@G@BBD FG@G@BBCH @J@IJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ         7                N
Q;[186\080P-./01.2345.6                             LM@E@B@EJBCA@E@RC FG@G@BBC FG@G@BBH             E H @IJJJIJJJKJJ H @IJJJIJJJKJJ               LM=               7                N
Q;[186\080P-./01.2345.6                             L<@E@B@EJBCA@E@@C FG@G@BBC FG@G@BBH @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ                   7                N
O8K0PO015P0/Q;./-./01.2345.6                     Q3JAARB        FG@G@BBC FG@G@BBH RIJJJIJJJKJJ H RIJJJIJJJKJJ H RIJJJIJJJKJJ H RIJJJIJJJKJJ                  7                N
:41;2.]01;29-./01.2345.6                            :V>FDACRCJEJ@      FG@G@BBC FG@G@BBH IJJJIJJJKJJ H @AIJJJIJJJKJJ H@AIJJJIJJJKJJ H @AIJJJIJJJKJJ           7                N
LW/2;;2-.S4.;86345.6                              XBYCBJCEDE@C3:O FG@G@BBC FG@G@BBH @BIJJJIJJJKJJ H RAIJJJIJJJKJJ HRAIJJJIJJJKJJ H RAIJJJIJJJKJJ          7                N
78;.PV.;.U;1-./01.2345.6;88/[019I:      F@JRCRB           FG@G@BBC FG@G@BBH IJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ          7                N
TQ-./01.2XM140SYQ;4;8S                               TQV\MEJRFB@         FG@G@BBC FG@G@BBH BIJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ          7                N
Q;[186\080P-./01.2345.6                             LM@E@B@EJBCA@E@R FG@G@BB FG@G@BBBH             E H @IJJJIJJJKJJ H @IJJJIJJJKJJ               LM=               7                N
Q;[186\080P-./01.2345.6                             L<@E@B@EJBCA@E@@ FG@G@BB FG@G@BBBH @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ                   7                N
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:41;2.]01;29-./01.2345.6                            NV>FDACRCJEJR      FG@G@BB FG@G@BBBH CIJJJIJJJKJJ H @RIJJJIJJJKJJ H@RIJJJIJJJKJJ H @RIJJJIJJJKJJ           7                N
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78;.PV.;.U;1-./01.2345.6;88/[019I:      MNFDFBJR          FG@G@BB FG@G@BBBH IJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ          7                N
?0P-./01.2345.6                                       ?:DJBCDRF          FG@G@BB FG@G@BBBH BIJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ          7                N
Q;[186\080P-./01.2345.6                             LM@E@B@EJBCA@E@RB FG@G@BBB FG@GRJJ@H             E H @IJJJIJJJKJJ H @IJJJIJJJKJJ               LM=               7                N
Q;[186\080P-./01.2345.6                             L<@E@B@EJBCA@E@@B FG@G@BBB FG@GRJJ@H @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ                   7                N
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78;.PV.;.U;1-./01.2345.6;88/[019I:      MNFDFBD          FG@G@BBB FG@GRJJJH IJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ          7                N
?0P-./01.2345.6                                       ?:JRFAC           FG@G@BBB FG@GRJJJH BIJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ          7                N
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:41;2.]01;29-./01.2345.6                            NV>FDACRCJEJF      FG@GRJJJ FG@GRJJ@H CIJJJIJJJKJJ H @RIJJJIJJJKJJ H@RIJJJIJJJKJJ H @RIJJJIJJJKJJ           7                N
LW/2;;2-.S4.;86345.6                              CBJCEDE@C          FG@GRJJJ FG@GRJJ@H @BIJJJIJJJKJJ H RAIJJJIJJJKJJ HRAIJJJIJJJKJJ H RAIJJJIJJJKJJ          7                N
78;.PV.;.U;1-./01.2345.6;88/[019I:      MNFDFBD          FG@GRJJJ FG@GRJJ@H IJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ          7                N
?0P-./01.2345.6                                       ?:JFBR           FG@GRJJJ FG@GRJJ@H BIJJJIJJJKJJ H AJIJJJIJJJKJJ HAJIJJJIJJJKJJ H AJIJJJIJJJKJJ          7                N
Q;[186\080P-./01.2345.6                             LM@E@B@EJBCA@E@R@ FG@GRJJ@ FG@GRJJRH             E H @IJJJIJJJKJJ H @IJJJIJJJKJJ               LM=               7                N
Q;[186\080P-./01.2345.6                             L<@E@B@EJBCA@E@@@ FG@GRJJ@ FG@GRJJRH @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ H @IJJJIJJJKJJ                   7                N
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:41;2.?01.8.SQ;[;P;86-./01.2345.6           :N3FDACRCJEJ      FG@GRJJ@ FG@GRJJRH CIJJJIJJJKJJ H @RIJJJIJJJKJJ H@RIJJJIJJJKJJ H @RIJJJIJJJKJJ           7                N
O8K0PO015P0/Q;./-./01.2345.6                     `aJAAJ@JA@          FG@GRJJ@ FG@GRJJRH @BIJJJIJJJKJJ H @AIJJJIJJJKJJ H@AIJJJIJJJKJJ H @AIJJJIJJJKJJ          7                N
US1P-./01.2345.6                                    CBJCEDE@C          FG@GRJJ@ FG@GRJJRH FIJJJIJJJKJJ H @JIJJJIJJJKJJ H@JIJJJIJJJKJJ H @JIJJJIJJJKJJ          7                N
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J/1KL2M.1252N-K0K6K58O23.12L7/928        JI7:C?E?AA     >B=BCAA= >B=BCAACD ::FAAAFAAAGAA D CAFAAAFAAAGAA DCAFAAAFAAAGAA D CAFAAAFAAAGAA          H                I
M.6O23.12L7/928                                    MJA?CA:P          >B=BCAA= >B=BCAACD ==:FAAAFAAAGAA D CFAAAFAAAGAA DCFAAAFAAAGAA D CFAAAFAAAGAA         H                I
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-K01584.5.6O23.12L7/928                          QT=@=:=@EA:?=@==C >B=BCAAC >B=BCAA>D =FAAAFAAAGAA D >FAAAFAAAGAA D >FAAAFAAAGAA D >FAAAFAAAGAA                  H                I
J1KL.65.16IUL33V;.196.3O23.12L7/928           I-S>C==CC         >B=BCAAC >B=BCAA>D EFAAAFAAAGAA D FAAAFAAAGAA D FAAAFAAAGAA D FAAAFAAAGAA                  H                I
J/1KL2M.1252N-K0K6K58O23.12L7/928        JI7>P?C?AA     >B=BCAAC >B=BCAA>D :FAAAFAAAGAA D =CFAAAFAAAGAA D=CFAAAFAAAGAA D =CFAAAFAAAGAA           H                I
O23.12L7/9285W;5522386X2KYQWZ      EPAC@CE:=          >B=BCAAC >B=BCAA>D C=FAAAFAAAGAA D FAAAFAAAGAA D=>FAAAFAAAGAA D FAAAFAAAGAA            H                I
[35LW351\K1O23.12L7/928                        4I;@P?PC=         >B=BCAAC >B=BCAA>D C=FAAAFAAAGAA D FAAAFAAAGAA D=>FAAAFAAAGAA D FAAAFAAAGAA            H                I
\N16O23.12L7/928                                 ?:A?@P@=?SJ-     >B=BCAAC >B=BCAA>D >EFAAAFAAAGAA D =AFAAAFAAAGAA D=AFAAAFAAAGAA D =AFAAAFAAAGAA          H                I
J66KN[16NJ33.12L7/928F-5N                       7AAA==C            >B=BCAAC >B=BCAA>D EEFAAAFAAAGAA D =AFAAAFAAAGAA D>AFAAAFAAAGAA D =AFAAAFAAAGAA          H                I
O251355\K1V73.6587/928                        ]^_==ACC?E         >B=BCAAC >B=BCAA>D EEFAAAFAAAGAA D =AFAAAFAAAGAA D>AFAAAFAAAGAA D =AFAAAFAAAGAA          H                I
[35LW351\K1O23.12L7/928                        T];@PE=C         >B=BCAAC >B=BCAA>D EEFAAAFAAAGAA D =AFAAAFAAAGAA D>AFAAAFAAAGAA D =AFAAAFAAAGAA          H                I
-./01/234.5.673.6587/928                        :;]=>=>?:@A=      >B=BCAAC >B=BCAA>D ?EFAAAFAAAGAA D CFAAAFAAAGAA DCFAAAFAAAGAA D CFAAAFAAAGAA          H                I
J/1KL2M.1252N-K0K6K58O23.12L7/928        JI7:C?E?A=     >B=BCAAC >B=BCAA>D ::FAAAFAAAGAA D CAFAAAFAAAGAA DEFAAAFAAAGAA D CAFAAAFAAAGAA          H                I
M.6O23.12L7/928                                    MJC??>:          >B=BCAAC >B=BCAA>D ::FAAAFAAAGAA D CFAAAFAAAGAA DEFAAAFAAAGAA D CFAAAFAAAGAA          H                I
-K01584.5.6O23.12L7/928                          QR=@=:=@EA:?=@=C> >B=BCAA> >B=BCAAED            @ D =FAAAFAAAGAA D =FAAAFAAAGAA               QRSE               H                I
-K01584.5.6O23.12L7/928                          QT=@=:=@EA:?=@==> >B=BCAA> >B=BCAAED =FAAAFAAAGAA D >FAAAFAAAGAA D >FAAAFAAAGAA D >FAAAFAAAGAA                  H                I
J1KL.65.16IUL33V;.196.3O23.12L7/928           I-S>C==CC         >B=BCAA> >B=BCAAED EFAAAFAAAGAA D FAAAFAAAGAA D FAAAFAAAGAA D FAAAFAAAGAA                  H                I
O23.12L7/9285W;5522386X2KYQWZ      EPA>@>P=          >B=BCAA> >B=BCAAED :FAAAFAAAGAA D FAAAFAAAGAA D=AFAAAFAAAGAA D FAAAFAAAGAA             H                I
-UK252O23.12L7/928                               >>=:            >B=BCAA> >B=BCAAED :FAAAFAAAGAA D FAAAFAAAGAA D=AFAAAFAAAGAA D FAAAFAAAGAA             H                I
J/1KL2M.1252N-K0K6K58O23.12L7/928        JI7>P?C?AAP     >B=BCAA> >B=BCAAED =:FAAAFAAAGAA D CAFAAAFAAAGAA DCAFAAAFAAAGAA D CAFAAAFAAAGAA          H                I
7612N2J/1KLO23.12L7/928                       ]-]>:>APCCE       >B=BCAA> >B=BCAAED >:FAAAFAAAGAA D FAAAFAAAGAA D>AFAAAFAAAGAA D FAAAFAAAGAA            H                I
O23.12L7/9285W;5522386X2KYQWZ      EPA>@>PC          >B=BCAA> >B=BCAAED >:FAAAFAAAGAA D FAAAFAAAGAA D>AFAAAFAAAGAA D FAAAFAAAGAA            H                I
-UK252O23.12L7/928                               >>=:A            >B=BCAA> >B=BCAAED >:FAAAFAAAGAA D FAAAFAAAGAA D>AFAAAFAAAGAA D FAAAFAAAGAA            H                I
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[35LW351\K1O23.12L7/928                        T];@?EECP>         >B=BCAA> >B=BCAAED >:FAAAFAAAGAA D CFAAFAAAGAA D>AFAAAFAAAGAA D CFAAFAAAGAA            H                I
O251355\K1V73.6587/928                        ];_=A=EAE        >B=BCAA> >B=BCAAED P:FAAAFAAAGAA D =AFAAAFAAAGAA D=AFAAAFAAAGAA D =AFAAAFAAAGAA          H                I
J/1KL2M.1252N-K0K6K58O23.12L7/928        JI7:C?E?AC     >B=BCAA> >B=BCAAED ?:FAAAFAAAGAA D CFAAAFAAAGAA DCFAAAFAAAGAA D CFAAAFAAAGAA          H                I
M.6O23.12L7/928                                    MJ=>C?CE?          >B=BCAA> >B=BCAAED =AEFAAAFAAAGAA D =AFAAAFAAAGAA D=AFAAAFAAAGAA D =AFAAAFAAAGAA         a                I
-K01584.5.6O23.12L7/928                          QR=@=:=@EA:?=@=CE >B=BCAAE >B=BCAAD            @ D =FAAAFAAAGAA D =FAAAFAAAGAA               QRSE               H                I
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7612N2J/1KLO23.12L7/928                       ]-]AA>=A>=       >B=BCAAE >B=BCAAD :FAAAFAAAGAA D FAAAFAAAGAA D=AFAAAFAAAGAA D FAAAFAAAGAA             H                I
O23.12L7/9285W;5522386X2KYQWZ      EPAE@EP:          >B=BCAAE >B=BCAAD :FAAAFAAAGAA D FAAAFAAAGAA D=AFAAAFAAAGAA D FAAAFAAAGAA             H                I
J/1KL2M.1252N-K0K6K58O23.12L7/928        JI7>P?C?AA?     >B=BCAAE >B=BCAAD =:FAAAFAAAGAA D CAFAAAFAAAGAA DCAFAAAFAAAGAA D CAFAAAFAAAGAA          H                I
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-UK252O23.12L7/928                               >>CP            >B=BCAAE >B=BCAAD P:FAAAFAAAGAA D =AFAAAFAAAGAA D=AFAAAFAAAGAA D =AFAAAFAAAGAA          H                I
J/1KL2M.1252N-K0K6K58O23.12L7/928        JI7:C?E?A>     >B=BCAAE >B=BCAAD ?:FAAAFAAAGAA D CFAAAFAAAGAA DCFAAAFAAAGAA D CFAAAFAAAGAA          H                I
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-K01584.5.6O23.12L7/928                          QR=@=:=@EA:?=@=C >B=BCAA >B=BCAAPD            @ D =FAAAFAAAGAA D =FAAAFAAAGAA               QRSE               H                I
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7612N2J/1KLO23.12L7/928                       ]-]AA>==A=E        >B=BCAA >B=BCAAPD :FAAAFAAAGAA D FAAAFAAAGAA D=AFAAAFAAAGAA D FAAAFAAAGAA             H                I
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J/1KL2M.1252N-K0K6K58O23.12L7/928        JI7>P?C?AA     >B=BCAA >B=BCAAPD =:FAAAFAAAGAA D CAFAAAFAAAGAA DCAFAAAFAAAGAA D CAFAAAFAAAGAA          H                I
J66KN[16NJ33.12L7/928F-5N                       J[C=E>E          >B=BCAA >B=BCAAPD >:FAAAFAAAGAA D FAAAFAAAGAA D>AFAAAFAAAGAA D FAAAFAAAGAA            H                I
JUK3;9LK6K58O23.12L7/928                         JJ^?CACCBA=BCAA >B=BCAA >B=BCAAPD >:FAAAFAAAGAA D PFAAAFAAAGAA D>AFAAAFAAAGAA D PFAAAFAAAGAA             H                I
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Q1N132NLKKLO23.12L7/928                     I-S=AAAAA:=      >B=BCAAP >B=BCAA?D FAAAFAAAGAA D FAAAFAAAGAA D FAAAFAAAGAA D FAAAFAAAGAA                  H                I
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-UK252O23.12L7/928                               PP?:=            >B=BCAAP >B=BCAA?D =AFAAAFAAAGAA D FAAAFAAAGAA D=AFAAAFAAAGAA D FAAAFAAAGAA            a                I
;5N35O23.12L7/928                               JI7>P?C?AA:     >B=BCAAP >B=BCAA?D CAFAAAFAAAGAA D CAFAAAFAAAGAA DCAFAAAFAAAGAA D CAFAAAFAAAGAA          H                I
J66KN[16NJ33.12L7/928F-5N                       J[=:A?:>E          >B=BCAAP >B=BCAA?D EAFAAAFAAAGAA D FAAAFAAAGAA D>AFAAAFAAAGAA D FAAAFAAAGAA            H                I
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-/Q51:R414J20345067890:                          ST=U=<=UDB<;>=U=A; ?@=@ABB; ?@=@ABBC            U C =EBBBEBBBFBB C =EBBBEBBBFBB               STOD               L                H
VJMW94QJ/620345067890:                            RXYPA??         ?@=@ABB; ?@=@ABBC =EBBBEBBBFBB C DEBBBEBBBFBB C DEBBBEBBBFBB C DEBBBEBBBFBB                  L                H
H0M4506N85/60I96/J1:20345067890:            H-O=BBBB??D>B=     ?@=@ABB; ?@=@ABBC >EBBBEBBBFBB C >EBBBEBBBFBB C >EBBBEBBBFBB C >EBBBEBBBFBB                  L                H
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N./3I459J4320345067890:                            HN^;ABA>A@B=@ABB; ?@=@ABB; ?@=@ABBC ABEBBBEBBBFBB C ;E>BBEBBBFBB CABEBBBEBBBFBB C ;E>BBEBBBFBB             L                H
2015311_/5`734J1:7890:                        a_P=BBA>=        ?@=@ABB; ?@=@ABBC ABEBBBEBBBFBB C =AE>BBEBBBFBB CABEBBBEBBBFBB C =AE>BBEBBBFBB          L                H
NJJ/MX5JMN3345067890:E-1M                       7BBAABBA         ?@=@ABB; ?@=@ABBC DBEBBBEBBBFBB C ;E>BBEBBBFBB C?BEBBBEBBBFBB C ;E>BBEBBBFBB            L                H
H[531L1/0J20345067890:                        ;=bBBB>BUB;=      ?@=@ABB; ?@=@ABBC DBEBBBEBBBFBB C ;E>BBEBBBFBB C?BEBBBEBBBFBB C ;E>BBEBBBFBB            L                H
-./01020345067890:                               >B==?>             ?@=@ABB; ?@=@ABBC DBEBBBEBBBFBB C =>EBBBEBBBFBB C?BEBBBEBBBFBB C =>EBBBEBBBFBB          G                H
H0M4506N85/60I96/J1:20345067890:            H-O=BBBB??DB=   ?@=@ABB; ?@=@ABBC ;BEBBBEBBBFBB C ABEBBBEBBBFBB CABEBBBEBBBFBB C ABEBBBEBBBFBB          L                H
P-H459-/8/1M                                         2HBBB=??<-=B;N    ?@=@ABB; ?@=@ABBC <BEBBBEBBBFBB C DBEBBBEBBBFBB CDBEBBBEBBBFBB C DBEBBBEBBBFBB          L                H
VJMW94QJ/620345067890:                            RXYG>;B;         ?@=@ABB ?@=@ABB<C            U C =EBBBEBBBFBB C =EBBBEBBBFBB               L0            ^0c0d0             H
VJMW94QJ/620345067890:                            RXYPADA         ?@=@ABB ?@=@ABB<C =EBBBEBBBFBB C <EBBBEBBBFBB C <EBBBEBBBFBB C <EBBBEBBBFBB               ^0c0d0             H
H0M4506N85/60I96/J1:20345067890:            H-O=BBBB??D>BA     ?@=@ABB ?@=@ABB<C =BEBBBEBBBFBB C >EBBBEBBBFBB C >EBBBEBBBFBB C >EBBBEBBBFBB              ^0c0d0             H
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NJJ/MX5JMN3345067890:E-1M                       7BB<B?BBB?         ?@=@ABB ?@=@ABB<C D>EBBBEBBBFBB C ;E>BBEBBBFBB C?BEBBBEBBBFBB C ;E>BBEBBBFBB         ^0c0d0             H
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H0M4506N85/60I96/J1:20345067890:            H-O=BBBB??DBA     ?@=@ABB ?@=@ABB<C ;>EBBBEBBBFBB C A>EBBBEBBBFBB CA>EBBBEBBBFBB C A>EBBBEBBBFBB       ^0c0d0             H
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2015311_/5`734J1:7890:                        a_P=BBA>>A         ?@=@ABB ?@=@ABB<C =ABEBBBEBBBFBB C =>EBBBEBBBFBB CDBEBBBEBBBFBB C =>EBBBEBBBFBB      ^0c0d0             H
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71J/0^0M5d5/1/0N06/3-/8/1M                      PI7<DA>>B?=B       ?@=@ABB< ?@=@AB=BC =>EBBBEBBBFBB C >EBBBEBBBFBB C=BEBBBEBBBFBB C >EBBBEBBBFBB         ^0c0d0             H
H[531L1/0J20345067890:                        ;=bBBBABBB<=       ?@=@ABB< ?@=@AB=BC =>EBBBEBBBFBB C >EBBBEBBBFBB C=BEBBBEBBBFBB C >EBBBEBBBFBB         ^0c0d0             H
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NJJ/MX5JMN3345067890:E-1M                       7BB<B?B@BBD        ?@=@ABB< ?@=@AB=BC D>EBBBEBBBFBB C A>EBBBEBBBFBB C?BEBBBEBBBFBB C A>EBBBEBBBFBB       ^0c0d0             H
H[531L1/0J20345067890:                        ;=bBBBABBUB<=     ?@=@ABB< ?@=@AB=BC D>EBBBEBBBFBB C >EBBBEBBBFBB C?BEBBBEBBBFBB C >EBBBEBBBFBB         ^0c0d0             H
H0M4506N85/60I96/J1:20345067890:            H-O=BBB=ADBBB     ?@=@ABB< ?@=@AB=BC ;>EBBBEBBBFBB C ?>EBBBEBBBFBB C?>EBBBEBBBFBB C ?>EBBBEBBBFBB       ^0c0d0             H
N56ZW/034506-1MF                                     ^PBBA>B?BUB=      ?@=@ABB< ?@=@AB=BC ==BEBBBEBBBFBB C A>EBBBEBBBFBB C>BEBBBEBBBFBB C A>EBBBEBBBFBB      ^0c0d0             H
N./320345067890:                                    HN^;?;D@B=@ABB< ?@=@ABB< ?@=@AB=BC ==BEBBBEBBBFBB C =BEBBBEBBBFBB C>BEBBBEBBBFBB C =BEBBBEBBBFBB       ^0c0d0             H
2015311_/5`734J1:7890:                        a_PBBBAB;>>=     ?@=@ABB< ?@=@AB=BC ==BEBBBEBBBFBB C =>EBBBEBBBFBB C>BEBBBEBBBFBB C =>EBBBEBBBFBB      ^0c0d0             IH
VZ/734J1:20345067890:\SZ]                     H7V\=B]>?;B<e<B ?@=@ABB< ?@=@AB=BC =BEBBBEBBBFBB C ABEBBBEBBBFBB CABEBBBEBBBFBB C ABEBBBEBBBFBB        ^0c0d0             H
VJMW94QJ/620345067890:                            RXYG>         ?@=@AB=B ?@=@AB==C            U C =EBBBEBBBFBB C =EBBBEBBBFBB               L0            ^0c0d0             H
VJMW94QJ/620345067890:                            RXYPA;         ?@=@AB=B ?@=@AB==C =EBBBEBBBFBB C <EBBBEBBBFBB C <EBBBEBBBFBB C <EBBBEBBBFBB               ^0c0d0             H
H0M4506N85/60I96/J1:20345067890:            H-O=BBBB??D>BD     ?@=@AB=B ?@=@AB==C =BEBBBEBBBFBB C ;E>BBEBBBFBB C ;E>BBEBBBFBB C ;E>BBEBBBFBB              ^0c0d0             H
71J/0^0M5d5/1/0N06/3-/8/1M                      PI7<DA>>B?==       ?@=@AB=B ?@=@AB==C =;E>BBEBBBFBB C =BEBBBEBBBFBB C=BEBBBEBBBFBB C =BEBBBEBBBFBB       ^0c0d0             H
H[531L1/0J20345067890:                        ;=bBBBB>B=B=      ?@=@AB=B ?@=@AB==C A;E>BBEBBBFBB C =BEBBBEBBBFBB C=BEBBBEBBBFBB C =BEBBBEBBBFBB       ^0c0d0             H
NJJ/MX5JMN3345067890:E-1M                       B?B>U??>=          ?@=@AB=B ?@=@AB==C ?;E>BBEBBBFBB C A>EBBBEBBBFBB C>BEBBBEBBBFBB C A>EBBBEBBBFBB       ^0c0d0             H
N./320345067890:                                    HN^;ABA>A@B=@AB=B ?@=@AB=B ?@=@AB==C ?;E>BBEBBBFBB C A>EBBBEBBBFBB C>BEBBBEBBBFBB C A>EBBBEBBBFBB        ^0c0d0             H
H0M4506N85/60I96/J1:20345067890:            H-O=BBBB=<??;      ?@=@AB=B ?@=@AB==C ;E>BBEBBBFBB C DAE>BBEBBBFBB CDAE>BBEBBBFBB C DAE>BBEBBBFBB       ^0c0d0             H
N56ZW/034506-1MF                                     ^PBBA>B?BUBA      ?@=@AB=B ?@=@AB==C =?BEBBBEBBBFBB C A>EBBBEBBBFBB CA>EBBBEBBBFBB C A>EBBBEBBBFBB      ^0c0d0             H
VZ/734J1:20345067890:\SZ]                     H7V==>?;B<<B ?@=@AB=B ?@=@AB==C =>>EBBBEBBBFBB C ABEBBBEBBBFBB CDBEBBBEBBBFBB C ABEBBBEBBBFBB       ^0c0d0             H
X316Z315_/520345067890:                        bAD==D;?BB=       ?@=@AB=B ?@=@AB==C =>>EBBBEBBBFBB C ABEBBBEBBBFBB CDBEBBBEBBBFBB C ABEBBBEBBBFBB      ^0c0d0             H
VJMW94QJ/620345067890:                            RXYG><B<;         ?@=@AB== ?@=@AB=AC            U C =EBBBEBBBFBB C =EBBBEBBBFBB               L0            ^0c0d0             H
VJMW94QJ/620345067890:                            RXYPA;BA         ?@=@AB== ?@=@AB=AC =EBBBEBBBFBB C <EBBBEBBBFBB C <EBBBEBBBFBB C <EBBBEBBBFBB               ^0c0d0             H
H0M4506N85/60I96/J1:20345067890:            H-O=BBBB??D>B>     ?@=@AB== ?@=@AB=AC =BEBBBEBBBFBB C ;E>BBEBBBFBB C ;E>BBEBBBFBB C ;E>BBEBBBFBB              ^0c0d0             H
71J/0^0M5d5/1/0N06/3-/8/1M                      PI7U<DA>>UB?=A     ?@=@AB== ?@=@AB=AC =;E>BBEBBBFBB C =BEBBBEBBBFBB C=BEBBBEBBBFBB C =BEBBBEBBBFBB       ^0c0d0             H
N./320345067890:                                    HN^;ABA>A@B=@AB== ?@=@AB== ?@=@AB=AC A;E>BBEBBBFBB C =BEBBBEBBBFBB C=BEBBBEBBBFBB C =BEBBBEBBBFBB        ^0c0d0             H
NJJ/MX5JMN3345067890:E-1M                       B?B>U??>=          ?@=@AB== ?@=@AB=AC ?;E>BBEBBBFBB C A>EBBBEBBBFBB CDBEBBBEBBBFBB C A>EBBBEBBBFBB       ^0c0d0             H


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                                   98883                 3783 198393 !5"393 29# 53 53 $ 7885 3%3                   %983%3       2&&8&93%3 1'7932763!'7653   !("5 3)!*1!+,3
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:2J3425-74/52I85/KL9120342567829      :MN@===B=AO===       BC@CA=@@ BC@CA=@AD E<==E===F== D >AE<==E===F== D>AE<==E===F== D >AE<==E===F==       ;2G2H2             :
-45PQ/203425MLJF                               ;R==>A>A           BC@CA=@@ BC@CA=@AD @A=E===E===F== D A<E===E===F== DA<E===E===F== D A<E===E===F==      ;2G2H2             :
SP/603KL9120342567829TUPV               :6ST@AV<>OA@A= BC@CA=@@ BC@CA=@AD @><E===E===F== D A<E===E===F== D<=E===E===F== D A<E===E===F==      ;2G2H2             :
W0L5P0L4X/4120342567829                  YA>@@>OB==A         BC@CA=@@ BC@CA=@AD @><E===E===F== D A<E===E===F== D<=E===E===F== D A<E===E===F==      ;2G2H2             :
M/Z4L91203425;2J4H4/L40E125F                :R6N-@A=<@         BC@CA=@@ BC@CA=@AD @?<E===E===F== D @<E===E===F== D@<E===E===F== D @<E===E===F==      ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\]<?<<<           BC@CA=@A BC@CA=@BD            ^ D @E===E===F== D @E===E===F==               _2            ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\RAO=?           BC@CA=@A BC@CA=@BD @E===E===F== D ?E===E===F== D ?E===E===F== D ?E===E===F==               ;2G2H2             :
:2J3425-74/52I85/KL9120342567829      :MN@====BB><=O      BC@CA=@A BC@CA=@BD @=E===E===F== D E<==E===F== D E<==E===F== D E<==E===F==              ;2G2H2             :
6LK/2;2J4H4/L/2-25/0M/7/LJ                RI6^?>A<<^=B@B       BC@CA=@A BC@CA=@BD @E<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
-./0120342567829                              :-;A=A<AC=@CA=@A BC@CA=@A BC@CA=@BD AE<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==          ;2G2H2             :
-KK/JW4KJ-00342567829EMLJ                 =B=<^BB<@            BC@CA=@A BC@CA=@BD BE<==E===F== D A<E===E===F== D>=E===E===F== D A<E===E===F==       ;2G2H2             :
-./0120342567829                              :-;<=>?C=@CA=@A BC@CA=@A BC@CA=@BD BE<==E===F== D @<E===E===F== D>=E===E===F== D @<E===E===F==          ;2G2H2             :
-KL44:.500`I348K30120342567829          [-RB:6B=====OA       BC@CA=@A BC@CA=@BD E<==E===F== D A<E===E===F== DA<E===E===F== D A<E===E===F==       ;2G2H2             :
:2J3425-74/52I85/KL9120342567829      :MN@===B<<B==       BC@CA=@A BC@CA=@BD @=AE<==E===F== D @E<==E===F== D@E<==E===F== D @E<==E===F==      ;2G2H2             :
-45PQ/203425MLJF                               ;R==>A>A^=@        BC@CA=@A BC@CA=@BD @A=E===E===F== D A<E===E===F== DA<E===E===F== D A<E===E===F==      ;2G2H2             :
SP/603KL9120342567829TUPV               :6S@B<>OA@A=      BC@CA=@A BC@CA=@BD @><E===E===F== D A<E===E===F== D<=E===E===F== D A<E===E===F==      ;2G2H2             :
W0L5P0L4X/4120342567829                  YA>@@>OB==B         BC@CA=@A BC@CA=@BD @><E===E===F== D A<E===E===F== D<=E===E===F== D A<E===E===F==      ;2G2H2             :
_a/L40I85/KL9120342567829              6b@A:R6>=B>@6 BC@CA=@A BC@CA=@BD @?<E===E===F== D @<E===E===F== D@<E===E===F== D @<E===E===F==           ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\]<???           BC@CA=@B BC@CA=@>D            ^ D @E===E===F== D @E===E===F==               _2            ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\RAO@B           BC@CA=@B BC@CA=@>D @E===E===F== D ?E===E===F== D ?E===E===F== D ?E===E===F==               ;2G2H2             :
Y7/2/120342567829                            6:R=?O===<@^==       BC@CA=@B BC@CA=@>D @=E===E===F== D E<==E===F== D E<==E===F== D E<==E===F==              ;2G2H2             :
X/40LI85/KL912034256484L/2               1Q:A===A?<==       BC@CA=@B BC@CA=@>D @E<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
6LK/2;2J4H4/L/2-25/0M/7/LJ                RI6^?>A<<^=B@>       BC@CA=@B BC@CA=@>D AE<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
-KK/JW4KJ-00342567829EMLJ                 =B=<^BB<@            BC@CA=@B BC@CA=@>D BE<==E===F== D A<E===E===F== D>=E===E===F== D A<E===E===F==       ;2G2H2             I:
Y7/2/120342567829                            6:R=?O===<A^==       BC@CA=@B BC@CA=@>D BE<==E===F== D @<E===E===F== D>=E===E===F== D @<E===E===F==       ;2G2H2             :
-KL44:.500`I348K30120342567829          [-RB:6B====@?A       BC@CA=@B BC@CA=@>D E<==E===F== D A<E===E===F== DA<E===E===F== D A<E===E===F==       ;2G2H2             :
Y7/2/120342567829                            6:R=?O==@OO^==       BC@CA=@B BC@CA=@>D @=AE<==E===F== D @E<==E===F== D@E<==E===F== D @E<==E===F==      ;2G2H2             :
M/Z4L9I348K3012034256484L/2               @====BA?^=@        BC@CA=@B BC@CA=@>D @A=E===E===F== D A<E===E===F== DA<E===E===F== D A<E===E===F==      ;2G2H2             :
SP/603KL9120342567829TUPV               :6ST@>V<>OA@A= BC@CA=@B BC@CA=@>D @><E===E===F== D A<E===E===F== D<=E===E===F== D A<E===E===F==      ;2G2H2             :
W0L5P0L4X/4120342567829                  YA>@@>OB==>         BC@CA=@B BC@CA=@>D @><E===E===F== D A<E===E===F== D<=E===E===F== D A<E===E===F==      ;2G2H2             :
_a/L40I85/KL9120342567829              6b@B:R6>=B>16      BC@CA=@B BC@CA=@>D @?<E===E===F== D @<E===E===F== D@<E===E===F== D @<E===E===F==      ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\]B=@AOA          BC@CA=@> BC@CA=@<D            ^ D @E===E===F== D @E===E===F==               _2            ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\RB==<          BC@CA=@> BC@CA=@<D @E===E===F== D ?E===E===F== D ?E===E===F== D ?E===E===F==               ;2G2H2             :
Y7/2/120342567829                            6:R=?O==<@^=@        BC@CA=@> BC@CA=@<D @=E===E===F== D E<==E===F== D E<==E===F== D E<==E===F==              ;2G2H2             :
X/40LI85/KL912034256484L/2               1Q:A===A?<=@       BC@CA=@> BC@CA=@<D @E<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
6LK/2;2J4H4/L/2-25/0M/7/LJ                RI6^?>A<<^=B@<       BC@CA=@> BC@CA=@<D AE<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
Y7/2/120342567829                            6:R=?O===<A^=@       BC@CA=@> BC@CA=@<D BE<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
-KK/JW4KJ-00342567829EMLJ                 =B=<^BB<@            BC@CA=@> BC@CA=@D >E<==E===F== D A<E===E===F== D>=E===E===F== D A<E===E===F==       ;2G2H2             I:
M./2L2120342567829                         @<B<?O>             BC@CA=@> BC@CA=@D >E<==E===F== D @<E===E===F== D>=E===E===F== D @<E===E===F==       ;2G2H2             :
-KL44:.500`I348K30120342567829          [-RB:6B====A?O       BC@CA=@> BC@CA=@<D E<==E===F== D A<E===E===F== DA<E===E===F== D A<E===E===F==       ;2G2H2             :
Y7/2/120342567829                            6:R=?O==@OO^=@       BC@CA=@> BC@CA=@<D @@AE<==E===F== D BAE<==E===F== DBAE<==E===F== D BAE<==E===F==      ;2G2H2             :
W0L5P0L4X/4120342567829                  YA>@@>OB==<        BC@CA=@> BC@CA=@<D @><E===E===F== D A<E===E===F== DA<E===E===F== D A<E===E===F==      ;2G2H2             :
:2J3425-74/52I85/KL9120342567829      :R6@===><>==       BC@CA=@> BC@CA=@<D @=E===E===F== D A=E===E===F== D>=E===E===F== D A=E===E===F==      ;2G2H2             :
SP/603KL9120342567829TUPV               :6ST@<V<<?>AB? BC@CA=@> BC@CA=@<D @=E===E===F== D A=E===E===F== D>=E===E===F== D A=E===E===F==      ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\]B=B>B@          BC@CA=@< BC@CA=@OD            ^ D @E===E===F== D @E===E===F==               _2            ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\RB=B>B=          BC@CA=@< BC@CA=@OD @E===E===F== D ?E===E===F== D ?E===E===F== D ?E===E===F==               ;2G2H2             :
Y7/2/120342567829                            6:R=?O===<@^=A       BC@CA=@< BC@CA=@OD @=E===E===F== D E<==E===F== D E<==E===F== D E<==E===F==              ;2G2H2             :
X/40LI85/KL912034256484L/2               1Q:A===A?<=A       BC@CA=@< BC@CA=@OD @E<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
6LK/2;2J4H4/L/2-25/0M/7/LJ                RI6^?>A<<^=B@O       BC@CA=@< BC@CA=@OD AE<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
Y7/2/120342567829                            6:R=?O===<A^=A       BC@CA=@< BC@CA=@OD BE<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
-KL44:.500`I348K30120342567829          [-RB:6B====>O       BC@CA=@< BC@CA=@OD E<==E===F== D A<E===E===F== DA<E===E===F== D A<E===E===F==       ;2G2H2             :
Y7/2/120342567829                            6:R=?O==@OO^=A       BC@CA=@< BC@CA=@OD @@AE<==E===F== D BAE<==E===F== D>AE<==E===F== D BAE<==E===F==      ;2G2H2             :
M./2L2120342567829                         @<B<AB>             BC@CA=@< BC@CA=@OD @@AE<==E===F== D @=E===E===F== D>AE<==E===F== D @=E===E===F==      ;2G2H2             :
:2J3425-74/52I85/KL9120342567829      :R6@===><>=@       BC@CA=@< BC@CA=@OD @<<E===E===F== D A<E===E===F== D<<E===E===F== D A<E===E===F==      ;2G2H2             :
SP/603KL9120342567829TUPV               :6ST@OV<<?>AB? BC@CA=@< BC@CA=@OD @<<E===E===F== D B=E===E===F== D<<E===E===F== D B=E===E===F==      ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\]B=O?B          BC@CA=@O BC@CA=@D            ^ D @E===E===F== D @E===E===F==               _2            ;2G2H2             :
SKJQ83ZK/5120342567829                      [W\RB=O?B          BC@CA=@O BC@CA=@D @E===E===F== D ?E===E===F== D ?E===E===F== D ?E===E===F==               ;2G2H2             :
Y7/2/120342567829                            6:R=?O===<@^=B       BC@CA=@O BC@CA=@D @=E===E===F== D E<==E===F== D E<==E===F== D E<==E===F==              ;2G2H2             :
X/40LI85/KL912034256484L/2               1Q:A===A?<=B       BC@CA=@O BC@CA=@D @E<==E===F== D @=E===E===F== D@=E===E===F== D @=E===E===F==       ;2G2H2             :
-082                                               6R==>B>@O            BC@CA=@O BC@CA=@D AE<==E===F== D @=E===E===F== DA=E===E===F== D @=E===E===F==       ;2G2H2             :
Y7/2/120342567829                            6:R=?O===<A^=B       BC@CA=@O BC@CA=@D AE<==E===F== D @=E===E===F== DA=E===E===F== D @=E===E===F==       ;2G2H2             :
-082                                               6R==>>Y@O            BC@CA=@O BC@CA=@D E<==E===F== D @=E===E===F== DA<E===E===F== D @=E===E===F==       ;2G2H2             :



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    ,-./0.1./23.4567.8                                                  9:;<=>;,?>@=A>       BC?CA>?@ BC?CA>?DE DFG>>F>>>H>> E ?GF>>>F>>>H>> EAGF>>>F>>>H>> E ?GF>>>F>>>H>>       I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>?@@P>B       BC?CA>?@ BC?CA>?DE ??AFG>>F>>>H>> E BAFG>>F>>>H>> E=AFG>>F>>>H>> E BAFG>>F>>>H>>      I.J.K.                      ,
    ;QM.0.1./23.4567.8                                                 ?GBDGAB=             BC?CA>?@ BC?CA>?DE ??AFG>>F>>>H>> E ?>F>>>F>>>H>> E=AFG>>F>>>H>> E ?>F>>>F>>>H>>      I.J.K.                      ,
    ,.R23.4S63M4.T74MU081./23.4567.8                              ,N5?>>>=G=D>A       BC?CA>?@ BC?CA>?DE ?GGF>>>F>>>H>> E AGF>>>F>>>H>> EGGF>>>F>>>H>> E AGF>>>F>>>H>>      I.J.K.                      ,
    VWM5/2U081./23.4567.8XYWZ                                       ,5VX?DZGGO=ABO BC?CA>?@ BC?CA>?DE ?GGF>>>F>>>H>> E B>F>>>F>>>H>> EGGF>>>F>>>H>> E B>F>>>F>>>H>>      I.J.K.                      ,
    VUR[72\UM41./23.4567.8                                              9]^_B>OOAD          BC?CA>?D BC?CA>?E            P E ?F>>>F>>>H>> E ?F>>>F>>>H>>               `.            I.J.K.                      ,
    VUR[72\UM41./23.4567.8                                              9]^NB>OOA@          BC?CA>?D BC?CA>?E ?F>>>F>>>H>> E OF>>>F>>>H>> E OF>>>F>>>H>> E OF>>>F>>>H>>               I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>>G?P>=       BC?CA>?D BC?CA>?E ?>F>>>F>>>H>> E DFG>>F>>>H>> E DFG>>F>>>H>> E DFG>>F>>>H>>              I.J.K.                      ,
    aM3/0T74MU081./23.453730M.                                       1[,A>>>AOG>=       BC?CA>?D BC?CA>?E ?DFG>>F>>>H>> E ?>F>>>F>>>H>> E?>F>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      ,
    S/7.                                                                       5N>>=B=?D            BC?CA>?D BC?CA>?E ADFG>>F>>>H>> E ?>F>>>F>>>H>> EA>F>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>>GAP>=       BC?CA>?D BC?CA>?E ADFG>>F>>>H>> E ?>F>>>F>>>H>> EA>F>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      ,
    5U.81./23.4567.8                                                    S[B=@?OD            BC?CA>?D BC?CA>?E =DFG>>F>>>H>> E ?GF>>>F>>>H>> E=>F>>>F>>>H>> E ?GF>>>F>>>H>>       I.J.K.                      T,
    S/7.                                                                       5N>>==L?D            BC?CA>?D BC?CA>?E DFG>>F>>>H>> E ?>F>>>F>>>H>> EAGF>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      ,
    ,-./0.1./23.4567.8                                                  9:;<=,I,?>>BD        BC?CA>?D BC?CA>?E DFG>>F>>>H>> E ?GF>>>F>>>H>> EAGF>>>F>>>H>> E ?GF>>>F>>>H>>       I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>?@@P>=       BC?CA>?D BC?CA>?E ??AFG>>F>>>H>> E BAFG>>F>>>H>> E=AFG>>F>>>H>> E BAFG>>F>>>H>>      I.J.K.                      ,
    1.RM.b3\31./23.4567.8                                             T5T>>=OB@           BC?CA>?D BC?CA>?E ??AFG>>F>>>H>> E ?>F>>>F>>>H>> E=AFG>>F>>>H>> E ?>F>>>F>>>H>>      I.J.K.                      ,
    ,.R23.4S63M4.T74MU081./23.4567.8                              ,N5?>>=G=D>B        BC?CA>?D BC?CA>?E ?GGF>>>F>>>H>> E AGF>>>F>>>H>> EGGF>>>F>>>H>> E AGF>>>F>>>H>>      I.J.K.                      ,
    VWM5/2U081./23.4567.8XYWZ                                       ,5VX?ZGGO=ABO BC?CA>?D BC?CA>?E ?GGF>>>F>>>H>> E B>F>>>F>>>H>> EGGF>>>F>>>H>> E B>F>>>F>>>H>>      I.J.K.                      ,
    VUR[72\UM41./23.4567.8                                              9]^_B?ABB          BC?CA>? BC?CA>?OE            P E ?F>>>F>>>H>> E ?F>>>F>>>H>>               `.            I.J.K.                      ,
    VUR[72\UM41./23.4567.8                                              9]^NB?ABA          BC?CA>? BC?CA>?OE ?F>>>F>>>H>> E OF>>>F>>>H>> E OF>>>F>>>H>> E OF>>>F>>>H>>               I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>G?P>G        BC?CA>? BC?CA>?OE ?>F>>>F>>>H>> E DFG>>F>>>H>> E DFG>>F>>>H>> E DFG>>F>>>H>>              I.J.K.                      ,
    aM3/0T74MU081./23.453730M.                                       1[,A>>>AOG>G       BC?CA>? BC?CA>?OE ?DFG>>F>>>H>> E ?>F>>>F>>>H>> E?>F>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      T,
    S/7.                                                                       5N>>=B=?            BC?CA>? BC?CA>?OE ADFG>>F>>>H>> E ?>F>>>F>>>H>> EA>F>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>GAP>G        BC?CA>? BC?CA>?OE ADFG>>F>>>H>> E ?>F>>>F>>>H>> EA>F>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      T,
    SUUMR]3URS//23.4567.8F;0R                                         >B>GPBBG?            BC?CA>? BC?CA>?OE =DFG>>F>>>H>> E AGF>>>F>>>H>> E=>F>>>F>>>H>> E AGF>>>F>>>H>>       I.J.K.                      ,
    5U.81./23.4567.8                                                    S[==@>@?O            BC?CA>? BC?CA>?OE =DFG>>F>>>H>> E ?GF>>>F>>>H>> E=>F>>>F>>>H>> E ?GF>>>F>>>H>>       I.J.K.                      ,
    S/7.                                                                       5N>>==L?D            BC?CA>? BC?CA>?OE DFG>>F>>>H>> E ?>F>>>F>>>H>> EAGF>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      ,
    ,-./0.1./23.4567.8                                                  9:;<=,I,?>>?A       BC?CA>? BC?CA>?OE DFG>>F>>>H>> E ?GF>>>F>>>H>> EAGF>>>F>>>H>> E ?GF>>>F>>>H>>       I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>?@@P>G       BC?CA>? BC?CA>?OE ??AFG>>F>>>H>> E BAFG>>F>>>H>> E=AFG>>F>>>H>> E BAFG>>F>>>H>>      I.J.K.                      ,
    N;50UM.                                                                   TNT>>=OB@>?         BC?CA>? BC?CA>?OE ??AFG>>F>>>H>> E ?>F>>>F>>>H>> E=AFG>>F>>>H>> E ?>F>>>F>>>H>>      I.J.K.                      ,
    ,.R23.4S63M4.1./23.4567.8                                        ,N5?>>>=G=D>=       BC?CA>? BC?CA>?OE ?GGF>>>F>>>H>> E AGF>>>F>>>H>> EGGF>>>F>>>H>> E AGF>>>F>>>H>>      I.J.K.                      ,
    VWM5/2U081./23.4567.8XYWZ                                       ,5VX?OZGGO=ABO BC?CA>? BC?CA>?OE ?GGF>>>F>>>H>> E B>F>>>F>>>H>> EGGF>>>F>>>H>> E B>F>>>F>>>H>>        I.J.K.                      ,
    ,-./0.1./23.4567.8                                                  9:;<=c5>>>B?>       BC?CA>?O BC?CA>A>E            P E ?F>>>F>>>H>> E ?F>>>F>>>H>> E ?>F>>>F>>>H>>              I.J.K.                      ,
    ,-./0.1./23.4567.8                                                  9:;<=,I;?>A>A@       BC?CA>?O BC?CA>A>E ?F>>>F>>>H>> E @FG>>F>>>H>> E @FG>>F>>>H>> E ?BF>>>F>>>H>>              I.J.K.                      ,
    L6M.M1./23.4567.8                                                    cNT>O@>BGG>>        BC?CA>?O BC?CA>A>E DFG>>F>>>H>> E AFG>>F>>>H>> E AFG>>F>>>H>> E AFG>>F>>>H>>               I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>G?>@         BC?CA>?O BC?CA>A>E ?>F>>>F>>>H>> E DFG>>F>>>H>> E DFG>>F>>>H>> E DFG>>F>>>H>>              I.J.K.                      ,
    ;QM.0.1./23.4567.8                                                 VAB@AD@B>            BC?CA>?O BC?CA>A>E ?DFG>>F>>>H>> E GF>>>F>>>H>> E?>F>>>F>>>H>> E GF>>>F>>>H>>         I.J.K.                      ,
    N;50UM.                                                                   TNT>>=OB@>A         BC?CA>?O BC?CA>A>E ?DFG>>F>>>H>> E GF>>>F>>>H>> E?>F>>>F>>>H>> E GF>>>F>>>H>>         I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>>GA>@        BC?CA>?O BC?CA>A>E ADFG>>F>>>H>> E ?>F>>>F>>>H>> E?>F>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      ,
    S34W[M./23.4;0RH                                                       IN?>ADODD>>         BC?CA>?O BC?CA>A>E BDFG>>F>>>H>> E GF>>>F>>>H>> E?>F>>>F>>>H>> E ?>F>>>F>>>H>>        I.J.K.                      ,
    ]/04W/03T237U2/;M./1./23.4567.8                                 LD?=OD>O=>>?         BC?CA>?O BC?CA>A>E BDFG>>F>>>H>> E GF>>>F>>>H>> E?>F>>>F>>>H>> E GF>>>F>>>H>>         I.J.K.                      ,
    SUUMR]3URS//23.4567.8XIHTHZF1.4H                                 B>GBBG?              BC?CA>?O BC?CA>A>E =DFG>>F>>>H>> E A>F>>>F>>>H>> E=>F>>>F>>>H>> E A>F>>>F>>>H>>       I.J.K.                      ,
    S03M08T74MU081./23.4567.8                                        >?cN;>>>>?AB>>      BC?CA>?O BC?CA>A>E =DFG>>F>>>H>> E GF>>>F>>>H>> E=>F>>>F>>>H>> E GF>>>F>>>H>>         I.J.K.                      ,
    5U.81./23.4567.8                                                    S[==@>@?O            BC?CA>?O BC?CA>A>E =DFG>>F>>>H>> E ?GF>>>F>>>H>> E=>F>>>F>>>H>> E ?GF>>>F>>>H>>       I.J.K.                      ,
    ,.R23.4S63M4.1./23.4567.8                                        ,N5?>>>=G=D>G       BC?CA>?O BC?CA>A>E DFG>>F>>>H>> E ?>F>>>F>>>H>> EAGF>>>F>>>H>> E ?>F>>>F>>>H>>       I.J.K.                      ,
    ,-./0.1./23.4567.8                                                  9:;<=,I,?>>A?A       BC?CA>?O BC?CA>A>E DFG>>F>>>H>> E ?GF>>>F>>>H>> EAGF>>>F>>>H>> E ?GF>>>F>>>H>>       I.J.K.                      ,
    L6M.M1./23.4567.8                                                    5,N>O@>>?@@>@        BC?CA>?O BC?CA>A>E ??AFG>>F>>>H>> E BAFG>>F>>>H>> EBAFG>>F>>>H>> E BAFG>>F>>>H>>      I.J.K.                      ,
    ;M\3081./23.4I.R3K3M03/F1.4H                                        ?>>>BABO=D>?         BC?CA>?O BC?CA>A>E ?=GF>>>F>>>H>> E B>F>>>F>>>H>> EB>F>>>F>>>H>> E B>F>>>F>>>H>>      I.J.K.                      ,
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     B##.f#"=)`(>ZB##.f#"^_)b=)`(>                                                    B,!hb9!D,-.                                           ib\(_^)                       EE^__ EE^_` EE^__ EE^_`a:\\:\\\7\\a\\:\\\7\\ a\\:\\\7\\ cd8            cd8              e
     B##.f#"=)`(>Ze#dC!d^_b^_)=^^>                                                           9!D,-.[%B,!                                       +AC&&&_                       )EE^] )EE^]] )EE^] )EE^]]a                         b        cd8          cd8 cd8      cd8              +e
     B##.f#"=)`(>Ze#dC!d^_b^_)=^^>                                                           9!D,-.[%B,!                                       +AC&&&_                       )EE^]] )EE^]_ )EE^]] )EE^]_a                         b        cd8          cd8 cd8      cd8              +e
     B##.f#"=)`(>Ze#dC!d^_b^_)=^^>                                                           9!D,-.[%B,!                                       +AC&&&_                       )EE^]_ )EE^]` )EE^]_ )EE^]`a                         b        cd8          cd8 cd8      cd8              +e
     B##.f#"=)`(>Ze#dC!d^_b^_)=^^>                                                           9!D,-.[%B,!                                       +AC]^\^                       )EE^]` )EE^]^ )EE^]` )EE^]^a                         b cd8(               cd8( cd8      cd8              e
     B##.f#"=)`(>Ze#dC!d^_b^_)=^^>                                                           9!D,-.[%B,!                                       +AC]^\^                       )EE^]^ )EE^_\ )EE^]^ )EE^_\a                         b cd8(               cd8( cd8      cd8              e
     B##.f#"=)`(>Ze#dC!d^_b^_)=^^>                                                           9!D,-.[%B,!                                       +AC]^\^                       )EE^_\ )EE^_ )EE^_\ )EE^_a                         b cd8(               cd8( cd8      cd8              e
     B##.f#"=)`(>Ze#dC!d^_b^_)=^^>                                                           9!D,-.[%B,!                                       cd8                         )EE^_ )EE^_( )EE^_ )EE^_(a                         b        cd8          cd8 cd8      cd8              +e
     B#=\>ZB#^_b=\>                                                                                g%9!D,-.f8:C%"7                                 gjB)\^]                       EE^_ EE^_ EE^_ EE^_a                         b a\\:\\\7\\ a\\:\\\7\\ cd8  cd8              +e
     B#=\>ZB#^_b=\>                                                                                g%9!D,-.f8:C%"7                                 gjB)\^]                       EE^_ EE^_] EE^_ EE^_]a                         b a\\:\\\7\\ a\\:\\\7\\ cd8  cd8              +e
     B#=\>ZB#^_b=\>                                                                                g%9!D,-.f8:C%"7                                 gjB)\^]                       EE^_] EE^__ EE^_] EE^__a                         b a\\:\\\7\\ a\\:\\\7\\ cd8  cd8              +e
     B#=\>ZB#^_b=\>                                                                                [%#cg9!D,-.%%':B                  Ae(_\\\                     EE^_] EE^__ EE^_] EE^__a \\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8                     cd8              e
     B#=\>ZB#^_b=\>                                                                                B,!hb9!D,-.                                           ib\(_^)                       EE^_] EE^__ EE^_] EE^__a:\\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8               cd8              e
     B#=\>ZB#^_b=\>                                                                                g%9!D,-.f8:C%"7                                 gjB^^                       EE^__ EE^_` EE^__ EE^_`a                         b a\\:\\\7\\ a\\:\\\7\\ cd8  cd8              e
     B#=\>ZB#^_b=\>                                                                                [%#cg9!D,-.%%':B                  Ae(^^_                      EE^__ EE^_` EE^__ EE^_`a \\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8                     cd8              e
     B#=\>ZB#^_b=\>                                                                                B,!hb9!D,-.                                           ib\(_^)                       EE^__ EE^_` EE^__ EE^_`a:\\:\\\7\\a\\:\\\7\\ a\\:\\\7\\ cd8            cd8              e
     B#=\>ZB#^_b=\>                                                                                g%9!D,-.f8:C%"7                                 gjB^^                       EE^_` EE^_^ EE^_` EE^_^a                         b a\\:\\\7\\ a\\:\\\7\\ cd8  cd8              e
     B#=\>ZB#^_b=\>                                                                                g%9!D,-.f8:C%"7                                 gjB^^                       EE^_^ EE^`\ EE^_^ EE^`\a                         b a\\:\\\7\\ a\\:\\\7\\ cd8  cd8              e
     B#=\>Zk#^((b^_(=\)>                                                                          9!D,-.[%B,!                                       cd8                         )EE^]^ )EE^_\ )EE^]^ )EE^_\a                         b        cd8          cd8 cd8      cd8              +e
     B#=\>Zk#^((b^_(=\)>                                                                          9!D,-.[%B,!                                       +AC]^(^                       )EE^_\ )EE^_ )EE^_\ )EE^_a                         b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e
     B#=\>Zk#^((b^_(=\)>                                                                          9!D,-.[%B,!                                       +AC\                       )EE^_ )EE^_( )EE^_ )EE^_(a                         b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      9!D,-.[%B,!                                       +AC()`                   )E()E^])E()E^]] )E()E^] )E()E^]]a                        b        cd8          cd8 cd8      cd8              +e
     B#=\>ZiD%.^b(\^=\(>                                                                      9!D,-.[%B,!                                       +AC()`                   )E()E^]])E()E^]_ )E()E^]] )E()E^]_a                        b        cd8          cd8 cd8      cd8              +e
     B#=\>ZiD%.^b(\^=\(>                                                                      9!D,-.[%B,!                                       +AC()`                   )E()E^]_)E()E^]` )E()E^]_ )E()E^]`a                        b        cd8          cd8 cd8      cd8              +e
     B#=\>ZiD%.^b(\^=\(>                                                                      9!D,-.[%B,!                                       +AC]^(`                   )E()E^]`)E()E^]^ )E()E^]` )E()E^]^a                        b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      9!D,-.[%B,!                                       +AC]^(`                   )E()E^]^)E()E^_\ )E()E^]^ )E()E^_\a                        b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      9!D,-.[%B,!                                       +AC]^(`                   )E()E^_\)E()E^_ )E()E^_\ )E()E^_a                        b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      9!D,-.[%B,!                                       +AC                     )E()E^_)E()E^_( )E()E^_ )E()E^_(a                        b a\\:\\\7\\ a\\:\\\7\\ cd8  cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      g%9!D,-.f8:C%"7                                 gjB)]\(\                       )EE^_ )EE^_] )EE^_ )EE^_]a                         b        cd8          cd8 cd8      cd8              +e
     B#=\>ZiD%.^b(\^=\(>                                                                      [%#cg9!D,-.%%':B                  Ae(_\\                     EE^_] EE^__ EE^_] EE^__a \\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8                     cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      B,!hb9!D,-.                                           ib\(_^)                       EE^_] EE^__ EE^_] EE^__a:\\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8               cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      g%9!D,-.f8:C%"7                                 gjB(^(                       )EE^_] )EE^__ )EE^_] )EE^__a                         b a\\:\\\7\\ a\\:\\\7\\ cd8  cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      [%#cg9!D,-.%%':B                  Ae(^^`                      EE^__ EE^_` EE^__ EE^_`a \\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8                     cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      B,!hb9!D,-.                                           ib\(_^)                       EE^__ EE^_` EE^__ EE^_`a:\\:\\\7\\a\\:\\\7\\ a\\:\\\7\\ cd8            cd8              e
     B#=\>ZiD%.^b(\^=\(>                                                                      g%9!D,-.f8:C%"7                                 cd8                         )EE^__ )EE^_` )EE^__ )EE^_`a                         b        cd8          cd8 cd8      cd8              +e
     B"8l!d=)\)>ZB"8l!d=)\)>                                                                      +%7#g"i9!D,-.                               cd8                         EE^_\ EE^_ EE^_\ EE^_a                         b        cd8          cd8 cd8      cd8              +e
     B"8l!d=)\)>ZB"8l!d=)\)>                                                                      9!D,-.[%B,!                                       cd8                         EE^_ EE^_( EE^_ EE^_(a                         b        cd8          cd8 cd8      cd8              +e
     B"8l!d=)\)>ZB"8l!d=)\)>                                                                      [%#cg9!D,-.%%':B                  Ae(_\`                     EE^_] EE^__ EE^_] EE^__a \\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8                     cd8              e
     B"8l!d=)\)>ZB"8l!d=)\)>                                                                      B,!hb9!D,-.                                           ib\(_^)                       EE^_] EE^__ EE^_] EE^__a:\\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8               cd8              e
     B"8l!d=)\)>ZB"8l!d=)\)>                                                                      [%#cg9!D,-.%%':B                  Ae((\`                      EE^__ EE^_` EE^__ EE^_`a \\:\\\7\\a:\\\:\\\7\\a:\\\:\\\7\\ cd8                     cd8              e
     B"8l!d=)\)>ZB"8l!d=)\)>                                                                      B,!hb9!D,-.                                           ib\(_^)                       EE^__ EE^_` EE^__ EE^_`a:\\:\\\7\\a\\:\\\7\\ a\\:\\\7\\ cd8            cd8              e
     B%.m.B=_>ZB%.m.B=_>                                                              9!D,-.[%B,!                                       +AC\`                       ^E^E^] ^E^E^]] ^E^E^] ^E^E^]]a                         b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e
     B%.m.B=_>ZB%.m.B=_>                                                              9!D,-.[%B,!                                       +AC\`                       ^E^E^]] ^E^E^]_ ^E^E^]] ^E^E^]_a                         b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e
     B%.m.B=_>ZB%.m.B=_>                                                              9!D,-.[%B,!                                       +AC\`                       ^E^E^]_ ^E`E^]` ^E^E^]_ ^E`E^]`a                         b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e
     B%.m.B=_>ZB%.m.B=_>                                                              9!D,-.[%B,!                                       +AC\`                       ^E^E^]` ^E^E^]^ ^E^E^]` ^E^E^]^a                         b a:\\\:\\\7\\a:\\\:\\\7\\ cd8     cd8              e




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                                                                         Case 20-10343-LSS                                    Doc 10296 Filed 09/06/22                                               Page 353 of 498
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    ./01/232/.456789./01/232/.45678                       :/;<4/=>?@/2A401.?4B=                        O/P/Q/                 HIHI6H7F HIHI6H76 HIHI6H7F HIHI6H76K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    ./01/232/.456789./01/232/.45678                       :/;<4/=>?@/2A401.?4B=                        O/P/Q/                 HIHI6H76 HIHI6H7 HIHI6H76 HIHI6H7K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    ./01/232/.456789./01/232/.45678                       O/P/Q/                                                   O/P/Q/                 HIHI6H7 HIHI6H7S HIHI6H7 HIHI6H7SK                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    ./01/232/.456789./01/232/.45678                       :/;<4/=>?@/2A401.?4B=                        TD>GHG76               HIHI6H7 HIHI6H7S HIHI6H7 HIHI6H7SK6MFFFMFFFNFF O/P/Q/                 O/P/Q/ O/P/Q/        O/P/Q/              CR
    ./01/232/.456789./01/232/.45678                       O/P/Q/                                                   O/P/Q/                 HIHI6H7S HIHI6H7 HIHI6H7S HIHI6H7K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    ./01/232/.456789./01/232/.45678                       :/;<4/=>?@/2A401.?4B=                        TD>GHG76               HIHI6H7S HIHI6H7 HIHI6H7S HIHI6H7K6MFFFMFFFNFF O/P/Q/                 O/P/Q/ O/P/Q/        O/P/Q/              CR
    ./01/232/.456789./01/232/.45678                       O/P/Q/                                                   O/P/Q/                 HIHI6H7 HIHI6H7 HIHI6H7 HIHI6H7K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    ./01/232/.456789./01/232/.45678                       :/;<4/=>?@/2A401.?4B=                        TD>GHG76               HIHI6H7 HIHI6H7 HIHI6H7 HIHI6H7K6MFFFMFFFNFF O/P/Q/                 O/P/Q/ O/P/Q/        O/P/Q/              CR
    ./01/232/.456789./01/232/.45678                       :/;<4/=>?@/2A401.?4B=                        TD>66JH              HIHI6H7 6I6I6H7J HIHI6H7 6I6I6H7JK6MFFFMFFFNFFK6MFFMFFFNFFK6MFFMFFFNFF O/P/Q/        O/P/Q/              R
    ./01/232/.456789./01/232/.45678                       A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR667FS6             6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    ./01/232/.456789./01/232/.45678                       .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K6MFFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/        O/P/Q/              R
    ./01/232/.456789./01/232/.45678                       :/;<4/=>?@/2A401.?4B=                        TD>66JH              HIHI6H7J HIHI6H77 HIHI6H7J HIHI6H77K6MFFFMFFFNFFK6MFFMFFFNFFK6MFFMFFFNFF O/P/Q/        O/P/Q/              R
    ./01/232/.456789./01/232/.45678                       A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR66HH77              6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    ./01/232/.456789./01/232/.45678                       .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK6MFFMFFFNFFKFFMFFFNFF KFFMFFFNFF O/P/Q/     O/P/Q/              R
    ./01/232/.456789./01/232/.45678                       :/;<4/=>?@/2A401.?4B=                        TD>66JH              HIHI6H77 6I6I6H7G HIHI6H77 6I6I6H7GK6MFFFMFFFNFFK6MFFMFFFNFFK6MFFMFFFNFF O/P/Q/        O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 :/;<4/=>?@/2A401.?4B=                        CDEHS             SI6I6HJ SI6I6HJJ SI6I6HJ SI6I6HJJK                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .4W<=PU.45JG89.4W<=PU.45JG8                                 :/;<4/=>?@/2A401.?4B=                        CDEHS             SI6I6HJJ SI6I6HJ7 SI6I6HJJ SI6I6HJ7K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .4W<=PU.45JG89.4W<=PU.45JG8                                 :/;<4/=>?@/2A401.?4B=                        CDEHS             SI6I6HJ7 SI6I6HJG SI6I6HJ7 SI6I6HJGK                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .4W<=PU.45JG89.4W<=PU.45JG8                                 :/;<4/=>?@/2A401.?4B=                        CDEJH66               SI6I6HJG SI6I6HJH SI6I6HJG SI6I6HJHK                L KFMFFFNFF KFMFFFNFF O/P/Q/    O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 :/;<4/=>?@/2A401.?4B=                        CDEJH66               SI6I6HJH SI6I6H7F SI6I6HJH SI6I6H7FK                L KFMFFFNFF KFMFFFNFF O/P/Q/    O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 :/;<4/=>?@/2A401.?4B=                        CDEJH66               SI6I6H7F SI6I6H76 SI6I6H7F SI6I6H76K                L KFMFFFNFF KFMFFFNFF O/P/Q/    O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 :/;<4/=>?@/2A401.?4B=                        CDE66             SI6I6H76 SI6I6H7 SI6I6H76 SI6I6H7K                L KFMFFFNFF KFMFFFNFF O/P/Q/    O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 :/;<4/=>?@/2A401.?4B=                        CDE6FF             SI6I6H7SI66I6H7 SI6I6H7 SI66I6H7K               L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .4W<=PU.45JG89.4W<=PU.45JG8                                 A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR667S67             6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K6MFFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/        O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 AQZ?@;1B4:/;<4/=>?@/2                           CE7J66           SII6H7JSII6H77 SII6H7J SII6H77K              L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .4W<=PU.45JG89.4W<=PU.45JG8                                 A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR6FF7F              6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK6MFFMFFFNFFKFFMFFFNFF KFFMFFFNFF O/P/Q/     O/P/Q/              R
    .4W<=PU.45JG89.4W<=PU.45JG8                                 AQZ?@;1B4:/;<4/=>?@/2                           O/P/Q/                SII6H77SII6H7G SII6H77 SII6H7GK              L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     O/P/Q/                                                   O/P/Q/                 6I6I6H7F 6I6I6H76 6I6I6H7F 6I6I6H76K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     Y42U/[>;<U02>?@/2                                 O/P/Q/                 6I6I6H76 6I6I6H7 6I6I6H76 6I6I6H7K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     Y42U/[>;<U02>?@/2                                 O/P/Q/                 6I6I6H7 6I6I6H7S 6I6I6H7 6I6I6H7SK                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     Y42U/[>;<U02>?@/2                                 O/P/Q/                 6I6I6H7S 6I6I6H7 6I6I6H7S 6I6I6H7K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     Y42U/[>;<U02>?@/2                                 O/P/Q/                 6I6I6H7 6I6I6H7 6I6I6H7 6I6I6H7K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     Y42U/[>;<U02>?@/2                                 O/P/Q/                 6I6I6H7 6I6I6H7 6I6I6H7 6I6I6H7K FFMFFFNFF O/P/Q/                       O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     \4/;?4B=:/;<4/=>?@/2                            O/P/Q/                 6I6I6H7 6I6I6H7J 6I6I6H7 6I6I6H7JK                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     \4/;?4B=:/;<4/=>?@/2                            O/P/Q/                 6I6I6H7 6I6I6H7J 6I6I6H7 6I6I6H7JK FFMFFFNFF O/P/Q/                       O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     \4/;?4B=:/;<4/=>?@/2                            5\J8G7G7            6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR66JHGH             6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    .0U/0.45H89.0U/0.45H8                                     .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K6MFFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/        O/P/Q/              R
    .0U/0.45H89.0U/0.45H8                                     \4/;?4B=:/;<4/=>?@/2                            O/P/Q/                 6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    .0U/0.45H89.0U/0.45H8                                     A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR66HHS7              6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    .0U/0.45H89.0U/0.45H8                                     .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK6MFFMFFFNFFKFFMFFFNFF KFFMFFFNFF O/P/Q/     O/P/Q/              R
    D[/LQUU5SJG89D[/LQUU6H7L6HHG5SG68                         A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR66767F             6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    D[/LQUU5SJG89D[/LQUU6H7L6HHG5SG68                         .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K6MFFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/        O/P/Q/              R
    D[/LQUU5SJG89D[/LQUU6H7L6HHG5SG68                         A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR6FFF7              6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    D[/LQUU5SJG89D[/LQUU6H7L6HHG5SG68                         .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK6MFFMFFFNFFKFFMFFFNFF KFFMFFFNFF O/P/Q/     O/P/Q/              R
    D[/LQUU5SJG89E<B;.;;B]V<40;6HHL6H75SG68                ^/4U.==B[/0:/;<4/=>?@/2.?4B=             O/P/Q/                 6I6I6H7F 6I6I6H76 6I6I6H7F 6I6I6H76K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          :/;<4/=>?@/2A401.?4B=                        H>^EGJH             SI6HI6HGSI6HI6HH SI6HI6HG SI6HI6HHK              L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          :/;<4/=>?@/2A401.?4B=                        HL>^ELGJJF            SI6HI6HHSI6HI6HJF SI6HI6HH SI6HI6HJFK              L K MFFFNFF KMFFFNFF O/P/Q/          O/P/Q/              R
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          :/;<4/=>?@/2A401.?4B=                        .^7FS              SI6HI6HJJSI6HI6HJ7 SI6HI6HJJ SI6HI6HJ7K              L KSFFMFFFNFF KSFFMFFFNFF O/P/Q/    O/P/Q/              R
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          :/;<4/=>?@/2A401.?4B=                        .^7FS              SI6HI6HJ7SI6HI6HJG SI6HI6HJ7 SI6HI6HJGK              L KSFFMFFFNFF KSFFMFFFNFF O/P/Q/    O/P/Q/              R
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          :/;<4/=>?@/2A401.?4B=                        .^7FS              SI6HI6HJGSI6HI6HJH SI6HI6HJG SI6HI6HJHK              L KSFFMFFFNFF KSFFMFFFNFF O/P/Q/    O/P/Q/              R
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR6676             6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K6MFFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/        O/P/Q/              R
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR6FFF              6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    D[/LQUU5SJG89C<;_<//6HL6HHG5SJG8                          .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK6MFFMFFFNFFKFFMFFFNFF KFFMFFFNFF O/P/Q/     O/P/Q/              R
    D[/LQUU5SJG89\B<1/B6HFL6H75SGS8                          :/;<4/=>?@/2A401.?4B=                        ^E7HH            6I6I6H7I6I6H7 6I6I6H7 I6I6H7K               L KFFMFFFNFF KFFMFFFNFF O/P/Q/    O/P/Q/              R
    D[/LQUU5SJG89\B<1/B6HFL6H75SGS8                          O/P/Q/                                                   O/P/Q/                 6I6I6H7 6I6I6H7J 6I6I6H7 6I6I6H7JK                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    D[/LQUU5SJG89\B<1/B6HFL6H75SGS8                          :/;<4/=>?@/2A401.?4B=                        T`\S667            6I6I6H7I6I6H7 6I6I6H7 I6I6H7K FFMFFFNFFKMFFFMFFFNFFKMFFFMFFFNFF O/P/Q/             O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D6F77           6I6I6H7F 6I6I6H76 6I6I6H7F 6I6I6H76K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D6FGHSH           6I6I6H76 6I6I6H7 6I6I6H76 6I6I6H7K                L KFFMFFFNFF KFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D6FGHSH           6I6I6H7 6I6I6H7S 6I6I6H7 6I6I6H7SK                L KFFMFFFNFF KFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D6FGHSH           6I6I6H7S I6I6H7S 6I6I6H7S I6I6H7SK                L KFFMFFFNFF KFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D6FGHSH           I6I6H7S 6I6I6H7 I6I6H7S 6I6I6H7K                L KSFFMFFFNFF KSFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D66JS6           6I6I6H7 6I6I6H7 6I6I6H7 6I6I6H7K                L KSFFMFFFNFF KSFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D66JS6           6I6I6H7 6I6I6H7J 6I6I6H7 6I6I6H7JK                L KSFFMFFFNFF KSFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D66JS6           6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K                L KFFMFFFNFF KFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR667FJ             6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K6MFFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/        O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D66G7           6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK                L KFFMFFFNFF KFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR6F66S              6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK6MFFMFFFNFFKFFMFFFNFF KFFMFFFNFF O/P/Q/     O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D66G7           6I6I6H7G 6I6I6H7H 6I6I6H7G 6I6I6H7HK                L KFFMFFFNFF KFFMFFFNFF O/P/Q/    O/P/Q/              R
    DU0B?4.45F89DU0B?4.45F8                               Z404[VB4:/;<4/=>?@/2                           SF>D66G7           6I6I6H7H 6I6I6HGF 6I6I6H7H 6I6I6HGFK                L KFFMFFFNFF KFFMFFFNFF O/P/Q/    O/P/Q/              R
    D2.45789D2.4578                                           AQZ?@;1B4:/;<4/=>?@/2                           O/P/Q/                 6I6I6H7 6I6I6H7J 6I6I6H7 6I6I6H7JK                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    D2.45789D2.4578                                           AQZ?@;1B4:/;<4/=>?@/2                           ^E.6F7J            6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K                L       O/P/Q/           O/P/Q/ O/P/Q/        O/P/Q/              CR
    D2.45789D2.4578                                           A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR667S7H             6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    D2.45789D2.4578                                           .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H7J 6I6I6H77 6I6I6H7J 6I6I6H77K6MFFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/        O/P/Q/              R
    D2.45789D2.4578                                           AQZ?@;1B4:/;<4/=>?@/2                           ^E.SSSSJ            6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK                L K FMFFFNFF KFMFFFNFF O/P/Q/          O/P/Q/              R
    D2.45789D2.4578                                           A0B/UO/B/VB4:/;<4/=>?@/2B00;W<41M.   DR6F6F              6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK FFMFFFNFFK6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/              O/P/Q/              R
    D2.45789D2.4578                                           .?4B=/XL:/;<4/=>?@/2                             YL6F7HS               6I6I6H77 6I6I6H7G 6I6I6H77 6I6I6H7GK6MFFMFFFNFFKFFMFFFNFF KFFMFFFNFF O/P/Q/     O/P/Q/              R
    D2LEP;5JS89D[46HJL6H7S5J8                                  :/;<4/=>?@/2A401.?4B=                        CDEJH7            JII6HJGJII6HJH JII6HJG JII6HJHK              L K6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/       O/P/Q/              R
    D2LEP;5JS89D[46HJL6H7S5J8                                  :/;<4/=>?@/2A401.?4B=                        CDEJH7            JII6HJHJII6H7F JII6HJH JII6H7FK              L K6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/       O/P/Q/              R
    D2LEP;5JS89D[46HJL6H7S5J8                                  :/;<4/=>?@/2A401.?4B=                        CDEJH7            JII6H7FJII6H76 JII6H7F JII6H76K              L K6MFFFMFFFNFFK6MFFFMFFFNFF O/P/Q/       O/P/Q/              R
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    ./01234567./0123456                                           8M>ANEA>AO>?@A3B?ACD;<A/>MM3PB?=QR   .LFSFIS               FGFGFHI5 FGFGFHII FGFGFHI5 FGFGFHIIJ TTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A                EA2A9A              L
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    ./01234567./0123456                                           89:;<3=>?@A3B?ACD;<A/                           EA2A9A                   FGFGFHII FGFGFHIX FGFGFHII FGFGFHIXJ                  0       EA2A9A           EA2A9A EA2A9A        EA2A9A              KL
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    ./012345678>CNMR?FH0FHI45SF6                              @A3B?ACD;<A/8?M=R;?>C                        K.100F0FX               IGFGFH55 IGFGFH5I IGFGFH55 IGFGFH5IJ                  0       EA2A9A           EA2A9A EA2A9A        EA2A9A              KL
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    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                                          IXXXHGFGFH5SHGFGFH5 HGFGFH5S HGFGFH5J                 0 J TQTTTUTT JTQTTTUTT EA2A9A          EA2A9A              KL
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    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                                           ITFTFTGFGFH5 GFGFH55 FTGFGFH5 GFGFH55J                0 JSTQTTTUTT JSTQTTTUTT EA2A9A    EA2A9A              KL
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        K.1ITF5                FTGFGFH55FTGFGFH5I FTGFGFH55 FTGFGFH5IJ                0 JSTQTTTUTT JSTQTTTUTT EA2A9A    EA2A9A              L
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        K.15SS                FTGFGFH5IFTGFGFH5X FTGFGFH5I FTGFGFH5XJ                0 JSTQTTTUTT JSTQTTTUTT EA2A9A    EA2A9A              L
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        K.15T                FTGFGFH5XFTGFGFH5H FTGFGFH5X FTGFGFH5HJ                0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        K.155                FTGFGFH5HFTGFGFHIT FTGFGFH5H FTGFGFHITJ                0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                                           FSTFHFTGFGFHITFTGFGFHIF FTGFGFHIT FTGFGFHIFJ                 0 JTTQTTTUTT JTTQTTTUTT EA2A9A    EA2A9A              KL
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    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        ]R1SFFII5             FTGFGFHIFTGFGFHI FTGFGFHI FTGFGFHIJ                0 JTTQTTTUTT JTTQTTTUTT EA2A9A    EA2A9A              L
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    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        ]R1SF5                FTGFGFHIFTGFGFHI FTGFGFHI FTGFGFHIJ                0 JTTQTTTUTT JTTQTTTUTT EA2A9A    EA2A9A              KL
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    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        ]R1SF5                FTGFGFHIFTGFGFHI5 FTGFGFHI FTGFGFHI5J                0 JTTQTTTUTT JTTQTTTUTT EA2A9A    EA2A9A              KL
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        ^.DHIIS              FTGFGFHIFTGFGFHI5 FTGFGFHI FTGFGFHI5J TTQTTTUTTJSQTTTQTTTUTTJSQTTTQTTTUTT EA2A9A              EA2A9A              KL
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             8M>ANEA>AO>?@A3B?ACD;<A/>MM3PB?=QR   .LFSFI5S               FGFGFHI5 FGFGFHII FGFGFHI5 FGFGFHIIJ TTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A                EA2A9A              L
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             R;?>CAV0@A3B?ACD;<A/                             W0FTSIH                 FGFGFHI5 FGFGFHII FGFGFHI5 FGFGFHIIJFQTTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A          EA2A9A              L
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        EA2A9A                  FTGFGFHI5FTGFGFHII FTGFGFHI5 FTGFGFHIIJ                0       EA2A9A           EA2A9A EA2A9A        EA2A9A              KL
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             8M>ANEA>AO>?@A3B?ACD;<A/>MM3PB?=QR   .LFSSTSX                FGFGFHII FGFGFHIX FGFGFHII FGFGFHIXJ TTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A                EA2A9A              L
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             R;?>CAV0@A3B?ACD;<A/                             W0FTSIH                 FGFGFHII FGFGFHIX FGFGFHII FGFGFHIXJFQTTQTTTUTTJTTQTTTUTT JTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             @A3B?ACD;<A/8?M=R;?>C                        EA2A9A                  FTGFGFHIIFTGFGFHIX FTGFGFHII FTGFGFHIXJ                0       EA2A9A           EA2A9A EA2A9A        EA2A9A              KL
    .NC2:>NN3R?45H67.NC2:>NN3R?45H6                             _?`N?3@A3B?ACD;<A/                               5T0FHXaFII0R0@8b0XX SGFGFHXXSGFGFHXH SGFGFHXX SGFGFHXHJ                    0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2K9;<R?4H67BM0:A0KAR?FHT0FHHS4H6                   EA2A9A                                                   EA2A9A                   FGFGFH5 FGFGFHI FGFGFH5 FGFGFHIJ                  0       EA2A9A           EA2A9A EA2A9A        EA2A9A              KL
    .NC2K9;<R?4H67BM0:A0KAR?FHT0FHHS4H6                   :?M?YRCC>YAMAY@AY;A>M/D;<A/                   D.FTIXS            GS5GFHIGS5GFHI5 GS5GFHI GS5GFHI5J                0 JTTQTTTUTT JTTQTTTUTT EA2A9A    EA2A9A              L
    .NC2K9;<R?4H67BM0:A0KAR?FHT0FHHS4H6                   8M>ANEA>AO>?@A3B?ACD;<A/>MM3PB?=QR   .LFSFISTF               FGFGFHI5 FGFGFHII FGFGFHI5 FGFGFHIIJ TTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A                EA2A9A              L
    .NC2K9;<R?4H67BM0:A0KAR?FHT0FHHS4H6                   R;?>CAV0@A3B?ACD;<A/                             W0FTSIH                 FGFGFHI5 FGFGFHII FGFGFHI5 FGFGFHIIJFQTTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A          EA2A9A              L
    .NC2K9;<R?4H67BM0:A0KAR?FHT0FHHS4H6                   :?M?YRCC>YAMAY@AY;A>M/D;<A/                   D.FTIXS            GS5GFHI5GS5GFHII GS5GFHI5 GS5GFHIIJ                0 JTTQTTTUTT JTTQTTTUTT EA2A9A    EA2A9A              L
    .NC2K9;<R?4H67BM0:A0KAR?FHT0FHHS4H6                   8M>ANEA>AO>?@A3B?ACD;<A/>MM3PB?=QR   .LFSSTT                FGFGFHII FGFGFHIX FGFGFHII FGFGFHIXJ TTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A                EA2A9A              L
    .NC2K9;<R?4H67BM0:A0KAR?FHT0FHHS4H6                   R;?>CAV0@A3B?ACD;<A/                             W0FTSIH                 FGFGFHII FGFGFHIX FGFGFHII FGFGFHIXJFQTTQTTTUTTJTTQTTTUTT JTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2K9;<R?4H67BM0:A0KAR?FHT0FHHS4H6                   :?M?YRCC>YAMAY@AY;A>M/D;<A/                   D.FTIXS            GS5GFHIIGS5GFHIX GS5GFHII GS5GFHIXJ                0 JTTQTTTUTT JTTQTTTUTT EA2A9A    EA2A9A              L
    .NC2K9;<R?4H67K=9AFHS50FHHS4S6                            ]A?NRCC>YAM@A3B?ACD;<A/R;?>C                               IFIGSTGFH5FIGSTGFH5S IGSTGFH5F IGSTGFH5SJ                 0       EA2A9A           EA2A9A EA2A9A        EA2A9A              KL
    .NC2K9;<R?4H67K=9AFHS50FHHS4S6                            ]A?NRCC>YAM@A3B?ACD;<A/R;?>C                               IFIGSTGFH5SIGSTGFH5 IGSTGFH5S IGSTGFH5J                 0       EA2A9A           EA2A9A EA2A9A        EA2A9A              KL
    .NC2K9;<R?4H67K=9AFHS50FHHS4S6                            ]A?NRCC>YAM@A3B?ACD;<A/R;?>C                               IFIGSTGFH5IGSTGFH5 IGSTGFH5 IGSTGFH5J                 0       EA2A9A           EA2A9A EA2A9A        EA2A9A              KL
    .NC2K9;<R?4H67K=9AFHS50FHHS4S6                            8M>ANEA>AO>?@A3B?ACD;<A/>MM3PB?=QR   .LFSFISTS               FGFGFHI5 FGFGFHII FGFGFHI5 FGFGFHIIJ TTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A                EA2A9A              L
    .NC2K9;<R?4H67K=9AFHS50FHHS4S6                            R;?>CAV0@A3B?ACD;<A/                             W0FTSIH                 FGFGFHI5 FGFGFHII FGFGFHI5 FGFGFHIIJFQTTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A          EA2A9A              L
    .NC2K9;<R?4H67K=9AFHS50FHHS4S6                            8M>ANEA>AO>?@A3B?ACD;<A/>MM3PB?=QR   .LFSSTT                FGFGFHII FGFGFHIX FGFGFHII FGFGFHIXJ TTQTTTUTTJFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A                EA2A9A              L
    .NC2K9;<R?4H67K=9AFHS50FHHS4S6                            R;?>CAV0@A3B?ACD;<A/                             W0FTSIH                 FGFGFHII FGFGFHIX FGFGFHII FGFGFHIXJFQTTQTTTUTTJTTQTTTUTT JTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2\??>?4567.NC2\??>?456                                       @A3B?ACD;<A/8?M=R;?>C                        K.1X5                 5GFGFH55 5GFGFH5I 5GFGFH55 5GFGFH5IJ                  0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2\??>?4567.NC2\??>?456                                       @A3B?ACD;<A/8?M=R;?>C                        K.1X5                 5GFGFH5I 5GFGFH5X 5GFGFH5I 5GFGFH5XJ                  0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2\??>?4567.NC2\??>?456                                       @A3B?ACD;<A/8?M=R;?>C                        K.1X5                 5GFGFH5X 5GFGFH5H 5GFGFH5X 5GFGFH5HJ                  0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2\??>?4567.NC2\??>?456                                       @A3B?ACD;<A/8?M=R;?>C                        K.1FFX                 5GFGFH5H 5GFGFHIT 5GFGFH5H 5GFGFHITJ                  0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2\??>?4567.NC2\??>?456                                       @A3B?ACD;<A/8?M=R;?>C                        K.1FFX                 5GFGFHIT 5GFGFHIF 5GFGFHIT 5GFGFHIFJ                  0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L
    .NC2\??>?4567.NC2\??>?456                                       @A3B?ACD;<A/8?M=R;?>C                        K.1FFX                 5GFGFHIF 5GFGFHIS 5GFGFHIF 5GFGFHISJ                  0 JFQTTTQTTTUTTJFQTTTQTTTUTT EA2A9A       EA2A9A              L




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                                                                                                                                                                                          !35        !35
    -./0122324567-./012232456                                     89:;<=>32?@=A2@/B;<@C                           D@0@9@                  EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -./0122324567-./012232456                                     8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LERE5GE              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -./0122324567-./012232456                                     Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -./0122324567-./012232456                                     89:;<=>32?@=A2@/B;<@C                           D@0@9@                  EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -./0122324567-./012232456                                     8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREGX5W               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -./0122324567-./012232456                                     Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        K-YRS5R               WFEWFEG5HWFEWFEG5X WFEWFEG5H WFEWFEG5XI               J IRSPSSSTSS IRSPSSSTSS D@0@9@   D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        K-YXGSW              WFEWFEG5XWFEWFEG5G WFEWFEG5X WFEWFEG5GI               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        K-YXGSH               WFEWFEG5GWFEWFEGHS WFEWFEG5G WFEWFEGHSI               J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        K-YXGSG               WFEWFEGHSWFEWFEGHE WFEWFEGHS WFEWFEGHEI               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        D@0@9@                 WFEWFEGHE HFEFEGHE WFEWFEGHE HFEFEGHEI                J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        Z-B55WX             WFEWFEGHRWFEWFEGHW WFEWFEGHR WFEWFEGHWI SSPSSSTSS D@0@9@                      D@0@9@ D@0@9@       D@0@9@              KL
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        [QYRESX5S            WFEWFEGHWWFEWFEGH WFEWFEGHW WFEWFEGHI               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        Z-B55WX             WFEWFEGHWWFEWFEGH WFEWFEGHW WFEWFEGHI SSPSSSTSS D@0@9@                      D@0@9@ D@0@9@       D@0@9@              KL
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        [QYRE\\\\            WFEWFEGHWFEWFEGH WFEWFEGH WFEWFEGHI               J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        Z-B55WX             WFEWFEGHWFEWFEGH WFEWFEGH WFEWFEGHI SSPSSSTSS D@0@9@                      D@0@9@ D@0@9@       D@0@9@              KL
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        [QYREESR5            WFEWFEGHWFEWFEGH5 WFEWFEGH WFEWFEGH5I               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        Z-BEEWEER            WFEWFEGHWFEWFEGH5 WFEWFEGH WFEWFEGH5I SSPSSSTSSIRPSSSPSSSTSSIRPSSSPSSSTSS D@0@9@            D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREHSR              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        [QYREESX            WFEWFEGH5WFEWFEGHH WFEWFEGH5 WFEWFEGHHI               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   BLEEWWG             EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREGGHS               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -./0>90Q2455S67-./0>90Q2EGHEJ455S6                         ?@=A2@/B;<@C82M>Q;23/                        [QYRESGS5            WFEWFEGHH EFEFEGHX WFEWFEGHH EFEFEGHXI                J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -.A[2==4RS67-.A[2==EG5WJ4RS6                                 89:;<=>32?@=A2@/B;<@C                           D@0@9@                  EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -.A[2==4RS67-.A[2==EG5WJ4RS6                                 8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREHSE              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.A[2==4RS67-.A[2==EG5WJ4RS6                                 Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -.A[2==4RS67-.A[2==EG5WJ4RS6                                 89:;<=>32?@=A2@/B;<@C                           D@0@9@                  EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -.A[2==4RS67-.A[2==EG5WJ4RS6                                 8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREGGGG               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.A[2==4RS67-.A[2==EG5WJ4RS6                                 Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -.A[2==4RS67Y@=;3@EGWJEGHG4RSW6                          8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREHS              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.A[2==4RS67Y@=;3@EGWJEGHG4RSW6                          Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -.A[2==4RS67Y@=;3@EGWJEGHG4RSW6                          8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LERRSESW               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.A[2==4RS67Y@=;3@EGWJEGHG4RSW6                          Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -.AVA@M3@45S67-.AVA@M3@45S6                                 8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREHRRH              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.AVA@M3@45S67-.AVA@M3@45S6                                 Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -.AVA@M3@45S67-.AVA@M3@45S6                                 8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LERRSR5               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.AVA@M3@45S67-.AVA@M3@45S6                                 Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -.AU3]4E67-.AU3]4E6                                       8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREHWG              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.AU3]4E67-.AU3]4E6                                       Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -.AU3]4E67-.AU3]4E6                                       8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LERRSRXE               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.AU3]4E67-.AU3]4E6                                       Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -.AU3]VA@M3@=4GG67-.AU3]VA@M3@=EGHRJ4GG6             UC.[.O?@=A2@/B;<@C                             D@0@9@                  EFEFEGH EFEFEGH EFEFEGH EFEFEGHI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -.AU3]VA@M3@=4GG67-.AU3]VA@M3@=EGHRJ4GG6             UC.[.O?@=A2@/B;<@C                             D@0@9@                  EFEFEGH EFEFEGH5 EFEFEGH EFEFEGH5I                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -.AU3]VA@M3@=4GG67-.AU3]VA@M3@=EGHRJ4GG6             UC.?@=A2@/BTQ;23/                            D@0@9@                  EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -.AU3]VA@M3@=4GG67-.AU3]VA@M3@=EGHRJ4GG6             8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREHWEW              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.AU3]VA@M3@=4GG67-.AU3]VA@M3@=EGHRJ4GG6             Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -.AU3]VA@M3@=4GG67-.AU3]VA@M3@=EGHRJ4GG6             UC.?@=A2@/BTQ;23/                            D@0@9@                  EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -.AU3]VA@M3@=4GG67-.AU3]VA@M3@=EGHRJ4GG6             8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LERRSRW               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -.AU3]VA@M3@=4GG67-.AU3]VA@M3@=EGHRJ4GG6             Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -.AU3]VA@M3@=4GG673];@MQ2EGWRJEGHR4G6                ?@=A2@/B;<@C82M>Q;23/                        YQ-EHRRR              FEFEG55 FEFEG5H FEFEG55 FEFEG5HI                 J IRSPSSSTSS IRSPSSSTSS D@0@9@   D@0@9@              L
    -.AU3]VA@M3@=4GG673];@MQ2EGWRJEGHR4G6                ?@=A2@/B;<@C82M>Q;23/                        YQ-EHRRR              FEFEG5H FEFEG5X FEFEG5H FEFEG5XI                 J IRSPSSSTSS IRSPSSSTSS D@0@9@   D@0@9@              L
    -.AU3]VA@M3@=4GG673];@MQ2EGWRJEGHR4G6                ?@=A2@/B;<@C82M>Q;23/                        YQ-EHRRR              FEFEG5X FEFEG5G FEFEG5X FEFEG5GI                 J IRSPSSSTSS IRSPSSSTSS D@0@9@   D@0@9@              L
    -.AU3]VA@M3@=4GG673];@MQ2EGWRJEGHR4G6                ?@=A2@/B;<@C82M>Q;23/                        YQ-RREWW              FEFEG5G FEFEGHS FEFEG5G FEFEGHSI                 J IRSPSSSTSS IRSPSSSTSS D@0@9@   D@0@9@              L
    -.AU3]VA@M3@=4GG673];@MQ2EGWRJEGHR4G6                ?@=A2@/B;<@C82M>Q;23/                        YQ-RREWW              FEFEGHS FEFEGHE FEFEGHS FEFEGHEI                 J IRSPSSSTSS IRSPSSSTSS D@0@9@   D@0@9@              L
    -.AU3]VA@M3@=4GG673];@MQ2EGWRJEGHR4G6                ?@=A2@/B;<@C82M>Q;23/                        YQ-RREWW              FEFEGHE FEFEGHR FEFEGHE FEFEGHRI                 J IRSPSSSTSS IRSPSSSTSS D@0@9@   D@0@9@              L
    -A/0C4W567-A/0CEGXJ4W56                                       Q;23/@KMM=?@=A2@/B;<@C                         BYXEJWS              ERFEFEGHWERFEFEGH ERFEFEGHWERFEFEGHI             J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              KL
    -A/0C4W567-A/0CEGXJ4W56                                       Q;23/@KMM=?@=A2@/B;<@C                         KDEEWGG               ERFEFEGHWERFEFEGH ERFEFEGHWERFEFEGHI SSPSSSTSSIRPSSSPSSSTSSIRPSSSPSSSTSS D@0@9@          D@0@9@              KL
    -A/0C4W567-A/0CEGXJ4W56                                       D@0@9@                                                   D@0@9@                ERFEFEGHERFEFEGH ERFEFEGHERFEFEGHI             J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -A/0C4W567-A/0CEGXJ4W56                                       D@0@9@                                                   D@0@9@                ERFEFEGHERFEFEGH ERFEFEGHERFEFEGHI SSPSSSTSS D@0@9@                    D@0@9@ D@0@9@       D@0@9@              KL
    -A/0C4W567-A/0CEGXJ4W56                                       D@0@9@                                                   D@0@9@                ERFERFEGHERFERFEGH5 ERFERFEGHERFERFEGH5I             J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -A/0C4W567-A/0CEGXJ4W56                                       D@0@9@                                                   D@0@9@                ERFEFEGH EFEFEGH5 ERFEFEGH EFEFEGH5I SSPSSSTSS D@0@9@                      D@0@9@ D@0@9@       D@0@9@              KL
    -A/0C4W567-A/0CEGXJ4W56                                       8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREHEG              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -A/0C4W567-A/0CEGXJ4W56                                       Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -A/0C4W567-A/0CEGXJ4W56                                       8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LERRSSX               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -A/0C4W567-A/0CEGXJ4W56                                       Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -A/0C4W567B.A;O3@EGWJEGGE46                                ?@=A2@/B;<@C82M>Q;23/                        K-YSR               5FEEFEG5X5FEEFEG5G 5FEEFEG5X 5FEEFEG5GI               J IEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@      D@0@9@              L
    -A/0C4W567B.A;O3@EGWJEGGE46                                ?@=A2@/B;<@C82M>Q;23/                        K-YSR               5FEEFEG5G5FEEFEGHS 5FEEFEG5G 5FEEFEGHSI               J IEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@      D@0@9@              L
    -A/0C4W567B.A;O3@EGWJEGGE46                                ?@=A2@/B;<@C82M>Q;23/                        K-YSR               5FEEFEGHS5FEEFEGHE 5FEEFEGHS 5FEEFEGHEI               J IEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@      D@0@9@              L
    -A/0C4W567B.A;O3@EGWJEGGE46                                ?@=A2@/B;<@C82M>Q;23/                        K-YE5S               5FEEFEGHE5FEEFEGHR 5FEEFEGHE 5FEEFEGHRI               J IEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@      D@0@9@              L
    -A/0C4W567B.A;O3@EGWJEGGE46                                8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LEREHRSW              EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -A/0C4W567B.A;O3@EGWJEGGE46                                Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -A/0C4W567B.A;O3@EGWJEGGE46                                8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LERRSS5               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -A/0C4W567B.A;O3@EGWJEGGE46                                Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -A/0=03@45EH67Q<<./>3@EG5JEG545HW6                              ?@=A2@/B;<@C82M>Q;23/                        K-YSRG             HFRWFEG5XHFRWFEG5G HFRWFEG5X HFRWFEG5GI               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -A/0=03@45EH67Q<<./>3@EG5JEG545HW6                              ?@=A2@/B;<@C82M>Q;23/                        K-YSRG             HFRWFEG5GHFRWFEGHS HFRWFEG5G HFRWFEGHSI               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -A/0=03@45EH67Q<<./>3@EG5JEG545HW6                              ?@=A2@/B;<@C82M>Q;23/                        K-YSRG             HFRWFEGHSHFRWFEGHE HFRWFEGHS HFRWFEGHEI               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -A/0=03@45EH67Q<<./>3@EG5JEGX54HSH6                              ?@=A2@/B;<@C82M>Q;23/                        K-YEHX               HFRWFEGHEERFFEGHE HFRWFEGHE ERFFEGHEI               J ISSPSSSTSS ISSPSSSTSS D@0@9@   D@0@9@              L
    -A/0=03@45EH67Q<<./>3@EG5JEGX54HSH6                              89:;<=>32?@=A2@/B;<@C                           D@0@9@                  EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -A/0=03@45EH67Q<<./>3@EG5JEGX54HSH6                              Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGH5 EFEFEGHH EFEFEGH5 EFEFEGHHIEPSSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@        D@0@9@              L
    -A/0=03@45EH67Q<<./>3@EG5JEGX54HSH6                              89:;<=>32?@=A2@/B;<@C                           D@0@9@                  EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI                 J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL
    -A/0=03@45EH67Q<<./>3@EG5JEGX54HSH6                              8M3@.D@3@N32?@=A2@/B;<@C3MM=OA2>PQ   -LERRSRG               EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXI SSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@              D@0@9@              L
    -A/0=03@45EH67Q<<./>3@EG5JEGX54HSH6                              Q;23/@UJ?@=A2@/B;<@C                             VJESRHGW                EFEFEGHH EFEFEGHX EFEFEGHH EFEFEGHXIEPSSPSSSTSSISSPSSSTSS ISSPSSSTSS D@0@9@     D@0@9@              L
    -A/0=03@45EH67-A/0=03@EGGJ45EH6                                     QM@B=A.MC@]KA2MCB;<@C                         RGQYSESXS              FESFEG55FESFEG5H FESFEG55 FESFEG5HI               J IESSPSSSTSS IESSPSSSTSS D@0@9@   D@0@9@              KL
    -A/0=03@45EH67-A/0=03@EGGJ45EH6                                     ?@=A2@/B;<@C82M>Q;23/                        Z-BRR5W5               FESFEG55FESFEG5H FESFEG55 FESFEG5HI ESSPSSSTSSIEPSSSPSSSTSSIEPSSSPSSSTSS D@0@9@            D@0@9@              L
    -A/0=03@45EH67-A/0=03@EGGJ45EH6                                     D@0@9@                                                   D@0@9@                 FESFEG5HFESFEG5X FESFEG5H FESFEG5XI               J       D@0@9@           D@0@9@ D@0@9@       D@0@9@              KL




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                                                                           Case 20-10343-LSS                                    Doc 10296 Filed 09/06/22                                                Page 356 of 498
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                                                                                                                                                                                            !35        !35
    -./01023456789-./010236::;45678                                       <31.=3/>?@3AB=CDE?=2/                        F->GG5H5               I6JI6:57I6JI6:5K I6JI6:57 I6JI6:5KL 6JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3            O303P3              Q
    -./01023456789-./010236::;45678                                       O303P3                                                   O303P3                 I6JI6:5KI6JI6:5: I6JI6:5K I6JI6:5:L               ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789-./010236::;45678                                       <31.=3/>?@3AB=CDE?=2/                        F->GG5H5               I6JI6:5KI6JI6:5: I6JI6:5K I6JI6:5:L 6JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3            O303P3              Q
    -./01023456789-./010236::;45678                                       O303P3                                                   O303P3                 I6JI6:5:I6JI6:7J I6JI6:5: I6JI6:7JL               ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789-./010236::;45678                                       <31.=3/>?@3AB=CDE?=2/                        F->GG:7             I6JI6:5:I6JI6:7J I6JI6:5: I6JI6:7JL 6JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3            O303P3              Q
    -./01023456789-./010236::;45678                                       O303P3                                                   O303P3                 I6JI6:7JI6JI6:76 I6JI6:7J I6JI6:76L               ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789-./010236::;45678                                       <31.=3/>?@3AB=CDE?=2/                        F->GG:7             I6JI6:7JI6JI6:76 I6JI6:7J I6JI6:76L 6JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3            O303P3              Q
    -./01023456789-./010236::;45678                                       O303P3                                                   O303P3                 I6JI6:76I6JI6:7G I6JI6:76 I6JI6:7GL               ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789-./010236::;45678                                       <31.=3/>?@3AB=CDE?=2/                        F->GG:7             I6JI6:76I6JI6:7G I6JI6:76 I6JI6:7GL 6JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3            O303P3              Q
    -./01023456789-./010236::;45678                                       BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67GHH              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789-./010236::;45678                                       BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJGJ               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789>3C=SV1CW2=2326:6;6::J45658                      <31.=3/>?@3AB=CDE?=2/                        XY56:GHG             6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789>3C=SV1CW2=2326:6;6::J45658                      BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67GHG              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789>3C=SV1CW2=2326:6;6::J45658                      BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67GH              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789>3C=SV1CW2=2326:6;6::J45658                      E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    -./01023456789>3C=SV1CW2=2326:6;6::J45658                      <31.=3/>?@3AB=CDE?=2/                        XY5G65:             6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL                 ; LJJMJJJNJJ LJJMJJJNJJ O303P3   O303P3              Q
    -./01023456789>3C=SV1CW2=2326:6;6::J45658                      BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJG6               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789>3C=SV1CW2=2326:6;6::J45658                      E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    -./01023456789>D2>=31CS06:;6::J4758                            <31.=3/>?@3AB=CDE?=2/                        R-YHG7:             IG:I6:7JIG:I6:76 IG:I6:7J IG:I6:76L               ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              Q
    -./01023456789>D2>=31CS06:;6::J4758                            <31.=3/>?@3AB=CDE?=2/                        O303P3                 IG:I6:76IG:I6:7G IG:I6:76 IG:I6:7GL               ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789>D2>=31CS06:;6::J4758                            BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67GHK              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789>D2>=31CS06:;6::J4758                            E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    -./01023456789>D2>=31CS06:;6::J4758                            BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJG               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789>D2>=31CS06:;6::J4758                            E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    -./01023456789\CE=6:HH;6::6456K8                               <31.=3/>?@3AB=CDE?=2/                        R-YG::7              5I6I6:5 5I6I6:55 5I6I6:5 5I6I6:55L                 ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              RQ
    -./01023456789\CE=6:HH;6::6456K8                               <31.=3/>?@3AB=CDE?=2/                        R-YG::7              5I6I6:55 5I6I6:57 5I6I6:55 5I6I6:57L                 ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              RQ
    -./01023456789\CE=6:HH;6::6456K8                               <31.=3/>?@3AB=CDE?=2/                        R-YG::7              5I6I6:57 5I6I6:5K 5I6I6:57 5I6I6:5KL                 ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              RQ
    -./01023456789\CE=6:HH;6::6456K8                               <31.=3/>?@3AB=CDE?=2/                         R-YJJ             5I6I6:5K 5I6I6:5: 5I6I6:5K 5I6I6:5:L                 ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              Q
    -./01023456789\CE=6:HH;6::6456K8                               <31.=3/>?@3AB=CDE?=2/                         R-YJJ             5I6I6:5: 5I6I6:7J 5I6I6:5: 5I6I6:7JL                 ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              Q
    -./01023456789\CE=6:HH;6::6456K8                               <31.=3/>?@3AB=CDE?=2/                         R-YJJ             5I6I6:7J 5I6I6:76 5I6I6:7J 5I6I6:76L                 ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              Q
    -./01023456789\CE=6:HH;6::6456K8                               <31.=3/>?@3AB=CDE?=2/                        R-Y67              5I6I6:76 5I6I6:7G 5I6I6:76 5I6I6:7GL                 ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              Q
    -./01023456789\CE=6:HH;6::6456K8                               BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789\CE=6:HH;6::6456K8                               BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67GH:              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789\CE=6:HH;6::6456K8                               E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    -./01023456789\CE=6:HH;6::6456K8                               BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789\CE=6:HH;6::6456K8                               BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJG               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789\CE=6:HH;6::6456K8                               E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    -./01023456789^=2;RCCE=6:H;GJ6457G8                             <31.=3/>?@3AB=CDE?=2/                        R-YG:77              I6I6:57 I6I6:5K I6I6:57 I6I6:5KL                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789^=2;RCCE=6:H;GJ6457G8                             <31.=3/>?@3AB=CDE?=2/                        R-Y5:J              I6I6:5K I6I6:5: I6I6:5K I6I6:5:L                 ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              Q
    -./01023456789^=2;RCCE=6:H;GJ6457G8                             BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789^=2;RCCE=6:H;GJ6457G8                             BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67GH7              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789^=2;RCCE=6:H;GJ6457G8                             E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    -./01023456789^=2;RCCE=6:H;GJ6457G8                             BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -./01023456789^=2;RCCE=6:H;GJ6457G8                             BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJGH               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./01023456789^=2;RCCE=6:H;GJ6457G8                             E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    -./0C2S4J:89-./0C2S4J:8                                             <31.=3/>?@3AB=CDE?=2/                        R-YHG57               6JI6I6:5K6JI6I6:5: 6JI6I6:5K 6JI6I6:5:L               ; LJJMJJJNJJ LJJMJJJNJJ O303P3   O303P3              Q
    -./0C2S4J:89-./0C2S4J:8                                             <31.=3/>?@3AB=CDE?=2/                        R-YHG57               6JI6I6:5:6JI6I6:7J 6JI6I6:5: 6JI6I6:7JL               ; LJJMJJJNJJ LJJMJJJNJJ O303P3   O303P3              Q
    -./0C2S4J:89-./0C2S4J:8                                             <31.=3/>?@3AB=CDE?=2/                        R-YHG57               6JI6I6:7J6JI6I6:76 6JI6I6:7J 6JI6I6:76L               ; LJJMJJJNJJ LJJMJJJNJJ O303P3   O303P3              Q
    -./0C2S4J:89-./0C2S4J:8                                             BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67HH              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./0C2S4J:89-./0C2S4J:8                                             E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    -./0C2S4J:89-./0C2S4J:8                                             BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJJK:               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -./0C2S4J:89-./0C2S4J:8                                             E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    -.S^=/46589-.S^=/6:;4658                             EC3>1.SCA3_R.=CA>?@3A                         O303P3                  6I6I6:76 6I6I6:7G 6I6I6:76 6I6I6:7GL                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -.S^=/46589-.S^=/6:;4658                             EC3>1.SCA3_R.=CA>?@3A                         O303P3                  6I6I6:7G 6I6I6:7H 6I6I6:7G 6I6I6:7HL                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -.S^=/46589-.S^=/6:;4658                             EC3>1.SCA3_R.=CA>?@3A                         O303P3                  6I6I6:7H 6I6I6:7 6I6I6:7H 6I6I6:7L                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -.S^=/46589-.S^=/6:;4658                             EC3>1.SCA3_R.=CA>?@3A                         O303P3                  6I6I6:7 6I6I6:7 6I6I6:7 6I6I6:7L                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -.S^=/46589-.S^=/6:;4658                             BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67JHJ              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -.S^=/46589-.S^=/6:;4658                             E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    -.S^=/46589-.S^=/6:;4658                             BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G6::75               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -.S^=/46589-.S^=/6:;4658                             E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    -.S^=2S45789-.S^=2S4578                                   <31.=3/>?@3AB=CDE?=2/                        R-Y6:               7I6HI6:5K7I6HI6:5: 7I6HI6:5K 7I6HI6:5:L               ;       O303P3           O303P3 O303P3       O303P3              RQ
    -.S^=2S45789-.S^=2S4578                                   <31.=3/>?@3AB=CDE?=2/                        R-YGG               7I6HI6:5:7I6HI6:7J 7I6HI6:5: 7I6HI6:7JL               ; L6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3      O303P3              RQ
    -.S^=2S45789-.S^=2S4578                                   <31.=3/>?@3AB=CDE?=2/                        O303P3                 7I6HI6:7J7I6HI6:76 7I6HI6:7J 7I6HI6:76L               ;       O303P3           O303P3 O303P3       O303P3              RQ
    -.S^=2S45789-.S^=2S4578                                   <31.=3/>?@3AB=CDE?=2/                        O303P3                 7I6HI6:767I6HI6:7G 7I6HI6:76 7I6HI6:7GL               ;       O303P3           O303P3 O303P3       O303P3              RQ
    -.S^=2S45789-.S^=2S4578                                   BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    -.S^=2S45789-.S^=2S4578                                   BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67HKH              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -.S^=2S45789-.S^=2S4578                                   E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    -.S^=2S45789-.S^=2S4578                                   RCN.ST2=3_[=23<31.=3/>?@3A                O303P3                  6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL                 ; LJJMJJJNJJ LJJMJJJNJJ O303P3   O303P3              RQ
    -.S^=2S45789-.S^=2S4578                                   BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJG6               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    -.S^=2S45789-.S^=2S4578                                   E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    >__E=4K89>__E=4K8                                         BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    >__E=4K89>__E=4K8                                         BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67HK:              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    >__E=4K89>__E=4K8                                         E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    >__E=4K89>__E=4K8                                         BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    >__E=4K89>__E=4K8                                         BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJGGJ               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    >__E=4K89>__E=4K8                                         E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 <31.=3/>?@3AB=CDE?=2/                        R-Y6HJG              66IG5I6:5:66IG5I6:7J 66IG5I6:5:66IG5I6:7JL             ; LJJMJJJNJJ LJJMJJJNJJ O303P3   O303P3              Q
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 <31.=3/>?@3AB=CDE?=2/                        R-Y6HJG              66IG5I6:7J66IG5I6:76 66IG5I6:7J66IG5I6:76L             ; LJJMJJJNJJ LJJMJJJNJJ O303P3   O303P3              Q
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 <31.=3/>?@3AB=CDE?=2/                        R-Y6HJG              66IG5I6:7666IG5I6:7G 66IG5I6:7666IG5I6:7GL             ; LJJMJJJNJJ LJJMJJJNJJ O303P3   O303P3              Q
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6G67J:              6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:75 6I6I6:77 6I6I6:75 6I6I6:77L6MJJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3        O303P3              Q
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 BP]?@1D2=<31.=3/>?@3A                           O303P3                  6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL                 ;       O303P3           O303P3 O303P3       O303P3              RQ
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 BC23SO323T2=<31.=3/>?@3A2CC1U.=DME   -Q6GGJ6J7               6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL JJMJJJNJJL6MJJJMJJJNJJL6MJJJMJJJNJJ O303P3              O303P3              Q
    >S/12.E=4GJ:89>S/12.E=4GJ:8                                 E?=2/3Z;<31.=3/>?@3A                             [;6JG7:H                6I6I6:77 6I6I6:7K 6I6I6:77 6I6I6:7KL6MJJMJJJNJJLJJMJJJNJJ LJJMJJJNJJ O303P3     O303P3              Q
    >S2=32<3S3_Q?@2=489E==PD_E=6:HH;6:7G4K8               <31.=3/>?@3AB=CDE?=2/                        R-YGGK             I67I6:5I67I6:55 I67I6:5 I67I6:55L               ;       O303P3           O303P3 O303P3       O303P3              RQ
    >S2=32<3S3_Q?@2=489E==PD_E=6:HH;6:7G4K8               <31.=3/>?@3AB=CDE?=2/                        R-YGGK             I67I6:55I67I6:57 I67I6:55 I67I6:57L               ;       O303P3           O303P3 O303P3       O303P3              RQ




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                                                                          Case 20-10343-LSS                                    Doc 10296 Filed 09/06/22                                                 Page 357 of 498
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                                                                                                                                                                                             "35         "35
    ./012032/245670189:;11<=4;1>?@@A>?BC8D9              32EF12G.672HI1J=;610G                        KLMCCD               N>BN>?BN>BN>?D N>BN>?B N>BN>?DO                A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    ./012032/245670189:;11<=4;1>?@@A>?BC8D9              32EF12G.672HI1J=;610G                        KLM?RC               N>BN>?DN>BN>?? N>BN>?D N>BN>??O                A O>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2       P2Q2<2              5
    ./012032/245670189:;11<=4;1>?@@A>?BC8D9              32EF12G.672HI1J=;610G                        KLM?RC               N>BN>??N>BN>?BR N>BN>?? N>BN>?BRO                A O>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2       P2Q2<2              5
    ./012032/245670189:;11<=4;1>?@@A>?BC8D9              32EF12G.672HI1J=;610G                        KLM?RC               N>BN>?BRN>BN>?B> N>BN>?BR N>BN>?B>O                A O>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2       P2Q2<2              5
    ./012032/245670189:;11<=4;1>?@@A>?BC8D9              32EF12G.672HI1J=;610G                        P2Q2<2                   N>BN>?B>N>BN>?BC N>BN>?B> N>BN>?BCO                A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    ./012032/245670189:./012032/2456701>?BCA89        I<U67E=0132EF12G.672H                           P2Q2<2                    >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    ./012032/245670189:./012032/2456701>?BCA89        IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>C>?                >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    ./012032/245670189:./012032/2456701>?BCA89        ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO>SRRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2          P2Q2<2              5
    ./012032/245670189:./012032/2456701>?BCA89        I<U67E=0132EF12G.672H                           ZM;@@C@DC                 >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    ./012032/245670189:./012032/2456701>?BCA89        ;6WEE4132EF12G.672H                              P2Q2<2                    >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO RSRRRTRRORSRRRTRR ORSRRRTRR P2Q2<2              P2Q2<2              K5
    ./012032/245670189:./012032/2456701>?BCA89        IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>C>?D?                 >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    ./012032/245670189:./012032/2456701>?BCA89        I<U67E=0132EF12G.672H                           ZM;@@C@D@                 >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO RRSRRRTRR P2Q2<2                         P2Q2<2 P2Q2<2        P2Q2<2              K5
    ./012032/245670189:./012032/2456701>?BCA89        ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO>SRRSRRRTRRORRSRRRTRR ORRSRRRTRR P2Q2<2       P2Q2<2              5
    ./012032/245670189:Z1HWGQ>?CA>?B8C9                    32EF12G.672HI1J=;610G                        KLM@BB               >N>RN>?>N>RN>?B >N>RN>? >N>RN>?BO                A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    ./012032/245670189:Z1HWGQ>?CA>?B8C9                    32EF12G.672HI1J=;610G                        KLM@BB               >N>RN>?B>N>RN>?D >N>RN>?B >N>RN>?DO                A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    ./012032/245670189:Z1HWGQ>?CA>?B8C9                    32EF12G.672HI1J=;610G                        KLM@BB               >N>RN>?D >N?N>?? >N>RN>?D >N?N>??O                 A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    ./012032/245670189:Z1HWGQ>?CA>?B8C9                    32EF12G.672HI1J=;610G                        KLMR@D                 >N>RN>??>N>RN>?BR >N>RN>?? >N>RN>?BRO                A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    ./012032/245670189:Z1HWGQ>?CA>?B8C9                    32EF12G.672HI1J=;610G                        KLMR@D                 >N>RN>?BR>N>RN>?B> >N>RN>?BR >N>RN>?B>O                A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    ./012032/245670189:Z1HWGQ>?CA>?B8C9                    32EF12G.672HI1J=;610G                        KLMR@D                 >N>RN>?B>>N>RN>?BC >N>RN>?B> >N>RN>?BCO                A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    .7.4243E/24E8CC9:.7.4>?CA>?D>8CC9                      32EF12G.672HI1J=;610G                        ;ZACA>RA@              >RNC>N>??>RNC>N>?BR >RNC>N>??>RNC>N>?BRO              A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7.4243E/24E8CC9:.7.4>?CA>?D>8CC9                      32EF12G.672HI1J=;610G                        P2Q2<2                  >RNC>N>?BR>RNC>N>?B> >RNC>N>?BR>RNC>N>?B>O              A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7.4243E/24E8CC9:.7.4>?CA>?D>8CC9                      32EF12G.672HI1J=;610G                        P2Q2<2                  >RNC>N>?B> N@N>?BC >RNC>N>?B> N@N>?BCO                A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7.4243E/24E8CC9:.7.4>?CA>?D>8CC9                      IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>C>BRB                >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    .7.4243E/24E8CC9:.7.4>?CA>?D>8CC9                      ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO>SRRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2          P2Q2<2              5
    .7.4243E/24E8CC9:.7.4>?CA>?D>8CC9                      IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>CCR>C                 >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    .7.4243E/24E8CC9:.7.4>?CA>?D>8CC9                      ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO>SRRSRRRTRRORRSRRRTRR ORRSRRRTRR P2Q2<2       P2Q2<2              5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           P2Q2<2                                                   P2Q2<2                    >N>N>?D >N>N>?? >N>N>?D >N>N>??O                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           P2Q2<2                                                   P2Q2<2                    >N>N>?? >N>N>?R >N>N>?? >N>N>?RO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           P2Q2<2                                                   P2Q2<2                    >N>N>?> >N>N>?C >N>N>?> >N>N>?CO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           P2Q2<2                                                   P2Q2<2                    >N>N>?C >N>N>?@ >N>N>?C >N>N>?@O                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>? >N>N>?B >N>N>? >N>N>?BO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?B >N>N>?D >N>N>?B >N>N>?DO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?D >N>N>?? >N>N>?D >N>N>??O                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?? >N>N>?BR >N>N>?? >N>N>?BRO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?BR >N>N>?B> >N>N>?BR >N>N>?B>O                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?B> >N>N>?BC >N>N>?B> >N>N>?BCO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?BC >N>N>?B@ >N>N>?BC >N>N>?B@O                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?B@ >N>N>?B >N>N>?B@ >N>N>?BO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?B >N>N>?B >N>N>?B >N>N>?BO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?B >N>N>?B >N>N>?B >N>N>?BO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>C>B>?R                >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO>SRRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2          P2Q2<2              5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           32EF12G.672HI1J=;610G                        P2Q2<2                    >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>CCRR                 >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    .7V18C9:.7V1;1>?@RA>?D?8C9                           ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO>SRRSRRRTRRORRSRRRTRR ORRSRRRTRR P2Q2<2       P2Q2<2              5
    .70J/;189:.70J/;189                                    I<U67E=0132EF12G.672H                           P2Q2<2                    >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO                  A       P2Q2<2           P2Q2<2 P2Q2<2        P2Q2<2              K5
    .70J/;189:.70J/;189                                    IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>C>B@BC                >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    .70J/;189:.70J/;189                                    ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO>SRRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2          P2Q2<2              5
    .70J/;189:.70J/;189                                    I<U67E=0132EF12G.672H                           P2Q2<2                    >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO                  A O RSRRRTRR ORSRRRTRR P2Q2<2          P2Q2<2              K5
    .70J/;189:.70J/;189                                    IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>CCRCR@                 >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    .70J/;189:.70J/;189                                    ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?BB >N>N>?BD >N>N>?BB >N>N>?BDO>SRRSRRRTRRORRSRRRTRR ORRSRRRTRR P2Q2<2       P2Q2<2              5
    .EG4G00G8?C9:.EG4;1>?CA>??@8?@9                       IJ02/P202V0132EF12G.672H0JJEWF1=S;   L5>C>B@@R                >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO RRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2                P2Q2<2              5
    .EG4G00G8?C9:.EG4;1>?CA>??@8?@9                       ;610G2XA32EF12G.672H                             YA>RCB?@                  >N>N>?B >N>N>?BB >N>N>?B >N>N>?BBO>SRRSRRRTRRO>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2          P2Q2<2              5
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    .EG4G00G8?C9:./F6W0AG00G>?A>??@8?C9                   Z21/32EF12G.672H;610G                      .CR?>D>                >>N>N>?D>>N>N>?? >>N>N>?D>>N>N>??O              A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    .EG4G00G8?C9:./F6W0AG00G>?A>??@8?C9                   Z21/32EF12G.672H;610G                      .CR?>D>                >>N>N>??>>N>N>?BR >>N>N>??>>N>N>?BRO              A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    .EG4G00G8?C9:./F6W0AG00G>?A>??@8?C9                   Z21/32EF12G.672H;610G                      .CR?>D>                >>N>N>?BR>>N>N>?B> >>N>N>?BR>>N>N>?B>O              A ORRSRRRTRR ORRSRRRTRR P2Q2<2    P2Q2<2              5
    .EG4G00G8?C9:./F6W0AG00G>?A>??@8?C9                   Y1H/24.EF/JH.672H                                                  @@RBC? BN>N>?B BN>N>?B BN>N>?B BN>N>?BO                   A O>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2       P2Q2<2              5
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    .EG4G00G8?C9:./F6W0AG00G>?A>??@8?C9                   Y1H/24.EF/JH.672H                                                  @@RBC? BN>N>?B BN>N>?BB BN>N>?B BN>N>?BBO                   A O>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2       P2Q2<2              5
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    .EG4G00G8?C9:./F6W0AG00G>?A>??@8?C9                   Y1H/24.EF/JH.672H                                                  @@RBC? BN>N>?BB >N>N>?BD BN>N>?BB >N>N>?BDO                   A O>SRRRSRRRTRRO>SRRRSRRRTRR P2Q2<2       P2Q2<2              5
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    .EG4G00G8?C9:1J/24;1>?CA>?8?C9                      Z21/.EF/JH.672H;610G                       LM@DC                >>N>N>?B>>N>N>?D >>N>N>?B>>N>N>?DO              A O>RRSRRRTRR O>RRSRRRTRR P2Q2<2    P2Q2<2              5
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    .EG4G00G8?C9:1J/24;1>?CA>?8?C9                      Z21/.EF/JH.672H;610G                       LMCR                >>N>N>?>>N>N>? >>N>N>?>>N>N>?O              A O>RRSRRRTRR O>RRSRRRTRR P2Q2<2    P2Q2<2              K5
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    ./0102203456789:;1<8=45>=4??3456                      @;8:A;/B8;0.CD;E<C820                      NO5?=            ==I=I=4?==I=I=4?S ==I=I=4?==I=I=4?SK              > KPPQPPPRPP KPPQPPPRPP F;G;H;    F;G;H;              LM
    .9:2;3==67.9:2;=4?J>3==6                                        F;G;H;                                                   F;G;H;                 =I=I=4? =I=I=4 =I=I=4? =I=I=4K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .9:2;3==67.9:2;=4?J>3==6                                        THUCD/V28A;/B8;0.CD;E                           F;G;H;                 =I=I=4? =I=I=4 =I=I=4? =I=I=4K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .9:2;3==67.9:2;=4?J>3==6                                        T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=?45=             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .9:2;3==67.9:2;=4?J>3==6                                        <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .9:2;3==67.9:2;=4?J>3==6                                        THUCD/V28A;/B8;0.CD;E                           F;G;H;                 =I=I=4 ISI=4 =I=I=4 ISI=4K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .9:2;3==67.9:2;=4?J>3==6                                        <CX//18A;/B8;0.CD;E                              F;G;H;                 =I=I=4 ISI=4 =I=I=4 ISI=4K PQPPPRPPKPQPPPRPP KPQPPPRPP F;G;H;              F;G;H;              LM
    .9:2;3==67.9:2;=4?J>3==6                                        T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=4SP              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .9:2;3==67.9:2;=4?J>3==6                                        <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M
    .9:2;3==67.9:2;=4?J>3==6                                        THUCD/V28A;/B8;0.CD;E                           @O<5S55J              ISI=4 I=I=4S ISI=4 I=I=4SK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .9:2;3==67.9:2;=4?J>3==6                                        <CX//18A;/B8;0.CD;E                              F;G;H;                 ISI=4 ISI=4S ISI=4 ISI=4SK PQPPPRPPKPQPPPRPP KPQPPPRPP F;G;H;              F;G;H;              LM
    .9:2;3==67.9:2;=4?J>3==6                                        THUCD/V28A;/B8;0.CD;E                           @O<5S55?              ISI=4 ISI=4S ISI=4 ISI=4SK PQPPPRPP F;G;H;                          F;G;H; F;G;H;        F;G;H;              LM
    .9:2;3==67.9:2;=4?J>3==6                                        THUCD/V28A;/B8;0.CD;E                           @O<5S55              ISI=4 ISI=4S ISI=4 ISI=4SK PPQPPPRPP F;G;H;                         F;G;H; F;G;H;        F;G;H;              LM
    .;98:W:8213SJ67.;98:W:8213SJ6                                T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=?4SP             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .;98:W:8213SJ67.;98:W:8213SJ6                                <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .;98:W:8213SJ67.;98:W:8213SJ6                                T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=445S              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .;98:W:8213SJ67.;98:W:8213SJ6                                <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M
    .;98:@8234?67.;98:@8234?6                                T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=?44J             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .;98:@8234?67.;98:@8234?6                                <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .;98:@8234?67.;98:@8234?6                                T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=44=              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .;98:@8234?67.;98:@8234?6                                <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M
    .;98:Z2;;/9354?67.;98:Z2;;/9354?6                          A;/B8;0.CD;ET89V<C820                        LNOP5?             SII=4?S SII=4?4 SII=4?S SII=4?4K                  > K5PQPPPRPP K5PQPPPRPP F;G;H;    F;G;H;              M
    .;98:Z2;;/9354?67.;98:Z2;;/9354?6                          A;/B8;0.CD;ET89V<C820                        LNOP5?             SII=4?4 SII=4P SII=4?4 SII=4PK                  > K5PQPPPRPP K5PQPPPRPP F;G;H;    F;G;H;              M
    .;98:Z2;;/9354?67.;98:Z2;;/9354?6                          A;/B8;0.CD;ET89V<C820                        LNOP5?             SII=4P SII=4= SII=4P SII=4=K                  > K5PQPPPRPP K5PQPPPRPP F;G;H;    F;G;H;              M
    .;98:Z2;;/9354?67.;98:Z2;;/9354?6                          A;/B8;0.CD;ET89V<C820                        F;G;H;                 SII=4= SII=45 SII=4= SII=45K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .;98:Z2;;/9354?67.;98:Z2;;/9354?6                          T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5==PJ             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .;98:Z2;;/9354?67.;98:Z2;;/9354?6                          <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .;98:Z2;;/9354?67.;98:Z2;;/9354?6                          T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=55P=J              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .;98:Z2;;/9354?67.;98:Z2;;/9354?6                          <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M
    .;98:T89V.8:2;3=?67.;98:T89V.8:2;3=?6                F;G;H;                                                   F;G;H;                 =I=I=4?5 =I=I=4?J =I=I=4?5 =I=I=4?JK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .;98:T89V.8:2;3=?67.;98:T89V.8:2;3=?6                T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5==S=             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .;98:T89V.8:2;3=?67.;98:T89V.8:2;3=?6                <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .;98:T89V.8:2;3=?67.;98:T89V.8:2;3=?6                T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=55PPJ              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .;98:T89V.8:2;3=?67.;98:T89V.8:2;3=?6                <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M
    .V99V0V34=67.V99V0V=4?>34=6                              F;G;H;                                                   O<[=4=               =I=I=4? =I=I=4?? =I=I=4? =I=I=4??K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              F;G;H;                                                   O<[55?             =I=I=4? =I=I=4?S =I=I=4? =I=I=4?SK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              F;G;H;                                                   F;G;H;                 =I=I=4?S =I=I=4?4 =I=I=4?S =I=I=4?4K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              F;G;H;                                                   F;G;H;                 =I=I=4?4 =I=I=4P =I=I=4?4 =I=I=4PK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              F;G;H;                                                   F;G;H;                 =I=I=4P =I=I=4= =I=I=4P =I=I=4=K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              F;G;H;                                                   F;G;H;                 =I=I=4= =I=I=45 =I=I=4= =I=I=45K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              F;G;H;                                                   F;G;H;                 =I=I=45 I=I=45 =I=I=45 I=I=45K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              F;G;H;                                                   F;G;H;                 =I=I=4 =I=I=4? =I=I=4 =I=I=4?K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              THUCD/V28A;/B8;0.CD;E                           F;G;H;                 =I=I=4? =I=I=4 =I=I=4? =I=I=4K                  > KPPQPPPRPP KPPQPPPRPP F;G;H;    F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=?44=             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .V99V0V34=67.V99V0V=4?>34=6                              <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .V99V0V34=67.V99V0V=4?>34=6                              THUCD/V28A;/B8;0.CD;E                           F;G;H;                 =I=I=4 =I=I=4S =I=I=4 =I=I=4SK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67.V99V0V=4?>34=6                              T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=44J4              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .V99V0V34=67.V99V0V=4?>34=6                              <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M
    .V99V0V34=67@8URO;28=4P>=4S4346                       T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=?444             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .V99V0V34=67@8URO;28=4P>=4S4346                       <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .V99V0V34=67@8URO;28=4P>=4S4346                       T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=44?              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .V99V0V34=67@8URO;28=4P>=4S4346                       <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M
    .V99V0V34=67@82><:XC=4J>=4?34=6                        F;G;H;                                                   F;G;H;                 =I=I=44 =I=I=4?P =I=I=44 =I=I=4?PK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V99V0V34=67@82><:XC=4J>=4?34=6                        F;G;H;                                                   F;G;H;                 =I=I=4? =I=I=4? =I=I=4? =I=I=4?K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4? =I=I=4 =I=I=4? =I=I=4K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4 =I=I=4S =I=I=4 =I=I=4SK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4S =I=I=44 =I=I=4S =I=I=44K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=44 =I=I=4?P =I=I=44 =I=I=4?PK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4?P =I=I=4?= =I=I=4?P =I=I=4?=K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4?= =I=I=4?5 =I=I=4?= =I=I=4?5K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4?5 =I=I=4?J =I=I=4?5 =I=I=4?JK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4?J =I=I=4? =I=I=4?J =I=I=4?K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4? =I=I=4? =I=I=4? =I=I=4?K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4? =I=I=4?? =I=I=4? =I=I=4??K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4?? =I=I=4? =I=I=4?? =I=I=4?K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4? =I=I=4?S =I=I=4? =I=I=4?SK                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4?S =I=I=4?4 =I=I=4?S =I=I=4?4K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  F;G;H;                                                   F;G;H;                 =I=I=4?4 II=4?4 =I=I=4?4 II=4?4K                  >       F;G;H;           F;G;H; F;G;H;        F;G;H;              LM
    .V8G<83?467.V8G<83?46                                  A;/B8;0.CD;ET89V<C820                        LNO==4               II=4?4 II=4P II=4?4 II=4PK                  > K=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;       F;G;H;              M
    .V8G<83?467.V8G<83?46                                  A;/B8;0.CD;ET89V<C820                        LNO==4               II=4P II=4= II=4P II=4=K                  > K=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;       F;G;H;              M
    .V8G<83?467.V8G<83?46                                  A;/B8;0.CD;ET89V<C820                        LNO==4               II=4= II=45 II=4= II=45K                  > K=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;       F;G;H;              M
    .V8G<83?467.V8G<83?46                                  T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=J=S             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .V8G<83?467.V8G<83?46                                  <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .V8G<83?467.V8G<83?46                                  <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M
    .V8G<83?67.V8G<83?6                                  A;/B8;0.CD;ET89V<C820                        LNOJ4              JI=I=4?JI=I=4?S JI=I=4? JI=I=4?SK                > K=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;       F;G;H;              M
    .V8G<83?67.V8G<83?6                                  A;/B8;0.CD;ET89V<C820                        LNOJ4              JI=I=4?SJI=I=4?4 JI=I=4?S JI=I=4?4K                > K=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;       F;G;H;              M
    .V8G<83?67.V8G<83?6                                  A;/B8;0.CD;ET89V<C820                        LNOJ4              JI=I=4?4JI=I=4P JI=I=4?4 JI=I=4PK                > K=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;       F;G;H;              M
    .V8G<83?67.V8G<83?6                                  T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=5=J?             =I=I=4? =I=I=4 =I=I=4? =I=I=4K PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .V8G<83?67.V8G<83?6                                  <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4? =I=I=4 =I=I=4? =I=I=4K=QPPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;          F;G;H;              M
    .V8G<83?67.V8G<83?6                                  T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=55PP5              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .V8G<83?67.V8G<83?6                                  T92;:F;2;W28A;/B8;0.CD;E299/XB8VQ<   NM=55P5S?              =I=I=4 =I=I=4S =I=I=4 =I=I=4SK PPQPPPRPPK=QPPPQPPPRPPK=QPPPQPPPRPP F;G;H;                F;G;H;              M
    .V8G<83?67.V8G<83?6                                  <C820;Y>A;/B8;0.CD;E                             Z>=P54J               =I=I=4 =I=I=4S =I=I=4 =I=I=4SK=QPPQPPPRPPKPPQPPPRPP KPPQPPPRPP F;G;H;       F;G;H;              M




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    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        ;4<4=4                 >?>?>88 >?>?>8@M >?>?>88 >?>?>8@MB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        NOPA            >?>?>8@7 >?>?>8@ >?>?>8@7 >?>?>8@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        DQOCR8C@            7?>>?>8@7?>>?>8@@ 7?>>?>8@ 7?>>?>8@@B                C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        DQO7@>            7?>>?>8@@7?>>?>8@A 7?>>?>8@@ 7?>>?>8@AB                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        DQO7@>            7?>>?>8@A7?>>?>8@ 7?>>?>8@A 7?>>?>8@B                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        DQO7@>            7?>>?>8@7?>>?>8@8 7?>>?>8@ 7?>>?>8@8B                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        DQOR8            7?>>?>8@87?>>?>8AM 7?>>?>8@8 7?>>?>8AMB                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        DQO7R>7              7?>>?>8AM7?>>?>8A> 7?>>?>8AM 7?>>?>8A>B                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./012.34156789:./012.34156789                                F40324G.HI45J21/KH2LG                        DQO7RR            7?>>?>8A>7?>>?>8AR 7?>>?>8A> 7?>>?>8ARB                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./012.34156789:./012.34156789                                J=UHI0/L2F40324G.HI45                           ;4<4=4                 >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./012.34156789:./012.34156789                                J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>A7M             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./012.34156789:./012.34156789                                KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB>SMMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4          ;4<4=4              E
    ./012.34156789:./012.34156789                                KH2LG4;4L[20VF40324G.HI45                      K\PO7>              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./012.34156789:./012.34156789                                J=UHI0/L2F40324G.HI45                           ]OK77R7              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./012.34156789:./012.34156789                                J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRMRAR              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./012.34156789:./012.34156789                                KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB>SMMSMMMTMMBMMSMMMTMM BMMSMMMTMM ;4<4=4       ;4<4=4              E
    ./LG<0=69:./LG<0=>8>@C69                                    Z25V4^.03V15.HI45                                 8@CRR@>>               >?>?>8@7 >?>?>8@ >?>?>8@7 >?>?>8@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LG<0=69:./LG<0=>8>@C69                                    Z25V4^.03V15.HI45                                 ;4<4=4                 >?>?>8@ >?>?>8@ >?>?>8@ >?>?>8@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LG<0=69:./LG<0=>8>@C69                                    Z25V4^.03V15.HI45                                 ;4<4=4                 >?>?>8@ ?>?>8@ >?>?>8@ ?>?>8@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LG<0=69:./LG<0=>8>@C69                                    F40324G.HI45J21/KH2LG                        DQO7@             ?>?>8@ ?>?>8@@ ?>?>8@ ?>?>8@@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LG<0=69:./LG<0=>8>@C69                                    F40324G.HI45J21/KH2LG                        DQO7@             ?>?>8@@ ?>?>8@A ?>?>8@@ ?>?>8@AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LG<0=69:./LG<0=>8>@C69                                    F40324G.HI45J21/KH2LG                        DQO7@             ?>?>8@A ?>?>8@ ?>?>8@A ?>?>8@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LG<0=69:./LG<0=>8>@C69                                    F40324G.HI45J21/KH2LG                        DQOM>             ?>?>8@ ?>?>8@8 ?>?>8@ ?>?>8@8B                  C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              E
    ./LG<0=69:./LG<0=>8>@C69                                    F40324G.HI45J21/KH2LG                        DQOM>             ?>?>8@8 ?>?>8AM ?>?>8@8 ?>?>8AMB                  C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              E
    ./LG<0=69:./LG<0=>8>@C69                                    F40324G.HI45J21/KH2LG                        DQOM>             ?>?>8AM ?>?>8A> ?>?>8AM ?>?>8A>B                  C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              E
    ./LG<0=69:./LG<0=>8>@C69                                    F40324G.HI45J21/KH2LG                        DQORA@@               ?>?>8A> ?>?>8AR ?>?>8A> ?>?>8ARB                  C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              E
    ./LG<0=69:./LG<0=>8>@C69                                    J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>A7@             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./LG<0=69:./LG<0=>8>@C69                                    J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRMR8M              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./LG<0=69:_V1K2>8RC>88767MM9                               J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>A>M             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./LG<0=69:_V1K2>8RC>88767MM9                               KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB>SMMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4          ;4<4=4              E
    ./LG<0=69:_V1K2>8RC>88767MM9                               J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRM>              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./LG<0=69:_V1K2>8RC>88767MM9                               KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB>SMMSMMMTMMBMMSMMMTMM BMMSMMMTMM ;4<4=4       ;4<4=4              E
    ./L.24IV412679:./L.24IV412>8RC679                    J=UHI0/L2F40324G.HI45                           DOR8CMRCM            >?>?>8A >?>?>8A@ >?>?>8A >?>?>8A@B                  C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              E
    ./L.24IV412679:./L.24IV412>8RC679                    J=UHI0/L2F40324G.HI45                           DOR8CMRCM            >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB                  C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              E
    ./L.24IV412679:./L.24IV412>8RC679                    J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>A78             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./L.24IV412679:./L.24IV412>8RC679                    KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB>SMMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4          ;4<4=4              E
    ./L.24IV412679:./L.24IV412>8RC679                    J=UHI0/L2F40324G.HI45                           DOR8CMRCM            >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB                  C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              E
    ./L.24IV412679:./L.24IV412>8RC679                    J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRMRA>              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./L.24IV412679:./L.24IV412>8RC679                    KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB>SMMSMMMTMMBMMSMMMTMM BMMSMMMTMM ;4<4=4       ;4<4=4              E
    ./LD11V6@M89:./LD11V>8C6@M89                            D1T3VWL24^Z2L4F40324G.HI45                ;4<4=4                 >?>?>8AR >?>?>8A7 >?>?>8AR >?>?>8A7B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LD11V6@M89:./LD11V>8C6@M89                            D1T3VWL24^Z2L4F40324G.HI45                ;4<4=4                 >?>?>8A7 >?>?>8A >?>?>8A7 >?>?>8AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LD11V6@M89:./LD11V>8C6@M89                            D1T3VWL24^Z2L4F40324G.HI45                ;4<4=4                 >?>?>8A >?>?>8A >?>?>8A >?>?>8AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LD11V6@M89:./LD11V>8C6@M89                            D1T3VWL24^Z2L4F40324G.HI45                ;4<4=4                 >?>?>8A >?>?>8A@ >?>?>8A >?>?>8A@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LD11V6@M89:./LD11V>8C6@M89                            D1T3VWL24^Z2L4F40324G.HI45                ;4<4=4                 >?>?>8A@>R?7>?>8A@ >?>?>8A@>R?7>?>8A@B                C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./LD11V6@M89:./LD11V>8C6@M89                            J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>ARR             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./LD11V6@M89:./LD11V>8C6@M89                            KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB>SMMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4          ;4<4=4              E
    ./LD11V6@M89:./LD11V>8C6@M89                            D1T3VWL24^Z2L4F40324G.HI45                `Q@7A             >R?7>?>8A@>R?7>?>8AA >R?7>?>8A@>R?7>?>8AAB              C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              DE
    ./LD11V6@M89:./LD11V>8C6@M89                            J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRMR7              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./LD11V6@M89:./LD11V>8C6@M89                            KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB>SMMSMMMTMMBMMSMMMTMM BMMSMMMTMM ;4<4=4       ;4<4=4              E
    ./LD11V6@M89:./LD11V>8C6@M89                            D1T3VWL24^Z2L4F40324G.HI45                ;4<4=4               >R?7>?>8AA>R?7>?>8A >R?7>?>8AA>R?7>?>8AB              C BMMSMMMTMM BMMSMMMTMM ;4<4=4    ;4<4=4              DE
    ./LII=aVV56@7A9:./LII=aVV56@7A9                              J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>ARR             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./LII=aVV56@7A9:./LII=aVV56@7A9                              KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB>SMMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4          ;4<4=4              E
    ./LII=aVV56@7A9:./LII=aVV56@7A9                              J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRMR              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./LII=aVV56@7A9:./LII=aVV56@7A9                              KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB>SMMSMMMTMMBMMSMMMTMM BMMSMMMTMM ;4<4=4       ;4<4=4              E
    ./G1=K267MR9:./G1=K267MR9                                    F40324G.HI45J21/KH2LG                        DQOR8@A            7?>?>8@7?>?>8@@ 7?>?>8@ 7?>?>8@@B                C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./G1=K267MR9:./G1=K267MR9                                    F40324G.HI45J21/KH2LG                        DQOR8@A            7?>?>8@@7?>?>8@A 7?>?>8@@ 7?>?>8@AB                C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./G1=K267MR9:./G1=K267MR9                                    F40324G.HI45J21/KH2LG                        DQOR8@A            7?>?>8@A7?>?>8@ 7?>?>8@A 7?>?>8@B                C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./G1=K267MR9:./G1=K267MR9                                    F40324G.HI45J21/KH2LG                        DQO@8>A            7?>?>8@7?>?>8@8 7?>?>8@ 7?>?>8@8B                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./G1=K267MR9:./G1=K267MR9                                    F40324G.HI45J21/KH2LG                        DQO@8>A            7?>?>8@87?>?>8AM 7?>?>8@8 7?>?>8AMB                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./G1=K267MR9:./G1=K267MR9                                    F40324G.HI45J21/KH2LG                        DQO@8>A            7?>?>8AM7?>?>8A> 7?>?>8AM 7?>?>8A>B                C BRMSMMMTMM BRMSMMMTMM ;4<4=4    ;4<4=4              E
    ./G1=K267MR9:./G1=K267MR9                                    F40324G.HI45J21/KH2LG                        ;4<4=4                7?>?>8A>7?>?>8AR 7?>?>8A> 7?>?>8ARB                C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./G1=K267MR9:./G1=K267MR9                                    J=UHI0/L2F40324G.HI45                           ;4<4=4                 >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./G1=K267MR9:./G1=K267MR9                                    J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>A>M8             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./G1=K267MR9:./G1=K267MR9                                    KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB>SMMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4          ;4<4=4              E
    ./G1=K267MR9:./G1=K267MR9                                    J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRM>8              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    ./G1=K267MR9:./G1=K267MR9                                    KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB>SMMSMMMTMMBMMSMMMTMM BMMSMMMTMM ;4<4=4       ;4<4=4              E
    ./G1=K267MR9:./G1=K267MR9                                    `204F40324G.HI45J=b2<                   `E@@>A                7?>?>8AA 7?>?>8A 7?>?>8AA 7?>?>8AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./G1=K267MR9:./G1=K267MR9                                    J=UHI0/L2F40324G.HI45                           ]OKRR@              7?>?>8AA 7?>?>8A 7?>?>8AA 7?>?>8AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    ./G1=K267MR9:./G1=K267MR9                                    KHX00^2F40324G.HI45                              ;4<4=4                 7?>?>8AA 7?>?>8A 7?>?>8AA 7?>?>8AB MSMMMTMMBMSMMMTMM BMSMMMTMM ;4<4=4              ;4<4=4              DE
    .LH2246A9:]21DV1VL40>8RACRMMM6A9                         J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>A7RM             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    .LH2246A9:]21DV1VL40>8RACRMMM6A9                         KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB>SMMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4          ;4<4=4              E
    .LH2246A9:]21DV1VL40>8RACRMMM6A9                         J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRMMA7              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    .LH2246A9:]21DV1VL40>8RACRMMM6A9                         KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB>SMMSMMMTMMBMMSMMMTMM BMMSMMMTMM ;4<4=4       ;4<4=4              E
    .LH2246A9:cLVVY20>8CRMMM6A79                               J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>R>A7R             >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    .LH2246A9:cLVVY20>8CRMMM6A79                               KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB>SMMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4          ;4<4=4              E
    .LH2246A9:cLVVY20>8CRMMM6A79                               J1L4V;4L4WL2F40324G.HI45L110X32/SK   QE>RRMMAA              >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB MMSMMMTMMB>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4                ;4<4=4              E
    .LH2246A9:cLVVY20>8CRMMM6A79                               KH2LG4YCF40324G.HI45                             ZC>MRA87               >?>?>8AA >?>?>8A >?>?>8AA >?>?>8AB>SMMSMMMTMMBMMSMMMTMM BMMSMMMTMM ;4<4=4       ;4<4=4              E
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  F40324G.HI45J21/KH2LG                        ;4<4=4                 A?>?>8AM A?>?>8A> A?>?>8AM A?>?>8A>B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  F40324G.HI45J21/KH2LG                        DQO7             A?>?>8A> A?>?>8AR A?>?>8A> A?>?>8ARB                  C B>SMMMSMMMTMMB>SMMMSMMMTMM ;4<4=4       ;4<4=4              E
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  KVVL^F40324G.HI45                                  ;4<4=4                 A?>?>8AR A?>?>8A7 A?>?>8AR A?>?>8A7B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  KVVL^F40324G.HI45                                  ;4<4=4                 A?>?>8A7 >?>?>8A A?>?>8A7 >?>?>8AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  KVVL^F40324G.HI45                                  ;4<4=4                 >?>?>8A >?>?>8A >?>?>8A >?>?>8AB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  KVVL^F40324G.HI45                                  ;4<4=4                 >?>?>8A >?>?>8A@ >?>?>8A >?>?>8A@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  KH2LG4]42VWL2d.03V15.HI45                  ;4<4=4                 >?>?>8A >?>?>8A@ >?>?>8A >?>?>8A@B                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  J=UHI0/L2F40324G.HI45                           ;4<4=4                 >?>?>8A >?>?>8A@ >?>?>8A >?>?>8A@B MMSMMMTMM ;4<4=4                         ;4<4=4 ;4<4=4        ;4<4=4              DE
    .L2GVP46A>9:.L2GVP4>8>7C6A>9                                  KVVL^F40324G.HI45                                  ;4<4=4                 >?>?>8A@ >?>?>8AA >?>?>8A@ >?>?>8AAB                  C       ;4<4=4           ;4<4=4 ;4<4=4        ;4<4=4              DE




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                                                                          Case 20-10343-LSS                                    Doc 10296 Filed 09/06/22                                               Page 360 of 498
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    ./0123456789./0123477:;5678                                  <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L76:6M             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    ./0123456789./0123477:;5678                                  IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    ./0123456789./0123477:;5678                                  I22/V@4AB041.CD4E                                  >4R4S4                 7N7N766 7N7N76W 7N7N766 7N7N76WO                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    ./0123456789./0123477:;5678                                  <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7LLPLP6              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    ./0123456789./0123477:;5678                                  IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    ./0123456789<3AY30/2A7;LP765WP8                           <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L76:W             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    ./0123456789<3AY30/2A7;LP765WP8                           IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    ./0123456789<3AY30/2A7;LP765WP8                           <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7LLPL7M              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    ./0123456789<3AY30/2A7;LP765WP8                           IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    ./01234567893ZC[22E7MM;7:5MM8                           <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L76:WW             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    ./01234567893ZC[22E7MM;7:5MM8                           IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    ./01234567893ZC[22E7MM;7:5MM8                           <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7LLPL7              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    ./01234567893ZC[22E7MM;7:5MM8                           IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    .A=2.02/45P89.A=2.02/45P8                            @4AB041.CD4E<0=GIC0/1                        XJ\PL:7             MN6N7MW MN6N7M MN6N7MW MN6N7MO                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .A=2.02/45P89.A=2.02/45P8                            @4AB041.CD4E<0=GIC0/1                        XJ\7P67             MN6N7M MN6N76P MN6N7M MN6N76PO                  ; OLPHPPPQPP OLPHPPPQPP >4R4S4    >4R4S4              K
    .A=2.02/45P89.A=2.02/45P8                            @4AB041.CD4E<0=GIC0/1                        XJ\LMML             MN6N76P MN6N767 MN6N76P MN6N767O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .A=2.02/45P89.A=2.02/45P8                            @4AB041.CD4E<0=GIC0/1                        XJ\:MP             MN6N767 MN6N76L MN6N767 MN6N76LO                  ; OLPHPPPQPP OLPHPPPQPP >4R4S4    >4R4S4              K
    .A=2.02/45P89.A=2.02/45P8                            <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L76:M             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .A=2.02/45P89.A=2.02/45P8                            IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    .A=2.02/45P89.A=2.02/45P8                            .4=/44=2@4AB041.CD4E                             ..:P7LWPL             6NN76M 6NN766 6NN76M 6NN766O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .A=2.02/45P89.A=2.02/45P8                            <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7LLPL6W              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .A=2.02/45P89.A=2.02/45P8                            IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    .A=2]0/589.A=2KCD/0;LP758                           <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L7M             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .A=2]0/589.A=2KCD/0;LP758                           IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    .A=2]0/589.A=2KCD/0;LP758                           <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L7:              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .A=2]0/589.A=2KCD/0;LP758                           IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    .A=2]0/589.A=2KCD/0;LP758                           ^0=0V?/0@4AB041.CD4E                           LPXJU>XLP6:           7N7NLPP6 7N7NLPPW 7N7NLPP6 7N7NLPPWO                  ; O7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4       >4R4S4              K
    .A=2]0/589.A=2KCD/0;LP758                           ^0=0V?/0@4AB041.CD4E                           LPXJU>XLP6:           7N7NLPP6 7N7NLPPW 7N7NLPP6 7N7NLPPWO7HPPPHPPPQPPOLHPPPHPPPQPPOLHPPPHPPPQPP >4R4S4          >4R4S4              K
    .A=2]0/589YR4RI07LM;LP756W8                     @4AB041.CD4E<0=GIC0/1                        XJ\7::               6N7N76P 6N7N767 6N7N76P 6N7N767O                  ; OPPHPPPQPP OPPHPPPQPP >4R4S4    >4R4S4              K
    .A=2]0/589YR4RI07LM;LP756W8                     @4AB041.CD4E<0=GIC0/1                        XJ\7::               6N7N767 6N7N76L 6N7N767 6N7N76LO                  ; OPPHPPPQPP OPPHPPPQPP >4R4S4    >4R4S4              K
    .A=2]0/589YR4RI07LM;LP756W8                     <S^CDAG/0@4AB041.CD4E                           >4R4S4                 7N7N76M 7N7N766 7N7N76M 7N7N766O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .A=2]0/589YR4RI07LM;LP756W8                     <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L7MW             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .A=2]0/589YR4RI07LM;LP756W8                     IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    .A=2]0/589YR4RI07LM;LP756W8                     <S^CDAG/0@4AB041.CD4E                           >4R4S4                 7N7N766 7N7N76W 7N7N766 7N7N76WO                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .A=2]0/589YR4RI07LM;LP756W8                     <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L7              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .A=2]0/589YR4RI07LM;LP756W8                     IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    .24/2[/0/4/589Y2V_C/4/4I07L6;7L5MP78                <S^CDAG/0@4AB041.CD4E                           >4R4S4                 7N7N76M 7N7N766 7N7N76M 7N7N766O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .24/2[/0/4/589Y2V_C/4/4I07L6;7L5MP78                <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L76:7             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .24/2[/0/4/589Y2V_C/4/4I07L6;7L5MP78                IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    .24/2[/0/4/589Y2V_C/4/4I07L6;7L5MP78                .0BC`?0A=0                                            >4R4S4                 7N7N766 7N7N76W 7N7N766 7N7N76WO                  ; OPPHPPPQPP OPPHPPPQPP >4R4S4    >4R4S4              XK
    .24/2[/0/4/589Y2V_C/4/4I07L6;7L5MP78                <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7LLPL:M              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .24/2[/0/4/589Y2V_C/4/4I07L6;7L5MP78                IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    .24/2[/0/4/5894/4AB27L;7L58                        <S^CDAG/0@4AB041.CD4E                           >4R4S4                 7N7N76M 7N7N766 7N7N76M 7N7N766O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .24/2[/0/4/5894/4AB27L;7L58                        <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L76:P             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .24/2[/0/4/5894/4AB27L;7L58                        IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    .24/2[/0/4/5894/4AB27L;7L58                        <S^CDAG/0@4AB041.CD4E                           >4R4S4                 7N7N766 7N7N76W 7N7N766 7N7N76WO                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .24/2[/0/4/5894/4AB27L;7L58                        <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7LLPL:7              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .24/2[/0/4/5894/4AB27L;7L58                        IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    .2BCF/;U4=B05P89.2BCF/;U4=B05P8                            <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L76::7             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .2BCF/;U4=B05P89.2BCF/;U4=B05P8                            IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
    .2BCF/;U4=B05P89.2BCF/;U4=B05P8                            <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7LLPPWM              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .2BCF/;U4=B05P89.2BCF/;U4=B05P8                            IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
    .441=/1B=T/a0A5MM89.G0=0YR7::;76L56P8                       >4R4S4                                                   >4R4S4                 7N7N7M 7N7N76 7N7N7M 7N7N76O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89KA=04.441=/1B=7L;76L56M8               @4AB041.CD4E<0=GIC0/1                        XJ\LWP            N7N7MN7N7MM N7N7M N7N7MMO                ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89KA=04.441=/1B=7L;76L56M8               @4AB041.CD4E<0=GIC0/1                        XJ\LWP            N7N7MMN7N7M6 N7N7MM N7N7M6O                ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89KA=04.441=/1B=7L;76L56M8               @4AB041.CD4E<0=GIC0/1                        XJ\LWP            N7N7M6N7N7MW N7N7M6 N7N7MWO                ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89KA=04.441=/1B=7L;76L56M8               @4AB041.CD4E<0=GIC0/1                        XJ\M:6            N7N7MWN7N7M N7N7MW N7N7MO                ; O7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4       >4R4S4              K
    .441=/1B=T/a0A5MM89KA=04.441=/1B=7L;76L56M8               @4AB041.CD4E<0=GIC0/1                        XJ\M:6            N7N7MN7N76P N7N7M N7N76PO                ; O7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4       >4R4S4              K
    .441=/1B=T/a0A5MM89KA=04.441=/1B=7L;76L56M8               @4AB041.CD4E<0=GIC0/1                        XJ\M:6            N7N76PN7N767 N7N76P N7N767O                ; O7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4       >4R4S4              K
    .441=/1B=T/a0A5MM89KA=04.441=/1B=7L;76L56M8               @4AB041.CD4E<0=GIC0/1                        XJ\7            N7N767N7N76L N7N767 N7N76LO                ; O7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4       >4R4S4              K
    .441=/1B=T/a0A5MM89@4V/430/2A767;7L56:8                     @4AB041.CD4E<0=GIC0/1                        XJ\7            7PN7N767N7N76L 7PN7N767 N7N76LO                ; O7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4       >4R4S4              K
    .441=/1B=T/a0A5MM89@4V/430/2A767;7L56:8                     <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L7M6L             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .441=/1B=T/a0A5MM89@4V/430/2A767;7L56:8                     IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N76M 7N7N766 7N7N76M 7N7N766O7HPPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4          >4R4S4              K
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    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       <S^CDAG/0@4AB041.CD4E                           >4R4S4                 7N7N76M 7N7N766 7N7N76M 7N7N766O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L7M6P             7N7N76M 7N7N766 7N7N76M 7N7N766O PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
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    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       <S^CDAG/0@4AB041.CD4E                           >4R4S4                 7N7N766 7N7N76W 7N7N766 7N7N76WO                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       <=/42>4/4?/0@4AB041.CD4E/==AFB0GHI   JK7L77W              7N7N766 7N7N76W 7N7N766 7N7N76WO PPHPPPQPPO7HPPPHPPPQPPO7HPPPHPPPQPP >4R4S4                >4R4S4              K
    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       IC0/14T;@4AB041.CD4E                             U;7PL6:               7N7N766 7N7N76W 7N7N766 7N7N76WO7HPPHPPPQPPOPPHPPPQPP OPPHPPPQPP >4R4S4       >4R4S4              K
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    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       .4=/44=2@4AB041.CD4E                             \7P66           7NL:N7W67NL:N7WW 7NL:N7W6 7NL:N7WWO                ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       .4=/44=2@4AB041.CD4E                             .\PPP            7NL:N7WW7NL:N7W 7NL:N7WW 7NL:N7WO                ; OPPHPPPQPP OPPHPPPQPP >4R4S4    >4R4S4              K
    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       .4=/44=2@4AB041.CD4E                             .\PPP            7NL:N7W7NL:N7P 7NL:N7W 7NL:N7PO                ; OPPHPPPQPP OPPHPPPQPP >4R4S4    >4R4S4              K
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    .441=/1B=T/a0A5MM89\4T/a0A76L;75MM8                       .4=/44=2@4AB041.CD4E                             .\PPP            7NL:N777NL:N7L 7NL:N77 7NL:N7LO                ; OPPHPPPQPP OPPHPPPQPP >4R4S4    >4R4S4              K
    .441=/1B=T/a0A5MM89U===B1R7:;76L5WP8                         >4R4S4                                                   >4R4S4                 7N7N7MP 7N7N7M7 7N7N7MP 7N7N7M7O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89U===B1R7:;76L5WP8                         >4R4S4                                                   >4R4S4                 7N7N7M7 7N7N7ML 7N7N7M7 7N7N7MLO                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89U===B1R7:;76L5WP8                         >4R4S4                                                   >4R4S4                 7N7N7ML 7N7N7M: 7N7N7ML 7N7N7M:O                  ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89<=G4^27M6;76L56L8                       @4AB041.CD4E<0=GIC0/1                        XJ\L6W            :NLPN7M:NLPN7MM :NLPN7M :NLPN7MMO                ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89<=G4^27M6;76L56L8                       @4AB041.CD4E<0=GIC0/1                        XJ\L6W            :NLPN7MM:NLPN7M6 :NLPN7MM :NLPN7M6O                ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89<=G4^27M6;76L56L8                       @4AB041.CD4E<0=GIC0/1                        XJ\L6W            :NLPN7M6:NLPN7MW :NLPN7M6 :NLPN7MWO                ;       >4R4S4           >4R4S4 >4R4S4        >4R4S4              XK
    .441=/1B=T/a0A5MM89<=G4^27M6;76L56L8                       @4AB041.CD4E<0=GIC0/1                        XJ\M7W              :NLPN7MW:NLPN7M :NLPN7MW :NLPN7MO                ; OLPHPPPQPP OLPHPPPQPP >4R4S4    >4R4S4              K
    .441=/1B=T/a0A5MM89<=G4^27M6;76L56L8                       @4AB041.CD4E<0=GIC0/1                        XJ\M7W              :NLPN7M:NLPN76P :NLPN7M :NLPN76PO                ; OLPHPPPQPP OLPHPPPQPP >4R4S4    >4R4S4              K
    .441=/1B=T/a0A5MM89<=G4^27M6;76L56L8                       @4AB041.CD4E<0=GIC0/1                        XJ\M7W              :NLPN76P:NLPN767 :NLPN76P :NLPN767O                ; OLPHPPPQPP OLPHPPPQPP >4R4S4    >4R4S4              K
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    826823D6753EFFGH34I23JKJL3ELLG3                                    51831933M523N56813                       OP333KR3               QQJL3QQJL3 QQJL3 QQJL3S3                 3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    826823D6753EFFGH3Y63JLJLZ3ELJG3                                       UVW3                                                UVW3                   QQJF3 QQJL3 QQJF3 QQJL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    826823D6753EFFGH3Y63JLJLZ3ELJG3                                       51831933M523N56813                       OP3RF3                FQZRQJL3FQZRQJLZ3 FQZRQJL3 FQZRQJLZ3S3                3 S33333TT3S3TT3 UVW3              UVW3                4X3
    826823[1V3ELZGH3N53\301253JKJJLZ3ELRG3                          51831933M523N56813                       OP3FJR3                  KQQJFR3 KQQJFJ3 KQQJFR3 KQQJFJ3S3                  3 S33333TT3S3TT3 UVW3              UVW3                4X3
    826823[1V3ELZGH3N53\301253JKJJLZ3ELRG3                          51831933M523N56813                       OP3FJR3                  KQQJFJ3 KQQJL3 KQQJFJ3 KQQJL3S3                  3 S33333TT3S3TT3 UVW3              UVW3                4X3
    826823[1V3ELZGH3N53\301253JKJJLZ3ELRG3                          51831933M523N56813                       OP3FJR3                  KQQJL3 KQQJL3 KQQJL3 KQQJL3S3                  3 S33333TT3S3TT3 UVW3              UVW3                4X3
    826823[1V3ELZGH3N53\301253JKJJLZ3ELRG3                          51831933M523N56813                       OP33K3JR3               KQQJL3 KQQJLZ3 KQQJL3 KQQJLZ3S3                  3 S33333TT3S3TT3 UVW3              UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       OP33 33              Q QJFR3Q QJFJ3 Q QJFR3 Q QJFJ3S3                3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       OP33 33              Q QJFJ3Q QJL3 Q QJFJ3 Q QJL3S3                3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       OP33 33              Q QJL3Q QJL3 Q QJL3 Q QJL3S3                3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       OP3 J3                Q QJL3Q QJLZ3 Q QJL3 Q QJLZ3S3                3 S33333TT3S3TT3 UVW3              UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       ]43J3RL3Z3             ZQKQJL3ZQKQJLF3 ZQKQJL3 ZQKQJLF3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       ^P33LK3R3              LQQJL3ZQKQJLF3 LQQJL3 ZQKQJLF3S3 T3S33333ZTT3S3ZTT3 UVW3                     UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      M12613U63_653518319334622`5T34N3   PXZ3FJ3L3               QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      N56813D5183193                            a ZL JK3                 QQJLF3 QQJLL3 QQJLF3 QQJLL3S333333TT3S33333TT3S3TT3 UVW3                UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       ]43FK3F3ZF3             ZQKQJLF3ZQKQJLL3 ZQKQJLF3 ZQKQJLL3S3                3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       ^P33LK3R3             ZQKQJLF3ZQKQJLL3 ZQKQJLF3 ZQKQJLL3S3 T3S33333ZTT3S3ZTT3 UVW3                    UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      M12613U63_653518319334622`5T34N3   PX3ZJJJ3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      N56813D5183193                            a ZL JK3                 QQJLL3 QQJLR3 QQJLL3 QQJLR3S333333TT3S33333333T3 S3333T3 UVW3             UVW3                4X3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       ]43FF3J3L3             ZQKQJLL3ZQKQJLR3 ZQKQJLL3 ZQKQJLR3S3                3 S33333333T3 S3333T3 UVW3           UVW3                OX3
    826823[1V3ELZGH32513826823JZJJLR3ELG3                      51831933M523N56813                       ^P33L33             ZQKQJLL3ZQKQJLR3 ZQKQJLL3 ZQKQJLR3S3 T3S33333ZTT3S3ZTT3 UVW3                    UVW3                4X3
    826823[1V3ELZGH3_16563293JLZJJR3EFRG3                         MW3b1 6535183193                          RZ R O4FK LLJ3 QQJLF3 QQJLL3 QQJLF3 QQJLL3S3                           3       UVW3           UVW3 UVW3               UVW3                OX3
    826823[1V3ELZGH3_16563293JLZJJR3EFRG3                         M12613U63_653518319334622`5T34N3   PXZ3FJ3LK3               QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    826823[1V3ELZGH3_16563293JLZJJR3EFRG3                         N56813D5183193                            a ZL JK3                 QQJLF3 QQJLL3 QQJLF3 QQJLL3S333333TT3S33333TT3S3TT3 UVW3                UVW3                4X3
    826823[1V3ELZGH3_16563293JLZJJR3EFRG3                         M12613U63_653518319334622`5T34N3   PX3ZJJZ3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    826823[1V3ELZGH3_16563293JLZJJR3EFRG3                         N56813D5183193                            a ZL JK3                 QQJLL3 QQJLR3 QQJLL3 QQJLR3S333333TT3S33333333T3 S3333T3 UVW3             UVW3                4X3
    826823[1V3ELZGH3c666183JKJJR3ELG3                                51831933M523N56813                       OP33LL3LJ3                ZQQJL3 ZQQJL3 ZQQJL3 ZQQJL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    826823[1V3ELZGH3c666183JKJJR3ELG3                                51831933M523N56813                       OP33ZJ3ZK3               ZQQJL3 ZQQJLZ3 ZQQJL3 ZQQJLZ3S3                  3 S33333TT3S3TT3 UVW3              UVW3                4X3
    826823[1V3ELZGH3c666183JKJJR3ELG3                                M12613U63_653518319334622`5T34N3   PXZ3FJ3FJ3               QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    826823[1V3ELZGH3c666183JKJJR3ELG3                                N56813D5183193                            a ZL JK3                 QQJLF3 QQJLL3 QQJLF3 QQJLL3S333333TT3S33333TT3S3TT3 UVW3                UVW3                4X3
    826823[1V3ELZGH3c666183JKJJR3ELG3                                MW3b1 6535183193                          O43FK JZ 3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    826823[1V3ELZGH3c666183JKJJR3ELG3                                M12613U63_653518319334622`5T34N3   PX3ZJJL3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    826823[1V3ELZGH3c666183JKJJR3ELG3                                N56813D5183193                            a ZL JK3                 QQJLL3 QQJLR3 QQJLL3 QQJLR3S333333TT3S33333333T3 S3333T3 UVW3             UVW3                4X3
    I62153EKGH3I62153JK3EKG3                                         defghijkl3_35183193                        a^43KLJ3              QZQJFJ3QZQJL3 QZQJFJ3 QZQJL3S3                3 S33333333T3 S3333T3 UVW3           UVW3                OX3
    I62153EKGH3I62153JK3EKG3                                         defghijkl3_35183193                        a^43KLJ3              QZQJL3QZQJL3 QZQJL3 QZQJL3S3                3 S33333333T3 S3333T3 UVW3           UVW3                OX3
    I62153EKGH3I62153JK3EKG3                                         defghijkl3_35183193                        a^43KLJ3              QZQJL3QZQJLZ3 QZQJL3 QZQJLZ3S3                3 S33333333T3 S3333T3 UVW3           UVW3                OX3
    I62153EKGH3I62153JK3EKG3                                         M12613U63_653518319334622`5T34N3   PXZ3L3L3                QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    I62153EKGH3I62153JK3EKG3                                         N56813D5183193                            a ZL JK3                 QQJLF3 QQJLL3 QQJLF3 QQJLL3S333333TT3S33333TT3S3TT3 UVW3                UVW3                4X3
    I62153EKGH3I62153JK3EKG3                                         M12613U63_653518319334622`5T34N3   PX3ZZJJ3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    I62153EKGH3I62153JK3EKG3                                         N56813D5183193                            a ZL JK3                 QQJLL3 QQJLR3 QQJLL3 QQJLR3S333333TT3S33333333T3 S3333T3 UVW3             UVW3                4X3
    I62153EKGH3I62153JK3EKG3                                         51831933M523N56813                       ]mZ Z3                   QQJRL3 QQJRR3 QQJRL3 QQJRR3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                OX3
    I62153EKGH3X1253MW3aY683JZJK3EKG3                               N85311293193                                                       ZKJR3FQZJQJ3FQZJQJF3 FQZJQJ3 FQZJQJF3S3                3 S3 T3 S333333T3 UVW3                 UVW3                OX3
    5 V53EKZGH35 V53EKZG3                                                  M12613U63_653518319334622`5T34N3   PXZ3L3J3               QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    5 V53EKZGH35 V53EKZG3                                                  N56813D5183193                            a ZL JK3                 QQJLF3 QQJLL3 QQJLF3 QQJLL3S333333TT3S33333TT3S3TT3 UVW3                UVW3                4X3
    5 V53EKZGH35 V53EKZG3                                                  M12613U63_653518319334622`5T34N3   PX3ZZL3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    5 V53EKZGH35 V53EKZG3                                                  N56813D5183193                            a ZL JK3                 QQJLL3 QQJLR3 QQJLL3 QQJLR3S333333TT3S33333333T3 S3333T3 UVW3             UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        UVW3                                                UVW3                   QQJR3 QQJJ3 QQJR3 QQJJ3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    513N513EJZGH3513N513EJZG3                                        U623O2123_66293n3\1551293193               ]3ZKZJR3               FQZRQJF3FQZRQJFZ3 FQZRQJF3 FQZRQJFZ3S3                3 S33333333T3 S3333T3 UVW3           UVW3                OX3
    513N513EJZGH3513N513EJZG3                                        U623O2123_66293n3\1551293193               UVW3                  FQZRQJFZ3FQZRQJFK3 FQZRQJFZ3 FQZRQJFK3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    513N513EJZGH3513N513EJZG3                                        U623O2123_66293n3\1551293193               UVW3                  FQZRQJFK3FQZRQJF 3 FQZRQJFK3 FQZRQJF 3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    513N513EJZGH3513N513EJZG3                                        U623O2123_66293n3\1551293193               UVW3                  FQZRQJF 3FQZRQJF3 FQZRQJF 3 FQZRQJF3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    513N513EJZGH3513N513EJZG3                                        U623O2123_66293n3\1551293193               F]N3KZJRK3                FQZRQJF3 KQQJFF3 FQZRQJF3 KQQJFF3S3                 3 S3 T3 S333333T3 UVW3                 UVW3                OX3
    513N513EJZGH3513N513EJZG3                                        51831933M523N56813                       OP3ZRL 3                 KQQJFF3 KQQJFL3 KQQJFF3 KQQJFL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    513N513EJZGH3513N513EJZG3                                        51831933M523N56813                       OP3ZRRZ3                 KQQJFL3 KQQJFR3 KQQJFL3 KQQJFR3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        51831933M523N56813                       OP3ZRRR3                 KQQJFR3 KQQJFJ3 KQQJFR3 KQQJFJ3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        51831933M523N56813                       OP333RR3               KQQJFJ3 KQQJL3 KQQJFJ3 KQQJL3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        51831933M523N56813                       OP33R3L3               KQQJL3 KQQJL3 KQQJL3 KQQJL3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        51831933M523N56813                       OP33R3L3               KQQJL3 KQQJLZ3 KQQJL3 KQQJLZ3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        51831933M523N56813                       OP33R3L3               KQQJLZ3 QQJLK3 KQQJLZ3 QQJLK3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        M12613U63_653518319334622`5T34N3   PXZ3L3R3                QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        N56813D5183193                            a ZL JK3                 QQJLF3 QQJLL3 QQJLF3 QQJLL3S333333TT3S33333TT3S3TT3 UVW3                UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        M12613U63_653518319334622`5T34N3   PX3ZJJJF3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    513N513EJZGH3513N513EJZG3                                        N56813D5183193                            a ZL JK3                 QQJLL3 QQJLR3 QQJLL3 QQJLR3S333333TT3S33333333T3 S3333T3 UVW3             UVW3                4X3
    51336̀5293EZGH34 61 613J JJF3EZG3                            51831933M523N56813                       OP33K 3Z3                ZQQJF3 ZQQJFF3 ZQQJF3 ZQQJFF3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    51336̀5293EZGH34 61 613J JJF3EZG3                            51831933M523N56813                       OP33K 3Z3                ZQQJFF3 ZQQJFL3 ZQQJFF3 ZQQJFL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    51336̀5293EZGH34 61 613J JJF3EZG3                            51831933M523N56813                       OP33K 3Z3                ZQQJFL3 ZQQJFR3 ZQQJFL3 ZQQJFR3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    51336̀5293EZGH34 61 613J JJF3EZG3                            51831933M523N56813                       OP3333                 ZQQJFR3 ZQQJFJ3 ZQQJFR3 ZQQJFJ3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    51336̀5293EZGH34 61 613J JJF3EZG3                            51831933M523N56813                       OP3333                 ZQQJFJ3 ZQQJL3 ZQQJFJ3 ZQQJL3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    51336̀5293EZGH34 61 613J JJF3EZG3                            51831933M523N56813                       OP3333                 ZQQJL3 ZQQJL3 ZQQJL3 ZQQJL3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    51336̀5293EZGH34 61 613J JJF3EZG3                            51831933M523N56813                       OP333LL3               ZQQJL3 ZQQJLZ3 ZQQJL3 ZQQJLZ3S3                  3 S33333333T3 S3333T3 UVW3           UVW3                4X3
    51336̀5293EZGH34 61 613J JJF3EZG3                            M12613U63_653518319334622`5T34N3   PXZ3LK3Z3                QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    51336̀5293EZGH34 61 613J JJF3EZG3                            N56813D5183193                            a ZL JK3                 QQJLF3 QQJLL3 QQJLF3 QQJLL3S333333TT3S33333TT3S3TT3 UVW3                UVW3                4X3
    51336̀5293EZGH34 61 613J JJF3EZG3                            M12613U63_653518319334622`5T34N3   PX3ZZJL3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    51336̀5293EZGH34 61 613J JJF3EZG3                            N56813D5183193                            a ZL JK3                 QQJLL3 QQJLR3 QQJLL3 QQJLR3S333333TT3S33333333T3 S3333T3 UVW3             UVW3                4X3
    51336̀5293EZGH3o193_53JKFJJF3ELG3                            51831933M523N56813                       UVW3                   QQJFZ3 QQJFK3 QQJFZ3 QQJFK3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    51336̀5293EZGH3o193_53JKFJJF3ELG3                            51831933M523N56813                       OP K F3                 KQ QJFL3KQ QJFR3 KQ QJFL3 KQ QJFR3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    51336̀5293EZGH3o193_53JKFJJF3ELG3                            51831933M523N56813                       OP R3                  KQ QJFR3KQ QJFJ3 KQ QJFR3 KQ QJFJ3S3                3 S33333TT3S3TT3 UVW3              UVW3                4X3
    51336̀5293EZGH3o193_53JKFJJF3ELG3                            M12613U63_653518319334622`5T34N3   PXZ3LK3R3                QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    51336̀5293EZGH3o193_53JKFJJF3ELG3                            N56813D5183193                            a ZL JK3                 QQJLF3 QQJLL3 QQJLF3 QQJLL3S333333TT3S33333TT3S3TT3 UVW3                UVW3                4X3
    51336̀5293EZGH3o193_53JKFJJF3ELG3                            M12613U63_653518319334622`5T34N3   PX3ZZZL3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    51336̀5293EZGH3o193_53JKFJJF3ELG3                            N56813D5183193                            a ZL JK3                 QQJLL3 QQJLR3 QQJLL3 QQJLR3S333333TT3S33333333T3 S3333T3 UVW3             UVW3                4X3
    512531V3EJGH3512531V3JJK3EJG3                                         M12613U63_653518319334622`5T34N3   PXZ3LK3ZR3               QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    512531V3EJGH3512531V3JJK3EJG3                                         M12613U63_653518319334622`5T34N3   PX3ZZR3                QQJLL3 QQJLR3 QQJLL3 QQJLR3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3
    512531V3EJGH3a83N513JKFJJK3EJG3                                       M12613U63_653518319334622`5T34N3   PXZ3LK3ZL3               QQJLF3 QQJLL3 QQJLF3 QQJLL3S3 T3S33333TT3S3TT3 UVW3                      UVW3                4X3




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                                 !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#'    5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
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512531C3DEFG3H83I513EJKEEJ3DEF3                                V12613S63W653518319334622X5R34I3   YU3NNMMZN3               PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
512531C3DEFG3H83I513EJKEEJ3DEF3                                I56813L5183193                            H MNOEJ3                PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q333333RMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3                SCT3                4U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   VT3[1 6535183193                          \IEMZEE3                KPPEO3 KPPEOK3 KPPEO3 KPPEOK3Q3                     3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                ]U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   VT3[1 6535183193                          SMOEK3                 KPPEO3 KPPEOK3 KPPEO3 KPPEOK3Q333333NRMMRMMMMM3 SCT3                     SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   51831933V523I56813                       ^43MOKE3                KPPEO3 KPPEOK3 KPPEO3 KPPEOK3Q333333ORMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   V12613S63W653518319334622X5R34I3   YUN3OM3JN3              PPEOK3 PPEOO3 PPEOK3 PPEOO3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   I56813L5183193                            H MNOEJ3                PPEOK3 PPEOO3 PPEOK3 PPEOO3Q333333RMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   VT3[1 6535183193                          \IEMZEE3                KPPEOK3 KPPEOO3 KPPEOK3 KPPEOO3Q3                     3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                ]U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   VT3[1 6535183193                          SMOEK3                 KPPEOK3 KPPEOO3 KPPEOK3 KPPEOO3Q333333NRMMRMMMMM3 SCT3                     SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   51831933V523I56813                       ^43MOKE3                KPPEOK3 KPPEOO3 KPPEOK3 KPPEOO3Q333333ORMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   V12613S63W653518319334622X5R34I3   YU3NEEOZ3               PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   I56813L5183193                            H MNOEJ3                PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q333333RMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3                SCT3                4U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   VT3[1 6535183193                          \IEMZEE3                KPPEOO3 KPPEOZ3 KPPEOO3 KPPEOZ3Q3                     3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                ]U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   VT3[1 6535183193                          SMOEK3                 KPPEOO3 KPPEOZ3 KPPEOO3 KPPEOZ3Q333333NRMMRMMMMM3 SCT3                     SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG35 5133I56813EON3DKMF3                   51831933V523I56813                       ^43MOKE3                KPPEOO3 KPPEOZ3 KPPEOO3 KPPEOZ3Q333333ORMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 5133I56813DKMFG301T153293ENEON3DKOEF3                   51831933V523I56813                       ]Y333K3              KPPEO3 KPPEON3 KPPEO3 KPPEON3Q3                     3 Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3              SCT3                4U3
5 5133I56813DKMFG3_6C21T3I513EJEON3DEF3                  51831933V523I56813                       ]YKOKM3                 KPEPEKZ3 KPEPEKE3 KPEPEKZ3 KPEPEKE3Q3                     3 Q33333333NMRMMMMM3 Q3333NMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3_6C21T3I513EJEON3DEF3                  51831933V523I56813                       ]Y3KOO3                KPEPEKE3 KPEPEOM3 KPEPEKE3 KPEPEOM3Q3                     3       SCT3           SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG3_6C21T3I513EJEON3DEF3                  51831933V523I56813                       ]Y3KOZN3                KPEPEOM3 KPEPEO3 KPEPEOM3 KPEPEO3Q3                     3 Q33333333NMRMMMMM3 Q3333NMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3_6C21T3I513EJEON3DEF3                  51831933V523I56813                       SCT3                  KPEPEO3 KPEPEON3 KPEPEO3 KPEPEON3Q3                     3       SCT3           SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      51831933V523I56813                       ]Y3KOON3               PPEKE3PPEOM3 PPEKE3 PPEOM3Q3                   3 Q33333333NMRMMMMM3 Q3333NMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      51831933V523I56813                       ]Y3KOON3               PPEOM3PPEO3 PPEOM3 PPEO3Q3                   3 Q33333333NMRMMMMM3 Q3333NMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      51831933V523I56813                       ]Y3KOEZ3               PPEO3PPEON3 PPEO3 PPEON3Q3                   3 Q33333333NMRMMMMM3 Q3333NMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      51831933V523I56813                       IY3MO3               PPEON3PPEOJ3 PPEON3 PPEOJ3Q3                   3 Q33333333JMMRMMMMM3 Q3333JMMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      51831933V523I56813                       \43N3Z3O3            PPEOJ3PPEO3 PPEOJ3 PPEO3Q3                   3 Q33333333JMMRMMMMM3 Q3333JMMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      51831933V523I56813                       \43NZJM3              PPEO3PPEO3 PPEO3 PPEO3Q3                   3       SCT3           SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      51831933V523I56813                       \43E3N3J3            PPEO3NPNPEO3 PPEO3 NPNPEO3Q3                   3 Q33333333JMMRMMMMM3 Q3333JMMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      51831933V523I56813                       \43E3N3J3            NPNPEO3PPEOK3 NPNPEO3 PPEOK3Q3                   3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      VT3[1 6535183193                          SCT3                  PPEOK3 PPEOO3 PPEOK3 PPEOO3Q3                     3       SCT3           SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      V12613S63W653518319334622X5R34I3   YUN3OM3JO3              PPEOK3 PPEOO3 PPEOK3 PPEOO3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      I56813L5183193                            H MNOEJ3                PPEOK3 PPEOO3 PPEOK3 PPEOO3Q333333RMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      V12613S63W653518319334622X5R34I3   YU3NEEZJ3               PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 5133I56813DKMFG3̀1X1 3a193EJNMMN3DKKF3                      I56813L5183193                            H MNOEJ3                PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q333333RMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3                SCT3                4U3
5 5133I56813DKMFG3̀ 62T1253a193EJEON3DF3                 51831933V523I56813                       ]Y33M3EE3              KPPEKK3 KPPEKO3 KPPEKK3 KPPEKO3Q3                     3       SCT3           SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG3̀ 62T1253a193EJEON3DF3                 51831933V523I56813                       ]Y33KO3J3              KPPEKO3 KPPEKZ3 KPPEKO3 KPPEKZ3Q3                     3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀ 62T1253a193EJEON3DF3                 51831933V523I56813                       ]YKOE3                 KPPEKZ3 KPPEKE3 KPPEKZ3 KPPEKE3Q3                     3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀ 62T1253a193EJEON3DF3                 51831933V523I56813                       ]Y3KOZ3                KPPEKE3 KPPEOM3 KPPEKE3 KPPEOM3Q3                     3       SCT3           SCT3 SCT3               SCT3                ]U3
5 5133I56813DKMFG3̀ 62T1253a193EJEON3DF3                 51831933V523I56813                       ]Y3KOZ3                KPPEOM3 KPPEO3 KPPEOM3 KPPEO3Q3                     3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                4U3
5 5133I56813DKMFG3̀ 62T1253a193EJEON3DF3                 51831933V523I56813                       SCT3                  KPPEO3 KPPEON3 KPPEO3 KPPEON3Q3                     3       SCT3           SCT3 SCT3               SCT3                ]U3
5 513323`23DEMFG3183a193I513ENEEJ3DZZF3                   51831933V523I56813                       ]Y3JMO3                PPEOM3 PPEO3 PPEOM3 PPEO3Q3                     3 Q33333333NMRMMMMM3 Q3333NMRMMMMM3 SCT3           SCT3                4U3
5 513323`23DEMFG3183a193I513ENEEJ3DZZF3                   51831933V523I56813                       ]Y3JMO3                PPEO3 PPEON3 PPEO3 PPEON3Q3                     3 Q33333333NMRMMMMM3 Q3333NMRMMMMM3 SCT3           SCT3                4U3
5 513323`23DEMFG3183a193I513ENEEJ3DZZF3                   51831933V523I56813                       ]Y3JMO3                PPEON3 PPEOJ3 PPEON3 PPEOJ3Q3                     3 Q33333333NMRMMMMM3 Q3333NMRMMMMM3 SCT3           SCT3                4U3
5 513323`23DEMFG3183a193I513ENEEJ3DZZF3                   V12613S63W653518319334622X5R34I3   YUN3OJ3M3              PPEOK3 PPEOO3 PPEOK3 PPEOO3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323`23DEMFG3183a193I513ENEEJ3DZZF3                   I56813L5183193                            H MNOEJ3                PPEOK3 PPEOO3 PPEOK3 PPEOO3Q333333RMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 513323`23DEMFG3183a193I513ENEEJ3DZZF3                   V12613S63W653518319334622X5R34I3   YU3NNMNN3               PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323`23DEMFG3183a193I513ENEEJ3DZZF3                   I56813L5183193                            H MNOEJ3                PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q333333RMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3                SCT3                4U3
5 513323̀23DEMFG3\5123]1231C3ENMNM3DEMF3                    I56813L5183193                            H MNOEJ3                PPEOK3 PPEOO3 PPEOK3 PPEOO3Q333333RMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 513323̀23DEMFG3\5123]1231C3ENMNM3DEMF3                    V12613S63W653518319334622X5R34I3   YU3NNMNNZ3               PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323̀23DEMFG3\5123]1231C3ENMNM3DEMF3                    I56813L5183193                            H MNOEJ3                PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q333333RMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3                SCT3                4U3
5 513323̀ 23DEMFG3b63Y5653EKEEJ3DKJEF3                       51831933V523I56813                       ]Y333O3              PPEO3 PPEON3 PPEO3 PPEON3Q3                     3 Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3              SCT3                4U3
5 513323̀ 23DEMFG3b63Y5653EKEEJ3DKJEF3                       V12613S63W653518319334622X5R34I3   YUN3ON3M3              PPEOK3 PPEOO3 PPEOK3 PPEOO3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323̀ 23DEMFG3b63Y5653EKEEJ3DKJEF3                       I56813L5183193                            H MNOEJ3                PPEOK3 PPEOO3 PPEOK3 PPEOO3Q333333RMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 513323̀ 23DEMFG3b63Y5653EKEEJ3DKJEF3                       V12613S63W653518319334622X5R34I3   YU3NNMNKO3               PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323̀ 23DEMFG3b63Y5653EKEEJ3DKJEF3                       I56813L5183193                            H MNOEJ3                PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q333333RMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3                SCT3                4U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                    ]IWUc3333I56813                              SCT3                  OPPEOM3 OPPEO3 OPPEOM3 OPPEO3Q3                     3       SCT3           SCT3 SCT3               SCT3                ]U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                     15253c1C3W6535183193                      KMNOIKKJcWO3         EPPEO3 EPPEO3 EPPEO3 EPPEO3Q3                     3 Q33333NRMMRMMMMM3Q3NRMMRMMMMM3 SCT3              SCT3                ]U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                     15253c1C3W6535183193                      KMNOIKKJcWO3         EPPEO3 PPEOK3 EPPEO3 PPEOK3Q3                     3 Q33333NRMMRMMMMM3Q3NRMMRMMMMM3 SCT3              SCT3                ]U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                    V12613S63W653518319334622X5R34I3   YUN3OJ3M3              PPEOK3 PPEOO3 PPEOK3 PPEOO3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                    I56813L5183193                            H MNOEJ3                PPEOK3 PPEOO3 PPEOK3 PPEOO3Q333333RMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                    V12613S63W653518319334622X5R34I3   YU3NNMNNK3               PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                    I56813L5183193                            H MNOEJ3                PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q333333RMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3                SCT3                4U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                     15253c1C3W6535183193                      KMNOIKKJcWOO3        OPJPEOO3OPJPEOZ3 OPJPEOO3 OPJPEOZ3Q3                   3       SCT3           SCT3 SCT3               SCT3                ]U3
5 513323`23DEMFG31C3Y763EEEJ3DZEF3                     15253c1C3W6535183193                      KMNOIKKJcWOO3        OPJPEOZ3 EPPEOZ3 OPJPEOZ3 EPPEOZ3Q3                    3       SCT3           SCT3 SCT3               SCT3                ]U3
5 513323̀23DEMFG3]1231C36293I513ENKE3DEMF3                V12613S63W653518319334622X5R34I3   YUN3OJ3MK3              PPEOK3 PPEOO3 PPEOK3 PPEOO3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323̀23DEMFG3S21 3V12613415C3NMNM3DEF3                     51831933V523I56813                       ]Y33M3NO3             OPPEKZ3OPPEKE3 OPPEKZ3 OPPEKE3Q3                   3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                4U3
5 513323̀23DEMFG3S21 3V12613415C3NMNM3DEF3                     51831933V523I56813                       ]Y33M3NO3             OPPEKE3OPPEOM3 OPPEKE3 OPPEOM3Q3                   3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                4U3
5 513323̀23DEMFG3S21 3V12613415C3NMNM3DEF3                     51831933V523I56813                       ]Y33M3NO3             OPPEOM3OPPEO3 OPPEOM3 OPPEO3Q3                   3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                4U3
5 513323̀23DEMFG3S21 3V12613415C3NMNM3DEF3                     51831933V523I56813                       ]Y333ZM3             OPPEO3OPPEON3 OPPEO3 OPPEON3Q3                   3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3           SCT3                4U3
5 513323̀23DEMFG3S21 3V12613415C3NMNM3DEF3                     V12613S63W653518319334622X5R34I3   YUN3OJ3M3              PPEOK3 PPEOO3 PPEOK3 PPEOO3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323̀23DEMFG3S21 3V12613415C3NMNM3DEF3                     I56813L5183193                            H MNOEJ3                PPEOK3 PPEOO3 PPEOK3 PPEOO3Q333333RMMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                   SCT3                4U3
5 513323̀23DEMFG3S21 3V12613415C3NMNM3DEF3                     V12613S63W653518319334622X5R34I3   YU3NNMNNO3               PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3                         SCT3                4U3
5 513323̀23DEMFG3S21 3V12613415C3NMNM3DEF3                     I56813L5183193                            H MNOEJ3                PPEOO3 PPEOZ3 PPEOO3 PPEOZ3Q333333RMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 SCT3                SCT3                4U3
013Y153DJZFG3013Y153EK3DJZF3                                       SCT3                                                SCT3                  PPEK3 PPEO3 PPEK3 PPEO3Q3                     3       SCT3           SCT3 SCT3               SCT3                ]U3
013Y153DJZFG3013Y153EK3DJZF3                                       51831933V523I56813                       ]Y33J3O3              PPEKK3 PPEKO3 PPEKK3 PPEKO3Q3                     3 Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3              SCT3                4U3
013Y153DJZFG3013Y153EK3DJZF3                                       51831933V523I56813                       ]Y33J3O3              PPEKO3 PPEKZ3 PPEKO3 PPEKZ3Q3                     3 Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3              SCT3                4U3
013Y153DJZFG3013Y153EK3DJZF3                                       51831933V523I56813                       ]Y33J3O3              PPEKZ3 PPEKE3 PPEKZ3 PPEKE3Q3                     3 Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 SCT3              SCT3                4U3
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    013D153EFGHI3013D153JK3EFGH3                                             M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    013D153EFGHI3013D153JK3EFGH3                                             51831933L523M56813                       MN430O3OO3GF3JF3G3        PPJQQ3PPJQG3 PPJQQ3 PPJQG3R3                  3 R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3           TUV3                4W3
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    0163D3EHI30163D3EH3                                              L12613T63Y653518319334622Z5S34M3   DW3Q3G3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0163D3EHI30163D3EH3                                              M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    0163D3EHI30163D3EH3                                              L12613T63Y653518319334622Z5S34M3   DW3OOF3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0163D3EHI30163D3EH3                                              M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        TUV3                                                TUV3                   PPJQ3 PPJQF3 PPJQ3 PPJQF3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        ^23413Y65313\15635183193              TUV3                   PPJQF3 PPJQ 3 PPJQF3 PPJQ 3R3                    3 R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3              TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        TUV3                                                TUV3                   PPJQF3 PPJQ 3 PPJQF3 PPJQ 3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        ^23413Y65313\15635183193              TUV3                   PPJQ 3 PPJQ3 PPJQ 3 PPJQ3R3                    3 R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3              TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        TUV3                                                TUV3                   PPJQ 3 PPJQ3 PPJQ 3 PPJQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        ^23413Y65313\15635183193              TUV3                   PPJQ3 PPJQK3 PPJQ3 PPJQK3R3                    3 R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3              TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        TUV3                                                TUV3                   PPJQ3 PPJQK3 PPJQ3 PPJQK3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        58613T63M 5183193                      TUV3                   PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        L12613T63Y653518319334622Z5S34M3   DW3Q3 3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        58613T63M 5183193                      MD30Q OOJ3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        L12613T63Y653518319334622Z5S34M3   DW3OQK3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0163]Z253EFFOHI30163]Z253EFFOH3                                        M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    03^23M513EFHI303^23M513EFH3                                            LV3_1 6535183193                          TUV3                   PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    03^23M513EFHI303^23M513EFH3                                            L12613T63Y653518319334622Z5S34M3   DW3KJ33               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    03^23M513EFHI303^23M513EFH3                                            M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    03^23M513EFHI303^23M513EFH3                                            MZ1 1535183193                                                GFO3 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3                     3       TUV3           TUV3 TUV3               TUV3                ^W3
    03^23M513EFHI303^23M513EFH3                                            LV3_1 6535183193                          NM3FFFKF3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    03^23M513EFHI303^23M513EFH3                                            L12613T63Y653518319334622Z5S34M3   DW3JGQ3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    03^23M513EFHI303^23M513EFH3                                            M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    0\15`13EGHI30\15`13EGH3                                                    L12613T63Y653518319334622Z5S34M3   DW3KJ3Q 3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0\15`13EGHI30\15`13EGH3                                                    M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    0\15`13EGHI30\15`13EGH3                                                    L12613T63Y653518319334622Z5S34M3   DW3JJ3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0\15`13EGHI30\15`13EGH3                                                    M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    0753M513EKHI30753M513JK3EKH3                                         L12613T63Y653518319334622Z5S34M3   DW3KJ3KF3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0753M513EKHI30753M513JK3EKH3                                         M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    0753M513EKHI30753M513JK3EKH3                                         L12613T63Y653518319334622Z5S34M3   DW3JJ3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0753M513EKHI30753M513JK3EKH3                                         M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    0753M513EKHI3]253513JOJ3EKH3                                   51831933L523M56813                       ^D33J3Q3                FPPJK3 FPPJKK3 FPPJK3 FPPJKK3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0753M513EKHI3]253513JOJ3EKH3                                   51831933L523M56813                       ^D33J3Q3                FPPJKK3 FPPJKQ3 FPPJKK3 FPPJKQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0753M513EKHI3]253513JOJ3EKH3                                   51831933L523M56813                       ^D33J3Q3                FPPJKQ3 FPPJKG3 FPPJKQ3 FPPJKG3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    0753M513EKHI3]253513JOJ3EKH3                                   51831933L523M56813                       ^D3KJ3                  FPPJKG3 FPPJKJ3 FPPJKG3 FPPJKJ3R3                    3 R33333333OSOOOOO3 R3333OSOOOOO3 TUV3           TUV3                4W3
    0753M513EKHI3]253513JOJ3EKH3                                   51831933L523M56813                       ^D3KJ3                  FPPJKJ3 FPPJQO3 FPPJKJ3 FPPJQO3R3                    3 R33333333OSOOOOO3 R3333OSOOOOO3 TUV3           TUV3                4W3
    0753M513EKHI3]253513JOJ3EKH3                                   51831933L523M56813                       ^D3KJ3                  FPPJQO3 FPPJQ3 FPPJQO3 FPPJQ3R3                    3 R33333333OSOOOOO3 R3333OSOOOOO3 TUV3           TUV3                4W3
    0753M513EKHI3]253513JOJ3EKH3                                   51831933L523M56813                       ^D3FJJ3                 FPPJQ3 FPPJQ3 FPPJQ3 FPPJQ3R3                    3 R33333333OSOOOOO3 R3333OSOOOOO3 TUV3           TUV3                4W3
    0753M513EKHI3]253513JOJ3EKH3                                   L12613T63Y653518319334622Z5S34M3   DW3KJ3K 3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0753M513EKHI3]253513JOJ3EKH3                                   M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    0753M513EKHI3]253513JOJ3EKH3                                   L12613T63Y653518319334622Z5S34M3   DW3JJ3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    0753M513EKHI3]253513JOJ3EKH3                                   M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    065823^57683EGOOHI3113a3JFFJQJ3EGOH3                                 LV3_1 6535183193                          TUV3                   PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    065823^57683EGOOHI3113a3JFFJQJ3EGOH3                                 L12613T63Y653518319334622Z5S34M3   DW3KJ3K3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    065823^57683EGOOHI3113a3JFFJQJ3EGOH3                                 M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    065823^57683EGOOHI3113a3JFFJQJ3EGOH3                                 LV3_1 6535183193                          TUV3                   PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3                    3 R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3           TUV3                ^W3
    065823^57683EGOOHI3113a3JFFJQJ3EGOH3                                 L12613T63Y653518319334622Z5S34M3   DW3JJOJ3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    065823^57683EGOOHI3113a3JFFJQJ3EGOH3                                 M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    065823^57683EGOOHI3065823^57683JKJQJ3EGOOH3                             M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    065823^57683EGOOHI3065823^57683JKJQJ3EGOOH3                             M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    W12315613EKHI3W12315613EKH3                                            L523[67535183193                            TUV3                   PPJQ 3 PPJQ3 PPJQ 3 PPJQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W12315613EKHI3W12315613EKH3                                            L12613T63Y653518319334622Z5S34M3   DW3Q3J3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    W12315613EKHI3W12315613EKH3                                            M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    W12315613EKHI3W12315613EKH3                                            L12613T63Y653518319334622Z5S34M3   DW3OO 3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    W12315613EKHI3W12315613EKH3                                            M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    W123b13M513EGHI3W123b13M513EGH3                                          T^3Y6535183193                             NM  Q 3                  PPJQO3PPJQ3 PPJQO3 PPJQ3R3                  3       TUV3           TUV3 TUV3               TUV3                ^W3
    W123b13M513EGHI3W123b13M513EGH3                                          T^3Y6535183193                             NM  Q 3                  PPJQ3PPJQ3 PPJQ3 PPJQ3R3                  3       TUV3           TUV3 TUV3               TUV3                ^W3
    W123b13M513EGHI3W123b13M513EGH3                                          L12613T63Y653518319334622Z5S34M3   DW3QF3JO3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    W123b13M513EGHI3W123b13M513EGH3                                          M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    W123b13M513EGHI3W123b13M513EGH3                                          L12613T63Y653518319334622Z5S34M3   DW3O3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    W123b13M513EGHI3W123b13M513EGH3                                          M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        D8U93T635183193                         TUV3                   PPJQO3 PPJQ3 PPJQO3 PPJQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        D8U93T635183193                         TUV3                   PPJQ3 PPJQ3 PPJQ3 PPJQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        D8U93T635183193                         TUV3                   PPJQ3 PPJQF3 PPJQ3 PPJQF3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        D8U93T635183193                         TUV3                   PPJQF3 PPJQ 3 PPJQF3 PPJQ 3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        D8U93T635183193                         TUV3                   PPJQ 3 PPJQ3 PPJQ 3 PPJQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        D8U93T635183193                         TUV3                   PPJQ3 PPJQK3 PPJQ3 PPJQK3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        D8U93T635183193                         TUV3                   PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        L12613T63Y653518319334622Z5S34M3   DW3Q3F3               PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        M56813[5183193                            \ OQ JF3                 PPJQK3 PPJQQ3 PPJQK3 PPJQQ3R333333SOOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                  TUV3                4W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        D8U93T635183193                         TUV3                   PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        L12613T63Y653518319334622Z5S34M3   DW3OOKK3                PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R3 OOSOOOOO3R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3                        TUV3                4W3
    W563^53EKOHI33M513JJJJJ3EKOH3                                        M56813[5183193                            \ OQ JF3                 PPJQQ3 PPJQG3 PPJQQ3 PPJQG3R333333SOOSOOOOO3R33333333OOSOOOOO3 R3333OOSOOOOO3 TUV3               TUV3                4W3
    W7163M513EHI3W7163M513EH3                                    51831933L523M56813                       ^D33F3Q3                PPJKK3 PPJKQ3 PPJKK3 PPJKQ3R3                    3 R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3              TUV3                4W3
    W7163M513EHI3W7163M513EH3                                    51831933L523M56813                       ^D33F3Q3                PPJKQ3 PPJKG3 PPJKQ3 PPJKG3R3                    3 R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3              TUV3                4W3
    W7163M513EHI3W7163M513EH3                                    51831933L523M56813                       ^D33F3Q3                PPJKG3 PPJKJ3 PPJKG3 PPJKJ3R3                    3 R33333SOOOSOOOOO3R3SOOOSOOOOO3 TUV3              TUV3                4W3
    W7163M513EHI3W7163M513EH3                                    _15253M88623136293193                TUV3                   PPJQ3 PPJQK3 PPJQ3 PPJQK3R3                    3       TUV3           TUV3 TUV3               TUV3                ^W3




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                                                                                                                                                                                              71'%(         71'%(
    D7163E513FGGHI3D7163E513FGGH3                                   JK3L1 6535183193                          MNK3                  OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    D7163E513FGGHI3D7163E513FGGH3                                   J12613M63U653518319334622V5W34E3   XDG3QY3Z3              OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    D7163E513FGGHI3D7163E513FGGH3                                   E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3
    D7163E513FGGHI3D7163E513FGGH3                                   JK3L1 6535183193                          MNK3                  OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    D7163E513FGGHI3D7163E513FGGH3                                   J12613M63U653518319334622V5W34E3   XD3GGYYR3               OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    D7163E513FGGHI3D7163E513FGGH3                                   E56813[5183193                            \ YGQ P3                OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S333333WYYWYYYYY3S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3                MNK3                4D3
    U153D123FZYHI3U153D123FZYH3                                                   JK3L1 6535183193                          MNK3                  OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U153D123FZYHI3U153D123FZYH3                                                   J12613M63U653518319334622V5W34E3   XDG3RP3QR3              OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U153D123FZYHI3U153D123FZYH3                                                   E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3
    U153D123FZYHI3U153D123FZYH3                                                   JK3L1 6535183193                          MNK3                  OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U153D123FZYHI3U153D123FZYH3                                                   J12613M63U653518319334622V5W34E3   XD3GPPG 3               OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U153D123FZYHI3U153D123FZYH3                                                   E56813[5183193                            \ YGQ P3                OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S333333WYYWYYYYY3S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3                MNK3                4D3
    U673[6753FQHI3]513T6713PGQPPG3FQQPH3                              JK3L1 6535183193                          MNK3                  OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U673[6753FQHI3]513T6713PGQPPG3FQQPH3                              J12613M63U653518319334622V5W34E3   XDG3Q3Q3               OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U673[6753FQHI3]513T6713PGQPPG3FQQPH3                              E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3
    U673[6753FQHI3]513T6713PGQPPG3FQQPH3                              JK3L1 6535183193                          MNK3                  OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U673[6753FQHI3]513T6713PGQPPG3FQQPH3                              J12613M63U653518319334622V5W34E3   XD3GGYGRP3               OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U673[6753FQHI3]513T6713PGQPPG3FQQPH3                              E56813[5183193                            \ YGQ P3                OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S333333WYYWYYYYY3S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3                MNK3                4D3
    U673[6753FQHI3T2V3E513PPP3FYGH3                                   JK3L1 6535183193                          MNK3                  OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U673[6753FQHI3T2V3E513PPP3FYGH3                                   J12613M63U653518319334622V5W34E3   XDG3Q33              OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U673[6753FQHI3T2V3E513PPP3FYGH3                                   E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3
    U673[6753FQHI3T2V3E513PPP3FYGH3                                   51831933J523E56813                       E]433P33             OPOPQR3 OPOPQQ3 OPOPQR3 OPOPQQ3S3                     3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U673[6753FQHI3T2V3E513PPP3FYGH3                                   ^_`abcdef3U35183193                        MNK3                  OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3                     3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                TD3
    U673[6753FQHI3T2V3E513PPP3FYGH3                                   U651g351831933JK15NW3Jh3                RGRY3                 OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U673[6753FQHI3T2V3E513PPP3FYGH3                                   J12613M63U653518319334622V5W34E3   XD3GGYYY3               OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U673[6753FQHI3T2V3E513PPP3FYGH3                                   E56813[5183193                            \ YGQ P3                OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S333333WYYWYYYYY3S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3                MNK3                4D3
    U673[6753FQHI3T67135163P QPP3FQH3                                  517536293193                             MNK3                  OOPR3 OOPR 3 OOPR3 OOPR 3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U673[6753FQHI3T67135163P QPP3FQH3                                  517536293193                             MNK3                  OOPR 3 OOPR3 OOPR 3 OOPR3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U673[6753FQHI3T67135163P QPP3FQH3                                  517536293193                             MNK3                  OOPR3 OOPRR3 OOPR3 OOPRR3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U673[6753FQHI3T67135163P QPP3FQH3                                 J12613M63U653518319334622V5W34E3   XDG3Q33              OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U673[6753FQHI3T67135163P QPP3FQH3                                 E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3
    U673[6753FQHI3T67135163P QPP3FQH3                                 J12613M63U653518319334622V5W34E3   XD3GGYYYZ3               OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U673[6753FQHI3T67135163P QPP3FQH3                                 E56813[5183193                            \ YGQ P3                OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S333333WYYWYYYYY3S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3                MNK3                4D3
    U673[6753FQHI3T67135163P QPP3FQH3                                 L15253U6535183193                         Y3MD3UJGG3          YOGZOPP3OZOPPG3 YOGZOPP3 OZOPPG3S3                  3 S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3              MNK3                4D3
    U623[6753FPHI3U623[6753FPH3                                             51831933J523E56813                       TX3ZZ 3                 QOROPQ3 QOOPQG3 QOROPQ3 QOOPQG3S3                     3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U623[6753FPHI3U623[6753FPH3                                             J12613M63U653518319334622V5W34E3   XDG3RP3PG3              OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U623[6753FPHI3U623[6753FPH3                                             E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3
    U623[6753FPHI3U623[6753FPH3                                             J12613M63U653518319334622V5W34E3   XD3GPP Y3               OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U623[6753FPHI3U623[6753FPH3                                             E56813[5183193                            \ YGQ P3                OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S333333WYYWYYYYY3S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3                MNK3                4D3
    U5835N3FGHI32113PRPPQG3FH3                                     51831933J523E56813                       TX3Y G3              OGPOPRZ3OGPOPRP3 OGPOPRZ3OGPOPRP3S3                 3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U5835N3FGHI32113PRPPQG3FH3                                     51831933J523E56813                       TX3Y G3              OGPOPRP3OGPOPQY3 OGPOPRP3OGPOPQY3S3                 3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U5835N3FGHI32113PRPPQG3FH3                                     51831933J523E56813                       TX3Y G3              OGPOPQY3OGPOPQ3 OGPOPQY3OGPOPQ3S3                 3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U5835N3FGHI3U5835N3PQG3FGH3                                      D563U1693635183193                      MNK3                  OOPQ 3 OOPQ3 OOPQ 3 OOPQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3U5835N3PQG3FGH3                                      D5635183Di813                                  MNK3                  OOPQ3 OOPQR3 OOPQ3 OOPQR3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3U5835N3PQG3FGH3                                      D5635183Di813                                  MNK3                  OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3U5835N3PQG3FGH3                                      J12613M63U653518319334622V5W34E3   XDG3Q33              OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U5835N3FGHI3U5835N3PQG3FGH3                                      E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3
    U5835N3FGHI3U5835N3PQG3FGH3                                      D5635183Di813                                  MNK3                  OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3U5835N3PQG3FGH3                                      J12613M63U653518319334622V5W34E3   XD3GGYYPY3               OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    U5835N3FGHI3U5835N3PQG3FGH3                                      E56813[5183193                            \ YGQ P3                OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S333333WYYWYYYYY3S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3                MNK3                4D3
    U5835N3FGHI3\5853293PGQPRP3FH3                                51831933J523E56813                       TX333Q3             OGPOPR3OGPOPRR3 OGPOPR3OGPOPRR3S3                 3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3\5853293PGQPRP3FH3                                51831933J523E56813                       TX333Q3             OGPOPRR3OGPOPRQ3 OGPOPRR3OGPOPRQ3S3                 3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3\5853293PGQPRP3FH3                                51831933J523E56813                       TX333Q3             OGPOPRQ3OGPOPRZ3 OGPOPRQ3OGPOPRZ3S3                 3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3\5853293PGQPRP3FH3                                51831933J523E56813                       TX3Y G3              OGPOPRZ3OGPOPRP3 OGPOPRZ3OGPOPRP3S3                 3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U5835N3FGHI3\5853293PGQPRP3FH3                                51831933J523E56813                       TX3Y G3              OGPOPRP3OGPOPQY3 OGPOPRP3OGPOPQY3S3                 3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U5835N3FGHI3\5853293PGQPRP3FH3                                51831933J523E56813                       TX3Y G3              OGPOPQY3OGPOPQ3 OGPOPQY3OGPOPQ3S3                 3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPR3 OOPQ3 OOPR3 OOPQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPQ3 OOPZ3 OOPQ3 OOPZ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPZ3 OOPP3 OOPZ3 OOPP3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPP3 OOPRY3 OOPP3 OOPRY3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPRY3 OOPR3 OOPRY3 OOPR3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPR3 OOPRG3 OOPR3 OOPRG3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPRG3 OOPR3 OOPRG3 OOPR3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPR3 OOPR 3 OOPR3 OOPR 3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPR 3 OOPR3 OOPR 3 OOPR3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPR3 OOPRR3 OOPR3 OOPRR3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPRR3 OOPRQ3 OOPRR3 OOPRQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPRQ3 OOPRZ3 OOPRQ3 OOPRZ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPRZ3 OOPRP3 OOPRZ3 OOPRP3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                MNK3                                                MNK3                  OOPRP3ROGOPRP3 OOPRP3 ROGOPRP3S3                    3       MNK3           MNK3 MNK3               MNK3                TD3
    U5835N3FGHI3j1 6235163P PQG3FH3                                51831933J523E56813                       TX GZQ3                ROGOPRP3OOPQY3 ROGOPRP3 OOPQY3S3                   3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U5835N3FGHI3j1 6235163P PQG3FH3                                51831933J523E56813                       TX33G3PZ3              OOPQY3OOPQ3 OOPQY3 OOPQ3S3                   3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    U5835N3FGHI3j1 6235163P PQG3FH3                                51831933J523E56813                       TX33G3PZ3              OOPQ3OOPQG3 OOPQ3 OOPQG3S3                   3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 51831933J523E56813                       TX3QYGG3                ROOPRR3 ROOPRQ3 ROOPRR3 ROOPRQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    ]1173FGPPHI3]1173FGPPH3                                                 51831933J523E56813                       TX R 3                  ROOPRQ3 ROOPRZ3 ROOPRQ3 ROOPRZ3S3                     3 S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3              MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 51831933J523E56813                       TX R3                  ROOPRZ3 ROOPRP3 ROOPRZ3 ROOPRP3S3                     3 S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3              MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 51831933J523E56813                       TX33R3P3                 ROOPRP3 ROOPQY3 ROOPRP3 ROOPQY3S3                     3 S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3              MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 51831933J523E56813                       TX3 RQ3                 ROOPQY3 ROOPQ3 ROOPQY3 ROOPQ3S3                     3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 51831933J523E56813                       TX3 RZP3                 ROOPQ3 ROOPQG3 ROOPQ3 ROOPQG3S3                     3 S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3           MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 J12613M63U653518319334622V5W34E3   XDG3Q3YG3              OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 J12613M63U653518319334622V5W34E3   XD3GGYG3               OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    ]1173FGPPHI3]1173FGPPH3                                                 E56813[5183193                            \ YGQ P3                OOPQQ3 OOPQZ3 OOPQQ3 OOPQZ3S333333WYYWYYYYY3S33333333YYWYYYYY3 S3333YYWYYYYY3 MNK3                MNK3                4D3
    ]153T2123FRPYHI3X5623293PGGY3FRPYH3                           MNK3                                                MNK3                  OOPR3 OOPQ3 OOPR3 OOPQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    ]153T2123FRPYHI3X5623293PGGY3FRPYH3                           JK3L1 6535183193                          MNK3                  OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3                     3       MNK3           MNK3 MNK3               MNK3                TD3
    ]153T2123FRPYHI3X5623293PGGY3FRPYH3                           J12613M63U653518319334622V5W34E3   XDG3Q33               OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S3 YYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                         MNK3                4D3
    ]153T2123FRPYHI3X5623293PGGY3FRPYH3                           E56813[5183193                            \ YGQ P3                OOPQR3 OOPQQ3 OOPQR3 OOPQQ3S333333WYYWYYYYY3S33333WYYYWYYYYY3S3WYYYWYYYYY3 MNK3                   MNK3                4D3




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01213456718933 638238216356712365126
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                                                                                                                                   813863518346863
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                                  !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#'     5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                         60&$'         60&$'
C153D2123EFGHIJ3K5623293GLLHM3EFGHI3                         NO3P1 6535183193                          QRO3                   SSGTT3 SSGTU3 SSGTT3 SSGTU3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ3K5623293GLLHM3EFGHI3                         N12613Q63X653518319334622Y5Z34[3   KW3LLHGT3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C153D2123EFGHIJ3K5623293GLLHM3EFGHI3                         [56813\5183193                            ] HLTGM3                 SSGTT3 SSGTU3 SSGTT3 SSGTU3V333333ZHHZHHHHH3V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3                QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             QRO3                                                QRO3                   SSGF3 SSGT3 SSGF3 SSGT3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      W43HHMM3               LSTSGTH3LSTSGT3 LSTSGTH3 LSTSGT3V3                   3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      W43HHMM3               LSTSGT3LSTSGTL3 LSTSGT3 LSTSGTL3V3                   3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      W43HHMM3               LSTSGTL3LSTSGTM3 LSTSGTL3 LSTSGTM3V3                   3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      ^UMFMT3                  LSTSGTM3LSTSGT3 LSTSGTM3 LSTSGT3V3                   3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      4LHFTF3                  SSGT3 SSGT3 SSGT3 SSGT3V3 HHZHHHHH3 QRO3                           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      40LUF3                 FSSGT3LSTSGT3 FSSGT3 LSTSGT3V3                    3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      ^UMFMT3                  LSTSGT3 FSSGT3 LSTSGT3 FSSGT3V3                    3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      40TFMG3               FSSGT3 FSSGTF3 FSSGT3 FSSGTF3V3                     3 V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3              QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             N12613Q63X653518319334622Y5Z34[3   KWL3T33               SSGTF3 SSGTT3 SSGTF3 SSGTT3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             [56813\5183193                            ] HLTGM3                 SSGTF3 SSGTT3 SSGTF3 SSGTT3V333333ZHHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                   QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      40TM3T3L3               FSSGTF3 FSSGTT3 FSSGTF3 FSSGTT3V3                     3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             N12613Q63X653518319334622Y5Z34[3   KW3LLHGF3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             [56813\5183193                            ] HLTGM3                 SSGTT3 SSGTU3 SSGTT3 SSGTU3V333333ZHHZHHHHH3V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3                QRO3                4W3
C153D2123EFGHIJ313293GLGGU3EMMI3                             58613Q635183193                      430GL3UH3F3              FSSGTT3 FSSGTU3 FSSGTT3 FSSGTU3V3                     3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                4W3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         51831933N523[56813                       DK33LG3GG3               SSGF3 SSGFF3 SSGF3 SSGFF3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         51831933N523[56813                       DK33LG3GG3               SSGFF3 SSGFT3 SSGFF3 SSGFT3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         51831933N523[56813                       DK33LG3GG3               SSGFT3 SSGFU3 SSGFT3 SSGFU3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         51831933N523[56813                       DK33FG3H3               SSGFU3 SSGFG3 SSGFU3 SSGFG3V3                     3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                4W3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         51831933N523[56813                       DK33FG3H3               SSGFG3 SSGTH3 SSGFG3 SSGTH3V3                     3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                4W3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         51831933N523[56813                       DK33FG3H3               SSGTH3 SSGT3 SSGTH3 SSGT3V3                     3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                4W3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         51831933N523[56813                       DK3333               SSGT3 SSGTL3 SSGT3 SSGTL3V3                     3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                4W3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         NO3P1 6535183193                          QRO3                   SSGTF3 SSGTT3 SSGTF3 SSGTT3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         N12613Q63X653518319334622Y5Z34[3   KWL3T33               SSGTF3 SSGTT3 SSGTF3 SSGTT3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         [56813\5183193                            ] HLTGM3                 SSGTF3 SSGTT3 SSGTF3 SSGTT3V333333ZHHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                   QRO3                4W3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         NO3P1 6535183193                          QRO3                   SSGTT3 SSGTU3 SSGTT3 SSGTU3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         N12613Q63X653518319334622Y5Z34[3   KW3LLHGM3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C153D2123EFGHIJ3D253NO3_593GFTGGH3EMMI3                         [56813\5183193                            ] HLTGM3                 SSGTT3 SSGTU3 SSGTT3 SSGTU3V333333ZHHZHHHHH3V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3                QRO3                4W3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                TLMG3                  LSSGF3LSSGFL3 LSSGF3LSSGFL3V3                 3 V3 HZHHHHH3 V333333HZHHHHH3 QRO3                 QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                TTM3                  LSSGFL3LSSGFM3 LSSGFL3LSSGFM3V3                 3 V3 HZHHHHH3 V333333HZHHHHH3 QRO3                 QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                TFLF3                  LSSGFM3LSSGF3 LSSGFM3LSSGF3V3                 3 V3 HZHHHHH3 V333333HZHHHHH3 QRO3                 QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                TTLLH3                  LSSGF3LSSGF3 LSSGF3LSSGF3V3                 3 V3 HZHHHHH3 V333333HZHHHHH3 QRO3                 QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                UFTULM3               LSSGF3LSSGFF3 LSSGF3LSSGFF3V3                 3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                UFTULM3               LSSGFF3LSSGFT3 LSSGFF3LSSGFT3V3                 3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                UFTULM3               LSSGFT3LSSGFU3 LSSGFT3LSSGFU3V3                 3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                UFUHTTH3               LSSGFU3LSSGFG3 LSSGFU3LSSGFG3V3                 3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                UFUHTTH3               LSSGFG3LSSGTH3 LSSGFG3LSSGTH3V3                 3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       P15253[88623136293193                UFUHTTH3               LSSGTH3LSSGT3 LSSGTH3LSSGT3V3                 3 V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3           QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       [56813D21235183193                        QRO3                   SSGT3 SSGTF3 SSGT3 SSGTF3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       [56813D21235183193                        DQHFG3                   SSGT3 SSGTF3 SSGT3 SSGTF3V3 HHZHHHHH3V33333LZHHHZHHHHH3V3LZHHHZHHHHH3 QRO3                         QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       [56813D21235183193                        QRO3                   SSGTF3 SSGTT3 SSGTF3 SSGTT3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       [56813D21235183193                        QRO3                   SSGTF3 SSGTT3 SSGTF3 SSGTT3V3 HHZHHHHH3 QRO3                           QRO3 QRO3               QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       N12613Q63X653518319334622Y5Z34[3   KWL3TL3M3               SSGTF3 SSGTT3 SSGTF3 SSGTT3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C12O193[513EFLIJ3C12O193[513EFLI3                                       [56813\5183193                            ] HLTGM3                 SSGTF3 SSGTT3 SSGTF3 SSGTT3V333333ZHHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                   QRO3                4W3
C12O193[513EFLIJ3C12O193[513EFLI3                                       [56813D21235183193                        QRO3                   SSGTT3 SSGTU3 SSGTT3 SSGTU3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C12O193[513EFLIJ3C12O193[513EFLI3                                       N12613Q63X653518319334622Y5Z34[3   KW3LLHLG3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C12O193[513EFLIJ3C12O193[513EFLI3                                       [56813\5183193                            ] HLTGM3                 SSGTT3 SSGTU3 SSGTT3 SSGTU3V333333ZHHZHHHHH3V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3                QRO3                4W3
C56115613EGMIJ3C56115613EGMI3                                   51831933N523[56813                       DK33UU33              SMHSGFU3SMHSGFG3 SMHSGFU3 SMHSGFG3V3                   3 V33333333LHZHHHHH3 V3333LHZHHHHH3 QRO3           QRO3                4W3
C56115613EGMIJ3C56115613EGMI3                                   51831933N523[56813                       DK3UUL3                SMHSGFG3SMHSGTH3 SMHSGFG3 SMHSGTH3V3                   3 V33333333LHZHHHHH3 V3333LHZHHHHH3 QRO3           QRO3                DW3
C56115613EGMIJ3C56115613EGMI3                                   NO3P1 6535183193                          QRO3                   SSGTF3 SSGTT3 SSGTF3 SSGTT3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C56115613EGMIJ3C56115613EGMI3                                   N12613Q63X653518319334622Y5Z34[3   KWL3FG3GH3               SSGTF3 SSGTT3 SSGTF3 SSGTT3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C56115613EGMIJ3C56115613EGMI3                                   [56813\5183193                            ] HLTGM3                 SSGTF3 SSGTT3 SSGTF3 SSGTT3V333333ZHHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                   QRO3                4W3
C56115613EGMIJ3C56115613EGMI3                                   NO3P1 6535183193                          C[3MMLMLM3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C56115613EGMIJ3C56115613EGMI3                                   NO3P1 6535183193                          D43LTH3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HZHHHHH3 QRO3                            QRO3 QRO3               QRO3                DW3
C56115613EGMIJ3C56115613EGMI3                                   N12613Q63X653518319334622Y5Z34[3   KW3LGGMU3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C56115613EGMIJ3C56115613EGMI3                                   [56813\5183193                            ] HLTGM3                 SSGTT3 SSGTU3 SSGTT3 SSGTU3V333333ZHHZHHHHH3V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3                QRO3                4W3
C18653W3EFLHIJ3X531R3GLULHH3EFLUI3                                 51831933N523[56813                       DK333G3              TSHSGFG3TSHSGTH3 TSHSGFG3 TSHSGTH3V3                   3 V33333333MHHZHHHHH3 V3333MHHZHHHHH3 QRO3           QRO3                4W3
C18653W3EFLHIJ3X531R3GLULHH3EFLUI3                                 51831933N523[56813                       DK333F3              TSHSGTH3TSHSGT3 TSHSGTH3 TSHSGT3V3                   3 V33333333MHHZHHHHH3 V3333MHHZHHHHH3 QRO3           QRO3                4W3
C18653W3EFLHIJ3X531R3GLULHH3EFLUI3                                 51831933N523[56813                       QRO3                  TSHSGT3TSHSGTL3 TSHSGT3 TSHSGTL3V3                   3       QRO3           QRO3 QRO3               QRO3                DW3
C18653W3EFLHIJ3X531R3GLULHH3EFLUI3                                 51831933N523[56813                       QRO3                  TSHSGTL3SFSGTL3 TSHSGTL3SFSGTL3V3                  3       QRO3           QRO3 QRO3               QRO3                DW3
C18653W3EFLHIJ3X531R3GLULHH3EFLUI3                                 N12613Q63X653518319334622Y5Z34[3   KWL3TL33               SSGTF3 SSGTT3 SSGTF3 SSGTT3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C18653W3EFLHIJ3X531R3GLULHH3EFLUI3                                 [56813\5183193                            ] HLTGM3                 SSGTF3 SSGTT3 SSGTF3 SSGTT3V333333ZHHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                   QRO3                4W3
C18653W3EFLHIJ3X531R3GLULHH3EFLUI3                                 N12613Q63X653518319334622Y5Z34[3   KW3LLHLFH3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C18653W3EFLHIJ3X531R3GLULHH3EFLUI3                                 [56813\5183193                            ] HLTGM3                 SSGTT3 SSGTU3 SSGTT3 SSGTU3V333333ZHHZHHHHH3V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3                QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 51831933N523[56813                       DK3MUM3                SLUSGFF3SLUSGFT3 SLUSGFF3 SLUSGFT3V3                   3 V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3              QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 51831933N523[56813                       DK3MUM3                SLUSGFT3SLUSGFU3 SLUSGFT3 SLUSGFU3V3                   3 V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3              QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 51831933N523[56813                       DK3MUM3                SLUSGFU3SLUSGFG3 SLUSGFU3 SLUSGFG3V3                   3 V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3              QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 51831933N523[56813                       DK3HU3                SLUSGFG3SLUSGTH3 SLUSGFG3 SLUSGTH3V3                   3 V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3              QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 51831933N523[56813                       DK3HU3                SLUSGTH3SLUSGT3 SLUSGTH3 SLUSGT3V3                   3 V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3              QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 51831933N523[56813                       DK3HU3                SLUSGT3SLUSGTL3 SLUSGT3 SLUSGTL3V3                   3 V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3              QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 NO3P1 6535183193                          QRO3                   SSGTF3 SSGTT3 SSGTF3 SSGTT3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 N12613Q63X653518319334622Y5Z34[3   KWL3TL33               SSGTF3 SSGTT3 SSGTF3 SSGTT3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 [56813\5183193                            ] HLTGM3                 SSGTF3 SSGTT3 SSGTF3 SSGTT3V333333ZHHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                   QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 NO3P1 6535183193                          QRO3                   SSGTT3 SSGTU3 SSGTT3 SSGTU3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 N12613Q63X653518319334622Y5Z34[3   KW3LLHLT3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C18653W3EFLHIJ3D66663GFFLHH3EFLFI3                                 [56813\5183193                            ] HLTGM3                 SSGTT3 SSGTU3 SSGTT3 SSGTU3V333333ZHHZHHHHH3V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3                QRO3                4W3
C3W653ETIJ3K223[513GLGGL3EFTI3                                N12613Q63X653518319334622Y5Z34[3   KWL3FG3MG3               SSGTF3 SSGTT3 SSGTF3 SSGTT3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C3W653ETIJ3K223[513GLGGL3EFTI3                                [56813\5183193                            ] HLTGM3                 SSGTF3 SSGTT3 SSGTF3 SSGTT3V333333ZHHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                   QRO3                4W3
C3W653ETIJ3K223[513GLGGL3EFTI3                                NO3P1 6535183193                          C[3MMLMF3              LSLHSGTF3LSLHSGTT3 LSLHSGTF3LSLHSGTT3V3                 3       QRO3           QRO3 QRO3               QRO3                DW3
C3W653ETIJ3K223[513GLGGL3EFTI3                                NO3P1 6535183193                          D43LGHLU3              LSLHSGTF3LSLHSGTT3 LSLHSGTF3LSLHSGTT3V3                 3       QRO3           QRO3 QRO3               QRO3                DW3
C3W653ETIJ3K223[513GLGGL3EFTI3                                N12613Q63X653518319334622Y5Z34[3   KW3LGUUT3                SSGTT3 SSGTU3 SSGTT3 SSGTU3V3 HHZHHHHH3V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3                         QRO3                4W3
C3W653ETIJ3K223[513GLGGL3EFTI3                                [56813\5183193                            ] HLTGM3                 SSGTT3 SSGTU3 SSGTT3 SSGTU3V333333ZHHZHHHHH3V33333333HHZHHHHH3 V3333HHZHHHHH3 QRO3                QRO3                4W3
C3W653ETIJ3C3W653GMT3ETI3                                  QRO3                                                QRO3                   SSGF3 SSGT3 SSGF3 SSGT3V3                     3       QRO3           QRO3 QRO3               QRO3                DW3
C3W653ETIJ3C3W653GMT3ETI3                                  P15253[88623136293193                33GGHTU3               TSSGTL3 TSSGTM3 TSSGTL3 TSSGTM3V3                     3 V33333ZHHHZHHHHH3V3ZHHHZHHHHH3 QRO3              QRO3                4W3



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01213456718933 638238216356712365126
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                                   !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#' 5&0#&'60&$' 7%.'60&$' !("% )*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                       60&$'         60&$'
C3D653EFGH3C3D653IJF3EFG3                                   K15253L88623136293193                33IIMFN3               FOOIFJ3 FOOIF3 FOOIFJ3 FOOIF3P3                  3 P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3              RST3                4D3
C3D653EFGH3C3D653IJF3EFG3                                   K15253L88623136293193                33IIMFN3               FOOIF3 FOOIF3 FOOIF3 FOOIF3P3                  3 P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3              RST3                4D3
C3D653EFGH3C3D653IJF3EFG3                                   UT3K1 6535183193                          RST3                   OOIFV3 OOIFF3 OOIFV3 OOIFF3P3                  3       RST3           RST3 RST3               RST3                WD3
C3D653EFGH3C3D653IJF3EFG3                                   U12613R63X653518319334622Y5Q34L3   ZD[3VI3F3               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3D653EFGH3C3D653IJF3EFG3                                   L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3D653EFGH3C3D653IJF3EFG3                                   UT3K1 6535183193                          RST3                   OOIFF3 OOIFN3 OOIFF3 OOIFN3P3                  3       RST3           RST3 RST3               RST3                WD3
C3D653EFGH3C3D653IJF3EFG3                                   U12613R63X653518319334622Y5Q34L3   ZD3[INI3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3D653EFGH3C3D653IJF3EFG3                                   L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C3D653EFGH3]231 3L513I[II[3EJVG3                            UT3K1 6535183193                          RST3                   OOIFV3 OOIFF3 OOIFV3 OOIFF3P3                  3       RST3           RST3 RST3               RST3                WD3
C3D653EFGH3]231 3L513I[II[3EJVG3                            U12613R63X653518319334622Y5Q34L3   ZD[3VI3JM3               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3D653EFGH3]231 3L513I[II[3EJVG3                            L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3D653EFGH3]231 3L513I[II[3EJVG3                            UT3K1 6535183193                          RST3                   OOIFF3MO[MOIFF3 OOIFF3MO[MOIFF3P3                3       RST3           RST3 RST3               RST3                WD3
C3D653EFGH3]231 3L513I[II[3EJVG3                            U12613R63X653518319334622Y5Q34L3   ZD3[INFI3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3D653EFGH3]231 3L513I[II[3EJVG3                            L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C3C123L513E[JGH3L113[M[M3E[[G3                                      51831933U523L56813                       WZ333NM3               JO[OIVI3 JO[OIFM3 JO[OIVI3 JO[OIFM3P3                  3 P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3              RST3                4D3
C3C123L513E[JGH3L113[M[M3E[[G3                                      51831933U523L56813                       WZ333NM3               JO[OIFM3 JO[OIF3 JO[OIFM3 JO[OIF3P3                  3 P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3              RST3                4D3
C3C123L513E[JGH3L113[M[M3E[[G3                                      51831933U523L56813                       WZ333NM3               JO[OIF3 JOOIF[3 JO[OIF3 JOOIF[3P3                  3 P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3              RST3                4D3
C3C123L513E[JGH3L113[M[M3E[[G3                                      UT3K1 6535183193                          RST3                   OOIFV3 OOIFF3 OOIFV3 OOIFF3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3L113[M[M3E[[G3                                      U12613R63X653518319334622Y5Q34L3   ZD[3VI3[F3               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3L113[M[M3E[[G3                                      L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3C123L513E[JGH3L113[M[M3E[[G3                                      UT3K1 6535183193                          RST3                   OOIFF3 OOIFN3 OOIFF3 OOIFN3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3L113[M[M3E[[G3                                      U12613R63X653518319334622Y5Q34L3   ZD3[INFV3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3L113[M[M3E[[G3                                      L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          RST3                   VOOIVF3 VOOIVN3 VOOIVF3 VOOIVN3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          RST3                   VOOIVN3 VOOIVI3 VOOIVN3 VOOIVI3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          RST3                   VOOIVI3 VOOIFM3 VOOIVI3 VOOIFM3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          W43[I3M3N[3              VOOIFM3 VOOIF3 VOOIFM3 VOOIF3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          W43[I3M3N[3              VOOIF3 VOOIF[3 VOOIF3 VOOIF[3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          W43[I3M3N[3              VOOIF[3 VOOIFJ3 VOOIF[3 VOOIFJ3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          R3JN[3                 OOIFJ3 OOIF3 OOIFJ3 OOIF3P3 MMQMMMMM3P33333[QMMMQMMMMM3P3[QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          W43[IM[M3                VOOIFJ3 VOOIF3 VOOIFJ3 VOOIF3P3                  3 RST[3               RST[3 RST3               RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          R3FNNVJ3                 OOIF3 OOIF3 OOIF3 OOIF3P3 MMQMMMMM3P33333[QMMMQMMMMM3P3[QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          W43[IM[M3                VOOIF3 VOOIF3 VOOIF3 VOOIF3P3                  3 RST[3               RST[3 RST3               RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          R3MMII[3                 OOIF3 OOIFV3 OOIF3 OOIFV3P3 MMQMMMMM3P33333[QMMMQMMMMM3P3[QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          W43[IM[M3                VOOIF3 VOOIFV3 VOOIF3 VOOIFV3P3                  3 RST[3               RST[3 RST3               RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             U12613R63X653518319334622Y5Q34L3   ZD[3VI3VM3               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          W43[FVJN3                VOOIFV3 VOOIFF3 VOOIFV3 VOOIFF3P3                  3 RST[3               RST[3 RST3               RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             U12613R63X653518319334622Y5Q34L3   ZD3[IIMN3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             ^5351831933UT3_5S3                  CL3JMJV3                VOOIFF3 VOOIFN3 VOOIFF3 VOOIFN3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             ^5351831933UT3_5S3                  CL3JMJVJ3                VOOIFF3 VOOIFN3 VOOIFF3 VOOIFN3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             UT3K1 6535183193                          CL3[N[[3                VOOIFF3 VOOIFN3 VOOIFF3 VOOIFN3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3III[3E[JG3                             LY1 1535183193                                                 [VMI3 VOOIFF3 OOIFN3 VOOIFF3 OOIFN3P3 MQMMMMM3 RST3                         RST3 RST3               RST3                WD3
C3C123L513E[JGH3]23061Y3W67513II[[M[M3E[JG3                   L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3C123L513E[JGH3]23061Y3W67513II[[M[M3E[JG3                   L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C3C123L513E[JGH3W13X518683Z193L513IV[M[M3E[NG3                    UT3K1 6535183193                          RST3                   OOIFV3 OOIFF3 OOIFV3 OOIFF3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3W13X518683Z193L513IV[M[M3E[NG3                    U12613R63X653518319334622Y5Q34L3   ZD[3VI33               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3W13X518683Z193L513IV[M[M3E[NG3                    L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3C123L513E[JGH3W13X518683Z193L513IV[M[M3E[NG3                    UT3K1 6535183193                          RST3                   OOIFF3 OOIFN3 OOIFF3 OOIFN3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3W13X518683Z193L513IV[M[M3E[NG3                    U12613R63X653518319334622Y5Q34L3   ZD3[INNI3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3W13X518683Z193L513IV[M[M3E[NG3                    L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           51831933U523L56813                       WZ33[I3NJ3              O[NOIV3O[NOIVV3 O[NOIV3 O[NOIVV3P3                3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           51831933U523L56813                       WZ33[I3NJ3              O[NOIVV3O[NOIVF3 O[NOIVV3 O[NOIVF3P3                3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           51831933U523L56813                       WZ33[I3NJ3              O[NOIVF3O[NOIVN3 O[NOIVF3 O[NOIVN3P3                3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           51831933U523L56813                       WZ33VI3J[3              O[NOIVN3O[NOIVI3 O[NOIVN3 O[NOIVI3P3                3 P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3           RST3                4D3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           51831933U523L56813                       WZ33VI3J[3              O[NOIVI3O[NOIFM3 O[NOIVI3 O[NOIFM3P3                3 P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3           RST3                4D3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           51831933U523L56813                       WZ33VI3J[3              O[NOIFM3O[NOIF3 O[NOIFM3 O[NOIF3P3                3 P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3           RST3                4D3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           51831933U523L56813                       RST3                  O[NOIF3O[NOIF[3 O[NOIF3 O[NOIF[3P3                3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           UT3K1 6535183193                          RST3                   OOIFV3 OOIFF3 OOIFV3 OOIFF3P3                  3       RST3           RST3 RST3               RST3                WD3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           U12613R63X653518319334622Y5Q34L3   ZD[3VI3F3               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           UT3K1 6535183193                          CL3JJ[JV3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3                  3 P3 MQMMMMM3 P333333MQMMMMM3 RST3                 RST3                WD3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           U12613R63X653518319334622Y5Q34L3   ZD3[IIM3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3C123L513E[JGH3W67513L513I[NII[3EJNG3                           L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C3W513EV[GH3LY3̀13L513IJINV3EVIG3                           U12613R63X653518319334622Y5Q34L3   ZD[3FJ3N3               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3W513EV[GH3LY3̀13L513IJINV3EVIG3                           L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3W513EV[GH3LY3̀13L513IJINV3EVIG3                           U12613R63X653518319334622Y5Q34L3   ZD3[[M[3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3W513EV[GH3LY3̀13L513IJINV3EVIG3                           L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C3W513EV[GH313D21813IJIINV3EV[G3                             RST3                                                RST3                   OOIF3 OOIF3 OOIF3 OOIF3P3                  3       RST3           RST3 RST3               RST3                WD3
C3W513EV[GH313D21813IJIINV3EV[G3                             U12613R63X653518319334622Y5Q34L3   ZD[3FJ3F3               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3W513EV[GH313D21813IJIINV3EV[G3                             L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C3W513EV[GH313D21813IJIINV3EV[G3                             U12613R63X653518319334622Y5Q34L3   ZD3[[M[M[3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C3W513EV[GH313D21813IJIINV3EV[G3                             L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C513193EMGH353IV[IFF3EIG3                                        U12613R63X653518319334622Y5Q34L3   ZD[3VI3[M3               OOIFV3 OOIFF3 OOIFV3 OOIFF3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C513193EMGH353IV[IFF3EIG3                                        L56813\5183193                            ] M[FIJ3                 OOIFV3 OOIFF3 OOIFV3 OOIFF3P333333QMMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                RST3                4D3
C513193EMGH353IV[IFF3EIG3                                        U12613R63X653518319334622Y5Q34L3   ZD3[INVI3                OOIFF3 OOIFN3 OOIFF3 OOIFN3P3 MMQMMMMM3P33333QMMMQMMMMM3P3QMMMQMMMMM3 RST3                      RST3                4D3
C513193EMGH353IV[IFF3EIG3                                        L56813\5183193                            ] M[FIJ3                 OOIFF3 OOIFN3 OOIFF3 OOIFN3P333333QMMQMMMMM3P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3             RST3                4D3
C513193EMGH3C513193IIIJ3E[G3                                 51831933U523L56813                       WZ33[I3IJ3               OOIV3 OOIVV3 OOIV3 OOIVV3P3                  3       RST3           RST3 RST3               RST3                WD3
C513193EMGH3C513193IIIJ3E[G3                                 51831933U523L56813                       WZ33[I3IJ3               OOIVV3 OOIVF3 OOIVV3 OOIVF3P3                  3       RST3           RST3 RST3               RST3                WD3
C513193EMGH3C513193IIIJ3E[G3                                 51831933U523L56813                       WZ33[I3IJ3               OOIVF3 OOIVN3 OOIVF3 OOIVN3P3                  3       RST3           RST3 RST3               RST3                WD3
C513193EMGH3C513193IIIJ3E[G3                                 51831933U523L56813                       WZ33VI3J3               OOIVN3 OOIVI3 OOIVN3 OOIVI3P3                  3 P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3           RST3                4D3
C513193EMGH3C513193IIIJ3E[G3                                 51831933U523L56813                       WZ33VI3J3               OOIVI3 OOIFM3 OOIVI3 OOIFM3P3                  3 P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3           RST3                4D3
C513193EMGH3C513193IIIJ3E[G3                                 51831933U523L56813                       WZ33VI3J3               OOIFM3 OOIF3 OOIFM3 OOIF3P3                  3 P33333333MMQMMMMM3 P3333MMQMMMMM3 RST3           RST3                4D3
C513193EMGH3C513193IIIJ3E[G3                                 51831933U523L56813                       RST3                   OOIF3 OOIF[3 OOIF3 OOIF[3P3                  3       RST3           RST3 RST3               RST3                WD3
C513193EMGH3C513193IIIJ3E[G3                                 UT3K1 6535183193                          RST3                   OOIFV3 OOIFF3 OOIFV3 OOIFF3P3                  3       RST3           RST3 RST3               RST3                WD3




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                                                                                                                                                                                             71'%(         71'%(
    D513193EFGH3D513193I IIJ3EKG3                                 L12613M63N653518319334622O5P34Q3   RSK3I3T3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D513193EFGH3D513193I IIJ3EKG3                                 Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D513193EFGH3D513193I IIJ3EKG3                                 LY3\1 6535183193                          MXY3                   UUIVV3 UUIVT3 UUIVV3 UUIVT3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D513193EFGH3D513193I IIJ3EKG3                                 L12613M63N653518319334622O5P34Q3   RS3KITV3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D513193EFGH3D513193I IIJ3EKG3                                 Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D513193EFGH3 53Z723IKIIJ3EFG3                            LY3\1 6535183193                          MXY3                   UUIV3 UUIVV3 UUIV3 UUIVV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D513193EFGH3 53Z723IKIIJ3EFG3                            L12613M63N653518319334622O5P34Q3   RSK3I3I3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D513193EFGH3 53Z723IKIIJ3EFG3                            Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D513193EFGH3 53Z723IKIIJ3EFG3                            L12613M63N653518319334622O5P34Q3   RS3KITT3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D513193EFGH3 53Z723IKIIJ3EFG3                            Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D513193EFGH3 53Z723IKIIJ3EFG3                            LY3\1 6535183193                          DQ3KTK 3                KUUIVV3KUUIVT3 KUUIVV3 KUUIVT3W3                   3 W3 FPFFFFF3 W333333FPFFFFF3 MXY3                 MXY3                ]S3
    D513193EFGH3 53Z723IKIIJ3EFG3                            QO1 1535183193                             DQ3KTKJ3                KUUIVV3KUUIVT3 KUUIVV3 KUUIVT3W3 FPFFFFF3W33333333FPFFFFF3 W3333FPFFFFF3 MXY3                       MXY3                ]S3
    D513O613E GH3N523]683Q513I IIK3E G3                        51831933L523Q56813                       ]R333K3               UVUIV3 UVUIVK3 UVUIV3 UVUIVK3W3                     3 W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3           MXY3                4S3
    D513O613E GH3N523]683Q513I IIK3E G3                        L12613M63N653518319334622O5P34Q3   RSK3VK3J3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D513O613E GH3N523]683Q513I IIK3E G3                        Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D513O613E GH3N523]683Q513I IIK3E G3                        L12613M63N653518319334622O5P34Q3   RS3KKFK T3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D513O613E GH3N523]683Q513I IIK3E G3                        Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D513O613EGH3L5232513^1 623IK IIK3EJG3                   L12613M63N653518319334622O5P34Q3   RSK3VK3JF3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D513O613EGH3L5232513^1 623IK IIK3EJG3                   Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D513O613EGH3L5232513^1 623IK IIK3EJG3                   ]23413N65313[15635183193              T _RIK3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D513O613EGH3L5232513^1 623IK IIK3EJG3                   L12613M63N653518319334622O5P34Q3   RS3KKFK V3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D513O613EGH3L5232513^1 623IK IIK3EJG3                   Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  51831933L523Q56813                       ]R33KI3IF3                UUI3 UUI3 UUI3 UUI3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  51831933L523Q56813                       ]R33KI3IF3                UUI3 UUIV3 UUI3 UUIV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  51831933L523Q56813                       ]R33KI3IF3                UUIV3 UUIT3 UUIV3 UUIT3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  51831933L523Q56813                       ]R33I3T3                 UUIT3 UUII3 UUIT3 UUII3W3                     3 W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3              MXY3                4S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  51831933L523Q56813                       ]R33I3T3                 UUII3 UUIVF3 UUII3 UUIVF3W3                     3 W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3              MXY3                4S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  51831933L523Q56813                       ]R33I3T3                 UUIVF3 UUIV3 UUIVF3 UUIV3W3                     3 W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3              MXY3                4S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  51831933L523Q56813                       ]R3T3                 UUIV3 UUIVK3 UUIV3 UUIVK3W3                     3 W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3              MXY3                4S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  L12613M63N653518319334622O5P34Q3   RSK3VF3F3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  L12613M63N653518319334622O5P34Q3   RS3KIIJ3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D51323EFVGH393Q513IJ IIJ3EFIG3                                  Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   51831933L523Q56813                       ]R3 FF3                 KUUI3KUUI3 KUUI3 KUUI3W3                   3       MXY3           MXY3 MXY3               MXY3                ]S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   51831933L523Q56813                       ]R3 FF3                 KUUI3KUUIV3 KUUI3 KUUIV3W3                   3       MXY3           MXY3 MXY3               MXY3                ]S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   51831933L523Q56813                       ]R3 FF3                 KUUIV3KUUIT3 KUUIV3 KUUIT3W3                   3       MXY3           MXY3 MXY3               MXY3                ]S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   51831933L523Q56813                       ]R3F JK3                KUUIT3KUUII3 KUUIT3 KUUII3W3                   3 W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3           MXY3                4S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   51831933L523Q56813                       ]R3F JK3                KUUII3KUUIVF3 KUUII3 KUUIVF3W3                   3 W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3           MXY3                4S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   51831933L523Q56813                       ]R3F JK3                KUUIVF3KUUIV3 KUUIVF3 KUUIV3W3                   3 W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3           MXY3                4S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   L12613M63N653518319334622O5P34Q3   RSK3VF3F 3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   ^25311293`3]5293193                        MXY3                   UUIVV3 UUIVT3 UUIVV3 UUIVT3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   L12613M63N653518319334622O5P34Q3   RS3KII3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D51323EFVGH32341X3IKIIJ3EFVG3                                   Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D5123Q1X13EFGH3]2123Q1X13IKFF3EFTG3                              LY3\1 6535183193                          MXY3                   UUIV3 UUIVV3 UUIV3 UUIVV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Q1X13EFGH3]2123Q1X13IKFF3EFTG3                              L12613M63N653518319334622O5P34Q3   RSK3I3V3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123Q1X13EFGH3]2123Q1X13IKFF3EFTG3                              Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D5123Q1X13EFGH3]2123Q1X13IKFF3EFTG3                              LY3\1 6535183193                          MXY3                   UUIVV3 UUIVT3 UUIVV3 UUIVT3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Q1X13EFGH3]2123Q1X13IKFF3EFTG3                              L12613M63N653518319334622O5P34Q3   RS3KIT3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123Q1X13EFGH3]2123Q1X13IKFF3EFTG3                              Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D5123Q1X13EFGH3^253Q1X13I KFF3EFG3                               LY3\1 6535183193                          MXY3                   UUIV3 UUIVV3 UUIV3 UUIVV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Q1X13EFGH3^253Q1X13I KFF3EFG3                               L12613M63N653518319334622O5P34Q3   RSK3I33               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123Q1X13EFGH3^253Q1X13I KFF3EFG3                               Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D5123Q1X13EFGH3^253Q1X13I KFF3EFG3                               LY3\1 6535183193                          DQ3KTKKT3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Q1X13EFGH3^253Q1X13I KFF3EFG3                               L12613M63N653518319334622O5P34Q3   RS3KIT 3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123Q1X13EFGH3^253Q1X13I KFF3EFG3                               Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D51231X3N]3EVTGH3D51231X3N]3EVT G3                                    Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D51231X3N]3EVTGH3D51231X3N]3EVT G3                                    Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    51831933L523Q56813                       ]R33J3FJ3             UKUII3 UUIVF3 UKUII3 UUIVF3W3                   3 W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3              MXY3                4S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    O6135183193                              MXY3                   UUIVF3 UUIV3 UUIVF3 UUIV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    O6135183193                              MXY3                   UUIV3 UUIVK3 UUIV3 UUIVK3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    O6135183193                              MXY3                   UUIVK3 UUIVJ3 UUIVK3 UUIVJ3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    ]23413N65313[15635183193              MXY3                   UUIV 3 UUIV3 UUIV 3 UUIV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    ]23413N65313[15635183193              MXY3                   UUIV3 UUIV3 UUIV3 UUIV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    ]23413N65313[15635183193              MXY3                   UUIV3 UUIVV3 UUIV3 UUIVV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    L12613M63N653518319334622O5P34Q3   RSK3V3K3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    ]23413N65313[15635183193              MXY3                   UUIVV3 UUIVT3 UUIVV3 UUIVT3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    L12613M63N653518319334622O5P34Q3   RS3KKFK3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123Z6753EJGH3D5123Z6753I3EJG3                                    Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       51831933L523Q56813                       MXY3                   UUIVF3 UUIV3 UUIVF3 UUIV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       51831933L523Q56813                       MXY3                   UUIV3 UUIVK3 UUIV3 UUIVK3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       51831933L523Q56813                       MXY3                   UUIVK3 UUIVK3 UUIVK3 UUIVK3W3                       3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       MXY3                                                MXY3                   UUIV3 UUIV3 UUIV3 UUIV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       MXY3                                                MXY3                   UUIV3 UUIV3 UUIV3 UUIV3W3 FFPFFFFF3 MXY3                           MXY3 MXY3               MXY3                ]S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       MXY3                                                MXY3                   UUIV3 UUIVV3 UUIV3 UUIVV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       L12613M63N653518319334622O5P34Q3   RSK3VJ3V3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       L12613M63N653518319334622O5P34Q3   RS3KKFKTI3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123]X93[2163EVGH3D5123]X93[2163EVG3                       Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D5123]2Y23EKGH3D5123]2Y23Q513IVITK3EKG3                         Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D5123]2Y23EKGH3D5123]2Y23Q513IVITK3EKG3                         L12613M63N653518319334622O5P34Q3   RS3KKFIT3                UUIVV3 UUIVT3 UUIVV3 UUIVT3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123]2Y23EKGH3D5123]2Y23Q513IVITK3EKG3                         Q56813Z5183193                            [ FKV IJ3                 UUIVV3 UUIVT3 UUIVV3 UUIVT3W333333PFFPFFFFF3W33333333FFPFFFFF3 W3333FFPFFFFF3 MXY3                MXY3                4S3
    D5123]2Y23EKGH3a623153IIV3EKG3                                  L12613M63N653518319334622O5P34Q3   RSK3V33                UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3
    D5123]2Y23EKGH3a623153IIV3EKG3                                  Q56813Z5183193                            [ FKV IJ3                 UUIV3 UUIVV3 UUIV3 UUIVV3W333333PFFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                   MXY3                4S3
    D51235163EJJGH3QX53Q513IIV3EJJG3                                    MXY3                                                MXY3                   UUI3 UUIV3 UUI3 UUIV3W3                     3       MXY3           MXY3 MXY3               MXY3                ]S3
    D51235163EJJGH3D51235163IV3EJJG3                                        L12613M63N653518319334622O5P34Q3   RSK3VF3V3               UUIV3 UUIVV3 UUIV3 UUIVV3W3 FFPFFFFF3W33333PFFFPFFFFF3W3PFFFPFFFFF3 MXY3                         MXY3                4S3




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    D51235163EFFGH3D51235163I3EFFG3                                        O56813Y5183193                            Z VR IF3                 SSIT3 SSI3 SSIT3 SSI3U333333NVVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                   KWX3                4Q3
    D51235163EFFGH3D51235163I3EFFG3                                        J12613K63L653518319334622M5N34O3   PQ3RRVV 3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51235163EFFGH3D51235163I3EFFG3                                        J12613K63L653518319334622M5N34O3   PQ3RRVR3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51235163EFFGH3D51235163I3EFFG3                                        O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               51831933J523O56813                       KWX3                  FSSIT 3FSSIT3 FSSIT 3 FSSIT3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               51831933J523O56813                       KWX3                  FSSIT3FSSITT3 FSSIT3 FSSITT3U3                   3 U33333333RVNVVVVV3 U3333RVNVVVVV3 KWX3           KWX3                ]Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               51831933J523O56813                       KWX3                  FSSITT3FSSIT3 FSSITT3 FSSIT3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               51831933J523O56813                       ]P33RI3T3               FSSIT3FSSIT[3 FSSIT3 FSSIT[3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               51831933J523O56813                       ]P33TI3T3               FSSIT[3FSSITI3 FSSIT[3 FSSITI3U3                   3 U33333333RVNVVVVV3 U3333RVNVVVVV3 KWX3           KWX3                4Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               51831933J523O56813                       ]P33TI3T3               FSSITI3FSSIV3 FSSITI3 FSSIV3U3                   3 U33333333RVNVVVVV3 U3333RVNVVVVV3 KWX3           KWX3                4Q3
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    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               51831933J523O56813                       KWX3                  FSSI3FSSIR3 FSSI3 FSSIR3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               P8W93K635183193                         KWX3                   SFVSI3 SFVSIT3 SFVSI3 SFVSIT3U3                     3 U33333RNFVVNVVVVV3U3RNFVVNVVVVV3 KWX3              KWX3                ]Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               J12613K63L653518319334622M5N34O3   PQR3R33               SSIT3 SSI3 SSIT3 SSI3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               O56813Y5183193                            Z VR IF3                 SSIT3 SSI3 SSIT3 SSI3U333333NVVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                   KWX3                4Q3
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    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               J12613K63L653518319334622M5N34O3   PQ3RRVVT[3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
    D51235163EFFGH3Z1 63\193IRIIF3ETTG3                               P8W93K635183193                         KWX3                   SFVSI3 SFVSI[3 SFVSI3 SFVSI[3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51235163EFFGH3J52123^ 63IRIIIF3ETFG3                                  J12613K63L653518319334622M5N34O3   PQR3R3V[3               SSIT3 SSI3 SSIT3 SSI3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
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    D51235163EFFGH3J52123^ 63IRIIIF3ETFG3                                  O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
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    D51235163EFFGH3`253Y573I[IIF3ETG3                                  J12613K63L653518319334622M5N34O3   PQR3R3 3               SSIT3 SSI3 SSIT3 SSI3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51235163EFFGH3`253Y573I[IIF3ETG3                                  O56813Y5183193                            Z VR IF3                 SSIT3 SSI3 SSIT3 SSI3U333333NVVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                   KWX3                4Q3
    D51235163EFFGH3`253Y573I[IIF3ETG3                                  JX3_1 6535183193                          KWX3                   SSI3STSI3 SSI3STSI3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51235163EFFGH3`253Y573I[IIF3ETG3                                  J12613K63L653518319334622M5N34O3   PQ3RRVVT3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51235163EFFGH3`253Y573I[IIF3ETG3                                  O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             KWX3                                                KWX3                   [SSII3 [SSITV3 [SSII3 [SSITV3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             KWX3                                                KWX3                   [SSITV3 [SSIT3 [SSITV3 [SSIT3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             51831933J523O56813                       KWX3                   [SSITT3 [SSIT3 [SSITT3 [SSIT3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             51831933J523O56813                       ]P3[[T3                  [SSIT[3 [SSITI3 [SSIT[3 [SSITI3U3                         3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             51831933J523O56813                       ]P3R3R3VF3                [SSITI3 [SSIV3 [SSITI3 [SSIV3U3                         3 U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3           KWX3                4Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             51831933J523O56813                       KWX3                   [SSIV3 [SSI3 [SSIV3 [SSI3U3                         3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             51831933J523O56813                       KWX3                   [SSI3 [SSIR3 [SSI3 [SSIR3U3                         3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             51831933J523O56813                       KWX3                   [SSIR3ISTSIR3 [SSIR3 ISTSIR3U3                      3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             JX3_1 6535183193                          KWX3                   SSI3 SSIT3 SSI3 SSIT3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             JX3_1 6535183193                          KWX3                   SSIT3 SSI3 SSIT3 SSI3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             J12613K63L653518319334622M5N34O3   PQR3TI3V3               SSIT3 SSI3 SSIT3 SSI3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             O56813Y5183193                            Z VR IF3                 SSIT3 SSI3 SSIT3 SSI3U333333NVVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                   KWX3                4Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             J12613K63L653518319334622M5N34O3   PQ3RI[[3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             JX3_1 6535183193                          KWX3                  S SI3S SI[3 S SI3 S SI[3U3                   3 U3 VNVVVVV3 U333333VNVVVVV3 KWX3                 KWX3                ]Q3
    D51253O1M113EGH3P65613O513IIIT3ERG3                             OM1 1535183193                             KWX3                  S SI3S SI[3 S SI3 S SI[3U3 VNVVVVV3 KWX3                          KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3 88883IRII[3EG3                                51831933J523O56813                       KWX3                   SSITT3 SSIT3 SSITT3 SSIT3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3 88883IRII[3EG3                                J12613K63L653518319334622M5N34O3   PQRTIT3                  SSIT3 SSI3 SSIT3 SSI3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253O1M113EGH3 88883IRII[3EG3                                O56813Y5183193                            Z VR IF3                 SSIT3 SSI3 SSIT3 SSI3U333333NVVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                   KWX3                4Q3
    D51253O1M113EGH3 88883IRII[3EG3                                J12613K63L653518319334622M5N34O3   PQ3RI[3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253O1M113EGH3 88883IRII[3EG3                                O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           51831933J523O56813                       ]P3F3IT3T3              FSRSITT3FSRSIT3 FSRSITT3 FSRSIT3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           51831933J523O56813                       ]P3F3IT3T3              FSRSIT3FSRSIT[3 FSRSIT3 FSRSIT[3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           51831933J523O56813                       ]P3F3IT3T3              FSRSIT[3FSRSITI3 FSRSIT[3 FSRSITI3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           51831933J523O56813                       ]P33[[3RR3               FSRSITI3FSRSIV3 FSRSITI3 FSRSIV3U3                   3 U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3              KWX3                4Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           51831933J523O56813                       ]P33[[3RR3               FSRSIV3FSRSI3 FSRSIV3 FSRSI3U3                   3 U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3              KWX3                4Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           51831933J523O56813                       ]P33[[3RR3               FSRSI3FSRSIR3 FSRSI3 FSRSIR3U3                   3 U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3              KWX3                4Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           JX3_1 6535183193                          KWX3                   SSIT3 SSI3 SSIT3 SSI3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           J12613K63L653518319334622M5N34O3   PQR3TI3V3               SSIT3 SSI3 SSIT3 SSI3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           O56813Y5183193                            Z VR IF3                 SSIT3 SSI3 SSIT3 SSI3U333333NVVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                   KWX3                4Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           JX3_1 6535183193                          DO3FVF3                SSI3 SSI[3 SSI3 SSI[3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           J12613K63L653518319334622M5N34O3   PQ3RI[TV3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253O1M113EGH3 3\193IF II[3ETIG3                           O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     51831933J523O56813                       DO VFFR3                 FSR SIT[3FSR SITI3 FSR SIT[3 FSR SITI3U3                   3 U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3           KWX3                4Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     51831933J523O56813                       DO[ TV3                 FSR SITI3FSR SIV3 FSR SITI3 FSR SIV3U3                   3 U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3           KWX3                4Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     51831933J523O56813                       DO[TI3                 FSR SIV3FSR SI3 FSR SIV3 FSR SI3U3                   3 U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3           KWX3                4Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     J12613K63L653518319334622M5N34O3   PQR33T3               SSIT3 SSI3 SSIT3 SSI3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     O56813Y5183193                            Z VR IF3                 SSIT3 SSI3 SSIT3 SSI3U333333NVVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                   KWX3                4Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     KWX3                                                \P4TI[RFV 3                ISSIT3 ISSI3 ISSIT3 ISSI3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     J12613K63L653518319334622M5N34O3   PQ3RRVV 3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
    D51253_3\193EF[[GH3028 3293IIIIT3EF G3                     KWX3                                                KWX3                   ISSI3 ISSI[3 ISSI3 ISSI[3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     51831933J523O56813                       KWX3                  TSRSIF3TSRSI 3 TSRSIF3 TSRSI 3U3                   3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     51831933J523O56813                       aP3[FF3                 TSRSIF3TSRSI 3 TSRSIF3 TSRSI 3U3 FVVNVVVVV3U33333RNVVVNVVVVV3U3RNVVVNVVVVV3 KWX3                       KWX3                ]Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     51831933J523O56813                       KWX3                  TSRSI 3 SSI3 TSRSI 3 SSI3U3                    3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     51831933J523O56813                       aP3[FF3                 TSRSI 3TSRSI3 TSRSI 3 TSRSI3U3 FVVNVVVVV3U33333RNVVVNVVVVV3U3RNVVVNVVVVV3 KWX3                       KWX3                ]Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     51831933J523O56813                       aP3[FF3                 TSRSI3TSRSIT3 TSRSI3 TSRSIT3U3 FVVNVVVVV3U33333RNVVVNVVVVV3U3RNVVVNVVVVV3 KWX3                       KWX3                ]Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     J12613K63L653518319334622M5N34O3   PQR33T3               SSIT3 SSI3 SSIT3 SSI3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     O56813Y5183193                            Z VR IF3                 SSIT3 SSI3 SSIT3 SSI3U333333NVVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                   KWX3                4Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     J12613K63L653518319334622M5N34O3   PQ3RRVVRV3                SSI3 SSI[3 SSI3 SSI[3U3 VVNVVVVV3U33333NVVVNVVVVV3U3NVVVNVVVVV3 KWX3                         KWX3                4Q3
    D51253_3\193EF[[GH3_01X153I[IIT3EFIRG3                     O56813Y5183193                            Z VR IF3                 SSI3 SSI[3 SSI3 SSI[3U333333NVVNVVVVV3U33333333VVNVVVVV3 U3333VVNVVVVV3 KWX3                KWX3                4Q3
    D51253_3\193EF[[GH3_2863Y6753ITRIF3EVG3                     O2131129313]5293193                       KWX3                   SSITR3 SSITF3 SSITR3 SSITF3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253_3\193EF[[GH3_2863Y6753ITRIF3EVG3                     O2131129313]5293193                       KWX3                   SSITF3 SSIT 3 SSITF3 SSIT 3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253_3\193EF[[GH3_2863Y6753ITRIF3EVG3                     O2131129313]5293193                       KWX3                   SSIT 3 SSIT3 SSIT 3 SSIT3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3
    D51253_3\193EF[[GH3_2863Y6753ITRIF3EVG3                     O2131129313]5293193                       KWX3                   SSIT3 SSITT3 SSIT3 SSITT3U3                     3       KWX3           KWX3 KWX3               KWX3                ]Q3




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    D51253E3F193GHIJ3E2863K6753LMNLOH3GPI3                    Q2131129313R5293193                       STU3                  VVLMO3 VVLM3 VVLMO3 VVLM3W3                     3       STU3          STU3 STU3                STU3                RX3
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    D51253E3F193GHIJ3K8T13293LN LLM3GMHI3                  YZ[\]^_à3b35183193                        dNMMOPPO3                VVLO3 VVLOM3 VVLO3 VVLOM3W3                     3 W33333NcPPPcPPPPP3W3NcPPPcPPPPP3 STU3              STU3                RX3
    D51253E3F193GHIJ3K8T13293LN LLM3GMHI3                  YZ[\]^_à3b35183193                        STU3                  VVLOM3 VVLOO3 VVLOM3 VVLOO3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3K8T13293LN LLM3GMHI3                  e12613S63b653518319334622f5c34Q3   gXN3O3O3              VVLOM3 VVLOO3 VVLOM3 VVLOO3W3 PPcPPPPP3W33333cPPPcPPPPP3W3cPPPcPPPPP3 STU3                         STU3                4X3
    D51253E3F193GHIJ3K8T13293LN LLM3GMHI3                  Q56813K5183193                            h PNO LH3                VVLOM3 VVLOO3 VVLOM3 VVLOO3W333333cPPcPPPPP3W33333cPPPcPPPPP3W3cPPPcPPPPP3 STU3                   STU3                4X3
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    D51253E3F193GHIJ3K8T13293LN LLM3GMHI3                  Q56813K5183193                            h PNO LH3                VVLOO3 VVLO3 VVLOO3 VVLO3W333333cPPcPPPPP3W33333333PPcPPPPP3W3333PPcPPPPP3 STU3                 STU3                4X3
    D51253E3F193GHIJ3K8T13293LN LLM3GMHI3                  eU3E1 6535183193                          DQ3NNL 3               VPVLOO3VPVLO3 VPVLOO3 VPVLO3W3 PcPPPPP3 STU3                         STU3 STU3                STU3                RX3
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    D51253E3F193GHIJ3K8T13293LN LLM3GMHI3                  eU3E1 6535183193                          DQ3NNL 3               VPVLO3VNPVLO3 VPVLO3 VNPVLO3W3 PcPPPPP3 STU3                         STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U193LNNL3GPI3                            517536293193                             STU3                  VVLP3 VVL3 VVLP3 VVL3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U193LNNL3GPI3                           Q2131129313R5293193                       STU3                  VVLH3 VVL 3 VVLH3 VVL 3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U193LNNL3GPI3                           Q2131129313R5293193                       STU3                  VVL 3 VVL3 VVL 3 VVL3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U193LNNL3GPI3                           Q2131129313R5293193                       STU3                  VVL3 VVLM3 VVL3 VVLM3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U193LNNL3GPI3                           Q2131129313R5293193                       STU3                  VVLM3 VVLO3 VVLM3 VVLO3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U193LNNL3GPI3                           STU3                                                STU3                  VVLM3 VVLO3 VVLM3 VVLO3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U193LNNL3GPI3                           Q2131129313R5293193                       STU3                  VVLO3 VVL3 VVLO3 VVL3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U193LNNL3GPI3                           Q2131129313R5293193                       STU3                  VVL3 VVLL3 VVL3 VVLL3W3                     3       STU3          STU3 STU3                STU3                RX3
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    D51253E3F193GHIJ3R6U19g5i3F193LLMN3GPI3               Q2131129313R5293193                       STU3                  VVLMP3 VVLM3 VVLMP3 VVLM3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3R6U19g5i3F193LLMN3GPI3               Q2131129313R5293193                       STU3                  VVLM3 VVLMN3 VVLM3 VVLMN3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVL3 VVLN3 VVL3 VVLN3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLN3 VVLH3 VVLN3 VVLH3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLH3 VVL 3 VVLH3 VVL 3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVL 3 VVL3 VVL 3 VVL3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVL3 VVLM3 VVL3 VVLM3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLM3 VVLO3 VVLM3 VVLO3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLO3 VVL3 VVLO3 VVL3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVL3 VVLL3 VVL3 VVLL3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLL3 VVLMP3 VVLL3 VVLMP3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLMP3 VVLM3 VVLMP3 VVLM3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLM3 VVLMN3 VVLM3 VVLMN3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLMN3 VVLMH3 VVLMN3 VVLMH3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLMH3 VVLM 3 VVLMH3 VVLM 3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 STU3                                                STU3                  VVLM 3 VVLM3 VVLM 3 VVLM3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 51831933e523Q56813                       STU3                  VVLM3 VVLMM3 VVLM3 VVLMM3W3                     3       STU3          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 51831933e523Q56813                       dg3NONLM3                MVVLM3 MVVLML3 MVVLM3 MVVLML3W3 PPcPPPPP3 STU3                          STU3 STU3                STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 Q2131129313R5293193                       O Q PHM3               NVVLML3 NVVLOP3 NVVLML3 NVVLOP3W3                     3 W33333333PPcPPPPP3W3333PPcPPPPP3 STU3            STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 51831933e523Q56813                       dg3NOHOL3                MVVLML3 MVVLOP3 MVVLML3 MVVLOP3W3 PPcPPPPP3W33333NcPPPcPPPPP3W3NcPPPcPPPPP3 STU3                         STU3                4X3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 Q2131129313R5293193                       O Q PHM3               NVVLOP3 MVVLOP3 NVVLOP3 MVVLOP3W3                     3 W33333333PPcPPPPP3W3333PPcPPPPP3 STU3            STU3                RX3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 51831933e523Q56813                       dg3NOO3                 MVVLOP3 MVVLO3 MVVLOP3 MVVLO3W3                     3 W33333333PPcPPPPP3W3333PPcPPPPP3 STU3            STU3                4X3
    D51253E3F193GHIJ3j1 6235763LLOH3GHI3                 E15253b6535183193                         PN3Rh43P3           VNPVLOM3VNPVLOO3 VNPVLOM3 VNPVLOO3W3                   3 W33333333PPcPPPPP3W3333PPcPPPPP3 STU3            STU3                4X3
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    D512533Q3Q513GHHIJ33Q3Q513L NP3GHHI3                   X953R53635183193                  STU3                VLVLOP3VLVLO3 VLVLOP3VLVLO3W3 NPcPPPPP3 STU3                      STU3 STU3                STU3                RX3
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                                        "#$$%&'(")#&*+,-(.$%/%*%00)$(")#&*+,(                                                "1$$+%$(                           .),+*2(3#45%$( 6'1$'(71'%( 8&/(71'%( ")#& *+,(6'1$'(")#&*+,(8&/( 9''1*:4%&'(.)+&'( ;**#$$%&*%(<+4+'( <12%$(<+4+'( 9==$%=1'%(<+4+'( 6%>#1,(95#0%(8>*,#0+)&( 8?+/%&*%(@.8A68BC(
                                                                                                                                                                                                         71'%(         71'%(
    D51253EF3G5H3IJ KLM3D51253EF3G5H3NJJO3IOL3                                     629351831933E523P56813             QHF3                   RR3 RRJK3 RR3 RRJK3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253EF3G5H3IJ KLM3D51253EF3G5H3NJJO3IOL3                                     51831933E523P56813                       QHF3                   RRJK3 RRJ3 RRJK3 RRJ3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253EF3G5H3IJ KLM3D51253EF3G5H3NJJO3IOL3                                     51831933E523P56813                       QHF3                   RRJ3 RRJV3 RRJ3 RRJV3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253EF3G5H3IJ KLM3D51253EF3G5H3NJJO3IOL3                                     51831933E523P56813                       QHF3                   RRJV3 RRJN3 RRJV3 RRJN3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253EF3G5H3IJ KLM3D51253EF3G5H3JO3IJ KL3                                         E12613Q63W653518319334622X5Y34P3   ZUV3O3J[3               RROJ3 RROO3 RROJ3 RROO3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253EF3G5H3IJ KLM3D51253EF3G5H3JO3IJ KL3                                         P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
    D51253EF3G5H3IJ KLM3D51253EF3G5H3JO3IJ KL3                                         E12613Q63W653518319334622X5Y34P3   ZU3VVKKV3                RROO3 RRO[3 RROO3 RRO[3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253EF3G5H3IJ KLM3D51253EF3G5H3JO3IJ KL3                                         P56813\5183193                            ] KVO N3                 RROO3 RRO[3 RROO3 RRO[3S333333YKKYKKKKK3S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3             QHF3                4U3
    D51253EF3G5HY3Z5^3Z5 3IJ LM3D51253EF3G5HY3Z5^3Z5 3IJ L3                P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
    D51253EF3G5HY3Z5^3Z5 3IJ LM3D51253EF3G5HY3Z5^3Z5 3IJ L3                P56813\5183193                            ] KVO N3                 RROO3 RRO[3 RROO3 RRO[3S333333YKKYKKKKK3S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3             QHF3                4U3
    D51253EF3G5HY3Z5H93Z5 3IJVLM3Z5H93JO3INJL3                            51831933E523P56813                       D433O3OV3             ORJRJJ3ORJRJO3 ORJRJJ3 ORJRJO3S3                3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253EF3G5HY3Z5H93Z5 3IJVLM3Z5H93JO3INJL3                            51831933E523P56813                       D433O3OV3             ORJRJO3ORJRJ[3 ORJRJO3 ORJRJ[3S3                3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253EF3G5HY3Z5H93Z5 3IJVLM3Z5H93JO3INJL3                            51831933E523P56813                       D433O3OV3             ORJRJ[3ORJRJ3 ORJRJ[3 ORJRJ3S3                3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253EF3G5HY3Z5H93Z5 3IJVLM3D51253EF3G5HY3Z5H93Z5 3IJ VL3           P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
    D51253EF3G5HY3Z5H93Z5 3IJVLM3D51253EF3G5HY3Z5H93Z5 3IJ VL3           P56813\5183193                            ] KVO N3                 RROO3 RRO[3 RROO3 RRO[3S333333YKKYKKKKK3S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3             QHF3                4U3
    D51253EF3G5HY3]1 12213Z5 3IJNLM3D51253EF3G5HY3]1 12213Z5 3IJ NL3         P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
    D51253EF3G5HY3]1 12213Z5 3IJNLM3D51253EF3G5HY3]1 12213Z5 3IJ NL3         P56813\5183193                            ] KVO N3                 RROO3 RRO[3 RROO3 RRO[3S333333YKKYKKKKK3S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3             QHF3                4U3
    D51253EF3G5HY3_3Z53IJ LM3D51253EF3G5HY3_3Z5 3IJ L3                   P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
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    D51253EF3G5HY3T212313Z53IJ LM3D51253EF3G5HY3T212313Z5 3IJ L3   P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
    D51253EF3G5HY3T212313Z53IJ LM3D51253EF3G5HY3T212313Z5 3IJ L3   P56813\5183193                            ] KVO N3                 RROO3 RRO[3 RROO3 RRO[3S333333YKKYKKKKK3S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3             QHF3                4U3
    D51253E611513W52653IN[KLM3Z13P513 JO3IN[KL3                                 QHF3                                                QHF3                  JRVJRJ3JRVJRO3 JRVJRJ3 JRVJRO3S3                3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253E611513W52653IN[KLM3Z13P513 JO3IN[KL3                                 QHF3                                                QHF3                  JRVJRO3JRVJR[3 JRVJRO3 JRVJR[3S3                3 S3 KYKKKKK3 S333333KYKKKKK3 QHF3                 QHF3                TU3
    D51253E611513W52653IN[KLM3Z13P513 JO3IN[KL3                                 6X5293]2135183193                        QHF3                   RR[3 RR3 RR[3 RR3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253E611513W52653IN[KLM3Z13P513 JO3IN[KL3                                 QHF3                                                QHF3                  JRVJR[3JRVJR3 JRVJR[3 JRVJR3S3                3 S3 KYKKKKK3 S333333KYKKKKK3 QHF3                 QHF3                TU3
    D51253E611513W52653IN[KLM3Z13P513 JO3IN[KL3                                 QHF3                                                QHF3                  JRVJR3JRVJRJK3 JRVJR3 JRVJRJK3S3                3 S33333333NKKYKKKKK3 S3333NKKYKKKKK3 QHF3           QHF3                TU3
    D51253E611513W52653IN[KLM3Z13P513 JO3IN[KL3                                 QHF3                                                QHF3                   [RRJK3 [RRJ3 [RRJK3 [RRJ3S3                  3 S3 KYKKKKK3 S333333KYKKKKK3 QHF3                 QHF3                TU3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         QHF3                                                QHF3                  RRJJ3RRJO3 RRJJ3 RRJO3S3                3 S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3           QHF3                TU3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         \913DX35183193                           QHF3                   RRO3 RROJ3 RRO3 RROJ3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         EP3                                                                     [VVVVO3 RROJ3 VROROJ3 RROJ3 VROROJ3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         E12613Q63W653518319334622X5Y34P3   ZUV3O3N3               RROJ3 RROO3 RROJ3 RROO3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         EP3                                                    QHF3                  VRROJ3 RROJ3 VRROJ3 RROJ3S3                   3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         \913DX35183193                           QHF3                    RROJ3 RROO3 RROJ3 RROO3S3                     3 S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3           QHF3                TU3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         E12613Q63W653518319334622X5Y34P3   ZU3VVKKK3                RROO3 RRO[3 RROO3 RRO[3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         P56813\5183193                            ] KVO N3                 RROO3 RRO[3 RROO3 RRO[3S333333YKKYKKKKK3S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3             QHF3                4U3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         \913DX35183193                           QHF3                    RROO3 RRO[3 RROO3 RRO[3S3                     3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         \913518333P56813                          QHF3                   RR[3 RR[V3 RR[3 RR[V3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253E611513W52653IN[KLM3D51253E611513W52653JO3IN[KL3                         \913DX35183193                           QHF3                   RR[V3 RR[N3 RR[V3 RR[N3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253T2363P513INVLM31H613]3V3IV[L3                                    51831933E523P56813                       TZ3NK3                  ORRJJ3 ORRJO3 ORRJJ3 ORRJO3S3                  3 S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3              QHF3                4U3
    D51253T2363P513INVLM31H613]3V3IV[L3                                    51831933E523P56813                       TZ3NK3                  ORRJO3 ORRJ[3 ORRJO3 ORRJ[3S3                  3 S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3              QHF3                4U3
    D51253T2363P513INVLM31H613]3V3IV[L3                                    51831933E523P56813                       TZ3NK3                  ORRJ[3 RRJ3 ORRJ[3 RRJ3S3                    3 S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3              QHF3                4U3
    D51253T2363P513INVLM31H613]3V3IV[L3                                    E12613Q63W653518319334622X5Y34P3   ZUV3OK3O3               RROJ3 RROO3 RROJ3 RROO3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253T2363P513INVLM31H613]3V3IV[L3                                    P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
    D51253T2363P513INVLM31H613]3V3IV[L3                                    E12613Q63W653518319334622X5Y34P3   ZU3VJN3                RROO3 RRO[3 RROO3 RRO[3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253T2363P513INVLM31H613]3V3IV[L3                                    P56813\5183193                            ] KVO N3                 RROO3 RRO[3 RROO3 RRO[3S333333YKKYKKKKK3S33333333KKYKKKKK3 S3333KKYKKKKK3 QHF3             QHF3                4U3
    D51253T2363P513INVLM3U92613K 3IVKL3                                         E12613Q63W653518319334622X5Y34P3   ZUV3OK3[3               RROJ3 RROO3 RROJ3 RROO3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253T2363P513INVLM3U92613K 3IVKL3                                         P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
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    D51253T2363P513INVLM36835163NVK[3IVL3                                    QHF3                                                QHF3                   RROV3 RRON3 RROV3 RRON3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253T2363P513INVLM36835163NVK[3IVL3                                    QHF3                                                QHF3                   RRON3 RRO 3 RRON3 RRO 3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253T2363P513INVLM36835163NVK[3IVL3                                     517536293193                             QHF3                   RROJ3 RROO3 RROJ3 RROO3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253T2363P513INVLM36835163NVK[3IVL3                                    E12613Q63W653518319334622X5Y34P3   ZUV3OK3 3               RROJ3 RROO3 RROJ3 RROO3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253T2363P513INVLM36835163NVK[3IVL3                                    P56813\5183193                            ] KVO N3                 RROJ3 RROO3 RROJ3 RROO3S333333YKKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                QHF3                4U3
    D51253T2363P513INVLM36835163NVK[3IVL3                                    68612635183193                            QHF3                   RROO3 RRO[3 RROO3 RRO[3S3                  3       QHF3           QHF3 QHF3               QHF3                TU3
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    D51253T2363P513INVLM3̀H1F3a193JVKO3IJL3                                     51831933E523P56813                       TZ33VN3ON3                 RRJJ3 RRJO3 RRJJ3 RRJO3S3                     3       QHF3           QHF3 QHF3               QHF3                TU3
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    D51253T2363P513INVLM3̀H1F3a193JVKO3IJL3                                     51831933E523P56813                       TZ33J3NN3                 RRJ3 RROK3 RRJ3 RROK3S3                     3 S33333333VKYKKKKK3 S3333VKYKKKKK3 QHF3           QHF3                4U3
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    D51253T2363P513INVLM3̀H1F3a193JVKO3IJL3                                     51831933E523P56813                       TZ333J3                RRO3 RROV3 RRO3 RROV3S3                     3 S33333333VKYKKKKK3 S3333VKYKKKKK3 QHF3           QHF3                4U3
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    D51253T2363P513INVLM3̀H1F3a193JVKO3IJL3                                     51831933E523P56813                       bZ3[3                RRO3 RROJ3 RRO3 RROJ3S3 KKYKKKKK3S33333VYKKKYKKKKK3S3VYKKKYKKKKK3 QHF3                      QHF3                4U3
    D51253T2363P513INVLM3̀H1F3a193JVKO3IJL3                                     E12613Q63W653518319334622X5Y34P3   ZUV3OK3K3               RROJ3 RROO3 RROJ3 RROO3S3 KKYKKKKK3S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3                      QHF3                4U3
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    D51253T2363P513INVLM346113Z653NK3IVL3                                       QHF3                                                QHF3                   RR 3 RR 3 RR 3 RR 3S3                    3       QHF3           QHF3 QHF3               QHF3                TU3
    D51253T2363P513INVLM346113Z653NK3IVL3                                       QHF3                                                QHF3                  VR[RJ3VR[ROK3 VR[RJ3 VR[ROK3S3                3 S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3              QHF3                TU3
    D51253T2363P513INVLM346113Z653NK3IVL3                                       QHF3                                                QHF3                  VR[ROK3VR[RO3 VR[ROK3 VR[RO3S3                3 S33333YKKKYKKKKK3S3YKKKYKKKKK3 QHF3              QHF3                TU3
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    D51253E2363F513GHIJK3E162363ILIIILL3GHIJ3                         M12613N63O653518319334622P5Q34F3   RS3IITT3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253E2363F513GHIJK3E162363ILIIILL3GHIJ3                         F56813[5183193                            \ IV LH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X333333IQQ3X33333333Q3 X3333Q3 NYZ3                NYZ3                4S3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    51831933M523F56813                       ER3IHT3                 IUIUILV3 IUIUILVI3 IUIUILV3 IUIUILVI3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                4S3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    51831933M523F56813                       ER3IHT3                 IUIUILVI3 IUIUILV3 IUIUILVI3 IUIUILV3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                4S3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    51831933M523F56813                       ER3IHT3                 IUIUILV3 IUIUILVH3 IUIUILV3 IUIUILVH3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                4S3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    MZ3]1 6535183193                          NYZ3                   IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    M12613N63O653518319334622P5Q34F3   RSII3VI3II3               IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    F56813[5183193                            \ IV LH3                 IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X333333IQQ3X33333IQQ3X3IQQ3 NYZ3                   NYZ3                4S3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    MZ3]1 6535183193                          NYZ3                   IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    M12613N63O653518319334622P5Q34F3   RS3IITI3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253E2363F513GHIJK3E2123\6 563ILHILLH3GHJ3                    F56813[5183193                            \ IV LH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X333333IQQ3X33333333Q3 X3333Q3 NYZ3                NYZ3                4S3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               51831933M523F56813                       ER3TIT3                 VUIUILTL3VUIUILV3 VUIUILTL3 VUIUILV3X3                   3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               51831933M523F56813                       ER3TIVV3                 VUIUILV3VUIUILVI3 VUIUILV3 VUIUILVI3X3                   3 X33333333Q3 X3333Q3 NYZ3           NYZ3                4S3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               51831933M523F56813                       NYZ3                  VUIUILVI3 VUIUILV3 VUIUILVI3 VUIUILV3X3                    3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               MZ3]1 6535183193                          NYZ3                   IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               M12613N63O653518319334622P5Q34F3   RSII3TL3W3               IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               F56813[5183193                            \ IV LH3                 IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X333333IQQ3X33333IQQ3X3IQQ3 NYZ3                   NYZ3                4S3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               MZ3]1 6535183193                          DF3HHH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               M12613N63O653518319334622P5Q34F3   RS3IILLHH3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253113R193F513GWLJK3D3[63IT3GWTJ3                               F56813[5183193                            \ IV LH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X333333IQQ3X33333333Q3 X3333Q3 NYZ3                NYZ3                4S3
    D51253113R193F513GWLJK34613ILHILV3GWLJ3                              M12613N63O653518319334622P5Q34F3   RS3IILLHI3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         51831933M523F56813                       ER33II3L3               TUIUILTL3 TUIUILV3 TUIUILTL3 TUIUILV3X3                     3 X33333IQQ3X3IQQ3 NYZ3              NYZ3                4S3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         51831933M523F56813                       ER33II3L3               TUIUILV3 TUIUILVI3 TUIUILV3 TUIUILVI3X3                     3 X33333IQQ3X3IQQ3 NYZ3              NYZ3                4S3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         51831933M523F56813                       ER33II3L3               TUIUILVI3 TUIUILV3 TUIUILVI3 TUIUILV3X3                     3 X33333IQQ3X3IQQ3 NYZ3              NYZ3                4S3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         ]15253F88623136293193                I3R43IWI3             IUIUILV3 IUIUILVT3 IUIUILV3 IUIUILVT3X3                     3 NYZ3               NYZ3 NYZ3               NYZ3                4S3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         ]15253F88623136293193                I3R43IWI3             IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3                     3 NYZ3               NYZ3 NYZ3               NYZ3                4S3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         M12613N63O653518319334622P5Q34F3   RSII3TL3WH3               IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         F56813[5183193                            \ IV LH3                 IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X333333IQQ3X33333IQQ3X3IQQ3 NYZ3                   NYZ3                4S3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         MZ3]1 6535183193                          DF3WV3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253113R193F513GWLJK34613F513ILVILVW3GWLJ3                         F56813[5183193                            \ IV LH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X333333IQQ3X33333333Q3 X3333Q3 NYZ3                NYZ3                4S3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          51831933M523F56813                       ER33L3LI3                HUIUILT3 HUIUILTT3 HUIUILT3 HUIUILTT3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          51831933M523F56813                       ER33L3LI3                HUIUILTT3 HUIUILTV3 HUIUILTT3 HUIUILTV3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          51831933M523F56813                       ER33L3LI3                HUIUILTV3 HUIUILTW3 HUIUILTV3 HUIUILTW3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          51831933M523F56813                       ER33TL33                HUIUILTW3 HUIUILTL3 HUIUILTW3 HUIUILTL3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                4S3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          51831933M523F56813                       ER33TL33                HUIUILTL3 HUIUILV3 HUIUILTL3 HUIUILV3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                4S3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          51831933M523F56813                       ER33TL33                HUIUILV3 HUIUILVI3 HUIUILV3 HUIUILVI3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                4S3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          51831933M523F56813                       ER33I3IV3               HUIUILVI3 HUIUILV3 HUIUILVI3 HUIUILV3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                4S3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          MZ3]1 6535183193                          NYZ3                   IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          M12613N63O653518319334622P5Q34F3   RSII3V3L3                IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          F56813[5183193                            \ IV LH3                 IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X333333IQQ3X33333IQQ3X3IQQ3 NYZ3                   NYZ3                4S3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          N623E2123O6629313D151293193             IFHV3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          M12613N63O653518319334622P5Q34F3   RS3ITT3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253^963GTHWJK32513^963ILIWIT3GTHWJ3                          F56813[5183193                            \ IV LH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X333333IQQ3X33333333Q3 X3333Q3 NYZ3                NYZ3                4S3
    D51253_623GLJK3O529M653ILVILLV3GJ3                                 MZ3]1 6535183193                          NYZ3                   IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253_623GLJK3O529M653ILVILLV3GJ3                                 M12613N63O653518319334622P5Q34F3   RSII3TL3T3               IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253_623GLJK3O529M653ILVILLV3GJ3                                 F56813[5183193                            \ IV LH3                 IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X333333IQQ3X33333IQQ3X3IQQ3 NYZ3                   NYZ3                4S3
    D51253_623GLJK3O529M653ILVILLV3GJ3                                 M12613N63O653518319334622P5Q34F3   RS3IILL 3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253_623GLJK3O529M653ILVILLV3GJ3                                 F56813[5183193                            \ IV LH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X333333IQQ3X33333333Q3 X3333Q3 NYZ3                NYZ3                4S3
    D51253_623GLJK3O529M653ILVILLV3GJ3                                 NYZ3                                                `R43HLILLW3              UIUILVV3UIUILVW3 UIUILVV3 UIUILVW3X3                   3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253_623GLJK3O529M653ILVILLV3GJ3                                 NYZ3                                                `R43HLILLW3              UIUILVW3UIUILVL3 UIUILVW3 UIUILVL3X3                   3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253_623GLJK3O529M653ILVILLV3GJ3                                 NYZ3                                                `R43HLILLW3              UIUILVL3UIUILW3 UIUILVL3 UIUILW3X3                   3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               51831933M523F56813                       ER3 I3                 IUUILTL3IUUILV3 IUUILTL3 IUUILV3X3                   3 X33333IQQ3X3IQQ3 NYZ3              NYZ3                4S3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               51831933M523F56813                       ER3 I3                 IUUILV3IUUILVI3 IUUILV3 IUUILVI3X3                   3 X33333IQQ3X3IQQ3 NYZ3              NYZ3                4S3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               51831933M523F56813                       ER3 I3                 IUUILVI3IUUILV3 IUUILVI3 IUUILV3X3                   3 X33333IQQ3X3IQQ3 NYZ3              NYZ3                4S3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               MZ3]1 6535183193                          NYZ3                   IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               M12613N63O653518319334622P5Q34F3   RSII3TL33                IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               F56813[5183193                            \ IV LH3                 IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X333333IQQ3X33333IQQ3X3IQQ3 NYZ3                   NYZ3                4S3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               MZ3]1 6535183193                          DF3HIHIH3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               MZ3]1 6535183193                          DF3HHHHL3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3 NYZ3                            NYZ3 NYZ3               NYZ3                ES3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               M12613N63O653518319334622P5Q34F3   RS3IILWWW3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D51253_623GLJK3_623F513ILILLW3GLJ3                               F56813[5183193                            \ IV LH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X333333IQQ3X33333333Q3 X3333Q3 NYZ3                NYZ3                4S3
    D53\2163GLJK3176363ILHTILT3GVVJ3                            F56813O66293193                              NYZ3                  TUHUILTI3TUHUILT3 TUHUILTI3 TUHUILT3X3                   3 X3 Q3 X333333Q3 NYZ3                 NYZ3                ES3
    D53\2163GLJK3176363ILHTILT3GVVJ3                            F56813O66293a311293                            NYZ3                   IUIUILTH3 UIUILTH3 IUIUILTH3 UIUILTH3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D53\2163GLJK3176363ILHTILT3GVVJ3                            MZ3]1 6535183193                          REF3TI 3                UIUILTH3IIUIUILTH3 UIUILTH3 IIUIUILTH3X3                    3 X33333333IQ3 X3333IQ3 NYZ3           NYZ3                4S3
    D53\2163GLJK3176363ILHTILT3GVVJ3                            MZ3]1 6535183193                          REF3TI3                UIUILT 3IIUIUILT 3 UIUILT 3 IIUIUILT 3X3                    3 X33333333IQ3 X3333IQ3 NYZ3           NYZ3                4S3
    D53\2163GLJK3176363ILHTILT3GVVJ3                            F56813O66293193                              NYZ3                  IIUIUILT 3IIUIUILT3 IIUIUILT 3 IIUIUILT3X3                   3 X33333333IQ3 X3333IQ3 NYZ3           NYZ3                4S3
    D53\2163GLJK3S213F3ILTILV3GLHJ3                                NYZ3                                                NYZ3                   IUIUILV3 IUIUILVH3 IUIUILV3 IUIUILVH3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D53\2163GLJK3S213F3ILTILV3GLHJ3                                NYZ3                                                NYZ3                   IUIUILV3 IUIUILVH3 IUIUILV3 IUIUILVH3X3 Q3 NYZ3                           NYZ3 NYZ3               NYZ3                ES3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            DP36293193                                D]3LHIT3              IIUI UIL3 IUIUILT3 IIUI UIL3 IUIUILT3X3                   3 X3 Q3 X333333Q3 NYZ3                 NYZ3                ES3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            F21235183193                               IL3V3W3                IUIUILT3 IUIUILV3 IUIUILT3 IUIUILV3X3                     3 NYZ3               NYZ3 NYZ3               NYZ3                4S3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            MZ3S135183193                           E\3V3WL3T3              UUILV3 UUILW3 UUILV3 UUILW3X3                     3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            MZ3S135183193                           Eb3VH3V33             UWUILV3UWUILW3 UWUILV3 UWUILW3X3                   3       NYZ3           NYZ3 NYZ3               NYZ3                ES3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            DP36293193                                D]3ILHH3              IIUI UILV3IIUI UILW3 IIUI UILV3IIUI UILW3X3                 3 X3 Q3 X333333Q3 NYZ3                 NYZ3                ES3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            MZ3S135183193                           E\3WWVI3                UUILW3 UUILL3 UUILW3 UUILL3X3                     3 X33333333IQ3 X3333IQ3 NYZ3           NYZ3                4S3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            MZ3S135183193                           Eb3WHV3               UWUILW3UWUILL3 UWUILW3 UWUILL3X3                   3 X33333333IQ3 X3333IQ3 NYZ3           NYZ3                4S3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            [9136293193                                []HWV H3                UWUILL3UWUILT3 UWUILL3 UWUILT3X3                   3 X33333333IQ3 X3333IQ3 NYZ3           NYZ3                4S3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            [9136293193                                []3HIHTV3               UWUILT3UWUILTI3 UWUILT3 UWUILTI3X3                   3 X33333333IQ3 X3333IQ3 NYZ3           NYZ3                4S3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            [9136293193                                []HILI3                UWUILTI3UWUILT3 UWUILTI3 UWUILT3X3                   3 X33333333IQ3X3IQQ3 NYZ3             NYZ3                ES3
    D53\2163GLJK3D53\2163ILLILT3GLHJ3                            F56813O66293a311293                            NYZ3                     UIUILT3 UIUILTH3 UIUILT3 UIUILTH3X3                       3 X33333333IQ3 X3333IQ3 NYZ3           NYZ3                ES3
    D53\2163GLJK3D53\2163ILV3GLJ3                                MZ3]1 6535183193                          NYZ3                   UIUILV 3 UIUILV3 UIUILV 3 UIUILV3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                ES3
    D53\2163GLJK3D53\2163ILV3GLJ3                                MZ3]1 6535183193                          NYZ3                   UIUILV3 UIUILVT3 UIUILV3 UIUILVT3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                ES3
    D53\2163GLJK3D53\2163ILV3GLJ3                                M12613N63O653518319334622P5Q34F3   RSII3VH3V3               IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D53\2163GLJK3D53\2163ILV3GLJ3                                F56813[5183193                            \ IV LH3                 IUIUILVT3 IUIUILVV3 IUIUILVT3 IUIUILVV3X333333IQQ3X33333IQQ3X3IQQ3 NYZ3                   NYZ3                4S3
    D53\2163GLJK3D53\2163ILV3GLJ3                                MZ3]1 6535183193                          NYZ3                   UIUILVT3 UIUILVV3 UIUILVT3 UIUILVV3X3                     3 X33333333Q3 X3333Q3 NYZ3           NYZ3                ES3
    D53\2163GLJK3D53\2163ILV3GLJ3                                M12613N63O653518319334622P5Q34F3   RS3IL3                IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X3 Q3X33333IQQ3X3IQQ3 NYZ3                         NYZ3                4S3
    D53\2163GLJK3D53\2163ILV3GLJ3                                F56813[5183193                            \ IV LH3                 IUIUILVV3 IUIUILVW3 IUIUILVV3 IUIUILVW3X333333IQQ3X33333333Q3 X3333Q3 NYZ3                NYZ3                4S3




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                                                                                                                                                                                               71'%(         71'%(
    D53E2163FGHI3D53E2163GJ3FGH3                                 KL3M1 6535183193                          NOL3                  PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    D53E2163FGHI3D53E2163GJ3FGH3                                 D513U88623                                       NOL3                  PPGJQ3 PPGJG3 PPGJQ3 PPGJG3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    D53E2163FGHI3D53E2163GJ3FGH3                                 D513U88623                                       NOL3                  PPGJG3 PPGQV3 PPGJG3 PPGQV3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    D53E2163FGHI3D53E2163GJ3FGH3                                 2621311293193                            3JW3               PPGGX3PXVPGGX3 PPGGX3PXVPGGX3R3                  3 R33333333XVVYVVVVV3 R3333XVVYVVVVV3 NOL3           NOL3                4T3
    D53E2163FGHI3D53E2163GJ3FGH3                                 2621311293193                            3X WVG 3             PJPGG 3PXPGG 3 PJPGG 3PXPGG 3R3                 3 R33333333XVVYVVVVV3 R3333XVVYVVVVV3 NOL3           NOL3                4T3
    D53E2163FGHI335163GXXGJ3FGH3                                  U2131129313S5293193                       VGUX X3               WPPGWQ3WPPGWG3 WPPGWQ3 WPPGWG3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    D53E2163FGHI335163GXXGJ3FGH3                                  U2131129313S5293193                       VGUXJVJ3              WPPGWG3WPPGJV3 WPPGWG3 WPPGJV3R3                   3 R3 VYVVVVV3 R333333VYVVVVV3 NOL3                 NOL3                ST3
    D53E2163FGHI335163GXXGJ3FGH3                                  U2131129313S5293193                       GU JVV3               WPPGJ3WPPGJ3 WPPGJ3 WPPGJ3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    D5L683FWJHI3D5L683FWJH3                                                    KL3M1 6535183193                          NOL3                  PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    D5L683FWJHI3D5L683FWJH3                                                    K12613N63Z653518319334622[5Y34U3   \T3WG3WQ3              PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    D5L683FWJHI3D5L683FWJH3                                                    U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    D5L683FWJHI3D5L683FWJH3                                                    K12613N63Z653518319334622[5Y34U3   \T3GGW3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    D5L683FWJHI3D5L683FWJH3                                                    U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    D5L683FWJHI3D5L683FWJH3                                                    KL3M1 6535183193                          DUV 3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3                         3       NOL3           NOL3 NOL3               NOL3                ST3
    D3123FJJXHI3D3123FJJXH3                                                K12613N63Z653518319334622[5Y34U3   \T3WG3Q3              PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    D3123FJJXHI3D3123FJJXH3                                                U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    D3123FJJXHI3D3123FJJXH3                                                K12613N63Z653518319334622[5Y34U3   \T3GGG3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    D3123FJJXHI3D3123FJJXH3                                                U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    D3S2513FQHI3D3S2513GXJGG3FQH3                                     K12613N63Z653518319334622[5Y34U3   \T3WG3QW3              PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    D3S2513FQHI3D3S2513GXJGG3FQH3                                     U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    D3S2513FQHI3D3S2513GXJGG3FQH3                                     K12613N63Z653518319334622[5Y34U3   \T3GGX 3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    D3S2513FQHI3D3S2513GXJGG3FQH3                                     U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    M1LO3E2163FQHI30163\3GXWGJV3FQH3                                NOL3                                                NOL3                  PPGW3 PPGJ3 PPGW3 PPGJ3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                   M15253Z6535183193                         XG3\43VGJV3          VPGPGJV3VPGPGJ3 VPGPGJV3VPGPGJ3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                   M15253Z6535183193                         XG3\43VGJV3          VPGPGJ3VPGPGJ3 VPGPGJ3VPGPGJ3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                   M15253Z6535183193                         XG3\43VGJV3          VPGPGJ3VPGPGJX3 VPGPGJ3VPGPGJX3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                    L636293Z6535183193                        XG3\43WWV3          VPGPGJX3VPGPGJ 3 VPGPGJX3VPGPGJ 3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                    L636293Z6535183193                        XG3\43WWV3          VPGPGJ 3VPGPGJ3 VPGPGJ 3VPGPGJ3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                    L636293Z6535183193                        XG3\43WWV3          VPGPGJ3VPGPGJW3 VPGPGJ3VPGPGJW3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                   K12613N63Z653518319334622[5Y34U3   \T3JX33               PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                   U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                    L636293Z6535183193                          3\43 QVQJ3           VPGPGJW3VPGPGJJ3 VPGPGJW3VPGPGJJ3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                   K12613N63Z653518319334622[5Y34U3   \T3VVV3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                   U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                    L636293Z6535183193                          3\43 QVQJ3           VPGPGJJ3VPGPGJQ3 VPGPGJJ3VPGPGJQ3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO3E2163FQHI3M1LO3E2163GJV3FQH3                                    L636293Z6535183193                          3\43 QVQJ3           VPGPGJQ3VPGPGJG3 VPGPGJQ3VPGPGJG3R3                 3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M1LO93U513FJHI3M1LO93U513G3FJH3                                     K12613N63Z653518319334622[5Y34U3   \T3JV3V3               PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M1LO93U513FJHI3M1LO93U513G3FJH3                                     U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    M1LO93U513FJHI3M1LO93U513G3FJH3                                     53^3Z5253                                          NOL3                  PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    M1LO93U513FJHI3M1LO93U513G3FJH3                                     K12613N63Z653518319334622[5Y34U3   \T3GGQW3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M1LO93U513FJHI3M1LO93U513G3FJH3                                     U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    M15233U56813FXVJHI3M15233U56813GJ 3FXVJH3                             K12613N63Z653518319334622[5Y34U3   \T3JV3J3               PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233U56813FXVJHI3M15233U56813GJ 3FXVJH3                             U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    M15233U56813FXVJHI3M15233U56813GJ 3FXVJH3                             K12613N63Z653518319334622[5Y34U3   \T3GGG3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233U56813FXVJHI3M15233U56813GJ 3FXVJH3                             U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    M15233U56813FXVJHI3_1136293U513GGJ 3FXVGH3                           51831933K523U56813                       NOL3                 P PGWG3P PGJV3 P PGWG3 P PGJV3R3                   3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                ST3
    M15233U56813FXVJHI3_1136293U513GGJ 3FXVGH3                           51831933K523U56813                       NOL3                 P PGJV3P PGJ3 P PGJV3 P PGJ3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233U56813FXVJHI3_1136293U513GGJ 3FXVGH3                           51831933K523U56813                       NOL3                 P PGJ3P PGJ3 P PGJ3 P PGJ3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233U56813FXVJHI3_1136293U513GGJ 3FXVGH3                           51831933K523U56813                       NOL3                 P PGJ3PWPGJ3 P PGJ3 PWPGJ3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233U56813FXVJHI3_1136293U513GGJ 3FXVGH3                           51831933K523U56813                       D433V3W3              WPQPGJ 3GPPGJ 3 WPQPGJ 3 GPPGJ 3R3                   3 R3 YVVVVV3 R333333YVVVVV3 NOL3                 NOL3                4T3
    M15233KL3T13FXVHI3E 13GVQ3FH3                               K12613N63Z653518319334622[5Y34U3   \T3JV3Q3              PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233KL3T13FXVHI3E 13GVQ3FH3                               U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    M15233KL3T13FXVHI3E 13GVQ3FH3                               K12613N63Z653518319334622[5Y34U3   \T3VXW3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233KL3T13FXVHI3E 13GVQ3FH3                               U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    M15233KL3T13FXVHI3E18O3G GGX3FXH3                            K12613N63Z653518319334622[5Y34U3   \T3JV3JX3              PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233KL3T13FXVHI3E18O3G GGX3FXH3                            U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    M15233KL3T13FXVHI3E18O3G GGX3FXH3                            K12613N63Z653518319334622[5Y34U3   \T3VX3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233KL3T13FXVHI3E18O3G GGX3FXH3                            U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    M15233KL3T13FXVHI3K1 13̀193VQ3FXVH3                             K12613N63Z653518319334622[5Y34U3   \T3JV3JW3              PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233KL3T13FXVHI3K1 13̀193VQ3FXVH3                             U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    M15233KL3T13FXVHI3K1 13̀193VQ3FXVH3                             KL3M1 6535183193                          S43 Q3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233KL3T13FXVHI3K1 13̀193VQ3FXVH3                             K12613N63Z653518319334622[5Y34U3   \T3VW3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233KL3T13FXVHI3K1 13̀193VQ3FXVH3                             U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    M15233̀656613FWVHI3M15233̀656613FWVH3                                U56813]5183193                            E VJ GX3                PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R333333YVVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                   NOL3                4T3
    M15233̀656613FWVHI3M15233̀656613FWVH3                                U56813]5183193                            E VJ GX3                PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R333333YVVYVVVVV3R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3                NOL3                4T3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           NOL3                                                NOL3                  PPGW3 PPGJ3 PPGW3 PPGJ3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       D3V3QJ3V3             PJPGWX3PWPGW 3 PJPGWX3 PWPGW 3R3                   3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           NOL3                                                NOL3                 PWPGW 3 PPGW3 PWPGW 3 PPGW3R3                    3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           NOL3                                                NOL3                  PPGW3 PPGWW3 PPGW3 PPGWW3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       NOL3                  PPGWW3 PPGWJ3 PPGWW3 PPGWJ3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           NOL3                                                NOL3                  PPGWJ3 PPGWQ3 PPGWJ3 PPGWQ3R3                     3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       NOL3                  PPGWQ3PWPGWQ3 PPGWQ3 PWPGWQ3R3                    3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       NOL3                 PWPGWQ3PWPGWG3 PWPGWQ3 PWPGWG3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       NOL3                 PWPGWG3 PPGJV3 PWPGWG3 PPGJV3R3                    3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       NOL3                  PPGJV3PJPGJV3 PPGJV3 PJPGJV3R3                    3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       U\3QXW3                PJPGJV3PJPGJ3 PJPGJV3 PJPGJ3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       U\3QXW3                PJPGJ3PJPGJ3 PJPGJ3 PJPGJ3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       U\3QXW3                PJPGJ3PJPGJX3 PJPGJ3 PJPGJX3R3                   3       NOL3           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       D43WVX3               PJPGJX3PJPGJ 3 PJPGJX3 PJPGJ 3R3                   3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           E213Z65Y3E156313135183193F H3   NOL3                 PJPGJX3PJPGJ 3 PJPGJX3 PJPGJ 3R3 VVYVVVVV3 NOL3                         NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       D43WVX3               PJPGJ 3PJPGJ3 PJPGJ 3 PJPGJ3R3                   3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           K523]67535183193                            NOL3                  PPGJ3 PPGJW3 PPGJ3 PPGJW3R3 VVYVVVVV3 NOL3                           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       D43WVX3               PJPGJ3PJPGJW3 PJPGJ3 PJPGJW3R3                   3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           K12613N63Z653518319334622[5Y34U3   \T3JX33              PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           K523]67535183193                            NOL3                  PPGJW3 PPGJJ3 PPGJW3 PPGJJ3R3 VVYVVVVV3 NOL3                           NOL3 NOL3               NOL3                ST3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           51831933K523U56813                       D43W 3J3J3            PJPGJW3PJPGJJ3 PJPGJW3 PJPGJJ3R3                   3 R33333333VVYVVVVV3 R3333VVYVVVVV3 NOL3           NOL3                4T3
    M15233̀656613FWVHI3][523T33GXVVX3FWVH3                           K12613N63Z653518319334622[5Y34U3   \T3VXX3               PPGJJ3 PPGJQ3 PPGJJ3 PPGJQ3R3 VVYVVVVV3R33333YVVVYVVVVV3R3YVVVYVVVVV3 NOL3                         NOL3                4T3




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                                     !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#' 5&0#&'60&$' 7%.'60&$' !("% )*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
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C15233D656613EFGHI3JK523L33MNOGGO3EFGH3                           51831933P523Z56813                       QRS3                  TUTMNUU3 MTMTMNUV3 TUTMNUU3 MTMTMNUV3W3                 3       QRS3           QRS3 QRS3               QRS3                YL3
C15233D656613EFGHI3JK523L33MNOGGO3EFGH3                           C15253112935183193                      M3QQ3[FUF3             FTNTMNNV3 FTNTMNNN3 FTNTMNNV3 FTNTMNNN3W3                  3 W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3              QRS3                4L3
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C15233D656613EFGHI3JK523L33MNOGGO3EFGH3                           C15253112935183193                      M3QQ3[FUF3             FTNTGGG3 FTNTGGM3 FTNTGGG3 FTNTGGM3W3                  3 W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3              QRS3                4L3
C15233D656613EFGHI3JK523L33MNOGGO3EFGH3                           C15253112935183193                      M3QQ3[FUF3             FTNTGGM3 FTNTGG3 FTNTGGM3 FTNTGG3W3                  3 W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3              QRS3                4L3
C6535163EMHI3C6535163MNUO3EMH3                                        S636293\6535183193                        UOF3]43MGNV3            TMTMNUO3 TMTMNU3 TMTMNUO3 TMTMNU3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
C6535163EMHI3C6535163MNUO3EMH3                                        S636293\6535183193                        UOF3]43MGNV3            TMTMNU3 TMTMNU3 TMTMNU3 TMTMNU3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
C6535163EMHI3C6535163MNUO3EMH3                                        S636293\6535183193                        UOF3]43MGNV3            TMTMNU3 TMTMNUF3 TMTMNU3 TMTMNUF3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
C6535163EMHI3C6535163MNUO3EMH3                                       P12613Q63\653518319334622K5X34Z3   ]LMM3UG3N3               MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
C6535163EMHI3C6535163MNUO3EMH3                                       Z56813J5183193                            ^ MGUNO3                 MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W333333MXGGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                QRS3                4L3
C6535163EMHI3C6535163MNUO3EMH3                                        S636293\6535183193                        OF3]43MVO3             TMTMNUF3 TMTMNUU3 TMTMNUF3 TMTMNUU3W3                  3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
C6535163EMHI3C6535163MNUO3EMH3                                       P12613Q63\653518319334622K5X34Z3   ]L3MMNNU3                MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
C6535163EMHI3C6535163MNUO3EMH3                                       Z56813J5183193                            ^ MGUNO3                 MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W333333MXGGXGGGGG3W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3             QRS3                4L3
C6535163EMHI3C6535163MNUO3EMH3                                        S636293\6535183193                        OF3]43MVO3             TMTMNUU3 TMTMNUV3 TMTMNUU3 TMTMNUV3W3                  3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
C6535163EMHI3C6535163MNUO3EMH3                                        S636293\6535183193                        OF3]43MVO3             TMTMNUV3 TMTMNUN3 TMTMNUV3 TMTMNUN3W3                  3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
C6535163EMHI3_ 623J6753Z513MNUMNUO3EMH3                              51831933P523Z56813                       Y]MGU3                 TUTMNFF3TUTMNFU3 TUTMNFF3 TUTMNFU3W3                3       QRS3           QRS3 QRS3               QRS3                YL3
C6535163EMHI3_ 623J6753Z513MNUMNUO3EMH3                              51831933P523Z56813                       Y]FUF3                 TUTMNFU3TUTMNFV3 TUTMNFU3 TUTMNFV3W3                3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
C6535163EMHI3_ 623J6753Z513MNUMNUO3EMH3                              51831933P523Z56813                       Y]3FUFO3                TUTMNFN3TUTMNUG3 TUTMNFN3 TUTMNUG3W3                3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
C6535163EMHI3_ 623J6753Z513MNUMNUO3EMH3                              51831933P523Z56813                       Y]3FUFO3                TUTMNUG3TUTMNUM3 TUTMNUG3 TUTMNUM3W3                3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
C6535163EMHI3_ 623J6753Z513MNUMNUO3EMH3                              51831933P523Z56813                       Y]33FU3NF3              TUTMNUM3TUTMNU3 TUTMNUM3 TUTMNU3W3                3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
C12683EFNHI3C12683EFNH3                                                  51831933P523Z56813                       Y]33N3VV3               TMTMNF3 TMTMNFF3 TMTMNF3 TMTMNFF3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
C12683EFNHI3C12683EFNH3                                                  51831933P523Z56813                       Y]33N3VV3               TMTMNFF3 TMTMNFU3 TMTMNFF3 TMTMNFU3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
C12683EFNHI3C12683EFNH3                                                  51831933P523Z56813                       Y]33N3VV3               TMTMNFU3 TMTMNFV3 TMTMNFU3 TMTMNFV3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
C12683EFNHI3C12683EFNH3                                                  51831933P523Z56813                       Y]33FN3O3               TMTMNFV3 TMTMNFN3 TMTMNFV3 TMTMNFN3W3                  3 W33333333GXGGGGG3 W3333GXGGGGG3 QRS3           QRS3                4L3
C12683EFNHI3C12683EFNH3                                                  51831933P523Z56813                       Y]33FN3O3               TMTMNFN3 TMTMNUG3 TMTMNFN3 TMTMNUG3W3                  3 W33333333GXGGGGG3 W3333GXGGGGG3 QRS3           QRS3                4L3
C12683EFNHI3C12683EFNH3                                                  51831933P523Z56813                       Y]33FN3O3               TMTMNUG3 TMTMNUM3 TMTMNUG3 TMTMNUM3W3                  3 W33333333GXGGGGG3 W3333GXGGGGG3 QRS3           QRS3                4L3
C12683EFNHI3C12683EFNH3                                                  51831933P523Z56813                       Y]3MOU3                 TMTMNUM3 TMTMNU3 TMTMNUM3 TMTMNU3W3                  3 W33333333GXGGGGG3 W3333GXGGGGG3 QRS3           QRS3                4L3
C12683EFNHI3C12683EFNH3                                                  P12613Q63\653518319334622K5X34Z3   ]LMM3FN3FU3               MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
C12683EFNHI3C12683EFNH3                                                  Z56813J5183193                            ^ MGUNO3                 MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W333333MXGGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                QRS3                4L3
C12683EFNHI3C12683EFNH3                                                  P12613Q63\653518319334622K5X34Z3   ]L3MMNNM3                MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
C12683EFNHI3C12683EFNH3                                                  Z56813J5183193                            ^ MGUNO3                 MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W333333MXGGXGGGGG3W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3             QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       Y]33UV3NN3               FTMTMNFU3TOMTMNFV3 FTMTMNFU3 TOMTMNFV3W3                 3 W33333333GXGGGGG3 W3333GXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       Y]3UNO3                 FTMTMNFV3 FTMTMNFN3 FTMTMNFV3 FTMTMNFN3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       Y]3MG3                 FTMTMNFN3 FTMTMNUG3 FTMTMNFN3 FTMTMNUG3W3                  3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       Y]3MO3                 FTMTMNUG3 FTMTMNUM3 FTMTMNUG3 FTMTMNUM3W3                  3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       QRS3                   FTMTMNUG3 FTMTMNUM3 FTMTMNUG3 FTMTMNUM3W3 GGXGGGGG3 QRS3                        QRS3 QRS3               QRS3                YL3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       Y]3M3                  FTMTMNUM3 FTMTMNU3 FTMTMNUM3 FTMTMNU3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       `Z3M3UO3N3              FTMTMNU3MTMTMNU3 FTMTMNU3 MTMTMNU3W3                 3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       `Z3M3UO3N3             MTMTMNU3 FTMTMNUO3 MTMTMNU3 FTMTMNUO3W3                 3 W33333333OGGXGGGGG3 W3333OGGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       a]3MG3MN3UO3             MTMTMNU3 FTMTMNUO3 MTMTMNU3 FTMTMNUO3W3 OGGXGGGGG3W33333XGGXGGGGG3W3XGGXGGGGG3 QRS3                     QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       `Z3M3OV3UN3              FTMTMNUO3 FTMTMNU3 FTMTMNUO3 FTMTMNU3W3                  3 W33333333OGGXGGGGG3 W3333OGGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       a]3MG3G3G3              FTMTMNUO3 FTMTMNU3 FTMTMNUO3 FTMTMNU3W3 OGGXGGGGG3 QRS3                        QRS3 QRS3               QRS3                YL3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       `Z3M3G3UV3              FTMTMNU3 FTMTMNU3 FTMTMNU3 FTMTMNU3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       a]3MG3M3UU3              FTMTMNU3 FTMTMNU3 FTMTMNU3 FTMTMNU3W3 OGGXGGGGG3W33333XGGXGGGGG3W3XGGXGGGGG3 QRS3                      QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       `Z3O3NF3MU3              FTMTMNU3 FTMTMNUF3 FTMTMNU3 FTMTMNUF3W3                  3 W33333333OGGXGGGGG3 W3333OGGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       QRS3                   FTMTMNU3 FTMTMNUF3 FTMTMNU3 FTMTMNUF3W3 OGGXGGGGG3 QRS3                        QRS3 QRS3               QRS3                YL3
S13EMOOHI3S13MNFU3EMOOH3                                                 P12613Q63\653518319334622K5X34Z3   ]LMM3UG3OV3               MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 Z56813J5183193                            ^ MGUNO3                 MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W333333MXGGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       `Z3O3OF3FV3              FTMTMNUF3 FTMTMNUU3 FTMTMNUF3 FTMTMNUU3W3                  3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       QRS3                   FTMTMNUF3 FTMTMNUU3 FTMTMNUF3 FTMTMNUU3W3 GGXGGGGG3 QRS3                        QRS3 QRS3               QRS3                YL3
S13EMOOHI3S13MNFU3EMOOH3                                                 P12613Q63\653518319334622K5X34Z3   ]L3MMNNV3                MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 Z56813J5183193                            ^ MGUNO3                 MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W333333MXGGXGGGGG3W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3             QRS3                4L3
S13EMOOHI3S13MNFU3EMOOH3                                                 51831933P523Z56813                       QRS3                   FTMTMNUU3 FTMTMNUV3 FTMTMNUU3 FTMTMNUV3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI3^63Z513MNUMNN3EMOH3                                        QRS3                                                QRS3                   MTMTMNF3 MTMTMNU3 MTMTMNF3 MTMTMNU3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI34516563MNMMNNO3EMH3                                            51831933P523Z56813                       Y]33N3N3              OTTMNF3OTTMNFF3 OTTMNF3 OTTMNFF3W3                3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI34516563MNMMNNO3EMH3                                            51831933P523Z56813                       Y]33N3N3              OTTMNFF3OTTMNFU3 OTTMNFF3 OTTMNFU3W3                3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI34516563MNMMNNO3EMH3                                            51831933P523Z56813                       Y]33N3N3              OTTMNFU3OTTMNFV3 OTTMNFU3 OTTMNFV3W3                3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI34516563MNMMNNO3EMH3                                            51831933P523Z56813                       Y]33FN3MO3              OTTMNFV3OTTMNFN3 OTTMNFV3 OTTMNFN3W3                3 W33333333GXGGGGG3 W3333GXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI34516563MNMMNNO3EMH3                                            51831933P523Z56813                       Y]33FN3MO3              OTTMNFN3OTTMNUG3 OTTMNFN3 OTTMNUG3W3                3 W33333333GXGGGGG3 W3333GXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI34516563MNMMNNO3EMH3                                            51831933P523Z56813                       Y]33FN3MO3              OTTMNUG3OTTMNUM3 OTTMNUG3 OTTMNUM3W3                3 W33333333GXGGGGG3 W3333GXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI34516563MNMMNNO3EMH3                                            51831933P523Z56813                       Y]33M3N3              OTTMNUM3OTTMNU3 OTTMNUM3 OTTMNU3W3                3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI34516563MNMMNNO3EMH3                                            P12613Q63\653518319334622K5X34Z3   ]LMM3UG3M3               MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
S13EMOOHI34516563MNMMNNO3EMH3                                            Z56813J5183193                            ^ MGUNO3                 MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W333333MXGGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                QRS3                4L3
S13EMOOHI34516563MNMMNNO3EMH3                                            P12613Q63\653518319334622K5X34Z3   ]L3MMNNFM3                MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
S13EMOOHI34516563MNMMNNO3EMH3                                            Z56813J5183193                            ^ MGUNO3                 MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W333333MXGGXGGGGG3W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3             QRS3                4L3
S13EMOOHI3Y18\b3MNNMNFU3EMOH3                                             51831933P523Z56813                       Z]33N3FN3               OTMTMNF3 OTMTMNFF3 OTMTMNF3 OTMTMNFF3W3                  3       QRS3           QRS3 QRS3               QRS3                YL3
S13EMOOHI3Y18\b3MNNMNFU3EMOH3                                             51831933P523Z56813                       Y]GMV3                  OTMTMNFF3 OTMTMNFU3 OTMTMNFF3 OTMTMNFU3W3                  3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
S13EMOOHI3Y18\b3MNNMNFU3EMOH3                                             51831933P523Z56813                       Y]GMV3                  OTMTMNFU3 OTMTMNFV3 OTMTMNFU3 OTMTMNFV3W3                  3 W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3           QRS3                4L3
613P1263EVVHI3L1253cR1 13Z513MNNMNVO3EUVH3                        P12613Q63\653518319334622K5X34Z3   ]LMM3UO33               MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
613P1263EVVHI3L1253cR1 13Z513MNNMNVO3EUVH3                        Z56813J5183193                            ^ MGUNO3                 MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W333333MXGGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                QRS3                4L3
613P1263EVVHI3L1253cR1 13Z513MNNMNVO3EUVH3                        P12613Q63\653518319334622K5X34Z3   ]L3MGGUN3                MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
613P1263EVVHI3L1253cR1 13Z513MNNMNVO3EUVH3                        Z56813J5183193                            ^ MGUNO3                 MTMTMNUU3 MTMTMNUV3 MTMTMNUU3 MTMTMNUV3W333333MXGGXGGGGG3W33333333GGXGGGGG3 W3333GGXGGGGG3 QRS3             QRS3                4L3
613P1263EVVHI3613P1263MNU3EVVH3                                   P12613Q63\653518319334622K5X34Z3   ]LMM3UO33               MTMTMNUF3 MTMTMNUU3 MTMTMNUF3 MTMTMNUU3W3 GGXGGGGG3W33333MXGGGXGGGGG3W3MXGGGXGGGGG3 QRS3                      QRS3                4L3
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13P52S23EFMMHI31341 13MNVMNN3EMMGH3                             QRS3                                                                   MMUGF3FTMVTMNO3FTMVTMN3 FTMVTMNO3 FTMVTMN3W3                3 W3 MGXGGGGG3 W333333MGXGGGGG3 QRS3                 QRS3                YL3
13P52S23EFMMHI31341 13MNVMNN3EMMGH3                             QRS3                                                                    MOMU3FTMVTMN3FTMVTMN3 FTMVTMN3 FTMVTMN3W3                3 W3 MGXGGGGG3 W333333MGXGGGGG3 QRS3                 QRS3                YL3
13P52S23EFMMHI31341 13MNVMNN3EMMGH3                             QRS3                                                                   VOVOM3FTMVTMN3FTMVTMNF3 FTMVTMN3 FTMVTMNF3W3                3 W3 MGXGGGGG3 W333333MGXGGGGG3 QRS3                 QRS3                YL3
13P52S23EFMMHI31341 13MNVMNN3EMMGH3                             QRS3                                                                    NFG3FTMVTMNV3FTMVTMNN3 FTMVTMNV3 FTMVTMNN3W3                3 W3 GXGGGGG3 W333333GXGGGGG3 QRS3                 QRS3                YL3
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13P52S23EFMMHI31341 13MNVMNN3EMMGH3                             QRS3                                                4VG3                 FTMVTMNFG3FTMVTMNFM3 FTMVTMNFG3 FTMVTMNFM3W3                3 W3 GXGGGGG3 W333333GXGGGGG3 QRS3                 QRS3                YL3



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    13D52E23FGHHIJ31341 13HKLHKK3FHHMI3                          51831933D523W56813                       SX3HU3               GPHPHKUH3GPHPHKU3 GPHPHKUH3 GPHPHKU3Q3                   3 Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3              NOE3                4T3
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    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           ]25311293^3S5293193                        4HMMU U3                 PH PHKGK3GPHMPHKGK3 PH PHKGK3 GPHMPHKGK3Q3                   3 Q33333333HMMRMMMMM3 Q3333HMMRMMMMM3 NOE3           NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           51831933D523W56813                       _X LL 3                PH PHKGK3PH PHKUM3 PH PHKGK3 PH PHKUM3Q3 HMMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                       NOE3                4T3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           ]25311293^3S5293193                        4HMMU U3                 GPHMPHKGK3GPHMPHKUM3 GPHMPHKGK3 GPHMPHKUM3Q3                   3 Q33333333HMMRMMMMM3 Q3333HMMRMMMMM3 NOE3           NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           51831933D523W56813                       _X LL 3                PH PHKUM3PH PHKUH3 PH PHKUM3 PH PHKUH3Q3 HMMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                       NOE3                4T3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           ]25311293^3S5293193                        4HMH3UGM3                GPHMPHKUM3GPHMPHKUH3 GPHMPHKUM3 GPHMPHKUH3Q3                   3 Q33333333HMMRMMMMM3 Q3333HMMRMMMMM3 NOE3           NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           ]25311293^3S5293193                        4HMH3UGM3                GPHMPHKUH3GPHMPHKU3 GPHMPHKUH3 GPHMPHKU3Q3                   3 Q33333333HMMRMMMMM3 Q3333HMMRMMMMM3 NOE3           NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           51831933D523W56813                       _X3L3L3ML3             GPHMPHKUH3GPHMPHKU3 GPHMPHKUH3 GPHMPHKU3Q3 HMMRMMMMM3 NOE3                         NOE3 NOE3               NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           ]25311293^3S5293193                        4HMH3UGM3                GPHMPHKU3GPHMPHKU3 GPHMPHKU3 GPHMPHKU3Q3                   3 Q33333333HMMRMMMMM3 Q3333HMMRMMMMM3 NOE3           NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           51831933D523W56813                       _X3L3LK3LG3             GPHMPHKU3PKPHKU3 GPHMPHKU3 PKPHKU3Q3 HMMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                       NOE3                4T3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           S23413Y65313\15635183193              NOE3                  HPHPHKU 3 HPHPHKU3 HPHPHKU 3 HPHPHKU3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           S23413Y65313\15635183193              NOE3                  HPHPHKU3 HPHPHKUG3 HPHPHKU3 HPHPHKUG3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           D12613N63Y653518319334622Z5R34W3   XTHH3U33              HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           W56813[5183193                            \ HMU K3                HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q333333HRMMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                   NOE3                4T3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           S23413Y65313\15635183193              NOE3                    PPHKUG3 PPHKUU3 PPHKUG3 PPHKUU3Q3                       3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3           NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           D12613N63Y653518319334622Z5R34W3   XT3HM 3                HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           W56813[5183193                            \ HMU K3                HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q333333HRMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3                NOE3                4T3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           S23413Y65313\15635183193              NOE3                    PPHKUU3 PPHKUL3 PPHKUU3 PPHKUL3Q3                       3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3           NOE3                ST3
    13D52E23FGHHIJ313T653HKHHKLU3FGHHI3                           S23413Y65313\15635183193              NOE3                    PPHKUL3 PPHKUK3 PPHKUL3 PPHKUK3Q3                       3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3           NOE3                ST3
    13D52E23FGHHIJ3E615O3HKHKK3FHMLI3                                D12613N63Y653518319334622Z5R34W3   XTHH3UM3M3              HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    13D52E23FGHHIJ3E615O3HKHKK3FHMLI3                                W56813[5183193                            \ HMU K3                HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q333333HRMMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                   NOE3                4T3
    13D52E23FGHHIJ3E615O3HKHKK3FHMLI3                                D12613N63Y653518319334622Z5R34W3   XT3HHKK3               HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    13D52E23FGHHIJ3E615O3HKHKK3FHMLI3                                W56813[5183193                            \ HMU K3                HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q333333HRMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3                NOE3                4T3
    5`635163FUGIJ3a3HKHKK 3FGUI3                                    51831933D523W56813                       _X3LHKL3               HHPHPHKU3HHPHPHKU 3 HHPHPHKU3 HHPHPHKU 3Q3 MMRMMMMM3Q33333RMMRMMMMM3Q3RMMRMMMMM3 NOE3                       NOE3                4T3
    5`635163FUGIJ3a3HKHKK 3FGUI3                                    51831933D523W56813                       _X3LHKL3               HHPHPHKU 3HHPHPHKU3 HHPHPHKU 3 HHPHPHKU3Q3 MMRMMMMM3Q33333RMMRMMMMM3Q3RMMRMMMMM3 NOE3                       NOE3                4T3
    5`635163FUGIJ3a3HKHKK 3FGUI3                                    51831933D523W56813                       _X3LHKL3               HHPHPHKU3 HPHPHKUG3 HHPHPHKU3 HPHPHKUG3Q3 MMRMMMMM3Q33333RMMRMMMMM3Q3RMMRMMMMM3 NOE3                        NOE3                4T3
    5`635163FUGIJ3a3HKHKK 3FGUI3                                    D12613N63Y653518319334622Z5R34W3   XTHH3UH3M3              HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    5`635163FUGIJ3a3HKHKK 3FGUI3                                    W56813[5183193                            \ HMU K3                HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q333333HRMMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                   NOE3                4T3
    5`635163FUGIJ3a3HKHKK 3FGUI3                                    D12613N63Y653518319334622Z5R34W3   XT3HMMM3               HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    5`635163FUGIJ3a3HKHKK 3FGUI3                                    W56813[5183193                            \ HMU K3                HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q333333HRMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3                NOE3                4T3
    5`635163FUGIJ3E6235163HKUHKK 3FLI3                              b15253W88623136293193                33UHHM3              HPHPHKU3 HPHPHKUG3 HPHPHKU3 HPHPHKUG3Q3                     3 Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3           NOE3                ST3
    5`635163FUGIJ3E6235163HKUHKK 3FLI3                              b15253W88623136293193                3bN3GMU3            PHMPHKU3 PLPHKU3 PHMPHKU3 PLPHKU3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                          NOE3                4T3
    5`635163FUGIJ3E6235163HKUHKK 3FLI3                              b15253W88623136293193                3bN3GMU3               PLPHKU3 HPHPHKUG3 PLPHKU3 HPHPHKUG3Q3 MMRMMMMM3Q33333RMMMRMMMMM3Q3RMMMRMMMMM3 NOE3                         NOE3                4T3
    5`635163FUGIJ3E6235163HKUHKK 3FLI3                              D12613N63Y653518319334622Z5R34W3   XTHH3UH3G 3              HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    5`635163FUGIJ3E6235163HKUHKK 3FLI3                              W56813[5183193                            \ HMU K3                HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q333333HRMMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                   NOE3                4T3
    5`635163FUGIJ3E6235163HKUHKK 3FLI3                              b15253W88623136293193                UHKUMH3                HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    5`635163FUGIJ3E6235163HKUHKK 3FLI3                              D12613N63Y653518319334622Z5R34W3   XT3HMMHU3               HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    5`635163FUGIJ3E6235163HKUHKK 3FLI3                              W56813[5183193                            \ HMU K3                HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q333333HRMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3                NOE3                4T3
    2513W513FHHIJ32513W513FHHI3                                       D12613N63Y653518319334622Z5R34W3   XTHH3UM3U3              HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    2513W513FHHIJ32513W513FHHI3                                       W56813[5183193                            \ HMU K3                HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q333333HRMMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                   NOE3                4T3
    2513W513FHHIJ32513W513FHHI3                                       D12613N63Y653518319334622Z5R34W3   XT3HMHM3               HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q3 MMRMMMMM3Q33333HRMMMRMMMMM3Q3HRMMMRMMMMM3 NOE3                         NOE3                4T3
    2513W513FHHIJ32513W513FHHI3                                       W56813[5183193                            \ HMU K3                HPHPHKUU3 HPHPHKUL3 HPHPHKUU3 HPHPHKUL3Q333333HRMMRMMMMM3Q33333333MMRMMMMM3 Q3333MMRMMMMM3 NOE3                NOE3                4T3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                 HHPHPHK 3HHPHPHK 3 HHPHPHK 3 HHPHPHK 3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHK3 HPHPHKG3 HPHPHK3 HPHPHKG3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHKG3 HPHPHKU3 HPHPHKG3 HPHPHKU3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHKU3 HPHPHKL3 HPHPHKU3 HPHPHKL3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHKGM3 HPHPHKGH3 HPHPHKGM3 HPHPHKGH3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHKGH3 HPHPHKG3 HPHPHKGH3 HPHPHKG3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHKG3 HPHPHKG 3 HPHPHKG3 HPHPHKG 3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHKG 3 HPHPHKG3 HPHPHKG 3 HPHPHKG3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHKG3 HPHPHKGG3 HPHPHKG3 HPHPHKGG3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         NOE3                                                NOE3                  HPHPHKGG3HHPHPHKGG3 HPHPHKGG3 HHPHPHKGG3Q3                    3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       SXLMUL3                HHPHPHKGG3HHPHPHKGU3 HHPHPHKGG3 HHPHPHKGU3Q3                   3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       SXLML3                HHPHPHKGU3HHPHPHKGL3 HHPHPHKGU3 HHPHPHKGL3Q3                   3 Q33333333MRMMMMM3 Q3333MRMMMMM3 NOE3           NOE3                4T3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       SX3LMK 3               HHPHPHKGL3HHPHPHKGK3 HHPHPHKGL3 HHPHPHKGK3Q3                   3 Q33333333MRMMMMM3 Q3333MRMMMMM3 NOE3           NOE3                4T3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       SX3ML3               HHPHPHKGK3HHPHPHKUM3 HHPHPHKGK3 HHPHPHKUM3Q3                   3 Q33333333MRMMMMM3 Q3333MRMMMMM3 NOE3           NOE3                4T3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       SX3MLGH3               HHPHPHKUM3HHPHPHKUH3 HHPHPHKUM3 HHPHPHKUH3Q3                   3 Q33333333MRMMMMM3 Q3333MRMMMMM3 NOE3           NOE3                4T3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       NOE3                 HHPHPHKUH3 HPHPHKU3 HHPHPHKUH3 HPHPHKU3Q3                    3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       NOE3                  HPHPHKU3 HPHPHKU3 HPHPHKU3 HPHPHKU3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       NOE3                  HPHPHKU3 HPHPHKU 3 HPHPHKU3 HPHPHKU 3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       NOE3                  HPHPHKU 3 HPHPHKU3 HPHPHKU 3 HPHPHKU3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       NOE3                  HPHPHKU3 HPHPHKUG3 HPHPHKU3 HPHPHKUG3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3
    c191EO3W513FHKUIJ3c191EO3W513FHKUI3                                         51831933D523W56813                       NOE3                  HPHPHKUG3 HPHPHKUU3 HPHPHKUG3 HPHPHKUU3Q3                     3       NOE3           NOE3 NOE3               NOE3                ST3




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                                      !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#'     5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                             60&$'         60&$'
C191DE3F513GHIJKL3C191DE3F513GHIJK3                                             M12613N63O653518319334622P5Q34F3   RSHH3JT3I3               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
C191DE3F513GHIJKL3C191DE3F513GHIJK3                                             F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
C191DE3F513GHIJKL3C191DE3F513GHIJK3                                             51831933M523F56813                       NED3                   HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3                     3       NED3           NED3 NED3               NED3                \S3
C191DE3F513GHIJKL3C191DE3F513GHIJK3                                             M12613N63O653518319334622P5Q34F3   RS3HHIIIJ3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
C191DE3F513GHIJKL3C191DE3F513GHIJK3                                             F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
C191DE3F513GHIJKL3C191DE3F513GHIJK3                                             51831933M523F56813                       NED3                   HUHUHIJ[3 HUHUHIJI3 HUHUHIJ[3 HUHUHIJI3W3                     3       NED3           NED3 NED3               NED3                \S3
C191DE3F513GHIJKL3C191DE3F513GHIJK3                                             51831933M523F56813                       NED3                   HUHUHIJI3 HUHUHI[T3 HUHUHIJI3 HUHUHI[T3W3                     3       NED3           NED3 NED3               NED3                \S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   51831933M523F56813                       \R3TT3                 UVUHIJT3 UVUHIJH3 UVUHIJT3 UVUHIJH3W3                     3       NED3           NED3 NED3               NED3                \S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   51831933M523F56813                       \R3TT[[3                 UVUHIJH3 UVUHIJ3 UVUHIJH3 UVUHIJ3W3                     3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   MD3]1 6535183193                          NED3                   HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3                     3       NED3           NED3 NED3               NED3                \S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   M12613N63O653518319334622P5Q34F3   RSHH3JH33               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   FP1 1535183193                             ^F3ZZZJ3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3                     3       NED3           NED3 NED3               NED3                \S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   FP1 1535183193                             NED3                   HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TQTTTTT3W33333333TQTTTTT3 W3333TQTTTTT3 NED3                       NED3                \S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   M12613N63O653518319334622P5Q34F3   RS3HTHJJ3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
C593\53GZHKL3F212683F513HIVHII3GZZHK3                                   F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
C593\53GZHKL3_813293HITHIIZ3GZHK3                                    51831933M523F56813                       \R3TT[J3                UHHUHIJH3UHHUHIJ3 UHHUHIJH3 UHHUHIJ3W3                   3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
C593\53GZHKL3_813293HITHIIZ3GZHK3                                    M12613N63O653518319334622P5Q34F3   RSHH3JH3Z[3               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
C593\53GZHKL3_813293HITHIIZ3GZHK3                                    F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
C593\53GZHKL3_813293HITHIIZ3GZHK3                                    M12613N63O653518319334622P5Q34F3   RS3HTH[I3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
C593\53GZHKL3_813293HITHIIZ3GZHK3                                    F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
C61213̀193GIJKL3C61213̀193GIJK3                                       NED3                                                NED3                   HUHUHIH3 HUHUHI3 HUHUHIH3 HUHUHI3W3                     3       NED3           NED3 NED3               NED3                \S3
C61213̀193GIJKL3C61213̀193GIJK3                                       NED3                                                NED3                  UUHII3UUHIVT3 UUHII3 UUHIVT3W3                   3 W3 QTTTTT3W333333333QTTTTT3 NED3                 NED3                \S3
C61213̀193GIJKL3C61213̀193GIJK3                                       NED3                                                NED3                  UUHIVT3 HUHUHIVH3 UUHIVT3 HUHUHIVH3W3                    3       NED3           NED3 NED3               NED3                \S3
C61213̀193GIJKL3C61213̀193GIJK3                                       NED3                                                NED3                   HUHUHIVH3 HUHUHIV3 HUHUHIVH3 HUHUHIV3W3                     3       NED3           NED3 NED3               NED3                \S3
C61213̀193GIJKL3C61213̀193GIJK3                                       NED3                                                NED3                   HUHUHIV3 HUHUHIVZ3 HUHUHIV3 HUHUHIVZ3W3                     3       NED3           NED3 NED3               NED3                \S3
C61213̀193GIJKL3C61213̀193GIJK3                                       51831933M523F56813                       \R3ZIV3                UUHIVJ3UUHIV[3 UUHIVJ3 UUHIV[3W3                   3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
C61213̀193GIJKL3C61213̀193GIJK3                                       51831933M523F56813                       \R3ZIV3                UUHIV[3UUHIVI3 UUHIV[3 UUHIVI3W3                   3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
C61213̀193GIJKL3C61213̀193GIJK3                                       51831933M523F56813                       \R3ZIV3                UUHIVI3UUHIJT3 UUHIVI3 UUHIJT3W3                   3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
C61213̀193GIJKL3C61213̀193GIJK3                                       51831933M523F56813                       NED3                  UUHIJT3UUHIJH3 UUHIJT3 UUHIJH3W3                   3       NED3           NED3 NED3               NED3                \S3
C61213̀193GIJKL3C61213̀193GIJK3                                       51831933M523F56813                       NED3                  UUHIJH3UUHIJ3 UUHIJH3 UUHIJ3W3                   3       NED3           NED3 NED3               NED3                \S3
C61213̀193GIJKL3C61213̀193GIJK3                                       M12613N63O653518319334622P5Q34F3   RSHH3JZ3T3               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
C61213̀193GIJKL3C61213̀193GIJK3                                       F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
C61213̀193GIJKL3C61213̀193GIJK3                                       M12613N63O653518319334622P5Q34F3   RS3HTTI3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
C61213̀193GIJKL3C61213̀193GIJK3                                       F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
a12163F513GHVKL3a12163F513HIIHIIV3GHVK3                                  M12613N63O653518319334622P5Q34F3   RSHH3JT3VZ3               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
a12163F513GHVKL3a12163F513HIIHIIV3GHVK3                                  F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
a12163F513GHVKL3a12163F513HIIHIIV3GHVK3                                  M12613N63O653518319334622P5Q34F3   RS3HTHHH3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
a12163F513GHVKL3a12163F513HIIHIIV3GHVK3                                  F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
13\13GHVKL3M52536113HIJZHIIH3GHVK3                                   M12613N63O653518319334622P5Q34F3   RSHH3JT3ZV3               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
13\13GHVKL3M52536113HIJZHIIH3GHVK3                                   F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
13\13GHVKL3M52536113HIJZHIIH3GHVK3                                   M12613N63O653518319334622P5Q34F3   RS3HHII[3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
13\13GHVKL3M52536113HIJZHIIH3GHVK3                                   F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
13\13GHVKL346535163HIZHIJ3GHK3                                      51831933M523F56813                       \R33Z3V3              JUHUHIV3JUHUHIVV3 JUHUHIV3 JUHUHIVV3W3                   3       NED3           NED3 NED3               NED3                \S3
13\13GHVKL346535163HIZHIJ3GHK3                                      51831933M523F56813                       \R33Z3V3              JUHUHIVV3JUHUHIVJ3 JUHUHIVV3 JUHUHIVJ3W3                   3       NED3           NED3 NED3               NED3                \S3
13\13GHVKL346535163HIZHIJ3GHK3                                      51831933M523F56813                       \R33Z3V3              JUHUHIVJ3JUHUHIV[3 JUHUHIVJ3 JUHUHIV[3W3                   3       NED3           NED3 NED3               NED3                \S3
13\13GHVKL346535163HIZHIJ3GHK3                                      51831933M523F56813                       \R33T3H3              JUHUHIV[3JUHUHIVI3 JUHUHIV[3 JUHUHIVI3W3                   3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
13\13GHVKL346535163HIZHIJ3GHK3                                      51831933M523F56813                       \RVJVV3                HUIUHIV[3HUIUHIVI3 HUIUHIV[3HUIUHIVI3W3                 3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
13\13GHVKL346535163HIZHIJ3GHK3                                      51831933M523F56813                       \R33T3H3              JUHUHIVI3JUHUHIJT3 JUHUHIVI3 JUHUHIJT3W3                   3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
13\13GHVKL346535163HIZHIJ3GHK3                                      51831933M523F56813                       \R33T3H3              JUHUHIJT3JUHUHIJH3 JUHUHIJT3 JUHUHIJH3W3                   3 W33333333TQTTTTT3 W3333TQTTTTT3 NED3           NED3                4S3
13\13GHVKL34221D12263HIVHIJ3GJZHK3                                     51831933M523F56813                       \RVJH3                 UVUHIVJ3UVUHIV[3 UVUHIVJ3 UVUHIV[3W3                   3       NED3           NED3 NED3               NED3                \S3
13\13GHVKL34221D12263HIVHIJ3GJZHK3                                     51831933M523F56813                       \RVJT3                 UVUHIV[3UVUHIVI3 UVUHIV[3 UVUHIVI3W3                   3 W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3              NED3                4S3
13\13GHVKL34221D12263HIVHIJ3GJZHK3                                     51831933M523F56813                       \R3TH3                UVUHIVI3UVUHIJT3 UVUHIVI3 UVUHIJT3W3                   3 W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3              NED3                4S3
13\13GHVKL34221D12263HIVHIJ3GJZHK3                                     51831933M523F56813                       \R3TH3                UVUHIJT3UVUHIJH3 UVUHIJT3 UVUHIJH3W3                   3 W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3              NED3                4S3
13\13GHVKL34221D12263HIVHIJ3GJZHK3                                     51831933M523F56813                       \R3TH3                UVUHIJH3UVUHIJ3 UVUHIJH3 UVUHIJ3W3                   3 W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3              NED3                4S3
1E3S563GTKL3O6513F513HIHII3G[K3                                    F56813\21235183193                        3TTT3                 HUHUHIJT3 HUHUHIJH3 HUHUHIJT3 HUHUHIJH3W3                     3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3O6513F513HIHII3G[K3                                    M12613N63O653518319334622P5Q34F3   RSHH3J3HT3               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
1E3S563GTKL3O6513F513HIHII3G[K3                                    F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
1E3S563GTKL3O6513F513HIHII3G[K3                                    M12613N63O653518319334622P5Q34F3   RS3HTTVZ3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
1E3S563GTKL3O6513F513HIHII3G[K3                                    F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
1E3S563GTKL3^51253713THJ3GTK3                                    629351831933M523F56813             NED3                   HUHUHI[3 HUHUHII3 HUHUHI[3 HUHUHII3W3                     3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    NED3                                                NED3                   HUHUHIVT3 HUHUHIVH3 HUHUHIVT3 HUHUHIVH3W3                     3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       NED3                   HUHUHIVT3 HUHUHIVH3 HUHUHIVT3 HUHUHIVH3W3 ZTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       NED3                   HUHUHIV3 HUHUHIVV3 HUHUHIV3 HUHUHIVV3W3                     3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       FR3V3                VU[UHIVJ3VUJUHIV[3 VU[UHIVJ3 VUJUHIV[3W3                   3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       FR3V3                VU[UHIV[3VU[UHIVI3 VU[UHIV[3 VU[UHIVI3W3                   3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       FR3V3                VU[UHIVI3VU[UHIJT3 VU[UHIVI3 VU[UHIJT3W3                   3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       \R3HI3                VU[UHIJT3VU[UHIJH3 VU[UHIJT3 VU[UHIJH3W3                   3 W33333333HTTQTTTTT3 W3333HTTQTTTTT3 NED3           NED3                4S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       \R3HI3                VU[UHIJH3VUJUHIJ3 VU[UHIJH3 VUJUHIJ3W3                   3 W33333333HTTQTTTTT3 W3333HTTQTTTTT3 NED3           NED3                4S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       \R3HI3                VU[UHIJ3 HUHUHIJZ3 VU[UHIJ3 HUHUHIJZ3W3                    3 W33333333HTTQTTTTT3 W3333HTTQTTTTT3 NED3           NED3                4S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       \R3HI3                 HUHUHIJZ3VU[UHIJZ3 HUHUHIJZ3 VU[UHIJZ3W3                    3 W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3           NED3                4S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       NED3                   HUHUHIJZ3 HUHUHIJ3 HUHUHIJZ3 HUHUHIJ3W3 TTQTTTTT3 NED3                           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       NED3                  VU[UHIJZ3VU[UHIJ3 VU[UHIJZ3 VU[UHIJ3W3                   3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       NED3                   HUHUHIJ3 HUHUHIJ3 HUHUHIJ3 HUHUHIJ3W3 TTQTTTTT3 NED3                           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    51831933M523F56813                       NED3                  VU[UHIJ3 HUHUHIJ3 VU[UHIJ3 HUHUHIJ3W3                    3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3^51253713THJ3GTK3                                    M12613N63O653518319334622P5Q34F3   RSHH3JH3I[3               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
1E3S563GTKL3^51253713THJ3GTK3                                    F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
1E3S563GTKL3^51253713THJ3GTK3                                    M12613N63O653518319334622P5Q34F3   RS3HTTH3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
1E3S563GTKL3^51253713THJ3GTK3                                    F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
1E3S563GTKL3]1563F513HIVHII3GZK3                                     M12613N63O653518319334622P5Q34F3   RSHH3J3T3               HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
1E3S563GTKL3]1563F513HIVHII3GZK3                                     F56813X5183193                            Y HTJIZ3                 HUHUHIJV3 HUHUHIJJ3 HUHUHIJV3 HUHUHIJJ3W333333HQTTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                   NED3                4S3
1E3S563GTKL3]1563F513HIVHII3GZK3                                     M12613N63O653518319334622P5Q34F3   RS3HTT[3                HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W3 TTQTTTTT3W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3                         NED3                4S3
1E3S563GTKL3]1563F513HIVHII3GZK3                                     F56813X5183193                            Y HTJIZ3                 HUHUHIJJ3 HUHUHIJ[3 HUHUHIJJ3 HUHUHIJ[3W333333HQTTQTTTTT3W33333333TTQTTTTT3 W3333TTQTTTTT3 NED3                NED3                4S3
1E3S563GTKL3C 93F3F513HIVHII3GZK3                             51831933M523F56813                       \RV3                 HUUHIVJ3HUUHIV[3 HUUHIVJ3 HUUHIV[3W3                   3       NED3           NED3 NED3               NED3                \S3
1E3S563GTKL3C 93F3F513HIVHII3GZK3                             51831933M523F56813                       \RVJ3                 HUUHIV[3HUUHIVI3 HUUHIV[3 HUUHIVI3W3                   3 W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3              NED3                4S3
1E3S563GTKL3C 93F3F513HIVHII3GZK3                             51831933M523F56813                       \RHITH3                 HUUHIVI3HUUHIJT3 HUUHIVI3 HUUHIJT3W3                   3 W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3              NED3                4S3
1E3S563GTKL3C 93F3F513HIVHII3GZK3                             51831933M523F56813                       \R33HI3ZZ3              HUUHIJT3HUUHIJH3 HUUHIJT3 HUUHIJH3W3                   3 W33333HQTTTQTTTTT3W3HQTTTQTTTTT3 NED3              NED3                4S3



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                                   !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#'    5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
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1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          51831933O523J56813                       PQ33KL3R3             KSSKLTK3KSSKLT3 KSSKLTK3 KSSKLT3U3                   3 U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3           WCX3                4D3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          51831933O523J56813                       YWJ3NT33               KSSKLTK3KSSKLT3 KSSKLTK3 KSSKLT3U3 FFVFFFFF3U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3                    WCX3                4D3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          O12613W63Z653518319334622[5V34J3   QDKK3T3F3              KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          J56813\5183193                            ] KFTLN3                KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U333333KVFFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                   WCX3                4D3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          O12613W63Z653518319334622[5V34J3   QD3KFFT3               KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          J56813\5183193                            ] KFTLN3                KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U333333KVFFVFFFFF3U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3                WCX3                4D3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          Q8C93W635183193                         Q43MFKKL3          KSSKLLK3KSSKLL3 KSSKLLK3 KSSKLL3U3                   3       WCX3           WCX3 WCX3               WCX3                PD3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          262135183193                           Q43MFKKLN3          KSSKLL3KSSKLLN3 KSSKLL3 KSSKLLN3U3                   3 U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3           WCX3                4D3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          262135183193                           WCX3                 KSSKLLN3KSSKLL3 KSSKLLN3 KSSKLL3U3                   3       WCX3           WCX3 WCX3               WCX3                PD3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          Q8C93W635183193                         Q43MFKKL3          KSSKLL3KSSKLL3 KSSKLL3 KSSKLL3U3                   3       WCX3           WCX3 WCX3               WCX3                PD3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          Q8C93W635183193                         Q43MFKKLM3          KSSKLL3KSSKLLM3 KSSKLL3 KSSKLLM3U3                   3 U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3           WCX3                4D3
1C3D563EFGH3I 93J3J513KLMKLL3ENG3                          262135183193                           Q43MFKK3            KSSKLLM3KSSKLLT3 KSSKLLM3 KSSKLLT3U3                   3 U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3           WCX3                4D3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           51831933O523J56813                       PQ3KNKR3               SKTSKLTF3SKTSKLTK3 SKTSKLTF3 SKTSKLTK3U3                   3 U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3           WCX3                4D3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           51831933O523J56813                       PQ3KNKR3               SKTSKLTK3SKTSKLT3 SKTSKLTK3 SKTSKLT3U3                   3 U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3           WCX3                4D3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           51831933O523J56813                       PQ3KNKR3               SKTSKLT3SKTSKLTN3 SKTSKLT3 SKTSKLTN3U3                   3 U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3           WCX3                4D3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           OX3_1 6535183193                          WCX3                  KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           O12613W63Z653518319334622[5V34J3   QDKK3TK33              KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           J56813\5183193                            ] KFTLN3                KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U333333KVFFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                   WCX3                4D3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           O12613W63Z653518319334622[5V34J3   QD3KFKT3               KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           J56813\5183193                            ] KFTLN3                KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U333333KVFFVFFFFF3U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3                WCX3                4D3
13^13J513ENRGH3Q53013J513KLFF3ENRG3                           OX3_1 6535183193                          `J3NNNLN3               SKSKLTT3 SKSKLTR3 SKSKLTT3 SKSKLTR3U3                     3 U3 FVFFFFF3 U333333FVFFFFF3 WCX3                 WCX3                PD3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               a28253Z6535183193                         WCX3                KSNKSKLT3 KSKSKLTM3 KSNKSKLT3 KSKSKLTM3U3                   3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                PD3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               WP3Z6535183193                             03T3MF3K3           KSNKSKLT3KSNKSKLT3 KSNKSKLT3KSNKSKLT3U3 NFFVFFFFF3U33333VFFFVFFFFF3U3VFFFVFFFFF3 WCX3                     WCX3                4D3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               WP3Z6535183193                             03T3MF3K3           KSNKSKLT3KSNKSKLTM3 KSNKSKLT3KSNKSKLTM3U3 NFFVFFFFF3U33333VFFFVFFFFF3U3VFFFVFFFFF3 WCX3                     WCX3                4D3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               OX3_1 6535183193                          WCX3                  KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               O12613W63Z653518319334622[5V34J3   QDKK3TN3K3              KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               J56813\5183193                            ] KFTLN3                KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U333333KVFFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                   WCX3                4D3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               WP3Z6535183193                             03T3MF3K3           KSNKSKLTM3KSNKSKLTT3 KSNKSKLTM3KSNKSKLTT3U3 NFFVFFFFF3U33333VFFFVFFFFF3U3VFFFVFFFFF3 WCX3                     WCX3                4D3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               a28253Z6535183193                         WCX3                  KSKSKLTT3KSNKSKLTT3 KSKSKLTT3KSNKSKLTT3U3                   3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                PD3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               O12613W63Z653518319334622[5V34J3   QD3KFFT3               KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
123Z52653ERFGH3Q18C3Q1753KLNFKLLM3ETKG3                               J56813\5183193                            ] KFTLN3                KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U333333KVFFVFFFFF3U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3                WCX3                4D3
123Z52653ERFGH3123Z52653KLNL3ERFG3                                   51831933O523J56813                       WCX3                  KSKSKLM3 KSKSKLM3 KSKSKLM3 KSKSKLM3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
123Z52653ERFGH3123Z52653KLNL3ERFG3                                   51831933O523J56813                       WCX3                  KSKSKLM3 KSKSKLMM3 KSKSKLM3 KSKSKLMM3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
123Z52653ERFGH3123Z52653KLNL3ERFG3                                   51831933O523J56813                       WCX3                  KSKSKLMM3 KSKSKLMT3 KSKSKLMM3 KSKSKLMT3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
123Z52653ERFGH3123Z52653KLNL3ERFG3                                   WCX3                                                WCX3                  KSKSKLT3 KSKSKLTM3 KSKSKLT3 KSKSKLTM3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
123Z52653ERFGH3123Z52653KLNL3ERFG3                                   WCX3                                                WCX3                  KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
123Z52653ERFGH3123Z52653KLNL3ERFG3                                   O12613W63Z653518319334622[5V34J3   QDKK3TN3N3              KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
123Z52653ERFGH3123Z52653KLNL3ERFG3                                   O12613W63Z653518319334622[5V34J3   QD3KFFTM3               KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
153_613ETGH3J93KLKKLMT3ETG3                                 51831933O523J56813                       PQ3N3                TSKSKLMT3 KSKSKLMR3 TSKSKLMT3 KSKSKLMR3U3                     3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                            51831933O523J56813                       PQ33N33              KSKSKLMR3 KSKSKLML3 KSKSKLMR3 KSKSKLML3U3                     3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                            51831933O523J56813                       PQNTM3                 KSKSKLML3 KSKSKLTF3 KSKSKLML3 KSKSKLTF3U3                     3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                            51831933O523J56813                       PQ3NL3                KSKSKLTF3 KSKSKLTK3 KSKSKLTF3 KSKSKLTK3U3                     3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                            51831933O523J56813                       PQ3NKN3                KSKSKLTK3 KSKSKLT3 KSKSKLTK3 KSKSKLT3U3                     3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                            51831933O523J56813                       `JKFKT3                KSKSKLT3 KSKSKLTN3 KSKSKLT3 KSKSKLTN3U3                     3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                            51831933O523J56813                       `43F3RT3TR3             KSKSKLTN3SNKSKLTN3 KSKSKLTN3 SNKSKLTN3U3                    3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                             517536293193                             MFMMRJTKKNO03           KSKSKLT3 KSKSKLT3 KSKSKLT3 KSKSKLT3U3                     3 WCX3               WCX3 WCX3               WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                             517536293193                             W4LFJKL3              KSKSKLT3 KSKSKLT3 KSKSKLT3 KSKSKLT3U3 FFVFFFFF3U33333VFFVFFFFF3U3VFFVFFFFF3 WCX3                         WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                             517536293193                             MF3LKJNTNNO0T3        KSKSKLT3 KSKSKLTM3 KSKSKLT3 KSKSKLTM3U3                     3 WCX3               WCX3 WCX3               WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                             517536293193                             W4LFJKL3              KSKSKLT3 KSKSKLTM3 KSKSKLT3 KSKSKLTM3U3 FFVFFFFF3U33333VFFFVFFFFF3U3VFFFVFFFFF3 WCX3                         WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                             517536293193                             MF3LKJNTNNO0TM3        KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3                     3 WCX3               WCX3 WCX3               WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                            O12613W63Z653518319334622[5V34J3   QDKK3TN3N3              KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U3 FFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                         WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                            J56813\5183193                            ] KFTLN3                KSKSKLTM3 KSKSKLTT3 KSKSKLTM3 KSKSKLTT3U333333KVFFVFFFFF3U33333KVFFFVFFFFF3U3KVFFFVFFFFF3 WCX3                   WCX3                4D3
153_613ETGH3J935163KLMTKLLN3ETG3                             517536293193                             MFLKJNTNNO0TT3         KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U3                     3 WCX3               WCX3 WCX3               WCX3                4D3
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153_613ETGH3Q165Q53KLLKLTF3ELMG3                             51831933O523J56813                       PQ33L3MF3              NSKSKLM3 NSKSKLMM3 NSKSKLM3 NSKSKLMM3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
153_613ETGH3Q165Q53KLLKLTF3ELMG3                             51831933O523J56813                       PQ33L3MF3              NSKSKLMM3 NSKSKLMT3 NSKSKLMM3 NSKSKLMT3U3                     3       WCX3           WCX3 WCX3               WCX3                PD3
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153_613ETGH3D123^193J513KLTNKLLN3ENFG3                          J56813\5183193                            ] KFTLN3                KSKSKLTT3 KSKSKLTR3 KSKSKLTT3 KSKSKLTR3U333333KVFFVFFFFF3U33333333FFVFFFFF3 U3333FFVFFFFF3 WCX3                WCX3                4D3
153_613ETGH3]113^193KLKLTK3EKMG3                        51831933O523J56813                       PQNT3                 KSKSKLMR3 KSKSKLML3 KSKSKLMR3 KSKSKLML3U3                     3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3]b 3KLTKKLTN3ENG3                                 51831933O523J56813                       `J3K3FK3L3             KSKSKLT3 KSKSKLTN3 KSKSKLT3 KSKSKLTN3U3                     3 U33333333NFFVFFFFF3 U3333NFFVFFFFF3 WCX3           WCX3                4D3
153_613ETGH3O18635163KLMKLMT3ETFG3                           51831933O523J56813                       PQ3NR3                SKSKLMM3 SKSKLMT3 SKSKLMM3 SKSKLMT3U3                     3 U33333333FVFFFFF3 U3333FVFFFFF3 WCX3           WCX3                4D3
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    153D613EFGH342183JKQMLJ 3EFFG3                                  D15253N88623136293193                QL3\43JLKLJ3             RJRJKFQ3 RJRJKF 3 RJRJKFQ3 RJRJKF 3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
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    153D613EFGH342183JKQMLJ 3EFFG3                                  N56813O5183193                            P JLF KQ3                 JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S333333JTLLTLLLLL3S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3                UVW3                4X3
    153D613EFGH342183JKQMLJ 3EFFG3                                  D15253N88623136293193                QL3\43JJFJ3             RJRJKFF3 RJRJKFM3 RJRJKFF3 RJRJKFM3S3                     3 S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3           UVW3                ]X3
    12528V63ELLGH3^513D5V653LLJ3ELLG3                                Y12613U63Z653518319334622[5T34N3   \XJJ3FJ3L3               JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    12528V63ELLGH3^513D5V653LLJ3ELLG3                                N56813O5183193                            P JLF KQ3                 JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S333333JTLLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                   UVW3                4X3
    12528V63ELLGH3^513D5V653LLJ3ELLG3                                Y12613U63Z653518319334622[5T34N3   \X3JLLJQ3                JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    12528V63ELLGH3^513D5V653LLJ3ELLG3                                N56813O5183193                            P JLF KQ3                 JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S333333JTLLTLLLLL3S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3                UVW3                4X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    UVW3                                                UVW3                   JRJRJKF3 JRJRJKM3 JRJRJKF3 JRJRJKM3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    UVW3                                                UVW3                   JRJRJKM3 JRJRJKK3 JRJRJKM3 JRJRJKK3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    UVW3                                                UVW3                   JRJRJKK3 JRJRJKFL3 JRJRJKK3 JRJRJKFL3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    UVW3                                                UVW3                   JRJRJKFL3 JRJRJKFJ3 JRJRJKFL3 JRJRJKFJ3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    UVW3                                                UVW3                   JRJRJKFJ3 JRJRJKF3 JRJRJKFJ3 JRJRJKF3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    UVW3                                                UVW3                   JRJRJKF3 JRJRJKFQ3 JRJRJKF3 JRJRJKFQ3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    UVW3                                                UVW3                   JRJRJKFQ3 JRJRJKF 3 JRJRJKFQ3 JRJRJKF 3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    UVW3                                                UVW3                   JRJRJKF 3 JRJRJKF3 JRJRJKF 3 JRJRJKF3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    Y12613U63Z653518319334622[5T34N3   \XJJ3FJ3F3               JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    N56813O5183193                            P JLF KQ3                 JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S333333JTLLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                   UVW3                4X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    Y12613U63Z653518319334622[5T34N3   \X3JLL3                JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    12528V63ELLGH35_63JKKJKMJ3EQKG3                                    N56813O5183193                            P JLF KQ3                 JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S333333JTLLTLLLLL3S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3                UVW3                4X3
    12528V63ELLGH3`2813JKFLJ3EQKQG3                                   Y12613U63Z653518319334622[5T34N3   \XJJ3FJ3K3               JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    12528V63ELLGH3`2813JKFLJ3EQKQG3                                   N56813O5183193                            P JLF KQ3                 JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S333333JTLLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                   UVW3                4X3
    12528V63ELLGH3`2813JKFLJ3EQKQG3                                   Y12613U63Z653518319334622[5T34N3   \X3JLL3                JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    12528V63ELLGH3`2813JKFLJ3EQKQG3                                   N56813O5183193                            P JLF KQ3                 JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S333333JTLLTLLLLL3S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3                UVW3                4X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJK3 JRJRJKF3 JRJRJK3 JRJRJKF3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJKF3 JRJRJKM3 JRJRJKF3 JRJRJKM3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJKM3 JRJRJKK3 JRJRJKM3 JRJRJKK3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJKK3 JRJRJKL3 JRJRJKK3 JRJRJKL3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJKL3 JRJRJKJ3 JRJRJKL3 JRJRJKJ3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJKJ3 JRJRJK3 JRJRJKJ3 JRJRJK3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJK3 JRJRJKQ3 JRJRJK3 JRJRJKQ3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJKQ3 JRJRJK 3 JRJRJKQ3 JRJRJK 3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJK 3 JRJRJK3 JRJRJK 3 JRJRJK3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJK3 JRJRJK3 JRJRJK3 JRJRJK3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                UVW3                                                UVW3                   JRJRJK3 JRJRJKF3 JRJRJK3 JRJRJKF3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                51831933Y523N56813                       ^NL MKJ3                  JRJRJKF3 JRJRJKM3 JRJRJKF3 JRJRJKM3S3                     3 S33333333QLLTLLLLL3 S3333QLLTLLLLL3 UVW3           UVW3                ]X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                Y12613U63Z653518319334622[5T34N3   \XJJ3FJ3FF3               JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                N56813O5183193                            P JLF KQ3                 JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S333333JTLLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                   UVW3                4X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                Y12613U63Z653518319334622[5T34N3   \X3JLLQL3                JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    12528V63ELLGH3U53P 1WV3JKQFJKMJ3ELG3                                N56813O5183193                            P JLF KQ3                 JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S333333JTLLTLLLLL3S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3                UVW3                4X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                51831933Y523N56813                       ]\3aaaa3                 QRJRJKF3 QRJRJKM3 QRJRJKF3 QRJRJKM3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                51831933Y523N56813                       ]\3 F3                   QRJRJKM3 QRJRJKK3 QRJRJKM3 QRJRJKK3S3                     3 S33333333LTLLLLL3 S3333LTLLLLL3 UVW3           UVW3                4X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                51831933Y523N56813                       ]\33JJ3FM3               QRJRJKK3 QRJRJKFL3 QRJRJKK3 QRJRJKFL3S3                     3 S33333333LTLLLLL3 S3333LTLLLLL3 UVW3           UVW3                4X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                51831933Y523N56813                       ]\33JJ3FM3               QRJRJKFL3 QRJRJKFJ3 QRJRJKFL3 QRJRJKFJ3S3                     3 S33333333LTLLLLL3 S3333LTLLLLL3 UVW3           UVW3                4X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                51831933Y523N56813                       ]\33JJ3FM3               QRJRJKFJ3 QRJRJKF3 QRJRJKFJ3 QRJRJKF3S3                     3 S33333333LTLLLLL3 S3333LTLLLLL3 UVW3           UVW3                4X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                Y12613U63Z653518319334622[5T34N3   \XJJ3FL3Q3               JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                N56813O5183193                            P JLF KQ3                 JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S333333JTLLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                   UVW3                4X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                N56813D3N 5183193                         UVW3                   JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                ]X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                Y12613U63Z653518319334622[5T34N3   \X3JLJLJ3                JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    683D56213ELGH3N[3JKJKK 3ELLG3                                N56813O5183193                            P JLF KQ3                 JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S333333JTLLTLLLLL3S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3                UVW3                4X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              51831933Y523N56813                       ]\3 J3                   RFRJK3 RFRJK3 RFRJK3 RFRJK3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              51831933Y523N56813                       ]\3 J3                   RFRJK3 RFRJKF3 RFRJK3 RFRJKF3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              51831933Y523N56813                       ]\3 J3                   RFRJKF3 RFRJKM3 RFRJKF3 RFRJKM3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              51831933Y523N56813                       ]\3 FM3                   RFRJKM3 RFRJKK3 RFRJKM3 RFRJKK3S3                     3 S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3           UVW3                4X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              51831933Y523N56813                       ]\3 FM3                   RFRJKK3 RFRJKFL3 RFRJKK3 RFRJKFL3S3                     3 S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3           UVW3                4X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              51831933Y523N56813                       ]\3 FM3                   RFRJKFL3 RFRJKFJ3 RFRJKFL3 RFRJKFJ3S3                     3 S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3           UVW3                4X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              51831933Y523N56813                       UVW3                   RFRJKFJ3 RFRJKF3 RFRJKFJ3 RFRJKF3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              51831933Y523N56813                       UVW3                   RFRJKF3 JRJRJKFQ3 RFRJKF3 JRJRJKFQ3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              UVW3                                                UVW3                   JRJRJKFQ3 JRJRJKF 3 JRJRJKFQ3 JRJRJKF 3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              UVW3                                                UVW3                   JRJRJKF 3 JRJRJKF3 JRJRJKF 3 JRJRJKF3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              Y12613U63Z653518319334622[5T34N3   \XJJ3FL3 3               JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              N56813O5183193                            P JLF KQ3                 JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S333333JTLLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                   UVW3                4X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              Y12613U63Z653518319334622[5T34N3   \X3JLJL3                JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    683D56213ELGH3Z53O6753JKLJKK 3ELFG3                              N56813O5183193                            P JLF KQ3                 JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S333333JTLLTLLLLL3S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3                UVW3                4X3
    683D56213ELGH3^53O5315V3N513JKFJKKQ3EJQG3                 51831933Y523N56813                       ]\33L 3M3             JJRJKRJKM3JJRJKRJKK3 JJRJKRJKM3JJRJKRJKK3S3                 3 S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3              UVW3                4X3
    683D56213ELGH3^53O5315V3N513JKFJKKQ3EJQG3                 51831933Y523N56813                       ]\33L 3M3             JJRJKRJKK3JJRJKRJKFL3 JJRJKRJKK3JJRJKRJKFL3S3                 3 S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3              UVW3                4X3
    683D56213ELGH3^53O5315V3N513JKFJKKQ3EJQG3                 51831933Y523N56813                       ]\33L 3M3             JJRJKRJKFL3JJRJKRJKFJ3 JJRJKRJKFL3JJRJKRJKFJ3S3                 3 S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3              UVW3                4X3
    683D56213ELGH3^53O5315V3N513JKFJKKQ3EJQG3                 Y12613U63Z653518319334622[5T34N3   \XJJ3FL3Q3               JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    683D56213ELGH3^53O5315V3N513JKFJKKQ3EJQG3                 N56813O5183193                            P JLF KQ3                 JRJRJKF3 JRJRJKFF3 JRJRJKF3 JRJRJKFF3S333333JTLLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                   UVW3                4X3
    683D56213ELGH3^53O5315V3N513JKFJKKQ3EJQG3                 Y12613U63Z653518319334622[5T34N3   \X3JJKKMJ3                JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S3 LLTLLLLL3S33333JTLLLTLLLLL3S3JTLLLTLLLLL3 UVW3                         UVW3                4X3
    683D56213ELGH3^53O5315V3N513JKFJKKQ3EJQG3                 N56813O5183193                            P JLF KQ3                 JRJRJKFF3 JRJRJKFM3 JRJRJKFF3 JRJRJKFM3S333333JTLLTLLLLL3S33333333LLTLLLLL3 S3333LLTLLLLL3 UVW3                UVW3                4X3
    683D56213ELGH3̀3b28V93D3JK JKKQ3ELG3                      UVW3                                                UVW3                   JRJRJK3 JRJRJKF3 JRJRJK3 JRJRJKF3S3                     3 S3 TLLLLL3 S333333TLLLLL3 UVW3                 UVW3                ]X3
    683D56213ELGH3̀3b28V93D3JK JKKQ3ELG3                      UVW3                                                UVW3                   JRJRJKFL3 JRJRJKFJ3 JRJRJKFL3 JRJRJKFJ3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3̀3b28V93D3JK JKKQ3ELG3                      UVW3                                                UVW3                   JRJRJKFJ3 JRJRJKF3 JRJRJKFJ3 JRJRJKF3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3̀3b28V93D3JK JKKQ3ELG3                      UVW3                                                UVW3                   JRJRJKF3 JRJRJKFQ3 JRJRJKF3 JRJRJKFQ3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3
    683D56213ELGH3̀3b28V93D3JK JKKQ3ELG3                      UVW3                                                UVW3                   JRJRJKFQ3 JRJRJKF 3 JRJRJKFQ3 JRJRJKF 3S3                     3       UVW3           UVW3 UVW3               UVW3                ]X3




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                                                                                                                                                                                             71'%(         71'%(
    683D56213EFGH3I3J28K93D3LM LMMN3EFG3                       517535183193                              OKP3                  LQLQLM 3 LQLQLM3 LQLQLM 3 LQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    683D56213EFGH3I3J28K93D3LM LMMN3EFG3                       517535183193                              OKP3                  LQLQLM3 LQLQLMU3 LQLQLM3 LQLQLMU3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    683D56213EFGH3I3J28K93D3LM LMMN3EFG3                       517535183193                              OKP3                  LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    683D56213EFGH3I3J28K93D3LM LMMN3EFG3                      V12613O63W653518319334622X5Y34Z3   [TLL3F33              LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    683D56213EFGH3I3J28K93D3LM LMMN3EFG3                      Z56813\5183193                            ] LF MN3                LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R333333LYFFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                   OKP3                4T3
    683D56213EFGH3I3J28K93D3LM LMMN3EFG3                      V12613O63W653518319334622X5Y34Z3   [T3LFFFF3               LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    683D56213EFGH3I3J28K93D3LM LMMN3EFG3                      Z56813\5183193                            ] LF MN3                LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R333333LYFFYFFFFF3R33333333FFYFFFFF3R3333FFYFFFFF3 OKP3                 OKP3                4T3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                LQQLM3LQLQLMU3 LQQLM3LQLQLMU3R3                 3 R33333333LFFYFFFFF3R3333LFFYFFFFF3 OKP3            OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                LQQLMU3LQQLM3 LQQLMU3LQQLM3R3                 3 R33333333LFFYFFFFF3R3333LFFYFFFFF3 OKP3            OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                LQQLM3LQQLM^3 LQQLM3LQQLM^3R3                 3 R33333333LFFYFFFFF3R3333LFFYFFFFF3 OKP3            OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                LQQLM^3LQQLMM3 LQQLM^3LQQLMM3R3                 3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                LQQLMM3LQQLMUF3 LQQLMM3LQQLMUF3R3                 3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                LQQLMUF3LQQLMUL3 LQQLMUF3LQQLMUL3R3                 3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                LQQLMUL3 LQLQLMU3 LQQLMUL3 LQLQLMU3R3                   3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                  LQLQLMU3 LQLQLMUN3 LQLQLMU3 LQLQLMUN3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      _513Z88623                                       OKP3                  LQLQLMUN3 LQLQLMU 3 LQLQLMUN3 LQLQLMU 3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      51831933V523Z56813                       S[3MN3                   QLQLMU3 QLQLMUU3 QLQLMU3 QLQLMUU3R3                       3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      51831933V523Z56813                       S[3MN3                   QLQLMUU3 QLQLMU3 QLQLMUU3 QLQLMU3R3                       3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      51831933V523Z56813                       S[3MN3                   QLQLMU3 QLQLMU^3 QLQLMU3 QLQLMU^3R3                       3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      51831933V523Z56813                       S[3UMNU3                   QLQLMU^3 QLQLMUM3 QLQLMU^3 QLQLMUM3R3                       3 R33333LYFFYFFFFF3R3LYFFYFFFFF3 OKP3              OKP3                4T3
    3[183Z513ENGH33[183Z513ENG3                                      51831933V523Z56813                       S[3UMNU3                   QLQLMUM3 QLQLMF3 QLQLMUM3 QLQLMF3R3                       3 R33333LYFFYFFFFF3R3LYFFYFFFFF3 OKP3              OKP3                4T3
    3[183Z513ENGH33[183Z513ENG3                                      51831933V523Z56813                       S[3UMNU3                   QLQLMF3 QLQLML3 QLQLMF3 QLQLML3R3                       3 R33333LYFFYFFFFF3R3LYFFYFFFFF3 OKP3              OKP3                4T3
    3[183Z513ENGH33[183Z513ENG3                                      51831933V523Z56813                       S[3LF^3                  QLQLML3 QLQLM3 QLQLML3 QLQLM3R3                       3 R33333LYFFYFFFFF3R3LYFFYFFFFF3 OKP3              OKP3                4T3
    3[183Z513ENGH33[183Z513ENG3                                      VP3D1 6535183193                          OKP3                  LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      V12613O63W653518319334622X5Y34Z3   [TLL3UM3NU3              LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    3[183Z513ENGH33[183Z513ENG3                                      Z56813\5183193                            ] LF MN3                LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R333333LYFFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                   OKP3                4T3
    3[183Z513ENGH33[183Z513ENG3                                      VP3D1 6535183193                          _Z3NNNU3                LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3[183Z513ENGH33[183Z513ENG3                                      V12613O63W653518319334622X5Y34Z3   [T3LLM^^3               LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    3[183Z513ENGH33[183Z513ENG3                                      Z56813\5183193                            ] LF MN3                LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R333333LYFFYFFFFF3R33333333FFYFFFFF3R3333FFYFFFFF3 OKP3                 OKP3                4T3
    53EUUGH3D1523I3`13LMMFFL3EUUG3                                     V12613O63W653518319334622X5Y34Z3   [TLL3N3ML3              LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    53EUUGH3D1523I3`13LMMFFL3EUUG3                                     Z56813\5183193                            ] LF MN3                LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R333333LYFFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                   OKP3                4T3
    53EUUGH3D1523I3`13LMMFFL3EUUG3                                     V12613O63W653518319334622X5Y34Z3   [T3LF3               LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    53EUUGH3D1523I3`13LMMFFL3EUUG3                                     Z56813\5183193                            ] LF MN3                LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R333333LYFFYFFFFF3R33333333FFYFFFFF3R3333FFYFFFFF3 OKP3                 OKP3                4T3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM 3 LQLQLM ^3 LQLQLM 3 LQLQLM ^3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM ^3 LQLQLM M3 LQLQLM ^3 LQLQLM M3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM M3 LQLQLMF3 LQLQLM M3 LQLQLMF3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLMF3 LQLQLML3 LQLQLMF3 LQLQLML3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLML3 LQLQLM3 LQLQLML3 LQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM3 LQLQLMN3 LQLQLM3 LQLQLMN3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLMN3 LQLQLM 3 LQLQLMN3 LQLQLM 3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM 3 LQLQLM3 LQLQLM 3 LQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM3 LQLQLMU3 LQLQLM3 LQLQLMU3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM^3 LQLQLMM3 LQLQLM^3 LQLQLMM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLMM3 LQLQLMUF3 LQLQLMM3 LQLQLMUF3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLMUF3 LQLQLMUL3 LQLQLMUF3 LQLQLMUL3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLMUL3QQLMUL3 LQLQLMUL3 QQLMUL3R3                    3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            D15253W6535183193                         OKP3                 QQLMUL3QQLMU3 QQLMUL3 QQLMU3R3                   3 R3 YFFFFF3 R333333YFFFFF3 OKP3                 OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            D15253W6535183193                         OKP3                 QQLMU3QQLMUN3 QQLMU3 QQLMUN3R3                   3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            D15253W6535183193                         OKP3                 QQLMUN3QQLMU 3 QQLMUN3 QQLMU 3R3                   3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            D15253W6535183193                         OKP3                 QQLMU 3 LQLQLMU3 QQLMU 3 LQLQLMU3R3                    3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLMU3 LQLQLMUU3 LQLQLMU3 LQLQLMUU3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLMUU3 LQLQLMU3 LQLQLMUU3 LQLQLMU3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLMU3 LQLQLMU^3 LQLQLMU3 LQLQLMU^3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLMU^3 LQLQLMUM3 LQLQLMU^3 LQLQLMUM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLMUM3 LQLQLMF3 LQLQLMUM3 LQLQLMF3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLMF3 LQLQLML3 LQLQLMF3 LQLQLML3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLML3 LQLQLM3 LQLQLML3 LQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLM3 LQLQLMN3 LQLQLM3 LQLQLMN3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLMN3 LQLQLM 3 LQLQLMN3 LQLQLM 3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            51831933V523Z56813                       OKP3                  LQLQLM 3 LQLQLM3 LQLQLM 3 LQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            V12613O63W653518319334622X5Y34Z3   [TLL3N3^3              LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    53EUUGH3 53FFL3E^G3                                            Z56813\5183193                            ] LF MN3                LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R333333LYFFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                   OKP3                4T3
    53EUUGH3 53FFL3E^G3                                            OKP3                                                OKP3                  LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    53EUUGH3 53FFL3E^G3                                            V12613O63W653518319334622X5Y34Z3   [T3LFFM3               LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    53EUUGH3 53FFL3E^G3                                            Z56813\5183193                            ] LF MN3                LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R333333LYFFYFFFFF3R33333333FFYFFFFF3R3333FFYFFFFF3 OKP3                 OKP3                4T3
    3ENNGH31913293LM FFM3ENUUG3                                   W66293131129333Va3                         b43L 3                UQLQLM 3 UQLQLM3 UQLQLM 3 UQLQLM3R3                     3 R3 YFFFFF3R333333333YFFFFF3 OKP3                 OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   W66293131129333Va3                         OKP3                  UQLQLM3 UQLQLMU3 UQLQLM3 UQLQLMU3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   W66293131129333Va3                         OKP3                  UQLQLMU3 UQLQLM3 UQLQLMU3 UQLQLM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   W66293131129333Va3                         OKP3                  UQLQLM3 LQLQLM^3 UQLQLM3 LQLQLM^3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   W66293131129333Va3                         b43 3 3               LQLQLM^3 LQLQLMM3 LQLQLM^3 LQLQLMM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   ]1 12213W653c3]15635183193E G3          OKP3                  LQLQLMM3 LQLQLMUF3 LQLQLMM3 LQLQLMUF3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   ]1 12213W653c3]15635183193E G3          ZNN3UZF^3L3         LQLQLMUF3 UQLQLMUF3 LQLQLMUF3 UQLQLMUF3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                    517535183193                              S^U FF 3                UQLQLMUF3 UQLQLMUL3 UQLQLMUF3 UQLQLMUL3R3                     3 R33333333LFFYFFFFF3R3333LFFYFFFFF3 OKP3            OKP3                4T3
    3ENNGH31913293LM FFM3ENUUG3                                    517536293193                             OKP3                  LQLQLMU^3 LQLQLMUM3 LQLQLMU^3 LQLQLMUM3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   V12613O63W653518319334622X5Y34Z3   [TLL3L3^3               LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    3ENNGH31913293LM FFM3ENUUG3                                   Z56813\5183193                            ] LF MN3                LQLQLMU3 LQLQLM3 LQLQLMU3 LQLQLM3R333333LYFFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                   OKP3                4T3
    3ENNGH31913293LM FFM3ENUUG3                                   V12613O63W653518319334622X5Y34Z3   [T3LFFF3               LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R3 FFYFFFFF3R33333LYFFFYFFFFF3R3LYFFFYFFFFF3 OKP3                         OKP3                4T3
    3ENNGH31913293LM FFM3ENUUG3                                   Z56813\5183193                            ] LF MN3                LQLQLM3 LQLQLM^3 LQLQLM3 LQLQLM^3R333333LYFFYFFFFF3R33333333FFYFFFFF3R3333FFYFFFFF3 OKP3                 OKP3                4T3
    3ENNGH31913293LM FFM3ENUUG3                                   O623S2123W6629313_151293193             LNMFFNLM 3              UQLQLM3 UQLQLM^3 UQLQLM3 UQLQLM^3R3                     3 R33333333LFFYFFFFF3R3333LFFYFFFFF3 OKP3            OKP3                4T3
    3ENNGH31913293LM FFM3ENUUG3                                   S856293]2135183193                       4MNUF3                   NQQLMML3 NQQLMM3 NQQLMML3 NQQLMM3R3                       3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   S856293]2135183193                       4MNUF3                   NQQLMM3 NQQLMMN3 NQQLMM3 NQQLMMN3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   S856293]2135183193                       4MNUF3                   NQQLMMN3 NQQLMM 3 NQQLMMN3 NQQLMM 3R3                     3       OKP3          OKP3 OKP3                OKP3                ST3
    3ENNGH31913293LM FFM3ENUUG3                                   S856293]2135183193                       4LULN3                  NQQLMM 3 NQQLMM3 NQQLMM 3 NQQLMM3R3                     3 OKP3              OKP3 OKP3                OKP3                4T3
    3ENNGH31913293LM FFM3ENUUG3                                   S856293]2135183193                       4LULN3                  NQQLMM3 NQQLMMU3 NQQLMM3 NQQLMMU3R3                     3 OKP3              OKP3 OKP3                OKP3                4T3




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    3DEFEGH31913293IJ KKJ3DELLG3                                  M856293N2135183193                       4ILIE3                   EOOIJJL3 EOOIJJF3 EOOIJJL3 EOOIJJF3P3                     3 QRS3               QRS3 QRS3               QRS3                4T3
    3DEFEGH31913293IJ KKJ3DELLG3                                  M856293N2135183193                       43KKKJ3                EOOIJJF3 OOIJJF3 EOOIJJF3 OOIJJF3P3                       3 P33333333EKKUKKKKK3 P3333EKKUKKKKK3 QRS3           QRS3                4T3
    3DEFEGH31913293IJ KKJ3DELLG3                                  T56313V6115135183W 861263                   L3K 3KEJJ3                  OOIJJF3 OOIJJ3 OOIJJF3 OOIJJ3P3                       3       QRS3           QRS3 QRS3               QRS3                MT3
    3DEFEGH3X61S1213IJJJ3DEFEG3                                            VS3X1 6535183193                          QRS3                   IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    3DEFEGH3X61S1213IJJJ3DEFEG3                                            V12613Q63Y653518319334622Z5U34W3   [TII3FI3FL3               IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    3DEFEGH3X61S1213IJJJ3DEFEG3                                            W56813\5183193                            N IKF JE3                 IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P333333IUKKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                   QRS3                4T3
    3DEFEGH3X61S1213IJJJ3DEFEG3                                            VS3X1 6535183193                          QRS3                   IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    3DEFEGH3X61S1213IJJJ3DEFEG3                                            V12613Q63Y653518319334622Z5U34W3   [T3IKKJ3                IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    3DEFEGH3X61S1213IJJJ3DEFEG3                                            W56813\5183193                            N IKF JE3                 IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P333333IUKKUKKKKK3P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3                QRS3                4T3
    3DEFEGH3]53S63IJEIJ3DKG3                                   VS3X1 6535183193                          QRS3                   IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    3DEFEGH3]53S63IJEIJ3DKG3                                   V12613Q63Y653518319334622Z5U34W3   [TII3FI3F3               IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    3DEFEGH3]53S63IJEIJ3DKG3                                   W56813\5183193                            N IKF JE3                 IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P333333IUKKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                   QRS3                4T3
    3DEFEGH3]53S63IJEIJ3DKG3                                   VS3X1 6535183193                          QRS3                   IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3                     3 P3 KUKKKKK3 P333333KUKKKKK3 QRS3                 QRS3                MT3
    3DEFEGH3]53S63IJEIJ3DKG3                                   V12613Q63Y653518319334622Z5U34W3   [T3IKKE3                IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    3DEFEGH3]53S63IJEIJ3DKG3                                   W56813\5183193                            N IKF JE3                 IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P333333IUKKUKKKKK3P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3                QRS3                4T3
    3DEFEGH3M16231S583IJEIJ3DKEG3                                  V12613Q63Y653518319334622Z5U34W3   [TII3FI3 3               IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    3DEFEGH3M16231S583IJEIJ3DKEG3                                  W56813\5183193                            N IKF JE3                 IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P333333IUKKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                   QRS3                4T3
    3DEFEGH3M16231S583IJEIJ3DKEG3                                  V12613Q63Y653518319334622Z5U34W3   [T3IKKKL3                IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    3DEFEGH3M16231S583IJEIJ3DKEG3                                  W56813\5183193                            N IKF JE3                 IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P333333IUKKUKKKKK3P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3                QRS3                4T3
    3DEFEGH3M1S193^193IJIJJ3DKEG3                                   W2131129313M5293193                        3[_3IKK JFF3[W3       IOIOIJJI3 IOIOIJJ3 IOIOIJJI3 IOIOIJJ3P3                     3 P33333333IKKUKKKKK3 P3333IKKUKKKKK3 QRS3           QRS3                4T3
    341R3DLGH3341R3IJF3DLG3                                           517535183193                              K3[3YIIL 3             IOIOIJF3 IOIOIJFL3 IOIOIJF3 IOIOIJFL3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    341R3DLGH3341R3IJF3DLG3                                           517536293193                             QRS3                   IOIOIJF3 IOIOIJFL3 IOIOIJF3 IOIOIJFL3P3 EKKUKKKKK3 QRS3                           QRS3 QRS3               QRS3                MT3
    341R3DLGH3341R3IJF3DLG3                                          V12613Q63Y653518319334622Z5U34W3   [TII3LJ3L3               IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    341R3DLGH3341R3IJF3DLG3                                          W56813\5183193                            N IKF JE3                 IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P333333IUKKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                   QRS3                4T3
    341R3DLGH3341R3IJF3DLG3                                          V12613Q63Y653518319334622Z5U34W3   [T3IIJJIE3                IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    341R3DLGH3341R3IJF3DLG3                                          W56813\5183193                            N IKF JE3                 IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P333333IUKKUKKKKK3P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3                QRS3                4T3
    341R3DLGH3341R3IJF3DLG3                                           517536293193                             QRS3                   IOIOIJI3 IOIOIJ3 IOIOIJI3 IOIOIJ3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    341R3DLGH3`9[51R13IJELIJF3DEG3                                      51831933V523W56813                       M[ FJ L3                IIOIOIJL3IIOIOIJLJ3 IIOIOIJL3IIOIOIJLJ3P3                 3 P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3           QRS3                4T3
    341R3DLGH3`9[51R13IJELIJF3DEG3                                      51831933V523W56813                       M[3IK3               IIOIOIJLJ3IIOIOIJFK3 IIOIOIJLJ3IIOIOIJFK3P3                 3 P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3           QRS3                4T3
    341R3DLGH3`9[51R13IJELIJF3DEG3                                      51831933V523W56813                       M[3IL3               IIOIOIJFK3IIOIOIJFI3 IIOIOIJFK3IIOIOIJFI3P3                 3 P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3           QRS3                4T3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJL3 IOIOIJF3 IOIOIJL3 IOIOIJF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJF3 IOIOIJ3 IOIOIJF3 IOIOIJ3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJ3 IOIOIJJ3 IOIOIJ3 IOIOIJJ3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJJ3 IOIOIJLK3 IOIOIJJ3 IOIOIJLK3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJLK3 IOIOIJLI3 IOIOIJLK3 IOIOIJLI3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJLI3 IOIOIJL3 IOIOIJLI3 IOIOIJL3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJL3 IOIOIJLE3 IOIOIJL3 IOIOIJLE3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJLE3 IOIOIJL 3 IOIOIJLE3 IOIOIJL 3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJL 3 IOIOIJL3 IOIOIJL 3 IOIOIJL3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJL3 IOIOIJLL3 IOIOIJL3 IOIOIJLL3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJLL3 IOIOIJLF3 IOIOIJLL3 IOIOIJLF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJLF3 IOIOIJL3 IOIOIJLF3 IOIOIJL3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJL3 IOIOIJLJ3 IOIOIJL3 IOIOIJLJ3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJLJ3 IOIOIJFK3 IOIOIJLJ3 IOIOIJFK3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJFK3 IOIOIJFI3 IOIOIJFK3 IOIOIJFI3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJFI3 IOIOIJF3 IOIOIJFI3 IOIOIJF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJF3 IOIOIJFE3 IOIOIJF3 IOIOIJFE3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJFE3 IOIOIJF 3 IOIOIJFE3 IOIOIJF 3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           QRS3                                                QRS3                   IOIOIJF 3 IOIOIJF3 IOIOIJF 3 IOIOIJF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           VS3X1 6535183193                          QRS3                   IOIOIJFL3 JOJOIJFL3 IOIOIJFL3 JOJOIJFL3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           V12613Q63Y653518319334622Z5U34W3   [TII3LJ33               IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    34153DEGH3N663IJJIJJ 3DEG3                                           W56813\5183193                            N IKF JE3                 IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P333333IUKKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                   QRS3                4T3
    34153DEGH3N663IJJIJJ 3DEG3                                           ]5351831933VS3_5R3                  aW3KJFLI3                JOJOIJFL3 OIOIJFF3 JOJOIJFL3 OIOIJFF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3N663IJJIJJ 3DEG3                                           V12613Q63Y653518319334622Z5U34W3   [T3IIJJKE3                IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    34153DEGH3N663IJJIJJ 3DEG3                                           W56813\5183193                            N IKF JE3                 IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P333333IUKKUKKKKK3P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3                QRS3                4T3
    34153DEGH3N663IJJIJJ 3DEG3                                           VS3X1 6535183193                          QRS3                   OIOIJFF3 IOIOIJF3 OIOIJFF3 IOIOIJF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                51831933V523W56813                       M[3LJKI3                 IOI OIJL3IOI OIJLL3 IOI OIJL3 IOI OIJLL3P3                   3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                51831933V523W56813                       M[3LJKI3                 IOI OIJLL3IOI OIJLF3 IOI OIJLL3 IOI OIJLF3P3                   3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                51831933V523W56813                       M[3LJKI3                 IOI OIJLF3IOI OIJL3 IOI OIJLF3 IOI OIJL3P3                   3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                51831933V523W56813                       M[3LJKI3                 IOI OIJL3IOI OIJLJ3 IOI OIJL3 IOI OIJLJ3P3                   3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                51831933V523W56813                       M[3LJKI3                 IOI OIJLJ3IOI OIJFK3 IOI OIJLJ3 IOI OIJFK3P3                   3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                51831933V523W56813                       M[3LJKI3                 IOI OIJFK3IOI OIJFI3 IOI OIJFK3 IOI OIJFI3P3                   3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                51831933V523W56813                       M[33IE3J 3              IOI OIJFI3IOI OIJF3 IOI OIJFI3 IOI OIJF3P3                   3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                51831933V523W56813                       M[33IE3J 3              IOI OIJF3IOI OIJFE3 IOI OIJF3 IOI OIJFE3P3                   3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                QRS3                                                QRS3                  IOI OIJFE3IOI OIJF 3 IOI OIJFE3 IOI OIJF 3P3                   3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                QRS3                                                QRS3                  IOI OIJF 3 IOIOIJF3 IOI OIJF 3 IOIOIJF3P3                    3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                VS3X1 6535183193                          QRS3                   IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                V12613Q63Y653518319334622Z5U34W3   [TII3LJ3I3               IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                W56813\5183193                            N IKF JE3                 IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P333333IUKKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                   QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                VS3X1 6535183193                          QRS3                   IOIOIJFF3IOIOIJFF3 IOIOIJFF3 IOIOIJFF3P3                    3       QRS3           QRS3 QRS3               QRS3                MT3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                V12613Q63Y653518319334622Z5U34W3   [T3IIJJJ3                IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                W56813\5183193                            N IKF JE3                 IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P333333IUKKUKKKKK3P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3                QRS3                4T3
    34153DEGH3M12138613W513IJEJIJJ 3DLG3                                Q623M2123Y6629313a151293193             IWILJJE3                IOIOIJFF3IOIOIJF3 IOIOIJFF3 IOIOIJF3P3                   3       QRS3           QRS3 QRS3               QRS3                MT3
    6611345813DIEGH3W221R113IJEKKE3DKG3                               VS3X1 6535183193                          QRS3                   IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    6611345813DIEGH3W221R113IJEKKE3DKG3                               V12613Q63Y653518319334622Z5U34W3   [TII3FK3L3               IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    6611345813DIEGH3W221R113IJEKKE3DKG3                               W56813\5183193                            N IKF JE3                 IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P333333IUKKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                   QRS3                4T3
    6611345813DIEGH3W221R113IJEKKE3DKG3                               VS3X1 6535183193                          QRS3                   IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3                     3       QRS3           QRS3 QRS3               QRS3                MT3
    6611345813DIEGH3W221R113IJEKKE3DKG3                               V12613Q63Y653518319334622Z5U34W3   [T3IKIK 3                IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    6611345813DIEGH3W221R113IJEKKE3DKG3                               W56813\5183193                            N IKF JE3                 IOIOIJFF3 IOIOIJF3 IOIOIJFF3 IOIOIJF3P333333IUKKUKKKKK3P33333333KKUKKKKK3 P3333KKUKKKKK3 QRS3                QRS3                4T3
    6611345813DIEGH3b186213^193IJKKE3DIEG3                         51831933V523W56813                       M[3E3I3J3                OFOIJLL3 OFOIJLF3 OFOIJLL3 OFOIJLF3P3                     3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    6611345813DIEGH3b186213^193IJKKE3DIEG3                         51831933V523W56813                       M[3E3I3J3                OFOIJLF3 OFOIJL3 OFOIJLF3 OFOIJL3P3                     3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    6611345813DIEGH3b186213^193IJKKE3DIEG3                         51831933V523W56813                       M[3E3I3J3                OFOIJL3 OFOIJLJ3 OFOIJL3 OFOIJLJ3P3                     3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    6611345813DIEGH3b186213^193IJKKE3DIEG3                         51831933V523W56813                       M[3E3I3J3                OFOIJLJ3 OFOIJFK3 OFOIJLJ3 OFOIJFK3P3                     3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    6611345813DIEGH3b186213^193IJKKE3DIEG3                         51831933V523W56813                       M[3E3I3J3                OFOIJFK3 OFOIJFI3 OFOIJFK3 OFOIJFI3P3                     3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    6611345813DIEGH3b186213^193IJKKE3DIEG3                         51831933V523W56813                       M[3E3I3J3                OFOIJFI3 OFOIJF3 OFOIJFI3 OFOIJF3P3                     3 P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3              QRS3                4T3
    6611345813DIEGH3b186213^193IJKKE3DIEG3                         V12613Q63Y653518319334622Z5U34W3   [TII3FK3LI3               IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P3 KKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                         QRS3                4T3
    6611345813DIEGH3b186213^193IJKKE3DIEG3                         W56813\5183193                            N IKF JE3                 IOIOIJFL3 IOIOIJFF3 IOIOIJFL3 IOIOIJFF3P333333IUKKUKKKKK3P33333IUKKKUKKKKK3P3IUKKKUKKKKK3 QRS3                   QRS3                4T3




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    6611345813DEFGH3I186213J193EKKF3DEFG3                       Q56813Z5183193                            [ EKU F3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W333333EPKKPKKKKK3W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3             MXY3                4S3
    [1563DFGH3[1563DFG3                                                     51831933L523Q56813                       \R3EEVE3                TEKTE]3 TEKTEUK3 TEKTE]3 TEKTEUK3W3                  3 W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3              MXY3                4S3
    [1563DFGH3[1563DFG3                                                     51831933L523Q56813                       \R3EEVE3                TEKTEUK3 TEKTEUE3 TEKTEUK3 TEKTEUE3W3                  3 W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3              MXY3                4S3
    [1563DFGH3[1563DFG3                                                     51831933L523Q56813                       \R3EEVE3                TEKTEUE3 TEKTEU3 TEKTEUE3 TEKTEU3W3                  3 W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3              MXY3                4S3
    [1563DFGH3[1563DFG3                                                     LY3^1 6535183193                          MXY3                  ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [1563DFGH3[1563DFG3                                                     L12613M63N653518319334622O5P34Q3   RSEE3]3F3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [1563DFGH3[1563DFG3                                                     Q56813Z5183193                            [ EKU F3                ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W333333EPKKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                MXY3                4S3
    [1563DFGH3[1563DFG3                                                     LY3^1 6535183193                          _Q3VEE3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [1563DFGH3[1563DFG3                                                     QO1 1535183193                                                 3 ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3 KPKKKKK3 MXY3                         MXY3 MXY3               MXY3                \S3
    [1563DFGH3[1563DFG3                                                     L12613M63N653518319334622O5P34Q3   RS3EEKE3               ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [1563DFGH3[1563DFG3                                                     Q56813Z5183193                            [ EKU F3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W333333EPKKPKKKKK3W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3             MXY3                4S3
    [1563DFGH3[1563DFG3                                                     \822135183193                             4\FFU3               ETETE3 ETETE]3 ETETE3 ETETE]3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [106̀3DEGH3[106̀3E]3DEG3                                      [1591311293193                               MXY3                  ETETEU 3 ETETEU3 ETETEU 3 ETETEU3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [106̀3DEGH3[106̀3E]3DEG3                                      [1591311293193                               MXY3                  ETETEU3 ETETEU]3 ETETEU3 ETETEU]3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [106̀3DEGH3[106̀3E]3DEG3                                      [1591311293193                               MXY3                  ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [106̀3DEGH3[106̀3E]3DEG3                                      L12613M63N653518319334622O5P34Q3   RSEE3UK3]U3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [106̀3DEGH3[106̀3E]3DEG3                                      Q56813Z5183193                            [ EKU F3                ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W333333EPKKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                MXY3                4S3
    [106̀3DEGH3[106̀3E]3DEG3                                      L12613M63N653518319334622O5P34Q3   RS3EKEE3               ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [106̀3DEGH3[106̀3E]3DEG3                                      Q56813Z5183193                            [ EKU F3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W333333EPKKPKKKKK3W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3             MXY3                4S3
    [106̀3DEGH3[106̀3E]3DEG3                                      [1591311293193                               MXY3                 UT TEUU3UT TEUV3 UT TEUU3 UT TEUV3W3                3 W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3           MXY3                \S3
    [106̀3DEGH3[106̀3E]3DEG3                                      [1591311293193                               MXY3                 UT TEUV3UT TEU3 UT TEUV3 UT TEU3W3                3 W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3           MXY3                \S3
    [106̀3DEGH3[106̀3E]3DEG3                                      [1591311293193                               MXY3                 UT TEU3UT TEVK3 UT TEU3 UT TEVK3W3                3 W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3           MXY3                \S3
    [19Y53DEGH3Qa63EE]3DEG3                                   L12613M63N653518319334622O5P34Q3   RSEE3UK3U3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [19Y53DEGH3Qa63EE]3DEG3                                   Q56813Z5183193                            [ EKU F3                ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W333333EPKKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                MXY3                4S3
    [19Y53DEGH3Qa63EE]3DEG3                                   L12613M63N653518319334622O5P34Q3   RS3EKE3               ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [19Y53DEGH3Qa63EE]3DEG3                                   Q56813Z5183193                            [ EKU F3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W333333EPKKPKKKKK3W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3             MXY3                4S3
    [19Y53DEGH3b`35163E]KEU3D G3                                   41866835183193                               c_3KKEVFU3              ]TKTKKF3]TKTKK 3 ]TKTKKF3 ]TKTKK 3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3b`35163E]KEU3D G3                                   41866835183193                               c_3KKEVFU3              ]TKTKK 3]TKTKK3 ]TKTKK 3 ]TKTKK3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3b`35163E]KEU3D G3                                   ^15253Q88623136293193                F MMJ\EF3             ]TKTKKU3]TKTKKV3 ]TKTKKU3 ]TKTKKV3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3b`35163E]KEU3D G3                                   ^15253Q88623136293193                F MMJ\EF3             ]TKTKKV3]TKTKK3 ]TKTKKV3 ]TKTKK3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3b`35163E]KEU3D G3                                   ^15253Q88623136293193                F MMJ\EF3             ]TKTKK3]TKTKEK3 ]TKTKK3 ]TKTKEK3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3b`35163E]KEU3D G3                                   ^15253Q88623136293193                F MMJ\EF3             ]TKTKEK3]TKTKEE3 ]TKTKEK3 ]TKTKEE3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3b`35163E]KEU3D G3                                   L1261311293193                               RL0SZ UV3            ]TKTKEE3]TKTKE3 ]TKTKEE3 ]TKTKE3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3L5O13EEVE]3D ]G3                                  S95d3N6535183193                        SR]KVU3               FT]TEUK3FT]TEUE3 FT]TEUK3 FT]TEUE3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3L5O13EEVE]3D ]G3                                  S95d3N6535183193                        SR]KVU3               FT]TEUE3FT]TEU3 FT]TEUE3 FT]TEU3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3L5O13EEVE]3D ]G3                                  S95d3N6535183193                        SR]KVU3               FT]TEU3FT]TEUF3 FT]TEU3 FT]TEUF3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [19Y53DEGH3L5O13EEVE]3D ]G3                                  L12613M63N653518319334622O5P34Q3   RSEE3UK3VF3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [19Y53DEGH3L5O13EEVE]3D ]G3                                  Q56813Z5183193                            [ EKU F3                ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W333333EPKKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                MXY3                4S3
    [19Y53DEGH3L5O13EEVE]3D ]G3                                  L12613M63N653518319334622O5P34Q3   RS3EKEF 3               ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [19Y53DEGH3L5O13EEVE]3D ]G3                                  Q56813Z5183193                            [ EKU F3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W333333EPKKPKKKKK3W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3             MXY3                4S3
    [19Y53DEGH3I393E]KEU3D G3                                 L12613M63N653518319334622O5P34Q3   RSEE3UK3]3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [19Y53DEGH3I393E]KEU3D G3                                 Q56813Z5183193                            [ EKU F3                ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W333333EPKKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                MXY3                4S3
    [19Y53DEGH3I393E]KEU3D G3                                 L12613M63N653518319334622O5P34Q3   RS3EKEEU3               ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [19Y53DEGH3I393E]KEU3D G3                                 Q56813Z5183193                            [ EKU F3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W333333EPKKPKKKKK3W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3             MXY3                4S3
    [19Y53DEGH3\a123EF]E]3DVG3                                    LY3^1 6535183193                          \3R\Q3]EF3             UTETE]3 UTETE]]3 UTETE]3 UTETE]]3W3                  3 W33333333EKKPKKKKK3 W3333EKKPKKKKK3 MXY3           MXY3                \S3
    [19Y53DEGH3\a123EF]E]3DVG3                                    51831933L523Q56813                       \R3EE 3                UTETE]3EKTFKTE]3 UTETE]3EKTFKTE]3W3                3 W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3              MXY3                4S3
    [8XO53293DEGH3[8XO53293DEG3                           L12613M63N653518319334622O5P34Q3   RSEE3UE3V 3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [8XO53293DEGH3[8XO53293DEG3                           Q56813Z5183193                            [ EKU F3                ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W333333EPKKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                MXY3                4S3
    [8XO53293DEGH3[8XO53293DEG3                           L12613M63N653518319334622O5P34Q3   RS3EKKFU3               ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [8XO53293DEGH3[8XO53293DEG3                           Q56813Z5183193                            [ EKU F3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W333333EPKKPKKKKK3W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3             MXY3                4S3
    [8XO53293DEGH3[8XO53293DEG3                           Q56535183193                              \Q3[_44K FUV]KKKK3 ETETEV3 ETETEK3 ETETEV3 ETETEK3W3                       3 W33333333EKKPKKKKK3 W3333EKKPKKKKK3 MXY3           MXY3                4S3
    [6163J193D GH3[6163J193D G3                                         L12613M63N653518319334622O5P34Q3   RSEE3U3KK3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [6163J193D GH3[6163J193D G3                                         Q56813Z5183193                            [ EKU F3                ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W333333EPKKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                MXY3                4S3
    [6163J193D GH3[6163J193D G3                                         L12613M63N653518319334622O5P34Q3   RS3EKKF3               ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
    [6163J193D GH3[6163J193D G3                                         Q56813Z5183193                            [ EKU F3                ETETEUU3 ETETEUV3 ETETEUU3 ETETEUV3W333333EPKKPKKKKK3W33333333KKPKKKKK3 W3333KKPKKKKK3 MXY3             MXY3                4S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          Q21235183193                               MXY3                  ]TETE]K3 ]TETE]E3 ]TETE]K3 ]TETE]E3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          Q21235183193                               MXY3                  ]TETE]E3 ]TETE]3 ]TETE]E3 ]TETE]3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          Q21235183193                               MXY3                  ]TETE]3 ]TETE]F3 ]TETE]3 ]TETE]F3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          Q21235183193                               MXY3                  ]TETE]F3 ]TETE] 3 ]TETE]F3 ]TETE] 3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          Q21235183193                               MXY3                  ]TETE] 3FTTE]3 ]TETE] 3 FTTE]3W3                 3       MXY3           MXY3 MXY3               MXY3                \S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          51831933L523Q56813                        \R333VK3             FTTE]3FTTE]]3 FTTE]3 FTTE]]3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          51831933L523Q56813                        \R333VK3             FTTE]]3FTTE]U3 FTTE]]3 FTTE]U3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          51831933L523Q56813                        \R333VK3             FTTE]U3FTTE]V3 FTTE]U3 FTTE]V3W3                3       MXY3           MXY3 MXY3               MXY3                \S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          51831933L523Q56813                       \R3]E3                FTTE]V3FTTE]3 FTTE]V3 FTTE]3W3                3 W33333333KPKKKKK3 W3333KPKKKKK3 MXY3           MXY3                4S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          51831933L523Q56813                       \R3]E3                FTTE]3FTTEUK3 FTTE]3 FTTEUK3W3                3 W33333333KPKKKKK3 W3333KPKKKKK3 MXY3           MXY3                4S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          51831933L523Q56813                       \R3]E3                FTTEUK3FTTEUE3 FTTEUK3 FTTEUE3W3                3 W33333333KPKKKKK3 W3333KPKKKKK3 MXY3           MXY3                4S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          51831933L523Q56813                       \R3E E 3               FTTEUE3FTTEU3 FTTEUE3 FTTEU3W3                3 W33333333KPKKKKK3 W3333KPKKKKK3 MXY3           MXY3                4S3
    [686135 513DUVKGH3R3e1253EFKE3DUUG3                          L12613M63N653518319334622O5P34Q3   RSEE3UK3]3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
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    [686135 513DUVKGH3 63IX3EFKE3DUEG3                         L12613M63N653518319334622O5P34Q3   RSEE3UK3F3              ETETEU]3 ETETEUU3 ETETEU]3 ETETEUU3W3 KKPKKKKK3W33333EPKKKPKKKKK3W3EPKKKPKKKKK3 MXY3                      MXY3                4S3
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    [686135 513DUVKGH3623J193EFUKK3DU]G3                      51831933L523Q56813                       RFUEV3                  ]TETE]F3 ]TETE] 3 ]TETE]F3 ]TETE] 3W3                  3       MXY3           MXY3 MXY3               MXY3                \S3




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    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        TUV3                                                TUV3                   KRKRKLF3 KRKRKLG3 KRKRKLF3 KRKRKLG3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        TUV3                                                TUV3                   KRKRKLG3 KRKRKLL3 KRKRKLG3 KRKRKLL3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        TUV3                                                TUV3                   KRKRKLL3 KRKRKLN3 KRKRKLL3 KRKRKLN3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        TUV3                                                TUV3                   KRKRKLN3 KRKRKLNK3 KRKRKLN3 KRKRKLNK3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       TUV3                   KRKRKLNK3 KRKRKLNM3 KRKRKLNK3 KRKRKLNM3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       TUV3                   KRKRKLNM3RMRKLNM3 KRKRKLNM3 RMRKLNM3S3                    3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQ L3                 RMRKLNM3RMRKLN3 RMRKLNM3 RMRKLN3S3                   3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQ L3                 RMRKLN3RKLRKLN 3 RMRKLN3 RKLRKLN 3S3                   3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQ L3                 RMRKLN 3RMRKLN3 RMRKLN 3 RMRKLN3S3                   3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQ M F3                 RMRKLN3RMRKLNN3 RMRKLN3 RMRKLNN3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQ M F3                 RMRKLNN3RMRKLNF3 RMRKLNN3 RMRKLNF3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQ M F3                 RMRKLNF3RMRKLNG3 RMRKLNF3 RMRKLNG3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       TUV3                  RMRKLNG3RMRKLNL3 RMRKLNG3 RMRKLNL3S3                   3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQ FFMF3                 RMRKLNL3RMRKLF3 RMRKLNL3 RMRKLF3S3                   3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQMF3                 RMRKLF3RMRKLFK3 RMRKLF3 RMRKLFK3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       WQMF3                 RMRKLFK3RMRKLFM3 RMRKLFK3 RMRKLFM3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       ^433MM33               KRKRKLF3 NRMRKLF3 KRKRKLF3 NRMRKLF3S3                     3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3^513J193KLNKLF3EMNNH3                        51831933O523P56813                       _Q3KMFM3                KRKRKLF3 NRMRKLF3 KRKRKLF3 NRMRKLF3S3 Y3S33333MYY3S3MYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI31U3]53P513KLFKMKM3EMNH3                     O12613T63Z653518319334622[5Y34P3   QXKMK3F3GF3               KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S3 Y3S33333KYY3S3KYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI31U3]53P513KLFKMKM3EMNH3                     P56813\5183193                            D KMF L3                 KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S333333KYY3S33333KYY3S3KYY3 TUV3                   TUV3                4X3
    D686135 513EFGHI31U3]53P513KLFKMKM3EMNH3                     O12613T63Z653518319334622[5Y34P3   QX3KMMKG3                KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S3 Y3S33333KYY3S3KYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI31U3]53P513KLFKMKM3EMNH3                     P56813\5183193                            D KMF L3                 KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S333333KYY3S33333333Y3 S3333Y3 TUV3                TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         51831933O523P56813                       WQ33ML3FN3                RM RKLN3 RM RKLNN3 RM RKLN3 RM RKLNN3S3                     3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         51831933O523P56813                       WQ33ML3FN3                RM RKLNN3 RM RKLNF3 RM RKLNN3 RM RKLNF3S3                     3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         51831933O523P56813                       WQ33ML3FN3                RM RKLNF3 RM RKLNG3 RM RKLNF3 RM RKLNG3S3                     3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         51831933O523P56813                       WQ33NL33                RM RKLNG3 RM RKLNL3 RM RKLNG3 RM RKLNL3S3                     3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         51831933O523P56813                       WQ33NL33                RM RKLNL3 RM RKLF3 RM RKLNL3 RM RKLF3S3                     3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         51831933O523P56813                       WQ33NL33                RM RKLF3 RM RKLFK3 RM RKLF3 RM RKLFK3S3                     3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         51831933O523P56813                       WQ33K3N3               RM RKLFK3 RMRKLFM3 RM RKLFK3 RMRKLFM3S3                     3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         OV3]1 6535183193                          TUV3                   KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         O12613T63Z653518319334622[5Y34P3   QXKMK3F3LK3               KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S3 Y3S33333KYY3S3KYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         P56813\5183193                            D KMF L3                 KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S333333KYY3S33333KYY3S3KYY3 TUV3                   TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         OV3]1 6535183193                          TUV3                   KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         O12613T63Z653518319334622[5Y34P3   QX3KMMK M3                KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S3 Y3S33333KYY3S3KYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI313̀31U3KLFKLL3EMNLH3                         P56813\5183193                            D KMF L3                 KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S333333KYY3S33333333Y3 S3333Y3 TUV3                TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         51831933O523P56813                       PQKNL3                  NRRKLN 3 NRRKLN3 NRRKLN 3 NRRKLN3S3                         3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         51831933O523P56813                       WQ M F 3                  NRRKLN3 NRRKLNN3 NRRKLN3 NRRKLNN3S3                         3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         51831933O523P56813                       WQ M F 3                  NRRKLNN3 NRRKLNF3 NRRKLNN3 NRRKLNF3S3                         3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         51831933O523P56813                       WQ M F 3                  NRRKLNF3 NRRKLNG3 NRRKLNF3 NRRKLNG3S3                         3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         51831933O523P56813                       WQ M F 3                  NRRKLNG3 NRRKLNL3 NRRKLNG3 NRRKLNL3S3                         3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         51831933O523P56813                       WQMN3                  NRRKLNL3 NRRKLF3 NRRKLNL3 NRRKLF3S3                         3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         51831933O523P56813                       WQ3MG3                 NRRKLF3 NRRKLFK3 NRRKLF3 NRRKLFK3S3                         3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         51831933O523P56813                       WQ3MG3                 NRRKLFK3 NRRKLFM3 NRRKLFK3 NRRKLFM3S3                       3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         OV3]1 6535183193                          TUV3                   KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         O12613T63Z653518319334622[5Y34P3   QXKMK3F3LF3               KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S3 Y3S33333KYY3S3KYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         P56813\5183193                            D KMF L3                 KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S333333KYY3S33333KYY3S3KYY3 TUV3                   TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         OV3]1 6535183193                          TUV3                   KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S3                     3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         O12613T63Z653518319334622[5Y34P3   QX3KMMK F3                KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S3 Y3S33333KYY3S3KYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI3W86835163KLLMKM3EMF H3                         P56813\5183193                            D KMF L3                 KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S333333KYY3S33333333Y3 S3333Y3 TUV3                TUV3                4X3
    D686135 513EFGHI3W2V23D68613KLFMKM3EMFH3                     O12613T63Z653518319334622[5Y34P3   QXKMK3F3LM3               KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S3 Y3S33333KYY3S3KYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI3W2V23D68613KLFMKM3EMFH3                     P56813\5183193                            D KMF L3                 KRKRKLFN3 KRKRKLFF3 KRKRKLFN3 KRKRKLFF3S333333KYY3S33333KYY3S3KYY3 TUV3                   TUV3                4X3
    D686135 513EFGHI3W2V23D68613KLFMKM3EMFH3                     O12613T63Z653518319334622[5Y34P3   QX3KMKLGN3                KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S3 Y3S33333KYY3S3KYY3 TUV3                         TUV3                4X3
    D686135 513EFGHI3W2V23D68613KLFMKM3EMFH3                     P56813\5183193                            D KMF L3                 KRKRKLFF3 KRKRKLFG3 KRKRKLFF3 KRKRKLFG3S333333KYY3S33333333Y3 S3333Y3 TUV3                TUV3                4X3
    D686135 513EFGHI3W2V253D68613KL KKLF3EMGH3                  51831933O523P56813                       `Q43NGNL3               KRMLRKLNL3KRMLRKLF3 KRMLRKLNL3KRMLRKLF3S3                 3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3W2V253D68613KL KKLF3EMGH3                  51831933O523P56813                       `Q43NGNL3               KRMLRKLF3KRMLRKLFK3 KRMLRKLF3KRMLRKLFK3S3                 3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3W2V253D68613KL KKLF3EMGH3                  51831933O523P56813                       `Q43NGNL3               KRMLRKLFK3KRMLRKLFM3 KRMLRKLFK3KRMLRKLFM3S3                 3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI3W2V253D68613KL KKLF3EMGH3                  51831933O523P56813                       `Q43KM3N3 3             KRMLRKLFM3 KRKRKLF3 KRMLRKLFM3 KRKRKLF3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313463KLFMKM3EMNH3                             51831933O523P56813                       WQ M L3                 NRKMRKLNF3NRKMRKLNG3 NRKMRKLNF3 NRKMRKLNG3S3                   3       TUV3           TUV3 TUV3               TUV3                WX3
    D686135 513EFGHI313463KLFMKM3EMNH3                             51831933O523P56813                       WQ FFF3                 NRKMRKLNG3NRKMRKLNL3 NRKMRKLNG3 NRKMRKLNL3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313463KLFMKM3EMNH3                             51831933O523P56813                       WQ3MF3                NRKMRKLNL3NRKMRKLF3 NRKMRKLNL3 NRKMRKLF3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
    D686135 513EFGHI313463KLFMKM3EMNH3                             51831933O523P56813                       WQ3M N3                NRKMRKLF3NRKMRKLFK3 NRKMRKLF3 NRKMRKLFK3S3                   3 S33333333Y3 S3333Y3 TUV3           TUV3                4X3
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    D686135 513EFGHIJ313463KFLHL3ELMI3                               S56813Z5183193                            D HLF K3                 VVKFF3 VVKFG3 VVKFF3 VVKFG3W333333RHHRHHHHH3W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3              OXY3                4U3
    D686135 513EFGHIJ36Q535163K KF3ELFI3                             51831933N523S56813                       [T33F3MM3               FVLFVKMM3FVLFVKMF3 FVLFVKMM3 FVLFVKMF3W3                 3       OXY3           OXY3 OXY3               OXY3                [U3
    D686135 513EFGHIJ36Q535163K KF3ELFI3                             51831933N523S56813                       [T FMG3                 FVLFVKMF3FVLFVKMG3 FVLFVKMF3 FVLFVKMG3W3                 3 W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3              OXY3                4U3
    D686135 513EFGHIJ36Q535163K KF3ELFI3                             51831933N523S56813                       [T FMG3                 FVLFVKMG3FVLFVKMK3 FVLFVKMG3 FVLFVKMK3W3                 3 W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3              OXY3                4U3
    D686135 513EFGHIJ36Q535163K KF3ELFI3                             51831933N523S56813                       [T3LHL3                FVLFVKMK3FVLFVKFH3 FVLFVKMK3 FVLFVKFH3W3                 3 W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3              OXY3                4U3
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    D686135 513EFGHIJ36Q535163K KF3ELFI3                             51831933N523S56813                       OXY3                  FVLFVKF3 VVKFL3 FVLFVKF3 VVKFL3W3                  3       OXY3           OXY3 OXY3               OXY3                [U3
    D686135 513EFGHIJ3\23D68613[53KFKK3ELMMI3                      N12613O63P653518319334622Q5R34S3   TUL3FH3KH3               VVKFM3 VVKFF3 VVKFM3 VVKFF3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D686135 513EFGHIJ3\23D68613[53KFKK3ELMMI3                      S56813Z5183193                            D HLF K3                 VVKFM3 VVKFF3 VVKFM3 VVKFF3W333333RHHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                 OXY3                4U3
    D686135 513EFGHIJ3\23D68613[53KFKK3ELMMI3                      N12613O63P653518319334622Q5R34S3   TU3LLH 3                VVKFF3 VVKFG3 VVKFF3 VVKFG3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D686135 513EFGHIJ3\23D68613[53KFKK3ELMMI3                      S56813Z5183193                            D HLF K3                 VVKFF3 VVKFG3 VVKFF3 VVKFG3W333333RHHRHHHHH3W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3              OXY3                4U3
    D686135 513EFGHIJ3\7563KLKF3EFI3                             51831933N523S56813                       [T33LK3 3                VVKM3 VVKMM3 VVKM3 VVKMM3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
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    D686135 513EFGHIJ3\7563KLKF3EFI3                             51831933N523S56813                       [T33LK3 3                VVKMF3 VVKMG3 VVKMF3 VVKMG3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D686135 513EFGHIJ3\7563KLKF3EFI3                             51831933N523S56813                       OXY3                   VVKMG3 VVKMK3 VVKMG3 VVKMK3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D686135 513EFGHIJ3\7563KLKF3EFI3                             51831933N523S56813                       OXY3                   VVKMK3 VVKFH3 VVKMK3 VVKFH3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
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    D6S56813ELMIJ3D6S56813KM3ELMI3                                      OXY3                                                OXY3                   VVKF3 VVKF 3 VVKF3 VVKF 3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6S56813ELMIJ3D6S56813KM3ELMI3                                      N12613O63P653518319334622Q5R34S3   TUL3F3L3               VVKFM3 VVKFF3 VVKFM3 VVKFF3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D6S56813ELMIJ3D6S56813KM3ELMI3                                      S56813Z5183193                            D HLF K3                 VVKFM3 VVKFF3 VVKFM3 VVKFF3W333333RHHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                 OXY3                4U3
    D6S56813ELMIJ3D6S56813KM3ELMI3                                       517535183193                              OXY3                   VVKFF3 VVKFG3 VVKFF3 VVKFG3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6S56813ELMIJ3D6S56813KM3ELMI3                                      N12613O63P653518319334622Q5R34S3   TU3LLHF3                VVKFF3 VVKFG3 VVKFF3 VVKFG3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D6S56813ELMIJ3D6S56813KM3ELMI3                                      S56813Z5183193                            D HLF K3                 VVKFF3 VVKFG3 VVKFF3 VVKFG3W333333RHHRHHHHH3W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3              OXY3                4U3
    D6S56813ELMIJ34516563^3S513KLLHHH3EFKI3                            51831933N523S56813                       [T3LK3                VLVKF3VLVKFL3 VLVKF3 VLVKFL3W3                 3 W33333333LHRHHHHH3 W3333LHRHHHHH3 OXY3           OXY3                4U3
    D6S56813ELMIJ34516563^3S513KLLHHH3EFKI3                            OXY3                                                OXY3                  VLVKFL3MVHVKFL3 VLVKFL3 MVHVKFL3W3                 3       OXY3           OXY3 OXY3               OXY3                [U3
    D6S56813ELMIJ34516563^3S513KLLHHH3EFKI3                            NY3_1 6535183193                          OXY3                   VVKFM3 VVKFF3 VVKFM3 VVKFF3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6S56813ELMIJ34516563^3S513KLLHHH3EFKI3                            N12613O63P653518319334622Q5R34S3   TUL3FH33                VVKFM3 VVKFF3 VVKFM3 VVKFF3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D6S56813ELMIJ34516563^3S513KLLHHH3EFKI3                            S56813Z5183193                            D HLF K3                 VVKFM3 VVKFF3 VVKFM3 VVKFF3W333333RHHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                 OXY3                4U3
    D6S56813ELMIJ34516563^3S513KLLHHH3EFKI3                            NY3_1 6535183193                          ^S3 3M3GH3              VVKFF3 VVKFG3 VVKFF3 VVKFG3W3                   3 OXYL3               OXYL3 OXY3               OXY3                4U3
    D6S56813ELMIJ34516563^3S513KLLHHH3EFKI3                            N12613O63P653518319334622Q5R34S3   TU3LKK[K3                VVKFF3 VVKFG3 VVKFF3 VVKFG3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D6S56813ELMIJ34516563^3S513KLLHHH3EFKI3                            S56813Z5183193                            D HLF K3                 VVKFF3 VVKFG3 VVKFF3 VVKFG3W333333RHHRHHHHH3W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3              OXY3                4U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         OXY3                                                OXY3                   VVK3 VVKM3 VVK3 VVKM3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         OXY3                                                OXY3                   VVKK3 VVKMH3 VVKK3 VVKMH3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         OXY3                                                OXY3                   VVKMH3 VVKM3 VVKMH3 VVKM3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         51831933N523S56813                       [T33K3MF3                VLVKMM3VLVKMF3 VLVKMM3 VLVKMF3W3                 3       OXY3           OXY3 OXY3               OXY3                [U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         51831933N523S56813                       [T33FG3MF3               VLVKMF3VLLVKMG3 VLVKMF3 VLLVKMG3W3                 3 W33333333LHRHHHHH3 W3333LHRHHHHH3 OXY3           OXY3                4U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         51831933N523S56813                       [T33FK3LH3               VLVKMG3VLVKMK3 VLVKMG3 VLVKMK3W3                 3 W33333333LHRHHHHH3 W3333LHRHHHHH3 OXY3           OXY3                4U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         51831933N523S56813                       [T33FK3 3               VLVKMK3VLVKFH3 VLVKMK3 VLVKFH3W3                 3 W33333333LHRHHHHH3 W3333LHRHHHHH3 OXY3           OXY3                4U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         51831933N523S56813                       [T3LF3                VLVKFH3VLVKF3 VLVKFH3 VLVKF3W3                 3 W33333333LHRHHHHH3 W3333LHRHHHHH3 OXY3           OXY3                4U3
    D6S56813ELMIJ3[5123P93S513KKKFL3EGI3                         51831933N523S56813                       [T3LK3                VLVKF3VLVKFL3 VLVKF3 VLVKFL3W3                 3 W33333333LHRHHHHH3 W3333LHRHHHHH3 OXY3           OXY3                4U3
    D6S56813ELMIJ3[6`36293KGKLM3EGI3                                  [23413D585935183193                      OXY3                  MVHVK 3MVHVK3 MVHVK 3 MVHVK3W3                 3       OXY3           OXY3 OXY3               OXY3                [U3
    D63 3EMHIJ3D63 3EMHI3                                   51831933N523S56813                       [T33H 3HM3                VVKMG3 VVKMK3 VVKMG3 VVKMK3W3                      3 W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3              OXY3                4U3
    D63 3EMHIJ3D63 3EMHI3                                   51831933N523S56813                       [T33H 3HM3                VVKMK3 VVKFH3 VVKMK3 VVKFH3W3                      3 W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3              OXY3                4U3
    D63 3EMHIJ3D63 3EMHI3                                   51831933N523S56813                       [T33H 3HM3                VVKFH3 VVKF3 VVKFH3 VVKF3W3                      3 W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3              OXY3                4U3
    D63 3EMHIJ3D63 3EMHI3                                   N12613O63P653518319334622Q5R34S3   TUL3F3MK3               VVKFM3 VVKFF3 VVKFM3 VVKFF3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D63 3EMHIJ3D63 3EMHI3                                   S56813Z5183193                            D HLF K3                 VVKFM3 VVKFF3 VVKFM3 VVKFF3W333333RHHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                 OXY3                4U3
    D63 3EMHIJ3D63 3EMHI3                                   N12613O63P653518319334622Q5R34S3   TU3LLHLKL3                VVKFF3 VVKFG3 VVKFF3 VVKFG3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D63 3EMHIJ3D63 3EMHI3                                   S56813Z5183193                            D HLF K3                 VVKFF3 VVKFG3 VVKFF3 VVKFG3W333333RHHRHHHHH3W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3              OXY3                4U3
    D6Y13EFFIJ3D6Y13KFH3EFFI3                                            N12613O63P653518319334622Q5R34S3   TUL3FH33                VVKFM3 VVKFF3 VVKFM3 VVKFF3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D6Y13EFFIJ3D6Y13KFH3EFFI3                                            S56813Z5183193                            D HLF K3                 VVKFM3 VVKFF3 VVKFM3 VVKFF3W333333RHHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                 OXY3                4U3
    D6Y13EFFIJ3D6Y13KFH3EFFI3                                            N12613O63P653518319334622Q5R34S3   TU3LKKGF3                VVKFF3 VVKFG3 VVKFF3 VVKFG3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D6Y13EFFIJ3D6Y13KFH3EFFI3                                            S56813Z5183193                            D HLF K3                 VVKFF3 VVKFG3 VVKFF3 VVKFG3W333333RHHRHHHHH3W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3              OXY3                4U3
    D6Y13EFFIJ3[253Y13S513KLKKFH3EGI3                               51831933N523S56813                       [T333FM3               VL VKMM3VL VKMF3 VL VKMM3 VL VKMF3W3                 3 W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3           OXY3                4U3
    D6Y13EFFIJ3[253Y13S513KLKKFH3EGI3                               51831933N523S56813                       [T333FM3               VL VKMF3VL VKMG3 VL VKMF3 VL VKMG3W3                 3 W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3           OXY3                4U3
    D6Y13EFFIJ3[253Y13S513KLKKFH3EGI3                               51831933N523S56813                       [T333FM3               VL VKMG3VL VKMK3 VL VKMG3 VL VKMK3W3                 3 W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3           OXY3                4U3
    D6Y13EFFIJ3[253Y13S513KLKKFH3EGI3                               51831933N523S56813                       [T33H 33              VL VKMK3VL VKFH3 VL VKMK3 VL VKFH3W3                 3 W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3           OXY3                4U3
    D6Y13EFFIJ3[253Y13S513KLKKFH3EGI3                               51831933N523S56813                       [T33H 33              VL VKFH3 VVKFH3 VL VKFH3 VVKFH3W3                  3 W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3           OXY3                4U3
    D6623[3EMKMIJ3D6623[3EMKMI3                                         NY3_1 6535183193                          OXY3                   VVKFM3 VVKFF3 VVKFM3 VVKFF3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6623[3EMKMIJ3D6623[3EMKMI3                                         N12613O63P653518319334622Q5R34S3   TUL3MK3M3               VVKFM3 VVKFF3 VVKFM3 VVKFF3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D6623[3EMKMIJ3D6623[3EMKMI3                                         S56813Z5183193                            D HLF K3                 VVKFM3 VVKFF3 VVKFM3 VVKFF3W333333RHHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                 OXY3                4U3
    D6623[3EMKMIJ3D6623[3EMKMI3                                         NY3_1 6535183193                          ^S3H3                VVKFF3 VVKFG3 VVKFF3 VVKFG3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6623[3EMKMIJ3D6623[3EMKMI3                                         N12613O63P653518319334622Q5R34S3   TU3LKGM3                VVKFF3 VVKFG3 VVKFF3 VVKFG3W3 HHRHHHHH3W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3                       OXY3                4U3
    D6623[3EMKMIJ3D6623[3EMKMI3                                         S56813Z5183193                            D HLF K3                 VVKFF3 VVKFG3 VVKFF3 VVKFG3W333333RHHRHHHHH3W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3              OXY3                4U3
    D6635163EHLIJ3T2 3S513KKMG3EKGI3                                  OXY3                                                OXY3                  MVLMVKMF3MVLVKMG3 MVLMVKMF3 MVLVKMG3W3                 3 W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3           OXY3                [U3
    D6635163EHLIJ3T2 3S513KKMG3EKGI3                                  OXY3                                                OXY3                  MVLMVKMG3MVLMVKMK3 MVLMVKMG3 MVLMVKMK3W3                 3 W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3           OXY3                [U3
    D6635163EHLIJ3T2 3S513KKMG3EKGI3                                  OXY3                                                OXY3                  MVLMVKMK3MVLMVKFH3 MVLMVKMK3 MVLMVKFH3W3                 3 W33333333HHRHHHHH3 W3333HHRHHHHH3 OXY3           OXY3                [U3
    D6635163EHLIJ301Y153a193S513KLKMK3EHI3                         51831933N523S56813                                           LHF3HVMVK 3HVMVK 3 HVMVK 3HVMVK 3W3                 3       OXY3           OXY3 OXY3               OXY3                [U3
    D6635163EHLIJ301Y153a193S513KLKMK3EHI3                         4 6̀33_152535183163                  3G3KG3KM3               VMVKMM3VMVKMF3 VMVKMM3 VMVKMF3W3                 3       OXY3           OXY3 OXY3               OXY3                [U3
    D6635163EHLIJ301Y153a193S513KLKMK3EHI3                         4 6̀33_152535183163                  3G3KG3KM3               VMVKMF3VMVKMG3 VMVKMF3 VMVKMG3W3                 3       OXY3           OXY3 OXY3               OXY3                [U3
    D6635163EHLIJ301Y153a193S513KLKMK3EHI3                         4 6̀33_152535183163                  3G3KG3KM3               VMVKMG3VMVKMK3 VMVKMG3 VMVKMK3W3                 3       OXY3           OXY3 OXY3               OXY3                [U3
    D6635163EHLIJ36 3293KHKMK3EFLKI3                                 51831933N523S56813                       [T3OXY3              LVVKM3 VVKMM3 LVVKM3 VVKMM3W3                  3 W33333RHHHRHHHHH3W3RHHHRHHHHH3 OXY3              OXY3                [U3
    D6635163EHLIJ36 3293KHKMK3EFLKI3                                 51831933N523S56813                       [T33F3KK3                 VVKMM3 VVKMF3 VVKMM3 VVKMF3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6635163EHLIJ36 3293KHKMK3EFLKI3                                 51831933N523S56813                       [T33F3KK3                 VVKMF3 VVKMG3 VVKMF3 VVKMG3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3
    D6635163EHLIJ36 3293KHKMK3EFLKI3                                 51831933N523S56813                       [T33F3KK3                 VVKMG3 VVKMK3 VVKMG3 VVKMK3W3                   3       OXY3           OXY3 OXY3               OXY3                [U3




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    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       OP3 LJJ3                  IRIRIJKL3 IRIRIJKQ3 IRIRIJKL3 IRIRIJKQ3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       OP3 LJJ3                  IRIRIJKQ3 IRIRIJKJ3 IRIRIJKQ3 IRIRIJKJ3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       OP3 LJJ3                  IRIRIJKJ3 IRIRIJLF3 IRIRIJKJ3 IRIRIJLF3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       N2131129313O5293193                         N3IIFI3               RFRIJKJ3 RFRIJLF3 RFRIJKJ3 RFRIJLF3S3                  3 S3 TFFFFF3 S333333TFFFFF3 UVW3                 UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       OP QKL3                  IRIRIJLF3 IRIRIJLI3 IRIRIJLF3 IRIRIJLI3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D6635163EFGH3D6635163IJKQ3EFG3                                       N2131129313O5293193                       UVW3                   RFRIJLF3 RFRIJLI3 RFRIJLF3 RFRIJLI3S3                  3 S33333333IFFTFFFFF3 S3333IFFTFFFFF3 UVW3           UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       OP QKL3                  IRIRIJLI3 IRIRIJL3 IRIRIJLI3 IRIRIJL3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       OP QKL3                  IRIRIJL3 IRIRIJL3 IRIRIJL3 IRIRIJL3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       OP QKL3                  IRIRIJL3 IRIRIJL 3 IRIRIJL3 IRIRIJL 3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       YPJKLKK3                  IRIRIJL3 IRIRIJL 3 IRIRIJL3 IRIRIJL 3S333333ITFFFTFFFFF3S33333ITFFTFFFFF3S3ITFFTFFFFF3 UVW3                UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       Z43F3L3 3               IRIRIJL 3 IRIRIJL3 IRIRIJL 3 IRIRIJL3S3                  3 S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3           UVW3                4X3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       UVW3                   IRIRIJL 3 IRIRIJL3 IRIRIJL 3 IRIRIJL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       Z43F3L3 3               IRIRIJL3 IRIRIJLK3 IRIRIJL3 IRIRIJLK3S3                  3 S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3           UVW3                4X3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       UVW3                   IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       M12613U63[653518319334622\5T34N3   PXII3L3J3               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D6635163EFGH3D6635163IJKQ3EFG3                                       N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D6635163EFGH3D6635163IJKQ3EFG3                                       51831933M523N56813                       Z4KIILK3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D6635163EFGH3D6635163IJKQ3EFG3                                       M12613U63[653518319334622\5T34N3   PX3IFFJ 3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D6635163EFGH3D6635163IJKQ3EFG3                                       N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D66 663^193EIIGH3O1V3N513IJIJJ3EIIG3                             51831933M523N56813                       OP33F 3 3              KRFRIJKQ3KRFRIJKJ3 KRFRIJKQ3 KRFRIJKJ3S3                3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D66 663^193EIIGH3O1V3N513IJIJJ3EIIG3                             51831933M523N56813                       OP33F 3 3              KRFRIJKJ3KRFRIJLF3 KRFRIJKJ3 KRFRIJLF3S3                3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D66 663^193EIIGH3O1V3N513IJIJJ3EIIG3                             51831933M523N56813                       OP33F 3 3              KRFRIJLF3KRFRIJLI3 KRFRIJLF3 KRFRIJLI3S3                3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D66 663^193EIIGH3O1V3N513IJIJJ3EIIG3                             51831933M523N56813                       OP33I3KI3              KRFRIJLI3KRFRIJL3 KRFRIJLI3 KRFRIJL3S3                3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D66 663^193EIIGH3O1V3N513IJIJJ3EIIG3                             M12613U63[653518319334622\5T34N3   PXII3LF33               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D66 663^193EIIGH3O1V3N513IJIJJ3EIIG3                             N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D66 663^193EIIGH3O1V3N513IJIJJ3EIIG3                             M12613U63[653518319334622\5T34N3   PX3IIJJKJ3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D66 663^193EIIGH3O1V3N513IJIJJ3EIIG3                             N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          51831933M523N56813                       OP33F3FF3                KRIRIJK3 KRIRIJKK3 KRIRIJK3 KRIRIJKK3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          51831933M523N56813                       OP33F3FF3                KRIRIJKK3 KRIRIJKL3 KRIRIJKK3 KRIRIJKL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          51831933M523N56813                       OP33F3FF3                KRIRIJKL3 KRIRIJKQ3 KRIRIJKL3 KRIRIJKQ3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          51831933M523N56813                       OP33KJ3K3                 KRIRIJKQ3 KRIRIJKJ3 KRIRIJKQ3 KRIRIJKJ3S3                  3 S33333333FTFFFFF3 S3333FTFFFFF3 UVW3           UVW3                4X3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          51831933M523N56813                       OP33KJ3K3                 KRIRIJKJ3 KRIRIJLF3 KRIRIJKJ3 KRIRIJLF3S3                  3 S33333333FTFFFFF3 S3333FTFFFFF3 UVW3           UVW3                4X3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          51831933M523N56813                       OP33KJ3K3                 KRIRIJLF3 KRIRIJLI3 KRIRIJLF3 KRIRIJLI3S3                  3 S33333333FTFFFFF3 S3333FTFFFFF3 UVW3           UVW3                4X3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          51831933M523N56813                       OP33I3J3               KRIRIJLI3 KRIRIJL3 KRIRIJLI3 KRIRIJL3S3                  3 S33333333FTFFFFF3 S3333FTFFFFF3 UVW3           UVW3                4X3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          M12613U63[653518319334622\5T34N3   PXII3LF3J3               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          M12613U63[653518319334622\5T34N3   PX3IIJJQ3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D66 663^193EI IGH3O2123W13IJJIJJ3EILIG3                          N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D\63N513EGH3D\63N513EG3                                              51831933M523N56813                       OP3KJFL3                  RIRIJLF3 RIRIJLI3 RIRIJLF3 RIRIJLI3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D\63N513EGH3D\63N513EG3                                              51831933M523N56813                       OP3I FQ3                 RIRIJLI3 RIRIJL3 RIRIJLI3 RIRIJL3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D\63N513EGH3D\63N513EG3                                              MW3_1 6535183193                          UVW3                   IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D\63N513EGH3D\63N513EG3                                              M12613U63[653518319334622\5T34N3   PXII3KJ3II3               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D\63N513EGH3D\63N513EG3                                              N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D\63N513EGH3D\63N513EG3                                              MW3_1 6535183193                          UVW3                   IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D\63N513EGH3D\63N513EG3                                              M12613U63[653518319334622\5T34N3   PX3IIJQKI3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D\63N513EGH3D\63N513EG3                                              N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D23E LGH3D23E LG3                                                51831933M523N56813                       OP3JJK3                  RIRIJK3 RIRIJKK3 RIRIJK3 RIRIJKK3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D23E LGH3D23E LG3                                                51831933M523N56813                       OP3JJK3                  RIRIJKK3 RIRIJKL3 RIRIJKK3 RIRIJKL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D23E LGH3D23E LG3                                                51831933M523N56813                       OP3JJK3                  RIRIJKL3 RIRIJKQ3 RIRIJKL3 RIRIJKQ3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D23E LGH3D23E LG3                                                51831933M523N56813                       OP3KJF3                  RIRIJKQ3 RIRIJKJ3 RIRIJKQ3 RIRIJKJ3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D23E LGH3D23E LG3                                                51831933M523N56813                       OP3KJF3                  RIRIJKJ3 RIRIJLF3 RIRIJKJ3 RIRIJLF3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D23E LGH3D23E LG3                                                51831933M523N56813                       OP3KJF3                  RIRIJLF3 RIRIJLI3 RIRIJLF3 RIRIJLI3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D23E LGH3D23E LG3                                                51831933M523N56813                       OP3IJ3                 RIRIJLI3 RIRIJL3 RIRIJLI3 RIRIJL3S3                  3 S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3              UVW3                4X3
    D23E LGH3D23E LG3                                                M12613U63[653518319334622\5T34N3   PXII3LI33               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D23E LGH3D23E LG3                                                N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D23E LGH3D23E LG3                                                M12613U63[653518319334622\5T34N3   PX3IFIQ 3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D23E LGH3D23E LG3                                                N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D2113EIGH3D2113IJL3EIG3                                           _35183193                                                    IILIIL3 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D2113EIGH3D2113IJL3EIG3                                           M12613U63[653518319334622\5T34N3   PXII3LI3IL3               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D2113EIGH3D2113IJL3EIG3                                           N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D2113EIGH3D2113IJL3EIG3                                           M12613U63[653518319334622\5T34N3   PX3IFIKQ3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D2113EIGH3D2113IJL3EIG3                                           N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D2113EIGH3`253D2113IJ IJL3EFG3                                51831933M523N56813                       OP33I3K3                RIRIJLI3 RIRIJL3 RIRIJLI3 RIRIJL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D2113EIGH3`253D2113IJ IJL3EFG3                                51831933M523N56813                       ZN3II3KQ3L3              RIRIJL3IRIRIJL3 RIRIJL3 IRIRIJL3S3                 3 S33333333FTFFFFF3 S3333FTFFFFF3 UVW3           UVW3                4X3
    D51635163EFFGH3D51635163IJL3EFFG3                                 MW3_1 6535183193                          UVW3                   IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D51635163EFFGH3D51635163IJL3EFFG3                                 M12613U63[653518319334622\5T34N3   PXII3L33               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D51635163EFFGH3D51635163IJL3EFFG3                                 N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D51635163EFFGH3D51635163IJL3EFFG3                                 MW3_1 6535183193                          O4LI3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D51635163EFFGH3D51635163IJL3EFFG3                                 M12613U63[653518319334622\5T34N3   PX3IFFQL3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D51635163EFFGH3D51635163IJL3EFFG3                                 N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D23P1V53EKFKGH3X7553N513IJ IIJJ 3EKFKG3                            M12613U63[653518319334622\5T34N3   PXII3L3IJ3               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D23P1V53EKFKGH3X7553N513IJ IIJJ 3EKFKG3                            N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D23P1V53EKFKGH3X7553N513IJ IIJJ 3EKFKG3                            M12613U63[653518319334622\5T34N3   PX3IFJ3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D23P1V53EKFKGH3X7553N513IJ IIJJ 3EKFKG3                            N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D23P1V53EKFKGH3X7553N513IJ IIJJ 3EKFKG3                            O23413[65313D15635183193              KQ MN F3                RILRIJLL3RILRIJLQ3 RILRIJLL3 RILRIJLQ3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    D23P1V53EKFKGH3D23P1V53IJJ 3EKFKG3                                   U623O2123[6629313Z151293193             UVW3                   IRIRIJL3 IRIRIJLK3 IRIRIJL3 IRIRIJLK3S3                  3       UVW3           UVW3 UVW3               UVW3                OX3
    D23P1V53EKFKGH3D23P1V53IJJ 3EKFKG3                                   U623O2123[6629313Z151293193             UVW3                   IRIRIJL3 IRIRIJLK3 IRIRIJL3 IRIRIJLK3S3 FFTFFFFF3 UVW3                        UVW3 UVW3               UVW3                OX3
    D23P1V53EKFKGH3D23P1V53N513IJJIJJ 3EKFG3                          M12613U63[653518319334622\5T34N3   PXII3L3F3               IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D23P1V53EKFKGH3D23P1V53N513IJJIJJ 3EKFG3                          N56813]5183193                            D IFL J3                 IRIRIJLK3 IRIRIJLL3 IRIRIJLK3 IRIRIJLL3S333333ITFFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                UVW3                4X3
    D23P1V53EKFKGH3D23P1V53N513IJJIJJ 3EKFG3                          M12613U63[653518319334622\5T34N3   PX3IFQ3                IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S3 FFTFFFFF3S33333ITFFFTFFFFF3S3ITFFFTFFFFF3 UVW3                      UVW3                4X3
    D23P1V53EKFKGH3D23P1V53N513IJJIJJ 3EKFG3                          N56813]5183193                            D IFL J3                 IRIRIJLL3 IRIRIJLQ3 IRIRIJLL3 IRIRIJLQ3S333333ITFFTFFFFF3S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3             UVW3                4X3
    D2163̀ 23EIFKGH3D21676W3IJIIJKQ3EIFG3                            51831933M523N56813                       OP33J3L 3               RIRIJK3RIRIJKK3 RIRIJK3 RIRIJKK3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    D2163̀ 23EIFKGH3D21676W3IJIIJKQ3EIFG3                            51831933M523N56813                       OP33J3L 3               RIRIJKK3RIRIJKL3 RIRIJKK3 RIRIJKL3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    D2163̀ 23EIFKGH3D21676W3IJIIJKQ3EIFG3                            51831933M523N56813                       OP33J3L 3               RIRIJKL3RIRIJKQ3 RIRIJKL3 RIRIJKQ3S3                3       UVW3           UVW3 UVW3               UVW3                OX3
    D2163̀ 23EIFKGH3a513IJFF3EIFKG3                                  51831933M523N56813                       OP3F II3                RIRIJKQ3RIRIJKJ3 RIRIJKQ3 RIRIJKJ3S3                3 S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3           UVW3                4X3
    D2163̀ 23EIFKGH3a513IJFF3EIFKG3                                  51831933M523N56813                       OP3F II3                RIRIJKJ3RIRIJLF3 RIRIJKJ3 RIRIJLF3S3                3 S33333333FFTFFFFF3 S3333FFTFFFFF3 UVW3           UVW3                4X3




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C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       51831933N523O56813                       PQ3GFF3                RFRFLSG3RFRFLSF3 RFRFLSG3 RFRFLSF3T3                3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                4Y3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       51831933N523O56813                       VWX3                  RFRFLSF3 FRFRFLSM3 RFRFLSF3 FRFRFLSM3T3                 3       VWX3           VWX3 VWX3               VWX3                PY3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       256136293                                    C43HLZGS3               FFRFRFLS3FFRFRFLS3 FFRFRFLS3 FFRFRFLS3T3                3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                PY3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       51831933N523O56813                       [Q3FF3H3L3             MRFRFLS3 MRFRFLS3 MRFRFLS3 MRFRFLS3T3 GGUGGGGG3T33333MUGGGUGGGGG3T3MUGGGUGGGGG3 VWX3                     VWX3                4Y3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       256136293                                    C43HLZGS3               FFRFRFLS3FFRFRFLS3 FFRFRFLS3 FFRFRFLS3T3                3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                PY3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       51831933N523O56813                       [Q3FF3Z33              MRFRFLS3 MRFRFLSH3 MRFRFLS3 MRFRFLSH3T3 GGUGGGGG3T33333MUGGGUGGGGG3T3MUGGGUGGGGG3 VWX3                      VWX3                4Y3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       256136293                                    C43HLZGS3               FFRFRFLS3FFRFRFLSH3 FFRFRFLS3 FFRFRFLSH3T3                3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                PY3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       N12613V63\653518319334622]5U34O3   QYFMF3SG3GM3               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       VP3\6535183193                                               FGMSL3 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3 VWX3                        VWX3 VWX3               VWX3                PY3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       O56813^5183193                            C FGMSL3                 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T333333FUGGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                VWX3                4Y3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       VP3\6535183193                             O0GGH3                  FFRFRFLSH3 FRFRFLSS3 FFRFRFLSH3 FRFRFLSS3T3                 3       VWX3           VWX3 VWX3               VWX3                PY3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       N12613V63\653518319334622]5U34O3   QY3FMFLLL3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
C2163D23EFGHIJ3K513FLMGMG3EFGHI3                                       O56813^5183193                            C FGMSL3                 FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T333333FUGGUGGGGG3T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3             VWX3                4Y3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      O2131129313P5293193                       VWX3                   FRFRFLHF3 FRFRFLHM3 FRFRFLHF3 FRFRFLHM3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      O2131129313P5293193                       VWX3                   FRFRFLHM3 FRFRFLH3 FRFRFLHM3 FRFRFLH3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      O2131129313P5293193                       VWX3                   FRFRFLH3 FRFRFLH3 FRFRFLH3 FRFRFLH3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      O2131129313P5293193                       VWX3                   FRFRFLH3 FRFRFLH3 FRFRFLH3 FRFRFLH3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      O2131129313P5293193                       VWX3                   FRFRFLH3 FRFRFLHH3 FRFRFLH3 FRFRFLHH3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      N12613V63\653518319334622]5U34O3   QYFMF3SG3GS3               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      O56813^5183193                            C FGMSL3                 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T333333FUGGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                VWX3                4Y3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      N12613V63\653518319334622]5U34O3   QY3FMFLL3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
C2163D23EFGHIJ3P1W3^6753MGMG3EFFFI3                                      O56813^5183193                            C FGMSL3                 FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T333333FUGGUGGGGG3T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3             VWX3                4Y3
C21653O513EHFIJ3C21653O513EHFI3                                  51831933N523O56813                       PQ3ZS3                 HRRFLHH3 HRRFLHS3 HRRFLHH3 HRRFLHS3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
C21653O513EHFIJ3C21653O513EHFI3                                  51831933N523O56813                       PQ3ZS3                 HRRFLHS3 HRRFLHZ3 HRRFLHS3 HRRFLHZ3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
C21653O513EHFIJ3C21653O513EHFI3                                  51831933N523O56813                       PQ3ZS3                 HRRFLHZ3 HRRFLHL3 HRRFLHZ3 HRRFLHL3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
C21653O513EHFIJ3C21653O513EHFI3                                  51831933N523O56813                       PQ3FFZ3                 HRRFLHL3 HRRFLSG3 HRRFLHL3 HRRFLSG3T3                  3 T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3              VWX3                4Y3
C21653O513EHFIJ3C21653O513EHFI3                                  51831933N523O56813                       PQ3FFZ3                 HRRFLSG3 HRRFLSF3 HRRFLSG3 HRRFLSF3T3                  3 T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3              VWX3                4Y3
C21653O513EHFIJ3C21653O513EHFI3                                  51831933N523O56813                       PQ3FFZ3                 HRRFLSF3 HRRFLSM3 HRRFLSF3 HRRFLSM3T3                  3 T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3              VWX3                4Y3
C21653O513EHFIJ3C21653O513EHFI3                                  N12613V63\653518319334622]5U34O3   QYFMF3SM3H3               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
C21653O513EHFIJ3C21653O513EHFI3                                  O56813^5183193                            C FGMSL3                 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T333333FUGGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                VWX3                4Y3
C21653O513EHFIJ3C21653O513EHFI3                                  N12613V63\653518319334622]5U34O3   QY3FMMGMM3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
C21653O513EHFIJ3C21653O513EHFI3                                  O56813^5183193                            C FGMSL3                 FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T333333FUGGUGGGGG3T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3             VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               51831933N523O56813                       PQ3MZ3                HRMHRFLH3HRMHRFLHH3 HRMHRFLH3 HRMHRFLHH3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               51831933N523O56813                       PQ3MZ3                HRMHRFLHH3HRMHRFLHS3 HRMHRFLHH3 HRMHRFLHS3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               51831933N523O56813                       PQ3MZ3                HRMHRFLHS3HRMHRFLHZ3 HRMHRFLHS3 HRMHRFLHZ3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               51831933N523O56813                       PQSL3                 HRMHRFLHZ3HRMHRFLHL3 HRMHRFLHZ3 HRMHRFLHL3T3                3 T33333333MGUGGGGG3 T3333MGUGGGGG3 VWX3           VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               51831933N523O56813                       PQSL3                 HRMHRFLHL3HRMHRFLSG3 HRMHRFLHL3 HRMHRFLSG3T3                3 T33333333MGUGGGGG3 T3333MGUGGGGG3 VWX3           VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               51831933N523O56813                       PQSL3                 HRMHRFLSG3HRMHRFLSF3 HRMHRFLSG3 HRMHRFLSF3T3                3 T33333333MGUGGGGG3 T3333MGUGGGGG3 VWX3           VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               51831933N523O56813                       PQ3MMG3                HRMHRFLSF3HRMRFLSM3 HRMHRFLSF3 HRMRFLSM3T3                3 T33333333MGUGGGGG3 T3333MGUGGGGG3 VWX3           VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               51831933N523O56813                       PQ3MMG3                HRMHRFLSM3 MRFRFLS3 HRMHRFLSM3 MRFRFLS3T3                 3 T33333333MGUGGGGG3 T3333MGUGGGGG3 VWX3           VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               NX3̀1 6535183193                          VWX3                   FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               N12613V63\653518319334622]5U34O3   QYFMF3S3GF3               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               O56813^5183193                            C FGMSL3                 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T333333FUGGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               NX3̀1 6535183193                          VWX3                   FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               N12613V63\653518319334622]5U34O3   QY3FMMGGHL3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
CW63_193EHSIJ3CW63_193FLH3EHSI3                               O56813^5183193                            C FGMSL3                 FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T333333FUGGUGGGGG3T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3             VWX3                4Y3
N15511223EHIJ3O1X3FLGMGFH3EMMI3                                       51831933N523O56813                       PQ33F3F3               RFRFLSG3 RFRFLSF3 RFRFLSG3 RFRFLSF3T3                  3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                4Y3
N15511223EHIJ3O1X3FLGMGFH3EMMI3                                       51831933N523O56813                       PQ33F3F3               RFRFLSF3 RFRFLSM3 RFRFLSF3 RFRFLSM3T3                  3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                4Y3
N15511223EHIJ3O1X3FLGMGFH3EMMI3                                       51831933N523O56813                       PQ33F3F3               RFRFLSM3 FRFRFLS3 RFRFLSM3 FRFRFLS3T3                  3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                4Y3
N15511223EHIJ3O1X3FLGMGFH3EMMI3                                       N12613V63\653518319334622]5U34O3   QYFMF3SG3ZM3               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N15511223EHIJ3O1X3FLGMGFH3EMMI3                                       O56813^5183193                            C FGMSL3                 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T333333FUGGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                VWX3                4Y3
N15511223EHIJ3O1X3FLGMGFH3EMMI3                                       N12613V63\653518319334622]5U34O3   QY3FMMGF3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N15511223EHIJ3O1X3FLGMGFH3EMMI3                                       O56813^5183193                            C FGMSL3                 FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T333333FUGGUGGGGG3T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3             VWX3                4Y3
N15511223EHIJ318123FLFLSF3EMI3                                       51831933N523O56813                       PQ3GMS3                FFRFRFLH3FFRFRFLHH3 FFRFRFLH3 FFRFRFLHH3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ318123FLFLSF3EMI3                                       51831933N523O56813                       PQ3GMS3                FFRFRFLHH3FFRFRFLHS3 FFRFRFLHH3 FFRFRFLHS3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ318123FLFLSF3EMI3                                       51831933N523O56813                       PQ3GMS3                FFRFRFLHS3FFRFRFLHZ3 FFRFRFLHS3 FFRFRFLHZ3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ318123FLFLSF3EMI3                                       51831933N523O56813                       PQ3GHF3                FFRFRFLHZ3FFRFRFLHL3 FFRFRFLHZ3 FFRFRFLHL3T3                3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                4Y3
N15511223EHIJ318123FLFLSF3EMI3                                       51831933N523O56813                       PQ3GHF3                FFRFRFLHL3FFRFRFLSG3 FFRFRFLHL3 FFRFRFLSG3T3                3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                4Y3
N15511223EHIJ318123FLFLSF3EMI3                                       51831933N523O56813                       PQ3GHF3                FFRFRFLSG3FFRFRFLSF3 FFRFRFLSG3 FFRFRFLSF3T3                3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                4Y3
N15511223EHIJ3C]93068W3FLSFMGGF3EMI3                                     N12613V63\653518319334622]5U34O3   QYFMF3SG3SL3               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N15511223EHIJ3C]93068W3FLSFMGGF3EMI3                                     O56813^5183193                            C FGMSL3                 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T333333FUGGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                VWX3                4Y3
N15511223EHIJ3C]93068W3FLSFMGGF3EMI3                                     NX3̀1 6535183193                          P4HLGH3                FRFRFLSH3FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3C]93068W3FLSFMGGF3EMI3                                     N12613V63\653518319334622]5U34O3   QY3FMMGFG3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N15511223EHIJ3C]93068W3FLSFMGGF3EMI3                                     O56813^5183193                            C FGMSL3                 FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T333333FUGGUGGGGG3T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3             VWX3                4Y3
N15511223EHIJ3C]93068W3FLSFMGGF3EMI3                                     NX3̀1 6535183193                          P4HLGH3                FRFRFLSS3FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3C]93068W3FLSFMGGF3EMI3                                     NX3̀1 6535183193                          P4HLGH3                FRFRFLSZ3FRFRFLSL3 FRFRFLSZ3 FRFRFLSL3T3                3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3N15511223FLG3EHI3                                       4 6a35183193                                K4ZGFGGS3               FRFRFLHS3 FRFRFLHZ3 FRFRFLHS3 FRFRFLHZ3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3N15511223FLG3EHI3                                       4 6a35183193                                K4ZGFGGS3               FRFRFLHZ3 FRFRFLHL3 FRFRFLHZ3 FRFRFLHL3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3N15511223FLG3EHI3                                       4 6a35183193                                K4ZGFGGS3               FRFRFLHL3 FRFRFLSG3 FRFRFLHL3 FRFRFLSG3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3N15511223FLG3EHI3                                        517536293193                             N0HHFLZL3                 FRFRFLSG3 FRFRFLSF3 FRFRFLSG3 FRFRFLSF3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3N15511223FLG3EHI3                                        517536293193                             N0HHFLZL3                 FRFRFLSF3 FRFRFLSM3 FRFRFLSF3 FRFRFLSM3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3N15511223FLG3EHI3                                        517536293193                             N0HHFLZL3                 FRFRFLSM3 FRFRFLS3 FRFRFLSM3 FRFRFLS3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
N15511223EHIJ3N15511223FLG3EHI3                                       N12613V63\653518319334622]5U34O3   QYFMF3S33               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N15511223EHIJ3N15511223FLG3EHI3                                       N12613V63\653518319334622]5U34O3   QY3FMMGMSS3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N1261316213O513EZMIJ3N1261316213O513FLFF3EZMI3                     N12613V63\653518319334622]5U34O3   QYFMF3HL3S3               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N1261316213O513EZMIJ3N1261316213O513FLFF3EZMI3                     N12613V63\653518319334622]5U34O3   QY3FMFLLM3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N1261316213O513EZMIJ3N1261316213O513FLFF3EZMI3                     O2135183193                                 PC433ML3H3              RFRFLZF3 RFRFLZM3 RFRFLZF3 RFRFLZM3T3                  3       VWX3           VWX3 VWX3               VWX3                PY3
N1261316213O513EZMIJ3N1261316213O513FLFF3EZMI3                     O2135183193                                 443M3Z3ZG3              RFRFLZM3 RFRFLZ3 RFRFLZM3 RFRFLZ3T3                  3 T33333333FGGUGGGGG3 T3333FGGUGGGGG3 VWX3           VWX3                4Y3
N1261316213O513EZMIJ3_656313FLHMGF3EFGI3                         N12613V63\653518319334622]5U34O3   QYFMF3S3GZ3               FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
N1261316213O513EZMIJ3_656313FLHMGF3EFGI3                         O56813^5183193                            C FGMSL3                 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T333333FUGGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                VWX3                4Y3
N1261316213O513EZMIJ3_656313FLHMGF3EFGI3                         N12613V63\653518319334622]5U34O3   QY3FMMGMG3                FRFRFLSS3 FRFRFLSZ3 FRFRFLSS3 FRFRFLSZ3T3 GGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                      VWX3                4Y3
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N12613K683ELLLIJ3N12613K683FLFLSL3ELLLI3                           O56813^5183193                            C FGMSL3                 FRFRFLSH3 FRFRFLSS3 FRFRFLSH3 FRFRFLSS3T333333FUGGUGGGGG3T33333FUGGGUGGGGG3T3FUGGGUGGGGG3 VWX3                VWX3                4Y3
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N7113O513EMLIJ3N7113O513EMLI3                                            O56813Y95b35183193                    O\3DG3GG3FG3              RFRFLS3 RFRFLS3 RFRFLS3 RFRFLS3T3                  3 T33333333GGUGGGGG3 T3333GGUGGGGG3 VWX3           VWX3                4Y3
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CW3N65233K53EHI3\1556L53D513PGFRPGT3EPH3                     51831933C523D56813                       N3P3                 ZSFQSPGZ3ZSFQSPGR3 ZSFQSPGZ3 ZSFQSPGR3U3                   3 U3 QMQQQQQ3 U333333QMQQQQQ3 JVW3                 JVW3                4O3
CW3N65233K53EHI3]923D513PGTFQPQ3EPH3                       51831933C523D56813                       NFPT3                PQSFQSPGZ3PQSFQSPGZ3 PQSFQSPGZ3PQSFQSPGZ3U3                 3       JVW3           JVW3 JVW3               JVW3                [O3
CW3N65233K53EHI3]923D513PGTFQPQ3EPH3                       51831933C523D56813                       NFPT3                PQSFQSPGZ3PQSFQSPGZZ3 PQSFQSPGZ3PQSFQSPGZZ3U3                 3       JVW3           JVW3 JVW3               JVW3                [O3
CW3N65233K53EHI3]923D513PGTFQPQ3EPH3                       51831933C523D56813                       NFPT3                PQSFQSPGZZ3PQSFQSPGZR3 PQSFQSPGZZ3PQSFQSPGZR3U3                 3       JVW3           JVW3 JVW3               JVW3                [O3
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CW3N65233K53EHI3]923D513PGTFQPQ3EPH3                       C12613J63K653518319334622L5M34D3   NOPFP3R3R3              PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
CW3N65233K53EHI3]923D513PGTFQPQ3EPH3                       D56813X5183193                            Y PQFRG3                PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U333333PMQQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                   JVW3                4O3
CW3N65233K53EHI3]923D513PGTFQPQ3EPH3                       C12613J63K653518319334622L5M34D3   NO3PFFQQGF3               PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
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CW3N65233K53EHI3^5VD1 3D513PGFFQPQ3EH3                     D56813X5183193                            Y PQFRG3                PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U333333PMQQMQQQQQ3U33333333QQMQQQQQ3 U3333QQMQQQQQ3 JVW3                JVW3                4O3
CW3N65233K53EHI3^5VD1 3D513PGFFQPQ3EH3                     C12613K65351831933\15253             NP3ZQPGZ3              PSPSPGGZ3 PSPSPGGR3 PSPSPGGZ3 PSPSPGGR3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
CW3N65233K53EHI3^5VD1 3D513PGFFQPQ3EH3                     C12613K65351831933\15253             NP3ZQPGZ3              PSPSPGGR3 PSPSPGGT3 PSPSPGGR3 PSPSPGGT3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         51831933C523D56813                       [N3T3                STSPGZZ3 STSPGZR3 STSPGZZ3 STSPGZR3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         51831933C523D56813                       [N3T3                STSPGZR3 STSPGZT3 STSPGZR3 STSPGZT3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         51831933C523D56813                       [N3T3                STSPGZT3 STSPGZG3 STSPGZT3 STSPGZG3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         51831933C523D56813                       [N3Q3                STSPGZG3 STSPGRQ3 STSPGZG3 STSPGRQ3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         51831933C523D56813                       [N3Q3                STSPGRQ3 STSPGRP3 STSPGRQ3 STSPGRP3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         51831933C523D56813                       [N3Q3                STSPGRP3 SRSPGRF3 STSPGRP3 SRSPGRF3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         C12613J63K653518319334622L5M34D3   NOPFP3ZG3RT3              PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         D56813X5183193                            Y PQFRG3                PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U333333PMQQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                   JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         C12613J63K653518319334622L5M34D3   NO3PFPGGFZ3               PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C523K5613ETRHI3C523K5613ETRH3                                         D56813X5183193                            Y PQFRG3                PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U333333PMQQMQQQQQ3U33333333QQMQQQQQ3 U3333QQMQQQQQ3 JVW3                JVW3                4O3
C52123_5613EPQPHI3C52123_5613PGPGGR3EPQPH3                        C12613J63K653518319334622L5M34D3   NOPFP3ZG3TT3              PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C52123_5613EPQPHI3C52123_5613PGPGGR3EPQPH3                        D56813X5183193                            Y PQFRG3                PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U333333PMQQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                   JVW3                4O3
C52123_5613EPQPHI3C52123_5613PGPGGR3EPQPH3                        C12613J63K653518319334622L5M34D3   NO3PFPGGZ3               PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C52123_5613EPQPHI3C52123_5613PGPGGR3EPQPH3                        D56813X5183193                            Y PQFRG3                PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U333333PMQQMQQQQQ3U33333333QQMQQQQQ3 U3333QQMQQQQQ3 JVW3                JVW3                4O3
C52123663EPFGHI3O7123PGPZPGZG3EPFH3                                51831933C523D56813                       [NFGPG3                FSFSPGZZ3FSFSPGZR3 FSFSPGZZ3 FSFSPGZR3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C52123663EPFGHI3O7123PGPZPGZG3EPFH3                                51831933C523D56813                       [NFQ3                FSFSPGZR3FSFSPGZT3 FSFSPGZR3 FSFSPGZT3U3                   3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C52123663EPFGHI3O7123PGPZPGZG3EPFH3                                51831933C523D56813                       [NFPT3                FSFSPGZT3FSFSPGZG3 FSFSPGZT3 FSFSPGZG3U3                   3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C52123663EPFGHI3O7123PGPZPGZG3EPFH3                                51831933C523D56813                       [NFPT3                FSFSPGZG3ZSPFSPGZG3 FSFSPGZG3 ZSPFSPGZG3U3                   3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C52123663EPFGHI3O712C523[53D513PGZGPGRP3EPFGH3                  51831933C523D56813                       [N3PTP3               ZSPFSPGZG3ZSFSPGRQ3 ZSPFSPGZG3 ZSFSPGRQ3U3                   3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C52123663EPFGHI3O712C523[53D513PGZGPGRP3EPFGH3                  51831933C523D56813                       [N3PT3               ZSFSPGRQ3ZSFSPGRP3 ZSFSPGRQ3 ZSFSPGRP3U3                   3 U33333333QQMQQQQQ3 U3333QQMQQQQQ3 JVW3           JVW3                4O3
C52123663EPFGHI3C52123663PGRP3EPFGH3                            51831933C523D56813                       _D3FRGZF3               ZSFSPGRP3ZSFSPGRF3 ZSFSPGRP3 ZSFSPGRF3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C52123663EPFGHI3C52123663PGRP3EPFGH3                            51831933C523D56813                       _D3FTQPR3               ZSFSPGRF3PFSPSPGRF3 ZSFSPGRF3 PFSPSPGRF3U3                   3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C52123663EPFGHI3C52123663PGRP3EPFGH3                            CW3\1 6535183193                          JVW3                  PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U3                     3       JVW3           JVW3 JVW3               JVW3                [O3
C52123663EPFGHI3C52123663PGRP3EPFGH3                            C12613J63K653518319334622L5M34D3   NOPFP3RQ3PZ3              PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C52123663EPFGHI3C52123663PGRP3EPFGH3                            D56813X5183193                            Y PQFRG3                PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U333333PMQQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                   JVW3                4O3
C52123663EPFGHI3C52123663PGRP3EPFGH3                            CW3\1 6535183193                          JVW3                  PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U3                     3       JVW3           JVW3 JVW3               JVW3                [O3
C52123663EPFGHI3C52123663PGRP3EPFGH3                            C12613J63K653518319334622L5M34D3   NO3PFPGGZF3               PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C52123663EPFGHI3C52123663PGRP3EPFGH3                            D56813X5183193                            Y PQFRG3                PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U333333PMQQMQQQQQ3U33333333QQMQQQQQ3 U3333QQMQQQQQ3 JVW3                JVW3                4O3
C52123663EPFGHI3̀1V34163PGQPGRP3EPFZH3                              51831933C523D56813                       [N3F3QF33             ZSFPSPGZZ3ZSFPSPGZR3 ZSFPSPGZZ3 ZSFPSPGZR3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C52123663EPFGHI3̀1V34163PGQPGRP3EPFZH3                              51831933C523D56813                       [N3F3PQ3F3             ZSFPSPGZR3ZSFPSPGZT3 ZSFPSPGZR3 ZSFPSPGZT3U3                   3 U33333333FQMQQQQQ3 U3333FQMQQQQQ3 JVW3           JVW3                4O3
C52123663EPFGHI3̀1V34163PGQPGRP3EPFZH3                              51831933C523D56813                       [N3F3P3P3             ZSFPSPGZT3ZSFPSPGZG3 ZSFPSPGZT3 ZSFPSPGZG3U3                   3 U33333333FQMQQQQQ3 U3333FQMQQQQQ3 JVW3           JVW3                4O3
C52123663EPFGHI3̀1V34163PGQPGRP3EPFZH3                              51831933C523D56813                       [N3PTQT3               ZSFPSPGZG3ZSFPSPGRQ3 ZSFPSPGZG3 ZSFPSPGRQ3U3                   3 U33333333FQMQQQQQ3 U3333FQMQQQQQ3 JVW3           JVW3                4O3
C52123663EPFGHI3̀1V34163PGQPGRP3EPFZH3                              51831933C523D56813                       [N3PTQT3               ZSFPSPGRQ3ZSFPSPGRP3 ZSFPSPGRQ3 ZSFPSPGRP3U3                   3 U33333333FQMQQQQQ3 U3333FQMQQQQQ3 JVW3           JVW3                4O3
C52123663EPFGHI3̀1V34163PGQPGRP3EPFZH3                              51831933C523D56813                       [N3PTQT3               ZSFPSPGRP3PFSFQSPGRF3 ZSFPSPGRP3PFSFQSPGRF3U3                  3 U33333333FQMQQQQQ3 U3333FQMQQQQQ3 JVW3           JVW3                4O3
C52123W13EPRTHI3C52123W13EPRTH3                                       Y1591311293193                               PQTZRZR3                 RSRSPGR3 RSRSPGT3 RSRSPGR3 RSRSPGT3U3                     3       JVW3           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       Y1591311293193                               JVW3                  RSRSPGT3 RSPSPGG3 RSRSPGT3 RSPSPGG3U3                     3       JVW3           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       \36293193                                 _D3QFQP3              RSPSPGG3RSPSPGZQ3 RSPSPGG3 RSPSPGZQ3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       \36293193                                 _D3QFQP3              RSPSPGZQ3RSPSPGZP3 RSPSPGZQ3 RSPSPGZP3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       \36293193                                 _D3QFQP3              RSPSPGZP3RSPRSPGZF3 RSPSPGZP3 RSPRSPGZF3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       D56813[21235183193                        JVW3                  PSPSPGR3 PSPSPGR3 PSPSPGR3 PSPSPGR3U3                     3       JVW3           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       J623[2123K6629313_151293193             JVW3                  PSPSPGR3 PSPSPGR3 PSPSPGR3 PSPSPGR3U3 QQMQQQQQ3 JVW3                           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       D56813[21235183193                        JVW3                  PSPSPGR3 PSPSPGRZ3 PSPSPGR3 PSPSPGRZ3U3                     3       JVW3           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       J623[2123K6629313_151293193             JVW3                  PSPSPGR3 PSPSPGRZ3 PSPSPGR3 PSPSPGRZ3U3 QQMQQQQQ3 JVW3                           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       D56813[21235183193                        JVW3                  PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U3                     3       JVW3           JVW3 JVW3               JVW3                [O3
C52123W13EPRTHI3C52123W13EPRTH3                                       C12613J63K653518319334622L5M34D3   NOPFP3RQ3F3              PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C52123W13EPRTHI3C52123W13EPRTH3                                       D56813X5183193                            Y PQFRG3                PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U333333PMQQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                   JVW3                4O3
C52123W13EPRTHI3C52123W13EPRTH3                                       C12613J63K653518319334622L5M34D3   NO3PFPGGTT3               PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C52123W13EPRTHI3C52123W13EPRTH3                                       D56813X5183193                            Y PQFRG3                PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U333333PMQQMQQQQQ3U33333333QQMQQQQQ3 U3333QQMQQQQQ3 JVW3                JVW3                4O3
C5212534971613EQPHI3D2518623PGFRPGRQ3EPH3                       51831933C523D56813                       [N33FG3RQ3              SPSPGZR3 SPSPGZT3 SPSPGZR3 SPSPGZT3U3                     3       JVW3           JVW3 JVW3               JVW3                [O3
C5212534971613EQPHI3D2518623PGFRPGRQ3EPH3                       51831933C523D56813                       [N33ZG33              SPSPGZT3 SPSPGZG3 SPSPGZT3 SPSPGZG3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C5212534971613EQPHI3D2518623PGFRPGRQ3EPH3                       51831933C523D56813                       [N33ZG33              SPSPGZG3 SPSPGRQ3 SPSPGZG3 SPSPGRQ3U3                     3 U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3              JVW3                4O3
C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      51831933C523D56813                       [N3TG3               SQSPGZT3SQSPGZG3 SQSPGZT3 SQSPGZG3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      51831933C523D56813                       [N3TG3               SQSPGZG3SQSPGRQ3 SQSPGZG3 SQSPGRQ3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      51831933C523D56813                       [N3TG3               SQSPGRQ3SQSPGRP3 SQSPGRQ3 SQSPGRP3U3                   3       JVW3           JVW3 JVW3               JVW3                [O3
C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      51831933C523D56813                       [N3QRP3               SQSPGRP3SFGSPGRF3 SQSPGRP3 SFGSPGRF3U3                   3 U33333333FQMQQQQQ3 U3333FQMQQQQQ3 JVW3           JVW3                4O3
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C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      51831933C523D56813                       [N3QRP3               SQSPGR3SQSPGR3 SQSPGR3 SQSPGR3U3                   3 U33333333FQMQQQQQ3 U3333FQMQQQQQ3 JVW3           JVW3                4O3
C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      51831933C523D56813                       _43Z3G3P3            SQSPGR3SQSPGR3 SQSPGR3 SQSPGR3U3                   3 U33333333QQMQQQQQ3 U3333QQMQQQQQ3 JVW3           JVW3                [O3
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C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      C12613J63K653518319334622L5M34D3   NOPFP3R3Z3              PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U3 QQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                         JVW3                4O3
C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      D56813X5183193                            Y PQFRG3                PSPSPGRZ3 PSPSPGRR3 PSPSPGRZ3 PSPSPGRR3U333333PMQQMQQQQQ3U33333PMQQQMQQQQQ3U3PMQQQMQQQQQ3 JVW3                   JVW3                4O3
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C5212534971613EQPHI3K5231V3PGZFPGGQ3EQPH3                      D56813X5183193                            Y PQFRG3                PSPSPGRR3 PSPSPGRT3 PSPSPGRR3 PSPSPGRT3U333333PMQQMQQQQQ3U33333333QQMQQQQQ3 U3333QQMQQQQQ3 JVW3                JVW3                4O3
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                                !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#' 5&0#&'60&$' 7%.'60&$' !("%    )*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
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C5212534971613DEFGH343I2163FJKEFJJE3DLLG3                 C12613S63W653518319334622X5R34M3   OVFLF3K33                FPFPFJKY3 FPFPFJKK3 FPFPFJKY3 FPFPFJKK3Q3 EEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                        STU3                4V3
C5212534971613DEFGH343I2163FJKEFJJE3DLLG3                 M56813Z5183193                            I FELKJ3                  FPFPFJKY3 FPFPFJKK3 FPFPFJKY3 FPFPFJKK3Q333333FREEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                  STU3                4V3
C5212534971613DEFGH343I2163FJKEFJJE3DLLG3                 M2131129313N5293193                       MOLLFFK3               FLPFPFJKY3FLPFPFJKK3 FLPFPFJKY3FLPFPFJKK3Q3                3 Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3           STU3                NV3
C5212534971613DEFGH343I2163FJKEFJJE3DLLG3                 C12613S63W653518319334622X5R34M3   OV3FLLEEJJ3                 FPFPFJKK3 FPFPFJK[3 FPFPFJKK3 FPFPFJK[3Q3 EEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                        STU3                4V3
C5212534971613DEFGH343I2163FJKEFJJE3DLLG3                 M56813Z5183193                            I FELKJ3                  FPFPFJKK3 FPFPFJK[3 FPFPFJKK3 FPFPFJK[3Q333333FREEREEEEE3Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3               STU3                4V3
C5212534971613DEFGH3\963]193FJLFJYJ3DLG3                51831933C523M56813                       NO333KL3                FPFPFJYY3 FPFPFJYK3 FPFPFJYY3 FPFPFJYK3Q3                    3 Q33333333LEREEEEE3 Q3333LEREEEEE3 STU3           STU3                4V3
C5212534971613DEFGH3\963]193FJLFJYJ3DLG3                51831933C523M56813                       NO333KL3                FPFPFJYK3 FPFPFJY[3 FPFPFJYK3 FPFPFJY[3Q3                    3 Q33333333LEREEEEE3 Q3333LEREEEEE3 STU3           STU3                4V3
C5212534971613DEFGH3\963]193FJLFJYJ3DLG3                51831933C523M56813                       NO333KL3                FPFPFJY[3 FPFPFJYJ3 FPFPFJY[3 FPFPFJYJ3Q3                    3 Q33333333LEREEEEE3 Q3333LEREEEEE3 STU3           STU3                4V3
C5212534971613DEFGH3\963]193FJLFJYJ3DLG3                51831933C523M56813                       NO3E3                  FPFPFJYJ3 FPFPFJKE3 FPFPFJYJ3 FPFPFJKE3Q3                    3 Q33333333LEREEEEE3 Q3333LEREEEEE3 STU3           STU3                4V3
C5212534971613DEFGH3\963]193FJLFJYJ3DLG3                51831933C523M56813                       NO3E3                  FPFPFJKE3 PFPFJKE3 FPFPFJKE3 PFPFJKE3Q3                    3 Q33333333LEREEEEE3 Q3333LEREEEEE3 STU3           STU3                4V3
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C5253623DLJGH31T3M1 6^3FJFJK3DEG3                             51831933C523M56813                       NO33Y3L3                KPFPFJYJ3 KPFPFJKE3 KPFPFJYJ3 KPFPFJKE3Q3                    3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253623DLJGH31T3M1 6^3FJFJK3DEG3                             51831933C523M56813                       NO33Y3KE3                KPFPFJKE3 KPFPFJKF3 KPFPFJKE3 KPFPFJKF3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253623DLJGH31T3M1 6^3FJFJK3DEG3                             51831933C523M56813                       NO33Y3JE3                KPFPFJKF3 KPFPFJKL3 KPFPFJKF3 KPFPFJKL3Q3                    3 Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3           STU3                4V3
C5253623DLJGH31T3M1 6^3FJFJK3DEG3                             51831933C523M56813                       _M3F3K3YF3               KPFPFJKL3FFPFEPFJKL3 KPFPFJKL3FFPFEPFJKL3Q3                  3 Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3           STU3                4V3
C5253623DLJGH3I6 563]193FJLJFJK3DLG3                          51831933C523M56813                       NO33Y3YE3               FPFKPFJKE3FPFKPFJKF3 FPFKPFJKE3 FPFKPFJKF3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253623DLJGH3I6 563]193FJLJFJK3DLG3                          51831933C523M56813                       NO33Y3K[3               FPFKPFJKF3FPFKPFJKL3 FPFKPFJKF3 FPFKPFJKL3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
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C5253623DLJGH3C5253623FJK3DLJG3                                51831933C523M56813                       aO3FLFJ3                 FPFPFJK3 FPFPFJKY3 FPFPFJK3 FPFPFJKY3Q3 EEREEEEE3Q33333LREEEREEEEE3Q3LREEEREEEEE3 STU3                        STU3                4V3
C5253623DLJGH3C5253623FJK3DLJG3                                C12613S63W653518319334622X5R34M3   OVFLF3KF3J3                FPFPFJKY3 FPFPFJKK3 FPFPFJKY3 FPFPFJKK3Q3 EEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                        STU3                4V3
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C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        S623N2123W6629313_151293193                                 LEEFF3 YPFPFJJ3 YPFPFJE3 YPFPFJJ3 YPFPFJE3Q3                     3 Q3 FEREEEEE3 Q333333FEREEEEE3 STU3                 STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        S623N2123W6629313_151293193             _M3L[JJ3                  YPFPFJE3 YPFPFJF3 YPFPFJE3 YPFPFJF3Q3                    3 Q3 FEREEEEE3 Q333333FEREEEEE3 STU3                 STU3                NV3
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C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        2513N5293b35183551263                  43FFYL3                  YPFPFJ3 YPFPFJ3 YPFPFJ3 YPFPFJ3Q3                    3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        2513N5293b35183551263                  43FKLY3                  YPFPFJ3 YPFPFJ3 YPFPFJ3 YPFPFJ3Q3                    3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        M56813112931933Z16R34971613       3KFK[F3                   YPFPFJ3 YPFPFJY3 YPFPFJ3 YPFPFJY3Q3                    3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        M56813112931933Z16R34971613       FFEK3                   YPFPFJY3 YPFPFJK3 YPFPFJY3 YPFPFJK3Q3                    3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        M56813112931933Z16R34971613       FEJY3                   YPFPFJK3 YPFPFJ[3 YPFPFJK3 YPFPFJ[3Q3                    3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        M56813112931933Z16R34971613                          FF[F3 YPFPFJ[3 YPFPFJJ3 YPFPFJ[3 YPFPFJJ3Q3                     3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        M56813112931933Z16R34971613                          FLEYYY3 YPFPFJJ3 YPFPFJYE3 YPFPFJJ3 YPFPFJYE3Q3                     3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        M56813112931933Z16R34971613       KEEJE3                    YPFPFJYE3 YPFPFJYF3 YPFPFJYE3 YPFPFJYF3Q3                    3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        M56813112931933Z16R34971613       KEEJ3                    YPFPFJYF3 YPFPFJYL3 YPFPFJYF3 YPFPFJYL3Q3                    3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        M56813112931933Z16R34971613       FKYJK3                   YPFPFJYL3 YPFPFJY3 YPFPFJYL3 YPFPFJY3Q3                    3 Q33333333FEEREEEEE3 Q3333FEEREEEEE3 STU3           STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       STU3                    YPFPFJY3 YPFPFJY3 YPFPFJY3 YPFPFJY3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       STU3                    YPFPFJY3 YPFPFJY3 YPFPFJY3 YPFPFJY3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       STU3                    YPFPFJY3 YPFPFJYY3 YPFPFJY3 YPFPFJYY3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       STU3                    YPFPFJYY3 YPFPFJYK3 YPFPFJYY3 YPFPFJYK3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       STU3                    YPFPFJYK3 YPFPFJY[3 YPFPFJYK3 YPFPFJY[3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       NOYJ3                  [PFYPFJY[3[PFYPFJYJ3 [PFYPFJY[3 [PFYPFJYJ3Q3                  3 Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3           STU3                4V3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       NO33Y3E3               [PFYPFJYJ3[PFYPFJKE3 [PFYPFJYJ3 [PFYPFJKE3Q3                  3 Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3           STU3                4V3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       NO33Y3K3               [PFYPFJKE3[PFYPFJKF3 [PFYPFJKE3 [PFYPFJKF3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253623DLJGH3Z3Z6753]193FJLFJK3DLJG3                        51831933C523M56813                       NO3Y[[3                 [PFYPFJKF3[PFYPFJKL3 [PFYPFJKF3 [PFYPFJKL3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3M T13FJJFJKL3DG3                              51831933C523M56813                       NO3[3                 PLPFJYY3PLPFJYK3 PLPFJYY3 PLPFJYK3Q3                  3 Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3           STU3                4V3
C5253CU3c593DGH3M T13FJJFJKL3DG3                              51831933C523M56813                       NO3[3                 PLPFJYK3PLPFJY[3 PLPFJYK3 PLPFJY[3Q3                  3 Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3           STU3                4V3
C5253CU3c593DGH3M T13FJJFJKL3DG3                              51831933C523M56813                       NO3[3                 PLPFJY[3PLPFJYJ3 PLPFJY[3 PLPFJYJ3Q3                  3 Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3           STU3                4V3
C5253CU3c593DGH3M T13FJJFJKL3DG3                              51831933C523M56813                       NO3FF[L3                 PLPFJYJ3PLPFJKE3 PLPFJYJ3 PLPFJKE3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3M T13FJJFJKL3DG3                              51831933C523M56813                       NO3FF[L3                 PLPFJKE3PLPFJKF3 PLPFJKE3 PLPFJKF3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3M T13FJJFJKL3DG3                              51831933C523M56813                       NO3FF[L3                 PLPFJKF3PLPFJKL3 PLPFJKF3 PLPFJKL3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3Md153̀1623FJYFJY[3DFG3                 51831933C523M56813                       NO33LJ3J[3                PFPFJY3 PFPFJYY3 PFPFJY3 PFPFJYY3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3Md153̀1623FJYFJY[3DFG3                 51831933C523M56813                       NO33LJ3J[3                PFPFJYY3 PFPFJYK3 PFPFJYY3 PFPFJYK3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3Md153̀1623FJYFJY[3DFG3                 51831933C523M56813                       NO33LJ3J[3                PFPFJYK3 PFPFJY[3 PFPFJYK3 PFPFJY[3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3Md153̀1623FJYFJY[3DFG3                 51831933C523M56813                       NO33YJ33                PFPFJY[3 PFPFJYJ3 PFPFJY[3 PFPFJYJ3Q3                    3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3Md153̀1623FJYFJY[3DFG3                 51831933C523M56813                       NO33YJ33                PFPFJYJ3 PFPFJKE3 PFPFJYJ3 PFPFJKE3Q3                    3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3Md153̀1623FJYFJY[3DFG3                 51831933C523M56813                       NO33YJ33                PFPFJKE3 PFPFJKF3 PFPFJKE3 PFPFJKF3Q3                    3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3M2113FJLFJKL3DG3                              51831933C523M56813                       NO33LJ3JE3               PFFPFJY3PFFPFJYY3 PFFPFJY3 PFFPFJYY3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3M2113FJLFJKL3DG3                              51831933C523M56813                       NO33LJ3JE3               PFFPFJYY3PFFPFJYK3 PFFPFJYY3 PFFPFJYK3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3M2113FJLFJKL3DG3                              51831933C523M56813                       NO33LJ3JE3               PFFPFJYK3PFFPFJY[3 PFFPFJYK3 PFFPFJY[3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3M2113FJLFJKL3DG3                              51831933C523M56813                       NO33YJ3J3               PFFPFJY[3PFFPFJYJ3 PFFPFJY[3 PFFPFJYJ3Q3                  3 STUL3               STUL3 STU3               STU3                4V3
C5253CU3c593DGH3M2113FJLFJKL3DG3                              51831933C523M56813                       NO33YJ3J3               PFFPFJYJ3PFFPFJKE3 PFFPFJYJ3 PFFPFJKE3Q3                  3 STU        L3       STU  L3   STU3           STU3                4V3
C5253CU3c593DGH3M2113FJLFJKL3DG3                              51831933C523M56813                       NO33YJ3J3               PFFPFJKE3PFFPFJKF3 PFFPFJKE3 PFFPFJKF3Q3                  3 STUL3               STUL3 STU3               STU3                4V3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                             517536293193                             STU3                    FPFPFJYE3 FPFPFJYF3 FPFPFJYE3 FPFPFJYF3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                             51753                                               STU3                    FPFPFJYF3 FPFPFJYL3 FPFPFJYF3 FPFPFJYL3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                             517536293193                             NO3LFKJ3                FFPFPFJYL3FFPFPFJY3 FFPFPFJYL3 FFPFPFJY3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            51831933C523M56813                       STU3                   FFPFPFJY3FFPFPFJY3 FFPFPFJY3 FFPFPFJY3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            51831933C523M56813                       STU3                   FFPFPFJY3FFPFPFJY3 FFPFPFJY3 FFPFPFJY3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            51831933C523M56813                       NO3KE3                 FFPFPFJY3FFPFPFJYY3 FFPFPFJY3 FFPFPFJYY3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            51831933C523M56813                       NO3KE3                 FFPFPFJYY3FFPFPFJYK3 FFPFPFJYY3 FFPFPFJYK3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            51831933C523M56813                       NO3KE3                 FFPFPFJYK3FFPFPFJY[3 FFPFPFJYK3 FFPFPFJY[3Q3                  3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            51831933C523M56813                       NO3ELE3                 FFPFPFJY[3FFPFPFJYJ3 FFPFPFJY[3 FFPFPFJYJ3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            51831933C523M56813                       NO3ELE3                 FFPFPFJYJ3FFPFPFJKE3 FFPFPFJYJ3 FFPFPFJKE3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            51831933C523M56813                       NO3ELE3                 FFPFPFJKE3FFPFPFJKF3 FFPFPFJKE3 FFPFPFJKF3Q3                  3 Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3              STU3                4V3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            CU3̀1 6535183193                          STU3                    FPFPFJKY3 FPFPFJKK3 FPFPFJKY3 FPFPFJKK3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            C12613S63W653518319334622X5R34M3   OVFLF3KF3LY3                FPFPFJKY3 FPFPFJKK3 FPFPFJKY3 FPFPFJKK3Q3 EEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                        STU3                4V3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            M56813Z5183193                            I FELKJ3                  FPFPFJKY3 FPFPFJKK3 FPFPFJKY3 FPFPFJKK3Q333333FREEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                  STU3                4V3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            CU3̀1 6535183193                          STU3                    FPFPFJKK3 FPFPFJK[3 FPFPFJKK3 FPFPFJK[3Q3                    3       STU3           STU3 STU3               STU3                NV3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            C12613S63W653518319334622X5R34M3   OV3FLLEFK[3                 FPFPFJKK3 FPFPFJK[3 FPFPFJKK3 FPFPFJK[3Q3 EEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                        STU3                4V3
C5253CU3c593DGH3O193FJF[FJJ3DLG3                            M56813Z5183193                            I FELKJ3                  FPFPFJKK3 FPFPFJK[3 FPFPFJKK3 FPFPFJK[3Q333333FREEREEEEE3Q33333333EEREEEEE3 Q3333EEREEEEE3 STU3               STU3                4V3
C5253CU3c593DGH3O53FJYJFJJ3DEG3                             C12613S63W653518319334622X5R34M3   OVFLF3KF3Y3                FPFPFJKY3 FPFPFJKK3 FPFPFJKY3 FPFPFJKK3Q3 EEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                        STU3                4V3
C5253CU3c593DGH3O53FJYJFJJ3DEG3                             M56813Z5183193                            I FELKJ3                  FPFPFJKY3 FPFPFJKK3 FPFPFJKY3 FPFPFJKK3Q333333FREEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                  STU3                4V3
C5253CU3c593DGH3O53FJYJFJJ3DEG3                             C12613S63W653518319334622X5R34M3   OV3FLLEF[K3                 FPFPFJKK3 FPFPFJK[3 FPFPFJKK3 FPFPFJK[3Q3 EEREEEEE3Q33333FREEEREEEEE3Q3FREEEREEEEE3 STU3                        STU3                4V3




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    D5253DE3F593GHI3]3KLKLT3G QH3                              51831933D523N56813                       _J333Q3              SKSKLR3SKSKLT3 SKSKLR3 SKSKLT3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
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    D5253DE3F593GHI3]]1623KLTKLL3GTH3                       N56813O5183193                            P KMQR L3                 KSKSKLR3 KSKSKLRR3 KSKSKLR3 KSKSKLRR3U333333KVMMVMMMMM3U33333KVMMMVMMMMM3U3KVMMMVMMMMM3 WXE3                   WXE3                4Y3
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    D5253DE3F593GHI3D523J53293KLQKKLL3GMH3                 51831933D523N56813                       _J333TK3               SQSKL3SQSKLR3 SQSKL3 SQSKLR3U3                   3 U33333333MMVMMMMM3U3333MMVMMMMM3 WXE3            WXE3                4Y3
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    D5253DE3F593GHI3D523J53293KLQKKLL3GMH3                 51831933D523N56813                       _J33KK3RL3              SQSKLRM3SQSKLRK3 SQSKLRM3 SQSKLRK3U3                   3 U33333333MMVMMMMM3U3333MMVMMMMM3 WXE3            WXE3                4Y3
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    D5253DE3F593GHI3a513P2163KLLKLR3GRH3                     51831933D523N56813                       ^4KRRRRK3                TSKTSKLR3TSKTSKLT3 TSKTSKLR3 TSKTSKLT3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3a513P2163KLLKLR3GRH3                     51831933D523N56813                       ^4KRLRL3                TSKTSKLT3TSKTSKLL3 TSKTSKLT3 TSKTSKLL3U3                   3 U33333333KMMVMMMMM3U3333KMMVMMMMM3 WXE3            WXE3                4Y3
    D5253DE3F593GHI3a513P2163KLLKLR3GRH3                     51831933D523N56813                       WXE3                  TSKTSKLRM3TSKTSKLRK3 TSKTSKLRM3 TSKTSKLRK3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3a513P2163KLLKLR3GRH3                     51831933D523N56813                       WXE3                  TSKTSKLRK3TSKTSKLRQ3 TSKTSKLRK3 TSKTSKLRQ3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3a513P2163KLLKLR3GRH3                     51831933D523N56813                       WXE3                  TSKTSKLRQ3TSKTSKLR3 TSKTSKLRQ3 TSKTSKLR3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3a513P2163KLLKLR3GRH3                     51831933D523N56813                       WXE3                  TSKTSKLR3TSKTSKLR 3 TSKTSKLR3 TSKTSKLR 3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3a513P2163KLLKLR3GRH3                     51831933D523N56813                       WXE3                  TSKTSKLR 3 KSKSKLR3 TSKTSKLR 3 KSKSKLR3U3                    3       WXE3          WXE3 WXE3                WXE3                _Y3
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    D5253DE3F593GHI341 1683b193KLRKLLL3GH3                      D12613W63[653518319334622\5V34N3   JYKQK3RK33                KSKSKLR3 KSKSKLRR3 KSKSKLR3 KSKSKLRR3U3 MMVMMMMM3U33333KVMMMVMMMMM3U3KVMMMVMMMMM3 WXE3                         WXE3                4Y3
    D5253DE3F593GHI341 1683b193KLRKLLL3GH3                      N56813O5183193                            P KMQR L3                 KSKSKLR3 KSKSKLRR3 KSKSKLR3 KSKSKLRR3U333333KVMMVMMMMM3U33333KVMMMVMMMMM3U3KVMMMVMMMMM3 WXE3                   WXE3                4Y3
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    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKL 3SK SKL R3 SK SKL 3 SK SKL R3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKL R3SK SKL T3 SK SKL R3 SK SKL T3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKL T3SK SKL L3 SK SKL T3 SK SKL L3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
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    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKLM3SK SKLK3 SK SKLM3 SK SKLK3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKLK3SK SKLQ3 SK SKLK3 SK SKLQ3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
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    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKL3SK SKL 3 SK SKL3 SK SKL 3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKL 3SK SKL3 SK SKL 3 SK SKL3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKL3SK SKL3 SK SKL3 SK SKL3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
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    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKLR3SK SKLT3 SK SKLR3 SK SKLT3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKLT3SK SKLL3 SK SKLT3 SK SKLL3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKLL3SK SKLM3 SK SKLL3 SK SKLM3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKLM3SK SKLK3 SK SKLM3 SK SKLK3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKLK3SK SKLQ3 SK SKLK3 SK SKLQ3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKLQ3SK SKL3 SK SKLQ3 SK SKL3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKL3SK SKL 3 SK SKL3 SK SKL 3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       WXE3                  SK SKL 3SK SKL3 SK SKL 3 SK SKL3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       _J333M3               SK SKL3SK SKL3 SK SKL3 SK SKL3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       _J333M3               SK SKL3SK SKLR3 SK SKL3 SK SKLR3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       _J333M3               SK SKLR3SK SKLT3 SK SKLR3 SK SKLT3U3                   3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       _J3M M3                SK SKLT3SK SKLL3 SK SKLT3 SK SKLL3U3                   3 U33333KVMMMVMMMMM3U3KVMMMVMMMMM3 WXE3              WXE3                4Y3
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    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            51831933D523N56813                       _J33K3R3              SK SKLRK3SK SKLRQ3 SK SKLRK3 SK SKLRQ3U3                   3 U33333KVMMMVMMMMM3U3KVMMMVMMMMM3 WXE3              WXE3                4Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            DE3]1 6535183193                          WXE3                   KSKSKLR3 KSKSKLRR3 KSKSKLR3 KSKSKLRR3U3                     3       WXE3          WXE3 WXE3                WXE3                _Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            D12613W63[653518319334622\5V34N3   JYKQK3RK33               KSKSKLR3 KSKSKLRR3 KSKSKLR3 KSKSKLRR3U3 MMVMMMMM3U33333KVMMMVMMMMM3U3KVMMMVMMMMM3 WXE3                         WXE3                4Y3
    D5253DE3F593GHI3O6E313^3O8X3KLQQKLLR3GLH3            N56813O5183193                            P KMQR L3                 KSKSKLR3 KSKSKLRR3 KSKSKLR3 KSKSKLRR3U333333KVMMVMMMMM3U33333KVMMMVMMMMM3U3KVMMMVMMMMM3 WXE3                   WXE3                4Y3
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    D5253DE3F593GHI3JK5235123LMLMN3G MH3                            51831933D523O56813                       PQ33NM3 3                RLRLMNS3RLRLMNM3 RLRLMNS3 RLRLMNM3T3                   3 T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3              WXE3                4Y3
    D5253DE3F593GHI3JK5235123LMLMN3G MH3                            51831933D523O56813                       PQ33NM3 3                RLRLMNM3RLRLMV3 RLRLMNM3 RLRLMV3T3                   3 T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3              WXE3                4Y3
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    D5253DE3F593GHI3JK5235123LMLMN3G MH3                            O56813J5183193                            [ LVZ M3                 LRLRLMN3 LRLRLM3 LRLRLMN3 LRLRLM3T333333LUVVUVVVVV3T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3                   WXE3                4Y3
    D5253DE3F593GHI3JK5235123LMLMN3G MH3                            D12613W63\653518319334622K5U34O3   QY3LZZVLSZ3                LRLRLM3 LRLRLMS3 LRLRLM3 LRLRLMS3T3 VVUVVVVV3T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3                         WXE3                4Y3
    D5253DE3F593GHI311518X3LMLMSN3GH3                                51831933D523O56813                       PQ3SS3                  NRLRLMNN3 NRLRLMN3 NRLRLMNN3 NRLRLMN3T3                     3 T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3              WXE3                4Y3
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    D5253DE3F593GHI311518X3LMLMSN3GH3                                D12613W63\653518319334622K5U34O3   QYLZL3L33               LRLRLMN3 LRLRLM3 LRLRLMN3 LRLRLM3T3 VVUVVVVV3T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3                         WXE3                4Y3
    D5253DE3F593GHI311518X3LMLMSN3GH3                                O56813J5183193                            [ LVZ M3                 LRLRLMN3 LRLRLM3 LRLRLMN3 LRLRLM3T333333LUVVUVVVVV3T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3                   WXE3                4Y3
    D5253DE3F593GHI311518X3LMLMSN3GH3                                DE3]1 6535183193                          WXE3                   LRLRLM3 LRLRLMS3 LRLRLM3 LRLRLMS3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253DE3F593GHI311518X3LMLMSN3GH3                                D12613W63\653518319334622K5U34O3   QY3LZZVLSS3                LRLRLM3 LRLRLMS3 LRLRLM3 LRLRLMS3T3 VVUVVVVV3T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3                         WXE3                4Y3
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    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              NNF]V L3                 LRLRLMNL3 LRLRLMNZ3 LRLRLMNL3 LRLRLMNZ3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
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    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLMN3 LRLRLMN 3 LRLRLMN3 LRLRLMN 3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
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    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLMN3 LRLRLMNN3 LRLRLMN3 LRLRLMNN3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLMNN3 LRLRLMN3 LRLRLMNN3 LRLRLMN3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLMN3 LRLRLMNS3 LRLRLMN3 LRLRLMNS3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLMNS3 LRLRLMNM3 LRLRLMNS3 LRLRLMNM3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLMNM3 LRLRLMV3 LRLRLMNM3 LRLRLMV3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLMV3 LRLRLML3 LRLRLMV3 LRLRLML3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLML3 LRLRLMZ3 LRLRLML3 LRLRLMZ3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLMZ3 LRLRLM3 LRLRLMZ3 LRLRLM3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLM3 LRLRLM 3 LRLRLM3 LRLRLM 3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          P23413\65313[15635183193              WXE3                   LRLRLM 3 LRLRLM3 LRLRLM 3 LRLRLM3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          D12613W63\653518319334622K5U34O3   QYLZL3L3V 3               LRLRLMN3 LRLRLM3 LRLRLMN3 LRLRLM3T3 VVUVVVVV3T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3                         WXE3                4Y3
    D5253P2153GZVHI361 13863LMZVV3GZMH3                          O56813J5183193                            [ LVZ M3                 LRLRLMN3 LRLRLM3 LRLRLMN3 LRLRLM3T333333LUVVUVVVVV3T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3                   WXE3                4Y3
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    D5253P2153GZVHI361 13863LMZVV3GZMH3                          O56813J5183193                            [ LVZ M3                 LRLRLM3 LRLRLMS3 LRLRLM3 LRLRLMS3T333333LUVVUVVVVV3T33333333VVUVVVVV3 T3333VVUVVVVV3 WXE3                WXE3                4Y3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      WXE3                                                WXE3                   LRLRLMN3 LRLRLM3 LRLRLMN3 LRLRLM3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   LRLRLM3 LRLRLMS3 LRLRLM3 LRLRLMS3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   LRLRLMS3 LRLRLMM3 LRLRLMS3 LRLRLMM3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   LRLRLMM3 LRLRLMNV3 LRLRLMM3 LRLRLMNV3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   LRLRLMNV3 LRLRLMNL3 LRLRLMNV3 LRLRLMNL3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   LRLRLMNL3 RLRLMNL3 LRLRLMNL3 RLRLMNL3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       _WO3L NL3                  RLRLMNL3 MRLRLMNL3 RLRLMNL3 MRLRLMNL3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   MRLRLMNL3 MRLRLMNZ3 MRLRLMNL3 MRLRLMNZ3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   MRLRLMNZ3 MRLRLMN3 MRLRLMNZ3 MRLRLMN3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   MRLRLMN3 MRLRLMN 3 MRLRLMN3 MRLRLMN 3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   MRLRLMN 3 MRLRLMN3 MRLRLMN 3 MRLRLMN3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       WXE3                   MRLRLMN3 NRLRLMNN3 MRLRLMN3 NRLRLMNN3T3                     3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       PQVZ3                 NRLSRLMNN3NRLSRLMN3 NRLSRLMNN3 NRLSRLMN3T3                   3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       PQ33N3ZV3                NRLSRLMN3NRLSRLMNS3 NRLSRLMN3 NRLSRLMNS3T3                   3       WXE3           WXE3 WXE3               WXE3                PY3
    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      51831933D523O56813                       PQ33N3S3                NRLSRLMNS3NRLSRLMNM3 NRLSRLMNS3 NRLSRLMNM3T3                   3 T33333333VVUVVVVV3 T3333VVUVVVVV3 WXE3           WXE3                4Y3
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    D5253P2153GZVHI3^6X63LMLZVV3GZSMH3                                      D12613W63\653518319334622K5U34O3   QYLZL3L3VL3               LRLRLMN3 LRLRLM3 LRLRLMN3 LRLRLM3T3 VVUVVVVV3T33333LUVVVUVVVVV3T3LUVVVUVVVVV3 WXE3                         WXE3                4Y3
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    D3[68X593GQSKL3D3[68X593GQSK3                                            [15253N88623136293193                WXY3                   IRIRIJHT3 IRIRIJHI3 IRIRIJHT3 IRIRIJHI3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            [15253N88623136293193                WXY3                   IRIRIJHI3 IRIRIJHQ3 IRIRIJHI3 IRIRIJHQ3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            [15253N88623136293193                WXY3                   IRIRIJHQ3 IRIRIJH3 IRIRIJHQ3 IRIRIJH3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            [15253N88623136293193                WXY3                   IRIRIJH3 IRIRIJH 3 IRIRIJH3 IRIRIJH 3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            [15253N88623136293193                WXY3                   IRIRIJH 3 IRIRIJH3 IRIRIJH 3 IRIRIJH3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            [15253N88623136293193                WXY3                   IRIRIJH3 IRIRIJHH3 IRIRIJH3 IRIRIJHH3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            [15253N88623136293193                WXY3                   IRIRIJHH3 IRIRIJHS3 IRIRIJHH3 IRIRIJHS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            51831933M523N56813                       OP3ITQ3                QRQRIJHJ3QRQRIJST3 QRQRIJHJ3 QRQRIJST3U3                3 U33333333QTVTTTTT3 U3333QTVTTTTT3 WXY3           WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            51831933M523N56813                       OP3Q3                QRQRIJST3QRQRIJSI3 QRQRIJST3 QRQRIJSI3U3                3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            51831933M523N56813                       OP3J3                QRQRIJSI3QRQRIJSQ3 QRQRIJSI3 QRQRIJSQ3U3                3 U33333333QTVTTTTT3 U3333QTVTTTTT3 WXY3           WXY3                4Z3
    D3[68X593GQSKL3D3[68X593GQSK3                                            M12613W63\653518319334622]5V34N3   PZIQI3SI3JQ3               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D3[68X593GQSKL3D3[68X593GQSK3                                            N56813E5183193                            ^ ITQS J3                 IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U333333IVTTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                WXY3                4Z3
    D3[68X593GQSKL3D3[68X593GQSK3                                            MY3[1 6535183193                          WXY3                   IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3[68X593GQSKL3D3[68X593GQSK3                                            M12613W63\653518319334622]5V34N3   PZ3IQQTT 3                IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D3[68X593GQSKL3D3[68X593GQSK3                                            N56813E5183193                            ^ ITQS J3                 IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U333333IVTTVTTTTT3U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3             WXY3                4Z3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   51831933M523N56813                       OP3TQQ3                 HRJRIJH3 HRJRIJHJ3 HRJRIJH3 HRJRIJHJ3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   51831933M523N56813                       OP3ITH3                 HRJRIJHJ3 HRJRIJST3 HRJRIJHJ3 HRJRIJST3U3                  3 U33333333QTVTTTTT3 U3333QTVTTTTT3 WXY3           WXY3                4Z3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   51831933M523N56813                       OP33QH3Q3               HRJRIJST3 HRJRIJSI3 HRJRIJST3 HRJRIJSI3U3                  3 U33333333QTVTTTTT3 U3333QTVTTTTT3 WXY3           WXY3                4Z3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   W623O2123\6629313_151293193             WXY3                   IRIRIJS 3 IRIRIJS3 IRIRIJS 3 IRIRIJS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   W623O2123\6629313_151293193             WXY3                   IRIRIJS3 IRIRIJSH3 IRIRIJS3 IRIRIJSH3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   MY3[1 6535183193                          WXY3                   IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   M12613W63\653518319334622]5V34N3   PZIQI3SI33               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   N56813E5183193                            ^ ITQS J3                 IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U333333IVTTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                WXY3                4Z3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   MY3[1 6535183193                          WXY3                   IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   M12613W63\653518319334622]5V34N3   PZ3IQQTTH3                IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D3M523O2123GSTKL3 5X3IJQIJJ 3GISK3                                   N56813E5183193                            ^ ITQS J3                 IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U333333IVTTVTTTTT3U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3             WXY3                4Z3
    D3M523O2123GSTKL3_513_53IJSIJJQ3GIK3                              51831933M523N56813                       OP33IT33               RQ RIJHJ3 RQ RIJST3 RQ RIJHJ3 RQ RIJST3U3                  3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D3M523O2123GSTKL3_513_53IJSIJJQ3GIK3                              51831933M523N56813                       OP3QHQS3                 RQ RIJST3 RQ RIJSI3 RQ RIJST3 RQ RIJSI3U3                  3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D3M523O2123GSTKL3_513_53IJSIJJQ3GIK3                              51831933M523N56813                       OP3HIJ3                 RQ RIJSI3 RQ RIJSQ3 RQ RIJSI3 RQ RIJSQ3U3                  3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D3M523O2123GSTKL3_513_53IJSIJJQ3GIK3                              M12613W63\653518319334622]5V34N3   PZIQI3SI3S3               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D3M523O2123GSTKL3_513_53IJSIJJQ3GIK3                              N56813E5183193                            ^ ITQS J3                 IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U333333IVTTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                WXY3                4Z3
    D3M523O2123GSTKL3_513_53IJSIJJQ3GIK3                              M12613W63\653518319334622]5V34N3   PZ3IQQTT T3                IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D3M523O2123GSTKL3_513_53IJSIJJQ3GIK3                              N56813E5183193                            ^ ITQS J3                 IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U333333IVTTVTTTTT3U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3             WXY3                4Z3
    D3M523O2123GSTKL3WY 15563IJQIJJQ3GIJK3                                   51831933M523N56813                       OP33II3JQ3              RQJRIJHJ3RQJRIJST3 RQJRIJHJ3 RQJRIJST3U3                3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D3M523O2123GSTKL3WY 15563IJQIJJQ3GIJK3                                   51831933M523N56813                       OP33II3JQ3              RQJRIJST3RQJRIJSI3 RQJRIJST3 RQJRIJSI3U3                3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D3M523O2123GSTKL3WY 15563IJQIJJQ3GIJK3                                   51831933M523N56813                       OP33II3JQ3              RQJRIJSI3RQJRIJSQ3 RQJRIJSI3 RQJRIJSQ3U3                3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D3M523O2123GSTKL3WY 15563IJQIJJQ3GIJK3                                   M12613W63\653518319334622]5V34N3   PZIQI3SI33               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D3M523O2123GSTKL3WY 15563IJQIJJQ3GIJK3                                   N56813E5183193                            ^ ITQS J3                 IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U333333IVTTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                WXY3                4Z3
    D3M523O2123GSTKL3WY 15563IJQIJJQ3GIJK3                                   M12613W63\653518319334622]5V34N3   PZ3IQQTT I3                IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D3M523O2123GSTKL3WY 15563IJQIJJQ3GIJK3                                   N56813E5183193                            ^ ITQS J3                 IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U333333IVTTVTTTTT3U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3             WXY3                4Z3
    D513293GJKL3M523D513IJHIJSQ3GSK3                                 51831933M523N56813                       OP33J3T3               IQRIRIJH3IQRIRIJHJ3 IQRIRIJH3 IQRIRIJHJ3U3                3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D513293GJKL3M523D513IJHIJSQ3GSK3                                 51831933M523N56813                       OP33J3T3               IQRIRIJHJ3IQRIRIJST3 IQRIRIJHJ3 IQRIRIJST3U3                3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D513293GJKL3M523D513IJHIJSQ3GSK3                                 51831933M523N56813                       OP33J3T3               IQRIRIJST3IQRIRIJSI3 IQRIRIJST3 IQRIRIJSI3U3                3 U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3           WXY3                4Z3
    D513293GJKL3M523D513IJHIJSQ3GSK3                                 MY3[1 6535183193                          _N3QJH3                   IRIRIJSQ3RIRIJSQ3 IRIRIJSQ3 RIRIJSQ3U3                 3       WXY3           WXY3 WXY3               WXY3                OZ3
    D513293GJKL3D513293IJSQ3GJK3                                   MY3[1 6535183193                                             S  3RIRIJSQ3 IRIRIJS3 RIRIJSQ3 IRIRIJS3U3                 3       WXY3           WXY3 WXY3               WXY3                OZ3
    D513293GJKL3D513293IJSQ3GJK3                                   MY3[1 6535183193                          WXY3                   IRIRIJS3 IRIRIJS 3 IRIRIJS3 IRIRIJS 3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D513293GJKL3D513293IJSQ3GJK3                                   MY3[1 6535183193                          WXY3                   IRIRIJS 3 IRIRIJS3 IRIRIJS 3 IRIRIJS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D513293GJKL3D513293IJSQ3GJK3                                   MY3[1 6535183193                          WXY3                   IRIRIJS3 IRIRIJSH3 IRIRIJS3 IRIRIJSH3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D513293GJKL3D513293IJSQ3GJK3                                   MY3[1 6535183193                          WXY3                   IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D513293GJKL3D513293IJSQ3GJK3                                   M12613W63\653518319334622]5V34N3   PZIQI3HJ3 3               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D513293GJKL3D513293IJSQ3GJK3                                   N56813E5183193                            ^ ITQS J3                 IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U333333IVTTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                WXY3                4Z3
    D513293GJKL3D513293IJSQ3GJK3                                   MY3[1 6535183193                          WXY3                   IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D513293GJKL3D513293IJSQ3GJK3                                   M12613W63\653518319334622]5V34N3   PZ3IQIJJTQ3                IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D513293GJKL3D513293IJSQ3GJK3                                   N56813E5183193                            ^ ITQS J3                 IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U333333IVTTVTTTTT3U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3             WXY3                4Z3
    D513293GJKL3D513Z653N513IJ IJSQ3GJK3                           MY3[1 6535183193                          WXY3                   IRIRIJHJ3 IRIRIJST3 IRIRIJHJ3 IRIRIJST3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D513293GJKL3D513Z653N513IJ IJSQ3GJK3                           41866835183193                               WXY3                   IRIRIJST3 IRIRIJSI3 IRIRIJST3 IRIRIJSI3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D535163GHJSKL3D535163GHJSK3                                          M12613W63\653518319334622]5V34N3   PZIQI3S3QH3               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D535163GHJSKL3D535163GHJSK3                                          N56813E5183193                            ^ ITQS J3                 IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U333333IVTTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                WXY3                4Z3
    D535163GHJSKL3D535163GHJSK3                                          M12613W63\653518319334622]5V34N3   PZ3IQQTTI3                IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
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    D75135163GQQKL3D75135163IJJ3GQQK3                                 M12613W63\653518319334622]5V34N3   PZIQI3SI3I3               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D75135163GQQKL3D75135163IJJ3GQQK3                                 M12613W63\653518319334622]5V34N3   PZ3IQQTIHJ3                IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D75135163GQQKL3565163IJ IJJ3GQK3                                    M12613W63\653518319334622]5V34N3   PZIQI3SI3QT3               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D75135163GQQKL3565163IJ IJJ3GQK3                                    N56813E5183193                            ^ ITQS J3                 IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U333333IVTTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                WXY3                4Z3
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    D`15X35163GTHKL3^a13N513IJQJIJJ 3GTHK3                                   MY3[1 6535183193                          WXY3                   IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D`15X35163GTHKL3^a13N513IJQJIJJ 3GTHK3                                   M12613W63\653518319334622]5V34N3   PZIQI3SI3I3               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D`15X35163GTHKL3^a13N513IJQJIJJ 3GTHK3                                   N56813E5183193                            ^ ITQS J3                 IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U333333IVTTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                WXY3                4Z3
    D`15X35163GTHKL3^a13N513IJQJIJJ 3GTHK3                                   MY3[1 6535183193                          WXY3                   IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
    D`15X35163GTHKL3^a13N513IJQJIJJ 3GTHK3                                   M12613W63\653518319334622]5V34N3   PZ3IQQTIH3                IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3
    D`15X35163GTHKL3^a13N513IJQJIJJ 3GTHK3                                   N56813E5183193                            ^ ITQS J3                 IRIRIJSS3 IRIRIJS3 IRIRIJSS3 IRIRIJS3U333333IVTTVTTTTT3U33333333TTVTTTTT3 U3333TTVTTTTT3 WXY3             WXY3                4Z3
    D`15X35163GTHKL3D`15X3IJHHIJJ 3GTK3                                        _5123N568135183193                        WXY3                   IRIRIJS 3 IRIRIJS3 IRIRIJS 3 IRIRIJS3U3                  3       WXY3           WXY3 WXY3               WXY3                OZ3
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    D`15X35163GTHKL3D`15X3IJHHIJJ 3GTK3                                        M12613W63\653518319334622]5V34N3   PZIQI3SI3IH3               IRIRIJSH3 IRIRIJSS3 IRIRIJSH3 IRIRIJSS3U3 TTVTTTTT3U33333IVTTTVTTTTT3U3IVTTTVTTTTT3 WXY3                      WXY3                4Z3




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    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLIH3 LSLSLIL3 LSLSLIH3 LSLSLIL3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLIH3 LSLSLIL3 LSLSLIH3 LSLSLIL3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLIL3 LSLSLIQ3 LSLSLIL3 LSLSLIQ3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLIQ3 LSLSLI3 LSLSLIQ3 LSLSLI3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLI3 LSLSLI 3 LSLSLI3 LSLSLI 3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLI 3 LSLSLI3 LSLSLI 3 LSLSLI3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLI3 LSLSLII3 LSLSLI3 LSLSLII3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLII3 LSLSLIR3 LSLSLII3 LSLSLIR3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLIR3 LSLSLIM3 LSLSLIR3 LSLSLIM3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLIM3 LSLSLI3 LSLSLIM3 LSLSLI3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLIM3 LSLSLI3 LSLSLIM3 LSLSLI3T3 LHHUHHHHH3 VFW3                           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLI3 LSLSLRH3 LSLSLI3 LSLSLRH3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLI3 LSLSLRH3 LSLSLI3 LSLSLRH3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLI3 LSLSLRH3 LSLSLI3 LSLSLRH3T3 LHHUHHHHH3 VFW3                           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLRH3 LSLSLRL3 LSLSLRH3 LSLSLRL3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLRH3 LSLSLRL3 LSLSLRH3 LSLSLRL3T3 LHHUHHHHH3 VFW3                           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLRL3 LSLSLRQ3 LSLSLRL3 LSLSLRQ3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLRL3 LSLSLRQ3 LSLSLRL3 LSLSLRQ3T3 LHHUHHHHH3 VFW3                           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLRQ3 LSLSLR3 LSLSLRQ3 LSLSLR3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLRQ3 LSLSLR3 LSLSLRQ3 LSLSLR3T3 HHUHHHHH3 VFW3                           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLR3 LSLSLR 3 LSLSLR3 LSLSLR 3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLR3 LSLSLR 3 LSLSLR3 LSLSLR 3T3 HHUHHHHH3 VFW3                           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLR 3 LSLSLR3 LSLSLR 3 LSLSLR3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLR 3 LSLSLR3 LSLSLR 3 LSLSLR3T3 HHUHHHHH3 VFW3                           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLR3 LSLSLRI3 LSLSLR3 LSLSLRI3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLR3 LSLSLRI3 LSLSLR3 LSLSLRI3T3 HHUHHHHH3 VFW3                           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               Y12613V63Z653518319334622[5U34N3   \XLQL3RQ3QI3             LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               N56813O5183193                            P LHQR 3               LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T333333LUHHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                   VFW3                4X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               VFW3                                                VFW3                 LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               Y12613V63Z653518319334622[5U34N3   \X3LQQHQ 3              LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683]15[53GILQJK3P23O16653LML3GILQJ3                               N56813O5183193                            P LHQR 3               LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T333333LUHHUHHHHH3T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3                VFW3                4X3
    4186683]15[53GILQJK3W1253N513L L3GRRJ3                               51831933Y523N56813                       ^\3H 3               QSLISLI3QSLISLRH3 QSLISLI3 QSLISLRH3T3                   3 T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3           VFW3                4X3
    4186683]15[53GILQJK3W1253N513L L3GRRJ3                               51831933Y523N56813                       ^\3H 3               QSLISLRH3QSLISLRL3 QSLISLRH3 QSLISLRL3T3                   3 T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3           VFW3                4X3
    4186683]15[53GILQJK3W1253N513L L3GRRJ3                               51831933Y523N56813                       ^\3H 3               QSLISLRL3QSLISLRQ3 QSLISLRL3 QSLISLRQ3T3                   3 T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3           VFW3                4X3
    4186683]15[53GILQJK3W1253N513L L3GRRJ3                               Y12613V63Z653518319334622[5U34N3   \XLQL3RQ3Q3             LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683]15[53GILQJK3W1253N513L L3GRRJ3                               N56813O5183193                            P LHQR 3               LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T333333LUHHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                   VFW3                4X3
    4186683]15[53GILQJK3W1253N513L L3GRRJ3                               Y12613V63Z653518319334622[5U34N3   \X3LQQHQ Q3              LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683]15[53GILQJK3W1253N513L L3GRRJ3                               N56813O5183193                            P LHQR 3               LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T333333LUHHUHHHHH3T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3                VFW3                4X3
    4186683]15[53GILQJK3W1253N513L L3GRRJ3                                15253D1F3Z6535183193                      IHLMIXLI RDZRR3       ISLQSLRR3ISLQSLRM3 ISLQSLRR3 ISLQSLRM3T3                   3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            51831933Y523N56813                       ^\3LLR3              LHSLSLI3LHSLSLRH3 LHSLSLI3 LHSLSLRH3T3                   3 T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3           VFW3                4X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            51831933Y523N56813                       ^\3LLR3              LHSLSLRH3LHSLSLRL3 LHSLSLRH3 LHSLSLRL3T3                   3 T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3           VFW3                4X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            51831933Y523N56813                       ^\3LLR3              LHSLSLRL3LHSLSLRQ3 LHSLSLRL3 LHSLSLRQ3T3                   3 T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3           VFW3                4X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            YW3]1 6535183193                          VFW3                 LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            Y12613V63Z653518319334622[5U34N3   \XLQL3RQ3QQ3             LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            N56813O5183193                            P LHQR 3               LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T333333LUHHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                   VFW3                4X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            YW3]1 6535183193                          VFW3                 LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            ^23413Z65313P15635183193              VFW3                 LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3                     3 T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3           VFW3                ^X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            Y12613V63Z653518319334622[5U34N3   \X3LQQHQ L3              LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683]15[53GILQJK3W63]15[53N513LHL3GIHRJ3                            N56813O5183193                            P LHQR 3               LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T333333LUHHUHHHHH3T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3                VFW3                4X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            51831933Y523N56813                       ^\33H 3Q3             LSLSLI3LSLSLRH3 LSLSLI3 LSLSLRH3T3                   3 T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3              VFW3                4X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            51831933Y523N56813                       ^\33H 3Q3             LSLSLRH3LSLSLRL3 LSLSLRH3 LSLSLRL3T3                   3 T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3              VFW3                4X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            51831933Y523N56813                       ^\33H 3Q3             LSLSLRL3LSLSLRQ3 LSLSLRL3 LSLSLRQ3T3                   3 T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3              VFW3                4X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            YW3]1 6535183193                          VFW3                 LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            Y12613V63Z653518319334622[5U34N3   \XLQL3I3Q3             LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            N56813O5183193                            P LHQR 3               LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T333333LUHHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                   VFW3                4X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            YW3]1 6535183193                          _N3QMQQH3               LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            YW3]1 6535183193                          _N3QMQQL3               LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3 HUHHHHH3 VFW3                            VFW3 VFW3               VFW3                ^X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            Y12613V63Z653518319334622[5U34N3   \X3LQLHH3              LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683^F963GLJK3^13P123293LQL 3GQHJ3                            N56813O5183193                            P LHQR 3               LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T333333LUHHUHHHHH3T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3                VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               51831933Y523N56813                       ^\3M3               QSLMSLI3QSLMSLII3 QSLMSLI3 QSLMSLII3T3                   3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               51831933Y523N56813                       ^\3M3               QSLMSLII3QSLMSLIR3 QSLMSLII3 QSLMSLIR3T3                   3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               51831933Y523N56813                       ^\3M3               QSLMSLIR3QSLMSLIM3 QSLMSLIR3 QSLMSLIM3T3                   3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               51831933Y523N56813                       ^\3IH 3               QSLMSLIM3QSLMSLI3 QSLMSLIM3 QSLMSLI3T3                   3 T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3              VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               51831933Y523N56813                       ^\3IH 3               QSLMSLI3QSLMSLRH3 QSLMSLI3 QSLMSLRH3T3                   3 T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3              VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               51831933Y523N56813                       ^\3IH 3               QSLMSLRH3QSLMSLRL3 QSLMSLRH3 QSLMSLRL3T3                   3 T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3              VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               51831933Y523N56813                       ^\3LH3              QSLMSLRL3QSLMSLRQ3 QSLMSLRL3 QSLMSLRQ3T3                   3 T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3              VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               YW3]1 6535183193                          VFW3                 LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               Y12613V63Z653518319334622[5U34N3   \XLQL3I3Q3              LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               N56813O5183193                            P LHQR 3               LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T333333LUHHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                   VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               Y12613V63Z653518319334622[5U34N3   \X3LQLMH3              LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               N56813O5183193                            P LHQR 3               LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T333333LUHHUHHHHH3T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3                VFW3                4X3
    4186683^F963GLJK3^2153N513L HL 3GLJ3                               51831933Y523N56813                       _N3 3Q3L3            QSSLRR3 LSLSLRM3 QSSLRR3 LSLSLRM3T3                       3 T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3           VFW3                4X3
    41223G JK341223G J3                                                  51831933Y523N56813                       ^\3HQ 3               RSLSLIM3 RSLSLI3 RSLSLIM3 RSLSLI3T3                     3       VFW3           VFW3 VFW3               VFW3                ^X3
    41223G JK341223G J3                                                  51831933Y523N56813                       ^\3LHMR3               RSLSLI3 RSLSLRH3 RSLSLI3 RSLSLRH3T3                     3 T33333333QHUHHHHH3 T3333QHUHHHHH3 VFW3           VFW3                4X3
    41223G JK341223G J3                                                  51831933Y523N56813                       ^\3QIRH3               RSLSLRH3 RSLSLRL3 RSLSLRH3 RSLSLRL3T3                     3 T33333333QHUHHHHH3 T3333QHUHHHHH3 VFW3           VFW3                4X3
    41223G JK341223G J3                                                  51831933Y523N56813                       ^\3IIL3               RSLSLRL3 RSLSLRQ3 RSLSLRL3 RSLSLRQ3T3                     3 T33333333QHUHHHHH3 T3333QHUHHHHH3 VFW3           VFW3                4X3
    41223G JK341223G J3                                                  Y12613V63Z653518319334622[5U34N3   \XLQL3R3IH3             LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    41223G JK341223G J3                                                  N56813O5183193                            P LHQR 3               LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T333333LUHHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                   VFW3                4X3
    41223G JK341223G J3                                                  Y12613V63Z653518319334622[5U34N3   \X3LQQHQMQ3              LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    41223G JK341223G J3                                                  N56813O5183193                            P LHQR 3               LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T333333LUHHUHHHHH3T33333333HHUHHHHH3 T3333HHUHHHHH3 VFW3                VFW3                4X3
    412W19323N7253GIJK3123LIQHLI3GLQJ3                                Y12613V63Z653518319334622[5U34N3   \XLQL3RH3 3             LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3
    412W19323N7253GIJK3123LIQHLI3GLQJ3                                N56813O5183193                            P LHQR 3               LSLSLRI3 LSLSLRR3 LSLSLRI3 LSLSLRR3T333333LUHHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                   VFW3                4X3
    412W19323N7253GIJK3123LIQHLI3GLQJ3                                Y12613V63Z653518319334622[5U34N3   \X3LQLMH3              LSLSLRR3 LSLSLRM3 LSLSLRR3 LSLSLRM3T3 HHUHHHHH3T33333LUHHHUHHHHH3T3LUHHHUHHHHH3 VFW3                         VFW3                4X3




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01213456718933 638238216356712365126
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                                                                                                                                 813863518346863
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                                !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#' 5&0#&'60&$' 7%.'60&$' !("% )*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                    60&$'         60&$'
412C19323D7253EFGH3123IJFKIF3EIKG3                          D56813L5183193                            M IKNJO3                 IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R333333ISS3R33333333S3 R3333S3 TUC3             TUC3                4V3
412C19323D7253EFGH3123IJFKIF3EIKG3                          W12613X65351831933Y15253             Z3KJNNONJ3             PKOPKN3PKOPKQ3 PKOPKN3 PKOPKQ3R3                3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3123IJFKIF3EIKG3                          262135183193                           Z3KJNNONJ3             PKOPKQ3PKOPKJ3 PKOPKQ3 PKOPKJ3R3                3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3123IJFKIF3EIKG3                          262135183193                           Z3KJNNONJ3             PKOPKJ3PKOPKI3 PKOPKJ3 PKOPKI3R3                3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     51831933W523D56813                       [ZK3                  IPIPIJFF3 IPIPIJFN3 IPIPIJFF3 IPIPIJFN3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     51831933W523D56813                       [ZKFO3                  IPIPIJFN3 IPIPIJFQ3 IPIPIJFN3 IPIPIJFQ3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     51831933W523D56813                       [ZKIOI3                  IPIPIJFQ3 IPIPIJFJ3 IPIPIJFQ3 IPIPIJFJ3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     51831933W523D56813                       [Z3KIFK3                 IPIPIJFJ3 IPIPIJN3 IPIPIJFJ3 IPIPIJN3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     51831933W523D56813                       [Z3IQO3                 IPIPIJN3 IPIPIJNI3 IPIPIJN3 IPIPIJNI3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     51831933W523D56813                       [Z33IQ33               IPIPIJNI3 IPIPIJNK3 IPIPIJNI3 IPIPIJNK3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     51831933W523D56813                       TUC3                   IPIPIJNK3 IPIPIJNO3 IPIPIJNK3 IPIPIJNO3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     TUC3                                                TUC3                   IPIPIJNO3 IPIPIJN3 IPIPIJNO3 IPIPIJN3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     TUC3                                                TUC3                   IPIPIJN3 IPIPIJN3 IPIPIJN3 IPIPIJN3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     WC3Y1 6535183193                          TUC3                   IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     W12613T63X653518319334622\5S34D3   ZVIKI3N3II3               IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     D56813L5183193                            M IKNJO3                 IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R333333ISS3R33333ISS3R3ISS3 TUC3                TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     WC3Y1 6535183193                          TUC3                   IPIPIJNN3JPIKPIJNN3 IPIPIJNN3 JPIKPIJNN3R3                 3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     W12613T63X653518319334622\5S34D3   ZV3IKIJJQ3                IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     D56813L5183193                            M IKNJO3                 IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R333333ISS3R33333333S3 R3333S3 TUC3             TUC3                4V3
412C19323D7253EFGH3 6813D513IJOKIF3EIIQG3                     663V95351833]113                     NN^D3IOOK3               JPIKPIJNN3JPIKPIJNQ3 JPIKPIJNN3 JPIKPIJNQ3R3                3 R33333333OS3 R3333OS3 TUC3           TUC3                [V3
412C19323D7253EFGH3W52C23[\5\13IJKFKIF3ENIG3                 51831933W523D56813                       [Z3KNFO3                PIOPIJNI3PIOPIJNK3 PIOPIJNI3 PIOPIJNK3R3                3 R33333333S3 R3333S3 TUC3           TUC3                4V3
412C19323D7253EFGH3W52C23[\5\13IJKFKIF3ENIG3                 W12613T63X653518319334622\5S34D3   ZVIKI3N3Q3               IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
412C19323D7253EFGH3W52C23[\5\13IJKFKIF3ENIG3                 D56813L5183193                            M IKNJO3                 IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R333333ISS3R33333ISS3R3ISS3 TUC3                TUC3                4V3
412C19323D7253EFGH3W52C23[\5\13IJKFKIF3ENIG3                 W12613T63X653518319334622\5S34D3   ZV3IKIJJ3                IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
412C19323D7253EFGH3W52C23[\5\13IJKFKIF3ENIG3                 D56813L5183193                            M IKNJO3                 IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R333333ISS3R33333333S3 R3333S3 TUC3             TUC3                4V3
412C19323D7253EFGH3412C19323D7253EFG3                       D56813L5183193                            M IKNJO3                 IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R333333ISS3R33333ISS3R3ISS3 TUC3                TUC3                4V3
412C19323D7253EFGH3412C19323D7253EFG3                       D56813L5183193                            M IKNJO3                 IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R333333ISS3R33333333S3 R3333S3 TUC3             TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 51831933W523D56813                       [ZKJF3                  PKPIJF3 PKPIJFF3 PKPIJF3 PKPIJFF3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 51831933W523D56813                       [Z3K33NO3               PKPIJFF3 PKPIJFN3 PKPIJFF3 PKPIJFN3R3                  3 R33333333S3 R3333S3 TUC3           TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 51831933W523D56813                       [Z3K33NO3               PKPIJFN3 PKPIJFQ3 PKPIJFN3 PKPIJFQ3R3                  3 R33333333S3 R3333S3 TUC3           TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 51831933W523D56813                       [Z3KIQ3                 PKPIJFQ3 PKPIJFJ3 PKPIJFQ3 PKPIJFJ3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 51831933W523D56813                       [Z3IQI3                 PKPIJFJ3 PKPIJN3 PKPIJFJ3 PKPIJN3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 51831933W523D56813                       [Z3IQK3                 PKPIJN3 PKPIJNI3 PKPIJN3 PKPIJNI3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 51831933W523D56813                       [Z3IQF3                 PKPIJNI3 PKPIJNK3 PKPIJNI3 PKPIJNK3R3                  3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 WC3Y1 6535183193                          TUC3                   IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 W12613T63X653518319334622\5S34D3   ZVIKI3N3KI3               IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 D56813L5183193                            M IKNJO3                 IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R333333ISS3R33333ISS3R3ISS3 TUC3                TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 WC3Y1 6535183193                          TUC3                   IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 W12613T63X653518319334622\5S34D3   ZV3IKIJJFN3                IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
412C19323D7253EFGH3 12853]3D513IJIIJJO3EIOFG3                 D56813L5183193                            M IKNJO3                 IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R333333ISS3R33333333S3 R3333S3 TUC3             TUC3                4V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     51831933W523D56813                       [Z3OFJ3                IPIPIJF3IPIPIJFF3 IPIPIJF3 IPIPIJFF3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     51831933W523D56813                       [Z3OFJ3                IPIPIJFF3IPIPIJFN3 IPIPIJFF3 IPIPIJFN3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     51831933W523D56813                       [Z3OFJ3                IPIPIJFN3IPIPIJFQ3 IPIPIJFN3 IPIPIJFQ3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     51831933W523D56813                       [Z3IJ3                IPIPIJFQ3IPIPIJFJ3 IPIPIJFQ3 IPIPIJFJ3R3                3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     51831933W523D56813                       [Z3IJ3                IPIPIJFJ3IPIPIJN3 IPIPIJFJ3 IPIPIJN3R3                3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     51831933W523D56813                       [Z3IJ3                IPIPIJN3IPIPIJNI3 IPIPIJN3 IPIPIJNI3R3                3 R33333ISS3R3ISS3 TUC3              TUC3                4V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     X5135183193                               TUC3                   IPIPIJN3 IPIPIJN3 IPIPIJN3 IPIPIJN3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     X5135183193                               TUC3                   IPIPIJN3 IPIPIJN3 IPIPIJN3 IPIPIJN3R3 S3 TUC3                        TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     WC3Y1 6535183193                          TUC3                   IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     W12613T63X653518319334622\5S34D3   ZVIKI3N3IJ3               IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     D56813L5183193                            M IKNJO3                 IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R333333ISS3R33333ISS3R3ISS3 TUC3                TUC3                4V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     WC3Y1 6535183193                          [4KNKFWION3            IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     W12613T63X653518319334622\5S34D3   ZV3IKIJJF3                IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
412C19323D7253EFGH3]23[\5\13IJIQIJJO3EING3                     D56813L5183193                            M IKNJO3                 IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R333333ISS3R33333333S3 R3333S3 TUC3             TUC3                4V3
41256234123EOQGH3M556[ _3IJOFIJJJ3EOOG3                               13X6535183D 861263                        [M43IJIF3                KPIPIJN3 KPIPIJNF3 KPIPIJN3 KPIPIJNF3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3M556[ _3IJOFIJJJ3EOOG3                               W12613T63X653518319334622\5S34D3   ZVIKI3NI3KN3               IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
41256234123EOQGH3M556[ _3IJOFIJJJ3EOOG3                               D56813L5183193                            M IKNJO3                 IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R333333ISS3R33333ISS3R3ISS3 TUC3                TUC3                4V3
41256234123EOQGH3M556[ _3IJOFIJJJ3EOOG3                               13X6535183D 861263                        [M43IJIF3                KPIPIJNF3 KPIPIJNN3 KPIPIJNF3 KPIPIJNN3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3M556[ _3IJOFIJJJ3EOOG3                               W12613T63X653518319334622\5S34D3   ZV3IKKINJ3                IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
41256234123EOQGH3M556[ _3IJOFIJJJ3EOOG3                               D56813L5183193                            M IKNJO3                 IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R333333ISS3R33333333S3 R3333S3 TUC3             TUC3                4V3
41256234123EOQGH3M556[ _3IJOFIJJJ3EOOG3                               13X6535183D 861263                        [M43IJIF3                KPIPIJNN3 KPIPIJNQ3 KPIPIJNN3 KPIPIJNQ3R3                  3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3T63IJKQIJQ3EOOQG3                                    W12613T63X653518319334622\5S34D3   ZVIKI3NI3KJ3               IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
41256234123EOQGH3T63IJKQIJQ3EOOQG3                                    D56813L5183193                            M IKNJO3                 IPIPIJNF3 IPIPIJNN3 IPIPIJNF3 IPIPIJNN3R333333ISS3R33333ISS3R3ISS3 TUC3                TUC3                4V3
41256234123EOQGH3T63IJKQIJQ3EOOQG3                                    W12613T63X653518319334622\5S34D3   ZV3IKKIQI3                IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R3 S3R33333ISS3R3ISS3 TUC3                      TUC3                4V3
41256234123EOQGH3T63IJKQIJQ3EOOQG3                                    D56813L5183193                            M IKNJO3                 IPIPIJNN3 IPIPIJNQ3 IPIPIJNN3 IPIPIJNQ3R333333ISS3R33333333S3 R3333S3 TUC3             TUC3                4V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                                            KII3IPKNPIJ3IPKNPIJF3 IPKNPIJ3 IPKNPIJF3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                                            KII3IPKNPIJF3IPKNPIJN3 IPKNPIJF3 IPKNPIJN3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                                            KII3IPKNPIJN3IPKNPIJQ3 IPKNPIJN3 IPKNPIJQ3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJQ3IPKNPIJJ3 IPKNPIJQ3 IPKNPIJJ3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJJ3IPKNPIJ3 IPKNPIJJ3 IPKNPIJ3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJ3IPKNPIJI3 IPKNPIJ3 IPKNPIJI3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJI3IPKNPIJK3 IPKNPIJI3 IPKNPIJK3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJK3IPKNPIJO3 IPKNPIJK3 IPKNPIJO3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJO3IPKNPIJ3 IPKNPIJO3 IPKNPIJ3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJ3IPKNPIJ3 IPKNPIJ3 IPKNPIJ3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJ3IPKNPIJF3 IPKNPIJ3 IPKNPIJF3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJF3IPKNPIJN3 IPKNPIJF3 IPKNPIJN3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJN3IPKNPIJQ3 IPKNPIJN3 IPKNPIJQ3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJQ3IPKNPIJJ3 IPKNPIJQ3 IPKNPIJJ3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJJ3IPKNPIJF3 IPKNPIJJ3 IPKNPIJF3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJF3IPKNPIJFI3 IPKNPIJF3 IPKNPIJFI3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJFI3IPKNPIJFK3 IPKNPIJFI3 IPKNPIJFK3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJFK3IPKNPIJFO3 IPKNPIJFK3 IPKNPIJFO3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJFO3IPKNPIJF3 IPKNPIJFO3 IPKNPIJF3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJF3IPKNPIJF3 IPKNPIJF3 IPKNPIJF3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJF3IPKNPIJFF3 IPKNPIJF3 IPKNPIJFF3R3                3       TUC3           TUC3 TUC3               TUC3                [V3
41256234123EOQGH3]1283D513IJKFIJJJ3EOQG3                             51831933W523D56813                       TUC3                  IPKNPIJFF3IPKNPIJFN3 IPKNPIJFF3 IPKNPIJFN3R3                3       TUC3           TUC3 TUC3               TUC3                [V3



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                                   !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                    !0##*$#'                          -(+*)1'2"34$#'     5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
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41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                51831933M523I56813                       NOP3                  QKRQJLR3QKRQJLE3 QKRQJLR3 QKRQJLE3S3                   3       NOP3           NOP3 NOP3               NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                51831933M523I56813                       NOP3                  QKRQJLE3QKRQJLJ3 QKRQJLE3 QKRQJLJ3S3                   3       NOP3           NOP3 NOP3               NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                51831933M523I56813                       NOP3                  QKRQJLJ3QKRQJRV3 QKRQJLJ3 QKRQJRV3S3                   3       NOP3           NOP3 NOP3               NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                51831933M523I56813                       NOP3                  QKRQJRV3DQKVQJRV3 QKRQJRV3 DQKVQJRV3S3                   3       NOP3           NOP3 NOP3               NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                51831933M523I56813                       WILK3                 DQKVQJRV3DQKVQJR3 DQKVQJRV3 DQKVQJR3S3                   3       NOP3           NOP3 NOP3               NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                51831933M523I56813                       TX3KLJV3                QKRQJR3QKRQJRK3 QKRQJR3 QKRQJRK3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                MP3Z1 6535183193                          NOP3                   QQJRL3 QQJRR3 QQJRL3 QQJRR3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                M12613N63[653518319334622\5Y34I3   XUK3R3D3               QQJRL3 QQJRR3 QQJRL3 QQJRR3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                I56813]5183193                            ^ VKRJD3                 QQJRL3 QQJRR3 QQJRL3 QQJRR3S333333YVVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                   NOP3                4U3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                _5351831933MP3̀5O3                  _U3LJ3                  QQJRR3 QQJRE3 QQJRR3 QQJRE3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                MP3Z1 6535183193                          WI3DDKDRV3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                I\1 1535183193                             NOP3                   QQJRR3 QQJRE3 QQJRR3 QQJRE3S3 VYVVVVV3S33333333VYVVVVV3 S3333VYVVVVV3 NOP3                       NOP3                TU3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                M12613N63[653518319334622\5Y34I3   XU3KKVE3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
41256234123CDEFG3H1283I513JKLJJJ3CDEF3                                I56813]5183193                            ^ VKRJD3                 QQJRR3 QQJRE3 QQJRR3 QQJRE3S333333YVVYVVVVV3S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3                NOP3                4U3
4303I513CKFG34303I513CKF3                                        51831933M523I56813                       TX33D3L3               RQQJL3 RQQJLL3 RQQJL3 RQQJLL3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
4303I513CKFG34303I513CKF3                                        51831933M523I56813                       TX33D3L3               RQQJLL3 RQQJLR3 RQQJLL3 RQQJLR3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
4303I513CKFG34303I513CKF3                                        51831933M523I56813                       TX33D3L3               RQQJLR3 RQQJLE3 RQQJLR3 RQQJLE3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
4303I513CKFG34303I513CKF3                                        51831933M523I56813                       TX33V3VR3               RQQJLE3 RQQJLJ3 RQQJLE3 RQQJLJ3S3                     3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
4303I513CKFG34303I513CKF3                                        51831933M523I56813                       TX33V3VR3               RQQJLJ3 RQQJRV3 RQQJLJ3 RQQJRV3S3                     3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
4303I513CKFG34303I513CKF3                                        51831933M523I56813                       TX33V3VR3               RQQJRV3 RQQJR3 RQQJRV3 RQQJR3S3                     3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
4303I513CKFG34303I513CKF3                                        51831933M523I56813                       TX3RJ3                 RQQJR3 RQQJRK3 RQQJR3 RQQJRK3S3                     3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
4303I513CKFG34303I513CKF3                                        MP3Z1 6535183193                          NOP3                   QQJRL3 QQJRR3 QQJRL3 QQJRR3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
4303I513CKFG34303I513CKF3                                        M12613N63[653518319334622\5Y34I3   XUK3RD3E3               QQJRL3 QQJRR3 QQJRL3 QQJRR3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
4303I513CKFG34303I513CKF3                                        I56813]5183193                            ^ VKRJD3                 QQJRL3 QQJRR3 QQJRL3 QQJRR3S333333YVVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                   NOP3                4U3
4303I513CKFG34303I513CKF3                                        MP3Z1 6535183193                          NOP3                   QQJRR3 QQJRE3 QQJRR3 QQJRE3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
4303I513CKFG34303I513CKF3                                        M12613N63[653518319334622\5Y34I3   XU3KKVKEV3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
4303I513CKFG34303I513CKF3                                        I56813]5183193                            ^ VKRJD3                 QQJRR3 QQJRE3 QQJRR3 QQJRE3S333333YVVYVVVVV3S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3                NOP3                4U3
49716130283CKFG3181253293JKJR3CJF3                        M126P63^2135183193                     NOP3                   QQJL3 QQJLL3 QQJL3 QQJLL3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
49716130283CKFG3181253293JKJR3CJF3                        51831933M523I56813                       NOP3                 KQDQJL3KQDQJLL3 KQDQJL3KQDQJLL3S3                 3       NOP3           NOP3 NOP3               NOP3                TU3
49716130283CKFG3181253293JKJR3CJF3                        51831933M523I56813                       NOP3                 KQDQJLL3KQDQJLR3 KQDQJLL3KQDQJLR3S3                 3       NOP3           NOP3 NOP3               NOP3                TU3
49716130283CKFG3181253293JKJR3CJF3                        51831933M523I56813                       NOP3                 KQDQJLR3KQLQJLE3 KQDQJLR3KQLQJLE3S3                 3       NOP3           NOP3 NOP3               NOP3                TU3
49716130283CKFG3181253293JKJR3CJF3                        51831933M523I56813                       TX33E3K3             KQLQJLE3KQLQJLJ3 KQLQJLE3KQLQJLJ3S3                 3       NOP3           NOP3 NOP3               NOP3                TU3
49716130283CKFG3181253293JKJR3CJF3                        51831933M523I56813                       TX33E3K3             KQLQJLJ3KQLQJRV3 KQLQJLJ3KQLQJRV3S3                 3       NOP3           NOP3 NOP3               NOP3                TU3
49716130283CKFG3181253293JKJR3CJF3                        51831933M523I56813                       TX33E3K3             KQLQJRV3KQLQJR3 KQLQJRV3KQLQJR3S3                 3       NOP3           NOP3 NOP3               NOP3                TU3
49716130283CKFG318125\13JRJJ3CKF3                        51831933M523I56813                       TX3DVRD3                QKLQJR3QKQJRK3 QKLQJR3 QKQJRK3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                TU3
49716130283CKFG318125\13JRJJ3CKF3                        51831933M523I56813                       TX3DVRD3                QKLQJRK3QKLQJRD3 QKLQJRK3 QKLQJRD3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                TU3
49716130283CKFG318125\13JRJJ3CKF3                        51831933M523I56813                       aX3J3LR33             QKEQJRK3QKEQJRD3 QKEQJRK3QKEQJRD3S333333YVVVYVVVVV3S33333YVVYVVVVV3S3YVVYVVVVV3 NOP3               NOP3                4U3
49716130283CKFG318125\13JRJJ3CKF3                        51831933M523I56813                       TX3DVRD3                QKLQJRD3QKLQJR3 QKLQJRD3 QKLQJR3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                TU3
49716130283CKFG318125\13JRJJ3CKF3                        51831933M523I56813                       aX3J3LR33             QKEQJRD3QKEQJR3 QKEQJRD3QKEQJR3S333333YVVVYVVVVV3S33333YVVYVVVVV3S3YVVYVVVVV3 NOP3               NOP3                4U3
49716130283CKFG318125\13JRJJ3CKF3                        51831933M523I56813                       aX3J3LR33             QKEQJR3 QQJR3 QKEQJR3 QQJR3S333333YVVVYVVVVV3S33333YVVYVVVVV3S3YVVYVVVVV3 NOP3                 NOP3                4U3
49716130283CKFG318125\13JRJJ3CKF3                        51831933M523I56813                       aX33LJ3E3              QQJR3 QQJRL3 QQJR3 QQJRL3S3 VVYVVVVV3S33333KYVVVYVVVVV3S3KYVVVYVVVVV3 NOP3                         NOP3                4U3
49716130283CKFG318125\13JRJJ3CKF3                        M12613N63[653518319334622\5Y34I3   XUK3RD3DE3               QQJRL3 QQJRR3 QQJRL3 QQJRR3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
49716130283CKFG318125\13JRJJ3CKF3                        I56813]5183193                            ^ VKRJD3                 QQJRL3 QQJRR3 QQJRL3 QQJRR3S333333YVVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                   NOP3                4U3
49716130283CKFG318125\13JRJJ3CKF3                        M12613N63[653518319334622\5Y34I3   XU3KKVVJD3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
49716130283CKFG318125\13JRJJ3CKF3                        I56813]5183193                            ^ VKRJD3                 QQJRR3 QQJRE3 QQJRR3 QQJRE3S333333YVVYVVVVV3S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3                NOP3                4U3
49716130283CKFG3\13293JKJR3CLVF3                         51831933M523I56813                       TX33R3K3              QKLQJLR3QKLQJLE3 QKLQJLR3 QKLQJLE3S3                   3       NOP3           NOP3 NOP3               NOP3                TU3
49716130283CKFG3\13293JKJR3CLVF3                         51831933M523I56813                       TX33E33              QKLQJLE3QKLQJLJ3 QKLQJLE3 QKLQJLJ3S3                   3 S33333333KVYVVVVV3 S3333KVYVVVVV3 NOP3           NOP3                4U3
49716130283CKFG3\13293JKJR3CLVF3                         51831933M523I56813                       TX33E33              QKLQJLJ3QKLQJRV3 QKLQJLJ3 QKLQJRV3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
49716130283CKFG3\13293JKJR3CLVF3                         51831933M523I56813                       TX33E33              QKLQJRV3QKLQJR3 QKLQJRV3 QKLQJR3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
49716130283CKFG3\13293JKJR3CLVF3                         51831933M523I56813                       TX33DV3RD3              QKLQJR3QKQJRK3 QKLQJR3 QKQJRK3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
49716130283CKFG3\13293JKJR3CLVF3                         51831933M523I56813                       TX33DV3RD3              QKLQJRK3QKLQJRD3 QKLQJRK3 QKLQJRD3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
49716130283CKFG3\13293JKJR3CLVF3                         51831933M523I56813                       TX33DV3RD3              QKLQJRD3QKLQJR3 QKLQJRD3 QKLQJR3S3                   3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
49716130283CKFG3\13293JKJR3CLVF3                         51831933M523I56813                       TX33DV3RD3              QKLQJR3 QQJR3 QKLQJR3 QQJR3S3                    3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
4623CKFG34623CKF3                                                  51831933M523I56813                       TX33D3JJ3               LQQJLR3 LQQJLE3 LQQJLR3 LQQJLE3S3                     3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
4623CKFG34623CKF3                                                  51831933M523I56813                       TX33D3JJ3               LQQJLE3 LQQJLJ3 LQQJLE3 LQQJLJ3S3                     3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
4623CKFG34623CKF3                                                  51831933M523I56813                       TX33D3JJ3               LQQJLJ3 LQQJRV3 LQQJLJ3 LQQJRV3S3                     3 S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3              NOP3                4U3
4623CKFG34623CKF3                                                  51831933M523I56813                       TX33D3JV3               LQQJRV3 LQQJR3 LQQJRV3 LQQJR3S3                     3 S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3           NOP3                4U3
4623CKFG34623CKF3                                                  51831933M523I56813                       TX33D3JV3               LQQJR3 LQQJRK3 LQQJR3 LQQJRK3S3                     3 S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3           NOP3                4U3
4623CKFG34623CKF3                                                  MP3Z1 6535183193                          NOP3                   QQJRL3 QQJRR3 QQJRL3 QQJRR3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
4623CKFG34623CKF3                                                  M12613N63[653518319334622\5Y34I3   XUK3LJ33               QQJRL3 QQJRR3 QQJRL3 QQJRR3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
4623CKFG34623CKF3                                                  I56813]5183193                            ^ VKRJD3                 QQJRL3 QQJRR3 QQJRL3 QQJRR3S333333YVVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                   NOP3                4U3
4623CKFG34623CKF3                                                  MP3Z1 6535183193                          WI3KEKV3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3                     3 S3 VYVVVVV3 S333333VYVVVVV3 NOP3                 NOP3                TU3
4623CKFG34623CKF3                                                  M12613N63[653518319334622\5Y34I3   XU3KJEJD3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
4623CKFG34623CKF3                                                  I56813]5183193                            ^ VKRJD3                 QQJRR3 QQJRE3 QQJRR3 QQJRE3S333333YVVYVVVVV3S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3                NOP3                4U3
4623CKVFG34623CKVF3                                                51831933M523I56813                       TX3VK3                LQQJLE3LQQJLJ3 LQQJLE3 LQQJLJ3S3                   3       NOP3           NOP3 NOP3               NOP3                TU3
4623CKVFG34623CKVF3                                                51831933M523I56813                       TX3VE3                LQQJLJ3LQQJRV3 LQQJLJ3 LQQJRV3S3                   3 S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3           NOP3                4U3
4623CKVFG34623CKVF3                                                51831933M523I56813                       TX3KLRL3                LQQJRV3LQQJR3 LQQJRV3 LQQJR3S3                   3 S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3           NOP3                4U3
4623CKVFG34623CKVF3                                                51831933M523I56813                       TX3DLDE3                LQQJR3LQQJRK3 LQQJR3 LQQJRK3S3                   3 S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3           NOP3                4U3
4623CKVFG34623CKVF3                                                MP3Z1 6535183193                          NOP3                   QQJR3 QQJR3 QQJR3 QQJR3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
4623CKVFG34623CKVF3                                                MP3Z1 6535183193                          NOP3                   QQJRL3 QQJRR3 QQJRL3 QQJRR3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
4623CKVFG34623CKVF3                                                M12613N63[653518319334622\5Y34I3   XUK3R3E3               QQJRL3 QQJRR3 QQJRL3 QQJRR3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
4623CKVFG34623CKVF3                                                I56813]5183193                            ^ VKRJD3                 QQJRL3 QQJRR3 QQJRL3 QQJRR3S333333YVVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                   NOP3                4U3
4623CKVFG34623CKVF3                                                M12613N63[653518319334622\5Y34I3   XU3KKVVDE3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
4623CKVFG34623CKVF3                                                I56813]5183193                            ^ VKRJD3                 QQJRR3 QQJRE3 QQJRR3 QQJRE3S333333YVVYVVVVV3S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3                NOP3                4U3
4623CKVFG34623CKVF3                                                T23413[65313^15635183193              NOP3                   KQQJRR3 KQQJRE3 KQQJRR3 KQQJRE3S3                     3 S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3           NOP3                TU3
4623CKVFG34623CKVF3                                                T23413[65313^15635183193              NOP3                   KQQJRE3 KQQJRJ3 KQQJRE3 KQQJRJ3S3                     3 S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3           NOP3                TU3
4623CKVFG34623CKVF3                                                T23413[65313^15635183193              NOP3                   KQQJRJ3 KQQJEV3 KQQJRJ3 KQQJEV3S3                     3 S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3           NOP3                TU3
4623CKVFG34623CKVF3                                                I2131129313T5293193                       VK3W3KVVR3T3      LQQJJ3LQQJJK3 LQQJJ3 LQQJJK3S3                   3       NOP3           NOP3 NOP3               NOP3                TU3
46O341O3CLVFG346O341O3CLVF3                                                M12613N63[653518319334622\5Y34I3   XUK3LJ3LK3               QQJRL3 QQJRR3 QQJRL3 QQJRR3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
46O341O3CLVFG346O341O3CLVF3                                                I56813]5183193                            ^ VKRJD3                 QQJRL3 QQJRR3 QQJRL3 QQJRR3S333333YVVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                   NOP3                4U3
46O341O3CLVFG346O341O3CLVF3                                                M12613N63[653518319334622\5Y34I3   XU3KJJV3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
46O341O3CLVFG346O341O3CLVF3                                                I56813]5183193                            ^ VKRJD3                 QQJRR3 QQJRE3 QQJRR3 QQJRE3S333333YVVYVVVVV3S33333333VVYVVVVV3 S3333VVYVVVVV3 NOP3                NOP3                4U3
463X553I513CDVFG3463X553I513CDVF3                                    MP3Z1 6535183193                          NOP3                   QQJRL3 QQJRR3 QQJRL3 QQJRR3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
463X553I513CDVFG3463X553I513CDVF3                                    M12613N63[653518319334622\5Y34I3   XUK3R3VR3               QQJRL3 QQJRR3 QQJRL3 QQJRR3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3
463X553I513CDVFG3463X553I513CDVF3                                    I56813]5183193                            ^ VKRJD3                 QQJRL3 QQJRR3 QQJRL3 QQJRR3S333333YVVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                   NOP3                4U3
463X553I513CDVFG3463X553I513CDVF3                                    MP3Z1 6535183193                          NOP3                   QQJRR3 QQJRE3 QQJRR3 QQJRE3S3                     3       NOP3           NOP3 NOP3               NOP3                TU3
463X553I513CDVFG3463X553I513CDVF3                                    M12613N63[653518319334622\5Y34I3   XU3KKVR3                QQJRR3 QQJRE3 QQJRR3 QQJRE3S3 VVYVVVVV3S33333YVVVYVVVVV3S3YVVVYVVVVV3 NOP3                         NOP3                4U3



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                                   !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                    !0##*$#'                          -(+*)1'2"34$#'     5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                          60&$'         60&$'
463C553D513EFGHI3463C553D513EFGH3                                    D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
46353ELPHI346353ELPH3                                                W15253D88623136293193                G33LNN3              LOOLNMF3LOOLNM3 LOOLNMF3 LOOLNM3Q3                   3       STU3           STU3 STU3               STU3                XV3
46353ELPHI346353ELPH3                                                W15253D88623136293193                G33LMNN3              LOOLNM3LOOLNM3 LOOLNM3 LOOLNM3Q3                   3 Q33333333FGGRGGGGG3 Q3333FGGRGGGGG3 STU3           STU3                4V3
46353ELPHI346353ELPH3                                                W15253D88623136293193                G33LYLFG3              LOOLNM3LOOLNMY3 LOOLNM3 LOOLNMY3Q3                   3 Q33333333FGGRGGGGG3 Q3333FGGRGGGGG3 STU3           STU3                4V3
46353ELPHI346353ELPH3                                                Z12613S63[653518319334622\5R34D3   CVLL3MG3Y3               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
46353ELPHI346353ELPH3                                                D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
46353ELPHI346353ELPH3                                                W15253D88623136293193                G33LYLGNN3              LOOLNMY3LOOLNMM3 LOOLNMY3 LOOLNMM3Q3                   3 Q33333333FGGRGGGGG3 Q3333FGGRGGGGG3 STU3           STU3                4V3
46353ELPHI346353ELPH3                                                Z12613S63[653518319334622\5R34D3   CV3LGLL3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
46353ELPHI346353ELPH3                                                D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
46353ELPHI346353ELPH3                                                W15253D88623136293193                G33LYFLF3              LOOLNMM3LOOLNMP3 LOOLNMM3 LOOLNMP3Q3                   3 Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3           STU3                4V3
493V]5 3EFLLHI3493V]5 3EFLLH3                                          51831933Z523D56813                       XC33GP33             LONOLNYN3LONOLNMG3 LONOLNYN3LONOLNMG3Q3                 3 Q33333333GRGGGGG3 Q3333GRGGGGG3 STU3           STU3                4V3
493V]5 3EFLLHI3493V]5 3EFLLH3                                          51831933Z523D56813                       XC33GP3Y3             LONOLNMG3LONOLNML3 LONOLNMG3LONOLNML3Q3                 3 Q33333333GRGGGGG3 Q3333GRGGGGG3 STU3           STU3                4V3
493V]5 3EFLLHI3493V]5 3EFLLH3                                          51831933Z523D56813                       STU3                 LONOLNML3 LOLOLNM3 LONOLNML3 LOLOLNM3Q3                   3       STU3           STU3 STU3               STU3                XV3
493V]5 3EFLLHI3493V]5 3EFLLH3                                          Z12613S63[653518319334622\5R34D3   CVLL3ML3L3               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
493V]5 3EFLLHI3493V]5 3EFLLH3                                          D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
493V]5 3EFLLHI3493V]5 3EFLLH3                                          Z12613S63[653518319334622\5R34D3   CV3LGLY3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
493V]5 3EFLLHI3493V]5 3EFLLH3                                          D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
421U1263D513EYLHI3421U1263D513EYLH3                                  Z12613S63[653518319334622\5R34D3   CVLL3M3M3               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
421U1263D513EYLHI3421U1263D513EYLH3                                  D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
421U1263D513EYLHI3421U1263D513EYLH3                                  Z12613S63[653518319334622\5R34D3   CV3LGY3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
421U1263D513EYLHI3421U1263D513EYLH3                                  D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
45165613ELLMHI3D55U 13LNFFLNNL3ELLMH3                                   51831933Z523D56813                        XC33G3L3              YOLOLNYP3 YOLOLNYN3 YOLOLNYP3 YOLOLNYN3Q3                     3 Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3           STU3                4V3
45165613ELLMHI3D55U 13LNFFLNNL3ELLMH3                                   51831933Z523D56813                        XC33G3L3              YOLOLNYN3 YOLOLNMG3 YOLOLNYN3 YOLOLNMG3Q3                     3 Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3           STU3                4V3
45165613ELLMHI3D55U 13LNFFLNNL3ELLMH3                                   51831933Z523D56813                        XC33G3L3              YOLOLNMG3 YOLOLNML3 YOLOLNMG3 YOLOLNML3Q3                     3 Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3           STU3                4V3
45165613ELLMHI3D55U 13LNFFLNNL3ELLMH3                                   51831933Z523D56813                       XC3LMG3                 YOLOLNML3 YOLOLNM3 YOLOLNML3 YOLOLNM3Q3                     3 Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3           STU3                4V3
45165613ELLMHI3D55U 13LNFFLNNL3ELLMH3                                   Z12613S63[653518319334622\5R34D3   CVLL3MG3LG3               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
45165613ELLMHI3D55U 13LNFFLNNL3ELLMH3                                   D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
45165613ELLMHI3D55U 13LNFFLNNL3ELLMH3                                   Z12613S63[653518319334622\5R34D3   CV3LLNNM3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
45165613ELLMHI3D55U 13LNFFLNNL3ELLMH3                                   D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
45165613ELLMHI3461T 1U3LNYLNNL3EMFNH3                                   Z12613S63[653518319334622\5R34D3   CVLL3MG3LF3               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
45165613ELLMHI3461T 1U3LNYLNNL3EMFNH3                                   D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
45165613ELLMHI3461T 1U3LNYLNNL3EMFNH3                                   Z12613S63[653518319334622\5R34D3   CV3LLNNN3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
45165613ELLMHI3461T 1U3LNYLNNL3EMFNH3                                   D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
45623[53[X3EMPLHI345623[53[X3EMPLH3                              D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
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4523J683EYYLHI34523J683LNY3EYYLH3                                     Z12613S63[653518319334622\5R34D3   CVLL3MF33               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
4523J683EYYLHI34523J683LNY3EYYLH3                                     D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
4523J683EYYLHI34523J683LNY3EYYLH3                                     Z12613S63[653518319334622\5R34D3   CV3LGMY3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
4523J683EYYLHI34523J683LNY3EYYLH3                                     D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
4 12113D513EYNLHI34 12113D513EYNLH3                                      ZU3W1 6535183193                          STU3                   LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3                     3       STU3           STU3 STU3               STU3                XV3
4 12113D513EYNLHI34 12113D513EYNLH3                                      Z12613S63[653518319334622\5R34D3   CVLL3ML3GY3               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
4 12113D513EYNLHI34 12113D513EYNLH3                                      D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
4 12113D513EYNLHI34 12113D513EYNLH3                                      ZU3W1 6535183193                          STU3                   LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3                     3       STU3           STU3 STU3               STU3                XV3
4 12113D513EYNLHI34 12113D513EYNLH3                                      Z12613S63[653518319334622\5R34D3   CV3LGLY3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
4 12113D513EYNLHI34 12113D513EYNLH3                                      D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
^11U3D513ELPHI3V1253D5T113D513LNFGG3ELH3                            Z12613S63[653518319334622\5R34D3   CVLL3YN33               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
^11U3D513ELPHI3V1253D5T113D513LNFGG3ELH3                            D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
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^11U3D513ELPHI3V1253D5T113D513LNFGG3ELH3                            D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  51831933Z523D56813                       XC33F3Y3              OMOLNY3OMOLNYY3 OMOLNY3 OMOLNYY3Q3                   3       STU3           STU3 STU3               STU3                XV3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  51831933Z523D56813                       XC33F3Y3              OMOLNYY3OMOLNYM3 OMOLNYY3 OMOLNYM3Q3                   3       STU3           STU3 STU3               STU3                XV3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  51831933Z523D56813                       XC33F3Y3              OMOLNYM3OMOLNYP3 OMOLNYM3 OMOLNYP3Q3                   3       STU3           STU3 STU3               STU3                XV3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  51831933Z523D56813                       XC33YN3L3              OMOLNYP3OMOLNYN3 OMOLNYP3 OMOLNYN3Q3                   3 Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3              STU3                4V3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  51831933Z523D56813                       XC33YN3L3              OMOLNYN3OMOLNMG3 OMOLNYN3 OMOLNMG3Q3                   3 Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3              STU3                4V3
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^11U3D513ELPHI3_186213D513LNGL3ELH3                                  ZU3W1 6535183193                          STU3                   LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3                     3       STU3           STU3 STU3               STU3                XV3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  Z12613S63[653518319334622\5R34D3   CVLL3YN33               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  ZU3W1 6535183193                          STU3                   LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3                     3       STU3           STU3 STU3               STU3                XV3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  Z12613S63[653518319334622\5R34D3   CV3LLNPMF3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
^11U3D513ELPHI3_186213D513LNGL3ELH3                                  D56813J5183193                            K LGMNF3                 LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q333333LRGGRGGGGG3Q33333333GGRGGGGG3 Q3333GGRGGGGG3 STU3                STU3                4V3
^11U3D513ELPHI3^11U3D513LNM3ELPH3                                       51831933Z523D56813                       STU3                   LOLOLNYY3 LOLOLNYM3 LOLOLNYY3 LOLOLNYM3Q3                     3       STU3           STU3 STU3               STU3                XV3
^11U3D513ELPHI3^11U3D513LNM3ELPH3                                       Z12613S63[653518319334622\5R34D3   CVLL3YN3Y3               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
^11U3D513ELPHI3^11U3D513LNM3ELPH3                                       X23413[65313K15635183193              STU3                   LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3                     3       STU3           STU3 STU3               STU3                XV3
^11U3D513ELPHI3^11U3D513LNM3ELPH3                                       Z12613S63[653518319334622\5R34D3   CV3LLNPM3                LOLOLNMM3 LOLOLNMP3 LOLOLNMM3 LOLOLNMP3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNY3 LOLOLNM3 LOLOLNY3 LOLOLNM3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNM3 LOLOLNP3 LOLOLNM3 LOLOLNP3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNP3 LOLOLNN3 LOLOLNP3 LOLOLNN3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNN3 LOLOLNYG3 LOLOLNN3 LOLOLNYG3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNYG3 LOLOLNYL3 LOLOLNYG3 LOLOLNYL3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNYL3 LOLOLNY3 LOLOLNYL3 LOLOLNY3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNY3 LOLOLNYF3 LOLOLNY3 LOLOLNYF3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNYF3 LOLOLNY3 LOLOLNYF3 LOLOLNY3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNY3 LOLOLNY3 LOLOLNY3 LOLOLNY3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNY3 LOLOLNYY3 LOLOLNY3 LOLOLNYY3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNYY3 LOLOLNYM3 LOLOLNYY3 LOLOLNYM3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNYM3 LOLOLNYP3 LOLOLNYM3 LOLOLNYP3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNYP3 LOLOLNYN3 LOLOLNYP3 LOLOLNYN3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNYN3 LOLOLNMG3 LOLOLNYN3 LOLOLNMG3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNMG3 LOLOLNML3 LOLOLNMG3 LOLOLNML3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNML3 LOLOLNM3 LOLOLNML3 LOLOLNM3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNM3 LOLOLNMF3 LOLOLNM3 LOLOLNMF3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNMF3 LOLOLNM3 LOLOLNMF3 LOLOLNM3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           STU3                                                STU3                   LOLOLNM3 LOLOLNM3 LOLOLNM3 LOLOLNM3Q3                     3       STU3           STU3 STU3               STU3                XV3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           Z12613S63[653518319334622\5R34D3   CVLL3MG3Y3               LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q3 GGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                         STU3                4V3
^676513ELNPHI3̀1a13LNYLNNM3ELNGH3                                           D56813J5183193                            K LGMNF3                 LOLOLNMY3 LOLOLNMM3 LOLOLNMY3 LOLOLNMM3Q333333LRGGRGGGGG3Q33333LRGGGRGGGGG3Q3LRGGGRGGGGG3 STU3                   STU3                4V3



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                                  !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#'     5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                         60&$'         60&$'
C676513DEFGHI3J1K13EFLEFFM3DEFNH3                                          O12613P63Q653518319334622R5S34T3   UV3EWEFFFW3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
C676513DEFGHI3J1K13EFLEFFM3DEFNH3                                          T56813\5183193                            ] ENWMF3                 EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y333333ESNNSNNNNN3Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3                PZ[3                4V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFL3 EXEXEFM3 EXEXEFL3 EXEXEFM3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFM3 EXEXEFG3 EXEXEFM3 EXEXEFG3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFG3 EXEXEFF3 EXEXEFG3 EXEXEFF3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFF3 EXEXEFLN3 EXEXEFF3 EXEXEFLN3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFLN3 EXEXEFLE3 EXEXEFLN3 EXEXEFLE3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFLE3 EXEXEFLW3 EXEXEFLE3 EXEXEFLW3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFLW3 EXEXEFL3 EXEXEFLW3 EXEXEFL3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFL3 EXEXEFL3 EXEXEFL3 EXEXEFL3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            PZ[3                                                PZ[3                   EXEXEFL3 EXEXEFL3 EXEXEFL3 EXEXEFL3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            51831933O523T56813                       PZ[3                   EXEXEFL3 EXEXEFLL3 EXEXEFL3 EXEXEFLL3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            51831933O523T56813                       ^UWGNML3                  LXEXEFLL3 LXEXEFLM3 LXEXEFLL3 LXEXEFLM3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            51831933O523T56813                       ^UWGNGE3                  LXEXEFLM3 LXEXEFLG3 LXEXEFLM3 LXEXEFLG3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            51831933O523T56813                       ^UWGNGF3                  LXEXEFLG3 LXEXEFLF3 LXEXEFLG3 LXEXEFLF3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            51831933O523T56813                       PZ[3                   LXEXEFLF3 EXEXEFMN3 LXEXEFLF3 EXEXEFMN3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            51831933O523T56813                       ^U33NG3G3               LXEXEFMN3 LXEXEFME3 LXEXEFMN3 LXEXEFME3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            51831933O523T56813                       ^U33NG3L3               LXEXEFME3XEXEFMW3 LXEXEFME3 XEXEFMW3Y3                    3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            O[3_1 6535183193                          PZ[3                   EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            O12613P63Q653518319334622R5S34T3   UVEWE3MN3N3               EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            T56813\5183193                            ] ENWMF3                 EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y333333ESNNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                   PZ[3                4V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            `5351831933O[3a5Z3                  bT3WMNL3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            O[3_1 6535183193                          bT3NENW3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            O[3_1 6535183193                          bT3WN3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NSNNNNN3 PZ[3                            PZ[3 PZ[3               PZ[3                ^V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            O12613P63Q653518319334622R5S34T3   UV3EWEFFFG3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
C676513DEFGHI3C676513EFEG3DEFGH3                                            T56813\5183193                            ] ENWMF3                 EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y333333ESNNSNNNNN3Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3                PZ[3                4V3
C676513DEFGHI3^Z13T513EFNEFMW3DEFH3                                     51831933O523T56813                       ^U33E3N3              XWGXEFME3EWXEXEFME3 XWGXEFME3EWXEXEFME3Y3                  3 Y33333333WNSNNNNN3 Y3333WNSNNNNN3 PZ[3           PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 51831933O523T56813                       ^U33WF3GM3               XWXEFL3 XWXEFLL3 XWXEFL3 XWXEFLL3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 51831933O523T56813                       ^U33WF3GM3               XWXEFLL3 XWXEFLM3 XWXEFLL3 XWXEFLM3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 51831933O523T56813                       ^U33WF3GM3               XWXEFLM3 XWXEFLG3 XWXEFLM3 XWXEFLG3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 51831933O523T56813                       ^U3LFWN3                 XWXEFLG3 XWXEFLF3 XWXEFLG3 XWXEFLF3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 51831933O523T56813                       ^U3LFWN3                 XWXEFLF3 XWXEFMN3 XWXEFLF3 XWXEFMN3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 51831933O523T56813                       ^U3LFWN3                 XWXEFMN3 XWXEFME3 XWXEFMN3 XWXEFME3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 51831933O523T56813                       ^U3EFM3                 XWXEFME3 XWXEFMW3 XWXEFME3 XWXEFMW3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 _15253T88623136293193                GW33WGWNFN3               EXEXEFM3 EXEXEFML3 EXEXEFM3 EXEXEFML3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                ^V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 _15253T88623136293193                GW3_P3GNE3             EXELXEFM3EXELXEFML3 EXELXEFM3 EXELXEFML3Y3 NNSNNNNN3Y33333WSNNNSNNNNN3Y3WSNNNSNNNNN3 PZ[3                       PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 O12613P63Q653518319334622R5S34T3   UVEWE3MN3WN3               EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 T56813\5183193                            ] ENWMF3                 EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y333333ESNNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                   PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 PZ[3                                                PZ[3                   EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 O12613P63Q653518319334622R5S34T3   UV3EWEFFLL3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\16R[3DMNWHI3\16R[3DMNWH3                                                 T56813\5183193                            ] ENWMF3                 EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y333333ESNNSNNNNN3Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3                PZ[3                4V3
\[3V653DEHI3\[3T513EFWEFFW3DH3                              O[3_1 6535183193                          PZ[3                   EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\[3V653DEHI3\[3T513EFWEFFW3DH3                              O12613P63Q653518319334622R5S34T3   UVEWE3LF33               EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\[3V653DEHI3\[3T513EFWEFFW3DH3                              T56813\5183193                            ] ENWMF3                 EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y333333ESNNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                   PZ[3                4V3
\[3V653DEHI3\[3T513EFWEFFW3DH3                              O[3_1 6535183193                          PZ[3                   EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\[3V653DEHI3\[3T513EFWEFFW3DH3                              O12613P63Q653518319334622R5S34T3   UV3EWEFGGW3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\[3V653DEHI3\[3T513EFWEFFW3DH3                              T56813\5183193                            ] ENWMF3                 EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y333333ESNNSNNNNN3Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3                PZ[3                4V3
\[3V653DEHI3^1]863T513EFEFFW3DEH3                      51831933O523T56813                       ^U3LWWW3                XWNXEFMN3XWNXEFME3 XWNXEFMN3 XWNXEFME3Y3                   3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\[3V653DEHI3^1]863T513EFEFFW3DEH3                      51831933O523T56813                       ^U3EM3                XWNXEFME3XWNXEFMW3 XWNXEFME3 XWNXEFMW3Y3                   3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\[3V653DEHI3^1]863T513EFEFFW3DEH3                      O[3_1 6535183193                          PZ[3                   EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\[3V653DEHI3^1]863T513EFEFFW3DEH3                      O12613P63Q653518319334622R5S34T3   UVEWE3LF33               EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\[3V653DEHI3^1]863T513EFEFFW3DEH3                      T56813\5183193                            ] ENWMF3                 EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y333333ESNNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                   PZ[3                4V3
\[3V653DEHI3^1]863T513EFEFFW3DEH3                      O[3_1 6535183193                          PZ[3                   EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\[3V653DEHI3^1]863T513EFEFFW3DEH3                      O12613P63Q653518319334622R5S34T3   UV3EWEFGFW3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\[3V653DEHI3^1]863T513EFEFFW3DEH3                      T56813\5183193                            ] ENWMF3                 EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y333333ESNNSNNNNN3Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3                PZ[3                4V3
\63b513DMMHI3\63b513DMMH3                                           51831933O523T56813                       PZ[3                   EXEXEFMN3 EXEXEFME3 EXEXEFMN3 EXEXEFME3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\63b513DMMHI3\63b513DMMH3                                           51831933O523T56813                       PZ[3                   EXEXEFME3 EXEXEFMW3 EXEXEFME3 EXEXEFMW3Y3                     3       PZ[3           PZ[3 PZ[3               PZ[3                ^V3
\63b513DMMHI3\63b513DMMH3                                           O12613P63Q653518319334622R5S34T3   UVEWE3M3GN3               EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\63b513DMMHI3\63b513DMMH3                                           T56813\5183193                            ] ENWMF3                 EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y333333ESNNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                   PZ[3                4V3
\63b513DMMHI3\63b513DMMH3                                           O12613P63Q653518319334622R5S34T3   UV3EWWNWEE3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\63b513DMMHI3\63b513DMMH3                                           T56813\5183193                            ] ENWMF3                 EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y333333ESNNSNNNNN3Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3                PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       Tb4GWM3                 EEXEWXEFLL3EEXEWXEFLM3 EEXEWXEFLL3EEXEWXEFLM3Y3                 3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       Tb4GWM3                 EEXEWXEFLM3EEXEWXEFLG3 EEXEWXEFLM3EEXEWXEFLG3Y3                 3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       Tb4GWM3                 EEXEWXEFLG3EEXEWXEFLF3 EEXEWXEFLG3EEXEWXEFLF3Y3                 3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       Tb4GWMW3                 EEXEWXEFLF3EEXEWXEFMN3 EEXEWXEFLF3EEXEWXEFMN3Y3                 3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       Tb4GWMW3                 EEXEWXEFMN3EEXEWXEFME3 EEXEWXEFMN3EEXEWXEFME3Y3                 3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       Tb4GWMW3                 EEXEWXEFME3MXEEXEFMW3 EEXEWXEFME3 MXEEXEFMW3Y3                  3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       bT3WWMWML3                EXEXEFM3 EXEXEFML3 EXEXEFM3 EXEXEFML3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       eU3FFE3                 EXEXEFM3 EXEXEFML3 EXEXEFM3 EXEXEFML3Y3 NNSNNNNN3Y33333WSNNNSNNNNN3Y3WSNNNSNNNNN3 PZ[3                         PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       bT3E3                EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              O12613P63Q653518319334622R5S34T3   UVEWE3ME3LW3               EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              T56813\5183193                            ] ENWMF3                 EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y333333ESNNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                   PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              51831933O523T56813                       bT3L3WG3W3              EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3                     3 Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3           PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              O12613P63Q653518319334622R5S34T3   UV3EWWNNEL3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\63c13d6Z3DNHI3\63c13d6Z3EFN3DNH3                              T56813\5183193                            ] ENWMF3                 EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y333333ESNNSNNNNN3Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3                PZ[3                4V3
\8Z93]2163DLHI3\8Z93]2163DLH3                                     O12613P63Q653518319334622R5S34T3   UVEWE3LF3LL3               EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\8Z93]2163DLHI3\8Z93]2163DLH3                                     T56813\5183193                            ] ENWMF3                 EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y333333ESNNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                   PZ[3                4V3
\8Z93]2163DLHI3\8Z93]2163DLH3                                     O12613P63Q653518319334622R5S34T3   UV3EWEFFE3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
\8Z93]2163DLHI3\8Z93]2163DLH3                                     T56813\5183193                            ] ENWMF3                 EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y333333ESNNSNNNNN3Y33333333NNSNNNNN3 Y3333NNSNNNNN3 PZ[3                PZ[3                4V3
^1153DELWHI3] 6613EFWFEFM3DELH3                                   51831933O523T56813                       ^U3ENG3                ENXEXEFL3ENXEXEFLL3 ENXEXEFL3 ENXEXEFLL3Y3                   3 Y33333333WNSNNNNN3 Y3333WNSNNNNN3 PZ[3           PZ[3                4V3
^1153DELWHI3] 6613EFWFEFM3DELH3                                   51831933O523T56813                       ^U3ENG3                ENXEXEFLL3ENXEXEFLM3 ENXEXEFLL3 ENXEXEFLM3Y3                   3 Y33333333WNSNNNNN3 Y3333WNSNNNNN3 PZ[3           PZ[3                4V3
^1153DELWHI3] 6613EFWFEFM3DELH3                                   51831933O523T56813                       ^U3ENG3                ENXEXEFLM3ENXEXEFLG3 ENXEXEFLM3 ENXEXEFLG3Y3                   3 Y33333333WNSNNNNN3 Y3333WNSNNNNN3 PZ[3           PZ[3                4V3
^1153DELWHI3] 6613EFWFEFM3DELH3                                   51831933O523T56813                       ^U3ENG3                ENXEXEFLG3ENXEXEFLF3 ENXEXEFLG3 ENXEXEFLF3Y3                   3 Y33333333WNSNNNNN3 Y3333WNSNNNNN3 PZ[3           PZ[3                4V3
^1153DELWHI3] 6613EFWFEFM3DELH3                                   51831933O523T56813                       ^U3ENG3                ENXEXEFLF3ENXEXEFMN3 ENXEXEFLF3 ENXEXEFMN3Y3                   3 Y33333333WNSNNNNN3 Y3333WNSNNNNN3 PZ[3           PZ[3                4V3
^1153DELWHI3^1153EFM3DELWH3                                          O12613P63Q653518319334622R5S34T3   UVEWE3MN33               EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3
^1153DELWHI3^1153EFM3DELWH3                                          T56813\5183193                            ] ENWMF3                 EXEXEFML3 EXEXEFMM3 EXEXEFML3 EXEXEFMM3Y333333ESNNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                   PZ[3                4V3
^1153DELWHI3^1153EFM3DELWH3                                          O12613P63Q653518319334622R5S34T3   UV3EWEFFMF3                EXEXEFMM3 EXEXEFMG3 EXEXEFMM3 EXEXEFMG3Y3 NNSNNNNN3Y33333ESNNNSNNNNN3Y3ESNNNSNNNNN3 PZ[3                         PZ[3                4V3



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                                         !""#$%&'!$()*+&,"#-#(#..'"&'!$()*&                                     /"")#"&                          ,'*)(0&1!23#"&     4%/"%&5/%#& 6$-&5/%#& '!$()*&4%/"%& '!$()*&6$-& 7%%/(82#$%&,')$%& 9((!""#$(#&:)2)%& :/0#"&:)2)%& 7;;"#;/%#&:)2)%& 4#<!/*&73!.#&6<(*!.)'$& 6=)-#$(#&>,6?46@A&
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    B1153CDEFGH3B1153DIJK3CDEFG3                                          L56813M5183193                            N DOFJIK3                 DPDPDIJJ3 DPDPDIJQ3 DPDPDIJJ3 DPDPDIJQ3R333333DSOOSOOOOO3R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3                TUV3                4W3
    B13X23L513CJEGH3B13X23L513CJEG3                                 B23413Y65313N15635183193              TUV3                   DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
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    B13X23L513CJEGH3B13X23L513CJEG3                                 L56813M5183193                            N DOFJIK3                 DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R333333DSOOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                  TUV3                4W3
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    B13X23L513CJEGH3B13X23L513CJEG3                                 L56813M5183193                            N DOFJIK3                 DPDPDIJJ3 DPDPDIJQ3 DPDPDIJJ3 DPDPDIJQ3R333333DSOOSOOOOO3R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3                TUV3                4W3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       B\33K3I3               EPDPDIE3 EPDPDIEE3 EPDPDIE3 EPDPDIEE3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       B\33K3I3               EPDPDIEE3 EPDPDIEJ3 EPDPDIEE3 EPDPDIEJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       B\33K3I3               EPDPDIEJ3 EPDPDIEQ3 EPDPDIEJ3 EPDPDIEQ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       B\33D3O3               EPDPDIEQ3 EPDPDIEI3 EPDPDIEQ3 EPDPDIEI3R3                    3 R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3              TUV3                4W3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       B\33D3O3               EPDPDIEI3 EPDPDIJO3 EPDPDIEI3 EPDPDIJO3R3                    3 R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3              TUV3                4W3
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    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       B\33D3E3               EPDPDIJD3 EPDPDIJF3 EPDPDIJD3 EPDPDIJF3R3                    3 R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3            TUV3                4W3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       TUV3                   EPDPDIJF3 EPDPDIJK3 EPDPDIJF3 EPDPDIJK3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       TUV3                   EPDPDIJK3 EPDPDIJ3 EPDPDIJK3 EPDPDIJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       TUV3                   EPDPDIJ3 DPDPDIJ3 EPDPDIJ3 DPDPDIJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B123CEFJGH3B123CEFJG3                                                   51831933Z523L56813                       ]L3FDFKQF3                DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B123CEFJGH3B123CEFJG3                                                   Z12613T63Y653518319334622[5S34L3   \WDFD3JF3Q3               DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R3 OOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                        TUV3                4W3
    B123CEFJGH3B123CEFJG3                                                   L56813M5183193                            N DOFJIK3                 DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R333333DSOOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                  TUV3                4W3
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    B123CEFJGH3B123CEFJG3                                                   L56813M5183193                            N DOFJIK3                 DPDPDIJJ3 DPDPDIJQ3 DPDPDIJJ3 DPDPDIJQ3R333333DSOOSOOOOO3R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3                TUV3                4W3
    B13065613CIGH305235163DIIDIIK3CFIG3                             51831933Z523L56813                       B\33EI3QD3               PDPDIE3 PDPDIEE3 PDPDIE3 PDPDIEE3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B13065613CIGH305235163DIIDIIK3CFIG3                             51831933Z523L56813                       B\33EI3QD3               PDPDIEE3 PDPDIEJ3 PDPDIEE3 PDPDIEJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B13065613CIGH305235163DIIDIIK3CFIG3                             51831933Z523L56813                       B\33EI3QD3               PDPDIEJ3 PDPDIEQ3 PDPDIEJ3 PDPDIEQ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B13065613CIGH305235163DIIDIIK3CFIG3                             51831933Z523L56813                       B\33EI3K3               PDPDIEQ3 PDPDIEI3 PDPDIEQ3 PDPDIEI3R3                    3 R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3            TUV3                4W3
    B13065613CIGH305235163DIIDIIK3CFIG3                             51831933Z523L56813                       B\33EI3K3               PDPDIEI3 PDPDIJO3 PDPDIEI3 PDPDIJO3R3                    3 R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3            TUV3                4W3
    B13065613CIGH305235163DIIDIIK3CFIG3                             51831933Z523L56813                       B\33EI3K3               PDPDIJO3 PDPDIJD3 PDPDIJO3 PDPDIJD3R3                    3 R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3            TUV3                4W3
    B13065613CIGH305235163DIIDIIK3CFIG3                             ZV3X1 6535183193                          TUV3                   DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
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    B13065613CIGH305235163DIIDIIK3CFIG3                             ZV3X1 6535183193                          ]L3KKFKEI3                DPDPDIJJ3 DPDPDIJQ3 DPDPDIJJ3 DPDPDIJQ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
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    B13065613CIGH305235163DIIDIIK3CFIG3                             L56813M5183193                            N DOFJIK3                 DPDPDIJJ3 DPDPDIJQ3 DPDPDIJJ3 DPDPDIJQ3R333333DSOOSOOOOO3R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3                TUV3                4W3
    B13065613CIGH3B13063293DIFDDIIK3CIG3                       TUV3                                                TUV3                   DPDPDIE3 DPDPDIJ3 DPDPDIE3 DPDPDIJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
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    B13065613CIGH3B13063293DIFDDIIK3CIG3                       TUV3                                                TUV3                   DPDPDIEJ3 DPDPDIEQ3 DPDPDIEJ3 DPDPDIEQ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
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    B13065613CIGH3B13063293DIFDDIIK3CIG3                       TUV3                                                TUV3                   DPDPDIJO3 DPDPDIJD3 DPDPDIJO3 DPDPDIJD3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B13065613CIGH3B13063293DIFDDIIK3CIG3                       TUV3                                                TUV3                   DPDPDIJD3 DPDPDIJF3 DPDPDIJD3 DPDPDIJF3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B13065613CIGH3B13063293DIFDDIIK3CIG3                       TUV3                                                TUV3                   DPDPDIJF3 DPDPDIJK3 DPDPDIJF3 DPDPDIJK3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B13065613CIGH3B13063293DIFDDIIK3CIG3                       TUV3                                                TUV3                   DPDPDIJK3 DPDPDIJ3 DPDPDIJK3 DPDPDIJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B13065613CIGH3B13063293DIFDDIIK3CIG3                       TUV3                                                TUV3                   DPDPDIJ3 DPDPDIJ3 DPDPDIJ3 DPDPDIJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
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    B13065613CIGH3B13063293DIFDDIIK3CIG3                       Z12613T63Y653518319334622[5S34L3   \WDFD3EI3I3               DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R3 OOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                        TUV3                4W3
    B13065613CIGH3B13063293DIFDDIIK3CIG3                       L56813M5183193                            N DOFJIK3                 DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R333333DSOOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                  TUV3                4W3
    B13065613CIGH3B13063293DIFDDIIK3CIG3                       Z12613T63Y653518319334622[5S34L3   \W3DFDIQIJ3                DPDPDIJJ3 DPDPDIJQ3 DPDPDIJJ3 DPDPDIJQ3R3 OOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                        TUV3                4W3
    B13065613CIGH3B13063293DIFDDIIK3CIG3                       L56813M5183193                            N DOFJIK3                 DPDPDIJJ3 DPDPDIJQ3 DPDPDIJJ3 DPDPDIJQ3R333333DSOOSOOOOO3R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3                TUV3                4W3
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    B13065613CIGH3B13065613FOO3CIG3                          L56813M5183193                            N DOFJIK3                 DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R333333DSOOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                  TUV3                4W3
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    B1213Y35163CDIGH3B1213Y35163CDIG3                                     51831933Z523L56813                       B\3OKO3                DDPDPDIEQ3DDPDPDIEI3 DDPDPDIEQ3 DDPDPDIEI3R3                  3 R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3            TUV3                4W3
    B1213Y35163CDIGH3B1213Y35163CDIG3                                     51831933Z523L56813                       B\3OKO3                DDPDPDIEI3DDPDPDIJO3 DDPDPDIEI3 DDPDPDIJO3R3                  3 R33333333OOSOOOOO3R3333OOSOOOOO3 TUV3            TUV3                4W3
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    B1213Y35163CDIGH3B1213Y35163CDIG3                                     Z12613T63Y653518319334622[5S34L3   \WDFD3JO33               DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R3 OOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                        TUV3                4W3
    B1213Y35163CDIGH3B1213Y35163CDIG3                                     L56813M5183193                            N DOFJIK3                 DPDPDIJE3 DPDPDIJJ3 DPDPDIJE3 DPDPDIJJ3R333333DSOOSOOOOO3R33333DSOOOSOOOOO3R3DSOOOSOOOOO3 TUV3                  TUV3                4W3
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    B813^125V193CKIJGH3_226113DIKFOOI3CKIJG3                               TUV3                                                TUV3                   DPDPDIE3 DPDPDIJ3 DPDPDIE3 DPDPDIJ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
    B813^125V193CKIJGH3_226113DIKFOOI3CKIJG3                               `12V3N2135183193                       TUV3                   DPDPDIJ3 DPDPDIQ3 DPDPDIJ3 DPDPDIQ3R3                    3       TUV3          TUV3 TUV3                TUV3                BW3
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    B813C125D193EFGHIJ3K226113LGFMNNG3EFGHI3                               `15253Y88623136293193                ^43XNNMFH3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B813C125D193EFGHIJ3K226113LGFMNNG3EFGHI3                               Z12613Q63[653518319334622\5]34Y3   ^V3LMMNNM3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    B813C125D193EFGHIJ3K226113LGFMNNG3EFGHI3                               Y56813_5183193                            P LNMHGF3                 LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U333333L]NN]NNNNN3U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3               QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               51831933Z523Y56813                       B^3FXN3                 FSLSLGTT3 FSLSLGTH3 FSLSLGTT3 FSLSLGTH3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               51831933Z523Y56813                       B^3FXN3                 FSLSLGTH3 FSLSLGTX3 FSLSLGTH3 FSLSLGTX3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               51831933Z523Y56813                       B^3FXN3                 FSLSLGTX3 FSLSLGTG3 FSLSLGTX3 FSLSLGTG3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               51831933Z523Y56813                       B^3NN3                 FSLSLGTG3 FSLSLGHN3 FSLSLGTG3 FSLSLGHN3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               51831933Z523Y56813                       B^3NN3                 FSLSLGHN3 FSLSLGHL3 FSLSLGHN3 FSLSLGHL3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               51831933Z523Y56813                       B^3NN3                 FSLSLGHL3 FSLSLGHM3 FSLSLGHL3 FSLSLGHM3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               ZD3̀1 6535183193                          QRD3                   LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               Z12613Q63[653518319334622\5]34Y3   ^VLML3TG3G3               LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               Y56813_5183193                            P LNMHGF3                 LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U333333L]NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                  QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               Z12613Q63[653518319334622\5]34Y3   ^V3LMLGGNH3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               Y56813_5183193                            P LNMHGF3                 LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U333333L]NN]NNNNN3U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3               QRD3                4V3
    Ba613EMHIJ3P23C 6293Y513LGMGLGGM3EI3                               ZD3̀1 6535183193                          WY3MXMM3                LSFSLGHH3 LSFSLGHX3 LSFSLGHH3 LSFSLGHX3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              51831933Z523Y56813                       B^33TG3TM3               FSLSLGT3 FSLSLGTT3 FSLSLGT3 FSLSLGTT3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              51831933Z523Y56813                       B^33TG3TM3               FSLSLGTT3 FSLSLGTH3 FSLSLGTT3 FSLSLGTH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              51831933Z523Y56813                       B^33TG3TM3               FSLSLGTH3 FSLSLGTX3 FSLSLGTH3 FSLSLGTX3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              51831933Z523Y56813                       B^33TG3MH3               FSLSLGTX3 FSLSLGTG3 FSLSLGTX3 FSLSLGTG3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              51831933Z523Y56813                       B^33TG3MH3               FSLSLGTG3 FSLSLGHN3 FSLSLGTG3 FSLSLGHN3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              51831933Z523Y56813                       B^33TG3MH3               FSLSLGHN3 FSLSLGHL3 FSLSLGHN3 FSLSLGHL3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              51831933Z523Y56813                       B^33L3LN3               FSLSLGHL3 FSLSLGHM3 FSLSLGHL3 FSLSLGHM3U3                    3 U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3              QRD3                4V3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              ZD3̀1 6535183193                          QRD3                   LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              Z12613Q63[653518319334622\5]34Y3   ^VLML3TG3F3               LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              ZD3̀1 6535183193                          WY3FFMNN3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              Y\1 1535183193                             QRD3                   LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 N]NNNNN3U33333333N]NNNNN3 U3333N]NNNNN3 QRD3                      QRD3                BV3
    Ba613EMHIJ3Ba613LGM3EMHI3                                              Z12613Q63[653518319334622\5]34Y3   ^V3LMLGXXF3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    Ba91 3EHLFIJ3Ba91 3EHLFI3                                               51831933Z523Y56813                       B^3LLGF3                TSLLSLGTG3TSLLSLGHN3 TSLLSLGTG3 TSLLSLGHN3U3                  3 U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3           QRD3                4V3
    Ba91 3EHLFIJ3Ba91 3EHLFI3                                               51831933Z523Y56813                       B^3LLGF3                TSLLSLGHN3TSLLSLGHL3 TSLLSLGHN3 TSLLSLGHL3U3                  3 U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3           QRD3                4V3
    Ba91 3EHLFIJ3Ba91 3EHLFI3                                               51831933Z523Y56813                       B^3LLGF3                TSLLSLGHL3TSLLSLGHM3 TSLLSLGHL3 TSLLSLGHM3U3                  3 U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3           QRD3                4V3
    Ba91 3EHLFIJ3Ba91 3EHLFI3                                               Z12613Q63[653518319334622\5]34Y3   ^VLML3HF3TT3               LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    Ba91 3EHLFIJ3Ba91 3EHLFI3                                               Y56813_5183193                            P LNMHGF3                 LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U333333L]NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                  QRD3                4V3
    Ba91 3EHLFIJ3Ba91 3EHLFI3                                               51831933Z523Y56813                       QRD3                   LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    Ba91 3EHLFIJ3Ba91 3EHLFI3                                               Z12613Q63[653518319334622\5]34Y3   ^V3LMMNMXX3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    Ba91 3EHLFIJ3Ba91 3EHLFI3                                               Y56813_5183193                            P LNMHGF3                 LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U333333L]NN]NNNNN3U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3               QRD3                4V3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    51831933Z523Y56813                       QRD3                   LSLSLGTT3 LSLSLGTH3 LSLSLGTT3 LSLSLGTH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    51831933Z523Y56813                       QRD3                   LSLSLGTH3 LSLSLGTX3 LSLSLGTH3 LSLSLGTX3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    51831933Z523Y56813                       QRD3                   LSLSLGTX3 LSLSLGTG3 LSLSLGTX3 LSLSLGTG3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    51831933Z523Y56813                       QRD3                   LSLSLGTG3 LSLSLGHN3 LSLSLGTG3 LSLSLGHN3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    51831933Z523Y56813                       QRD3                   LSLSLGHN3 LSLSLGHL3 LSLSLGHN3 LSLSLGHL3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    51831933Z523Y56813                       QRD3                   LSLSLGHL3 LSLSLGHM3 LSLSLGHL3 LSLSLGHM3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    51831933Z523Y56813                       QRD3                   LSLSLGHM3 LSLSLGHF3 LSLSLGHM3 LSLSLGHF3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    QRD3                                                QRD3                   LSLSLGHF3 LSLSLGH3 LSLSLGHF3 LSLSLGH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    QRD3                                                QRD3                   LSLSLGH3 LSLSLGH3 LSLSLGH3 LSLSLGH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    ZD3̀1 6535183193                          QRD3                   LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    Z12613Q63[653518319334622\5]34Y3   ^VLML3HF3LT3               LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    Y56813_5183193                            P LNMHGF3                 LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U333333L]NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                  QRD3                4V3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    ZD3̀1 6535183193                          QRD3                   LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    Z12613Q63[653518319334622\5]34Y3   ^V3LMMNMFH3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    B11 3Y513EGXIJ3B113Y513EGXI3                                    Y56813_5183193                            P LNMHGF3                 LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U333333L]NN]NNNNN3U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3               QRD3                4V3
    B6683b193P2593^193EIJ3P2593^193Y513LGFFMNLF3EMI3            ZD3̀1 6535183193                          QRD3                   LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B6683b193P2593^193EIJ3P2593^193Y513LGFFMNLF3EMI3            Z12613Q63[653518319334622\5]34Y3   ^VLML3TG3X3               LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    B6683b193P2593^193EIJ3P2593^193Y513LGFFMNLF3EMI3            Y56813_5183193                            P LNMHGF3                 LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U333333L]NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                  QRD3                4V3
    B6683b193P2593^193EIJ3P2593^193Y513LGFFMNLF3EMI3            ZD3̀1 6535183193                          QRD3                   LSLSLGHH3LNSLSLGHH3 LSLSLGHH3 LNSLSLGHH3U3                   3       QRD3           QRD3 QRD3               QRD3                BV3
    B6683b193P2593^193EIJ3P2593^193Y513LGFFMNLF3EMI3            Z12613Q63[653518319334622\5]34Y3   ^V3LMLGXGT3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    B6683b193P2593^193EIJ3P2593^193Y513LGFFMNLF3EMI3            Y56813_5183193                            P LNMHGF3                 LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U333333L]NN]NNNNN3U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3               QRD3                4V3
    B6683b193P2593^193EIJ3B12131513293LGMGMNLM3EI3           ZD3̀1 6535183193                          QRD3                   LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B6683b193P2593^193EIJ3B12131513293LGMGMNLM3EI3           51831933Z523Y56813                       QRD3                   LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3 NN]NNNNN3 QRD3                          QRD3 QRD3               QRD3                BV3
    B6683b193P2593^193EIJ3B12131513293LGMGMNLM3EI3           Z12613Q63[653518319334622\5]34Y3   ^VLML3TG3N3               LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
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    B6683b193P2593^193EIJ3B12131513293LGMGMNLM3EI3           Z12613Q63[653518319334622\5]34Y3   ^V3LMLGXGX3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
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    B63c23ELIJ32513K 63LGFNLGG3ELI3                              Z12613Q63[653518319334622\5]34Y3   ^VLML3HL3GG3               LSLSLGHT3 LSLSLGHH3 LSLSLGHT3 LSLSLGHH3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
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    B63c23ELIJ32513K 63LGFNLGG3ELI3                              Z12613Q63[653518319334622\5]34Y3   ^V3LMMNNM3                LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U3 NN]NNNNN3U33333L]NNN]NNNNN3U3L]NNN]NNNNN3 QRD3                        QRD3                4V3
    B63c23ELIJ32513K 63LGFNLGG3ELI3                              Y56813_5183193                            P LNMHGF3                 LSLSLGHH3 LSLSLGHX3 LSLSLGHH3 LSLSLGHX3U333333L]NN]NNNNN3U33333333NN]NNNNN3 U3333NN]NNNNN3 QRD3               QRD3                4V3
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    B63c23ELIJ3 6313LGLGG3ETI3                               51831933Z523Y56813                       B^33F3TT3               HSLSLGTT3 HSLSLGTH3 HSLSLGTT3 HSLSLGTH3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
    B63c23ELIJ3 6313LGLGG3ETI3                               51831933Z523Y56813                       B^33F3TT3               HSLSLGTH3 HSLSLGTX3 HSLSLGTH3 HSLSLGTX3U3                    3       QRD3           QRD3 QRD3               QRD3                BV3
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    B63c23ELIJ3 6313LGLGG3ETI3                               51831933Z523Y56813                       B^3NLF3                 HSLSLGTG3 HSLSLGHN3 HSLSLGTG3 HSLSLGHN3U3                    3 U33333333MN]NNNNN3 U3333MN]NNNNN3 QRD3           QRD3                4V3
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C63D23EFGH3 6313FIFII3EG3                               XV3Y1 6535183193                          TUV3                   FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C63D23EFGH3 6313FIFII3EG3                               X12613T63[653518319334622\5S34J3   ]W3FNNMMI3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C63D23EFGH3 6313FIFII3EG3                               J56813K5183193                            L FMNOIP3                 FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R333333FSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3                TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            51831933X523J56813                       C]33NI3Z3              FQFQFI3FQFQFI3 FQFQFI3 FQFQFI3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            51831933X523J56813                       C]33NI3Z3              FQFQFI3FQFQFIO3 FQFQFI3 FQFQFIO3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            51831933X523J56813                       C]33NI3Z3              FQFQFIO3FQFQFIZ3 FQFQFIO3 FQFQFIZ3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            51831933X523J56813                       C]3IMN3                FQFQFIZ3FQFQFII3 FQFQFIZ3 FQFQFII3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            51831933X523J56813                       C]3IMN3                FQFQFII3FQFQFIOM3 FQFQFII3 FQFQFIOM3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            51831933X523J56813                       C]3IMN3                FQFQFIOM3QNZQFIOM3 FQFQFIOM3 QNZQFIOM3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            X12613T63[653518319334622\5S34J3   ]WFNF3ON3MO3               FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            J56813K5183193                            L FMNOIP3                 FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R333333FSMMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                   TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            X12613T63[653518319334622\5S34J3   ]W3FNNMMM3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C63D23EFGH368U63293FINNFIZO3EFG3                            J56813K5183193                            L FMNOIP3                 FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R333333FSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3                TUV3                4W3
C63D23EFGH3C8623J513FIPFFII3EOG3                               X12613T63[653518319334622\5S34J3   ]WFNF3ON3MI3               FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
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C63D23EFGH3C8623J513FIPFFII3EOG3                               X12613T63[653518319334622\5S34J3   ]W3FNNMMN3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C63D23EFGH3C8623J513FIPFFII3EOG3                               J56813K5183193                            L FMNOIP3                 FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R333333FSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3                TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          51831933X523J56813                       C]33P3IP3              FFQFQFI3FFQFQFIO3 FFQFQFI3 FFQFQFIO3R3                   3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          51831933X523J56813                       TUV3                  FFQFQFIO3FFQFQFIZ3 FFQFQFIO3 FFQFQFIZ3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          51831933X523J56813                       TUV3                  FFQFQFIZ3FFQFQFII3 FFQFQFIZ3 FFQFQFII3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          51831933X523J56813                       C]33FF3II3              FFQFQFII3FFQFQFIOM3 FFQFQFII3 FFQFQFIOM3R3                   3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          51831933X523J56813                       C]33FF3II3              FFQFQFIOM3FFQFQFIOF3 FFQFQFIOM3 FFQFQFIOF3R3                   3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          51831933X523J56813                       C]33FF3II3              FFQFQFIOF3FFQFQFION3 FFQFQFIOF3 FFQFQFION3R3                   3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          51831933X523J56813                       J_43F3F3MZ3              FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3                     3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          X12613T63[653518319334622\5S34J3   ]WFNF3OP3F3               FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          J56813K5183193                            L FMNOIP3                 FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R333333FSMMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                   TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          51831933X523J56813                       J_43F3F3MZ3              FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3                     3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          X12613T63[653518319334622\5S34J3   ]W3FNNMNZP3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C6^3EOPPGH34 1123FINFIOZ3EIPG3                                          J56813K5183193                            L FMNOIP3                 FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R333333FSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3                TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       _3NPN3               QFPQFI3QFPQFIO3 QFPQFI3 QFPQFIO3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       _4MOIPNI3                QFPQFIO3QFPQFIZ3 QFPQFIO3 QFPQFIZ3R3                   3 R33333333FMMSMMMMM3 R3333FMMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       _4FONPI3                QFPQFIZ3QFPQFII3 QFPQFIZ3 QFPQFII3R3                   3 R33333333FMMSMMMMM3 R3333FMMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       _43NN3OZ3M3             QFPQFII3QFPQFIOM3 QFPQFII3 QFPQFIOM3R3                   3 R33333333FMMSMMMMM3 R3333FMMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       _43NN3OI3OO3             QFPQFIOM3QFPQFIOF3 QFPQFIOM3 QFPQFIOF3R3                   3 R33333333FMMSMMMMM3 R3333FMMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       _43PM3ZP3I3             QFPQFIOF3QFNQFION3 QFPQFIOF3 QFNQFION3R3                   3 R33333333FMMSMMMMM3 R3333FMMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       TUV3                  QFPQFION3 FQFQFIOP3 QFPQFION3 FQFQFIOP3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       _J3NF3F3F3              FQFQFIOP3QNQFIOP3 FQFQFIOP3 QNQFIOP3R3                    3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       `]3IOZ3                 FQFQFIOP3 FQFQFIO3 FQFQFIOP3 FQFQFIO3R3 MMSMMMMM3R33333NSMMMSMMMMM3R3NSMMMSMMMMM3 TUV3                         TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       J_43FP3F3F3             QNQFIOP3 FQFQFIO3 QNQFIOP3 FQFQFIO3R3                    3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       J_43FP3F3O3              FQFQFIO3 FQFQFIO3 FQFQFIO3 FQFQFIO3R3                     3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       `]3IOON3                 FQFQFIO3 FQFQFIO3 FQFQFIO3 FQFQFIO3R3 MMSMMMMM3R33333NSMMMSMMMMM3R3NSMMMSMMMMM3 TUV3                         TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       J_43FP3F3O3              FQFQFIO3 FQFQFIO3 FQFQFIO3 FQFQFIO3R3                     3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       `]3IOON3                 FQFQFIO3 FQFQFIO3 FQFQFIO3 FQFQFIO3R3 MMSMMMMM3R33333NSMMMSMMMMM3R3NSMMMSMMMMM3 TUV3                         TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       J_43FP3F3O3              FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3                     3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                X12613T63[653518319334622\5S34J3   ]WFNF3OP3P3               FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                51831933X523J56813                       J_43FP3F3O3              FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3                     3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C6^3EOPPGH3C6^3FINO3EOPPG3                                                X12613T63[653518319334622\5S34J3   ]W3FNNMNZ3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C23[5613EZGH3C23[5613EZG3                                         2621311293193                            TUV3                   FQFQFII3 FQFQFIM3 FQFQFII3 FQFQFIM3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         2621311293193                            TUV3                   FQFQFIM3 FQFQFIF3 FQFQFIM3 FQFQFIF3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         2621311293193                            TUV3                   FQFQFIF3 FQFQFIN3 FQFQFIF3 FQFQFIN3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         TUV3                                                TUV3                   NQZQFIN3 NQZQFIP3 NQZQFIN3 NQZQFIP3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFIP3 NQZQFI3 NQZQFIP3 NQZQFI3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFI3 NQZQFI3 NQZQFI3 NQZQFI3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFI3 NQZQFI3 NQZQFI3 NQZQFI3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFI3 NQZQFIO3 NQZQFI3 NQZQFIO3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFIO3 NQZQFIZ3 NQZQFIO3 NQZQFIZ3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFIZ3 NQZQFII3 NQZQFIZ3 NQZQFII3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFII3 NQZQFIOM3 NQZQFII3 NQZQFIOM3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFIOM3 NQZQFIOF3 NQZQFIOM3 NQZQFIOF3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         6123L2135183193                    TUV3                   NQZQFIOF3 FQFQFION3 NQZQFIOF3 FQFQFION3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23[5613EZGH3C23[5613EZG3                                         X12613T63[653518319334622\5S34J3   ]WFNF3I3OI3               FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C23[5613EZGH3C23[5613EZG3                                         J56813K5183193                            L FMNOIP3                 FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R333333FSMMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                   TUV3                4W3
C23[5613EZGH3C23[5613EZG3                                         X12613T63[653518319334622\5S34J3   ]W3FNFIINO3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C23[5613EZGH3C23[5613EZG3                                         J56813K5183193                            L FMNOIP3                 FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R333333FSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3                TUV3                4W3
C23_5613EIZGH3J1113J513FIMNMFN3EIZG3                                 XV3Y1 6535183193                          TUV3                   FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23_5613EIZGH3J1113J513FIMNMFN3EIZG3                                 X12613T63[653518319334622\5S34J3   ]WFNF3I3IO3               FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C23_5613EIZGH3J1113J513FIMNMFN3EIZG3                                 J56813K5183193                            L FMNOIP3                 FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R333333FSMMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                   TUV3                4W3
C23_5613EIZGH3J1113J513FIMNMFN3EIZG3                                 X12613T63[653518319334622\5S34J3   ]W3FNFII3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C23_5613EIZGH3J1113J513FIMNMFN3EIZG3                                 J56813K5183193                            L FMNOIP3                 FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R333333FSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3                TUV3                4W3
C23_5613EIZGH3J1113J513FIMNMFN3EIZG3                                 XV3Y1 6535183193                          _J3NZN3               NQNPQFIOO3NQNPQFIOZ3 NQNPQFIOO3 NQNPQFIOZ3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       51831933X523J56813                       C]33FF3ZO3              QNPQFII3QNPQFIOM3 QNPQFII3 QNPQFIOM3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       51831933X523J56813                       C]33FF3ZO3              QNPQFIOM3QNPQFIOF3 QNPQFIOM3 QNPQFIOF3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       51831933X523J56813                       C]33FF3ZO3              QNPQFIOF3QNPQFION3 QNPQFIOF3 QNPQFION3R3                   3 R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3              TUV3                4W3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       XV3Y1 6535183193                          TUV3                   FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       X12613T63[653518319334622\5S34J3   ]WFNF3I3ZO3               FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       J56813K5183193                            L FMNOIP3                 FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R333333FSMMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                   TUV3                4W3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       XV3Y1 6535183193                          TUV3                   FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       X12613T63[653518319334622\5S34J3   ]W3FNFIIP3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C23_5613EIZGH3 1V3FIPIFIZ3EIOG3                                       J56813K5183193                            L FMNOIP3                 FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R333333FSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3                TUV3                4W3
C234163EIGH3C234163EIG3                                           Y15253112935183193                      33PNZN3             NQFQFIOP3NQFQFIO3 NQFQFIOP3 NQFQFIO3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C234163EIGH3C234163EIG3                                           Y15253112935183193                      33PNZN3             NQFQFIO3NQFQFIO3 NQFQFIO3 NQFQFIO3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C234163EIGH3C234163EIG3                                           Y15253112935183193                      33PNZN3             NQFQFIO3NQFQFIO3 NQFQFIO3 NQFQFIO3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C234163EIGH3C234163EIG3                                           X12613T63[653518319334622\5S34J3   ]WFNF3OP3ZN3               FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3
C234163EIGH3C234163EIG3                                           J56813K5183193                            L FMNOIP3                 FQFQFIO3 FQFQFIOO3 FQFQFIO3 FQFQFIOO3R333333FSMMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                   TUV3                4W3
C234163EIGH3C234163EIG3                                           Y15253112935183193                      3L43FMMO3             NQFQFIO3NQFQFIOO3 NQFQFIO3 NQFQFIOO3R3                   3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C234163EIGH3C234163EIG3                                           X12613T63[653518319334622\5S34J3   ]W3FNNMNFP3                FQFQFIOO3 FQFQFIOZ3 FQFQFIOO3 FQFQFIOZ3R3 MMSMMMMM3R33333FSMMMSMMMMM3R3FSMMMSMMMMM3 TUV3                         TUV3                4W3



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01213456718933 638238216356712365126
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                                                                                                                                                                                                           Page 398 of 498


                                    !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#' 5&0#&'60&$' 7%.'60&$' !("%    )*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                           60&$'         60&$'
C234163DEFGH3C234163DEFG3                                             I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C234163DEFGH3C234163DEFG3                                             X15253112935183193                      E3K43LMME3              NPLEPLF3NPLEPLFQ3 NPLEPLF3 NPLEPLFQ3R3                  3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C234163DEFGH3C234163DEFG3                                             X15253112935183193                      E3K43LMME3              NPLEPLFQ3NPLEPLFF3 NPLEPLFQ3 NPLEPLFF3R3                  3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       TC3[6535183193                             Z3Q33MQ3              PLEPLFEE3PLEPLFE3 PLEPLFEE3 PLEPLFE3R3                  3 R33333333OMMSMMMMM3 R3333OMMSMMMMM3 TUV3           TUV3                CW3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       TC3[6535183193                             TUV3                   PLEPLFE3PLEPLFEQ3 PLEPLFE3 PLEPLFEQ3R3                  3       TUV3           TUV3 TUV3               TUV3                CW3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       TC3[6535183193                             TUV3                   PLEPLFEQ3PLEPLFEF3 PLEPLFEQ3 PLEPLFEF3R3                  3       TUV3           TUV3 TUV3               TUV3                CW3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       TC3[6535183193                             TUV3                   PLEPLFEF3PLEPLFM3 PLEPLFEF3 PLEPLFM3R3                  3       TUV3           TUV3 TUV3               TUV3                CW3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       TC3[6535183193                             TUV3                   PLEPLFM3PLEPLFL3 PLEPLFM3 PLEPLFL3R3                  3       TUV3           TUV3 TUV3               TUV3                CW3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       TC3[6535183193                             TUV3                   PLEPLFL3 LPLPLFN3 PLEPLFL3 LPLPLFN3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       \12613T63[653518319334622]5S34I3   ^WLNL3O33                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       W95311293193                               QEQL3                    LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       \12613T63[653518319334622]5S34I3   ^W3LNNMNME3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C23Y13DGH3Z3123LFNFNMMN3DG3                                       I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C212366113DNLGH3\V3_513I513LFNLFFO3DNLG3                         \12613T63[653518319334622]5S34I3   ^WLNL3M3EM3                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C212366113DNLGH3\V3_513I513LFNLFFO3DNLG3                         I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C212366113DNLGH3\V3_513I513LFNLFFO3DNLG3                         \12613T63[653518319334622]5S34I3   ^W3LNNMLMQ3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C212366113DNLGH3\V3_513I513LFNLFFO3DNLG3                         I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C212366113DNLGH3C212366113DNLG3                                 I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C212366113DNLGH3C212366113DNLG3                                 I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C253C53[C3DQOGH3C253C 53[C3DQOG3                                I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C253C53[C3DQOGH3C253C 53[C3DQOG3                                I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C253C65513DOMGH3C253C65513LFE3DOMG3                                  \V3X1 6535183193                          TUV3                    LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C253C65513DOMGH3C253C65513LFE3DOMG3                                  \12613T63[653518319334622]5S34I3   ^WLNL3EF3NQ3                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C253C65513DOMGH3C253C65513LFE3DOMG3                                  I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C253C65513DOMGH3C253C65513LFE3DOMG3                                  `5351831933\V3a5U3                                      EQFQ3 LPLPLF3 PLPLF3 LPLPLF3 PLPLF3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C253C65513DOMGH3C253C65513LFE3DOMG3                                  `5351831933\V3a5U3                                      EQFF3 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C253C65513DOMGH3C253C65513LFE3DOMG3                                  \12613T63[653518319334622]5S34I3   ^W3LNLFQ3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C253C65513DOMGH3C253C65513LFE3DOMG3                                  I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C253C65513DOMGH3C253C65513LFE3DOMG3                                  \V3X1 6535183193                          ZI3NQNLQ3                 PLPLF3 PLPLFQ3 PLPLF3 PLPLFQ3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C2V23[5613DQQGH3C2V23[5613LFEE3DQQG3                                51831933\523I56813                       C^3OFN3                  LPLPLFE3 LPLPLFEQ3 LPLPLFE3 LPLPLFEQ3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C2V23[5613DQQGH3C2V23[5613LFEE3DQQG3                                51831933\523I56813                       C^3OFN3                  LPLPLFEQ3 LPLPLFEF3 LPLPLFEQ3 LPLPLFEF3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C2V23[5613DQQGH3C2V23[5613LFEE3DQQG3                                51831933\523I56813                       C^3OFN3                  LPLPLFEF3 LPLPLFM3 LPLPLFEF3 LPLPLFM3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C2V23[5613DQQGH3C2V23[5613LFEE3DQQG3                                51831933\523I56813                       C^3LOM3                  LPLPLFM3 LPLPLFL3 LPLPLFM3 LPLPLFL3R3                    3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C2V23[5613DQQGH3C2V23[5613LFEE3DQQG3                                51831933\523I56813                       C^3LOM3                  LPLPLFL3 LPLPLFN3 LPLPLFL3 LPLPLFN3R3                    3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C2V23[5613DQQGH3C2V23[5613LFEE3DQQG3                                51831933\523I56813                       C^3LOM3                  LPLPLFN3 LPLPLFO3 LPLPLFN3 LPLPLFO3R3                    3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C2V23[5613DQQGH3C2V23[5613LFEE3DQQG3                                \12613T63[653518319334622]5S34I3   ^WLNL3EF33                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C2V23[5613DQQGH3C2V23[5613LFEE3DQQG3                                \12613T63[653518319334622]5S34I3   ^W3LNLFFN3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                51831933\523I56813                       C^33O33              LLPLPLFE3LLPLPLFEE3 LLPLPLFE3LLPLPLFEE3R3                3       TUV3           TUV3 TUV3               TUV3                CW3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                51831933\523I56813                       C^33O33              LLPLPLFEE3LLPLPLFE3 LLPLPLFEE3LLPLPLFE3R3                3       TUV3           TUV3 TUV3               TUV3                CW3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                51831933\523I56813                       C^33O33              LLPLPLFE3LLPLPLFEQ3 LLPLPLFE3LLPLPLFEQ3R3                3       TUV3           TUV3 TUV3               TUV3                CW3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                51831933\523I56813                       C^3MNN3                LLPLPLFEQ3LLPLPLFEF3 LLPLPLFEQ3LLPLPLFEF3R3                3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                51831933\523I56813                       C^3MNN3                LLPLPLFEF3LLPLPLFM3 LLPLPLFEF3LLPLPLFM3R3                3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                51831933\523I56813                       C^3MNN3                LLPLPLFM3LLPLPLFL3 LLPLPLFM3LLPLPLFL3R3                3 R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3           TUV3                4W3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                \V3X1 6535183193                          TUV3                    LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                \12613T63[653518319334622]5S34I3   ^WLNL3EF3QN3                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                \12613T63[653518319334622]5S34I3   ^W3LNLFFOM3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C2V23[5613DQQGH3C9313LFNLFF3DNG3                                \V3X1 6535183193                          ZI3NQNL3                NPLMPLF3NPLMPLFQ3 NPLMPLF3 NPLMPLFQ3R3                  3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3^23LFNLLFQM3DNNG3                                \12613T63[653518319334622]5S34I3   ^WLNL3M3EQ3                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C656233I7253DNNGH3^23LFNLLFQM3DNNG3                                I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C656233I7253DNNGH3^23LFNLLFQM3DNNG3                                \12613T63[653518319334622]5S34I3   ^W3LNNMLLE3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C656233I7253DNNGH3^23LFNLLFQM3DNNG3                                I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C656233I7253DNNGH31]563LFLFNMML3DNNFG3                            \12613T63[653518319334622]5S34I3   ^WLNL3M3M3                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C656233I7253DNNGH31]563LFLFNMML3DNNFG3                            I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C656233I7253DNNGH31]563LFLFNMML3DNNFG3                            \12613T63[653518319334622]5S34I3   ^W3LNNMLNM3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C656233I7253DNNGH31]563LFLFNMML3DNNFG3                            I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C656233I7253DNNGH3Z51253V3LFNLF3DNOQG3                       \12613T63[653518319334622]5S34I3   ^WLNL3M3Q3                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C656233I7253DNNGH3Z51253V3LFNLF3DNOQG3                       I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C656233I7253DNNGH3Z51253V3LFNLF3DNOQG3                       I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       TUV3                                                TUV3                    LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       TUV3                                                TUV3                    LPLPLFQ3 LPLPLFF3 LPLPLFQ3 LPLPLFF3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       TUV3                                                TUV3                    LPLPLFF3 LPLPLFEM3 LPLPLFF3 LPLPLFEM3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       TUV3                                                TUV3                    LPLPLFEM3 LPLPLFEL3 LPLPLFEM3 LPLPLFEL3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       TUV3                                                TUV3                    LPLPLFEL3 LPLPLFEN3 LPLPLFEL3 LPLPLFEN3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       TUV3                                                TUV3                    LPLPLFEN3 LPLPLFEO3 LPLPLFEN3 LPLPLFEO3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       TUV3                                                TUV3                    LPLPLFEO3 LPLPLFE3 LPLPLFEO3 LPLPLFE3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       TUV3                                                TUV3                    LPLPLFE3 LPLPLFE3 LPLPLFE3 LPLPLFE3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       51831933\523I56813                       TUV3                    LPLPLFE3 LPLPLFEE3 LPLPLFE3 LPLPLFEE3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       51831933\523I56813                       TUV3                    LPLPLFEE3 LPLPLFE3 LPLPLFEE3 LPLPLFE3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       51831933\523I56813                       TUV3                    LPLPLFE3 LPLPLFEQ3 LPLPLFE3 LPLPLFEQ3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       51831933\523I56813                       TUV3                    LPLPLFEQ3 LPLPLFEF3 LPLPLFEQ3 LPLPLFEF3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       51831933\523I56813                       TUV3                    LPLPLFEF3 LPLPLFM3 LPLPLFEF3 LPLPLFM3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       51831933\523I56813                       TUV3                    LPLPLFM3 OPEPLFM3 LPLPLFM3 OPEPLFM3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       \12613T63[653518319334622]5S34I3   ^W3LNNMLNQ3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C656233I7253DNNGH3Z51253V3LFLFFF3DNOQG3                       I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C656233I7253DNNGH3353LFNELFFO3DFG3                             TUV3                                                TUV3                    LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C656233I7253DNNGH3353LFNELFFO3DFG3                             51831933\523I56813                       C^3EFL3                  OPEPLFM3 OPEPLFL3 OPEPLFM3 OPEPLFL3R3                    3 TUVN3               TUVN3 TUV3               TUV3                4W3
C656233I7253DNNGH3353LFNELFFO3DFG3                             51831933\523I56813                       C^3LMF3                  OPEPLFL3 OPEPLFN3 OPEPLFL3 OPEPLFN3R3                    3 R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3              TUV3                4W3
C656233I7253DNNGH3353LFNELFFO3DFG3                             \12613T63[653518319334622]5S34I3   ^WLNL3M33                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C656233I7253DNNGH3353LFNELFFO3DFG3                             I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C656233I7253DNNGH3353LFNELFFO3DFG3                             \12613T63[653518319334622]5S34I3   ^W3LNNMLN3                 LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3
C656233I7253DNNGH3353LFNELFFO3DFG3                             I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C656233I7253DNNGH3K1 3^193[5123LFELFF3DQMG3                   I56813J5183193                            K LMNFO3                  LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R333333LSMMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                  TUV3                4W3
C656233I7253DNNGH3K1 3^193[5123LFELFF3DQMG3                   I56813J5183193                            K LMNFO3                  LPLPLF3 LPLPLFQ3 LPLPLF3 LPLPLFQ3R333333LSMMSMMMMM3R33333333MMSMMMMM3 R3333MMSMMMMM3 TUV3               TUV3                4W3
C656233I7253DNNGH3K6213LFFLFFO3DNMG3                            \12613T63[653518319334622]5S34I3   ^WLNL3M3QL3                LPLPLFE3 LPLPLF3 LPLPLFE3 LPLPLF3R3 MMSMMMMM3R33333LSMMMSMMMMM3R3LSMMMSMMMMM3 TUV3                        TUV3                4W3



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01213456718933 638238216356712365126
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                                   !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#'     5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                          60&$'         60&$'
C656233D7253EFFGHI3J6213KLLKLLM3EFNH3                           D56813O5183193                            J KNFGLM3                 KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R333333KSNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                   TUV3                4W3
C656233D7253EFFGHI3J6213KLLKLLM3EFNH3                           X12613T63Y653518319334622Z5S34D3   [W3KFFNKMF3                KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
C656233D7253EFFGHI3J6213KLLKLLM3EFNH3                           D56813O5183193                            J KNFGLM3                 KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R333333KSNNSNNNNN3R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3                TUV3                4W3
C656233D7253EFFGHI3X523[193KLQQKLLM3EFMQH3                            X12613T63Y653518319334622Z5S34D3   [WKFK3GN3N3               KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
C656233D7253EFFGHI3X523[193KLQQKLLM3EFMQH3                            D56813O5183193                            J KNFGLM3                 KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R333333KSNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                   TUV3                4W3
C656233D7253EFFGHI3X523[193KLQQKLLM3EFMQH3                            X12613T63Y653518319334622Z5S34D3   [W3KFFNKMK3                KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
C656233D7253EFFGHI3X523[193KLQQKLLM3EFMQH3                            D56813O5183193                            J KNFGLM3                 KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R333333KSNNSNNNNN3R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3                TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           51831933X523D56813                       C[3NK3                QPKNPKLQ3QPKNPKLQL3 QPKNPKLQ3 QPKNPKLQL3R3                   3 R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3              TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           51831933X523D56813                       C[3NK3                QPKNPKLQL3QPKNPKLGN3 QPKNPKLQL3 QPKNPKLGN3R3                   3 R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3              TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           51831933X523D56813                       C[3NK3                QPKNPKLGN3QPKNPKLGK3 QPKNPKLGN3 QPKNPKLGK3R3                   3 R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3              TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           51831933X523D56813                       C[3KQF3                QPKNPKLGK3QPKNPKLGF3 QPKNPKLGK3 QPKNPKLGF3R3                   3 R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3              TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           XV3]1 6535183193                          C43QMGGQ3                KPKPKLG3 KPKPKLGQ3 KPKPKLG3 KPKPKLGQ3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           XV3]1 6535183193                          T3NGG3                 KPKPKLG3 KPKPKLGQ3 KPKPKLG3 KPKPKLGQ3R3 NNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                         TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           XV3]1 6535183193                          C43QMLNF3                KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R3                     3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           X12613T63Y653518319334622Z5S34D3   [WKFK3GN3GG3               KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           D56813O5183193                            J KNFGLM3                 KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R333333KSNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                   TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           XV3]1 6535183193                          TUV3                   KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           X12613T63Y653518319334622Z5S34D3   [W3KFFNKFG3                KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
C656233D7253EFFGHI3X523W \3KLFKLLM3EGKFH3                           D56813O5183193                            J KNFGLM3                 KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R333333KSNNSNNNNN3R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3                TUV3                4W3
C656233D7253EFFGHI3X523C53KLFKLQQ3EGNKH3                           TUV3                                                TUV3                   KPKPKLQ3 KPKPKLG3 KPKPKLQ3 KPKPKLG3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
CU3293ENHI3CU3293ENH3                                    51831933X523D56813                       ^[3QGQN3                 QPKPKLQG3 QPKPKLQ3 QPKPKLQG3 QPKPKLQ3R3 MNNSNNNNN3 TUV3                           TUV3 TUV3               TUV3                CW3
CU3293ENHI3CU3293ENH3                                    51831933X523D56813                       ^[3QGQN3                 QPKPKLQ3 QPKPKLQL3 QPKPKLQ3 QPKPKLQL3R3 MNNSNNNNN3 TUV3                           TUV3 TUV3               TUV3                CW3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3443NNNL3             QPKPKLQL3 QPKPKLGN3 QPKPKLQL3 QPKPKLGN3R3                     3 R33333333MNNSNNNNN3 R3333MNNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    51831933X523D56813                       ^[3QGQN3                 QPKPKLQL3 QPKPKLGN3 QPKPKLQL3 QPKPKLGN3R3 MNNSNNNNN3 TUV3                           TUV3 TUV3               TUV3                CW3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3443NNNL3             QPKPKLGN3 QPKPKLGK3 QPKPKLGN3 QPKPKLGK3R3                     3 R33333333KNNSNNNNN3 R3333KNNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    TUV3                                                TUV3                   QPKPKLGN3 QPKPKLGK3 QPKPKLGN3 QPKPKLGK3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
CU3293ENHI3CU3293ENH3                                    51831933X523D56813                       ^[GMGQ3                  QPKPKLGN3 QPKPKLGK3 QPKPKLGN3 QPKPKLGK3R3 MNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3443NNNL3             QPKPKLGK3 QPKPKLGF3 QPKPKLGK3 QPKPKLGF3R3                     3 R33333333KNNSNNNNN3 R3333KNNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    TUV3                                                TUV3                   QPKPKLGK3 QPKPKLGF3 QPKPKLGK3 QPKPKLGF3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
CU3293ENHI3CU3293ENH3                                    51831933X523D56813                       ^[GMGQ3                  QPKPKLGK3 MPLPKLGF3 QPKPKLGK3 MPLPKLGF3R3 MNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
CU3293ENHI3CU3293ENH3                                    51831933X523D56813                       ^[3GMGQ3                 MPLPKLGF3 MPGPKLGM3 MPLPKLGF3 MPGPKLGM3R3 MNNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                         TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3CJ43MNQG3             QPKPKLGF3 QPKPKLGM3 QPKPKLGF3 QPKPKLGM3R3                     3 R33333333MNNSNNNNN3 R3333MNNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    TUV3                                                TUV3                   QPKPKLGF3 QPKPKLGM3 QPKPKLGF3 QPKPKLGM3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
CU3293ENHI3CU3293ENH3                                    51831933X523D56813                       ^[3GMGQ3                 MPGPKLGM3 QPKPKLGM3 MPGPKLGM3 QPKPKLGM3R3 MNNSNNNNN3R33333FSNNSNNNNN3R3FSNNSNNNNN3 TUV3                         TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3CJ43MNQG3             QPKPKLGM3 QPKPKLG3 QPKPKLGM3 QPKPKLG3R3                     3 R33333333MNNSNNNNN3 R3333MNNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3[43NNFLG3             QPKPKLG3 QPKPKLG3 QPKPKLG3 QPKPKLG3R3                     3 R33333333MNNSNNNNN3 R3333MNNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3[43NNFLG3             QPKPKLG3 QPKPKLGQ3 QPKPKLG3 QPKPKLGQ3R3                     3 R33333333MNNSNNNNN3 R3333MNNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    X12613T63Y653518319334622Z5S34D3   [WKFK3GK3QQ3               KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
CU3293ENHI3CU3293ENH3                                    D56813O5183193                            J KNFGLM3                 KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R333333KSNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                   TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3[43NNFLG3             QPKPKLGQ3 QPKPKLGG3 QPKPKLGQ3 QPKPKLGG3R3                     3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    X12613T63Y653518319334622Z5S34D3   [W3KFFNNKL3                KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
CU3293ENHI3CU3293ENH3                                    D56813O5183193                            J KNFGLM3                 KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R333333KSNNSNNNNN3R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3                TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3[43NNQQ3             QPKPKLGG3 QPKPKLG3 QPKPKLGG3 QPKPKLG3R3                     3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3[43NNQQ3             QPKPKLG3 QPKPKLGL3 QPKPKLG3 QPKPKLGL3R3                     3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
CU3293ENHI3CU3293ENH3                                    ]15253D88623136293193                KF3[43NNQQ3             QPKPKLGL3 QPKPKLN3 QPKPKLGL3 QPKPKLN3R3                     3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3C_113KLG3EMMH3                                        51831933X523D56813                       ^[3L33NF3               KPKPKLGF3KNPKPKLGF3 KPKPKLGF3KNPKPKLGF3R3 MNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                       TUV3                4W3
C_ 113EMMHI3C_113KLG3EMMH3                                        51831933X523D56813                       ^[3L33NF3             KNPKPKLGF3 KPKPKLGM3 KNPKPKLGF3 KPKPKLGM3R3 MNNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                       TUV3                4W3
C_ 113EMMHI3C_113KLG3EMMH3                                        51831933X523D56813                       ^[3L33NF3               KPKPKLGM3 KPKPKLG3 KPKPKLGM3 KPKPKLG3R3 MNNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                         TUV3                4W3
C_ 113EMMHI3C_113KLG3EMMH3                                        51831933X523D56813                       ^[3L33NF3               KPKPKLG3 KPKPKLG3 KPKPKLG3 KPKPKLG3R3 MNNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                         TUV3                4W3
C_ 113EMMHI3C_113KLG3EMMH3                                        X12613T63Y653518319334622Z5S34D3   [WKFK3GM3K3               KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
C_ 113EMMHI3C_113KLG3EMMH3                                        D56813O5183193                            J KNFGLM3                 KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R333333KSNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                   TUV3                4W3
C_ 113EMMHI3C_113KLG3EMMH3                                        X12613T63Y653518319334622Z5S34D3   [W3KFFNFGM3                KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
C_ 113EMMHI3C_113KLG3EMMH3                                        D56813O5183193                            J KNFGLM3                 KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R333333KSNNSNNNNN3R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3                TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       3G3N3                  QPKPKLQ3QPKPKLQQ3 QPKPKLQ3 QPKPKLQQ3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       3G3N3                  QPKPKLQQ3QPKPKLQG3 QPKPKLQQ3 QPKPKLQG3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       3G3N3                  QPKPKLQG3QPKPKLQ3 QPKPKLQG3 QPKPKLQ3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       C[333Q3              QPKPKLQ3QPKPKLQL3 QPKPKLQ3 QPKPKLQL3R3                   3 R33333333FNSNNNNN3 R3333FNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       C[333Q3              QPKPKLQL3QPKPKLGN3 QPKPKLQL3 QPKPKLGN3R3                   3 R33333333FNSNNNNN3 R3333FNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       C[333Q3              QPKPKLGN3QPKPKLGK3 QPKPKLGN3 QPKPKLGK3R3                   3 R33333333FNSNNNNN3 R3333FNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       C[3MNG3                GPKPKLGK3GPKMPKLGF3 GPKPKLGK3 GPKMPKLGF3R3                   3 R33333333FNSNNNNN3 R3333FNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       C[3MNG3                GPKPKLGF3FPFFPKLGM3 GPKPKLGF3 FPFFPKLGM3R3                   3 R33333333FNSNNNNN3 R3333FNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       a43KKGF3               FPFFPKLGM3FPFFPKLG3 FPFFPKLGM3 FPFFPKLG3R3                   3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        TUV3                                                TUV3                  FPFFPKLGM3FPFFPKLG3 FPFFPKLGM3 FPFFPKLG3R3                   3       TUV3           TUV3 TUV3               TUV3                CW3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       ^[3L3Q3M3              FPFFPKLGM3FPFFPKLG3 FPFFPKLGM3 FPFFPKLG3R3 NNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                       TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       a43KKGF3               FPFFPKLG3FPFFPKLG3 FPFFPKLG3 FPFFPKLG3R3                   3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        TUV3                                                TUV3                  FPFFPKLG3 KPKPKLG3 FPFFPKLG3 KPKPKLG3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
C_ 113EMMHI3C_113̀193D513KLFGKLG3EMMH3                        51831933X523D56813                       ^[3L3Q3M3              FPFFPKLG3FPFFPKLG3 FPFFPKLG3 FPFFPKLG3R3 NNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                       TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       C[LQ3                  FPLPKLQG3 FPLPKLQ3 FPLPKLQG3 FPLPKLQ3R3                     3 R33333333FNSNNNNN3 R3333FNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       C[LQ3                  FPLPKLQ3 FPLPKLQL3 FPLPKLQ3 FPLPKLQL3R3                     3 R33333333FNSNNNNN3 R3333FNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       C[LQ3                  FPLPKLQL3 FPLPKLGN3 FPLPKLQL3 FPLPKLGN3R3                     3 R33333333FNSNNNNN3 R3333FNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       C[33MN3N3               FPLPKLGN3 FPLPKLGK3 FPLPKLGN3 FPLPKLGK3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       C[33MN3N3               FPLPKLGK3 FPLPKLGF3 FPLPKLGK3 FPLPKLGF3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       C[33MN3N3               FPLPKLGF3 FPLPKLGM3 FPLPKLGF3 FPLPKLGM3R3                     3       TUV3           TUV3 TUV3               TUV3                CW3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       a43N3GQ3F3              FPLPKLGM3 FPLPKLG3 FPLPKLGM3 FPLPKLG3R3                     3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       ^[3L3Q3KG3               FPLPKLGM3 FPLPKLG3 FPLPKLGM3 FPLPKLG3R3 NNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                         TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       a43N3GQ3F3              FPLPKLG3 FPLPKLG3 FPLPKLG3 FPLPKLG3R3                     3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       ^[3L3Q3KG3               FPLPKLG3 FPLPKLG3 FPLPKLG3 FPLPKLG3R3 NNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                         TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       a43N3GQ3F3              FPLPKLG3MPFQPKLG3 FPLPKLG3 MPFQPKLG3R3                    3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
C_ 113EMMHI3b23[5183KLMKLG3EMH3                                    51831933X523D56813                       ^[3L3Q3KG3               FPLPKLG3 FPLPKLGQ3 FPLPKLG3 FPLPKLGQ3R3 NNSNNNNN3R33333FSNNNSNNNNN3R3FSNNNSNNNNN3 TUV3                         TUV3                4W3
CV13O6753D513EQQHI3CV13O6753D513EQQH3                          ]15253D88623136293193                FK3CJ43KKGN3            LPKPKLG3LPKPKLGQ3 LPKPKLG3 LPKPKLGQ3R3                   3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
CV13O6753D513EQQHI3CV13O6753D513EQQH3                          X12613T63Y653518319334622Z5S34D3   [WKFK3QL33               KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
CV13O6753D513EQQHI3CV13O6753D513EQQH3                          D56813O5183193                            J KNFGLM3                 KPKPKLGQ3 KPKPKLGG3 KPKPKLGQ3 KPKPKLGG3R333333KSNNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                   TUV3                4W3
CV13O6753D513EQQHI3CV13O6753D513EQQH3                          ]15253D88623136293193                FK3CJ43KKGN3            LPKPKLGQ3LPKPKLGG3 LPKPKLGQ3 LPKPKLGG3R3                   3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3
CV13O6753D513EQQHI3CV13O6753D513EQQH3                          XV3]1 6535183193                          TUV3                   KPKPKLGG3FPKNPKLG3 KPKPKLGG3 FPKNPKLG3R3                    3       TUV3           TUV3 TUV3               TUV3                CW3
CV13O6753D513EQQHI3CV13O6753D513EQQH3                          X12613T63Y653518319334622Z5S34D3   [W3KFKLLMF3                KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R3 NNSNNNNN3R33333KSNNNSNNNNN3R3KSNNNSNNNNN3 TUV3                         TUV3                4W3
CV13O6753D513EQQHI3CV13O6753D513EQQH3                          D56813O5183193                            J KNFGLM3                 KPKPKLGG3 KPKPKLG3 KPKPKLGG3 KPKPKLG3R333333KSNNSNNNNN3R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3                TUV3                4W3
CV13O6753D513EQQHI3CV13O6753D513EQQH3                          ]15253D88623136293193                FK3CJ43KKGN3            LPKPKLGG3 KPKPKLG3 LPKPKLGG3 KPKPKLG3R3                    3 R33333333NNSNNNNN3 R3333NNSNNNNN3 TUV3           TUV3                4W3



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                                 !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#'     5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                        60&$'         60&$'
 8  3CDEF38  3CDE3                                               51831933G523H56813                       HI4JKDD3                 LMNLNLJ3LMNLNLJJ3 LMNLNLJ3LMNLNLJJ3O3                 3 PQRM3               PQRM3 PQR3               PQR3                4S3
 8  3CDEF38  3CDE3                                               51831933G523H56813                       HI4JKDD3                 LMNLNLJJ3LMNLNLJT3 LMNLNLJJ3LMNLNLJT3O3                 3 PQRM3               PQRM3 PQR3               PQR3                4S3
 8  3CDEF38  3CDE3                                               51831933G523H56813                       HI4JKDD3                 LMNLNLJT3LMNLNLJK3 LMNLNLJT3LMNLNLJK3O3                 3 PQRM3               PQRM3 PQR3               PQR3                4S3
 8  3CDEF38  3CDE3                                               51831933G523H56813                       HI4LJJ3                LMNLNLJK3LMNLNLJ3 LMNLNLJK3LMNLNLJ3O3                 3 PQR        M3       PQR  M3   PQR3           PQR3                4S3
 8  3CDEF38  3CDE3                                               51831933G523H56813                       HI4LJJ3                LMNLNLJ3LMNLNLTU3 LMNLNLJ3LMNLNLTU3O3                 3 PQRM3               PQRM3 PQR3               PQR3                4S3
 8  3CDEF38  3CDE3                                               51831933G523H56813                       HI4LJJ3                LMNLNLTU3LMNLNLTL3 LMNLNLTU3LMNLNLTL3O3                 3 PQRM3               PQRM3 PQR3               PQR3                4S3
 8  3CDEF38  3CDE3                                               G12613P63V653518319334622W5X34H3   YSLML3TM3LL3               LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
 8  3CDEF38  3CDE3                                               H56813Z5183193                            [ LUMTD3                 LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O333333LXUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                   PQR3                4S3
 8  3CDEF38  3CDE3                                               G12613P63V653518319334622W5X34H3   YS3LMMUUJ3                LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
 8  3CDEF38  3CDE3                                               H56813Z5183193                            [ LUMTD3                 LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O333333LXUUXUUUUU3O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3                PQR3                4S3
 \13]2R23CTLEF383^193LMJMULM3CTLE3                             51831933G523H56813                       ]Y33LD3L3               NLNLTU3 NLNLTL3 NLNLTU3 NLNLTL3O3                     3 O33333333MUXUUUUU3 O3333MUXUUUUU3 PQR3           PQR3                4S3
 \13]2R23CTLEF383^193LMJMULM3CTLE3                             51831933G523H56813                       ]Y33LD3L3               NLNLTL3 NLNLTM3 NLNLTL3 NLNLTM3O3                     3 O33333333MUXUUUUU3 O3333MUXUUUUU3 PQR3           PQR3                4S3
 \13]2R23CTLEF383^193LMJMULM3CTLE3                             G12613P63V653518319334622W5X34H3   YSLML3TD3KJ3               LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
 \13]2R23CTLEF383^193LMJMULM3CTLE3                             H56813Z5183193                            [ LUMTD3                 LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O333333LXUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                   PQR3                4S3
 \13]2R23CTLEF383^193LMJMULM3CTLE3                             G12613P63V653518319334622W5X34H3   YS3LMMUMLT3                LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
 \13]2R23CTLEF383^193LMJMULM3CTLE3                             H56813Z5183193                            [ LUMTD3                 LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O333333LXUUXUUUUU3O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3                PQR3                4S3
 \135163CJLEF3 6 35163LMJMUUD3CJLE3                                51831933G523H56813                       ]Y33L3K3              MNLNLTL3MNLNLTM3 MNLNLTL3 MNLNLTM3O3                   3 O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3           PQR3                4S3
 \135163CJLEF3 6 35163LMJMUUD3CJLE3                                GR3_1 6535183193                          PQR3                   LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
 \135163CJLEF3 6 35163LMJMUUD3CJLE3                                G12613P63V653518319334622W5X34H3   YSLML3TD3TU3               LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
 \135163CJLEF3 6 35163LMJMUUD3CJLE3                                H56813Z5183193                            [ LUMTD3                 LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O333333LXUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                   PQR3                4S3
 \135163CJLEF3 6 35163LMJMUUD3CJLE3                                GR3_1 6535183193                          IH3DDMDM3                LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
 \135163CJLEF3 6 35163LMJMUUD3CJLE3                                HW1 1535183193                             PQR3                   LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3 UXUUUUU3O33333333UXUUUUU3 O3333UXUUUUU3 PQR3                       PQR3                ]S3
 \135163CJLEF3 6 35163LMJMUUD3CJLE3                                G12613P63V653518319334622W5X34H3   YS3LMMUMUL3                LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
 \135163CJLEF3 6 35163LMJMUUD3CJLE3                                H56813Z5183193                            [ LUMTD3                 LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O333333LXUUXUUUUU3O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3                PQR3                4S3
 \135163CJLEF31835163LDMMUUD3CTE3                                51831933G523H56813                       ]Y3MU3                LMNNLJK3LMNNLJ3 LMNNLJK3 LMNNLJ3O3                   3       PQR3           PQR3 PQR3               PQR3                ]S3
 \135163CJLEF31835163LDMMUUD3CTE3                                51831933G523H56813                       ]Y3M3                LMNNLJ3LMNNLTU3 LMNNLJ3 LMNNLTU3O3                   3 O33333333MUXUUUUU3 O3333MUXUUUUU3 PQR3           PQR3                4S3
 \135163CJLEF31835163LDMMUUD3CTE3                                51831933G523H56813                       PQR3                  LMNNLTU3LMNNLTL3 LMNNLTU3 LMNNLTL3O3                   3       PQR3           PQR3 PQR3               PQR3                ]S3
 \135163CJLEF31835163LDMMUUD3CTE3                                51831933G523H56813                       PQR3                  LMNNLTL3 LNLNLTM3 LMNNLTL3 LNLNLTM3O3                    3       PQR3           PQR3 PQR3               PQR3                ]S3
 \135163CJLEF31835163LDMMUUD3CTE3                                GR3_1 6535183193                          PQR3                   LNLNLT3 LNLNLTJ3 LNLNLT3 LNLNLTJ3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
 \135163CJLEF31835163LDMMUUD3CTE3                                GR3_1 6535183193                          PQR3                   LNLNLT3 LNLNLTJ3 LNLNLT3 LNLNLTJ3O3 UUXUUUUU3 PQR3                           PQR3 PQR3               PQR3                ]S3
 \135163CJLEF31835163LDMMUUD3CTE3                                GR3_1 6535183193                          PQR3                   LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O3                     3 O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3           PQR3                ]S3
 \135163CJLEF31835163LDMMUUD3CTE3                                G12613P63V653518319334622W5X34H3   YSLML3TD3T3               LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
 \135163CJLEF31835163LDMMUUD3CTE3                                PQR3                                                PQR3                   LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O3 UUXUUUUU3 PQR3                           PQR3 PQR3               PQR3                ]S3
 \135163CJLEF31835163LDMMUUD3CTE3                                H56813Z5183193                            [ LUMTD3                 LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O333333LXUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                   PQR3                4S3
 \135163CJLEF31835163LDMMUUD3CTE3                                G12613P63V653518319334622W5X34H3   YS3LMMUMU3                LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
 \135163CJLEF31835163LDMMUUD3CTE3                                H56813Z5183193                            [ LUMTD3                 LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O333333LXUUXUUUUU3O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3                PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       PQR3                   LNLNLJL3 LNLNLJM3 LNLNLJL3 LNLNLJM3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       PQR3                   LNLNLJM3 LNLNLJD3 LNLNLJM3 LNLNLJD3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       PQR3                   LNLNLJD3 LNLNLJ3 LNLNLJD3 LNLNLJ3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       PQR3                   LNLNLJ3 LNLNLJ3 LNLNLJ3 LNLNLJ3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       PQR3                   LNLNLJ3 LNLNLJJ3 LNLNLJ3 LNLNLJJ3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       PQR3                   LNLNLJJ3 LNLNLJT3 LNLNLJJ3 LNLNLJT3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       PQR3                   LNLNLJT3 LNLNLJK3 LNLNLJT3 LNLNLJK3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3LULL3                LNLMNLJT3LNLMNLJK3 LNLMNLJT3 LNLMNLJK3O3 LUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3LULL3                LNLMNLJK3LNLMNLJ3 LNLMNLJK3 LNLMNLJ3O3 LUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       HI4LKKLJ3                  LNLNLJ3 LNLNLTU3 LNLNLJ3 LNLNLTU3O3                     3 O33333333LUUXUUUUU3 O3333LUUXUUUUU3 PQR3           PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3LULL3                LNLMNLJ3LNLMNLTU3 LNLMNLJ3 LNLMNLTU3O3 LUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       HI4LKKLJ3                  LNLNLTU3 LNLNLTL3 LNLNLTU3 LNLNLTL3O3                     3 O33333333LUUXUUUUU3 O3333LUUXUUUUU3 PQR3           PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3DUD3                LNLMNLTU3LNLMNLTL3 LNLMNLTU3 LNLMNLTL3O3 LUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       I43L3TD3MJ3             MNMUNLTU3MNMUNLTL3 MNMUNLTU3 MNMUNLTL3O3                   3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       HI4LKKLJ3                  LNLNLTL3 LNLNLTM3 LNLNLTL3 LNLNLTM3O3                     3 O33333333LUUXUUUUU3 O3333LUUXUUUUU3 PQR3           PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        PQR3                                                PQR3                   LNLNLTL3 LNLNLTM3 LNLNLTL3 LNLNLTM3O3                     3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3DUD3                LNLMNLTL3LNLMNLTM3 LNLMNLTL3 LNLMNLTM3O3 LUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       I43MK33M3             MNMUNLTL3MNMUNLTM3 MNMUNLTL3 MNMUNLTM3O3                   3 O3 DUXUUUUU3 O333333DUXUUUUU3 PQR3                 PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       HI43U3K3L3              LNLNLTM3 LNLNLTD3 LNLNLTM3 LNLNLTD3O3                     3 O33333333LUUXUUUUU3 O3333LUUXUUUUU3 PQR3           PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3DUD3                LNLMNLTM3LNLMNLTD3 LNLMNLTM3 LNLMNLTD3O3 LUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       HI43U3K3L3             LNLMNLTD3 LNLNLT3 LNLMNLTD3 LNLNLT3O3                    3 O33333333DUUXUUUUU3 O3333DUUXUUUUU3 PQR3           PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3U3                LNLMNLTD3LNLMNLT3 LNLMNLTD3 LNLMNLT3O3 DUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       HI43U3K3L3              LNLNLT3 LNLNLT3 LNLNLT3 LNLNLT3O3                     3 O33333333DUUXUUUUU3 O3333DUUXUUUUU3 PQR3           PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3U3                LNLMNLT3LNLMNLT3 LNLMNLT3 LNLMNLT3O3 DUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       HI43U3K3L3              LNLNLT3 LNLNLTJ3 LNLNLT3 LNLNLTJ3O3                     3 O33333333DUUXUUUUU3 O3333DUUXUUUUU3 PQR3           PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `Y3U3                LNLMNLT3LNLMNLTJ3 LNLMNLT3 LNLMNLTJ3O3 DUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                       PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        G12613P63V653518319334622W5X34H3   YSLML3TL3TD3               LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        H56813Z5183193                            [ LUMTD3                 LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O333333LXUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                   PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        GR3_1 6535183193                          PQR3                  LNLMNLTJ3 LNLNLTT3 LNLMNLTJ3 LNLNLTT3O3                    3       PQR3           PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        51831933G523H56813                       `43LMDU3                LNLMNLTJ3 DNLNLTJ3 LNLMNLTJ3 DNLNLTJ3O333333MXUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                  PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        GR3_1 6535183193                          IH3MLUMJM3                LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3                     3 O3 UXUUUUU3 O333333UXUUUUU3 PQR3                 PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        HW1 1535183193                             PQR3                   LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3 UXUUUUU3 PQR3                            PQR3 PQR3               PQR3                ]S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        G12613P63V653518319334622W5X34H3   YS3LMMUUMJ3                LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        H56813Z5183193                            [ LUMTD3                 LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O333333LXUUXUUUUU3O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3                PQR3                4S3
  53Z723CDKJEF3G1 13293LLJLT3CDKJE3                        2621311293193                            PQR3                   LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O333333MXUUXUUUUU3 PQR3                     PQR3 PQR3               PQR3                ]S3
  53V653CLMTEF3 63]1WW13LDLLJK3CTDE3                              51831933G523H56813                       ]Y33M3T3              DNMNLJ3DNMNLJJ3 DNMNLJ3 DNMNLJJ3O3                   3       PQR3           PQR3 PQR3               PQR3                ]S3
  53V653CLMTEF3 63]1WW13LDLLJK3CTDE3                              51831933G523H56813                       ]Y33M3T3              DNMNLJJ3DNMNLJT3 DNMNLJJ3 DNMNLJT3O3                   3       PQR3           PQR3 PQR3               PQR3                ]S3
  53V653CLMTEF3 63]1WW13LDLLJK3CTDE3                              51831933G523H56813                       ]Y33M3T3              DNMNLJT3DNMNLJK3 DNMNLJT3 DNMNLJK3O3                   3       PQR3           PQR3 PQR3               PQR3                ]S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       Za4MTUKJ3                  LNLNLJT3 LNLNLJK3 LNLNLJT3 LNLNLJK3O3                     3 O33333333DUUXUUUUU3 O3333DUUXUUUUU3 PQR3           PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       Za4MTUKJ3                  LNLNLJK3 LNLNLJ3 LNLNLJK3 LNLNLJ3O3                     3 O33333333DUUXUUUUU3 O3333DUUXUUUUU3 PQR3           PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       Za4MTUKJ3                  LNLNLJ3NMNLJ3 LNLNLJ3 NMNLJ3O3                    3 O33333333DUUXUUUUU3 O3333DUUXUUUUU3 PQR3           PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       ]Y33LL3TJ3              NMNLJ3NMNLTU3 NMNLJ3 NMNLTU3O3                   3 O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3              PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       ]Y33LL3TJ3              NMNLTU3NMNLTL3 NMNLTU3 NMNLTL3O3                   3 O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3              PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       `43LTLDT3                NMNLTU3NMNLTL3 NMNLTU3 NMNLTL3O3 UUXUUUUU3O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3                    PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       ]Y33LL3TJ3              NMNLTL3NMNLTM3 NMNLTL3 NMNLTM3O3                   3 O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3              PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       `43LTLDT3                NMNLTL3NMNLTM3 NMNLTL3 NMNLTM3O3 UUXUUUUU3O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3                    PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               51831933G523H56813                       ]Y3LKM3                NMNLTM3NMNLTD3 NMNLTM3 NMNLTD3O3                   3 O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3           PQR3                ]S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               H56813Z5183193                            [ LUMTD3                 LNLNLTJ3 LNLNLTT3 LNLNLTJ3 LNLNLTT3O333333LXUUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                   PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               G12613P63V653518319334622W5X34H3   YS3LMLTD3                LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O3 UUXUUUUU3O33333LXUUUXUUUUU3O3LXUUUXUUUUU3 PQR3                         PQR3                4S3
  53V653CLMTEF303413H513LMKLM3CLKE3                               H56813Z5183193                            [ LUMTD3                 LNLNLTT3 LNLNLTK3 LNLNLTT3 LNLNLTK3O333333LXUUXUUUUU3O33333333UUXUUUUU3 O3333UUXUUUUU3 PQR3                PQR3                4S3



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01213456718933 638238216356712365126
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                                     !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                    !0##*$#'                          -(+*)1'2"34$#' 5&0#&'60&$' 7%.'60&$' !("%    )*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                            60&$'         60&$'
   53C653DEFGHI303413J513EKFLEKKF3DELH3                                  M15253J88623136293193                LF3NNO34OFEK3              PQEQEKL3 PQEQEKLP3 PQEQEKL3 PQEQEKLP3R3                    3 R3 FS3 R333333FS3 NTU3                 NTU3                4V3
   53C653DEFGHI3CW3X6753Y193EKGEKGF3DEFZH3                              NTU3                                                FFZ3                      EQEQEKG3 EQEQEKGE3 EQEQEKG3 EQEQEKGE3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      51831933O523J56813                       [\FEE3                   ZQEQEKPG3 ZQEQEKPL3 ZQEQEKPG3 ZQEQEKPL3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      51831933O523J56813                       [\FEZ3                   ZQEQEKPL3 ZQEQEKPK3 ZQEQEKPL3 ZQEQEKPK3R3                    3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      51831933O523J56813                       [\3ELK3                  ZQEQEKPK3 ZQEQEKG3 ZQEQEKPK3 ZQEQEKG3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      51831933O523J56813                       [\3ELFP3                  ZQEQEKG3 ZQEQEKGE3 ZQEQEKG3 ZQEQEKGE3R3                    3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      51831933O523J56813                       [\33EL3L3                ZQEQEKGE3 ZQEQEKGF3 ZQEQEKGE3 ZQEQEKGF3R3                    3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      NTU3                                                NTU3                    EQEQEKG3 EQEQEKG3 EQEQEKG3 EQEQEKG3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      51831933O523J56813                       ]J3F3F3FF3               EQEQEKG3 EQEQEKGP3 EQEQEKG3 EQEQEKGP3R3                    3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      NTU3                                                NTU3                    EQEQEKG3 EQEQEKGP3 EQEQEKG3 EQEQEKGP3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      51831933O523J56813                       ]J3FZ3GK3F3               EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3                    3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      O12613N63C653518319334622^5S34J3   \VEFE3G3F3                EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      J56813X5183193                            _ EFGKZ3                  EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R333333ESS3R33333ESS3R3ESS3 NTU3                  NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      OJ351831933663                        ]J3FZ3G3GG3               EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R3                    3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      O12613N63C653518319334622^5S34J3   \V3EFEKKGE3                 EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
   53C653DEFGHI3U3X6753EKPLEKKF3DEFGH3                                      J56813X5183193                            _ EFGKZ3                  EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R333333ESS3R33333333S3 R3333S3 NTU3               NTU3                4V3
   53C653DEFGHI3U3X675Q0413J513EKKFEKKZ3DEFGH3                          OU3M1 6535183193                          NTU3                    EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
   53C653DEFGHI3U3X675Q0413J513EKKFEKKZ3DEFGH3                          O12613N63C653518319334622^5S34J3   \VEFE3G3FG3                EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
   53M15^53DPZPHI3` 13EKPEEKGF3DPFZH3                                      51831933O523J56813                       [\3EEE3                  FQQEKPP3 FQQEKPG3 FQQEKPP3 FQQEKPG3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3` 13EKPEEKGF3DPFZH3                                      51831933O523J56813                       [\3EFP3                  FQQEKPG3 FQQEKPL3 FQQEKPG3 FQQEKPL3R3                    3 R33333333FS3 R3333FS3 NTU3           NTU3                4V3
   53M15^53DPZPHI3` 13EKPEEKGF3DPFZH3                                      51831933O523J56813                       [\EZK3                   FQQEKPL3 FQQEKPK3 FQQEKPL3 FQQEKPK3R3                    3 R33333333ES3 R3333ES3 NTU3           NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       ]EKGK3                 EQEQEKPF3EQEQEKPZ3 EQEQEKPF3 EQEQEKPZ3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       ]EKGK3                 EQEQEKPZ3EQEQEKP3 EQEQEKPZ3 EQEQEKP3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       ]EKGK3                 EQEQEKP3EQEQEKP3 EQEQEKP3 EQEQEKP3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       [\3EE3                 EQEQEKP3EQEQEKPP3 EQEQEKP3 EQEQEKPP3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       [\EF3                  EQEQEKPP3EQEQEKPG3 EQEQEKPP3 EQEQEKPG3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       [\EZE3                  EQEQEKPG3EQEQEKPL3 EQEQEKPG3 EQEQEKPL3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       [\33E3F3               EQEQEKPL3EQEQEKPK3 EQEQEKPL3 EQEQEKPK3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       [\33E33               EQEQEKPK3EQEQEKG3 EQEQEKPK3 EQEQEKG3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       [\33E3K3               EQEQEKG3EQEQEKGE3 EQEQEKG3 EQEQEKGE3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       NTU3                   EQEQEKGE3EQEQEKGF3 EQEQEKGE3 EQEQEKGF3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            51831933O523J56813                       NTU3                   EQEQEKGF3EQEQEKGZ3 EQEQEKGF3 EQEQEKGZ3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLOJFZZ3                 EQEQEKGZ3EQEQEKG3 EQEQEKGZ3 EQEQEKG3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLaJPEZE3                 ZQEFQEKG3ZQEFQEKG3 ZQEFQEKG3 ZQEFQEKG3R3 S3R33333ZSS3R3ZSS3 NTU3                      NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLOJFZZ3                 EQEQEKG3EQEQEKG3 EQEQEKG3 EQEQEKG3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLaJPEZE3                 ZQEFQEKG3ZQEFQEKGP3 ZQEFQEKG3 ZQEFQEKGP3R3 S3R33333ZSS3R3ZSS3 NTU3                      NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLOJFZZ3                 EQEQEKG3EQEQEKGP3 EQEQEKG3 EQEQEKGP3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            J56813X5183193                            _ EFGKZ3                  EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R333333ESS3R33333ESS3R3ESS3 NTU3                  NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLaJPEZE3                 ZQEFQEKGP3EQEQEKGP3 ZQEFQEKGP3 EQEQEKGP3R3 S3R33333ZSS3R3ZSS3 NTU3                      NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLOJZP3                 EQEQEKGP3EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            O12613N63C653518319334622^5S34J3   \V3EFFFPF3                 EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            J56813X5183193                            _ EFGKZ3                  EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R333333ESS3R33333333S3 R3333S3 NTU3               NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            J56813X5183193                            NTU3                    EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R333333FSS3 NTU3                    NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            2621311293193                            X0aKZKPL3                FQEEQEKGG3 EQEQEKGL3 FQEEQEKGG3 EQEQEKGL3R333333FSS3R33333ZSS3R3ZSS3 NTU3                 NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLOJZP3                 EQEQEKGG3EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53M15^53DPZPHI3_6U1T3293EKFKFEE3DPFKH3                            [23413C65313_15635183193              PLOJZP3                 EQEQEKGL3EQEQEKGK3 EQEQEKGL3 EQEQEKGK3R3                  3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53M15^53DPZPHI3X1863293EKFGEKGF3DPZEH3                               51831933O523J56813                       [\33EE3KE3               PQEQEKPK3PQEQEKG3 PQEQEKPK3 PQEQEKG3R3                  3 R33333ESS3R3ESS3 NTU3              NTU3                4V3
   53M15^53DPZPHI3X1863293EKFGEKGF3DPZEH3                               51831933O523J56813                       [\33EE3KE3               PQEQEKG3PQEQEKGE3 PQEQEKG3 PQEQEKGE3R3                  3 R33333ESS3R3ESS3 NTU3              NTU3                4V3
   53M15^53DPZPHI3X1863293EKFGEKGF3DPZEH3                               51831933O523J56813                       [\33EE3KE3               PQEQEKGE3PQEQEKGF3 PQEQEKGE3 PQEQEKGF3R3                  3 R33333ESS3R3ESS3 NTU3              NTU3                4V3
   53M15^53DPZPHI3[2123b6863EKGFFEE3DPZH3                             51831933O523J56813                       ]J3FE3FF3EZ3               EQEQEKG3 EQEQEKGP3 EQEQEKG3 EQEQEKGP3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
   53M15^53DPZPHI3[2123b6863EKGFFEE3DPZH3                             51831933O523J56813                       ]J3FE3FZ3G3               EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3                    3 R33333333S3 R3333S3 NTU3           NTU3                4V3
   53M15^53DPZPHI3[2123b6863EKGFFEE3DPZH3                             J56813X5183193                            _ EFGKZ3                  EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R333333ESS3R33333ESS3R3ESS3 NTU3                  NTU3                4V3
   53M15^53DPZPHI3[2123b6863EKGFFEE3DPZH3                             O12613N63C653518319334622^5S34J3   \V3EFFFPZ3                 EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
   53M15^53DPZPHI3[2123b6863EKGFFEE3DPZH3                             J56813X5183193                            _ EFGKZ3                  EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R333333ESS3R33333333S3 R3333S3 NTU3               NTU3                4V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        ]JPLFLK3                EEQELQEKP3EEQELQEKP3 EEQELQEKP3EEQELQEKP3R3                3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        NTU3                  EEQELQEKP3EEQELQEKPP3 EEQELQEKP3EEQELQEKPP3R3                3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        NTU3                  EEQELQEKPP3EEQELQEKPG3 EEQELQEKPP3EEQELQEKPG3R3                3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        NTU3                  EEQELQEKPG3EEQELQEKPL3 EEQELQEKPG3EEQELQEKPL3R3                3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        NTU3                  EEQELQEKPL3ZQEPQEKPK3 EEQELQEKPL3 ZQEPQEKPK3R3                 3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        ZELLZ3                  ZQEPQEKPK3ZQEPQEKG3 ZQEPQEKPK3 ZQEPQEKG3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        ZEGPFE3                  ZQEPQEKGE3ZQEPQEKGF3 ZQEPQEKGE3 ZQEPQEKGF3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        ZELLZ3                  ZQEPQEKGF3PQFQEKGF3 ZQEPQEKGF3 PQFQEKGF3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                                          GELPFFP3PQFQEKGF3PQFQEKGZ3 PQFQEKGF3 PQFQEKGZ3R3                   3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       NTU3                                                F aZFGE3                 FQFQEKG3EQEQEKG3 FQFQEKG3 EQEQEKG3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       _15913J56813]513]53                        F 0KG3                 EQEQEKG3EQEQEKGP3 EQEQEKG3 EQEQEKGP3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       O12613N63C653518319334622^5S34J3   \VEFE3GZ3GZ3                EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       J56813X5183193                            _ EFGKZ3                  EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R333333ESS3R33333ESS3R3ESS3 NTU3                  NTU3                4V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       O12613N63C653518319334622^5S34J3   \V3EFFF3                 EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
   53X6753DGLHI3 53X6753EKG3DGLH3                                       J56813X5183193                            _ EFGKZ3                  EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R333333ESS3R33333333S3 R3333S3 NTU3               NTU3                4V3
   53X6753DGLHI356629O83EKFEKG3DPH3                                   _15913J56813]513]53                        ZELELZFZ3                  ZQEPQEKPK3ZQEPQEKG3 ZQEPQEKPK3 ZQEPQEKG3R3                  3       NTU3           NTU3 NTU3               NTU3                [V3
   53X6753DGLHI356629O83EKFEKG3DPH3                                   _15913J56813]513]53                        ZEGELEK3                  ZQEPQEKG3ZQEPQEKGE3 ZQEPQEKG3 ZQEPQEKGE3R3                  3 R33333333ES3 R3333ES3 NTU3           NTU3                4V3
 6U1253DKPHI36U1253DKPH3                                                 51831933O523J56813                       \33EG33                 EQEQEKPP3 EQEQEKPG3 EQEQEKPP3 EQEQEKPG3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
 6U1253DKPHI36U1253DKPH3                                                 51831933O523J56813                       J\EGLL3                   EQEQEKPG3 EQEQEKPL3 EQEQEKPG3 EQEQEKPL3R3                    3 R33333333ES3 R3333ES3 NTU3           NTU3                4V3
 6U1253DKPHI36U1253DKPH3                                                 51831933O523J56813                       J\EGLL3                   EQEQEKPL3 EQEQEKPK3 EQEQEKPL3 EQEQEKPK3R3                    3 R33333333ES3 R3333ES3 NTU3           NTU3                4V3
 6U1253DKPHI36U1253DKPH3                                                 51831933O523J56813                       J\EGLL3                   EQEQEKPK3 EQEQEKG3 EQEQEKPK3 EQEQEKG3R3                    3 R33333333ES3 R3333ES3 NTU3           NTU3                4V3
 6U1253DKPHI36U1253DKPH3                                                 51831933O523J56813                       NTU3                    EQEQEKGE3 EQEQEKGF3 EQEQEKGE3 EQEQEKGF3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
 6U1253DKPHI36U1253DKPH3                                                 51831933O523J56813                       NTU3                    EQEQEKGF3 EQEQEKGZ3 EQEQEKGF3 EQEQEKGZ3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
 6U1253DKPHI36U1253DKPH3                                                 51831933O523J56813                       NTU3                    EQEQEKGZ3 EQEQEKG3 EQEQEKGZ3 EQEQEKG3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
 6U1253DKPHI36U1253DKPH3                                                 51831933O523J56813                       NTU3                    EQEQEKG3 EQEQEKG3 EQEQEKG3 EQEQEKG3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
 6U1253DKPHI36U1253DKPH3                                                 OU3M1 6535183193                          NTU3                    EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
 6U1253DKPHI36U1253DKPH3                                                 O12613N63C653518319334622^5S34J3   \VEFE3GZ3E3                EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
 6U1253DKPHI36U1253DKPH3                                                 J56813X5183193                            _ EFGKZ3                  EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R333333ESS3R33333ESS3R3ESS3 NTU3                  NTU3                4V3
 6U1253DKPHI36U1253DKPH3                                                 OU3M1 6535183193                          NTU3                    EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
 6U1253DKPHI36U1253DKPH3                                                 O12613N63C653518319334622^5S34J3   \V3EFFFZF3                 EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R3 S3R33333ESS3R3ESS3 NTU3                        NTU3                4V3
 6U1253DKPHI36U1253DKPH3                                                 J56813X5183193                            _ EFGKZ3                  EQEQEKGG3 EQEQEKGL3 EQEQEKGG3 EQEQEKGL3R333333ESS3R33333333S3 R3333S3 NTU3               NTU3                4V3
 511212683DLFHI3511212683EKZ3DLFH3                                      J56813C5635183J 861263                   NTU3                    EQEQEKG3 EQEQEKGP3 EQEQEKG3 EQEQEKGP3R3                    3       NTU3           NTU3 NTU3               NTU3                [V3
 511212683DLFHI3511212683EKZ3DLFH3                                      J56813C5635183J 861263                   NTU3                    EQEQEKGP3 EQEQEKGG3 EQEQEKGP3 EQEQEKGG3R3                    3 R33333333S3 R3333S3 NTU3           NTU3                [V3



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01213456718933 638238216356712365126
                                                    3
                                                                          Case 20-10343-LSS                                  Doc 10296                 Filed 09/06/22
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                                  !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                    !0##*$#'                          -(+*)1'2"34$#'     5&0#&'60&$' 7%.'60&$' !("%)*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                         60&$'         60&$'
 511212683CDEFGH3511212683IJ3CDEFG3                                   K12613L63M653518319334622N5O34P3   QRF3SJ3IJ3               TTISU3 TTISS3 TTISU3 TTISS3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 511212683CDEFGH3511212683IJ3CDEFG3                                   P56813Y5183193                            Z EFSIJ3                 TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                   LWX3                4R3
 511212683CDEFGH3511212683IJ3CDEFG3                                   P56813M5635183P 861263                   LWX3                   TTISS3 TTISD3 TTISS3 TTISD3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 511212683CDEFGH3511212683IJ3CDEFG3                                   K12613L63M653518319334622N5O34P3   QR3FFEFF3                TTISS3 TTISD3 TTISS3 TTISD3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 511212683CDEFGH3511212683IJ3CDEFG3                                   P56813Y5183193                            Z EFSIJ3                 TTISS3 TTISD3 TTISS3 TTISD3V333333OEEOEEEEE3V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3                LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      51831933K523P56813                       [Q3JI3                TTIUU3TTIUS3 TTIUU3 TTIUS3V3                   3 V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3           LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      51831933K523P56813                       [Q3JI3                TTIUS3TTIUD3 TTIUS3 TTIUD3V3                   3 V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3           LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      51831933K523P56813                       [Q3JI3                TTIUD3TTIUI3 TTIUD3 TTIUI3V3                   3 V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3           LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      51831933K523P56813                       [Q333ID3              TTIUI3TTISE3 TTIUI3 TTISE3V3                   3 V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3           LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      51831933K523P56813                       [Q333ID3              TTISE3TTIS3 TTISE3 TTIS3V3                   3 V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3           LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      51831933K523P56813                       [Q333ID3              TTIS3TTISF3 TTIS3 TTISF3V3                   3 V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3           LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      262135183193                           Q43SUS3                 TTISU3 TTISS3 TTISU3 TTISS3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 W1N1283P513CGH3W1N1283P513CG3                                      K12613L63M653518319334622N5O34P3   QRF3UI3F3               TTISU3 TTISS3 TTISU3 TTISS3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      P56813Y5183193                            Z EFSIJ3                 TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                   LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      LWX3                                                LWX3                   TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3 LWX3                     LWX3 LWX3               LWX3                [R3
 W1N1283P513CGH3W1N1283P513CG3                                      262135183193                           LWX3                   TTISS3 TTISD3 TTISS3 TTISD3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 W1N1283P513CGH3W1N1283P513CG3                                      K12613L63M653518319334622N5O34P3   QR3FIDUF3                TTISS3 TTISD3 TTISS3 TTISD3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 W1N1283P513CGH3W1N1283P513CG3                                      P56813Y5183193                            Z EFSIJ3                 TTISS3 TTISD3 TTISS3 TTISD3V333333OEEOEEEEE3V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3                LWX3                4R3
 815513CFGH3815513CFG3                                                LWX3                                                LWX3                   TTISJ3 TTIS3 TTISJ3 TTIS3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 815513CFGH3815513CFG3                                                LWX3                                                LWX3                   TTISU3 TTISS3 TTISU3 TTISS3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 815513CFGH3815513CFG3                                                K12613L63M653518319334622N5O34P3   QRF3S3DU3               TTISU3 TTISS3 TTISU3 TTISS3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 815513CFGH3815513CFG3                                                P56813Y5183193                            Z EFSIJ3                 TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                   LWX3                4R3
 815513CFGH3815513CFG3                                                LWX3                                                LWX3                   TTISS3 TTISD3 TTISS3 TTISD3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 815513CFGH3815513CFG3                                                K12613L63M653518319334622N5O34P3   QR3FFEEJI3                TTISS3 TTISD3 TTISS3 TTISD3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 815513CFGH3815513CFG3                                                P56813Y5183193                            Z EFSIJ3                 TTISS3 TTISD3 TTISS3 TTISD3V333333OEEOEEEEE3V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3                LWX3                4R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   ITTI3 ITTIU3 ITTI3 ITTIU3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   ITTIU3 ITTIS3 ITTIU3 ITTIS3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   ITTIS3 ITTID3 ITTIS3 ITTID3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   ITTID3 ITTII3 ITTID3 ITTII3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   ITTII3 ITTIE3 ITTII3 ITTIE3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   ITTIE3 ITTI3 ITTIE3 ITTI3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   ITTI3 ITTIF3 ITTI3 ITTIF3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   ITTIF3 TTIJ3 ITTIF3 TTIJ3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                   TTIJ3 TTI3 TTIJ3 TTI3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTI3TDTI3 TDTI3 TDTI3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTI3TDTIU3 TDTI3 TDTIU3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIU3TDTIS3 TDTIU3 TDTIS3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIS3TDTID3 TDTIS3 TDTID3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTID3TDTII3 TDTID3 TDTII3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTII3TDTIUE3 TDTII3 TDTIUE3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIUE3TDTIU3 TDTIUE3 TDTIU3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIU3TDTIUF3 TDTIU3 TDTIUF3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIUF3TDTIUJ3 TDTIUF3 TDTIUJ3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIUJ3TDTIU3 TDTIUJ3 TDTIU3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIU3TDTIU3 TDTIU3 TDTIU3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIU3TDTIUU3 TDTIU3 TDTIUU3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIUU3TDTIUS3 TDTIUU3 TDTIUS3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIUS3TDTIUD3 TDTIUS3 TDTIUD3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIUD3TDTIUI3 TDTIUD3 TDTIUI3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIUI3TDTISE3 TDTIUI3 TDTISE3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTISE3TDTIS3 TDTISE3 TDTIS3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  LWX3                                                LWX3                  TDTIS3 TTISF3 TDTIS3 TTISF3V3                    3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  K12613L63M653518319334622N5O34P3   QRF3S3SE3               TTISU3 TTISS3 TTISU3 TTISS3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  P56813Y5183193                            Z EFSIJ3                 TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                   LWX3                4R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  K12613L63M653518319334622N5O34P3   QR3FFEEFJ3                TTISS3 TTISD3 TTISS3 TTISD3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3P6518W3IFFEEU3CJIG3                                  P56813Y5183193                            Z EFSIJ3                 TTISS3 TTISD3 TTISS3 TTISD3V333333OEEOEEEEE3V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3                LWX3                4R3
 X63Y6753CJUGH3M523\513IFJIUJ3CJUG3                                 LWX3                                                LWX3                  ITFDTIUE3ITFDTIU3 ITFDTIUE3 ITFDTIU3V3                   3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3M523\51L83[13IUJIS3CJUG3                        LWX3                                                LWX3                   TTIUF3 TTIUJ3 TTIUF3 TTIUJ3V3                     3 V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3           LWX3                [R3
 X63Y6753CJUGH3M523\51L83[13IUJIS3CJUG3                        LWX3                                                LWX3                   TTIUJ3 TTIU3 TTIUJ3 TTIU3V3                     3 V33333333JEEOEEEEE3 V3333JEEOEEEEE3 LWX3           LWX3                [R3
 X63Y6753CJUGH3M523\51L83[13IUJIS3CJUG3                        LWX3                                                LWX3                   TTIU3 TTIU3 TTIU3 TTIU3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3M523\51L83[13IUJIS3CJUG3                        [23413M65313Z15635183193              LWX3                   TTIS3 TTISF3 TTIS3 TTISF3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3]7553623ISIIE3CJUG3                            LWX3                                                LWX3                   TTISF3 TTISJ3 TTISF3 TTISJ3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3]7553623ISIIE3CJUG3                            LWX3                                                LWX3                   TTISF3 TTISJ3 TTISF3 TTISJ3V3 EEOEEEEE3 LWX3                           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3]7553623ISIIE3CJUG3                            K12613L63M653518319334622N5O34P3   QRF3S3U3               TTISU3 TTISS3 TTISU3 TTISS3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3]7553623ISIIE3CJUG3                            P56813Y5183193                            Z EFSIJ3                 TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                   LWX3                4R3
 X63Y6753CJUGH3]7553623ISIIE3CJUG3                            K12613L63M653518319334622N5O34P3   QR3FFEED3                TTISS3 TTISD3 TTISS3 TTISD3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3]7553623ISIIE3CJUG3                            P56813Y5183193                            Z EFSIJ3                 TTISS3 TTISD3 TTISS3 TTISD3V333333OEEOEEEEE3V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3                LWX3                4R3
 X63Y6753CJUGH3Z 6813IFSIID3CJSDG3                                     K12613L63M653518319334622N5O34P3   QRF3S3D3               TTISU3 TTISS3 TTISU3 TTISS3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3Z 6813IFSIID3CJSDG3                                     P56813Y5183193                            Z EFSIJ3                 TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                   LWX3                4R3
 X63Y6753CJUGH3Z 6813IFSIID3CJSDG3                                     K12613L63M653518319334622N5O34P3   QR3FFEE3                TTISS3 TTISD3 TTISS3 TTISD3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3Z 6813IFSIID3CJSDG3                                     P56813Y5183193                            Z EFSIJ3                 TTISS3 TTISD3 TTISS3 TTISD3V333333OEEOEEEEE3V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3                LWX3                4R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             ^15253P88623136293193                E33JEIFJ3               TTISF3 TTISJ3 TTISF3 TTISJ3V3                     3 V33333333JEEOEEEEE3 V3333JEEOEEEEE3 LWX3           LWX3                [R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             ^15253P88623136293193                E33JSU3               TTISF3 TTISJ3 TTISF3 TTISJ3V3                     3 V33333333JEEOEEEEE3 V3333JEEOEEEEE3 LWX3           LWX3                [R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             ^15253P88623136293193                E3^L3JEEUU3            FTTISF3FTTISJ3 FTTISF3FTTISJ3V3 JEEOEEEEE3V33333FOEEEOEEEEE3V3FOEEEOEEEEE3 LWX3                     LWX3                4R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             ^15253P88623136293193                E3^L3JEEUU3            FTTISJ3FTTIS3 FTTISJ3FTTIS3V3 JEEOEEEEE3V33333FOEEEOEEEEE3V3FOEEEOEEEEE3 LWX3                     LWX3                4R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             ^15253P88623136293193                E3^L3JEEUU3            FTTIS3FTTIS3 FTTIS3FTTIS3V3 JEEOEEEEE3V33333FOEEEOEEEEE3V3FOEEEOEEEEE3 LWX3                     LWX3                4R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             K12613L63M653518319334622N5O34P3   QRF3S3I3               TTISU3 TTISS3 TTISU3 TTISS3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             P56813Y5183193                            Z EFSIJ3                 TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                   LWX3                4R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             K12613L63M653518319334622N5O34P3   QR3FFEEE3                TTISS3 TTISD3 TTISS3 TTISD3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3[151213293IFIIE3CUDG3                             P56813Y5183193                            Z EFSIJ3                 TTISS3 TTISD3 TTISS3 TTISD3V333333OEEOEEEEE3V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3                LWX3                4R3
 X63Y6753CJUGH3[882193293IFUII3CJIIG3                           K12613L63M653518319334622N5O34P3   QRF3S3S3               TTISU3 TTISS3 TTISU3 TTISS3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3[882193293IFUII3CJIIG3                           P56813Y5183193                            Z EFSIJ3                 TTISU3 TTISS3 TTISU3 TTISS3V333333OEEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                   LWX3                4R3
 X63Y6753CJUGH3[882193293IFUII3CJIIG3                           K12613L63M653518319334622N5O34P3   QR3FFEEFS3                TTISS3 TTISD3 TTISS3 TTISD3V3 EEOEEEEE3V33333OEEEOEEEEE3V3OEEEOEEEEE3 LWX3                         LWX3                4R3
 X63Y6753CJUGH3[882193293IFUII3CJIIG3                           P56813Y5183193                            Z EFSIJ3                 TTISS3 TTISD3 TTISS3 TTISD3V333333OEEOEEEEE3V33333333EEOEEEEE3 V3333EEOEEEEE3 LWX3                LWX3                4R3
 X63Y6753CJUGH3[653_6613̀ 3IJSIIE3CJSSG3                          LWX3                                                LWX3                   TTIU3 TTIS3 TTIU3 TTIS3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3[653_6613̀ 3IJSIIE3CJSSG3                          LWX3                                                LWX3                   TTIS3 TTID3 TTIS3 TTID3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3
 X63Y6753CJUGH3[653_6613̀ 3IJSIIE3CJSSG3                          LWX3                                                LWX3                   TTID3 TTII3 TTID3 TTII3V3                     3       LWX3           LWX3 LWX3               LWX3                [R3



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                                   !"##$%&'!("%)*+,'-#$.$)$//(#'!("%)*+'                                   !0##*$#'                           -(+*)1'2"34$#' 5&0#&'60&$' 7%.'60&$' !("% )*+'5&0#&'!("%)*+'7%.' 8&&0)93$%&'-(*%&' :))"##$%)$';*3*&' ;01$#';*3*&' 8<<#$<0&$';*3*&' 5$="0+'84"/$'7=)+"/*(%' 7>*.$%)$'?-7@57AB'
                                                                                                                                                                                       60&$'         60&$'
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNN3 MSMSMNGP3 MSMSMNN3 MSMSMNGP3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNGP3 MSMSMNGM3 MSMSMNGP3 MSMSMNGM3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNGM3 MSMSMNG3 MSMSMNGM3 MSMSMNG3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNG3 MSMSMNGF3 MSMSMNG3 MSMSMNGF3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNGF3 MSMSMNG3 MSMSMNGF3 MSMSMNG3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNG3 MSMSMNG3 MSMSMNG3 MSMSMNG3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNG3 MSMSMNGG3 MSMSMNG3 MSMSMNGG3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNGG3 MSMSMNGO3 MSMSMNGG3 MSMSMNGO3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNGO3 MSMSMNGV3 MSMSMNGO3 MSMSMNGV3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNGV3 MSMSMNGN3 MSMSMNGV3 MSMSMNGN3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNGN3 MSMSMNOP3 MSMSMNGN3 MSMSMNOP3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNOP3 MSMSMNOM3 MSMSMNOP3 MSMSMNOM3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           QRC3                                                QRC3                   MSMSMNOM3 MSMSMNO3 MSMSMNOM3 MSMSMNO3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           W12613Q63X653518319334622Y5Z34[3   \UMM3OM3N3               MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T3 PPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                      QRC3                4U3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           [56813D5183193                            ] MPONF3                 MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T333333MZPPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                QRC3                4U3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           W12613Q63X653518319334622Y5Z34[3   \U3MPPM3                MSMSMNOO3 MSMSMNOV3 MSMSMNOO3 MSMSMNOV3T3 PPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                      QRC3                4U3
 C63D6753EFGHI3J653K6613L 3MNFOMNNP3EFOOH3                           [56813D5183193                            ] MPONF3                 MSMSMNOO3 MSMSMNOV3 MSMSMNOO3 MSMSMNOV3T333333MZPPZPPPPP3T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3             QRC3                4U3
 C63D6753EFGHI3Q83J13MNOMNGF3EPNH3                                    QRC3                                                QRC3                   MSMSMN3 MSMSMNF3 MSMSMN3 MSMSMNF3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63^193EVFHI3153^193[513MNFOMNGN3EVH3                           51831933W523[56813                       J\3FVN3                GSPSMNGG3GSPSMNGO3 GSPSMNGG3 GSPSMNGO3T3                3 T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3           QRC3                4U3
 C63^193EVFHI3153^193[513MNFOMNGN3EVH3                           51831933W523[56813                       J\GM3                 GSPSMNGO3GSPSMNGV3 GSPSMNGO3 GSPSMNGV3T3                3 T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3           QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      51831933W523[56813                       J\3GF3                MPSMSMNGO3MPSMSMNGV3 MPSMSMNGO3 MPSMSMNGV3T3                3       QRC3           QRC3 QRC3               QRC3                JU3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      51831933W523[56813                       J\3GG3                MPSMSMNGV3MPSMSMNGN3 MPSMSMNGV3 MPSMSMNGN3T3                3 T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3           QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      51831933W523[56813                       J\33G33              MPSMSMNGN3MPSMSMNOP3 MPSMSMNGN3 MPSMSMNOP3T3                3 T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3           QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      51831933W523[56813                       J\3GOF3                MPSMSMNOP3MPSMSMNOM3 MPSMSMNOP3 MPSMSMNOM3T3                3 T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3           QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      51831933W523[56813                       _[3MM3VP3G3             MPSMSMNOM3MPSMSMNO3 MPSMSMNOM3 MPSMSMNO3T3                3 T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3           QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      51831933W523[56813                       _[3MF3GM3P3             MPSMSMNO3 MSMSMNOF3 MPSMSMNO3 MSMSMNOF3T3                 3 T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3           QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      WC3̀1 6535183193                          QRC3                   MSMSMNO3 MSMSMNOG3 MSMSMNO3 MSMSMNOG3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      W12613Q63X653518319334622Y5Z34[3   \UMM3OM3PP3               MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T3 PPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                      QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      [56813D5183193                            ] MPONF3                 MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T333333MZPPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      W12613Q63X653518319334622Y5Z34[3   \U3MPMP3                MSMSMNOO3 MSMSMNOV3 MSMSMNOO3 MSMSMNOV3T3 PPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                      QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                      [56813D5183193                            ] MPONF3                 MSMSMNOO3 MSMSMNOV3 MSMSMNOO3 MSMSMNOV3T333333MZPPZPPPPP3T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3             QRC3                4U3
 C63^193EVFHI3C63^193MNGN3EVFH3                                       517536293193                             GGPVXGFPVaXNP3          SMSMNNP3 SMSMNNM3 SMSMNNP3 SMSMNNM3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
^2513293EOHI3^2513293EOH3                                      51831933W523[56813                       J\3bbbOV3                SFSMNG3SFSMNGG3 SFSMNG3 SFSMNGG3T3                3       QRC3           QRC3 QRC3               QRC3                JU3
^2513293EOHI3^2513293EOH3                                      51831933W523[56813                       J\3bbbOV3                SFSMNGG3SFSMNGO3 SFSMNGG3 SFSMNGO3T3                3       QRC3           QRC3 QRC3               QRC3                JU3
^2513293EOHI3^2513293EOH3                                      51831933W523[56813                       J\3bbbOV3                SFSMNGO3SFSMNGV3 SFSMNGO3 SFSMNGV3T3                3       QRC3           QRC3 QRC3               QRC3                JU3
^2513293EOHI3^2513293EOH3                                      51831933W523[56813                       J\3GNFV3                SFSMNGV3SFSMNGN3 SFSMNGV3 SFSMNGN3T3                3 T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3              QRC3                4U3
^2513293EOHI3^2513293EOH3                                      51831933W523[56813                       J\3GNFV3                SFSMNGN3SFSMNOP3 SFSMNGN3 SFSMNOP3T3                3 T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3              QRC3                4U3
^2513293EOHI3^2513293EOH3                                      51831933W523[56813                       J\3GNFV3                SFSMNOP3SFSMNOM3 SFSMNOP3 SFSMNOM3T3                3 T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3              QRC3                4U3
^2513293EOHI3^2513293EOH3                                      51831933W523[56813                       J\3MF3                SFSMNOM3SFSMNO3 SFSMNOM3 SFSMNO3T3                3 T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3              QRC3                4U3
^2513293EOHI3^2513293EOH3                                      WC3̀1 6535183193                          QRC3                   MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
^2513293EOHI3^2513293EOH3                                      W12613Q63X653518319334622Y5Z34[3   \UMM3GN3N3               MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T3 PPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                      QRC3                4U3
^2513293EOHI3^2513293EOH3                                      [56813D5183193                            ] MPONF3                 MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T333333MZPPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                QRC3                4U3
^2513293EOHI3^2513293EOH3                                      WC3̀1 6535183193                          _[3FFF3                MSMSMNOO3 MSMSMNOV3 MSMSMNOO3 MSMSMNOV3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
^2513293EOHI3^2513293EOH3                                      [Y1 1535183193                             QRC3                   MSMSMNOO3 MSMSMNOV3 MSMSMNOO3 MSMSMNOV3T3 PZPPPPP3T33333333PZPPPPP3 T3333PZPPPPP3 QRC3                    QRC3                JU3
^2513293EOHI3^2513293EOH3                                      W12613Q63X653518319334622Y5Z34[3   \U3MMNVOV3                MSMSMNOO3 MSMSMNOV3 MSMSMNOO3 MSMSMNOV3T3 PPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                      QRC3                4U3
^2513293EOHI3^2513293EOH3                                      [56813D5183193                            ] MPONF3                 MSMSMNOO3 MSMSMNOV3 MSMSMNOO3 MSMSMNOV3T333333MZPPZPPPPP3T33333333PPZPPPPP3 T3333PPZPPPPP3 QRC3             QRC3                4U3
^53̀63EVHI3^53̀63EVH3                                          WC3̀1 6535183193                                             GPPFG3 GSMSMNG3 GSMSMNGG3 GSMSMNG3 GSMSMNGG3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
^53̀63EVHI3^53̀63EVH3                                          WC3̀1 6535183193                                             GPPFG3 GSMSMNGG3 GSMSMNGO3 GSMSMNGG3 GSMSMNGO3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
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^53̀63EVHI3^53̀63EVH3                                          WC3̀1 6535183193                          QRC3                   GSMSMNOF3 GSMSMNO3 GSMSMNOF3 GSMSMNO3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
^53̀63EVHI3^53̀63EVH3                                          WC3̀1 6535183193                          QRC3                   GSMSMNO3 MSMSMNO3 GSMSMNO3 MSMSMNO3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
^53̀63EVHI3^53̀63EVH3                                          WC3̀1 6535183193                          QRC3                   MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T3                  3       QRC3           QRC3 QRC3               QRC3                JU3
^53̀63EVHI3^53̀63EVH3                                          W12613Q63X653518319334622Y5Z34[3   \UMM3GN3F3               MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T3 PPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                      QRC3                4U3
^53̀63EVHI3^53̀63EVH3                                          [56813D5183193                            ] MPONF3                 MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T333333MZPPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                QRC3                4U3
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^656613̀1C1253EOGFHI3J2C13L18R3[513PMN3EOGFH3                    [56813D5183193                            ] MPONF3                 MSMSMNOG3 MSMSMNOO3 MSMSMNOG3 MSMSMNOO3T333333MZPPZPPPPP3T33333MZPPPZPPPPP3T3MZPPPZPPPPP3 QRC3                QRC3                4U3
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C03D983EFGHI3C03D983FNQ3EFGH3                                      RX3Z1 6535183193                          WLX3                   FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C03D983EFGHI3C03D983FNQ3EFGH3                                      R12613W63[653518319334622\5V34M3   DYFOF3QS3OO3               FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C03D983EFGHI3C03D983FNQ3EFGH3                                      M56813K5183193                            ] FSOQN3                 FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U333333FVSSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                   WLX3                4Y3
C03D983EFGHI3C03D983FNQ3EFGH3                                      RX3Z1 6535183193                          WLX3                   FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C03D983EFGHI3C03D983FNQ3EFGH3                                      R12613W63[653518319334622\5V34M3   DY3FOFNNPG3                FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C03D983EFGHI3C03D983FNQ3EFGH3                                      M56813K5183193                            ] FSOQN3                 FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U333333FVSSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                WLX3                4Y3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          M2131129313J5293193                       WLX3                   FTFTFNP3 FTFTFNP3 FTFTFNP3 FTFTFNP3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          M56813112931933K16V34971613       43NS3S3P3             FTFTFNQO3 FTFTFNQ3 FTFTFNQO3 FTFTFNQ3U3                     3 U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3           WLX3                4Y3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          2621311293193                            WLX3                   FTFTFNQ3 FTFTFNQ3 FTFTFNQ3 FTFTFNQ3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          2621311293193                            43FNF3S3G3             FTFTFNQ3 FTFTFNQP3 FTFTFNQ3 FTFTFNQP3U3                     3 U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3           WLX3                4Y3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          2621311293193                            K0W3NNNGGG3               FTFTFNQ3 FTFTFNQP3 FTFTFNQ3 FTFTFNQP3U3 SSVSSSSS3 WLX3                           WLX3 WLX3               WLX3                JY3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          2621311293193                            43O3OO3G3             FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3                     3 U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3           WLX3                4Y3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          R12613W63[653518319334622\5V34M3   DYFOF3Q33               FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          M56813K5183193                            ] FSOQN3                 FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U333333FVSSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                   WLX3                4Y3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          R12613W63[653518319334622\5V34M3   DY3FOOSSGG3                FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          M56813K5183193                            ] FSOQN3                 FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U333333FVSSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                WLX3                4Y3
C1 6235 63EQQQHI3D8L3293FNOQOSF3EQQQH3                          ]1591311293193                               WLX3                   TFTFNQQ3 FTFTFNQG3 TFTFNQQ3 FTFTFNQG3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C125313C3[J3EQGOHI3C125313C3[J3EQGOH3                           M56813K5183193                            ] FSOQN3                 FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U333333FVSSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                   WLX3                4Y3
C125313C3[J3EQGOHI3C125313C3[J3EQGOH3                           M56813K5183193                            ] FSOQN3                 FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U333333FVSSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                WLX3                4Y3
C23 3M513ENHI3C23 3M513ENH3                               51831933R523M56813                       JD33N3G3              TONTFNPG3TONTFNPN3 TONTFNPG3 TONTFNPN3U3                   3       WLX3           WLX3 WLX3               WLX3                JY3
C23 3M513ENHI3C23 3M513ENH3                               51831933R523M56813                       JD33N33              TONTFNPN3TONTFNQS3 TONTFNPN3 TONTFNQS3U3                   3 U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3           WLX3                4Y3
C23 3M513ENHI3C23 3M513ENH3                               51831933R523M56813                       WLX3                  TONTFNQS3TONTFNQF3 TONTFNQS3 TONTFNQF3U3                   3       WLX3           WLX3 WLX3               WLX3                JY3
C23 3M513ENHI3C23 3M513ENH3                               51831933R523M56813                       WLX3                  TONTFNQF3 FTFTFNQO3 TONTFNQF3 FTFTFNQO3U3                    3       WLX3           WLX3 WLX3               WLX3                JY3
C23 3M513ENHI3C23 3M513ENH3                               R12613W63[653518319334622\5V34M3   DYFOF3Q3P3               FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C23 3M513ENHI3C23 3M513ENH3                               M56813K5183193                            ] FSOQN3                 FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U333333FVSSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                   WLX3                4Y3
C23 3M513ENHI3C23 3M513ENH3                               R12613W63[653518319334622\5V34M3   DY3FOOSOGQ3                FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C23 3M513ENHI3C23 3M513ENH3                               M56813K5183193                            ] FSOQN3                 FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U333333FVSSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                WLX3                4Y3
C23 3M513ENHI3C23 3M513ENH3                               2621311293193                            43SPPO3               TFTFNQQ3 TFTFNQG3 TFTFNQQ3 TFTFNQG3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C215L3M513EFPHI3C215L3M513EFPH3                                           RX3Z1 6535183193                          WLX3                   FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C215L3M513EFPHI3C215L3M513EFPH3                                           R12613W63[653518319334622\5V34M3   DYFOF3PN3O3               FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C215L3M513EFPHI3C215L3M513EFPH3                                           M56813K5183193                            ] FSOQN3                 FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U333333FVSSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                   WLX3                4Y3
C215L3M513EFPHI3C215L3M513EFPH3                                           RX3Z1 6535183193                          ^M3OG3                FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C215L3M513EFPHI3C215L3M513EFPH3                                           R12613W63[653518319334622\5V34M3   DY3FOFNGQO3                FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C215L3M513EFPHI3C215L3M513EFPH3                                           M56813K5183193                            ] FSOQN3                 FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U333333FVSSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                WLX3                4Y3
C2533M3293EFHI3^5123C253FNQOFNG3EFH3                     RX3Z1 6535183193                          WLX3                   FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C2533M3293EFHI3^5123C253FNQOFNG3EFH3                     R12613W63[653518319334622\5V34M3   DYFOF3PN3G3               FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C2533M3293EFHI3^5123C253FNQOFNG3EFH3                     M56813K5183193                            ] FSOQN3                 FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U333333FVSSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                   WLX3                4Y3
C2533M3293EFHI3^5123C253FNQOFNG3EFH3                     RX3Z1 6535183193                          WLX3                   FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U3                     3       WLX3           WLX3 WLX3               WLX3                JY3
C2533M3293EFHI3^5123C253FNQOFNG3EFH3                     R12613W63[653518319334622\5V34M3   DY3FOFNNSP3                FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
C2533M3293EFHI3^5123C253FNQOFNG3EFH3                     M56813K5183193                            ] FSOQN3                 FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U333333FVSSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                WLX3                4Y3
C2533M3293EFHI3J13[513_193FNOFNQO3ESH3              `56835183193                                 GSNNN3                  QTFNTFNPS3QTFNTFNPF3 QTFNTFNPS3 QTFNTFNPF3U3                   3       WLX3           WLX3 WLX3               WLX3                JY3
C2533M3293EFHI3J13[513_193FNOFNQO3ESH3              51831933R523M56813                       JD33F3SP3               QTFTFNQS3 QTFTFNQF3 QTFTFNQS3 QTFTFNQF3U3                     3 U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3           WLX3                4Y3
C2533M3293EFHI3J13[513_193FNOFNQO3ESH3              51831933R523M56813                       a43PPFP3                  QTFTFNQS3 QTFTFNQF3 QTFTFNQS3 QTFTFNQF3U3 SSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                      WLX3                4Y3
C2533M3293EFHI3J13[513_193FNOFNQO3ESH3              51831933R523M56813                       JD33F3SP3               QTFTFNQF3 QTFTFNQO3 QTFTFNQF3 QTFTFNQO3U3                     3 U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3           WLX3                4Y3
C2533M3293EFHI3J13[513_193FNOFNQO3ESH3              51831933R523M56813                       a43PPFP3                  QTFTFNQF3 QTFTFNQO3 QTFTFNQF3 QTFTFNQO3U3 SSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                      WLX3                4Y3
C2533M3293EFHI3J13[513_193FNOFNQO3ESH3              51831933R523M56813                       JD33F3SP3               QTFTFNQO3 GTQTFNQO3 QTFTFNQO3 GTQTFNQO3U3                     3 U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3           WLX3                4Y3
C2533M3293EFHI3J13[513_193FNOFNQO3ESH3              51831933R523M56813                       a43PPFP3                  QTFTFNQO3 GTQTFNQO3 QTFTFNQO3 GTQTFNQO3U3 SSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                      WLX3                4Y3
C2533M3293EFHI3C2533M3293EFH3                   M56813K5183193                            ] FSOQN3                 FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U333333FVSSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                   WLX3                4Y3
C2533M3293EFHI3C2533M3293EFH3                   M56813K5183193                            ] FSOQN3                 FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U333333FVSSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                WLX3                4Y3
C253]1 18223EOHI3^51235163FNPNOSSG3EOH3                            M56813K5183193                            ] FSOQN3                 FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U333333FVSSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                   WLX3                4Y3
C253]1 18223EOHI3^51235163FNPNOSSG3EOH3                            M56813K5183193                            ] FSOQN3                 FTFTFNQQ3 FTFTFNQG3 FTFTFNQQ3 FTFTFNQG3U333333FVSSVSSSSS3U33333333SSVSSSSS3 U3333SSVSSSSS3 WLX3                WLX3                4Y3
C253]1 18223EOHI34653_193FNPSOSSG3EOH3                        R12613W63[653518319334622\5V34M3   DYFOF3QS3G3               FTFTFNQP3 FTFTFNQQ3 FTFTFNQP3 FTFTFNQQ3U3 SSVSSSSS3U33333FVSSSVSSSSS3U3FVSSSVSSSSS3 WLX3                         WLX3                4Y3
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                                      !""#$%&'!$()*+&,"#-#(#..'"&'!$()*&                                                            /"")#"&                              ,'*)(0&1!23#"&        4%/"%&5/%#& 6$-&5/%#& '!$()*&4%/"%& '!$()*&6$-& 7%%/(82#$%&,')$%& 9((!""#$(#&:)2)%& :/0#"&:)2)%& 7;;"#;/%#&:)2)%& 4#<!/*&73!.#&6<(*!.)'$& 6=)-#$(#&>,6?46@A&
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    B813C513DEFGH3B813C513DEFG3                                                              I12613T63Z653518319334622[5S34C3       KWLQL3EL3LN3                 LOLOLPEY3 LOLOLPEE3 LOLOLPEY3 LOLOLPEE3R3 NNSNNNNN3R33333LSNNNSNNNNN3R3LSNNNSNNNNN3 TUV3                        TUV3                4W3
    B813C513DEFGH3B813C513DEFG3                                                              C56813\5183193                                ] LNQEPM3                   LOLOLPEY3 LOLOLPEE3 LOLOLPEY3 LOLOLPEE3R333333LSNNSNNNNN3R33333LSNNNSNNNNN3R3LSNNNSNNNNN3 TUV3                  TUV3                4W3
    B813C513DEFGH3B813C513DEFG3                                                              IV3X1 6535183193                              ^C3MMQML3                  LOLOLPEE3 LOLOLPEF3 LOLOLPEE3 LOLOLPEF3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
    B813C513DEFGH3B813C513DEFG3                                                              I12613T63Z653518319334622[5S34C3       KW3LQQNLYN3                  LOLOLPEE3 LOLOLPEF3 LOLOLPEE3 LOLOLPEF3R3 NNSNNNNN3R33333LSNNNSNNNNN3R3LSNNNSNNNNN3 TUV3                        TUV3                4W3
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    B8813DEMGH3B8813DEMG3                                                                          TUV3                                                    TUV3                     LOLOLPE3 LOLOLPF3 LOLOLPE3 LOLOLPF3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
    B8813DEMGH3B8813DEMG3                                                                          TUV3                                                    TUV3                     LOLOLPF3 LOLOLPP3 LOLOLPF3 LOLOLPP3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
    B8813DEMGH3B8813DEMG3                                                                          TUV3                                                    TUV3                     LOLOLPP3 LOLOLPYN3 LOLOLPP3 LOLOLPYN3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
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    B8813DEMGH3B8813DEMG3                                                                          TUV3                                                    TUV3                     LOLOLPYL3 LOLOLPYQ3 LOLOLPYL3 LOLOLPYQ3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
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    B8813DEMGH3B8813DEMG3                                                                          TUV3                                                    TUV3                     LOLOLPY3 LOLOLPYY3 LOLOLPY3 LOLOLPYY3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
    B8813DEMGH3B8813DEMG3                                                                          TUV3                                                    TUV3                     LOLOLPYY3 LOLOLPYE3 LOLOLPYY3 LOLOLPYE3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
    B8813DEMGH3B8813DEMG3                                                                          TUV3                                                    TUV3                     LOLOLPYE3 LOLOLPYF3 LOLOLPYE3 LOLOLPYF3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
    B8813DEMGH3B8813DEMG3                                                                          TUV3                                                    TUV3                     LOLOLPYF3 LOLOLPYP3 LOLOLPYF3 LOLOLPYP3R3                    3       TUV3          TUV3 TUV3                TUV3                JW3
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    B8813DEMGH3B8813DEMG3                                                                          C56813\5183193                                ] LNQEPM3                   LOLOLPEY3 LOLOLPEE3 LOLOLPEY3 LOLOLPEE3R333333LSNNSNNNNN3R33333LSNNNSNNNNN3R3LSNNNSNNNNN3 TUV3                  TUV3                4W3
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    B8813DEMGH3B8813DEMG3                                                                          C56813\5183193                                ] LNQEPM3                   LOLOLPEE3 LOLOLPEF3 LOLOLPEE3 LOLOLPEF3R333333LSNNSNNNNN3R33333333NNSNNNNN3R3333NNSNNNNN3 TUV3                TUV3                4W3
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    234356      789 36        5465386                                 35536 56     234396
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    234356   789 36      5465386                                       35536 56     234396
    1    !1  !1" 11#$%!&1#$!1'&1(                    #$!1$!1 8 -"$!91
                       )*+" ,,$-1#(.1/"10)+1121131/"1.41+02510640+1$1
                       3151)10.7)01$1
                       1
    1    !1  !1" 11#$11                                     #$!1$!1 8 -"$!91
                       :1"1;<1'&1
                       " ,,$-1(01==1
                       510.+1$1
    1    !1  !1" 11#$1                                      #$!1$!1 8 -"$!91
                       !1#$%1'&1
                       " ,,$-1(611510.+1$1
    1    !1  !1" 11#$1.11"1#>1                         #$!1$!1 8 -"$!91
                       1!1'&?1(.)1131!1#$%1'&?1(.171
                       " ,,$-(1!$1/"1)177621
                       51)16)0001$13151.1*444.1$1
    1    !1  !1" 11#$1                                      #$!1$!1 8 -"$!91
                       #$%1'&1
                       " ,,$-(%;1
                       5160*0+1$1
    1    !1  !1" 11#$1                                      #$!1$!1 8 -"$!91
                       #$%1'&1
                       " ,,$-(#$%1?"?-1
                       510.+1$1
    1    !1  !1" 11#$1                                      #$!1$!1 8 -"$!91
                       :11;$! !1'&1(.+)1
                       " ,,$-(;$! !11311510.+1$1
    1    !1  !1" 117507441#$1                               #$!1$!1 8 -"$!91
                       +*5)01"?1:181" 1'&1().1
                       -"$-1$!1--1--1)1>.0>)7671
                       , #1 1<#811 1#1-'$1
                       " --1$!1' 51)10?1891)441
    1    !1  !1" 11#$1                                      #$!1$!1 8 -"$!91
                       # 1"##$!91'&1()0?1.111"1
    1    !1  !1" 11#$11                                     #$!1$!1 8 -"$!91
                       :1#1!"%1'&1(++1
                       <!<(,$!&1!$1@)11
                       511)0+).01$1


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    234356   789 36      5465386                                35536 56       234396
    1    !1  !1" 11#$1                               #$!1$!1   1 4"$!%1
                       # 1"##$!%1&'1()*+1,--./-01"1
                        $11 1)(21.3303,**1$1
    1    !1  !1" 11.)/0-1#$1                         #$!1$!1   1 4"$!%1
                       2%21#"5!1&'1
                       !'11.)0-1$1
    1    !1  !1" 11#$1                               #$!1$!1   1 4"$!%1
                       #'1"!%2!1&'1(/1
                        #1!$16"10700*81
                       .3)/,)0),1$1
    1    !1  !1" 11#$1                               #$!1$!1   1 4"$!%1
                       21" &$!% !1&'1(),11
                       "21#291&'(,3+1,//.//01"1
                       " '('$%1!$1)1
    1    !1  !1" 11#$1                               #$!1$!1   1 4"$!%1
                       "1:11#$21&'1(03:1
                       " 441& 10)11%1*-01
                       " ;;$4(#$21<<1!41<;<1
                       .3*0-1$1
    1    !1  !1" 11#$1                               #$!1$!1   1 4"$!%1
                       # 1"##$!%1&'1()*+17*31"1
                       5 &(1 1.3303:701$1
    1    !1  !1" 11#$1                               #$!1$!1   1 4"$!%1
                       1!1&'1(7)01=1(0)31
                       " ;;$411!$6"1)370/811)0+7:1"1
                       .3,)****1$1=1.303/77701$1
    1    !1  !1" 11#$1                               #$!1$!1   1 4"$!%1
                       1!1&'1(0)3+1,3.0-1"1
                       " ;;$41<<11"1)30001
                       .3,)****1$11=1.303/77701$1
    1    !1  !1" 111#$1                              #$!1$!1   1 4"$!%1
                       .1!1&'1(0)31
                       " ;;$416"1,7:381!11
                       .3,)****1$1=1.303/77701$1
    1    !1  !1" 11#$.1!1&'1(0)3" ;;$41<<1 #$!1$!1   1 4"$!%1
                       6"13,7:*8.3,)****1$1=1.303/77701$1


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    234356   789 36      5465386                                    35536 56       234396
    1    !1  !1" 11#$1                                   #$!1$!1   8 /"$!91
                       1!1%&1'()*+1,-1"1
                       " ..$/1011"(,2341"1,5-31
                       6*,)----1$1716*(*0555(1$1
    1    !1  !171#$#1" 11#$1                           #$!1$!1   8 /"$!91
                       !1%&1'(2(1
                       :!&1#$!1%&1')(3;1,*1"1
                       " ..$/1'"'11"1*,55(41
                       6*,)----$1716*(*0555(1$1
    1    !1  !1" 11#$1                                   #$!1$!1   8 /"$!91
                       1!1%&1'()*+1,*1"1
                       :1:1" ..$/11"1*5<2<41
                       6*,)----$1716*5))-0((1$1
    1    !1  !1" 111#$1                                  #$!1$!1   8 /"$!91
                       1!1%&1'()*1
                       " ..$/1(<1!$1
                       6*,)----1$1716*(*0555(1$1
    1    !1  !1" 11#$11                                  #$!1$!1   8 /"$!91
                       5<6(1"1$!911"1.1!/1111
                         .1:161!1%&;1'()*11"1)*,,-41
                       " ..$/1=9=16*,)----1$1716*(*0555(1$1
    1   "/01 "/01" 11)>5(1$1                               %$/$!91         8 /"$!91
                       5*1"1$!1:19 !1:$!/19;1')51             &&1
                       $1!$11%$1$!416*(*0555(1?16**(-*<--1
    1   ": @1 ": @1" 11#$1                                   #$!1$!1   8 /"$!91
                       :/ !1%&171%$1A /!1%&1
                       !/1A61:61# !9;1'-<1
                       $1/610:$#!1B(116***)0-*-1$1
    1   ": @1 ": @1" 11#$1                                   #$!1$!1   8 /"$!91
                       %$1A /!191'(0;1-,<1"1
                       A11:99$!191')'1*6***)25301
                       $1
    1   "  / 1 "  / 1" 11#$1                                   #$!1$!1   8 /"$!91
                       181!/ !1%&1'3,11
                       "1$# !1%&1'3*(1
                       10/1'3<01


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    234356   789 36      5465386                                 35536 56     234396
    1   1 111!"#$%1&"&$1'(1                    '(/+1(/1 905(/:1
                       111)'*1+1,&$-0.1 #-11
                       1)'*1)+1+/011%%%2-&&1(1
                       1'(0341+/1&&%%15/(161!!7081
                       1'(0341+/1&%!%15/(1
                       1'(0341+/1-!%1
    1   013(1 013(1111&"-1'(1                             '(/+1(/1 905(/:1
                       ;'105<<1+:1,&!2.1#2$1211
                       11)<11%&%&$$1(1
    1   013(1 013(11171!"&%21(1                          4+41(/1 905(/:1
                       ;'1'41&"1+:.1&%211
                       +01109)1&%%=1*+31+>13++1
                       )//1&).1#).12)111%%%-0&--1(1
    1   0(''(1   0(''(111&"21'(1                              '(/+1(/1 905(/:1
                       1!71+1-1*+1#15*0111
                       ?/1>41,7!-.1%11
    1   0(''(1   0(''(111/9(1                                4+41(/1 905(/:1
                       1&%1?1!%#.1&&2$1!11
                       41'(1
    1   0(''(1   0(''(111&"$1/9(1                            4+41(/1 905(/:1
                       171:?<1>41,&#%&1
                       0('/01)1/)1&,)1
                       1%-222221(1
    1   0(''(1   0(''(111'(1                                  '(/+1(/1 905(/:1
                         %1.11$-1+1&$1*+1#11
                       >/0>1>41,&#2-1
    1   0(''(1   0(''(111&"21'(1                              4+41(/1 905(/:1
                       +171*+1&7!1>41
                       (/1<'15*0.1#%%11
                       +171?/1"(/.31,&%771
                       *(1*1@&&1
    1   0(''(1   0(''(111/9(1                                995+1//,    905(/:1
                       17-1*+1#1?/1111                         9((9(/:1
                       <11>/0>1>4.1,&#21                        4+41(/1
    1   <41 <4111&2011                             '(/+1(/1 905(/:1
                       *1:11*5:)1>41,&#1
                       //15/(11%%#&2&&1(1


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    345467   89 47           6576497                             46647 67     34547
    2   2      2 220!"2                             :70#3270#2 5# 1'70%2
                           # $#2%&2$'%(2)2*0+,20-.22
                           / (02)01#2 #(23%2*-0+,2+-422
                           5632'072802&114092#72
    2   2      2 220!;2:72+-422                  :70#3270#2 5# 1'70%2
                           / (02)01#2 #(23%2*-0+2
                           52'072&11<90-<;#72
    2   2      2 22+-42/ (02)01#2 #(23%2*   :70#3270#2 5# 1'70%2
                           -0+6(2'072&11--"42#72
    2   2      2 220!;2:72+-422                  # 3270#2 5# 1'70%2
                           / (02)01#2 #(23%2*-0+,2
                             532'07280&110.;9-+#72
                           =#20,+2>2-?2=0-9&-+2?2
    2   2      2 22:72+-422                      # 3270#2 5# 1'70%2
                           / (02)01#2 #(23%2*-0+2
                           =#20*+1?27) #2732'07802&111+-<2#72
    2   2      2 22:72                              :70#3270#2 5# 1'70%2
                           22/227337: 02)2*00-2
                           %#02'0723280*(2
    2   2      2 22                                 :70#3270#2 5# 1'70%2
                           &2&2$6#2)2*;2
                           /5#2'072&111;.90+2#72
    2   2      2 22:72                              :70#3270#2 5# 1'70%2
                           /2%2273670 02)2*01;2
                            072$2802&109014++2#72
    2   %702       %702 22:72                               :70#3270#2 5# 1'70%2
                           2202$362*-12532)2
                           22+2$362*-1253,2
                           22"2$362(,21>22)2
                           22012$362(21>22)2
                           2522!"22!"222012
                           21#2362'072
    2   % 3712       % 3712 2220!0+205#72                       # 3270#2 5# 1'70%2
                           :&2%&2#7 2)2*.1,291&<22
                           007227232&11<."+2#72



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    234356   789 36         5465386                               35536 56     234396
    1   1        1 11!"1                                  !"1$1"11 5 %6"11
                           ##"$%101&1'1
                           ##"$%()1*+,)1-$.*1'/11
                          011%1111 *1
                          2*341*,41
                          -$.*1'/10&11 *12*1
    1    11      11 11034+1!"1                          !"1$1"11 5 %6"11
                          71-1!11"121(89/)1':'11
                          0!118);::<161=2"6161"1"1>1
    1    11      11 11034+1!"1                          !"1$1"11 5 %6"11
                          71-1!11"121(89/)1':'11
                          0!11+,::1511161
                          =2"6161"1"1>1
    1   1       1 1103091!"1                            !"1$1"11 5 %6"11
                          ;:11% $ 110?121(0+91
                          171% $$0"1$1*::;':+91"1
    1   1       1 11;3091!"1                            !"1$1"11 5 %6"11
                          '4*,;11@1510"!121(/91
                          0"$-61($$ %1A-A1$1*:'9:4'"1
    1   1       1 11103+1!"1                            !"1$1"11 5 %6"11
                          //*;117 0116%%$121(0891
                          "11?"$1$1*:0:4091"1
    1   1       1 1103/1103091!"1                      !"1$1"11 5 %6"11
                          ;'11%$ 110?121(0+91
                            112$$1# !"11
                          !."1$1@$$1*::00'//'1"1
    1   1       1 111!"1                                !"1$1"11 5 %6"11
                          1@10 5121(,'1
                          $#%17 111*::;':+991"1
    1   1       1 11!"11                                !"1$1"11 5 %6"11
                          5151"1121(';+1
                          1716$11611
                          *::/94+::1"1
    1   1       1 11!"111                               !"1$1"11 5 %6"11
                          1@10 5121(,'1
                          0"$ 010 $10)')/161
                          *:::8/8;'1"1


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    345467   89 47        6576497                               46647 67       34547
    2   2     2 22!"2                                   +)+2"02   3 45"02
                        1#$%&22'2(2)*+2,+2-./2
                        !"2! 0"120212.2
    2   ("2    ("2 2206##2206/2"22                      +)+2"02   3 45"02
                        7$%8#22%2 4"(2,+2-.0022
                        (5)42!02%880/9#2"2
    2   ("2    ("2 22!"2                                 !"0)2"02   3 45"02
                        )3(2(5**42,+2-./.22'!2(542,+2-.$022
                        : 3(2!"))2,+2
                        -&822&77%89#22
                         !*))2250"2;/2<2/&##=2
                        %88888$.#2"2
    2   (" 02 (" 02 2206072!"2                           !"0)2"02   3 45"02
                        1&122%2*%2'+2,+2-$972
                        32250"2%88.8$712
                        "2
    2   (" 02 (" 02 22$8#2: (02(5*0422-19$22'2 ,"4"02             3 45"02
                        !"(22-71722042(2,4!02-$172210>24,"2  +)+2
                        24325%888#1.2"2
    2   (04 02 (04 02 22!"2                              !"0)2"02   3 45"02
                        23(02( 02,+2-1902
                        2: (02)' 02,+2-#.#2
                        23)">250"2
    2   ( '42 ( '42 22!"2                                    !"0)2"02   3 45"02
                        2.2*)>2.#202?32,+2-#8&2
                        50422--2?2-*-2%8.#$1112"2
    2   :>2      :>2 22!"206#2                                +)+2"02   3 45"02
                        21222!20 42,+22-0.0#@22(2")(!02
                        ,+2-0$1#2
                        0-2$206122221#9222
                        2.2#822221222#2#822
                        0.7%&22)?21822
                        2, )2$9232&&$2
                        )(20-2
    2   )2       )2 220612!"2                                !"0)2"02   3 45"02
                        (5!3(+2*2,+2-12208.22
                        5"021221210%$/2?1#%$$"022
                        2.80%/92250"22"44"021)422
                         ),"02;0250"2%8897.$112"2

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                                                   012
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    345467   89 47           6576497                                     46647 67     34547
    2   2          222 !2                                           !$12!$12 "123!$42
                           "2#2#$2%&2'()*+21,-22
                           #$2.2#$2//220*0()21!2
    2   2          222 !2                                            !$12!$12 "123!$42
                           24025026!$2%&2'07,+280099922
    2   2          222 !28*22                                     !$12!$12 "123!$42
                           "1262:;$2;$#!;2%&+2'9*22
                             &'66!220*-98,11-1!2
    2   2          222 !2                                            !$12!$12 "123!$42
                           ;3 ";1&252%&2'(2
                           ; 2#122%&2'11*+2),,0,2+2
                           %2 1.2-220*00,*))-21!2
    2   2          222 !2                                            !$12!$12 "123!$42
                           625#1!4;2%&+20)00)-22
                           66!2'1420*(-*(,1(21!2
    2   $2         $222 !2                                           !$12!$12 "123!$42
                           2$;<2%&+2-)8+0122
                           11202.2(20**01*(0-21!2
    2   !51&2      :661$2.2!51&2220=-2 !2                        !$12!$12 "123!$42
                           42>2"1&2%&2',,)2?!51&@2
                           42>2"1&2%&'71)2?:661$@2
                           6312+22A020*-09999921!2
    2    1!$2         1!$222 !2                                        !$12!$12 "123!$42
                           21925>2192($2."2%&2',),B2=(+21(*22
                           ;""12192A)20**71,)21!2
    2    1!$2         1!$222 !2                                        !$12!$12 "123!$42
                           21925>2192($2."2%&2',),B2#=-+209*22
                           #!! 220**,*10(921!2
    2    1!$2         1!$222 !2                                        !$12!$12 "123!$42
                           2()25>2192($2."2%&2'091B2$=-+209*22
                             11!$2/()/20**,)21!2
    2    1!$2         1!$222 !2                                        !$12!$12 "123!$42
                           21825>2192($2."2112%&2'879B2=(2+21(*22
                           4>!$2A18*0?$=-@220**-(08,921!2
                           4>!$2A18*12?=-@220**--)10-21!2
                           4>!$2A18*-2?=($#=-@2
                           0**--)10-21!2


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                                                         012
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    345467   89 47         6576497                             46647 67    34547
    2    !2     !2"#220$0%2#&2                        #.&&!,2      6&#7"!,2
                         "21'2( )2*2+22,&-2.-*2%/%2"2           &#- -2
                         (&0+ 12+ 21'2
                         2'3'45532#&2
    2    !2     !2"#220$0%2#&2                        #.&&!,2      6&#7"!,2
                         "2002( )254232862.-200/9*203/2"2      &#- -2
                         $/42"2!$12
                         8!$%:2"2$1*2
                         "(&2022''390312#&2
    2   2       2"#222                                   #.&&!,2      6&#7"!,2
                         2;2.!2.,;#!2.-2                          &#- -2
                         ;2.!"!2.-*23:/2"2
                           2#26;2#<1*'''=2
                         +262;#,!22'10%%%%2#&2
    2   2       2"#222                                   !& 2!&2 6&#7"!,2
                          >2!2.-2050:*24'2"2
                         "#<< 2(2?&&"2'1550@2
                         2'10%%%%42&2
                         2'3'455532#&2
    2   2       2"#222                                 !& 2!&2 6&#7"!,2
                         (&#+!282")!>282 >2!2.-2
                         "#<< 2;2;2002?'1399@2
                         2'3/::'%%2&2
                         2'3'455512#&2
    2   2       2"#222+2+2; 2.-2" 7,0"#<< 2    !& 2!&2 6&#7"!,2
                         204:/2
    2   2       2"#222                                 !& 2!&2 6&#7"!,2
                         .!2.,;#!2.-2
                         "#<< 202"622
                         2'10%%%%%2&2
    2   2       2"#222                                 !& 2!&2 6&#7"!,2
                          >2!2.-2050:2
                         ;&!#!0;! -2?&&"200443@2
                         2'%3/2&2
    2   2       2"#222                                 !& 2!&2 6&#7"!,2
                         ;!&-2&!2.-203:32
                         "#<< 0&!2?&&"2'1139@2
                         2'4'1%4:%2&2
                         2'051001%2#&2

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                                                 012
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    345467   89 47          6576497                                 46647 67     34547
    2   2       2!222                                     $*2$*2 0*!)1 $22
                          "2#$!$2%&2'0002
                            !(()'"*22
                          +,-..,./2*2
    2   2       2!222                                     $*2$*2 0*!)1 $22
                            3*2#2!"2%&2'0,,42/,2 2
                            !(()225** 2,.6-.722
                          +0812*2
    2   2       2!222                                     $*2$*2 0*!)1 $22
                          (1*32%&2
                          "!()$21$2902
                          +,611--/-2*2
    2   2       2!2222                                    $*2$*2 0*!)1 $22
                          +2:+23#*2%&2';2$)22
                          +2(+2#1* 3*)2%&2'6;2
                          #$22/1, 2!$&&)2(*!2++2
                          0**28<8-<0./,+2%!28=/2022//02
                          160+-,.2 2!$%&)(*!2#+>+2 2
                          00<06<0./=2%!28/02022.-2?2.62$$2 2
                          >!!$$2+,1=====/2*2
    2   2       2!222$0*2                                  *!&&2$*2 0*!)1 $22
                          2:20*"2%&42=+1;-2 2
                          2@2"42 2!(2:+2"2
    2   2       2!222$0*2                                  *!&&2$*2 0*!)1 $22
                          08,2 *2!12!(232++2*$2%&42';/2?22
                          +:+23#*2
                          %&422';42(!*2322!(23+2+2%$ 22
                           3"02'02+,06/10662*2
    2   2       2!222                                     $*2$*2 0*!)1 $22
                          @2$2%&2
                            !(()'23$&2
                          +,/;;-1-2*2
    2   2       2!222                                     $*2$*2 0*!)1 $22
                          3$*&2*$2%&2'8;82
                          =;2 22$2%&2
                          3232!(()2
                          +,0/,0-;,2
                          *2
                          +,,18,6=,2!*2

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                                                      012
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    345467   89 47          6576497                                  46647 67     34547
    2   2       2!222                                      212212 %1!,3 242
                          "2#2$!%2&'2()*+2
                            !##,2(00202-2*22
                          ./1*0212
    2   2       2!222                                      212212 %1!,3 242
                          52&2 22&'2()6*2
                          ,252&22&45!22&'2()6)2
                          $207*7811 2290/0:+2
                          $2)211 2290/):62
                          *0/2 2(20/2 22252&2 22&2
                          '2()6*2
                          01/2 222,.5.2&2&45!22&'2()6)2
                          "2207*7)782./0/8011212
    2   2       2!222                                      212212 %1!,3 242
                          ;.2.2%1$2&'72(*++2
                          "3!52<2&11!=2#,>2<260*:=2
                            !##,(!!?2322./011:8212
    2   2       2!222                                      212212 %1!,3 242
                          @222&'2()06728/2 22
                          &34529*2-2$2!$22./8011112
                          12
    2   2       2!222                                      212212 %1!,3 242
                          $2"2!22&'2(000720182 2
                            !##,2(42<11 2811)=2
                          .0*02
                          12
    2   2       2!222                                      212212 %1!,3 242
                          22&'2()062
                            !##,2322<A?A2!##,2322(0=2
                          ./)0+0111212
                          ./*/+)))*2!12
    2   2       2!22222&'2()062#!32,222          212212 %1!,3 242
                          ,%52!#2*+)/B22252222,2!21,22!2022
                            !##,2$5252!##,2"2</8*:8=./8/0060212
                          ./*1080+82!12
    2   2       2!222                                      %1%322!2(    %1!,3 242
                          $2$252&'2(0:0728/2 2                   %1%242
                          5252!##,252(022                              1!''2212
                          ./6*/+))8212

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                                                      012
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    345467   89 47          6576497                              46647 67     34547
    2   2       2!2222                                 #+2#+2 4+!)5 #62
                          "2#2$%2&'012
                            !(()&#2*++ 2,'-1./2
                          012033332+2
                          01,1-'''22!+2
    2   2       2!225#)207,22                         #+2#+2 4+!)5 #62
                          82#2$%92&1,22
                            !(()2*++ 200-.3/22
                          0100-2-'22+2
    2   2       2!22#4+22                               +!%%2#+2 4+!)5 #62
                          :2+2$%;2&'1'22
                          *#+$&+! <)/2++ 2-1,0'32
    2   2       2!220732#4+2                            4+452#!#&    4+!)5 #62
                          0'=010,2 2#2>2!!#282$%2&'=12        4+4#62
                                                                          +!%%2#+2
    2    >2     >2?2 5++%2!222                     +!%%2#+2 4+!)5 #62
                          5@)212!(20202!A<(25@)2!(2
                          6!+622+6+?2<+<#)2?2
                          ()2$%;2,.-2 2(25#2B0922
                          )!#)!#20113=222232+2
    2   !#6!+    !#6!+%2!222                             #+2#+2 4+!)5 #62
             %2           :!>#22)$2$%2&0--;2110.,.32 2
                          >++2;2@;2)2+ 2
                            !#+!2(52+20;,;.2
    2   !#6!+    !#6!+%2!222                             +!%%2#+2 4+!)5 #62
             %2           8!#2+<#)2$%;2,=2 2
                          :0202%!5#622
    2   !#6!+    !#6!+%2!222                             #+2#+2 4+!)5 #62
             %2           ?6#2++2!2$%2
                          >!!4+2@922
                            !#+!2()252+ 2&'02
                          010.,--=22+2
    2   !#6!+    !#6!+%2!222                             #+2#+2 4+!)5 #62
             %2           >!!4+2:2628!#2$%2
                            !#+!2()28)25#2
                            !#+!24#+ 2&,-2
                          01,,1-1112+2


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    345467   89 47         6576497                               46647 67       34547
    2    !  !"2#22$2                               $!%2$!2   4!13#$ 2
             "2          %22% 2&"'2()2#2
                         *+22,$ $ 2&"2-.0(2
                         /2!012-2-23$22
                         ,$ $20$!2
                         4!!"20$!2
                         #!25%1232-06'78'79'7.2
    2    !  !"2#22$2                               $!%2$!2   4!13#$ 2
             "2          #221!2"2&"2
                         /2/2,%:!23$2
                         #!25$%123$2-0.2!$2
    2   4%24$2 4%24$2#222./82;2!$2                     &!!$1$ 2         4!13#$ 2
                         #2012*42&"2-099.2                           !"%"2
                           ! 2/2,!$0223<02
                         /)=8))))2!$2
    2   4!:!2 4!:!2#2220+092!$2                              &!!$1$ 2         4!13#$ 2
                         >02%/22&"2-006('22                        !"%"2
                         #27=82*42&"2-087='2
                         #27=92*42&"2-0.(1'2,+#'27682#2
                         %0!23$2/)(09992!$2
    2   4!:!2 4!:!2#222./8;2!$2                              &!!$1$ 2         4!13#$ 2
                         #27=.2*42&"2-087.'27=)2#2                 !"%"2
                         $!#-#1%123$2?!!#29797.@2
                         /)(..7(792!$2
    2   ! 2 ! 2#222=+7227+=892$2*2=+72227+7=2!$2       $!%2$!2   4!13#$ 2
                         #2072#!288022%:220*,2&"A2
                         ,+('209)2#2
                         ,>-!%%22%2/)).10=82!$2
    2   ! 2 ! 2#220+=227+9(22.+12!$2                   &!!$1$ 2         4!13#$ 2
                         #2622%:2=23$&!$"2%12&"B2               !"%"2
                         ,+(2%122140252.'=))C'209(/672#2
                         3$&!$"20-622/))9178672!$2
    2   !3:2       !3:2#220+=)2$2                              $!%2$!2   4!13#$ 2
                         06/=82#2!"2# ,%%2&"2
                         ?1$#:2%@2/))(099992!$2
    2   !3:2       !3:2#22$2>24!32&"'2.62#302./82#!2 $!%2$!2   4!13#$ 2
                         52022082#!520,27)2#!25202
                         3029)#!2522%:2==22$ 2.62#! $%22
                         /))=..1))2!$2

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    345467   89 47           6576497                                    46647 67     34547
    2    2        2!22"#0$%2&'2                                &'0*2'02 7!8'092
                           200(2)*+21(2,-2. /20#1220$%22
                           232**'24%%05$6562'2
    2    2        2!2220#0$2!'2                               !.'8'092      7!8'092
                           20612)*+21(2,2-22 2!2. /20#1220$%22       ! * 2
                           :'20*)0+2!:20 82*2
                           4%10$$$$$2!'2
    2    2        2!220#"622(#;2!'2                          !.'8'092      7!8'092
                           265"2)*+21(2,-2. /20<#72201"4$22            ! * 2
                           !20'220$(2=*0:!82*>2
                           4%0;66162!'2
    2    2        2!220#6220#0$2!'2                          !.'8'092      7!8'092
                           20052)*+21(2,-2 2!2. 2                        ! * 2
                           #$%22!:2<#62#1=*82!262%%%?>2
                           &7, 2824%6%;"""12!'2
    2    2        2!22&'20$%22                              &'0*2'02 7!8'092
                           20"%2)*+21(2,-2. /20<#12
                           <2:2*'0924%%56%;$$2'2
    2    2        2!22&'2                                      &'0*2'02 7!8'092
                           20012)*+21(2,-2. /2#120#120#122
                           -20#12#120#1226%2
                           322=*!2*2>2&7, 24%6%;"""122-24%%6$%10$2!'2
                           '20(%%2@!020'22612
    2    2        2!22&'2                                      &'0*2'02 7!8'092
                           20162)*+21(2,-2. 2
                           #62<#620#12<#122
                           #62#620<#12<#126%22
                           &*2242!4224%%6$%10$2!'2
    2    2        2!22&'2                                      &'0*2'02 7!8'092
                           20052)*+21(2,-2. /20#620#122;%22
                           2,20<&024%%6$%101!'2
                           '20'226;2A2
    2    2        2!22&'2                                      &'0*2'02 7!8'092
                           20052)*+21(2,-2. 2
                           <22'24%%6$%1012!'2
                           '20'22512


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                       Case 20-10343-LSS     Doc 10296    Filed 09/06/22   Page 426 of 498



    345467   89 47           6576497                                46647 67     34547
    2    2        2!22"#2                                  "#1'2#12 8!5#192
                           2$$%2&'(2)*2+,2- .2/0021/02324122
                           /526110712$72!#2
                           #21#220%2
    2    2        2!22"#2                                  "#1'2#12 8!5#192
                           2$272&'(2)*2+,2- .24122
                           ''#1226110712$22!#2
    2    2        2!22"#2                                  !-#5#192       8!5#192
                           2$272&'(2)*2+,2- 2                          ! ' 2
                           !2'2&1 2611071202!#2
    2    2        2!222"#22                                "#1'2#12 8!5#192
                           2$$72&'(2)*2+,2- 3282/0232$0122
                           #2#2$*112:!121#2
                           ;;2"!!22'2
                           #21#22<%2=26110172$22#2
                           #21#22272=26110712$22#2
    2    2        2!222"#2                                 "#1'2#12 8!5#192
                           2$$72&'(2)*2+,2- 3282/0232$0122
                           #2$*112:!121#2
                           "!!2'261014<<<22!#2
                           #21#22<<2
    2    2        2!22261$400)02!#2                       !-#5#192       8!5#192
                           20%<2&'(2)*2+,2- .21/0832$)<6722        ! ' 2
                           !21#22$742
    2    2        2!22261$400)02!#2                       !-#5#192       8!5#192
                           20)$2&'(2)*2+,2- 2                          ! ' 2
                           !21#22$%72
    2    2         2!222$022"#2022122                    "#1'2#12 8!5#192
                           2002&'(2(28'2- 2=$0)02
                           2&2!/12&'2
                           81#2!+/21#2
    2    2         2!222$022"#202216422                  "#1'2#12 8!5#192
                           2002&'(2(28'2- 2=$0)02
                           2&2!/12>>22
                           <2
                           81#21'29'!#22
                           61014<22#2152612$7772!#2


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    345467   89 47         6576497                                  46647 67         34547
    2   2      2 2221!"2#$2!""%&'22                    #$1)2$12     + /8$192
                         2002()*2*2+)2,2-10.02
                         )/2 2)0*20#21)2
                         2(2 212332242
                         +1$256%%72)0 *21)281$2
                         &%0%'4"2$21/2&%"15552$2
    2   8+ 12      8+ 12 2226!5"221!'2$5"%22!02,2452()*212  )2$12     + /8$192
                         -44"2#*:22 2,2:1!02,212-2"05%2-
                         01129:022 2,2;)12)<2##281$22
                         14=1"=1>=152
    2   2/2       2/2 22#$2                                      #$1)2$12     + /8$192
                         22>'=2()*244=2?:22,2-'.0=25"%22
    2   2$))$# 12 2$))$# 12 22#$2                                #$1)2$12     + /8$192
                         $# 12#$))2,@2-".02
                         +?$))$+2+2,@2-"1'2
                         ?+#1-(( 281$2-2212
                         2AAA2 #($1/2))22?@22#*AAA2
    2   2$1*)2 2$1*)2 22#)2                                     #$1)2)$0$/2   + /8$192
                         2'2()*2(-02+)2,2-104.=2                      )1/2
                         !02!02:2!021!0=240%22
                         2.2()*2(-02+)2,2-1.41=2
                         1!0212!"=21!022!"=212!"2!"=20%%222
                         2* 120$)/2$/281$2
    2   2$1*)2 2$1*)2 22#$2                                      #$1)2$12     + /8$192
                         2"12()*20128)2,2-'182
                         81$,$2-"12;26"05%<2
    2   2$1*)2 2$1*)2 222                                        #$1)2$12     + /8$192
                         2412()*20128)2,2-618B22!"2
                         81$,$2-41-22;21.>>%<2
                         &%0%'44"2$2
    2   2 /2        2 /2 2221&0>!..2$2                               )2$12     + /8$192
                         ..22(2#$?2,2->4"2
                          *281$2&%%%5>>"2$2:2&%%%5"4"2$2
    2   2 /2        2 /2 221!15226!'2$2                             )2$12     + /8$192
                         &2>2:21!4221&0>!1142$-&2012$122
                         C&2/&2#?22,2:2/,$/22
                         9$))$)1/2,2-00.22
                          1/-8(2)*,$))20 #281$22"2:2>2

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    234356   789 36          5465386                                  35536 56     234396
    1   1         111                                        +&2&1#$+1 6+-#$ 1
                           11!1"#$1%&1'(0)1
                           1!#$1''1*+,#$1-$#1
                           1+1./10011
                           2231++1.4451
    1   1         111,#1                                     ,#$+21#$+1 6+-#$ 1
                           1+ 1!++1%&1'.71
                           1217/'7891!2"1081*1:"#$1$1#91
                           1:"#$1*#21-1+1!5'709!)'59!5'771
                           1:"#$1*#21-$#105.512231++115.81
    1   1         111,#1                                     ,#$+21#$+1 6+-#$ 1
                           1+ 1!++1%&1'.71
                           1+#$10;1,1:$+&1!)'531<//0/1)8.1+#1
                           1:"#$1*#21-$#105.512231++115.81
    1   &"-,1       &"-,111,#1                                   ,#$+21#$+1 6+-#$ 1
                           11011!2"1"1621%&1'711)=1$>.917(/11
                           16+$#12+#+17(1
                           16+$#1(5//?1+17(1
                           16+$#11+17(1
    1   @%21       @%2111,#1                                   ,#$+21#$+1 6+-#$ 1
                           1%&18411;11$1'7/(71
                           16#"$'**#21</(011+#1
                           1%&1.1;,#22#,1'778)1
                           1%&18451;1,1#22#,1'70..1
                           1%&170111+-2 1'70771
                           1%1
                           &170111+-2 1'785)1
                           1%&170111+-2 1'78471
                           1%&1781A*1'51.1
                           1%&7.1;1*1+*+1'775/1
                           1%&184(17>01:$+&1:-!!21'7)71
                           1%&18441:11#22#,B1
                           B1%&184)1;11+-**1'1(01
                           1%&18)011:$1'77071
                           1%&18441!A$1'(.(1
                           1%&1..)1:11%#1'770/1


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    345467     89 47          6576497                                   46647 67       34547
    2    !2        !2"222                                      71152         8154"2
                              "2#$%&$'#(2)!2*2+02+%,2+%2+%,2          1/)!2
                              +%2+%,20--.-#2/" 2
                             02!1/"!2%222+%2+%,2%-2/" 2
                             34 !245524!2!12&02.--*%*'6212
    /)/0//2   0/)52      0/)52"2/)22                                   1/)2!1 !2   28154"2
                             2"21$0$%(2+02+%,26-2/" 2
                             2"2*-$0$%(2+02+%,26-2/" 2
    /)/0//2   0/)52      0/)52"2/)22                                   1/)2!1 !2   28154"2
                             2"2*%$0 $%(2+%,2*'-2/" 2
                             2"2*&$0 $%(2+%,2*'-2/" 2
                             2"20$0$%(2+%2+%,2%-2/" 2
    /)/0//2   0/)52      0/)52"2/)22                                   1/)2!1 !2   28154"2
                             2"201$0$%(2+%2+%,2%-2/" 2
    /)/0//2   0/)52      0/)52"2/)22"21*$%$&(2+02+%92+02+%2 1/)2!1 !2      28154"2
                              +%92+%2+%92+02+%+%,201%2/" 2
    /)/0//2   0/)52      0/)52"2/)22                                   1/)2!1 !2   28154"2
                             2"2'$&$&(2+%2+%,2%-2/" 2
    /)/0//2   0/)52      0/)52"2/)22                                   1/)2!1 !2   28154"2
                             2"20$0$%(2+02+%222+02+%,2*'-2/" 2
    /)/0//2   0/)52      0/)52"2/)22                                   1/)2!1 !2   28154"2
                             2"2*#$%$&(2+02+0,2*'-2/" 2
    /)/0//2   "7!2    "7!2"2/)22                                 1/)2!1 !2   28154"2
                             2"2*0$1$*#(2+02+%,26-2/" 2
                             2"2*1$1$*#(202/" 2+"+%2+%,202/" 2
    /)/0//2   "7!2    "7!2"2/)22                                 1/)2!1 !2   28154"2
                             2"20%$1$*#(2+02+%,26-2/" 2
    /)/0//2   "7!2    "7!2"2/)22                                 1/)2!1 !2   28154"2
                             2"21&$*$*6(2+%2+%,2+%2+%,2+%2+%,2+%2
                              +%,2
                              +%2+%,20--2/" 2
                             2"20'$*$*6(2+02+%2+%,20-2/" 2
    /)/0//2   "7!2    "7!2"2/)22                                 1/)2!1 !2   28154"2
                             2"2*1$1$*#(2+%2+%222+%2+%,26-2/" 2
    /)/0//2   "7!2    "7!2"2/)22                                 1/)2!1 !2   28154"2
                             2"20%$*$*6(2+02+%,26-2/" 2
    /)/0//2   "7!2    "7!2"2/)22                                 1/)2!1 !2   28154"2
                             2"20%$1$*#(2+%222+%2+%,20--2/" 2

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                                                        012
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    345467        89 47        6576497                                    46647 67   34547
    2      !" 2 !" 2222                                     $/2"$/$#"2  21/02!2
                             2#$2%&'( '%)$*2#+,12#$,1-2$,12+,1-2+,12$,1-2
                             2#+,12#$,1-2#$,12#+,1-2#+,12#+,12$#"2.2# ./02
                             /0-20&)2#2
    2      $#2 $#2222                                     $/2"$/$#"2    21/02!2
                             2#$203*2+,12#+,1-21&2#2
                             2#$2(1*2%%2#2
    2      $#2 $#2222                                     $/2"$/$#"2    21/02!2
                             2#$24'0 '5$*2#+,12#+,1-21&2#2
                             2#$200'0 '5$*2+,12#$,1-21&#2
    2      62#" 2 62#" 2222                                       $/2"$/$#"2    21/02!2
                             2#+,127!2$#"2.21 #72/#72/0"+12%2/ !2
                             04-2832#2
    /9 ##2     22 222/22                                     $/2"$/$#"2    21/02!2
                             2#$2%5'%3#'00+*2#+,1-2%3&2#2
    /9 ##2     .7$""$2 .7$""$22/22                                   $/2"$/$#"2    21/02!2
                             2#$201'%)#'01+*2#,02#,02#+,1-21&2#2
    /9 ##2     .7$""$2 .7$""$22/22                                   $/2"$/$#"2    21/02!2
                             2#$201'%)#'01+*2#+,1-2%3&2#2
    /9 ##2     .7$""$2 .7$""$22/22                                   $/2"$/$#"2    21/02!2
                             2#$205'%)#'01+*2+,1-2%3&2#2
    /9 ##2     $/2    $/22/22                                      $/2"$/$#"2    21/02!2
                             2#$2%4'%4#'0)+*2#+,12+,12:2+,12#+,1-28&2#2
    /9 ##2     $/2    $/22/22                                      $/2"$/$#"2    21/02!2
                             2#$2(5'%4#'0)+*2+,0-2(0&2#2
    /9 ##2     26"2 26"22/22                                     $/2"$/$#"2    21/02!2
                             2#$2(1'%%#'%4+*2$,12#+,1-2#$,12+,1-2$,12#+,12+,1-2
                             4&2#2
    /9 ##2     26"2 26"22/22                                     $/2"$/$#"2    21/02!2
                             2#$2(1'%%#'%4+*2+,0-2(0&2#2
    ./ 2   9$/ 2      9$/ 2-222                                       $/2"$/$#"2    21/02!2
                             #$" 205;20)#'08$2-2
                             31&2#2
    ./02      62 2 62 22.22                                       $/2"$/$#"2    21/02!2
                             2#$21'% '4+*2+,12#$,1-21&2#2
    ./02      62 2 62 22.22                                       $/2"$/$#"2    21/02!2
                             2#$2(&'0 '4+*2#,02#+,1-28&2#2


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    345467     89 47          6576497                                     46647 67       34547
    2    !"2      !"222#2                                      #"%2"0%%$02   ""21!"22
                            2$%2&'(&"()*+2$%,-2"%,-.2-/2$2
    2    !"2      !"222#2                                      #"%2"0%%$02   ""21!"22
                            2$%2&3(&"(&/*+2",02"%,-242$*,-2"%,-.2&0/2$2
    2    !"2      !"222#2                                      #"%2"0%%$02   ""21!"22
                            2$%2&5(&"()*+2"*,-2"*,-.2-/2$2
    2    !"2      !"222#2                                      #"%2"0%%$02   ""21!"22
                            2$%2&-(0"()*+2*,02"%,-.25/2$2
    2    !"2      !"222#2                                      #"%2"0%%$02   ""21!"22
                            2$%23(&"()*+2$*,-2$%,-.2-/2$2
    2    !"2      !"222"12                                    7072"0%%$02   ""21!"22
                            2$%26(&"(&&*2
                            2$%2'(&"(&&*2
                            2$%25(&"(&&*2
                            2$%2&1(&"(&&*2
                            2&--/2$2
    2    !"2      !"222#2                                      #"%2"0%%$02   ""21!"22
                            2$%236(0"()*+2"%,-.2&6/2$2
    2    !"2      !"222#2                                      #"%2"0%%$02   ""21!"22
                            2$%2-(&"()*+2"*,-2$%,-.2-/2$2
                            2$%20/(0"()*+2$,02$*,-.25/2$2
                            2$%2&'(&"()*+2$%,-2"%,-.2-/2$2
                            2$%2&3(&"(&/*+2",02"%,-.2$*,-2"%,-.2&0/2$2
                            2$%2&5(&"()*+2"*,-2"*-.2-/2$2
    2    !"2      !"222#2                                      #"%2"0%%$02   ""21!"22
                            2$%2&1(&"(&&*+2.26-/2$2
    2    !"2      !"222#2$%2'(&"(&&*2$%25(&"(&&*2$%26( #"%2"0%%$02        ""21!"22
                            &"(&&*+2$*,-2$*,-.2-/2$2''/2$2
    2    #%$2        #%$222#2                                      #"%2"0%%$02   ""21!"22
                            2$%23-('"(&1*+2$*,-2$%,-242&8120202$2"2292$ 1%2
                            "2"%,2$%,-2$*,-2242%,02$%,-.2&002$2
    2   #%$2         #%$222#2                                      #"%2"0%%$02   ""21!"22
                            2"*,-2$*,-2$%2&6(1"(&6*+2
    2   #%$2         #%$222#2                                      #"%2"0%%$02   ""21!"22
                            2&0/22",02$*,-2"2"*,-2$%,-22$%205('"(&1*+2



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    345467     89 47           6576497                                    46647 67       34547
    2    !"2        !"2#22 2                                       '!2'*!!"*2   ''2/0#'-2
                             2"!#2$1%&'%$1()22'*22+',2'2
                             -!'!.2/0+#22'(!"*22#,.!2'2
                             -!'!.22'2'!1222"(122'2'(1222"!1222"!#2
                             $1%&'%$1(2!""2'!2#!2'2'(2#'!22'2!""2
                             '!2#!2(22#,.!2'2-!'!.22
                             #""'-2'2'322+',2'2-!'!.242562
                             #"2
    2    !"2        !"2#22 2                                       '!2'*!!"*2   ''2/0#'-2
                             2$7&2#"2!1022'(122'2"!1222*!2'!122'2$02$102
                             #3'2*!2
                             !"*2"!222'(1222*!2'(122'2$02$102#32'2
                             *!2!"*2"!22*!2"(122*!'!124228'('2"2
                             *!272#32"0*22*!2#!!8322'2"!#250%7'%
                             $&()2
    2    !"2        !"2#22 2                                       '!2'*!!"*2   ''2/0#'-2
                             2$7&2#"2!1022'(122'2"!1222*!2'!122'2$02$102
                             #32'2*!!32"!22'(122222*!2'(122'2$02$102
                             #32'2*!2!32"!22*!2"(12*!2'!2
                             1228'('2"2*!22272#32"322*!2#!!8422'2"!#2
                             50%7'%$&()2
    2    !"2        !"2#22 2                                       '!2'*!!"*2   ''2/0#'-2
                             2&2#32'(2#'!22'!1222"!1222"!#250%7'%$7()2
    2    !"2        !"2#22 2                                       '!2'*!!"*2   ''2/0#'-2
                             2292#"2"!1222"!1222"!#21%1'%$7()2
    2    !"2        !"2#22 2                                       '!2'*!!"*2   ''2/0#'-2
                             2292#"2'!1222'(122"!#25&%7'%$&()2




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    345467     89 47           6576497                                     46647 67       34547
    2    !"2        !"2#22 2                                        $!2$+!!"+2   $$25*#$62
                             $%&'2!""2(2#)2*+22"!&#$!22"!#)2,-.!&022
                             "!#)2,/02"!#)2,-2"&022$!&'2$212#)2$2+!2
                             "!&#$!22"!&'22"%&'0+"2/2$20222#32
                             #45!""02+"2'.0/.0022232602+"2/2$2022
                             232/02+2122#327)222323.2!""2+"2
                             /.0.,2$2+2"2+2#42 +$02+02232
                               02+"2/.0.1.82
                             22#3202+"2/.0.'.9.8./'./9222#32502+"2
                             /.0./9./1./8./(.0-.2223)2022232"02+"2
                             ,.'.9.1.1.82223)2+02+"2/.0.,.12223)2*)22$2
                             +%52'$2
                             :$628%.2'8-2#"2
    2    !"2        !"2#22 2                                        $!2$+!!"+2   $$25*#$62
                             2"!#20':'$:(%;2"%&'2"!&'.2'-2#"2
                             2"!#209:'$:(%;2.21'-2#"2
    2    !"2        !"2#22 2                                        $!2$+!!"+2   $$25*#$62
                             2"!#20/2"&022$!&'02$&022"!&'02
                             2"!#20,2"%&'02"&022$%&'02$!&'22"!&'022
                             2"!#20'2$%&'22$%&'02"!&'22"%&'.2
                             2"!#2/,2%&02"%&'2+%5)2':$2$6)2(:%2
    2    !"2        !"2#22 2                                        $!2$+!!"+2   $$25*#$62
                             2"!#2,/:'$:(%;22!&022%&002"%&'22$%&'022
                             2"!#2,1:'$:(%;22!&02!&02"%&'22$!&'02"!&'22$%&'02
                             "%&'2$2%&022"!&'.2
    2    !"2        !"2#22 2                                        $!2$+!!"+2   $$25*#$62
                             2"!#20122!<#!5+2$!&'2$%&'.21--2#"2
    2    !"2        !"2#22 2                                        $!2$+!!"+2   $$25*#$62
                             2"!#2//:'$:(%;2$%&'2$%&'02"!&'2$%&'02"&02$!&'02!&02
                             "%&'02"!&'.2
                             012#"2
    2    !"2        !"2#22 2                                        $!2$+!!"+2   $$25*#$62
                             2"!#201:9$:(%;2"&0.2,0-2#"2
                             2"!#2,9:9$:(%;2$&0.2,0-2#"2
    2    !"2        !"2#22 2                                        $!2$+!!"+2   $$25*#$62
                             2"!#2,':1$:/9%;2"%&'2"!&'2=202#"2$2$!&#2"!&'2"%&'.2
                             !&02"!&'.2
                             /002#"2

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    345467     89 47           6576497                                46647 67       34547
    2    !"2        !"2#22 2                                   '!2'/!!"/2   ''201#'(2
                             $%2#"2&!'(2')*$2")*$2+,-.'-+,)2
    2    !"2        !"2#22 2                                   '!2'/!!"/2   ''201#'(2
                             2"!#2+,-.'-+,)22')*$2")*$32')*$2"!*$24!2+2#2'2
                             ')*#242+2#2)2
                             22#56!2422(!'!62"32$+2#"2
    2    !"2        !"2#22 2                                   '!2'/!!"/2   ''201#'(2
                             2"!#201-7'-+.)22'*02")*$32')*$2"!*$32+0%2#"2
    2    !"2        !"2#22 2                                   '!2'/!!"/2   ''201#'(2
                             2"!#280-7'-+.)22!*02')*$32")*$2'!*$2'2/!2
                             2!*"!2')*$2')*$32
                             +0-+*02#"2'2/!2!*"!2
                             2")*$2')*$32"!*$2'!*$2242!272#"22"*"!2
                             2"!*$2'!*$32+7.2#"2
    2    !"2        !"2#22 2                                   '!2'/!!"/2   ''201#'(2
                             2"!#280-7'-+7)22')*#2')*$32.2#"2
    2    !"2        !"2#22 2                                   '!2'/!!"/2   ''201#'(2
                             2"!#2,-,'-+7)22"!*$2"!*$32$%2#"2
    2    !"2        !"2#22 2"!#28.-7'-+.)22'!*$2')*$32$%2#"2 '!2'/!!"/2    ''201#'(2
    2    !"2        !"2#22 2                                   '!2'/!!"/2   ''201#'(2
                             2"!#20-.'-+,)22!*02')*$321%2#"2
    2    !"2        !"2#22 2                                   '!2'/!!"/2   ''201#'(2
                             2"!#207-.'-+7)22++%2#"2
    2   9#:"'2      9#:"'2#22 2                                  '!2'/!!"/2   ''201#'(2
                             2"!#2$-0'-+%)22"*02')*$242')*$2")*$32+0%2#"2
    2   9#:"'2      9#:"'2#22 2                                  '!2'/!!"/2   ''201#'(2
                             2"!#28+-8'-+%)22'*03280%2#"2




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    345467     89 47        6576497                                   46647 67     34547
    2    !"#2    !"#222$2                                     $#%2#/%%"/2 ##235 #.2
                          "% 2&&'&0'&()(#)&*+,2-%.#2#2/0%2%12+2#%22
                          /0%2$##2
                          -"%22/2/2"23#/22#/%"% /#2
                          +/02"//%212#12&245"1*62/0%# %2"5/0%72
                          #.2"2.0/22+72#%2/2/0%2+22
                          /0%#2#282/0%# %2#22
                          "5/0%"/%72% /#2#.2"2+2/2
                          "3#.2%%!82/0%# %2#/0%"/%72#.2
                          "2%%!2/2/0%2%"/%#2"% /#2#%22"% 2
                          &(82/0%# %2#/02#.2
                          "2"% 2#%2/2/0%2#%2#%22"2"% 82
                          /0%# %%"/#.2"% /#2#%2-%/+%%#"% 2&02
                          #2&92/2/0%2+22"//%22#12&2/23-'2
                          0:;2 "2
    2    !"#2    !"#222$2                                     $#%2#/%%"/2 ##235 #.2
                          2"% 299);#)1+,2%<0'290*2 "2
    2    !"#2    !"#222$2                                     $#%2#/%%"/2 ##235 #.2
                          2"% 20=)9#)&*+,2+<02#%<(2>2%<02#+<(2%""2%<02#+<(2
                          #%<('2&(*2 "2
    2    !"#2    !"#222$2                                     $#%2#/%%"/2 ##235 #.2
                          2"% 290)9#)&*+,2#<022%""2&*2 "2#2/0%2#%<2#%<(2
                          #%<('29&&1?? "2
    2    !"#2    !"#222$2                                     $#%2#/%%"/2 ##235 #.2
                          2"% 2:)(#)?+,22%@ %3/2"+<(2"+<('2=**2 "2




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                                                      012
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    345467     89 47        6576497                                          46647 67       34547
    2    !"#2    !"#222$2                                            $#%2#1%%"12   ##26; #72
                          2"% 20&'(#')*+2"*,(2#%,(-2"%,(2#*,(-2"*,(-2*,.2"%,(/2
                          (012 "/2
                          2"% 201'(#'0*+2",.2#%,(-2&2 %"2#2"%,#%2"%,(2
                          "*,(-2
                          21"22232.224!256%""-21"2(232..224!27-2
                          1"22232
                          2.224!22-212&24!2-24!2!2%""21"22/./0232
                          12"2
                          212528$1#-212.224!2$-21"2/./9/23202
                          24!2-2
                          21"22/./(/:/0/2(/2#22:224!26-21"22/./2:/2&/20/2)/2
                          32.12
                          224!2-24!2"-21"20/(/:/&/9/2320224!2121"2
                          2/./0/232&224!22
    2    !"#2    !"#222$2                                            $#%2#1%%"12   ##26; #72
                          2"% 29'(#'0*23%2"*,(2"*,(/2
                          2"% 201'(#'0*+2#*,(23%2)2 "2#"%,%,./2%,.2*,.-2
                          2"% 202'(#'0*+2"*,(2#*,(/2(12 "2
                          2"% 2.:'(#')*+223%2#%,(2
                          #*,(/2((12 "2
                          2"% 20&'(#')*+2%,.2%,./22&12 "2
                          2"% 2.2'(#')*+2",.2#%,(/2#,.2"%,(/22&12 "22
                          2"% 2.0'(#')*+2"*,(/2",.2#*,(/2#%,(2"%,(/2
                          2"% 2.('(#')*+2#*,(2#*,(/2"%,(2"*,(/2"*,(2"%,(/22.12
                           "2
                          2"% 20'(#')*+2*,.2"*,(/2012 "2
                          2"% 222'(#')*+2
                          #*,(2#*,(/2"%,(2#*,(/2",.2#%,(/2%,.2"*,(/2"%,(/2
    2    !"#2    !"#222$2                                            $#%2#1%%"12   ##26; #72
                          2"% 202'0#'21*+2#,./20.12 "2
                          2"% 20.'0#'21*+2#,.23%2212 "2#2#%,2#%,(2#%,(/2
                          022<002 "2
    2    !"#2    !"#222$2                                            $#%2#1%%"12   ##26; #72
                          2"% 2.&':#')*+2",./20.12 "2
                          2"% 20:':#')*+2#,./20.12 "2
    2    !"#2    !"#222$2                                            $#%2#1%%"12   ##26; #72
                          2"% 2.&'0#'21*+2*,.2#%,(/2%,.2#*,(23%2%,.2#*,(2#%,(/2
                          2(12 "2

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                                                         012
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    345467     89 47         6576497                                    46647 67       34547
    2    !"#2     !"#222$2                                      $#%2#/%%"/2   ##201 #22
                           2"% 2&'(#'1)*+2",(2#*,&2-2#*,&2"*,&.21()2 "2
    2    !"#2     !"#222$2                                      $#%2#/%%"/2   ##201 #22
                           2"% "211.21(.21&'&#'1)*+2(342 "2
    2    !"#2     !"#222$2                                      $#%2#/%%"/2   ##201 #22
                           2"% 200'4#'5*+2%,(.20()2 "2
    2    !"#2     !"#222$2                                      $#%2#/%%"/2   ##201 #22
                           "% 2&#'6*2-2&#'5*+2(0175&2 "2" //%%2
    2   !"2   !"222$2                                     $#%2#/%%"/2   ##201 #22
                           2"% 2(6'4#'(0*+2%,(2#*,&2"*,&.2"*,&2#*,&2"*,&2-2"*,&2
                           "*,&.23) "2
                           2"% 2(5'4#'(0*+2%,(2-%20/28#22*2228%*2
                           9%.21()2 "2
                           2"% 20&'4#'(2
                           0*+2#*,&2#*,&.2&)2 "2
    2   !"2   !"222$2                                     $#%2#/%%"/2   ##201 #22
                           2"% 2(:'4#'(0*+2"*,&2#%,&2-2*,(2"%,&.21()2 "2
                           2"% 204'4#'(0*+2#,(2"*,&2#%,&2-2"*,&2#*,&2#%,&.20)2
                            "2
    2   !"2   !"222$2                                     $#%2#/%%"/2   ##201 #22
                           2"% 2(:'4#'(0*+2%,(2"%,&.26)2 "2
                           2"% 204'4#'(0*+2#%,&2#%,&.&)2 "2
    2   !"2   !"222$2                                     $#%2#/%%"/2   ##201 #22
                           2"% 21&'4#'(0*+2"%,&.21:)2 "2
    2   !"2   !"222$2                                     $#%2#/%%"/2   ##201 #22
                           2"% 20:'4#'((*+2#%,&2#%,&.2&)2 "2
    2   !"2   !"222$2"% 200'&#'(0*+2"%,&2#%,&2-2"%,&2 $#%2#/%%"/2       ##201 #22
                           #*,&2-2#,(2#,(2#%,&2"*,&2-*,(2"%,&2%""2",142 22
                           "*,&2"%,&.21442 "2"% 20&'&#'(0*+2#*,&2#*,&.2&)2 "2
    2   !"2   !"222$2                                     $#%2#/%%"/2   ##201 #22
                           2"% 21&'&#'(0*+2#%,&2#%,&.2&)2 "2
                           2"% 2(0'&#'(0*+2#,(2#*,&.2
                           "*,&2#*,&.21()2 "2
    2   !"2   !"222$2                                     $#%2#/%%"/2   ##201 #22
                           2"% 215'&#'(&*+2",(2#%,&.2%,(2"%,&2#*,&.236)2 "2
    2   !"2   !"222$2                                     $#%2#/%%"/2   ##201 #22
                           2"% 211'4#'(&*+2"%,&2"%,&.2&)2 "2
                           2"% 21&'4#'(&*+2#%,&2#%,&.&)2 "2
                           2"% 21('4#'(&*+2",(2"*,&.26)2 "2
2
                                                       012
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    345467     89 47       6576497                               46647 67       34547
    2    2  2!22"2                               "'#2'.## .2   ''2-4!'52
                         2#!20$%&'%10()2(*+2#,!#-.2./#2(*012!2(*+2(*+2
                         222(*+2'#*+222*12'(*+222'(*+2#*+320+12! 2
    2    2  2!22"2                               "'#2'.## .2   ''2-4!'52
                         2#!20&%&'%10()2*12(*+321$2! 2
                         2#!206%&'%10()2(*+2(*+32
                         +$2! 2
                         2#!210%&'%10()2(*12#*+321$2! 2
    2    2  2!22"2                               "'#2'.## .2   ''2-4!'52
                         2#!207%+'%1+()2#*+2#*+32#,!#-.202!2!""#'!'52
                         .2./#2(2
                         !'#222284.#2'24'''52./#'!#2
                         # .210$229 22./#'!#2'./2:$29 2./#'!#222
                         (# .210$29 ;2./#'!#24./22:$229 2.2./#2
                         -!#22<#5'''5;22
                         2#!21$%+'%1+()2(*12'#*+2#*+321$2! 22
                         2#!210%+'%1+()2(*+2(*+32*12'(*+2(*+322.-22
                         '2+12.2(#222#222./#2'*12'(*+2(*+2
                         2#!21032
                         2#!207%+'%1+()2#*12(*+222#*+321+$2! 2
                         2#!217%+'%1+()2(*+3206$2! 2
                         2#!217%+'%1+()2(*12
                         '(*+321$2! 2
                         2#!20$%+'%1+()2#*12'#*+321$2! 2
                         2 202!2!.#2'2./#2'#2!'#22./#2'(*+2
                          (*+22#!20722!""#'!'522.2./#2/;/;2<9#..2
                         !'#2'2./#2-4<!2224'''52./#'!#22
                         00&2.;224./21112.2(# .21&:2.;.2./#2-4<!2
                         2
                         '22'./# .#92#!.'222'522
                         -4<!2;2.22./#2-!#22<#5'''532




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                                                     012
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    234356     789 36      5465386                                         35536 56       234396
    1   1 111!1                                         !'"1'/""/1   ''105 '61
                         1" 1#$%&'%(&)*1"+&1"+&1,"101 -1
                         1" 1(.%&'%(&)*1)+(1'"+&1"+&-1
                         1" 1(#%&'%(&)*1)+&1)+&-1+(1')+&1)+&-11/011
                         '1&121)" 1
                         1/3"1+"1'+(1')+&1)+&-11
                         1" 1#$%&'%(&)*1+(1'"+&-1"+(1"+&1')+&-1"+(1)+&-1"+&-1
                         1" 1(.%&'%(&)*1)+&-1#4.1 1
                         1" 1($%&'%(&)*1)+(1')+&-11.1 11
                         1" 0.%&'%(&)*1"+(1'"+&-11.1 1
                         1" 1#$%&'%(&)*1# 1!+1'1'"+1')+&1)+&-1
    1   1 111!1                                         !'"1'/""/1   ''105 '61
                         1" 1#7%7'%(0)*1+(1)+&-11.1 1
                         1" 1#4%7'%(0)*1)+&1)+&-1
                         &.1 1
                         1" 1(#%7'%(0)*1)+(1"+&-11.1 1
    1   1 111!1                                         !'"1'/""/1   ''105 '61
                         1" 1(1%7'%(0)*1"+(1')+&1)+&-1)+&1')+&1)+&-1)+&1
                         )+&-18.1
                          1
                         1" 1($%7'%(0)*1"+(1,"1/3/10/19'61)11
                         9")1:"-1#(.1 1
                         1" 10&%7'%(0)*1')+&1')+&-1&.1 1
    1   1 111!1                                         !'"1'/""/1   ''105 '61
                         1" 1#&%&'%(0)*1'"+&1'"+&-1&.1 1
                         1" 1((%&'%(0)*1'+(1')+&-1
                         )+&1')+&-1#(.1 1
    1   1 111!1                                         !'"1'/""/1   ''105 '61
                         1" 1(.%7'%(0)*1)+&1,"1/3"1)+#11 1
                         11)+&1)+&-1)+&1'"+&-1+(1')+&-1
                         1')+&1"+&-10.(1 1
    1   1 111!1                                         !'"1'/""/1   ''105 '61
                         1" 1(4%7'%(0)*1)+&1'"+&-1)+(1"+&-1#(.1 11
                         1" 107%7'%(0)*1'+(1')+&1'"+&-1)+&1')+&1'"+&-10.1 1
    1   1 111!1                                         !'"1'/""/1   ''105 '61
                         1" 1##%7'%(&)*1"+&1"+&-1&.1 1
                         1" 1#&%7'%(&)*1'"+&1'"+&-&.1 1
                         1" 1#(%7'%(&)*1+(1)+&-11.1 1

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                                                          001
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    345467     89 47         6576497                               46647 67       34547
    2    2  2!22"2                                 "'#2'/## /2   ''201!'22
                           2#!2$1%&'%(0)*2#+1,2$-.2! 2
    2    2  2!22"2                                 "'#2'/## /2   ''201!'22
                           2#!2(-%&'%(0)*2#+(2#+1,23.2! 2
                           2#!20&%&'%(0)*2'#+12'#+1,2
                           1.2! 2
    2    2  2!22"2#!20-%&'%(()*2'#+12'#+1,21.2! 2 "'#2'/## /2   ''201!'22
    2    2  2!22"2                                 "'#2'/## /2   ''201!'22
                           2#!200%1'%(0)*2#+12'#+1,2#+12')+1,2
                           2'+(2'+(2'#+12)+1,)+(#+1245#2+$&2
                           2! 22)+12#+16,2$&&2! 2
                           2#!201%1'%(0)*2')+12')+1,21.2! 2
    2    '/2 2 '/2 2!22"2                              "'#2'/## /2   ''201!'22
                           2#!2(%$'%(7)*2+(2+(2)+1,2# !8#2 2
                           28#22/2)2!'#22#!92(:2'2$.2!;' :2
                           2#20(2!;' 22$.2!;' :2)0(2!;' ,20(2! 2
    2    '/2 2 '/2 2!22"2                              "'#2'/## /2   ''201!'22
                           2#!21%('%(7)*2)+(2)+1,23.2! 2
    2    '/2 2 '/2 2!22"2                              "'#2'/## /2   ''201!'22
                           2#!2(3%('%(3)*2+(2')+1252')+1,2$(.2! 2
    2    '/2 2 '/2 2!22"2                              "'#2'/## /2   ''201!'22
                           2#!2&%('%(3)*2+(2+(2)+1,20012! 2
                           2#!27%('%(3)*2'+(,2+(,2)+12#+1,23.2! 2
    2    '/2 2 '/2 2!22"2                              "'#2'/## /2   ''201!'22
                           2#!23%('%(3)*2')+1252)+(2'#+122# 2&2! 2
                           2#!27%('%(3)*2
                           1'220&.2< 92)2=.2< 2'2
                           20&.2< 92#2=.2 2/20'/228#2'''22
                           2!'/''22(=&2!252/;/20/'22#+12
                           2)+122#!272/('2(3)2<'22)# /22//#2
                           ;)<2$332!'/''22$72!252#+12)+12# 2(2!2
                           2<'22#22//#2;)<2$3322#2
                           !272/('2(3),20012! 2
    2    '/2 2 '/2 2!22"2                              "'#2'/## /2   ''201!'22
                           2#!2-%('%(3)*2'#+12'#+1252#+(2)+1252
                           2+(2#+12#>!#0/202!,2$&=2! 2


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    345467     89 47         6576497                                  46647 67   34547
    2    !22  !22"22#2                                #$2!$$!2  23.",2
                           2$"20%&0 &'()*212"22+$,2$"20%2
                           2-2. ,22'2%/'2"012!0$ "$2
                           2)2'212!0$ "$22'2%/'2"012!0$ "$2$2'22"02
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"20'&0 &'()*2$/42$/42-2$/42$/452(22"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"24&4 &'()*2)/'2)/452(22"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"21&4 &'()*2/'2)/42-$2%22"2
                           2)/42$/42-$2%22"22)/$52%222"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2(&4 &'()*2/'2$/452(22"2
                           2$"26&4 &'()*)/42)/452422"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"27&0 &'()*2$/42)/42-2/'2)/42)/452822"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2(&0 &'()*2$/42)/452422"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2%'&0 &'()*2$/'2$/452(22"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"202&0 &'()*2)/452%822"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2%2&4 &02)*2$/42$/452422"2
                           2$"2%%&4 &02)*2)/42)/452422"2
                           2$"2%1&4 &02)*2$/42)/422-2)/42)/452(22"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2'7&4 &'6)*2$/452%822"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"20&0 &'6)*2$/'2$/452(22"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2%2&% &'6)*2$/42$/452422"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2%%&0 &'6)*2$/'2$/452(22"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2%'&0 &'6)*2$/'2$/452(22"2
    2    !22  !22"22#2                                #$2!$$!2    23.",2
                           2$"2%'&0 &'()*2$/'2$/452(22"2

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    345467     89 47           6576497                                    46647 67   34547
    2    !22    !22"22#2                                  #$2!$$!2  201"22
                             2$"2%&'0 '&()*2$+&2$+,-2./2"2
    2    !22    !22"22#2                                  #$2!$$!2  201"22
                             $"2%/'% '&()2
                             ,/2"2$+,2$+,2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"2%%'0 '&()*2$+&2$+,-2./2"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"20/'0 '&.)*2)+,-2%1/2"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"2,'& '&()*2)+&2)+,-2./2"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"2&'% '&()*2+&2+&2)+,-20&2"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"20&'0 '&.)*2$+,2$+,32$+,2$+,-2./2"2
                             2$"2&.'& '&.)*2+&2)+,242)+,2)+,-2%&/2"2
    2    !22    !22"22#2$"21'& '&.)*2$+,2$+,-2,/2        #$2!$$!2    201"22
                             "2$"20%'0 '&.)*252"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"21'& '&.)*2$+&2)+,242+&2$+,2
                             24$202"21!22$+"-%562"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"25', '&.)*2)+,2$+,24$2%/2"22)+$-20/2
                             "2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"25', '&.)*2+&2)+,24$2$2%/2"-2%&/2"2
                             2$"2.', '&.)*2)+,2)+,-2,/2"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"25'& '&.)*2+&2+&2)+,-2)+,32)+&2$+,32$+,2$+,2
                             24$252"2$"7$227$22!2$+"22.'& '&.)-2
                             0%52"2
                             2$"2('& '&.)*2$+,2)+,-%(2"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"25'& '&.)*2+&2+&2)+,32)+,2$+,-2./2"2
                             2$"2('& '&.)*2$+,2)+,24$2&2"-20.2"2
    2    !22    !22"22#2                                  #$2!$$!2    201"22
                             2$"2%/', '0/)*2$+,2$+,-2,/2"2
                             2$"2%%', '0/)*2)+,2)+,-2,/2"2
                             2$"2%5', '0/)*2$+,2)+,-2)+,2)+,-2./2"2
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    345467     89 47           6576497                                  46647 67   34547
    2    !22    !22"22#2                                #$2!$$!2  2/0"12
                             2$"20%0 %&'()2$*&2$*+,2-.2"2
    2    !22    !22"22#2                                #$2!$$!2  2/0"12
                             2$"2&1%+ %&'()2$*+,223.2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2  2/0"12
                             2$"22&%4 %2'()2(*+2$*+,2+.2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2  2/0"12
                             2$"20&%4 %&2()2$*+,223.2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2  2/0"12
                             2$"2&%4 %2'()2(*+2(*+2$22+.2526+2"72
                             80$2$*"22!,20'9'12.1+2"2
                             2$"20%4 %2'()2$*+2$*+,2+.2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2    2/0"12
                             2$"2&&%4 %&2()2$*+2(*+2
                             2$"2&2%4 %&2()2$*+2$*+2
                             2$"2&&%4 %&2()2(*+2(*+2
                             2$"2&-%4 %&2()2$*+2$*+,223.2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2    2/0"12
                             2$"202%4 %&2()2(*+2(*+,2+.2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2    2/0"12
                             2$"22&%& %2-()2(*+2$*+,2$*&2$*+2:2$*+2$*+,2
                             2$"220%& %2-()2(*+2$*+,2&..2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2    2/0"12
                             2$"20%& %2-()2*&2:$2/!22$*+2$*+2
                             2$!22;$52"<0"<2
                             ,20..2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2    2/0"12
                             2$"204%0 %21()2!23,23'2"2
                             2$"22'%0 %21()20*+2$*+2$*+,2
                             &22"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2    2/0"12
                             2$"2&-%& %2-()2(*&2(*+=2$*+2(*+2:2*&2(*+,203.2
                             "2
                             2$"2&'%& %2-()2$*&2$*+,2&-.2"2
                             2$"2&-%& %2-%()2*&2$*+,2-.2"2
    2   (! 2       (! 2"22#2                                    #$2!$$!2    2/0"12
                             2$"200%& %2-()2$*+2$*+=2(*+2$*+=2(*+2$*+=22&.2
                             ",22*32#2

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    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"20&'&!'(1)2$*&2$*+2,2$*+2$%*+-2(&.2"$2
                         2$%"2&'&!'(1)2!%*+2!%*+-2+.2"$2
                         2$%"2('(!'(1)2!*+2!*+2,2!*+2!%*+-21.2"$2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"2&0'&!'(1)2!%*+2$%*+2,2$%*+2!%*+-21.2"$2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"2&+'&!'(1)2!%*+2!%*+-2+.2"$2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"202'&!'(1)2$*&2$*+32$*+2$%*+32
                         2$%"2&'(!'(1)2!%*+2!%*+32
                         2$%"2('(!'(1)2!*+2!*+32!*+2!%*+32&+.2"$2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"2&1'&!'(1)2*&2!*+32$%*+2!*+32!*&2$*+32!*&2
                         $%*+32
                         2$%"2
                         &4'&!'(1)2%*&2!%*+3202.2"$2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"200'&!'(1)2!%*+2!%*+32$*+2!%*+32!*+2$%*+32(&.2
                         "$2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"2&0'&!'(1)2!%*+2$%*+2,2$%*+2!%*+-21.2"$-2(*+2#2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"2(&'&!'(1)2$*+2$%*+-2%*&2$%*+2,2$%*+2!%*+32
                         2$%"2(0'&!'(1)2!*+2!%*+-2&..2"$2(*12#2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"2(&'5!'(4)2$*+2!%*+-2+.2"$2
                         2$%"2&5'0!'(6) 22-2242"$2
                         2$%"2(4'0!'(6)2$0*+2$%*+2$%*+-2&(2"$2
    2    !2    !2"22#2$%"2&'5!'(4)2!*+2!*+2,%2(+.2         #!%2! %%$ 2 !!2/0"!12
                         $728$2!2!%*"204946(.6+2"$-2(*+2#2$%"20'5!'(4)2
                         !%*+2!%*+-2+.2"$2
    2    !2    !2"22#2                                         #!%2! %%$ 2 !!2/0"!12
                         2$%"2&&'5!'&()2$%*+2$*+2
                         2$%"2&('5!'&()2$%*+2$%*+2
                         2$%"2&&'5!'&()2$*+2$*+2
                         2$%"2&1'5!'&()2!%*+2!%*+-2(2.2"$2


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    345467     89 47        6576497                                    46647 67       34547
    2    !2     !2"22#2                                      #!%2! %%$ 2   !!243"!12
                          2$%"20&'!&()*20'+2"$2$,'2-%2. 2'+2"$2#,22
                          !%,/2$%,/20!12%2222%02".3".22
    2    !2  !2"22#2                                         #!%2! %%$ 2   !!243"!12
                          2$%"2'/&'!&()*2!%,/2!%,/52/+2"$52(,/2#2
    2    !2  !2"22#2                                         #!%2! %%$ 2   !!243"!12
                          2$%"20(&6!&'(*2/+2"2!,/2!,/52(,/2#2
    2   $.!1 !2$.!1 !2"22#2                                  #!%2! %%$ 2   !!243"!12
                          2$%"27&/!&(0*2" 2(*2$%,/2$%,/22$%"272-2$,/2
                          !,/22$%"2(72-2,'2$,/2%$$2
                          2!,/2!,/2$,/22$%"2(72-2$,'2!,/2!,/2$,/2%$$2
                          '2"2
                          2%$ 2%!22$%"2
                          2(72-2'2(,'2"2%$"8%2$2"##%!"!12((+2
                          0$2%$ 22.%2!2"!%22
                          2!,/2$,/22$%"2(752.%!"%2$2(+20$9.%!"%2%2
                          (+20$2.%!"%2
                          !2((+20$22
                          2.%28%1!!!12-2'2(,'2"2!2!2"!%22!,/2
                          $,/22$%"2(728%!12((+20$2
                          2$:3%52'0)2"$2
    2   $.!1 !2$.!1 !2"22#2                                  #!%2! %%$ 2   !!243"!12
                          2$%"2'+&'!&(0*2$%,/2$,/2%$$2/2"$2!2!,"2-2!,'2
                          $%,/2-2$%,/52(6;2"$2
    2   $.!1 !2$.!1 !2"22#2                                  #!%2! %%$ 2   !!243"!12
                          2$%"2()&/!&('*2!,'2$%,/2-2$,'2$,'2!%,/52('+2"$2
    2   $.!1 !2$.!1 !2"22#2                                  #!%2! %%$ 2   !!243"!12
                          2$%"2/&'!&'1*2,'2$,/52)+9;02"$2
    2   $.!1 !2$.!1 !2"22#2                                  #!%2! %%$ 2   !!243"!12
                          2$%"2;&'!&(;*2!%,/2$,/2-2!,/2$%,/2%$$2(/2"22
                          %$ 2$%52;;2"$2
    2   $.!1 !2$.!1 !2"22#2                                  #!%2! %%$ 2   !!243"!12
                          2$%"2(1&'!&(/*2!,'2!,/52)+2"$2
    2   $.!1 !2$.!1 !2"22#2                                  #!%2! %%$ 2   !!243"!12
                          2$%"2(0&/!&(0*2%,'2$,/2-2,'2$%,/2-2$%,/2$%,/52'++2
                          "$2
    2   $.!1 !2$.!1!2"22#2                                   #!%2! %%$ 2   !!243"!12
                          2$%"2'/&/!&(1*2!,'2!%,2/2-2$,/2!%,/2-2!%,/2!,/2-2
                          ,'2$%,/!%,/52()+2"$2
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    2    !"#$"2 !"#$"2%22&2                                   &"'2"$'' $2   ""212%"#2
                          2'%2()*0"*()+2',-2,0.2,-2',0.2',02',0/2-112% .2
                          2",-2"',0.2,02"',0.2"',02",0.2,-2',02"',0/2(012% 2
    2    !"#$"2 !"#$"2%22&2                                   &"'2"$'' $2   ""212%"#2
                          2'%2(0*0"*(-+2",-2',0232,-2,-2"',0/2(-12% 2
    2    !"#$"2 !"#$"2%22&2                                   &"'2"$'' $2   ""212%"#2
                          2'%24*0"*()+2',02',02
                          2'%2(4*0"*()+2,02",0.2"',-2",02,0.2,-2",02
                           ,0.2,0222,0.2,-2",02
                          2",023'2-% 22','".2-*(,-2
                          % 2' %5'2 2%&&'"%"#2((126 22",%2
                          2",02,0/2$!'"%'22((126 /2$!'"%'2'2((126 /2
                          $!'"%'2"2((126 /2$!'"%'22((12
                          26 2$2152-*(,-2% 2"2",%2",0,025'"#2((12
                          6 272'%2(4*0"*()/2(802% 2
    2    !"#$"2 !"#$"2%22&2                                   &"'2"$'' $2   ""212%"#2
                          2'%2--*8"*()+2,-2"',0/2012% 2
    2    !"#$"2 !"#$"2%22&2                                   &"'2"$'' $2   ""212%"#2
                          2'%29*-"*(9+2"',02,0.2",02',023'2(02% 22
                          ','/2
                          992% 2
    2    !"#$"2 !"#$"2%22&2                                   &"'2"$'' $2   ""212%"#2
                          2'%2(:*-"*(0+2",-2",0/2012% 2
    2    !"#$"2 !"#$"2%22&2                                   &"'2"$'' $2   ""212%"#2
                          2'%2-1*-"*-:+2',02,023'202% 2"2",%.2',02
                            ',02',0/20(2% 2
    2    !"#$"2 !"#$"2%22&2                                   &"'2"$'' $2   ""212%"#2
                          2'%20*-"*-:+2,-2,0/2012% 2
    #'#2   5;'2     5;'2%2#2&2                                        &"'2"$'' $2   ""212%"#2
                          2$ 2)-/00/0:/4)/00/0:/:1/:(/((1/(((/((-/(()2
                          22$22&%"'62
                          1"$$"2<6/2-0))=82% 2
    #'#2   %''2    %''2%2#2&2                                       &"'2"$'' $2   ""212%"#2
                          2$2-)/-0/-8/902"28$!2$%$2
                          2$2(2"29$!2$%$2
                          2$2
                          (82"20$!2$%$2
                          2$204/:-/():2"2($2$%$/2(4-:2% 2

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                                                         012
                       Case 20-10343-LSS    Doc 10296   Filed 09/06/22   Page 447 of 498



    345467     89 47      6576497                                  46647 67       34547
    2    !2  !222"2                                   "(#2( $ 2   ((2,!(2
                        2# $210%2&210'2(21) *2$  +2'%'2$2
    2    !2  !222"2%-.2$2# 2%%'+21) *2$  2    "(#2( $ 2   ((2,!(2
    2    !2  !222"2                                   "(#2( $ 2   ((2,!(2
                        2# 21/0+21) *2$  +21%-2$2
    2   #12   #1222"2                                     "(#2( $ 2   ((2,!(2
                        2# 2122234252$,(26+2'2.2$2
                        2, 2# 21/-+2002$2
    2   #12   #1222"2                                     "(#2( $ 2 ((2,!(2
                        2# $212)712/2#1(238$,(26+21).2$2
    2   "##2  "##222"2                                    "(#2( $ 2 ((2,!(2
                        # 2%)-+2##+21% *2$  2
                        # 2%0.+2$8, +21% *2$  2
                        # 2'1%+2$8+21% *2$  2
                        2# 2'1%+2$38+21% *2$  2
                        2# 2'11+2(8+21% *2$  2
    2   "##2  "##222"2                                    "(#2( $ 2 ((2,!(2
                        2# 2'11+2$&2/-221% *2$  2
                        2# 2'1%+21% *2$  2
    2   "##2  "##222"2                                    "(#2( $ 2 ((2,!(2
                        2# 2'1'+2$82(+21% *2$  2
    2   "##2  "##222"2                                    "(#2( $ 2 ((2,!(2
                        2# 2%01+2, +21' *2$  2
                        2# 2%2.+2, +21' *2$  2
    2   "##2  "##222"2                                    "(#2( $ 2 ((2,!(2
                        2# 2'1'+2$38, +21% *2$  2
    2   "*##2 "*##222"2                                   "(#2( $ 2 ((2,!(2
                        2# 21-021.2$  +2$8%2#$$21.2$2
                        2# 21)/21. *2$  +21.2$2
    2   "*##2 "*##222"2                                   "(#2( $ 2 ((2,!(2
                        2# 210-+21. *2$  +238$+21.)4%/2$2
    2   "*##2 "*##222"2                                   "(#2( $ 2 ((2,!(2
                        2# 210021. *2$  +238$211.4122$2
    2   32    3222"2                                      "(#2( $ 2 ((2,!(2
                        2# $20.1+'.2+'-0+'2%+'')+'00+0.'+2- *2$  +2
                        '+1.14''2$2
    2   32    3222"2                                      "(#2( $ 2 ((2,!(2
                        2# $20/+0%+012(2/ *2$  +2/-02$2

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                                                      012
                          Case 20-10343-LSS     Doc 10296    Filed 09/06/22     Page 448 of 498



    345467       89 47       6576497                                     46647 67       34547
    2     2     222 2                                          ,$2,"*"2   ,,2!)-,2
                           2!"2#2$"2%0&2'"(2)*""&20++2*2
    2     2     222 2                                          ,$2,"*"2   ,,2!)-,2
                           2!"2#2$"2+.'&2'"(2)*""&20/02*2
    $$,*2    #,1$,2 #,1$,22$2 2                                      ,$2,"*"2   ,,2!)-,2
                           2*2+%2/*2.324+%2*2,402*402524+%2*2,402
                           *40&2.62*2
    $$,*2    #,1$,2 #,1$,22$2 2                                       ,$2,"*"2 ,,2!)-,2
                           2*2+%2/*2.32,402*40&2002*2
      (,2   $2    $22 2 2                                          ,$2,"*"2 ,,2!)-,2
                           2*2+1210,2732,402,40&2002*2
                           2800++0002&2"2!"280%606702
                           2,9:2$12(#$)2"'22;2+%66'2
     (,2    $2    $22 2 2                                          ,$2,"*"2 ,,2!)-,2
                           2*2+1210,2732412,40&2602*2
                           2800+07.72&22;2+%66'2
                           2,9:2$12(#$)2"++2;2+%66'2
     (,2    $2    $22 2 2                                          ,$2,"*"2 ,,2!)-,2
                           2*2.+210,2732*2,&2,"#$)2
                           2",*(!&800'%+0+72&2$<"212.+2
     (,2    $2    $22 2 2                                          ,$2,"*"2 ,,2!)-,2
                           2*2.0210,2732*2*2
                           2,"#$)2",*(!2
                           2=1*,2+02.0&2800.11/.022
     (,2    $2    $22 2 2                                          ,$2,"*"2 ,,2!)-,2
                           *2.+210,2732,2,2
                           ,"#$)2",*(!&2800/1'...222
                           9,($:2("(1**2+2.+2
     (,2    $2    $22 2 2                                          ,$2,"*"2 ,,2!)-,2
                           *2.7211,2732412*402
                           ",2",*(!22800/6/%.'22
                           528001%1%7722
                           <,(2+2.725212.72
     (,2    $2    $22 2 2                                          ,$2,"*"2 ,,2!)-,2
                           2*2.0210,2732*41&2.102*2>80./+/71/2 ?@2
                           2*2.0210,2732*40&2+702*2>80+'/'6+.2 ?@2
                           2*2/2+%,2.32,41&2.102*2>80+'/'6+.2 ?@2
                           2*2.+210,2.32*40&2+702*2>80./+/71/2 ?2
                           2(8(8##$)2+%876'/2, 2
2
                                                           012
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    345467      89 47          6576497                                      46647 67       34547
    2    !2        !2"222                                         ! 2.! !#.2   "2/ "012
                             2#!2$%&'%1()2(*+2!*0,2!*02(*0,2&+-2#2
    2    !2        !2"222                                         ! 2.! !#.2   "2/ "012
                             2#!21&%+-%1()2!*+2#!*0,22-2#2
    2    !2        !2"222                                         ! 2.! !#.2   "2/ "012
                             2#!21-%+-%3()2(*+2!*+2#(*0,2&-'2#2
    2    !2        !2"222                                         ! 2.! !#.2   "2/ "012
                             2#!21%+-%&0()2#(*02#!*0,20-2#2
                             2#!2&&%+-%&0()2*+2(*0242#*+2!*0242(*02!*0242
                             *+2!*0,2++-2#2
    2    !2        !2"222#!2&-%&2%&+()2#(*02#!*0,20-2#2       ! 2.! !#.2   "2/ "012
                             #!2&0%&2%&+()2#*+2!*0,22-2#2
    2    !2        !2"222                                         ! 2.! !#.2   "2/ "012
                             2#!2&+2%&2%&+()2,23--2#2
    2    !2        !2"222                                         ! 2.! !#.2   "2/ "012
                             2#!2+%+-%&0%()2#*+2#!*0,22-2#2
    2    !2        !2"222                                         ! 2.! !#.2   "2/ "012
                             2#!2&&%+-%3()2(*02(*02(*02
                             2(.! 5!02."(#/2
                             26!72&42+%&+28--&&-22
    2   9!2        9!2"222                                          ! 2.! !#.2 "2/ "012
                             2#!2&-%&2%&+()2#!*0,2&3-2#2:8-;-1&+$2<2
                             2#!21%+-%&0()2#!*0,2&3-2#2:8-'++1;$<2
                             2#!2+%+-%&0()2#!*0,2&3-2#2:8-&$2&+$2<2
    2   !"#.2     !"#.2"222                                       ! 2.! !#.2 "2/ "012
                             2#!2'%&3%;()2(*0,2&3-2#2:8-&&;&2;$2<=2
                             2#!2+2%&0%2()2
                             (*+,21+-2#2:8-&;$;2&12<2
    2   !"#.2     !"#.2"222                                       ! 2.! !#.2 "2/ "012
                             2#!22%&3%;()2#*+2!*0,22-2#2
                             2#!2'%&3%;()2(*02(*0,20-2
                             #2
    2   !"#.2     !"#.2"222                                       ! 2.! !#.2 "2/ "012
                             2#!2+2%&0%2()2(*+,21+-2#2
    2   !"#.2     ##19!!2"222                                     ! 2.! !#.2 "2/ "012
                             2#!21%+&%3()2(*02!*0,20-2#2
    2   !"#.2     ##19!!2"222                                     ! 2.! !#.2 "2/ "012
                             2#!2&'%+&%3()2(*02#(*0,20+8&+2#2

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    234356      789 36     5465386                                    35536 56       234396
    1    !1   "#1111                                  -.1!- !1   1/-0"1
                          11$%&$$&%'(1)$1')0*1+,1 1
    1    !1   "#1111                                  -.1!- !1   1/-0"1
                          1112&$1&3'(1)$1)0*1+,1 1
    1    !1   "#1111                                  -.1!- !1   1/-0"1
                          1112&$1&3'(1)$1')0*1+,1 1
    1    !1   !1111                                   -.1!- !1   1/-0"1
                          1111&$&3'(1')$1')0*1+,1 1
    1    !1   "#1111                                  -.1!- !1   1/-0"1
                          11$4&$1&%'(1')0*11%,1 1
    1    !1   "#1111                                  -.1!- !1   1/-0"1
                          1124&$$&%'(1')01')0*10,1 1
    1   0.01  0.01111                                   -.1!- !1   1/-0"1
                          11$+&14&$(1')01)0*10,1 1
    1   0.01  0.01111                                   -.1!- !1   1/-0"1
                          11$,&14&$(1)$*12$,1 156,$%$2%+34171
                          11$+&14&$(1
                          )0*11%,1 156,4$3234171
    1   0.01 0.01111                                    -.1!- !1   1/-0"1
                           11$&1%&$(1)$1)0*1+,1 1
    1   0.01 0.01111                                    -.1!- !1   1/-0"1
                          11$,&14&$(1)$1)01)$1)01')0*11,,1 1
    1    "#1  "#1111                                  -.1!- !1   1/-0"1
                          11$%&$$&%'(1)$1')0*1+,1 1
    1    "#1  "#1111                                  -.1!- !1   1/-0"1
                          1124&$$&%'(1)01')0*10,1 1




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    345467      89 47        6576497                                  46647 67       34547
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2$0%&&%'()2"*0+2,'-22
                           2"2$1%&&%'()2(*0+2,'-22
                           2"2&'%&&%'()2"*02.2"*0+2$&-22
                           2"2$0%&&%'()2"*02.2"*0+2$&-22
                           2"2&1%&,%/()2(*0+2,'-22
                           2"2,,%&,%/()2(*0+2,'-22
                           2"2,$%&,%/()2(*0.2"*0+2$&-22
                           2"2&0%&,%/()2"*0+2,'-22
                           2"2,0%&,%'()2(*0+2,'-22
                           2
                           "2,%&,%'()2(*0+2,'-22
                           2"2'%&,%1()2(*0+2,'-22
                           2"2$%&,%'()2"*0+2
                           ,'-22
                           222#11"232"44"2,-05$,&22
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2$'%&&%'()2(*&2(*0+28-22
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2&0%&,%/()2*&2"*0+28-22
    2    !""2 3232#222                                   "6224"6"42   #276#3 2
                           2"2&8%,1%&")2"*&2(*&2"*0+20-22
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2$0%&&%'()2"*02"*0+20-22
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2$0%&&%'()2(*02"*0+20-22
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2'%&,%1()2"*&2(*0+28-22
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2$0%&&%'()2"*02"*0+20-22
    2    !""2  !""2#222"2&'%&&%'()2"*02"*0+20-22"6224"6"42   #276#3 2
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2&'%&&%'()2"*&2"*0+28-22
    2    !""2  !""2#222                                 "6224"6"42   #276#3 2
                           2"2&'%&&%'()2(*02"*0+20-22
                           2"2$'%&&%'()2(*0+2,'-2
    2   #6#"2  !""2#222                                    "6224"6"42   #276#3 2
                           2"2,%&,%'()2"*02(*0+20-22

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                                                        012
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    345467      89 47      6576497                                        46647 67     34547
    2    !"2  !"2"222                                         85278#72 "298"6:2
                         2#2$%&'1&'' (2)0*2'1+2#2,-+$1.1/'0212
                         2#2$0&'1&'' (2)0*2'1+2#2,-+$1.1/'0212
                         2#2$'&'2&'' (2#)0232)0*2.$+2#2,-+.2'21$112
                         2#2$$&'2&'' (2# )0*2'1+2#2,-+'/2/%'.212
                         222"44562#772'1-%/22
                         2
    2    !"2  !"2"222                                         85278#72   "298"6:2
                         2#2$$&'2&'' (2#)$2# )0*2%+2#2
    2    !"2  !"2"222                                         85278#72   "298"6:2
                         #2$%&'1&'' (2)02)0*20+2#2
    2    !"2  !"2"222                                         85278#72   "298"6:2
                         2#2$0&'1&'' (2)02)0*20+2#2
    2    !"2  !"2"222                                         85278#72   "298"6:2
                         2#2$'&'2&'' (2#)$2#)$2)0232)$2#)$2)0*2%+2#2
    2    !"2 "#"52"222                                         85278#72   "298"6:2
                         2#2'0&'%&'+ (2)$2 )0*2%+2#2
    2    !"2 "#"52"222                                         85278#72   "298"6:2
                         #2$+&'%&'+ (2 )$2 )0*2%+2#2
    2    !"2 "#"52"222                                         85278#72   "298"6:2
                         2#2'%&'%&'+ (2 )$2#)0*2%+2#2
    2    !"2 "#"52"222                                         85278#72   "298"6:2
                         2#2$/&'%&% (2)$2)0*2%+2#2
    2    !"2 "#"52"222                                         85278#72   "298"6:2
                         2#2$$&'%&% (2#)$2 )0*2%+2#2
    2    !"2 "#"52"222                                         85278#72   "298"6:2
                         2#2.1&'0&'+ (2 )02# )0*20+2#2
    2    !"2 "#"52"222                                         85278#72   "298"6:2
                         2#2$%&'0&'+ (2# )02# )0*2%+2#2
                         2#2$0&'0&'+ (2#)02#)0*2%+2#2
    2    !"2 "#"52"222                                         85278#72 "298"6:2
                         #2$1&'0&'+ (2)$2)0*2%+2#2
    2    !"2 "#"52"222                                         85278#72 "298"6:2
                         2#2$2&'0&'+ (2 )$2#)0*2%+2#2
    2    !"2  !"2"222                                         85278#72 "298"6:2
                         2#2$'&'2&'' (2#)$2#)$2)0232)$2#)$2)0*2%+2#2


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                                                           012
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    345467      89 47      6576497                                 46647 67     34547
    2    !"2  !"2"222                                  0/2,0#,2 "2-0"272
                         2#2$%&$'&$$ (2)*2+2,,2-,2".2,2
                         2)*2# )02+2)*2#)02/!2"0,2".2
                         21220-2#222 ,//20223-,2
                         22-0/22#0122#2"2
                         2,2)02-"#,42,22*12*)'20"2#2 2
                         2*'20"2#2#2%2*)'20"2#2 212$)*20"2#2
                         #2*$2
                         20"2#2"02"02/##2,"2,02".2#22
                         20222/"2,02".2#25*2$)*20"2#2
                         2"02"02/##2,"2-"1420662#2
    2   "#"/2 "#"/2"222                                  0/2,0#,2 "2-0"272
                         2#2*$&**&$8&8 (2-,2
                         2#2$&$1&8 (2-,2
                         2#2*1&$8&8 (2-,2
                         ##2$8414*$4$4$%&$8&$6 (2-,#2
                         2##2'4%4*8&$8&9 (2-,#2
                         2##2*'4*%4*945%&$92
                         &$6 (2-,#2
                         222"../22#,,29*:698%22
    2   "#"/2 "#"/2"222                                  0/2,0#,2 "2-0"272
                         2#2'&$8&9 (2#)042$%62#2
    2   "#"/2 "#"/2"222                                  0/2,0#,2 "2-0"272
                         2#2%&$8&9 (2"0,2.0,"/2/.2# )022
                         3-,2*620"2#2"..2
                         ,22#22
    2   "#"/2 "#"/2"222                                  0/2,0#,2   "2-0"272
                         2#2*8&$8&9 (2)*2#)042#)*2)042$%62#2
    2   "#"/2 "#"/2"222                                  0/2,0#,2   "2-0"272
                         2#2*8&$8&9 (2)02)042062#2
    2   "#"/2 "#"/2"222                                  0/2,0#,2   "2-0"272
                         2#21&$8&$6 (2#)02#)042062#2
    2   "#"/2 "#"/2"222                                  0/2,0#,2   "2-0"272
                         2#21&$8&$6& (2#)02#)042062#2
    2   "#"/2 "#"/2"222                                  0/2,0#,2   "2-0"272
                         2#2$%&$8 &$6 (2#)*2# )0423-,2,20" 2".2
                         0220-2#2220042862#2
    2   "#"/2 "#"/2"222                                  0/2,0#,2 "2-0"272
                         2#2*$&$8&$6 (2 )02# )042062#2
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    345467      89 47         6576497                                46647 67       34547
    2    !"2     !"2222!2##$%1$1&'2&(0)2%*+2 2 !,"2-!,! -2       2.,/02
    2    !"2     01!!2222                                !,"2-!,! -2   2.,/02
                            2!223$##$*&'2(#)22#+2 2
    2    !"2     !"2222                                 !,"2-!,! -2   2.,/02
                            2!2#4$%1$1&'2.-)2#*+2 2
    2    !"2     !"2222                                 !,"2-!,! -2   2.,/02
                            2!2%5$%1$%+&'2!(#2&(02!(0)2#+2 2
    2    !"2     !"2222                                 !,"2-!,! -2   2.,/02
                            2!2%4$%1$%+&'2&(02&(0262&(#2!(0)2%#+2 2
                            2+7+++44202,!!/2-820-2-,-2%2
    2    !"2     !"2222                                 !,"2-!,! -2   2.,/02
                            2!2#%$%1$1&'2!(0)2%*+2 2
    2    !"2     !"2222                                 !,"2-!,! -2   2.,/02
                            2!2%5$%1$%+&'2&(02!(0)20+2 2
                            2!2%4$%1$%+&'2&(02&(0)2&(#2!(02&(0)2*+2 2
    2    !"2     !"2222                                 !,"2-!,! -2   2.,/02
                            2!2#1$%5$%+&'2&(02&(0)20+2 2
                            2!2#5$%5$%+&'2(#2!(0)1+2 2
      ..2 1 &2   1 &22 22                                !,"2-!,! -2   2.,/02
                            2!2%$%2$3!'2!(02!(0)20+2 2
      ..2 1 &2   1 &22 22                                !,"2-!,! -2   2.,/02
                            2!2%#$%2$3!'2!(0)2%*+2 2
      ..2 1 &2   1 &22 22                                !,"2-!,! -2   2.,/02
                            2!22#$%2$3!'2!(0)2&(0)20-2/!292&(02:!2
                            #+2)220+2 2
      ..2 1 &2   1 &22 22                                !,"2-!,! -2   2.,/02
                            2!24$%2 $3!'2&(02620222-!20-2/!292
                            &(0)2%*02 2
      ..2 1 &2   1 &22 222                               !,"2-!,! -2   2.,/02
                            2!24$%2$3!'2(#2&(0262#2 22&(2!(0)21#2 2
      ..2 1 &2   1 &22 22                                !,"2-!,! -2   2.,/02
                            2!22+$%#$3!'2&(0262*+2 22,-2/!292
                              &(0)2##+2 2
      ..2 1 &2   1 &22 22                                !,"2-!,! -2   2.,/02
                            2!2%#$%2$0!'2!(0)2%*+2 2
      ..2 1 &2   1 &22 22                                !,"2-!,! -2   2.,/02
                            2!222$%#$3!'2&(#2&(0)21+2 2

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    345467       89 47          6576497                                    46647 67       34547
    2 2      2222                                      & /02&- / -2   &&2/.1&22
                              2 2!"#$%&#1 '2&()02& )0*2& )02& )02&()0*2()!2& )02
                              &()0*2+%222
                              2 2!!#$%&#1 '2& )02 )0*20%22
                              2 2!,#$%&#1 '2()02&()0*2,%22-2. 2&()02
                              (0*2+%22
    2   3// -2 3// -2222                                       & /02&- / -2   &&2/.1&22
                              2 2!4#$&#$!('2 )!2&()0252()!2 )0*2$"%22
                              2 2$#$#$!('2
                               )02()0*2 )0252& )02 )0*22
                              2& )0*2 )02&()0*2&)!2()0252& )02 )0*200%22
    2   2/ & 2 2/ & 2222                                           & /02&- / -2   &&2/.1&22
                              2 2,$#,&#4('2
                              2 2,"#,&#"('2
                              2 2,$#,&#4('2
                              2&()02()0*2 62,$#,&#4(2& )0*2 2,"#,&#"(6207&222
                               -232- 28(72/9 /2&.22002--2
                              /-232& )!22 )0*22 2,"#,&#"#(207&226232 2
                              /9 /2&()02&()0*2 2,$#,&#4(2522-/2& 2(. 2
                              (). 232()02&()02 2,$#,&#24(2
    2   :8&2 :8&222$),22                                   & /02&- / -2   &&2/.1&22
                               2$,#4#4('2()0*2$"%22
    2   : /2    : /2222                                      & /02&- / -2   &&2/.1&22
                              2 2$,#0&#$! '2 )02()0*20%22
                              2 2!4#0&#$! '2()!2)!2 )052 )02& )0*2;%22
                              2 2!0#0&#$! '2)!2&()0*2;%22
                              2 2$1#0&#$, '2,$222
                              32()02()0*2,$22
    2   01. /.0 201. /.0 2222                                  & /02&- / -2   &&2/.1&22
                              2 2!1#"&#$0 '2()02()0205 2!22& )*2,;22
                              2 2,%#"&#$0 '2 )0*2$"%22
                              2 2,$#"&#$0 '2()!2& )0*2;%22
    2   & (-&2 & (-&2222                                         & /02&- / -2   &&2/.1&22
                              2 2!!#4&#$, '2)!2 )0*2;%22



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                                                            012
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    345467       89 47          6576497                                       46647 67       34547
    2  2       2! 222                                         3+-232    23 1/!52
                              2!2"#$#%&'2()2()*2)12+!2
                              2!2%%#$#%&'222()2()2,()2()2
                              2-2%2+!.22(!2,2%12+!22 /0212
                              2222()2()2,2()2(2
                              )2-2"2+!222
                              2(!2,2""2+!22 3021222()2()*2%142+!2
    2  2       2! 222                                         3+-232    23 1/!52
                              2!2""#$#%"'2("2()2,2("2()2,2("2("2("2()*2
                              %612+!2
    2 3372       3372! 222                                          3+-232    23 1/!52
                              2!26#%#%%'2()2()*2)12+!2
                              2!2$#%#%%'2()2()*2()()*2612+!2
                              2!20#%#%%'2()2()*2)12+!2
                              2!2&1#%#%%'2("2()*2()2
                              ()*2()2()*2()2()*2"112+!2
    2 3372       3372! 222!2%8#%#%%'2("2()*2()2()*2 3+-232        23 1/!52
                              ()2()2("2()*2()()*2("*2$612+!2
    2 3372       3372! 222                                          3+-232    23 1/!52
                              2!2%4#%#%%'2()2()*2()2()*2("2()*2("2
                              ()*2()2()*2("2()*2&$12
                              2!2%6#%#%%'2("2()*2("2()*2()2()*2"112+!2
    2 3372       3372! 222                                          3+-232    23 1/!52
                              2!2"%#%#%%'2()2()*2("2()*2()*2()2
                              2()*2("2()("2()*2("2()*2%$12+!2
                              2!2"1#%#%%'2("2()*2()2()*2()2
                              2()*2
                              ("2()*2)612+!2
    2 3372       3372! 222                                          3+-232    23 1/!52
                              2!2%&#%#%%'2()2()*2)12+!2
                              2!2")#%#%%'2("2()*2)12
                              +!2
                              2!2"$#%#%%'2()2()*2)12+!2
                              2!2"&#%#%%'2("2()*2)2()*2()()*2("2
                              ()2,2()2()*2)112+!2
                              2!2%)#%#%%'2()2()*2)12+!2


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    345467       89 47        6576497                                      46647 67     34547
    2 2     2 222                                         &)*2&++2 & &2 ,-&.2
                            22!!"1"11#$2%!2&%'(2&#%'2&%'(2&%'2&#%'(2#%'2
                            &#%'(2&%!2#%'(2&%!2%'(2
                            2210"1"11#$2&#%'2&#%'(2%!2#%'(2&%'2#%'(2%!2
                            %'(2&#%'2%'(2
    2 )&/&2    )&/&2 222                                        &)*2&++2 & &2 ,-&.2
                            22!0"'&"1$2&%!2#%'2*202)2112
                            2)+2&,222#%'2&#%'222
                            #%!2%'2&#%'(21302)2
    2 )&/&2    )&/&2 222                                        &)*2&++2 & &2 ,-&.2
                            22&%'2&#%'222132)2112)+2,2
                            212&#%'2&#%'(2&#%!2%'2
                            &#%'222+4)+2
                            2+2&%!2#%'2&#%'2*&.2212-5*2,(2!62)2
    2 )&/&2    )&/&2 222                                        &)*2&++2 & &2 ,-&.2
                            2233"'&"1$2#%!2&#%'(2782)2
    2 )&/&2    )&/&2 222                                        &)*2&++2 & &2 ,-&.2
                            22!0"'&"1$2&%!2#%'2*202)2112)+2
                            2&,222#%'2&#%'222
                            #%!2%'2&#%'(21302)2
    2 )&/&2    )&/&2 222                                        &)*2&++2 & &2 ,-&.2
                            22&%'2&#%'222132)2112)+2,2
                            212&#%'2&#%'(2&#%!2%'2
                            &#%'222+2
                            2&%!2#%'22&#%'2*&.2)+212-5*2,(2!62)2
    2 )&/&2    )&/&2 222                                        &)*2&++2   & &2 ,-&.2
                            22!6"'&"1$2#%!2&%'(2%!2%'2&#%'(21882)2
    2 )&/&2    )&/&2 222                                        &)*2&++2   & &2 ,-&.2
                            2233"'&"1$2#%!2&#%'(2782)2
    2 )&/&2    )&/&2 222                                        &)*2&++2   & &2 ,-&.2
                            22!6"'&"1$2#%!2&%'(2%!2%'2&#%'(21882)2
    2 +)**)4)+4 +)**)4)+42 222                                  &)*2&++2   & &2 ,-&.2
                 2        220"!'&"1#$2+2%'2&%'(23!2)22
                            227"!'&"1#$2&#%'#%'(2'82)2
    2 +)**)4)+4 +)**)4)+42 222                                  &)*2&++2 & &2 ,-&.2
                 2        2&%!212232 -+4212-,,25) -2
                            222%!2#%!212232
                            & +4212-,,25) -(2!'02)2

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    345467       89 47        6576497                                     46647 67       34547
    2    !2"222                                  (!%2(!%!2   ("(2%"12 (-2
                 !2        2! 21#$10$%1&'2(!)#2(!)#*222%2
                            2"+2(&)#2,(- !(!%2"+2"(-2.%/!02
                            2()12&)#2(!)#22%2"+2!)#2(!)#*21#02 2
    2 &("(2 &("(2"223)422                                     (!%2(!%!2   ("(2%"12 (-2
                            2! 233$532($56!'2!)12(&)#*2462 2
    2 &("(2 &("(2"223)422                                     (!%2(!%!2   ("(2%"12 (-2
                            2! 231$53($56!'2!)#2!)#*2#62 2
    2 &("(2 &("(2"223)422                                     (!%2(!%!2   ("(2%"12 (-2
                            2! 217$53($56!'2&)12!)#*2462 2
    2 &("(2 &("(2"225)#22                                     (!%2(!%!2   ("(2%"12 (-2
                            2! 217$53($56!'2#12 2(!)#2(!)#2&)#282512 2(2
                            !)2!)#2(&)#2
    2 &("(2 (!&"(2"222                                          (!%2(!%!2   ("(2%"12 (-2
                            2! 253$9($53!'2&)12(&)#2!2562 2"22"+2!)*2:62
                             2
                            2! 25#$9($53!'2!)12(!)#*2462 2
    (!.%/2 2!%2          2!%2"2(!.%/25)1222                            (!%2(!%!2   ("(2%"12 (-2
                            16($%5:&2"+2!292;;2(2! "(23#2<!)1!)#=02
                            462 2
                            57(*%5:&2"+2!272;;2(2! "(232<&)#=25962
                             282! "(2#2<!)1=23162 2
                            !%2(!%21!!121126#)11)57032%! "%1!120)54)03*2
                            (2.""/2536*2-29#32
    (!.%/2 -%+!12 -%+!12"2(!.%/25)12211($%50&2"+2!2 (!%2(!%!2                 ("(2%"12 (-2
                            92;;! "(256'2()12!)#02! "(255'2!)1*2&)#*2
                            )12(&)#2(12(!)#2(&)#02! "(251'2&)12&)1!%2
                            (!%21!!12%! "%1!12(2.""/20*2-20032
    ("%2       .!("(2 .!("(2"2(1222                                          (!%2(!%!2   ("(2%"12 (-2
    1/"2                 "&(2503*2%(-!2:52
                            ! "(25'2&)#*2(12)12(&)#2
                            ! "(1'2!)#2(!)#02(!)#2!)#02&)#2(!)#02(&)#2!)#02
                            (&)#2&)#2
                            ! "(251'2()12&)#*2
                            (&)#2



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    345467    89 47        6576497                                        46647 67       34547
    2     !"#2 !"#2$22%!20&'(0&2$)2                             %!"02!"")2   28#$!92
    2              2)"$2*+,+'1,-0./20)2111*(+&23241+-(*5232'1+'(652327*2
                         "7432).742.7432.7*2).7432
                         2)"$2*6,+'1,-0./20)2*11&(+523211++(15232).7432.7*2
                         )"7432).742"7432
    2     #0"!92 #0"!92$22%!2                                          %!"02!"")2   28#$!92
    2              2.742:2)"742)"$2*&,+1&,-032)"742:2"742)"$2++,+16,
                         -032'452$)2
    2     #0"!92 #0"!92$22%!2                                          %!"02!"")2   28#$!92
    2              .74;2)"74;2)7*;2)"742).742)"$2*+,+1&,-0.32).74;2
                         )"74)"$21,+1&,-032'552$)2
    2     #0"!92 #0"!92$22%!2                                          %!"02!"")2   28#$!92
    2              ).742)"$2*4,+45,-032"74;2"742)"$2*1,+45,-032.742)"$22
                         1,+45,-032'452$)2
    2     #0"!92 #0"!92$22%!2                                          %!"02!"")2   28#$!92
    2              .742)"$2*-,+4*,-032"742)"$214,+4*,-032.742)"$2*,+4+,
                         -032).742)"$2',+4*,-'32'452$)2
    2     #0"!92 #0"!92$22%!2                                          %!"02!"")2   28#$!92
    2              "742)"$21*,+41,-632)"742)"$2*&,+41,-632.742)"$2+*,+41,
                         -'324652$)2
    2     #0"!92 #0"!92$22%!2                                          %!"02!"")2   28#$!92
    2              )7*2)"742)"$2*1,+16,-632"742)"$2*',+16,-632)"742)"$10,
                         +16,-632.7*2)"$20,+1&,-&32-*52$)2
    2    "<2      "<2$22%!24652$)2                                    %!"02!"")2   28#$!92
    2              2)"$24,+05,'-/20)2+3*;2)7*32"74;2)"742024;2).7432
                         .74;2)"7432.74;20212
    2    "<2      "<2$22%!24652$)2                                    %!"02!"")2   28#$!92
    2              2)"$211,+46,'-/2"742:2).742
                         2)"$211,+46,''/2).742
    2    =)"2    =)"2$22%!2                                          %!"02!"")2   28#$!92
    2              2)"$2**,+4*,--./2)7*2).7432652$)2
                         2)"$2*,+41,--./27*321*5$)2
                         2)"$24,+41,--./2"7432+'52$)2
    2    =)"2    =)"2$22%!2                                          %!"02!"")2   28#$!92
    2              2)"$2**,+44,--./2)"7432+'52$)2
                         2)"$2*',+44,--./2).7432+'52$)2
                         2)"$2*-,+44,--./27*321*52$)2


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    345467    89 47           6576497                                       46647 67     34547
    2     !"2         !"2#22$%2                                        $%"22%""!2 234#%52
    2                 2!"#2&0'&11'(()*2"+,2-2!)+1.21/02#!2
                            2!"#2&1'&11'(()*2)+1.2
                            &102#!2
    2    !"2          !"2#22$%2                                        $%"22%""!2 234#%52
    2                 2!"#2,1'&11'(()*2"+,2-22!2&.2,.21/02#!2
    2    !"2          !"2#22$%2                                        $%"22%""!2 234#%52
    2                 2!"#2,1'&11'(1)*2!"+1.2)+1.2!)+1.22
                            2!"#261'&11'(1)*2+,.26,02#!2
    2    !"2          !"2#22$%2                                        $%"22%""!2 234#%52
    2                 2!"#2('&11'(0)*2!)+12-2!"+1.26,02#!2
    2    !"2          !"2#22$%2                                        $%"22%""!2 234#%52
    2                 2!"#260'&11'(0)*222.21102#!2
    2    !"2          !"2#22$%2                                        $%"22%""!2 234#%52
    2                 2!"#26&'&1('11*2"+,.26,02#!2
                            2!"#26,'&1('11*2)+,.26,02#!2
    2    !"2          !"2#22$%21/02#!2                                $%"22%""!2 234#%52
    2                 2"+12!"#2&6'&11'112
                            2!"+12!"#26'&11'112
                            2!"+12!"#2
                            6,'&1('112
    2     !"2         !"2#22$%21102#!2                                $%"22%""!2 234#%52
    2                 2!"#20'&11'11*2222
    2     !"2         !"2#22$%21102#!2                                $%"22%""!2 234#%52
    2                 2!"#26,'&10'11*2222
    2    %"2       %"2#22$%2                                         $%"22%""!2 234#%52
    2                 2!"#260'&11'(1)*2"+,.2)+1.22!2&.,.2
                            2!"#2&7'&11'(1)*2!)+1.2
                            2!"#260'&11'(1)*2"+182"+,2!)+1.22!26.1.2
    2    %"2       %"2#22$%2                                         $%"22%""!2 234#%52
    2                 2!"#2&7'&11'(1)*2!"+1.2&102#!2
                            2!"#2&/'&11'(1)*2"+1.2&102
                            #!2
                            2!"#2,/'&11'(6)*2!"+12-2!)+1.26,02#!2
    2    %"2       %"2#22$%2!"#266'&16'(1)*2"+,.26,02#!2         $%"22%""!2 234#%52
    2                 !"#26,'&11'(1)*2!+,.2!)+1.2)+,2!"+1.22!"#26,'&11'
                            (1)*2+,2)+1.2/02#!2


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                                                           012
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    234356    789 36         5465386                                           35536 56       234396
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1$%&'('&)*+,1# -(.1'/01!#1
                            1# !1'/&'('&)*+,1#+-(.1'/01!#1
                            1# !10&'('&)*+,1#+-(.1'/01!#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1')&'($&)$+,1-$151#+-(.1(%01!#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1*'&'($&)$+,1+-(.1'/01!#1
                            1# !1*0&'($&)$+,1-$1+-$.'/01!#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1$0&'((&)*+,1 -(.1'/01!#1
                            1# !1')&'((&)*+,1 -(151# -(.1*$01!#1
    1     1       "1!11"1                                           " 11  #1   123!41
    1                 1# !1%&'*)&%0+,1 -(.1'/01!#1
                            1# !16&'*)&%0+,1+-$.1*$01!#1
    1     1       "1!11"1                                           " 11  #1   123!41
    1                 1# !1*'&'*)&%0+,1#-$.1*$01!#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1'0&'(*&)',1 -(151# -(.1*$01!#1
                            1# !1$$&'('&)',1+-$1+-(.-$1#+-(.1#-$1 -(1-$1# -(.1*$01
                            !#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !16&'('&)$,1-$151+-(.1(%01!#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1(&'('&)$,11-$1# -(71-$1 -(151#+111$.*.(.1(%01
                            !#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1'(&'*)&)',1+-(.1'/01!#1
                            1# !1$%&'*)&)',1-$1+-(71+-(1# -(71#+-(1 -(.1$(01!#1
                            1# !1$$&'*)&)',1-$1+-(.1%01!#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1'0&'*)&)',1 -(151+-(.1*$01!#1
                            1# !1''&'*)&)',1+-$.1*$01
                            !#1
    1     1        1!11"1                                           " 11  #1   123!41
    1                 1# !1)&'*)&)',1+-(151#+-(.1*$01!#1


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    345467    89 47          6576497                                      46647 67    34547
    2    !2       !2"22# 2                                         # !32!!$2 245"62
    2                2$!"2%0&'()&*%+2,%2-2$!,./2.)02"$2
                           2$!"2'1&'()&*'+2$2,./2'102
                           "$2
    2    !2       !2"22# 2                                         # !32!!$2 245"62
    2                2$!"2')&'()&*%+2$2,./2'102"$2
                           2$!"2'1&'()&*%+22,./2'102"$2
                           2
                           $!"2'(&'()&*(+2$2,./2'102"$2
    2    !2       !2"22# 2                                         # !32!!$2 245"62
    2                2$!"21&'(*&*'+2!,./2'102"$2
                           2$!"21&'(*&*'+2$2,./2'102"$2
                           2$!"2)&'(*&*'+22,./2'102"$2
                           2$!"2'*&'(*&*'+2$2,./2'102"$2
    2    #"23!2     #"3!2"22# 2                                        # !32!!$2 245"62
    2                2$!"2%'&'.1&*12+2$2,./2'102"$2
                           2$!"2%0&'.1&*12+2$!,./2'102"$2
                           2$!"2(&'.1&&)02+2$2,./2'102"$2
    2    #"23!2     #"3!2"22# 2                                        # !32!!$2 245"62
    2                2$!"2''&'00&)02+22,%2-2!,./2.)02"$2
    2    #2      #2"22# 2                                        # !32!!$2 245"62
    2                2$!"2'&'(*&)02+2!,.2-2$2,./2(%02"$2
                           2$!"2%&'(*&)02+2$!,.2-2
                           $,%2!,./2%.02"$2
    2    #2      #2"22# 2                                        # !32!!$2 245"62
    2                2$!"21&'(*&)02+2!,%/2(%02"$2
                           2$!"2'0&'(*&)02+22,%/2(%02"$2
    2    #2      #2"22# 2                                        # !32!!$2 245"62
    2                2$!"2%'&'(*&)02+2!,%/2(%02"$2
                           2$!"2%*&'(*&)02+2,%/2(%02"$2
    2    $572        $572"22# 2                                          # !32!!$2 245"62
    2                2$!"20&'%1&)(2+22,%/2(%02"$2
                           2$!"21&'%1&)(2+2!,%/2(%02"$2
    2    $572        $572"22# 2                                          # !32!!$2 245"62
    2                2$!"2(0&'(0&)(2+2$!,./2'102"$2
    2    $572        $572"22# 2                                          # !32!!$2 245"62
    2                2$!"2('&'%1&)02+23$2%/(/.2-2$!,.22,.2-2!,%2$2,./2
                           %.02"$2

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                                                          012
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    345467    89 47         6576497                                       46647 67       34547
    2     !"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$2'()*(+)1,-2#.,2#.(/2" .(2#.(22
                           "#$2,0)*(+)1,-2"#.(2 .(/2" .(2
                           "#$2()*(1)1,-2!"2*1,/2".,2#.(12(+22$"32
    2     #!!"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$2,1)*(0)07-2.,282.702$"12(*02$"2
    2     #!!"2         #!!"2$22%&"#$2,0)*02)0+-2#.(12 .(/2 .,2 %&#!2&##"2          245$&62
    2                #.(/2#.(12#.("#$2*()*02)0+-2"#.(282" .("#$2,,)
                           *02)0+-2#.,282#.("#$2,')*02)0+-2 .(120222$"2
    2     #!!"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$2,*)*02)0+-2".,282"#.(2
                           "#$2,+)*02)0+-2#.,2#.(2
                           "#$2,1)*02)0+-2 .(2
                           "#$2,,)*02)0+-2" .(12(+22$"2
    2     #!!"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$2'()*02)0+-2#.,12#.(/2#.,2"#.(2
                           "#$2'0)*02))0+-2 .,2 .(82" .(2
                           "#$2,1)*02)0+-2" .(282"#.(120(22$"2
    2     #!!"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$20)*(7)0+-2".,2#.(/2!"2*12,2
                           "#$2',)*02)0+-2".,2" .(".,2"#.(/2#.(2"#.(2
                           "#$2'')*020+-2.,2"#.(/2" .(2" .(120,22$"2
    2     #!!"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$2*)*07)07-2"#.(12#.(2!2*2
                           "#$2'*)*02)0+-2#.(2" .(/" .(2"#.(/2"#.(2" .(2
                           "#$2',)*02)0+-2 .(2" .(/2" .(2 .(/2 .(120(22$"2
    2     #!!"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$2*7)*02)1*-2#.(282" .(2
                           "#$2*+)*02)1*-2"#.(2
                           "#$2,()*02)1,-2"#.(120(22$"2
    2     #!!"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$2*0)*(+)1,-2"#.(12 .(2
                           "#$2,*)*(+)1,-2".,12"#.(/2" .(" .(/.,2".,/2#.'2#.(2
                           "#$2,+)*(+)1,-2#.(2#.(/2".,2 .(/2 .,2#.(2
                           "#$2,,)*(+)1,-2 .,2 .(/2 .(2" .(121,22$"2
    2     #!!"2         #!!"2$22%&2                                        %&#!2&##"2   245$&62
    2                "#$2,1)*(+)1,-2.,/2#.,2" .(/2" .(2" .(/2"#.(2
                           "#$2'()*(+)1,-2 .(2 .(120(22$"2

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                                                        012
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    345467    89 47           6576497                                          46647 67     34547
    2      !""#2          !""#2$22%&2                                           %&!"2&!!#2 212$&32
    2                 #!$2'()*+(),*-2!.'2
                            #!$2**)*+(),'-2 .+/2+102$#2
    "%2 4!5!2       "%2 &"&32                                       6"62&!!#2 212$&32
    "%2 !""&#2        !""&#2$22%&2                                             %&!"2&!!#2 212$&32
                            2#!$2*7)*,#)'' -2+02$#2
                            2#"2 !26"62
                            2"4!%&!2$12
    "%2 "!28"!2     "!8"!2$221&2                                         6"62&!!#2 212$&32
                            2#!$2*9),)'0!2
                            2#!$2*+),)'0!2
                            2#!$2'9),)'0!2
                            2#!$2'+),)'0!2
                            2#!$2'0),)'0!2
                            2#!$2'7),)'0!2
                            2#!$29*),)'0!2
                            2#!$297),)'0!2
                            2!62$#&/2!22:2
    !32    $"#12     $"#12$22%&2                                           %&!"2&!!#2 212$&32
                             #&127223!272 !#2
                            #!$2+2"#2*/'/9/+/2#.'2.'/#.'/2#!$202"#2*/'/9/+/2#.'2
                            .'/2#.'/2
                            #!$272"#2*/'/2#.'2!/2#! /2!# /2#!/#!$,!!/22
                            #!$212""/2#!$2(2""/2#!$2*+2 .'2#2;2!2"2&#2&32
                            $!!/2
                            #!$2*02""2!:2
                            $!12,,<02$#/2#!$2*72""/2#!$2*,2""/2
                            #!$2*12"#2'/9/+/2#! /2#.'2!/2!.'2# /#!/2
                            #!$2*(2"#2*/'/9/+2!.' .'/2!.'/2#!$2'02""/2
                            #!$2'* .'/2.'!/#!!/2#!$''2
                            .'.'/2
                            #!$2'92.'2 2!:$!1212$#/2#!$2902"2*/'/!.'2 /2
                            !/2
                             #&12722
                            23!2,2 !#2
                            #!$2*2"#2*/'/9/+/2#!$2'2"#2*/'/9/+/0/2
                            #!$292"#2*/'/9/+/2
                            #!$2'+2!.'2!.'/2 .'2!/2 #!/2# #!/2
                            #!$2'02 !/!.'2 /221/,+1<712$#2

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                                                             012
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    345467    89 47           6576497                                   46647 67      34547
    2   2         222 2                                        #-2%%2   2$./2
                            !!""2#2$#%2&2
                            2'!(')(!*+2
                            2''(')(!*+2
                            '"(')(!*+2
                            2',(')(!*+2
                            2')(')(!*+2
    /%02    2       22.2 %''('"22!342 52%2!462  #-2%%2          2$./2
    .#1%#2                 %''(',22!342 52%2'*234272+3452%''(')2
                            2!3)2 52%2182#--6%'*(''22!342 52
                            %'09'"6%'*('*22*3)2 52%2!192'*92
                            ')6%'*('*22!342 52%2'19*:6%'*('"22!342
                             52%2')223'92345%'*(')22*3)2 52%2
                            '!92-%2!272'92+342
    /%02    0##12       0##122.2 2                                      #-2%%2   2$./2
    .#1%#2                 %+0$2!92#2!)22!3'2 522%2'"92*062
                            %+0$249#2'!22!3'2 522%2'462
                            %+0$2"92#2'422!3)2 522%202
                            92)9212#.222!3'2 522%2"22+34562
                            %+0$2,92#2'*22!3'2 522!223'92+345292
                            2,223'23'5922',9')62
                            %+0$2,92#2'422!3'2 522
                            %2!)22+34272%2*!223'562
                            %+0$2)92#2'*22!3'2 522%2
                            !19'!9')9'19*:2
    /%02    0/02       0/022.2!3'2 2                                  #-2%%2   2$./2
    .#1%#2                 %+0$2!!!92#2,422%2!492!062
                            %+0$2!!'92#2,022%2!162
                            %+0$2!!'92#2,"22%2!*92'42
    /%02    0;.2         0;.22.2!3'2 2                                    #-2%%2   2$./2
    .#1%#2                 %+0$2!!'92#2,*22%2'9*94909!:9!49!062
                            %+0$2!!*92#2,'222422+345922)2234592
                            2'"22345922')22+3456222
                            %+0$2!!*92#2,*22%2'082+34923462
                            %+0$2!!492#2,'22%2',9**9*49*092



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                                                       012
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    345467    89 47            6576497                                   46647 67       34547
    2     !"#$2         !"#$2%22&#2                                   &#$!"52#$!"!2   $$2"%#$)2
    2                  '$#2((2"$)!2*12+,-*02&#.2#$2!%#$2*/2*0122
                             '$#2(("$)!2**2+,-*02&#.2#$2!%#$2*23(,3(232
                             (012
                             '$#2((2"$)!2**2+*-/2&#.2#$2
                             !%#$2*232(,3(23(032(032,12$2,*122
                             '$#2(,2"$)!2*12+*-(2&#.2#$2!%#$2(432,42
    2    $5!62       $5!62%22+*-(.2&#22                             &#$!"52#$!"!2   $$2"%#$)2
    2                  '$#2432"$)!2(72!2#$2!%#$2,,12
                             '$#2732"$)!2(42!2#$2!%#$2(*32(/32(02
    2    5562         5562%22&#2                                      &#$!"52#$!"!2   $$2"%#$)2
    2                  '$#2**232"$)!2/12+,-/2&#.2#$2!%#$24303/122
                             '$#2**432"$)!2/12+,-/2&#.2#$2!%#$2032(/32
                             (03,13,*2$2,(12
                             '$#2**432"$)!2/*2
                             +,-/2&#.2#$2!%#$2!%#$2(412
                             '$#2**,32"$)!2742+*-(2&#.2#$2!%#$2(43(012
                             '$#2**,32"$)!2722+*-(2&#.2#$2!%2*2+$'-2.12!%2
                             ,2+'-(82!-(.12!%2*12
                             +$!-2.12
    !92    $!"$2      $!"$2%292&#2                                   &#$!"52#$!"!2   $$2"%#$)2
                             2:2%";#!"2<62=((*32*2/2%2
    !92    $!"$2      $!"$2%292&#2                                   &#$!"52#$!"!2   $$2"%#$)2
                             2)2'2))5!2<62=77*2
                             2'#55#&2'"#)2<62=70/32((2>(42%2
    !92    $!"$2      $!"$2%292&#2                                   &#$!"52#$!"!2   $$2"%#$)2
                             2&2)2<62=(7282'25252<62=47320,/>/2
                             %2
    !92    $!"$2      $!"$2%292&#2                                   &#$!"52#$!"!2   $$2"%#$)2
                             2!%2*2#8)$2""2<62;52*224/,32*,2>/2%2
    !92    $!"$2      $!"$2%292&#2                                   &#$!"52#$!"!2   $$2"%#$)2
                             2";!"2!"'#$2<62=(0(32442%2
    !92    $!"$2      $!"$2%292&#2                                   &#$!"52#$!"!2   $$2"%#$)2
                             2%2%2&%$52<62=*14/32//2%2
    !92    $!"$2      $!"$2%292&#2                                   &#$!"52#$!"!2   $$2"%#$)2
                             2<632*012%2
                             2&#%!5525!!21>111*/02"#2


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                                                         012
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    345467   89 47       6576497                               46647 67     34547
    2    2  2! 22"#2                              '+'2#2  2" 2!#32
                       2$2%2!"2&'2()))2*2
                       2 2!+2&'2(,1-2.-/,.01!2
                       2 23+2+#42
    2   5 "2 5 "2! 224#2                                 4#+2#2  2" 2!#32
                       2!+&#2332&'2(1,62
                       2!7+28+2&'2()192
                       219:0/2!;9:0/2<21::=2
    2   5 "2 5 "2! 224#2                                 4#+2#2    2" 2!#32
                       2$2>++2*272!+52'2&'-2,1012!2
    2   5 "2 5 "2! 224#2                                 4#+2#2    2" 2!#32
                       27#372&'-2)::2!2
    2   5 "2 5 "2! 224#2                                 4#+2#2    2" 2!#32
                       22723#42&'-21.:2!2
    2   5 "2 5 "2! 224#2                                 4#+2#2    2" 2!#32
                       2$2>++2&'-21::2!2
    2   5 "2 5 "2! 224#2                                 4#+2#2    2" 2!#32
                       2225+'2&'-2,/:2!2
    2   5 "2 5 "2! 22"#2$24#2&'-21)62!2$22       '+'2#2    2" 2!#32
                       5 %#32
    2   5 "2 5 "2! 22"#2                                '+'2#2    2" 2!#32
                       2$24#2*227#2&'-26.,0)2!2
                       23 32%2;++'=2
    2   5 "2 5 "2! 22"#2                                '+'2#2  2" 2!#32
                       2$2%#372*2$2"2%++!2&'-2)6)0/2!2
                       27252%2
    2   5 "2 5 "2! 22"#2                                '+'2#2  2" 2!#32
                       2$2!2#3742*2$23+5'2&'-2)2!2
                       22322+#222
    2   5 "2 5 "2! 22"#2                                '+'2#2  2" 2!#32
                       2$2%2&'-2)::2!2
                       27'24 5+'2
    2   5 "2 5 "2! 22"#2                                '+'2#2  2" 2!#32
                       2$2>++2&'-21:/01)2!2
                       2!2%24 7#32+2
    2   5 "2 5 "2! 22"#2                                '+'2#2  2" 2!#32
                       2232++2*2"252#+2&'-2,:901:12!2
                       23 32#8-2+2

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                                                   012
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    345467   89 47         6576497                              46647 67       34547
    2    2     2!22" #2                             &-&2#"2   ""2$.!#"/2
                         2$% &2!2'&(2)*)2!2
                         22%2+,&2
    2    2    0#2!22" #2                            &-&2#"2   ""2$.!#"/2
                         2,1212+'221212,#--#(2)342!2
    2   2        2!22%#2                                   %#"-2#"2   ""2$.!#"/2
                         2!21)02$"2%-&2'&25406(2)161*2!2
    2   $"2     $"2!22%#2                                %#"-2#"2   ""2$.!#"/2
                         212-72,%22-'!2"'#/#"2'&(2832!2
    2   0#2   0#2!22%#2                              %#"-2#"2   ""2$.!#"/2
                         292+2,--2'&250:(2;1113)2!2
    2   +"2      +"2!22%#2                                 %#"-2#"2   ""2$.!#"/2
                         /!<222!2'&2;(25)83;(2
                         72!-2'&216)(2
                         --222212%12+#-"2'&(25);61(2
                         --222$&2-"$2<2!-2!2'&25)616(2;):18)2
                         !2
    2   .-"2   .-"2!22%#2                              %#"-2#"2   ""2$.!#"/2
                         21212/.#-$2'&2510:(246)11;02!2
                         2-$238=38=3:2;2&2
    2   .-"2   .-"2!22)=;2243=);0142%#22              %#"-2#"2   ""2$.!#"/2
                         );0142!2"2%#,2'&2
                         >9,"2!+$"2-?2
                         21311:*;662#2
    2   .-"2   .-"2!22%#2                              %#"-2#"2   ""2$.!#"/2
                         29,"2!,&2'&(2106142!2
    2   .-"2   .-"2!22%#2                              %#"-2#"2   ""2$.!#"/2
                         2,% "2"$2"!,02-/(2)462!2
    2   .-"2   .-"2!22%#2                              %#"-2#"2   ""2$.!#"/2
                         2!,##"2-2'&(2);2!2
    2   .-"2   .-"22!22%#2                             %#"-2#"2   ""2$.!#"/2
                         22!2"2-/21(24*1642!2
    2   .-"2   .-"2!22%#2                              %#"-2#"2   ""2$.!#"/2
                         2-2)5132-72))2!,#%"2(2)161):2!2
    2   .-"2   .-"2!22%#2                              %#"-2#"2   ""2$.!#"/2
                         2'&(2)610142!2
    2   .-"2   .-"2!22%#2                              %#"-2#"2   ""2$.!#"/2
                         2%!7"2'&(2))31)1342!2

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                                                   012
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    345467   89 47         6576497                                  46647 67       34547
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         2&%'2(2!2)*2+*,2-012#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         22# +%"2+*,2./2#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         2012 *2&,22/2#2
    2    !"2    !"2(2$%$2#!22$%2                           $%" 2%"2   "!"2)!'#%"&2
                         232$%"2&",22/1-442#2
    2    !"2    !"2(2$%$2#!22$%2                           $%" 2%"2   "!"2)!'#%"&2
                         2%12$%'"2+*,22
                         2$ 2 2+*,2-0/2#2
    2    !"2    !"2(2$%$2#!22$%2                           $%" 2%"2   "!"2)!'#%"&2
                         #3 2+%2+*25660,212/2#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         2'+%'23!!"2+*,2-722#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         2012'""2+*,2-0182#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         29$12 "2+*,2812#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         21212!"&2+*,2-0/2#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         29129123% 2+*,2-/11.82#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         29129123% 2+*,2-1/2#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         212*12$2+*,2-/62#2
    2    !"2    !"2#!22$%2:1212%;2+*,2-0/2#2          $%" 2%"2   "!"2)!'#%"&2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         2$%2(2$!!2+*,2-411682#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         22"2+*,217162#2
    2    !"2    !"2#!22$%2                                  $%" 2%"2   "!"2)!'#%"&2
                         2#22$%32+*256/72
                         2)##20120412#!::% '2512<-2/1/71482%2
                         2)##201204.2#!::%'2512<62/1/71482%2=7..48>2


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                                                       012
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    345467   89 47       6576497                                         46647 67       34547
    2    !"2  !"2#!22$%2                                         $%" 2%"2   "!"21!'#%"22
                       2&2"2"'2"2()2
                       2#!**% '+ 2&,-./02%2
    2    !"2  !"2#!22$%2                                         $%" 2%"2   "!"21!'#%"22
                       2"2$%32()2
                       2#!**% '+$%32&45/02%2
    2    !"2  !"2#!22$%2                                         $%" 2%"2   "!"21!'#%"22
                       2"2$%32()2
                       2#!**% '+$%322&,-./02%2
    2    !"2  !"2#!22$%2                                         $%" 2%"2   "!"21!'#%"22
                       2"2$%32()2
                       2#!**% '+$%32&45/02%2
    2    !"2  !"2#!22$%2                                         $%" 2%"2   "!"21!'#%"22
                       6!3"2#3")2()2+4,72180&502#2
                       2424..&.02#922820,&51#922.2480&/0922.28&.5922
                       12448&082#2
                       '$+:(%;2'( !1$"2"!&4+"%2
                         :(%;2"%242&,0802%2
    2    !"2  !"2#!22$%2                                         $%" 2%"2   "!"21!'#%"22
                       #242$!2#$$%"22()2+4092.,,2#2
                       62$2!22"%2492892
                       ,&,,100182%2
    2    !"2  !"2#!22$%2                                         $%" 2%"2   "!"21!'#%"22
                       2"2()2
                       2$$22&,0852%2
    2    !"2  !"2#!22"1%2                                       !) )2%"2   "!"21!'#%"22
                       2"2$%32()92802#2
                       2;&2&2!"'9222
    2    !"2  !"2#!22"1%2                                       !) )2%"2   "!"21!'#%"22
                       2622;%"!"2()920102#2
                       2*&2#&2'$%"!"22
    2    !"2  !"2#!22$%2                                         $%" 2%"2   "!"21!'#%"22
                       2&3!$1!"2()928082#2
                       232"(% 2()2
                       26&2$&2"#3<2()2
                       2*&2$&23%'22&2
    2    !"2  !"2#!22"1%2                                       !) )2%"2   "!"21!'#%"22
                       2"2$%32()924802#2
                       2$&2&2*!!'2"'2
2
                                                        012
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    345467   89 47       6576497                                   46647 67     34547
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2 %&2"2'()2**+2#2
                       2" %2,-2.//2
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2"2/%12'()22342#2
                       25-2"-2."2"02
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       25/2162'()277-82#2
                       2/-1-21 9!0222
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       26% %/2! 01/2'()2+0:2#2
                       2-2-21"0!"2"02
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       25!1"26%"!"2'()20712#2
                       25!1"2-25#,!"2"02
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2/26% %/2'()2*:2#2
                       212""25#,!"22 2
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2%;."22'()2+7:2#2
                       2-2-2/!222
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2 %&2"2'()21::2#2
                       2."'%'2/)226%0!62;2
                       2" %2.//22'%2
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2 %&2"2'()2*+82#2
                       2."'%'2/)226%0!62
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2"2/%12'()2802#2
                       26-2-2/#(2;2-2-2#!62"02
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2/(2#".1")2442#2
                       2!2/# "2"02
    2    !"2  !"2#!22"$%25-2#-26 ,2'()2*732#2$-2    !( (2%"2 "!"2$!0#%".2
                       1-21%222<!. 2"0=2
    2    !"2  !"2#!22"$%2                                 !( (2%"2 "!"2$!0#%".2
                       2'()2+0:-222#2
                       25-2$-2'"2;26-2'"20!'%2(25!")22'%2
2
                                                     012
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    234356   789 36      5465386                                35536 56     234396
    1    !1  !1" 11!#$1                              ((1$!1 ! !1# ,"$!.1
                       1!1%$&1'()1*++1"1
                       1(1!,1- !1!,1
    1    !1  !1" 11!#$1                              ((1$!1 ! !1# ,"$!.1
                       1!1%$&1'()1*+/1"1
                       1-1011()11$!.1%!1
    1    !1  !1" 11!#$1                              ((1$!1 ! !1# ,"$!.1
                       1-11"11231'()10041561"1
                       121&11)11)111.!"&1!,1
    1    !1  !1" 11!#$1                              ((1$!1 ! !1# ,"$!.1
                       1-11"11231'()1*761"1
                       1%11",,$1" .&)112$, 21
    1    !1  !1" 11!#$1                              ((1$!1 ! !1# ,"$!.1
                       1!1%$&1'()18+1"1
                       193!1%$$!.1" 1!,1
    1    !1  !1" 11!#$1                              ((1$!1 ! !1# ,"$!.1
                       1-%1&21'()158+1"1
                       1' .1!,1
    1    !1  !1" 11!#$1                              ((1$!1 ! !1# ,"$!.1
                       1&!(1%$!1'()14+1"1
                       1$11&112!)111
    1    !1  !1" 11%$1                               %$!1$!1 ! !1# ,"$!.1
                        !1" '$!1'(19*/)18+1"1
    1    !1  !1" 11%$1                               %$!1$!1 ! !1# ,"$!.1
                       11!1'(195*+)14+1"1
                       " ::$,1!$11;"56+5<11*56+1$1
                       " ::$,1!$11;"56+5<11+0561$1
    1    !1  !1" 11%$1                               %$!1$!1 ! !1# ,"$!.1
                       1!1'(195*+)14/101"1
                       &1&1" ::$,1991=51;+45+><11
                       1+4*00001$1?11+5+8///51$1
    1   ",21 ",21" 11!#$1                              ((1$!1 ! !1# ,"$!.1
                       1%$1.11,(31'()1/1"1
                       1211'11&,$!1
    1   " 31     " 31" 11%$1                                   %$!1$!1 ! !1# ,"$!.1
                       ."$1'(194+4)1**51"1
    1   ,1 ,1" 11!#$1                                  ((1$!1 ! !1# ,"$!.1
                       12$$%111" 1'()115>1"1
                       11,11!,"&,11'$1
1
                                                  001
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    345467   89 47            6576497                               46647 67     34547
    2   2        2 22!"#$2                               # **2$!#2 ! !2"# 1$!22
                            2%&2&'(2)*+2,-./22
                            20 #2(!2 2(!#2!2
    2   2        2 22&$2                                 &$!#2$!#2 ! !2"# 1$!22
                            2% '!22% !2)*230,1+24//22
    2   2($2       2($2 22&$2                                &$!#2$!#2 ! !2"# 1$!22
                            2%&21002)*234/5+2401222
                            2162&-2& !2)*2355/+2782
                            2
    2   2($2       ($2 22&$2                                 &$!#2$!#2 ! !2"# 1$!22
                            %&2&*249.222357.+248522
    2   2($2       ($2 22&$2                                 &$!#2$!#2 ! !2"# 1$!22
                            2%&21002)*234/52
                            2:2162& !2)*2357/+2.822
    2   $&&$2        $&&$2 22&$2                                 &$!#2$!#2 ! !2"# 1$!22
                            2 21+2;6241/2021;2+2,822
                            2 212:2482;624421;2+2,82
                            2
                            2 2<2;62442:2 2442;624821;2+2,822
                            22$!203#$!2"# "#$21;2
    2   $&&$2        $&&$2 22!"#$2                               # **2$!#2 ! !2"# 1$!22
                            2:! 2##2)*+2.822
                            2%002#'#22
    2   $&&$2        $&&$2 22!"#$2                               # **2$!#2 ! !2"# 1$!22
                            220/423487+2.822
                            2&20-2'# 12212
    2   $&&$2        $&&$2 227952&$2 24.2;63.21;2+2        &$!#2$!#2 ! !2"# 1$!22
                            (2#2#122)*23477<203#$!+2 24.2
                            ;63,2(2#2#122)*23477<2#$!2
                             (!$2,822
                            $$!2"# "#*2 2 1!+222
                            28,95894<,.+2) -2780+2"2202
    2   $&&$2        $&&$2 225947,2!"#$2                         &$!#2$!#2 ! !2"# 1$!22
                             2442:2472;62722
                            03#$!21;2+2,8222
                            228194,94</5+2
                            # #2$!2) -2480+2"22/5<3/.82


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                                                       012
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    345467   89 47        6576497                                46647 67     34547
    2   2    2!22"#$%12&'()!2$%2*)+202,-          &()2&(2 &!&2'(!. &62
                          (&2.*2/2012 222
                        12#%3#$30$/( !(2&24!)52$%1/2'62"0$2
    2   2    2!22"#$%12&'(2                           &()2&(2 &!&2'(!. &62
                        )!2$2*)+2$122
                        ,-(&2.*2/2012 22
                        22$$#1%#$32"/2
                        ( !(2&24!)52$17/2'623"2
    2    !(2      !(2!222                                    &()2&(2 &!&2'(!. &62
                        6!)82!*2.&2
    2   ,92 ,92!22$#%22"#022$#1227#12!(2             !4((&62       &!&2'(!. &62
                        :22;82)6.2-$17/22112 2              (!9)92
                        :& +2--2<(( 2711=2
    2   ,92 ,92!222                                    &()2&(2 &!&2'(!. &62
                        %"72 /2:!8&24&(;!(82)62-"$%2
                        (&22.&-222&!52$2
    2   ,92 ,92!222                                    &()2&(2 &!&2'(!. &62
                        2>822*+(2)62-12
    2   ,92 ,92!222                                    &()2&(2 &!&2'(!. &62
                        2552*+(2)6.2-12?2
                        2(92'8)'2)6.2-1%/2%$1572 2
    2   ,92 ,92!222                                    &()2&(2 &!&2'(!. &62
                        2552*+(2)6.2-12?2
                        2(92'8)'2)6.2-1%/2%$1572 2
    2   ,92 ,92!222                                    &()2&(2 &!&2'(!. &62
                        2:5652;)+&!&2492-$11/230532 2
    2   ,92 ,92!222                                    &()2&(2 &!&2'(!. &62
                        2(92'8)'2)62-1%/2212 2
    2   ,92 ,92!222                                    &()2&(2 &!&2'(!. &62
                        ;52;))!&2492-$$"/273251102
                        6!!.8(&-9251"$%22(2
    2   ,92 ,92!222                                    &()2&(2 &!&2'(!. &62
                        :262;)+&!&2492-$112
                        6!!.8(&-(251001722(2
    2   6)4!&2 6)4!&2!222                                &()2&(2 &!&2'(!. &62
                        :!8&252!!(2)6.2


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                                                    012
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    345467   89 47           6576497                                 46647 67     34547
    2   2        2!22"#2                                     "#&22#&2 &!&21!56 #&2
                           2 2$$$$2%&22'2!2('2)*+*,2%-./2$002 2
                           21&2.*02(!22
                           31220-*42
    2   !2#52       !2#52!22&1#2                                  !'2'2#&2 &!&21!56 #&2
                           *3$732 2!62!829272729&5'2('2
                           &52"7272#!2('2)102
    2   '2         '2!22&1#2                                    !'2'2#&2 &!&21!56 #&2
                           29:&22!2('/2+03732 2
                           285228"2"!2!172
    2   2        2!22"#2                                     "#&22#&2 &!&21!56 #&2
                           222;2!62%2('2)$+12
                           22(#&2;!%&2700+2#2
    2   2        2!22"#2                                     "#&22#&2 &!&21!56 #&2
                           222;2!62%2('2)$+12
                           2!2;!%&270*$3+2#2
    2   2        2!222                                       "#&22#&2 &!&21!56 #&2
                           22;2!62%2('2)$+12
                           !2;!%&270304*.2#2
    2   #"2       #"2!22"#2                                    "#&22#&2   &!&21!56 #&2
                           2<7272!&2('2)..0/2$442 2
    2   9#2       9#2!22"#2                                    "#&22#&2   &!&21!56 #&2
                           2< !;29222('/2$0$7=+2 2
    2   9#2       9#2!22"#2                                    "#&22#&2   &!&21!56 #&2
                           2<!9&2%9#2('/2$.02 2
    2   9#2       9#2!22&1#2                                  !'2'2#&2   &!&21!56 #&2
                           29#)%#2!&23222&/237012 2
                           2;&>2"!2!72
    2   9#2       9#2!22&1#2                                  !'2'2#&2 &!&21!56 #&2
                           29#)%#2!&23222&/2*7*3$+=2 2
                           27;72!?5!&&222/2
                           62
    2   9#2       9#2!22&1#2                                  !'2'2#&2 &!&21!56 #&2
                           29#)%#2!&28#2#/27+00*2 2
                           2<!9&22'!&2
    2   9#2       9#2!22&1#2                                  !'2'2#&2 &!&21!56 #&2
                           29#2)%#2!&28#2#/27=2 2
                           2&7<72>2#&2

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                                                       012
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    345467   89 47       6576497                                 46647 67       34547
    2   2   2!22"#2                                  !-&-2"2   "!"2#!01 "(2
                       2$%&!"2'2&(2(")2*+*1,2 2
                       2"!"-2.+2!/0!""&&2
                       212
    2   2   2!22"#2                                  !-&-2"2   "!"2#!01 "(2
                       22+23 &&24-2$,01)25112 2
                       2++2 !((")212
    2   2   2!22"#22+23 &&24-2$,01)26+,,72 2 !-&-2"2   "!"2#!01 "(2
                       ++2 !(("2)212
    2   2   2!22"#2                                  !-&-2"2   "!"2#!01 "(2
                       2$%&!"2'$&(12(")2+02 2
                       2$&!1"2!#2
    2   2   2!22"#2                                  !-&-2"2   "!"2#!01 "(2
                       2#2!82&!2*)2.&9+2*,)2'+00:2 2
                       211&"2 03-2!82(&4!"22&2
    2   2   2!22"#2                                  !-&-2"2   "!"2#!01 "(2
                       22!"2.!%"24-)2'+00:2 2
                       21+++203+2!82("&24 2
    2   2   2!22"#2                                  !-&-2"2   "!"2#!01 "(2
                       22!"2.!%"24-)255+,2 2
                       2+23!"!2%2212
    2   2   2!22"#2                                  !-&-2"2   "!"2#!01 "(2
                       2$%&!"2'2&(2(")2'+'6,2 2
                       22!"2+2.&88)2+2+&&2;29" 02 2
    2   !"2 !"2!2232                                  3"&2"2   "!"2#!01 "(2
                       2#++2#!"24-)2,12 2
    2   !"2 !"2!2232                                  3"&2"2   "!"2#!01 "(2
                       20402&&24-)265+,2 2
    2   !"2 !"2!2232                                  3"&2"2   "!"2#!01 "(2
                       2#"!"2;28<24-)20'+,2 2
    2   !1!"2 !1!"2!2232                                    3"&2"2   "!"2#!01 "(2
                       2+2+2"(!2;2220!0!")27+:2 2
    2   !1!"2 !1!"2!2232                                    3"&2"2   "!"2#!01 "(2
                       23-2"(324-2$5'7*)25712 2
    2   !%02 !%02!2232                                      3"&2"2   "!"2#!01 "(2
                       2 262.&92*6252;#24-)2*'12 2


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                                                    012
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    345467   89 47        6576497                                46647 67     34547
    2   2      2!22"#$2                                   #!&0&2$#2 !2"#!1 $22
                        2"#$2%&'2()*+)*()2 2
                        2,+-+2. /!2
    2   . /2      . /2!22-$2                                     -$#02$#2 !2"#!1 $22
                        22#$2-2%&2310(4523(66*2
                        130 2
                        0 27122+8(896642
                        #$2
    2   . /2      . /2!22-$21)82 2                             -$#02$#2 !2"#!1 $22
                        +2+2$02-2%&23(66*2
                          0$30 2712+81699*8#$2
    2   . /2      . /2!22-$2                                     -$#02$#2   !2"#!1 $22
                        222$02-2%&2310(4'2:482 2
    2   ."#2    ."#2!22-$2                                   -$#02$#2   !2"#!1 $22
                        2+2,#$22%&'2)62 2
    2   ."#2    ."#2!22-$2                                   -$#02$#2   !2"#!1 $22
                        2+2,#$22%&'2);2 2
    2   .<<#!2 .<<#!2=20$>#&2!22-$2                      -$#02$#2   !2"#!1 $22
                        2 2612=!2%&'2360;'20$>#&2!22
                        2 211482
                        ,0#2%&2.<<#!2!22
                        2*982 2
    2   /#2 /#2!22-$2                                      -$#02$#2 !2"#!1 $22
                        2%$!#2>0 !2!#$222#236'2)8+(;2 2
    2   /<-2 /<-2!22"#$2                                  #!&0&2$#2 !2"#!1 $22
                        20!2%&'21646+092 2
                        2,+"+2/$22%&'2*0+(2 2
                        2<++2!01'222
    2   0->2      0->2!22-$2                                     -$#02$#2   !2"#!1 $22
                        2>#2&0!#2%&20>!#202022)4('2100+12 2
    2   0->2      0->2!22-$2                                     -$#02$#2   !2"#!1 $22
                        2>#2&0!#2%&'21*1+;2 2
    2   0->2      0->2!22-$2                                     -$#02$#2   !2"#!1 $22
                        2>#2&0!#2%&20>!#2(;2022)4('21882 2
    2   0->2      0->2!22-$2                                     -$#02$#2   !2"#!1 $22
                        2>#2&0!#2%&20>!#262022)4('2100+12 2
    2   0->2      0->2!22-$2                                     -$#02$#2   !2"#!1 $22
                        2!-!2%&2 2(4'2)60+02 2

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                                                    012
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    345467   89 47         6576497                                 46647 67       34547
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2"#$2#$%#2&'2()*+2,,0-.)/22
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         20-2 !53 2&'+2,**22
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         21&'#32&'+2.622
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2#-2 00%2&'2(111+210)22
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2"#$210%!242(16/+2,**22
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2"#$210%!242(16/+2,*)22
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2%22255!$242(77+2,,)22
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2"-2 -22!8$2&'2(/.920,-,1622
    2   2        222 !22 !530$2&'+2,**22                !$02!$02   $$21023!$42
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2--230!2:2-2 !530$2&'+21.722
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2-224+2,60-622
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2%-2#-25'$3 2&'2()+2,0.22
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         2!02 $2&'2(67+21*.-,22
    2   2        222 !2                                       !$02!$02   $$21023!$42
                         20$22-22222&'2(76+2,1622
    2   2        530$2:2222 !2                            !$02!$02   $$21023!$42
                         2%!2 02&'2(1;)2
                         2"#$2<30$#242(,*02
                         21);-;;;2+222,,=,6=,*2;2'02
    2   2        222 !2                                        !$02!$02 $$21023!$42
                         2-2-230!2:252-%-2%04!$2&'+20,22
    2   2        222 !2                                        !$02!$02 $$21023!$42
                         2$!#2-203$82&'2()1+2),-1622
                         2$!#2-203$82&'2()1+2.1-71022
    2   2        222 !2                                        !$02!$02 $$21023!$42
                         2"#$210%!2&'+2,,,22

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                                                      012
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    345467   89 47         6576497                                  46647 67       34547
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2"#$2%&'$#2(2)*+0,2-++22
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2/$!201'223,2*-422
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2'25252 #$2625252&'!2*712(,2*0422
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2"#$23223,2845022
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2"#$2$0$2232)-88,2*-+22
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2/$!201'2(,2*+422
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2('(2/''223,24+22
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2.520! 9'3223,28+22
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2# 20'/2(,2:;5422
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2#2 ''02232)---,24*5:22
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2/$!201'223,21<50422
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2('(21$'223,28+22
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         20 5252#&(#223,2<422
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2' '$(223,2*++22
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2!'2 $2232)4;,2*++22
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         252 !9&'$223,2**:5422
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         252 !9&'$223,2*<122
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         2552&'!22326252 !9& 223,2*0422
    2   2        222 !2                                        !$'2!$'2   $$2.'/&!$(2
                         252 !9& 223,2-858+422

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                                                        012
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    345467   89 47         6576497                                  46647 67       34547
    2   2        222 !2                                        !)*2!)*2   ))2+*,-!).2
                         2"2"2 !#2$%&2'(22
    2   2        222 !2                                        !)*2!)*2   ))2+*,-!).2
                         2/"201*!.#2.&2'('"(122
    2   2        222 !2                                        !)*2!)*2   ))2+*,-!).2
                         2.*.2,**2$%223'22
    2   2        222 !2                                        !)*2!)*2   ))2+*,-!).2
                         2"2"2 !#2'452.2$%2622'&252(22
    2   2        222 !2                                        !)*2!)*2   ))2+*,-!).2
                         2!*2 )2$%26(7&2'3722
    2   2        222 !2                                        !)*2!)*2   ))2+*,-!).2
                         2+"2"2- 2$%&20322
    2   2        222)+*!2                                     *%%2!)*2   ))2+*,-!).2
                         21"2)"2 82.&2'9122
                         2:#)2-**%222
    2   2        222)+*!2                                     *%%2!)*2 ))2+*,-!).2
                         2"2"2"2#!2;2:#)2#)1!#2$%&221722
                         2/!*2)!)2
                         0)82
    2   2        222)+*!2                                     *%%2!)*2 ))2+*,-!).2
                         2:"2"2))*2.2;2/*)8!)2:"21!! 2$%&2
                         275"(22
                         2+"2"# &22-2
    2   2        222)+*!2!*2 )2$%&2'33220"2         *%%2!)*2 ))2+*,-!).2
                         #*22-2
    2   2        222)+*!2                                     *%%2!)*2 ))2+*,-!).2
                         21!! 2)2 82$%&2(322
                         2:#)2:)8!)22-2
    2   2        222)+*!2                                     *%%2!)*2 ))2+*,-!).2
                         2# 2 **12$%&2''2"2522
                         2)*#2"2 *!)2
    2   2        222)+*!2                                     *%%2!)*2 ))2+*,-!).2
                         2:#)2#)1#2$%&2'52"0(22
                         2+*2 1%&221!,12
    2   2        222)+*!2                                     *%%2!)*2 ))2+*,-!).2
                         2.*.21"2.-#!2;21**)2%)2$%&2'132
                         &2
                         2*2"2 -)20%22:"28)2

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    345467   89 47         6576497                               46647 67    34547
    2   2        222!"#2                                   "--2#"2  2!".,#%2
                         2!2$ 2%" &2'0(22
                         2)*2+*2$ 22,2
    2   2        222!"#2                                   "--2#"2    2!".,#%2
                         2$*2/*2+- ,02%&210(22
                         2*2*2!+22,2
    2   2        222!"#2                                   "--2#"2    2!".,#%2
                         2)/ 2/ $/22-&21((22
                         2)*2*2!",&22,2
    2   2        222!"#2                                   "--2#"2    2!".,#%2
                         2!*2*2,02%2341&251122
                         26*2$*2"766222
    2   2        222!"#2                                   "--2#"2    2!".,#%2
                         2$#-2/""# 22-&2'55*81'22
                         22+ 92 .2",22
    2   2        222!"#2                                   "--2#"2    2!".,#%2
                         2$#2/."#%/22-&21122
                         2*2*2," #!.&22,2
    2   2        222!"#2                                   "--2#"2    2!".,#%2
                         2/ "-292%&21:522
                         2+#2$. 22$#.$2
    2   2        222!"#2                                   "--2#"2    2!".,#%2
                         2/02/*20-22-&21':22
                         2/*20*2$2 .2
    2   2        222!"#2                                   "--2#"2    2!".,#%2
                         2*2*20#/22-&25::22
                         26".22/,2
    2   2        2220#2                                    0#"2#"2     2!".,#%2
                         )2620 /22-235:02
    2   2        2220#2                                    0#"2#"2     2!".,#%2
                         2)02/$22-2358;&21';*422
    2   2        2220#2                                    0#"2#"2     2!".,#%2
                         2"+"26# -231:8&2;122
    2   #+"-2    #+"-2220#2                                0#"2#"2     2!".,#%2
                         2)*2/ -2%&214:22
    2   #+"-2    #+"-2220#2                                0#"2#"2     2!".,#%2
                         2)*2/ -2<2/*2+*2)/  2%&21:422


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                                                     012
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    345467   89 47          6576497                                 46647 67       34547
    2    !2      !2"#22$2                                  $+ 2+ 2   +#+2, #%-"+&2
                          2% %&2'!(2)*2"2
    2    !2      !2"#22$2                                  $+ 2+ 2   +#+2, #%-"+&2
                          2.2#.2/#$,#+2'!(20)2"2
    2    !2      !2"#22$2                                  $+ 2+ 2   +#+2, #%-"+&2
                          2/.2.21#/+#+2221.2/+% !2&(2)3*2"2
    2    !2      !2"#22$2                                  $+ 2+ 2   +#+2, #%-"+&2
                          21$2/+!2&(2002"2
    2   $$2       $$2"#22$2                                    $+ 2+ 2   +#+2, #%-"+&2
                          45.142"2#-2#62/2272/#8"72'!(29):02
                          ;"#66%9+7<2
    2   $$2       $$2"#22+, 2                                   #!!2+ 2 +#+2, #%-"+&2
                          21#22'!(2)12"2
                          21#/+2/2;22#(22-<2& +# 2
    2   $$2       $$2"#22$2                                    $+ 2+ 2 +#+2, #%-"+&2
                          2222'!290=3(23=0.:2"2
    2   $$2       $$2"#22$2                                    $+ 2+ 2 +#+2, #%-"+&2
                          2122+"/##+2'!(2)4:.:2"2
    2   $$2       $$2"#22$2                                    $+ 2+ 2 +#+2, #%-"+&2
                          227$2'!293:*2
                          21#/+2+#+2'!294:1(24312"2
    2   $$2       $$2"#22$2                                    $+ 2+ 2 +#+2, #%-"+&2
                          22+2'!(2=0.=2"2
    2   $$2       $$2"#22$2                                    $+ 2+ 2 +#+2, #%-"+&2
                          2$22">2'!29330(2)*=2"2
    2   $$2       $$2"#22$2                                    $+ 2+ 2 +#+2, #%-"+&2
                          %22/#$,#+2'!2935:2+%27$2+2'!2
                          $+ '9#">%26%2
                          /2/2"#66%2;?>?2/2/2/$ #">2)<2.*:3333022
    2   $$2       $$2"#22$2                                    $+ 2+ 2   +#+2, #%-"+&2
                          21.22'!(2)**2"2
    2   $$2       $$2"#22$2                                    $+ 2+ 2   +#+2, #%-"+&2
                          2.21.2"/$ 2'!(20*2"2
    2   $$2       $$2"#22$1.2.2/ '!2'!29):1(2)*32"2     $+ 2+ 2   +#+2, #%-"+&2
    2   $$2       $$2"#22$22                                   $+ 2+ 2   +#+2, #%-"+&2
                          $ !2">2'!29330(2042"2
    2   $$2       $$2"#22$22                                   $+ 2+ 2   +#+2, #%-"+&2
                          1.2.2, 72'!294::(20=2"2

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                                                     012
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    234356   789 36         5465386                                    35536 56       234396
    1   1       1 1111                                     )!1)!1   ) )1*! +,)-1
                          !"1#1$"1%&&0'10(11
    1   1       1 1111                                     )!1)!1   ) )1*! +,)-1
                          !"1#1$"1%&&0'1./0&&11
    1   1       1 1111                                     )!1)!1   ) )1*! +,)-1
                          !"1#1$"1%&&0'11211
    1   1       1 1111                                     )!1)!1   ) )1*! +,)-1
                          3014015 *1$"1%&21'12.10(11
    1   1       1 1111                                     )!1)!1   ) )1*! +,)-1
                          6013017!$"1$"1%.1/'1.&811
    1   1       1 111                                      )!1)!1   ) )1*! +,)-1
                          6011$"1%29'12811
    1   1       1 111                                      )!1)!1   ) )1*! +,)-1
                          1:1)1$"1%2.8'1;811
                          13! 5)1<1#):1
    1   1       1 111                                      )!1)!1 ) )1*! +,)-1
                          151)1$"1%021
    1   1       1 111                                      )!1)!1 ) )1*! +,)-1
                          1! 3!15#!17!1$"1%&121
    1   1       1 111                                      )!1)!1 ) )1*! +,)-1
                          515171$"1
                           44+1% #7!10.10(1!1
    1   1       1 11)*!1                                    ! ""1)!1 ) )1*! +,)-1
                          1+117 * )1$"'1(11
                          101-,!'11,1-!) !1
    1   1       1 11)*!1                                    ! ""1)!1 ) )1*! +,)-1
                          15011<1601$)1$"'1&&/11
                          11-!+)!1=60134 !+1>1-!) !1
    1   1       1 11)*!1                                    ! ""1)!1 ) )1*! +,)-1
                          10101! 3! )1$"1%(2'1.8.0///11
                          1,),1 0141!1-!) !1
    1   1       1 11)*!1                                    ! ""1)!1 ) )1*! +,)-1
                          1601*017 )1<10001! 3! )1$"'1./80(11
                          10401!51=-0501!:1**)>1
    1   1       1 11)*!1                                    ! ""1)!1 ) )1*! +,)-1
                          1601601 1$"'1.&;0./011
                          1+ !11$!'11'1-!) !1


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                                                       001
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    345467   89 47          6576497                              46647 67     34547
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2%&2%&2 !2'()2*+2 2
                          2%2,$22-22.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2&2(&2$2'()2*0&02 2
                          2/!"2,22-22.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          21"$(2$"2'()2+22 2
                          232,()2222.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2%&2%&2 !2'()24&22 2
                          2$2&2, 32.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2$!,$253$2'()2++6&72 2
                          2/&2%&2,1 2222.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          252"2'(2804)222 2
                          2/"29&2,!-"/2"/2.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2&&2$"2'()20&+6*2 2
                          2,$/2,2$&2-21)2
                          2292!22.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2.&25&2'2'()24+72 2
                          2&25&21"($/2:$&"&2,$"""2;2
                          .$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2&2#&2$!"2'()2*62 2
                          23""12,$!/"22.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2%!22'()2*022 2
                          2%&2 .$.!$2:$&2"2,-! 3;2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          21&2$"2<2%2152'()2*772 2
                          2$&2"&2&2,-! 322.$"!$2
    2   2       2!22"#$2                                $!((2"$2 "!"2#$!/- ".2
                          2%!22'()2762 2
                          2%&5&2,-,(2-222.$"!$2

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    345467   89 47          6576497                             46647 67     34547
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2%&2'!#!"2()*2+,-&12 2
                          2"2("2$2.$"!$2
    2   2       2!22"#$2/&2&2'!#!"2()*212 2      $!))2"$2 "!"2#$!/0 ".2
                            '$2("2.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          22&2$032()*2,45&62 2
                          2&%&2'")$/27$ '8'!#2!22
                          2"2"!"!92.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:!22()*2442 2
                          2%&2$!"2!&27)%!!/2"&92.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:!22()*21--2 2
                          2&&2)%!!/202.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:!22()*21--2 2
                          2!02)%!!/2.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:!22()*2442 2
                          2$08"2)%!!/2.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:!22()*20-2 2
                          2%&2&2)%!!/2.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:&2:&2 !2()*21,+&512 2
                          2%$/2&2 0$! ;27!&2'$2092
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2%2"2()2<0,*21-&62 2
                          28$2%&2'""2.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:2'/2()*21+-2 2
                          2&2.0""27:&2&2!"2&"/92
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:!22()*2142 2
                          2!"2!22'$"27!$82"/92.$"!$2
    2   2       2!22"#$2                               $!))2"$2 "!"2#$!/0 ".2
                          2:!22()*2+2 2
                          2$&2/"2!0$2.$"!$2
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                                                    012
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    345467   89 47          6576497                                 46647 67     34547
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          2%&2%&2 !2'()2**+&+2 2
                          2%&2!2,&2-&2!)2.2-$"!$2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          21&22&23!4 22'()2*)506&772 2
                          20###$82"/2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          2%&2%&2 !2'()2912 2
                          2$(!"2"/22-$"!$2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          2&21(2'()271+&+2 2
                          2%&2&20"""-32"/&2-$"!$2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          2&2%&231$2'()27+&::2 2
                          23!2$/2%&2/10&2-$"!$2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          2&2%&231$2'()2+12 2
                          2%&22&2/($)2202-$"!$2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          222"2'(28:;)29&72 2
                          2'$"!"2/(%<)2202
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          222"2'(28:;)252 2
                          2=$"<21(<)2202
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          222"2'(28:;)2*1&+2 2
                          2'$"!"2/(<)2202-$"!$2
    2   2       2!222                                     "$2"$2 "!"2#$!/0 "-2
                          42"2'()29:2 22
                          $&&2<"2"/2-$"!$2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          2%23/2'()2*102 2
                          2%&2%&2!2"/2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          2=&2$042'()201&:+2 2
                          2=/$2"/21"<2,&2&2=3$.2
    2   2       2!22"#$2                                   $!((2"$2 "!"2#$!/0 "-2
                          2%&22&23(2'()270&552 2
                          2$&2&23!2202,2=$2"&1"<.2-$"!$2
2
                                                     012
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    345467   89 47          6576497                                    46647 67     34547
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          2%2&%2'(2)(%22*2+"2$$2)(,2-0%..2 2
                          2/"(2& '$20,212!12+$"!$2
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          2%2&%2'(2)(,2-3%42 2
                          2!02& '$,212!12+$"!$2
    2   2       2!22"#$22*2+2"2$$2%2&%2'(2)(,2115%62   $!((2"$2 "!"2#$!20 "+2
                           212%2& '$22+$"!$2
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          2%2%212"2*22%2%2'!#!"2)(,2073%-2 2
                          2%2'%2&!$2202+$"!$2
    2   2       2!222                                        "$2"$2 "!"2#$!20 "+2
                          2'2)" "2)(,2642 2
                          28%2$%2&$2"22
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          2$'$22$!2)(,21772 2
                          28%2%2&$"9",222
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          2'/$,2'!#!",2$"2)(,2160%342 2
                          2$%28%2%2+/,2222+$"!$2
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          21%21%2'2)(,20:%642 2
                          22)2$%2+$"2222+$"!$2
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          +%21%2)2*2%2(%2$2)(,21.7%42 2
                          1%)%2'$2"2;!2%2
                          +$$$2220<2
    2   2       2!22"#$2                                      "$2"$2 "!"2#$!20 "+2
                          28%2'!"2)(,2472 2
                          2%22&(9222;12+/!"<2
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          28!22)(,2.-2 2
                          21%2+/!"2;82'%2+!$2"2<2
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          22%2%2'!#!"2)(,202 2
                          28!21%2+$/"$2
    2   2       2!22"#$2                                      $!((2"$2 "!"2#$!20 "+2
                          21%2'!#!"2)(,26472 2
                          2'%2%2+$"2202;"22+$"<2
2
                                                       012
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    345467   89 47          6576497                             46647 67     34547
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2%2&2'()2*+,-.2 2
                          2"/20$"2%$-2212
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2-2#-2$!"2'()2.2 2
                          2$-!-20$$)2212
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2-2%-223$2'()21*2 2
                          24!(/2(-20$44)2212
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2&-2&-222'()2**52 2
                          2%!2#$)2-2-20$131022212
                          0$"!$2
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          22$230!&2'(26*77)2,8.-12 2
                          2-2-2#29-22-2014!"21:2
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2-2%-223$2'()2.72 2
                          2%!2"2-222222
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2;2"2'()2.17-7.,2 2
                          2&-2"-222"/2
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2-2-2"/(2'()2+81-12 2
                          2&--2<$292-2-222:2
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2%-2%-2 !2'()2*=2 2
                          2&222$$222
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2;2"2'()2.1-**2 2
                          2!22$$2"/20$"!$2
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          2%2/1""26*,5)2.72 2
                          2$-2-22$!"2
    2   2       2!22"#$2                               $!((2"$2 "!"2#$!/1 "02
                          222'" "2'()2=.2 2
                          22322$'(29%"2<(:20$"!$2


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                                                   012
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    345467   89 47          6576497                                46647 67     34547
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2%&2'!"2()*2+0,&-,2 2
                          2')"22".2
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2%!22()*2+,1&22 2
                          2#&2".$*23&2&2'22/24'2".52
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          26&2&2$!6$!"2()*278&8,22 2
                          2$$!2$!6$!"22/24!3.2'""0$52
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2&2%&2'6$2()*2+,2 2
                          2'! !62!$2! 92".2
    2   2       2!22"#$2%!22()*2+&1-2 2$!6$2   $!))2"$2 "!"2#$!./ "02
                          :&2'!9"2
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2.&2&2'!#!"2()*2;12 2
                          23&2(&2'$."22/24!"2'/.!"2".52
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2%!22()*2+1+12 2
                          2"$"!"2!2"2#$!#$)2
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2%!'"2./"#2$2&2&2%*21112 2
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2%&2%&2!2()*2+;2&112 2
                          2%&20&2'!#!"24!/2%""".52
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2%&%*2 !2()*2-+&-,2 2
                          2$&2.2%""*222
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2%&2'!"2()*2+8+2 2
                          2&26&29$$222
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2%&2&2')2()*2+-1&1;2 2
                          2'"2&29:$&223.!32
    2   2       2!22"#$2                                  $!))2"$2 "!"2#$!./ "02
                          2$!"2".2#'"2()*271+&-,2 2
                          2&2&2#$$22/240&6&29" .2".52


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                                                     012
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    345467   89 47          6576497                                 46647 67     34547
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          2%&$2' (!"2)*+212 2
                          2$2 ,22-2./02(! ,2"122
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          232'32,&$2)*+2142 2
                          2332(!&22
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          232'32,&$2522'322)*+26672 22
                          2($-2# 2
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          2'2,12)*+24772 2
                          2#32"1$2.,$$*2"122
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          2%3&32&!8"+24973:2 2
                          2$!*282
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          2'!22)*+2;:2 2
                          2'3/32#$2
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          202"2)*+267;37<2 2
                          2"2#$2&$!+22)$2
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          2832832,2)*+24672 2
                          2#$!"2"1$2."1*2/$22
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          28282,2)*+2:13<:2 2
                          222!"%22
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          2321)2)*+240=39:92
                          23232*22
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          2'3232'!"2)*+2<62 2
                          2$3212,82
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          23232!"%2)*+29172 2
                          2$,21"2$ $2
    2   2       2!22"#$2                                   $!**2"$2 "!"2#$!1- "%2
                          2'!22)*+2942 2
                          2832%&!"2.(2!"!*22
2
                                                       012
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    345467   89 47          6576497                               46647 67     34547
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          2%&2'&2()*2+,+2 2
                          2$2&2- .2/%&0&2!!"*2&12
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          2&2)&2$2()*2,+&12 2
                          2$)23"222
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          2&2&2'42()*2+502 2
                          2#&2"2$2/ 0!4"262"2$!"12
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          2262'2'$2 2()*2789&:2 2
                          2'!$2"-!3$*2232
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          2'!#!";'-$2()*2:892 2
                          20-"!2"$!2
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          24&24&2'2()*2+:0&<2 2
                          2&2"&2!4"2
    2   2       2!22"#$2=2"2()*279<&952 2     $!))2"$2 "!"2#$!23 "02
                          -$2(&2#$222
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          &20&2$!-$!"2()*2+<,2 2
                          2#'#2"22
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          2%&2%&2 !2()*2+,&+712 2
                          2 2#*222
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          24&24&2'2()*2892 2
                          2#3"2#$*222
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          2&2&2$!-$!"2()*2<8&:2 2
                          2$$!2$!-$!"2232
    2   2       2!22"#$2                                 $!))2"$2 "!"2#$!23 "02
                          2&2&2$!-$!"2()*2<8&:2 2
                          2$$!2$!-$!"2232



2
                                                     012
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    345467   89 47          6576497                                 46647 67     34547
    2   2       2!22"#$$0%&12'()2                          )!--2')2 '!'2()!67 '82
                          ) 2"*2+%2 2,-2./"0122%2(3'2,-2
                          .4//25222232,-2.44"2'622
                          ) 2/*2+2 2,-2./"0122
                          2%2(3'2,-2.4//2
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          22!22,-#20"%/92 2
                          2)%2)-2)!:'!'252+%%%2)!:'!'2
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          2%22%2686!2,-#2""2 2
                          2)732%2)!:'!'#22,)2
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          2%22%23:)2,-#24&%/&2 2
                          2'' -2%2)!7')2
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          22!22,-#2"//2 2
                          2+%2(%2)!#2272
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          23%23+;!)62,-#24<%92 2
                          2(%2'6)2
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          26,623!7!'2,-#29$2 2
                          2%%2 ):!)!7832'62
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          23')-2)'2,-#201%&92 2
                          2 !23)2
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          22 !:2+ !2,-#2"$2 2
                          2 !2'62+32'62
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          2)!'2'62)!:)!'2,-#2&%</2 2
                          2326222
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          2%2%22,-#2902 2
                          2)%22%2!'#2272
    2   2       2!22'()2                                   )!--2')2 '!'2()!67 '82
                          2!))2!!)2,-#2492 2
                          2)222!'2

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    345467   89 47          6576497                                46647 67     34547
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2%&2'&2'$($2)*+21,-&.2 2
                          2/!$ 202122)$2
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          23&21&20!$$!2312)*+2042 2
                          25$2"/2
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2%21!"2)*+2042 2
                          2%52!&25$2222
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2%!22)*+26,7&0,2 2
                          2/&%&22)"2
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2(2"2)*+264-2 2
                          22/258222
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          212)" "2)*+26-42 2
                          2!2*!$222
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2%!22)*+207&172 2
                          2%22$$*222
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2%&21!"2923!$32/#8"2)*+26,1&,2 2
                          2$*2&21!#!"2
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2&2&2$!0$!"292&2%&210$2)*+2:02 2
                          2%!1"2$"222"/2
    2   2       2!22"#$2%&%&2 !2)*+2612 2&23&2    $!**2"$2 "!"2#$!/2 "32
                          $3322222
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          21&21$/ 2)*+26442 2
                          22*!$2)"!)$222
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2% !025 !2)*+2;&11.2 2
                          21$0$2258$+2$&2222
    2   2       2!22"#$2                                  $!**2"$2 "!"2#$!/2 "32
                          2%&2#$52)*+2-:2 2
                          25&2$&25222

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    234356   789 36         5465386                                 35536 56     234396
    1   1       1 11!"#1                                 # ))1!#1 ! !1"# $,!(1
                          1$%1&%1'!1'(& !1')*10+11
                          1& , !1-1.1/%1#%1-1
    1   1       1 11!"#1                                 # ))1!#1 ! !1"# $,!(1
                          1$'$1,##)1')*101%211
                          1$%1/%1-11,1
    1   1       1 11!"#1                                 # ))1!#1 ! !1"# $,!(1
                          13 11(#!*14+511
                          1&%$%1) 6,11,1
    1   1       1 11!"#1                                 # ))1!#1 ! !1"# $,!(1
                          1$%1%1& " !1')1
                          13%1 1-1
    1   1       1 11!"#1                                 # ))1!#1 ! !1"# $,!(1
                          13 11')*11+%211
                          1$%1%1& " !1')1
                          13%1 1-1
    1   1       1 111                                   !#1!#1 ! !1"# $,!(1
                          &#1/( -1')174++*18+11
    1   1       1 111                                   !#1!#1 ! !1"# $,!(1
                          -1"&###1')*141111
                          #191001.1051*11
                          #1-1-1 1 1"#-1
    1   1       1 111                                   !#1!#1 ! !1"# $,!(1
                          !#'1# 6$171*12%211
    1   1       1 111                                   !#1!#1 ! !1"# $,!(1
                          -1-1&1')17454*14+0%0211
    1   1       1 111                                   !#1!#1 ! !1"# $,!(1
                          3 11')1
                           61111:+08;2<111
                          %+222;;01#1
    1   1       1 111                                   !#1!#1 ! !1"# $,!(1
                          =1!1')17041*18+11
                          &1&1 99$17$71:##18042<1
                          %+4+84;;;1#1.%+4+84;;;1##1
    1   1       1 111                                   !#1!#1 ! !1"# $,!(1
                          131-1 !1')1740+*140+11
    1   1       1 11!"#1                                 # ))1!#1 ! !1"# $,!(1
                          13 "&1 1')174>5?14>4%15511

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    345467   89 47           6576497                              46647 67       34547
    2   2        2!222                                  .#2.#2   .!.2/#!0$ .12
                           2"22#$%2&'2()*0+2,-*2 2
    2   2        2!2223)222                             .#2.#2   .!.2/#!0$ .12
                           ,1*40*2 +222562&'2(782
    2   !.1!#     !.1!#'2!222                             .#2.#2   .!.2/#!0$ .12
             '2            26420$.&'2&'+2,**2 2
    2   !.1!#     !.1!#'2!222                             .#2.#2   .!.2/#!0$ .12
             '2            2/#269#2&'+20*2 2
                           2.2: .!2!2
    2   !.1!#     !.1!#'2!22./#2                           #!''2.#2 .!.2/#!0$ .12
             '2            0$. .2 .#2&'2()0-+21,402 2
    2   .&##!2      .&##!2!222                                .#2.#2 .!.2/#!0$ .12
                           2:!5.2 .2&'+2-72 2
    2   .&##!2      .&##!2!22./#2                              #!''2.#2 .!.2/#!0$ .12
                           24"42 .2(7,-+222 2
                           2.!#2$.'2!.22&#2
    2   !#.12       !#.12!22./#2                               #!''2.#2 .!.2/#!0$ .12
                            22-2;.!2&'<2.63=+2,-*2 2
                           92> 9652&'2()1,25##'2
                           $ 2
    2   /#9#2       /#9#2!222                                 .#2.#2 .!.2/#!0$ .12
                           2225.2&'2(2-,,+20*2 2
                           2:2$>##'2&'2(,008+2-=2 2
    2   /##2       /##2!22./#2                               #!''2.#2 .!.2/#!0$ .12
                           2 22*2.2>92><2.3=+2,-*2 2
                           2!"252/!2'.02$>02
                           2"#62.2"#2!.2! 2
    2   /!92         /!92!222                                   .#2.#2   .!.2/#!0$ .12
                           2/222$>2&'2(8,+27248-2 2
    2   /!92         /!92!222                                   .#2.#2   .!.2/#!0$ .12
                           22025!21+207472 2
    2   /!92         /!92!222                                   .#2.#2   .!.2/#!0$ .12
                           26250>$#.2;2:22/2&'+2)72 2
    2   /!92         /!92!222                                   .#2.#2   .!.2/#!0$ .12
                           25.>$2&'+2)72 2
    2   /!92         /!92!222:4242/2&'+2)72 2            .#2.#2   .!.2/#!0$ .12


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    345467   89 47          6576497                                 46647 67     34547
    2    2         2!22"#2                                     "#/,2#/,2 //2,%0!#/12
                          2$##"2%&#2&'(2)*+*2!2
                          2,2-+*2!2
                          2#&'2).2!2
    2    2         2!22"#2                                     "#/,2#/,2   //2,%0!#/12
                          22"232!210(245+*2!2
    2    2         2!22"#2                                     "#/,2#/,2   //2,%0!#/12
                          222062&'2785(24)+*2!2
    2    2         2!22"#2                                     "#/,2#/,2   //2,%0!#/12
                          2",'2$#//'2&'(2*12!2
    2    2         2!22"#2                                     "#/,2#/,2   //2,%0!#/12
                          2",'2$#//'2&'(2512!2
    2   ,1/2 ,1/2!22"#2                                        "#/,2#/,2   //2,%0!#/12
                          2!25.26 2223$2&'27-5592/$:4(25;12!2
    2   ,6,/2 ,6,/2!22"#2                                  "#/,2#/,2   //2,%0!#/12
                          2<2/2=#2,25:42102&'(2.12!2
    2   ,0 2        ,0 2!22"#2                                     "#/,2#/,2   //2,%0!#/12
                          2$+2=+22'%2&'(2555+.2!2
    2   /2<!#/2 /2<!#/2!22"#2                              "#/,2#/,2   //2,%0!#/12
                          2<+2=+2%+2,0"'/2&'(2)*2!2
    2   /2<!#/2 /2<!#/2!22"#2                              "#/,2#/,2   //2,%0!#/12
                          2"#22/%2$2#2&'(2*12!2
    2   /2<!#/2 /2<!#/2!22"#2                              "#/,2#/,2   //2,%0!#/12
                          2!+2"#22&'(2;42!2
    2   !0,,'2 !0,,'2!22"#2                                        "#/,2#/,2   //2,%0!#/12
                          2!2-*.26 208(223!2&'92/:4(25;12!2
                          22+1-8.4.)2,#2
    2   !0,,'2 !0,,'2!22/,#2                                      ,''2#/,2 //2,%0!#/12
                          223!2&'2$222"0,2'(2-52!2
    2   "#22       "#22!22"#2                                    "#/,2#/,2 //2,%0!#/12
                          2!#!,2$,,/2<"2!2==#/2&'(2*.+582!2
    2   "#22       "#22!22/,#2                                  ,''2#/,2 //2,%0!#/12
                          2<+2+2/%,2&'(2<+2+2$# ,/2&'(2+2$22
                          &'2
                          2",+2$0/26,,(2="2(25)-+0)2!2
    2   "#22       "#22!22"#2                                    "#/,2#/,2 //2,%0!#/12
                          22#&'2&'27*;;2
                          2,,70'21025(-(.2

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    345467   89 47           6576497                                  46647 67         34547
    2    2        2!22"# $2                                   2$" 2     ""2# %5!$"62
                           2"2%22&'(2)$*#2+2,-2.*"2%'2+2,,2
                           2/$22."022102234(32!2
    2    +$2        +$2!22"# $2                                   2$" 2     ""2# %5!$"62
                           2&$7$""2# 72,,2/&(2&(2)""225102(8,32
                           !2
    2    +$2        +$2!22"# $2                                   2$" 2     ""2# %5!$"62
                           2&$7$""2# 72,29212/"2'(2!$"102-(:22!2
    2    +$2        +$2!22"# $2                                   2$" 2     ""2# %5!$"62
                           2&$7$""2# 72,2/"2'(2!$"2251021(142
                           !2
    2    +$2        +$2!22"# $2                                   2$" 2     ""2# %5!$"62
                           2&$7$""2# 72,2/#52(2!% 10212;(2,2!2
    2   & 2       & 2!22'$2                                    '$" 2$" 2     ""2# %5!$"62
                           2(2' *2+29213021-32!2
    2   & 2       & 2!22'$2                                    '$" 2$" 2     ""2# %5!$"62
                           2(2' *2+023,2!2
    2   & 2       & 2!22'$2                                    '$" 2$" 2     ""2# %5!$"62
                           2&$"6<$%26502,;82!2
    2   &$"7 2      &$"7 2!22'!2                                  '$" 2!$<$%2   ""2# %5!$"62
                           2!202)72)922#2+2910-1=2">22>2021482!2    "%2
    2   &$"7 2      &$"7 2!22"# $2                                  2$" 2     ""2# %5!$"62
                           2!2,22)722125"$+ $2+=2"&>,2
    2   &%2         &%2!22'$2                                      '$" 2$" 2     ""2# %5!$"62
                           2) 72?2)5 "2+290202,0;(442!2
    2   &%2         &%2!2223(;>02(42$2                              2$" 2     ""2# %5!$"62
                           ) 2'$*2+0202(42!2
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                           *&7$"2<$%25"$2/3,32&12 !2;3,-2
    2   &%2         &%2!22'$2                                      '$" 2$" 2     ""2# %5!$"62
                           26 "2)2&7$"2+2942002283(02!2
    2   &%2         &%2!0221(2;>002$2                               2$" 2     ""2# %5!$"62
                           ) 2'$*2+29;-,02002!2
                           .(2%(27""' 22(881841-22$2
                           *&7$"2<$%25"$2/3,32&12 !2;3,-2
    2   &%2         &%2!22'$2                                      '$" 2$" 2     ""2# %5!$"62
                           2%+$%26$$"%2+2914202:3(32!2


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    2    !2    !2"22!#2                                     !#(122#(12   ((2314 "#()2
                       2"2$%%2&'(2'2)#*(2+,2-./2"2
                       2"2%0.2&'(2'2)#*(2+,2-./2"2
    2    !2    !2"22!#2                                     !#(122#(12   ((2314 "#()2
                       "2$0-2*2242&'(2'2)#*(2+5261,271/2"2
    2   8+22   8+22"22(31#2+2(27%-,2+2(27%$,2+2(2 122#(12      ((2314 "#()2
                       7%%,2+2(27%0,2+(270/,2+2(2709,2+2(2701,2
                       4:#22();1422,21,197<7902"2
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